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                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION
                                       www.flmb.uscourts.gov

 IN RE:                                                                   Chapter 11 Cases

 RED LOBSTER MANAGEMENT LLC,1                                             Case No. 6:24-bk-02486-GER
 RED LOBSTER RESTAURANTS LLC,                                             Case No. 6:24-bk-02487-GER
 RLSV, INC.,                                                              Case No. 6:24-bk-02488-GER
 RED LOBSTER CANADA, INC.,                                                Case No. 6:24-bk-02489-GER
 RED LOBSTER HOSPITALITY LLC,                                             Case No. 6:24-bk-02490-GER
 RL KANSAS LLC,                                                           Case No. 6:24-bk-02491-GER
 RED LOBSTER SOURCING LLC,                                                Case No. 6:24-bk-02492-GER
 RED LOBSTER SUPPLY LLC,                                                  Case No. 6:24-bk-02493-GER
 RL COLUMBIA LLC,                                                         Case No. 6:24-bk-02494-GER
 RL OF FREDERICK, INC.,                                                   Case No. 6:24-bk-02495-GER
 RED LOBSTER OF TEXAS, INC.,                                              Case No. 6:24-bk-02496-GER
 RL MARYLAND, INC.,                                                       Case No. 6:24-bk-02497-GER
 RED LOBSTER OF BEL AIR, INC.,                                            Case No. 6:24-bk-02498-GER
 RL SALISBURY, LLC,                                                       Case No. 6:24-bk-02499-GER
 RED LOBSTER INTERNATIONAL HOLDINGS LLC,                                  Case No. 6:24-bk-02500-GER

                  Debtors                                                 (Jointly Administered)

                                                                          Ref. Docket No. 194


                                        CERTIFICATE OF SERVICE
I, ARNOLD NGUYEN, hereby certify that:
1. I am employed as a Senior Case Manager by Epiq Corporate Restructuring, LLC, with their
   principal office located at 777 Third Avenue, New York, New York 10017. I am over the age
   of eighteen years and am not a party to the above-captioned action.

2. I caused to be served the:

   a. “Notice of Chapter 11 Bankruptcy Case,” filed on May 24, 2024 [Docket No. 194], and

   b. “Proof of Claim (Official Form 410),” a copy of which is annexed hereto as Exhibit A,


1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are Red Lobster Management LLC (6889); Red Lobster Sourcing LLC (3075); Red Lobster Supply
LLC (9187); RL Kansas LLC (2396); Red Lobster Hospitality LLC (5297); Red Lobster Restaurants LLC (4308);
RL Columbia LLC (7825); RL of Frederick, Inc. (9184); RL Salisbury, LLC (7836); RL Maryland, Inc. (7185); Red
Lobster of Texas, Inc. (1424); Red Lobster of Bel Air, Inc. (2240); RLSV, Inc. (6180); Red Lobster Canada, Inc.
(4569); and Red Lobster International Holdings LLC (4661). The Debtors’ principal offices are located at 450 S.
Orange Avenue, Suite 800, Orlando, FL 32801.
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by causing true and correct copies to be:
       i. enclosed securely in separate postage pre-paid envelopes and delivered via first class
          mail to those parties listed on the annexed Exhibit B, on May 29, 2024, and

       ii. delivered via electronic mail to those parties listed on the annexed Exhibit C, on May
           29, 2024.

3. In addition, pursuant to the Court’s Order entered May 25, 2024, at ECF No. 201, Epiq
   served the Notice of Chapter 11 Bankruptcy Case and Proof of Claim (Official Form 410)
   upon 118,801 current and/or former employees on May 29 and May 30, 2024, and will
   separately maintain their service details, to protect against the disclosure of said individuals’
   personal information on the public record.

4. All envelopes utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT, OR LEGAL DEPARTMENT.”

                                                                         s/ Arnold Nguyen
                                                                           Arnold Nguyen
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                         EXHIBIT A
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                                      PROOF OF CLAIM
                                    UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                            ORLANDO DIVISION
                                           www.flmb.uscourts.gov

 Name of Debtors                                     Case Numbers:

 RED LOBSTER MANAGEMENT LLC, et al.                  6:24-bk-

                                                     (Jointly Administered)


  Indicate Debtor against which you assert a claim by checking the appropriate box below.
  (Check only one Debtor per claim form)

    Name of Debtor                                       Case Number

     Red Lobster Management LLC                         Case No. 6:24-bk-

     Red Lobster Restaurants LLC                        Case No. 6:24-bk-

     RLSV, Inc.                                         Case No. 6:24-bk-

     Red Lobster Canada, Inc.                           Case No. 6:24-bk-

     Red Lobster Hospitality LLC                        Case No. 6:24-bk-

     RL Kansas LLC                                      Case No. 6:24-bk-

     Red Lobster Sourcing LLC                           Case No. 6:24-bk-

     Red Lobster Supply LLC                             Case No. 6:24-bk-

     RL Columbia LLC                                    Case No. 6:24-bk-

     RL of Frederick, Inc.                              Case No. 6:24-bk-

     Red Lobster of Texas, Inc.                         Case No. 6:24-bk-

     RL Maryland, Inc.                                  Case No. 6:24-bk-

     Red Lobster of Bel Air, Inc                        Case No. 6:24-bk-

     RL Salisbury, LLC                                  Case No. 6:24-bk-

     Red Lobster International Holdings LLC             Case No. 6:24-bk-




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  Official Form 410
  Proof of Claim                                                                                                                                                  04/22
  Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
  make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
  Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
  documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
  mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
  explain in an attachment.
  A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

  Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



  Part 1:    Identify the Claim


 1. Who is the current
    creditor?
                                 Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor

 2. Has this claim been
    acquired from
                                ❑ No
    someone else?               ❑ Yes. From whom?

 3. Where should notices         Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
    and payments to the                                                                                          different)
    creditor be sent?
     Federal Rule of             Name                                                                        Name
     Bankruptcy Procedure
     (FRBP) 2002(g)

                                Number           Street                                                          Number          Street




                                City                       State               Zip Code                          City                     State           Zip Code


                                 Contact phone                                                                   Contact phone

                                 Contact email                                                                   Contact email



                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):




 4. Does this claim amend       ❑ No
    one already filed?
                                ❑ Yes. Claim number on court claims registry (if known)                                                   Filed on
                                                                                                                                                     MM    / DD      / YYYY



 5. Do you know if anyone       ❑ No
    else has filed a proof      ❑ Yes. Who made the earlier filing?
    of claim for this claim?




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   Part 2:    Give Information About the Claim as of the Date the Case Was Filed

 6. Do you have any number        ❑ No
    you use to identify the       ❑ Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:
    debtor?


 7. How much is the claim?          $                                                  Does this amount include interest or other charges?
                                                                                        ❑ No
                                                                                        ❑ Yes. Attach statement itemizing interest, fees,
                                                                                        expenses, or other charges required by Bankruptcy Rule
                                                                                        3001(c)(2)(A).



 8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
    claim?
                                  Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                  Limit disclosing information that is entitled to privacy, such as health care information.




 9. Is all or part of the claim   ❑ No
    secured?                      ❑ Yes. The claim is secured by a lien on property.
                                            Nature of property:
                                            ❑ Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                              Attachment (Official Form 410-A) with this Proof of Claim.
                                            ❑ Motor vehicle
                                            ❑ Other. Describe:
                                            Basis for perfection:
                                            Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                            example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                            been filed or recorded.)



                                            Value of property:                             $

                                            Amount of the claim that is secured:           $

                                            Amount of the claim that is unsecured: $
                                                                                                                     (The sum of the secured and unsecured
                                                                                                                     amounts should match the amount in line 7.)

                                            Amount necessary to cure any default as of the date of the petition:               $



                                            Annual Interest Rate (when case was filed)                %
                                            ❑ Fixed
                                            ❑ Variable

 10. Is this claim based on a     ❑ No
     lease?
                                  ❑ Yes. Amount necessary to cure any default as of the date of the petition.                  $


 11. Is this claim subject to a   ❑ No
     right of setoff?
                                  ❑ Yes. Identify the property:




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 12. Is all or part of the claim    ❑ No
     entitled to priority under
     11 U.S.C. § 507(a)?            ❑ Yes. Check one:                                                                                                 Amount entitled to priority

     A claim may be partly                 ❑ Domestic support obligations (including alimony and child support) under
     priority and partly                       11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
     nonpriority. For example,
     in some categories, the               ❑ Up to $3,350* of deposits toward purchase, lease, or rental of property or services for
     law limits the amount                     personal, family, or household use. 11 U.S.C. § 507(a)(7).                                            $
     entitled to priority.
                                           ❑ Wages, salaries, or commissions (up to $15,150*) earned within 180 days before the
                                               bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                     $
                                               11 U.S.C. § 507(a)(4).
                                           ❑ Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                   $

                                           ❑ Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                       $

                                           ❑ Other. Specify subsection of 11 U.S.C. § 507(a)(             ) that applies.                            $

                                           * Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date of adjustment.


    Sign Below

   The person completing           Check the appropriate box:
   this proof of claim must
   sign and date it.               ❑ I am the creditor.
   FRBP 9011(b).
                                   ❑ I am the creditor’s attorney or authorized agent.
   If you file this claim          ❑ I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
   electronically, FRBP
   5005(a)(2) authorizes courts
                                   ❑ I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
   to establish local rules
   specifying what a signature     I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
   is.                             amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.

   A person who files a
   fraudulent claim could be
   fined up to $500,000,           I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
   imprisoned for up to 5          and correct.
   years, or both.
   18 U.S.C. §§ 152, 157, and      I declare under penalty of perjury that the foregoing is true and correct.
   3571.
                                   Executed on date
                                                             MM / DD     /   YYYY




                                           Signature

                                       Print the name of the person who is completing and signing this claim:


                                   Name
                                                            First name                          Middle name                            Last name


                                   Title


                                   Company
                                                           Identify the corporate servicer as the company if the authorized agent is a servicer.


                                   Address



                                   Contact phone                                                                        Email


  Mail Claim Form to:

  If by First Class Mail: Red Lobster Management LLC, et al. Claims Processing Center, c/o Epiq Corporate Restructuring, LLC, P.O. Box 4421, Beaverton,
  OR 97076-4421; If by Hand Delivery or Overnight Mail: Red Lobster Management LLC, et al. Claims Processing Center, c/o Epiq Corporate Restructuring,
  LLC, 10300 SW Allen Blvd., Beaverton, OR 97005; or file your claim electronically via the following case website: https://dm.epiq11.com/RedLobster.
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                         EXHIBIT B
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Claim Name                              Address Information
1420 NOBLE AVE LLC                     ATTN: MAURICE RUSSELL GREY, CO-OWNER DBA 3909 SUNSET DRIVE OWNER LLC 740 ST
                                       NICHOLSON AVENUE NEW YORK NY 10031
2 GIRLS ENTERPRISES LLC                ATTN: VALERIE WILSON, MANAGER DBA WILSON EQUIPMENT ETC 13040 W COLONIAL DR
                                       WINTER GARDEN FL 34787-3919
2355 NORTH HIGHWAY 41 ASSOCIATES LLC   ATTN: JEFF MANDELBAUM, MANAGER 354 EISENHOWER PARKWAY, SUITE 1900 LIVINGSTON
                                       NJ 07039
2629574 ONT INC                        ATTN: KRISTIAN GRANT, ADMINISTRATOR O/A RCI HVAC AND AUTOMATION 39 GLENWOOD
                                       DRIVE BARRIE ON L4N 1R3 CANADA
3B2 SOLUTIONS LLC                      ATTN: BILL FITZPATRICK, OWNER 35B CONCOURSE WAY GREER SC 29650
A O SMITH WATER PRODUCTS               12024 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
ADP INC                                ATTN: MARIA BLACK, PRESIDENT AND CEO 1 ADP BLVD ROSELAND NJ 07068
ALABAMA DEPT OF REVENUE                50 N RIPLEY ST MONTGOMERY AL 36130
ALASKA DEPT OF REVENUE                 550 W 7TH AVE STE 500 ANCHORAGE AK 99501-3555
ALONSO EXCAVATION & CONSTRUCTION CO INC ATTN: MESHACH ALONSO, VP/GM DBA ALONSO SERVICE COMPANY PO BOX 33998 SAN
                                        ANTONIO TX 78265-3998
ALPHA MECHANICAL SERVICE LLC           ATTN: CRAIG A STEINKE, CEO DBA ALPHA ENERGY SOLUTIONS 7200 DISTRIBUTION DRIVE
                                       LOUISVILLE KY 40258-2827
ANALYTIC PARTNERS LP                   ATTN: JEFF DRISKILL, CFO 1441 BRICKELL AVE STE 1220 MIAMI FL 33131-3429
APEX SYSTEMS INC                       ATTN: SEAN CASEY, PRESIDENT 3750 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
ARCH PAINTING INC                      ATTN: RICHARD KILGANNON, PRESIDENT 1 PRESIDENTIAL WAY STE 109 WOBURN MA
                                       01801-1071
ARES HOLDINGS LLC                      ATTN: LUIS ORBEGOSO, PRESIDENT & CEO 1045 S JOHN RODES BLVD MELBOURNE FL
                                       32904-2006
ARIZONA DEPT OF REVENUE                1600 W. MONROE PHOENIX AZ 85007-2650
ARKANSAS DEPT OF FINANCE & ADMIN       OFFICE OF STATE REVENUE ADMIN. 1509 W 7TH ST LITTLE ROCK AR 72201
B & B INSTALLATIONS INC                ATTN: VALJEAN ROSSMANN, PRESIDENT 429 ELKHORN ROAD MONONGAHELA PA 15063
BAKER & HOSTETLER LLP                  200 SOUTH ORANGE AVE, STE 2300 ORLANDO FL 32801
BALLARD SPAHR LLP                      (COUNSEL TO ARC CLORLFL001, LLC, BRIXMOR OPERATING PARTNERSHIP LP, BROADSTONE
                                       RL PORTFOLIO, LLC, FR WHITE MARSH, LLC, SCF RC FUNDING IV, LLC, THE MACERICH
                                       COMPANY & UE LEDGEWOOD LLC) ATTN: LESLIE C. HEILMAN, LAUREL D. ROGLEN &
                                       MARGARET A. VESPER 919 N. MARKET STREET, 11TH FLOOR WILMINGTON DE 19801
BALLARD SPAHR LLP                      (COUNSEL TO ARC CLORLFL001, LLC, BRIXMOR OPERATING PARTNERSHIP LP, BROADSTONE
                                       RL PORTFOLIO LLC, FR WHITE MARSH, LLC, SCF RC FUNDING IV LLC, THE MACERICH
                                       COMPANY & UE LEDGEWOOD LLC) ATTN: CRAIG SOLOMON GANZ & MICHAEL S. MYERS 1 EAST
                                       WASHINGTON STREET, SUITE 2300 PHOENIX AZ 85004-2555
BALLARD SPAHR LLP                      (COUNSEL TO ARC CLORLFL001, LLC, BRIXMOR OPERATING PARTNERSHIP LP, BROADSTONE
                                       RL PORTFOLIO LLC, FR WHITE MARSH, LLC, SCF RC FUNDING IV, LLC THE MACERICH
                                       COMPANY & UE LEDGEWOOD LLC) ATTN: DUSTIN P. BRANCH, NAHAL ZARNIGHIAN & SARA
                                       SHAHBAZI 2029 CENTURY PARK EAST, SUITE 1400 LOS ANGELES CA 90067-2915
BDG SUFKA LLC                          300 ROBBINS LANE SYOSETT NY 11791
BLACKHAWK NETWORK INC                  ATTN: DAVID MCLAUGHLIN, CFO 6220 STONERIDGE MALL ROAD PLEASANTON CA 94588
BLODGETT OVEN CO INC                   ATTN: ERICA HAVERS, VP & CONTROLLER 2511 PAYSPHERE CIRCLE CHICAGO IL 60674
BROWARD COUNTY                         ATTN: ANDREW J. MEYERS & SCOTT ANDRON GOVERNMENTAL CENTER, SUITE 423 115 SOUTH
                                       ANDREWS AVENUE FORT LAUDERDALE FL 33301
BUNTIN ADVERTISING INC                 ATTN: JEFFREY BUNTIN, JR., CEO DBA BUNTIN GROUP 1001 HAWKINS ST NASHVILLE TN
                                       37203
BURR & FORMAN LLP                      (COUNSEL TO WELLS FARGO BANK) ATTN: KELSEY E. BURGESS 200 S. ORANGE AVENUE,
                                       SUITE 800 ORLANDO FL 32801
BURR & FORMAN LLP                      (COUNSEL TO DACF INVEST-4 LLC, FK PROPERTIES LLC JFCF INVEST-3 LLC) ATTN:
                                       CHRISTOPHER R. THOMPSON 200 S. ORANGE AVENUE, SUITE 800 ORLANDO FL 32801
BURR & FORMAN LLP                      (COUNSEL TO ARC CLORLFL001, LLC, BRIXMOR OPERATING PARTNERSHIP LP, BROADSTONE
                                       RL PORTFOLIO, LLC, FR WHITE MARSH, LLC, SCF RC FUNDING IV, LLC, THE MACERICH
                                       COMPANY & UE LEDGEWOOD LLC) ATTN: CHRISTOPHER R. THOMPSON 200 S. ORANGE


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Claim Name                               Address Information
BURR & FORMAN LLP                        AVENUE, SUITE 800 ORLANDO FL 32801
C H ROBINSON COMPANY                     ATTN: DAVID BOZEMAN, JR, CEO 2345 RICE STREET, SUITE 230 ROSEVILLE MN 55113
CALIFORNIA FRANCHISE TAX BOARD           PO BOX 942857 SACRAMENTO CA 94267-0001
CB PORTFOLIO LLC                         ATTN: GRAHAM CARTER, PARTNER 5515 BALCONES DRIVE AUSTIN TX 78731
COASTAL SUNBELT PRODUCE                  ATTN: DAVID WHITLOCK, PRESIDENT 9001 WHISKEY BOTTOM RD LAUREL MD 20723
COLORADO DEPT OF REVENUE                 1881 PIERCE ST, ENTRANCE B LAKEWOOD CO 80214
CONNECTICUT DEPT OF REVENUE SERVICES     450 COLUMBUS BLVD., STE 1 HARTFORD CT 06103
CORNERSTONE ON DEMAND INC                ATTN: HIMANSHU PALSULE, CEO 1601 CLOVERFIELD BLVD, SUITE 600 SOUTH SANTA
                                         MONICA CA 90404
COSTA DO SOESTO LLC                      ATTN: PABLO GUSTAVO LEIS, MANAGER C/O WILLIAM H ALBORNOZ PA 901 PONCE DE LEON
                                         BLVD., SUITE 204 CORAL GABLES FL 33134-3070
CR KINGSTON ASSOCIATES LLC               ATTN: HAROLD SUTTON, LEASING MANAGER C/O CENTURION REALTY LLC 500 5TH AVE 39TH
                                         FLOOR NEW YORK NY 10110-3899
CREATION GARDENS                         ATTN: MATT KENNY, MANAGING PARTNER 2055 NELSON MILLER PKWY LOUISVILLE KY
                                         40223-2185
CREDERA ENTERPRISES COMPANY LLC          15303 DALLAS PARKWAY SUITE 300 ADDISON TX 75001
CURTIS R BARTELLS                        ADDRESS ON FILE
DC OFFICE OF TAX AND REVENUE             1101 4TH STREET, SW SUITE 270 WEST WASHINGTON DC 20024
DDI GENERAL CONTRACTING LLC              ATTN: MICHAEL NOVELLANO, PRESIDENT 830 E BAY DRIVE WEST ISLIP NY 11795
DEAN, MEAD, EGERTON, BLOODWORTH,         BOZARTH, P.A. (COUNSEL TO 39401 FREMONT BOULEVARD, LLC & FOX RIVER SHOPPING
CAPOUANO &                               CENTER, LLP) ATTN: JAMES A. TIMKO PO BOX 2346 ORLANDO FL 32802-2346
DELAWARE DIVISION OF REVENUE             820 N FRENCH ST WILMINGTON DE 19801
DEPENDABLE BUILDING MAINTENANCE SVCS     ATTN: JAMES WINTERS, PRESIDENT 4645 138TH ST CRESTWOOD IL 60418-1930
LLC
DINOVA INC                               6455 EAST JOHNS CROSSING 220 JOHNS CREEK GA 30097
DIRECTV                                  ATTN: BRIAN REGAN, SVP & AGC 2260 EAST IMPERIAL HIGHWAY EL SEGUNDO CA 92045
DISTRICT OF COLUMBIA ATTORNEY GENERAL    ATTN: BRIAN L. SCHWALB 400 6TH STREET, NW WASHINGTON DC 20001
DOORDASH INC                             303 2ND STREET SOUTH TOWER 8TH FLOOR SAN FRANCISCO CA 94107
ECOLAB INC                               ATTN: SCOTT KIRKLAND, CFO 1 ECOLAB PLACE ST. PAUL MN 55102
ENTERPRISE FLEET MANAGEMENT CANADA INC   709 MILNER AVE SCARBOROUGH ON M1B 6B6 CANADA
ENTERPRISE FLEET MANAGEMENT CANADA INC   77 BELFIELD RD, STE 100 TORONTO ON M9W 1G6 CANADA
ENVIRO MASTER SERVICES LLC               5200 77 CENTER DRIVE SUITE 500 CHARLOTTE NC 28217
FAR HORIZONS TRAILER VILLAGE LLC         ATTN: CHARLES HAYS JR, PARTNER 7682 CALLAWAY DR RANCHO MURIETA CA 95683-9268
FEDERAL EXPRESS CORPORATION              ATTN: SCOTT TEMPLE, PRESIDENT AND CEO 3630 HACKS CROSS RD FL 2 MEMPHIS TN
                                         38125-8800
FIFTH THIRD BANK                         ATTN: LORI G. HEILMAN, AGC 1160 DUBLIN ROAD, SUITE 400 CINCINNATI OH 43215
FLORIDA DEPT OF REVENUE                  5050 W TENNESSEE ST TALLAHASSEE FL 32399-0100
FORTRESS CREDIT CORP                     AS COLLATERAL AGENT 1345 AVENUE OF THE AMERICAS 45TH FL NEW YORK NY 10105
FORTRESS CREDIT CORP.                    C/O PROSKAUER ROSE LLP ATTN: DYLAN J. MARKER ELEVEN TIMES SQUARE NEW YORK NY
                                         10036
FORTRESS CREDIT CORP.                    ATTN: GENERAL COUNSEL, CREDIT 1345 AVENUE OF THE AMERICAS 46TH FLOOR NEW YORK
                                         NY 10105
FORTRESS CREDIT CORP.                    ATTN: CONSTANTINE DAKOLIAS 1345 AVENUE OF THE AMERICAS 46TH FLOOR NEW YORK NY
                                         10105
FORTRESS CREDIT CORP.                    C/O PROSKAUER ROSE LLP ATTN: CHARLES A. DALE ONE INTERNATIONAL PLACE BOSTON MA
                                         02110-2600
FORTRESS CREDIT CORP.                    ATTENTION: MORGAN M. MCCLURE 3290 NORTHSIDE PARKWAY NW SUITE 350 ATLANTA GA
                                         30327
FRANKGECKER LLP                          (COUNSEL TO PEPSICO SALES, INC. AND PEPSI-COLA ADVERTISING AND MARKETING,
                                         INC.) ATTN: JOSEPH D. FRANK & JEREMY C. KLEINMAN 1327 WEST WASHINGTON BLVD,
                                         SUITE 5 G-H CHICAGO IL 60607



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Claim Name                               Address Information
FRANKLIN MACHINE PRODUCTS INC            ATTN: JOE GRATO, PRESIDENT 101 MT HOLLY BYPASS LUMBERTON NJ 08048
FROST BROWN TODD LLP                     (COUNSEL TO CINTAS CORPORATION NO. 2) ATTN: SLOANE B. O'DONNELL 501 GRANT
                                         STREET, SUITE 800 PITTSBURGH PA
FROST BROWN TODD LLP                     (COUNSEL TO WPG LEGACY, LLC) ATTN: RONALD E. GOLD 3300 GREAT AMERICAN TOWER
                                         301 EAST FOURTH STREET CINCINNATI OH 45202
FROST BROWN TODD LLP                     (COUNSEL TO CINTAS CORPORATION NO.2) ATTN: RONALD E. GOLD 3300 GREAT AMERICAN
                                         TOWER 301 EAST FOURTH STREET CINCINNATI OH 45202
FSF MANUFACTURING INC                    ATTN: JACQUELINE M AMRHEIN, MANAGER 575 ECON RIVER PLACE OVIEDO FL 32765-7343
FTI CONSULTING CA, INFORMATION OFFICER   C/O FASKEN MARTINEAU DUMOULIN LLP BAY ADELAIDE CENTRE 333 BAY STREET, SUITE
                                         2400, PO BOX 20 TORONTO ON M5H 2T6 CANADA
GARTNER INC                              ATTN: EUGENE A. HALL, CEO 56 TOP GALLANT RD STAMFORD CT 06902-7700
GEORGIA DEPT OF REVENUE                  1800 CENTURY CENTER BLVD., NE STE 12000 ATLANTA GA 30345-3205
GET FRESH PRODUCE INC                    ATTN: GINO ALIMONDI, PRESIDENT 1441 BREWSTER CREEK BLVD BARTLETT IL 60103
GLACIER REFRIGERATION & AIR INC          ATTN: YVETTE G. MONTIJO, CEO 1200 VALLEY VIEW SELMA CA 93662
GORDON FOOD SERVICE CANADA LTD           199 BAY STREET SUITE 5300 COMMERCE COURT WEST TORONTO ON CANADA
GRAYROBINSON, P.A.                       (COUNSEL TO BLUMENFELD DEVELOPMENT GROUP, KITE REALTY GROUP, REALTY INCOME
                                         CORPORATION, REGENCY CENTERS, L.P., TANGER PROPERTIES & WIN PROPERTIES INC.
                                         ATTN: STEVEN J. SOLOMON 333 SE 2ND AVENUE, SUITE 3200 MIAMI FL 33131
GREATAMERICAN FINANCIAL SERVICES CORP    625 FIRST ST CEDAR RAPIDS IA 52401
GREENHEAD LOBSTER LLC                    ATTN: HUGH REYNOLDS, OWNER & FOUNDER 38 OCEAN ST. PO BOX 670 STONINGTON ME
                                         04681-0670
GUIDEPOINT SECURITY LLC                  ATTN: MICHAEL ANNESSA, PARTNER & CFO 2201 COOPERATIVE WAY SUITE 225 HERNDON VA
                                         20171
HAHN LOESERS & PARKS LLP                 (COUNSEL TO LINCOLN HOLDINGS, LLC) ATTN: CHRISTOPHER S. BAXTER 65 EAST STATE
                                         STREET, SUITE 2500 COLUMBUS OH 43215
HAHN LOESERS & PARKS LLP                 (COUNSEL TO LINCOLN HOLDINGS, LLC) ATTN: DANIEL A. DEMARCO 200 PUBLIC SQUARE,
                                         SUITE 2800 CLEVELAND OH 44114
HAHN LOESERS & PARKS LLP                 (COUNSEL TO LINHOLN HOLDINGS, LLC) ATTN: JOEL W. HYATT 2400 FIRST STREET,
                                         SUITE 300 FORT MYERS FL 33901
HARRIS COUNTY, HARRIS COUNTY FLOOD       DISTRICT, HARRIS COUNTY PORT OF HOUSTON AUTHORITY HARRIS COUNTY HOSPITAL
CONTROL                                  DISTRICT & HARRIS COUNTY DEPARTMENT OF EDUCATION ATTN: SUSAN FUERTES PO BOX
                                         2848 HOUSTON TX 77252
HAWAII DEPT OF TAXATION                  DIRECTOR OF TAXATION ROOM 221 830 PUNCHBOWL STREET HONOLULU HI 96813-5094
HESSLER, KATHRYN                         ADDRESS ON FILE
HILL WARD HENDERSON                      (COUNSEL TO WPG LEGACY, LLC) ATTN: PATRICK M. MOSLEY 101 E. KENNEDY BLVD.,
                                         SUITE 3700 TAMPA FL 33602
HILL WARD HENDERSON                      (COUNSEL TO CINTAS CORPORATION NO.2) ATTN: PATRICK M. MOSLEY 101 E. KENNEDY
                                         BLVD., SUITE 3700 TAMPA FL 33602
HILLSBOROUGH COUNTY TAX COLLECTOR        ATTN: BRIAN T. FITZGERALD PO BOX 1110 TAMPA FL 33601-1110
HINSHAW & CULBERTSON LLP                 (COUNSEL TO KIMCO REALTY CORPORATION D/B/A LARGO PLAZA) ATTN: RUEL W. SMITH
                                         100 SOUTH ASHLEY DRIVE, SUITE 1310 TAMPA FL 33602
HUNTON ANDREWS KURTH LLP                 (COUNSEL TO DARDEN RESTAURANTS, INC.) ATTN: JASON W. HARBOUR & JENNIFER E.
                                         WUEBKER 951 EAST BYRD STREET RICHMOND VA 23219
HUNTON ANDREWS KURTH LLP                 (COUNSEL TO DARDEN RESTAURANTS, INC.) ATTN: JAMIE ZYSK ISANI 333 SE 2ND
                                         AVENUE, SUITE 2400 MIAMI FL 33131
IDAHO STATE TAX COMMISSION               1111 N 8TH AVE POCATELLO ID 83201-5789
IG IGLOO HOLDINGS INC                    ATTN: BERT BEAN, CEO DBA INSIGHT GLOBAL LLC 1224 HAMMOND DRIVE, SUITE 1500
                                         ATLANTA GA 30346
ILLINOIS DEPT OF REVENUE                 WILLARD ICE BLDG 101 W JEFFERSON ST. SPRINGFIELD IL 62702
INDIANA DEPARTMENT OF REVENUE            100 N SENATE IGCN RM N105 INDIANAPOLIS IN 46204
INFORMATION OFFICER                      FTI CONSULTING CANADA, INC. ATTN: JEFFREY ROSENBERG 79 WELLINGTON STREET WEST,
                                         SUITE 2010 TORONTO ON M5K 1G8 CANADA



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INTERACTIVE COMMUNICATIONS INTL INC      ATTN: M. BROOKS SMITH, CEO DBA INCOMM PO BOX 935359 ATLANTA GA 31193-5359
INTERNAL REVENUE SERVICE                 PO BOX 7346 PHILADELPHIA PA 19101-7346
INTRALINKS INC                           ATTN: REID DOWNEY, EVP & CRO 2970 10TH STREET STE 1 GERING NE 69341
IOWA DEPT OF REVENUE                     1305 E WALNUT ST, 4TH FL DES MOINES IA 50319
IPSOS INSIGHT LLC                        200 PARK AVENUE 11TH FLOOR NEW YORK NY 10016
KANSAS DEPARTMENT OF REVENUE             120 SE 10TH AVE TOPEKA KS 66612-1588
KEGELS PRODUCE INC                       ATTN: SUZANNE V MYERS, PRESIDENT 1336 LOOP RD LANCASTER PA 17601
KELLEY DRYE & WARREN LLP                 (COUNSEL TO BLUMENFELD DEVELOPMENT GROUP, KITE REALTY GROUP, REALTY INCOME
                                         CORPORATION, REGENCY CENTERS, L.P., TANGER PROPERTIES & WIN PROPERTIES INC.
                                         ATTN: ROBERT L. LEHANE, JENNIFER D. RAVIELE & STEVEN L. YACHIK 3 WORLD TRADE
                                         CENTER 175 GREENWICH STREET NEW YORK NY 10007
KENNETH O LESTER COMPANY INC             (PERFORMANCE FOOD GROUP) 12500 WEST CREEK PARKWAY RICHMOND VA 23238
KENTUCKY DEPARTMENT OF REVENUE           501 HIGH ST, STATION 38 FRANKFORT KY 40601-2103
KINETICO INCORPORATED                    ATTN: TOBY THOMAS, CEO DBA KINETICO QUALITY WATER SYSTEMS 9765 BASIL WESTERN
                                         ROAD CANAL WINCHESTER OH 43110
KURTZMAN STEADY LLC                      (COUNSEL TO BT HULL, LLC) ATTN: JEFFREY KURTZMAN 101 N. WASHINGTON AVENUE,
                                         SUITE 4A MARGATE NJ 08402
LA GRASSO BROS INC                       ATTN: TOM LAGRASSO JR, PRESIDENT 5001 BELLEVUE PO BOX 2638 DETROIT MI
                                         48202-2638
LATHAM, LUNA, EDEN & BEAUDINE, LLP       (COUNSEL TO 9069 VANTAGE POINT DRIVE OWNER, LLC) ATTN: DANIEL A. VELASQUEZ 201
                                         S. ORANGE AVE, SUITE 1400 ORLANDO FL 32801
LINEBARGER GOGGAN BLAIR & SAMPSON LLP    (COUNSEL TO CITY OF FRISCO, TARRANT COUNTY, LEWISVILLE ISD, DALLAS COUNTY)
                                         ATTN: JOHN KENDRICK TURNER 2777 N. STEMMONS FREEWAY, SUITE 1000 DALLAS TX
                                         75207
LINEBARGER GOGGAN BLAIR & SAMPSON LLP    (COUNSEL TO SMITH COUNTY, GREENVILLE ISD, GRAYSON COUNTY, IRVING ISD, GREGG
                                         COUNTY) 2777 N. STEMMONS FREEWAY, SUITE 1000 DALLAS TX 75207
LINEBARGER GOGGAN BLAIR & SAMPSON, LLP   (COUNSEL TO CYPRESS-FAIRBANKS ISD) PO BOX 3064 HOUSTON TX 77253-3064
LINEBARGER GOGGAN BLAIR & SAMPSON, LLP   (COUNSEL TO NUECES CONTY, CITY OF MCALLEN, VICTORIA COUNTY, CAMERON COUNTY,
                                         SAN MARCOS CISD, HIDALGO COUNTY & MCLENNAN COUNTY) PO BOX 17428 AUSTIN TX
                                         78760-7428
LOUISIANA DEPARTMENT OF REVENUE          617 N THIRD ST BATON ROUGE LA 70802
LUXONE LLC                               ATTN: MIRCEA VOSKERICIAN, OWNER 572 CHIMALUS DR PALO ALTO CA 94306
MAINE REVENUE SERVICES                   51 COMMERCE DRIVE AUGUSTA ME 04330
MANATEE COUNTY TAX COLLECTOR             ATTN: MICHELLE LEESON 1001 3RD AVE W, SUITE 240 BRADENTON FL 34205-7863
MARSHALL, DEZZIE RAY                     ADDRESS ON FILE
MARTYN AND ASSOCIATES CO.                (COUNSEL TO C.H. ROBINSON WORLDWIDE, INC. D/B/A ROBINSON FRESH) ATTN: MARK A.
                                         AMENDOLA 820 W. SUPERIOR AVENUE, TENTH FLOOR CLEVELAND OH 44113
MARYLAND OFFICE OF THE COMPTROLLER       REVENUE ADMINISTRATION CENTER TAXPAYER SERVICES DIVISION 110 CARROL ST
                                         ANNAPOLIS MD 21411-0001
MASSACHUSETTS DEPT OF REVENUE            DIVISION OF LOCAL SERVICES 100 CAMBRIDGE ST, 6TH FL BOSTON MA 02114-9569
MCCREARY, VESELKA, BRAGG & ALLEN, P.C.   (COUNSEL TO TAX APPRAISAL DISTRICT OF BELL COUNTY, CITY OF WACO AND WACO
                                         INDEPENDENT SCHOOL DISTRICT, DENTON COUNTY, HAYS COUNTY, TAYLOR COUNTY CENTRAL
                                         APPRAISAL DISTRICT AND WILLIAMSON COUNTY) PO BOX 1269 ROUND ROCK TX 78680-1269
MCCREARY, VESELKA, BRAGG & ALLEN, P.C.   (COUNSEL TO BOWIE CENTRAL APPRAISAL DISTRICT & BRAZOS COUNTY) ATTN: JULIE ANNE
                                         PARSONS PO BOX 1269 ROUND ROCK TX 78680-1269
MERKLE INC                               7001 COLUMBIA GATEWAY DR COLUMBIA MD 21046
MESA VALLEY HOUSING ASSOCIATES II LP     ATTN: STUART KATZ, MEMBER 3 CHARTER OAK PL HARTFORD CT 06106-1915
MICHIGAN DEPARTMENT OF TREASURY          LANSING MI 48922
MINNESOTA DEPARTMENT OF REVENUE          600 N ROBERT ST. N SAINT PAUL MN 55101
MISSISSIPPI STATE TAX COMMISSION         500 CLINTON CTR DR CLINTON MS 39056
MISSOURI DEPARTMENT OF REVENUE           301 W HIGH ST, RM 102 JEFFERSON CITY MO 65101
MONTANTA DEPARTMENT OF REVENUE           PO BOX 5805 HELENA MT 59604-5805


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MOOD MEDIA NORTH AMERICA HOLDINGS CORP   ATTN: MALCOM MCROBERTS, CEO DBA MOOD MEDIA PO BOX 602777 CHARLOTTE NC
                                         28260-2777
MOVABLE INC                              ATTN: VIVEK SHARMA, CEO DBA MOVABLE INK PO BOX 200338 PITTSBURGH PA 15251-0338
N.D. OFFICE OF STATE TAX COMMISSIONER    600 E BLVD AVE DEPT 127 BISMARCK ND 58505-0599
NEBRASKA DEPT OF REVENUE                 301 CENTENNIAL MALL S LINCOLN NE 68508
NEVADA DEPT OF TAXATION                  3850 ARROWHEAD DRIVE 2ND FLOOR CARSON CITY NV 89706
NEW HAMPSHIRE DEPT OF REVENUE ADMIN      109 PLEASANT ST CONCORD NH 03301
NEW JERSEY DEPT OF THE TREASURY          DIVISION OF ADMINISTRATION PO BOX 211 TRENTON NJ 08625-0211
NEW MEXICO TAXATION & REVENUE DEPT       1200 S ST FRANCIS DRIVE SANTA FE NM 87504-0630
NEW YORK DEPT. OF FINANCE                CORRESPONDENCE UNIT ONE CENTRE ST, 22ND FL NEW YORK NY 10007
NORTH CAROLINA DEPT OF REVENUE           501 N WILMINGTON ST RALEIGH NC 27604
NUCO2 INC                                ATTN: SUSAN STEVENSON, PRESIDENT 2800 S.E. MARKET PLACE STUART FL 34997
OFFICE OF SEC. OF STATE OF ALABAMA       HON. WES ALLEN PO BOX 5616 MONTGOMERY AL 36103-5616
OFFICE OF SEC. OF STATE OF ALASKA        HON. NANCY DAHLSTROM LIEUTENANT GOVERNOR -E PO BOX 110015 JUNEAU AK 99811-0001
OFFICE OF SEC. OF STATE OF ARIZONA       HON. ADRIAN FONTES 1700 W WASHINGTON ST, FL 7 PHOENIX AZ 85007-2808
OFFICE OF SEC. OF STATE OF ARKANSAS      HON. JOHN THURSTON STATE CAPITOL 500 WOODLANE ST, STE 256 LITTLE ROCK AR 72201
OFFICE OF SEC. OF STATE OF CALIFORNIA    HON. SHIRELY N WEBER 1500 11TH ST SACRAMENTO CA 95814
OFFICE OF SEC. OF STATE OF COLORADO      HON. JENA GRISWOLD 1700 BROADWAY, STE 550 DENVER CO 80290
OFFICE OF SEC. OF STATE OF CT.           HON. STEPHANIE THOMAS PO BOX 150470 STE 1000 HARTFORD CT 06115-0470
OFFICE OF SEC. OF STATE OF D.C.          HON. KIMBERLY A BASSETT 1350 PENNSYLVANIA AVE, NW STE 419 WASHINGTON DC 20004
OFFICE OF SEC. OF STATE OF DELAWARE      HON. JEFFREY W. BULLOCK 820 N FRENCH ST, 10TH FL WILMINGTON DE 19801
OFFICE OF SEC. OF STATE OF DELAWARE      HON. JEFFREY W. BULLOCK 401 FEDERAL ST DOVER DE 19901
OFFICE OF SEC. OF STATE OF FLORIDA       HON. CORD BYRD R.A. GRAY BLDG 500 S BRONOUGH ST TALLAHASSEE FL 32399
OFFICE OF SEC. OF STATE OF GEORGIA       HON. BRAD RAFFENSPERGER 214 STATE CAPITOL ATLANTA GA 30334
OFFICE OF SEC. OF STATE OF HAWAII        HON. SYLVIA LUKE LIEUTENANT GOVERNOR -E STATE CAPITOL HONOLULU HI 96813
OFFICE OF SEC. OF STATE OF IDAHO         HON. PHIL MCGRANE 450 N 4TH ST BOISE ID 83702
OFFICE OF SEC. OF STATE OF ILLINOIS      HON. ALEXI GIANNOULIAS 213 STATE CAPITOL SPRINGFIELD IL 62756
OFFICE OF SEC. OF STATE OF INDIANA       HON. DIEGO MORALES 200 W WASHINGTON ST, ROOM 201 INDIANAPOLIS IN 46204
OFFICE OF SEC. OF STATE OF IOWA          HON. PAUL D. PATE LUCAS BLDG, 1ST FL 321 E 12TH ST DES MOINES IA 50319
OFFICE OF SEC. OF STATE OF KANSAS        HON. SCOTT SCHWAB MEMORIAL HALL - 1ST FL 120 SW 10TH AVE TOPEKA KS 66612
OFFICE OF SEC. OF STATE OF KENTUCKY      HON. MICHAEL G ADAMS 700 CAPITAL AVE, STE 152 FRANKFORT KY 40601
OFFICE OF SEC. OF STATE OF LOUISIANA     HON. R. KYLE ARDOIN PO BOX 94125 BATON ROUGE LA 70804-9125
OFFICE OF SEC. OF STATE OF MA.           HON. WILLIAM FRANCIS GALVIN 1 ASHBURTON PLACE BOSTON MA 02108
OFFICE OF SEC. OF STATE OF MAINE         HON. SHENNA BELLOWS 148 STATE HOUSE STATION AUGUSTA ME 04333-0148
OFFICE OF SEC. OF STATE OF MARYLAND      HON. SUSAN C LEE 16 FRANCIS ST ANNAPOLIS MD 21401
OFFICE OF SEC. OF STATE OF MICHIGAN      HON. JOCELYN BENSON 3315 E MICHIGAN AVE LANSING MI 48912
OFFICE OF SEC. OF STATE OF MINNESOTA     HON. STEVE SIMON 180 STATE OFFICE BLDG 100 REV DR MLK JR BLVD ST. PAUL MN
                                         55155-1299
OFFICE OF SEC. OF STATE OF MISSOURI      HON. JOHN R. ASHCROFT 600 W MAIN ST JEFFERSON CITY MO 65101
OFFICE OF SEC. OF STATE OF MONTANA       HON. CHRISTI JACOBSEN PO BOX 202801 HELENA MT 59620-2801
OFFICE OF SEC. OF STATE OF MS.           HON. MICHAEL WATSON 125 S CONGRESS ST JACKSON MS 39201
OFFICE OF SEC. OF STATE OF N.C.          HON. ELAINE F. MARSHALL PO BOX 29622 RALEIGH NC 27626
OFFICE OF SEC. OF STATE OF N.H.          HON. DAVID M. SCANLAN 107 N MAIN ST CONCORD NH 03301
OFFICE OF SEC. OF STATE OF NEBRASKA      HON. ROBERT B EVNEN PO BOX 94608 LINCOLN NE 68509-4608
OFFICE OF SEC. OF STATE OF NEVADA        HON. FRANCISCO V. AGUILAR NEVADA STATE CAPITOL BLDG 101 N CARSON ST, STE 3
                                         CARSON CITY NV 89701
OFFICE OF SEC. OF STATE OF NEW JERSEY    HON. SHEILA Y. OLIVER LIEUTENANT GOVERNOR -E PO BOX 001 TRENTON NJ 08625
OFFICE OF SEC. OF STATE OF NEW MEXICO    HON. MAGGIE TOULOUSE OLIVER NEW MEXICO CAPITOL ANNEX NORTH 325 DON GASPAR, STE
                                         300 SANTA FE NM 87501
OFFICE OF SEC. OF STATE OF NEW YORK      HON. ROBERT J RODRIGUEZ ONE COMMERCE PLAZA 99 WASHINGTON AVE, STE1100 ALBANY


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Claim Name                              Address Information
OFFICE OF SEC. OF STATE OF NEW YORK     NY 12231
OFFICE OF SEC. OF STATE OF NORTH DAKOTA HON. MICHAEL HOWE 600 E BLVD AVE DEPT 108 BISMARCK ND 58505-0500
OFFICE OF SEC. OF STATE OF OHIO         HON. FRANK LAROSE 22 N FOURTH ST, 16TH FL COLUMBUS OH 43215
OFFICE OF SEC. OF STATE OF OKLAHOMA     HON. DAVE LOPEZ 2300 N LINCOLN BLVD ROOM 122 OKLAHOMA CITY OK 73105-4897
OFFICE OF SEC. OF STATE OF OREGON       HON. SHEMIA FAGAN 255 CAPITAL ST NE STE 151 SALEM OR 97310-0722
OFFICE OF SEC. OF STATE OF PENNSYLVANIA HON. AL SCHMIDT 302 N OFFICE BLDG 401 N ST HARRISBURG PA 17120
OFFICE OF SEC. OF STATE OF RHODE ISLAND HON. GREGG M AMORE 148 W RIVER ST PROVIDENCE RI 02904
OFFICE OF SEC. OF STATE OF S.C.         HON. MARK HAMMOND 1205 PENDLETON ST, STE 525 COLUMBIA SC 29201
OFFICE OF SEC. OF STATE OF S.D.         HON. MONAE L JOHNSON 500 E CAPITOL AVE, STE 204 PIERRE SD 57501-5070
OFFICE OF SEC. OF STATE OF TENNESSEE    HON. TRE HARGETT STATE CAPITOL NASHVILLE TN 37243-1102
OFFICE OF SEC. OF STATE OF TEXAS        HON. JANE NELSON 1100 CONGRESS CAPITOL BLDG, ROOM 1E.8 AUSTIN TX 78701
OFFICE OF SEC. OF STATE OF UTAH         HON. DEIDRE HENDERSON 350 N STATE ST, STE 220 PO BOX 142325 SALT LAKE CITY UT
                                        84114-2325
OFFICE OF SEC. OF STATE OF VERMONT      HON. COPELAND HANZAS 128 STATE ST MONTPELIER VT 05633-1101
OFFICE OF SEC. OF STATE OF VIRGINIA     HON. KAY COLE JAMES PO BOX 1475 RICHMOND VA 23218
OFFICE OF SEC. OF STATE OF W.V.         HON. MAC WARNER STATE CAPITAL BUILDING CHARLESTON WV 25305-0770
OFFICE OF SEC. OF STATE OF WASHINGTON   HON. KIM WYMAN PO BOX 40220 OLYMPIA WA 98504-0220
OFFICE OF SEC. OF STATE OF WISCONSIN    HON. DOUGLAS LA FOLLETTE STATE CAPITAL BUILDING ROOM B41W MADISON WI 53703
OFFICE OF SEC. OF STATE OF WYOMING      HON. CHUCK GRAY HERSCHLER BUILDING EAST 122 W 25TH ST, STE 100 CHEYENNE WY
                                        82002-0020
OFFICE OF THE UNITED STATES TRUSTEE     GEORGE C. YOUNG FEDERAL BLDG. 400 WEST WASHINGTON STREET, SUITE 1100 ORLANDO
                                        FL 32801
OHIO DEPARTMENT OF TAXATION             PO BOX 182131 COLUMBUS OH 43218-2131
OKLAHOMA TAX COMMISSION                 300 N BROADWAY AVE OKLAHOMA CITY OK 73102
OP OAKHURST REALTY LLC                  ATTN: PRIYANK SINGHAL, LANDLORD 46 FLEMMING DR HILLSBOROUGH NJ 08844-5281
ORACLE AMERICA INC                      2300 ORACLE WAY AUSTIN TX 78741
OREGON DEPARTMENT OF REVENUE            955 CENTER ST NE SALEM OR 97301
PAINT FOLKS                             105 MAIN ST 3RD FLOOR HACKENSACK NJ 07601
PAPERNICK & GEFSKY, LLC.                (COUNSEL TO THE PAUL FAMILY TRUST DATED JUNE 19, 1997) ATTN: ROBERT L. MURPHY
                                        34TH FLOOR, ONE OXFORD CENTRE 301 GRANT STREET PITTSBURGH PA 15219
PENNSYLVANIA DEPARTMENT OF REVENUE      HARRISBURG DISTRICT OFFICE 1131 STRAWBERRY SQ HARRISBURG PA 17128-0101
PEPSI CO. INC                           PO BOX 10 WINSTON SALEM NC 27102
PERDUE, BRANDON, FIELDER, COLLINS &     (COUNSEL TO BROWNSVILLE INDEPENDENT SCHOOL DISTRICT) ATTN: HIRAM GUTIERREZ
MOTT, L.L.P.                            2805 FOUNTAIN PLAZA BLVD., SUITE B EDINBURG TX 78539
PERDUE, BRANDON, FIELDER, COLLINS &     (COUNSEL TO LUBBOCK CENTRAL APPRAISAL DISTRICT) ATTN: LAURA J. MONROE PO BOX
MOTT, L.L.P.                            817 LUBBOCK TX 79408
PLAINFIELD FRUIT AND PRODUCE CO INC     ATTN: GARY HAMRAH JR, VICE PRESIDENT 82 EXECUTIVE AVENUE EDISON NJ 08817
PLATINUM ROOFING SOLUTIONS INC          ATTN: CODY PERKINS, CEO 1515 N ASHLEY ST STE C VALDOSTA GA 31602-3371
PREECHA NARKSUWAN                       ADDRESS ON FILE
PREMIER PRODUCE CENTRAL FLORIDA INC     ATTN: DEMETRIOS CHLEBOGIANNIS, PRESIDENT PREMIER PRODUCE CENTRAL FLORIDA INC
                                        PO BOX 7829 CAROL STREAM IL 60197-7829
PRESIDIO NETWORKED SOLUTIONS LLC        ATTN: BOB CAGNAZZI, CEO PENN 1 1 PENNSYLVANIA PLAZA, SUITE 2501 NEW YORK NY
                                        10119
PRESTO AUTOMATION INC                   985 INDUSTRIAL ROAD ATTN: JEFFREY DITOLLA SAN CARLOS CA 94070
PRO AIR MECHANICAL INC                  ATTN: ANDREW MEADOWS, PRESIDENT 285 N US HIGHWAY 17-92 LONGWOOD FL 32750-4424
PROCTOR & GAMBLE DISTRIBUTING LLC       ONE PROCTOR & GAMBLE PLAZA CINCINNATI OH 45202
PROGRESSIVE FLOORING SERVICES INC       ATTN: NINO A. CERVI, PARTNER 100 HERITAGE DRIVE ETNA OH 43062-8042
PROVENDER HALL IV LLC                   ATTN: JOANNE FOX , GENERAL MANAGER 301 MISSION STREET, SUITE 29-C SAN
                                        FRANCISCO CA 94105
QUATTLEBAUM, GROOMS & TULL PLLC         (COUNSEL TO PRAN MCCAIN, LLC) ATTN: GEOFFREY B. TREECE 111 CENTER STREET,
                                        SUITE 1900 LITTLE ROCK AR 72201


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Claim Name                              Address Information
QWEST MECHANICAL CORP                   ATTN: CHRISTOPHER J. FREEMAN 33940 E ROYALTON RD COLUMBIA STATION OH
                                        44028-9164
RAINBOW INVESTMENT COMPANY              C/O SELTZER CAPLAN MCMAHON VITEK 750 B STREET STE 2100 SAN DIEGO CA 92101-8177
RHODE ISLAND DIVISION OF TAXATION       ONE CAPITOL HILL PROVIDENCE RI 02908-5800
ROGER B. HANDBERG                       US ATTORNEYS OFFICE 300 N HOGAN ST, STE 700 JACKSONVILLE FL 32202
ROGER B. HANDBERG                       US ATTORNEYS OFFICE 400 W WASHINGTON ST, STE 3100 ORLANDO FL 32801
ROGER B. HANDBERG                       US ATTORNEYS OFFICE 400 N TAMPA ST, STE 3200 TAMPA FL 33602
ROGER B. HANDBERG                       US ATTORNEYS OFFICE 35 SE 1ST AVE, STE 300 OCALA FL 34471
ROGER B. HANDBERG                       US ATTORNEYS OFFICE 2110 FIRST ST, STE 3-137 FT. MYERS FL 33901
RONALD M. TUCKER                        (COUNSEL TO SIMON PROPERTY GROUP, INC.) 225 WEST WASHINGTON STREET
                                        INDIANAPOLIS IN 46204
ROWORTH ENTERPRISES LLC                 ATTN: MELINDA ROWORTH, MEMBER 99-129 HOLO PLACE AIEA HI 96701
ROYAL FOODSERVICE INC                   ATTN: CRAIG FLEMING, PRESIDENT 3720 ZIP INDUSTRIAL BOULEVARD SE ATLANTA GA
                                        30354
RUBEN CORTEZ CORPORATION                ATTN: RUBEN CORTEZ, CEO DBA RCS MECHANICAL SERVICES 4161 INGOT STREET FREMONT
                                        CA 94538
RUBIN POSTAER AND ASSOCIATES            2525 COLORADO AVE SANTA MONICA CA 90404
SECURITIES AND EXCHANGE COMMISSION      SEC HEADQUARTERS 100 F STREET, NE WASHINGTON DC 20549
SERVICE SOLUTIONS OF TEXAS LLC          ATTN: SUSAN BROWN, SENIOR VICE PRESIDENT 3022 COWLING RD SANGER TX 76266-7477
SEYFARTH SHAW LLP                       (COUNSEL TO SLADE GORTON & CO., INC.) ATTN: JAMES B. SOWKA 233 S. WACKER
                                        DRIVE, SUITE 8000 CHICAGO IL 60606
SHL US LLC                              ATTN: STEPHANIE HODGES, HEAD OF US OPS 1175 PEACHTREE STREET, SUITE 790
                                        ATLANTA GA 30361
SHUTTS & BOWEN LLP                      (COUNSEL TO 2355 NORTH HIGHWAY 41 ASSOCIATES LLC, L.O.D. JENSEN BEACH, LLC, RL
                                        KOKOMO LLC, RL ELIZABETHTOWN LLC & RL MADISON LLC) ATTN: RYAN C. REINERT &
                                        BRIDGET M. DENNIS 4301 W. BOY SCOUT BLVD., SUITE 300 TAMPA FL 33607
SILVER STATE REFRIGERATION & HVAC LLC   ATTN: SHANE THOMPSON, OWNER 4535 COPPER SAGE ST LAS VEGAS NV 89115-1878
SIRNA & SONS INC                        ATTN: JOE SIRNA, CEO MAINLINE PRODUCE 7176 STATE ROUTE 88 RAVENNA OH 44266
SMARTBEAR SOFTWARE INC                  ATTN: JOUKO KAASILA, FOUNDER& CEO C/O DEPT 3247 PO BOX 123247 DALLAS TX
                                        75312-3247
SMITH COUNTY, GREENVILLE ISD, GRAYSON   IRVING ISD, GREGG COUNTY ATTN: US TRUSTEE (ORLANDO) GEORGE C YOUNG FEDERAL
COUNTY,                                 BUILDING 400 W. WASHINGTON STREET, SUITE 1100 ORLANDO FL 32801
SOUTH CAROLINA DEPT OF REVENUE          300A OUTLET POINTE BOULEVARD COLUMBIA SC 29210
SOUTH DAKOTA DEPT OF REVENUE            445 E CAPITOL AVE PIERRE SD 57501
SOUTH MIDTOWN PROPERTIES LLC            ATTN: WEIYE LIN, MANAGER 1155 SWEETWATER DRIVE RENO NV 89509-5250
STAPLES INC                             ATTN: CRISTINA GONZALEZ, CLO DBA DEX IMAGING LLC PO BOX 17299 CLEARWATER FL
                                        33762-0299
STAR-WEST GREAT NORTHERN MALL LLC       ATTN: MARIE HAUER, MANAGER CT CORPORATION SYSTEM 111 8TH AVENUE, 13TH FL NEW
                                        YORK NY 10011
STATE OF ALABAMA ATTORNEY GENERAL       ATTN: STEVE MARSHALL 501 WASHINGTON AVE MONTGOMERY AL 36104
STATE OF ALASKA ATTORNEY GENERAL        ATTN: TREG TAYLOR 1031 W 4TH AVE, STE 200 ANCHORAGE AK 99501-1994
STATE OF ARIZONA ATTORNEY GENERAL       ATTN: KRIS MAYES 2005 NORTH CENTRAL AVENUE PHOENIX AZ 85004-2926
STATE OF ARKANSAS ATTORNEY GENERAL      ATTN: TIM GRIFFIN 323 CENTER ST, STE 200 LITTLE ROCK AR 72201-2610
STATE OF CALIFORNIA ATTORNEY GENERAL    CONSUMER PROTECTION SECTION ATTN: BANKRUPTCY NOTICES 455 GOLDEN GATE AVE.,
                                        STE. 11000 SAN FRANCISCO CA 94102-7004
STATE OF CALIFORNIA ATTORNEY GENERAL    ATTN: ROB BONTA 1300 'I' ST SACRAMENTO CA 95814-2919
STATE OF COLORADO ATTORNEY GENERAL      ATTN: PHIL WEISER RALPH L CARR COLORADO JUDICIAL BLDG 1300 BROADWAY, 10TH FL
                                        DENVER CO 80203
STATE OF CONNECTICUT ATTORNEY GENERAL   ATTN: WILLIAM TONG 165 CAPITOL AVENUE HARTFORD CT 06106
STATE OF DELAWARE ATTORNEY GENERAL      ATTN: KATHY JENNINGS CARVEL STATE BUILDING 820 N FRENCH ST WILMINGTON DE 19801
STATE OF FLORIDA ATTORNEY GENERAL       ATTN: ASHLEY MOODY PL 01 THE CAPITOL TALLAHASSEE FL 32399-1050



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STATE OF GEORGIA ATTORNEY GENERAL        ATTN: CHRIS CARR 40 CAPITOL SQUARE, SW ATLANTA GA 30334
STATE OF HAWAII ATTORNEY GENERAL         ATTN: ANN E LOPEZ 425 QUEEN ST HONOLULU HI 96813
STATE OF IDAHO ATTORNEY GENERAL          ATTN: RAUL R. LABRADOR 700 W JEFFERSON ST, STE 210 PO BOX 83720 BOISE ID
                                         83720-0010
STATE OF ILLINOIS ATTORNEY GENERAL       ATTN: KWAME RAOUL 100 W RANDOLPH ST CHICAGO IL 60601
STATE OF INDIANA ATTORNEY GENERAL        ATTN: TODD ROKITA INDIANA GOVERNMENT CENTER SOUTH 302 W WASHINGTON ST, 5TH FL
                                         INDIANAPOLIS IN 46204
STATE OF IOWA ATTORNEY GENERAL           ATTN: BRENNA BIRD HOOVER STATE OFFICE BUILDING 1305 E WALNUT ST DES MOINES IA
                                         50319
STATE OF KANSAS ATTORNEY GENERAL         ATTN: KRIS W. KOBACH 120 SW 10TH AVE, 2ND FL TOPEKA KS 66612
STATE OF KENTUCKY ATTORNEY GENERAL       ATTN: DANIEL CAMERON 700 CAPITOL AVE, STE 118 FRANKFORT KY 40601-3449
STATE OF LOUISIANA ATTORNEY GENERAL      ATTN: JEFF LANDRY 1885 N THIRD ST BATON ROUGE LA 70802
STATE OF MAINE ATTORNEY GENERAL          ATTN: AARON FREY 6 STATE HOUSE STATION AUGUSTA ME 04333
STATE OF MARYLAND ATTORNEY GENERAL       ATTN: ATHONY G. BROWN 200 ST PAUL PLACE BALTIMORE MD 21202
STATE OF MASSACHUSETTS ATTORNEY GENERAL ATTN: ANDREA JOY CAMPBELL 1 ASHBURTON PLACE, 20TH FL BOSTON MA 02108-1518
STATE OF MICHIGAN ATTORNEY GENERAL       ATTN: DANA NESSEL G. MENNEN WILLIAMS BLDG 525 W OTTAWA ST - PO BOX 30212
                                         LANSING MI 48909
STATE OF MINNESOTA ATTORNEY GENERAL      ATTN: KEITH ELLISON 445 MINNESOTA ST STE 1400 ST. PAUL MN 55101-2131
STATE OF MISSISSIPPI ATTORNEY GENERAL    ATTN: LYNN FITCH PO BOX 220 JACKSON MS 39205
STATE OF MISSOURI ATTORNEY GENERAL       ATTN: ANDREW BAILEY SUPREME CT BLDG, 207 W HIGH ST PO BOX 899 JEFFERSON CITY
                                         MO 65102
STATE OF MONTANA ATTORNEY GENERAL        ATTN: AUSTIN KNUDSEN JUSTICE BLDG 215 N SANDERS ST HELENA MT 59601
STATE OF NEBRASKA ATTORNEY GENERAL       ATTN: MIKE HILGERS 2115 STATE CAPITOL PO BOX 98920 LINCOLN NE 68509
STATE OF NEVADA ATTORNEY GENERAL         ATTN: AARON D. FORD 100 N CARSON ST CARSON CITY NV 89701
STATE OF NEW HAMPSHIRE ATTORNEY GENERAL ATTN: JOHN M. FORMELLA NH DEPT OF JUSTICE 33 CAPITOL ST CONCORD NH 03301
STATE OF NEW JERSEY ATTORNEY GENERAL     ATTN: MATTHEW J. PLATKIN RJ HUGHES JUSTICE COMPLEX 25 MARKET ST - PO BOX 080
                                         TRENTON NJ 08625-0080
STATE OF NEW MEXICO ATTORNEY GENERAL     ATTN: RAUL TORREZ 408 GALISTEO ST VILLAGRA BLDG SANTA FE NM 87501
STATE OF NEW YORK ATTORNEY GENERAL       ATTN: LETITIA A. JAMES DEPT. OF LAW THE CAPITOL, 2ND FL ALBANY NY 12224-0341
STATE OF NORTH CAROLINA ATTORNEY         ATTN: JOSH STEIN 9001 MAIL SERVICE CTR RALEIGH NC 27699-9001
GENERAL
STATE OF NORTH DAKOTA ATTORNEY GENERAL   ATTN: DREW WRIGLEY 600 E BOULEVARD AVE DEPT 125 BISMARCK ND 58505
STATE OF OHIO ATTORNEY GENERAL           ATTN: DAVE YOST 30 E BROAD ST, 14TH FL COLUMBUS OH 43215
STATE OF OKLAHOMA ATTORNEY GENERAL       ATTN: DONNA HOPE 313 NE 21ST ST OKLAHOMA CITY OK 73105
STATE OF OREGON ATTORNEY GENERAL         ATTN: ELLEN F. ROSENBLUM 1162 COURT ST, NE SALEM OR 97301-4096
STATE OF PENNSYLVANIA ATTORNEY GENERAL   ATTN: MICHELLE HENRY STRAWBERRY SQ 16TH FLR HARRISBURG PA 17120
STATE OF RHODE ISLAND ATTORNEY GENERAL   ATTN: PETER F. NERONHA 150 S MAIN ST PROVIDENCE RI 02903
STATE OF SOUTH CAROLINA ATTORNEY         ATTN: ALAN WILSON REMBERT C. DENNIS OFFICE BLDG 1000 ASSEMBLY ST, ROOM 519
GENERAL                                  COLUMBIA SC 29201
STATE OF SOUTH DAKOTA ATTORNEY GENERAL   ATTN: MARK JACKLEY 1302 EAST HIGHWAY 14, STE 1 PIERRE SD 57501-8501
STATE OF TENNESSEE ATTORNEY GENERAL      ATTN: JONATHAN SKRMETTI PO BOX 20207 NASHVILLE TN 37202-0207
STATE OF TEXAS ATTORNEY GENERAL          ATTN: KEN PAXTON 300 W 15TH ST AUSTIN TX 78701
STATE OF UTAH ATTORNEY GENERAL           ATTN: SEAN D. REYES 350 N STATE ST, STE 230 SALT LAKE CITY UT 84114-2320
STATE OF VERMONT ATTORNEY GENERAL        ATTN: CHARITY R. CLARK 109 STATE ST MONTPELIER VT 05609-1001
STATE OF VIRGINIA ATTORNEY GENERAL       ATTN: JASON MIYARES 202 N NINTH ST RICHMOND VA 23219
STATE OF WASHINGTON ATTORNEY GENERAL     ATTN: BOB FERGUSON 1125 WASHINGTON ST SE OLYMPIA WA 98504-0100
STATE OF WEST VIRGINIA ATTORNEY GENERAL ATTN: PATRICK MORRISEY STATE CAPITOL COMPLEX, BLDG 1, ROOM E-26 1900 KANAWHA
                                        BLVD. E CHARLESTON WV 25305
STATE OF WISCONSIN ATTORNEY GENERAL      ATTN: JOSH KAUL WISCONSIN DEPARTMENT OF JUSTICE 17 PO BOX 7857 MADISON WI
                                         53703-7857
STATE OF WYOMING ATTORNEY GENERAL        ATTN: BRIDGET HILL 109 STATE CAPITAL 200 W. 24TH ST CHEYENNE WY 82002


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SYNQ3 RESTAURANT SOLUTIONS LLC           ATTN: STEVE BIGARI, CEO 5061 N 30TH ST COLORADO SPRINGS CO 80919
TENNESSEE DEPT OF REVENUE                ANDREW JACKSON STATE OFFICE BLDG. 500 DEADERICK STREET NASHVILLE TN 37242
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS     LYNDON B JOHNSON STATE OFFICE BLDG 111 E 17TH ST AUSTIN TX 78774
THE WALDINGER CORPORATION                ATTN: DEREK HILEMAN, PRESIDENT 1800 LEVEE RD NORTH KANSAS CITY MO 64116-4405
THE WASSERSTROM COMPANY                  4500 EAST BROAD STREET COLUMBUS OH 43213
TN DEPT OF REVENUE                       (COUNSEL TO TENNESSEE ATTORNEY GENERAL OFFICE) ATTN: STUARY WILSON-PATTON PO
                                         BOX 20207 NASHVILLE TN 37202-0207
TOUCHPOINT INC                           ATTN: LAWRENCE MILLER, DIRECTOR 405 W CLOVERHURST AVE ATLANTA GA 30606
TRAVIS COUNTY                            ATTN: JASON A. STARKS PO BOX 1748 AUSTIN TX 78767
TRENAM, KEMKER, SCHARF, BARKIN, FRYE,    MULLIS, P.A. (COUNSEL TO FORTRESS CREDIT CORP) ATTN: LARA ROESKE FERNANDEZ 101
O'NEILL &                                E. KENNEDY BOULEVARD, SUITE 2700 TAMPA FL 33602
TUCKER ELLIS LLP                         (COUNSEL TO GORDON FOOD SERVICE CANADA LTD) ATTN: JASON M. TORF 233 SOUTH
                                         WACKER DRIVE, SUITE 6950 CHICAGO IL 60606
TUCKER ELLIS LLP                         (COUNSEL TO GORDON FOOD SERVICE CANADA LTD) ATTN: EDET D. NSEMO 233 SOUTH
                                         WACKER DRIVE, SUITE 6950 CHICAGO IL 60606
UB MIDWAY LLC                            ATTN: RICHARD STEINBERG, OWNER C/O MIDWAY SHOPPING CENTER 321 RAILROAD AVENUE
                                         GREENWICH CT 06830
UNDERWOOD MURRAY, P.A.                   (COUNSEL TO GORDON FOOD SERVICE CANADA LTD) ATTN: MEGAN W. MURRAY 100 N. TAMPA
                                         ST, SUITE 2325 TAMPA FL 33602
UNITED STATES DEPARTMENT OF JUSTICE      OFFICE OF THE UNITED STATES TRUSTEE (COUNSEL TO MARY IDA TOWNSON, UST FOR
                                         REGION 21) ATTN: SCOTT BOMKAMP GEORGE C. YOUNG FEDERAL BUILDING 400 W.
                                         WASHINGTON ST, SUITE 1100 ORLANDO FL 32801
UNITED STATES DEPARTMENT OF JUSTICE      (COUNSEL TO MARY IDA TOWNSON, UST REGION 21) ATTN: BRYAN EDGAR BUENAVENTURA
                                         OFFICE OF THE UNITED STATES TRUSTEE TIMBERLAKE FEDERAL ANNEX BUILDING 501 EAST
                                         POLK STREET, SUITE 1200 TAMPA FL 33602
UNITED STATES TREASURY                   OFFICE OF THE TREASURER 1500 PENNSYLVANIA AVENUE, NW ROOM 2134 WASHINGTON DC
                                         20220
US TRUSTEE (ORLANDO)                     (COUNSEL TO NUECES COUNTY, CITY OF MCALLEN, VICTORIA COUNTY, CAMERON COUNTY,
                                         SAN MARCOS CISD, HIDALGO COUNTY & MCLENNAN COUNTY) GEORGE C YOUNG FEDERAL
                                         BUILDING 400 W WASHINGTON STREET, SUITE 1100 ORLANDO FL 32801
US TRUSTEE (ORLANDO)                     (COUNSEL TO CYPRESS-FAIRBANKS ISD) GEORGE C YOUNG FEDERAL BUILDING 400 W.
                                         WASHINGTON STREET, SUITE 1100 ORLANDO FL 32801
USP APOLLO LLC                           ATTN: DREW GREENWALD, DIRECTOR C/O GRID PROPERTIES INC 2309 FREDERICK DOUGLASS
                                         BOULEVARD NEW YORK NY 10027
UTAH STATE TAX COMMISSION                210 N 1950 W SALT LAKE CITY UT 84134
VEREIT OPERATING PARTNERSHIP LP          ATTN: MICHAEL J. BARTOLOTTA, CFO 2325 E CAMELBACK RD FL 9 PHOENIX AZ
                                         85016-9080
VERMONT DEPT OF TAXES                    133 STATE ST MONTPELIER VT 05602
VIRGINIA DEPT OF TAXATION                1957 WESTMORELAND STREET RICHMOND VA 23230
WASHINGTON STATE DEPT OF REVENUE         EXECUTIVE OFFICE PO BOX 47450 OLYMPIA WA 98504-7450
WEATHERITE CORPORATION                   ATTN: STEVEN J SMITH, MANAGER 21211 COMMERCE POINT DRIVE WALNUT CA 91789-3056
WELLS FARGO BANK, NA                     AS ADMINISTRATIVE AGENT 1800 CENTURY PARK E, STE 1100 LOS ANGELES CA 90067
WELLS FARGO BANK, NA                     AS AGENT 1800 CENTURY PARK E, STE 1100 LOS ANGELES CA 90067
WELLS FARGO BANK, NATIONAL ASSOCIATION   DANIELLE BALDINELLI, MANAGING DIRECTOR WELLS FARGO CAP FINANCE RETAIL FINAN
                                         DIV 125 HIGH STREET, 11TH FLOOR BOSTON MA 02110-2704
WELLS FARGO BANK, NATIONAL ASSOCIATION   ATTN: KIM DEL POZZO, EXEC. DIR 171 17TH STREET NW BUILDING 100, 2ND FLOOR
                                         ATLANTA GA 30363
WELLS FARGO BANK, NATIONAL ASSOCIATION   C/O BURR & FORMAN LLP ATTN: ERIC S. GOLDEN 200 SOUTH ORANGE AVENUE, SUITE 800
                                         ORLANDO FL 32801
WELLS FARGO BANK, NATIONAL ASSOCIATION   C/O GOLDBERG KOHN LTD. ATTN: RANDALL KLEIN 55 E MONROE ST STE 3300 CHICAGO IL
                                         60603
WEST VIRGINIA STATE TAX DEPT             THE REVENUE CENTER 1001 LEE ST EAST CHARLESTON WV 25301



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WILLIAM J. SIMONITSCH                   (COUNSEL TO MARY IDA TOWNSON, UST FOR REGION 21) UNITED STATES DEPARTMENT OF
                                        JUSTICE OFFICE OF THE UNITED STATES TRUSTEE GEORGE C. YOUNG FEDERAL BUILDING
                                        400 W. WASHINGTON ST., SUITE 1100 ORLANDO FL 32801
WINDERWEEDLE, HAINES, WARD & WOODMAN,   (COUNSEL TO CRI OUTPARCELS, LLC) ATTN: RYAN E. DAVIS 329 PARK AVENUE NORTH,
P.A.                                    SECOND FLOOR WINTER PARK FL 32789
WISCONSIN DEPT OF REVENUE               2135 RIMROCK RD MADISON WI 53713
WV LONESTAR OWNER LLC                   ATTN: MICHAEL K. FEDERMAN, PRINCIPAL C/O FEDERMAN STEIFMAN LLP 220 EAST 42ND
                                        STREET, 29TH FLOOR NEW YORK NY 10017
WYOMING DEPARTMENT OF REVENUE           122 WEST 25TH ST, STE E301 HERSCHLER BUILDING EAST CHEYENNE WY 82002-0110
ZIPRECRUITER INC                        ATTN: IAN SIEGEL, CEO 604 ARIZONA AVE. SANTA MONICA CA 90401




                                Total Creditor count 335




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1 TOM PLUMBER LLC                    24 WHITNEY DR STE A MILFORD OH 45150-9521
1-800-GOT-JUNK                       325 2A 15 WOROBETZ PLACE SASKATOON SK S7L 6R4 CANADA
1-800-GOT-JUNK COMMERCIAL SERVICES   PO BOX 123419 DEPT 3419 DALLAS TX 75312-3419
(USA)
100 IH 35 NORTH OWNER LLC            ATTN: GRIFFIN BROCK 701 N. FORT LAUDERDALE BEACH BLVD 1604 FORT LAUDERDALE FL
                                     33304
10010 STATION LLC                    ATTN: TOM MCDOWELL, DIR OF OPERATIONS C/O MAPP LLC 9101 RIVER RD POTOMAC MD
                                     20854-4627
101175816 SASK LTD                   435 GUENTER BAY SASKATOON SK S7N 4P7 CANADA
109 WEST ANDERSON, LP                ATTN: LAURA BUCHANAN C/O RIVERSIDE RESOURCES 1221 SOUTH MOPAC EXPRESSWAY,
                                     SUITE 200 AUSTIN TX 78746
10920 MOORPARK LLC                   ATTN: JEFF SAHNAZOGLU 650 SOUTH HILL ST. SUITE M-11 LOS ANGELES CA 90014
10TH FAIRWAY LLC                     DBA JM MANAGEMENT GROUP LLC ATTN JOHN MESITI 2300 BUFFALO RD BLDG 100D
                                     ROCHESTER NY 14624-1371
112 RLT LLC AND 116 RLT LLC          C/O HOLM & OHARA LLP 3 WEST 35TH STREET 9TH FLOOR NEW YORK NY 10001
1120 SOUTH WALTON PARTNERS LLC       ATTN: KANE WHITT 4320 INDUSTRIAL DRIVE FORT SMITH AR 72916
116 RLT LLC                          C/O HOLM & OHARA LLP 3 WEST 35TH STREET 9TH FLOOR NEW YORK NY 10001
11661124 CANADA INC                  DBA LES ENSEIGNES PRO TECH 95 CHEMIN DES BATISSEURS VAL DES MONTS QC J8N 7C4
                                     CANADA
1229 RICHMOND LLC                    C/O HENRY GOLDBERG 11 MILLER POINT ROAD BREMEN ME 04551
1340 EAST 9TH STREET REALTY CORP     DBA LAFAYETTE PLAZA 184 NEW EGYPT ROAD LAKEWOOD NJ 08701
13515834 CANADA INC                  SABARI SECURITY SERVICES UNIT210, 30 KIMBERCROFT CRT TORONTO ON M1S 4K9 CANADA
1359 SN OWNERS LLC                   PO BOX 5461 NEW YORK NY 10185-5461
13612 HARBOR BOULEVARD LLC           2058 N MILLS AVENUE SUITE 435 CLAREMONT CA 91711-2812
1420 NOBLE AVE LLC                   DBA 20 TOWN CENTER OWNER LLC 740 ST NICHOLSON DRIVE NEW YORK NY 10031
1420 NOBLE AVE LLC                   DBA 3909 SUNSET DRIVE OWNER LLC 740 ST NICHOLSON DRIVE NEW YORK NY 10031
1561 EAST 13TH STREET LLC            W FREMONT LLC 315 CENTRAL AVE LAWRENCE NY 11559-1605
1601 DAHILL PROPERTIES INC           118 WEED AVE STATEN ISLAND NY 10306-4925
1675496 ONTARIO INC                  DBA PETES RESTAURANT REPAIR 280 PERRY STREET UNIT 7 PETERBOROUGH ON K9J 7S4
                                     CANADA
170 WOLF ROAD LLC                    655-661 BLANFORD RD GRANVILLE MA 01034-9701
1726 NC LLC                          ATTN: CELESTE CARLESIMO 250 E 87TH ST APT 6A NEW YORK NY 10128-3119
18265 HIGHWAY 49 LLC                 7682 CALLAWAY DR RANCHO MURIETA CA 95683-9268
1885 LTD                             1707 1/2 POST OAK BLVD 250 HOUSTON TX 77056-3801
1981328 ONTARIO CORP                 DBA SHACK SHINE 12 MAPLEGATE ROAD TINY ON L0L 2T0 CANADA
1GMRI, INC.                          C/O CORPORATE CREATIONS NETWORK INC. 101 NORTH SEVENTH STREET LOUISVILLE KY
                                     40202
1ST CALL MAINTENANCE LTD             7319 WHELAN DRIVE REGINA SK S4X 3W8 CANADA
1ST CHOICE LOCK & SAFE LLC           12 BENJAMIN RUN LANDENBERG PA 19350-1228
1ST CLASS CLEANING SERVICE           PO BOX 283 MINERAL SPRINGS NC 28108-0283
1TP GREENVILLE INC                   DBA 1 TOM PLUMBER PO BOX 2066 ANDERSON SC 29622-2066
2 GIRLS ENTERPRISES LLC              DBA WILSON EQUIPMENT ETC 13040 W COLONIAL DR WINTER GARDEN FL 34787-3919
2 SCHNAUZERS GROUP LLC               1921 W 22ND ST LITTLE ROCK AR 72202-6233
20 TOWNE CENTER OWNER LLC            ATTN: MARCUS R. GREY 740 ST. NICHOLAS AVENUE NEW YORK NY 10031
2001 REFRIGERATION & HVAC INC        1422 SAWKILL ROAD KINGSTON NY 12401
2005 WORK SMART CORP                 DBA MID CITY RESTAURANT SUPPLY 500 ALAKAWA STREET UNIT 118 HONOLULU HI 96817
2015 WESEL BLVD LLC                  PO BOX 4217 HAGERSTOWN MD 21741
2085072 ALBERTA LTD                  O/A COMPLETE MAINTENANCE AND CONSTRUCTION SERVICES 51 POTCHETT RD BOX 63
                                     TAMWORTH ON K0K 3G0 CANADA
23 1/2 HR LOCKSMITH SECURITY CO      DBA WILLIAMS SECURITY LLC PO BOX 4415 CANTON GA 30114
2300 RESTAURANT CORP                 201 E LAS OLAS BLVD STE 1200 FORT LAUDERDALE FL 33301-4434


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2325 EAST FLAMINGO LLC                  PO BOX 332 RENO NV 89504
2328 COMMERCIAL WAY PROPERTIES LLC      ATTN EDEN 1 E ERIE ST STE 525-4833 CHICAGO IL 60611-2740
2355 NORTH HIGHWAY 41 ASSOCIATES LLC    4301 W. BOY SCOUNT BLVD. STE. 300 TAMPA FL 33607
2355 NORTH HIGHWAY 41 ASSOCIATES, LLC   ATTN: JEFF MANDELBAUM 354 EISENHOWER PARKWAY, SUITE 1900 LIVINGSTON NJ 07039
237 UPTOWN INC.                         ATTN: MOHAMMAD DAVID HAWA 3307 GARLAND DRIVE FALLS CHURCH VA 22041
24 HR AIR SERVICE INC                   20725 NE 16TH AVE STE A21 MIAMI FL 33179-2151
24 HR CONTRACTORS LLC                   DBA PLUMB ZEBRA 1622 N WILLOW RD SPOKANE VALLEY WA 99206-4064
2402126 ONTARIO INC.                    133 SYLWOOD CRESCENT MAPLE ON L6A 2P6 CANADA
2402126 ONTARIO INC.                    33 SLYWOOD CRESCENT MAPLE ON L6A 2P6 CANADA
247 EMERGENCY DUMPSTERS INC             1307 S FEDERAL HWY DEERFIELD BEACH FL 33441
2474 VALENTINE REALTY LLC               DBA RL NEW BRUNSWICK OWNER LLC C/O THE MORGAN GROUP 1 SOUND SHORE DR STE 203
                                        GREENWICH CT 06830-7251
2513360 ONTARIO INC                     O/A PLUMBWIZE PO BOX 71087 BURLINGTON ON L7T 2E0 CANADA
2525 BOWLING GREEN LLC                  C/O GENEVA MANAGEMENT 2950 SW 27TH AVE MIAMI FL 33133-3765
2537 S WABASH CHI LLC                   777 S FIGUEROA ST FLOOR 41 LOS ANGELES CA 90017-5800
2573486 ONTARIO INC                     DBA DELMAR FOODS 25 S SERVICE ROAD ST MARYS ON N4X 1E9 CANADA
259454848 ONTARIO LTD                   PLUMBING & DRAIN ELECTRICAL SRVS 383 VANKIRK DRIVE BRAMPTON ON L7A 1T2 CANADA
2620 MCFARLAND BLVD EAST LLC            ATTN: SAL SALMIERI SR. 28 SUNSET DRIVE TINTON FALLS NJ 07224
2629574 ONT INC                         O/A RCI HVAC AND AUTOMATION 39 GLENWOOD DRIVE BARRIE ON L4N 1R3 CANADA
27TH MESA LLC                           1158 LAS PULGAS RD PACIFIC PALISADES CA 90272
2823281 ONTARIO INC                     DBA VIVE BRANT MECHANICAL 200 HACHBORN ROAD BRANTFORD ON N3S 7W5 CANADA
29 OCEAN PARKWAY LLC                    ATTN DAVID GARTENSTEIN & STEVEN GARTENSTEIN 1245 HEWLETT PLZ UNIT 56 HEWLETT
                                        NY 11557-4003
2PRO WASH LLC                           PO BOX 1163 DANVILLE IL 61834-1163
307 WINDOWS LLC                         DBA FISH WINDOW CLEANING PO BOX 2676 CASPER WY 82602-2676
3087 ASSOCIATES LLC                     DBA 3087 RLGA LLC C/O LENORE RASHTY 6428 POLO POINT WAY DELRAY BEACH FL 33484
3087 RLGA, LLC                          ATTN: C/O LENORE RASHTY 6428 POLO POINT WAY DELRAY BEACH FL 33484
32 BLANDING BOULEVARD OWNER LLC         ATTN: ALAN ZEISS 841 GILBERT HIGHWAY FAIRFIELD CT 06824
3301669 NOVA SCOTIA COMPANY             PO BOX 57344 STN A TORONTO ON M5W 5M5 CANADA
360 POWERWASHING LLC                    9615 BETSY ROSS LN LIBERTY MO 64068-8526
3815 SOUTH LAMAR, LP                    ATTN: LAURA BUCHANAN C/O RIVERSIDE RESOURSES 1221 SOUTH MOPAC EXPRESSWAY,
                                        SUITE 200 AUSTIN TX 78746
3909 SUNSET DRIVE OWNER LLC             ATTN: RUSSELL GREY 740 ST. NICHOLAS AVENUE NEW YORK NY 10031
3909 SUNSET DRIVE OWNER, LLC            8080 PARK LANE STE. 700 DALLAS TX 75231
39401 FREMONT BOULEVARD LLC             ATTN: ALLISON HUYNH 555 BRYANT STREET SUITE 316 PALO ALTO CA 94301
3B2 SOLUTIONS LLC                       35 B CONCOURSE WAY GREER SC 29650-4704
3JT RGV INC                             DBA EXPRESS REFRIGERATION AND AIR CONDTIONING SERVICES 27166 S WHITE RANCH RD
                                        SUITE A LA FERIA TX 78559
3R HOME AND OFFICE SERVICES LLC         301 DURST AVE W GREENWOOD SC 29649-2025
3RD GENERATION SERVICES                 DBA CEILING PRO OF SAN ANTONIO 6800 PARK TEN BOULEVARD SUITE 136E SAN ANTONIO
                                        TX 78213
3WIRE LLC                               PO BOX 102205 PASADENA CA 91189-2205
4 KM SERVICES LLC                       DBA STARK SERVICES 167 HORN RD LUMBERTON TX 77657-7205
4 MILLER BOYS LLC                       DBA WASH BINS 15233 1/2 LA CRUZ DR PACIFIC PALISADES CA 90272-3610
407 ETR                                 PO BOX 407 STATION D SCARBOROUGH ON M1R 5J8 CANADA
411 LENOX REALTY INC                    455 LENOX AVE NEW YORK NY 10037-3331
416 COMMERCE CENTER DRIVE LLC           ATTN: JUAN M. NUNEZ PO BOX 216 WEST ISLIP NY 11795-0216
416 COMMERCE CENTER DRIVE LLC           ATTN: JUAN M. NUNEZ 3518 VALLEYVIEW DRIVE KISSIMMEE FL 34746
4230 BROADWAY REALTY CO INC             C/O EDWARD APUZZI 5 OAKRIDGE COURT PRINCETON NJ 08540
454 W 22 ST LLC                         DBA 8040 KINGSTON PIKE ROAD OWNER LLC 701 N FORT LAUDERDALE BEACH BLVD UNIT


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454 W 22 ST LLC                      1604 FORT LAUDERDALE FL 33304-4148
5 STAR REFRIGERATION INC             PO BOX 263 WILDWOOD PA 15091-0263
50 BACKFLOW TEST LLC                 DBA BACKFLOW SERVICES PO BOX 351342 WESTMINSTER CO 80035-1342
509502 ONTARIO LTD                   DBA K&H ASPHALT SEALING & STRIPING PO BOX 28029 OAKRIDGE RO LONDON ON N6H 5E1
                                     CANADA
5950 NORTH FEDERAL INVESTMENTS LLC   ATTN: GREG BERKOWITZ C/O GREG BERKOWITZ 2618 W. FULLERTON AVE., APT 4C CHICAGO
                                     IL 60647
6091 SAWMILL ROAD LLC                C/O DON KUHN 4534 CROSSTICK CT SYLVANIA OH 43560-2288
6597262 CANADA INC                   O/A T&F SERVICES 70 MAJESTIC DRIVE OTTAWA ON K2G 3K6 CANADA
6701 18TH AVENUE ASSOCIATES LLC      112 MULBERRY CIRCLE STATEN ISLAND NY 10314-3716
684 MYRTLE AVENUE REALTY LLC         360 KINGSLAND AVENUE BROOKLYN NY 11222
7 HILLS LOCK AND KEY INC             PO BOX 4684 LYNCHBURG VA 24502-0684
7 HILLS STRIPING INC                 2935 S FISH HATCHERY ROAD 343 MADISON WI 53711
714 YONGE STREET INC                 238 HOUNSLOW AVENUE TORONTO ON M2N 2B6 CANADA
72221 HIGHWAY 111 LLC                C/O PURE PROPERTY MANAGEMENT PO BOX 871 MENIFEE CA 92586-0871
7648243 CANADA LTD                   O/A SERVPRO OF CALGARY SOUTH 5730 BURBANK ROAD SE CALGARY ON T2H 1Z4 CANADA
765 DECK LLC                         DBA 768-ROOF PO BOX 41 CLEARFIELD PA 16830-0041
777 MANAGEMENT CORP                  DBA 8210 IH 35 NORTH OWNER LLC 233 WEST 230 STREET ATTN: LINDA CHASE BRONX NY
                                     10463
7G DISTRIBUTING LLC                  9925 SIXTH STREET SW CEDAR RAPIDS IA 52404-9074
7SECURE LLC                          PO BOX 173 ISLIP NY 11751-0173
801 RED LOBSTER, LLC                 ATTN: MR. ROBERT BERRIN 4601 PONCE DE LEON BOULEVARD SUITE 300 CORAL GABLES FL
                                     33146
8407 LITTLE ROAD OWNER LLC           ATTN: TILDE MARIANI GIACCHE C/O TILDE GIACCHE 13 EAST 12TH STREET NEW YORK NY
                                     10003
870 LANDSOWNE LTD.                   160 RIMMINGTON DR. THORNHILL ON L4J6K1 CANADA
9069 VANTAGE POINT DRIVE OWNER LLC   ATTN: JERRY BERTUNA 1776 61ST STREET BROOKLYN NY 11204
911 GASKETS                          49 SUNKIST VALLEY ROAD BOLTON ON L7E 1T1 CANADA
95METCALF PROPERTIES, INC.           4705 CENTRAL STREET KANSAS CITY MO 64112
A & A PRODUCE COMPANY LLC            4726 NORTHGATE BLVD MYRTLE BEACH SC 29577
A & B CARPET CLEANING INC            6536 FULTON AVE VAN NUYS CA 91401-1305
A & B LOCK SAFE CO INC               1001 UNION BOULEVARD ALLENTOWN PA 18109
A & B LOCKSMITH                      5858 PELHAM TAYLOR MI 48180
A & D MICROWAVE OVENS SRV CORP       70 E 2ND ST MINEOLA NY 11501-3505
A & E DELIVERY                       23 BEDFORD PARK GRIMSBY ON L3M 2S1 CANADA
A & E EQUIPMENT SALES INC            A & E REPAIR 7832 CLARK MOODY BLVD PORT RICHEY FL 34668-6891
A & E KITCHEN SERVICE LLC            1651 S EMPIRE AVE SPRINGFIELD MO 65802
A & E MICROWAVE SERVICES INC         PO BOX 701481 SAN ANTONIO TX 78270
A & E PLUMBING INC                   PO BOX 617 BLACK HAWK SD 57718
A & F WATER HTR & SPA SER INC        35170 BEATTIE DRIVE STERLING HEIGHTS MI 48312
A & J CLEANING INC                   DBA SAFETYTEC SERVICES 840 COMMERCIAL CLEARWATER KS 67026-9104
A & N LEASING INC                    DBA RUSTYS PLUMBING SEPTIC & GAS PO BOX 773914 OCALA FL 34477
A & R PLUMBING LLC                   26 NEW HARTFORD STREET NEW YORK MILLS NY 13417
A & R REPAIRS BAKERS KNEADS INC      31695 STEPHENSON HWY MADISON HTS MI 48071-1646
A & W PLUMBING & HEATING INC         11 ALLIANCE AVENUE MURPHYSBORO IL 62966
A 1 PUMPING & EXCAVATING LLC         3900 N NATIONAL AVE SIOUX FALLS SD 57104-5505
A ACORN LOCK & SAFE INC              803 SHOTGUN RD SUNRISE FL 33326
A AND A REFRIGERATION LLC            103 MARION AVE GOOSE CREEK SC 29445-3237
A AWNING CLEANING INC                DBA POWERNOW PRESSURE WASHING PO BOX 6037 SHERWOOD AR 72124
A BUSY BEE LOCK AND KEY LLC          DBA BALDWIN LOCK & KEY 3155 W CHINDEN BLVD GARDEN CITY ID 83714-6634


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A C S UNLIMITED INC                      DBA ACCESS CONTROL SYS BURGESS LOCKSMITH PO BOX 2875 SALINA KS 67401
A CHAVARRIAS PLUMBING INC                6320 KRONE LANE LAREDO TX 78041
A CLEAN BAY PLUMBING & DRAIN CLEANING    3300 ELMHURST LN PORTSMOUTH VA 23701-2643
A CLEAR VIEW WINDOW CLEANING LLC.        PO BOX 502 NEW FREEDOM PA 17349-0502
A CLOSER LOOK LLC                        PO BOX 936612 ATLANTA GA 31193-6612
A CUT ABOVE LANDSCAPE AND LAWN CARE LLC PO BOX 87 WATERTOWN NY 13601
A DAVINO ELECTRICAL CONTRACTING CORP     10 E 39TH ST FL 12 NEW YORK NY 10016-0111
A GFS CANADA COMPANY                     DBA GFS PRAIRIES INC 13511 163 STREET NW EDMONTON ON T5V 0B5 CANADA
A HEAD ABOVE DRAFT LLC                   101611 OVERSEAS HWY KEY LARGO FL 33037-4585
A J BASS JR IRREVOC TR FBO MARY DORSEY   ADDRESS ON FILE
A L GEORGE INC                           PO BOX 878 BINGHAMTON NY 13902
A LAWN CARE INC                          DBA A LAWN CARE & LANDSCAPING INC 1812 E OZARK AVENUE GASTONIA NC 28054
A LIST PLUMBING LLC                      21133 22ND AVE W LYNNWOOD WA 98036-7945
A M C QUALITY LAWN MAINTENANCE           PO BOX 7764 GURNEE IL 60031
A MINNESOTA LOCKSMITH LLC                DBA MINNESOTA LOCKSMITH 33 W CENTRAL ENTRANCE DULUTH MN 55811-3433
A MORALES UPHOLSTERY                     DBA MORALES UPHOLSTERY 9029 OLIVE DRIVE 104 SPRING VALLEY CA 91977
A O SMITH WATER PRODUCTS                 12024 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
A PERFECT PRESSURE CLEANING INC.         PO BOX 725 CRESTVIEW FL 32536-0725
A PLUS CARPET CLEANING LLC               3403 JOSEPHINE CIR GROVE CITY OH 43123-1813
A PLUS HANDYMAN                          625 BERRYVILLE AVE WINCHESTER VA 22601-5601
A PLUS RESTAURANT EQUIPMENT & SUPPLIES   334 MCDERMOT AVE WINNIPEG MB R3A 0A5 CANADA
A PLUS SAFE AND LOCK LLC                 PO BOX 751 GREENBRIER AR 72058-0751
A ROYAL FLUSH PLUMBING INC               PO BOX 2808 GULFPORT MS 39505
A S PLUMBING INC                         DBA ACTS OF SERVICE PLUMBING PO BOX 690531 TULSA OK 74169-0531
A SHARPER IMAGE COMPLETE HOME CARE INC   5109 MEDEARIS ST SUMMERFIELD NC 27358-9008
A THUMBS UP INC.                         PO BOX 548 BEL AIR MD 21014
A TO Z GLASS INC                         DBA WHOLESALE GLASS & MIRROR COMPANY 419 HAYWOOD ROAD ASHEVILLE NC 28806-4256
A TO Z LOCK & SAFE INC                   124A MARY ESTHER BLVD MARY ESTHER FL 32569
A TO Z MARKETING LTD                     DBA THE TAP GUYS 842-12TH AVENUE EAST WEST FARGO ND 58078
A TOUCH OF GLASS CLEANING SERVICE INC    PO BOX 2155 KANKAKEE IL 60901
A&A CONSULTANT LLC                       13101 STEEPLECHASE DR BOWIE MD 20715-4541
A&B ICE                                  3626 OLD CAPITOL TRL WILMINGTON DE 19808-6038
A&B SIGN CO INC                          691 6TH ST PRESCOTT AZ 86301-2015
A&G REALTY PARTNERS LLC                  445 BROADHOLLOW RD STE 410 MELVILLE NY 11747-3601
A&P GRESE TRAPPERS INC                   ABILITY SEPTIC JACKSON PO BOX 456 WEST CHICAGO IL 60186-0456
A-1 AMERICAN PLUMBING INC                173 CARRIER ROAD TRANSFER PA 16154-2103
A-1 BACKFLOW TESTING LLC                 DBA RICHARD OVERHOLSER 3110 CENTURY ST COLORADO SPRINGS CO 80907-5409
A-1 BEVERAGE SYSTEMS INC                 2504 WILKINSON RD SARASOTA FL 34231-5201
A-1 BROWN PLUMBING REPAIR INC            1005 BASS LN MT JULIET TN 37122-2719
A-1 COMMERCIAL CLEANING LLC              3415 HUNTERS STAND ST SAN ANTONIO TX 78230-2029
A-1 CONTRACTORS INC                      DBA A-1 ELECTRIC 8401 W DOE AVENUE VISALIA CA 93291-9286
A-1 DISPOSAL SERVICE, IA                 PO BOX 2456 CEDAR RAPIDS IA 52406-2456
A-1 ELECTRIC INC                         9507 28 MILE ROAD ALBION MI 49224
A-1 ELECTRIC SERVICE LLC                 1501 EVANS ST DES MOINES IA 50315-4444
A-1 HANEY PLUMBING INC                   2406 W WASHINGTON STREET BLOOMINGTON IL 61705-5119
A-1 LOCK INC                             DBA A-1 CORPORATE HARDWARE 101 NORTH 4TH STREET SPRINGFIELD IL 62701
A-1 LOCKPROS INC                         DBA PAX KEY SHOP 504 N PRINCE STREET CLOVIS NM 88101
A-1 PRO-CLEAN LLC                        14153 LANCASTER FARMS DRIVE DISPUTANTA VA 23842
A-1 SERVICE PLUMBING INC                 2601 PEMBERTON DR APOPKA FL 32703-9403



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A-1 THERMO CARE DUCT & CARPET CLEANING   121 RAPONI CIRCLE TORONTO ON M1X 2C7 CANADA
A-AALL LOCK SERVICE LLC                  3435 W GROVERS ROAD PHOENIX AZ 85053
A-ACTION PLUMBING INC                    PO BOX 14008 SURFSIDE BEACH SC 29587
A-HEAD FOR PROFITS LLC                   240 GREAT CIRCLE RD STE 344 NASHVILLE TN 37228-1721
A-LINE ASPHALT MAINTENANCE INC           PO BOX 873516 VANCOUVER WA 98687-3516
A-PLUS SIGNS LLC                         920 PROGRESS DRIVE RICHMOND IN 47374-8407
A-T E A M CONTRACTORS INC                607 MISSION AVE OCEANSIDE CA 92054-2831
A-Z BACKFLOW TESTING & MAINTENANCE LLC   4847 ASHERTON PL NW CONCORD NC 28027-3433
A.J. BLOSENSKI INC                       PO BOX 535233 A WASTE CONNECTIONS COMPANY PITTSBURGH PA 15253-5233
A1 ASSETS INC                            2452 LAKE EMMA RD STE 1010 LAKE MARY FL 32746-6341
A1 PLUMBING COMPANIES LLC                DBA A1 SEWER AND DRAIN 516 S MILITARY HWY VIRGINIA BEACH VA 23464-1818
A1 ROOTER                                808 3RD ST CLARKSTON WA 99403-2622
A2Z CLEANING 123                         DBA MATTHEW S JESSIE 8401 WHITESBURG DR SE 12868 HUNTSVILLE AL 35802-7000
AAA ALARMS INC                           DBA AAA SYSTEMS 1101 SHIVE LANE BOWLING GREEN KY 42103
AAA CARPET CLEANING LLC                  3925 HURRICANE CREEK RD HURRICANE WV 25526-6371
AAA CONCRETE PRODUCTS CORPORATION        DBA ROTO ROOTER OF ALBANY PO BOX 737 ALBANY GA 31702-0737
AAA LOCKSMITH SERVICE INC                DBA THE KEY MAN 1066 SOUTH BLUFF STREET STE B SAINT GEORGE UT 84770
AAA QUALITY APPLIANCE CARE INC           1370 S BERTELSEN RD EUGENE OR 97402-5726
AAA SANITATION INC                       PO BOX 5793 DE PERE WI 54115-5793
AAA SEWER AND DRAIN CLEANING INC         DBA AAA ABLE SEWER & DRAIN CLEANING INC 3080 15TH ST NE SAUK RAPIDS MN
                                         56379-9608
AAA WATER SYSTEMS INC                    4050 PIKE LANE SUITE A CONCORD CA 94520
AAA WEST EXCAVATING INC                  PO BOX 21 ONTARIO OH 44862-0021
AAA-1 LOCK & KEY INC                     1507 N MIDLAND BLVD NAMPA ID 83651
AADAMS APPLIANCE SERVICES                4160 MAHONING AVENUE YOUNGSTOWN OH 44515
AAFEDT, FORDE, GRAY, MONSON, HAGER       ATTN:JAMES CONNER 920 SECOND AVENUE SOUTH SUITE 1400 MINNEAPOLIS MN 55402
AAJ COMPUTER SERVICES INC                DBA AAJ TECHNOLOGIES 500 W CYPRESS CREEK RD STE 570 FORT LAUDERDALE FL
                                         33309-6157
AARDVARK SERVICES CORP                   DBA AARDVARK SWEEPING 23632 HWY 99 STE F456 EDMONDS WA 98026
AARK USA LLC                             3026 MOSSER DRIVE ALLENTOWN PA 18103
AARON A SAULS                            ADDRESS ON FILE
AARON CHADWICK HARRIS                    ADDRESS ON FILE
AARON D MELNYCHUK                        ADDRESS ON FILE
AARON MOLLOY                             ADDRESS ON FILE
AARON ROSS SUTHERLAND                    ADDRESS ON FILE
AASTHI LLC                               829 HEATH LN WESTMONT IL 60559-2675
ABBOTT PLUMBING                          220 ABBOTT STREET SALINAS CA 93901-4301
ABBY PRESS INC                           DBA YESCO ORLANDO SOUTH 929 W OAK ST KISSIMMEE FL 34741-4941
ABC BOARD                                ALAMANCE MUNICIPAL ABC BOARD 13 603 W HARDEN ST GRAHAM NC 27253
ABC DISPOSAL SYSTEMS                     1191 INGLESIDE DR SW BLD 1200 CEDAR RAPIDS IA 52404
ABC ELECTRIC INC                         5675 MCPHERSON AVE COUNCIL BLUFFS IA 51503-4934
ABC ELECTRIC SERVICE INC                 210 5TH STREET FORT MYERS FL 33907
ABC KITCHEN EXHAUST CLEANING INC         99 CORUNNA AVENUE WEST ST PAUL MB R4A 9A5 CANADA
ABC LIQUOR                               1571 E DUB GRAN ROAD COLUMBUS OH 43229
ABC LOCK & KEY INC                       4943 34TH AVE S FARGO ND 58104-7145
ABC PEST CONTROL OF AUSTIN INC           DBA ABC HOME & COMMERCIAL SVCS AUSTIN 9475 E HIGHWAY 290 AUSTIN TX 78724-2303
ABC STORE                                1840 SOUTH YORK RD GASTONIA NC 28052
ABCWUA                                   PO BOX 27226 ALBUQUERQUE BERNALILLO CTY WUA ALBUQUERQUE NM 87125-7226
ABDELLATIF, SHAHER                       ADDRESS ON FILE



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ABEL 2 DUMP LLC                          DBA EDDRICK LOCKLEY 2274 SALEM RD SE STE 106 CONYERS GA 30013-2295
ABEL, CASSIE                             ADDRESS ON FILE
ABEN INC                                 12 WATER MARK WAY THE WOODLANDS TX 77381-6618
ABILENE LAWN MAINTENANCE                 DBA U S LAWNS 108 ROGERS CIR DENVER CITY TX 79323-3344
ABILITY SAFE AND LOCK CO INC             DBA AAA LOCKSMITH 7137 CHIMNEY ROCK RD HOUSTON TX 77081-6606
ABLE INDUSTRIES INC                      DBA SIGNSTAT 412 HARRISON AVE JEANNETTE PA 15644-1938
ABLE LOCK SERVICE LTD                    145 TRADERS BLVD EAST 21 & 22 MISSISSAUGA ON L4Z 3L3 CANADA
ABLE PLUMBING & CONTRACTING INC          24410 JOHN R RD HAZEL PARK MI 48030-1114
ABM JANITORIAL NORTHWEST INC             DBA ABM JANITORIAL SERVICES PO BOX 419860 BOSTON MA 02241-9860
ABOE LOCKWORKS LTD                       1308 CENTRE STREET NORTH CALGARY ON T2E 2R7 CANADA
ABOVE & BEYOND STEAM CLEANING LLC        6215 EDGERLY LN LINCOLN ND 58504-9237
ABOVEGROUND MAINTENANCE LLC              12125 SE SCHOOL AVE BORING OR 97009-7495
ABRAMSON LEVIN & GINDI LLP               11846 VENTURA BLVD STE 100 STUDIO CITY CA 91604-2620
ABSOLUTE CLEANING OPERATIONS INC         PO BOX 94912 BIRMINGHAM AL 35220-4912
ABSOLUTE ELECTRICAL CONTRACTORS          458 WINDSOR PARK DR WASHINGTON TOWNSHIP OH 45459-4111
ABSOLUTE POWER AND CLEAN LLC             DBA ABSOLUTE HYGIENIC SERVICES 7528 66TH ST LUBBOCK TX 79407-8301
ABSOLUTE QUALITY PLUMBING AND SEWER CO   SHAWN HARRIS 34 DAKOTA TRL LONOKE AR 72086-7816
ABSOLUTE REFRIGERATION                   818 S 46TH ST GRAND FORKS ND 58201-3842
ABU-GHAZALEH INTELLECTUAL PROPERTY       LAITH DAMER (MR.) BLDG. NO. 1002, ROAD 5121, SWAYFIYAH 351 P. O. BOX 990
                                         MANAMA BAHRAIN
ABU-GHAZALEH INTELLECTUAL PROPERTY       NAJI TAHA TAG-ORG BLDG., BLDG. 1002 ROAD 5121, SUWAFIAH 351 MANAMA BAHRAIN
ABU-GHAZALEH INTELLECTUAL PROPERTY       ALAA MOHI ELDIN (MS)TRADEMARK ASSISTANT TAG-BUILDING, A 26 SMART VILLAGE KM 28
                                         CAIRO EGYPT
ABU-GHAZALEH INTELLECTUAL PROPERTY       IP - TRADEMARK SPECIALIST BLDG NO. 46, ABDEL RAHIM AL-WAKED STREET SHMEISANI -
                                         P.O. BOX: 921100 AMMAN 11192 JORDAN
ABU-GHAZALEH INTELLECTUAL PROPERTY       HAZEM ABU-GHAZALEH SHARQ-AHMAD AL JABER STREET, PO BOX 4729 DAR AL AWADI
                                         COMPLEX - 19TH FLOOR SAFAT 13048 KUWAIT
ABU-GHAZALEH INTELLECTUAL PROPERTY       SANAYEH, ANIS TABBARA STREET P.O. BOX 11-7381 BEIRUT LEBANON
ABU-GHAZALEH INTELLECTUAL PROPERTY       SAMI S. YOUNIS AGIP QATAR E, 5TH FLOOR, P.O.BOX 2620 CROWNE PLAZA, BUSINESS
                                         PARK, AIRPORT RD DOHA QATAR
ABY TOPP                                 ADDRESS ON FILE
AC BEVERAGE INC                          1993-7 MORELAND PKWY ANNAPOLIS MD 21401
AC BEVERAGE OF SOUTH FL INC              106 E MCNAB RD STE 106 POMPANO BEACH FL 33060-9240
AC DC ELECTRIC INC                       3140 E AUSTIN DR GILBERT AZ 85296-0582
ACACIA GROUP LLC                         DBA ACACIA GROUP PROPERTY MANAGEMENT 3251 EASTERN AVE SE GRAND RAPIDS MI
                                         49508-2402
ACADEMY FIRE LIFE SAFETY LLC.            42 BROADWAY STE 200 LYNBROOK NY 11563-2519
ACADEMY LOCK & KEY INC                   716 W SPRING ST MONROE GA 30655-3188
ACADEMY LOCKSMITH INC                    C/O A S G 4202 BELTWAY DR ADDISON TX 75001-3701
ACADIANA WASTE SERVICES                  PO BOX 53426 LAFEYETTE LA 70505-3426
ACC STORMWATER                           PO BOX 117096 ATLANTA GA 30368-7096
ACC WATER BUSINESS                       PO BOX 16869 ATLANTA GA 30321-0869
ACCENT AQUARIUM INC                      6005 W JUNIPER AVENUE GLENDALE AZ 85306-1105
ACCENT ELECTRIC INC                      4234 4 MILE RD NE GRAND RAPIDS MI 49525
ACCESS CONTROL SECURITY INC              PO BOX 3791 CHATSWORTH CA 91313-3791
ACCESS LIFTS OF HAWAII INC               1525 YOUNG STREET HONOLULU HI 96826
ACCOMPLISHED PROJECTS LTD                10446 31A AVE EDMONTON ON T6J 3B4 CANADA
ACCU KEY LOCK & SAFE INC                 PO BOX 292006 KETTERING OH 45429-0006
ACCUCHEM CLEANING SERVICES LP            PO BOX 2202 MANSFIELD TX 76063
ACCURATE BACKGROUND LLC                  7515 IRVINE CENTER DRIVE IRVINE CA 92618-2930


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ACCURATE ENVIRONMENTAL LLC               PO BOX 613 STILLWATER OK 74076-0613
ACE AMERICAN INSURANCE COMPANY           MARSH MCLENNAN 1717 ARCH STREET SUITE 1100 PHILADELPHIA PA 19103
ACE BEER DISTRIBUTORS                    1800 PENNSYLVANIA AVENUE YORK PA 17404
ACE CARTING                              PO BOX 535233 A WASTE CONNECTIONS COMPANY PITTSBURGH PA 15253
ACE DISPOSAL INCORPORATED                PO BOX 2608 SALT LAKE CITY UT 84110
ACE DISTRIBUTING LLC                     100 MIFFLIN DRIVE WRIGHTSVILLE PA 17368-9198
ACE FIRE SYSTEMS LLC                     2620 WESTERN AVENUE LAS VEGAS NV 89109-1112
ACE KLEEN WINDOWS LLC                    PO BOX 91282 HENDERSON NV 89009
ACE LOCK & KEY                           618 N ASHLEY ST VALDOSTA GA 31601
ACE LOCK SERVICE INC                     PO BOX 350387 JACKSONVILLE FL 32235-0387
ACE OF TRADES CONTRACTING LLC            35 CUTTINO RD BLDG B SUMTER SC 29150-2668
ACE PARKING LOT STRIPING INC             935 INDUSTRIAL PKWY PLAINWELL MI 49080-1401
ACE PLUMBING INC                         PO BOX 1805 VENICE FL 34284-1805
ACE PLUMBING LLC                         2324 N PILGRIM PL BOISE ID 83704-6794
ACE SAFE LOCK AND KEY                    6608 N BRINDALE DR MUNCIE IN 47304-9061
ACE SIGN CO                              2540 S 1ST STREET SPRINGFIELD IL 62704
ACE SIGN DISPLAYS                        DBA COMMERCIAL SIGN & DESIGN PO BOX 1593 SIOUX CITY IA 51102-1593
ACE UPHOLSTERY                           1574 PETH RD MANLIUS NY 13104-8786
ACE WASTE SYSTEMS, INC.                  PO BOX 77135 BATON ROUGE LA 70879
ACEVES TORRES, KRISTIAN                  ADDRESS ON FILE
ACI LLC                                  DBA ACT LOCKSMITH SERVICES 801 MAIN AVE NITRO WV 25143-2141
ACI WORLDWIDE CORP                       13594 COLLECTIONS CENTER DRIVE CHICAGO IL 60693-0001
ACME ELECTRICAL SERVICES INC             6707 N ROME AVE TAMPA FL 33604-5837
ACME GLASS & MIRROR CO INC               1312 LOUISVILLE AVENUE MONROE LA 71201
ACME PLUMBING INC                        322 CALHOUN AVENUE DESTIN FL 32541-1570
ACME SIGN & PLASTICS CO                  PO BOX 2977 ABILENE TX 79604-2977
ACORN PLUMBING & HEATING INC             168 HOPPER AVENUE WALDWICK NJ 07463
ACOUSTICAL CEILING SAVERS LLC            1401 SOUTH 20TH STREET BLUE SPRINGS MO 64015
ACT TWO INC                              DBA ARKANSAS SIGN & BANNER 1914 SOUTH WALTON BOULEVARD SUITE 4 BENTONVILLE AR
                                         72712
ACTION CARPET CLEANING INC               PO BOX 9106 DOTHAN AL 36304-1106
ACTION COMMERCIAL SERVICE INC            6 SIMMONS LN STE 2 ALBANY NY 12204-2700
ACTION DRAFT LLC                         4305 CATERPILLAR RD STE B4 REDDING CA 96003-1440
ACTION DRAIN AND ROOTER WA LLC           DBA ACTION DRAIN AND ROOTER PO BOX 18718 SPOKANE WA 99228-0718
ACTION ELECTRIC COMPANY INC              DBA ACTION ELECTRICAL & MECHANICAL CONTRACTORS 2600 COLLINS SPRINGS DRIVE
                                         ATLANTA GA 30339
ACTION ENVIRONMENTAL SERVICES            PO BOX 554744 DETROIT MI 48255-4744
ACTION GLASS & MIRROR INC.               1310 SILER RD STE 1 SANTA FE NM 87507-3104
ACTION LOCK & KEY INC                    800 W LAKE ST STE 122-124 ROSELLE IL 60172
ACTION PLUMBING HEATING & COOLING SVCS   PO BOX 473 ENDICOTT NY 13761-0473
ACTUALLY CLEAN                           PO BOX 2031 DAVENPORT IA 52809
ACTUALLY CLEAN CARPETS LLC               PO BOX 11212 CEDAR RAPIDS IA 52410
AD&C ENTERPRISES LLC                     3256 N SUSQUEHANNA TRL YORK PA 17406-9754
ADAIR FORD BOROUGHS                      US ATTORNEYS OFFICE AUSA AUSTIN MCCULLOUGH 151 MEETING ST STE 200 CHARLESTON
                                         SC 29401
ADAM CHARLES FORTHMAN                    ADDRESS ON FILE
ADAM MICHAEL HOUDEK                      ADDRESS ON FILE
ADAM-EVE SEWER & DRAIN SVS INC           DBA ADAM-EVE PLUMBING INC 1196 TIBBETTS WICK RD GIRARD OH 44420-1136
ADAMS AND REESE LLP                      ATTN: WILLIAM T. CHEEK, III; 511 UNION STREET, STE 1600 NASHVILLE, TN 37219
                                         NASHVILLE TN 37219


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ADAMS BEVERAGES INC                     3116 JOHN D ODOM ROAD DOTHAN AL 36303
ADAMS BEVERAGES OF NORTH CAROLINA LLC   7505 STATESVILLE ROAD CHARLOTTE NC 28269
ADAMS COUNTY HEALTH DEPARTMENT          7190 COLORADO BLVD STE 200 COMMERCE CITY CO 80022-1804
ADAMS COUNTY TREASURER                  P O BOX 869 BRIGHTON CO 80601-0869
ADAMS INLINE PLUMBING LLC               6022 N BIRCH HILL DR KIMBALL MI 48074-1800
ADAMS REFRIGERATION & RESTAURANT        EQUIPMENT PO BOX 846 JONESBOROUGH TN 37659
ADAMS SERVICES LLC                      DBA TOP NOTCH ELECTRICIAN 324 W US HIGHWAY 82 SHERMAN TX 75092-4034
ADAMS, GWENDENA                         ADDRESS ON FILE
ADAMS, JUANITA                          ADDRESS ON FILE
ADAMS, MELANIE                          ADDRESS ON FILE
ADCO CLEANING SERVICE INC               5760 GROVE DRIVE KNOXVILLE TN 37918
ADD-A-LOCK                              46080 PRIVATE SHORE DRIVE CHESTERFIELD MI 48047
ADDILAN GROUP LLC                       2930 FELTON RD NORRISTOWN PA 19401-1346
ADEWUYI MAJARO                          ADDRESS ON FILE
ADIRONDACK HOCKEY COALITION LLC         DBA ADIRONDACK THUNDER 1 CIVIC CENTER PLZ GLENS FALLS NY 12801-4532
ADIRONDACK REGIONAL CHAMBER OF COMMERCE 68 WARREN ST STE 200 GLENS FALLS NY 12801-4530
ADJEI, BRIELLE BLESSING                 ADDRESS ON FILE
ADKINS, CODEE                           ADDRESS ON FILE
ADKISSON, TARA                          ADDRESS ON FILE
ADMIRAL BEVERAGE CORP                   PO BOX 27821 ALBUQUERQUE NM 87125
ADMIRE LANDSCAPING AND LAWN CARE LLC    950 E 81ST ST BROOKLYN NY 11236-3840
ADO PROFESSIONAL SOLUTION INC           DBA AJIILON DEPT CH 14031 PALATINE IL 60055-4031
ADOBE INC                               29322 NETWORK PLACE CHICAGO IL 60673-1293
ADONNA HARDWAY                          ADDRESS ON FILE
ADP INC                                 PO BOX 830272 PHILADELPHIA PA 19182-0382
ADP LLC                                 ONE ADP BOULEVARD ROSELAND NJ 07068
ADR SERVICES INC                        1900 AVENUE OF THE STARS LOS ANGELES CA 90067-4301
ADRIAN CITY TREASURER                   135 E.MAUMEE ST ADRIAN MI 49221
ADRIAN GONZALES                         ADDRESS ON FILE
ADRIAN KIWANIS CLUB                     ADDRESS ON FILE
ADRIAN LOCKSMITH LLC                    402 N MAIN ST STE 2 ADRIAN MI 49221-2146
ADRIAN NAZIRULLAH                       ADDRESS ON FILE
ADRIAN RAMOS                            ADDRESS ON FILE
ADRIENNE SIMMONS                        ADDRESS ON FILE
ADS SERVICES                            PO BOX 514 MARION IN 46952-0514
ADS4U LLC                               DBA TOWN MONEY SAVER PO BOX 54580 CINCINNATI OH 45254-0580
ADVANCE PARKING LLC                     249-253 W 43 STREET NEW YORK NY 10036
ADVANCE SERVICE COMPANY INC             1615 EUBANK BOULEVARD ALBUQUERQUE NM 87112
ADVANCE TABCO                           325 WIRELESS BLVD HAUPPAUGE NY 11788-3973
ADVANCE TECHNOLOGY SOLUTIONS LLC        1348 DELTA DRIVE SAGINAW MI 48638
ADVANCED APPLIANCE REPAIR LLC           1503 E DENMAN AVE LUFKIN TX 75901-5859
ADVANCED AQUATIC SPECIALISTS LLC        1031 EAGLE VIEW CT PRAIRIE DU SAC WI 53578
ADVANCED BUILDING CLEANERS INC          PO BOX 3600 MODESTO CA 95352
ADVANCED CLEANING AND RESTORATION INC   1301 S 22ND ST BISMARCK ND 58504-6928
ADVANCED DISPOSAL - G6                  SOLID WASTE MIDWEST, LLC - G6 PO BOX 74008053 CHICAGO IL 60674-8053
ADVANCED DISPOSAL - P6                  SOLID WASTE SOUTHEAST, INC. - P6 PO BOX 743019 ATLANTA GA 30374-3019
ADVANCED ELECTRIC SERVICE INC           121 CEDAR PINE LANE MADISON MS 39110-8868
ADVANCED ELECTRICAL SOLUTIONS INC       4051 SW 47TH AVENUE SUITE 101 FORT LAUDERDALE FL 33314
ADVANCED GROUND CARE LLC                2203 W GEORGE WASHINGTON BLVD DAVENPORT IA 52804-1417



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ADVANCED HOUSING DEVELOPERS INC          1362 65TH STREET BROOKLYN NY 11209
ADVANCED LAWN CARE INC                   DBA US LAWNS OF SOUTH BEND 22522 US HIGHWAY 20 SOUTH BEND IN 46628-5504
ADVANCED LOCKSMITH SERVICES              PO BOX 4707 SPARKS NV 89432
ADVANCED PLUMBING SYSTEMS                1416 CALEDONIA ST LA CROSSE WI 54603-2411
ADVANCED REFRIGERATION & AIR INC         DBA AR&A 2805 CHECKER DR CEDAR PARK TX 78613-1641
ADVANCED REFRIGERATION HEATING &         DBA JOE HARDING SALES AND SERVICE 515 N RANGELINE ROAD JOPLIN MO 64801
COOLING
ADVANCED SAFE & LOCK NNY LLC             34646 CARTER STREET RD LA FARGEVILLE NY 13656-3236
ADVANCED STRIPING INC                    DBA ADVANCED STRIPING AND SEALCOATING 4586 27TH ST N FARGO ND 58102-3284
ADVANCED TECHNOLOGY REFRIGERATION        808 N LEADALE AVE SIOUX FALLS SD 57103-0720
ADVANCED TREE SERVICE INC                103 WEST AVENUE B BISMARCK ND 58501
ADVANCED WATER SYSTEMS OF COASTAL        CAROLINA PO BOX 638 HAMPSTEAD NC 28443-0638
ADVANCED WATER SYSTEMS OF DENVER LLC     KINETICO ADVANCED WATER SYS OF DENVER 2505 W 2ND AVE UNIT 11 DENVER CO
                                         80219-1655
ADVANCED WATER SYSTEMS THE GRAND STRAND 2126 HIGHWAY 9 E STE F3 LONGS SC 29568-5735
ADVANCED WIRELESS                        708 WEST BETTERAVIA ROAD SUIT B SANTA MARIA CA 93455
ADVANTAGE ELECTRIC SERVICES LLC          PO BOX 5119 TRAVERSE CITY MI 49696-5119
ADVANTAGE IRRIGATION                     2345 CHICAGO DR SW GRAND RAPIDS MI 49519-1218
ADVANTAGE LOCK AND KEY LLC               4424 N WALL ST SPOKANE WA 99205-1173
ADVANTAGE PLUMBING HEATING AND COOLING   PO BOX 196 STILLWATER OK 74076-0196
ADVANTAGE RESTAURANT SUPPLY INC          4529 KENT AVE NIAGARA FALLS ON L2H 1J1 CANADA
ADVANTAGE SERVICE HOLDINGS LLC           DBA ADVANTAGE SERVICE COMPANY 1797 CYPRESS ST NORTH LITTLE ROCK AR 72114-3534
ADVANTECH HEATING AND COOLING            DBA AIRESERV OF BRANSON 542 GRETNA RD BRANSON MO 65616-4429
ADVENTIST HEALTH SYSTEM/SUNBELT INC      DBA CENTRA CARE 2600 WESTHALL LANE BOX 300 MAITLAND FL 32751-4891
ADVERTISING AND PROMOTION COMMISSION     P.O. BOX 9047 PINE BLUFF AR 71611
AECSI CORPORATION                        19525 WIED ROAD SUITE 510 SPRING TX 77388
AEP ENERGY                               PO BOX 6329 CAROL STREAM IL 60197-6329
AEROFUND HOLDINGS INC                    DBA AEROFUND FINANCIAL C/O 1212 FLOORING SOLUTIONS INC 7842 BIG TIMBER TRL
                                         MIDDLETON WI 53562-4159
AES INDIANA                              PO BOX 110 IPALCO ENTERPRISES INDIANAPOLIS IN 46206-0110
AES OHIO                                 PO BOX 740598 CINCINNATI OH 45274-0598
AETNA LIFE INSURANCE COMPANY             221 DAWSON ROAD COLUMBIA SC 29224-3759
AEW LBK INC                              DBA AMP ELECTRIC 10101 HIGHWAY 87 LUBBOCK TX 79423-7223
AFA PROTECTIVE SYSTEMS INC               PO BOX 21030 NEW YORK NY 10087-1030
AFCO CREDIT CORPORATION                  4501 COLLEGE BLVD STE 320 LEAWOOD KS 66211-2328
AFFORDABLE CEILING & WALLS ETC           PO BOX 850827 MESQUITE TX 75185-0827
AFFORDABLE DISCOUNT SIGNS INC            PO BOX 520652 LONGWOOD FL 32752-0652
AFFORDABLE ELECTRIC SERVICE              DBA JOSH WEINERT 13954 W WADDELL RD 103-183 SURPRISE AZ 85379-8750
AFFORDABLE FENCE INC                     865 E SMITHVILLE RD BLOOMINGTON IN 47401-9227
AFFORDABLE ROOFING AND CONSTRUCTION INC 180 FARRIER PASS NEW SMYRNA BEACH FL 32168-4145
AFFORDABLE ROOFING CO INC                PO BOX 426 EDEN NC 27289-0426
AFFORDABLE ROOTER INC                    38882 US HIGHWAY 24 LAKE GEORGE CO 80827-9715
AFFORDABLE SPRINKLERS INC                PO BOX 851417 WESTLAND MI 48185-6817
AFFORDABLE WINDOW CLEANING INC           3064 SOUTH PARK AVENUE LACKAWANNA NY 14218
AFFORDABLE WIPING CLOTHS INC             DBA ALL RAGS 68 ANDERSON ROAD WALTERBORO SC 29488
AFGO MECHANICAL SERVICES INC             36-14 32ND STREET LONG ISLAND CITY NY 11106
AFI SHEET METAL LLC                      PO BOX 3088 HUNTINGTON WV 25702-0088
AFLI2 LLC                                ATTN: ANGELA LI 3066 STELLING DRIVE PALO ALTO CA 94303
AFLI2 LLC                                ATTN: ANGELA LI 3066 STELLING DRIVE PALO ALTO CA 94303-3968
AFNA CONTRACTING INC                     1 BRADWICK DRIVE UNIT 7 CONCORD ON L4T 2T4 CANADA


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AFP DISTRIBUTORS INC                   DBA SOUTHEASTERN BEVERAGE CO PO BOX 180 ATHENS OH 45701
AFTER 5 PLUMBING LLC                   3348 ALMA LANE BURLINGTON NC 27215
AG FAB LLC                             DBA PRECISION GLASS AND HARDWARE 421 S 2ND AVE YAKIMA WA 98902-7610
AGGRESSIVE PLUMBING                    10 E JORDAN ST PENSACOLA FL 32501-1712
AGGRESSIVE SWEEPING INC                580 SQUANKUM YELLOWBROOK ROAD FARMINGDALE NJ 07727
AGILE SECURITY GROUP INC               DBA THE FLYING LOCKSMITHS SAN DIEGO 12320 STOWE DR STE J POWAY CA 92064-8832
AGNEW DOOR CO                          ADDRESS ON FILE
AGUSTIN ALTAMIRANO                     ADDRESS ON FILE
AHFP OF ILLINOIS LLC                   DBA STUEVER AND SONS 1001 N LOMBARD RD LOMBARD IL 60148-1254
AHL LOCKSMITH                          PO BOX 4602 DUBLIN GA 31040-4602
AIAH FANDAY                            ADDRESS ON FILE
AIB MANAGEMENT I LP                    DBA AIB SHENANDOAH I LLC C/O MR KLAUS THOMA ESQ 520 POST OAK BLVD STE 710
                                       HOUSTON TX 77027-9481
AIB SHENANDOAH I, LLC                  C/O AIB HOUSTON I, L.P. ATTN: KLAUS THOMA, ESQ. 1980 POST OAK BOULEVARD, SUITE
                                       720 HOUSTON TX 77056
AIG BERMUDA COMPLIANCE                 27 RICHMOND ROAD PEMBROKE HM 08 BERMUDA
AIG INSURANCE COMPANY OF CANADA        PO BOX 15286 STATION A TORONTO ON M5W 1C1 CANADA
AIKEN CITY TREASURER                   PO BOX 2458 AIKEN SC 29802-2458
AIKEN COUNTY TREASURER                 PO BOX 919 AIKEN SC 29802-0919
AIKEN ELECTRIC COOPERATIVE, INC.       P.O. BOX 417 AIKEN SC 29802
AIMCO EQUIPMENT COMPANY                10001 COLONEL GLENN ROAD LITTLE ROCK AR 72204-8135
AIR BRUSH TANNING & MORE               DBA SUPERIOR SHINE 1416 S MAIN ST STE 220-2007 ADRIAN MI 49221-4364
AIR CENTRAL INC                        1717 COLBURN STREET HONOLULU HI 96819
AIR QUALITY SOLUTIONS HEATING & COOLING DBA AQS RESTAURANT EQUIPMENT REPAIR 2303 MURDOCH AVE PARKERSBURG WV 26101-2532
AIR RITE INC                           40 PARR STREET WINNIPEG MB R2W 5C3 CANADA
AIRE MASTER OF AMERICA                 MISSOURI DIVISION PO BOX 2310 NIXA MO 65714-2310
AIRE RITE AIR CONDITIONING &           REFRIGERATION INC 15122 BOLSA CHICA STREET HUNTINGTON BEACH CA 92649
AIRGAS INC                             DBA AIRGAS USA LLC PO BOX 734445 CHICAGO IL 60673-4445
AIS COMMERCIAL PARTS & SERVICE INC     1005 PARKWAY VIEW DRIVE PITTSBURGH PA 15205-1214
AIS COMMERCIAL PARTS & SERVICE OF      PITTSBURG INC DBA AIS YOUNGSTOWN 1005 PARKWAY VIEW DRIVE PITTSBURGH PA
                                       15205-1214
AJ CHEN LLC                            ATTN DORIS CHEN 423 LAUREL OAK DR SEWICKLEY PA 15143-9392
AJ LANZAROTTA                          ADDRESS ON FILE
AJ PARK                                AON CENTRE, LEVEL 22, 1 WILLIS STREET WELLINGTON 6011 NEW ZEALAND
AJ SMITH ENTERPRISE INC                DBA WATTS UP LIGHTING 9320 JOHNSON DR MERRIAM KS 66203-3140
AJ SWAGGER AND COMPANY                 DBA MAINTENANCE DIRECT 5379 DEL REY DR COLORADO SPRINGS CO 80918-2042
AJA ABRIELLE LADD                      ADDRESS ON FILE
AJF ENTERPRISES INC                    DBA A TEAM SECURITY 1485 PENASCO ROAD NE RIO RANCHO NM 87144
AJL ENTERPRISES LLC                    DBA GASKET GUY CT 4 MCLEAN ST SIMSBURY CT 06070-2121
AJS AQUATIC SOLUTIONS                  1764 BRIDLEWOOD DR PITTSBURG CA 94565-6464
AJS RESTAURANT SERVICE BY A TECH       2901 CHAPMAN AVE SPRINGDALE AR 72762-6005
AKAMAI GLASS COMPANY INC               DBA AKAMAI GLASS COMPANY AKA AKAMAI GLASS AND SUPPLIES COMPANY 1024 KIKOWAENA
                                       PL STE B HONOLULU HI 96819-4420
AKEHURST LANDSCAPE SERVICE INC         712 PHILADELPHIA ROAD JOPPA MD 21085-3123
AKERMAN LLP                            ATTN: R LEWIS, M LEWIS, D PENDER ONE SOUTHEAST THIRD AVENUE, 25TH FLOOR MIAMI
                                       FL 33131
AKIA RAMIREZ                           ADDRESS ON FILE
AKIMA HAZEL                            ADDRESS ON FILE
AKITA PEST CONTROL LLC                 1604 LITITZ PIKE LANCASTER PA 17601-6534
AKLEEN HOOD RESTAURANT SERVICES LLC    8846 HIGH BANKS DRIVE EASTON MD 21601


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AKRIDGE GARY                             ADDRESS ON FILE
AL MARINO INC                            1653 4TH AVENUE CHARLESTON WV 25387-2413
AL RADFORD                               ADDRESS ON FILE
AL TAMIMI & COMPANY                      SUSAN TORRES AL SILA TOWER, 26TH FL, ABU DHABI GLOBAL MKT SQ, AL MARYAH
                                         ISLAND, PO BOX 44046 AL MARYAH ISLAND ABU DHAB UNITED ARAB EMIRATES
AL. DEPT OF ENVIRONMENTAL MANAGEMENT     PO BOX 301463 MONTGOMERY AL 36130-1463
ALABAMA AQUARIUM MAINTENANCE & SUPPLY    DBA ALABAMA AQUARIUM & POND SERVICES 368 CHELSEA SPRINGS DR COLUMBIANA AL
CO                                       35051-4311
ALABAMA CLIMATE CONTROL                  104 WHOLESALE AVE NE HUNTSVILLE AL 35811-1518
ALABAMA CROWN DISTRIBUTING CO            202 INDUSTRIAL DR HUNTSVILLE AL 35811
ALABAMA DEPARTMENT OF COMMERCE           LILLIAN PATTERSON STATE-LEVEL EQUAL OPPORTUNITY OFFICER 401 ADAMS AVE, P.O.
                                         BOX 304106 MONTGOMERY AL 36104
ALABAMA DEPARTMENT OF LABOR              649 MONROE ST MONTGOMERY AL 36131
ALABAMA DEPT OF CONSERVATION &           NATURAL RESOURCES 64 N UNION ST MONTGOMERY AL 36130
ALABAMA DEPT OF INDUSTRIAL RELATIONS     UNEMPLOYMENT COMPENSATION 649 MONROE ST MONTGOMERY AL 36131
ALABAMA DEPT OF PUBLIC HEALTH            THE RSA TOWER 201 MONROE ST MONTGOMERY AL 36104
ALABAMA DEPT OF PUBLIC HEALTH            PO BOX 303017 MONTGOMERY AL 36130-3017
ALABAMA DEPT OF REVENUE                  50 N RIPLEY ST MONTGOMERY AL 36130
ALABAMA DEPT OF REVENUE                  INDIVIDUAL & CORPORATE TAX DIVISION 50 N RIPLEY ST MONTGOMERY AL 36130
ALABAMA DEPT OF REVENUE                  PO BOX 327320 MONTGOMERY AL 36132
ALABAMA DEPT OF REVENUE                  SALES, USE, AND BUSINESS TAX PO BOX 327790 MONTGOMERY AL 36132-7790
ALABAMA LAWN MASTER INC                  PO BOX 1648 HUNTSVILLE AL 35807
ALABAMA OFFICE OF THE ATTORNEY GENERAL   CONSUMER INTEREST DIVISION 501 WASHINGTON AVE MONTGOMERY AL 36104
ALABAMA POWER                            PO BOX 242 SOUTHERN COMPANY BIRMINGHAM AL 35292
ALABAMA STATE TREASURY                   UNCLAIMED PROPERTY DIVISION RSA UNION BLDG 100 N UNION ST STE 636 MONTGOMERY
                                         AL 36104
ALACHUA CO BOARD OF CO COMMISSIONERS     203 S WALNUT ST GAINESVILLE FL 32627-5038
ALACHUA COUNTY BOARD OF COUNTY COMMNERS PO BOX 5038 GAINESVILLE FL 32627-5038
ALACHUA COUNTY SHERIFFS OFFICE           PO BOX 5038 GAINESVILLE FL 32627-5489
ALACHUA COUNTY SHERIFFS OFFICE           FALSE ALARM REDUCTION UNIT PO BOX 5489 GAINESVILLE FL 32627-5489
ALACHUA COUNTY TAX COLLECTOR             PO BOX 44310 JACKSONVILLE FL 32231-4310
ALADDIN ELECTRIC INC                     4809 JAMES MCDIVITT JACKSON MI 49201
ALADIN CARPET CLEANING                   601 S WASHINGTON ST PMB171 STILLWATER OK 74074-4539
ALAMANCE COUNTY                          FALSE ALARM REDUCTION UNIT PO BOX 5489 GRAHAM NC 27253
ALAMANCE COUNTY                          124 WEST ELM STREET GRAHAM NC 27253
ALAMANCE COUNTY TAX COLLECTOR            124 W ELM ST. GRAHAM NC 27253-2802
ALAMANCE CROSSING CMBS, LLC              ATTN: LEASE ADMINISTRATION C/O SPINOSO REAL ESTATE GROUOP, DLS, LLC 112
                                         NORTHERN CONCOURSE NORTH SYRACUSE NY 13212
ALAMANCE GLASS INC                       202 ALAMANCE ROAD BURLINGTON NC 27215
ALAMDAR HAMDANI                          US ATTORNEYS OFFICE 1000 LOUISIANA ST, STE 2300 HOUSTON TX 77002
ALAMDAR HAMDANI                          US ATTORNEYS OFFICE PO BOX 1179 LAREDO TX 78042-1179
ALAMDAR HAMDANI                          US ATTORNEYS OFFICE ONE SHORELINE PLAZA S TOWER 800 N SHORELINE BLVD, STE 500
                                         CORPUS CHRISTI TX 78401
ALAMDAR HAMDANI                          US ATTORNEYS OFFICE BENTSEN TOWER 1701 W HWY 83, STE 600 MCALLEN TX 78501-5160
ALAMDAR HAMDANI                          US ATTORNEYS OFFICE UNITED STATES FEDERAL COURTHOUSE 600 E HARRISON, STE 201
                                         BROWNSVILLE TX 78520-5106
ALAMEDA CO TREASURER AND TAX COLLECTOR   1221 OAK STREET ROOM 131 OAKLAND OAKLAND CA 94612
ALAMEDA COUNTY WATER DISTRICT            PO BOX 101837 PASADENA CA 91189-1837
ALAMO CROSSING COMMERCIAL ASSOCIATION    PO BOX 30357 TAMPA FL 33630-3357
ALAN AURIGEMA                            ADDRESS ON FILE



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ALAN BRYAN PLUMBING INC                  364 BUCK ROAD GRAY GA 31032
ALAN COX                                 ADDRESS ON FILE
ALAN ENTERPRISES LTD                     DBA ALANS CARPET & FLOORS 1110 AVENUE D COUNCIL BLUFFS IA 51501-2730
ALAN J SCHMIDT                           ADDRESS ON FILE
ALAN R HOOKS                             ADDRESS ON FILE
ALAN S GOLDMAN                           ADDRESS ON FILE
ALAN SASAKI                              ADDRESS ON FILE
ALAN ZACHARIAS                           ADDRESS ON FILE
ALARM & SUPPRESSION COMPANY              DBA ASCO FIRE PO BOX 68 LINCOLN PARK NJ 07035-0068
ALARM DETECTION SYSTEMS INC              1111 CHURCH ROAD AURORA IL 60505-1905
ALASKA DEPARTMENT OF REVENUE             TREASURY DIV, UNCLAIMED PROP. PROGRAM 333 WILLOUGHBY AVE 11TH FL STATE OFFICE
                                         BLDG JUNEAU AK 99801-1770
ALASKA DEPARTMENT OF REVENUE             TREASURY DIV, UNCLAIMED PROP. PROGRAM PO BOX 110405 JUNEAU AK 99811-0405
ALASKA DEPT OF ENVIRONMENTAL             CONSERVATION 410 WILLOUGHBY AVE STE 303 JUNEAU AK 99811-1800
ALASKA DEPT OF LABOR AND                 WORKFORCE DEVELOPMENT PO BOX 111149 JUNEAU AK 99811
ALASKA DEPT OF REVENUE                   PO BOX 110420 JUNEAU AK 99811-0420
ALASKA ENVIRONMENTAL PROTECTION AGENCY   EPA ALASKA OPERATIONS OFFICE 222 W 7TH AVE 19 ANCHORAGE AK 99513-7588
ALASKA OFFICE OF THE ATTORNEY GENERAL    CONSUMER PROTECTION UNIT 1031 W 4TH AVE STE 200 ANCHORAGE AK 99501
ALBANIA CLEANING SERVICES                5250 MCCARTY ST NAPLES FL 34113-8737
ALBANY COUNTY HEALTH DEPARTMENT          PO BOX 678 ALBANY NY 12201-0678
ALBANY COUNTY HEALTH DEPARTMENT          124 WEST ELM STREET ALBANY NY 12201-0678
ALBANY UTILITIES - GA                    P.O. BOX 1788 ALBANY GA 31702-1788
ALBEMARLE COUNTY                         DEPARTMENT OF COMMUNITY DEVELOPMENT 401 MCINTIRE ROAD CHARLOTTESVILLE VA 22902
ALBEMARLE COUNTY DEPARTMENT OF FINANCE   PO BOX 678 MERRIFIELD VA 22116-7604
ALBEMARLE COUNTY DEPT OF FINANCE         PO BOX 7604 MERRIFIELD VA 22116-7604
ALBEMARLE COUNTY HEALTH DEPARTMENT       PO BOX 7604 CHARLOTTESVILLE VA 22906
ALBEMARLE COUNTY HEALTH DEPARTMENT       PO BOX 7546 CHARLOTTESVILLE VA 22906
ALBEMARLE COUNTY SERVICE AUTHORITY       168 SPOTNAP RD CHARLOTTESVILLE VA 22911-8690
ALBEMARLE COUNTY TAX COLLECTOR           PO BOX 7604 MERRIFIELD VA 22116
ALBER IRRIGATION INC                     3609 MAY BRANCH LANE FORT SMITH AR 72903
ALBERT C GARCIA                          ADDRESS ON FILE
ALBERT JOSEPH LOPEZ                      ADDRESS ON FILE
ALBERT MONTEFORTE                        ADDRESS ON FILE
ALBERT PELTZ                             ADDRESS ON FILE
ALBERT PORZUCZEK                         ADDRESS ON FILE
ALBERTA BUILDING MAINTENANCE LTD         BAY 1 4427-72 AVENUE SE CALGARY ON T2C 2G5 CANADA
ALBERTA CARPET & FURNACE CLEANING        11228 142 STREET NW EDMONTON ON T5M 1T9 CANADA
ALBERTA HEALTH SERVICES - EDMONTON       CORONATION PLAZA ROOM 101 MAIN FLOOR WEST TOWER EDMONTON ON T5M 3Z7 CANADA
ALBERTA LIQUOR CONTROL BOARD             PO BOX 7546 ST ALBERT AB T8N 3T5 CANADA
ALBERTA LIQUOR CONTROL BOARD             50 CORRIVEAU AVENUE ST ALBERT AB T8N 3T5 CANADA
ALBERTA NEON                             ADDRESS ON FILE
ALBERTO AGUIRRE                          ADDRESS ON FILE
ALBERTSON, CASSANDRA                     ADDRESS ON FILE
ALBUQUERQUE PLUMBING HEATING & COOLING   DBA ALBUQUERQUE COMMERCIAL SERVICES 6145 2ND STREET NW ALBUQUERQUE NM 87107
ALC FACILITY SERVICES                    ANTHONY L CACMON 1057 LOVE LN APOPKA FL 32703-4579
ALCOHOL & GAMING COM OF ONTARIO          20 DUNDAS ST W - 7TH FLOOR TORONTO ON M5G 2N6 CANADA
ALCOHOL CONTROLS INC                     2273 ANDREW TRL MONTGOMERY IL 60538-4012
ALCOHOLIC BEVERAGE COMMISSION            50 CORRIVEAU AVENUE NASHVILLE TN 37243-0755
ALCOHOLIC BEVERAGE COMMISSION            226 CAPITOL BLVD SUITE 300 NASHVILLE TN 37243-0755



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ALCOHOLIC BEVERAGE CONTROL             3927 LENNANE DRIVE SUITE 100 SACRAMENTO CA 95834
ALDERATIONS LLC                        388 E 4800 S SALT LAKE CITY UT 84107-4905
ALDO GUIDOTTI                          DBA GUIDOTTI PROPERTIES LLC C/O COMMERCIAL REAL ESTATE MANAGEMENT 5951
                                       JEFFERSON STREET NE SUITE A ALBUQUERQUE NM 87109
ALDRIDGE & SONS PLUMBING CONTRACTORS   PO BOX 600921 JACKSONVILLE FL 32260
INC
ALECTRA UTILITIES CORPORATION          PO BOX 3700 CONCORD ON L4K 5N2 CANADA
ALEJANDRO MANUEL MARTINEZ              ADDRESS ON FILE
ALEJANDROS BORGES                      ADDRESS ON FILE
ALEKSANDR NIKITINE                     DBA TAPMAN AN LLC PO BOX 50244 BELLEVUE WA 98015-0244
ALENE YOUNG                            ADDRESS ON FILE
ALEX COULTON HEALD                     ADDRESS ON FILE
ALEX GREPO                             ADDRESS ON FILE
ALEXANDER N.M. UBALLEZ                 US ATTORNEYS OFFICE PO BOX 607 ALBUQUERQUE NM 87103
ALEXANDER SANCHEZ                      ADDRESS ON FILE
ALEXANDER WEHRLE                       ADDRESS ON FILE
ALEXANDER, YVONNE                      ADDRESS ON FILE
ALEXANDRIA CITY TREASURER              PO BOX 34750 ALEXANDRIA VA 22334-0750
ALEXANDRIA CITY TREASURER              PO BOX 34901 ALEXANDRIA VA 22334-0901
ALEXANDRIA HEALTH DEPARTMENT           226 CAPITOL BLVD SUITE 300 ALEXANDRIA VA 22302-1300
ALEXANDRIA HEALTH DEPARTMENT           4480 KING STREET ROOM 360 ALEXANDRIA VA 22302-1300
ALEXANDRIA RENEW ENTERPRISES           PO BOX 26428 ALEXANDRIA VA 22313-6428
ALEXANDRIA SEAFOOD LLC                 15942 SHADY GROVE ROAD GAITHERSBURG MD 20877
ALEXIS D CHRISMAN                      ADDRESS ON FILE
ALEXIS LAW FIRM                        C/O ANDREW L ALEXIS 100 W BROADWAY STE 250 LONG BEACH CA 90802-4469
ALFONSO AUELUA                         ADDRESS ON FILE
ALFONSO CASTELLANOS                    DBA AL-TECH PLUMBING PO BOX 121869 CHULA VISTA CA 91912
ALFORD HARRISON ELECTRIC               SHANNON HARRISON 8482 STATE ROUTE 1241 BOAZ KY 42027-9444
ALFORD, CARMEN                         ADDRESS ON FILE
ALFREDO L FLORES JR                    ADDRESS ON FILE
ALFREDO MARTINEZ                       ADDRESS ON FILE
ALFREDO NAJAR RODRIGUEZ                ADDRESS ON FILE
ALFREDO S OROSCO JR                    ADDRESS ON FILE
ALGENTO LLC                            DBA BASIC TREE CARE PO BOX 769 NEWARK OH 43058-0769
ALH SERVICES                           DBA PEACH LAWN PROS 181 PEACH WOOD DR BYRON GA 31008-3509
ALICE PALMER                           ADDRESS ON FILE
ALICIA GREGORY, GERALD GREGORY         ADDRESS ON FILE
ALIEF ISD TAX OFFICE                   PO BOX 368 ALIEF TX 77411
ALIN URUN                              ADDRESS ON FILE
ALISON J. RAMSDELL                     US ATTORNEYS OFFICE PO BOX 2638 SIOUX FALLS SD 57101-2638
ALISON J. RAMSDELL                     US ATTORNEYS OFFICE PO BOX 7240 PIERRE SD 57501
ALISON J. RAMSDELL                     US ATTORNEYS OFFICE 201 FEDERAL BLDG 515 NINTH ST RAPID CITY SD 57701
ALIX R YOUNESALI                       ADDRESS ON FILE
ALIXPARTNERS HOLDINGS LLP              DBA ALIXPARTNERS LLP PO BOX 7410063 CHICAGO IL 60674-5063
ALJAN A SIMPSON                        ADDRESS ON FILE
ALL ABOUT GLASS AND MIRROR INC         930 FLYNN RD STE J CAMARILLO CA 93012-5616
ALL AMERICAN AIR & ELECTRIC INC        901 SW 33RD AVE OCALA FL 34474-1962
ALL AMERICAN CALENDARS LLC             DBA LAW ENFORCEMENT SERVICES C/O DELAWARE CO SHERIFFS OFFICE CALENDAR 2348 W
                                       ANDREW JOHNSON HWY 498 MORRISTOWN TN 37814-3208
ALL AMERICAN ELECTRIC LLC              76 ATLAS RD UNIONTOWN PA 15401-6593


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ALL AMERICAN FACILITY MAINTENANCE INC   710 INTERNATIONAL PARKWAY SUNRISE FL 33325-6219
ALL AMERICAN PUBLISHING LLC             PO BOX 100 CALDWELL ID 83606
ALL AMERICAN RESTORATION LLC            DBA SERVPRO OF WICHITA FALLS PO BOX 9761 WICHITA FALLS TX 76308-9761
ALL AMERICAN WASTE REMOVAL              PO BOX 45627 RIO RANCHO NM 87174
ALL AROUND LIGHTING INC                 THE LIGHT BULB SOURCE 945 QUEEN STREET HONOLULU HI 96814
ALL COUNTY SERVICES                     DBA RICHARDS LOCKSMITH AND SAFES 10412 WEST SAMPLE ROAD CORAL SPRINGS FL 33065
ALL DRAIN LLC                           PO BOX 535 DAYTON OH 45404-0535
ALL ELEMENTS INC                        301 CHELSEA RD MONTICELLO MN 55362-8430
ALL HOURS PLUMBING DRAIN CLEANING LLC   1152 W 2400 S WEST VALLEY UT 84119-1557
ALL IN ONE HANDYMAN SERVICES LLC        1505 VAN BUREN CT WAXAHACHIE TX 75165-1261
ALL IN ONE MANAGEMENT & SERVICES INC    PO BOX 2754 SPRINGFIELD IL 62708-2754
ALL KELLY INC                           DBA FISH WINDOW CLEANING PO BOX 8986 SOUTH CHARLESTON WV 25303-8986
ALL OUT SERVICES LLC                    DBA ALL OUT PARKING LOTS 501 ABBOTT DR STE 1 BROOMALL PA 19008-4320
ALL PHASE SERVICE INC                   220 W CENTRAL AVE STE 14 MILLCREEK UT 84107-1401
ALL PHASE SERVICES INC                  2890 MADISON AVE SE WYOMING MI 49548-1206
ALL PRO LOCKSMITH INC                   2807 MORNINGSIDE DRIVE ERIE PA 16506
ALL PRO PLUMBING SERVICES INC           975 SUNSHINE LN ALTAMONTE SPRINGS FL 32714-3804
ALL PURPOSE CLEANING & PRESSURE WASHING 6271 E LEMHI COURT NAMPA ID 83687-9177
ALL PURPOSE LANDSCAPING                 PO BOX 816 CANON CITY CO 81215-0816
ALL REPAIR PLUMBING INC                 PO BOX 3129 BURLESON TX 76097-3129
ALL SCAPES IRRIGATION & LAWN CARE LLC   361 SOUTHWEST DRIVE 210 JONESBORO AR 72401
ALL SEASONS GARDEN CENTER INC           5101 S WASHINGTON GRAND FORKS ND 58201
ALL SEASONS IRRIGATION LLC              443 W 3RD ST MINDEN NE 68959-1558
ALL SECURE LOCK SERVICE LLC             5701 INDEPENDENCE ST ARVADA CO 80002-2140
ALL SERVICE ELECTRIC GROUP INC          1556 WHITLOCK AVENUE JACKSONVILLE FL 32211-3456
ALL SERVICE KITCHEN EQUIPMENT CORP      PO BOX 310 NEW HYDE PARK NY 11040
ALL SIGNS & GRAPHICS LLC                301 HOPE MILLS RD FAYETTEVILLE NC 28304-3152
ALL SIGNS OF CHILLICOTHE INC            12035 PLEASANT VALLEY RD CHILLICOTHE OH 45601-9785
ALL STAR ELECTRIC & INDUSTRIAL          CONTRACTORS INC PO BOX 5392 VALDOSTA GA 31603-5392
ALL TEMP SERVICES INC                   714 SCARLET ST UNIT A GRAND JUNCTION CO 81505-9441
ALL TERRAIN PONDS AND SPRINKLERS        DBA ALL TERRAIN LANDSCAPING 5312 W 9TH STREET DR STE 120 GREELEY CO 80634-4452
ALL TRADE INDUSTRIES LLC                94 EDWIN AVENUE WATERBURY CT 06708
ALL TRADES MECHANICAL INC               PO BOX 2446 GIG HARBOR WA 98335-4446
ALL UPHOLSTERY INC                      DBA UPHOLSTERY PLACE 10 THAYER ST JAMESTOWN NY 14701-3821
ALLEGHENY COUNTY TREASURER              JOHN K WEINSTEIN RM 108 COURTHOUSE 436 GRANT ST PITTSBURGH PA 15219-2497
ALLEGHENY COUNTY TREASURER              JOHN K. WEINSTEIN SPECIAL TAX DIVISION PO BOX 534085 PITTSBURGH PA 15253-4085
ALLEGHENY COUNTY/HEALTH DEPARTMENT      3333 FORBES AVE PITTSBURGH PA 15213
ALLEGHENY SAFE & LOCK INC               501 THOMSON PARK DR CRANBERRY TOWNSHIP PA 16066-6425
ALLEN BEVERAGES INC                     PO BOX 2037 GULFPORT MS 39505-2037
ALLEN COUNTY HEALTH DEPARTMENT          4480 KING STREET ROOM 360 LIMA OH 45801
ALLEN COUNTY HEALTH DEPARTMENT          ALLEN COUNTY PUBLIC HEALTH 219 EAST MARKET STREET LIMA OH 45801
ALLEN COUNTY TREASURER                  PO BOX 123 LIMA OH 45802-0123
ALLEN COUNTY TREASURER                  PO BOX 2540 FORT WAYNE IN 46801-2540
ALLEN COUNTY, INDIANA, ASSESSOR         C/O TAX MANAGEMENT ASSOCIATES, INC 6081 EAST 82ND STREET, SUITE 130
                                        INDIANAPOLIS IN 46250
ALLEN INDUSTRIES INC                    PO BOX 890290 CHARLOTTE NC 28289-0290
ALLEN LEE MILLER                        ADDRESS ON FILE
ALLEN, GEORGE M                         ADDRESS ON FILE
ALLEN, WANDA                            ADDRESS ON FILE



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ALLENDORF, ANNIE                       ADDRESS ON FILE
ALLENS NEXT LEVEL HEATING COOLING      REFRIGERATION & PLUMBING INC DBA ALLENS NEXT LEVEL PO BOX 3361 ROSWELL NM
                                       88202-3361
ALLENS PLUMBING INC                    4219 54TH AVE NORTH ST PETERSBURG FL 33714-2253
ALLENS TRI-STATE MECHANICAL INC        404 S HAYDEN AMARILLO TX 79101
ALLIANCE BEVERAGE DISTRIBUTING LLC     4490 60TH STREET SE GRAND RAPIDS MI 49512-9631
ALLIANCE BEVERAGE DISTRIBUTORS LLC     3710 ROGER B CHAFFEE BLVD SE WYOMING MI 49548
ALLIANCE LOCKSMITHS INC                5 WEST CROSS STREET HAWTHORNE NY 10532-1259
ALLIANCE MECHANICAL INC                DBA POLARIS REFRIGERATION INC 3619 NORTH 35TH AVE PHOENIX AZ 85017
ALLIANT ENERGY/IPL                     PO BOX 3060 CEDAR RAPIDS IA 52406-3060
ALLIANT INSURANCE SERVICES INC         DBA ONE SOURCE RISK MANAGEMENT PO BOX 15340 PORTLAND ME 04112-5340
ALLIED BEVERAGE GROUP                  DBA BANNER DISTRIBUTORS 901 PLEASANT VALLEY AVENUE MT LAUREL NJ 08054
ALLIED COFFEE CORP                     DBA SERV QUIP EQUIPMENT SERVICE 775 INDUSTRIAL ROAD UNIT 2 LONDON ON N5V 3N5
                                       CANADA
ALLIED KEY & SAFE LLC                  610 N MAIN ST ROSWELL NM 88201-4824
ALLIED LOCK AND SAFE TECHNICIANS INC   DBA ALLIED SECURITY PROFESSIONALS 4919 N SHERIDAN RD PEORIA IL 61614-4852
ALLIED LOCKSMITHS OF YOUNGSTOWN        2904 SOUTH AVENUE YOUNGSTOWN OH 44502-2412
ALLIED MECHANICAL & ELECTRICAL INC     2141 SANDY DRIVE STATE COLLEGE PA 16803-2283
ALLIED PLUMBING & DRAIN SERVICE INC    PO BOX 564 TONTITOWN AR 72770
ALLIED REFRIGERATION INC               1316 SOUTH MAIN STREET JOPLIN MO 64801
ALLIED RESTAURANT SER OF OH INC        DBA BAUMBERGER HEATING & COOLING 187 SOUTH ILLINOIS AVENUE MANSFIELD OH 44905
ALLIED SECURITY SYSTEMS INC            20642 TIMBERLAKE RD LYNCHBURG VA 24502
ALLIED SERVICE GROUP LLC               319 VANN DR E265 JACKSON TN 38305-6032
ALLIED WORLD INSURANCE COMPANY         100 PINE STREET SUITE 1700 SAN FRANCISCO CA 94111
ALLISON COMPANIES INC                  DBA YESCO NASHVILLE PO BOX 648 GOODLETTSVILLE TN 37070
ALLISON PINKNEY                        ADDRESS ON FILE
ALLISONS PLUMBING HEATING & AC LLC     966 1/2 YORK ST HANOVER PA 17331-3438
ALLOWAY ELECTRIC COMPANY INC           502 EAST 45TH STREET BOISE ID 83714-4846
ALLSTAR ELEVATOR & ESCALATOR INSPECTION AGENCY INC DBA ALLSTAR CONSULTING GROUP 700 KINDERKAMACK RD SUITE 209 ORADELL
                                        NJ 07649
ALLSTATE MECHANICAL SERVICES LLC       4440 NW 4TH ST PLANTATION FL 33317-2708
ALLWEATHER LANDSCAPE MAINTENANCE INC   PO BOX 6734 SANTA MARIA CA 93456
ALLYSON MUNIZ                          ADDRESS ON FILE
ALMA SOLA                              ADDRESS ON FILE
ALMACH ELITE SOLUTIONS LLC             9874 NAMASTE LOOP APT 4312 ORLANDO FL 32836-5547
ALMADEN PLAZA MERCHANTS ASSOC          49 ALMADEN PLAZA 5353 ALMADEN EXPRESSWAY SAN JOSE CA 95118-3699
ALMEIDA ASSOCIATES LLC                 DBA CEILING PRO OF WA PMB 6135 13300 BOTHELL EVT HWY MILL CREEK WA 98012
ALONSO EXCAVATION & CONSTRUCTION CO INC DBA ALONSO SERVICE COMPANY PO BOX 33998 SAN ANTONIO TX 78265-3998
ALPHA HOME SERVICES LLC                138 WARREN ST MERIDEN CT 06450-3488
ALPHA MECHANICAL SERVICE LLC           DBA ALPHA ENERGY SOLUTIONS 7200 DISTRIBUTION DRIVE LOUISVILLE KY 40258-2827
ALPHA THREAT MANAGEMENT INC            18032 C LEMON DR SUITE 124 YORBA LINDA CA 92886
ALPINE ELECTRIC INC                    PO BOX 1606 MANSFIELD OH 44901-1606
ALPINE FENCE INC                       2038 ALPINE BLVD ALPINE CA 91901-2111
ALPINE REFRIGERATION INC               PO BOX 40188 DENVER CO 80204
ALPINE WINDOW CLEANING INC             59 DAMONTE RANCH PKWY SUITE B-128 RENO NV 89521
ALR RACANELLI LLC                      C/O ANGELO POSILLICO 61 BAYVIEW AVE MASSAPEQUA NY 11758-7218
ALR RACANELLI LLC                      C/O ANGELA POSILLICO 61 BAYVIEW AVE MASSAPEQUA NY 11758-7218
ALS AUTO UPHOLSTERY LLC                DBA ALS FURNITURE & AUTO UPHOLSTERY 6616 CENTRAL AVE SE ALBUQUERQUE NM
                                       87108-1815
ALS PLUMBING AND HEATING LTD           1275 KELLY LAKE RD UNIT10 SUDBURY ON P3E 5P5 CANADA


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ALSCO CANADA CORP                       14630-123RD AVENUE EDMONTON ON T5L 2Y4 CANADA
ALSCO INC                               DBA ALSCO CORPORATE ACCOUNTS 3101 CHARLOTTE AVE NASHVILLE TN 37209-4053
ALTAFIBER                               PO BOX 748003 CINCINNATI OH 45274-8003
ALTERNATIVE WINDOW CLEANING LLC         PO BOX 491 GARDNER KS 66030-0491
ALTIMA LIGHTING & ELECTRICAL            CORP 8361 CURRENCY DR RIVIERA BEACH FL 33404-1783
CONTRACTING
ALTITUDE LANDSCAPING LLC                PO BOX 1223 EVANSVILLE WY 82636-1223
ALTITUDE RESTAURANT EQUIPMENT SERVICE   120 1919 27TH AVENUE NE CALGARY ON T2E 7E4 CANADA
ALTOONA AREA SCHOOL DISTRICT            ALLEN COUNTY PUBLIC HEALTH 219 EAST MARKET STREET ALTOONA PA 16602
ALTOONA AREA SCHOOL DISTRICT            TAX OFFICE-STEVENS BLDG 200 E CRAWFORD AVE ALTOONA PA 16602
ALTOONA WATER AUTHORITY                 P.O. BOX 3150 ALTOONA PA 16603
ALTOONA WATER AUTHORITY                 DBA WASTEWATER TREATMENT 144 WESTERLY TREATMENT PLANT ROAD DUNCANSVILLE PA
                                        16635
ALUM CREEK CARRYOUT                     4275 ALUM CREEK DR COLUMBUS OH 43207
ALVA INVESTMENT CORP                    255 ALHAMBRO CIRCLE, SUITE 500 CORAL GABLES FL 33134
ALVA INVESTMENT CORP                    8950 SW 74 CT SUITE 1901 MIAMI FL 33156
ALVA ROBINSON                           ADDRESS ON FILE
ALVARADO, LOUIS                         ADDRESS ON FILE
ALVARADO, SOPHIA                        ADDRESS ON FILE
ALVAREZ, WINTHROP, THOMPSON & SMOAK, PA 390 N ORANGE AVE STE 600 ORLANDO FL 32801-1684
ALVAREZ, WINTHROP, THOMPSON & SMOAK, PA ATTN:BILL SMOAK 320 W KENNEDY BLD FL 4 TAMPA FL 33606-1453
ALVARO M CASARES                        ADDRESS ON FILE
ALVEAR, ENRIQUE                         ADDRESS ON FILE
ALVERSON, TIFFANY                       ADDRESS ON FILE
ALVEZ, AMANDA                           ADDRESS ON FILE
ALVEZ, AMANDA                           ADDRESS ON FILE
ALVIN MOWREY III                        ADDRESS ON FILE
ALVIS LAING ELECTRIC COMPANY            115 INDUSTRIAL DR CHRISTIANSBURG VA 24073-2536
ALWAYS GREEN SPRINKLER                  PO BOX 60001 1515 REBECCA ST OAKVILLE ON L6L 6R4 CANADA
ALWAYS GROWING                          11838 WEST ARLINGTON DRIVE LITTLETON CO 80127
ALWAYS GROWING MAINTENANCE INC          610 MERKLEY DR ORLEANS ON K4A 1L5 CANADA
ALWAYS SAFE & LOCK INC                  815 FOURTH AVENUE E OLYMPIA WA 98506
ALYSHEBA ASSOCIATION INC                HAMBURG PLACE PO BOX 12128 LEXINGTON KY 40580-2128
AMANDA ALISON                           ADDRESS ON FILE
AMANDA M MARTIN                         ADDRESS ON FILE
AMARANTA MARTINEZ                       ADDRESS ON FILE
AMAYLEE VALENCIA BERNAL (MINOR),        ADDRESS ON FILE
AMAZING GRACE LANDSCAPING LLC           9230 US HIGHWAY 192 STE D1 CLERMONT FL 34714-8214
AMAZING GROUT INC                       6691 GIVENS POND LANE LAUREL DE 19956
AMAZON MEDIA GROUP LLC                  PO BOX 24651 SEATTLE WA 98124-0651
AMAZON.COM                              C/O AMAZON WEB SERVICES INC PO BOX 84023 SEATTLE WA 98124-8423
AMBASSADOR SALES 1986 INC               1149 MANAHAN AVENUE WINNIPEG MB R3T 6B7 CANADA
AMBER ALLEN                             ADDRESS ON FILE
AMBRIT LLC                              DBA GASKET GUY OF LOUISIANA 2076 3RD ST MANDEVILLE LA 70471-6425
AMC AIR MARNE CARGO INC                 8063 22 ST NE CALGARY ON T2E 7Z6 CANADA
AMEREN ILLINOIS                         PO BOX 88034 CHICAGO IL 60680-1034
AMEREN MISSOURI                         PO BOX 88068 CHICAGO IL 60680-1068
AMERICAN AIR SPECIALISTS OF MS INC      PO BOX 162 HATTIESBURG MS 39403-0162
AMERICAN ANALYTICAL LABORATORIES INC    840 S MAIN STREET AKRON OH 44311



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AMERICAN ARBITRATION ASSOCIATION INC     120 BROADWAY FL 21 NEW YORK NY 10271-2700
AMERICAN BACKFLOW & FIRE PREVENTION      111 KERRY LN WAUCONDA IL 60084-1134
AMERICAN BACKFLOW & PLUMBING SERVICES    5623 SE CENTER ST PORTLAND OR 97206-3859
AMERICAN BEVERAGE REPAIR INC             PO BOX 4222 WICHITA KS 67204-0222
AMERICAN BOILER INSPECT SVC INC          12800 SADDLESEAT PLACE RICHMOND VA 23233-7687
AMERICAN CHAIR & SEATING                 PO BOX 690544 QUINCY MA 02269-0544
AMERICAN CLASSIC CRPT CARE INC           PO BOX 2655 MATTHEWS NC 28106
AMERICAN DISPOSAL SERVICES               PO BOX 535233 A WASTE CONNECTIONS COMPANY PITTSBURGH PA 15253-5233
AMERICAN DOWELL SIGN COMPANY INC         4812 N CUNNINGHAM AVE URBANA IL 61802
AMERICAN DREAM MAINTENANCE & POWER       WASHING LLC DBA ANGELA BOCCIO MCCOMB 64 VANDERBILT AVE SAINT JAMES NY
                                         11780-1732
AMERICAN ELECTRIC COMPANY LLC            799 KAHELU AVENUE MILILANI HI 96789-3906
AMERICAN ELECTRIC POWER                  PO BOX 371496 PITTSBURGH PA 15250-7496
AMERICAN FAST FREIGHT INC                PO BOX 101846 PASADENA CA 91189-0053
AMERICAN FINANCE OPERATING PARTNERSHIP   DBA ARC CLORLFL001 LLC C/O HIFFMAN NATIONAL LLC ONE OAKBROOK TERRACE STE 400
                                         OAKBROOK TERRACE IL 60181-4449
AMERICAN FOUNDATION FOR SUICIDE          PREVENTION 199 WATER ST FL 11 NEW YORK NY 10038-3589
AMERICAN GUARANTEE AND LIABILITY         MARSH USA INC QUALIFIED SOLUTIONS GROUP 1166 AVENUE OF THE AMERICAS NEW YORK
                                         NY 10036-2708
AMERICAN HEATING INC                     5035 S E 24TH AVENUE PORTLAND OR 97202-4765
AMERICAN INCORPORATED                    DBA MCELMOYL REFRIGERATION 1345 NORTH AMERICAN STREET VISALIA CA 93291
AMERICAN INTERNATIONAL REINSURANCE CO    27 RICHMOND ROAD PEMBROKE HM 08 BERMUDA
AMERICAN INTERSTATE MAINTENANCE INC      DBA GREGS MAINT COMMERCIAL CLEANING PO BOX 350331 BROOKLYN NY 11235
AMERICAN JETTING SERVICE OF ARIZONA INC DBA AMERICAN JETTING SERVICES PO BOX 3674 SCOTTSDALE AZ 85271-3674
AMERICAN KITCHEN MACHINERY & REPAIR CO   204 QUARRY ST PHILADELPHIA PA 19106
AMERICAN LAWN & LANDSCAPE INC            101 W 29TH SUITE G333 PITTSBURG KS 66762
AMERICAN LEAK DETECTION INC              199 WHITNEY AVE FL 2 NEW HAVEN CT 06511-3795
AMERICAN LIGHTING INC                    8032 KINGSTON PIKE KNOXVILLE TN 37919-5583
AMERICAN LOCK & KEY INC                  4644 WOODBINE RD PACE FL 32571-8717
AMERICAN LOCK & KEY SERVICE              14366 EUREKA RD SOUTHGATE MI 48195-2057
AMERICAN MAINTENANCE GROUP INC           PO BOX 23351 ROCHESTER NY 14692-3351
AMERICAN MEDIA INVESTMENTS INC           DBA AMI RADIO GROUP 2510 W 20TH ST JOPLIN MO 64804-0216
AMERICAN PLUMBING CONTRACTORS            5840 ARLINGTON RD JACKSONVILLE FL 32211-5357
AMERICAN PLUMBING SERVICES               PO BOX 3821 SAVANNAH GA 31414
AMERICAN PREMIUM BEVERAGE                5241 NATIONAL CENTER DRIVE COLFAX NC 27235
AMERICAN PRESSURE WASHING COMPANY LLC    DBA WILLIAM K TISDALE 269 CLIFF NELSON RD EUHARLEE GA 30145-2746
AMERICAN PROFESSIONAL LOCKSMITH          DBA DRISCOLLS LOCK & KEY 295 ROUTE 304 BARDONIA NY 10954-2153
SERVICES
AMERICAN PUMPING                         2522 E STATE ROAD 218 CAMDEN IN 46917-9568
AMERICAN RESIDENTIAL SERVICES LLC        DBA AKSARBEN PLUMBING SEWER & DRN 7070 SOUTH 108TH ST OMAHA NE 68128-5748
AMERICAN RESTAURANT SERVICES LLC         DBA HOOD CLEANERS OF AMERICA 35246 US HIGHWAY 19 N 268 PALM HARBOR FL
                                         34684-1931
AMERICAN RESTAURANT SERVICES LTD         8-5500 TOMKEN RD MISSISSAUGA ON L4W 2Z4 CANADA
AMERICAN ROOTER LLC                      PO BOX 260 WATERTOWN CT 06795
AMERICAN SIGN & LIGHTING                 DBA AMERICAN NEON PRODUCTS 715C SOUTH WASHINGTON STREET MILFORD DE 19963
AMERICAN SUPPLY CO                       PO BOX 2026 SALINAS CA 93902
AMERICAN TAP SERVICES LLC                28 TAYLOR RD BETHEL CT 06801-1629
AMERICAN VETERANS LAWNCARE               467 ALEXIS DR ELYRIA OH 44035-8388
AMERICAN WASTE CONTROL INC               PO BOX 21054 TULSA OK 74121-1054
AMERICAN WATER PROTECTION SVC INC        PO BOX 327 DALTON GA 30722


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AMERICAN WATERCARE INC                 1320 W HIGHWAY 290 DRIPPING SPRINGS TX 78620-2895
AMERICAN WELDING & GAS INC             PO BOX 779009 CHICAGO IL 60677-9009
AMERICAN WINDOW CLEANING INC           2400 18TH ST BETTENDORF IA 52722-0302
AMERICAS PLUMBING CO INC               4878 PASADENA AVE STE 1 SACRAMENTO CA 95841-4289
AMERIPRIDE SERVICES INC                PO BOX 698 BEMIDJI MN 56619-0698
AMERITECH FACILITY SERVICES LLC        1500 AIRPORT DRIVE SUITE 200 BALL GROUND GA 30107
AMES CHAMBER OF COMMERCE INC           304 MAIN ST AMES IA 50010-6148
AMES CONVENTION & VISITORS BUREAU      1601 GOLDEN ASPEN DRIVE SUITE 110 AMES IA 50010-8075
AMES MUNICIPAL UTILITIES               P.O. BOX 811 AMES IA 50010
AMF ELECTRICAL CONTRACTORS INC         PO BOX 16140 ST LOUIS MO 63105
AMHERST TOWN CLERK                     5583 MAIN STREET WILLIAMSVILLE NY 14221
AMIE HASTINGS                          ADDRESS ON FILE
AMIR C MONSHIZADEH                     ADDRESS ON FILE
AMIR DOROSTI                           ADDRESS ON FILE
AMITY LANDSCAPING GROUP LLC            1304 TUSCOLA BLVD TUSCOLA IL 61953-2077
AMITY LOCK & SAFE INC                  6545 RIDGE RD STE 1 PORT RICHEY FL 34668-6865
AMITY SAFE & LOCK CO                   1298 WHALLEY AVE NEW HAVEN CT 06515-1101
AMJ WOLF CORP                          C/O SARA JANE POLLACK 239 BARTON AVENUE MELVILLE NY 11747
AMJAD A YOUSIF                         ADDRESS ON FILE
AMONETT, ROBERT                        ADDRESS ON FILE
AMOS EDWARD SANTWIER III               ADDRESS ON FILE
AMP ELECTRIC & LIGHTING SVC INC        811 GRAND AVENUE SPRING VALLEY CA 91977
AMP LLC                                DBA AMP QUALITY ENERGY SERVICES PO BOX 526 HUNTSVILLE AL 35804-0526
AMPERAGE ELECTRICAL SERVICES INC       11345 NE 3RD CIR OKEECHOBEE FL 34972-8308
AMR PARTNERSHIP, ATTN: SIGIT NUGRAHA   GANDARIA, GEDUNG PERKANTORAN GANDARIA 8 LANTAI 3 D, JL. SULTAN ISKANDAR MUDA
                                       (ARTERI PONDOK INDAH) JAKARTA SELATAN JAKARTA 12240 INDONESIA
AMSTER, CARMEN                         ADDRESS ON FILE
AMTEK SERVICES LLC                     DBA MR HANDYMAN OF BURLESON, MIDLOTHIAN & E CLEBURNE 5001 E FM 1187 STE 290
                                       BURLESON TX 76028-3184
AMTEX SERVICES INC                     DBA AMERICAN FACILITY MAINTENANCE PO BOX 79114 HOUSTON TX 77279-9114
AMW CONTRACTING INC                    144 ARLINGTON ROAD S STE 3 JACKSONVILLE FL 32216-7204
AMY CHAPMAN                            ADDRESS ON FILE
ANALYTIC PARTNERS LP                   1441 BRICKELL AVE STE 1220 MIAMI FL 33131-3429
ANALYTICAL LABORATORIES INC            4208 BETHLEHEM PIKE TELFORD PA 18969-1129
ANATRA MAHONEY                         ADDRESS ON FILE
ANDERSON CITY UTILITIES, IN            PO BOX 2100 ANDERSON IN 46018-2100
ANDERSON COUNTY TREASURER              PO BOX 1658 ANDERSON SC 29622-1658
ANDERSON COUNTY TRUSTEE                100 N MAIN ST RM 203 CLINTON TN 37716
ANDERSON ELECTRIC INC                  3501 S 6TH ST HWY W SUITE 1 SPRINGFIELD IL 62703
ANDERSON LOCK & SECURITY SYSTEMS INC   813 6TH AVENUE SOUTH SURFSIDE BEACH SC 29575
ANDERSON, ANDREW                       ADDRESS ON FILE
ANDERSON, JEFFREY                      ADDRESS ON FILE
ANDERSON, KAREN                        ADDRESS ON FILE
ANDERSON, KIMA-JOI                     ADDRESS ON FILE
ANDERSON, MARCIA                       ADDRESS ON FILE
ANDERSON, MARGO                        ADDRESS ON FILE
ANDERSON, ROSIE                        ADDRESS ON FILE
ANDEW M. LUGAR                         UNITED STATES ATTORNEYS OFFICE US COURTHOUSE 316 N ROBERT ST, STE 404 ST. PAUL
                                       MN 55101
ANDEW M. LUGAR                         UNITED STATES ATTORNEYS OFFICE US COURTHOUSE 300 S 4TH ST, STE 600 MINNEAPOLIS


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ANDEW M. LUGAR                          MN 55415
ANDRADE, ETHAN                          ADDRESS ON FILE
ANDRE TATE                              ADDRESS ON FILE
ANDREA BROWN                            ADDRESS ON FILE
ANDRES GUTIERREZ                        DBA ANDRESS CARPET CARE SERVICES PO BOX 2582 PASCO WA 99302
ANDREW CUMMINS                          ADDRESS ON FILE
ANDREW HOWARD                           ADDRESS ON FILE
ANDREW J BASS JR IRREVOCABLE TR FBO     ADDRESS ON FILE
DREW
ANDREW J BIBLE                          ADDRESS ON FILE
ANDREW JOHN MANIE                       ADDRESS ON FILE
ANDREW P CURTIS                         ADDRESS ON FILE
ANDREW PATTERSON PLUMBING INC           5555 W BROOMFIELD RD MT PLEASANT MI 48858-9618
ANDREW POPE                             ADDRESS ON FILE
ANDREW S DIRGA                          DBA AD SERVICES C/O AMERICAN CARPET CLEANERS PO BOX 310 CAMBRIDGE NY
                                        12816-0310
ANDREW YANCONISH                        ADDRESS ON FILE
ANDREWS CONSTRUCTION INC                5617 E HILLERY DR SCOTTSDALE AZ 85254-2449
ANDREWS ELECTRICAL INC                  5617 E HILLERY DR SCOTTSDALE AZ 85254-2449
ANDREWS FURNITURE SERVICES LLC          1132 CUPP ROAD MCGREGOR TX 76657
ANDREWS PLUMBING SERVICES INC           5617 E HILLERY DR SCOTTSDALE AZ 85254-2449
ANDREWS REFRIGERATION INC               5617 E HILLERY DR SCOTTSDALE AZ 85254-2449
ANDREWS UPHOLSTERY INC                  4496 COMMERCIAL AVENUE BURTON MI 48529
ANDYHARRIS LLC                          222 GRAND AVE ENGLEWOOD NJ 07631-4352
ANDYS QUALITY CARPET CLEANING           8 ROSEWOOD CT BRANTFORD ON N3R 7C9 CANADA
ANEISHA SHABAZZ                         ADDRESS ON FILE
ANEW CONTRACTORS LLC                    DBA INDIANA WASH AND SEAL C/O BETTER VIEW LLC 312 FARABEE DR S LAFAYETTE IN
                                        47905-4709
ANGEL ELECTRIC VENTURES LLC             DBA TRIAD ELECTRIC SOLUTIONS 321 NEW ST GREENSBORO NC 27405-3654
ANGEL ORTIZ                             ADDRESS ON FILE
ANGEL SANTOS FUNES PASCUAL              ADDRESS ON FILE
ANGELA T BORCH                          ADDRESS ON FILE
ANGELES, CECILIA DE LOS                 ADDRESS ON FILE
ANGELINA COUNTY CHAMBER OF COMMERCE     1615 S CHESTNUT ST LUFKIN TX 75901-5705
ANGELINA COUNTY TAX COLLECTOR           PO BOX 1344 LUFKIN TX 75902
ANGELINA CTY & CITIES HLTH DIST         TAX OFFICE-STEVENS BLDG 200 E CRAWFORD AVE LUFKIN TX 75904
ANGELINA CTY & CITIES HLTH DIST         ENVIRONMENTAL HEALTH DIV 202 S BYNUM LUFKIN TX 75904
ANGELLICA HOWARD                        ADDRESS ON FILE
ANGELLIO AUGUSTIN                       ADDRESS ON FILE
ANGELO R FAJARDO                        ADDRESS ON FILE
ANGELO WATER SERVICE CO                 1007 N CHADBOURNE SAN ANGELO TX 76903
ANHEUSER BUSCH INBEV WORLDWIDE INC      3535 ST JOHNS ROAD LIMA OH 45804
ANHEUSER BUSCH OF CANTON                1611 MARIETTA AVE SE CANTON OH 44707-2573
ANHEUSER-BUSCH SALES OF CANTON          PO BOX 21367 CANTON OH 44701-1367
ANKENY SANITATION                       PO BOX 487 ANKENY IA 50021
ANN STAPLES                             ADDRESS ON FILE
ANNA BUECHELER INVESTMENT PARTNERSHIP   13615 HART STREET VAN NUYS CA 91405
ANNA HANION                             ADDRESS ON FILE
ANNA PULIDO                             ADDRESS ON FILE
ANNAGRACE HALL                          ADDRESS ON FILE


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ANNAPOLIS MALL SHOPPING CTR CO           C/O ANNAPOLIS MGMT CO PO BOX 6570 ANNAPOLIS MD 21401-0570
ANNE ARUNDEL COUNTY                      ENVIRONMENTAL HEALTH DIV 202 S BYNUM BOSTON MA 02241-8669
ANNE ARUNDEL COUNTY                      FALSE ALARM REDUCTION PROGRAM PO BOX 418669 BOSTON MA 02241-8669
ANNE ARUNDEL COUNTY MARYLAND             FALSE ALARM REDUCTION PROGRAM PO BOX 418669 BALTIMORE MD 21297-0476
ANNE ARUNDEL COUNTY MARYLAND             OFFICE OF FINANCE PO BOX 17492 BALTIMORE MD 21297-0476
ANNE ARUNDEL COUNTY OFFICE OF FINANCE    P.O. BOX 427 ANNAPOLIS MD 21404-0427
ANNE ARUNDEL COUNTY WATER AND            P.O. BOX 427 ANNAPOLIS MD 21404
WASTEWATER
ANNE KIRKHAM                             ADDRESS ON FILE
ANNE MOHR AS TRUSTEE                     ADDRESS ON FILE
ANOKA COUNTY HEALTH DEPARTMENT           ANOKA COUNTY COURTHOUSE ANOKA MN 55303
ANOKA COUNTY HEALTH DEPARTMENT           OFFICE OF FINANCE PO BOX 17492 ANOKA MN 55303
ANOKA COUNTY TAX COLLECTOR               2100 3RD AVE ANOKA MN 55303-2281
ANOTHER ROUND LLC                        622 S 6TH AVE DE WITT IA 52742-9445
ANOVA FURNISHINGS INC                    DBA UPBEAT INC PO BOX 779134 CHICAGO IL 60677-9134
ANSI INC                                 PO BOX 4543 CAROL STREAM IL 60197-4543
ANSLEY, ALICE                            ADDRESS ON FILE
ANT BRAINS CORPORATION                   DBA KRISTA SOFTWARE INC 2633 MCKINNEY AVE STE 130-364 DALLAS TX 75204-2581
ANTELOPE VALLEY SHOP LLC                 PO BOX 103167 PASADENA CA 91189-0155
ANTHEM INJURY LAWYERS                    3145 SAINT ROSE PARKWAY SUITE 220 HENDERSON NV 89052
ANTHONY A KASPER JR                      ADDRESS ON FILE
ANTHONY BRACERO                          ADDRESS ON FILE
ANTHONY FOLEY                            ADDRESS ON FILE
ANTHONY GAZZOLA                          ADDRESS ON FILE
ANTHONY GENNARO PLUMBING CONTRACTOR INC PO BOX 1801 LAND O LAKES FL 34639-1801
ANTHONY GOODWIN                          ADDRESS ON FILE
ANTHONY H DAVIS                          ADDRESS ON FILE
ANTHONY I ABATO                          ADDRESS ON FILE
ANTHONY J CHINAPPI                       ADDRESS ON FILE
ANTHONY J MARRA                          ADDRESS ON FILE
ANTHONY JONES                            ADDRESS ON FILE
ANTHONY L NORRIS                         ADDRESS ON FILE
ANTHONY MANGIONE TA CHEM-DRY OF LEHIGH   ADDRESS ON FILE
ANTHONY O GONZALES                       ADDRESS ON FILE
ANTHONY THOMAS                           ADDRESS ON FILE
ANTHONY VANNEY                           ADDRESS ON FILE
ANTHONY VRONKO II                        ADDRESS ON FILE
ANTHONYS LANDSCAPE SERVICE               928 SPRINGS AVE BIRMINGHAM AL 35242-4856
ANTOINETTE HAMILTON                      ADDRESS ON FILE
ANTON HVAC & MECHANICAL LLC              DBA ANTON PLUMBING HEATING & COOLING PO BOX 177 SPOTSWOOD NJ 08884-0177
ANTONIO CARRILLO                         ADDRESS ON FILE
ANTONIO COLEMAN SR                       ADDRESS ON FILE
ANTONIO FLORES                           ADDRESS ON FILE
ANTONIO JULIUS JONES                     ADDRESS ON FILE
ANTONIO MARTINEZ                         ADDRESS ON FILE
ANTONIOS EXCAVATION & GEN CONTRACTING    6198 KISTER ROAD NIAGARA FALLS ON L2E 6X8 CANADA
ANTRON GRADY                             ADDRESS ON FILE
ANTWAN ADAMS                             ADDRESS ON FILE
ANYBILL FINANCIAL SERVICES INC           C/O ACCOUNTS RECEIVABLE PO BOX 34781 BETHESDA MD 20827



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ANYTIME PLUMBING & SEWER                 PO BOX 28514 SANTA FE NM 87592
AON CONSULTING INC                       29695 NETWORK PL CHICAGO IL 60673-1296
AP SERVICES LLC                          PO BOX 7410063 CHICAGO IL 60674-5063
APAIDETTE, FABRIZIO                      ADDRESS ON FILE
APEX AIR INC                             209 NW 1ST AVE DANIA BEACH FL 33004
APEX HOME MAINTENANCE CORP               721 BUFFALO AVE LINDENHURST NY 11757-2038
APEX LANDSCAPE MAINTENANCE LLC           11311 E GERMANN ROAD SUITE 102 CHANDLER AZ 85286
APEX MECHANICAL PLUMBING & HEATING LTD   100 3668 60 AVENUE SE CALGARY ON T2C 2C7 CANADA
APEX PLUMBING PROS LLC                   6700 SCHROCK CT COLUMBUS OH 43229-1115
APEX RECYCLING & DISPOSAL                PO BOX 40097 EUGENE OR 97404
APEX REFRIGERATION AIR CONDITIONING      HEATING LTD 7003 30TH STREET SE, SUITE 11 CALGARY ON T2C 1N6 CANADA
APEX RESOLUTIONS                         18202 WICKHAM RD OLNEY MD 20832-3101
APEX SERVICE PARTNERS HOLDINGS LLC       DBA ARNETT HEATING AND COOLING LLC C/O ARNETT AC PLUMBING AND ELECTRIC LLC 83
                                         ORANGE ST SAINT AUGUSTINE FL 32084-3564
APEX SEWER AND DRAIN CLEANING INC        872 ALBANY SHAKER RD LATHAM NY 12110-1416
APEX SYSTEMS INC                         3750 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
API GARAGE DOOR INC                      DBA TWIN CITY GARAGE DOOR COMPANY PO BOX 74008409 CHICAGO IL 60674-8409
API GROUP LIFE SAFETY USA LLC            DBA MORRISTOWN AUTOMATIC SPRINKLER CO PO BOX 412007 BOSTON MA 02241-2007
APIS BUSINESS INTELLIGENCE LLC           DBA MARKETING VITALS 5055 W PARK BLVD STE 601 PLANO TX 75093-2010
APLPD HOLDCO INC                         DBA PODS ENTERPRISES LLC PO BOX 791003 BALTIMORE MD 21279-1003
APOSTOLIC PUBLISHING CO INC              DBA THE CATHOLIC YEARBOOK C-Y PUBLICATIONS 7010 6TH ST N OAKDALE MN 55128-6146
APPALACHIAN POWER                        PO BOX 371496 PITTSBURGH PA 15250-7496
APPCAST INC                              PO BOX 392472 PITTSBURGH PA 15251-9472
APPLE SERVICES INC                       PO BOX 3965 IRMO SC 29063
APPLE VALLEY WASTE                       PO BOX 7117 CHARLESTON WV 25356
APPLIANCE REPAIR CENTER INC              1807 THIRD STREET NORTH ST. CLOUD MN 56303
APPLIANCE SVC CO OF EAU CLAIRE INC       2504 LONDON ROAD EAU CLAIRE WI 54701
APPLIED NANO CONCEPTS LLC                825 GATEPARK DRIVE 3 DAYTONA BEACH FL 32114
APPLIED REFRIGERATION TECHNOLOGY INC     PO BOX 1628 MEDFORD OR 97501-0124
APPLY ON THE GO LLC                      818 SW 3RD AVENUE 316 PORTLAND OR 97204-2405
APPLY ON THE GO, LLC                     818 SW 3RD AVE. 316 PORTLAND OR 97204
APPOGEE LLC                              418 EVANS ST STE 201 GREENVILLE NC 27858-1834
APPROVED MAINTENANCE LLC                 1341 S SENECA ST WICHITA KS 67213-4328
APPS ASSOCIATES LLC                      289 GREAT RD STE 308 ACTON MA 01720-4768
APRIL J KINSEY                           ADDRESS ON FILE
APRIL S DAVIS                            ADDRESS ON FILE
APS                                      PO BOX 37812 BOONE IA 50037-0812
AQUA BLUE AQUARIUM SOLUTIONS             PO BOX 801 GRANDVILLE MI 49468-0801
AQUA IL                                  PO BOX 70279 PHILADELPHIA PA 19176-0279
AQUA INDIANA, INC.                       PO BOX 70279 PHILADELPHIA PA 19176-0279
AQUA LIFE AQUARIUM INC                   4505 GRANITE DR STE 1 ROCKLIN CA 95677-2199
AQUA OH                                  PO BOX 70279 PHILADELPHIA PA 19176-0279
AQUA PENNSYLVANIA                        PO BOX 70279 PHILADELPHIA PA 19176-0279
AQUA PURE SOLUTIONS INC                  PO BOX 750 KINGSTON SPRINGS TN 37082-0750
AQUA SOFT WATER SYSTEMS INC              220 BUSINESS PARK WAY ROYAL PALM BEACH FL 33411
AQUAHAUS LLC                             DBA ADAM OBERHEIM 7025 BROOKFIELD PLZ SPRINGFIELD VA 22150-2918
AQUAHOLICS INC                           DBA AQUAHOLICS AQUARIUM SERVICES 123 HIGHWOOD RD DENVILLE NJ 07834-3019
AQUALUX AQUATICS                         41 REEVESMERE LANE AJAX ON L1Z 0L3 CANADA
AQUAMIST PLUMBING & LAWN SPRINKLING CO   9370 W LARAWAY RD STE E FRANKFORT IL 60423-1936



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AQUAREAL WATER SYSTEMS INC              240 WILLOWDALE AVENUE NORTH YORK ON M2N 4Z5 CANADA
AQUARION WATER COMPANY OF CT            PO BOX 9265 CHELSEA MA 02150-9265
AQUARIUM CONCEPTS INC                   623 NW RICHMOND BEACH RD SHORELINE WA 98177-3121
AQUARIUM DESIGN SERVICES LLC            DBA FARGO AQUARIUMS INC PO BOX 1493 FARGO ND 58107
AQUARIUM ILLUSIONS INC                  17211 107 AVE NW EDMONTON ON T5S 1E5 CANADA
AQUARIUM MAINTENANCE AND SERVICE        1011 LINDBERG OAKVIEW MO 64118
COMPANY
AQUARIUM MAINTENANCE LLC                12250 FM 3083 RD CONROE TX 77301-6106
AQUARIUM SERVICES AND SYSTEMS LLC       PO BOX 5326 EUGENE OR 97405-0326
AQUARIUMS BY WILL LLC                   450 S ORANGE AVE STE 80 ORLANDO FL 32801-3344
AQUARIUS AQUARIUM INC                   5541 COLUMBIA DR NORTH FRESNO CA 93727
AQUARIUS AQUARIUMS INC                  214 RIVERSIDE DR STE 511 NEW YORK NY 10025-6806
AQUARIUS ENTERPRISES INC                DBA CULLIGAN OF TULSA PO BOX 9697 TULSA OK 74157-0697
AQUARIUS WATER CONDITIONING INC         DBA AQUARIUS HOME SERVICES 3180 COUNTRY DRIVE LITTLE CANADA MN 55117-1016
AQUASHINE WINDOW CLEANING INC           225 WADING BIRD CIR SW PALM BAY FL 32908-6413
AQUATATIC SERVICES INC                  1805 GRAYWELL ROAD WILMINGTON DE 19803-3318
AQUATEX WATER CONDITIONING INC          PO BOX 1756-C ALVIN TX 77512-1756
AQUATIC APPEAL LLC                      ANDREW J SMITH 2801 BEACH RD PORT HURON MI 48060-2479
AQUATIC DREAMS LLC                      510 EAST 1700 SOUTH 301 CLEARFIELD UT 84015
AQUATIC EDGE                            ADDRESS ON FILE
AQUATIC ENVIRONMENTS INC                730 E KIMBERLY RD DAVENPORT IA 52807-1621
AQUATIC IMPRESSIONS LLC                 9920 PEPPER HILL RD PERRY HALL MD 21128-9772
ARA FOOD STYLING LLC                    1101 SANTA CRUZ WAY WINTER SPRINGS FL 32708-4813
ARAMARK UNIFORM AND CAREER APPAREL      ATTN: FINANCIAL COLLECTIONS MANAGER 1340 RUSSELL CAVE ROAD LEXINGTON KY 40505
GROUP
ARAPAHOE COUNTY TREASURER               PO BOX 571 LITTLETON CO 80160
ARASELIA PEREZ                          ADDRESS ON FILE
ARBAIZA, DORIS                          ADDRESS ON FILE
ARBAIZA, DORIS                          ADDRESS ON FILE
ARBOR ALLIES LLC                        4110 TERRACE DR OMAHA NE 68134-3756
ARC ANGEL ELECTRIC CORP                 2130 RONALD REAGAN BLVD CUMMING GA 30041-6040
ARC CLORLFL001, LLC                     ATTN: LEGAL DEPARTMENT C/O AMERICAN REALTY CAPITAL 650 FIFTH AVENUE, 30TH
                                        FLOOR NEW YORK NY 10019
ARC CLORLFL001, LLC                     C/O HIFFMAN NATIONAL, LLC ONE OAKBROOK TERRACE 400 OAKBROOK TERRACE IL 60181
ARC DOCUMENT SOLUTIONS LLC              PO BOX 953466 SAINT LOUIS MO 63195-3466
ARC ELECTRIC LLC                        PO BOX 58355 RALEIGH NC 27658-8355
ARCH INSURANCE COMPANY                  250 FILMORE STREET SUITE 450 DENVER CO 80206
ARCH PAINTING INC                       1 PRESIDENTIAL WAY STE 109 WOBURN MA 01801-1071
ARCHER B ENTERPRISES LLC                DBA BRIGHT BEAR WINDOW WORKS 5 OAKWOOD CT O FALLON MO 63366-1078
ARCHWAY MARKETING SERVICES INC          DEPARTMENT 4599 CAROL STREAM IL 60122-4599
ARCP RL PORTFOLIO I, LLC                C/O CORPORATION SERVICE COMPANY 251 LITTLE FALLS DR. WILMINGTON DE 19808
ARCP RL PORTFOLIO II, LLC               C/O THE CORPORATION TRUST COMPANY CORPORATION TRUST CENTER 1209 ORANGE ST.
                                        WILMINGTON DE 19801
ARCP RL PORTFOLIO III, LLC              C/O CORPORATION SERVICE COMPANY 2 SUN COURT, SUITE 400 PEACHTREE CORNERS GA
                                        30092
ARCP RL PORTFOLIO IV                    C/O CORPORATION SERVICE COMPANY 421 WEST MAIN STREET FRANKFORT KY 40601
ARCP RL PORTFOLIO IV, LLC               11995 EL CAMINO REAL SAN DIEGO CA 92130
ARCP RL/OG ALTAMONTE SPRINGS, FL, LLC   C/O C T CORPORATION SYSTEM 1200 SOUTH PINE ISLAND ROAD PLANTATION FL 33324
ARCTIC ICE CO                           1498 KIN-ARK CT ST LOUIS MO 63132
ARCTIC ICE HOUSTON LLC                  25702 ALDINE WESTFIELD RD STE 1104 SPRING TX 77373-5989


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ARCTIC REFRIGERATION INC                 DBA ARCTIC FOOD EQUIPMENT 1501 S ENTERPRISE AVE SPRINGFIELD MO 65804-1739
AREA SERVICES INC                        PO BOX 324 OVERTON NE 68863-0324
ARES HOLDINGS LLC                        NEXTECH 1045 S JOHN RODES BLVD MELBOURNE FL 32904-2006
ARES OF GEORGIA LLC                      DBA HAROLD WAGNER 3395 OLD BURNT MOUNTAIN RD JASPER GA 30143-2621
ARIANA MASON                             ADDRESS ON FILE
ARICK MATTHEW JOHNSON                    ADDRESS ON FILE
ARISE CONSTRUCTION LLC                   DBA ENCOMPASS CLEANING SOLUTIONS PO BOX 5671 CLOVIS NM 88102-5671
ARIZONA CUTLERY & SHARP SV INC           12620 N CAVE CREEK RD STE 4 PHOENIX AZ 85022
ARIZONA DEPARTMENT OF REVENUE            UNCLAIMED PROPERTY UNIT PO BOX 29026 PHOENIX AZ 29096
ARIZONA DEPT OF ECONOMIC SECURITY        UNEMPLOYMENT INSURANCE ADMINISTRATION PO BOX 29225 PHOENIX AZ 85038-9225
ARIZONA DEPT OF ENVIRONMENTAL QUALITY    1110 W WASHINGTON ST PHOENIX AZ 85007
ARIZONA DEPT OF ENVIRONMENTAL QUALITY    SOUTHERN REGIONAL OFFICE 400 W CONGRESS ST, STE 433 TUCSON AZ 85701
ARIZONA DEPT OF REVENUE                  PO BOX 3566 SALES AND USE TAX-EFT UNIT LITTLE ROCK AR 72203
ARIZONA DEPT OF REVENUE                  DVISION CODE 10 1600 W. MONROE PHOENIX AZ 85007
ARIZONA DEPT OF REVENUE                  1600 W. MONROE PHOENIX AZ 85007-2650
ARIZONA DEPT OF REVENUE                  PO BOX 29010 PHOENIX AZ 85038-9010
ARIZONA ICEMAN INC                       447 W WATKINS RD STE 3 PHOENIX AZ 85003-2836
ARIZONA LIQUOR LICENSE CONTROL           800 W WASHINGTON SUITE 500 PHOENIX AZ 85007
ARIZONA OFFICE OF THE ATTORNEY GENERAL   CONSUMER INFORMATION AND COMPLAINTS 400 W CONGRESS ST, S BLDG STE 315 TUCSON
                                         AZ 85701-1367
ARIZONA PAINTING COMPANY                 2251 N DRAGOON ST TUCSON AZ 85745-1421
ARIZONA PUBLIC SERVICE                   P.O. BOX 53933 PHOENIX AZ 85072
ARKADI KUSHNIR                           ADDRESS ON FILE
ARKANSAS ALCOHOLIC BEV CONTROL           DO NOT MAIL ORLANDO FL 32809
ARKANSAS ALCOHOLIC BEV CONTROL           101 E CAPITOL AVE LITTLE ROCK AR 72201
ARKANSAS BACKFLOW AND PLUMBING INC       C/O GLENN A WALLACE PO BOX 11763 FORT SMITH AR 72917-1763
ARKANSAS DEPARTMENT OF HEALTH            AND HUMAN SERVICES ATTN: A/R - MISC BILLING LITTLE ROCK AR 72205-3866
ARKANSAS DEPT OF ENERGY & ENVIRONMENT    DIVISION OF ENVIRONMENTAL QUALITY 5301 NORTHSHORE DRIVE NORTH LITTLE ROCK AR
                                         72118-5317
ARKANSAS DEPT OF FINANCE & ADMIN         OFFICE OF STATE REVENUE ADMIN. 1509 W 7TH ST LITTLE ROCK AR 72201
ARKANSAS DEPT OF FINANCE & ADMIN         PO BOX 8123 LITTLE ROCK AR 72203
ARKANSAS DEPT OF FINANCE & ADMIN         PO BOX 3861 LITTLE ROCK AR 72203-3861
ARKANSAS DEPT OF LABOR                   900 W CPAITAL AVE SUITE 400 LITTLE ROCK AR 72201
ARKANSAS DEPT OF WORKFORCE SERVICES      2 CAPITOL MALL LITTLE ROCK AR 72201
ARKANSAS DIVISION OF WORKFORCE SERVICES BERNARD PIGHEE P.O. BOX 2981 LITTLE ROCK AR 72203
ARKANSAS OFFICE OF THE ATTORNEY GENERAL CONSUMER PROTECTION DIVISION 323 CTR ST STE 200 LITTLE ROCK AR 72201
ARKANSAS OKLAHOMA GAS CORP               PO BOX 207539 DALLAS TX 75320-7539
ARKANSAS SECRETARY OF STATE OFFICE       STATE CAPITOL STE 256 500 WOODLANE ST LITTLE ROCK AR 72201
ARKANSAS STATE AUDITOR                   UNCLAIMED PROPERTY DIVISION 1401 W CAPITOL AVE, STE 325 LITTLE ROCK AR 72201
ARKANSAS STATE POLICE                    IDENTIFICATION BUREAU 1 STATE POLICE PLAZA LITTLE ROCK AR 72209
ARL OTTINGER                             ADDRESS ON FILE
ARLEDGE, VICKI                           ADDRESS ON FILE
ARLINGTON UTILITIES                      PO BOX 90020 UTILITIES ARLINGTON TX 76004-3020
ARMADILLO LOCK & SAFE INC                PO BOX 54815 HURST TX 76054-4815
ARMANDO HERNANDEZ ALONSO                 ADDRESS ON FILE
ARMANDO ZAPATA                           ADDRESS ON FILE
ARMCO AQUATICS LLC                       PO BOX 5581 WILMINGTON DE 19808
ARMEL LLC                                C/O JOHN FELLIN 3 THE GRNS HAUPPAUGE NY 11788-3357
ARMORED SEALCOATING LLC                  8947 39TH AVE KENOSHA WI 53142-5313



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ARMSTRONG CLEANING CENTERS              8434 GIRARD AVENUE SOUTH MINNEAPOLIS MN 55420
ARMSTRONG ELECTRIC CO INC               PO BOX 10444 LYNCHBURG VA 24506
ARMSTRONG HVAC - PENNSYVANIA INC        DBA AMSTRONG COMFORT SOLUTIONS 1019 EVANS CITY RD RENFREW PA 16053-8401
ARMSTRONG, CHLOE                        ADDRESS ON FILE
ARMSTRONG,SHAWN                         ADDRESS ON FILE
ARNCO SIGN COMPANY INC                  1130 S BROAD ST WALLINGFORD CT 06492
ARNOLD L GARZA                          ADDRESS ON FILE
ARNOLD, DERRICK                         ADDRESS ON FILE
ARNT ASPHALT SEALING INC                1240 S CRYSTAL AVENUE BENTON HARBOR MI 49022-1808
AROB LLC                                DBA WINDOW GENIE OF MEMPHIS 2099 HILLSHIRE CIR MEMPHIS TN 38133-6074
AROCHI & LINDNER                        CALLE GURTUBAY 6, LEFT 3RD FLOOR MADRID 28001 SPAIN
AROUND THE CLOCK PLUMBING LLC           PO BOX 2074 HUNTSVILLE AL 35804
ARRIE T JOHNSON                         ADDRESS ON FILE
ARROW CLEANING & RESTORATION INC        DBA ARROW SERVICE TEAM 2925 E BROADWAY AVE BISMARCK ND 58501-5159
ARROW DISPOSAL SERVICE INC              PO BOX 548 ABBEVILLE AL 36310
ARROW SIGN COMPANY INC                  1344 SE 1ST ST LAWTON OK 73501-5730
ARROW SIGNS & OUTDOOR                   ADVERTISING INC PO BOX 163 GODFREY IL 62035-0163
ARROW WINE AND LIQUOR                   615 LYONS ROAD CENTERVILLE OH 45459
ARROWASTE INC.                          PO BOX 828 JENISON MI 49429
ARROWHEAD OUTDOOR SERVICES              2662 CARRIE LN WOOSTER OH 44691-8486
ARROWHEAD WASTE SERVICES                PO BOX 777 ST GEORGE UT 84771
ART BASS                                ADDRESS ON FILE
ART SIGN COMPANY INC                    PO BOX 50186 ALBANY GA 31703-0186
ARTEX                                   DBA ARTEX / SERVICE FIRST PRO 610 DIVISION TEXARKANA AR 71854
ARTHUR MOORES                           ADDRESS ON FILE
ARTHUR MURPHEY FLORIST LLC              6 LAGRANGE STREET NEWNAN GA 30263
ARTHUR W CROOKS PLUMBING AND HEATING    7 GRAND BOULEVARD BATTLE CREEK MI 49015
INC
ARTHUR WEIGOLD                          ADDRESS ON FILE
ARTICULATE LAWN SPRINKLERS              PO 30023 RPO CHEMONG PETERBOROUGH ON K9H 7R4 CANADA
ARTISTIC UPHOLSTERY INC                 127 W HILLS RD HUNTINGTON STATION NY 11746-3144
ARTUR ABRAMOVICH                        ADDRESS ON FILE
ARUN MAHESHWARI                         ADDRESS ON FILE
ARUNDEL MILLS LIMITED PARTNERSHIP       ARUNDEL MILLS SHOPPING CENTER PO BOX 406130 ATLANTA GA 30384-6130
ARVIG4 LLC                              2750 N.E. 183RD ST., SUITE 306 AVENTURA FL 33180
ARVIG4 LLC                              2750 NE 185TH ST STE 306 AVENTURA FL 33180-2877
ASAP ALL SVCS ALL PROPERTY MANAGEMENT   1107 KEMMERTOWN RD STROUDSBURG PA 18360-9877
ASAP LOCKSMITH                          10501 LANDING WAY MIAMISBURG OH 45342-1171
ASAP LOCKSMITH INC                      6201 75TH ST B KENOSHA WI 53142-3579
ASC LLC                                 8151 WEBBS RD DENVER NC 28037
ASCEND PLUMBING INC                     4817 CORONADO AVE SAN DIEGO CA 92107-3315
ASCOT INSURANCE COMPANY                 MARSH USA INC QUALIFIED SOLUTIONS GROUP 1166 AVENUE OF THE AMERICAS NEW YORK
                                        NY 10036-2708
ASEEM SETHI                             ADDRESS ON FILE
ASHBY, INC.                             1706 RICKET ROAD PERKASIE PA 18944
ASHELY PFISTER, STEPHEN PFISTER,        ADDRESS ON FILE
ASHEVILLE ABC BOARD                     1 CHERRY STREET NORTH ASHEVILLE NC 28801
ASHLEY J GOBLE                          ADDRESS ON FILE
ASHLEY PORCHAS                          ADDRESS ON FILE



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ASHLEY REYES                             ADDRESS ON FILE
ASHLEY SUE MUKHTI                        ADDRESS ON FILE
ASHLEY, DWAYNE                           ADDRESS ON FILE
ASHOKKUMAR, NAVIEENN KUMAAR              ADDRESS ON FILE
ASHTABULA COUNTY HEALTH DEPT             12 WEST JEFFERSON JEFFERSON OH 44047
ASHTABULA COUNTY TREASURER               25 W JEFFERSON ST JEFFERSON OH 44047
ASHTABULA MALL REALTY HOLDING LLC        C/O KOHAN RETAIL INVESTMENT GROUP LLC 1010 NORTHERN BLVD STE 212 GREAT NECK NY
                                         11021-5320
ASHWAUBENON VILLAGE TAX COLLECTOR        2155 HOLMGREN WAY ASHWAUBENON WI 54304
ASHWAUBENON WATER & SEWER UTILITY        PO BOX 187 GREEN BAY WI 54305-0187
ASP OF MOORHEAD INC                      PO BOX 583 WEST FARGO ND 58078
ASPEN LEAF CARPET CLEANING LLC           912 24 1/4 ROAD GRAND JUNCTION CO 81505
ASPEN LIMITED INC                        DBA MASTER DRAFTSMAN PO BOX 358 POTTERVILLE MI 48876-0358
ASPHALT RESTORATION SYSTEMS LLC          DBA GABRIEL K PACK 306 W MINNESOTA ST SPRING VALLEY IL 61362-1838
ASSET MANAGEMENT TECHNOLOGIES INC        17039 KENTON DRIVE SUITE 200 CORNELIUS NC 28031
ASSOCIATED BRANDS INC                    PO BOX 819 CONOVER NC 28613
ASSOCIATION OF NATIONAL ADVERTISERS INC 155 E 44TH ST NEW YORK NY 10017-4100
AT HOME HOLDING III INC                  DBA 301 S TOWN EAST MALL DR LLC 1600 EAST PLANO PARKWAY PLANO TX 75074
AT YOURSERVICE LLC                       3124 ANTELOPE WAY EVANS CO 80620-9446
AT&T                                     PO BOX 105068 ATLANTA GA 30348-5068
AT&T SUMMARY                             PO BOX 5019 CAROL STREAM IL 60197-5019
ATB FURNISHED HOUSING SF INC             1480 SW 3RD ST STE C6 POMPANO BEACH FL 33069-3225
ATECH INCORPORATED                       PO BOX 24614 NASHVILLE TN 37202
ATHENA RAE CORPORATION                   DBA DOWNTOWN TROPICS PO BOX 259319 MADISON WI 53725-9319
ATHENS SERVICES                          P.O. BOX 60009 CITY OF INDUSTRY CA 91716-0009
ATHENS-CLARKE COUNTY                     P.O. BOX 1748 ATHENS GA 30603
ATHENS-CLARKE COUNTY GEORGIA             12 WEST JEFFERSON ORLANDO FL 32809
ATHENS-CLARKE COUNTY GEORGIA             DO NOT MAIL ORLANDO FL 32809
ATHERTON DEVELOPMENT COMPANY LP          C/O WATERS & ASSOCIATES 200 OLD FORGE LANE STE 201 KENNETT SQUARE PA 19348
ATKINS BUILDING SERVICE & PRODUCTS INC   DBA ATKINS INC PO BOX 756 COLUMBIA MO 65205
ATLANTIC BUILDING & REMODELING INC       809 LIVE OAK DRIVE SUITE 11 CHESAPEAKE VA 23320
ATLANTIC CITY ELECTRIC                   PO BOX 13610 PHILADELPHIA PA 13610
ATLANTIC WASTE SERVICES                  125 B PINE MEADOW DRIVE POOLER GA 31322
ATLAS DISPOSAL INDUSTRIES                PO BOX 8327 PASADENA CA 91009-8327
ATLAS DISPOSAL OF UTAH                   PO BOX 670338 DALLAS TX 75267-0338
ATLAS HOME IMPROVEMENT CORP OF LONG      ISLAND C/O ASPHALT PARKING LOT MANAGEMENT LTD 117 BROOK AVENUE DEER PARK NY
                                         11729
ATLAS METAL INDUSTRIES INC               1135 NW 159TH DRIVE MIAMI FL 33169
ATLAS RESTAURANT SUPPLY INC              PO BOX 4075 SOUTH BEND IN 46634-4075
ATLAS SALES INC                          923 E MICHIGAN AVE BATTLE CREEK MI 49017
ATLAS SANITARY SEWER SERVICES            2333 6TH AVENUE REGINA SK S4R 1B4 CANADA
ATLAS TREE CORPORATION                   PO BOX 391 LORIDA FL 33857-0391
ATLAS VAN LINES INC                      PO BOX 952340 ST LOUIS MO 63195-2340
ATMOS ENERGY                             PO BOX 630872 CINCINNATI OH 45263-0872
ATOM-MATIC REFRIGERATION INC             623 W FEDERAL STREET NILES OH 44446
ATOMIC DISTRIBUTING COMPANY              435 7TH AVENUE HUNTINGTON WV 25701
ATTAH, OKON                              ADDRESS ON FILE
ATTITUDE & EXPERIENCE INC                1230 M-37 SOUTH TRAVERSE CITY MI 49685-8506
ATTORNEYS FOR DISABLED                   ATTN AMERICANS GROUP LLC DBA ADA GROUP LLC 4001 CARMICHAEL RD STE 570
                                         MONTGOMERY AL 36106-3653


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ATWATER, DEBRA                          ADDRESS ON FILE
AUBURN WATER WORKS BOARD                1501 W SAMFORD AVE WATER WORKS BOARD AUBURN AL 36832-6327
AUCALLUTIM LLC                          45 SCHOOLHOUSE LN MORRISTOWN NJ 07960-3382
AUDI, AUDI                              ADDRESS ON FILE
AUGIE SERVICES INC                      DBA AGUSTIN M VIDAL 4400 NW NORTH MACEDO BLVD PORT ST LUCIE FL 34983-1357
AUGUST AMERICA, LLC                     ATTN: DIANNA WILSON C/O KUZMAK-WILLIAMS, LLC (KWA GROUP) 206 NEW LONDON
                                        TURNPIKE GLASTONBURY CT 06033-2235
AUGUST CORSO SONS INC                   DBA CORSOS FLOWER & GARDEN CTR PO BOX 1575 SANDUSKY OH 44871-1575
AUGUSTA COUNTY EMERGENCY SERVICES       PO BOX 590 VERONA VA 24482-0590
AUGUSTA COUNTY SERVICE AUTHORITY        P.O. BOX 859 VERONA VA 24482
AUGUSTA COUNTY TREASURER                PO BOX 590 VERONA VA 24482-0590
AUGUSTA RICHMOND COUNTY                 ADDRESS 1 ADDRESS 2 AUGUSTA GA 30916
AUGUSTA RICHMOND COUNTY                 ALCOHOLIC LICENSE DIVISION PO BOX 9270 AUGUSTA GA 30916
AUGUSTA UTILITIES DEPARTMENT            P.O. BOX 1457 AUGUSTA GA 30903-1457
AUGUSTA-RICHMOND COUNTY                 1815 MARVIN GRIFFIN ROAD PO BOX 9270 AUGUSTA GA 30916
AUGUSTA-STAUNTON HEALTH DEPARTMENT      PO BOX 590 STAUNTON VA 24402
AUGUSTA-STAUNTON HEALTH DEPT            PO BOX 2126 STAUNTON VA 24402
AUGUSTINE, ASHLEY                       ADDRESS ON FILE
AUMANS KEY SHOP LLC                     1383 EAST COLLEGE AVE STATE COLLEGE PA 16801
AURORA WATER/CITY OF AURORA, CO         PO BOX 719117 DENVER CO 80271-9117
AUSTELL NATURAL GAS SYSTEM              PO BOX 685 AUSTELL GA 30168-0685
AUSTIN, DYLAN                           ADDRESS ON FILE
AUSTIN-TRAVIS CTY HEALTH DEPARTMENT     1313 SABINE STREET AUSTIN TX 78701
AUSTIN-TRAVIS CTY HEALTH DEPARTMENT     PO BOX 2126 AUSTIN TX 78701
AUTH0 INC                               DEPT LA 24842 14005 LIVE OAK AVE IRWINDALE CA 91706-1300
AUTHENTIC PARTS SUPPLY LLC              1855 WALDORF ST NW GRAND RAPIDS MI 49544-1433
AUTO BODY TECHNOLOGIES INC              DBA THE SEAT DOCTOR 110 HERNDON SPRINGS GROVER NC 28073
AUTO STEREO INC                         DBA J & J LOCKSMITHS 3201 FULTON AVENUE SACRAMENTO CA 95821
AUTOMATED DATA PROCESSING TECHNICIANS   DBA ADAPT INC 5610 ROWLAND ROAD SUITE 160 MINNETONKA MN 55343-8984
AVASTAR CORPORATION                     DBA FISH WINDOW CLEANING PO BOX 870 WINDSOR LOCKS CT 06096
AVEO GROUP INTERNATIONAL CORP           C/O GLENN ARDIZZONE PO BOX 676 GOTHA FL 34734-0676
AVERUS WEST LLC                         560 N BULLARD AVE STE 50 GOODYEAR AZ 85338-2523
AVIANA COMPANY LTD LLC                  CARNEGIE MGMT AND DEVLPMT CORP 27500 DETROIT ROAD 3RD FLOOR WESTLAKE OH 44145
AVIDISYANS, MICHELLE                    ADDRESS ON FILE
AVILA DE LEON, CARLOS                   ADDRESS ON FILE
AVILA, GERARDO                          ADDRESS ON FILE
AVINA, JACKIE                           ADDRESS ON FILE
AVINA, LUCIA                            ADDRESS ON FILE
AVISTA UTILITIES                        1411 E MISSION AVE SPOKANE WA 99252
AVR CPC ASSOCIATES LLC                  PO BOX 8000-024 BUFFALO NY 14267-0001
AW PROTECTIVE SERVICES INC              4604 RUSINA RD COLORADO SPRINGS CO 80907-1721
AWAN, RASHIEDA                          ADDRESS ON FILE
AWNCLEAN INC                            5060 E. 62ND STREET STE 132 INDIANAPOLIS IN 46220
AWNINGS BY KINSER LLC                   8772 THOMAS RD MIDDLETOWN OH 45042-1200
AWS SERVICE CENTER, IA                  PO BOX 3050 DES MOINES IA 50316
AWS SERVICE CENTER, MN                  PO BOX 3050 DES MOINES IA 50316
AWS SERVICE CENTER, MO                  PO BOX 3050 DES MOINES IA 50316
AXA XL - PROFESSIONAL INSURANCE         100 CONSTITUTION PLAZA 17TH FLOOR HARTFORD CT 06103
AXIS EXCESS INSURANCE                   10000 AVALON BLVD SUITE 00 ALPHARETTA GA 30009



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AXIS INSURANCE COMPANY                   111 SOUTH WACKER DRIVE SUITE 3500 CHICAGO IL 60606
AXLEYSPUNG INC                           DBA H & S WINDOW CLEANING PO BOX 3654 ALPHARETTA GA 30023
AZ POWER CLEAN LLC                       PO BOX 2447 PEORIA AZ 85380-2447
AZAFRAN CLEANING SERVICES LLC            4856 VERACITY PT APT 112 SANFORD FL 32771-7569
AZAR ELECTRIC INC                        DBA AZAR SERVICES 3735 HARRISON RD STE 700 LOGANVILLE GA 30052-8700
AZEVEDO, MIA (ETHAN)                     ADDRESS ON FILE
AZTEC PLUMBING INC                       12410 METRO PKWY FORT MYERS FL 33966-1315
AZUCENA BERMUDEZ PENALOZA                ADDRESS ON FILE
B & B DRAIN TECH INC                     630 W 2ND AVENUE MILAN IL 61264
B & B INSTALLATIONS INC                  429 ELKHORN ROAD MONONGAHELA PA 15063
B & B PLOWING LLC                        2531 E CRAIS CT DE PERE WI 54115-1665
B & B SIGN & LIGHTING INC                PO BOX 1828 HUNTSVILLE AL 35807
B & D INDUSTRIES INC                     9720 BELL AVENUE SE ALBUQUERQUE NM 87123-3208
B & D PLUMBING & HOME REPAIR LLC         DBA MR ROOTER PLUMBING 130 POWELL ROAD ANDERSON SC 29625
B & L ELECTRIC INC                       4323 AIRLINE ROAD NORTON SHORES MI 49444
B & M CONSTRUCTION OF ROCKY MOUNT INC    DBA B & M ROOFING CONTRACTORS PO BOX 1432 ROCKY MOUNT NC 27802
B & N ELECTRIC COMPANY INC               105 NAVAJO COURT MCHENRY IL 60051
B & P LOCK & KEY SERVICE INC             160 CLAIRTON BLVD PITTSBURGH PA 15236-3826
B & R PARKING LOT MAINTENANCE            1698 21ST ST NE EMERADO ND 58228-9625
B & S PLUMBING & HEATING INC             889 WEST JOHNSON AVENUE TERRE HAUTE IN 47802
B & T FLOOR CARE LLC                     5920 LYONS HWY ADRIAN MI 49221-8744
B A JONES ELECTRIC LLC                   DBA JONES ELECTRIC CO LLC 506 S MAGNOLIA ST FLORENCE AL 35630-5826
B AND B ELECTRIC INC                     3000 REILLY DR SPRINGFIELD IL 62703-4565
B G BRECKE INC                           4140 F AVENUE NW CEDAR RAPIDS IA 52405
B G CONSOLIDATED INC                     DBA SUPPLY SOLUTIONS PO BOX 1058 PADUCAH KY 42002-1058
B J BALDWIN ELECTRIC INC                 DBA SWAM ELECTRIC A DIVISION OF B J BALDWIN ELECTRIC INC 490 HIGH ST HANOVER
                                         PA 17331-2125
B KLINE FAMILY LLC                       ADDRESS ON FILE
B&A DEVELOPMENT REAL ESTATE DIV INC      DBA RIVERTOWN POINT COURT PROPERTY OWNERS ASSOCIATION 4515 ROGER B CHAFFEE DR
                                         SE STE A KENTWOOD MI 49548-7522
B&B ELECTRICAL SERVICE REPAIR LLC        246 STEELE RD GRIFFIN GA 30223-6374
B&B JOHNSON PLUMBING LLC                 PO BOX 3083 HUNTINGTON WV 25702-0083
B&B SIGNS AND GRAPHICS INC               DBA FASTSIGNS OF MECHANICSBURG 4713 CARLISLE PIKE MECHANICSBURG PA 17050
B&E CONTRUCTION LLC                      801 32ND ST VIENNA WV 26105-2451
B&L STORAGE                              28135 N 96TH PL SCOTTSDALE AZ 85262-8451
B33 RE PARTNERS INVESTMENTS LLL LLC      DBA B33 YUMA PALMS LLL LLC PO BOX 6304 HICKSVILLE NY 11802-6304
B33 YUMA PALMS III LLC                   601 UNION STREET, SUITE 1115 SEATTLE WA 98101
BABCOCKS APPLIANCE REPAIR                3523 N EAST STREET LANSING MI 48906
BABER, SCOTT                             ADDRESS ON FILE
BACINO, MELANIE                          ADDRESS ON FILE
BACK TO NATURE LAWN & LANDSCAPE INC      PO BOX 113 STILWELL KS 66085
BACKFLOW APPARATUS & VALVE COMPANY INC   DBA BAVCO 20435 SOUTH SUSANA ROAD LONG BEACH CA 90810-1136
BACKFLOW PREVENTION SERVICES INC.        12472 PRIMROSE GROVE LN LAS VEGAS NV 89138-4727
BACKFLOW PREVENTION SERVICES.            PO BOX 8 BRODHEAD WI 53520-0008
BACKFLOW SPECIALISTS INC                 63 GREELEY AVENUE SAYVILLE NY 11782-2604
BACKFLOW SPECIALTY COMPANY INC           PO BOX 12162 KNOXVILLE TN 37912
BACKFLOW SYSTEMS LLC                     DBA MANUEL BARBA PEREZ 22620 SE 184TH ST MAPLE VALLEY WA 98038-7201
BACKFLOW TECHNOLOGY LLC                  PO BOX 1575 STERLING VA 20167-8459
BACKFLOW TESTING & SOLUTIONS INC         6 FAY AVENUE JEFFERSONVILLE IN 47130



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BACON & VAN BUSKIRK GLASS CO INC         PO BOX 712 CHAMPAIGN IL 61824
BADER MECHANICAL INC                     DBA BADER SERVICES 110 W MAIN ST RICHMOND IN 47374-4158
BADGER DAYLIGHTING LIMITED PARTNERSHIP   C/O LB C9237 PO BOX 9237 STATION M CALGARY ON T2P 0T4 CANADA
BAER SERVICES INC                        HINKLE PLUMBING & HEATING REAR 701 VON LUNEN ROAD JOHNSTOWN PA 15902-1715
BAILEY, BARBARA                          ADDRESS ON FILE
BAILEY, BRANDY                           ADDRESS ON FILE
BAILEY, GEORGIA                          ADDRESS ON FILE
BAILTEK CLEANING & RESTORATION           DBA BAILTEK CARPET CLEANING & WATER DAMAGE 9468 E K AVE GALESBURG MI
                                         49053-8518
BAIRD MACHINE CO INC                     401 NORTH BROADWAY STREET JOHNSON CITY TN 37601
BAK, BEVERLY                             ADDRESS ON FILE
BAKER & HOSTETLER LLP                    PO BOX 70189 CLEVELAND OH 44190-0189
BAKER HOSTETLER                          ATTN:KEVIN SHAUGHNESSY 200 SOUTH ORANGE AVENUE SUITE 2300 ORLANDO FL 32801
BAKER MECHANICAL INC                     DBA BAKER GROUP 1600 SE CORPORATE WOODS DR ANKENY IA 50021-7501
BAKER NESTOR, INC.                       500 W. SUPERIOR ST. CHICAGO IL 60654
BAKER, MARIA                             ADDRESS ON FILE
BAKERS AC & APPLIANCE REPAIR LLC         12393 OLD BONITA ROAD BASTROP LA 71220
BALAL NIAKI, SADEGH                      ADDRESS ON FILE
BALCO REALTY LLC                         660 MANCHESTER RD FAIRVIEW PA 16415-1706
BALDINOS LOCK & KEY SERVICE INC          PO BOX 1417 NEWINGTON VA 22122-1417
BALE BREAKER BREWING COMPANY LLC         1801 BIRCHFIELD ROAD YAKIMA WA 98901
BALFURD INC                              PO BOX 109 TIPTON PA 16684
BALGOBIN, PETER                          ADDRESS ON FILE
BALL & BALL LLC                          DBA ROTO ROOTER SERVICES 2924 HATWAI RD LEWISTON ID 83501-1763
BALLENTINE ELECTRIC INC                  3797 COMMERCE LOOP ORLANDO FL 32808-3819
BALLEW ENTERPRISE                        DBA BALLEWS UPHOLSTERY 3812 CR 219 TYLER TX 75707
BALSON DISTRIBUTOR INC                   7921 SALTSBURG ROAD PITTSBURGH PA 15239
BALTIMORE CO OFFICE OF BUDGET & FINANCE 400 WASHINGTON AVE RM 152 TOWSON MD 21204-4665
BALTIMORE COUNTY                         1313 SABINE STREET TOWSON MD 21204-4606
BALTIMORE COUNTY                         ATTN ALARM REDUCTION SECTION CASHIERS OFFICE 400 WASHINGTON AVE TOWSON MD
                                         21204-4606
BALTIMORE COUNTY MARYLAND                DEPARTMENT OF RESOURCE MANAGEMENT 111 WEST CHESAPEAKE AVE TOWSON MD 21204
BALTIMORE COUNTY TREASURER               PO BOX 69506 BALTIMORE MD 21264-9506
BALTIMORE GAS AND ELECTRIC COMPANY       P.O. BOX 1475 BALTIMORE MD 21203
BAMA BEER LINES                          ADDRESS ON FILE
BANCROFT-CLOVER WATER & SANITATION       900 SOUTH WADSWORTH BLVD LAKEWOOD CO 80226-4398
DIST.
BANEGAS LLC                              PO BOX 1623 DOVER NJ 07802-1623
BANGOR CHARTER TWP TREASURER             180 STATE PARK DR BAY CITY MI 48706
BANK OF AMERICA                          ATTN: CHRISTOPHER HOLTZ 620 S TRYON STREET CHARLOTTE NC 28255
BANK OF HAWAII                           111 S KING ST HONOLULU HI 96813
BANKO BEVERAGE COMPANY                   5001 CRACKERSPORT ROAD ALLENTOWN PA 18104
BANKO NORTH INC                          501 S WASHINGTON AVENUE SCRANTON PA 18505
BANKS, CHRISTINE                         ADDRESS ON FILE
BANKS, DENNY                             ADDRESS ON FILE
BANNOCK COUNTY                           PO BOX 4626 POCATELLO ID 83205-4626
BANNOCK COUNTY                           ATTN ALARM REDUCTION SECTION CASHIERS OFFICE POCATELLO ID 83205-4626
BAR & BEVERAGE CONTROL LLC               DBA BUCKEYE DRAFT BEER SERVICES 4705 VAN EPPS RD BROOKLYN HEIGHTS OH
                                         44131-1013
BAR HARBOR LOBSTER CO INC                DBA BAR HARBOR SEAFOOD 2000 PREMIER ROW ORLANDO FL 32809


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BAR ONE                                 173 BINSCARTH RD KITCHENER ON N2M 3E4 CANADA
BARAKATH LLC                            DBA EDIBLE ARRANGEMENTS 6 LOWES DRIVE SUITE 2 SARATOGA SPRINGS NY 12866
BARBARA A WADDELL                       ADDRESS ON FILE
BARBARA J BUCK                          ADDRESS ON FILE
BARBARA JEAN DORN                       ADDRESS ON FILE
BARBARA L BARTOS                        ADDRESS ON FILE
BARBARA THORNHILL                       ADDRESS ON FILE
BARBER, HEATHER                         ADDRESS ON FILE
BARBER, TKAI                            ADDRESS ON FILE
BARBUR LIQUOR                           9875 SW BARBUR BLVD PORTLAND OR 97219-6036
BARDO CAPITAL INVESTMENTS               DBA SPIRIT STAR PO BOX 155426 FT WORTH TX 76155-0426
BAREFOOT INC                            DBA SNAKE N ROOTER 3370 N E RALPH POWELL ROAD LEES SUMMIT MO 64064
BAREFOOTS ONE STOP SHOP                 DBA BAREFOOTS LAWN AND LANDSCAPE 390 E KERTON ST SCOTTSBURG IN 47170-1743
BARFIELD, VERETTA                       ADDRESS ON FILE
BARGEBOE, PRINCESS                      ADDRESS ON FILE
BARGREEN ELLINGSON INC                  LOCKBOX 310055 PO BOX 94328 SEATTLE WA 98124-6628
BARKER NESTOR INC                       C/O ROBERT J. EMANUEL EMANUEL LEGAL LLC 500 W. SUPERIOR, UNIT 2101 CHICAGO IL
                                        60654
BARKER SERVICES LLC                     DBA BARKER PLUMBING 4337 S PERRYVILLE RD UNIT 110 CHERRY VALLEY IL 61016-9100
BARKLEY INC                             C/O ROBERT J. EMANUEL KANSAS CITY MO 64108-1376
BARLAS RLR LLC                          4407 W FUQUA ST STE A HOUSTON TX 77045-6255
BARNES-BOOKER, JANET                    ADDRESS ON FILE
BARNETT ELECTRIC INC                    622 E MAIN ST MARION IL 62959-3402
BARNETT PLUMBING LLC                    875 SWEETWATER AVE FLORENCE AL 35630-2881
BARR MEDIATION LLC                      15260 VENTURA BLVD STE 1200 SHERMAN OAKS CA 91403-5347
BARREDA MOLLER                          FERNANDO BARREDA AL-RUMAILAH BUILDING, 2ND FL, OFFICE 22 WAIYAH, RUWI, P.O.BOX
                                        2366 MUSCAT PC 112 OMAN
BARREN RIVER DISTRICT HEALTH DEPARTMENT PO BOX 4626 BOWLING GREEN KY 42102-1157
BARREN RIVER DISTRICT HEALTH DEPT       PO BOX 1157 BOWLING GREEN KY 42102-1157
BARRETTA PLUMBING HEATING & COOLING INC 1784 PINE AVENUE VINELAND NJ 08360
BARRETTS LANDSCAPE AND CONSTRUCTION INC PO BOX 39760 LAKEWOOD WA 98496-3760
BARRIE CITY                             PO BOX 400 BARRIE ON L4M 4T5 CANADA
BARRIE CITY                             PO BOX 1157 BARRIE ON L4M 4T5 CANADA
BARROW INC                              DBA GULF COAST GASKET GUY 8722 RAND AVE STE A DAPHNE AL 36526-9102
BARRS PLUMBING INC                      PO BOX 968 FORT WHITE FL 32038-0968
BARRY CORP                              DBA BATTLE CREEK LAWN SERVICE 13985 RENTON ROAD BATTLE CREEK MI 49015
BARRY GRANT                             ADDRESS ON FILE
BARTHOLOMEW COUNTY                      PO BOX 400 COLUMBUS IN 47201-6798
BARTHOLOMEW COUNTY                      TREASURER 440 THIRD ST COLUMBUS IN 47201-6798
BARTHOLOMEW COUNTY TREASURER            PO BOX 1986 COLUMBUS IN 47202
BARTON SIGNS LLC                        DBA YESCO SOUTH CENTRAL PENNSYLVANIA 147 E HARRISBURG AVE ELIZABETHTOWN PA
                                        17022-8104
BARTOW COUNTY ENVIR HEALTH DEPARTMENT   100 ZENA DRIVE CARTERSVILLE GA 30121
BARTOW COUNTY ENVIR HEALTH DEPARTMENT   TREASURER 440 THIRD ST CARTERSVILLE GA 30121
BARTOW COUNTY TAX COMMISSIONER          135 W CHEROKEE AVE 217 CARTERSILLE GA 30120-3181
BARTS SIGNS LLC                         DBA BARTS BANNERS AND SIGNS 10334 PORTAGE RD PORTAGE MI 49002-7279
BARZANO & ZANARDO                       VIA PIEMONTE, 26 ROME 00187 ITALY
BAS BOYS                                DBA B&B PLUMBING 1601 ORINOCO AVE COLUMBUS IN 47201-5364
BASE ELECTRICAL SERVICES LLC            575 W 84TH DR MERRILLVILLE IN 46410-6280
BASHAM, DALE                            ADDRESS ON FILE


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BASICALLY BLINDS LLC                    DBA WENDY STUCK DESIGNS 612 ELECTRIC AVE LEWISTOWN PA 17044-1127
BASIN DISPOSAL INC - TX                 PO BOX 2283 ODESSA TX 79760-2283
BASKIN, JACINTA                         ADDRESS ON FILE
BATES, RANDY                            ADDRESS ON FILE
BATES, TINA                             ADDRESS ON FILE
BATH & KITCHEN GALLERY INC              DBA TITAN PLUMBING AND ELECTRIC 8406 N MITCHELL AVE TAMPA FL 33604-1625
BATH TOWNSHIP                           C/O BATH POLICE DEPARTMENT 3864 WEST BATH ROAD AKRON OH 44333
BATH TUB DOCTOR LLC                     7820 WINONA CT ANNANDALE VA 22003-5047
BATTERY SOURCE INC                      DBA BATTERIES PLUS 3045 LANCASTER DRIVE NE SALEM OR 97305-1348
BATTLE CREEK AREA CHAMBER OF COMMERCE   34 WEST JACKSON STREET ONE RIVERWALK CENTRE SUITE 3A BATTLE CREEK MI 49017
BATTLE CREEK CITY TREASURER             PO BOX 239 BATTLE CREEK MI 49016-0239
BAUERSFELD, STEVE                       ADDRESS ON FILE
BAUMAN UPHOLSTERY INC                   7941 N 200 W DECATUR IN 46733
BAUTISTASCAPES LLC SERVICES             16540 SE HAIG DR PORTLAND OR 97236-1550
BAY AREA CARPET CLEANING LLC            731 KELLEY LN SANDUSKY OH 44870-7361
BAY AREA PRINTING AND GRAPHIC SOLUTIONS 755 DOWNTOWNER LOOP W MOBILE AL 36609-5518
BAY AREA SIGNS AND ELETRICAL LLC        2218 OBOE TRL LEAGUE CITY TX 77573-2708
BAY CITY MALL PARTNERS LLC              C/O LORMAX STERN DEVELOPMENT CO 38500 WOODWARD AVE STE 200 BLOOMFIELD HILLS MI
                                        48304-5049
BAY CORP INC                            3774 SOUTH 300 EAST COLUMBUS IN 47201
BAY COUNTY DEPT OF WATER & SEWER MI     3933 PATTERSON ROAD BAY CITY MI 48706-1993
BAY COUNTY HEALTH DEPARTMENT            1200 WASHINGTON AVE BAY CITY MI 48708
BAY COUNTY HEALTH DEPARTMENT            100 ZENA DRIVE BAY CITY MI 48708
BAY COUNTY TAX COLLECTOR                PO BOX 2285 PANAMA CITY FL 32402
BAY DISPOSAL LLC                        2224 SPRINGFIELD AVE NORFOLK PA 23523-2439
BAY HARBOR SERVICES INC                 DBA BAY HARBOR SHEET METAL PO BOX 216 MANGO FL 33550-0216
BAY PLAZA WEST LLC                      C/O PRESTIGE PROPERTIES 546 FIFTH AVE 15TH FLOOR NEW YORK NY 10036
BAY PLAZA WEST, LLC                     C\O PRESTIGE PROPERTIES & DEV CO.,INC. 546 FIFTH AVNUE 15TH FLOOR ATTN: JOSEPH
                                        COMPARETTO, SR. VP NEW YORK NY 10036
BAYCHESTER LOCKSMITHS INC               3531 BOSTON ROAD BRONX NY 10469
BAYERS PLUMBING INC                     7944 BELL OAKS DRIVE NEWBURGH IN 47630-2547
BAYTOWN CHAMBER OF COMMERCE             825 ROLLINGBROOK DR BAYTOWN TX 77521-4073
BB LOCKSMITH INC                        3956 TAMIAMI TRAIL N NAPLES FL 34103
BB PLUMBING LLC                         DBA BADGER BOBS PLUMBING 215 INTERSTATE BLVD SARASOTA FL 34240
BBI LOGISTICS                           80 E RICH ST COLUMBUS OH 43215-5249
BBI LOGISTICS LLC                       PO BOX 970 COLUMBUS OH 43216-0970
BBS SYSTEMS & BAR SERVICES LTD          BBS ACCOUNT OFFICE UNIT 270 19358-96TH AVE SURREY BC V4N 4C1 CANADA
BBSPRO SERVICE INC                      SUITE 270 19358 96TH AVE SURREY BC V4N 4C1 CANADA
BCCS LAW                                ATTN: JOSEPH LYLE K. SARMIENTO STE 1104, PAGE ONE BLDG, 1215 ACACIA AVE
                                        MADRIGAL BUSINESS PARK, AYALA ALABANG MUNTINLUPA CITY 1780 PHILIPPINES
BCPWQ                                   120 IONIA AVENUE SW STE 300 GRAND RAPIDS MI 49503
BCRR INC                                DBA BIG COUNTRY REST & REFR SVC 1349 TRACY LYNN DR ABILENE TX 79601
BCWSD                                   PO BOX 457 ST CLAIRSVILLE OH 43950-0457
BDG MAINTENANCE LLC                     4561 E MCDOWELL RD STE 200 PHOENIX AZ 85008-4505
BDG SUFKA, LLC                          270 MADISON AVE NEW YORK NY 10016
BDM HOLDINGS INC                        7914 W DODGE RD PMB 359 OMAHA NE 68114-3423
BDR SOLUTIONS LLC                       DBA ROTO-ROOTER PO BOX 400 OLYPHANT PA 18447
BE & JM INC                             DBA LAWN DOCTOR OF HOT SPRINGS PO BOX 20587 HOT SPRINGS AR 71903-0587
BEACON WATER EQUIPMENT COMPANY INC      PO BOX 487 CHENANGO BRIDGE NY 13745-0487
BEAR CREEK LOCK & SAFE                  2420 CRATER LAKE HWY MEDFORD OR 97504-4181


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BEAR CREEK PLUMBING & HYDRONICS         1196 COUNTY ROAD 51 DIVIDE CO 80814-9163
BEARD-RODRIGUEZ, VALENCIA               ADDRESS ON FILE
BEARDSLEY, JESSE                        ADDRESS ON FILE
BEATRICE LAWRENCE                       ADDRESS ON FILE
BEAUBIEN INC                            PO BOX 1076 ADRIAN MI 49221-6076
BEAUCHAMP PLUMBING & HEATING INC        405 BROOKTON RD MARQUETTE MI 49855
BEAVER MECHANICAL CONTRS INC            61 WEST LEE STREET HAGERSTOWN MD 21740
BECKER LAW FIRM, P.A.                   ATTN: KATE BECKER, ESQ. 80 SOUTH EIGHTH STREET, STE 900 MINNEAPOLIS, MINNESOTA
                                        55402 MINNEAPOLIS MN 55402
BECKS FLORIST INC                       105 E WASHINGTON ST EAST PEORIA IL 61611-2527
BECKWITH COMMERCIAL ROOFING INC         1801 S 21ST ST CLINTON IA 52732-6679
BECO INC                                PO BOX 2023 HIGH POINT NC 27261
BEECHWOOD DISTRIBUTORS INC              DBA BEECHWOOD SALES & SERVICE PO BOX 510946 NEW BERLIN WI 53151-0946
BEENE ENTERPRISES LLC                   DBA A CLEAN CUT LAWN AND LANDSCAPE 1112 N 155TH AVE OMAHA NE 68154-3736
BEER DOCTOR INC                         12 BONNIVIEW STREET NORTH SALEM NY 10560
BEER STORE                              2750 SWANSEA CRESCENT OTTAWA ON K1G 6R8 CANADA
BEER TECH AMERICA INC                   WEST SIDE 10659 GALAXIE DRIVE FERNDALE MI 48220
BEER WORX INCORPORATED                  1259 HIGHFIELD CRES SE CALGARY ON T2G 5M2 CANADA
BEH PROPERTIES INC                      PO BOX 1827 MYRTLE BEACH SC 29578-1827
BEISHIR KEY & LOCK SVC                  DBA BEISHIR LOCK & SECURITY 5423 SOUTH LINDBERGH BOULEVARD SAINT LOUIS MO
                                        63123
BEJINES, VERONICA                       ADDRESS ON FILE
BEL AIR TOWN TAX COLLECTOR              39 N HICKORY AVE BEL AIR MD 21014
BELCASTRO, NICOLE                       ADDRESS ON FILE
BELCHER, KHALILAH                       ADDRESS ON FILE
BELIVEAU MECHANICAL INC                 4 SAND CREEK RD ALBANY NY 12205-1453
BELL                                    PO BOX 3017 STATION TERMINAL VANCOUVER BC V6B 6L1 CANADA
BELL & SONS                             26514 W SEVEN MILE REDFORD MI 48240-1958
BELL CANADA                             PO BOX 9000 NORTH YORK ON M3C 2X7 CANADA
BELL CANADA                             CUSTOMER PAYMENT CENTRE PO BOX 9000 STATION DON MILLS NORTH YORK ON M3C 2X7
                                        CANADA
BELL CANADA                             PO BOX 1550 NORTH YORK ON M3C 3N5 CANADA
BELL CANADA                             PO BOX 3650 STATION DON MILLS TORONTO ON M3C 3X9 CANADA
BELL CANADA                             PO BOX 3250 STATION DON MILLS NORTH YORK ON M3C 4C9 CANADA
BELL COUNTY COLLECTOR TAXES             1200 WASHINGTON AVE BELLTON TX 76513-0669
BELL COUNTY COLLECTOR TAXES             PO BOX 669 BELLTON TX 76513-0669
BELL MTS INC.                           CUSTOMER PAYMENT CENTRE PO BOX 3650 STATION DON MILLS TORONTO ON M3C 3X9
                                        CANADA
BELL MTS INC.                           PO BOX 7500 WINNIPEG MB R3C 3B5 CANADA
BELL, BRIAN                             ADDRESS ON FILE
BELL, MARGO                             ADDRESS ON FILE
BELLA UPHOLSTERY LP                     DBA J & E UPHOLSTERY 11030 WEST ALAMEDA AVENUE LAKEWOOD CO 80226
BELLAIRE LANDSCAPE INC                  2025 ELLIS SIDE ROAD RR2 MAIDSTONE ON N0R 1K0 CANADA
BELLO, LUIS                             ADDRESS ON FILE
BELLOWS LOCK CORP                       DBA BELLOWS LOCKSMITH PO BOX 137 BALDWINSVILLE NY 13027
BELMONT COUNTY BOARD OF HEALTH          PO BOX 669 ST CLAIRSVILLE OH 43950
BELMONT COUNTY BOARD OF HEALTH          68501 BANNOCK ST CLAIRSVILLE OH 43950
BELMONT COUNTY TREASURER                101 W MAIN ST ST CLAIRSILLE OH 43950
BELMONT COUNTY WATER & SEWER DISTRICT   PO BOX 457 ST CLAIRSVILLE OH 43950-0457
BELMONT FIRE & SAFETY PRODUCTS LLC      PO BOX 928 BELMONT NC 28012-0928


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BELOS EXCHANGE LLC                     ATTN ELIAS ELIOPOULOS 144 LANGDON AVE DOBBS FERRY NY 10522-1203
BELUZ PROPERTIES X, LTD.               5109 80TH STREET LUBBOCK TX 79424
BEN HILL ROOFING & SIDING CO INC       13331 VETERANS MEMORIAL HWY DOUGLASVILLE GA 30134-1652
BEND CORPORATION                       DBA ACTION LOCK & SAFE 4053 GUNN HWY TAMPA FL 33618-8723
BENEDICT REFRIGERATION SERVICE INC     1003 HARLEM STREET ALTOONA WI 54720-2203
BENEFITED LLC                          121 S 13TH ST STE 201 LINCOLN NE 68508-1911
BENIGNO C TORRES                       ADDRESS ON FILE
BENISE, MICHELLE                       ADDRESS ON FILE
BENJAMIN FUDGE                         ADDRESS ON FILE
BENJAMIN JOHNSEN                       ADDRESS ON FILE
BENJAMIN M JOHNSON LLC                 28686 MOUNTAIN VIEW RD CONIFER CO 80433-7240
BENJAMIN MARKS                         ADDRESS ON FILE
BENJAMIN WINSETT MCCULLOCH             ADDRESS ON FILE
BENJAMIN WOODY                         ADDRESS ON FILE
BENJAMIN, ANA                          ADDRESS ON FILE
BENJAMINS REFRIGERATION LLC            PO BOX 3226 MUNSTER IN 46321-0226
BENNALLY, MONICA                       ADDRESS ON FILE
BENNETT BOEHNING & CLARY LLP           ATTN: STUART P. BOEHNING 415 COLUMBIA STREET, SUITE 1000 P.O. BOX 469
                                       LAFAYETTE IN 47902-0469
BENNETT DISTRIBUTING CO INC            PO BOX 142 SALISBURY NC 28145-0142
BENNETT, KHRISTY                       ADDRESS ON FILE
BENNIE W WATLEY III                    ADDRESS ON FILE
BENNY M HICKSON                        ADDRESS ON FILE
BENSON ELECTRIC CO INC                 1102 N THIRD ST SUPERIOR WI 54880
BENT CARYL & KROLL LLP                 6300 WILSHIRE BLVD SUITE 1415 LOS ANGELES CA 90048
BENT, CARYL & KROLL LLP                ATTN:JESSE CARYL 6300 WILSHIRE BOULEVARD, SUITE 1415 LOS ANGELES CA 90048
BENTON COUNTY TAX COLLECTOR            215 E CENTRAL AVE RM 101 BENTONVILLE AR 72712
BENTON COUNTY TREASURER                TAX PROCESSING CENTER 7122 W OKANOGAN PL STE E110 KENNEWICK WA 99336
BENTON PUD                             PO BOX 6270 KENNEWICK WA 99336-0270
BENTON-FRANKLIN DIST HEALTH DEP        68501 BANNOCK KENNEWICK WA 99336
BENTON-FRANKLIN DIST HEALTH DEP        800 W CANAL DRIVE KENNEWICK WA 99336
BERGELECTRIC CORP                      650 OPPER STREET ESCONDIDO CA 92029-1020
BERGOVEC ELECTRIC LLC                  8100 MAPLE RD CLAY NY 13041-8908
BERKEL MIDWEST SALES & SERVICE INC     4900 W 128TH PLACE ALSIP IL 60803
BERKELEY LOCK AND INSTITUTIONAL        DBA BERKELEY LOCKSMITH 128 TALL PINES CT LADSON SC 29456-3105
SUPPLIES
BERKS SECURITY LOCKSMITH & SAFE SERVICE 440 PENN AVENUE WEST READING PA 19611
BERKSHIRE REFRIGERATION SVC INC        14 TROWBRIDGE DR BETHEL CT 06801-2858
BERLINS RESTAURANT SUPPLY INC          5051 RIVERS AVENUE NORTH CHARLESTON SC 29406
BERMAN & VOSS PC                       ATTN:ANGELA DISANTI BERMAN & VOSS PC 900 PARISH ST., STE 102 PITTSBURGH PA
                                       15220
BERMAN & VOSS PC                       900 PARISH STREET SUITE 102 PITTSBURGH PA 15220
BERMAN, ANDREA                         ADDRESS ON FILE
BERNAL, NORMA                          ADDRESS ON FILE
BERNALILLO COUNTY TREASURER            PO BOX 27800 ALBUQUERQUE NM 87125-7800
BERNARD S GARRETT                      ADDRESS ON FILE
BERNICE LEWIS                          ADDRESS ON FILE
BERNIE J BUCHNER INC                   224 CAUSEWAY BLVD LA CROSSE WI 54603-3152
BERRYS GARDEN CENTER INC               3714 NORTH VERMILION ST DANVILLE IL 61832
BERT E MCINTOSH II                     ADDRESS ON FILE


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BERTARELLI CUTLERY                       1927 MARCONI ST LOUIS MO 63110
BERTHA AIKEN LLC                         PO BOX 481149 DELRAY BEACH FL 33448-1149
BESCO WATER TREATMENT INC                PO BOX 1309 BATTLE CREEK MI 49016-1309
BEST BRANDS INCORPORATED                 PO BOX 290155 NASHVILLE TN 37229
BEST CHOICE CARPET CLEANING              908 E QUAIL RUN CIRCLE SIOUX FALLS SD 57108
BEST CHOICE PLUMBING INC                 31011 123RD AVE E GRAHAM WA 98338-6015
BEST COAT PAINTING                       153 ABERDEEN AVE WOODBRIDGE ON L4L 1C3 CANADA
BEST MARKETING SYSTEMS INC               DBA CENTRAL FLORIDA WATER PROCESSING 304 RICHEY RD STE 3 LEESBURG FL
                                         34748-7165
BEST MOBILE LOCKSMITH                    9362 HUNTERS CREEK DR BLUE ASH OH 45242-6658
BEST SERVICE CARPET CARE                 2631 MIMOSA AVE SHREVEPORT LA 71108-4301
BEST WAY CARPET CARE INC                 8226 MENAUL BLVD NE 336 ALBUQUERQUE NM 87110-4614
BEST WAY DISPOSAL, INC - ANDERSON, IN    P.O. BOX 421669 DEPT A INDIANAPOLIS IN 46242-1669
BEST WAY DISPOSAL, INC - BURLINGTON, KY PO BOX 4040 KALAMAZOO MI 49003-4040
BEST WAY DISPOSAL, INC - KALAMAZOO, MI   PO BOX 4040 KALAMAZOO MI 49003-4040
BEST WAY DISPOSAL, INC - MODOC, IN       PO BOX 421669 INDIANAPOLIS IN 46242-1669
BESTWAY HOLDINGS INC                     DBA BESTWAY LAWN CARE 1841 12TH STREET SE LARGO FL 33771
BETHANY ASSOCIATES INC                   PO BOX 986 HAMMONTON NJ 08037
BETTER LOCKSMITHS                        3580 TECUMSEH ROAD E UNIT 3 WINDSOR ON N8W 1H6 CANADA
BETTER PLUMBING LLC                      DBA WARREN T PLUMBING SERVICES 1400 W 22ND ST KEARNEY NE 68845-5389
BETTYE REED                              ADDRESS ON FILE
BEV TECH OF HAWAII INC                   144 PONANA STREET KIHEI HI 96753
BEVCO INC                                6900 CAMILLE AVENUE OKLAHOMA CITY OK 73149
BEVERAGE & EQUIPMENT SERVICE             DBA B & EST INC 1117E CEDAR AVE CROYDON PA 19021-7507
TECHNICIANS
BEVERAGE CONTROL INC                     PO BOX 52888 KNOXVILLE TN 37950
BEVERAGE DISTRIBUTION INC                746 LOCUST AVENUE WASHINGTON PA 15301
BEVERAGE DISTRIBUTORS                    3800 KING AVENUE CLEVELAND OH 44114
BEVERAGE DISTRIBUTORS INC                PO BOX 866 CLARKSBURG WV 26301
BEVERAGE SOUTH INC                       1815 WILKINSON ROAD AUGUSTA GA 30904
BEVERAGE SOUTH INC.                      DBA PEPSI COLA OF GREENVILLE PO BOX 3567 GREENVILLE SC 29608-3567
BEVERAGE WAREHOUSE INC                   115 WILSON AVENUE GREENSBURG PA 15601
BEVERAGE-AIR CORPORATION                 PO BOX 602056 CHARLOTTE NC 28260-2056
BEVERLY BOUSSOULAS                       ADDRESS ON FILE
BEXAR COUNTY TAX ASSESSOR COLLECTOR      ALCOHOLIC LICENSE DIVISION PO BOX 9270 SAN ANTONIO TX 78283-3950
BEXAR COUNTY TAX ASSESSOR COLLECTOR      PO BOX 839950 SAN ANTONIO TX 78283-3950
BEXAR COUNTY TAX ASSESSOR-COLLECTOR      PO BOX 2903 SAN ANTONIO TX 78299-2903
BEXAR COUNTY WCID 10                     8601 MIDCROWN WINDCREST TX 78239
BEXAR CROSSING OWNERS ASSOCIATION        1506 BEXAR CROSSING ST SAN ANTONIO TX 78232-1587
BGE                                      P.O. BOX 13070 PHILADELPHIA PA 19101-3070
BGL INC                                  6075 STATE STREET SUBURBAN GARBAGE SERVICE SALEM OR 97301
BH SERVICES LLC                          DBA 24 HOURS LOCKSMITH 162 8TH ST CRESSKILL NJ 07626-1913
BHAGAT MD LLC                            6374 LAKEVIEW DR FALLS CHURCH VA 22041-1334
BIDWELL CONSTRUCTION INC                 1900 ORO DAM BOULEVARD SUITE 12 325 OROVILLE CA 95966
BIG ALS AQUARIUM SUPERCENTRES            140 CENTENNIAL PKWY N HAMILTON ON L8E 1H9 CANADA
BIG APPLE COMPACTOR COMPANY INC          64-20 LAUREL HILL BLVD WOODSIDE NY 11377-5854
BIG BEND GASKET INC                      1400 VILLAGE SQUARE BLVD SUITE 3-327 TALLAHASSEE FL 32312
BIG DIEHL PLUMBING LLC                   DBA ROTO ROOTER PLUMBING & DRAIN SERVICE 115 SANN ST JOHNSTOWN PA 15904-5805
BIG FLATS TOWN TAX COLLECTOR             476 MAPLE ST BIG FLATS NY 14814



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BIG FLATS WATER DEPT                     476 MAPLE ST TOWN OF BIG FLATS, NY BIG FLATS NY 14814-9799
BIG LEAGUE SERVICE LLC                   DBA BLEU BISON WASH SOLUTIONS 3246 WILD IRIS NEW BRAUNFELS TX 78130-0170
BIG RED LLC                              ATTN: BRYAN W. FAIRFIELD, MANAGER 6121 OLD SR 25 N LAFAYETTE IN 47905
BIG RED LLC                              C/O BRYAN W FAIRFIELD MANAGER 6121 OLD STATE ROAD 25 N LAFAYETTE IN 47905-9718
BIG SIGN LLC                             DBA GENERAL SIGN COMPANY PO BOX 884 SHEFFIELD AL 35660-0884
BIG VALLEY SANITATION INC                5551 EASTSIDE RD REDDING CA 96001-4532
BIGFOOT BEVERAGES                        PO BOX 10728 EUGENE OR 97440-2728
BIGFOOT ELECTRIC LLC                     2521 RIVER RD YAKIMA WA 98902-1164
BILCO SAFE & LOCK INC                    950 SOUTH STATE OREM UT 84097
BILDON APPLIANCE PARTS & SVC INC         PO BOX 531265 LIVONIA MI 48153-1265
BILL KOOY PRESSURE CLEANING INC          2665 NORTH ATLANTIC AVENUE 340 DAYTONA BEACH FL 32118-3205
BILLIE MOMINEY                           ADDRESS ON FILE
BILLITIER ELECTRIC INC                   760 BROOKS AVENUE ROCHESTER NY 14619
BILLS LOCK & KEY INC                     4200 WYOMING NE ALBUQUERQUE NM 87111
BILLS PLUMBING AND DRAIN SERVICE         135 BALDRIDGE VW COLORADO SPRINGS CO 80916
BILLY JOE LEONE                          ADDRESS ON FILE
BILLY LEES LOCKSMITH SERVICE INC         500 EAST FRANK LUFKIN TX 75901
BILLY R JOHNSON                          ADDRESS ON FILE
BILLY WAYNE JOWERS JR                    ADDRESS ON FILE
BINELL BROS CUTLERY & GRINDING CO        7621 BARRIE STREET DEARBORN MI 48126-1021
BINGHAM, ALYSSA                          ADDRESS ON FILE
BINNERS OPERATIONS INC                   BINNERS 60009-260 QUEEN ST W TORONTO ON M5V 0C5 CANADA
BINTOU, CARTHRON                         ADDRESS ON FILE
BIRD & BUG VENTURES LLC                  DBA ANDERSON LOCK & SAFE 6146 NORTH 35TH AVENUE, SUITE 101 PHOENIX AZ
                                         85017-1938
BIRDS EYE LANDSCAPING SERVICES INC       13236 DOOR KEY RD SAN ANGELO TX 76904-4267
BIRMINGHAM RESTAURANT SUP INC            2428 6TH AVE SOUTH BIRMINGHAM AL 35233
BIRMINGHAM WATER WORKS - SEWER & WATER   P.O. BOX 830269 BIRMINGHAM AL 35283-0269
BIRMINGHAM WATER WORKS BOARD             3600 FIRST AVENUE NORTH BIRMINGHAM AL 35222
BIRRELL BOTTLING COMPANY                 DBA PEPSI COLA OF SPRINGVILLE 940 N SPRING CREEK PLACE SPRINGVILLE UT
                                         84663-3054
BISHOP STREET LAW GROUP                  ATTN:ROBERT A. UEOKA 1000 BISHOP STREET; SUITE 503 HONOLULU HI 96813
BISHWENDU K PAUL                         ADDRESS ON FILE
BISMAN LOCK & KEY                        DBA BRYCE ULINE 309 9TH AVE NE MANDAN ND 58554-3735
BISMARCK-MANDAN SECURITY INC             PO BOX 744 BISMARCK ND 58502-0744
BISON PALM DESERT LLC                    C/O PURE PROPERTY MANAGEMENT ATTN KIMBERY BARRAGAN PO BOX 871 MENIFEE CA
                                         92586-0871
BITAR ELECTRIC                           24 ELCO DR CORAOPOLIS PA 15108-3502
BITNER ELECTRIC INC                      7921 PAXTON STREET HARRISBURG PA 17111
BITSOI, JULIA                            ADDRESS ON FILE
BIX PRODUCE CO                           3060 CENTERVILLE RD LITTLE CANADA MN 55117-1105
BIX SERVICES LLC                         PO BOX 611 BIXBY OK 74008-0611
BJT INC                                  DBA MUTUAL DISTRIBUTING CO 24 BUXTON AVENUE ASHEVILLE NC 28802
BKK & J CORPORATION                      DBA EAST COAST SIGNS & LIGHTING 106 NEW PROSPECT CHURCH ROAD ANDERSON SC 29625
BKM SERVICES INC                         DBA MR ROOTER OF NWI 3602 EVANS AVE STE A VALPARAISO IN 46383-6807
BLACK DIAMOND PAVING INC                 41550 BOSCELL ROAD FREMONT CA 94538-3195
BLACK DIAMOND PLUMBING & MECHANICAL INC 1400 MILLER PARKWAY MCHENRY IL 60050
BLACK DOG PLUMBING LLC                   DBA JUSTIN JAMES BAILEY PO BOX 854 ASOTIN WA 99402-0854
BLACK HAWK COUNTY HEALTH DEPARTMENT      1407 INDEPENDENCE AVE 5TH FLOOR WATERLOO IA 50703
BLACK HAWK WASTE DISPOSAL                P.O. BOX 2592 WATERLOO IA 50704


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BLACK HILLS ENERGY                      PO BOX 7966 CAROL STREAM IL 60197-7966
BLACK HILLS INFORMATION SECURITY LLC    115 W HUDSON ST SPEARFISH SD 57783-2342
BLACK HILLS WINDOW CLEANING INC         DBA DAKOTAS WINDOW CLEANING PO BOX 2654 RAPID CITY SD 57709-2654
BLACK MOUNTAIN BEVERAGE LLC             5830 DOWNING ST UNIT I DENVER CO 80216-1253
BLACK PLUMBING INC                      PO BOX 6347 ABILENE TX 79608
BLACK, MERCEDES MADDEN                  ADDRESS ON FILE
BLACKBURNS FABRICATION INC              2467 JACKSON PIKE COLUMBUS OH 43223-3846
BLACKHAWK COUNTY TREASURER              316 E 5TH ST RM 140 WATERLOO WATERLOO IA 50703
BLACKHAWK ENGAGEMENT SOLUTIONS          PO BOX 9594 POSTAL STATION M CALGARY ON T2P 5L8 CANADA
BLACKHAWK NETWORK CANADA LTD            3280 BLOOR STREET WEST CENTRE TOWER 14TH FLOOR SUITE 1420 TORONTO ON M8X 2X3
                                        CANADA
BLACKHAWK NETWORK INC                   C/O WACHOVIA BANK PO BOX 932859 ATLANTA GA 31193-2859
BLACKHAWK PLUMBING LLC                  DBA MR ROOTER PLUMBING PO BOX 61 NEWBERG OR 97132-0061
BLACKMAN CHARTER TOWNSHIP               1990 WEST PARNALL ROAD JACKSON MI 49201-8612
BLACKMAN CHARTERTOWNSHIP TREASURER      1990 WEST PARNALL RD JACKSON MI 49201
BLACKMAN, ELEASIA                       ADDRESS ON FILE
BLACKSTOCK WESTSIDE ASSOCIATES LLC      C/O SPENCER HINES PROPERTY MANAGEMENT 347 E BLACKSTOCK RD STE B SPARTANBURG SC
                                        29301-3782
BLACKSTONE ELECTRIC INC                 17421 NYS ROUTE 12 F DEXTER NY 13634
BLACKSTONE SECURITY SERVICES OF TEXAS   DEPARTMENT 42239 PO BOX 650823 DALLAS TX 75265-0823
BLACKTOP SEAL COATING LLC               DBA OSCAR HERNANDEZ 8631 160TH ST NE ARLINGTON WA 98223-8839
BLACKWELL, JUNE                         ADDRESS ON FILE
BLACKWELL, KARON                        ADDRESS ON FILE
BLACKWELL, SAMANTHA                     ADDRESS ON FILE
BLADE INDUSTRIES INC                    DBA TIGER PAWS CARPET & UPHOLSTERY CLEANING 3907 OAK RD BARTLETT TN 38135-1938
BLAKE, CASSELS & GRAYDON LLP            199 BAY STREET SUITE 4000 COMMERCE COURT WEST TORONTO ON M5L 1G9 CANADA
BLANKENSHIP, SYDNEY, BLANKENSHIP, RICKY ADDRESS ON FILE
BLAZE EXHAUST MASTERS                   PO BOX 206463 DALLAS TX 75320-6463
BLAZER CONSTRUCTION LLC                 3550 THOMAS CROSS RD SEVIERVILLE TN 37876
BLEAKLEY, CYPHER, PARENT,               WARREN AND QUINN, P.C. ATTN:MARK WHITE 120 IONIA AVENUE SW, STE. 300 GRAND
                                        RAPIDS MI 49503
BLENDTEC INC                            1206 S 1680 W OREM UT 84058-4938
BLERMAN LLC                             DBA RAIDER ROOTER 525 GATOR DR LANTANA FL 33462-1754
BLEZOO LLC                              2098 SPRINT BLVD STE 1 ORLANDO FL 32703-7761
BLIND EXPRESS INC                       1100-1102 ABBEY COURT ALPHARETTA GA 30004
BLISS ENVIRONMENTAL SERVICES, INC.      PO BOX 135 CAMDEN NY 13316
BLJ HOLDINGS, LLC                       252 SHORE COURT LAUDERDALE-BY-THE-SEA FL 33308
BLK ELECTRIC INC                        1990 LOOKOUT DR NORTH MANKATO MN 56003-1705
BLOCK AND OLSON GLASS SERVICE CO INC    205 E 15TH ST VANCOUVER WA 98663-3402
BLOCKER, LISA                           ADDRESS ON FILE
BLODGETT OVEN CO INC                    2511 PAYSPHERE CIRCLE CHICAGO IL 60674
BLOOM ELECTRIC HEATING & PLUMBING INC   PO BOX 120 CURWENSVILLE PA 16833-0120
BLOOMHOUSE LANDSCAPE AND IRRIGATION LLC PO BOX 18089 SAVANNAH GA 31418-0089
BLOOMINGTON DEPARTMENT. OF FINANCE      800 W CANAL DRIVE BLOOMINGTON IL 61702-3157
BLOOMINGTON DEPT. OF FINANCE            P.O. BOX 3157 109 EAST OLIVE STREET BLOOMINGTON IL 61702-3157
BLOWS SEW N VAC INC                     4101 13TH AVENUE S FARGO ND 58103-3306
BLUE BIRD HOME SERVICES LLC             520 W WALTMAN LN MERIDIAN ID 83642-2856
BLUE EARTH COUNTY TREASURER             PO BOX 3567 MANKATO MN 56002-3567
BLUE GIANT EQUIPMENT CORPORATION        410 ADMIRAL BLVD MISSISSAUGA ON L5T 2N6 CANADA
BLUE RIBBON LINEN SUPPLY INC            PO BOX 798 LEWISTON ID 83501


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BLUE RIBBON PLUMBING HEATING &           GASFITTING 6 LEGACY GLEN TERRACE SE CALGARY ON T2X 3Y8 CANADA
BLUE RIDGE BEVERAGE CO INC               PO BOX 700 SALEM VA 24153
BLUE RIDGE BEVERAGES INC                 64 DISTRIBUTOR DRIVE MORGANTOWN WV 26507
BLUE RIDGE REFRIGERATION INC             PO BOX 11891 LYNCHBURG VA 24506-1891
BLUE RIVER SECURITY INC                  PO BOX 1151 BRIGHTON CO 80601-1151
BLUE ROCKET LLC                          DBA IRT SVCS & CLEARLY CLEAN WINDOW WASHING 2345 JAMES ST STE 1 CORALVILLE IA
                                         52241-1892
BLUE SECURITY INC                        DBA LA JOLLA LOCK & SAFE INC 5111 SANTA FE ST STE K SAN DIEGO CA 92109-1615
BLUE SHOCK CONSULTING INC                208-23 SUNPARK DRIVE SE CALGARY ON T2X 3V1 CANADA
BLUE STAR FOODS CORP.                    JOHN KEELER & CO. D/B/A BLUE STAR FOODS 12 S.E. 7TH ST., STE. 602 FT.
                                         LAUDERDALE FL 33301
BLUE TORCH CAPITAL                       OPERATIONS 150 E. 58TH STREET, 39TH FLOOR NEW YORK NY 10155
BLUE TORCH CREDIT OPPORTUNITIES          430 PARK AVENUE SUITE 1202 NEW YORK NY 10022
BLUE TREE PROPERTIES OH LLC              ATTN: BRADY ERICSON 2215 TOTTENHAM RD BLOOMFIELD HILLS MI 48301-2334
BLUE TREE PROPERTIES OH, LLC             ATTN: BRADY ERICSON, MANAGER 2215 TOTTENHAM ROAD BLOOMFIELD HILLS MI 48301
BLUEKNIGHT CARRPETS CLEANERS             8769 HILLTOP DR MENTOR OH 44060-1931
BLUESTRIPES INVESTMENTS LLC              2387 ROPER MOUNTAIN ROAD SIMPSONVILLE SC 29681-4937
BLURACK LLC                              2315 STIRLING RD FT LAUDERDALE FL 33312-6608
BM LANDSCAPING SERVICES                  2480 SMITH POINT RD NANJEMOY MD 20662-3514
BMS SANITATION & SAFETY INC              655 THE QUEENSWAY UNIT 16 PETERBOROUGH ON K9J 7M1 CANADA
BMV INTERNATIONAL LLC                    MANH-HUNG TRAN UNIT 1002, 10TH FL, INDOCHINA PL 41 XUAN THUY ST, CAU GIAY DIST
                                         HANOI 10000 VIETNAM
BOARD OF COUNTY COMMISSIONERS            P.O. BOX 3157 109 EAST OLIVE STREET ROCKLEDGE FL 32955-2498
BOARD OF COUNTY COMMISSIONERS            BREVARD COUNTY FIRE RESCUE OFFICE OF FIRE PREVENTION 1040 SOUTH FLORIDA AVE
                                         ROCKLEDGE FL 32955-2498
BOARD OF HEALTH                          BREVARD COUNTY FIRE RESCUE OFFICE OF FIRE PREVENTION PARAMUS NJ 07652
BOARD OF HEALTH                          BOROUGH HALL 80 ROUTE 17 PARAMUS NJ 07652
BOARD OF HEALTH TOWNSHIP OF              UNION 1976 MORRIS AVE UNION NJ 07083
BOARD OF LICENSE COMMISSIONERS           BOROUGH HALL 80 ROUTE 17 ORLANDO FL 32809
BOARD OF LICENSE COMMISSIONERS           DO NOT MAIL ORLANDO FL 32809
BOARD OF POLICE COMMISSIONERS            ALARM ADMINISTRATOR 1125 LOCUST ST KANSAS CITY MO 64106
BOARD OF PUBLIC UTILITIES-CHEYENNE, WY   2416 SNYDER AVE CHEYENNE WY 82001
BOARD OF WATER WORKS OF PUEBLO, CO       P.O. BOX 755 PUEBLO CO 81002-0755
BOARDMAN POLICE DEPARTMENT               8299 MARKET STREET BOARDMAN OH 44512
BOB & DAVES LAWN & LANDSCAPE             PO BOX 828 KAUKAUNA WI 54130
MAINTENANCE
BOB HALL INC                             PO BOX 1308 UPPER MARLBORO MD 20773
BOBBY FISHER DISTRIBUTING                2024 SELMA PIKE SPRINGFIELD OH 45505
BOBS LOCK SAFE & KEY                     DBA ACCESS SECURITY LOCKSMITHS 3112 WEST 3500 SOUTH WEST VALLEY CITY UT
                                         84119-3634
BOCK ENTERPRISES INC                     DBA GREAT PLAINS HEATING AC AND PLUMBING PO BOX 13916 GRAND FORKS ND
                                         58208-3916
BODIE, AUSTIN                            ADDRESS ON FILE
BOEHL STOPHER & GRAVES LLP               ATTN:MICHAEL JACKSON 400 W. MARKET STREET SUITE 2300 LOUISVILLE KY 40202
BOERSMA ENTERPRISES INC                  DBA BOERSMA LAWN CARE 57576 E LINCOLN HWY AMES IA 50010-9402
BOFFELI AND SPANNAGEL PC                 800 LOCUST ST DUBUQUE IA 52001-6705
BOGAN UPHOLSTERY SHOP                    2149 HIGHWAY 72 E ANX CORINTH MS 38834-8815
BOGY INC                                 DBA ROTO ROOTER PLUMBING PO BOX 20295 BILLINGS MT 59104
BOILER & PRESSURE VESSEL DIV             402 W WASHINGTON ST ROOM 246 INDIANAPOLIS IN 46204-2739
BOILER & PROPERTY CONSULTING LLC         5018 BRISTOL INDUSTRIAL WAY STE 203 BUFORD GA 30518-1776



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BOILER INSPECTION DIVISION            10421 WEST MARKHAM LITTLE ROCK AR 72205
BOILER INSPECTION PROGRAM             600 EAST BOULEVARD AVENUE DEPARTMENT 401 BISMARCK ND 58505-0320
BOISE CITY                            150 N CAPITOL BLVD 2ND FL BOISE ID 83701-0500
BOISE CITY POLICE DEPT                ATTN FINANCE 333 N MARK STALL PLACE BOISE ID 83704-5511
BOISE CITY UTILITY BILLING            PO BOX 2600 BOISE ID 83701-2600
BOISE SALES CO                        DBA HAYDEN BEVERAGE CO 2910 E AMITY RD BOISE ID 83716-6989
BOISVERT & CROFT PLUMBING & HEATING   (1978) LTD PO BOX 67072 MEADOWLARK PARK EDMONTON ON T5R 5Y3 CANADA
BOLANOS, CESAR                        ADDRESS ON FILE
BOLT ACQUIRECO INC                    DBA NORRELL SERVICE EXPERTS HEATING & AIR CONDITIONING LLC 2524 COMMERCE SQ W
                                      IRONDALE AL 35210-1547
BOLT PLUMBING INC                     4405 E FITZGERALD RD DECATUR IL 62521-5104
BOMER, CHERYL                         ADDRESS ON FILE
BONANZA LAWN & LANDSCAPING SERVICES   PO BOX 970361 MIAMI FL 33197
BONBRIGHT                             1 ARENA PARK DRIVE DAYTON OH 45408-2678
BOND DAVID                            ADDRESS ON FILE
BOND DISTRIBUTING CO                  1220 BERNARD DRIVE BALTIMORE MD 21223
BONITATIBUS, MICHAEL                  ADDRESS ON FILE
BONNIE A PUSHIES                      ADDRESS ON FILE
BONNIE THE PLANT LADY & COMPANY       1970 N 2320 W CIRCLE ST GEORGE UT 84770-4751
BOOGER BEARS LAWN CARE                PO BOX 607 COCHRAN GA 31014-0607
BOONE COUNTY COLLECTOR                10421 WEST MARKHAM COLUMBIA MO 65201-7727
BOONE COUNTY COLLECTOR                801 EAST WALNUT COLUMBIA MO 65201-7727
BOONE COUNTY FISCAL COURT             2950 WASHINGTON STREET BURLINGTON KY 41005
BOONE COUNTY SHERIFF                  PO BOX 198 BURLINGTON KY 41005
BOONE COUNTY TAX COLLECTOR            9TH & ASH 801 E WALNUT RM 118 COLUMBIA MO 65201-4890
BOORSE ELECTRIC INC                   PO BOX 111 HARLEYSVILLE PA 19438
BOOTH SIGNS INC                       DBA FASTSIGNS 1307 12TH ST COLUMBUS IN 47201-5604
BOOTLEGN LLC                          PO BOX 536 RIVERTON UT 84065
BORGELT POWELL                        ATTN:AARON BERNDT 1243 N. 10TH STREET SUITE 300 MILWAUKEE WI 53205
BOROUGH OF CHAMBERSBURG               801 EAST WALNUT CHAMBERSBURG PA 17201-0909
BOROUGH OF CHAMBERSBURG               PO BOX 1009 CHAMBERSBURG PA 17201-0909
BOROUGH OF CHAMBERSBURG, PA           P.O. BOX 1009 CHAMBERSBURG PA 17201-0909
BOROUGH OF HANOVER PENNSYLVANIA       44 FREDRICK STREET HANOVER PA 17331
BOROUGH OF HANOVER PENNSYLVANIA       PO BOX 1009 HANOVER PA 17331
BOROUGH OF HANOVER, PA                44 FREDRICK STREET HANOVER PA 17331
BOROUGH OF PARAMUS                    44 FREDRICK STREET PARAMUS NJ 07652-2728
BOROUGH OF PARAMUS                    1 JOCKISH SQ PARAMUS NJ 07652-2728
BOROUGH OF PARAMUS, NJ                1 JOCKISH SQUARE TAX COLLECTOR PARAMUS NJ 07652
BOROUGH OF POTTSTOWN                  1 JOCKISH SQ POTTSTOWN PA 19464
BOROUGH OF POTTSTOWN                  WASTEWATER TREATMENT PLANT 100 EAST HIGH STREET POTTSTOWN PA 19464
BOROUGH OF SOUTH PLAINFIELD           SOUTH PLAINFIELD POLICE DEPARTMENT ALARM BILLING OFFICE SOUTH PLAINFIELD NJ
                                      07080
BOROUGH OF SOUTH PLAINFIELD           SOUTH PLAINFIELD POLICE DEPT ALARM BILLING OFFICE 2480 PLAINFIELD AVE SOUTH
                                      PLAINFIELD NJ 07080
BOROUGH OF STATE COLLEGE              WASTEWATER TREATMENT PLANT 100 EAST HIGH STREET STATE COLLEGE PA 16801
BOROUGH OF STATE COLLEGE              DEPT OF ORDINANCE ENFORCEMENT & PUBLIC HEALTH 243 SOUTH ALLEN STREET STATE
                                      COLLEGE PA 16801
BOROUGH OF WEST MIFFLIN               DEPARTMENT OF ORDINANCE ENFORCEMENT & PUBLIC HEALTH 243 SOUTH ALLEN STREET
                                      WEST MIFFLIN PA 15122
BOROUGH OF WEST MIFFLIN               3000 LEBANON CHURCH ROAD WEST MIFFLIN PA 15122


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BOROUGH OF WYOMISSING                    POLICE DEPT BUSINESS ALARMS 22 READING BLVD WYOMISSING PA 19610-2083
BOROUGH OF WYOMISSING, PA                22 READING BLVD WYOMISSING PA 19610
BORTMAS THE BUTLER FLORIST               123 EAST WAYNE STREET BUTLER PA 16001
BORTNER BROS INC                         160 CROSSWAY DRIVE YORK PA 17402
BOSHARD BUILDERS INC                     DBA SAME DAY ELECTRIC PO BOX 1992 PROVO UT 84603-1992
BOSSIER CITY POLICE                      POLICE ALARM ACCOUNT PO BOX 6216 BOSSIER CITY LA 71171
BOSSIER CITY TAX COLLECTOR               PO BOX 5399 BOSSIER CITY LA 71171-5399
BOSSIER CITY UTILITIES DEPT. LA          P.O. BOX 5337 BOSSIER CITY LA 71171-5337
BOSSIER PARISH SHERIFF                   PO BOX 850 BENTON LA 71006-0850
BOSTON DESIGN MANUFACTURING LTD          174 STANLEY STREET BRANTFORD ON N3S 7S3 CANADA
BOTANICA ENTERPRISES INC                 18349 LAPPANS RD BOONSBORO MD 21713-1918
BOTANICAL DESIGNS LLC                    DBA PLANTS UNLIMITED PO BOX 80446 SEATTLE WA 98108-0446
BOTTLING GROUP LLC                       DBA PEPSI BEVERAGES COMPANY PO BOX 75948 CHICAGO IL 60675-5948
BOUI INC                                 DBA BEE SAFE LOCK & KEY 906 S BROADWAY SANTA MARIA CA 93454-6670
BOULDER COUNTY HEALTH DEPARTMENT         ENVIRONMENTAL HEALTH 3450 BROADWAY BOULDER CO 80304
BOULDER COUNTY HEALTH DEPARTMENT         3000 LEBANON CHURCH ROAD BOULDER CO 80304
BOULDER COUNTY TREASURER                 PO BOX 471 BOULDER CO 80306-0471
BOURDEAU CONTRACTING LLC                 2120 COLLIER CORPORATE PKWY SAINT CHARLES MO 63303-6708
BOURQUE ASSOCIATES                       DBA SERVICE ASSOCIATES 5017 S 36TH STREET PHOENIX AZ 85040-2906
BOWEN ELECTRIC INC                       324 COTTON DR WACO TX 76712-6705
BOWER ELECTRIC COMPANY                   202 WEST LINCOLN AVENUE S WILLIAMSPORT PA 17702
BOWER, JOHN                              ADDRESS ON FILE
BOWERS, DONALD                           ADDRESS ON FILE
BOWIE COUNTY CLERK                       710 JAMES BOWIE DRIVE NEW BOSTON TX 75570
BOWLING GREEN CITY TREASURER             PO BOX 1410 BOWLING GREEN KY 42102-1410
BOWLING GREEN MUNICIPAL UTILITIES        PO BOX 10360 BOWLING GREEN KY 42102-0360
BOWLING GREEN MUNICIPAL UTILITIES BGMU   801 CENTER STREET P.O. BOX 10300 BOWLING GREEN KY 42102
BOWRING MARSH BERMUDA LTD                POWER HOUSE 7 PAR-LA-VILLE ROAD HAMILTON HM 11 BERMUDA
BOYCE LAW FIRM, LLP                      PO BOX 5015 SIOUX FALLS SD 57117-5015
BOYD, DENISE                             ADDRESS ON FILE
BOYD, JOSHUA                             ADDRESS ON FILE
BOYD, TONY                               ADDRESS ON FILE
BOYER, RAQUEL                            ADDRESS ON FILE
BOYS & GIRLS CLUB OF FARMINGTON          1925 POSITIVE WAY FARMINGTON NM 87401
BOZICK DISTRIBUTORS INC                  2840 OLD WASHINGTON ROAD WALDORF MD 20601
BP ENERGY RETAIL COMPANY LLC             PO BOX 74007029 CHICAGO IL 60674-7029
BP LESKY DISTRIBUTING CO INC             120 WESTERN MARYLAND PKWY HAGERSTOWN MD 21740
BPR FF LLC                               DBA BOISE TOWNE PLAZA LLC PO BOX 776113 CHICAGO IL 60677-6113
BPW INC                                  61 SPRING VALLEY LN PITTSBURGH PA 15238-1857
BRABAND JR, BRETT                        ADDRESS ON FILE
BRACKIN, SCHWARTZ & ASSOCIATES           ATTN: DEWEY A. BRACKIN;MARCUS SCHWARTZ 511 WEST 7TH STREET AUSTIN TX 78737
BRACY, NICOLE                            ADDRESS ON FILE
BRAD BLATTEL                             ADDRESS ON FILE
BRAD MORRIS ELECTRIC COMPANY INC         DBA PATRIOT ELECTRIC SERVICES 6352 OLD NOONDAY RD TYLER TX 75703-7044
BRAD NEAL                                ADDRESS ON FILE
BRAD NEWMAN                              ADDRESS ON FILE
BRAD RODGERS PLUMBING & GAS LLC          PO BOX 1336 RIDGELAND MS 39158-1336
BRADFORD, MARKISHA                       ADDRESS ON FILE
BRADLEY C HUDSON                         ADDRESS ON FILE



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BRADLEY E WILSON                         ADDRESS ON FILE
BRADLEY ECCLESTON                        ADDRESS ON FILE
BRADLEY GUY BOWLER                       ADDRESS ON FILE
BRADLEY PLUMBING & HEATING INC           PO BOX 210007 MONTGOMERY AL 36121-0007
BRADLEY W JOHNSON                        ADDRESS ON FILE
BRADLEY, BRANDON                         ADDRESS ON FILE
BRAGG, DAWN                              ADDRESS ON FILE
BRAILLE WORKS INTERNATIONAL INC          941 DARBY LAKE STREET SEFFNER FL 33527
BRAIN PATRICK DUNN                       ADDRESS ON FILE
BRAMPTON CITY                            PO BOX 1725 BRAMPTON ON L6V 4J3 CANADA
BRAMPTON CITY                            ENVIRONMENTAL HEALTH 3450 BROADWAY BRAMPTON ON L6V 4J3 CANADA
BRANDEN YOUNG                            ADDRESS ON FILE
BRANDON B BROWN                          UNITED STATES ATTORNEYS OFFICE UNITED STATES COURTHOUSE 800 LAFAYETTE ST, STE
                                         2200 LAFAYETTE LA 70501-6832
BRANDON B BROWN                          UNITED STATES ATTORNEYS OFFICE UNITED STATES POST OFFICE BLDG 611 BROAD ST,
                                         ROOM 348 LAKE CHARLES LA 70601
BRANDON B BROWN                          UNITED STATES ATTORNEYS OFFICE 300 FANNIN ST, STE 3201 SHREVEPORT LA
                                         71101-3068
BRANDON B BROWN                          UNITED STATES ATTORNEYS OFFICE UNITED STATES FEDERAL BLDG 201 JACKSON ST, ROOM
                                         B-107 MONROE LA 71201
BRANDON B BROWN                          UNITED STATES ATTORNEYS OFFICE UNITED STATES POST OFFICE BLDG 515 MURRAY ST,
                                         ROOM 320 ALEXANDRIA LA 71301
BRANDON BACON                            ADDRESS ON FILE
BRANDON DALTON                           ADDRESS ON FILE
BRANDON ECHOLS                           ADDRESS ON FILE
BRANDON FARMER                           ADDRESS ON FILE
BRANDON FAVELA                           ADDRESS ON FILE
BRANDON HAYES.                           ADDRESS ON FILE
BRANDON L RAMGE                          ADDRESS ON FILE
BRANDON TABOR                            ADDRESS ON FILE
BRANDON VANCURLER-CLEMENTS               DBA VC AQUARIUM CLEANING 2656 CHANDESE LN CHICO CA 95973-8722
BRANDON, KENNETH                         ADDRESS ON FILE
BRANDOZ CONCRETE INC                     PO BOX 4206 BISMARCK ND 58502-4206
BRANDT, JUSTIN                           ADDRESS ON FILE
BRANDY LEE LEONARD                       ADDRESS ON FILE
BRANDYS SAFE AND LOCK INC                7300 BROADWAY MERRILLVILLE IN 46410-5286
BRANDYWINE COMMONS ASC OF REST           ADDRESS ON FILE
BRANLEY ELECTRICAL SERVICE INC           1824 CHANDLER STREET ELON NC 27244
BRANN PRODUCTION STUDIO LLC              3907 CAMDEN RD STE 2 PINE BLUFF AR 71603-9009
BRANSON LAKES AREA                       ADDRESS ON FILE
BRANT FLORIST                            ADDRESS ON FILE
BRASK ENTERPRISES INC                    P.O. BOX 551 ATTLEBORO MA 02703
BRASK ENTERPRISES INC II                 PO BOX 55287 HOUSTON TX 77255-5287
BRASK ENTERPRISES OF LAS VEGAS           P.O. BOX 94258 LAS VEGAS NV 89193
BRASS TAP BEVERAGE SYSTEMS INC           668 E NORTHWEST HWY MT PROSPECT IL 60056-3364
BRAVESOFTTECH INC                        301 E LIBERTY STREET STE 650 ANN ARBOR MI 48104-2283
BRAZORIA COUNTY                          PO BOX 515 ANGLETON TX 77515-4682
BRAZORIA COUNTY                          TAX ASSESSOR - COLLECTOR 111 E LOCUST STE 100A ANGLETON TX 77515-4682
BRAZORIA COUNTY TAX ASSESSOR COLLECTOR   PO BOX 1586 LAKE JACKSON TX 77566
BRAZOS COUNTY HEALTH DEPARTMENT          201 NORTH TEXAS AVENUE BRYAN TX 77803


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BRAZOS COUNTY TAC                      TAX ASSESSOR - COLLECTOR 111 E LOCUST STE 100A BRYAN TX 77802
BRAZOS COUNTY TAX ASSESSOR COLLECTOR   4151 COUNTY PARK CT BRYAN TX 77802
BRE DDR RETAIL HOLDINGS III LLC        DEPT 342614 21530 80786 PO BOX 945769 ATLANTA GA 30394-5769
BREA/ORANGE COUNTRY PLUMBING HEATING   AND AIR CONDITIONING 340 N ORANGE AVE BREA CA 92821-4028
BREAKTHRU BEVERAGE                     SOUTH CAROLINA 102 BEVERAGE BOULEVARD RIDGEWAY SC 29130
BREAKTHRU BEVERAGE ILLINOIS LLC        PO BOX 809180 CHICAGO IL 60680
BREAKTHRU BEVERAGE MINNESOTA WINE &    SPIRITS LLC PO BOX 1433 MINNEAPOLIS MN 55480-1433
BREMERTON-KITSAP CTY HEALTH DPT        109 AUSTIN DRIVE BREMERTON WA 98312
BREN-MARK INC                          DBA BREN MARK WINDOW AND GUTTER CLEANING PO BOX 2101 VALPARAISO IN 46384
BRENDA BROOKS                          ADDRESS ON FILE
BRENDA CORREA                          ADDRESS ON FILE
BRENDON MCDONNELL                      ADDRESS ON FILE
BRENT C RUFFIN                         ADDRESS ON FILE
BRENT DOYLE PLUMBING LTD               DBA DOYLE PLUMBING HEATING AND COOLING 1316 COUNTY ROAD 28 FRASERVILLE ON K0L
                                       1V0 CANADA
BRENTWOOD DIST CO                      1200 LEBANON ROAD WEST MIFFLIN PA 15122
BRENTWOOD PRESS & PUBLISHING COMPANY   248 OAK ST BRENTWOOD CA 94513-1337
BREON PEACE                            US ATTORNEYS OFFICE 271 CADMAN PLAZA EAST BROOKLYN NY 11201
BREON PEACE                            US ATTORNEYS OFFICE 610 FEDERAL PLAZA CENTRAL ISLIP NY 11722-4454
BRET BLACK HOLDINGS LLC                3012 S MIDLAND DR PINE BLUFF AR 71603-4866
BRETT BEHRENS                          DBA NATURAL SETTINGS PO BOX 441009 INDIANAPOLIS IN 46244-1009
BRETT WALKER PLUMBING LLC              1794 E NUTEAM CIR WASHINGTON UT 84780-1279
BREVARD COUNTY COMMISSIONERS           BREVARD COUNTY FIRE PREVENTION BUREAU 2725 JUDGE FRAN JAMIESON WAY VIERA FL
                                       32940
BREVARD COUNTY TAX COLLECTOR           PO BOX 2500 TITUSVILLE FL 32781-2500
BREWER & COMPANY OF WV INC             PO BOX 3108 CHARLESTON WV 25331
BREWERS DISTRIBUTOR LTD                400 DEWDNEY AVENUE E REGINA SK S4P 3G7 CANADA
BREWERS RETAIL INC                     710 WOOLWICH ST GUELPH ON N1H 3Z1 CANADA
BREWERY PRODUCTS COMPANY               1017 N SHERMAN ST YORK PA 17402
BRIAN ANDREW FAILLE                    ADDRESS ON FILE
BRIAN CRAIG DUNMAN                     ADDRESS ON FILE
BRIAN E CASEY                          ADDRESS ON FILE
BRIAN E FISHER                         ADDRESS ON FILE
BRIAN H YANNELL                        DBA 808 PLUMBING SERVICES 590 FARRINGTON HIGHWAY SUITE 524 UNIT 205 KAPOLEI HI
                                       96707
BRIAN K STOUT                          ADDRESS ON FILE
BRIAN K YODER                          ADDRESS ON FILE
BRIAN KEITH HYLTON                     ADDRESS ON FILE
BRIAN KEITH MENK                       ADDRESS ON FILE
BRIAN KEITH SPECK                      ADDRESS ON FILE
BRIAN P ALGER                          ADDRESS ON FILE
BRIAN P BROWN                          ADDRESS ON FILE
BRIAN PADILLA                          ADDRESS ON FILE
BRIAN RICHARDSON                       ADDRESS ON FILE
BRIAN VANCE                            ADDRESS ON FILE
BRIAN W BOORSE                         ADDRESS ON FILE
BRIANS LOCK & KEY                      PO BOX 340 BLACKSBURG VA 24063-0340
BRIANS PLUMBING INC                    901 OHIO AVENUE WICHITA FALLS TX 76301-2516
BRIAR MCCOY                            ADDRESS ON FILE
BRIARHOLM INC                          1260 SOUTH RIVER ROAD CRANBURY NJ 08512


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BRIDGEPORT CITY TAX COLLECTOR           325 CONGRESS ST BRIDGEPORT CT 06604
BRIDGEPORT POLICE DEPT                  OFFICE OF ALARM ADMINISTRATOR 45 LYON TERR RM 14 BRIDGEPORT CT 06604-4023
BRIDGES, LEANNE                         ADDRESS ON FILE
BRIDGETTE S ALDERTON                    ADDRESS ON FILE
BRIDGEWATER TOWNSHIP                    PO BOX 24005 NEWARK NJ 07101-0406
BRIDGEWATER TOWNSHIP NJ                 4151 COUNTY PARK CT BRIDGEWATER NJ 08807
BRIDGEWATER TOWNSHIP NJ                 HEALTH DEPT PO BOX 6300 BRIDGEWATER NJ 08807
BRIDGEWATER TOWNSHIP TAX COLLECTOR      PO BOX 24005 NEWARK NJ 07101-0406
BRIGGS DISTRIBUTING COMPANY INC         PO BOX 80727 BILLINGS MT 59108
BRIGHT FUTURE ELECTRIC LLC              630 MAGUIRE ROAD OCOEE FL 34761
BRIGHT REFRIGERATION INC                2716 REMINGTON DRIVE ROYSE CITY TX 75189
BRIGHT SIGHT WINDOW CLEANING LLC        PO BOX 115 MENASHA WI 54952
BRIGHT WINDOW WASHING                   PO BOX 191 CEDAR RAPIDS IA 52406
BRIGHTRIDGE                             P.O. BOX 2058 JOHNSON CITY TN 37605
BRIGHTSIDE WINDOWS INC                  DBA FISH WINDOW CLEANING 3233 MATHERS RD STE B SPRINGFIELD IL 62711-7900
BRIGHTSPEED                             PO BOX 6102 CAROL STREAM IL 60179
BRIGHTVIEW CHARGERS INC                 DBA BRIGHTVIEW LANDSCAPE SERVICES PO BOX 31001-2463 PASADENA CA 91110-2463
BRIGHTVIEW LANDSCAPE SERVICES INC       DBA BENCHMARK LANDSCAPES PO BOX 31001-2463 PASADENA CA 91110
BRIGIOTTAS PRODUCE & GARDEN CTR         410-414 FAIRMOUNT AVE JAMESTOWN NY 14701
BRILLIANT ELEGANCE LLC                  2314 NORMA DRIVE MISSION TX 78574
BRINE TEK SALT DELIVERY LLC             PO BOX 9203 MESA AZ 85214-9203
BRINEY FORET CORRY                      ATTN:CARLES FORET 413 TRAVIS STREET SUITE 200 LAFAYETTE LA 70503
BRINKS CANADA LIMITED                   C/O TX4014C PO BOX 4590 STATION A TORONTO ON M5W 7B1 CANADA
BRINKS INC                              PO BOX 101031 ATLANTA GA 30392-1031
BRINT ELECTRIC INC                      7825 WEST CENTRAL AVENUE TOLEDO OH 43617-1529
BRIONEZ, COLLEN                         ADDRESS ON FILE
BRISCALL ELECTRIC INC                   PO BOX 8128 GRAY TN 37615
BRISTOL CITY TREASURER                  497 CUMBERLAND ST RM 102 BRISTOL VA 24201-4392
BRISTOL VIRGINIA UTILITIES              PO BOX 8100 BRISTOL VA 24203-8100
BRIT FEATHERSON                         US ATTORNEYS OFFICE 600 E TAYLOR ST, STE 2000 SHERMAN TX 75090
BRIT FEATHERSON                         US ATTORNEYS OFFICE 500 STATE LINE AVE N, STE 402 TEXARKANA TX 75501
BRIT FEATHERSON                         US ATTORNEYS OFFICE 110 N COLLEGE, STE 700 TYLER TX 75702
BRIT FEATHERSON                         US ATTORNEYS OFFICE 101 E PARK BLVD, STE 500 PLANO TX 75704
BRIT FEATHERSON                         US ATTORNEYS OFFICE 415 S 1ST ST STE 201 LUFKIN TX 75901
BRIT FEATHERSON                         US ATTORNEYS OFFICE 550 FANNIN, STE 1250 BEAUMONT TX 77701
BRITAMER INC                            DBA J & J LOCKSMITHS 1015 EAST CORK STREET KALAMAZOO MI 49001-4822
BRITE FUTURE PLUMBING INC               2041 SW 70TH AVENUE SUITE D15 DAVIE FL 33317
BRITE N SERVICE                         26937 ECKEL ROAD UNIT 8 PERRYSBURG OH 43551
BRITE WAY WINDOW CLEANING SERVICE INC   PO BOX 772 WATERLOO IA 50704
BRITE-WAY INC                           PO BOX 154 FERRIS TX 75125-0154
BRITE-WAY WINDOW CLEANING INC           3332 4TH AVENUE SO UNIT 2E FARGO ND 58103-2234
BRITTANY BUDD                           ADDRESS ON FILE
BRITTANY NICHOLE GRANT                  ADDRESS ON FILE
BRITTON, MARCEL                         ADDRESS ON FILE
BRIXMOR OPERATING PARTNERSHIP LP        DBA CALIFORNIA PROPERTY OWNER 1 LLC C/O BRIXMOR PROPERTY GROUP CINCINNATI OH
                                        45264-5351
BRIXMOR OPERATING PARTNERSHIP LP        DBA CALIFORNIA PROPERTY OWNER 1 LLC C/O BRIXMOR PROPERTY GROUP PO BOX 645351
                                        CINCINNATI OH 45264-5351
BROADRIDGE APARTMENTS LLC               10231 PRESTWICK TRAIL LONE TREE CO 80124-9747



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BROADSTONE RL PORTFOLIO LLC             C/O BROADSTONE NET LEASE INC 207 HIGH POINT DR STE 300 VICTOR NY 14564-1061
BROADWAY & NEVADA LLC                   C/O KEVIN FAXON 53 SOUTH RD HARRISON NY 10528-2311
BROADWAY AND PEARL ASSOCIATES LLC       PO BOX 529 EUGENE OR 97440
BROADWAY CARPET COMPANY INC             1627 S BROADWAY SANTA MARIA CA 93454-7601
BROCK ASSOCIATES LLC                    385 OAKHURST LN COLORADO SPRINGS CO 80906-4399
BROCK PLUMBING CO                       PO BOX 720194 JACKSON MS 39272
BROCKINTON UPHOLSTERY CO                6905 BATESVILLE PIKE SHERWOOD AR 72120
BROCKS WELDING AND REPAIR               SERVICE INC 3985 EAST PIKE ZANESVILLE OH 43701-8008
BRODHEAD CREEK REGIONAL AUTHORITY,PA    410 MILL CREEK ROAD EAST STROUDSBURG PA 18301
BRODIE ENTERPRISES INC                  DBA BRODIE UPHOLSTERY PO BOX 1201 PUYALLUP WA 98371
BRODIE UPHOLSTERY AZ INC                DBA BRODIE COMMERCIAL UPHOLSTERY 11201 N TATUM BLVD STE 300 ECM84074 PHOENIX
                                        AZ 85028-6039
BRODY ROONEY                            ADDRESS ON FILE
BRONSON KEANE DARNELL                   ADDRESS ON FILE
BRONSON, COREY                          ADDRESS ON FILE
BROOK STOCKERT                          ADDRESS ON FILE
BROOKHAVEN LOCKSMITHS INC               4600 NESCONSET HWY PORT JEFFERSON STATION NY 11776-2568
BROOKHAVEN TOWN RECEIVER OF TAXES       ONE INDEPENDENCE HILL STE 110 FARMINGVILLE NY 11738
BROOKS EQUIPMENT COMPANY INC            DBA ALGER ELECTRIC 8832 PIKESVILLE ROAD PIKESVILLE MD 21208
BROOKS LOCK & KEY INC                   411 6TH ST SE DECATUR AL 35601-3973
BROOKS SHOPPING CENTERS LLC             C/O MARX REALTY 10 GRAND CENTRAL 155 E 44TH ST 7TH FLOOR NEW YORK NY
                                        10017-4100
BROOKS SHOPPING CENTERS LLC             C/O THE CORPORATION TRUST COMPANY CORPORATION TRUST CENTER 1209 ORANGE ST.
                                        WILMINGTON DE 19801
BROOKS, TAFERNEY                        ADDRESS ON FILE
BROOKSIDE IMPROVEMENTS LLC              C/O BERKSHIRE BANK PO BOX 15020 WORCESTER MA 01615-0020
BROOKWOOD CAPITAL PARTNERS LLC          600 12TH AVE S APT 816 NASHVILLE TN 37203-6622
BROOME BITUMINOUS PRODUCTS INC          PO BOX 354 VESTAL NY 13850-0354
BROOME COUNTY COMMUNITY CHARITIES INC   DBA DICKS SPORTING GOODS OPEN PO BOX 5571 ENDICOTT NY 13763-5571
BROOME COUNTY HEALTH DEPARTMENT         ONE WALL STREET BINGHAMPTON NY 13901
BROOME COUNTY HEALTH DEPARTMENT         HEALTH DEPARTMENT PO BOX 6300 BINGHAMPTON NY 13901
BROOME STEAM CARPET CLEANING INC        2 N OAK AVE ENDICOTT NY 13760
BROS PRESSURE WASHING AND STRIPING      DBA JUAN RAMIREZ III 3914 S VETERANS BLVD EDINBURG TX 78542-5089
BROTHERS PRODUCE OF AUSTIN              DBA BROTHERS PRODUCE INC PO BOX 6008 AUSTIN TX 78762
BROTHERS PRODUCE OF DALLAS INC          PO BOX 550278 DALLAS TX 75355
BROWARD COUNTY REVENUE COLL             GOVERNMENTAL CENTER ANNEX 115 SOUTH ANDREWS AVE ROOM A-100 FORT LAUDERDALE FL
                                        33301
BROWARD COUNTY TAX COLLECTOR            115 S ANDREWS AVE A100 FORT LAUDERDALE FL 33301-1895
BROWN COUNTY HEALTH DEPARTMENT          100 NORTH JEFFERSON ST RM 308 GREEN BAY WI 54301
BROWN DISTRIBUTING                      51 SWANS ROAD NEWARK OH 43055-8839
BROWN DISTRIBUTING COMPANY LTD          1300 ALLENDALE ROAD WEST PALM BEACH FL 33405
BROWN ELECTRIC SERVICES INC             27505 EAST 4TH STREET CATOOSA OK 74015
BROWN SPRINKLER SERVICE INC             PO BOX 8 DORSET OH 44032
BROWN, DEENA                            ADDRESS ON FILE
BROWN, JAMIE                            ADDRESS ON FILE
BROWN, KAREN.                           ADDRESS ON FILE
BROWN, LEANA                            ADDRESS ON FILE
BROWN, LISA                             ADDRESS ON FILE
BROWN, SHANE                            ADDRESS ON FILE
BROWN, SHIRLEY                          ADDRESS ON FILE


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BROWN-BELKIN RL LLC                    9805 BABBITT AVE NORTHRIDGE CA 91325-1925
BROWN-BELKIN RL, LLC                   ATTN: DEBBIE BELKIN 9805 BABBITT AVENUE NORTHRIDGE CA 91325
BROWNING, RICKY, BROWNING, PATRICIA    ADDRESS ON FILE
BROWNS MOBILE PRESSURE WASHING         TRAMPLIS BROWN 155 HINES RD WRIGHTSVILLE GA 31096-4154
BROWNSVILLE PUBLIC UTILITIES BOARD     PO BOX 660566 DALLAS TX 75266-0566
BROWNSVILLE PUBLIC UTILITIES BOARD     1425 ROBINHOOD DRIVE BROWNSVILLE TX 78521
BRUBAKER INC                           PO BOX 4334 LANCASTER PA 17604-4334
BRUCE DAVID HOWARD                     ADDRESS ON FILE
BRUCE MCGINNIS                         ADDRESS ON FILE
BRUCE THORNTON AIR CONDITIONING INC    128 SLATON ROAD LUBBOCK TX 79404
BRUCE WAYNE MAXWELL                    ADDRESS ON FILE
BRUCE YAWORSKI                         ADDRESS ON FILE
BRUCE-MERRILEES ELECTRIC CO            930 CASS ST NEW CASTLE PA 16101-5241
BRUMMELL, AMBER                        ADDRESS ON FILE
BRUNSON, LEEROY                        ADDRESS ON FILE
BRYAN ALTENDORF                        ADDRESS ON FILE
BRYAN ANDERSON                         ADDRESS ON FILE
BRYAN ELECTRIC INC                     46139 NATIONAL ROAD ST CLAIRSVILLE OH 43950
BRYAN HELGESON                         ADDRESS ON FILE
BRYAN RENTAL INC                       TRAVEL LOBSTER LLC 1440 SOUTH LIBERTY DRIVE BLOOMINGTON IN 47403-5118
BRYAN STORLER                          ADDRESS ON FILE
BRYAN T BUTAS                          ADDRESS ON FILE
BRYAN, ANNTENISHA                      ADDRESS ON FILE
BRYANT WALKER                          ADDRESS ON FILE
BRYANT, DEBORAH                        ADDRESS ON FILE
BRYANT, RHONDA                         ADDRESS ON FILE
BRYDENS ELECTRIC INC                   703 N HENRY STREET BAY CITY MI 48706-4700
BRYDON SWEARENGEN & ENGLAND            PO BOX 456 JEFFERSON CITY MO 65102-0456
BRYDON, SWEARENGEN & ENGLAND           ATTN: CHARLIE SMARR;LORENE WILLIAMS 312 E. CAPITOL AVENUE P.O. BOX 456
                                       JEFFERSON CITY MO 65102
BSFISHTANKS                            1552 DIAMOND DR WEST RICHLAND WA 99353-7842
BT CARAWAN LAWNCARE INC                101 SQUIRE DRIVE WINTERVILLE NC 28590-9429
BTC HOLDINGS FUND                      PO BOX16600 MISSOULA MT 59808
BTM CONSTRUCTION LLC                   4108 BENSALEM BOULEVARD BENSALEM PA 19020
BUBB, SPENCER                          ADDRESS ON FILE
BUCHANAN COUNTY TAX COLLECTOR          411 JULES ST RM 123 ST JOSEPH MO 64501
BUCK DISTRIBUTING CO INC               15827 COMMERCE CT UPPER MARLBORO MD 20774
BUCKEYE CEILING CLEANING SERVICE INC   3465 S ARLINGTON ROAD UNIT 206 AKRON OH 44312
BUCKNER, NANCY                         ADDRESS ON FILE
BUCKS COUNTY DEPART OF HEALTH          ONE WALL STREET DOYLESTOWN PA 18901
BUCKS COUNTY DEPART OF HEALTH          HEALTH BLDG NESHAMINY MANOR CTR DOYLESTOWN PA 18901
BUCKS COUNTY WATER & SEWER             PO BOX 3895 LANCASTER PA 17604-3895
BUD SEWER SERVICE INC                  1805 S 8TH ST JOSEPH MO 64503
BUDD STREET LLC                        ATTN JO FISCHER BUTERA 1590 W ALGONQUIN RD 223 HOFFMAN ESTATES IL 60192-1575
BUDGET STUMP GRINDING OF GREENBORO     5210 LIBERTY RD GREENSBORO NC 27406-8620
BUDS REFRIGERATION INC                 4281 HOLIDAY ROAD TRAVERSE CITY MI 49686
BUDS SIGN SHOP INC                     892 MAHONING AVE YOUNGSTOWN OH 44502-1414
BUDS SIGNS INC                         1040 PITKIN AVENUE GRAND JUNCTION CO 81501
BUDWEISER DISTRIBUTING CO              100 S PHILADELPHIA AMARILLO TX 79104



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BUDWEISER OF ASHEVILLE/SYLVIA            PO BOX 817 SKYLAND NC 28776
BUELNA, LAURA                            ADDRESS ON FILE
BUFFALO COUNTY TREASURER                 PO BOX 1270 KEARNEY NE 68848
BUFFALO ERIE SIGN & LIGHTING LLC         DBA FLEXLUME 1464 MAIN STREET PO BOX 804 BUFFALO NY 14209-1731
BUFFALO LANDSCAPING                      33045 COUNTY ROAD 41 GREELEY CO 80631
BUFFALO ROCK COMPANY INC                 5180 CARGO DR STE D COLUMBUS GA 31907-8020
BUFFALOS EXPERT SVC TECH INC             3003 GENESEE STREET BUFFALO NY 14225
BUILDERS HARDWARE OF OREGON INC          1782 FAIRGROUNDS ROAD NE SALEM OR 97301
BUILDING AND MECHANICALS                 C/O BAM BUILDING AND MECHANICAL PO BOX 202 BLAINE TN 37709-0202
BUILDINGS FOR BABIES FOUNDATION          C/O AMBER SCHAMEL 1333 BUSINESS ROUTE 63 THAYER MO 65791-8401
BULGER SAFE & LOCK INC                   11502 LAKE CITY WAY NE SEATTLE WA 98125
BULLDOG EXPRESS INC                      PO BOX 530570 HARLINGEN TX 78553
BULLDOG LOCK AND SAFE LLC                16325 CONNEAUT LAKE RD MEADVILLE PA 16335-3844
BULLDOG SYSTEMS, INC.                    PO BOX 788 HARRISBURG IL 62946
BULLSEYE CODE LLC                        1186 BLACK WALNUT CT WINTER SPRINGS FL 32708-5086
BUNCOMBE COUNTY PRIVILEGE TAX COLLECTOR 94 COXE AVENUE ASHEVILLE NC 28801-3620
BUNCOMBE COUNTY TAX COLLECTIONS          P O BOX 3140 ASHEVILLE NC 28802-3140
BUNN-O-MATIC CORP                        PO BOX 713352 CHICAGO IL 60677-1394
BUNTIN ADVERTISING INC                   DBA BUNTIN GROUP 1001 HAWKINS ST NASHVILLE TN 37203
BUREAU OF EQUAL EMPLOYMENT OPPORTUNITY   INVESTIGATIONS 555 WALNUT STREET HARRISBURG PA 17101
BUREAU OF FIRE PREVENTION                HEALTH BLDG NESHAMINY MANOR CTR ISELIN NJ 08830
BUREAU OF FIRE PREVENTION                DISTRICT NO 9- LEA 1225-009 1222 GREEN STREET ISELIN NJ 08830
BURELL BUILT LLC                         8504 MCKENZIE LN OOLTEWAH TN 37363-9706
BURGESS LAWN MAINTENANCE LLC             170 MORRIS RD PICKENS SC 29671-9185
BURHANS ENTERPRISES INC                  DBA STANLEY STEEMER 316 2ND ST RAPID CITY SD 57701-2862
BURKE PLUMBING INC                       DBA YAKIMA GLASS PO BOX 220 SELAH WA 98942-0220
BURKHARDT DEVELOPMENT GROUP INC          4478 CASTLEMAINE CT AKRON OH 44333-1687
BURLEIGH COUNTY TREASURER                P. O. BOX 5518 BISMARCK ND 58506-5518
BURLINGTON CITY                          PO BOX 5080 BURLINGTON ON L7R 4G4 CANADA
BURLINGTON CITY                          DISTRICT NO 9 1222 GREEN STREET BURLINGTON ON L7R 4G4 CANADA
BURLINGTON CITY TAX COLLECTOR            PO BOX 1358 BURLINGTON NC 27216-1358
BURLINGTON HYDRO-ELECTRIC COMMISSION     PO BOX 4378 STN A TORONTO ON M5W 3R1 CANADA
BURLS TERMITE AND PEST CONTROL LLC       DBA SAMUEL HILES 101 N MAIN ST ESTILL SPRINGS TN 37330-3203
BURNETTS KEY SHOP LTD                    323 THIRD AVENUE SOUTH SASKATOON SK S7K 1M6 CANADA
BURNEYS COMMERCIAL SERVICE OF NV INC     4480 ALDEBARAN AVE LAS VEGAS NV 89103-4127
BURNHAMS LOCKSMITH LLC                   1997 WINDING RIDGE CT WINSTON SALEM NC 27127-5764
BURNS ANDERSON JURY & BRENNER LLP        ATTN:JOE ANDERSON 4807 SPICEWOOD SPRINGS ROAD BLDG 4 AUSTIN TX 78759
BURNS ANDERSON JURY & BRENNER LLP        4807 SPICEWOOD SPRINGS ROAD BUILDING 4 AUSTIN TX 78759
BURNS WHITE                              ADDRESS ON FILE
BURNS, RASHEENA                          ADDRESS ON FILE
BURROUGHS, BRENDA                        ADDRESS ON FILE
BURROUGHS, LISA                          ADDRESS ON FILE
BURRTEC WASTE & RECYCLING SVCS           PO BOX 5518 BUENA PARK CA 90622-5518
BURRTEC WASTE INDUSTRIES INC             PO BOX 512403 LOS ANGELES CA 90051-0403
BURRTEC WASTE INDUSTRIES INC             PO BOX 515842 PAYMENT PROCESSING CENTER LOS ANGELES CA 90051-3142
BURRTEC WASTE INDUSTRIES INC             PO BOX 515136 PAYMENT PROCESSING CENTER LOS ANGELES CA 90051-5136
BURRTEC WASTE INDUSTRIES INC             PO BOX 516518 LOS ANGELES CA 90051-7801
BURTON PLUMBING SERVICES INC             DBA BURTON A/C HEATING PLUMBING AND MORE PO BOX 45465 OMAHA NE 68145-0465
BUSINESS EXPRESS COURIER SERVICES INC    504 N HUDSON ST ORLANDO FL 32835-1163



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BUSSES LOCK SERVICE LLC                2013 NEW HOPE CHURCH RD STE G RALEIGH NC 27604-1660
BUSTI TOWN TAX COLLECTOR               PO BOX 1289 BUFFALO NY 14240-1289
BUTLER COUNTY TOURISM & CONVENTION     BUREAU 310 EAST GRANDVIEW AVENUE ZELIENOPLE PA 16063
BUTLER DISPOSAL SYSTEMS                PO BOX 728 FULTON NY 13069
BUTLER IRRIGATION                      85 GRANNIS RD ORANGE CT 06477-1911
BUTLER TOWNSHIP                        PO BOX 5080 BUTLER PA 16001
BUTLER TOWNSHIP                        290 SOUTH DUFFY ROAD BUTLER PA 16001
BUTLER TOWNSHIP TAX ADMINISTRA         167 NEW CASTLE ROAD BUTLER PA 16001
BUTTE COUNTY ENVIRONMENTAL HLTH        1469 HUMBOLDT ROAD CHICO CA 95928
BUTTE COUNTY TREASURER                 25 COUNTY CENTER DR STE 125 OROVILLE CA 95965
BUTTE ROOFING COMPANY INC              8 SEVILLE CT 110 CHICO CA 95928-7151
BUYER ADVERTISING INC                  175 HIGHLAND AVE STE 407 NEEDHAM MA 02494-3048
BUZZELL PLUMBING HEATING & AIR INC     4811 RUSSELL PKWY WARNER ROBINS GA 31088-8675
BV STRATEGIC SOLUTIONS LLC             DBA BV CONTRACTING SOLUTIONS 2008 NW SOUTH OUTER RD BLUE SPRINGS MO 64015-6423
BVA DEERBROOK SPE LLC                  C/O BIG V PROPERTIES LLC PO BOX 6288 HICKSVILLE NY 11802-6288
BYRD, SIMONE                           ADDRESS ON FILE
BYRN, KIMBERLY                         ADDRESS ON FILE
BYRNES MECHANICAL CONTRACTORS INC      115 RIDGEDALE DRIVE WEST MONROE LA 71291
BYRON J LEDET                          ADDRESS ON FILE
BYTOWN CLEANING SERVICE                168 YELLOWCRESS WAY ORLEANS ON K4A 1C4 CANADA
C & A DUFFY INC                        DBA SERVE ONE PO BOX 8022 MESA AZ 85214-8022
C & A PLUMBING LLC                     DBA ADAM COATES PO BOX 603 BROWNSVILLE KY 42210-0603
C & B PLUMBING                         DBA JESSE BARBER 4238 BARRATTS CHAPEL RD FREDERICA DE 19946-1818
C & C REFRIGERATION INC                PO BOX 61136 RENO NV 89506
C & D DISPOSAL                         PO BOX 7096 PASADENA CA 91109-9952
C & D LAWN CARE                        C/O MICHAEL FLOWERS 131 HOLMAN AVE ELIZABETHTOWN KY 42701-8573
C & E WOOD                             DBA RAPID ROOTER PO BOX 1260 RAPID CITY SD 57709-1260
C & P ENTERPRISES LLC                  11545 SULLIVAN RD HERNANDO MS 38632-7921
C & R ELECTRIC LLC                     491 E WRIGHT AVE SHEPHERD MI 48883-9376
C & S PRESS INC                        405 27TH STREET ORLANDO FL 32806-4452
C & T LAWN CARE LLC                    PO BOX 150622 GRAND RAPIDS MI 49515-0622
C A INC                                C/O SUN TRUST PO BOX 79998 BALTIMORE MD 21279
C AND H LAWN AND LANDSCAPING INC       4388 W VERNAL PIKE BLOOMINGTON IN 47404-9660
C AND H LEWISVILLE LLC                 DBA ALL PRO BONDED LOCKSMITH 127 PEACHTREE PKWY STE 705 BYRON GA 31008-4062
C AND L SIGN AND LIGHTING LLC          DBA YESCO OHIO EAST LISA LEMASTERS 936 GREENBRIAR PKWY KENT OH 44240-6448
C BAILEY ENTERPRISES INC               DBA BUDGET BLINDS OF PUEBLO 1745 N ERIE AVE PUEBLO CO 81001-2521
C E LANDSCAPING AND LAWN SERVICE INC   6578 MERITMOOR CIR ORLANDO FL 32818-2273
C E S PLUMBING INC                     DBA ECONOMY PLUMBING 1058 N DUTTON AVE SANTA ROSA CA 95401-5011
C H ROBINSON COMPANY                   PO BOX 9121 MINNEAPOLIS MN 55480-9121
C L O BRIEN AND COMPANY INC            728 E COX AVE PEORIA HEIGHTS IL 61616-7563
C PHILLIPS ELECTRIC LLC                PO BOX 124 ORIENT OH 43146-0124
C R ELECTRIC INC                       1200 TRUMBULL AVENUE GIRARD OH 44420
C R S SERVICES INC                     DBA STANLEY STEEMER OF MONROE 2930 DESOTO ST STE 102 MONROE LA 71201-3796
C S TECHS INC                          PO BOX 584 NAMPA ID 83653
C SCAPES ARTISTIC LANDSCAPING INC      15941 S HARLEM AVENUE 332 TINLEY PARK IL 60477-1609
C STEIN INC                            DBA CSB 4719 MARKET STREET BOISE ID 83705
C V B INC                              PO BOX 3060 ST JOSEPH MO 64503-0060
C V CENTER LLC                         DBA CHULA VISTA CENTER SDS 12-2376 PO BOX 86 MINNEAPOLIS MN 55486-0086
C VON COMPANY INC                      DBA HOODZ OF ORLANDO 910 BELLE AVENUE SUITE 1160 LONGWOOD FL 32708



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C&C CLEAN TEAM ENTERPRISES LLC           DBA WIDMERS CARPET CLEANERS 1776 TENNESSEE AVE CINCINNATI OH 45229-1202
C&C MECHANICAL LLC                       470 SW 850TH RD CHILHOWEE MO 64733-9253
C&M PROFESSIONAL PLUMBING INC            PO BOX 1220 RIO LINDA CA 95673-9320
C&M REFRIGERATION SALES & SVC INC        PO BOX 186 SPRING CITY PA 19475
C&V CLEANING SERVICES LLC                2534 YORKTOWN ST APT 142 HOUSTON TX 77056-4830
C&W FACILITY SERVICES INC                PO BOX 854002 MINNEAPOLIS MN 55485-4002
C-TECH WATER SOLUTIONS LLC               3477 BEMISS RD VALDOSTA GA 31605-6041
C2 ELECTRIC LLC                          3075 CAITLYNN DR SUMTER SC 29154-8247
CA DEPARTMENT OF INSURANCE               OFFICE OF FINANCE/ T & P ALARM UNIT DBA OFFICE OF INSURANCE AND SAFETY FIRE PO
                                         BOX 935467 LOS ANGELES CA 90030-0879
CA DEPT OF TAX & FEE ADMINISTRATION      PO 942879 SACRAMENTO CA 94279-6086
CA. DEPT OF TOXIC SUBSTANCES CTRL        PO BOX 806 SACRAMENTO CA 95812-0806
CA. DEPT OF TOXIC SUBSTANCES CTRL        1001 'I' ST SACRAMENTO CA 95814-2828
CABALQUINTO, CHARINA                     ADDRESS ON FILE
CABARRUS COUNTY TAX COLLECTORS OFFICE    PO BOX 580347 CHARLOTTE NC 28258-0347
CABELL COUNTY SHERIFF                    PO BOX 2114 HUNTINGTON WV 25721-2114
CACTI GROUNDS MANAGEMENT LLC             PO BOX 34766 LAS VEGAS NV 89133-4766
CADILLAC COFFEE COMPANY                  PO BOX 932249 CLEVELAND OH 44193
CAHILLS PLUMBING & HEATING INC           23313 208TH AVE S.E. MAPLE VALLEY WA 98038
CAINS CUSTOM SURFACES INC                DBA THE HOOD GUY PO BOX 233 TIMNATH CO 80547
CAJUN AIR INC                            39 MLK AVENUE JEFFERSON GA 30549-1452
CAL-COAST REFRIGERATION INC              2363 THOMPSON WAY STE D SANTA MARIA CA 93455-1047
CALDWELL, IDRIS                          ADDRESS ON FILE
CALEB R NICHOLS                          ADDRESS ON FILE
CALGARY & BOW RIVER CHEM DRY             106 2719 7 AVE NE CALGARY ON T2A 2L9 CANADA
CALGARY HEALTH REGION                    PO BOX 1980 STN M CALGARY AB T2P 4Z7 CANADA
CALGARY LOCK & SAFE                      1655 32 AVE NE CALGARY ON T2E 7Z5 CANADA
CALGARY POLICE SERVICE                   ALARM BYLAW UNIT 609 5111 47 STREET NE CALGARY ON T3J 3R2 CANADA
CALHOUN COUNTY C OF C                    290 SOUTH DUFFY ROAD ANNISTON AL 36202
CALHOUN COUNTY C OF C                    PO BOX 1087 ANNISTON AL 36202
CALHOUN COUNTY HEALTH DEPARTMENT         190 E MICHIGAN AVE BATTLE CREEK MI 49017
CALHOUN COUNTY HEALTH DEPARTMENT         PO BOX 1087 BATTLE CREEK MI 49017
CALHOUN COUNTY REVENUE COMMISSIONER      1702 NOBLE ST STE 104 ANNISTON AL 36201
CALIBER SEWER AND DRAIN                  ADDRESS ON FILE
CALIBRE SALES INC                        8162 KEELE STREET CONCORD ON L4K 2A5 CANADA
CALIDAD SERVICES INC                     DBA CALIDAD SERVICES INC 2139 NEWBY RD STOCKTON CA 95215-2031
CALIFORNIA AIR RESOURCES BOARD           PO BOX 2815 SACRAMENTO CA 95812
CALIFORNIA AIR RESOURCES BOARD           1001 'I' ST SACRAMENTO CA 95814
CALIFORNIA AMERICAN WATER COMPANY        PO BOX 7150 AMERICAN WATER COMPANY PASADENA CA 91109-7150
CALIFORNIA BOARD OF EQUALIZATION         CALIFORNIA DEPT OF TAX AND FEE ADMIN 450 N ST SACRAMENTO CA 95814
CALIFORNIA CRAFTY LLC                    24820 ORCHARD VILLAGE RD STE A 241 SANTA CLARITA CA 91355-3093
CALIFORNIA DEPARTMENT CONSUMER AFFAIRS   CONSUMER INFORMATION CENTER 1625 N MARKET BLVD STE N 112 SACRAMENTO CA 95834
CALIFORNIA DEPARTMENT OF JUSTICE         EQUAL EMPLOYMENT RIGHTS & RESOLUTION (EER&R) OFFICE 1300 I STREET SACRAMENTO
                                         CA 95814
CALIFORNIA DEPT OF CONSERVATION          715 P ST, MS 1900 SACRAMENTO CA 95814
CALIFORNIA DEPT OF WATER RESOURCES       PO BOX 94236 SACRAMENTO CA 94236-0001
CALIFORNIA DEPT OF WATER RESOURCES       715 P ST SACRAMENTO CA 95814
CALIFORNIA ENVIRONMENTAL PROTECTION      AGENCY 1001 I ST PO BOX 2815 SACRAMENTO CA 95812-2815
CALIFORNIA FRANCHISE TAX BOARD           300 S SPRING ST STE 5704 LOS ANGELES CA 90013-1265



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CALIFORNIA FRANCHISE TAX BOARD           7575 METROPOLITAN DR STE 201 SAN DIEGO CA 92108-4421
CALIFORNIA FRANCHISE TAX BOARD           600 W SANTA ANA BLVD STE 300 SANTA ANA CA 92701-4543
CALIFORNIA FRANCHISE TAX BOARD           PO BOX 942867 SACRAMENTO CA 94257-0001
CALIFORNIA FRANCHISE TAX BOARD           PO BOX 942857 SACRAMENTO CA 94267-0001
CALIFORNIA FRANCHISE TAX BOARD           1515 CLAY ST STE 305 OAKLAND CA 94612-1445
CALIFORNIA FRANCHISE TAX BOARD           3321 POWER INN RD STE 250 SACRAMENTO CA 95826-3893
CALIFORNIA INTEGRATED WASTE MGMT BOARD   1001 I ST PO BOX 4025 SACRAMENTO CA 95812-4025
CALIFORNIA PROPERTY OWNER I, LLC         ATTN: GENERAL COUNSEL C/O BRIXMOR PROPERTY GROUP, INC. 450 LEXINGTON AVENUE,
                                         13TH FLOOR NEW YORK NY 10017
CALIFORNIA SECREATRY OF STATE            PO BOX 944228 SACRAMENTO CA 94277
CALIFORNIA STATE CONTROLLERS OFFICE      UNCLAIMED PROPERTY DIVISION 300 CAPITOL MALL, STE 1850 SACRAMENTO CA 95814
CALIFORNIA UNEMPLOYMENT INSURANCE        EMPLOYMENT DEVELOPMENT DEPT PO BOX 8268800 UIPCD, MIC 40 SACRAMENTO CA
                                         94280-0001
CALIFORNIA WATER SERVICE-BAKERSFIELD     PO BOX 7229 SAN FRANCISCO CA 94120-7229
CALIFORNIA WATER SERVICE-CHICO           PO BOX 7229 SAN FRANCISCO CA 94120-7229
CALIFORNIA WATER SERVICE-RANCHO          PO BOX 7229 SAN FRANCISCO CA 94120-7229
DOMINGUE
CALIFORNIA WATER SERVICE-SALINAS         PO BOX 7229 SAN FRANCISCO CA 94120-7229
CALIFORNIA WATER SERVICE-VISALIA         PO BOX 7229 SAN FRANCISCO CA 94120-7229
CALKINS, MARIE                           ADDRESS ON FILE
CALLAWAY, KATHERINE                      ADDRESS ON FILE
CALLISTA GORDON                          ADDRESS ON FILE
CALLOWAY, CHERRIE                        ADDRESS ON FILE
CALTAMP REALTY ASSOCIATES LLC            10 RYE RIDGE PLZ STE 200 RYE BROOK NY 10573-2828
CALTAMP REALTY ASSOCIATES, LLC           C/O WIN PROPERTIES, INC. 10 RYE RIDGE PLAZA, SUITE 200 RYE BROOK NY 10573
CALVIN BLUE                              ADDRESS ON FILE
CALVIN CRAIG WILLIAMS                    ADDRESS ON FILE
CAM REFRIGERATION INC                    PO BOX 846 MARIETTA OH 45750
CAMANCHACA INC                           7200 NW 19TH STREET SUITE 410 MIAMI FL 33126
CAMBRO                                   PO BOX 2000 HUNTINGTON BEACH CA 92647
CAMDEN COMMERCIAL MICROWAVE SERVICE      3001 KERSHAW HWY WESTVILLE SC 29175-9525
CAMDEN COUNTY DIVISION OF HLTH           190 E MICHIGAN AVE BLACKWOOD NJ 08012-0009
CAMDEN COUNTY DIVISION OF HLTH           FOOD SURVEILLANCE PROGRAM 512 LAKELAND ROAD 301 BLACKWOOD NJ 08012-0009
CAMERINO GONZAGA SR                      ADDRESS ON FILE
CAMERON COUNTY TAX COLLECTOR             FOOD SURVEILLANCE PROGRAM 512 LAKELAND ROAD 301 BROWNSVILLE TX 78522
CAMERON COUNTY TAX COLLECTOR             PO BOX 952 BROWNSVILLE TX 78522
CAMERON L JENKINS                        ADDRESS ON FILE
CAMERON, KARLENA                         ADDRESS ON FILE
CAMILIO RODRIGUEZ JR                     ADDRESS ON FILE
CAMILO CABALO                            ADDRESS ON FILE
CAMON, CARL                              ADDRESS ON FILE
CAMP ELECTRIC & HEATING CO INC           3133 WASHINGTON AVE ALTON IL 62002-5473
CAMP ELECTRIC CO INC                     DBA CAMP FOOD EQUIPMENT SVC DIV 187 NEELY ST COLLIERVILLE TN 38017-2607
CAMPAIGN-URBANA PUBLIC HEALTH DIST       PO BOX 952 CAMPAIGN IL 61824-1488
CAMPAIGN-URBANA PUBLIC HEALTH DIST       PO BOX 1488 CAMPAIGN IL 61824-1488
CAMPBELL BLACKLIDGE PLAZA DE LLC         555 E RIVER RD STE 201 TUCSON AZ 85704-5843
CAMPBELL PLUMBING INC                    6155 MELINDA LANE BOONES MILL VA 24065
CAMPBELL, ANGEL                          ADDRESS ON FILE
CAMPBELL, BRANDON                        ADDRESS ON FILE
CAMPBELL, JANET                          ADDRESS ON FILE


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CAMPEON INC                              DBA CHAMPION LOCK AND SAFE COMPANY 11935 PERRIN BEITEL RD SAN ANTONIO TX
                                         78217-2127
CAMPUS BOX MEDIA LLC                     DBA SPIRIT STOP PO BOX 156373 FORT WORTH TX 76155-1373
CAMWOOD CONSTRUCTION LTD                 620 WILSON AVE SUITE 215 TORONTO ON M3K 1Z3 CANADA
CANADA ELECTRIC COMPANY INC              PO BOX 11813 LYNCHBURG VA 24506-1813
CANADA GST/HST                           SUDBURY TAX CENTRE SUDBURY TAX CENTRE STN A SUDBURY ON P3A 5C1 CANADA
CANADA GST/HST                           9755 KING GEORGE HIGHWAY SURREY BC V3T 5E6 CANADA
CANADA POST CORPORATION                  ETOBICOKE THE WEST MALL 145 THE WEST MALL ETOBICOKE ON M9C 1C0 CANADA
CANADA REVENUE AGENCY                    P.O. BOX 3800 STN A SUDBURY ON P3A 0C3 CANADA
CANADA SUDBURY                           SUDBURY TAX CENTRE SUDBURY TAX CENTRE SUDBURY ON P3A 5C1 CANADA
CANADA SUMMERSIDE                        PRINCE EDWARD ISLAND TAX CENTRE PRINCE EDWARD ISLAND TAX CENTRE SUMMERSIDE PE
                                         C1N 6A2 CANADA
CANADA WINNIPEG                          WINNIPEG TAX CENTRE WINNIPEG TAX CENTRE WINNIPEG MB R3C 3M2 CANADA
CANADA, MANITOBA PROVINCE                101 - 401 YORK AVENUE WINNIPEG MB R3C 0P8 CANADA
CANADA, MANITOBA PROVINCE                MANITOBA FINANCE MANITOBA FINANCE WINNIPEG MB R3C 0P8 CANADA
CANADA, SASKATCHEWAN PROVINCE            1955 SMITH STREET REGINA SK S4P 2N9 CANADA
CANADA, SASKATCHEWAN PROVINCE            MINISTRY OF FINANCE MINISTRY OF FINANCE PO BOX 200 REGINA SK S4P 2Z6 CANADA
CANADIAN LINEN & UNIFORM SERVICE         BOX 51055 RPO TYNDALL WINNIPEG MB R2X 3C6 CANADA
CANADIAN LINEN AND UNIFORM SERVICE       109 WATERLOO STREET OSHAWA ON L1H 3W9 CANADA
CANADIAN MARINE AQUACULTURE              ADDRESS ON FILE
CANESSCO SERVICES INC                    7710 - 67TH STREET NW EDMONTON ON T6B 2K4 CANADA
CANFIX TECHNICAL SERVICES                2344 WILDWOOD CRESCENT PICKERING ON L1X 2N1 CANADA
CANN, LOUISE                             ADDRESS ON FILE
CANNEDY CONTEMPORARY SERVICES INC        DBA RAY CANNEDY SECURITY & INVESTIGATIONS PO BOX 4727 WICHITA FALLS TX
                                         76308-0727
CANNEYS WATER CONDITIONING INC           3712 MILLER RD KALAMAZOO MI 49001
CANNON SERVICES INC                      509 WEST 67TH STREET SHREVEPORT LA 71106
CANNON, TERRISA                          ADDRESS ON FILE
CANO-ACUNA, ADRIANA                      ADDRESS ON FILE
CANOT LAMOUR                             ADDRESS ON FILE
CANPAK TRADE PRINT & SERVICES INC        77 WEST BEAVER CREEK ROAD UNIT 3 RICHMOND HILL ON L4B 1K4 CANADA
CANTON REGIONAL CHAMBER OF COMMERCE      222 MARKET AVE N CANTON OH 44702-1418
CANTON STARK COUNTY SEWER CLEANING INC   DBA ROTO-ROOTER 5672 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
CANTU, ROBERT.                           ADDRESS ON FILE
CANTYS PLUMBING AND PIPING INC           934 MISSION ROAD SW CARTERSVILLE GA 30120
CANUCK DOOR SYSTEMS CO                   1645 BONHILL RD UNIT 14 MISSISSAUGA ON L5T 1R3 CANADA
CAPE GIRARDEAU                           ADDRESS ON FILE
CAPE GIRARDEAU                           ADDRESS ON FILE
CAPE GIRARDEAU COUNTY TAX COLLECTOR      1 BARTON SQUARE STE 303 JACKSON MO 63755
CAPE GIRARDEAU FALSE ALARM               REDUCTION PROGRAM COUNTY PUBLIC HEALTH CENTER PO BOX 1839 SAINT LOUIS MO
                                         63150-5575
CAPE GIRARDEAU FALSE ALARM REDUCTION     PROGRAM PO BOX 505575 SAINT LOUIS MO 63150-5575
CAPITAL BILLING SERVICES                 555 W SHAW AVE STE C1 FRESNO CA 93704-2503
CAPITAL CITY BEVERAGES INC               920 WEST COUNTY LINE ROAD JACKSON MS 39213
CAPITAL CITY RESTAURANT SUPPLY           1031 E INTERSTATE AVE BISMARCK ND 58503-0552
CAPITAL LOCKSMITH COMPANY LLC            PO BOX 2526 MADISON MS 39130-2526
CAPITAL WASTE SERVICES                   PO BOX 148 COLUMBIA SC 29202
CAPITOL BEVERAGE COMPANY                 60 PILSNER PL CHARLESTON WV 25312
CAPITOL LOCK & SAFE INC                  1877 DARLING ROAD MASON MI 48854
CAPITOL-HUSTING COMPANY INC              12001 W CARMEN AVE MILWAUKEE WI 53225-2115


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CAPROCK WASTE                           PO BOX 679859 A WASTE CONNECTIONS COMPANY DALLAS TX 75267
CAPROCK WINDOW CLEANING LLC             212 18TH ST LUBBOCK TX 79401-5300
CAPSON HAGGARTY ELECTRICAL CTRS         1110 BRYDGES STREET LONDON ON N5W 2B6 CANADA
CAPTIVE REEF LLC                        1532 WELLESLEY ST INKSTER MI 48141-1524
CAPTIVE-AIRE SYSTEMS INC                DBA ECON AIR PO BOX 60270 CHARLOTTE NC 28260
CARBAJAL, YAMILEX                       ADDRESS ON FILE
CARBONIC SERVICE INC                    1920 DE LA CRUZ BOULEVARD SANTA CLARA CA 95050
CARCAMO, JUAN                           ADDRESS ON FILE
CARDENAS, KATHERINE                     ADDRESS ON FILE
CARDINAL ROOFING INCORPORATED           2425 E LIVINGSTON ST SPRINGFIELD MO 65803-4965
CARDINAL SERVICES GROUP                 3625 MUNICH CT UNIT 1 WINDSOR ON N8N 5G2 CANADA
CARDOZO, ILEAH                          ADDRESS ON FILE
CARDS EASTERN OK LLC                    PO BOX 775 TONTITOWN AR 72770
CARDS RIVER VALLEY INC                  PO BOX 775 TONTITOWN AR 72770
CAREPRO PAINTING INC                    PO BOX 1462 WHITE HOUSE TN 37188-1462
CAREY DISTRIBUTORS INC                  110 N DULANY AVE PO BOX B FRUITLAND MD 21826
CARIG EUGENE ELQUIST                    ADDRESS ON FILE
CARIS, KELLY                            ADDRESS ON FILE
CARISMA FLORISTS                        720 BURNHAMTHORPE RD W UNIT 2C MISSISSAUGA ON L5C 3G1 CANADA
CARL BRADSHAW                           ADDRESS ON FILE
CARL E BURTON                           ADDRESS ON FILE
CARL H BLAIR                            ADDRESS ON FILE
CARL JARL LOCKSMITHS                    ADDRESS ON FILE
CARL K EKIZIAN                          ADDRESS ON FILE
CARL R WAGNER                           ADDRESS ON FILE
CARLA B. FREEDMAN                       US ATTORNEYS OFFICE 445 BROADWAY, ROOM 218 ALBANY NY 12207-2924
CARLA B. FREEDMAN                       US ATTORNEYS OFFICE 319 FEDERAL BDLG 15 HENRY ST BINGHAMTON NY 13901
CARLA B. FREEDMAN                       US ATTORNEYS OFFICE 14 DURKEE ST, STE 340 PLATTSBURGH NY 12901
CARLA B. FREEDMAN                       US ATTORNEYS OFFICE PO BOX 7198 100 S CLINTON ST SYRACUSE NY 13261-7198
CARLA MARROQUIN                         ADDRESS ON FILE
CARLE PLACE WATER DISTRICT              P.O. BOX 345 CARLE PLACE NY 11514-0345
CARLISLE, JASMINE                       ADDRESS ON FILE
CARLISLE, STEVEN                        ADDRESS ON FILE
CARLOS AGUINA                           ADDRESS ON FILE
CARLOS CARLOS JR                        ADDRESS ON FILE
CARLOS ERNESTO CONTRERAS                ADDRESS ON FILE
CARLOS F GOMEZ                          ADDRESS ON FILE
CARLOS FERREIRA UPHOLSTERY              259 WOODBINE AVENUE PETERBOROUGH ON K9H 1N8 CANADA
CARLOS J CANCINO ARJONA                 ADDRESS ON FILE
CARLOS JIMENEZ                          ADDRESS ON FILE
CARLOS MIGUEL CANALES                   ADDRESS ON FILE
CARLOS PENA                             ADDRESS ON FILE
CARLOS, DAWN                            ADDRESS ON FILE
CARLS COMMERCIAL REFRIGERATION CO INC   1006 WEST GORE BLVD LAWTON OK 73501
CARLSON JANET                           ADDRESS ON FILE
CARLTON S. SHIER IV                     US ATTORNEYS OFFICE 260 W VINE ST, STE 300 LEXINGTON KY 40507-1612
CARLTON S. SHIER IV                     US ATTORNEYS OFFICE 601 MEYERS BAKER ROAD, STE 200 LONDON KY 40741-3035
CARLTON S. SHIER IV                     US ATTORNEYS OFFICE 207 GRANDVIEW DRIVE, STE 400 FT. MITCHELL KY 41017-2762
CARLYLE ER METRO LLC                    PO BOX 28087 NEW YORK NY 10087-8087



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CARMONA, FREDY                          ADDRESS ON FILE
CARNEGIE EQUIPMENT CO                   5930 SIXTH AVENUE ALTOONA PA 16602
CAROL ALCORN                            DBA CAROLS UPHOLSTERY PO BOX 66 PERU IL 61354
CAROL ORTIZ                             ADDRESS ON FILE
CAROLINA CARBONIC INC                   1712 HOLBROOK STREET GREENSBORO NC 27403
CAROLINA COOLING & PLUMBING INC         1294 SURFSIDE INDUSTRIAL PARK SURFSIDE BEACH SC 29575
CAROLINA EAGLE DIST                     3231 N WESLEYAN BLVD ROCKY MOUNT NC 27804
CAROLINA HOOD AND POWER WASHING INC     PO BOX 902 ABBEVILLE SC 29620-0902
CAROLINA PREMIUM BEVERAGE               4833 BEREWICK TOWN CENTER DR 305 CHARLOTTE NC 28278-6721
CAROLINA SIGNS AND LIGHTING INC         PO BOX 1037 RURAL HALL NC 27045
CAROLINA WASTE & RECYCLING LLC          PO BOX 535233 A WASTE CONNECTIONS COMPANY PITTSBURGH PA 15253-5233
CARPET CARE OF CENTRAL VA INC           DBA STEAMWAY OF CENTRAL VA 304 OAKLEY AVENUE LYNCHBURG VA 24501-5823
CARPET CLEANING BOISE LLC               DBA SAFE N SOFT CARPET CLEANING BOISE ID 121 E 38TH ST STE 107 GARDEN CITY ID
                                        83714-6495
CARPET CLEANING SOLUTIONS LLC           C/O JEREMY K MCFARLAND 1235 BEECHWOOD DR NE LANCASTER OH 43130
CARPET N CLEANING COMPANY               18709 NAPA ST NORTHRIDGE CA 91324-4536
CARPET PROS LLC                         2000 10TH ST WICHITA FALLS TX 76301-4936
CARPET TECH LTD                         6613 19TH STREET LUBBOCK TX 79407-1303
CARPET-PRO OF NEBRASKA INC              DBA CARPET PRO OF OMAHA 13706 S 18TH STREET BELLEVUE NE 68123
CARR ALLISON                            ATTN:TOM THORNTON 100 VESTAVIA PARKWAY BIRMINGHAM AL 35216
CARR ELECTRIC HEATING AND COOLING INC   DBA CARR ELECTRICAL & MECHANICAL 109 MAY DR HARRISON OH 45030-2023
CARR, CATHY                             ADDRESS ON FILE
CARR, ESPERANZA                         ADDRESS ON FILE
CARR, GARY                              ADDRESS ON FILE
CARRCO INTERNATIONAL INC                13191 56TH COURT NORTH SUITE 102 CLEARWATER FL 33760-4030
CARRIE BURR                             ADDRESS ON FILE
CARRIE M. BARNER                        ADDRESS ON FILE
CARRIE RUSS                             ADDRESS ON FILE
CARRINGTON ELECTRIC COMPANY INC         PO BOX 1667 PINE BLUFF AR 71613-1667
CARROLL ELECTRIC                        920 HIGHWAY 62 SPUR BERRYVILLE AR 72616
CARROLL ELECTRIC COOPERATIVE CORP       P.O. BOX 4000 BERRYVILLE AR 72616-4000
CARROLL FOODSERVICE REPAIRS LLC         1633 DIVIDEND LOOP MYRTLE BEACH SC 29577
CARSWELL ENTERPRISES                    DBA FISH WINDOW CLEANING PO BOX 832674 RICHARDSON TX 75083
CARTER ELECTRIC CO INC                  231 JEAN ST DAYTONA BEACH FL 32114-4142
CARTER, JESSICA                         ADDRESS ON FILE
CARTER, LULA                            ADDRESS ON FILE
CARTER, MATT                            ADDRESS ON FILE
CARTER-HOFFMANN CORP                    2403 COLLECTIONS CENTER DR CHICAGO IL 60693
CARTERSVILLE BARTOW COUNTY              CHAMBER OF COMMERCE INC PO BOX 307 CARTERSVILLE GA 30120-0307
CARTERSVILLE POLICE DEPARTMENT          195 CASSVILLE RD CARTERSVILLE GA 30120-2643
CARUSO, CHELSEA                         ADDRESS ON FILE
CARVEL GRADY ODELL                      ADDRESS ON FILE
CARVER & CARVER PLUMBING INC            102 CLARK AVE ROME GA 30165
CARYN DILEO                             ADDRESS ON FILE
CAS USA CORP                            99 MURRAY HILL PARKWAY EAST RUTHERFORD NJ 07073
CASBOHM, ANDREA                         ADDRESS ON FILE
CASCADE NATURAL GAS                     PO BOX 5600 BISMARCK ND 58506-5600
CASCIO, ALLYSON                         ADDRESS ON FILE
CASELLA MAJOR ACCOUNT SERVICES          PO BOX 1372 WILLISTON VT 05495-1372



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CASELLA WASTE SYSTEMS INC               PO BOX 1383 WILLISTON VT 05495-1383
CASEY BYLES                             ADDRESS ON FILE
CASEY JAMES ERBEY                       ADDRESS ON FILE
CASEY LOCK AND KEY INC                  1117 SOUTHEAST 33RD STREET BENTONVILLE AR 72712-3710
CASEYVILLE TOWNSHIP SEWER SYSTEM        P.O. BOX 1900 FAIRVIEW HEIGHTS IL 62208
CASIANO, JESSE                          ADDRESS ON FILE
CASIANO, VALERIE                        ADDRESS ON FILE
CASS COUNTY TREASURER                   PO BOX 2806 FARGO ND 58108-2806
CASS LAW GROUP PC                       20015 S LAGRANGE RD 1098 FRANKFORT IL 60423-3104
CASSCO LAND COMPANY INC                 4200 S HULEN SUITE 614 FORT WORTH TX 76109
CASSIDYS LANDSCAPING INC                3901 AGUA FRIA STREET SANTA FE NM 87507
CASTLE CARPET CARE INC                  PO BOX 5044 TRAVERSE CITY MI 49696
CASTRO CONTRACTING & CONSTRUCTION LLC   1218 NW 31ST ST LAWTON OK 73505-5105
CASTRO CONTRACTING SERVICES LLC         DBA LOUIES PROPERTY MAINTENANCE 2 CONDON AVE UPPR BUFFALO NY 14207-1512
CASTRO, BRENDA                          ADDRESS ON FILE
CATAWBA COUNTY ABC BOARD                1910 FAIRGROVE CHURCH ROAD NEWTON NC 28658
CATAWBA COUNTY TAX COLLECTOR            PO BOX 580071 CHARLOTTE NC 28258-0071
CATAWBA COUNTY TAX COLLECTOR            PO BOX 368 NEWTON NC 28658
CATCH AND RELEASE INC                   DBA IN CALIFORNIA AS VISUAL CATCH 2443 FILLMORE ST 380-1738 SAN FRANCISCO CA
                                        94115-1814
CATER, SCOTT AND SCOTT, REBECCA         ADDRESS ON FILE
CATHERINE BILLARD                       ADDRESS ON FILE
CATHERINE PRIMEAUX                      ADDRESS ON FILE
CATHERINE S GURNEY                      ADDRESS ON FILE
CATHERINE TAYLOR                        ADDRESS ON FILE
CATHERINE TIERNEY                       ADDRESS ON FILE
CATHY BELANGER                          ADDRESS ON FILE
CATIUSKA ELIZABETH MORALEZ              ADDRESS ON FILE
CAUDLES CATCH SEAFOOD LTD               60 OTONABEE DRIVE KITCHENER ON N2C 1L6 CANADA
CAVANAUGH ELECTRICAL CONTRACTING INC    380 NEW COMMERCE BOULEVARD WILKES BARRE PA 18706
CAVE DIVERS SOUTH                       2745 BELMONT BLVD STE 3 SALINA KS 67401-7600
CAVE, CRISTIE                           ADDRESS ON FILE
CB HOME IMPROVEMENTS INC                1534 MARKET ST LINWOOD PA 19061-4243
CB PORTFOLIO LLC                        ATTN GRAHAM CARTER 5515 BALCONES DR AUSTIN TX 78731-4907
CB PORTFOLIO, LLC                       603 W. 9TH ST. AUSTIN TX 78701
CB PORTFOLIO, LLC                       ATTN: GRAHAM CARTER 5515 BALCONES DRIVE AUSTIN TX 78731
CBG DRAFT SERVICES                      DBA CRAFTY BEER GUYS 1720 TOAL ST CHARLOTTE NC 28206-1524
CBL & ASSOCIATES LIMITED PARTNERSHIP    DBA ALAMANCE CROSSING CMBS LLC C/O SPINOSO REAL ESTATE GROUP DLS LLC
                                        CINCINNATI OH 45264-6409
CBL & ASSOCIATES LIMITED PARTNERSHIP    DBA ALAMANCE CROSSING CMBS LLC C/O SPINOSO REAL ESTATE GROUP DLS LLC PO BOX
                                        646409 CINCINNATI OH 45264-6409
CBL & ASSOCIATES MANAGEMENT INC         DBA MGMT GL PARCELS CBL 0574 PO BOX 955607 SAINT LOUIS MO 63195-5607
CBL RM WACO LLC                         PO BOX 955607 CBL 0559 ST LOUIS MO 63195-5607
CBN ENTERPRISES LLC                     DBA CHAD BAKER DRAIN CLEANING PLUMBING & HVAC 7736B CHAMBERS HILL RD
                                        HARRISBURG PA 17111-5431
CC JOYCE INC                            9213 REIGATE COURT LOUISVILLE KY 40222
CCDF INC                                DBA BANNERWORX SIGNS & GRAPHICS 11900 LIVINGSTON RD STE 139 MANASSAS VA
                                        20109-8310
CCH INC                                 PO BOX 4307 CAROL STREAM IL 60197-4307
CD CARPET CLEANING INC                  DBA STANLEY STEEMER 3835 40TH STREET SOUTH SAINT CLOUD MN 56301-8801


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CD HALL WASTE SERVICES                  1330 BELLWOOD RD NORTH CHESTERFIELD VA 23237
CDA ENTERPRISES INC                     DBA CLAYS REFRIGERATION 445 RIVER AVENUE EUGENE OR 97404
CDL ELECTRIC CO INC                     PO BOX 414985 KANSAS CITY MO 64141-4985
CDP CLEANING                            DBA BRAXTON CLEANING SOLUTIONS 7940 TANNERS GATE LN FLORENCE KY 41042-1863
CDW LLC                                 DBA CDW DIRECT LLC CDW DIRECT PO BOX 75723 CHICAGO IL 60675-5723
CECCHINE, REBECCA                       ADDRESS ON FILE
CEDAR RAPIDS MUNICIPAL UTILITIES        ATTN: REMITTANCE PROCESSING P.O. BOX 3255 CEDAR RAPIDS IA 52402
CEDAR VALLEY FLAGPOLE LLC               1208 MAYNARD AVE WATERLOO IA 50701-1842
CEDAR VALLEY LAWN CARE INC              1027 PEOPLES SQUARE WATERLOO IA 50702-5740
CEDARWOOD ENTERPRISES                   19023 BEDFORD DRIVE OREGON CITY OR 97045
CEDRIC MURREL                           ADDRESS ON FILE
CEILING CLEAN INTERNATIONAL INC         903 DINGLEDINE RD SAINT CHARLES MO 63304-6901
CEILING PRO                             PO BOX 1187 CLAYTON CA 94517
CEILING PRO OF DFW LLC                  DBA CEILING PRO TEXAS 1437 COVINGTON DR DESOTO TX 75115-7703
CEILING PRO OF INDIANAPOLIS INC         5060 E 62ND STREET SUITE 132 INDIANAPOLIS IN 46220
CEILING PRO OF MIDWEST IN               1641 EAST 236TH STREET ARCADIA IN 46030
CELCO INC                               DBA ROTO ROOTER PLUMBERS PO BOX 9089 ROCKY MOUNT NC 27804
CELERITY IS INC                         6 LIBERTY SQ PMB 496 BOSTON MA 02109-5800
CEN-CAL MECHANICAL INC                  PO BOX 647 SANTA MARIA CA 93456-0647
CENTENNIAL DISTRIBUTING INC             PO BOX 2928 HAYDEN ID 83835-2928
CENTENNIAL TAP BEER SERVICE INC         33100 E 160TH AVE HUDSON CO 80642-7908
CENTER REGION CODE ADMIN                PO BOX 505575 STATE COLLEGE PA 16801
CENTER REGION CODE ADMIN                131 SOUTH FRASER ST STE 8 STATE COLLEGE PA 16801
CENTERLINE MECHANICAL CONTRACTING INC   1717 COMMERCE DRIVE SOUTH BEND IN 46628
CENTERPOINT ENERGY                      PO BOX 4849 HOUSTON TX 77210-4849
CENTERPOINT ENERGY                      P.O. BOX 4981 HOUSTON TX 77210-4981
CENTERPOINT ENERGY                      PO BOX 1423 HOUSTON TX 77251-1423
CENTERPOINT ENERGY                      PO BOX 2006 HOUSTON TX 77252-2006
CENTERPOINT ENERGY MINNEGASCO           PO BOX 4671 HOUSTON TX 77210-4671
CENTERPOINTCAP I LLC                    LOCKBOX NUMBER 0076002 PO BOX 716002 PHILADELPHIA PA 19171-6002
CENTRAL ARKANSAS WATER                  221 E. CAPITOL AVENUE LITTLE ROCK AR 72202
CENTRAL BEVERAGE GROUP LTD              DBA SUPERIOR BEVERAGE GROUP 8133 HIGHFIELD DR LEWIS CENTER OH 43035-9673
CENTRAL CITY LIQUORS INC                1460 2ND AVENUE DES MOINES IA 50314-3403
CENTRAL CONNECTICUT HEALTH DISTRICT     131 SOUTH FRASER ST STE 8 WHETHERSFIELD CT 06109
CENTRAL CONNECTICUT HEALTH DISTRICT     505 SILAS DEANE HIGHWAY WHETHERSFIELD CT 06109
CENTRAL DISTRICT HEALTH DEPARTMENT      505 SILAS DEANE HIGHWAY GRAND ISLAND NE 68801-6093
CENTRAL DISTRICT HEALTH DEPT            1137 S LOCUST GRAND ISLAND NE 68801-6093
CENTRAL FLORIDA COPY CTR                DBA XEROGRAPHIC DIGITAL PRINTING 1948 33RD STREET ORLANDO FL 32839
CENTRAL FLORIDA GAS                     PO BOX 825925 PHILADELPHIA PA 19182-5925
CENTRAL FLORIDA GAS COMPANY             1015 6TH STREET NW WINTER HAVEN FL 33881
CENTRAL FLORIDA WINDOW CLEANING         DBA FISH WINDOW CLEANING PO BOX 238117 PORT ORANGE FL 32123
CENTRAL HEATING AND PLUMBING CO INC     925 MORAVIA STREET NEW CASTLE PA 16101-3916
CENTRAL HUDSON GAS & ELECTRIC CO        284 SOUTH AVENUE POUGHKEEPSIE NY 12601-4839
CENTRAL JERSEY WASTE / SOLTERRA         432 STOKES AVE EWING NJ 08638
CENTRAL KENTUCKY MICROWAVE SALES & SERV 2350 PALUMBO DR LEXINGTON KY 40509
CENTRAL KEY & SAFE CO INC               305 N MARKET WICHITA KS 67202
CENTRAL LOCK & SAFE COMPANY INC         2000 CENTRAL AVENUE NORTHEAST MINNEAPOLIS MN 55418
CENTRAL MCGOWAN INC                     DBA JASONS BEVERAGE CARBONATION COMPANY PO BOX 1691 MINNEAPOLIS MN 55480-1691
CENTRAL MICHIGAN DIST HLTH DEPARTMENT   1137 S LOCUST MT PLEASANT MI 48858



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CENTRAL MICHIGAN DIST HLTH DEPT          1222 NORTH DRIVE MT PLEASANT MI 48858
CENTRAL MONITORING SERVICES INC          DBA KNIGHT SECURITY INC PO BOX 1162 RAPID CITY SD 57709
CENTRAL OHIO PLUMBING HEATING & COOLING 900 E MAIN ST CRESTLINE OH 44827-1201
CENTRAL PLUMBING & MECH INC              PO BOX 941 TIFTON GA 31793
CENTRAL RACINE COUNTY                    HEALTH DEPARTMENT 10005 NORTHWESTERN AVE STE A FRANKSVILLE WI 53126
CENTRAL RACINE COUNTY                    1222 NORTH DRIVE FRANKSVILLE WI 53126
CENTRAL SHENANDOAH HEALTH DISTRICT       ROCKINGHAM-HARRISONBURG HEALTH DEPT POB NO 26 HARRISONBURG VA 22803
CENTRAL STATES SERVICES INC              DBA CENTRAL STATES GASKET PO BOX 1476 LAKE OZARK MO 65049
CENTRAL TEXAS REFUSE                     P.O. BOX 18685 AUSTIN TX 78760-8685
CENTRAL WINDOW CLEANING INC              124 FRONT STREET ROOM 201 MASSAPEQUA PARK NY 11762-2738
CENTRE PUBLICATIONS INC                  PO BOX 345 CENTRE HALL PA 16828
CENTURY BUILDERS HARDWARE LIMITED        2493 DUFFERIN ST TORONTO ON M6B 3P9 CANADA
CENTURY ELECTRIC INC                     915 S 48TH ST GRAND FORKS ND 58201
CENTURY PLAZA COMMERCIAL LLC             ATTN: STEFANIE RENWICK C/O CENTURY PLAZA CORPORATION 1800 WILLOW PASS COURT
                                         CONCORD CA 94520
CENTURY PLAZA COMMERCIAL LLC             C/O SIERRA PACIFIC PROPERTIES INC 1800 WILLOW PASS COURT CONCORD CA 94520-1012
CENTURY ROOTER AND JETTING SERVICE INC   DBA CENTURY ROOTER SERVICE AND PLUMBING 1609 S CALIFORNIA AVE MONROVIA CA
                                         91016-4621
CENTURYLINK SUMMARY                      PO BOX 52187 PHOENIX AZ 85072-2187
CERAMI LAWNS LLC                         1790 LAKEWOOD ROAD TOMS RIVER NJ 08755
CEREAL CITY WINDOW CLEANING SERVICE INC 89 BRADFORD STREET BATTLE CREEK MI 49014
CERPANGHA THE FIRST COMMERCIAL           GROUP INC DBA CERPANGHA COMMERCIAL GROUP 600 EAST BROAD STREET TEXARKANA AR
EQUIPMENT                                71854
CERRUTI LANDSCAPING INC                  PO BOX 51326 PHILADELPHIA PA 19115
CERTASITE LLC                            PO BOX 772443 DETROIT MI 48277-2443
CERTIFIED CARPET                         UPHOLSTREY CLEANERS 2538 HENDERSON HIGHWAY WINNIPEG MB R2E 0C3 CANADA
CERTIFIED PRECISION CARPET CLEANING LLC 1562 WOODLAND ST NE WARREN OH 44483-5302
CERTIFIED RECYCLING LLC                  14305 EWING AVE BURNSVILLE MN 55306-5299
CERVEZA QUALITY SERVICE                  1151 ZIMMERMAN CRES MILTON ON L9T 5T2 CANADA
CESAR A CORRALES                         ADDRESS ON FILE
CESAR ALVAREZ                            ADDRESS ON FILE
CESAR JESUS PEREZ                        ADDRESS ON FILE
CESAR NOREIGA                            ADDRESS ON FILE
CFIA / ACIA                              P.O. BOX 6199 1081 MAIN STREET 4TH FLOOR MONCTON NB E1C 8R2 CANADA
CFS A MERIDIAN COMPANY                   PO BOX 580203 CHARLOTTE NC 28258-0203
CG WATERTOWN LLC                         C/O CHARLES GOLD PO BOX 911 BRIDGEHAMPTON NY 11932-0911
CG WATERTOWN LLC AND PW WATERTOWN LLC    206 MAPLE LANE BRIDGEHAMPTON NY 11932
CH GRESHAM LLC                           C/O THE PENNBROOK COMPANY 250 NW FRANKLIN AVENUE SUITE 204 BEND OR 97701
CHAD R KREGER                            ADDRESS ON FILE
CHAD WRIGHT                              ADDRESS ON FILE
CHAHINE DECORATING LTD                   122 EDENWOOD PLACE WINNIPEG MB R3X 0E5 CANADA
CHAIN BRANDS INC                         129 S LA JOLLA AVE LOS ANGELES CA 90048-3529
CHAMBER OF COMMERCE                      CITRUS HEIGHTS PO BOX 191 CITRUS HEIGHTS CA 95611-0191
CHAMBER OF COMMERCE OF THE PALM BEACHES 401 N FLAGLER DR WEST PALM BEACH FL 33401-4305
CHAMBERS, CHARAE                         ADDRESS ON FILE
CHAMBERSBURG BOROUGH TAX COLLECTOR       BRENDA HILL 401 LINCOLN WAY EAST CHAMBERSBURG PA 17201
CHAMNESS CLEANING AND RESTORATION        TRI STATE CLEANING AND RESTORATION 711 S H ST RICHMOND IN 47374-6266
CHAMPAIGN COUNTY COLLECTOR               PO BOX 4306 SPRINGFIELD IL 62708-4306
CHAMPAIGN HEATING AND AIR INC            PO BOX 694 CHAMPAIGN IL 61824-0694
CHAMPION INDUSTRIAL CONTRS INC           DBA CHAMPION MECHANICAL SERVICES PO BOX 4399 MODESTO CA 95352


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CHAMPION RESIDENTIAL SERVICES LLC       DBA MORRIS JENKINS PO BOX 410167 CHARLOTTE NC 28241-0167
CHAN, DEAN                              ADDRESS ON FILE
CHAN, GIANNA                            ADDRESS ON FILE
CHANDLER, KEVIN                         ADDRESS ON FILE
CHANDLERS PARTS & SERVICE INC           11656 DARRYL DRIVE BATON ROUGE LA 70815-2190
CHANGING SEASONS LAWN AND LANDSCAPE INC 8078 KINGS MILL RD BLOOMINGTON IL 61705-5126
CHANNEL ISLANDS MARKETPLACE LP          C/O SIERRY PROPERTY MANAGEMENT 5290 OVERPASS ROAD BLDG C SANTA BARBARA CA
                                        93111
CHAPMAN PLUMBING CO INC 2               511 51ST AVENUE MERIDIAN MS 39307
CHAPMAN, LESLIE                         ADDRESS ON FILE
CHAPMANS FULL SERVICE MAINTENANCE       PO BOX 10639 KILLEEN TX 76547-0639
CHAPMANS MECHANICAL SYSTEMS INC         PO BOX 1008 LASALLE IL 61301-3008
CHAPOS UPHOLSTERY LLC                   1421 ELLIS AVE FORT WORTH TX 76164-9106
CHARANIA, SUKOON                        ADDRESS ON FILE
CHARGEPOINT INC                         DEPT LA 24104 PASADENA CA 91185-4104
CHARLA RIDDLE                           ADDRESS ON FILE
CHARLES A FASONE                        ADDRESS ON FILE
CHARLES A GILBERT                       ADDRESS ON FILE
CHARLES BARRY DEWITT JR                 ADDRESS ON FILE
CHARLES CO BOARD OF LICENSE             PO BOX 777 LA PLATA MD 20646
COMMISIONERS
CHARLES COUNTY BOARD OF HEALTH          HEALTH DEPARTMENT 10005 NORTHWESTERN AVE STE A LA PLATA MD 20646
CHARLES COUNTY BOARD OF HEALTH          PO BOX 777 LA PLATA MD 20646
CHARLES COUNTY BOARD OF LICENSE COMMISH 00220469 200 BALTIMORE STREET LA PLATA MD 20646
CHARLES COUNTY CIRCUIT COURT            00220469 LA PLATA MD 20646
CHARLES COUNTY CIRCUIT COURT            PO BOX 970 LA PLATA MD 20646
CHARLES COUNTY COMMISSIONERS            PO BOX 970 LA PLATA MD 20646
CHARLES COUNTY COMMISSIONERS            CHARLES COUNTY GOVERNMENT DEPT OF FISCAL SERVICES PO BOX 1630 LA PLATA MD
                                        20646
CHARLES COUNTY GOVERNMENT               P.O. BOX 1630 LA PLATA MD 20646-1630
CHARLES COUNTY TREASURER                PO BOX 2607 LA PLATA MD 20646
CHARLES D RILEY INC                     DBA RILEY INC PLUMBING & HEATING CONTRACTOR 2701 WASHINGTON AVE ALTOONA PA
                                        16601-2641
CHARLES DANNY POFF                      ADDRESS ON FILE
CHARLES E SHINEFLEW                     DBA CHUCKS NEIGHBORHOOD LOCK SERVICE PO BOX 8333 SPOKANE WA 99203-0333
CHARLES EUGENE DRUDE                    ADDRESS ON FILE
CHARLES FITE                            ADDRESS ON FILE
CHARLES GRELLNER                        ADDRESS ON FILE
CHARLES J ATKINSON                      ADDRESS ON FILE
CHARLES M WYSOCKI                       ADDRESS ON FILE
CHARLES MAUSSER                         ADDRESS ON FILE
CHARLES WILLIAMS.                       ADDRESS ON FILE
CHARLESTON BACKFLOW TESTING AND SERVICE 554 HERON POINTE BLVD MT PLEASANT SC 29464-2637
CHARLESTON COUNTY                       BUSINESS LICENSE DEPARTMENT 2 COURTHOUSE SQUARE RM 105 CHARLESTON SC
                                        29401-2260
CHARLESTON COUNTY REVENUE COLLECTIONS   PO BOX 603533 CHARLOTTE NC 28260-3533
CHARLESTON COUNTY TREASURER             PO BOX 603517 CHARLOTTE NC 28260-3517
CHARLESTON ELECTRIC LLC                 412 E 5TH NORTH ST SUMMERVILLE SC 29483-6881
CHARLESTON LOCKSMITH LLC                1730 SAVANNAH HWY CHARLESTON SC 29407-6255
CHARLESTON SANITARY & CITY OF           PO BOX 7949 CHARLESTON WV 25356-7949


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CHARLESTON                             PO BOX 7949 CHARLESTON WV 25356-7949
CHARLESTON WATER SYSTEM                P.O. BOX 568 CHARLESTON SC 29402-0568
CHARLIE LEMLEY                         ADDRESS ON FILE
CHARLIE PEPPER INC                     DBA SALT WORKS PO BOX 22273 MESA AZ 85277-2273
CHARLIE THE FISH LADY                  3316 DOVERTHORN RD SE CALGARY ON T2B 2H4 CANADA
CHARLIES DAY & NITE INC                706 N EL DORADO ST STOCKTON CA 95202-1602
CHARLIES DRAIN SERVICE                 4836 EDSON RD KENT OH 44240-7043
CHARLOTTE BROWN                        ADDRESS ON FILE
CHARLOTTE COUNTY SHERIFFS OFFICE       CHARLES COUNTY GOVERNMENT DEPARTMENT OF FISCAL SERVICES PUNTA GORDA FL 33982
CHARLOTTE COUNTY SHERIFFS OFFICE       7474 UTILITIES ROAD PUNTA GORDA FL 33982
CHARLOTTE COUNTY TAX COLLECTOR         18500 MURDOCK CIRCLE PORT CHARLOTTE FL 33948
CHARLOTTE COUNTY UTILITIES             P.O. BOX 516000 PUNTA GORDA FL 33951-6000
CHARLOTTE COUNTY ZONING DEPARTMENT     18500 MURDOCK CIRCLE PORT CHARLOTTE FL 33948-1094
CHAROUHIS AND WRIGHT                   ATTN:NICOLE WRIGHT CHAROUHIS & WRIGHT 1401 N FEDERAL HWY LAKE WORTH FL 33460
CHAROUHIS AND WRIGHT                   1401 NORTH FEDERAL HIGHWAY LAKE WORTH FL 33460
CHARTER COMMUNICATIONS                 BOX 223085 PITTSBURGH PA 15251-2085
CHARTER COMMUNICATIONS                 PO BOX 94188 PALATINE IL 60094
CHARTER COMMUNICATIONS                 PO BOX 6030 CAROL STREAM IL 60197-6030
CHARTER COMMUNICATIONS                 PO BOX 7186 PASADENA CA 91109
CHARTER COMMUNICATIONS                 PO BOX 60074 CITY OF INDUSTRY CA 91716-0074
CHARTER COMMUNICATIONS HOLDINGS LLC    DBA SPECTRUM BUSINESS PO BOX 60074 CITY OF INDUSTRY CA 91716-0074
CHARTER TOWNSHIP OF BANGOR             180 STATE PARK DRIVE BAY CITY MI 48706-1899
CHARTER TOWNSHIP OF FT GRATIOT         7474 UTILITIES ROAD FT GRATIOT MI 48059
CHARTER TOWNSHIP OF FT GRATIOT         3720 KEEWAHDIN RD FT GRATIOT MI 48059
CHARTER TOWNSHIP OF MADISON, MI        4008 SOUTH ADRIAN HIGHWAY ADRIAN MI 49221
CHARTER TOWNSHIP OF MARQUETTE, MI      1000 COMMERCE DR MARQUETTE MI 49855-8694
CHARTER TOWNSHIP OF MT MORRIS          3720 KEEWAHDIN RD FLINT MI 48504-1313
CHARTER TOWNSHIP OF MT MORRIS          C/O MT MORRIS TOWNSHIP FIRE DEPARTMENT 2 4136 N JENNINGS RD FLINT MI
                                       48504-1313
CHARTER TOWNSHIP OF UNION, MI          2010 SOUTH LINCOLN ROAD MOUNT PLEASANT MI 48858
CHASE PALMER                           ADDRESS ON FILE
CHASES CARPET AND BLINDS INC           4740 E 2ND ST STE 25 BENICIA CA 94510-1024
CHATHAM COUNTY TAX COMMISSIONER        PO BOX 117037 ATLANTA GA 30368-7037
CHATHAM CTY DEPARTMENT OF PUB HEALTH   PO BOX 14257 ATTN S BROWN SAVANNAH GA 31416-1257
CHATHAM CTY DEPARTMENT OF PUB HEALTH   C/O MT MORRIS TOWNSHIP FIRE DEPARTMENT 2 4136 N JENNINGS RD SAVANNAH GA
                                       31416-1257
CHATTANOOGA CITY TAX COLLECTOR         101 E 11TH ST RM 100 CHATTANOOGA TN 37402
CHATTANOOGA CITY TREASURER             PO BOX 191 CHATTANOOGA TN 37401-0191
CHATTANOOGA GAS COMPANY                PO BOX 5408 CAROL STREAM IL 60197-5408
CHAVES COUNTY TREASURER                PO BOX 1772 ROSWELL NM 88202
CHC MECHANICAL CONTRACTORS             347 EAST STEVENS STREET COOKEVILLE TN 38501-3541
CHECKSAMMY                             7801 ALMA DR STE 105-281 PLANO TX 75025
CHEF DUDS CORP                         DBA CHEF DUDS/ECHEF 300 SHAWNEE NORTH DR STE 300 SUWANEE GA 30024
CHEF TECH SERVICE LLC                  PO BOX 632 BONITA SPRINGS FL 34133-0632
CHEF WORKS                             PO BOX 9285 STN A TORONTO ON M5W 3M1 CANADA
CHEF WORKS INC                         12325 KERRAN STREET POWAY CA 92064
CHEFS ELECTRICAL SERVICE LLC           901 W SIMMONS STREET TUCSON AZ 85705
CHELSEA CASEY                          ADDRESS ON FILE
CHELSEY MCINTOSH                       ADDRESS ON FILE



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CHEMUNG COUNTY HEALTH DEPARTMENT       PO BOX 588-HERITAGE PK JOHN ST ELMIRA NY 14902
CHEMUNG COUNTY HEALTH DEPARTMENT       PO BOX 14257 ATTN S BROWN ELMIRA NY 14902
CHEMUNG COUNTY SEWER DISTRICTS         600 MILTON STREET ELMIRA NY 14904
CHENEY DOOR CO INC                     DBA GRAF WICHITA AUDIO VIDEO 136 LULU AVE WICHITA KS 67211-1709
CHERI L HEFFERNAN                      ADDRESS ON FILE
CHERNOFF SALES INC                     6280 NW 27TH WAY FORT LAUDERDALE FL 33309-1729
CHEROKEE COUNTY HEALTH DEPARTMENT      130 E MAIN STREET CANTON GA 30114
CHEROKEE COUNTY HEALTH DEPARTMENT      PO BOX 588-HERITAGE PK JOHN ST CANTON GA 30114
CHEROKEE COUNTY TAX COMMISSIONER       2780 MARIETTA HWY CANTON GA 30114-8208
CHEROKEE DISTRIBUTING COMPANY INC      200 MILLER MAIN CIRCLE KNOXVILLE TN 37919-6017
CHERRY HILL TOWNSHIP                   130 E MAIN STREET CHERRY HILL NJ 08002
CHERRY HILL TOWNSHIP                   ATTN COMMUNITY DEVELOPMENT 820 MERCER STREET CHERRY HILL NJ 08002
CHERRY, AMY                            ADDRESS ON FILE
CHERYL FERRIS                          ADDRESS ON FILE
CHERYL ROEPER                          ADDRESS ON FILE
CHERYL SCAPPATICCI                     ADDRESS ON FILE
CHERYL SCHONDER                        ADDRESS ON FILE
CHERYL SUTPHIN                         ADDRESS ON FILE
CHESAND INCORPORATED                   DBA ROTO-ROOTER PO BOX 1430 SOUTH GLENS FALLS NY 12803
CHESAPEAKE CITY TREASURER              PO BOX 1606 CHESAPEAKE VA 23327-1606
CHESAPEAKE HEALTH DEPARTMENT           ATTN COMMUNITY DEVELOPMENT 820 MERCER STREET CHESAPEAKE VA 23320
CHESAPEAKE HEALTH DEPARTMENT           748 NORTH BATTLEFIELD BLVD CHESAPEAKE VA 23320
CHESAPEAKE TREASURER                   PO BOX 16495 CHESAPEAKE VA 23328-6495
CHESAPEAKE TREASURER                   C/O BARBARA O CARRAWAY CITY TREASURER PO BOX 16495 CHESAPEAKE VA 23328-6495
CHESAPEAKE UTILITIES                   PO BOX 826531 PHILADELPHIA PA 19182-6531
CHESSHIR GLASS LLC                     9250 REFUGEE RD SW PATASKALA OH 43062-9014
CHESTERFIELD CO HEALTH DEPARTMENT      748 NORTH BATTLEFIELD BLVD CHESTERFIELD VA 23832
CHESTERFIELD CO HEALTH DEPT            PO BOX 100 CHESTERFIELD VA 23832
CHESTERFIELD COUNTY TREASURER          PO BOX 70 CHESTERFIELD VA 23832
CHEUNG K TOM LEUNG                     ADDRESS ON FILE
CHEUNG K. TOM LEUNG &                  ADDRESS ON FILE
CHEYENNE BEVERAGE INC                  DBA BISON BEVERAGE 2208 E ALLISON RD CHEYENNE WY 82007-3688
CHEYENNE LARAMIE CO                    HEALTH DEPARTMENT PO BOX 100 CHEYENNE WY 82007
CHEYENNE LARAMIE COUNTY HEALTH DEPT    DIVISION OF ENVIRONMENTAL HEALTH 100 CENTRAL AVENUE CHEYENNE WY 82007
CHICAGO BACKFLOW INC                   12607 S LARAMIE AVE ALSIP IL 60803
CHICAGO BEVERAGE SYSTEMS LLC           135 S LA SALLE ST DEPT 6230 CHICAGO IL 60674-6230
CHICHILA, KIMBERLY                     ADDRESS ON FILE
CHICO ELECTRIC                         36 W EATON ROAD CHICO CA 95973
CHICO PRODUCE INC                      DBA PRO PACIFIC FRESH PO BOX 1069 DURHAM CA 95938-1069
CHIEF FIRE PREVENTION & MECHANICAL CORP PO BOX 296 BRONXVILLE NY 10708-0296
CHIERICHETTI PLUMBING LLC              DBA MR ROOTER PLUMBING 2062 NW VINE ST GRANTS PASS OR 97526-8404
CHILDRESS, TANISHA                     ADDRESS ON FILE
CHILDS, ANDREW                         ADDRESS ON FILE
CHILL SERVICES LLC                     262 COON HUNTERS LN ELIZABETHTOWN KY 42701-9763
CHILLICOTHE MALL INC                   C/O J J GUMBERG CO 1051 BRINTON ROAD PITTSBURGH PA 15221-4571
CHILLICOTHE ROSS CHAMBER OF COMMERCE   45 EAST MAIN STREET CHILLICOTHE OH 45601-2504
CHILLICOTHE UTILITIES DEPT, OH         PO BOX 630 CHILLICOTHE OH 45601-3243
CHINAPPI, ANTHONY                      ADDRESS ON FILE
CHLOE ALEXE CHOLETTE                   ADDRESS ON FILE



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CHNI LLC                                 DBA THE TRIBUNE DEMOCRAT & JOHNSTOWN MAGAZINE PO BOX 340 JOHNSTOWN PA
                                         15907-0340
CHOATES AIR CONDITIONING HEATING &       PLUMBING INC 820 HERBERT RD STE 104 CORDOVA TN 38018-2278
CHOICE SIGNS & SERVICES LLC              YESCO 1740 E NORTH ST RAPID CITY SD 57701-9586
CHONG WU, LIEN                           ADDRESS ON FILE
CHR ENT INC                              1360 HIGHWAY 9 S PONTOTOC MS 38863-9415
CHRIS & BRIAN ENTERPRISES INC            DBA BCS LOCKSMITHS 740 S EMMERTSEN ROAD RACINE WI 53406
CHRIS ADAY                               DBA MR CUTTER LAWN CARE PO BOX 722556 NORMAN OK 73070
CHRIS DOWNING 117 SERVICE LLC            4778 COUNTY ROAD 110 CARTHAGE MO 64836-3494
CHRIS JULIANO PLUMBING & HEATING LTD     777 CENTRE ROAD STAATSBURG NY 12580
CHRIS MACHEN                             ADDRESS ON FILE
CHRISMER, TORRIE                         ADDRESS ON FILE
CHRISTEL KELLEY                          ADDRESS ON FILE
CHRISTENSON ELECTRIC INC                 17201 NE SACRAMENTO STREET PORTLAND OR 97230-5941
CHRISTIAN AYALA                          ADDRESS ON FILE
CHRISTIANSBURG TOWN TAX COLLECTOR        100 E MAIN ST CHRISTIANSBURG VA 24073-3029
CHRISTIFER LEE CARLSON                   ADDRESS ON FILE
CHRISTINA KATHRYN FOERST                 ADDRESS ON FILE
CHRISTOPHER A HAWKINS                    ADDRESS ON FILE
CHRISTOPHER ALEX GARCIA                  ADDRESS ON FILE
CHRISTOPHER CHARLES BELTZNER             ADDRESS ON FILE
CHRISTOPHER DAVIS                        ADDRESS ON FILE
CHRISTOPHER DUNKER                       ADDRESS ON FILE
CHRISTOPHER GALLAGHER                    ADDRESS ON FILE
CHRISTOPHER J CASTOE                     ADDRESS ON FILE
CHRISTOPHER J DAWSON                     ADDRESS ON FILE
CHRISTOPHER J. WILSON                    UNITED STATES ATTORNEYS OFFICE 520 DENISON AVE MUSKOGEE OK 74401
CHRISTOPHER JAMES JUSTICE                ADDRESS ON FILE
CHRISTOPHER JASON SCHMIDT                ADDRESS ON FILE
CHRISTOPHER JOHNSON                      ADDRESS ON FILE
CHRISTOPHER KAY INC                      DBA STRAIGHT STRIPE 11003 SOUTH BEAR CREEK ROAD PANAMA CITY FL 32404-5432
CHRISTOPHER L JOHNSON                    ADDRESS ON FILE
CHRISTOPHER L KIRKHAM                    ADDRESS ON FILE
CHRISTOPHER L MCQUALITY                  ADDRESS ON FILE
CHRISTOPHER L SMITH                      ADDRESS ON FILE
CHRISTOPHER L WILLIAMS                   ADDRESS ON FILE
CHRISTOPHER M CHISM                      ADDRESS ON FILE
CHRISTOPHER M SEREDAY                    ADDRESS ON FILE
CHRISTOPHER PAUL SALAZAR                 ADDRESS ON FILE
CHRISTOPHER R MARTENS                    ADDRESS ON FILE
CHRISTOPHER R. KAVANAUGH                 US ATTORNEYS OFFICE US COURTHOUSE & FEDERAL BLDG 255 W MAIN ST, ROOM 130
                                         CHARLOTTESVILLE VA 22902
CHRISTOPHER R. KAVANAUGH                 US ATTORNEYS OFFICE PO BOX 1709 ROANOKE VA 24008-1709
CHRISTOPHER R. KAVANAUGH                 US ATTORNEYS OFFICE 180 W MAIN ST ABINGDON VA 24210
CHRISTOPHER RITONDARO                    ADDRESS ON FILE
CHRISTOPHER W KLAAS                      ADDRESS ON FILE
CHRISTY UTLEY                            ADDRESS ON FILE
CHRISTY WELCH                            ADDRESS ON FILE
CHUCKS SEPTIC TANK SEWER AND DRAIN INC   2136 HARDY PARKWAY STREET GROVE CITY OH 43123-1240



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CHULA VISTA CHAMBER OF COMMERCE         233 FOURTH AVE CHULA VISTA CA 91910-2686
CHUNG PAK                               ADDRESS ON FILE
CHURCHILL LINEN SERVICE INC             DBA WILDWOOD LINEN SERVICE 6112 NEW JERSEY AVE PO BOX 829 WILDWOOD NJ
                                        08260-1350
CI SERVICES INC                         23052 ALICIA PKWY H374 MISSION VIEJO CA 92692-1643
CIACCIO ROOFING CORPORATION             4420 IZARD STREET OMAHA NE 68131-1018
CIC PLUS INC                            7321 RIDGEWAY AVE SKOKIE IL 60076-4026
CICOGNA ELECTRIC & SIGN CO INC          PO BOX 234 ASHTABULA OH 44005-0234
CID FLORAL                              ADDRESS ON FILE
CIFELLI, DAVE                           ADDRESS ON FILE
CIFELLI, DAVID                          ADDRESS ON FILE
CII ENGINEERED SYSTEMS INC              DBA CII SERVICE 6767 FOREST HILL AVENUE STE 100 RICHMOND VA 23225
CII SERVICE OF NORTH CAROLINA INC       DBA CII SERVICE OF GREENSBORO INC 6767 FOREST HILL AVE STE 100 RICHMOND VA
                                        23225-1850
CII SERVICE OF SOUTHWEST VIRGINIA INC   DBA CII SERVICE OF ROANOKE INC 6767 FOREST HILL AVE STE 100 RICHMOND VA
                                        23225-1850
CII SERVICES INC                        6767 FOREST HILL AVE STE 100 RICHMOND VA 23225-1850
CINCINNATI AQUARIUM DESIGN &            6475 EAST GALBRAITH ROAD CINCINNATI OH 45236
MAINTENANCE
CINCINNATI HOLDING COMPANY LLC          C/O WORLD PROPERTIES 51 ATLANTIC AVENUE SUITE 207 FLORAL PARK NY 11001
CINDY STROUGH                           ADDRESS ON FILE
CINDY WOLFE                             ADDRESS ON FILE
CINTAS CANADA LIMITED                   255 HARRY WALKER PKWY SOUTH NEW MARKET ON L3Y 8Z5 CANADA
CINTAS CORPORATION NO 2                 DBA CINTAS LOCATION 346 PO BOX 630910 CINCINNATI OH 45263-0910
CINTAS CORPORATION NO 3                 DBA CINTAS 463 PO BOX 650838 DALLAS TX 75265-0838
CIPRIANI AND WERNER                     ATTN:GREG DICARLO 155 GAITHER ROAD, SUITE B MT LAUREL NJ 08054
CIPRIANI AND WERNER                     6411 IVY LANE SUITE 600 GREENBELT MD 20770
CIRCLE T STEEL CO                       PO BOX 208 BRIGHTON IL 62012-0208
CITICORP USA, INC                       C/O CITYCORP NORTH AMERICA INC ATTN: DONALD BROWNE, JR. ONE SANSOME, SUITE
                                        2800 SAN FRANCISCO CA 94104
CITIPARK INC                            595 BAY STREET PO BOX 88 TORONTO ON M5G 2C2 CANADA
CITIZENS ENERGY GROUP                   PO BOX 7056 INDIANAPOLIS IN 46207-7056
CITIZENS GAS FUEL CO MI                 P.O. BOX 40 MCN ENERGY GROUP ADRIAN MI 49221-0040
CITRON HYGIENE US CORP                  13 LINNELL CIR BILLERICA MA 01821-3902
CITRUS HEIGHTS WATER DISTRICT           DEPT LA 23168 PASADENA CA 91185-3168
CITY AND COUNTY OF DENVER               DEPARTMENT OF REVENUE PO BOX 17430 DENVER CO 80217-0430
CITY AND COUNTY OF DENVER - TREASURY    PO BOX 17420 TREASURY DIVISION DENVER CO 80217-0420
DIV
CITY AND COUNTY OF HONOLULU             DIVISION OF ENVIRONMENTAL HEALTH 100 CENTRAL AVENUE HONOLULU HI 96813-5249
CITY AND COUNTY OF HONOLULU             711 KAPIOLANI BLVD SUITE 600 HONOLULU HI 96813-5249
CITY AND PARISH TREASURER               PO BOX 1471 BATON ROUGE LA 70821
CITY BEVERAGES LLC                      10928 FLORIDA CROWN DRIVE ORLANDO FL 32824
CITY CLERK                              PO BOX 1318 SAN BERNARDINO CA 92402
CITY CLERK                              711 KAPIOLANI BLVD SUITE 600 SAN BERNARDINO CA 92402
CITY CLERK AND TREASURER                PO BOX 1318 ANDERSON SC 29621
CITY CLERK AND TREASURER                CITY OF ANDERSON 908 N MAIN ST ANDERSON SC 29621
CITY CLERK OF OKLAHOMA CITY             200 N WALKER OKLAHOMA CITY OK 73102
CITY CLERK-TREASURER                    MUNICIPAL BLDG PO BOX 308 HUNTSVILLE AL 35804-0308
CITY CLERKS OFFICE                      CITY OF ANDERSON 908 N MAIN ST GREELEY CO 80631
CITY CLERKS OFFICE                      CITY OF GREELEY 1000 10TH ST GREELEY CO 80631


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CITY COLLECTOR                         CITY OF GREELEY 1000 10TH ST PINE BLUFF AR 71601
CITY COLLECTOR                         200 EAST 8TH AVENUE PINE BLUFF AR 71601
CITY DISTRICT INC                      100 E PINE ST STE 110 ORLANDO FL 32801-2759
CITY FINANCE DEPARTMENT                THIRD FLOOR CITY HALL 224 W 9TH STREET SIOUX FALLS SD 57104-6407
CITY FINANCE DEPARTMENT                PO BOX 32247 SIOUX FALLS SD 57104-6407
CITY HALL - FINANCE CUSTOMER BILLING   228 SOUTH MASSACHUSETTS AVE FINANCE CUSTOMER BILLING LAKELAND FL 33801
CITY NATIONAL BANK OF FLORIDA          ATTN: JACKSON YOUNG 390 N ORANGE AVENUE SUITE 100 ORLANDO FL 32801
CITY NEON INC                          PO BOX 40 MORGANTOWN WV 26507
CITY OF ABILENE                        THIRD FLOOR CITY HALL 224 W 9TH STREET IRVING TX 75014-1596
CITY OF ABILENE                        ALARM PROGRAM PO BOX 141596 IRVING TX 75014-1596
CITY OF ABILENE, TX                    4595 S 1ST ST ABILENE TX 79604-3479
CITY OF ADRIAN                         ALARM PROGRAM PO BOX 141596 ADRIAN MI 49221
CITY OF ADRIAN                         COMMUNITY DEVELOPMENT DEPARTMENT 135 EAST MAUMEE STREET ADRIAN MI 49221
CITY OF ADRIAN, MI                     135 E MAUMEE ST UTILITIES DEPARTMENT TREASURERS OFFICE ADRIAN MI 49221
CITY OF AIKEN                          PO BOX 2458 AIKEN SC 29802
CITY OF AIKEN                          PO BOX 1177 AIKEN SC 29802
CITY OF AIKEN, SC                      P.O. BOX 1608 AIKEN SC 29802-1608
CITY OF AKRON                          INCOME TAX DIVISION 1 CASCADE PLZ STE 100 AKRON OH 44308-1161
CITY OF AKRON                          COMMUNITY DEVELOPMENT DEPARTMENT 135 EAST MAUMEE STREET AKRON OH 44308-1161
CITY OF AKRON-UTILITIES BUSINESS OFFICE PO BOX 3674 AKRON OH 44309-3674
CITY OF ALBANY                         INCOME TAX DIVISION 1 CASCADE PLZ STE 100 ALBANY GA 31702-0447
CITY OF ALBANY                         TREASURERS OFFICE PO BOX 447 ALBANY GA 31702-0447
CITY OF ALBANY - ALBANY                PO BOX 447 ALBANY GA 31703-4801
CITY OF ALBANY - ALBANY                TREASURERS OFFICE PO BOX 447 ALBANY GA 31703-4801
CITY OF ALBUQUERQUE                    PO BOX 447 ALBUQUERQUE NM 87125-5700
CITY OF ALBUQUERQUE                    PO BOX 25700 ALBUQUERQUE NM 87125-5700
CITY OF ALEXANDRIA                     FINANCE BILLING OPERATIONS PO BOX 178 ALEXANDRIA VA 22313-1500
CITY OF ALEXANDRIA                     ATTN: REVENUE ADMINISTRATION DIVISION PO BOX 34842 ALEXANDRA VA 22334-0842
CITY OF ALTAMONTE SPRINGS              225 NEWBURYPORT AVENUE ALTAMONTE SPRINGS FL 32701-3697
CITY OF ALTAMONTE SPRINGS, FL          225 NEWBURYPORT AVE UTILITY DEPARTMENT ALTAMONTE SPRINGS FL 32701
CITY OF ALTAMONTE SPRINGS.             PO BOX 839950 ALTAMONTE SPRINGS FL 32701
CITY OF ALTAMONTE SPRINGS.             C/O ALTAMONTE SPRING POLICE DEPARTMENT ATTN RECORDS DIVISION 225 NEWBURYPORT
                                       AVE ALTAMONTE SPRINGS FL 32701
CITY OF ALTON                          101 E THIRD ST SUITE 102 ALTON IL 62002
CITY OF ALTON                          CITY TREASURER P.O. BOX 188 ALTON IL 62002-6239
CITY OF AMARILLO                       PO BOX 25700 ORLANDO FL 32809
CITY OF AMARILLO                       DO NOT MAIL ORLANDO FL 32809
CITY OF AMARILLO - UTILITY BILLING DEPT P.O. BOX 100 AMARILLO TX 79105-0100
CITY OF AMES                           515 CLARK AVENUE BOX 811 AMES IA 50010-0811
CITY OF AMES HEALTH DEPARTMENT         PO BOX 811 AMES IA 50010
CITY OF ANDERSON                       BUSINESS LICENSE / HOSPITALITY 601 SOUTH MAIN STREET ANDERSON SC 29624
CITY OF ARLINGTON                      515 CLARK AVENUE BOX 811 ARLINGTON TX 76004-3231
CITY OF ARLINGTON                      MAIL STOP 07-0100 PO BOX 90231 ARLINGTON TX 76004-3231
CITY OF ASHEVILLE                      MAIL STOP 07-0100 PO BOX 90231 ASHEVILLE NC 28802
CITY OF ASHEVILLE                      PO BOX 7148 ASHEVILLE NC 28802
CITY OF ASHEVILLE, NC                  PO BOX 733 REGIONAL WATER AUTHORITY ASHEVILLE NC 28802
CITY OF ASHTABULA, OH                  4717 MAIN AVE STE 2 ASHTABULA OH 44004-6973
CITY OF ATHENS                         PO BOX 1868 ATHENS GA 30603-1868
CITY OF AUBURN                         144 TICHENOR AVENUE SUITE 6 AUBURN AL 36830



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CITY OF AUBURN                       PO BOX 511 AUBURN AL 36831
CITY OF AUBURN REVENUE OFFICE        PO BOX 7148 AUBURN AL 36830
CITY OF AUBURN REVENUE OFFICE        144 TICHENOR AVENUE SUITE 6 AUBURN AL 36830
CITY OF AURORA                       REVENUE & COLLECTIONS DIVISION 44 E. DOWNER PLACE AURORA IL 60507-2067
CITY OF AURORA                       REVENUE DIVISION PO BOX 1810 AURORA CO 80040
CITY OF AURORA ILLINOIS              144 TICHENOR AVENUE SUITE 6 AURORA IL 60507-2067
CITY OF AURORA ILLINOIS              44 E DOWNER PL AURORA IL 60507-2067
CITY OF AURORA, IL                   PO BOX 2697 AURORA IL 60507-2697
CITY OF AUSTIN                       44 E DOWNER PL AUSTIN TX 78767-1088
CITY OF AUSTIN                       ATTN DSD ALARM PERMITS CASHIER PO BOX 1088 AUSTIN TX 78767-1088
CITY OF AUSTIN UTILITIES             PO BOX 2267 AUSTIN TX 78768-2267
CITY OF AUSTIN UTILITIES             ATTN DSD ALARM PERMITS CASHIER PO BOX 1088 AUSTIN TX 78768-2267
CITY OF AUSTIN, TX                   PO BOX 2267 AUSTIN TX 78783-2267
CITY OF BAKERSFIELD                  PO BOX 2267 BAKERSFIELD CA 93303-2057
CITY OF BAKERSFIELD                  CITY TREASURER PO BOX 2057 BAKERSFIELD CA 93303-2057
CITY OF BAKERSFIELD, CA              P.O. BOX 2057 BAKERSFIELD CA 93303-2057
CITY OF BARRIE                       CITY TREASURER PO BOX 2057 BARRIE ON L4M 4T5 CANADA
CITY OF BARRIE                       PO BOX 400 BARRIE ON L4M 4T5 CANADA
CITY OF BATON ROUGE                  EAST BATON ROUGE PARISH UTILITY PAYMENT PROCESSING BATON ROUGE LA 70896-9025
CITY OF BATON ROUGE 47413            PO BOX 2406 BATON ROUGE LA 70821
CITY OF BATTLE CREEK                 PO BOX 400 BATTLE CREEK MI 49016-1982
CITY OF BATTLE CREEK                 INCOME TAX DIVISION PO BOX 1982 BATTLE CREEK MI 49016-1982
CITY OF BATTLE CREEK, MI             P.O. BOX 235 WATER DIVISION - TREASURERS OFFICE BATTLE CREEK MI 49016
CITY OF BAYTOWN                      2401 MARKET STREET BAYTOWN TX 77522
CITY OF BAYTOWN                      PO BOX 424 BAYTOWN TX 77522-0424
CITY OF BAYTOWN, TX                  PO BOX 4265 HOUSTON TX 77210-4265
CITY OF BEAUMONT                     INCOME TAX DIVISION PO BOX 1982 BEAUMONT TX 77704
CITY OF BEAUMONT                     POLICE DEPARTMENT RECORDS MANAGEMENT/ALARMS P O BOX 3827 BEAUMONT TX 77704
CITY OF BEAUMONT, TX                 P.O. BOX 521 BEAUMONT TX 77704
CITY OF BEAVERCREEK                  FINANCE DEPARTMENT/ALARM 1368 RESEARCH PARK DRIVE BEAVERCREEK OH 45432-2818
CITY OF BILLINGS                     POLICE DEPARTMENT RECORDS MANAGEMENT/ALARMS BILLINGS MT 59103
CITY OF BILLINGS                     PO BOX 1178 BILLINGS MT 59103
CITY OF BILLINGS, MT                 P.O. BOX 30958 PUBLIC UTILITIES DEPARTMENT BILLINGS MT 59111
CITY OF BIRMINGHAM                   PO BOX 830638 BIRMINGHAM AL 35283-0638
CITY OF BISMARCK                     PO BOX 1178 BISMARCK ND 58506-5503
CITY OF BISMARCK                     PO BOX 5503 BISMARCK ND 58506-5503
CITY OF BISMARCK, ND                 PO BOX 5555 WATER DEPARTMENT BISMARCK ND 58506-5555
CITY OF BLAINE                       PO BOX 5503 BLAINE MN 55434
CITY OF BLAINE                       C/O 21ST CENTURY BANK 9380 CENTRAL AVENUE NE BLAINE MN 55434
CITY OF BLAINE, MN                   9380 CENTRAL AVE NE C/O 21ST CENTURY BANK BLAINE MN 55434
CITY OF BLOOMINGTON                  ATTN: ACCOUNTING DIVISION 1800 W. OLD SHAKOPEE ROAD BLOOMINGTON MN 55431-3027
CITY OF BLOOMINGTON                  BLOOMINGTON CIVIC PLAZA 1800 WEST OLD SHAKOPEE RD BLOOMINGTON MN 55431-3027
CITY OF BLOOMINGTON                  109 EAST OLIVE STREET BLOOMINGTON IL 61701
CITY OF BLOOMINGTON                  P.O. BOX 3157 BLOOMINGTON IL 61702-5216
CITY OF BLOOMINGTON UTILITIES, IN    P.O. BOX 2500 BLOOMINGTON IN 47402
CITY OF BLOOMINGTON, MN              1800 WEST OLD SHAKOPEE ROAD BLOOMINGTON MN 55431-3096
CITY OF BOLINGBROOK                  375 W. BRIARCLIFF RD. BOLINGBROOK IL 60440
CITY OF BOSSIER CITY                 DO NOT MAIL ORLANDO FL 32809
CITY OF BOSSIER CITY                 POST OFFICE BOX 71313 BOSSIER CITY LA 71171-1313



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CITY OF BOWLING GREEN                C/O ALTAMONTE SPRING POLICE DEPARTMENT ATTN RECORDS DIVISION BOWLING GREEN KY
                                     42101-2136
CITY OF BOWLING GREEN                REVENUE DIVISION 1017 COLLEGE ST BOWLING GREEN KY 42101-2136
CITY OF BOWLING GREEN TREASURER      C/O 21ST CENTURY BANK 9380 CENTRAL AVENUE NE ORLANDO FL 32809
CITY OF BOWLING GREEN TREASURER      DO NOT MAIL ORLANDO FL 32809
CITY OF BOYNTON BEACH                100 EAST BOYNTON BEACH BLVD BOYNTON BEACH FL 33425
CITY OF BOYNTON BEACH, FL            PO BOX 310 BOYNTON BEACH FL 33425-0310
CITY OF BRAMPTON                     100 EAST BOYNTON BEACH BLVD BRAMPTON ON L6V 4J3 CANADA
CITY OF BRAMPTON                     PO BOX 1725 BRAMPTON ON L6V 4J3 CANADA
CITY OF BRANSON                      110 W MADDUX SUITE 200 BRANSON MO 65616
CITY OF BRANSON                      ATTN ACCOUNTS RECEIVABLE 110 W MADDUX STE 200 BRANSON MO 65616-2859
CITY OF BRANSON, MO                  110 WEST MADDUX STE 200 WATER DEPT BRANSON MO 65616
CITY OF BRANTFORD                    PO BOX 1725 BRANTFORD ON N3T 6L6 CANADA
CITY OF BRANTFORD                    PO BOX 515 BRANTFORD ON N3T 6L6 CANADA
CITY OF BRANTFORD, ON                PO BOX 515 BRANTFORD ON N3T6L6 CANADA
CITY OF BREA                         PO BOX 515 BREA CA 92821
CITY OF BREA                         BREA POLICE DEPARTMENT 1 CIVIC CENTER CIRCLE BREA CA 92821
CITY OF BREA, CA                     P.O. BOX 2237 UTILITY BILLING - FINANCIAL SERVICE DEPT BREA CA 92822-2237
CITY OF BRIDGEPORT                   BREA POLICE DEPARTMENT 1 CIVIC CENTER CIRCLE BRIDGEPORT CT 06604
CITY OF BRIDGEPORT                   45 LYON TERRACE ROOM 220 BRIDGEPORT CT 06604
CITY OF BRIDGETON                    45 LYON TERRACE ROOM 220 BRIDGETON MO 63044-2068
CITY OF BRIDGETON                    11955 NATURAL BRIDGE ROAD BRIDGETON MO 63044-2068
CITY OF BRISTOL                      11955 NATURAL BRIDGE ROAD BRISTOL VA 24201
CITY OF BRISTOL                      300 LEE STREET BRISTOL VA 24201
CITY OF BROWNSVILLE                  300 LEE STREET BROWNSVILLE TX 78520-5106
CITY OF BROWNSVILLE                  C/O BROWNSVILLE MUNICIPAL COURT 1034 E LEVEE STREET BROWNSVILLE TX 78520-5106
CITY OF BUFORD, GA                   2300 BUFORD HWY BUFORD GA 30518
CITY OF BURLESON                     FINANCE DEPARTMENT 141 WEST RENFRO ST BURLESON TX 76028
CITY OF BURLESON                     C/O BROWNSVILLE MUNICIPAL COURT 1034 E LEVEE STREET BURLESON TX 76028
CITY OF BURLESON, TX                 141 WEST RENFRO BURLESON TX 76028
CITY OF BURLINGTON                   FINANCE DEPARTMENT 141 WEST RENFRO ST BURLINGTON ON L7R 4G4 CANADA
CITY OF BURLINGTON                   C/O FIRE RECOVERY USA LLC PO BOX 935667 ATLANTA GA 31193-5667
CITY OF BURLINGTON, NC               P.O. BOX 1358 BURLINGTON NC 27216-1358
CITY OF BURNSVILLE                   100 CIVIC CENTER PARKWAY BURNSVILLE MN 55337-3817
CITY OF BURNSVILLE, MN               P.O. BOX 77025 MINNEAPOLIS MN 55480-7725
CITY OF CANTON                       PO BOX 5080 CANTON GA 30114
CITY OF CANTON                       151 ELIZABETH STREET CANTON GA 30114
CITY OF CANTON TAX DEPARTMENT        151 ELIZABETH STREET CANTON GA 30114
CITY OF CANTON TAX DEPT              110 ACADEMY ST CANTON GA 30114
CITY OF CANTON, GA                   PO BOX 5078 TALLAHASSEE FL 32314-5078
CITY OF CAPE GIRARDEAU               CUSTOMER SERVICE OFFICE P.O. BOX 617 CAPE GIRARDEAU MO 63702
CITY OF CAPE GIRARDEAU               PO BOX 617 CAPE GIRARDEAU MO 63702-0617
CITY OF CAPE GIRARDEAU, MO           P.O. BOX 617 CAPE GIRARDEAU MO 63702-0617
CITY OF CARTERSVILLE                 ATTN: SAMANTHA DOVER PO BOX 1390 CARTERSVILLE GA 30120
CITY OF CARTERSVILLE                 PO BOX 1390 CARTERSVILLE GA 30120
CITY OF CARTERSVILLE WATER DEPT.     148 WALNUT GROVE ROAD CARTERSVILLE GA 30120
CITY OF CARTERSVILLE, GA             PO BOX 161454 ATLANTA GA 30321-1454
CITY OF CASPER                       110 ACADEMY ST CASPER WY 82601
CITY OF CASPER                       ALARMS 200 NORTH DAVID STREET CASPER WY 82601



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CITY OF CASPER, WY                     PO BOX 11000 CASPER WY 82602-3900
CITY OF CASPER-NATRONA                 ALARMS 200 NORTH DAVID STREET CASPER WY 82601-1759
CITY OF CASPER-NATRONA                 COUNTY HEALTH DEPARTMENT 475 SOUTH SPRUCE CASPER WY 82601-1759
CITY OF CAYCE                          ATTN: CITY TREASURER 1800 12TH STREET EXT. PO BOX 2004 CAYCE SC 29171
CITY OF CAYCE, SC                      P.O. BOX 100083 ATLANTA GA 30348-0083
CITY OF CEDAR RAPIDS                   COUNTY HEALTH DEPARTMENT 475 SOUTH SPRUCE CEDAR RAPIDS IA 52406-2148
CITY OF CEDAR RAPIDS                   CITY TREASURY PO BOX 2148 CEDAR RAPIDS IA 52406-2148
CITY OF CHAMPAIGN                      FINANCE DEPARTMENT 102 N NEIL STREET CHAMPAIGN IL 61820
CITY OF CHAMPAIGN                      ATTN: TINA STANLEY, STAFF ACCT 102 NORTH NEIL STREET CHAMPAIGN IL 61820-4018
CITY OF CHANDLER                       CITY TREASURY PO BOX 2148 CHANDLER AZ 85244
CITY OF CHANDLER                       LIQUOR LICENSE MAIL STOP 701 - PO BOX 4008 CHANDLER AZ 85244
CITY OF CHANDLER, AZ                   PO BOX 52158 PHOENIX AZ 85072
CITY OF CHARLESTON                     PO BOX 2749 CHARLESTON WV 25330
CITY OF CHARLESTON                     PO BOX 304 CHARLESTON SC 29402
CITY OF CHARLOTTE, NC                  PO BOX 1316 BILLING CENTER CHARLOTTE NC 28201-1316
CITY OF CHARLOTTESVILLE, VA            P.O. BOX 591 CHARLOTTESVILLE VA 22902
CITY OF CHATTANOOGA                    CITY HALL ROOM 102 CHATTANOOGA TN 37402
CITY OF CHATTANOOGA, TN                PO BOX 591 CHATTANOOGA TN 37401-0591
CITY OF CHESAPEAKE                     P.O. BOX 15285 CHESAPEAKE VA 23328-5285
CITY OF CHESAPEAKE                     COMMISSIONER OF REVENUE PO BOX 15285A CHESAPEAKE VA 23328-5286
CITY OF CHESTERFIELD                   LIQUOR LICENSE MAIL STOP 701 - PO BOX 4008 CHESTERFIELD MO 63017-2080
CITY OF CHESTERFIELD                   16052 SWINGLEY RIDGE RD CHESTERFIELD MO 63017-2080
CITY OF CHICAGO                        121 N LASALLE ST CITY HALL CHICAGO IL 60602
CITY OF CHICAGO                        22149 NETWORK PLACE CHICAGO IL 60673-1221
CITY OF CHICAGO, IL- DEPT. OF WATER    P.O. BOX 6330 CHICAGO IL 60680-6330
CITY OF CHICO                          16052 SWINGLEY RIDGE RD CHICO CA 95927
CITY OF CHICO                          PO BOX 3420 - FIFTH & MAIN ST CHICO CA 95927
CITY OF CHICO, CA                      PO BOX 45038 SAN FRANCISCO CA 94145-0038
CITY OF CHILLICOTHE                    ATTN: JULIE PARKER, INCOME TAX AUDITOR 35 S. PAINT ST. PO BOX 457 CHILLICOTHE
                                       OH 45607
CITY OF CHRISTIANSBURG                 100 EAST MAIN STREET CHRISTIANSBURG VA 24073-3029
CITY OF CHUBBUCK                       PO BOX 5604 5160 YELLOWSTONE AVENUE CHUBBUCK ID 83202
CITY OF CHULA VISTA                    PO BOX 3420 - FIFTH & MAIN ST CHULA VISTA CA 91912-7549
CITY OF CHULA VISTA                    PAYMENT PROCESSING CENTER PO BOX 7549 CHULA VISTA CA 91912-7549
CITY OF CHULA VISTA, CA                P.O. BOX 120755 CHULA VISTA CA 91912-0755
CITY OF CITRUS HEIGHTS                 PAYMENT PROCESSING CENTER PO BOX 7549 CITRUS HEIGHTS CA 95621-5634
CITY OF CITRUS HEIGHTS                 BUILDING 6360 FOUNTAIN SQUARE DR CITRUS HEIGHTS CA 95621-5634
CITY OF CLARKSVILLE                    BUILDING 6360 FOUNTAIN SQUARE DR CLARKSVILLE TN 37040
CITY OF CLARKSVILLE                    120 COMMERCE ST CLARKSVILLE TN 37040
CITY OF CLEARWATER                     100 S. MYRTLE AVENUE 3RD FLOOR CLEARWATER FL 33756
CITY OF CLEARWATER                     120 COMMERCE ST CLEARWATER FL 33758-4748
CITY OF CLEARWATER                     CITY HALL ANNEX-PO BOX 4748 CLEARWATER FL 33758-4748
CITY OF CLEARWATER POLICE DEPARTMENT   ALARM UNIT 645 PIERCE ST CLEARWATER FL 33756
CITY OF CLEARWATER, FL                 P.O. BOX 30020 TAMPA FL 33630-3020
CITY OF CLERMONT                       PO BOX 120890 CLERMONT FL 34712-0219
CITY OF CLERMONT                       CITY HALL ANNEX-PO BOX 4748 CLERMONT FL 34712-0219
CITY OF CLERMONT, FL                   PO BOX 120890 CLERMONT FL 34712-0890
CITY OF CLEVELAND DIVISION OF WATER    P.O. BOX 94540 CLEVELAND OH 44101-4540
CITY OF CLOVIS                         PO BOX 120890 CLOVIS NM 88101



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CITY OF CLOVIS                         PO BOX 760 CLOVIS NM 88101
CITY OF CLOVIS, NM                     PO BOX 760 CLOVIS NM 88102
CITY OF COCOA, FL                      PO BOX 1270 COCOA FL 32923-1270
CITY OF COEUR D ALENE, ID              710 E MULLAN COEUR D ALENE ID 83814
CITY OF COEUR DALENE                   PO BOX 2497 COEUR D ALENE ID 83816-2497
CITY OF COLLEGE STATION                ALARM PROGRAM PO BOX 140637 IRVING TX 75014-0637
CITY OF COLLEGE STATION                PO BOX 760 IRVING TX 75014-0637
CITY OF COLONIAL HEIGHTS, VA           P.O. BOX 3401 COLONIAL HEIGHTS VA 23834-9001
CITY OF COLORADO SPRINGS               DEPARTMENT 2408 DENVER CO 80256-0001
CITY OF COLORADO SPRINGS               C/O STORMWATER BILLING PO BOX 561225 DENVER CO 80256-1225
CITY OF COLORADO SPRINGS               PO BOX 1575 COLORADO SPRINGS CO 80901-1575
CITY OF COLORADO SPRINGS PLANNING      30 SOUTH NEVADA AVENUE STE 301 COLORADO SPRINGS CO 80903
OFFICE
CITY OF COLUMBIA                       ALARM PROGRAM PO BOX 140637 COLUMBIA MO 65205-1676
CITY OF COLUMBIA                       FINANCE DEPARTMENT PO BOX 1676 COLUMBIA MO 65205-1676
CITY OF COLUMBIA, MO                   P.O. BOX 1676 FINANCE DEPARTMENT COLUMBIA MO 65205
CITY OF COLUMBIA, SC - WATER           P.O. BOX 7997 WATER BILLING DEPARTMENT COLUMBIA SC 29202-7997
CITY OF COLUMBUS                       FINANCE DEPARTMENT PO BOX 1676 COLUMBUS GA 31902-1340
CITY OF COLUMBUS                       PO BOX 1340 COLUMBUS GA 31902-1340
CITY OF COLUMBUS INCOME TAX DIVISION   90 WEST BROAD STREET COLUMBUS OH 43215
CITY OF CONCORD                        PO BOX 1340 CONCORD NH 03301
CITY OF CONCORD                        CONCORD POLICE DEPARTMENT 35 GREEN STREET CONCORD NH 03301
CITY OF CONCORD, NC                    PO BOX 604220 COLLECTIONS DEPT CHARLOTTE NC 28260-4220
CITY OF CONROE                         PO BOX 122026 DEPT 2026 DALLAS TX 75312-2026
CITY OF CONROE                         ATTN LICENSING PO BOX 3066 CONROE TX 77305
CITY OF CONYERS                        FINANCE DEPARTMENT PO DRAWER 1259 CONYERS GA 30012
CITY OF CONYERS                        PO DRAWER 1259 CONYERS GA 30012
CITY OF COOKEVILLE                     CONCORD POLICE DEPARTMENT 35 GREEN STREET COOKEVILLE TN 38503-0998
CITY OF COOKEVILLE                     PO BOX 998 COOKEVILLE TN 38503-0998
CITY OF COOKEVILLE                     ELECTRIC DEPARTMENT 55 W DAVIS RD COOKEVILLE TN 38506
CITY OF COOKEVILLE, TN                 P.O. BOX 998 CUSTOMER SERVICE DEPT COOKEVILLE TN 38503
CITY OF COON RAPIDS, MN                11155 ROBINSON DRIVE COON RAPIDS MN 55433
CITY OF CORAL SPRINGS FLORIDA          2801 CORAL SPRINGS DR CORAL SPRINGS FL 33065
CITY OF CORAL SPRINGS, FLORIDA         REVENUE DIVISION 1017 COLLEGE ST CORAL SPRINGS FL 33075
CITY OF CORAL SPRINGS, FLORIDA         9530 WEST SAMPLE ROAD CORAL SPRINGS FL 33075
CITY OF CORALVILLE                     PO BOX 998 CORALVILLE IA 52241
CITY OF CORALVILLE                     C/O FIRE DEPARTMENT 1501 5TH STREET CORALVILLE IA 52241
CITY OF CORALVILLE UTILITY BILLING     1512 7TH ST CORALVILLE IA 52241
DEPAR
CITY OF CORPUS CHRISTI                 PO BOX 659880 SAN ANTONIO TX 78265-9143
CITY OF CORPUS CHRISTI                 C/O FIRE DEPARTMENT 1501 5TH STREET CORPUS CHRISTI TX 78408
CITY OF CORPUS CHRISTI                 PO BOX 9727 CORPUS CHRISTI TX 78408
CITY OF COUNCIL BLUFFS                 DEPARTMENT OF COMMUNITY DEVELOPMENT 209 PEARL STREET COUNCIL BLUFF IA 51503
CITY OF CRESTWOOD                      PO BOX 9727 CRESTWOOD MO 63126
CITY OF CRESTWOOD                      9245 WHITECLIFF PARK LANE CRESTWOOD MO 63126
CITY OF CUYAHOGA FALLS                 2310 SECOND ST CUYAHOGA FALLS OH 44221
CITY OF CUYAHOGA FALLS, OH             2310 2ND ST UTILITY BILLING OFFICE CUYAHOGA FALLS OH 44221-2583
CITY OF DALLAS                         2014 MAIN STREET 1ST FLOOR DALLAS TX 75201-4406
CITY OF DALLAS                         HIGH RISK REGISTRATION/INSPECTION 1551 BAYLOR STREET 400 DALLAS TX 75226-1956



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CITY OF DALLAS, TX                   CITY HALL 2D SOUTH DALLAS TX 75277
CITY OF DALLAS.                      1500 MARILLA ST RM 2BS DALLAS TX 75201-6318
CITY OF DALTON                       114 NORTH PENTLY DR DALTON GA 30722
CITY OF DALTON                       CITY CLERKS OFFICE PO BOX 1205 DALTON GA 30722-1205
CITY OF DANBURY                      FINANCE DEPARTMENT 155 DEER HILL AVENUE DANBURY CT 06810
CITY OF DANVILLE                     DIV OF CENTRAL COLLECTIONS PO BOX 3308 DANVILLE VA 24543-3308
CITY OF DANVILLE                     17 WEST MAIN STREET DANVILLE IL 61832
CITY OF DANVILLE, IL                 17 W MAIN ST DANVILLE IL 61832
CITY OF DANVILLE, VA                 P.O. BOX 3308 COLLECTIONS DANVILLE VA 24543
CITY OF DAVENPORT                    REVENUE DIVISION PO BOX 8003 DAVENPORT IA 52801-1345
CITY OF DAVENPORT                    9245 WHITECLIFF PARK LANE DAVENPORT IA 52808-8003
CITY OF DAVENPORT, IA                P.O. BOX 8003 REVENUE DIVISION DAVENPORT IA 52808-8003
CITY OF DAYTONA BEACH                REVENUE DIVISION PO BOX 8003 DAYTONA BEACH FL 32115-0551
CITY OF DAYTONA BEACH                PO BOX 551 DAYTONA BEACH FL 32115-0551
CITY OF DAYTONA BEACH SHORES         PO BOX 551 DAYTONA BEACH SHORES FL 32118
CITY OF DAYTONA BEACH SHORES         FINANCE DEPARTMENT 3050 S ATLANTIC AVE DAYTONA BEACH SHORES FL 32118
CITY OF DAYTONA BEACH SHORES, FL     2990 S ATLANTIC AVE DAYTONA BEACH SHORES FL 32118-6002
CITY OF DAYTONA BEACH, FL            P.O. BOX 2455 UTILITY BILL DAYTONA BEACH FL 32115-2455
CITY OF DEARBORN HEIGHTS             FINANCE DEPARTMENT 3050 S ATLANTIC AVE DEARBORN HEIGHTS MI 48127
CITY OF DEARBORN HEIGHTS             6045 FENTON DEARBORN HEIGHTS MI 48127
CITY OF DECATUR                      SALES TAX DEPT R-6 PO BOX 830525 BIRMINGHAM AL 35283-0525
CITY OF DECATUR                      402 LEE STREET NE DECATUR AL 35601
CITY OF DECATUR                      REVENUE DEPARTMENT PO BOX 488 DECATUR AL 35602
CITY OF DENTON                       6045 FENTON DALLAS TX 75266-0150
CITY OF DENTON                       221 N ELM STREET DENTON TX 76201
CITY OF DENTON, TX                   PO BOX 660150 UTILITIES DALLAS TX 75266-0150
CITY OF DENVER                       DEPARTMENT OF EXCISE AND LICENSES ALARMS 201 W COLFAX AVENUE DEPARTMENT 206
                                     DENVER CO 80202-2700
CITY OF DIBERVILLE                   PO BOX 660150 DIBERVILLE MS 39540
CITY OF DIBERVILLE                   10383 AUTOMALL PARKWAY DIBERVILLE MS 39540
CITY OF DIBERVILLE, MS               P.O. BOX 6519 WATER & SEWER DEPARTMENT DIBERVILLE MS 39540-6519
CITY OF DORAL FL                     8300 NORTHWEST 53RD STREET SUITE 200 DORAL FL 33166
CITY OF DOTHAN                       10383 AUTOMALL PARKWAY DOTHAN AL 36302-2128
CITY OF DOTHAN                       PO BOX 2128 DOTHAN AL 36302-2128
CITY OF DOTHAN, ALABAMA              PO BOX 6728 DOTHAN AL 36301
CITY OF DOUGLASVILLE                 LICENSE PO BOX 219 DOUGLASVILLE GA 30133
CITY OF DOUGLASVILLE                 P.O. BOX 219 DOUGLASVILLE GA 30133-0219
CITY OF DOUGLASVILLE, GA             P.O. BOX 219 ATTN: FINANCE DEPT A/R DOUGLASVILLE GA 30133
CITY OF DOVER POLICE DEPT            400 S QUEEN ST DOVER DE 19904
CITY OF DOVER UTILITY                PO BOX 15040 WILMINGTON DE 19886-5040
CITY OF DOVER-CITY HALL              PO BOX 2128 DOVER DE 19901
CITY OF DOVER-CITY HALL              LOOCKERMAN ST DEPT OF INSPECTIONS DOVER DE 19901
CITY OF DUBLIN                       P.O. BOX 690 DUBLIN GA 31040
CITY OF DUBLIN, GA                   P.O. BOX 690 DUBLIN GA 31040
CITY OF DULUTH                       LOOCKERMAN ST DEPARTMENT OF INSPECTIONS DULUTH MN 55802
CITY OF DULUTH                       411 WEST 1ST ROOM 105 DULUTH MN 55802
CITY OF DULUTH COMFORT SYSTEMS       PO BOX 860643 MINNEAPOLIS MN 55486-0643
CITY OF DULUTH TREASURER             411 W. 1ST STREET ROOM 120 DULUTH MN 55802
CITY OF DUNCANVILLE                  411 WEST 1ST ROOM 105 DUNCANVILLE TX 75138-1449



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CITY OF DUNCANVILLE                    PO BOX 381449 DUNCANVILLE TX 75138-1449
CITY OF DUNCANVILLE, TX                PO BOX 205719 DALLAS TX 75320-5719
CITY OF DURHAM                         PO BOX 381449 DURHAM NC 27702
CITY OF DURHAM                         PO BOX 289 DURHAM NC 27702
CITY OF DURHAM, NC                     SEWER/WATER PO BOX 580520 CHARLOTTE NC 28258-0520
CITY OF EAST POINT                     2777 EAST POINT STREET EAST POINT GA 30344
CITY OF EAST POINT, GA                 2791 EAST POINT STREET EAST POINT GA 30344
CITY OF EAU CLAIRE                     PO BOX 909 EAU CLAIRE WI 54702-0909
CITY OF EAU CLAIRE, WI                 PO BOX 1087 EAU CLAIRE WI 54702-1087
CITY OF EL PASO - ACCTS RECEIVABLE     PO BOX 1919 EL PASO TX 79999-1919
CITY OF EL PASO LICENSE BUREAU         PO BOX 289 EL PASO TX 79901
CITY OF EL PASO LICENSE BUREAU         2 CIVIC CENTER PLAZA EL PASO TX 79901
CITY OF EL PASO TEXAS                  FINANCIAL SERVICES-1ST FLOOR 300 N CAMPBELL EL PASO TX 79901
CITY OF ELIZABETHTOWN                  200 WEST DIXIE ELIZABETHTOWN KY 42702
CITY OF ELIZABETHTOWN                  ATTN:DIRECTOR OF FINANCE 200 W. DIXIE AVENUE ELIZABETHTOWN KY 42702-0550
CITY OF ELIZABETHTOWN                  C/O CITY ABC ADMINISTRATOR PO BOX 550 ELIZABETHTOWN KY 42702-0550
CITY OF ELYRIA                         PO BOX 94594 CLEVELAND OH 44101-4594
CITY OF ELYRIA                         2 CIVIC CENTER PLAZA CLEVELAND OH 44101-4594
CITY OF ELYRIA - ELYRIA PUBLIC         PO BOX 94594 CLEVELAND OH 44101-4594
UTILITIES
CITY OF ELYRIA - STORMWATER            PO BOX 94594 CLEVELAND OH 44101-4594
CITY OF ENGLEWOOD, CO                  1000 ENGLEWOOD PARKWAY UTILITIES DEPT ENGLEWOOD CO 80110
CITY OF EUGENE                         PO BOX 94594 EUGENE OR 97401
CITY OF EUGENE                         99 WEST 10TH AVENUE EUGENE OR 97401
CITY OF EVANSVILLE INDIANA             POLICE DEPARTMENT ATTN: ALARM COORDINATOR EVANSVILLE IN 47708
CITY OF EVANSVILLE INDIANA             99 WEST 10TH AVENUE EVANSVILLE IN 47708
CITY OF FAIRFAX                        POLICE DEPARTMENT ATTN: ALARM COORDINATOR FAIRFAX VA 22030
CITY OF FAIRFAX                        TREASURERS OFFICE 10455 ARMSTRONG STREET FAIRFAX VA 22030
CITY OF FAIRFIELD                      1000 WEBSTER ST FAIRFIELD CA 94533
CITY OF FAIRVIEW HEIGHTS               DO NOT MAIL ORLANDO FL 32809
CITY OF FAIRVIEW HEIGHTS               CITY COLLECTOR 10025 BUNKUM ROAD FAIRVIEW HEIGHTS IL 62208
CITY OF FARGO                          200 NORTH 3RD STREET FARGO ND 58102
CITY OF FARGO                          CITY AUDITORS OFFICE PO BOX 1607 FARGO ND 58107
CITY OF FARGO, ND                      P.O. BOX 1066 UTILITIES FARGO ND 58107-1066
CITY OF FARMINGTON                     TREASURERS OFFICE 10455 ARMSTRONG STREET FARMINGTON NM 87401
CITY OF FARMINGTON                     800 MUNICIPAL DR FARMINGTON NM 87401
CITY OF FARMINGTON                     800 MUNICIPAL DRIVE FARMINGTON NM 87401-2663
CITY OF FARMINGTON, NM                 101 N BROWNING PKWY ATTN: LAURIE RICHARDSON FARMINGTON NM 87401
CITY OF FAYETTEVILLE                   PUBLIC WORKS COMMISSION 955 OLD WILMINGTON ROAD FAYETTEVILLE NC 28302
CITY OF FAYETTEVILLE                   ATTN: ACCOUNTING DIVISION 113 W. MOUNTAIN FAYETTEVILLE AR 72701
CITY OF FAYETTEVILLE                   PO DRAWER F FAYETTEVILLE AR 72701
CITY OF FAYETTEVILLE FIRE DEPARTMENT   433 HAY STREET FAYETTEVILLE NC 28301-0007
CITY OF FAYETTEVILLE FIRE DEPARTMENT   800 MUNICIPAL DR FAYETTEVILLE NC 28301-0007
CITY OF FAYETTEVILLE, AR               113 WEST MOUNTAIN STREET FAYETTEVILLE AR 72701
CITY OF FEDERAL WAY                    433 HAY STREET FEDERAL WAY WA 98003-6325
CITY OF FEDERAL WAY                    33325 8TH AVENUE SOUTH FEDERAL WAY WA 98003-6325
CITY OF FINDLAY                        INCOME TAX DEPARTMENT 318 DORNEY PLAZA ROOM 115 FINDLAY OH 45839-0862
CITY OF FINDLAY                        306 MUNICIPAL BLDG 318 DORNEY PLAZA FINDLAY OH 45840
CITY OF FINDLAY, OH                    136 N BLANCHARD ST WATER AND WASTEWATER DEPT FINDLAY OH 45840-5894



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CITY OF FLAGSTAFF                     33325 8TH AVENUE SOUTH FLAGSTAFF AZ 86001
CITY OF FLAGSTAFF                     211 WEST ASPEN AVENUE FLAGSTAFF AZ 86001
CITY OF FLAGSTAFF, AZ                 211 W ASPEN AVE ATTN: UTILITY PAYMENTS FLAGSTAFF AZ 86002
CITY OF FLORENCE                      C/O UTILITY FINANCE DIVISION CITY-COUNTY COMPLEX ZZ FLORENCE SC 29501-3488
CITY OF FLORENCE                      CITY CLERKS OFFICE P.O. BOX 98 FLORENCE AL 35631
CITY OF FLORENCE                      CITY CLERK/TREASURES OFFICE PO BOX 98 FLORENCE AL 35631
CITY OF FLORENCE CITY CLERK           211 WEST ASPEN AVENUE FLORENCE KY 41042
CITY OF FLORENCE CITY CLERK           FINANCE DEPT 8100 EWING BLVD FLORENCE KY 41042
CITY OF FLORENCE, SC                  PO BOX 63010 UTILITY AND LICENSING DIV CHARLOTTE NC 28263-3010
CITY OF FOREST PARK                   MUNICIPAL INCOME TAX DEPARTMENT 1201 WEST KEMPER ROAD FOREST PARK OH 45240
CITY OF FORT COLLINS                  DEPARTMENT OF FINANCE/SALES TAX DIVISION P.O. BOX 440 FORT COLLINS CO
                                      80522-0439
CITY OF FORT COLLINS                  PO BOX 580 FORT COLLINS CO 80522-0580
CITY OF FORT LAUDERDALE               FINANCE DEPARTMENT 8100 EWING BLVD TAMPA FL 33631-3689
CITY OF FORT LAUDERDALE               OCCUPATIONAL LICENSE DIVISION PO BOX 31689 TAMPA FL 33631-3689
CITY OF FORT LAUDERDALE, FL           P.O. BOX 31687 MUNICIPAL SERVICES TAMPA FL 33631-3687
CITY OF FORT MYERS                    2200 SECOND STREET FORT MYERS FL 33902
CITY OF FORT MYERS                    OCCUPATIONAL LICENSE DIVISION PO BOX 31689 FORT MYERS FL 33902-2217
CITY OF FORT MYERS, FL                PO BOX 30185 TAMPA FL 33630-3185
CITY OF FORT PIERCE                   CITY HALL PO BOX 2217 FORT PIERCE FL 34954
CITY OF FORT PIERCE                   100 NORTH US 1 FORT PIERCE FL 34954
CITY OF FORT SMITH                    CITY HALL-CITY CLERKS OFFICE LITTLE ROCK AR 72201
CITY OF FORT SMITH                    PO BOX 1908 FORT SMITH AR 72902
CITY OF FORT SMITH - WATER            PO BOX 1907 FORT SMITH AR 72902
CITY OF FORT WALTON BEACH, FL         107 MIRACLE STRIP PKWAY SW FORT WALTON BEACH FL 32548-6614
CITY OF FORT WORTH                    100 NORTH US 1 FORT WORTH TX 76101-0976
CITY OF FORT WORTH                    PO BOX 976 FORT WORTH TX 76101-0976
CITY OF FORT WORTH WATER DEPARTMENT   P.O. BOX 870 FORT WORTH TX 76101
CITY OF FRANKLIN                      BUSINESS TAX DEPARTMENT PO BOX 305 FRANKLIN TN 37065-0305
CITY OF FRANKLIN, TN                  PO BOX 306097 WATER & WASTEWATER NASHVILLE TN 37230-6097
CITY OF FREDERICK                     PO BOX 976 FREDERICK MD 21701
CITY OF FREDERICK                     101 N COURT STREET FREDERICK MD 21701
CITY OF FREDERICK, MD                 101 NORTH COURT STREET FREDERICK MD 21701
CITY OF FREMONT                       101 N COURT STREET FREMONT CA 94537
CITY OF FREMONT                       39700 CIVIC CENTER DR FREMONT CA 94537
CITY OF FRESNO                        CAPITAL BILLING SERVICES 555 W SHAW AVE STE C1 FRESNO CA 93704-2503
CITY OF FRESNO, CA                    P.O. BOX 2069 UTILITY BILLING AND COLLECTIONS DIVISION FRESNO CA 93718
CITY OF FRISCO                        39700 CIVIC CENTER DR FRISCO TX 75034
CITY OF FRISCO                        6101 FRISCO SQUARE BLVD FRISCO TX 75034
CITY OF FRISCO, TX                    PO BOX 2730 FRISCO TX 75034
CITY OF FT MYERS                      FIRE PREVENTION BUREAU 2033 JACKSON ST FORT MYERS FL 33901-3619
CITY OF FT MYERS FLORIDA              6101 FRISCO SQUARE BLVD FORT MYERS FL 33901
CITY OF FT MYERS FLORIDA              POLICE DEPARTMENT 2210 PECK ST FORT MYERS FL 33901
CITY OF FT WALTON BEACH               POLICE DEPARTMENT 2210 PECK ST FT WALTON BEACH FL 32549
CITY OF FT WALTON BEACH               PO BOX 4009 FT WALTON BEACH FL 32549
CITY OF GADSDEN                       ATTN: DEBBIE SHEFFIELD, REVENUE DEPT POST OFFICE BOX 267 GADSEN AL 35902
CITY OF GADSDEN                       REVENUE DEPT PO BOX 267 GADSDEN AL 35902-0267
CITY OF GAINESVILLE                   OFFICE OF CITY MARSHAL PO BOX 2496 GAINESVILLE GA 30503
CITY OF GAINESVILLE                   PO BOX 2496 GAINESVILLE GA 30503



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CITY OF GAINESVILLE, GA              PO BOX 779 GAINESVILLE GA 30501
CITY OF GARDEN GROVE                 PO BOX 4009 GARDEN GROVE CA 92842-3070
CITY OF GARDEN GROVE                 PO BOX 3070 GARDEN GROVE CA 92842-3070
CITY OF GARDEN GROVE, CA             P.O. BOX 3070 GARDEN GROVE CA 92842
CITY OF GASTONIA                     PO BOX 3070 GASTONIA NC 28053
CITY OF GASTONIA                     181 SOUTH STREET GASTONIA NC 28053
CITY OF GASTONIA, NC                 PO BOX 580068 CHARLOTTE NC 28258-0068
CITY OF GENEVA                       181 SOUTH STREET GENEVA IL 60134
CITY OF GENEVA                       22 SOUTH FIRST STREET GENEVA IL 60134
CITY OF GENEVA, IL                   PO BOX 87618 DEPARTMENT 8050 CHICAGO IL 60680-0618
CITY OF GOLDEN VALLEY                22 SOUTH FIRST STREET GOLDEN VALLEY MN 55427
CITY OF GOLDEN VALLEY, MN            7800 GOLDEN VALLEY ROAD GOLDEN VALLEY MN 55427
CITY OF GOODYEAR                     FINANCE DEPARTMENT PO BOX 5100 GOODYEAR AZ 85338-0900
CITY OF GOODYEAR                     7800 GOLDEN VALLEY ROAD GOODYEAR AZ 85338-0900
CITY OF GOODYEAR, AZ -FINANCE        1900 N CIVIC SQUARE GOODYEAR AZ 85395-2012
DEPARTMENT
CITY OF GRAND FORKS                  FINANCE DEPARTMENT PO BOX 5100 GRAND FORKS ND 58206
CITY OF GRAND FORKS                  PO BOX 5200 GRAND FORKS ND 58206
CITY OF GRAND ISLAND                 100 EAST FIRST STREET GRAND ISLAND NE 68801
CITY OF GRAND ISLAND, NE             PO BOX 1928 GRAND ISLAND NE 68802-1928
CITY OF GRAND JUNCTION               PO BOX 1809 GRAND JUNCTION CO 81502-1809
CITY OF GRAND JUNCTION               ATTN; SALES TAX PO BOX 2088 GRAND JUNCTION CO 81502-2088
CITY OF GRAND JUNCTION, CO           PO BOX 1809 GRAND JUNCTION CO 81502-1809
CITY OF GRAND RAPIDS, MI             300 MONROE AVENUE NW CITY TREASURER, WATER & SEWER GRAND RAPIDS MI 49503
CITY OF GRANDVILLE, MI               PO BOX 30516 LANSING MI 48909-8016
CITY OF GREATER SUDBURY              PO BOX 5200 SUDBURY ON P3A 5P3 CANADA
CITY OF GREATER SUDBURY              PO BOX 5000 STN A SUDBURY ON P3A 5P3 CANADA
CITY OF GREELEY                      FINANCE DEPARTMENT 1000 10TH STREET GREELEY CO 80631-3808
CITY OF GREELEY                      P.O. BOX 1648 GREELEY CO 80632
CITY OF GREELEY, CO                  PO BOX 1928 DIRECTOR OF FINANCE GREELEY CO 80632-1928
CITY OF GREENFIELD                   PO BOX 5000 STN A GREENFIELD WI 53220-4098
CITY OF GREENFIELD                   POLICE DEPARTMENT 5300 WEST LAYTON AVENUE GREENFIELD WI 53220-4098
CITY OF GREENFIELD, WI               PO BOX 20739 GREENFIELD WI 53220
CITY OF GREENSBORO                   POLICE DEPARTMENT 5300 WEST LAYTON AVENUE GREENSBORO NC 27402-6120
CITY OF GREENSBORO                   PO BOX 26120 GREENSBORO NC 27402-6120
CITY OF GREENSBORO, NC               P.O. BOX 1170 GREENSBORO NC 27402-1170
CITY OF GREENVILLE                   PO BOX 26120 GREENVILLE NC 27835
CITY OF GREENVILLE                   201 MARTIN L KING JR DRIVE GREENVILLE NC 27835
CITY OF GREENVILLE PLANNING OFF      201 MARTIN L KING JR DRIVE GREENVILLE TX 75401
CITY OF GREENVILLE PLANNING OFF      2315 JOHNSON ST GREENVILLE TX 75401
CITY OF GREENVILLE, TX               2810 WESLEY ST GREENVILLE TX 75401-4159
CITY OF GREENWOOD                    300 SOUTH MADISON AVENUE GREENWOOD IN 46142
CITY OF GREENWOOD, SC                P.O. BOX 40 GREENWOOD SC 29648
CITY OF GRESHAM                      1333 NW EASTMAN PKWY GRESHAM OR 97030
CITY OF GRESHAM                      2315 JOHNSON ST GRESHAM OR 97030
CITY OF GRESHAM, OR                  1333 NW EASTMAN PKWY GRESHAM OR 97030-3813
CITY OF HAGERSTOWN                   PO BOX 4608 LANCASTER PA 17604-4608
CITY OF HAGERSTOWN                   1333 NW EASTMAN PKWY HAGERSTOWN MD 21740
CITY OF HAMPTON VIRGINIA             TREASURERS OFFICE ONE EAST FRANKLIN ST HAMPTON VA 23669



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CITY OF HAMPTON VIRGINIA                 22 LINCOLN STREET HAMPTON VA 23669
CITY OF HARRISONBURG                     22 LINCOLN STREET HARRISONBURG VA 22801-3610
CITY OF HARRISONBURG                     COMMISSIONER OF THE REVENUE 409 S MAIN ST HARRISONBURG VA 22801-3610
CITY OF HARRISONBURG, VA                 PO BOX 1007 HARRISONBURG VA 22803-1007
CITY OF HATTIESBURG                      COMMISSIONER OF THE REVENUE 409 S MAIN ST HATTIESBURG MS 39403
CITY OF HATTIESBURG                      PO BOX 1897 HATTIESBURG MS 39403
CITY OF HATTIESBURG, MS                  P.O. BOX 1897 WATER BILLING OFFICE HATTIESBURG MS 39403
CITY OF HEATH                            POLICE DEPARTMENT 1287 HEBRON ROAD HEATH OH 43056
CITY OF HEATH                            TAX DEPARTMENT 1287 HEBRON ROAD HEATH OH 43056
CITY OF HEATH                            9530 WEST SAMPLE ROAD HEATH OH 43056
CITY OF HEATH, OH                        1287 HEBRON ROAD UTILITY BILLING DEPT HEATH OH 43056
CITY OF HENDERSON                        BUILDING DEPARTMENT 240 WATER ST HENDERSON NV 89015
CITY OF HENDERSON                        PO BOX 1897 HENDERSON NV 89015
CITY OF HENDERSON, NV - UTILITIES SRVC   PO BOX 95011 UTILITY SERVICES HENDERSON NV 89009-5011
CITY OF HENDERSON-FINANCE DEPARTMENT     PO BOX 95007 HENDERSON NV 89009-5007
CITY OF HERMITAGE                        BUILDING DEPARTMENT 240 WATER ST HERMITAGE PA 16148-3243
CITY OF HERMITAGE                        800 N HERMITAGE RD HERMITAGE PA 16148-3243
CITY OF HIALEAH FL                       HIALEAH FIRE DEPARTMENT PO BOX 919000 ORLANDO FL 32891-9000
CITY OF HIALEAH FL                       800 N HERMITAGE RD HIALEAH FL 33011
CITY OF HIALEAH, FL-DEPT OF WATER &      3700 W 4TH AVE HIALEAH FL 33012
SEWE
CITY OF HICKORY                          OCCUPATIONAL LICENSE DIVISION PO BOX 40 HICKORY NC 28603-0398
CITY OF HICKORY                          PO BOX 398 HICKORY NC 28603-0398
CITY OF HICKORY, NC                      PO BOX 580069 CHARLOTTE NC 28258-0069
CITY OF HOLLYWOOD                        2600 HOLLYWOOD BLVD HOLLYWOOD FL 33022
CITY OF HOLLYWOOD                        ALARM PAYMENT CENTER PO BOX 229187 HOLLYWOOD FL 33022-9187
CITY OF HOLLYWOOD, FL                    PO BOX 229187 UTILITY BILL PROCESSING CENTER HOLLYWOOD FL 33022-9187
CITY OF HOMESTEAD                        790 N HOMESTEAD BLVD HOMESTEAD FL 33030-6299
CITY OF HOT SPRINGS                      PO BOX 6300 HOT SPRINGS AR 71902
CITY OF HOT SPRINGS                      ACCOUNT RECEIVABLE DEPARTMENT PO BOX 6300 HOT SPRINGS AR 71902-6300
CITY OF HOUSTON                          PO BOX 398 HOUSTON TX 77002
CITY OF HOUSTON                          3300 MAIN STREET HOUSTON TX 77002
CITY OF HOUSTON - ALARM DETAIL           PO BOX 741009 HOUSTON TX 77274
CITY OF HOUSTON HEALTH DEPARTMENT        1115 N MACGREGOR HOUSTON TX 77030
CITY OF HOUSTON, PUBLIC WORKS &          ENGINEERING DEPT. PO BOX 1562 HOUSTON TX 77251
CITY OF HOUSTON, TX - WATER/WASTEWATER   PO BOX 1560 HOUSTON TX 77251-1560
CITY OF HUMBLE                           3300 MAIN STREET HUMBLE TX 77338
CITY OF HUMBLE                           114 WEST HIGGINS HUMBLE TX 77338
CITY OF HUMBLE, TX                       114 W HIGGINS ST HUMBLE TX 77338
CITY OF HUNTINGTON                       114 WEST HIGGINS HUNTINGTON WV 25717
CITY OF HUNTINGTON                       FINANCE DIRECTORS OFFICE ROOM 19 PO BOX 1659 HUNTINGTON WV 25717
CITY OF HUNTINGTON, WV                   PO BOX 7057 CHARLESTON WV 25356
CITY OF HUNTSVILLE                       CITY CLERK- TREASURER P O BOX 11407 DEPT 2108 BIRMINGHAM AL 35246
CITY OF HUNTSVILLE                       HUNTSVILLE UTILITIES P.O. BOX 2048 HUNTSVILLE AL 35804
CITY OF HUNTSVILLE, ALABAMA              308 FOUNTAIN CIRCLE HUNTSVILLE AL 35801
CITY OF INDEPENDENCE                     FINANCE DIRECTORS OFFICE ROOM 19 PO BOX 1659 KANSAS CITY MO 64180-8207
CITY OF INDEPENDENCE                     PO BOX 808207 KANSAS CITY MO 64180-8207
CITY OF INDEPENDENCE UTILITIES           PO BOX 219362 KANSAS CITY MO 64121-9362
CITY OF INDIANAPOLIS                     PO BOX 808207 INDIANAPOLIS IN 46204-3330



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CITY OF INDIANAPOLIS                     ATTN REVENUE RECOVERY UNIT 200 E WASHINGTON ST STE 2222 INDIANAPOLIS IN
                                         46204-3330
CITY OF INDUSTRY                         17445 E RAILROAD ST CITY OF INDUSTRY CA 91748
CITY OF INGLEWOOD                        ATTN REVENUE RECOVERY UNIT 200 E WASHINGTON ST STE 2222 INGLEWOOD CA
                                         90312-6500
CITY OF INGLEWOOD                        CUSTOMER SERVICE - CASHIERING PO BOX 6500 INGLEWOOD CA 90312-6500
CITY OF INGLEWOOD, CA                    PO BOX 743543 LOS ANGELES CA 90074-3543
CITY OF IRVING                           DEPT OF TAXATION PO BOX 152288 IRVING TX 75015-2288
CITY OF IRVING                           CITY SECRETARY 825 W. IRVING BLVD IRVING TX 75060
CITY OF IRVING - MUNICIPAL SERVICES      PO BOX 152288 IRVING TX 75015-2288
BILL
CITY OF JACKSON                          CUSTOMER SERVICE - CASHIERING PO BOX 6500 JACKSON MS 39205-0017
CITY OF JACKSON                          200 S PRESIDENT ST JACKSON MS 39205-0017
CITY OF JACKSON UTILITY BILLING, MI      161 WEST MICHIGAN AVENUE JACKSON MI 49201
CITY OF JACKSON, TN                      180 CONALCO DR JACKSON TN 38301
CITY OF JACKSONVILLE                     200 S PRESIDENT ST JACKSONVILLE NC 28541-0128
CITY OF JACKSONVILLE                     PO BOX 128 JACKSONVILLE NC 28541-0128
CITY OF JACKSONVILLE, NC                 PO BOX 128 JACKSONVILLE NC 28541-0128
CITY OF JAMESTOWN BOARD OF PUBLIC UTIL   P.O. BOX 700 CITY TREASURER JAMESTOWN NY 14702-0700
CITY OF JEFFERSON                        PO BOX 128 JEFFERSON CITY MO 65101
CITY OF JEFFERSON                        320 E MCCARTY STREET JEFFERSON CITY MO 65101
CITY OF JOHNSON CITY                     320 E MCCARTY STREET JOHNSON CITY TN 37605
CITY OF JOHNSON CITY                     PO BOX 2150 JOHNSON CITY TN 37605
CITY OF JOLIET                           ATTN: BUSINESS SERVICES 150 WEST JEFFERSON STREET, JOLIET IL 60432
CITY OF JOLIET                           C/O BUSINESS LICENSE DIVISION 150 WEST JEFFERSON STREET JOLIET IL 60432
CITY OF JOLIET, IL                       150 W JEFFERSON ST MUNICIPAL SERVICES JOLIET IL 60432-4148
CITY OF JONESBORO                        PO BOX 1845 JONESBORO AR 72403
CITY OF JONESBORO                        PO BOX 1845 JONESBORO AR 72403-1845
CITY OF JOPLIN                           PO BOX 2150 JOPLIN MO 64801
CITY OF JOPLIN                           303 E THIRD ST JOPLIN MO 64801
CITY OF JOPLIN, MO                       ATTN: UTILITY BILLING 602 S MAIN ST JOPLIN MO 64801-2606
CITY OF KANSAS CITY MISSOURI             TAX DEPARTMENT 1287 HEBRON ROAD KANSAS CITY MO 64180-4107
CITY OF KANSAS CITY MISSOURI             CITY TREASURER PO BOX 804107 KANSAS CITY MO 64180-4107
CITY OF KATY, TX                         P.O. BOX 617 KATY TX 77492-0617
CITY OF KEARNEY                          POST OFFICE BOX 1180 KEARNEY NE 68847
CITY OF KEARNEY,NE                       P.O. BOX 1180 KEARNEY NE 68848
CITY OF KELSO                            PO BOX 819 203 SOUTH PACIFIC SUITE 102 KELSO WA 98626
CITY OF KELSO                            TAX DEPT PO BOX 819 KELSO WA 98626
CITY OF KELSO, WA                        PO BOX 94264 SEATTLE WA 98124-6564
CITY OF KENNEWICK (FINANCE DEPARTMENT)   PO BOX 6108 KENNEWICK WA 99336
CITY OF KENNEWICK, WA                    P.O. BOX 6108 KENNEWICK WA 99336-0108
CITY OF KENTWOOD                         303 E THIRD ST KENTWOOD MI 49518-8848
CITY OF KENTWOOD                         TREASURER 4900 BRETON AVE SE PO BOX 8848 KENTWOOD MI 49518-8848
CITY OF KILLEEN                          BUILDING AND DEVELOPMENT SVCS DEPARTMENT 101 NORTH COLLEGE STREET KILLEEN TX
                                         76540
CITY OF KILLEEN, TX                      PO BOX 549 KILLEEN TX 76540-0549
CITY OF KISSIMMEE                        CITY HALL-LICENSING DEPARTMENT PO BOX 1608 KISSIMMEE FL 32742-1608
CITY OF KITCHENER                        FINANCE DEPARTMENT REVENUE DIVISION CITY HALL 200 KING ST W KITCHENER ON N2G
                                         4R6 CANADA
CITY OF KITCHENER, ON                    PO BOX 1113 FINANCE DEPT, REVENUE DIVISION KITCHENER ON N2G 4R6 CANADA


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CITY OF KNOXVILLE                    TREASURER 4900 BRETON AVE SE KNOXVILLE TN 37901-5001
CITY OF KNOXVILLE                    C/O REVENUE OFFICE PO BOX 15001 KNOXVILLE TN 37901-5001
CITY OF KOKOMO                       C/O REVENUE OFFICE PO BOX 15001 KOKOMO IN 46901
CITY OF KOKOMO                       CITY HALL 3RD FLOOR KOKOMO IN 46901
CITY OF KOKOMO, IN                   P.O. BOX 1209 WASTEWATER UTILITY CITY HALL KOKOMO IN 46903-1209
CITY OF LA CROSSE                    CITY HALL 3RD FLOOR LA CROSSE WI 54601
CITY OF LA CROSSE                    400 LA CROSSE ST LA CROSSE WI 54601
CITY OF LA MESA                      BLDG INSPECTIONS DIVISION 228 SOUTH MASSACHUSETTS AVE LA MESA CA 91942
CITY OF LA MESA                      8130 ALLISON AVENUE LA MESA CA 91942
CITY OF LAFAYETTE, IN                P.O. BOX 1688 LAFAYETTE IN 47902-1688
CITY OF LAKE CITY                    400 LA CROSSE ST LAKE CITY FL 32056-1687
CITY OF LAKE CITY                    PO BOX 1687 LAKE CITY FL 32056-1687
CITY OF LAKE CITY FL                 205 N. MARION AVENUE LAKE CITY FL 32055
CITY OF LAKE CITY, FL                PO BOX 1687 LAKE CITY FL 30256-1687
CITY OF LAKE JACKSON                 PO BOX 1687 LAKE JACKSON TX 77566
CITY OF LAKE JACKSON                 5 OAK DR LAKE JACKSON TX 77566
CITY OF LAKE JACKSON, TX             25 OAK DRIVE LAKE JACKSON TX 77566
CITY OF LAKELAND                     5 OAK DR LAKELAND FL 33801
CITY OF LAKELAND                     BLDG INSPECTIONS DIVISION 228 SOUTH MASSACHUSETTS AVE LAKELAND FL 33801
CITY OF LAKELAND FLORIDA             501 E LEMON ST/MAIL CODE A-12 LAKELAND FL 33801
CITY OF LAKEWOOD                     REVENUE DIVISION PO BOX 17479 DENVER CO 80217-0479
CITY OF LAKEWOOD                     STORMWATER MANAGEMENT UTILITY PO BOX 261455 LAKEWOOD CO 80226-9455
CITY OF LAKEWOOD UTILITIES, CO       PO BOX 17505 DENVER CO 80217
CITY OF LAKEWOOD, CA                 PO BOX 1038 LAKEWOOD CA 90714-1038
CITY OF LANCASTER DIVISION OF FIRE   8130 ALLISON AVENUE LANCASTER OH 43130-3472
CITY OF LANCASTER DIVISION OF FIRE   LANCASTER FIRE DEPARTMENT ATTN PERMITS 1596 E MAIN ST LANCASTER OH 43130-3472
CITY OF LANCASTER, PA                P.O. BOX 1020 LANCASTER PA 17608-1020
CITY OF LANSING                      LANCASTER FIRE DEPARTMENT ATTN PERMITS LANSING MI 48933-1605
CITY OF LANSING                      124 W MICHIGAN AVENUE RM G-29 LANSING MI 48933-1605
CITY OF LAREDO                       FIRE DEPARTMENT 1 GUADALUPE STREET LAREDO TX 78040
CITY OF LAREDO                       124 W MICHIGAN AVENUE RM G-29 LAREDO TX 78042-6548
CITY OF LAREDO UTILITIES             PO BOX 6548 LAREDO TX 78042
CITY OF LARGO                        PO BOX 6548 LARGO FL 33709-0296
CITY OF LARGO                        FINANCE DEPARTMENT PO BOX 296 LARGO FL 33709-0296
CITY OF LARGO, FL                    P.O. BOX 296 LARGO FL 33779-0296
CITY OF LAS CRUCES                   PO BOX 20000 LAS CRUCES NM 88004-9002
CITY OF LAS CRUCES, NM               P.O. BOX 20000 LAS CRUCES NM 88004
CITY OF LAS VEGAS                    PO BOX 98801 LAS VEGAS NV 89193-8801
CITY OF LAS VEGAS - SEWER            PO BOX 748022 DEPARTMENT OF FINANCE & BUS SERVICES LOS ANGELES CA 90074-8022
CITY OF LAUREL                       FINANCE DEPARTMENT PO BOX 296 LAUREL MD 20707
CITY OF LAUREL                       CLERK-TREASURERS OFFICE 8103 SANDY SPRING RD LAUREL MD 20707
CITY OF LAWTON                       CLERK-TREASURERS OFFICE 8103 SANDY SPRING RD LAWTON OK 73501
CITY OF LAWTON                       WATER DEPARTMENT 103 S W 4TH ST LAWTON OK 73501
CITY OF LAWTON, OK                   212 SW 9TH ST REVENUE SERVICES DIVISION LAWTON OK 73501-3944
CITY OF LEES SUMMIT                  WATER DEPARTMENT 103 S W 4TH ST LEES SUMMIT MO 64063
CITY OF LEES SUMMIT                  PO BOX 1600 LEES SUMMIT MO 64063
CITY OF LEESBURG, FL                 PO BOX 491286 LEESBURG FL 34749-1286
CITY OF LEWISTON                     PO BOX 1600 LEWISTON ID 83501-0617
CITY OF LEWISTON                     PO BOX 617 LEWISTON ID 83501-0617



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CITY OF LEWISTON, ID                     P.O. BOX 617 LEWISTON ID 83501
CITY OF LEWISVILLE                       PO BOX 617 LEWISVILLE TX 75029-9002
CITY OF LEWISVILLE                       FIRE PREVENTION PO BOX 299002 LEWISVILLE TX 75029-9002
CITY OF LEWISVILLE                       PO BOX 731962 DALLAS TX 75373-1962
CITY OF LIMA - UTILITIES, OH             PO BOX 183199 COLUMBUS OH 43218-3199
CITY OF LINCOLN NEBRASKA                 COUNTY-CITY BLDG 555 S 10TH ST LINCOLN NE 68508
CITY OF LITTLE ROCK                      500 W MARKHAM RM 100 CITY HALL LITTLE ROCK AR 72201
CITY OF LITTLE ROCK                      ATTN: MARK STODOLA, MAYOR 500 W. MARKHAM STREET 203 ROOM 100 LITTLE ROCK AR
                                         72201-1497
CITY OF LITTLETON, CO                    2255 W BERRY AVE LITTLETON CO 80165
CITY OF LIVONIA                          FIRE PREVENTION PO BOX 299002 LIVONIA MI 48154
CITY OF LIVONIA                          TREASURERS OFFICE 33000 CIVIC CENTER LIVONIA MI 48154
CITY OF LIVONIA WATER & SEWER DIVISION   33000 CIVIC CENTER DR WATER DEPARTMENT LIVONIA MI 48154-3060
CITY OF LONE TREE                        TREASURERS OFFICE 33000 CIVIC CENTER LONE TREE CO 80124
CITY OF LONE TREE                        8527 LONE TREE PARKWAY LONE TREE CO 80124
CITY OF LONE TREE SALES TAX              PO BOX 17987 DENVER CO 80217-0987
CITY OF LONGMONT                         CIVIC CENTER COMPLEX 350 KIMBARK STREET LONGMONT CO 80501
CITY OF LONGMONT                         350 KIMBARK STREET LONGMONT CO 80501
CITY OF LONGMONT, CO                     350 KIMBARK STREET UTILITY BILLING DIVISION LONGMONT CO 80501
CITY OF LONGVIEW                         8527 LONE TREE PARKWAY LONGVIEW TX 75606
CITY OF LONGVIEW                         PO BOX 1952 LONGVIEW TX 75606
CITY OF LONGVIEW, TX                     P.O. BOX 1952 LONGVIEW TX 75606
CITY OF LONGVIEW-HEALTH DEPARTMENT       P O BOX 1952 LONGVIEW TX 75606
CITY OF LOS ANGELES                      P O BOX 1952 PASADENA CA 91189-0120
CITY OF LOS ANGELES                      FINANCE FALSE ALARMS LBX PO BOX 102655 PASADENA CA 91189-0120
CITY OF LOS ANGELES ELIAS MARTI          PO BOX 54770 LOS ANGELES CA 90054-0770
CITY OF LOS ANGELES PW SANITATION - IWB PO BOX 102878 PASADENA CA 91189-2878
CITY OF LOS ANGELES-CITY CLERK           ATTN ALARM UNIT 150 N LOS ANGELES ST RM 144 LOS ANGELES CA 90012-3310
CITY OF LUBBOCK                          FINANCE FALSE ALARMS LBX PO BOX 102655 LUBBOCK TX 79408
CITY OF LUBBOCK                          PO BOX 2548 LUBBOCK TX 79408
CITY OF LUBBOCK UTILITIES, TX            P.O. BOX 10541 LUBBOCK TX 79408-3541
CITY OF LUFKIN                           PO BOX 2548 LUFKIN TX 75902
CITY OF LUFKIN                           PO BOX 190 LUFKIN TX 75902
CITY OF LUFKIN, TX                       P.O. BOX 190 UTILITY DIVISION LUFKIN TX 75902
CITY OF LYNCHBURG                        P.O. BOX 858 LYNCHBURG VA 24505
CITY OF LYNCHBURG                        COMMISSIONER OF THE REVENUE PO BOX 858 LYNCHBURG VA 24505
CITY OF LYNCHBURG, VA                    PO BOX 9000 ATTN: UTILITY BILLING LYNCHBURG VA 24505-9000
CITY OF LYNNWOOD                         19100 44TH AVE W LYNNWOOD WA 98036
CITY OF LYNNWOOD, WA                     PO BOX 24164 SEATTLE WA 98124-0164
CITY OF MACON                            PO BOX 190 MACON GA 31202-0247
CITY OF MACON                            PO BOX 247 MACON GA 31202-0247
CITY OF MADEIRA                          SYCAMORE JEDZ DISTRICT 7141 MIAMI AVE MADEIRA OH 45243
CITY OF MADISON                          PO BOX 247 MADISON WI 53703
CITY OF MADISON                          325 W JOHNSON STREET MADISON WI 53703
CITY OF MADISON HEIGHTS                  325 W JOHNSON STREET MADISON HEIGHTS MI 48071
CITY OF MADISON HEIGHTS                  300 WEST THIRTEEN MILE ROAD MADISON HEIGHTS MI 48071
CITY OF MADISON HEIGHTS, MI              300 WEST THIRTEEN MILE ROAD WATER & SEWER DEPARTMENT MADISON HEIGHTS MI 48071
CITY OF MANKATO                          300 WEST THIRTEEN MILE ROAD MANKATO MN 56002-3368
CITY OF MANKATO                          PO BOX 3368 MANKATO MN 56002-3368



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CITY OF MANKATO, MN                  PO BOX 3368 MANKATO MN 56002-3368
CITY OF MAPLE GROVE                  CITY TREASURER PO BOX 804107 MAPLE GROVE MN 55311-6180
CITY OF MAPLE GROVE                  PO BOX 1180 MAPLE GROVE MN 55311-6180
CITY OF MAPLE GROVE, MN              12800 ARBOR LAKES PKWY N MAPLE GROVE MN 55369-7064
CITY OF MAPLEGROVE                   12800 ARBOR LAKES PKWY N MAPLEGROVE MN 55369-7064
CITY OF MAPLEGROVE                   PO BOX 1180 MAPLEGROVE MN 55369-7064
CITY OF MAPLEWOOD                    PO BOX 3368 MAPLEWOOD MN 55109
CITY OF MAPLEWOOD                    1830 EAST COUNTY ROAD B MAPLEWOOD MN 55109
CITY OF MARION                       MARION POLICE DEPARTMENT 233 WEST CENTER STREET MARION OH 43302
CITY OF MARION                       100 TOWERS SQUARE MARION IL 62959
CITY OF MARION, IL                   350 TOWER SQ PLZ MARION IL 62959-2405
CITY OF MARION, OH                   233 WEST CENTER STREET ATTN: UTILITY BILLING DEPT MARION OH 43302-3643
CITY OF MARKHAM                      101 TOWN CENTRE BLVD MARKHAM ON L3R 9W3 CANADA
CITY OF MAUMEE                       FINANCE DEPARTMENT 400 CONANT ST MAUMEE OH 43537-3374
CITY OF MAUMEE                       DIVISION OF INCOME TAX 400 CONANT STREET MAUMEE OH 43537-3397
CITY OF MAUMEE, OH                   400 CONANT STREET MAUMEE OH 43537-3374
CITY OF MCALLEN                      1830 EAST COUNTY ROAD B MCALLEN TX 78502
CITY OF MCALLEN                      PO BOX 2108 MCALLEN TX 78502
CITY OF MEDFORD                      PO BOX 2327 PORTLAND OR 97208-2327
CITY OF MEDFORD                      PO BOX 2108 PORTLAND OR 97208-2327
CITY OF MEDFORD, OR                  PO BOX 2327 PORTLAND OR 97208-2327
CITY OF MEMPHIS                      PO BOX 2327 MEMPHIS TN 38103
CITY OF MEMPHIS                      RM 301 CITY HALL/125 N MID-AM MEMPHIS TN 38103
CITY OF MERIDIAN                     RM 301 CITY HALL/125 N MID-AM MERIDIAN ID 83642-2619
CITY OF MERIDIAN                     33 E BROADWAY AVENUE SUITE 102 MERIDIAN ID 83642-2619
CITY OF MERIDIAN, MS                 P.O. BOX 231 WATER & SEWERAGE MERIDIAN MS 39302-0231
CITY OF MESA                         33 E BROADWAY AVENUE SUITE 102 MESA AZ 85211-1878
CITY OF MESA                         PO BOX 1878 MESA AZ 85211-1878
CITY OF MESA, AZ                     P.O. BOX 1878 MESA AZ 85211-1878
CITY OF MESQUITE                     PO BOX 1878 MESQUITE TX 75149
CITY OF MESQUITE                     PO BOX 137 MESQUITE TX 75149
CITY OF MESQUITE                     PO BOX 287 MUNICIPAL WAY AT GALLOWAY MESQUITE TX 75149
CITY OF MESQUITE TAX OFFICE          PO BOX 850267 MESQUITE TX 75185-0267
CITY OF MESQUITE, TX                 PO BOX 850137 MESQUITE TX 75185-0137
CITY OF MESQUITE, TX                 P.O. BOX 850287 UTILITIES MESQUITE TX 75185-0287
CITY OF MILPITAS                     PO BOX 287 MUNICIPAL WAY AT GALLOWAY MILPITAS CA 95035
CITY OF MILPITAS                     FINANCE DEPT 455 EAST CALAVERAS BLVD MILPITAS CA 95035
CITY OF MILPITAS, CA                 PO BOX 102710 PASADENA CA 91189-2710
CITY OF MISHAWAKA                    FINANCE DEPARTMENT 455 EAST CALAVERAS BLVD MISHAWAKA IN 46544
CITY OF MISHAWAKA                    600 E 3RD SUITE 101 MISHAWAKA IN 46544
CITY OF MISSISSAUGA                  600 E 3RD SUITE 101 MISSISSAUGA ON L5A 3S4 CANADA
CITY OF MISSISSAUGA                  PO BOX 3040 STATION A MISSISSAUGA ON L5A 3S4 CANADA
CITY OF MOBILE                       PO BOX 11407 DEPARTMENT 1519 BIRMINGHAM AL 35246-1519
CITY OF MOBILE                       DEPARTMENT 1519 PO BOX 11407 BIRMINGHAM AL 35246-1519
CITY OF MODESTO                      PO BOX 3442 MODESTO CA 95353
CITY OF MODESTO CA                   PO BOX 767 MODESTO CA 95353-0767
CITY OF MONROE                       DO NOT MAIL ORLANDO FL 32809
CITY OF MONROE                       POST OFFICE BOX 123 MONROE LA 71210-0123
CITY OF MONROE, LA                   P.O. BOX 1743 MONROE LA 71210



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CITY OF MONROVIA                       PO BOX 3040 STATION A SACRAMENTO CA 95826-9110
CITY OF MONROVIA                       PO BOX 269110 SACRAMENTO CA 95826-9110
CITY OF MONTCLAIR                      PO BOX 269110 MONTCLAIR CA 91763
CITY OF MONTCLAIR                      COMMUNITY DEVELOPMENT DEPT PO BOX 2308 MONTCLAIR CA 91763
CITY OF MONTCLAIR, CA                  P.O. BOX 2308 MONTCLAIR CA 91763
CITY OF MONTGOMERY                     P.O. BOX 830469 BIRMINGHAM AL 35283-0469
CITY OF MONTGOMERY                     REVENUE DIVISION PO BOX 1111 MONTGOMERY AL 36101-1111
CITY OF MT JULIET                      COMMUNITY DEVELOPMENT DEPARTMENT PO BOX 2308 MT JULIET TN 37122
CITY OF MT JULIET                      2425 NORTH MT JULIET ROAD MT JULIET TN 37122
CITY OF MT JULIET, TN                  P.O. BOX 679 MOUNT JULIET TN 37121
CITY OF MURFREESBORO                   2425 NORTH MT JULIET ROAD MURFREESBORO TN 37133-1139
CITY OF MURFREESBORO                   COUNTY RECORDER PO BOX 1139 MURFREESBORO TN 37133-1139
CITY OF MUSKOGEE, OK                   P.O. BOX 1927 WATER DEPARTMENT MUSKOGEE OK 74402
CITY OF MYRTLE BEACH                   HOSPITALITY FEE P.O. BOX 2468 MYRTLE BEACH SC 29578
CITY OF MYRTLE BEACH                   FIRE RESCUE C/O FIRE RECOVERY USA LLC PO BOX 935667 ATLANTA GA 31193-5667
CITY OF MYRTLE BEACH, SC               PO BOX 2468 MYRTLE BEACH SC 29578-2468
CITY OF NAPLES                         COUNTY RECORDER PO BOX 1139 NAPLES FL 34120
CITY OF NAPLES                         275 13TH ST NORTH NAPLES FL 34120
CITY OF NAPLES, FL                     PO BOX 632032 CINCINNATI OH 45263-2032
CITY OF NEW PHILADELPHIA               INCOME TAX DEPARTMENT JOHN KNISELY MUNICIPAL CENTRE 150 EAST HIGH AVENUE NEW
                                       PHILADELPHIA OH 44663
CITY OF NEW PHILADELPHIA               166 EAST HIGH AVE NEW PHILADELPHIA OH 44663
CITY OF NEW YORK                       FINANCE COMMISSIONER 66 JOHN STREET 10TH FLOOR NEW YORK NY 10038
CITY OF NEWNAN                         ATTN: FINANCE DEPARTMENT 25 LAGRANGE STREET NEWNAN GA 30263
CITY OF NEWNAN                         PO BOX 1193 NEWNAN GA 30264
CITY OF NEWPORT NEWS                   FIRE DEPT FIRE PREVENTION BILLING OFFICE NEWPORT NEWS VA 23607
CITY OF NEWPORT NEWS                   2400 WASHINGTON AVENUE NEWPORT NEWS VA 23607-4389
CITY OF NIAGARA FALLS                  275 13TH ST NORTH NIAGARA FALLS ON L2E 6X5 CANADA
CITY OF NIAGARA FALLS                  PO BOX 1023 - 4310 QUEEN ST NIAGARA FALLS ON L2E 6X5 CANADA
CITY OF NIAGARA FALLS, ON              P.O. BOX 1023 4310 QUEEN STREET NIAGARA FALLS ON L2E6X5 CANADA
CITY OF NILES, OH                      34 WEST STATE STREET NILES OH 44446-5036
CITY OF NORMAN                         PO BOX 1023 - 4310 QUEEN ST NORMAN OK 73070
CITY OF NORMAN                         PO BOX 370/201 WEST GRAY NORMAN OK 73070
CITY OF NORMAN, OK                     PO BOX 5599 NORMAN OK 73070
CITY OF NORTH CANTON, OH               145 NORTH MAIN STREET PUBLIC UTILITIES NORTH CANTON OH 44720
CITY OF NORTH CHARLESTON               ATTN: COUNTY BUSINESS LICENSE 4045 BRIDGE VIEW DRIVE NORTH CHARLESTON SC 29405
CITY OF NORTH CHARLESTON               ATTN: E WARREN NEWTON FINANCE DEPT PO BOX 190016 NORTH CHARLESTON SC 29419
CITY OF NORTH LAS VEGAS                C/O DEVELOPMENT AND FLOOD CONTROL DIV 2250 LAS VEGAS BLVD N STE 200 N LAS
                                       VEGAS NV 89030-5873
CITY OF NORTH LAS VEGAS, NV- FINANCE   PO BOX 360118 NORTH LAS VEGAS NV 89036-0118
DEP
CITY OF NORTH LITTLE ROCK              ATTN: MAYOR 300 MAIN STREET NORTH LITTLE ROCK AR 72114
CITY OF NORTH LITTLE ROCK FINANCE      NORTHGLENN MUNICIPAL COURT 11701 COMMUNITY CENTER DR NORTH LITTLE ROCK AR
OFFICE                                 72119
CITY OF NORTH LITTLE ROCK FINANCE      CITY CLERK & COLLECTOR PO BOX 5757 NORTH LITTLE ROCK AR 72119
OFFICE
CITY OF NORTH MIAMI                    CITY CLERK & COLLECTOR PO BOX 5757 NORTH MIAMI FL 33261-0847
CITY OF NORTH MIAMI                    CITY CLERKS OFFICE PO BOX 610847 NORTH MIAMI FL 33261-0847
CITY OF NORTH MIAMI, FL                776 NE 125TH ST NORTH MIAMI FL 33161
CITY OF NORTH OLMSTED                  FINANCE DEPARTMENT 5200 DOVER CENTER ROAD NORTH OLMSTED OH 44070-3129


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CITY OF NORTH OLMSTED                  CITY CLERKS OFFICE PO BOX 610847 NORTH OLMSTED OH 44070-3129
CITY OF NORTH RICHLAND HILLS           FINANCE DEPARTMENT 5200 DOVER CENTER ROAD FORT WORTH TX 76161-1092
CITY OF NORTH RICHLAND HILLS           PO BOX 961092 FORT WORTH TX 76161-1092
CITY OF NORTHGLENN                     PO BOX 370/201 WEST GRAY NORTHGLENN CO 80233-1099
CITY OF NORTHGLENN                     NORTHGLENN MUNICIPAL COURT 11701 COMMUNITY CENTER DR NORTHGLENN CO 80233-1099
CITY OF NORTHGLENN, CO                 P.O. BOX 17489 DENVER CO 80217-0489
CITY OF NOVI, MI                       PO BOX 33321 DRAWER 47 DETROIT MI 48232-5321
CITY OF OAK RIDGE                      1584 HADLEY AVENUE NORTH OAK RIDGE TN 37831-0001
CITY OF OAK RIDGE                      PO BOX 1 OAK RIDGE TN 37831-0001
CITY OF OAK RIDGE UTILITIES BUSINESS   OFFICE P O BOX 1 OAK RIDGE TN 37831
CITY OF OAK RIDGE, TN                  P.O. BOX 1 OAK RIDGE TN 37831-0001
CITY OF OAKDALE MN                     PO BOX 961092 OAKDALE MN 55128
CITY OF OAKDALE MN                     1584 HADLEY AVENUE NORTH OAKDALE MN 55128
CITY OF OCALA                          PO BOX 1 OCALA FL 34471-2172
CITY OF OCALA                          ACCOUNTS RECEIVABLE 201 SE 3RD ST OCALA FL 34471-2172
CITY OF OCALA                          201 SE 3RD STREET OCALA FL 34471-2174
CITY OF OCEANSIDE                      3855 MISSION AVENUE OCEANSIDE CA 92054
CITY OF OCEANSIDE                      FINANCIAL SERVICES DEPARTMENT 300 NORTH COAST HIGHWAY OCEANSIDE CA 92054-2859
CITY OF OCEANSIDE, CA                  PO BOX 513106 LOS ANGELES CA 90051-1106
CITY OF ODESSA                         ACCOUNTS RECEIVABLE 201 SE 3RD ST ODESSA TX 79760-2552
CITY OF ODESSA                         PO BOX 2552 ODESSA TX 79760-2552
CITY OF ODESSA, TX                     P.O. BOX 2552 BILLING & COLLECTION ODESSA TX 79760-2552
CITY OF OFALLON, IL                    255 SOUTH LINCOLN AVENUE WATER DEPARTMENT OFALLON IL 62269
CITY OF OKLAHOMA CITY                  PO BOX 2552 OKLAHOMA CITY OK 73196-0187
CITY OF OKLAHOMA CITY                  POLICE DEPT PERMIT & ID SECTION PO BOX 96-0187 OKLAHOMA CITY OK 73196-0187
CITY OF OKLAHOMA CITY, OK              PO BOX 26570 OKLAHOMA CITY OK 73126-0570
CITY OF OLATHE                         100 WEST SANTA FE OLATHE KS 66051-0768
CITY OF OLATHE, KS                     PO BOX 950441 ST LOUIS MO 63195-0441
CITY OF OLYMPIA                        CITY TREASURER P.O. BOX 2009 OLYMPIA WA 98507-2009
CITY OF OLYMPIA                        PO BOX 7966 OLYMPIA WA 98507-7966
CITY OF OLYMPIA, WA                    P.O. BOX 7966 UTILITY DEPARTMENT OLYMPIA WA 98507-7966
CITY OF OMAHA                          DO NOT MAIL ORLANDO FL 32809
CITY OF OMAHA                          CITY CENTRAL CASHIER, RM. H10 OMAHA/DOUGLAS CIVIC CENTER OMAHA NE 68183
CITY OF OMAHA/NEBRASKA                 THE CITY CENTRAL CASHIER OMAHA DOUGLAS CIVIC CENTER 1819 FARNAM ST RM H10
                                       OMAHA NE 68183-1000
CITY OF ONTARIO                        BUILDING DEPARTMENT PO BOX 11370 ONTARIO OH 44906
CITY OF ONTARIO                        12800 ARBOR LAKES PKWY N SANTA ANA CA 92711-1370
CITY OF ONTARIO                        BUILDING DEPARTMENT PO BOX 11370 SANTA ANA CA 92711-1370
CITY OF ONTARIO WATER\SEWER DEPT       555 STUMBO RD ONTARIO OH 44862
CITY OF OREM                           POLICE DEPARTMENT PERMIT & ID SECTION OREM UT 84057
CITY OF OREM                           56 NORTH STATE ST OREM UT 84057
CITY OF OREM, UT                       56 NORTH STATE OREM UT 84057-5597
CITY OF ORLANDO                        56 NORTH STATE ST ORLANDO FL 32801
CITY OF ORLANDO                        400 S ORANGE AVENUE ORLANDO FL 32801
CITY OF OSHAWA                         400 S ORANGE AVENUE OSHAWA ON L1H 3Z7 CANADA
CITY OF OSHAWA                         50 CENTRE STREET SOUTH OSHAWA ON L1H 3Z7 CANADA
CITY OF OTTAWA                         BEN FRANKLIN PLACE SATELITE FACILITY 101 CENTREPOINTE DRIVE 3RD FLOOR NEPEAN
                                       ON K2G 5K7 CANADA
CITY OF OTTAWA                         REVENUE BRANCH PO BOX 4647 STATION A TORONTO ON M5W 0E7 CANADA



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CITY OF OTTAWA                       P.O. BOX 4648 STN A TORONTO ON M5W 0E8 CANADA
CITY OF OVERLAND PARK                50 CENTRE STREET SOUTH OVERLAND PARK KS 66212
CITY OF OVERLAND PARK                CITY HALL - 8500 SANTA FE DR OVERLAND PARK KS 66212
CITY OF OWENSBORO                    INCOME TAX DIVISION 555 STUMBO ROAD OWENSBORO KY 42302-9003
CITY OF OWENSBORO                    ACCOUNTS RECEIVABLE PO BOX 10003 OWENSBORO KY 42302-9003
CITY OF OWENSBORO                    ACCOUNTS RECEIVABLE PO BOX 10003 OWENSBORO KY 42303
CITY OF OXFORD                       CITY HALL - 8500 SANTA FE DR OXFORD AL 36203
CITY OF OXFORD                       PO BOX 3383 OXFORD AL 36203
CITY OF OXNARD                       PO BOX 3383 OXNARD CA 93030-5790
CITY OF OXNARD                       300 W THIRD ST OXNARD CA 93030-5790
CITY OF OXNARD, CA                   214 SOUTH C ST OXNARD CA 93030-5712
CITY OF PADUCAH                      FINANCE DEPARTMENT 101 EAST 4TH STREET PADUCAH KY 42002
CITY OF PADUCAH                      300 S 5TH STREET PADUCAH KY 42002
CITY OF PALM DESERT                  73-510 FRED WARING DRIVE PALM DESERT CA 92260
CITY OF PALMDALE                     300 W THIRD ST PALMDALE CA 93550
CITY OF PALMDALE                     CODE ENFORCEMENT DIVISION 38250 NORTH SIERRA HIGHWAY PALMDALE CA 93550
CITY OF PANAMA CITY                  LICENSE DEPARTMENT PO BOX 1880 PANAMA CITY FL 32402
CITY OF PANAMA CITY, FL              501 HARRISON AVE PANAMA CITY FL 32401
CITY OF PARMA                        6611 RIDGE ROAD PARMA OH 44129
CITY OF PARMA TAX DEPARTMENT         6611 RIDE ROAD PARMA OH 44129
CITY OF PASADENA                     1211 E SOUTHMORE AVENUE PASADENA TX 77502
CITY OF PASADENA                     1211 SOUTHMORE AVENUE PASADENA TX 77502
CITY OF PASADENA HEALTH DEPARTMENT   208 WEST SHAW PASADENA TX 77506
CITY OF PASADENA HEALTH DEPARTMENT   CODE ENFORCEMENT DIVISION 38250 NORTH SIERRA HIGHWAY PASADENA TX 77506
CITY OF PASADENA, TX                 P.O. BOX 1337 PASADENA TX 77501
CITY OF PEARLAND                     3519 LIBERTY DRIVE PEARLAND TX 77581
CITY OF PEMBROKE PINES               208 WEST SHAW PEMBROKE PINES FL 33025-4459
CITY OF PEMBROKE PINES               3RD FLOOR A/R 601 CITY CENTER WAY PEMBROKE PINES FL 33025-4459
CITY OF PEMBROKE PINES, FL           PO BOX 269005 PEMBROKE PINES FL 33026
CITY OF PENSACOLA                    3RD FLOOR A/R 601 CITY CENTER WAY PENSACOLA FL 32521-0044
CITY OF PENSACOLA                    PO BOX 12910 PENSACOLA FL 32521-0044
CITY OF PENSACOLA, FL                PO BOX 12910 PENSACOLA FL 32521-0044
CITY OF PEORIA                       ATTN: CITY TREASURERS OFFICE 419 FULTON ST ROOM 100 PEORIA IL 61602-1217
CITY OF PEORIA                       DEPARTMENT OF FINANCE CITY HALL BUILDING 419 FULTON STREET PEORIA IL
                                     61602-1276
CITY OF PEORIA ILLINOIS              PO BOX 6390 PEORIA IL 61601
CITY OF PEORIA, AZ                   PO BOX 52155 PHOENIX AZ 85072-2155
CITY OF PERRY                        PO BOX 12910 PERRY GA 31069-6030
CITY OF PERRY                        TAX DEPARTMENT PO BOX 2030 PERRY GA 31069-6030
CITY OF PERRY, GA                    P.O. BOX 2030 PERRY GA 31069-6030
CITY OF PERU                         TAX DEPARTMENT PO BOX 2030 PERU IL 61354
CITY OF PERU                         1901 FOURTH STREET PERU IL 61354
CITY OF PERU                         PO BOX 299 PERU IL 61354
CITY OF PERU, IL                     PO BOX 299 PERU IL 61354-0299
CITY OF PETERBOROUGH                 PO BOX 299 PETERBOROUGH ON K9H 3R9 CANADA
CITY OF PETERBOROUGH                 500 GEORGE ST N PETERBOROUGH ON K9H 3R9 CANADA
CITY OF PHILADELPHIA                 PO BOX 1049 PHILIDELPHIA PA 19105
CITY OF PHILADELPHIA                 PO BOX 1942 PHILADELPHIA PA 19105
CITY OF PHILADELPHIA                 PO BOX 1018 PHILADELPHIA PA 19105-1018



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CITY OF PHILADELPHIA - WATER REVENUE,   PO BOX 41496 PHILADELPHIA PA 19101-1496
PA
CITY OF PHOENIX                         500 GEORGE ST N PHOENIX AZ 85038-9690
CITY OF PHOENIX                         PO BOX 29690 PHOENIX AZ 85038-9690
CITY OF PHOENIX, AZ                     PO BOX 29100 PHOENIX AZ 85038-9100
CITY OF PINE BLUFF                      OFFICE OF CITY COLLECTOR 200 EAST 8TH AVENUE PINE BLUFF AR 71601
CITY OF PIQUA                           219 W WATER STREET PIQUA OH 45356
CITY OF PIQUA, OH                       201 WEST WATER ST PIQUA OH 45356
CITY OF PITTSBURG                       PO BOX 29690 PITTSBURG CA 94565
CITY OF PITTSBURG                       65 CIVIC AVENUE PITTSBURG CA 94565
CITY OF PITTSBURG, CA                   PO BOX 4988 UTILITY BILLING DEPARTMENT WHITTIER CA 90607
CITY OF PLANO                           PLANO POLICE DEPARTMENT FALSE ALARM REDUCTION UNIT PLANO TX 75086-0358
CITY OF PLANO                           PLANO POLICE DEPT FALSE ALARM REDUCTION UNIT PO BOX 860358 PLANO TX 75086-0358
CITY OF PLANO, TX                       P.O. BOX 861990 PLANO TX 75086-1990
CITY OF PLANTATION, FL                  PO BOX 31132 TAMPA FL 33631
CITY OF PORT ORANGE, FL                 PO BOX 291037 PORT ORANGE FL 32129-1037
CITY OF PORT RICHEY                     TREASURY OFFICE 7900 S WESTNEDGE AVE PORT RICHEY FL 34668
CITY OF PORT RICHEY                     PUBLIX SHOPPING CENTER 6333 RIDGE ROAD PORT RICHEY FL 34668
CITY OF PORT RICHEY, FL                 6333 RIDGE ROAD PORT RICHEY FL 34668
CITY OF PORTAGE                         65 CIVIC AVENUE PORTAGE MI 49002-5117
CITY OF PORTAGE                         TREASURY OFFICE 7900 S WESTNEDGE AVE PORTAGE MI 49002-5117
CITY OF PORTAGE, MI                     7900 SOUTH WESTNEDGE AVENUE PORTAGE MI 49002-5160
CITY OF PORTLAND                        111 SW COLUMBIA STREET SUITE 600 PORTLAND OR 97201
CITY OF PORTLAND                        111 SW COLUMBIA ST 1600 PORTLAND OR 97201-5840
CITY OF PRESCOTT, AZ                    201 SOUTH CORTEZ STREET PRESCOTT AZ 86302-2059
CITY OF PUEBLO                          CITY HALL PUEBLO CO 81002
CITY OF PUEBLO                          PO BOX 1427 PUEBLO CO 81008
CITY OF PUEBLO FINANCE DEPARTMENT       PO BOX 1427 PUEBLO CO 81002-1427
CITY OF PUEBLO FINANCE DEPARTMENT       PUBLIX SHOPPING CENTER 6333 RIDGE ROAD PUEBLO CO 81002-1427
CITY OF RALEIGH                         PO BOX 1427 RALEIGH NC 27602-0009
CITY OF RALEIGH                         PO BOX 9 RALEIGH NC 27602-0009
CITY OF RALEIGH, NC                     PO BOX 71081 ATTN: UTILITY BILLING CHARLOTTE NC 28272-1081
CITY OF RAPID CITY                      WATER RECLAMATION DIV FINANCE OFFICE 300 6TH STREET RAPID CITY SD 57701
CITY OF REDDING                         PO BOX 9 REDDING CA 96001
CITY OF REDDING                         760 PARKVIEW AVE REDDING CA 96001
CITY OF REDDING, CA                     PO BOX 496081 MUNICIPAL UTILITIES REDDING CA 96049-6081
CITY OF REGINA                          760 PARKVIEW AVE REGINA SA SK S4P 3M3 CANADA
CITY OF REGINA                          PO BOX 5042 REGINA SK S4P 3M3 CANADA
CITY OF REGINA                          P.O. BOX 5022 REGINA SK S4P4J3 CANADA
CITY OF RENO                            PO BOX 5042 RENO NV 89505
CITY OF RENO                            PO BOX 1900 RENO NV 89505
CITY OF RENO, NV                        PO BOX 54080 LOS ANGELES CA 90054-0080
CITY OF RICHMOND                        900 EAST BROAD STREET RICHMOND VA 23219
CITY OF RICHMOND                        PO BOX 1268 RICHMOND KY 40476-1268
CITY OF RICHMOND                        50 NORTH 5TH STREET RICHMOND IN 47374
CITY OF RICHMOND, VA                    PO BOX 71210 CHARLOTTE NC 28272-1210
CITY OF RIVERSIDE                       CITY HALL 3900 MAIN ST RIVERSIDE CA 92522-0144
CITY OF ROCHESTER                       PO BOX 1900 ROCHESTER MN 55902
CITY OF ROCHESTER                       CITY HALL ROOM 100 ROCHESTER MN 55902



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CITY OF ROCHESTER HILLS MICH            CITY HALL ROOM 100 ROCHESTER HILLS MI 48309-3034
CITY OF ROCHESTER HILLS MICH            ATTN TREASURY DEPARTMENT 1000 ROCHESTER HILLS DR ROCHESTER HILLS MI 48309-3034
CITY OF ROCHESTER HILLS WATER & SEWER   PO BOX 94593 CLEVELAND OH 44101-4593
CITY OF ROCKFORD                        ATTN: INFRASTRUCTURE TAX/PAYMENT CENTER 425 EAST STATE STREET ROCKFORD IL
                                        61104-1014
CITY OF ROCKFORD                        ALARM UNIT PO BOX 6112 CONCORD CA 94524-1112
CITY OF ROCKFORD, IL                    PO BOX 8492 CAROL STREAM IL 60197-8492
CITY OF ROCKY MOUNT                     ATTN TREASURY DEPARTMENT 1000 ROCHESTER HILLS DR ROCKY MOUNT NC 27802
CITY OF ROCKY MOUNT                     PO BOX 1180 ROCKY MOUNT NC 27802
CITY OF ROCKY MOUNT                     P.O. BOX 1180 ATTN: CASHIERS OFFICE ROCKY MOUNT NC 27802-1180
CITY OF ROCKY MOUNT                     331 SOUTH FRANKLIN STREET ROCKY MOUNT NC 27804
CITY OF ROGERS                          ATTN: TREASURER 301 W. CHESTNUT ROGERS AR 72756
CITY OF ROGERS                          301 W CHESTNUT ROGERS AR 72756
CITY OF ROGERS POLICE DEPT ARKANSAS     ROGERS POLICE DEPARTMENT 1905 SOUTH DIXIELAND ROAD ROGERS AR 72758-6201
CITY OF ROHNERT PARK                    PO BOX 1180 ROHNERT PARK CA 94928-3126
CITY OF ROHNERT PARK                    130 AVRAM AVENUE ROHNERT PARK CA 94928-3126
CITY OF ROHNERT PARK, CA                130 AVRAM AVE UTILITY DEPARTMENT ROHNERT PARK CA 94928
CITY OF ROME                            CITY CLERKS OFFICE-MIXED DRINK PO BOX 1433 ROME GA 30162-1433
CITY OF ROME                            PO BOX 1433 ROME GA 30162-1433
CITY OF ROME, GA                        PO BOX 1711 ROME GA 30162
CITY OF ROSEVILLE, MN                   2660 CIVIC CENTER DRIVE ROSEVILLE MN 55113
CITY OF ROSWELL                         38 HILL STREET SUITE 130 ROSWELL GA 30075
CITY OF ROSWELL                         ATTN GARY GRAEBNER 38 HILL STREET STE 130 ROSWELL GA 30075
CITY OF ROSWELL, GA                     PO BOX 732680 DALLAS TX 75373-2680
CITY OF ROSWELL, NM - PRETREATMENT DEPT PO BOX 1838 PRETREATMENT DEPARTMENT ROSWELL NM 88202-1838
CITY OF ROSWELL, NM - WATER DEPT        P.O. DRAWER 1838 ROSWELL NM 88202-1838
CITY OF ROUND ROCK                      130 AVRAM AVENUE ROUND ROCK TX 78664
CITY OF ROUND ROCK TX                   221 E MAIN ST ROUND ROCK TX 78664
CITY OF ROUND ROCK TX                   2008 ENTERPRISE DR ROUND ROCK TX 78664
CITY OF SALEM, OR                       PO BOX 2795 UTILITY BILLING PORTLAND OR 97208-2795
CITY OF SALINA                          2008 ENTERPRISE DR IRVING TX 75014-1567
CITY OF SALINA                          CITY OF SALINA ALARM PROGRAM PO BOX 141567 IRVING TX 75014-1567
CITY OF SALINA, KS                      P.O. BOX 1307 SALINA KS 67402-1307
CITY OF SALINAS                         PO BOX 736 SALINA KS 67402-0736
CITY OF SALINAS                         300 S 5TH STREET SALINA KS 67402-0736
CITY OF SALINAS                         PO BOX 269110 SACRAMENTO CA 95826-9110
CITY OF SALINAS                         PO BOX 736 SACRAMENTO CA 95826-9110
CITY OF SALISBURY                       CITY OF SALINA ALARM PROGRAM PO BOX 141567 SALISBURY MD 21801-4940
CITY OF SALISBURY                       FINANCE DEPT 125 N DIVISION ST SALISBURY MD 21801-4940
CITY OF SALISBURY, MD                   125 NORTH DIVISION ST, RM 103 SALISBURY MD 21801-4940
CITY OF SAN ANGELO                      FINANCE DEPARTMENT PO BOX 1751 SAN ANGELO TX 76902-1751
CITY OF SAN ANGELO                      FINANCE DEPARTMENT 125 N DIVISION ST SAN ANGELO TX 76902-1751
CITY OF SAN ANGELO UTILITY BILLING      P.O. BOX 5820 SAN ANGELO TX 76902-5820
CITY OF SAN ANTONIO                     FINANCE DEPARTMENT PO BOX 1751 SAN ANTONIO TX 78285
CITY OF SAN ANTONIO                     FOOD SANITATION DIVISION 332 W COMMERCE RM 101 SAN ANTONIO TX 78285
CITY OF SAN BERNARDINO                  FOOD SANITATION DIVISION 332 W COMMERCE RM 101 SANTA ANA CA 92711-1370
CITY OF SAN BERNARDINO                  C/O PROCESSING CENTER PO BOX 11370 SANTA ANA CA 92711-1370
CITY OF SAN BERNARDINO, CA - WATER      P.O. BOX 710 WATER DEPARTMENT SAN BERNARDINO CA 92402
CITY OF SAN BRUNO                       CITY HALL 567 EL CAMINO REAL SAN BRUNO CA 94066



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CITY OF SAN BRUNO                    C/O PROCESSING CENTER PO BOX 11370 SAN BRUNO CA 94066
CITY OF SAN BRUNO, CA                570 LINDEN AVENUE SAN BRUNO CA 94066-4243
CITY OF SAN DIEGO                    CITY HALL 567 EL CAMINO REAL SAN DIEGO CA 92112-1431
CITY OF SAN DIEGO                    SAN DIEGO POLICE DEPARTMENT ATTN: POLICE PERMITS AND LICENSING MS 735 PO BOX
                                     121431 SAN DIEGO CA 92112-1431
CITY OF SAN JOSE                     PO BOX 1788 SAN JOSE CA 95110
CITY OF SAN JOSE                     201 W MISSION ST SAN JOSE CA 95110
CITY OF SAN JOSE, CA                 PO BOX 888242 LOS ANGELES CA 90088-8242
CITY OF SAN MARCOS                   201 W MISSION ST SAN MARCOS TX 78666
CITY OF SAN MARCOS                   630 E HOPKINS STREET SAN MARCOS TX 78666
CITY OF SAN MARCOS, TX               636 E HOPKINS UTILITY CUSTOMER SERVICE DIV SAN MARCOS TX 78666-6397
CITY OF SANFORD                      PO BOX 1788 SANFORD FL 32772-1788
CITY OF SANFORD                      SAN DIEGO POLICE DEPARTMENT ATTN: POLICE PERMITS AND LICENSING SANFORD FL
                                     32772-1788
CITY OF SANFORD, FL                  P.O. BOX 2847 SANFORD FL 32772
CITY OF SANTA FE                     630 E HOPKINS STREET DENVER CO 80291-2695
CITY OF SANTA FE                     FALSE ALARM REDUCTION PROGRAM PO BOX 912695 DENVER CO 80291-2695
CITY OF SANTA FE, NM                 PO BOX 842004 LOS ANGELES CA 90084-2004
CITY OF SANTA MARIA                  FALSE ALARM REDUCTION PROGRAM PO BOX 912695 SANTA MARIA CA 93454-5136
CITY OF SANTA MARIA                  FINANCE DIVISION 206 E COOK ST SANTA MARIA CA 93454-5136
CITY OF SANTA MARIA, CA              206 E COOK ST SANTA MARIA CA 93454-5136
CITY OF SASKATOON                    FINANCE DIVISION 206 E COOK ST SASKATOON SK S7K 8E1 CANADA
CITY OF SASKATOON                    PO BOX 1788 SASKATOON SK S7K 8E1 CANADA
CITY OF SASKATOON, SK                P.O. BOX 7030 TREASURERS OFFICE-UTILITIES DIVISION SASKATOON SK S7K 8E3 CANADA
CITY OF SAVANNAH                     REVENUE MGR. P.O. BOX 1228 SAVANNAH GA 31402
CITY OF SAVANNAH                     PO BOX 1228 SAVANNAH GA 31402
CITY OF SAVANNAH, GA                 PO BOX 1968 REVENUE DEPT SAVANNAH GA 31402-1968
CITY OF SCOTTSDALE                   7447 E INDIAN SCHOOL RD SCOTTSDALE AZ 85251
CITY OF SEBRING, FL                  P.O. BOX 9900 SEBRING FL 33871-9931
CITY OF SEVIERVILLE                  FINANCE DEPARTMENT / CITY RECORDER 120 GARY WADE BLVD SEVIERVILLE TN 37862
CITY OF SEVIERVILLE                  120 GARY R WADE BLVD SEVIERVILLE TN 37862
CITY OF SEVIERVILLE, TN              P.O. BOX 5500 SEVIERVILLE TN 37864
CITY OF SHAWNEE                      PO BOX 1788 SHAWNEE OK 74802
CITY OF SHAWNEE                      16 WEST 9TH ST SHAWNEE OK 74802
CITY OF SHAWNEE, OK                  PO BOX 248939 OKLAHOMA CITY OK 73124-8939
CITY OF SHENANDOAH                   SHENANDOAH POLICE DEPARTMENT 29955 IH 45 NORTH SHENANDOAH TX 77381
CITY OF SHENANDOAH, TX               29955 I-45 NORTH SHENANDOAH TX 77381-1199
CITY OF SHERMAN                      16 WEST 9TH ST SHERMAN TX 75090-5832
CITY OF SHERMAN                      ATTN PAM WILLIAMS 220 W MULBERRY ST SHERMAN TX 75090-5832
CITY OF SHERMAN, TX                  PO BOX 1106 SHERMAN TX 75091-1106
CITY OF SIOUX CITY, IA               PO BOX 447 ATTN: CUSTOMER SERVICE SIOUX CITY IA 51102
CITY OF SMYRNA                       ATTN: CITY HALL 2800 KING STREET SMYRNA GA 30080
CITY OF SMYRNA, GA                   PO BOX 116296 ATLANTA GA 30368-6296
CITY OF SOUTH SAN FRANCISCO          14400 DIX TOLEDO RD SOUTH SAN FRANCISCO CA 94080
CITY OF SOUTH SAN FRANCISCO          WATER QUALITY CONTROL PLANT 195 BELLE AIR ROAD SOUTH SAN FRANCISCO CA 94080
CITY OF SOUTHAVEN                    CHAMBER OF COMMERCE PO BOX 211 SOUTHAVEN MS 38671
CITY OF SOUTHAVEN, MS                8710 NORTHWEST DR SOUTHAVEN MS 38671-2410
CITY OF SOUTHGATE                    ATTN PAM WILLIAMS 220 W MULBERRY ST SOUTHGATE MI 48195
CITY OF SOUTHGATE                    14400 DIX TOLEDO RD SOUTHGATE MI 48195



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CITY OF SPARTANBURG                  FINANCE DEPARTMENT PO BOX 5495 SPARTANBURG SC 29304
CITY OF SPARTANBURG                  PO BOX 1749 FINANCE DEPARTMENT SPARTANBURG SC 29304
CITY OF SPOKANE                      WATER QUALITY CONTROL PLANT 195 BELLE AIR ROAD SEATTLE WA 98124-3843
CITY OF SPOKANE                      C/O FALSE ALARM REDUCTION PROGRAM PO BOX 3843 SEATTLE WA 98124-3843
CITY OF SPOKANE, WA                  808 WEST SPOKANE FALLS BLVD SPOKANE WA 99256-0001
CITY OF SPRINGFIELD                  CITY HALL-830 BOONVILLE AVE SPRINGFIELD OH 45502
CITY OF SPRINGFIELD                  PO BOX 269110 SPRINGFIELD MO 65802
CITY OF SPRINGFIELD                  CITY HALL-830 BOONVILLE AVE SPRINGFIELD MO 65802
CITY OF SPRINGFIELD, OH              76 EAST HIGH ST UTILITY BILLING DIVISION SPRINGFIELD OH 45502
CITY OF ST CLOUD                     PO BOX 1111 SAINT CLOUD MN 56301-7516
CITY OF ST CLOUD                     1201 7TH ST S SAINT CLOUD MN 56301-7516
CITY OF ST GEORGE                    1201 7TH ST S ST GEORGE UT 84771-1750
CITY OF ST GEORGE                    PO BOX 1750 ST GEORGE UT 84771-1750
CITY OF ST JOSEPH                    1100 FREDERICK AVENUE ROOM 107 ST JOSEPH MO 64501
CITY OF ST MATTHEWS                  PO BOX 1449 ORLANDO FL 32809
CITY OF ST MATTHEWS                  DO NOT MAIL ORLANDO FL 32809
CITY OF ST PETERS                    PO BOX 201005 ST PETERS MO 63376
CITY OF ST PETERS                    CITY COLLECTOR PO BOX 9 ST PETERS MO 63376
CITY OF ST PETERS, MO                PO BOX 9 SAINT PETERS MO 63376
CITY OF ST. AUGUSTINE, FL            50 BRIDGE ST ST. AUGUSTINE FL 32084
CITY OF ST. CLOUD, MN                P.O. BOX 1501 ST. CLOUD MN 56302-1501
CITY OF ST. GEORGE, UT               PO BOX 1750 ST GEORGE UT 84771-1750
CITY OF ST. JOSEPH, MO               PO BOX 411458 KANSAS CITY MO 64141-1458
CITY OF ST. PETERSBURG, FL           P.O. BOX 33034 ST. PETERSBURG FL 33733-8034
CITY OF STATESVILLE                  C/O FALSE ALARM REDUCTION PROGRAM PO BOX 3843 STATESVILLE NC 28687
CITY OF STATESVILLE                  PO BOX 1111 STATESVILLE NC 28687
CITY OF STATESVILLE ABC BOARD        311 SOUTH CENTER STREET STATESVILLE NC 28677
CITY OF STATESVILLE, NC              P.O. BOX 1111 STATESVILLE NC 28687
CITY OF STERLING HEIGHTS WATER       PO BOX 55000 DEPT 181601 DETROIT MI 48255-1816
CITY OF STILLWATER                   PO BOX 1750 STILLWATER OK 74074
CITY OF STILLWATER                   PO BOX 1449 STILLWATER OK 74074
CITY OF STILLWATER, OK               P.O. BOX 1449 STILLWATER OK 74076
CITY OF STOCKTON                     PO BOX 201005 STOCKTON CA 95201-9005
CITY OF STOCKTON, CA                 PO BOX 7193 PASADENA CA 91109-7193
CITY OF SUGAR LAND                   10405 CORPORATE DR SUGARLAND TX 77478
CITY OF SUGAR LAND                   TREASURY OFFICE PO BOX 5029 SUGAR LAND TX 77487-5029
CITY OF SUGAR LAND                   INCOME TAX DIVISION 46 E HIGH STREET 1ST FLOOR SUGAR LAND TX 77487-5029
CITY OF SUMTER                       P.O. BOX 1449 SUMTER SC 29151-1449
CITY OF SUMTER, SC                   P.O. BOX 310 SUMTER SC 29151-0310
CITY OF SURPRISE                     REVENUE DIVISION 16000 N CIVIC CENTER PLAZA SURPRISE AZ 85374-7470
CITY OF SURPRISE                     CITY COLLECTOR PO BOX 9 SURPRISE AZ 85374-7470
CITY OF SURPRISE, AZ                 PO BOX 29078 PHOENIX AZ 85038-9078
CITY OF SYRACUSE                     LICENSE COMMISSION 233 EAST WASHINGTON STREET SYRACUSE NY 13202
CITY OF TACOMA                       CITY TREASURER PO BOX 11367 TACOMA WA 98411-0367
CITY OF TACOMA                       ATTN: TAX AND LICENSE DIVISION FINANCE DEPARTMENT PO BOX 11640 TACOMA WA
                                     98411-6640
CITY OF TACOMA PUBLIC UTILITIES      PO BOX 11010 CITY TREASURER TACOMA WA 98411-1010
CITY OF TALAHASSEE                   CUSTOMER SERVIC 300 S. ADAM STREET BOX A2 TALLAHASSEE FL 32301
CITY OF TALLAHASSEE                  CITY HALL TALLAHASSEE FL 32304



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CITY OF TALLAHASSEE                   REVENUE DIVISION 16000 N CIVIC CENTER PLAZA TALLAHASSEE FL 32304
CITY OF TALLAHASSEE, FL               435 N MACOMB ST ST. RELAY BOX TALLAHASSEE FL 32301-1050
CITY OF TAMPA                         CITY HALL TAMPA FL 33602
CITY OF TAMPA                         POLICE EXTRA DUTY 2105 N NEBRASKA AVENUE TAMPA FL 33602
CITY OF TAMPA UTILITIES               PO BOX 30191 TAMPA FL 33630-3191
CITY OF TEMECULA                      DEVELOPMENT CENTER 43200 BUSINESS PARK DRIVE TEMECULA CA 92589-9033
CITY OF TERRE HAUTE FIRE DEPARTMENT   POLICE EXTRA DUTY 2105 N NEBRASKA AVENUE TERRE HAUTE IN 47807-1924
CITY OF TERRE HAUTE FIRE DEPARTMENT   TERRE HAUTE FIRE DEPARTMENT BUREAU OF FIRE PREVENTION 25 SPRUCE ST TERRE HAUTE
                                      IN 47807-1924
CITY OF TERRE HAUTE/SEWER             PO BOX 21043 TULSA OK 74121-1043
CITY OF TEXARKANA TEXAS               902 WEST 12TH STREET TEXARKANA TX 75501
CITY OF TEXARKANA TEXAS               BUILDING DEPT 220 TEXAS BLVD TEXARKANA TX 75501
CITY OF THOUSAND OAKS                 2100 THOUSAND OAKS BLVD THOUSAND OAKS CA 91362
CITY OF TIFTON                        P.O. BOX 229 TIFTON GA 31793
CITY OF TIFTON, GA                    PO BOX 229 TIFTON GA 31793
CITY OF TIGARD                        TERRE HAUTE FIRE DEPARTMENT BUREAU OF FIRE PREVENTION TIGARD OR 97223
CITY OF TIGARD                        13125 SW HALL BLVD TIGARD OR 97223
CITY OF TIGARD, OR                    PO BOX 3129 PORTLAND OR 97208-3129
CITY OF TOLEDO                        TAXATION DEPARTMENT ONE GOVERNMENT CENTER 640 JACKSON STREET TOLEDO OH 43604
CITY OF TOLEDO                        1 GOVERNMENT CENTER SUITE 1620 TOLEDO OH 43604
CITY OF TOLEDO                        DBA TOLEDO FIRE & RESCUE DEPARTMENT ONE GOVERNMENT CENTER SUITE 1710 TOLEDO OH
                                      43604-2230
CITY OF TOPEKA                        13125 SW HALL BLVD TOPEKA KS 66603-3644
CITY OF TOPEKA                        TOPEKA POLICE ALARM CLERK 320 S KANSAS AVE STE 100 TOPEKA KS 66603-3644
CITY OF TOPEKA, KS                    PO BOX 957904 ST LOUIS MO 63195-7904
CITY OF TORONTO, REVENUE SERVICES,    55 JOHN ST METRO HALL, 19TH FL TORONTO ON M5V 3C6 CANADA
PPF&A
CITY OF TORRANCE                      TOPEKA POLICE ALARM CLERK 320 S KANSAS AVE STE 100 TORRANCE CA 90503-5059
CITY OF TORRANCE                      REVENUE DIVISION 3031 TORRANCE BLVD-PO BOX 3124 TORRANCE CA 90503-5059
CITY OF TORRANCE UTILITIES            PO BOX 845629 LOS ANGELES CA 90084-5629
CITY OF TRUSSVILLE                    PO BOX 159 TRUSSVILLE AL 35173
CITY OF TRUSSVILLE                    ACCOUNTS RECEIVABLE PO BOX 159 TRUSSVILLE AL 35173
CITY OF TUCKER                        REVENUE DEPARTMENT 1975 LAKESIDE PKY STE 350 TUCKER GA 30084
CITY OF TUCKER                        4119 ADRIAN STREET TUCKER GA 30084
CITY OF TUCSON                        REVENUE DIVISION 3031 TORRANCE BLVD-PO BOX 3124 TUCSON AZ 85726-7210
CITY OF TUCSON                        PO BOX 27210 TUCSON AZ 85726-7210
CITY OF TUCSON, AZ                    PO BOX 51040 LOS ANGELES CA 90051-5340
CITY OF TUCSON-FINANCE DIRECTOR       PO BOX 27210 TUCSON AZ 85726
CITY OF TUCSON-FINANCE DIRECTOR       PO BOX 27320 TUCSON AZ 85726
CITY OF TULLAHOMA                     PO BOX 27320 TULLAHOMA TN 37388
CITY OF TULLAHOMA                     123 N JACKSON STREET TULLAHOMA TN 37388
CITY OF TULLAHOMA, TN                 P.O. BOX 807 TULLAHOMA TN 37388
CITY OF TULSA                         123 N JACKSON STREET TULSA OK 74103
CITY OF TULSA                         200 CIVIC CENTER ROOM S-29 TULSA OK 74103
CITY OF TULSA UTILITIES               UTILITIES SERVICES TULSA OK 74187-0002
CITY OF TUPELO                        200 CIVIC CENTER ROOM S-29 TUPELO MS 38802
CITY OF TUPELO                        117 N NORTH BROADWAY TUPELO MS 38802
CITY OF TUSCALOOSA                    DEPARTMENT OF REVENUE PO BOX 2089 TUSCALOOSA AL 35403
CITY OF TUSCALOOSA                    PO BOX 2089 TUSCALOOSA AL 35403-2089
CITY OF TUSCALOOSA, AL                PO BOX 2153 DEPT 2533 BIRMINGHAM AL 35287-2533


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CITY OF TYLER                           117 N NORTH BROADWAY TYLER TX 75702-5632
CITY OF TYLER                           PLANNING DEPARTMENT 423 WEST FERGUSON STREET TYLER TX 75702-5632
CITY OF TYLER, TX                       PO BOX 336 TYLER WATER UTILITIES TYLER TX 75710-0336
CITY OF VALDOSTA                        PLANNING DEPARTMENT 423 WEST FERGUSON STREET VALDOSTA GA 31603-1125
CITY OF VALDOSTA                        PO BOX 1125 VALDOSTA GA 31603-1125
CITY OF VALDOSTA, GA                    P.O. BOX 1125 VALDOSTA GA 31603-1125
CITY OF VALLEJO                         PO BOX 1125 VALLEJO CA 94590-5922
CITY OF VALLEJO                         PO BOX 12006 VALLEJO CA 94590-5922
CITY OF VALLEJO, CA                     PO BOX 888766 LOS ANGELES CA 90088-8766
CITY OF VANCOUVER                       PO BOX 12006 VANCOUVER WA 98668-8995
CITY OF VANCOUVER                       FINANCIAL SERVICES PO BOX 8995 VANCOUVER WA 98668-8995
CITY OF VANCOUVER WASHINGTON            FINANCIAL SERVICES PO BOX 8995 VANCOUVER WA 98668-1995
CITY OF VANCOUVER WASHINGTON            PO BOX 1995 VANCOUVER WA 98668-1995
CITY OF VANCOUVER, WA                   PO BOX 35195 SEATTLE WA 98124-5195
CITY OF VICTORIA                        PO BOX 1995 VICTORIA TX 77902
CITY OF VICTORIA                        PO BOX 2846 VICTORIA TX 77902
CITY OF VICTORIA,TX                     P.O. BOX 1279 UTILITY BILLING OFFICE VICTORIA TX 77902
CITY OF VICTORVILLE                     PO BOX 5001 VICTORVILLE CA 92393-5001
CITY OF VICTORVILLE                     PO BOX 2846 VICTORVILLE CA 92393-5001
CITY OF VICTORVILLE, CA - WATER         PO BOX 5001 VICTORVILLE CA 92393-5001
CITY OF VINELAND                        PO BOX 5001 VINELAND NJ 08362-1508
CITY OF VINELAND                        HEALTH DEPARTMENT PO BOX 1508 VINELAND NJ 08362-1508
CITY OF VIRGINIA BEACH                  HEALTH DEPARTMENT PO BOX 1508 VIRGINIA BEACH VA 23456
CITY OF VIRGINIA BEACH                  CITY TREASURER 2401 COURTHOUSE DRIVE VIRGINIA BEACH VA 23456
CITY OF VISALIA                         CITY TREASURER 2401 COURTHOUSE DRIVE VISALIA CA 93291
CITY OF VISALIA                         707 W ACEQUIA ST VISALIA CA 93291
CITY OF VISALIA, CA - UTILITY BILLING   PO BOX 80268 CITY OF INDUSTRY CA 91716-8268
CITY OF WACO                            707 W ACEQUIA ST WACO TX 76702
CITY OF WACO                            INSPECTION SERVICES 401 FRANKLIN AVENUE WACO TX 76702
CITY OF WACO WATER OFFICE               P.O. BOX 2649 WATER OFFICE WACO TX 76702-2649
CITY OF WARREN                          INSPECTION SERVICES 401 FRANKLIN AVENUE WARREN MI 48090
CITY OF WARREN                          PO BOX 2114 WARREN MI 48090
CITY OF WARREN, MI                      PO BOX 554765 DETROIT MI 48255-4765
CITY OF WATERLOO                        PO BOX 2114 WATERLOO IA 50703
CITY OF WATERLOO                        BUILDING DEPARTMENT 715 MULBERRY STREET WATERLOO IA 50703
CITY OF WAUWATOSA                       7725 W NORTH AVE WAUWATOSA WI 53213
CITY OF WAUWATOSA-WATER                 BIN 88445 MILWAUKEE WI 53288-0445
CITY OF WEBSTER                         BUILDING DEPARTMENT 715 MULBERRY STREET WEBSTER TX 77598
CITY OF WEBSTER                         311 PENNSYLVANIA WEBSTER TX 77598
CITY OF WEBSTER, TX                     101 PENNSYLVANIA WEBSTER TX 77598
CITY OF WEST MELBOURNE                  2240 MINTON ROAD WEST MELBOURNE FL 32904
CITY OF WEST MELBOURNE, FL              P.O. BOX 120009 WEST MELBOURNE FL 32912-0009
CITY OF WEST PALM BEACH                 311 PENNSYLVANIA WEST PALM BEACH FL 33402-3506
CITY OF WEST PALM BEACH                 PO BOX 3506 WEST PALM BEACH FL 33402-3506
CITY OF WEST PALM BEACH/UTILITIES       P.O. BOX 30000 TAMPA FL 33630-3000
CITY OF WESTLAND WATER                  36300 WARREN RD WESTLAND MI 48185-2016
CITY OF WHEAT RIDGE                     ATTN: FINANCE DIVISION 7500 W 29TH AVE WHEAT RIDGE CO 80033
CITY OF WHEAT RIDGE                     P O BOX 638 WHEAT RIDGE CO 80033
CITY OF WICHITA FALLS                   DBA WICHITA FALLS FIRE DEPARTMENT 1005 BLUFF ST WICHITA FALLS TX 76301-3228



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CITY OF WICHITA FALLS                   SCHOOL/CITY TAX COLLECTOR PO BOX 8327 WICHITA FALLS TX 76307-8327
CITY OF WICHITA FALLS, TX               P.O. BOX 1440 WICHITA FALLS TX 76307-7532
CITY OF WICHITA KANSAS                  TREASURY DIVISION 455 N MAIN ST FL 12 PO BOX 547 WICHITA KS 67202
CITY OF WICHITA KANSAS                  WATER & SEWER DEPT CITY HALL 8TH FLOOR WICHITA KS 67202-1677
CITY OF WILKES-BARRE- SEWER MAINT FEE   PO BOX 1324 WILKES-BARRE PA 18703-1324
CITY OF WILLIAMSBURG                    DEPT. OF FINANCE 401 LAFAYETTE STREET WILLIAMSBURG VA 23185
CITY OF WILLIAMSBURG                    401 LAFAYETTE ST-MUNICIPAL BLDG WILLIAMSBURG VA 23185
CITY OF WILLIAMSBURG, VA                401 LAFAYETTE STREET DEPARTMENT OF FINANCE WILLIAMSBURG VA 23185-3617
CITY OF WINDCREST                       PO BOX 3506 WINDCREST TX 78239
CITY OF WINDCREST                       8601 MIDCROWN WINDCREST TX 78239
CITY OF WINDSOR                         8601 MIDCROWN WINDSOR ON N9A 6S1 CANADA
CITY OF WINDSOR                         LICENSING COMM RM 203 - CITY HALL WINDSOR ON N9A 6S1 CANADA
CITY OF WINNIPEG                        TREASURY OFFICE PO BOX 5029 WINNIPEG MB R3B 1B5 CANADA
CITY OF WINNIPEG                        ASSESSMENT AND TAXATION DEPARTMENT 457 MAIN STREET WINNIPEG MB R3B 1B5 CANADA
CITY OF WINNIPEG                        TAX BRCH-ADMINISTRATION BLDG 510 MAIN STREET WINNIPEG MB R3B 3M2 CANADA
CITY OF WINNIPEG                        ASSESSMENT AND TAXATION DEPARTMENT 457 MAIN STREET WINNIPEG MB R3B 3M2 CANADA
CITY OF WINNIPEG, MB                    112 - 1199 PACIFIC AVE WATER & WASTE DEPT WINNIPEG MB R3E 3S8 CANADA
CITY OF WINSTON-SALEM, NC               PO BOX 580055 CHARLOTTE NC 28258-0055
CITY OF WINSTON-SALEM-WATER             LICENSING COMM RM 203 - CITY HALL WINSTON-SALEM NC 27102-2756
CITY OF WINSTON-SALEM-WATER             P O BOX 2756 WINSTON-SALEM NC 27102-2756
CITY OF WINTER HAVEN                    551 3RD STREET NW WINTER HAVEN FL 33881
CITY OF WINTER HAVEN                    P O BOX 2756 WINTER HAVEN FL 33883-2277
CITY OF WINTER HAVEN                    PO BOX 2277 WINTER HAVEN FL 33883-2277
CITY OF WOOSTER                         INCOME TAX DEPARTMENT PO BOX 1088 WOOSTER OH 44691
CITY OF YAKIMA, WA                      PO BOX 22720 YAKIMA WA 98907-2720
CITY OF YONKERS                         PO BOX 2277 YONKERS NY 10701
CITY OF YONKERS                         87 NEPPERHAN AVENUE YONKERS NY 10701
CITY OF YONKERS, NY                     PO BOX 5211 DEPT 116021 BINGHAMTON NY 13902-5211
CITY OF YUMA                            87 NEPPERHAN AVENUE YUMA AZ 85364-2292
CITY OF YUMA                            THREE WEST THIRD STREET TERRITORIAL MALL YUMA AZ 85364-2292
CITY OF YUMA, AZ                        PO BOX 78324 PHOENIX AZ 85062-8324
CITY OF ZANESVILLE                      INCOME TAX OFFICE 401 MARKET STREET ZANESVILLE OH 43701
CITY OF ZANESVILLE                      PUBLIC SAFETY CENTER ZANESVILLE POLICE DEPT 332 SOUTH STREET ZANESVILLE OH
                                        43701-3480
CITY OF ZANESVILLE, OH                  401 MARKET STREET UTILITIES ZANESVILLE OH 43701-3577
CITY PRODUCE OF FT WALTON BEACH INC     PO BOX 1334 FT WALTON BEACH FL 32549
CITY SECURITY SERVICES HTX LLC          DBA CITY SECURITY SERVICES 2600 NORTH LOOP W STE 300 HOUSTON TX 77092-8915
CITY SEWER SERVICE INC                  PO BOX 1697 IOWA CITY IA 52244
CITY TAX DEPARTMENT                     PO BOX 1898 HATTIESBURG MS 39403
CITY TREASURER                          21 SOUTH KENT STREET SUITE 100 WINCHESTER VA 22601
CITY TREASURER                          50 SECOND AVE BRIDGE CEDAR RAPIDS IA 52401
CITY TREASURER - CITY OF LONDON         THREE WEST THIRD STREET TERRITORIAL MALL LONDON ON N6A 4L9 CANADA
CITY TREASURER - CITY OF LONDON         PO BOX 5035 LONDON ON N6A 4L9 CANADA
CITY TREASURER MADISON - WI             P.O. BOX 2997 CITY TREASURER MADISON WI 53701
CITY TREASURER OF KANSAS CITY           PO BOX 5035 KANSAS CITY MO 64106
CITY TREASURER OF KANSAS CITY           KMCO CITY TREASURER PO BOX 15604 KANSAS CITY MO 64106
CITY TREASURER OF LA CROSSE             400 LA CROSSE STREET LA CROSSE WI 54601
CITY TREASURER OF LA CROSSE             KMCO CITY TREASURER PO BOX 15604 LA CROSSE WI 54601
CITY TREASURER OF OKLAHOMA CITY         LICENSE DIVISION 420 WEST MAIN SUITE 130 OKLAHOMA CITY OK 73102



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Claim Name                              Address Information
CITY TREASURER, BRISTOL, VIRGINIA       COMMISSIONER OF THE REVENUE 497 CUMBERLAND ST., ROOM 101 BRISTOL VA 24201-4391
CITY TREASURER, VIRGINIA BEACH          2401 COURTHOUSE DR BLDG 1 VIRGINIA BEACH VA 23456-9018
CITY TREASURER-PUBLIC UTILITIES DEPT    PO BOX 129020 CUSTOMER CARE CENTER SAN DIEGO CA 92112-9020
CITY UTILITIES (FORT WAYNE, IN)         PO BOX 4632 CAROL STREAM IL 60197-4632
CITY UTILITIES OF SPRINGFIELD, MO       P.O. BOX 551 SPRINGFIELD MO 65801-0551
CITY WASH LLC                           DBA ANDREW C OLSON C/O CARPET RENOVATIONS 2208 S ASPEN PL BROKEN ARROW OK
                                        74012-6890
CITY WATER & LIGHT                      P.O. BOX 1289 JONESBORO AR 72403-1289
CITY WATER LIGHT & POWER, SPRINGFIELD   300 S 7TH ST RM 101 ATTN: CASHIERS OFFICE SPRINGFIELD IL 62757-0001
IL
CITY WIDE WINDOW CLEANING LLC           PO BOX 376 TOLLESON AZ 85353
CITY WIDE WINDOW SVS INC                PO BOX 790 ANOKA MN 55303
CITY-COUNTY HEALTH DEPARTMENT           UTAH COUNTY 589 SOUTH ST PROVO UT 84606
CITY-COUNTY HEALTH DEPARTMENT           200 EAST 8TH AVENUE PROVO UT 84606
CITY-COUNTY TAX COLLECTOR               UTAH COUNTY 589 SOUTH ST CHARLOTTE NC 28232-2247
CITY-COUNTY TAX COLLECTOR               PO BOX 32247 CHARLOTTE NC 28232-2247
CITY-WIDE SEWER & DRAIN SERVICE         PO BOX 350 CARLE PLACE NY 11514
CITYS PURE ICE INC                      5855 NORTH US 35 LAPORTE IN 46350
CIVIL SERVICE COMMISSION                DIVISION OFEQUAL EMPLOYMENT OPPORTUNITY PO BOX 315 TRENTON NJ 08625
CJ & J CORPORATION                      173 COYOTE BRUSH IRVINE CA 92618
CK PLUMBING SERVICES LLC                DBA 1-TOM PLUMBER SPACE COAST 4356 FORTUNE PL STE D MELBOURNE FL 32904-1532
CKC CORPORATION                         DBA ROTO-ROOTER PLUMBING-MUSKOGEE 901 W OKMULGEE ST MUSKOGEE OK 74401-6842
CKM ELECTRICAL SERVICES INC             216 ELK ST ALBANY NY 12210-1406
CLAIBOME PHERIGO                        ADDRESS ON FILE
CLAPPER ENTERPRISES                     DBA 21ST CENTURY SIGNS 701 FIRST STREET SUITE 101 WILLIAMSPORT PA 17701
CLARE E. CONNORS                        UNITED STATES ATTORNEYS OFFICE 300 ALA MOANA BLVD, 6-100 HONOLULU HI 96850
CLARIVATE ANALYTICS COMPUMARK INC       PO BOX 3773 CAROL STREAM IL 60132-3773
CLARK BEVERAGE GROUP INC                PO BOX 968 STARKVILLE MS 39760
CLARK COUNTY                            HEALTH DEPARTMENT 625 SHADOW LANE PO BOX 4426 LAS VEGAS NV 89106
CLARK COUNTY                            400 LA CROSSE STREET LAS VEGAS NV 89106
CLARK COUNTY ASSESSOR                   PO BOX 551401 LAS VEGAS NV 89155-1401
CLARK COUNTY BEVERAGE MANAGEMENT LLC    DBA CCBM AZ LLC 9524 W CAMELBACK RD STE C130-156 GLENDALE AZ 85305-3104
CLARK COUNTY COMBINED HEALTH            HEALTH DEPARTMENT 625 SHADOW LANE PO BOX 4426 SPRINGFIELD OH 45503
CLARK COUNTY COMBINED HEALTH            529 EAST HOME ROAD SPRINGFIELD OH 45503
CLARK COUNTY HEALTH DEPARTMENT          529 EAST HOME ROAD JEFFERSONVILLE IN 47130
CLARK COUNTY HEALTH DEPARTMENT          1216 AKERS AVE JEFFERSONVILLE IN 47130
CLARK COUNTY TREASURER                  PO BOX 551220 LAS VEGAS NV 89155-1220
CLARK COUNTY WATER RECLAMATION DISTRICT PO BOX 512210 LOS ANGELES CA 90051-0210
CLARK ELECTRIC OF ERIE INC              9041 TANNERY RD GIRARD PA 16417-7841
CLARK HILL PLC                          ADDRESS ON FILE
CLARK PUBLIC UTILITIES                  P.O. BOX 8989 VANCOUVER WA 98668-8989
CLARK SERVICE GROUP INC                 3019 HEMPLAND RD LANCASTER PA 17601-1309
CLARK, RACHAEL                          ADDRESS ON FILE
CLARKE COUNTY HEALTH DEPARTMENT         345 N HARRIS ST ATHENS GA 30601-2411
CLARKE COUNTY HEALTH DEPARTMENT         1216 AKERS AVE ATHENS GA 30601-2411
CLARKE COUNTY TAX COMMISSIONER          PO BOX 1768 ATHENS GA 30603
CLARKE KENT PLUMBING INC                1408 W BEN WHITE BLVD AUSTIN TX 78704
CLARKE, CHRIS                           ADDRESS ON FILE
CLARKS AQUARIUM SERVICE LLC             2417 RIVER OAKS DR LAFAYETTE IN 47905-4072



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CLARKSTOWN TOWN TAX COLLECTOR            JUSTIN SWEET 10 MAPLE AVE NEW CITY NY 10956
CLARKSVILLE DEPARTMENT OF ELECTRICITY    PO BOX 31509 CLARKSVILLE TN 37040
CLARKSVILLE DEPARTMENT OF ELECTRICITY    2021 WILMA RUDOLPH BLVD CLARKSVILLE TN 37040
CLARKSVILLE FINANCE & REVENUE            345 N HARRIS ST CLARKSVILLE TN 37040
DEPARTMENT
CLARKSVILLE FINANCE & REVENUE DEPT       PO BOX 30549 CLARKSVILLE TN 37040
CLARKSVILLE GAS & WATER DEPARTMENT       PO BOX 31329 CLARKSVILLE TN 37040-0023
CLARKSVILLE WASTEWATER TREATMENT DEPT,   BOX 2668 CLARKSVILLE IN 47131
I
CLASSIC BRANDS - CHILLICOTHE             656 HOSPITAL ROAD CHILLICOTHE OH 45601-9030
CLASSIC BRASS WORKS INC                  4009 NE 5TH TERRACE FORT LAUDERDALE FL 33334
CLASSIC COMMERCIAL SERVICES INC          4210 TROTTERS WAY ALPHARETTA GA 30004
CLASSIC FLORIST INC                      913 A HILLCREST PKY DUBLIN GA 31021
CLASSIC LAWN CARE INC                    PO BOX 2659 SALISBURY MD 21802
CLASSIC SIGN CO                          3230 TOWNSHIP ROAD 232 FINDLAY OH 45840-9810
CLASSIC UPHOLSTERY LLC                   3755 MOFFETT ROAD MOBILE AL 36618
CLASSY CLEANING                          13660 COULTHART RD CHESTERVILLE ON K0C 1W0 CANADA
CLASSY WINDOW CLEANING LLC               RANDY S JOY 1601 GRANGE HALL RD BEAVERCREEK OH 45432-2023
CLAUDIA M TAPIA LEAL                     ADDRESS ON FILE
CLAY COUNTY TAX COLLECTOR                P.O. BOX 218 GREEN GREEN COVE SPRINGS FL 32043
CLAY COUNTY UTILITY AUTHORITY,FL         3176 OLD JENNINGS RD MIDDLEBURG FL 32068
CLAY ELECTRIC COOPERATIVE                P.O. BOX 308 KEYSTONE HEIGHTS FL 32656
CLAY ELECTRIC COOPERATIVE, INC.          734 BLANDING BOULEVARD ORANGE PARK FL 32065-5798
CLAY JOYNER                              UNITED STATES ATTORNEYS OFFICE ETHRIDGE BLDG 900 JEFFERSON AVE OXFORD MS 38655
CLAY TOWN RECEIVER OF TAXES              BRIAN R HALL 4401 STATE ROUTE 31 CLAY NY 13041-8707
CLAYPOOL ELECTRIC INC                    1275 LANCASTER-KIRKERSVILLE RD LANCASTER OH 43130
CLAYTON A REED                           ADDRESS ON FILE
CLAYTON CO FIRE AND EMERGENCY SERVICES   PO BOX 30549 ATLANTA GA 31193-5667
CLAYTON COUNTY                           FIRE & EMERGENCY SERVICES PO BOX 742874 RIVERDALE GA 30274
CLAYTON COUNTY ALCOHOL DIVISION          121 S. MCDONOUGH ST. ANNEX 2 JONESBORO GA 30236
CLAYTON COUNTY BOARD OF COMMISSIONERS    PERMITS & LICENSE 121 SOUTH MCDONOUGH STREET JONESBORO GA 30236
CLAYTON COUNTY FIRE & EMERGENCY SVCS     C/O FIRE RECOVERY USA LLC PO BOX 935667 ATLANTA GA 31193-5667
CLAYTON COUNTY HEALTH DEPARTMENT         300 N MAIN ST SUITE 306 JONESBORO GA 30236
CLAYTON COUNTY HEALTH DEPARTMENT         C/O FIRE RECOVERY USA LLC PO BOX 935667 JONESBORO GA 30236
CLAYTON COUNTY TAX COMMISSIONER          121 S MCDONOUGH ST ADMINISTRATION ANNEX 3 2ND FLOOR JONESBORO JONESBORO GA
                                         30236
CLAYTON COUNTY WATER AUTHORITY           PO BOX 117195 ATLANTA GA 30368-7195
CLAYTON, WESELY                          ADDRESS ON FILE
CLEAN & CLEAR WINDOW CLEANING LLC        DBA JORDAN FEBBRI 7094 HURON AVE LEXINGTON MI 48450-8857
CLEAN AS A WHISTLE SERVICES LLC          15001 BEAVER CREEK CT FREDERICKSBURG VA 22407-1532
CLEAN BEER INITIATIVE LLC                PO BOX 75 ATHOL SPRINGS NY 14010-0075
CLEAN CRAFT LLC                          191 LAKE RD FAYETTEVILLE GA 30214-3525
CLEAN LINE SEWER SERVICE LLC             425 N GILBERT ST DANVILLE IL 61832-5633
CLEAN STEAM LLC                          560 STATE HIGHWAY 265 HOLLISTER MO 65672-6103
CLEAN TEXTILE SYSTEMS                    DBA CLEANCARE 40 51ST STREET PITTSBURGH PA 15201
CLEAN TURF SOLUTIONS LLC                 PO BOX 2622 MUSKOGEE OK 74402-2622
CLEAN911 LLC                             17005 SW 93RD ST APT 4-206 MIAMI FL 33196-1171
CLEANING SERVICES C                      DBA DIEGO NELSON 2271 AYERS DR REYNOLDSBURG OH 43068-3554
CLEANING UNLIMITED INC                   2201 30TH AVENUE SOUTH FARGO ND 58103
CLEANSTAR NATIONAL INC                   540 COLLINS RD MARIETTA GA 30066-6325


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CLEANWATER CORPORATION OF AMERICA     DBA CULLIGAN WATER CONDITIONING OF FLINT 5383 HILL 23 DR FLINT MI 48507-3906
CLEAR BEER CORP                       DRAFT LINE SERVICES 40 N DIVISION ST PEEKSKILL NY 10566-2944
CLEAR BEER DRAFT SYSTEM INC           51 FAWN LANE WEST SOUTH SETAUKET NY 11720
CLEAR CREEK ISD TAX COLLECTOR         PO BOX 799 LEAGUE CITY TX 77574-0799
CLEAR LAKE AREA C OF C                1201 NASA BLVD HOUSTON TX 77058
CLEAR SHINES                          PO BOX 1863 STILLWATER OK 74076-1863
CLEAR VIEW LIMITED LIABILTY COMPANY   DBA FISH WINDOW CLEANING 2363 W 8TH ST LOVELAND CO 80537-5268
CLEARCO WINDOW CLEANING LLC           201 SW 46TH STREET LAWTON OK 73505
CLEARLY AMAZING OUTLOOK LLC           DBA CLEARLY AMAZING 43676 TRADE CENTER PL 140 STERLING VA 20166
CLEARS LOOKING AT YOU INC             322 W 52ND ST UNIT 2195 NEW YORK NY 10019-6262
CLEARVIEW CLEANING SERVICES INC       DBA CAMCO 5425 E BROADWAY BLVD 422 TUCSON AZ 85711-3704
CLEARVIEW CONSTRUCTION LTD            738 PICHLER COVE SASKATOON SK S7V 0G2 CANADA
CLEARWASH LIMITED INC                 26692 CHRISTY DR CHESTERFIELD TWP MI 48051
CLEARWATER SPRINKLER INC              DBA CLEARWATER SPRINKLER COMPANY 1425 16TH AVENUE LEWISTON ID 83501
CLEARWATER SYSTEMS INC                DBA CLEARWATER KINETICO 1411 VERNON ODOM BLVD AKRON OH 44320-4025
CLEMENTE GASPAR FERNANDO PABLO        ADDRESS ON FILE
CLEMENTS ELECTRIC INC                 204 S DEAN ST PO BOX 1501 BAY CITY MI 48706-0501
CLERK CIRCUIT COURT                   300 N MAIN ST SUITE 306 TOWSON MD 21204
CLERK CIRCUIT COURT                   401 BOSLEY AVE TOWSON MD 21204
CLERK OF COURT                        401 BOSLEY AVE MIAMI FL 33128
CLERK OF COURT                        CODE ENFORCEMENT 111 NW 1ST ST STE 1750 MIAMI FL 33128
CLERK OF COURT MONTGOMERY CO          CODE ENFORCEMENT 111 NW 1ST ST STE 1750 ROCKVILLE MD 20850
CLERK OF COURT MONTGOMERY CO          50 COURTHOUSE SQ 4TH FLOOR ROCKVILLE MD 20850
CLERK OF THE CIRCUIT COURT            PRINCE GEORGE CTY COURT HOUSE UPPER MARLBORO MD 20870
CLERK OF THE CIRCUIT COURT.           TAX BRCH-ADMINISTRATION BLDG 510 MAIN STREET FREDERICK MD 21701-5578
CLERK OF THE CIRCUIT COURT.           100 WEST PATRICK STREET FREDERICK MD 21701-5578
CLERK OF THE COURT                    50 COURTHOUSE SQ 4TH FLOOR TOWSON MD 21285-6754
CLERK OF THE COURT                    401 BOSLEY AVE TOWSON MD 21285-6754
CLERMONT COUNTY CHAMBER OF COMMERCE   PO BOX 2009 MOUNT VERNON OH 43050-7209
CLERMONT COUNTY HEALTH DEPARTMENT     CLERMONT COUNTY TREASURER 2291 BAUER RD STE 203 BATAVIA OH 45103
CLERMONT COUNTY HEALTH DEPARTMENT     401 BOSLEY AVE BATAVIA OH 45103
CLERMONT COUNTY TREASURER             101 E MAIN ST BATAVIA OH 45103-2959
CLERMONT COUNTY WATER RESOURCES, OH   PO BOX 933347 WATER RESOURCES DEPARTMENT CLEVELAND OH 44193-0037
CLEVELAND COUNTY CLERK                200 S PETERS - SECOND FLOOR NORMAN OK 73069
CLEVELAND COUNTY TREASURER            201 S JONES STE 100 NORMAN OK 73069
CLEVIS NELSON                         ADDRESS ON FILE
CLIFFORD D. JOHNSON                   UNITED STATE ATTORNEYS OFFICE E R ADAIR FED BLDG & US COURTHOUSE 3128 FEDERAL
                                      BLDG, 1300 S HARRISON ST FORT WAYNE IN 46802
CLIFFORD D. JOHNSON                   UNITED STATE ATTORNEYS OFFICE HAMMOND FEDERAL BLDG & US COURTHOUSE 5400
                                      FEDERAL PLAZA, STE 1500 HAMMOND IN 46320
CLIFFORD D. JOHNSON                   UNITED STATES ATTORNEYS OFFICE ROBERT A. GRANT FED BLDG & US COURTHOUSE 204 S
                                      MAIN ST, ROOM MO-1 SOUTH BEND IN 46601
CLIFFORD ERIC DUKE                    ADDRESS ON FILE
CLIFFORDS UPHOLSTERY INC              4450 EDISON AVENUE COLORADO SPRINGS CO 80915
CLIFFS PLUMBING & DRAINS INC          PO BOX 3643 HICKORY NC 28603
CLIFTONLARSONALLEN LLP                PO BOX 740863 ATLANTA GA 30374-0863
CLIFTONLARSONALLEN LLP                ATTN: STACEY SCHAITZ 100 NORTH TAMPA STREET STE 1850 TAMPA FL 33602
CLINE ASSOCIATES INC                  PO BOX 99 WEYERS CAVE VA 24486-0099
CLINTON J HOKE                        ADDRESS ON FILE
CLINTON J. JOHNSON                    UNITED STATES ATTORNEYS OFFICE 110 W 7TH ST, STE 300 TULSA OK 74119


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CLINTS IMPROVEMENTS AND REPAIRS LLC    4609 SOUTH CYPRESS AVENUE BROKEN ARROW OK 74011-1206
CLOUD ENTERPRISES CORPORATION INC      241 SOMERSET DRIVE GADSDEN AL 35901-5743
CLOUD ENTERPRISES CORPORATION INC.     ATTN: WILLIAM CLOUD 241 SOMERSET DRIVE GADSDEN AL 35901
CLOUSER PLUMBING TECH                  PO BOX 349 AMES IA 50010-0349
CLOVER CARPET CLEANING INC             410 E STURGIS ST SAINT JOHNS MI 48879-2264
CLOVIS CHAMBER OF COMMERCE             DBA CLOVIS/CURRY COUNTY CHAMBER OF COMMERCE 105 E GRAND AVENUE CLOVIS NM 88101
CLOVIS WINDOW CLEANING LLC             820 W MANANA BLVD CLOVIS NM 88101-3459
CM SYSTEMS LLC                         PO BOX 492182 LAWRENCEVILLE GA 30049-0037
CMC ELECTRIC INC                       PO BOX 938 MARYVILLE IL 62062-0938
CMG CARPET CLEANING SOLUTION           364 SPLIT RAIL ROAD TUSCALOOSA AL 35405-9637
CMR SERVICES                           4522 MANILLA ROAD SE CALGARY ON T2G 4B7 CANADA
CNP INC                                DBA SEAL TEX 8435 DIRECTORS ROW DALLAS TX 75247
CNP UD                                 PO BOX 3150 DEPT 30420 HOUSTON TX 77253-3150
CNP UD TAX ASSESSOR COLLECTOR          PO BOX 204023 DALLAS TX 75320-4023
CO OF RIVERSIDE DEPARTMENT OF          ENVIRONMENTAL HEALTH 38740 SKY CANYON DRIVE MURRIETA CA 92563
CO2 MONITORING LLC                     4310 CAMERON ST STE 7 LAS VEGAS NV 89103-3826
COACHELLA VALLEY WATER DISTRICT        P.O. BOX 5000 COACHELLA CA 92236-5000
COAST CLEANING SERVICES LLC            DBA COAST SERVICES 1100 SIXTH AVE NEPTUNE NJ 07753-5150
COAST ELECTRIC POWER ASSOCIATION       PO BOX 2153, DEPT 1340 BIRMINGHAM AL 35287-1340
COAST ELECTRIC POWER ASSOCIATION       P.O. BOX 2430 BAY ST LOUIS MS 39520
COAST SAFE & LOCK CO INC               457 DAUPHIN ISLAND PKWY MOBILE AL 36606-1232
COASTAL BEVERAGE CO INC                PO BOX 10159 WILMINGTON NC 28405
COASTAL BEVERAGE COMPANY INC           FARMVILLE PO BOX 749 FARMVILLE NC 27828
COASTAL HUMAN RESOURCE GROUP INC       4377 DOWNTOWNER LOOP SOUTH MOBILE AL 36609
COASTAL SUNBELT PRODUCE                PO BOX 62860 BALTIMORE MD 21264-2860
COASTAL WASTE & RECYCLING              PO BOX 25756 MIAMI FL 33102-5756
COASTLINE ELECTRIC COMPANY INC         DEPARTMENT 270 PO BOX 1564 HOUSTON TX 77251-1564
COBB COUNTY                            CLERMONT COUNTY TREASURER 2291 BAUER RD STE 203 SMYRNA GA 30080
COBB COUNTY                            HEALTH DEPT 3830 SOUTH COBB DR SUITE 102 SMYRNA GA 30080
COBB COUNTY BUSINESS LICENSE           ATTN: LIQUOR TAX PO BOX 649 MARIETTA GA 30061
COBB COUNTY TAX COMMISSIONER           PO BOX 100127 MARIETTA GA 30061-7027
COBB COUNTY WATER SYSTEM               PO BOX 580440 CHARLOTTE NC 28258-0440
COBBLESTONE TEXAS LLC                  DBA BATTERIES PLUS 11450 US HIGHWAY 380 STE 130-288 CROSS ROADS TX 76227-8321
COBBS ALLEN CAPITAL LLC                DBA CAC SPECIALTY 115 OFFICE PARK DR STE 200 MOUNTAIN BRK AL 35223-2423
COBREY GARVIN                          ADDRESS ON FILE
COCA COLA LTD                          C/O LOCKBOX 918620 PO BOX 4090 STN A TORONTO ON M5W 0E9 CANADA
COCHRAN INC                            PO BOX 33524 SEATTLE WA 98133-0524
COCHRAN, HELEN                         ADDRESS ON FILE
COCKEYS ENTERPRISES INC                3300 TRANSWAY RD BALTIMORE MD 21227
COCOA BEACH AREA CHAMBER OF COMMERCE   DBA COCOA BEACH REGIONAL CHAMBER OF COMMERCE 400 FORTENBERRY RD MERRITT ISLAND
                                       FL 32952-3522
COCOA RESTAURANT SERVICES LLC          1744 PEBBLEDASH DRIVE HERSHEY PA 17033
COCONINO COUNTY HEALTH DEPARTMENT      2500 NORTH FORT VALLEY RD BUILDING 1 FLAGSTAFF AZ 86001
COCONINO COUNTY HEALTH DEPARTMENT      HEALTH DEPARTMENT 3830 SOUTH COBB DR SUITE 102 FLAGSTAFF AZ 86001
COCONINO COUNTY TREASURER              110 E CHERRY AVE FLAGSTAFF AZ 86001
CODA G SCOTT                           ADDRESS ON FILE
CODDING ENTERPRISES                    3510 UNOCAL PLACE, SUITE 300 SANTA ROSA CA 95403
CODDING ENTERPRISES LP                 PO BOX 5800 SANTA ROSA CA 95406
CODE ELECTRICAL INC                    1301 DIVISION STREET MARQUETTE MI 49855



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CODY ROBERT GRISS                      ADDRESS ON FILE
COFFEE COUNTY TRUSTEE                  PO BOX 467 MANCHESTER TN 37349
COGBURN ELECTRIC INC                   2890 HARDING HIGHWAY EAST UNIT D MARION OH 43302-1111
COGECO CONNEXION INC.                  CP 4080 STN A TORONTO ON M5W 1H8 CANADA
COGNETTA, KATHLEEN NMI                 ADDRESS ON FILE
COHEN, SHLOMO                          ADDRESS ON FILE
COHO DISTRIBUTING LLC                  DBA COLUMBIA DISTRIBUTING 501 AIRPORT RD MEDFORD OR 97504-4159
COKER SERVICE INC                      150 E NORTH AVE VILLA PARK IL 60181-1219
COKERS REPAIR INC                      3709 N. ATLANTIC AVENUE PEORIA HEIGHTS IL 61616
COLAMCO INC                            224 W CENTRAL PKWY 1006 ALTAMONTE SPRINGS FL 32714-2545
COLDEN HOT SERVICE LLC                 PO BOX 732951 DALLAS TX 75373-2951
COLDWATER LANDSCAPES LLC               101 FORD ST MUSCLE SHOALS AL 35661-1421
COLE COUNTY CLERK                      2500 NORTH FORT VALLEY RD BUILDING 1 JEFFERSON CITY MO 65101
COLE COUNTY CLERK                      301 E HIGH ST JEFFERSON CITY MO 65101
COLE COUNTY COLLECTOR                  311 E HIGH ST RM 100 JEFFERSON CITY MO 65101
COLE CREDIT PROPERTY TRUST IV INC      DBA ARCP MT LAFAYETTE IN LLC ID: PT4956 PO BOX 841123 DALLAS TX 75284-1123
COLE FINEGAN                           US ATTORNEYS OFFICE 1801 CALIFORNIA ST DENVER CO 80202
COLE FINEGAN                           US ATTORNEYS OFFICE AUSA JEFFREY GRAVES 835 E 2ND AVE, STE 410 DURANGO CO
                                       81301
COLE FINEGAN                           US ATTORNEYS OFFICE AUSA PETER HAUTZINGER 205 N 4TH ST, STE 400 GRAND JUNCTION
                                       CO 81501
COLE SCHETTER                          ADDRESS ON FILE
COLE, AMANDA                           ADDRESS ON FILE
COLE, ARIANA                           ADDRESS ON FILE
COLEMAN, CARLISHA                      ADDRESS ON FILE
COLEMAN, ISAIAH                        ADDRESS ON FILE
COLEN JACKSON                          ADDRESS ON FILE
COLERAIN CHAMBER OF COMMERCE INC       4300 SPRINGDALE RD CINCINNATI OH 45251-1421
COLEY, DORETHA                         ADDRESS ON FILE
COLEY, DORETHEA                        ADDRESS ON FILE
COLLABORATE EFFORTS LLC                DBA B AND B UNDER PRESSURE PRO WASH 10600 4TH ST N APT 1107 SAINT PETERSBURG
                                       FL 33716-3207
COLLECTED STRATEGIES LLC               121 E 24TH ST FL 10 NEW YORK NY 10010-2953
COLLECTOR OF REVENUE                   301 E HIGH ST ST LOUIS MO 63105
COLLECTOR OF REVENUE                   41 SOUTH CENTRAL AVE ST LOUIS MO 63105
COLLECTOR OF TAXES                     41 SOUTH CENTRAL AVE WACO TX 76703
COLLECTOR OF TAXES                     PO BOX 406 WACO TX 76703
COLLEGE CLEAN RESTORATION INC          4063 PRESTON AVE S CORMAN PARK SK S7T 1C8 CANADA
COLLEGE STATION UTILITIES              310 KRENEK TAP ROAD COLLEGE STATION TX 77845
COLLEGE STATION UTILITIES - TX         P.O. BOX 10230 UTILITY CUSTOMER SERVICES COLLEGE STATION TX 77842-0230
COLLIER COUNTY TAX COLLECTOR           3291 E TAMIAMI TRL NAPLES FL 34112-5758
COLLIER, MARCIA                        ADDRESS ON FILE
COLLIN COUNTY CLERK                    PO BOX 406 PLANO TX 75074
COLLIN COUNTY CLERK                    900 E PARK BLVD 140C PLANO TX 75074
COLLIN COUNTY TAX ASSESSOR COLLECTOR   PO BOX 8046 MCKINNEY TX 75070
COLLINS CUSTOM CONTRACTING             331 SHADOWBROOK DRIVE LABADIE MO 63055
COLLINS ELECTRICAL COMPANY INC         3412 METRO DRIVE STOCKTON CA 95215-9440
COLLINS MEADOR AUTOMOTIVE GROUP INC    DBA RICK COLLINS TOYOTA 3131 SINGING HILLS BLVD SIOUX CITY IA 51106-5147
COLLINS PLUMBING CORPORATION           PO BOX 1773 SILVERDALE WA 98383-1773
COLLINS ZORN AND WAGNER PC             ATTN:TIMOTHY E. LURTZ COLLINS ZORN AND WAGNER PC 429 N.E. 50TH ST., 2ND FLOOR


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COLLINS ZORN AND WAGNER PC               OKLAHOMA CITY OK 73105
COLLINS, AMYLIA                          ADDRESS ON FILE
COLLINS, ANDREW                          ADDRESS ON FILE
COLLINS, ZORN & WAGNER PC                429 NE 50TH ST 2 OKLAHOMA CITY OK 73105
COLON, MAGDALIA E.O.                     ADDRESS ON FILE
COLON, MELINDA                           ADDRESS ON FILE
COLONIAL HEIGHTS CITY TREASURER          201 JAMES AVENUE COLONIAL HEIGHTS VA 23834
COLONIAL HEIGHTS HEALTH DEPARTMENT       200 HIGHLAND AVENUE COLONIAL HEIGHTS VA 23834
COLONIAL HEIGHTS HEALTH DEPARTMENT       900 E PARK BLVD 140C COLONIAL HEIGHTS VA 23834
COLONIAL PARK MALL REALTY HOLDING LLC    C/O KOHAN RETAIL INVESTMENT GROUP 1010 NORTHERN BLVD STE 212 GREAT NECK NY
                                         11021-5320
COLONIAL PARK MALL REALTY HOLDING, LLC   1010 NORTHERN BLVD. SUITE 212 GREAT NECK NY 11021
COLONIE TOWN RECEIVER OF TAXES           534 NEW LOUDON RD LATHAM NY 12110
COLOR ONE SYSTEMS INC                    DBA TEXAS LITHO 10900 ROARK RD HOUSTON TX 77099-3539
COLORADO BARS INC                        DBA BARS PROGRAM 7112 WEST JEFFERSON AVENUE SUITE 312 LAKEWOOD CO 80235
COLORADO BUREAU OF INVEST                DO NOT MAIL ORLANDO FL 32809
COLORADO BUREAU OF INVEST                690 KIPLING ST SUITE 400 LAKEWOOD CO 80215
COLORADO DEPT OF LABOR & EMPLOYMENT      RON ARTHUR 633 17TH ST., 12TH FLOOR DENVER CO 80202
COLORADO DEPT OF LABOR AND EMPLOYMENT    633 17TH STREET STE 201 DENVER CO 80202-3660
COLORADO DEPT OF LABOR AND EMPLOYMENT    UNEMPLOYMENT INSURANCE 633 17TH ST STE 201 DENVER CO 80202-3660
COLORADO DEPT OF PUBLIC HEALTH AND       ENVIRONMENT 4300 CHERRY CREEK DRIVE S DENVER CO 80246-1530
COLORADO DEPT OF REVENUE                 1001 EAST 62ND AVE DENVER CO 80216
COLORADO DEPT OF REVENUE                 PO BOX 17087 DENVER CO 80217-0087
COLORADO DEPT OF REVENUE                 PO BOX 17087 DENVER CO 80261-0013
COLORADO OFFICE OF THE ATTORNEY GENERAL OFFICE OF ATTORNEY GNERAL CONSUMER PROTECTION SECTION 1300 BROADWAY, 7TH FL
                                        DENVER CO 80203
COLORADO SPRINGS UTILITIES               PO BOX 340 COLORADO SPRINGS CO 80901
COLORADO STATE TREASURY                  UNCLAIMED PROPERTY DIVISION 200 E COLFAX AVE, STE 141 DENVER CO 80203-1722
COLTRANE REAL ESTATE INVESTMENTS, LLC    2820 BEAR ISLAND POINTE WINTER PAK FL 32792
COLTRANE REAL ESTATE INVESTMENTS, LLC    2820 BEAR ISLAND POINTE WINTER PARK FL 32792
COLTRANE-BROWN, AMANDA                   ADDRESS ON FILE
COLUMBIA CASUALTY COMPANY                MARSH USA LLC 3560 LENOX RD NE STE 2400 QSQ ATLANTA GA 30326-4266
COLUMBIA COUNTY TAX COLLECTOR            135 NE HERNANDO AVE STE 125 LAKE CITY FL 32055-4006
COLUMBIA DISTRIBUTING COMPANY            2525 SE 1ST AVE CANBY OR 97013-9760
COLUMBIA GAS OF KENTUCKY                 PO BOX 4660 CAROL STREAM IL 60197-4660
COLUMBIA GAS OF MARYLAND - GTS           PO BOX 70322 PHILADELPHIA PA 19176-0322
COLUMBIA GAS OF OHIO                     PO BOX 4629 CAROL STREAM IL 60197-4629
COLUMBIA GAS OF PENNSYLVANIA - GTS       PO BOX 70285 PHILADELPHIA PA 19176-0285
COLUMBIA GAS OF VIRGINIA                 PO BOX 70319 PHILADELPHIA PA 19176-0319
COLUMBIA SWEEPING SERVICE INC            DBA COLUMBIA PROPERTY MAINTENANCE PO BOX 2836 PASCO WA 99302-2836
COLUMBIA SYSTEMS INTERNATIONAL OF SOUTH CAROLINA DBA PSISC 9031 FARROW RD COLUMBIA SC 29203-9778
COLUMBUS - CITY TREASURER                PO BOX 182882 COLUMBUS OH 43218-2882
COLUMBUS CITY TREASURER                  ATTN COLUMBUS CITY TREASURER 4252 GROVES RD COLUMBUS OH 43232-4103
COLUMBUS CITY TREASURER/FIRE             90 W BROAD STREET 1ST FLOOR COLUMBUS OH 43215
COLUMBUS CITY UTILITIES                  P.O. BOX 1987 COLUMBUS IN 47202-1987
COLUMBUS CONSOLIDATED GOVERNMENT         OCCUPATIONAL TAX SECTION PO BOX 1397 COLUMBUS GA 31902-1397
COLUMBUS CONSOLIDATED GVMT               90 W BROAD STREET 1ST FLOOR COLUMBUS GA 31902-1397
COLUMBUS CONSOLIDATED GVMT               OCCUPATIONAL TAX SECTION PO BOX 1397 COLUMBUS GA 31902-1397
COLUMBUS DISTRIBUTING COMPANY            4949 FREEWAY DRIVE EAST COLUMBUS OH 43229-5479



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COLUMBUS HEALTH DEPARTMENT               COLUMBIA CITY TREASURER 240 PARSON AVENUE COLUMBUS OH 43215
COLUMBUS WATER WORKS                     PO BOX 1600 COLUMBUS GA 31902-1600
COMANCHE COUNTY TREASURER                315 SW 5TH ST RM 504 LAWTON OK 73501-4360
COMANCHE COUNTY TREASURER                315 SW 5TH ST RM 300 LAWTON OK 73501-4371
COMBINED CLEANING & RESTORATION INC      1503 OLYMPIC ROAD PRINCETON IL 61356
COMBS, APRIL                             ADDRESS ON FILE
COMCAST                                  PO BOX 37601 PHILADELPHIA PA 19101-0601
COMCAST                                  PO BOX 70219 PHILADELPHIA PA 19176
COMCAST                                  PO BOX 71211 CHARLOTTE NC 28272-1211
COMCAST                                  P.O. BOX 60533 CITY OF INDUSTRY CA 91716-0533
COMCAST HOLDINGS CORPORATION             DBA COMCAST CABLE COMMUNICATIONS MANAGEMENT LLC PO BOX 37601 PHILADELPHIA PA
                                         19101-0601
COMDESIGN INFRASTRUCTURE SOLUTIONS INC   13101 56TH CT STE 801 CLEARWATER FL 33760-4043
COMED                                    PO BOX 6111 CAROL STREAM IL 60197-6111
COMET BUILDING MAINTENANCE               21 COMMERCIAL BLVD STE 12 NOVATO CA 94949-6109
COMFORT FARMS LLC                        DBA US LAWNS OF MERIDIAN 1016 INDUSTRIAL PARK DRIVE CLINTON MS 39056
COMFORT FLOW HEATING                     1951 DON ST STE D SPRINGFIELD OR 97477-1993
COMFORT SYSTEMS USA INTERMOUNTAIN INC    2035 SOUTH MILE STONE DR SALT LAKE CITY UT 84104
COMM WORKS INVESTMENT HOLDING COMPANY    DBA COMM WORKS LLC PO BOX 734592 CHICAGO IL 60673-4592
COMMAND INVESTIGATIONS LLC               PO BOX 7047 GROUP R INDIANAPOLIS IN 46207-7047
COMMERCE LEXINGTON INC                   PO BOX 1968 LEXINGTON KY 40588-1968
COMMERCIAL & INDUSTRIAL ELE INC          5019 BONNY DRIVE WICHITA FALLS TX 76302
COMMERCIAL APPLIANCE PARTS AND SERVICE   PO BOX 772980 DETROIT MI 48277-2980
COMMERCIAL APPLIANCE SERVICE INC         281 LATHROP WAY 100 SACRAMENTO CA 95815-4200
COMMERCIAL APPLIANCE SERVICE LLC         DBA COMMERCIAL APPLIANCE SERVICE LLC PO BOX 772803 DETROIT MI 48277-2803
COMMERCIAL BEVERAGE EQUIPMENT REPAIR     DBA CBE REPAIR INC PO BOX 967 BETHANY OK 73008
INC
COMMERCIAL BEVERAGE SYSTEMS              24 BRYDON DR UNIT 3 ETOBICOKE ON M9W 5R6 CANADA
COMMERCIAL CLEANING CORP INC             PO BOX 825462 PHILADELPHIA PA 19182-5462
COMMERCIAL DESIGN SERVICES INC           5805 BARRY ROAD TAMPA FL 33634
COMMERCIAL ENTERPRISES INC               DBA COMMERCIAL IRRIGATION & TURF 109 COMMERCIAL DRIVE EAST PEORIA IL
                                         61611-7002
COMMERCIAL EQUIPMENT REPAIR INC          670 208TH ST PASADENA MD 21122-1400
COMMERCIAL EQUIPMENT SERV INC            4453 GRANDVIEW AVENUE HAMBURG NY 14075
COMMERCIAL EQUIPMENT SERVICES COMPANY    DBA CESCO INC 1374 W CATO SPRINGS RD FAYETTEVILLE AR 72701-6751
COMMERCIAL FOODSERVICE REPAIR INC        DBA TECH24 SERVICE SOLUTIONS GROUP 410 E WASHINGTON ST GREENVILLE SC 29601
COMMERCIAL GASKETS                       OF KENTUCKY INC PO BOX 145 PENDLETON KY 40055
COMMERCIAL GASKETS OF NEW YORK INC       247 WEST 38TH STREET SUITE 409 NEW YORK NY 10018
COMMERCIAL GASKETS OF PA NJ              PO BOX 1012 NEWTOWN PA 18940
COMMERCIAL GASKETS UNLIMITED OF          MINNEAPOLIS INC 2637 27TH AVE S SUITE 3 MINNEAPOLIS MN 55406
COMMERCIAL GLASS SYSTEMS OF COLUMBUS     1667 GATEWAY CIR GROVE CITY OH 43123-9309
LLC
COMMERCIAL KITCHEN FIXIN LLC             2653 TRARES ROAD MOGADORE OH 44260
COMMERCIAL KITCHEN INSTALLERS INC        224 BROWN INDUSTRIAL PKWY CANTON GA 30114-8065
COMMERCIAL KITCHEN REPAIRS               134 MARL MEADOW DRIVE KITCHENER ON N2R 1L3 CANADA
COMMERCIAL KITCHEN REPAIRS INC           51 SOUTH 14TH STREET QUAKERTOWN PA 18951
COMMERCIAL KITCHEN SERV CO               PO BOX 567 BAY CITY MI 48707
COMMERCIAL KITCHEN SERVICES INC          808 HANLEY INDUSTRIAL CT ST LOUIS MO 63144
COMMERCIAL LIGHTING COMPANY              PO BOX 270651 TAMPA FL 33688
COMMERCIAL MICROWAVE SERVICE LLC         952 RIVER RD KODAK TN 37764-2339


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COMMERCIAL PARTS & SERVICE INC           DBA INDUSTRIAL ELECTRIC PO BOX 772840 DETROIT MI 48277-2840
COMMERCIAL PARTS & SERVICE OF COLUMBUS   OHIO INC 10671 TECHWOOD CIRCLE CINCINNATI OH 45242
COMMERCIAL PLUMBING AND HEATING INC      DBA CSG 24/7 24428 GREENWAY AVENUE FOREST LAKE MN 55025-8784
COMMERCIAL RESTAURANT SOLUTIONS          1409A TRIOLE STREET OTTAWA ON K1B 4T4 CANADA
COMMERCIAL SERVICE COMPANY INC           541 BRUNKEN AVE SALINAS CA 93901
COMMERCIAL SERVICE SOUTHEAST             C/O TWC SERVICES INC 7 GLENRON STREET STE 125 CHATTANOOGA TN 37415-2152
COMMERCIAL TRADE SOLUTIONS LLC           818 LEIGHTON AVE STE C ANNISTON AL 36207-5767
COMMISSIONAIRES                          MANITOBA DIVISION 870 PORTAGE AVE WINNIPEG MB R3G 0P1 CANADA
COMMISSIONER OF FINANCE                  OCCUPATIONAL TAX SECTION PO BOX 1397 POMONA NY 10970
COMMISSIONER OF FINANCE                  DR ROBERT L YEAGER HEALTH CE POMONA NY 10970
COMMISSIONER OF HEALTH SERVICES          DR ROBERT L YEAGER HEALTH CE HAUPPAUGE NY 11788
COMMISSIONER OF HEALTH SERVICES          225 RABRO DRIVE EAST HAUPPAUGE NY 11788
COMMISSIONER OF HEALTH SVS               225 RABRO DRIVE EAST BAY SHORE NY 11706
COMMISSIONER OF HEALTH SVS               1700 UNION BLVD ROOM 106 BAY SHORE NY 11706
COMMISSIONER OF LICENSES                 1700 UNION BLVD ROOM 106 ANNISTON AL 36201
COMMISSIONER OF LICENSES                 1702 NOBLE STREET SUITE 107 ANNISTON AL 36201
COMMISSIONER OF PUBLIC WORKS             121 COURT AVE W GREENOOD SC 39646
COMMISSIONER OF REVENUE                  345 S MAIN ST HARRISBURG VA 22801
COMMISSIONER OF REVENUE                  CITY HALL 2400 WASHINGTON AVE NEWPORT NEWS VA 23607
COMMISSIONER OF REVENUE                  CITY HALL, 201 JAMES AVENUE P.O. BOX 3401 COLONIAL HEIGHTS VA 23834-9001
COMMISSIONER OF REVENUE SERVICES         CT DEPARTMENT OF REVENUE SERVICES PO BOX 2938 HARTFORD CT 06104-2938
COMMISSIONER OF REVENUE SERVICES         CT DEPARTMENT OF REVENUE SERVICES PO BOX 5030 HARTFORD CT 61025
COMMISSIONER OF THE REVENUE              1702 NOBLE STREET SUITE 107 BRISTOL VA 24201-4394
COMMISSIONER OF THE REVENUE              497 CUMBERLAND ST STE 101 BRISTOL VA 24201-4394
COMMISSIONERS OF PUBLIC WKS - GRNWOOD    PO BOX 549 GREENWOOD SC 29648
SC
COMMODORE PARENT HOLDINGS LLC            DBA SERVPRO COMMERCIAL LLC MSC 7587 PO BOX 415000 NASHVILLE TN 37241-7587
COMMONWEALTH OF KENTUCKY                 DEPT OF HOUSING DIV OF PLUMBING BOILER INSPECTION 500 METRO STREET FRANKFORT
                                         KY 40601-5405
COMMONWEALTH OF MASSACHUSETTS            DEPARTMENT OF STATE TREASURER UNCLAIMED PROPERTY DIVISION 1 ASHBURTON PLACE,
                                         12TH FL BOSTON MA 02108-1608
COMMONWEALTH OF PA-LIQ CTRL BRD          260 UPLAND SQ DR POTTSTOWN PA 19464-9434
COMMONWEALTH OF PENNSYLVANIA             DEPARTMENT OF LABOR & INDUSRTRY BUREAU OF OCCUP AND INDUST SAFY 1700 LABOR &
                                         INDUSTRY BUILDING HARRISBURG PA 17120
COMMONWEALTH OF PENNSYLVANIA             DEPARTMENT OF LABOR & INDUSRTRY 651 BOAS STREET ROOM 1600 HARRISBURG PA 17121
COMMONWEALTH OF PENNSYLVANIA             BUR OF OCCUPATIONAL & INDUSTRIAL SAFETY CENTRAL COLLECTIONS LABOR AND IND BLDG
                                         651 BOAS STREET ROOM 1606 HARRISBURG PA 17121
COMMONWEALTH OF VIRGINIA                 DEPT OF ALCOHOLIC BEVERAGE CONTROL 4226 LEE HWY BRISTOL VA 24202-5548
COMMUNICATION INTERFACE TECHNOLOGIES     4142 MCKNIGHT ROAD TEXARKANA TX 75503
LLC
COMMUNITY WASTE DISPOSAL INC             PO BOX 208939 DALLAS TX 75320-8939
COMPADRES DESIGN INC                     4002 N MAIN ST STE 400 VICTORIA TX 77901-2697
COMPASS COMMERCIAL INC                   DBA COMPASS COMMERCIAL ASSET & PROP MGMT 600 SW COLUMBIA ST STE 6100A BEND OR
                                         97702-1099
COMPETITION LOCKSMITH                    5 LINCOLN ST PORT JEFFERSON STATION NY 11776-1028
COMPLETE BUILDING MAINTENANCE CORP       2133 2ND AVE MERRICK NY 11566-2432
COMPLETE CARPET CARE SERVICES LLC        5493 WESTMORELAND PLZ STE B300 DOUGLASVILLE GA 30134-8537
COMPLETE DETAIL LLC                      113 N MULBERRY ST STE A TROY OH 45373-3699
COMPLETE ELECTRICAL SOLUTIONS LLC        715 W TAMPA ST SPRINGFIELD MO 65802-4060
COMPLETE KITCHEN SOLUTIONS LLC           DBA COMPLETE KITCHEN SERVICES 3008 E CHERRY ST SPRINGFIELD MO 65802-2625



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COMPLETE PLUMBING                       105 MERRITT STREET ST CATHARINES ON L2T 1J7 CANADA
COMPLETE PLUMBING REPAIR LLC            DBA MR ROOTER PLUMBING OF LEXINGTON 101 BRADBURY POINTE DR RICHMOND KY
                                        40475-2464
COMPLETE REPAIR SERVICE                 DBA CRS 5905 FINANCIAL PLAZA SUITE 300 SHREVEPORT LA 71129
COMPLETE WATER SERVICES INC             DBA PIKES PEAK CULLIGAN 3465 ASTROZON CT COLORADO SPRINGS CO 80910-1005
COMPLETELY WIRED INC                    4720 BAYARD PARK DR EVANSVILLE IN 47714-0603
COMPSYCH CORPORATION                    455 N CITYFRONT PLAZA DRIVE CHICAGO IL 60611-5322
COMPTROLLER OF MARYLAND                 UNCLAIMED PROPERTY 301 W PRESTON ST, RM 310 BALTIMORE MD 21201
COMPTROLLER OF MARYLAND                 SUT, REVENUE ADMINISTRATION DIVISION PO BOX 17405 BALTIMORE MD 21297-1405
COMPTROLLER OF MARYLAND                 100 WEST PATRICK STREET ANNAPOLIS MD 21411-0001
COMPTROLLER OF MARYLAND                 REVENUE ADMINISTRATION DIV ANNAPOLIS MD 21411-0001
COMPTROLLER OF PUBLIC ACCOUNTS          497 CUMBERLAND ST STE 101 ORLANDO FL 32809
COMPUSENSE INC                          PO BOX 1116 GUELPH ON N1H 6N3 CANADA
COMPUWARE HOLDING CORP                  DBA DYNATRACE LLC PO BOX 74008118 CHICAGO IL 60674-8118
CON EDISON                              390 WEST ROUTE 59 ATTN: PAYMENT PROCESSING SPRING VALLEY NY 10977-5300
CONAGUL EQUITIES II LLC                 2130 WILLIAMSBRIDGE ROAD SUITE 1G BRONX NY 10461
CONCAL LLC                              DBA COMMERCIAL BEVERAGE EQUIPMENT 3517 E BROADWAY ST NORTH LITTLE ROCK AR
                                        72114-6423
CONCORD FALSE ALARM REDUCTION PROGRAM   PO BOX 741013 ATLANTA GA 30374-1013
CONCORD GLASS INC                       DBA ANTIOCH GLASS 1207 AUTO CENTER DRIVE ANTIOCH CA 94509
CONCRETE BLONDE AQUATICS LTD            359 JOHNSON AVE WEST UNIT G & H WINNIPEG MB R2L 0J2 CANADA
CONDIA ROOFING CONTRACTORS LLC          PO BOX 856 KENT CT 06757
CONDITIONED AIR SYSTEMS INC             PO BOX 31171 BILLINGS MT 59107-1171
CONESTOGA REALTY LLC                    C/O NAMDAR REALTY GROUP LLC 150 GREAT NECK RD STE 304 GREAT NECK NY 11021-3309
CONETIC PROPERTY MAINTENANCE            94 NORTH HILL PI KITCHENER ON N2A 2S5 CANADA
CONNECTICUT DEPARTMENT OF               DEPARTMENT OF CONSUMER PROTECTION 450 COLUMBUS BLVD STE 901 HARTFORD CT
                                        06103-1840
CONNECTICUT DEPARTMENT OF LABOR         200 FOLLY BROOK BLVD WETHERSFIELD CT 06109
CONNECTICUT DEPT OF ENERGY AND          ENVIRONMENTAL PROTECTION 79 ELM ST HARTFORD CT 06106-5127
CONNECTICUT DEPT OF LABOR               UNEMPLOYMENT INSURANCE 200 FOLLY BROOK BLVD WETHERSFIELD CT 06109
CONNECTICUT DEPT OF PUBLIC HEALTH       410 CAPITOL AVE HARTFORD CT 06134
CONNECTICUT DEPT OF REVENUE SERVICES    450 COLUMBUS BLVD., STE 1 HARTFORD CT 06103
CONNECTICUT LIQUOR CONTROL COMM         DEPARTMENT OF CONSUMER PROTECTION 450 COLUMBUS BOULEVARD, SUITE 901 HARTFORD
                                        CT 06103
CONNECTICUT NATURAL GAS CORP            PO BOX 847820 BOSTON MA 02284-7820
CONNER, DECETRA                         ADDRESS ON FILE
CONRADS BIG C SIGNS INC                 1740 E NORTH ST RAPID CITY SD 57701-9586
CONROE MARKETPLACE LP                   PO BOX 62045 NEWARK NJ 07101-8061
CONSOLIDATED COMMUNICATIONS             PO BOX 66523 ST LOUIS MO 63166-6523
CONSOLIDATED WASTE LLC                  DBA TEXAS PLUMB CO LLC 650 W BOUGH LN 150-204 HOUSTON TX 77024-4049
CONSOLIDATED WASTE SERVICES             PO BOX 8468 ASHEVILLE NC 28814-8468
CONSORTIUM LEGAL                        R. L. CASTRO & C. M. RODRIGUEZ 150MTS OES DE LA ENT PR DE OF EL CEDRAL ESCAZU,
                                        EDIFICIO BANCO GENERAL 6 PISO SAN JOSE COSTA RICA
CONSTELLATION NEWENERGY                 PO BOX 4640 BANK OF AMERICA LOCKBOX SERVICE CAROL STREAM IL 60197-4640
CONSTELLATION NEWENERGY GAS DIV LLC     PO BOX 5473 CAROL STREAM IL 60197-5473
CONSTRUCTION CODE ENFORCEMENT           160 N MID-AMERICA MALL STE 750 MEMPHIS TN 38103-1874
CONSTRUCTION OPERATIONS & RENOVATION    EXPERTS DBA CORE CONTRACTORS 7105 N FLORIDA AVE TAMPA FL 33604-4833
CONSUMER FINANCIAL PROTECTION BUREAU    (CFPB) 1700 G ST. NW WASHINGTON DC 20552
CONSUMERINFO.COM INC                    PO BOX 841971 LOS ANGELES CA 90084-1971
CONSUMERS ENERGY                        PO BOX 740309 CINCINNATI OH 45274-0309


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CONTAINER FIRST SERVICES                 PO BOX 580203 CHARLOTTE NC 28258-0203
CONTAINER RENTAL CO INC.                 PO BOX 547874 ORLANDO FL 32804
CONTINENTAL AMERICAN INSURANCE COMPANY   DBA AFLAC GROUP INSURANCE 1600 WILLIAMS ST COLUMBIA SC 29201-2220
CONTINENTAL INSURANCE COMPANY            555 MISSION STREET SUITE 200 SAN FRANCISCO CA 94105
CONTINENTAL LINEN SERVICES               4200 MANCHESTER KALAMAZOO MI 49001
CONTINENTAL MILLS, INC.                  ATTN: MARTHA SANDOVAL, GENERAL COUNSEL P.O. BOX 88176 SEATTLE WA 98138-2176
CONTRA COSTA COUNTY                      HEALTH SERVICES 50 DOUGLAS DRIVE MARTINEZ CA 94553
CONTRA COSTA COUNTY TAX COLLECTOR        PO BOX 51104 LOS ANGELES CA 90051-5404
CONTROLLED IRRIGATION LLC                PO BOX 1628 JENSEN BEACH FL 34958-1628
CONVENIENT CLEAN PRESSURE WASHING LLC    404 HARRIETT ST LONGVIEW TX 75605-1016
CONVERSE, BETH                           ADDRESS ON FILE
CONWAY INN CORP                          DBA TENNESSEE RSR LLC 915 ENTERPRISE DR JONESBORO AR 72401-9201
CONYERS CITY TAX COLLECTOR               PO BOX 1259 CONYERS GA 30012
COODY, ERIKA                             ADDRESS ON FILE
COOK COUNTY                              COLLECTOR DEPARTMENT OF REVENUE PO BOX 641547 - ACCTS REC CHICAGO IL
                                         60664-1547
COOK COUNTY TREASURER                    PO BOX 805436 CHICAGO IL 60680-4116
COOKEVILLE CITY CLERK                    PO BOX 998 COOKEVILLE TN 38503-0998
COOKEVILLE TN INVESTMENT PARTNERS        C/O JAY D STEIN 10689 N PENNSYLVANIA ST STE 100 INDIANAPOLIS IN 46280-1099
COOKING EQUIPMENT SPECIALIST LLC         3100 E MEADOWS BLVD MESQUITE TX 75150-2401
COOL CONTROLS HTG AND AC LLC             1359 SAHMS BR NEW BRAUNFELS TX 78132-3464
COOL SEAL GASKETS LLC                    2365 BEVERLY ST OVIEDO FL 32765-8071
COOLERS INC                              6922 ALDER DRIVE HOUSTON TX 77081
COOLSPRINGS CROSSING LIMITED             CBL 0107 PO BOX 955607 ST LOUIS MO 63195-5607
PARTNERSHIP
COOPER COMMERCIAL PROPERTY SERVICES LLC 6335 CRAIN HWY LA PLATA MD 20646-4267
COOPERATIVE PURCHASING GROUP LLC         675 SEMINOLE AVE NE STE T04 ATLANTA GA 30307-3409
COOPS PLUMBING SERVICE                   7821 CIRCLE R RD NORTH LITTLE ROCK AR 72118-2018
COPES CARPET CLEANING INC                PO BOX 1310 GOSHEN IN 46527-1310
COPILEVITZ LAM & RANEY PC                310 WEST 20TH STREET SUITE 300 KANSAS CITY MO 64108-2025
CORAL RIDGE LLC                          105 DOGWOOD AVE SAVANNAH GA 31410-3707
CORAL SPRINGS IMPROV. DIST.              10300 NW 11TH MANOR CORAL SPRINGS FL 33071
CORBETT EQUIPMENT CO INC                 PO BOX 20993 ROANOKE VA 24018
CORBIN & CORBIN LLC                      4841 EDEN VIEW CT ORLANDO FL 32810-2747
CORELY ELECTRIC INC                      PO BOX 6828 FORT SMITH AR 72906-6828
CORK IT LLC                              DBA LIQUOR & WINE WAREHOUSE 3440 YORK COMMONS BLVD DAYTON OH 45414
CORKSCREW JOHNNYS                        2542 BRECKSVILLE ROAD RICHFIELD OH 44286
CORLOS R ECHEVARRICE                     ADDRESS ON FILE
CORNEJO, LILIANA F.                      ADDRESS ON FILE
CORNEJO, MARIMAR                         ADDRESS ON FILE
CORNELL, JODI                            ADDRESS ON FILE
CORNELL, PATRICIA                        ADDRESS ON FILE
CORNERSTONE LAWNCARE LLC                 7859 HIGHWAY 405 MACEO KY 42355-9629
CORNERSTONE ON DEMAND INC                PO BOX 737270 DALLAS TX 75373-7270
CORNHUSKER PROJECT GI2 LLC               7587 E TAILFEATHER DR SCOTTSDALE AZ 85255-4782
CORP OF THE CITY OF BURLINGTON           PO BOX 741013 BURLINGTON ON L7R 3Z6 CANADA
CORP OF THE CITY OF BURLINGTON           426 BRANT ST BURLINGTON ON L7R 3Z6 CANADA
CORP OF THE CITY OF KINGSTON             426 BRANT ST KINGSTON ON K7L 2Z3 CANADA
CORP OF THE CITY OF KINGSTON             TAX DEPARTMENT CITY HALL KINGSTON ON K7L 2Z3 CANADA



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CORPORATE CREATIONS INTERNATIONAL INC   801 US HIGHWAY 1 NORTH PALM BEACH FL 33408-3811
CORPORATE PRIDE LLC                     1809 E BROADWAY ST STE 170 OVIEDO FL 32765-8597
CORPORATE RELOCATION LLC                DBA CORPORATE RELOCATION INTERNATIONAL 1432 WAINWRIGHT WAY STE 100 CARROLLTON
                                        TX 75007-4946
CORPORATE SERVICES CONSULTANTS, LLC     PO BOX 1048 DANDRIDGE TN 37725
CORPTAX INC                             2100 E LAKE COOK RD STE 800 BUFFALO GROVE IL 60089-1999
CORPUS CHRISTI DISPOSAL SVC             PO BOX 679859 A WASTE CONNECTIONS COMPANY DALLAS TX 75267-9859
CORPUS CHRISTI SAFE & LOCK CO           3535 S STAPLES CORPUS CHRISTI TX 78411
CORRECT CLEANING INC                    4631 NEELY ROAD MEMPHIS TN 38109
CORTEZ-MEDINA, VICTORIA                 ADDRESS ON FILE
CORWIN BEVERAGE CO                      DBA KENDALLS PIONEER 219 S TIMM RD RIDGEFIELD WA 98642-3343
CORY DWAYNE JOHNSON                     ADDRESS ON FILE
CORY VOLKENANT                          ADDRESS ON FILE
COSEY, THEA                             ADDRESS ON FILE
COSTA DO SOESTO LLC                     ATTN: PABLO GUSTAVO LEIS C/O WILLIAM H. ALBORNOZ, PA 901 PONCE DE LEON BLVD.,
                                        SUITE 204 CORAL GABLES FL 33134
COSTA DO SOESTO LLC                     ATTN PABLO GUSTAVO LEIS C/O WILLIAM H ALBORNOZ PA CORAL GABLES FL 33134-3070
COSTA DO SOESTO LLC                     ATTN PABLO GUSTAVO LEIS C/O WILLIAM H ALBORNOZ PA 901 PONCE DE LEON BLVD STE
                                        204 CORAL GABLES FL 33134-3070
COSTELLO & MAINS LLC                    18000 HORIZON WAY STE 800 MOUNT LAUREL NJ 08054-4319
COSTELLO GROUP MEDIA LLC                DBA A&C PRINTING 174A SEMORAN COMMERCE PL STE 105 APOPKA FL 32703-4691
COTHRONS SAFE & LOCK INC                8120 EXCHANGE DRIVE SUITE 100 AUSTIN TX 78754
COTTER, KIMBERLY                        ADDRESS ON FILE
COUNCIL BLUFFS WATER WORKS              P.O. BOX 309 COUNCIL BLUFFS IA 51502
COUNCIL ON EMPLOYEE BENEFITS            64 WALKER ST STE 2 LENOX MA 01240-2738
COUNTRY COMFORT HEATING AND AIR INC     PO BOX 254 PERKINS OK 74059-0254
COUNTRY CUTS LAWN CARE INC              PO BOX 2332 KING NC 27021-2332
COUNTRY GREENERY INC                    17 S 5TH ST MOORHEAD MN 56560
COUNTRY LLC                             18936 E BELLISARIO CREEK PL PARKER CO 80134-3433
COUNTRY ORCHARD ESTATES INC             C/O DAVE BURTON AND SHERRY BURTON 277 LA COLINA DRIVE REDLANDS CA 92374-8246
COUNTRY ORCHARD ESTATES, INC.           ATTN: DAVE BURTON & SHERRY BURTON 277 LA COLINA DRIVE REDLANDS CA 92374
COUNTY ASPHALT COMPANY INC              PO BOX 17346 URBANA IL 61803-7346
COUNTY CLERK CLAY COUNTY                TAX DEPARTMENT CITY HALL LIBERTY MO 64068
COUNTY CLERK CLAY COUNTY                16 EAST MILL STREET LIBERTY MO 64068
COUNTY COLLECTOR                        16 EAST MILL STREET ST CHARLES MO 63301-2889
COUNTY COLLECTOR                        201 N SECOND ST ROOM 134 ST CHARLES MO 63301-2889
COUNTY OF ADA                           PO BOX 877 BOISE ID 83701-0877
COUNTY OF ALAMEDA ENVIRONMENTAL         HEALTH DEPARTMENT PO BOX N ALAMEDA CA 94501-0108
COUNTY OF ALAMEDA ENVIRONMENTAL         201 N SECOND ST ROOM 134 ALAMEDA CA 94501-0108
COUNTY OF ALBEMARLE                     ALBEMARLE COUNTY FARP PO BOX 719326 PHILADELPHIA PA 19171-9326
COUNTY OF AUGUSTA                       P.O. BOX 959 VERONA VA 24482-0959
COUNTY OF CHAUTAUQUA A MUNICIPAL CORP   DEPARTMENT OF HEALTH DIVISION OF ENVIRONMENTAL SERVICES MAYVILLE NY 14757-1027
COUNTY OF CHAUTAUQUA A MUNICIPAL CORP   HEALTH DEPARTMENT PO BOX N MAYVILLE NY 14757-1027
COUNTY OF GLOUCESTER                    DEPARTMENT OF HEALTH DIVISION OF ENVIRONMENTAL SERVICES SEWELL NJ 08080
COUNTY OF GLOUCESTER                    204 E HOLLY AVENUE SEWELL NJ 08080
COUNTY OF GREENVILLE                    TREASURER 301 UNIVERSITY RIDGE SUITE 600, GREENVILLE SC 29601
COUNTY OF GREENVILLE                    COUNTY ALARM BILLING 4 MCGEE STREET GREENVILLE SC 29601-2298
COUNTY OF HENRICO VIRGINIA              REVENUE ADMINISTRATION DIV HENRICO VA 23273-0775
COUNTY OF HENRICO VIRGINIA              DEPARTMENT OF FINANCE/ACCOUNTING PO BOX 90775 HENRICO VA 23273-0775
COUNTY OF HENRICO, VA                   PO BOX 105634 ATLANTA GA 30348-5634


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Claim Name                             Address Information
COUNTY OF HENRICO, VIRGINIA            BUSINESS LICENSE TAX PO BOX 76487 BALTIMORE MD 21275-6487
COUNTY OF JASPER                       204 E HOLLY AVENUE CARTHAGE MO 64836-1690
COUNTY OF JASPER                       JASPER COUNTY CLERK COURTHOUSE 302 SOUTH MAIN ROOM 102 CARTHAGE MO 64836-1690
COUNTY OF KALAMAZOO                    JASPER COUNTY CLERK COURTHOUSE 302 SOUTH MAIN ROOM 102 KALAMAZOO MI 49001-6169
COUNTY OF KALAMAZOO                    C/O KALAMAZOO CO HEALTH & COMMUNITY SVCS 311 E ALCOTT ST KALAMAZOO MI
                                       49001-6169
COUNTY OF KERN                         ENVIRONMENTAL HEALTH SERVICES 2700 M STREET SUITE 300 BAKERSFIELD CA 93301
COUNTY OF KERN                         C/O KALAMAZOO CO HEALTH & COMMUNITY SVCS 311 E ALCOTT ST BAKERSFIELD CA 93301
COUNTY OF LOS ANGELES                  LOS ANGELES CTY DEPT OF PUBLIC HEALTH PUBLIC HEALTH LICENSE PERMIT UNIT
                                       BALDWIN PARK CA 91706-1423
COUNTY OF LOS ANGELES                  LOS ANGELES CTY DEPT OF PUBLIC HEALTH PUBLIC HEALTH LICENSE PERMIT UNIT 5050
                                       COMMERCE DRIVE ROOM 117 BALDWIN PARK CA 91706-1423
COUNTY OF LOUDON                       ENVIRONMENTAL HEALTH SERVICES 2700 M STREET SUITE 300 LOUDON TN 37774-1273
COUNTY OF LOUDON                       LISA NILES CLERK & MASTER 201 ALMA PLACE PO BOX 509 LOUDON TN 37774-1273
COUNTY OF LOUDOUN                      LISA NILES CLERK & MASTER 201 ALMA PLACE LEESBURGH VA 20177-7000
COUNTY OF LOUDOUN                      P O BOX 7000 LEESBURGH VA 20177-7000
COUNTY OF ONEIDA                       P O BOX 7000 UTICA NY 13501
COUNTY OF ONEIDA                       DEPARTMENT OF HEALTH 185 GENESSE STREET 4TH FLOOR UTICA NY 13501
COUNTY OF PRINCE WILLIAM               DEPARTMENT OF HEALTH 185 GENESSE STREET MANASSAS VA 20110
COUNTY OF PRINCE WILLIAM               POLICE FALSE ALARM REDUCTION UNIT 8406 KAO CIRCLE MANASSAS VA 20110
COUNTY OF SACRAMENTO                   C/O ENVIRONMENTAL HEALTH 10590 ARMSTRONG AVE STE B MATHER CA 95655-4153
COUNTY OF SACRAMENTO-REV REIMB         PO BOX 1086 SACRAMENTO CA 95812-1086
COUNTY OF SAN DIEGO                    PO BOX 129261 SAN DIEGO CA 92112
COUNTY OF SANTA BARBARA                POLICE FALSE ALARM REDUCTION UNIT 8406 KAO CIRCLE SANTA BARBARA CA 93102-0039
COUNTY OF SANTA BARBARA                PO BOX 39 SANTA BARBARA CA 93102-0039
COUNTY OF SANTA CLARA                  2220 MOORE PARK AVE SAN JOSE CA 95128
COUNTY OF SUFFOLK                      PO BOX 39 YAPHANK NY 11980-9653
COUNTY OF SUFFOLK                      COMMISSIONER OF HEALTH SERVICES 360 YAPHANK AVENUE SUITE 2A YAPHANK NY
                                       11980-9653
COUNTY OF VENTURA                      ENVIRONMENTAL HEALTH DIVISION 800 S VICTORIA AVENUE VENTURA CA 93009-1730
COUNTY OF VENTURA                      COMMISSIONER OF HEALTH SERVICES 360 YAPHANK AVENUE VENTURA CA 93009-1730
COUNTY OF VOLUSIA                      123 WEST INDIANA AVE DELAND FL 32720-4602
COUNTY TAX ASSR - COLL                 ENVIRONMENTAL HEALTH DIVISION 800 S VICTORIA AVENUE DENTON TX 76202-5223
COUNTY TAX ASSR - COLL                 PO BOX 90223 DENTON TX 76202-5223
COUNTY TAX COLLECTOR VICTORIA          PO BOX 90223 VICTORIA TX 77902-2569
COUNTY TAX COLLECTOR VICTORIA          PO BOX 2569 VICTORIA TX 77902-2569
COUNTY WASTE                           PO BOX 8010 CLIFTON PARK NY 12065-8010
COUNTY WASTE - CLIFTON PARK            PO BOX 535233 A WASTE CONNECTIONS COMPANY PITTSBURGH PA 15253-5233
COUNTY WASTE - EVERGREEN               PO BOX 431 CLIFTON PARK NY 12065-0431
COURT CLERK                            325 N BROADWAY SHAWNEE OK 74801
COURTNEY JOHNSON                       ADDRESS ON FILE
COUSINEAU MALONE PA                    ATTN:CRISTOPHER MALONE 12800 WHITEWATER DRIVE, SUITE 200 MINNETONKA MN 55343
COVER TIME UPHOLSTERY INC              720 CAPITAL CIR NE STE A TALLAHASSEE FL 32301-3533
COVERALL NORTH AMERICA INC             DBA COVERALL 2955 MOMENTUM PLACE CHICAGO IL 60689
COVID-19 WIPB PROGRAM                  C/O ROYAL BANK PLAZA 200 BAY ST PO BOX 64051 TORONTO ON M5J 2T6 CANADA
COWART, ELEANOR, COWART, MADILYN,      ADDRESS ON FILE
COWBOY PLUMBING                        DBA RYAN BROWNING 6882 S TACKWEED WAY TUCSON AZ 85756-5141
COWBOYS LANDSCAPING LLC                PO BOX 681 SPRINGVILLE UT 84663-0681
COWETA - FAYETTE ELECTRIC MEMBERSHIP   CORPORATION 807 COLLINSWORTH ROAD PALMETTO GA 30268
COWETA COUNTY                          PO BOX 2569 NEWNAN GA 30263


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COWETA COUNTY                          HEALTH DEPARTMENT 51 NORTH PERRY STREET NEWNAN GA 30263
COWETA COUNTY TAX COMMISSIONER         87 NEWNAN STATION DR STE 100 NEWNAN GA 30265-1195
COWETA-FAYETTE EMC                     PO BOX 530812 SEDC ATLANTA GA 30353-0812
COWLITZ COUNTY HEALTH DEPART           HEALTH DEPARTMENT 51 NORTH PERRY STREET LONGVIEW WA 98632-4045
COWLITZ COUNTY HEALTH DEPART           1952 NINTH AVE LONGVIEW WA 98632-4045
COWLITZ COUNTY PUD                     P.O. BOX 3007 LONGVIEW WA 98632
COWLITZ COUNTY TREASURER               207 N 4TH AVE RM 202 KELSO WA 98626
COX BUSINESS                           PO BOX 771906 DETROIT MI 48277-1906
COX CONSTRUCTION INC                   PO BOX 365 STUARTS DRAFT VA 24477-0365
COX REFRIGERATION & ELECT INC          PO BOX 2116 CLOVIS NM 88102-2116
COYLE MECHANICAL INC                   PO BOX 352829 TOLEDO OH 43635-2829
COYNER, LINDA                          ADDRESS ON FILE
COYOTE GASKET LLC                      3021 SOUTH 35TH STREET SUITE B-6 PHOENIX AZ 85034
COZEN OCONNOR                          ADDRESS ON FILE
COZEN OCONNOR                          ADDRESS ON FILE
COZZINI BROTHERS INC                   8430 W BRYN MAWR AVE STE 800 CHICAGO IL 60631-3497
COZZINI CUTTING SUPPLIES LLC           DBA CCS CUTLERY 1901 DELMAR BLVD SAINT LOUIS MO 63103-1618
COZZO, COLLIN                          ADDRESS ON FILE
CPI SECURITY SOLUTIONS INC             14090 FRYELANDS BLVD SUITE 246 MONROE WA 98272
CPP RIVER FALLS LLC                    C/O COLUMBUS PACIFIC PROPERTIES 1313 FOOTHILL BLVD STE 2 LA CANADA FLINTRIDGE
                                       CA 91011-2157
CPS ENERGY                             P.O. BOX 2678 SAN ANTONIO TX 78289-0001
CPS LAWNCARE LLC                       4305 SHIMODA LN ZANESVILLE OH 43701-8605
CPT INC                                DBA CURTS UPHOLSTERY INC 1810 SIOUX AVE RAPID CITY SD 57701-3945
CR KINGSTON ASSOCIATES LLC             C/O CENTURION REALTY LLC 500 5TH AVE 39TH FLOOR NEW YORK NY 10110-3899
CR SIGNS & LIGHTING INC                4701 1ST AVE SE STE 11 CEDAR RAPIDS IA 52402-3204
CR&R INCORPORATED                      PO BOX 7096 PASADENA CA 91109-9952
CRABTREE, BENJAMIN                     ADDRESS ON FILE
CRAFT & SONS LANDSCAPING & SNOW REMOVAL 70 MASSA AVE MANSFIELD OH 44907-1224
CRAIG JACKSON.                         ADDRESS ON FILE
CRAIG LANDON OSBURN                    ADDRESS ON FILE
CRAIG R WEST                           ADDRESS ON FILE
CRAIGHEAD COUNTY TAX COLLECTOR         PO BOX 9276 JONESBORO AR 72403
CRANE, AMANDA                          ADDRESS ON FILE
CRANNIE YESCO LLC                      DBA YESCO SIGNS BY CRANNIE 4145 MARKET PL FLINT MI 48507-3204
CRANSTON, COLE                         ADDRESS ON FILE
CRAWFORD SALES COMPANY                 1377 S HAMILTON CIRCLE OLATHE KS 66061
CRCI LLC                               DBA CEILING PRO INTERNATIONAL 10601 RED CIRCLE DR MINNETONKA MN 55343-9107
CREATION GARDENS                       2055 NELSON MILLER PKWY LOUISVILLE KY 40223-2185
CREATIVE CONSUMER CONCEPTS             BIN 150016 PO BOX 88016 MILWAUKEE WI 53288-8016
CREATIVE EDGE LAWN & LANDSCAPE LLC     149 ROSE HILL TRL SANFORD FL 32773-7238
CREATIVE FINANCIAL STAFFING LLC        PO BOX 95111 CHICAGO IL 60694-5111
CREATIVE PLANNING HOLDCO LLC           DBA CREATIVE PLANNING LLC DEPARTMENT RETIREMENT SERVICES PO BOX 952032 SAINT
                                       LOUIS MO 63195-2032
CREATIVE PLANNING HOLDCO, LLC          ATTN: MICHAEL BLAKE 5454 W 110TH ST OVERLAND PARK KS 66211
CREATIVE RESTAURANT SOLUTIONS INC      401 E GORDON DRIVE EXTON PA 19341
CREATIVE SERVICES OF OHIO LLC          DBA I DO WINDOWS PO BOX 3053 ELIDA OH 45807
CREDE LAWN SERVICE LLC                 5897 TEAYS VALLEY RD SCOTT DEPOT WV 25560-7687
CREDERA ENTERPRISES COMPANY LLC        15303 DALLAS PKWY STE 300 ADDISON TX 75001-6775



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CREEKMORE LANDSCAPE LTD                  302 MARSHALL ST NEW ALBANY MS 38652-3728
CREEKSIDE OUTDOOR LIVING                 384 E 111TH CT CROWN POINT IN 46307-7592
CRESCENT CROWN DISTRIBUTING LLC          9550 DAWADELE STREET BATON ROUGE LA 70809
CRESCENT METAL PRODUCTS                  DEPT 2003 CLEVELAND OH 44193
CRESCENT MOBILE POWER WASH INC           PO BOX 731 ST PETERS MO 63376
CREWS, BRANDON                           ADDRESS ON FILE
CRH CALIFORNIA WATER INC                 DBA CULLIGAN OF ONTARIO LOCKBOX PROCESSING PO BOX 2903 WICHITA KS 67201-2903
CRH OHIO LTD                             DBA CULLIGAN OF CLEVELAND 4722 SPRING ROAD BROOKLYN HEIGHTS OH 44131-1027
CRI OUTPARCELS LLC                       250 CIVIC CENTER DR STE 500 COLUMBUS OH 43215-5088
CRIAN ENTERPRISES LLC                    DBA AFFORDABLE LANDSCAPE SUPPLIES 2236 MEADOW DRIVE MORGANTOWN WV 26505
CRIBBS, ROSITA                           ADDRESS ON FILE
CRICHTON DIVERSIFIED VENTURES LLC        DBA RPM SIGNS 1011 SCALP AVE JOHNSTOWN PA 15904-3061
CRIME INTERVENTION ALARM COMPANY         1377 SPAHN AVENUE YORK PA 17403
CRIMETEK SECURITY INC                    PO BOX 845 TURLOCK CA 95381-0845
CRISAFULLI BROS PLUMBING & HEATING       CONTRACTORS INC 25 INDUSTRIAL PARK RD ALBANY NY 12206-2049
CRISTIE CAVE                             ADDRESS ON FILE
CRISTINA ORR                             ADDRESS ON FILE
CRISWELL SERVICES INC                    120 BRIDGES ROAD BESSEMER CITY NC 28016
CRITTENDEN GLASS LLC                     258 24TH ST OGDEN UT 84401-1403
CROCODILE CARPET CARE AND RESTORATION    6845 US HIGHWAY 90 STE 105-256 DAPHNE AL 36526-9545
CROGHANS ENTERPRISES                     DBA CROGHANS CLEANING SERVICE PO BOX 6383 AKRON OH 44312
CROSS PLUMBING INC                       DBA CROSS & SONS 3357 LIBERTY ROAD VILLA RICA GA 30180
CROSSCREEK LIMITED PARTNERSHIP           C/O CASTO PO BOX 1450 COLUMBUS OH 43216
CROUCH & SONS PLUMBING LLC               4438 CHISHOLM ROAD FLORENCE AL 35630
CROWE AND ASSOCIATES LLC                 DBA JARDINIERE LANDSCAPE MANAGEMENT 2008 SW 118TH ST BURIEN WA 98146-2557
CROWELL & COMPANY LLC                    DBA AC MANUFACTURING 4047 S MAPLE GROVE RD BOISE ID 83709-5466
CROWN CASTLE FIBER LLC                   PO BOX 28730 NEW YORK NY 10087-8730
CROWN CONSTRUCTION & MAINTENANCE INC     13717 S ROUTE 30 STE 117B PLAINFIELD IL 60544-5510
CROWN DISTRIBUTORS LLC                   606 N OHIO STREET SALINA KS 67401
CROWN ELECTRIC INC                       1041 N FRUITRIDGE AVENUE TERRE HAUTE IN 47804
CROWN WASTE & RECYCLING SYSTEMS LLC      PO BOX 1032 HUNTERSVILLE NC 28078
CROWNER, AARON                           ADDRESS ON FILE
CRUTCHERS CARPET CLEANING & JANITORIAL   SVCS INC PO BOX 6115 ELIZABETHTOWN KY 42702-6115
CRUZ, MIRTHA                             ADDRESS ON FILE
CRYO WELD CORP                           253 INNIS AVE POUGHKEEPSIE NY 12603-1048
CRYSTAL CLEAR AND SONS INC               DBA CRYSTAL CLEAR & SONS BEV DISPENSERS 919 STATE HWY 33 UNIT 33 FREEHOLD NJ
                                         07728
CRYSTAL CLEAR AQUARIUM SERVICE LLC       PO BOX 541 WORCESTER PA 19490-0541
CRYSTAL CLEAR WINDOW WASHING LLC         5124 STATE ROUTE 4 BUCYRUS OH 44820-9478
CRYSTAL GREENS LANDSCAPE INC             PO BOX 568 CLACKAMAS OR 97015
CRYSTAL LAWN INC                         DBA GREENCARE 1717 3RD AVE MANKATO MN 56001-2911
CSL GROUP LTD                            1326 BUTTER ROAD WEST ANCASTER ON L9G 3L1 CANADA
CSP UTILITIES LLC                        DBA CONERSTONE PLUMBING 2101 S 22ND ST WACO TX 76706-6351
CSPW LLC                                 DBA CLEAN SLATE POWERWASHING 11100 ASHBY DR FREDERICKSBURG VA 22407-8638
CT OFFICE OF THE STATE TREASURER         UNCLAIMED PROPERTY DIVISION PO BOX 5065 HARTFORD CT 06102
CTA CONSTRUCTION                         10024 BEL AIR AVE MONTCLAIR CA 91763-3403
CU SOLUTIONS GROUP INC                   DBA HR PERFORMANCE SOLUTIONS PO BOX 8054 PLYMOUTH MI 48170-8054
CULLIGAN - MECHANICSBURG                 12 WATERFORD DR MECHANICSBURG PA 17050-8237
CULLIGAN - MIDLAND                       PO BOX 60275 MIDLAND TX 79711-0275



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CULLIGAN WATER TREATMENT                 244 LYNDEN ROAD BRANTFORD ON N3R 8A3 CANADA
CULLUM ELECTRIC & MECHANICAL INC         PO BOX 1173 GREENWOOD SC 29648-1173
CUMBERLAND CARPET CLEANING LLC           370 S LOWE AVENUE SUITE A-380 COOKEVILLE TN 38501
CUMBERLAND COUNTY ABC BOARD              1705 OWEN DR FAYETTEVILLE NC 28304-3418
CUMBERLAND COUNTY TAX ADMINISTRATION     PO BOX 449 FAYETTEVILLE NC 28302
CUMBERLAND COUNTY TAX COLLECTOR          PO BOX 538313 ATLANTA GA 30353-8313
CUMBERLAND MALL REALTY HOLDING LLC       1010 NORTHERN BLVD STE 212 GREAT NECK NY 11021-5320
CUMMINGS ELECTRICAL LP                   14900 GRAND RIVER ROAD SUITE 124 FT WORTH TX 76155
CURBEX                                   111 CAPLAN AVE BARRIE ON L4N 9J3 CANADA
CURION LLC                               DBA CURION PO BOX 51105 NEWARK NJ 07101-5205
CURRENT, CRYSTAL                         ADDRESS ON FILE
CURRY COUNTY TREASURER                   PO BOX 897 CLOVIS NM 88102-0897
CURRY INVESTMENT COMPANY                 ATTN: ELLEN M. TODD, PRESIDENT 2700 NE KENDALLWOOD PKWY STE 208 GLADSTONE MO
                                         64119
CURRY INVESTMENT COMPANY                 C/O ACCOUNTS RECEIVABLES 2700 NE KENDALLWOOD PKWY STE 208 GLADSTONE MO
                                         64119-2081
CURT P ZAIS                              ADDRESS ON FILE
CURTIS CUNNINGHAM                        DBA CENTRAL WINDOW CLEANERS PO BOX 347154 CLEVELAND OH 44134
CURTIS LANDSCAPING INC                   169 ROUTE 303 VALLEY COTTAGE NY 10989
CURTIS R BARTELLS                        ADDRESS ON FILE
CURTIS RESTAURANT SUPPLY CO              6577 EAST 40TH STREET TULSA OK 74145
CURTS LOCK AND KEY SERVICE INC           1102 MAIN AVENUE FARGO ND 58103
CUSITECH LLC                             DBA CUSI ELETRIC 833 GREEN CREST DR WESTERVILLE OH 43081-2838
CUSTOM AIRE INC                          5525 1ST AVENUE NORTH GRAND FORKS ND 58203
CUSTOM CLEAN INC                         PO BOX 8048 RICHMOND VA 23223-0048
CUSTOM CLEANING SOLUTIONS                1315 MCBRIDE ST FAR ROCKAWAY NY 11691-3010
CUSTOM FOODS OF AMERICA INCORPORATED     3600 PLEASANT RIDGE ROAD KNOXVILLE TN 37921
CUSTOM GASKETS NW LLC                    PO BOX 111734 TACOMA WA 98411
CUSTOM HOME ELECTRIC INC                 DBA MISTER SPARKY 6724 S BROADWAY AVE STE 200 TYLER TX 75703-4768
CUSTOM JOHNS LAWN CARE AND LANDSCAPING   DBA ROSALINA JUAREZ 1879 COTTON BAY LN NAVARRE FL 32566-8599
CUT RATE SEWER AND DRAIN LLC             PO BOX 3433 PUEBLO CO 81005-0433
CUTTING EDGE LAWNS LLC                   427 W OGLETHORPE BLVD ALBANY GA 31701-2835
CUTTING EDGE RESOURCES INC               121 BONNIE BRAE WICHITA KS 67207
CUTTING EDGE YARD SERVICE                PO BOX 44 AUBURN IL 62615
CUYAHOGA COUNTY HEALTH DEPARTMENT        1375 EUCLID AVE 5TH FLOOR CLEVELAND OH 44115-1882
CUYAHOGA COUNTY HEALTH DEPARTMENT        1952 NINTH AVE CLEVELAND OH 44115-1882
CUYAHOGA COUNTY TREASURER                PO BOX 94547 CLEVELAND OH 44101
CWCC CONSULTANCY LIMITED                 SUITES 1202-4 TOWER 2 THE GATEWAY 25 CANTON ROAD TSIMSHATSUI KOWLOON HONG KONG
CWPM, LLC                                P.O. BOX 415 PLAINVILLE CT 06062
CWS - CHATTANOOGA HAULING                PO BOX 70918 CHARLOTTE NC 28272-0918
CWS - DALTON HAULING                     PO BOX 70922 CHARLOTTE NC 28272-0922
CWSA - COPLAY WHITEHALL SEWER AUTHORITY 3213 MACARTHUR ROAD WHITEHALL PA 18052
CYCLONE SERVICES                         PO BOX 72095 CLEVELAND OH 44192
CYNTHIA DE LA GARZA                      ADDRESS ON FILE
CYNTHIA I PUGSLEY                        ADDRESS ON FILE
CYPRESS FAIRBANKS ISD ASSESSOR           10494 JONES RD STE 106 HOUSTON TX 77065
COLLECTOR
CYPRESS FAIRBANKS ISD TAX COLLECTOR      PO BOX 203908 HOUSTON TX 77216-3908
D & D LIGHTING INC                       1184 SHADOW LANE GREEN BAY WI 54304
D & D PRINTING LLC                       DBA MINUTEMAN PRESS WARREN 2460 ELM RD NE STE 500 WARREN OH 44483-2949


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D & E INITIATIVES LLC                   DBA WHITLOCKS PRESSURE WASH LLC 5649 INDUSTRIAL AVE S CONNERSVILLE IN
                                        47331-7715
D & E PUMP SALES & SERVICE INC          3833 SOUTH HOPKINS AVENUE TITUSVILLE FL 32780
D & J PLUMBING INC                      PO BOX 375 COMMERCE GA 30529-0007
D & L LANDSCAPING                       7421 EAST 98TH STREET TULSA OK 74133
D & LS INC                              DBA OFFICE KEEPERS 8537 BASH ST SUITE 5 INDIANAPOLIS IN 46250
D & N LANDSCAPE MAINTENANCE LLC         PO BOX 90056 WYOMING MI 49509
D & P ENTERPRISES                       DBA RESCO-NV CRESCO-CA 2018 S VAN NESS AVE FRESNO CA 93721-3326
D & S COMMERCIAL SERVICE INC            94-1175 KA UKA BLVD 7 WAIPAHU HI 96797
D & S UPHOLSTERY LLC                    1220 MCHENRY AVE MODESTO CA 95350-5331
D & V COMMERCIAL REPAIRS INC            PO BOX 248 BIG LAKE MN 55309-0248
D AND B ENTERPRISES INC                 DBA GASKET GUY OF SALT LAKE CITY 16418 N BEAVER DAM RD COLLINSTON UT
                                        84306-9710
D AND S LANDSCAPING LLC                 5 FRAME AVE STE 101 MALVERN PA 19355-1587
D BLAKE ELECTRIC & REFRIGERATION INC    685 N RED ROCK ROAD ST GEORGE UT 84770
D H H O P H                             2100 JEFFERSON ST BLDG B LAFAYETTE LA 70501
D J W PROPERTIES LLC                    3949 KILBERN WAY SAN LUIS OBISPO CA 93401-6243
D L BROWN PLUMBING CONTRACTOR INC       PO BOX 10338 TERRE HAUTE IN 47801-0338
D L SMITH ELECTRICAL CONSTRUCTION INC   1405 SW 41ST ST TOPEKA KS 66609-1204
D M DISTRIBUTING CO INC                 7976 LONG HILL RD PASADENA MD 21122
D MOFIELD PROPERTY SERVICES INC         152 S 400 W LAPORTE IN 46350-7907
D O L I/BOILER SAFETY                   320 ROBERT S KERR ROOM 203 RICHMOND VA 23219
D O L I/BOILER SAFETY                   13 S THIRTEENTH STREET RICHMOND VA 23219
D VINE WINE & SPIRITS                   577 GOODMAN ROAD E SOUTHAVEN MS 38671
D&D BEVERAGE OF NC LLC                  5878 NC 210 N ANGIER NC 27501-6463
D&J SERVICES                            DBA PAYNE SERVICES LLC 8095 INDUSTRIAL DR OLIVE BRANCH MS 38654-1913
D&M SERVICING LLC                       6455 STATE ROUTE 849 W CUNNINGHAM KY 42035-9538
D4 CONSTRUCTION                         353 GERMAIN MANOR SASKATOON SK S7V 0T7 CANADA
DABROWSKI, TERESA                       ADDRESS ON FILE
DACF INVEST-4 LLC                       20 HARRISON AVENUE WALDWICK NJ 07463-1757
DACOTAH PAPER CO                        PO BOX 2727 FARGO ND 58108-2727
DAILY REPUBLIC INC                      PO BOX 47 FAIRFIELD CA 94533-0747
DAIMON SCALES                           ADDRESS ON FILE
DAINTY DRAGON PRINCESS                  221 CHAPALINA MEWS SE CALGARY ON T2X 0A7 CANADA
DAKOTA COUNTY PT&R                      1590 HWY 55 HASTINGS MN 55033-2392
DAKOTA ELECTRIC ASSOCIATION             P.O. BOX 64427 ST. PAUL MN 55164-0427
DAKOTA ELECTRIC INC                     PO BOX 84408 SIOUX FALLS SD 57118
DAKOTA EVANS                            ADDRESS ON FILE
DAKOTA FENCE COMPANY                    P O BOX 1408 FARGO ND 58107-1408
DAKOTA GASKET LLC                       PO BOX 163 WEST FARGO ND 58078
DAKOTA REFRIGERATION INC                4322 15TH AVENUE NORTH FARGO ND 58102
DALE CHADWICK CUNNINGHAM                ADDRESS ON FILE
DALE HARDEN                             ADDRESS ON FILE
DALE L ROBERT                           ADDRESS ON FILE
DALLAS COUNTY TAX ASSESSOR              1375 EUCLID AVE 5TH FLOOR DALLAS TX 75202
DALLAS COUNTY TAX ASSESSOR              COLLECTOR/RECORDS BLDG 500 ELM STREET DALLAS TX 75202
DALLAS COUNTY TAX ASSESSOR COLLECTOR    PO BOX 139066 DALLAS TX 75313-9066
DALLAS COUNTY TAX OFFICE                500 ELM ST STE 3300 DALLAS TX 75202
DALLAS DUANE SHEPHERD                   ADDRESS ON FILE



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DALLAS SULLIVAN                      ADDRESS ON FILE
DALLIS REFRIGERATION OF TEXAS LLC    431 LINDA DRIVE CANYON LAKE TX 78133
DALTON MOFFATT                       DBA SETH MOFFATT C/O LOCKNSMITH 1357 BILOXI ST HERNANDO MS 38632-1225
DALTON REDD                          ADDRESS ON FILE
DALTON UTILITIES                     PO BOX 117614 ATLANTA GA 30368-7614
DAMES, AARON                         ADDRESS ON FILE
DAMIAN CHARLES                       ADDRESS ON FILE
DAMIAN LAMAR THOMAS                  ADDRESS ON FILE
DAMIAN WILLIAMS                      UNITED STATES ATTORNEYS OFFICE 1 ST ANDREWS PLAZA NEW YORK NY 10007
DAMIAN WILLIAMS                      UNITED STATES ATTORNEYS OFFICE 86 CHAMBERS ST, 3RD FL NEW YORK NY 10007
DAMIAN WILLIAMS                      UNITED STATES ATTORNEYS OFFICE 50 MAIN ST WHITE PLAINS NY 10606
DAMON WAGNER                         ADDRESS ON FILE
DAMUS JEAN                           ADDRESS ON FILE
DAN C INC                            ATTN DANIEL COLLOMB 11417 TUNNEL HILL WAY GOLD RIVER CA 95670-7229
DAN C RAFFA                          ADDRESS ON FILE
DAN FOX                              ADDRESS ON FILE
DAN GOONEY                           ADDRESS ON FILE
DAN HENRY DISTRIBUTING CO            5500 AURELIUS RD LANSING MI 48911-4183
DAN HRISKO                           ADDRESS ON FILE
DAN WOOLLETT                         ADDRESS ON FILE
DANA N YOUNGDAHL                     ADDRESS ON FILE
DANA RONALD SMITH                    ADDRESS ON FILE
DANBURY CITY TAX COLLECTOR           PO BOX 237 DANBURY CT 06813
DANBURY HEALTH DEPARTMENT            20 WEST STREET DANBURY CT 06810
DANDANAL SERVICES INC                DBA JUNK KING 7361 LOCKPORT PL STE M LORTON VA 22079-1595
DANEL HOLLY SMITH-LEMUS              ADDRESS ON FILE
DANETONIO RILEY                      ADDRESS ON FILE
DANGELO BUSSEY                       ADDRESS ON FILE
DANIEL A BISCHOFF                    ADDRESS ON FILE
DANIEL ADVOGADO                      LUCIANA SANTOS ALVES AVENIDA REPUBLICA DO CHILE, 330 21O ANDAR, TORRE OESTE,
                                     CENTRO RIO DE JANEIRO 20031170 BRAZIL
DANIEL ADVOGADOS                     ADDRESS ON FILE
DANIEL ASSEFF                        DBA LIVING WATERS C/O UNDER THE WAVE INC 1216 RUTHBERN RD DAYTONA BEACH FL
                                     32114-5901
DANIEL C SHUSTHA                     ADDRESS ON FILE
DANIEL CRAFT                         ADDRESS ON FILE
DANIEL DE LA GARZA                   ADDRESS ON FILE
DANIEL E HARSHBARGER                 ADDRESS ON FILE
DANIEL E TAYLOR                      ADDRESS ON FILE
DANIEL EDWARDS                       ADDRESS ON FILE
DANIEL FRICK                         ADDRESS ON FILE
DANIEL G DIAZ                        ADDRESS ON FILE
DANIEL G STRICKER                    ADDRESS ON FILE
DANIEL GILBERG                       ADDRESS ON FILE
DANIEL L ENOCHS                      ADDRESS ON FILE
DANIEL L JACOB & CO INC              2403 EAST HIGH ST JACKSON MI 49203
DANIEL R LARSON                      ADDRESS ON FILE
DANIEL RODRIGUEZ                     ADDRESS ON FILE
DANIEL SMALLWOOD                     DBA SMALLWOOD & SONS ELECTRICAL SVCS LLC C/O S&S ELECTRICAL SERVICES LLC 407
                                     SAINT ALBANS CT SW MABLETON GA 30126-1653


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DANIEL, FRANKLYN                       ADDRESS ON FILE
DANIEL, MICHELLE                       ADDRESS ON FILE
DANIELE BROTHERS INC                   DBA DALES GLASS SHOP 275 GRIFFIN STREET SALINAS CA 93901-3721
DANIELE GIANNOLA                       DBA CLEAN VIEW WINDOW CLEANING PO BOX 1441 NORTH RIVERSIDE IL 60546-0841
DANIELLE BARNES                        ADDRESS ON FILE
DANIELS COMPANY LLC                    PO BOX 16759 BALTIMORE MD 21221
DANIELS ELECTRIC INC                   PO BOX 3426 CHARLESTON WV 25334-3426
DANIELSON, CONNIE                      ADDRESS ON FILE
DANITE HOLDINGS LTD                    DBA DANITE SIGN COMPANY 1640 HARMON AVE COLUMBUS OH 43223-3321
DANNCO LLC                             DBA DELTA PO BOX 141 DEXTER NY 13634
DANNER, GUY                            ADDRESS ON FILE
DANNINGER, JADEN                       ADDRESS ON FILE
DANNY ILER                             ADDRESS ON FILE
DANNY KEYS 247 INC                     C/O DANNY KEYS 247 LOCKSMITH SERVICES 3149 DUNDEE RD NORTHBROOK IL 60062-2402
DANNY M SAFFO                          ADDRESS ON FILE
DANNY RIVERA                           ADDRESS ON FILE
DANS PRODUCE LTD                       7201 BEECHWOOD ROAD NIAGARA FALLS ON L2H 0W8 CANADA
DANVILLE CITY COLLECTIONS DEPARTMENT   COLLECTOR/RECORDS BLDG 500 ELM STREET DANVILLE VA 24543
DANVILLE CITY COLLECTIONS DEPT         PO BOX 3308 DANVILLE VA 24543
DANVILLE CITY HEALTH DEPARTMENT        PO BOX 3308 DANVILLE VA 24541
DANVILLE CITY HEALTH DEPARTMENT        326 TAYLOR DRIVE DANVILLE VA 24541
DANVILLE DISTRIBUTING CO               PO BOX 2010 DANVILLE VA 24541
DANVILLE MALL LLC                      ATTN: JAMES M. HULL C/O HULL PROPERTY GROUP 1190 INTERSTATE PARKWAY AUGUSTA GA
                                       30909
DANVILLE MALL LLC                      C/O HULL PROPERTY GROUP PO BOX 204227 AUGUSTA GA 30917-4227
DANVILLE SANITARY DISTRICT             PO BOX 727 BEDFORD PARK IL 60499-0727
DAPHNE HANSE                           ADDRESS ON FILE
DARCIE N. MCELWEE                      UNITED STATES ATTORNEYS OFFICE 100 MIDDLE ST, 6TH FL EAST PORTLAND ME 04101
DARCIE N. MCELWEE                      UNITED STATES ATTORNEYS OFFICE 202 HARLOW ST, ROOM 111 BANGOR ME 04401
DARLA JOHNSON                          ADDRESS ON FILE
DARLEEN BOUKATHERT                     ADDRESS ON FILE
DARLENE SCRUGGS                        ADDRESS ON FILE
DARRELL BARFIELD                       ADDRESS ON FILE
DARRELL BARFIELD, MATHIAS SWEET        ADDRESS ON FILE
DARRELL D STATZER                      ADDRESS ON FILE
DARRELL E KEISEL                       ADDRESS ON FILE
DARREN DARSEY                          ADDRESS ON FILE
DARREN DEMETRIUS SHAW                  ADDRESS ON FILE
DARREN J. LAMARCA                      UNITED STATES ATTORNEYS OFFICE 501 E COURT ST, STE 4-430 JACKSON MS 39201
DARREN J. LAMARCA                      UNITED STATES ATTORNEYS OFFICE 1575 20TH AVE GULFPORT MS 39501
DARRIN LEE BLACK                       ADDRESS ON FILE
DARWIN NUNEZ                           ADDRESS ON FILE
DARYL & DARYLS                         3232 HARDING HWY LIMA OH 45804
DASHIELL, JOANN                        ADDRESS ON FILE
DASILVA, MARIA                         ADDRESS ON FILE
DASON A RODRIGUEZ                      ADDRESS ON FILE
DATAFLOW REPROGRAPHICS LLC             DBA JAX SIGNS 176 ANDERSON AVE STE F200 ROCHESTER NY 14607-1194
DATASSENTIAL INC                       PO BOX 844501 BOSTON MA 02284-4501
DATAWORKS INC                          DBA RED BOOK SOLUTIONS 33270 COLLECTION CENTER DRIVE CHICAGO IL 60693-0332



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DATE LABEL CORP                          PO BOX 684 INDIANAPOLIS IN 46206-0684
DATTS, KADEJA                            ADDRESS ON FILE
DAUENHAUER & SON PLUMBING & PIPING CO    DBA DAUENHAUER PLUMBING SERVICE 3416 ROBARDS COURT LOUISVILLE KY 40218
DAVACO INC                               6688 N CENTRAL EXPY STE 1400 DALLAS TX 75206-3925
DAVACO LP                                DBA DAVACO ULC PO BOX 650002 DEPT 8055 DALLAS TX 75265
DAVE G BOEHM                             ADDRESS ON FILE
DAVE HURST PLUMBING & HEATING            2400 SHIRLEY DR KITCHENER ON N2B 3X5 CANADA
DAVE SIMONS                              ADDRESS ON FILE
DAVED FIRE SYSTEMS INC                   307 WEST PLEASANTVIEW AVENUE HACKENSACK NJ 07601
DAVENPORT, EVANS, HURWITZ & SMITH, LLP   ATTN:SHANE EDEN 206 WEST 14TH STREET P.O. BOX 1030 SIOUX FALLS SD 57101-1030
DAVEY INVESTMENTS INC                    DBA INDIANA CLEANING & RESTORATION SOLUTIONS PO BOX 417 PENDLETON IN
                                         46064-0417
DAVID A MOSINIAK                         ADDRESS ON FILE
DAVID A RILEY                            ADDRESS ON FILE
DAVID ALLEN IRICK                        ADDRESS ON FILE
DAVID ANTHONY MAY IV                     ADDRESS ON FILE
DAVID C TURK                             ADDRESS ON FILE
DAVID C. WEISS                           US ATTORNEYS OFFICE HERCULES BUILDING 1313 N. MARKET ST, PO BOX 2046
                                         WILMINGTON DE 19801
DAVID CAMPBELL                           ADDRESS ON FILE
DAVID CHARLES BENDER                     ADDRESS ON FILE
DAVID CHIODA                             ADDRESS ON FILE
DAVID CLAY FOWLKES                       US ATTORNEYS OFFICE 414 PARKER AVE FORT SMITH AR 72901
DAVID CLUBB ENTERPRISES INC              DBA RACE CITY ROOFING 303 CORNELIUS RD MOORESVILLE NC 28117-9475
DAVID COBLE                              ADDRESS ON FILE
DAVID COPELAND                           ADDRESS ON FILE
DAVID COSTELLO COLBERT                   ADDRESS ON FILE
DAVID DOBBS ENTERPRISES INC              DBA MENU DESIGNS 4600 US 1 NORTH ST AUGUSTINE FL 32095-5701
DAVID ELIZARRARAZ                        ADDRESS ON FILE
DAVID FUENTES                            DBA TEXAS A/C REFRIGERATION PO BOX 762638 SAN ANTONIO TX 78245
DAVID GARDNER                            ADDRESS ON FILE
DAVID GLENN AUSLEY                       ADDRESS ON FILE
DAVID H STARKS                           ADDRESS ON FILE
DAVID J MCCLELLAND                       ADDRESS ON FILE
DAVID KELLER.                            ADDRESS ON FILE
DAVID L MATTHEWS                         ADDRESS ON FILE
DAVID L PETROSKI                         ADDRESS ON FILE
DAVID L SHADLE                           ADDRESS ON FILE
DAVID L STEWART.                         ADDRESS ON FILE
DAVID LAWRENCE SHIMBERG                  ADDRESS ON FILE
DAVID LEE YOUNGBLOOD                     ADDRESS ON FILE
DAVID LEROY PLUMBING INC                 DBA READY & ABLE 643 OLD YORK RD ETTERS PA 17319-8819
DAVID LONG & ASSOCIATES INC              DBA MY EMPLOYEES 312 CROWATAN ROAD CASTLE HAYNE NC 28429
DAVID MESSIMER                           ADDRESS ON FILE
DAVID P EPSTEIN                          ADDRESS ON FILE
DAVID P GRAHAM                           ADDRESS ON FILE
DAVID RENICK                             ADDRESS ON FILE
DAVID RUST                               ADDRESS ON FILE
DAVID SHANK                              ADDRESS ON FILE



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DAVID SNEDEKER                         DBA AQUA SPRAY IRRIGATION INC PO BOX 100920 PALM BAY FL 32910-0920
DAVID VANBROCKLIN                      ADDRESS ON FILE
DAVID W MCKIM                          ADDRESS ON FILE
DAVID WAYNE BOYD                       ADDRESS ON FILE
DAVID WILBORN                          ADDRESS ON FILE
DAVID WILLINGHAM                       DBA WILLINGHAM OUTDOOR LLC PO BOX 739 JACKSON MO 63755-0739
DAVID ZOCCHI                           ADDRESS ON FILE
DAVIDS ELECTRIC INC                    1651 N 42ND ST OMAHA NE 68111
DAVIDS MOBILE WELDING INC              11041 SW 38TH ST MIAMI FL 33165-4445
DAVIDSON COUNTY CLERK                  C/O COUNTY CLERK PO BOX 196333 NASHVILLE TN 37219
DAVIDSON COUNTY METROPOLITAN TRUSTEE   PO BOX 305012 NASHVILLE TN 37230-5012
DAVIDSON MECHANICAL                    728 EAST C ST CASPER WY 82601
DAVIDSON, FRANCIE                      ADDRESS ON FILE
DAVIDSON, JAMES.                       ADDRESS ON FILE
DAVIESS COUNTY SHERIFF                 ATTN: RM 103 TAX DEPT 212 SAINT ANN ST OWENSBORO KY 42303
DAVILA, JANEICHKA.                     ADDRESS ON FILE
DAVIS CONCRETE PRODUCTS                PO BOX 697 PHENIX CITY AL 36868-0697
DAVIS COUNTY ASSESSOR                  PO BOX 618 FARMINGTON UT 84025
DAVIS COUNTY HEALTH DEPARTMENT         326 TAYLOR DRIVE FARMINGTON UT 84025
DAVIS COUNTY HEALTH DEPARTMENT         PO BOX 218 ROOM 24 COUNTY COURTHOUSE FARMINGTON UT 84025
DAVIS COUNTY TREASURER                 PO BOX 618 FARMINGTON UT 84025
DAVIS GLASS CO INC                     2105 BESSIE STREET CAPE GIRARDEAU MO 63701
DAVIS PICKERING & CO INC               165 ENTERPRISE DR MARIETTA OH 45750-8051
DAVIS WRIGHT TREMAINE                  ATTN:ASHLEY WATKINS VULIN 560 SW 10TH AVE 700 PORTLAND OR 97205
DAVIS, CECILE                          ADDRESS ON FILE
DAVIS, CHARLOTTE                       ADDRESS ON FILE
DAVIS, CRYSTAL                         ADDRESS ON FILE
DAVIS, JEANNIE                         ADDRESS ON FILE
DAVIS, NIGEL                           ADDRESS ON FILE
DAVIS, SHERLENE                        ADDRESS ON FILE
DAVIS, SHIKERA                         ADDRESS ON FILE
DAVIS-ULMER SPRINKLER CO INC           DBA POSTLER DAVIS ULMER PO BOX 412007 BOSTON MA 02241-2007
DAVOLI, MATTHEW                        ADDRESS ON FILE
DAVONNDA THOMAS                        ADDRESS ON FILE
DAVRICH REALTY CORP                    9012 GOLDEN MOUNTAIN CIR BOYNTON BEACH FL 33473-3311
DAWKINS PROMOTIONAL PRODUCTS           5010 SOUTH SERVICE ROAD BURLINGTON ON L7L 5Y7 CANADA
DAWN N. ISON                           UNITED STATES ATTORNEYS OFFICE 211 W FORT ST, STE 2001 DETROIT MI 48226
DAWN N. ISON                           UNITED STATES ATTORNEYS OFFICE 210 FEDERAL BLDG 600 CHURCH ST FLINT MI 48502
DAWN N. ISON                           UNITED STATES ATTORNEYS OFFICE 101 FIRST ST, STE 200 BAY CITY MI 48708
DAWSON, ANNE                           ADDRESS ON FILE
DAWSON, HORACE G. III                  ADDRESS ON FILE
DAY & NITE AIR CONDITIONING SERVICE    PO BOX 310 NEW HYDE PARK NY 11040
CORP
DAY & NITE ALL SERVICE FLA LLC         DBA PERFORMANCE AIR MECHANICAL INC PO BOX 310 NEW HYDE PARK NY 11040-0310
DAY & NITE REFRIGERATION SVC CORP      PO BOX 310 NEW HYDE PARK NY 11040
DAY, JOSEPH                            ADDRESS ON FILE
DAYANA ELIZABETH ALVARADO              ADDRESS ON FILE
DAYSTAR CLEANING INC                   1814 BECK AVENUE PANAMA CITY FL 32405
DAYTON AQUARIUM COMPANY                132 WESTPARK ROAD CENTERVILLE OH 45459-4815



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DB ACOUSTICS INC                     4601 COMMERCIAL AVENUE MARION IA 52302-1553
DB ADVISOR LLC                       C/O EDDY DJAJA 11381 PORT PL ORLANDO FL 32832-6397
DB PLUMBING INC                      3920 NATIONAL RD W RICHMOND IN 47374-4792
DBDB FUNDING LLC                     1209 ORANGE ST WILMINGTON NEW CASTLE DE 19801
DBI INDUSTRIES INC                   PO BOX 140150 HOWARD BEACH NY 11414-0150
DC DEPT OF EMPLOYMENT SERVICES       4058 MINNESOTA AVE NE WASHINGTON DC 20019
DC DEPT OF ENERGY AND ENVIRONMENT    1200 FIRST ST, NE WASHINGTON DC 20002
DC DEPT OF HEALTHS ENVIRONMENTAL     HEALTH ADMINISTRATION 899 N CAPITOL ST, NE WASHINGTON DC 20002
DC ELECTRONICS INC                   1772 CONTAINER CIRCLE RIVERSIDE CA 92509
DC LOCK                              1685 CLYMER WAY GRAND JUNCTION CO 81503
DC OFFICE OF TAX AND REVENUE         1101 4TH STREET, SW SUITE 270 WEST WASHINGTON DC 20024
DC OFFICE OF THE ATTORNEY GENERAL    OFFICE OF THE ATTORNEY GENERAL OFFICE OF CONSUMER PROTECTION 400 6TH ST, NW
                                     WASHINGTON DC 20001
DC OFFICE OF THE CFO                 UNCLAIMED PROPERTY DIVISION 1101 4TH ST SW, STE 800W WASHINGTON DC 20024
DCEB SERVICES INC                    DBA K&K SERVICES 316 INDIANA AVE WICHITA FALLS TX 76301-1036
DCM STAFFING LLC                     DBA DEBELLIS, CATHERINE & MORREALE CORPORATE STAFFING 400 ESSJAY RD STE 220
                                     WILLIAMSVILLE NY 14221-8228
DDE ENTERPRISES INC                  DBA CIRCLE-E MAINTENANCE 2951 NORTHERN CROSS BLVD STE 250 FORT WORTH TX
                                     76137-3637
DDI GENERAL CONTRACTING LLC          830 E BAY DRIVE WEST ISLIP NY 11795
DDR SOUTHEAST FOUNTAINS LLC          DEPT ACCT 106411 30352 16619 26536 NETWORK PLACE CHICAGO IL 60673-1265
DE CAMBRA ENTERPRISES INC            DBA A A BACKFLOW TESTING & MAINTENANCE 2535 WEST 237TH STREET SUITE 119
                                     TORRANCE CA 90505
DE KLERK ELECTRIC LTD                6935 SILVER SPRINGS RD NW CALGARY ON T3B 3J2 CANADA
DE VORE LIGHTING INC                 5211 VENICE BOULEVARD LOS ANGELES CA 90019-5237
DEALER SOLUTIONS INC                 DBA LAWN MANAGEMENT SERVICES PO BOX 902 MONROE GA 30655
DEALZ INC                            DBA AMERICAS FAVORITE COUPON BOOK OF PINELLAS COUNTY 600 CLEVELAND ST 387
                                     CLEARWATER FL 33755-4151
DEAN ALLEN WEIGEL                    ADDRESS ON FILE
DEAN ARNOLD MORK                     ADDRESS ON FILE
DEAN ELECTRIC                        PO BOX 4 GLENS FALLS NY 12801
DEAN, KEVIN                          ADDRESS ON FILE
DEARBORN HEIGHTS CITY TREASURER      6045 FENTON DEARBORN HEIGHTS MI 48127
DEARBORN HEIGHTS WATER DEPT.         6045 FENTON STREET WATER & SEWER DIVISION DEARBORN HEIGHTS MI 48127
DEBEAR LLC                           DBA ALL SEASON DOOR AND GLASS PO BOX 25512 COLORADO SPRINGS CO 80936-5512
DEBORAH ARGARIN                      ADDRESS ON FILE
DEBORAH FAUCETT                      ADDRESS ON FILE
DEBORAH HARBIN                       ADDRESS ON FILE
DEBORAH HEMBREE                      ADDRESS ON FILE
DEBORAH KENNEDY JACKSON              ADDRESS ON FILE
DEBORAH L BIEBER                     ADDRESS ON FILE
DEBORAH R CRUMP                      ADDRESS ON FILE
DEBOSE, LISA                         ADDRESS ON FILE
DEBRA EVES                           DBA DEBS SEWING AND REPAIR PO BOX 301 BRANT LAKE NY 12815-0301
DEBRA K TARTER                       ADDRESS ON FILE
DEBRA MCCARTHY                       ADDRESS ON FILE
DECARLO, VICTORIA                    ADDRESS ON FILE
DECATUR UTILITIES                    P. O. BOX 2232 DECATUR AL 35609
DECATUR UTILITIES, AL                BOX 2232 DECATUR AL 35609-2232
DECKER ELECTRIC INC                  4500 W HARRY WICHITA KS 67209


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DECORIAN WEBB                            ADDRESS ON FILE
DEDICATED ENVIRONMENTAL SERVICES INC     50-3 GRANT TIMMINS DRIVE KINGSTON ON K7M 8N2 CANADA
DEDICATED WINDOW CLEANING                81 LAKESHORE RD EAST UNIT 104 MISSISSAUGA ON L5G 1C9 CANADA
DEE MARIA PLUMBING INC                   4601 GEORGIA AVENUE WEST PALM BEACH FL 33405
DEEP CLEANING SOLUTIONS LLC              PO BOX 2204 HUDSON OH 44236
DEEP IN IT LLC                           DBA ACE DRAIN & SEWER OF GREEN BAY PO BOX 8025 GREEN BAY WI 54308-8025
DEEPWATER MECHANICAL CORP                78 DAIHOUSIE ST NULL VAUGHAN ON L4I 0I7 CANADA
DEERFIELD INC                            ELECTRICAL CONTRACTORS 7215 SUNSHINE AVENUE KINGSVILLE MD 21087
DEES SUGAR HOUSE CENTER LLC              1136 E WILMINGTON AVE STE 200 SALT LAKE CITY UT 84106-2819
DEHAVEN, PATRICIA                        ADDRESS ON FILE
DEHNR                                    PO BOX 29534 RALEIGH NC 27626-0534
DEHNS                                    ST BRIDES HOUSE 10 SALISUBURY SQUARE LONDON EC4Y 8JD UNITED KINGDOM
DEIRDRE WILLIAMS                         ADDRESS ON FILE
DEJESUS, KIANNA                          ADDRESS ON FILE
DEJEUNE BELL                             ADDRESS ON FILE
DEKALB CO ENVIRONMENTAL HEALTH DIVISION PO BOX 218 ROOM 24 COUNTY COURTHOUSE DECATUR GA 30031
DEKALB COUNTY                            PO BOX 71224 CHARLOTTE NC 28272-1224
DEKALB COUNTY                            PO BOX 100020 DECATUR GA 30031-7020
DEKALB COUNTY ENVIRONMENTAL HEALTH DIV   PO BOX 987 DECATUR GA 30031
DEKALB COUNTY GA                         PO BOX 987 ATLANTA GA 31193-2765
DEKALB COUNTY GA                         DEKALB COUNTY FARP PO BOX 932765 ATLANTA GA 31193-2765
DEKALB COUNTY GEORGIA                    DEKALB COUNTY FARP PO BOX 932765 STONE MOUNTAIN GA 30083
DEKALB COUNTY GEORGIA                    WATERSHED MANAGEMENT FOG PERMITS 1641 ROADHAVEN DRIVE STONE MOUNTAIN GA 30083
DEKALB COUNTY PUBLIC SAFETY              1300 COMMERCE DRIVE DECATUR GA 30030
DEKALB COUNTY PUBLIC SAFETY              WATERSHED MANAGEMENT FOG PERMITS 1641 ROADHAVEN DRIVE ORLANDO FL 32809
DEKALB COUNTY REV DEPARTMENT             4380 MEMORIAL DR 100 DECATUR GA 30032
DEKALB COUNTY REV DEPT                   DO NOT MAIL ORLANDO FL 32809
DEKALB COUNTY TAX COMMISSIONER           PO BOX 117545 ATLANTA GA 30368-7545
DEL AMO ASSOCIATES LLC                   C/O FREMONT BANK PO BOX 4795 HAYWARD CA 94540-4795
DEL MONTE CAPITOL MEAT COMPANY LLC       DBA ALLEN BROTHERS WEST PO BOX 101831 PASADENA CA 91189-0051
DELAWARE COUNTY HEALTH DEPARTMENT        100 W MAIN ST ROOM 207 MUNCIE IN 47305
DELAWARE COUNTY TREASURER                201 W FRONT ST MEDIA PA 19063
DELAWARE DEPARTMENT OF FINANCE           OFFICE OF UNCLAIMED PROPERTY PO BOX 8931 WILMINGTON DE 19899-8931
DELAWARE DEPARTMENT OF JUSTICE           FRAUD & CONSUMER PROTECTION CARVEL STATE BUILDING 820 N FRENCH ST WILMINGTON
                                         DE 19801
DELAWARE DEPARTMENT OF LABOR             4425 NORTH MARKET S WILMINGTON DE 19802
DELAWARE DEPARTMENT OF STATE             401 FEDERAL ST, STE 3 DOVER DE 19901
DELAWARE DEPT OF LABOR                   DIV. OF UNEMPLOYMENT INSURANCE UNIVERSITY OFFICE PLAZA 252 CHAPMAN RD, 2ND FL
                                         NEWARK DE 19702
DELAWARE DEPT OF LABOR                   DIV. OF UNEMPLOYMENT INSURANCE 4425 N MARKET ST WILMINGTON DE 19802
DELAWARE DEPT OF NATURAL RESOURCES       & ENVIRONMENTAL CONTROL 89 KINGS HIGHWAY DOVER DE 19901
DELAWARE DIV OF REVENUE                  PO BOX 2340 WILMINGTON DE 19899-2340
DELAWARE DIVISION OF REVENUE             820 N FRENCH ST WILMINGTON DE 19801
DELAWARE DIVISION OF REVENUE             PO BOX 8750 WILMINGTON DE 19899-2340
DELAWARE DIVISION OF REVENUE             100 W MAIN ST ROOM 207 WILMINGTON DE 19899-2340
DELAWARE DIVISION OF REVENUE             540 S DUPONT HWY DOVER DE 19901
DELAWARE DIVISION OF REVENUE             THOMAS COLLINS BUILDLING 540 S DUPONT HIGHWAY DOVER DE 19901
DELAWARE DIVISION OF REVENUE             20653 DUPONT BLVD STE 2 GEORGETOWN DE 19947
DELAWARE EMPLOYMENT TRAINING FUND        STATE OF DELAWARE-DOL DUI TRAINING TAX PO BOX 5514 BINGHAMTON NY 13902-5514



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DELAWARE FALSE ALARM REDUCTION PROGRAM   LOCK BOX 7072 PO BOX 8500 PHILADELPHIA PA 19178-7072
DELAWARE STATE POLICE                    FALSE ALARM REDUCTION PROGRAM 1441 N DUPONT HIGHWAY PO BOX 430 DOVER DE
                                         19903-0430
DELCOR INC                               1905 OLD FIRE TOWER RD GREENVILLE NC 27858-8080
DELFIELD COMPANY LLC                     PO BOX 932442 ATLANTA GA 31193-2442
DELI MANAGEMENT INC                      DBA JASONS DELI PO BOX 736282 DALLAS TX 75373-6282
DELMAR DISTRIBUTING                      6829 WALDO-DELAWARE ROAD WALDO OH 43356
DELMAR ENTERPRISES INC                   DBA CAPITAL ELECTRONICS 995 LOUIS DRIVE WARMINSTER PA 18974-2894
DELMARVA POWER AND LIGHT COMPANY         5 COLLINS DRIVE CARNEYS POINT NJ 08069
DELMARVA POWER DE/MD/VA                  PO BOX 13609 PHILADELPHIA PA 19101-3609
DELONG PLUMBING TWO INC                  DBA DELONG PLUMBING HEATING AND AIR 1312 S SCENIC AVE SPRINGFIELD MO
                                         65802-5188
DELORES JOHNSON-BROWN                    ADDRESS ON FILE
DELPHI SECURITY & INVESTIGATIONS LLC     DBA SIMS SECURITY GROUP 31 W 34TH ST 8TH FLOOR NEW YORK NY 10001-3030
DELRAN TOWNSHIP                          PO BOX 2340 DELRAN NJ 08075-9703
DELRAN TOWNSHIP                          1050 CHESTER AVENUE DELRAN NJ 08075-9703
DELRAN TOWNSHIP TAX COLLECTOR            900 CHESTER AVENUE DELRAN NJ 08075
DELSIGNORE, WILLIAM                      ADDRESS ON FILE
DELTA DIABLO SANITATION DIST             2500 PITTSBURG-ANTIOCH HWY ANTIOCH CA 94509
DELTA WASTE SOLUTIONS                    6621 RICHMOND GROVE RD JACKSON MS 39213
DELUXE OUTDOOR MAINTENANCE INC           PO BOX 987 CHESTERLAND OH 44026
DELYNN BARR                              ADDRESS ON FILE
DEMARKUSS DAY                            ADDRESS ON FILE
DEMI, JUSTIN                             ADDRESS ON FILE
DEMPS, DENISE                            ADDRESS ON FILE
DEMPSEY UNIFORM & LINEN SUPPLY           1200 MID VALLEY DRIVE JESSUP PA 18434
DEMUS, ASHLEY                            ADDRESS ON FILE
DENA J. KING                             US ATTORNEYS OFFICE 227 W TRADE ST, STE 1650 CHARLOTTE NC 28202
DENA J. KING                             US ATTORNEYS OFFICE 100 OTIS ST ASHEVILLE NC 28801
DENCO LIGHTING CO LLC                    626 N RIVERFRONT DR MANKATO MN 56001-3451
DENIS GONZALEZ                           ADDRESS ON FILE
DENIS PIGEAU                             ADDRESS ON FILE
DENISE LOUA                              ADDRESS ON FILE
DENMAR ASSOCIATES                        DBA MARTIN WATER CONDITIONING 740 E LINCOLN AVENUE MYERSTOWN PA 17067
DENNARD & TODD OVERHEAD DOORS INC        PO BOX 11037 ODESSA TX 79760-8037
DENNINGHAM, WILLIAM                      ADDRESS ON FILE
DENNIS BACKFLOW LLC                      PO BOX 2355 GRAND JUNCTION CO 81502
DENNIS D GARRIGUS                        ADDRESS ON FILE
DENNIS D WERNER                          ADDRESS ON FILE
DENNIS LAPIDUS                           ADDRESS ON FILE
DENNIS REPAIR SERVICE INC                3875 SPRING FOREST ROAD NEW SMYRNA FL 32168-8711
DENNIS WILLIAMS                          ADDRESS ON FILE
DENNIS WRIGHT PLUMBING LLC               PO BOX 791 SOUTHAVEN MS 38671-0009
DENNY SIGALA                             ADDRESS ON FILE
DENOS HEATING AND COOLING LLC            3650 SHERBROOK RD WILMER AL 36587-8108
DENTON COUNTY TAX ASSESSOR COLLECTOR     PO BOX 90223 DENTON TX 76202
DENVER CITY AND CO MANAGER OF FINANCE    PO BOX 17420 DENVER CO 80217-0420
DENVER CUTLERY INC                       PO BOX 21797 DENVER CO 80221-0797
DENVER SYRUP AND BAR SUPPLY              DBA DENVER BEVERAGE 353 W 56TH AVE DENVER CO 80216-1621



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DENVER WATER                             PO BOX 173343 DENVER CO 80217-3343
DENVERS REFRIGERATION INC                PO BOX 16177 JONESBORO AR 72403
DEPARTMENT OF ALCOHOLIC BEVERAGE CON     7677 OAKPORT ST SUITE 1020 OAKLAND CA 94607
DEPARTMENT OF BUILDINGS                  280 BROADWAY NEW YORK NY 10007
DEPARTMENT OF BUSINESS SERVICES          ALEXI GIANNOILIAS, SECRETARY OF STATE 69 W WASHINGTON ST STE 1240 CHICAGO IL
                                         60602
DEPARTMENT OF BUSINESS SERVICES          ALEXI GIANNOILIAS, SECRETARY OF STATE 501 S SECOND ST RM 350 SPRINGFIELD IL
                                         62756
DEPARTMENT OF COMMUNITY DEVELOPMENT      PO BOX 299002 LEWISVILLE TX 75029-9000
DEPARTMENT OF FINANCE                    TREASURY DIVISION PO BOX 660860 DALLAS TX 75266-0860
DEPARTMENT OF LABOR                      OFFICE OF ANTI-DISCRIMINATION 4425 N. MARKET STREET, 3RD FLOOR WILMINGTON DE
                                         19802
DEPARTMENT OF LABOR                      OFFICE OF ANTI-DISCRIMINATION BLUE HEN CORPORATE CENTER 655 S. BAY ROAD, SUITE
                                         2H DOVER DE 19901
DEPARTMENT OF LABOR AND EMPLOYMENT       DOLE CONTROLLERS OFFICE PO BOX 628 DENVER CO 80201-0628
DEPARTMENT OF LABOR AND EMPLOYMENT       301 GERVAIS STREET DENVER CO 80201-0628
DEPARTMENT OF LABOR WAGE AND             WORKPLACE STANDARDS DIVISION REVENUE SERIVCES SECTION PO BOX 14610 WATERBURY
                                         CT 06702-1036
DEPARTMENT OF PUBLIC HEALTH              LOUISVILLE METRO HEALTH DEPARTMENT PO BOX 1704 ROOM 317 LOUISVILLE KY 40201
DEPARTMENT OF PUBLIC SAFETY              LICENSE SECTION 4252 GROVES RD COLUMBUS OH 43224
DEPARTMENT OF PUBLIC SAFETY              DEPARTMENT OF FINANCE/ACCOUNTING PO BOX 90775 COLUMBUS OH 43232-4103
DEPARTMENT OF PUBLIC SAFETY              LICENSE SECTION 4252 GROVES RD COLUMBUS OH 43232-4103
DEPARTMENT OF PUBLIC UTILITIES, OH       PO BOX 10017 TOLEDO OH 43699-0017
DEPARTMENT OF PUBLIC WORKS               KENT COUNTY LEVY COURT 414 FEDERAL STREET DOVER DE 19901
DEPARTMENT OF PUBLIC WORKS               BOILER & ELEVATOR INSPECTION 220 FRENCH LANDING DRIVE DOVER DE 19901
DEPARTMENT OF REVENUE                    PO BOX 12025 BIRMINGHAM AL 35283-0710
DEPARTMENT OF REVENUE - JEFFERSON CTY    C/O TRAVIS A HULSEY PO BOX 830710 BIRMINGHAM AL 35283-0710
DEPARTMENT OF REVENUE - JEFFERSON CTY    KENT COUNTY LEVY COURT 414 FEDERAL STREET BIRMINGHAM AL 35283-0710
DEPARTMENT OF STATE                      DIVISION OF CORPORATIONS ATTN APOSTILLE SECTION TALLAHASSEE FL 32314-6800
DEPARTMENT OF THE TREASURY               INTERNAL REVENUE SERVICE PO BOX 932700 LOUISVILLE KY 40293-2700
DEPARTMENT OF THE TREASURY               249 THOMASTON AVE LOUISVILLE KY 40293-2700
DEPARTMENT OF TRANSPORTATION             CASHIER - PO BOX 47420 OLYMPIA WA 98504-7420
DEPARTMENT OF WATER - CITY OF SYRACUSE   PO BOX 5268 DEPARTMENT OF WATER BINGHAMTON NY 13902-5268
DEPARTMENTFORD TOWNSHIP                  DEPARTMENT OF HEALTH 1011 COOPER ST DEPARTMENTFORD NJ 08096
DEPARTMENTFORD TOWNSHIP                  CASHIER - PO BOX 47420 DEPARTMENTFORD NJ 08096
DEPENDABILL SOLUTIONS, LLC               PO BOX 935135 ATLANTA GA 31193-5135
DEPENDABLE BUILDING MAINTENANCE          4645 138TH ST CRESTWOOD IL 60418-1930
SERVICES
DEPENDABLE COMFORT AIR AND HEAT INC      1221 PRICE PLZ KATY TX 77449-6422
DEPENDABLE YARD SERVICE                  11371 11TH AVE HESPERIA CA 92345-2061
DEPT OF CONSUMER & BUSINESS SERVICES     1050 CHESTER AVENUE SALEM OR 97309-0445
DEPT OF CONSUMER & BUSINESS SVCS         REVENUE SERIVCES SECTION PO BOX 14610 SALEM OR 97309-0445
DEPT OF HEALTH & ENVIRONMENTAL           CONTROL BUREAU OF FINANCE 301 GERVAIS STREET COLUMBIA SC 29201-3073
DEPT OF LABOR WAGE & WORKPLACE           249 THOMASTON AVE WATERBURY CT 06702-1036
STANDARDS
DEPT OF LABOR-ST OF TENNESSEE            BOILER & ELEVATOR INSPECTION 220 FRENCH LANDING DRIVE NASHVILLE TN 37243
DEPT OF WATER WORKS - SANITARY DISTRICT P.O. BOX 888 DEPARTMENT OF WATER WORKS MICHIGAN CITY IN 46361
DEPTFORD FIRE DISTRICT                   OFFICE OF THE FIRE MARSHALL 1370 DELSEA DRIVE DEPTFORD NJ 08096
DERBY CITY SIGN & ELECTRIC INC           1427 HUGH AVENUE LOUISVILLE KY 40213
DEREK N BOULTON                          ADDRESS ON FILE



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DERHEIMER PLUMBING-HEATING-AC INC       PO BOX 9119 FORT WAYNE IN 46899-9119
DEROSE GARDEN LANDSCAPE DESIGN LLC      1590 W GARDEN RD VINELAND NJ 08360-1522
DERRIC KYLE DRAKE                       ADDRESS ON FILE
DERRICK MINTZ                           ADDRESS ON FILE
DERRICK WRIGHT                          ADDRESS ON FILE
DES INC                                 DBA DUNN ELECTRICAL SERVICES PO BOX 3797 CLARKSVILLE TN 37043
DES MOINES WINDOW & BLDG MT INC         PO BOX 13013 DES MOINES IA 50310-0013
DESIGN REFRIGERATION & AC INC           DBA DESIGN REFRIGERATION & AIR CONDITIONING CO INC 3600 S STATE ROAD 7 STE 334
                                        MIRAMAR FL 33023-5290
DESJARDINS, SILVIA                      ADDRESS ON FILE
DESOTO COUNTY HEALTH DEPARTMENT         3246 HIGHWAY 51 SOUTH STE 5 HERNANDO MS 38632
DESOTO COUNTY TAX COLLECTOR             365 LOSHER ST STE 110 HERNANDO MS 38632
DESPAIN AND ASSOCIATES INC              DBA DAI SOURCE 5605 N MACARTHUR BLVD STE 1000 IRVING TX 75038-2633
DESTINEE MARQUITA JOHNSON               ADDRESS ON FILE
DESTINY CAINES                          ADDRESS ON FILE
DESTINY WILSON (MINOR)                  ADDRESS ON FILE
DETROIT AQUARIUM COMPANY                30253 FREDA DR WARREN MI 48093-2209
DEUTSCHE BANK AG NEW YORK BRANCH        AS COLLATERAL TRUSTEE 60 WALL ST NEW YORK NY 10005
DEUTSCHE BANK AG NEW YORK BRANCH        AS ADMINISTRATIVE AGENT 60 WALL ST NEW YORK NY 10005
DEUTSCHE BANK AG NEW YORK BRANCH        AS COLLATERAL AGENT 60 WALL ST NEW YORK NY 10005
DEVELOPMENTS WEST CORPORATION           UNIT 107 PRINCESS ANNE COMMERCIAL COMPLEX 630-8TH STREET EAST SASKATOON SK S7H
                                        0R2 CANADA
DEVEN JACQUEZ                           ADDRESS ON FILE
DEVENNEY, MARCIA                        ADDRESS ON FILE
DEVI FISHERIES INC                      11111 KATY FWY STE 910 HOUSTON TX 77079-2119
DEVIN W MUNSEY                          ADDRESS ON FILE
DEVON ELZY                              ADDRESS ON FILE
DEVRON COLE INMAN                       ADDRESS ON FILE
DEW DIVERSIFIED LLC                     DBA BAY AREA COMMERCIAL KITCHENS 2506 VIOLET ST PASADENA TX 77503-3739
DEWEYS CARPET AND UPHOLSTERY CLEANING   8172 W CHICKEN RUN RD MADISON IN 47250-7768
DEWITT EQUIPMENT CO INC                 PO BOX 2189 MESA AZ 85214
DEWITT LLP                              2 E MIFFLIN STREET SUITE 600 MADISON WI 53703-2865
DEWOLF, ERICA                           ADDRESS ON FILE
DEX IMAGING                             DBA GREATAMERICA FINANCIAL SERVICES CORPORATION PO BOX 660831 DALLAS TX
                                        75266-0831
DFA DAIRY BRANDS FLUID LLC              MEADOW GOLD DAIRY PO BOX 31001-2833 PASADENA CA 91110-2833
DHANOOLAL, PAMELA                       ADDRESS ON FILE
DHARMENDRA PATEL                        ADDRESS ON FILE
DIADON LLC                              1300 WHITE OAK CT IRWIN PA 15642-4386
DIAJEFF LLC C/O KIN PROPERTIES, INC.    ATTN: GENERAL COUNSEL 185 NW SPANISH RIVER BLVD., SUITE 100 BOCA RATON FL
                                        33431
DIAMOND BOYD                            ADDRESS ON FILE
DIAMOND SHARP CUTLERY                   513 MERCURY LANE BREA CA 92821
DIAMOND SHARP CUTLERY SERVICE INC       DBA PRO EDGE KNIFE 4559 B STREET STOCKTON CA 95206
DIAMOND WINDOW CLEANING LLC             PO BOX 912 FINDLAY OH 45839
DIAMONDS BEAUTY LLC                     DBA HOODZ OF THE TREASURE COAST 7809 SW ELLIPSE WAY UNIT D15 STUART FL
                                        34997-7272
DIANA MARIE SHINN                       ADDRESS ON FILE
DIANA MARKS                             ADDRESS ON FILE
DIANA SANTINI PIKCUNAS                  ADDRESS ON FILE


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DIANA SLEVIN                           ADDRESS ON FILE
DIANA SUE HOLCOMBE                     ADDRESS ON FILE
DIANE A DEROSE MEISTER                 ADDRESS ON FILE
DIANE COTE                             ADDRESS ON FILE
DIANE DION                             ADDRESS ON FILE
DIANE GERVAIS                          ADDRESS ON FILE
DIANE M HENDRICKS ENTERPRISES INC      DBA FEDERAL HEATH SIGN COMPANY LLC PO BOX 670222 DALLAS TX 75267-0222
DIANNA HOLTKAMP                        DBA VINYLMAN PO BOX 1600 BELLFLOWER CA 90707
DIAS, NICOLE                           ADDRESS ON FILE
DIAZ SANDREA & ASSOCIATES LLC          DBA MR HANDYMAN OF CINCO, SOUNT KATY, WESTERN HUSTON 21815 KATY FWY STE C121
                                       KATY TX 77450-1815
DIAZ, ELIZABETH                        ADDRESS ON FILE
DIAZ, LINDELL                          ADDRESS ON FILE
DICK MCCALISTER & SONS INC             114 EAST JOHNSON AVE WEST TERRE HAUTE IN 47885-1006
DICKERSON, SYLVIA                      ADDRESS ON FILE
DICKSON CITY BOROUGH TAX COLLECTOR     GERALDINE PRUSHINSKI 901 ENTERPRISE ST DICKSON CITY PA 18519
DIEP, CHAN                             ADDRESS ON FILE
DIETRICH LLC                           PO BOX 2587 SANDUSKY OH 44870
DIFFERENT DIMENSIONS                   PO BOX 3513 WAYNE NJ 07474-3513
DIFFERENT SHADES OF COLOR LLC          DBA RAPHAEL M TURNER 130 CARRINGTON DR MADISON MS 39110-6889
DIGICOPY INC                           1052 MAIN ST STE 207 STEVENS POINT WI 54481-2848
DIGIPRINT CORPORATION                  4865 LONGLEY LN STE C RENO NV 89502-7936
DILLARD NORTHWEST INC                  DBA ROTO-ROOTER SEWER DRAIN SERVICE PO BOX 7180 SPRINGDALE AR 72766-7180
DINE EQUIPMENT INC                     3110 PRESTON HIGHWAY LOUISVILLE KY 40213
DINERT, ALINA                          ADDRESS ON FILE
DINOVA INC                             6455 EAST JOHNS CROSSING SUITE 220 JOHNS CREEK GA 30097-1559
DIPPOLITO, BETTY                       ADDRESS ON FILE
DIRECT DATA PRODUCTS                   1485 DUBLIN AVENUE WINNIPEG MB R3E 3G8 CANADA
DIRECT ENERGY BUSINESS                 C/O C15873C PO BOX 1587 STATION M CALGARY AB T2P3B9 CANADA
DIRECT ENERGY/NRG                      PO BOX 70220 PHILADELPHIA PA 19176-0220
DIRECT ENERGY/NRG                      PO BOX 660749 DALLAS TX 75266
DIRECTIONAL SIGNING PROGRAM LLC        5717 OAKLEYS PL RICHMOND VA 23223-5957
DIRECTIONS RESEARCH INC                M/L 520 PO BOX 145400 CINCINNATI OH 45250-5400
DIRECTOR OF FINANCE - CHAUTAUQUA COUNTY P.O. BOX 458 CELORON NY 14720
DIRECTOR OF FINANCE - ST JOSEPH        BUSINESS TAX DIV PO BOX 64517 ST JOSEPH MO 64502
DIRECTOR OF FINANCE - ST JOSEPH        PO BOX 1350 ST JOSEPH MO 64502
DIRECTOR OF FINANCE HOWARD CTY         C/O TRAVIS A HULSEY PO BOX 830710 BALTIMORE MD 21264-4517
DIRECTOR OF FINANCE HOWARD CTY         BUSINESS TAX DIV PO BOX 64517 BALTIMORE MD 21264-4517
DIRECTOR OF FINANCE, HOWARD COUNTY     PO BOX 37213 DIRECTOR OF FINANACE BALTIMORE MD 21297-3213
DIRECTOR OF REVENUE                    PO BOX 778 JEFFERSON CITY MO 65102
DIRECTV                                PO BOX 5006 CAROL STREAM IL 60197-5006
DIRECTV                                2260 EAST IMPERIAL HWY EL SEGUNDO CA 90245
DIRK C RUSSELL                         ADDRESS ON FILE
DISASTER RESTORATION SYSTEM LLC        1-800 WATER DAMAGE OF HARRISBURG PA 3256 N SUSQUEHANNA TRL YORK PA 17406-9754
DISCOUNT PLUMBING SERVICES INC         13046 COUNTY ROAD 8 FORT LUPTON CO 80621-8345
DISH                                   PO BOX 94063 PALATINE IL 60094-4063
DISPOSAL MANAGEMENT SERVICES, INC.     154 QUARRY RD COAL TOWNSHIP PA 17866
DISTINCT FORTUNE LLC                   DBA NATIONAL GENERAL CONTRACTORS 1020 GRIFFITH AVE LAS VEGAS NV 89104-1654
DISTRICT BOARD OF HEALTH MAHONING CO   PO BOX 778 YOUNGSTOWN OH 44515



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DISTRICT BOARD OF HEALTH MAHONING    50 WESTCHESTER DRIVE YOUNGSTOWN OH 44515
COUNTY
DISTRICT COURT CLERK                 50 WESTCHESTER DRIVE OKLAHOMA CITY OK 73102
DISTRICT COURT CLERK                 320 ROBERT S KERR ROOM 203 OKLAHOMA CITY OK 73102
DISTRICT OF COLUMBIA                 DEPT OF EMPLOYMENT SERVICES 4058 MINNESOTA AVE NE WASHINGTON DC 20019
DISTRICT OF COLUMBIA                 DEPARTMENT OF EMPLOYMENT SERVICES 4058 MINNESOTA AVENUE, N WASHINGTON DC 20019
DIVERSIFIED MECHANICAL INC           329 N WESTERN AVENUE PEORIA IL 61604
DIVERSYS LEARNING INC                1101 ARROW POINT DR SUITE 302 CEDAR PARK TX 78613
DIVINE PLANT DESIGN INC              9965 EL CAMINO REAL STE G ATASCADERO CA 93422-5562
DIVISION 1 GROUND MAINTENANCE        8031 LEXINGTON WAY NORTH RIDGEVILLE OH 44039
DIVISION OF ALCOHOLIC BEV & TOB      400 N CONGRESS AVE STE 150 WEST PALM BEACH FL 33401
DIVISION OF BOILER SAFETY            STATE OF DELAWARE PO BOX 674 DOVER DE 19903-0674
DIVISION OF DRIVERS LICENSES         BUREAU OF RECORDS PO BOX 5775 TALLAHASSEE FL 32314-5775
DIVISION OF HOTELS & RESTS           1940 NORTH MONROE ST TALLAHASSEE FL 32399
DIXIE BEVERAGE WEST LLC              2705 S PLEASANT VALLEY RD WINCHESTER VA 22601
DIXIE ELECTRIC COMPANY INC           580 TRADE CENTER STREET MONTGOMERY AL 36108
DIXIE ELECTRIC INC/TONYS TRENCH      8803 BALTIMORE NATIONAL PIKE MIDDLETOWN MD 21769-9407
DIXIE LAWN & LANDSCAPING INC         DBA DIXIE LANDSCAPING INC 3810 RODDY HWY COCHRAN GA 31014
DIXIE PARTNERS V LP                  C/O DAVID SPADA PO BOX 270874 FLOWER MOUND TX 75027-0874
DIXIE PRODUCE INC                    DBA WHAT CHEFS WANT SOUTHEAST PO BOX 896706 CHARLOTTE NC 28289-6706
DIXON ELECTRIC EAST COAST LLC        2170 W KING STREET C3 COCOA FL 32926
DIXON, ROBERTA                       ADDRESS ON FILE
DIXONS DISTILLED SPIRITS             355 EIMIRA RD NORTH UNIT 106 GUEIPH ON N1K 1S5 CANADA
DJB GAS SERVICES INC                 PO BOX 26746 SALT LAKE CITY UT 84126-0746
DK ORLANDO AC LLC                    DBA AC BY MARRIOTT & AC SKY BAR ORLANDO DOWNTOWN 333 S GARLAND AVE ORLANDO FL
                                     32801-3355
DKL INCORPORATED                     DBA FISH WINDOW CLEANING PO BOX 1439 NEW PORT RICHEY FL 34656-1439
DL MUSTERIC ENTERPRISES LLC          DBA FISH WINDOW CLEANING 1331 CONANT ST STE 101 MAUMEE OH 43537-1665
DLT COMMERCIAL SERVICE LLC           12709 BONNIE BRAE AVE WATERFORD CA 95386-9330
DM RECYCLING CO                      4822 70TH AVE E FIFE WA 98424-3934
DMC COMMERCIAL SNOW MANAGEMENT INC   PO BOX 94 MONTGOMERYVILLE PA 18936-0094
DMC SERVICES LLC                     2 PIN OAK LN STE 100 CHERRY HILL NJ 08003-1632
DMX LLC                              DBA MOOD MEDIA PO BOX 602777 CHARLOTTE NC 28260-2777
DNP PLUMBINGS SUDS INC               DBA ROOTER MAN PLUMBING ACCOUNTING OFFICE 9384 SCHAEFER ROAD STAUNTON IL 62088
DOBBIES FLORIST LTD                  5144 VICTORIA AVE NIAGARA FALLS ON L2E 4E3 CANADA
DOBSONS BEVERAGE SERVICES            89697 GILMOUR LINE WINGHAM ON N0G 2W0 CANADA
DOCUSIGN INC                         DEPT 3428 PO BOX 123428 DALLAS TX 75312-3428
DOERING, PATRICIA                    ADDRESS ON FILE
DOHERTY, ANTHONY                     ADDRESS ON FILE
DOHME PRODUCE CO INC                 DBA CENTRAL ILLINOIS PRODUCE 500 S GLOVER URBANA IL 61802
DOLEAC ELECTRIC CO INC               PO BOX 1936 HATTIESBURG MS 39403
DOLL DISTRIBUTING LLC                3501 23RD AVENUE COUNCIL BLUFFS IA 51501
DOLORES BROWN                        ADDRESS ON FILE
DOLPHIN ICE & WATER LLC              281 DOUGLAS RD E OLDSMAR FL 34677-2946
DOLSON, RICK                         ADDRESS ON FILE
DOMESTIC SERVICES INC                PO BOX 526078 SALT LAKE CITY UT 84152-6078
DOMINICK, CRYSTAL                    ADDRESS ON FILE
DOMINIEK PARRISH                     ADDRESS ON FILE
DOMINION ENERGY                      PO BOX 27031 RICHMOND VA 23261-7031



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DOMINION ENERGY NORTH CAROLINA         P.O. BOX 100256 SCANA CORPORATION COLUMBIA SC 29202-3256
DOMINION ENERGY OHIO                   P.O. BOX 26785 DOMINION RESOURCES SERVICES, INC RICHMOND VA 23261-6785
DOMINION ENERGY SOUTH CAROLINA         PO BOX 25973 RICHMOND VA 23260-5973
DOMINION VA/NC POWER                   P.O. BOX 26543 RICHMOND VA 23290-0001
DOMNERN SOMGIAT & BOONMA LAW OFFICE LTD G PO BOX 203 719 SI PHRAYA ROAD BANGRAK 10500 CHINA
DON CADET                              ADDRESS ON FILE
DON F HUDSON                           ADDRESS ON FILE
DON LEE DISTRIBUTOR INC                DBA WEST SIDE BEER DISTRIBUTING 28100 GORSUCH AVE ROMULUS MI 48174
DON NEISWONGER                         DBA BETTER VIEW WINDOW CLEANERS PO BOX 204 MONTEREY CA 93942-0204
DON R GARRISON                         ADDRESS ON FILE
DONA ANA COUNTY TREASURER              PO BOX 1179 LAS CRUCES NM 88004
DONAGHY SALES LLC                      2363 S CEDAR AVE FRESNO CA 93725-1078
DONALD D KOUNS JR                      ADDRESS ON FILE
DONALD DAVIS.                          ADDRESS ON FILE
DONALD G COLBY                         ADDRESS ON FILE
DONALD J QUACKENBUSH                   ADDRESS ON FILE
DONALD K GUTHRIE                       ADDRESS ON FILE
DONALD M GREENWOOD                     ADDRESS ON FILE
DONALD S HAMILTON                      ADDRESS ON FILE
DONALD VAN GWALTNEY                    ADDRESS ON FILE
DONALD W COWELL                        ADDRESS ON FILE
DONALD WRIGHTS BEST ELECTRIC CO        DBA BEST ELECTRIC CO 2606 GRANT ST WICHITA FALLS TX 76309
DONATO MARANGI INC.                    P.O. BOX 495 VALLEY COTTAGE NY 10989
DONNA AND DUANE ENTERPRISES INC        DBA FALLS CITY SIGNS AND GRAPHICS 4850 CRITTENDEN DR STE 3A LOUISVILLE KY
                                       40209-1721
DONNA HAZEN                            ADDRESS ON FILE
DONNA KOZOL                            ADDRESS ON FILE
DONNIE COLE                            ADDRESS ON FILE
DONOVAN LLP                            ATTN: NICHOLAS DONOVAN 152 MADISON AVENUE, 14TH FLOOR NEW YORK NY 10016
DONS LOCK & KEY INC                    3488 ARLINGTON AVENUE SUITE A RIVERSIDE CA 92506
DONS LOCK & SAFE LLC                   DBA BRIAN E LOUGH 4223 YVETTE ST SW STE 101 IOWA CITY IA 52240-8623
DONS MOBIL LOCK SHOP INC               323 EAST DAWS NORMAN OK 73069
DONS SUPPLY INC                        DBA DONS SUPPLY INC 9912 I-30 LITTLE ROCK AR 72209
DONTAS LAW SARL                        NICOLAS DONTAS 2 RUE ASTRID BELAIR 1143 LUXEMBOURG
DONTSLOWMEDOWN INC                     79 BARBERRY PLACE HELEN GA 30545-3319
DOOLEYS STEAM WAY CARPET CARE INC      1120 5TH ST MERIDIAN MS 39301-5308
DOOLEYS WATER & ENERGY SOLUTIONS INC   PO BOX 419 GARDEN PLAIN KS 67050-0419
DOORDASH INC                           PO BOX 735240 DALLAS TX 75373-5240
DOR-CO SALES & SERVICE LTD             DBA DOR-CO GARAGE DOORS 5340 BRENDAN LANE RR1 OLDCASTLE ON N0R 1L0 CANADA
DORFF, JOSEPH                          ADDRESS ON FILE
DORIS PARKER                           ADDRESS ON FILE
DORMONT MANUFACTURING COMPANY          PO BOX 60601 CHARLOTTE NC 28260-0601
DORNBIRER, SAMANTHA                    ADDRESS ON FILE
DORSETT REFRIGERATION & AIR            PO BOX 184 PETERBOROUGH ON K9J 6Y8 CANADA
CONDITIONING
DORT, ADRIEN                           ADDRESS ON FILE
DOSS ELECTRIC INC                      3335 DOVER LANE BILLINGS MT 59105
DOSSETT, KIM                           ADDRESS ON FILE
DOTHAN AREA CHAMBER OF COMMERCE        PO BOX 638 DOTHAN AL 36302-0638



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DOTHAN UTILITIES                      P.O. BOX 6728 DOTHAN AL 36302-6728
DOUBLE J PLUMBING & CONTRACTING LLC   1206 A AVE KEARNEY NE 68847-6816
DOUBLETREE BY HILTON MONROVIA         924 W HUNTINGTON DR ATTN: PASADENA AREA MONROVIA CA 91016
DOUCET PLUMBING INC                   DBA 3DS PLUMBING 6474 HWY 87 NORTH SIDEVIEW ROAD SAN ANGELO TX 76901
DOUD, VICTORIA                        ADDRESS ON FILE
DOUG WILLIAMS                         ADDRESS ON FILE
DOUGHERTY COUNTY HEALTH DEPARTMENT    ENVIRONMENTAL HEALTH SECTION PO BOX 3048 ALBANY GA 31708-4201
DOUGHERTY COUNTY TAX DEPARTMENT       PO BOX 1827 ALBANY GA 31702-1827
DOUGHERTY, KATHERINE                  ADDRESS ON FILE
DOUGLAS COUNTY BOARD OF HEALTH        ATTN ENVIRON/HEALTH 6704 E CHURCH ST DOUGLASVILLE GA 30134
DOUGLAS COUNTY HEALTH DEPARTMENT      410 S WILCOX ST CASTLE ROCK CO 80104-2662
DOUGLAS COUNTY HEALTH DEPT            ROOM 401 CIVIC CENTER 1819 FARNAM ST OMAHA NE 68183-0401
DOUGLAS COUNTY TAX COMMISSIONER       6200 FAIRBURN RD DOUGLASVILLE GA 30134-1930
DOUGLAS COUNTY TREASURER              PO BOX 2855 OMAHA NE 68103-2855
DOUGLAS D THOMPSON                    ADDRESS ON FILE
DOUGLAS H SIM                         ADDRESS ON FILE
DOUGLAS JACKSON                       ADDRESS ON FILE
DOUGLAS ROY BAKER                     ADDRESS ON FILE
DOUGLAS RYAN BIGGS                    ADDRESS ON FILE
DOUGLAS V HALE                        ADDRESS ON FILE
DOUGLAS W GULLEKSON                   ADDRESS ON FILE
DOUGLASS CONSTRUCTION INC             339 E AVENUE K-8 115 LANCASTER CA 93535
DOUGLASVILLE-DOUGLAS COUNTY GA        PO BOX 1178 DOUGLASVILLE GA 30133
DOUGS LAWN CARE INC                   646 N LAKE RD EAST BERLIN PA 17316-8446
DOVER CITY TAX COLLECTOR              PO BOX 15558 WILMINGTON DE 19886-5558
DOVER GREASE TRAP & DR CL INC         16585 THIRTEEN MILE ROAD FRASER MI 48026
DOWD, THOMAS                          ADDRESS ON FILE
DOWELL, TAMELIA                       ADDRESS ON FILE
DOWN N DIRTY CLEANING SERVICES LLC    DBA AMY BABBITT 1024 HAL MCRAE LOOP APT 306 AVON PARK FL 33825-4157
DOWNERS GROVE SANITARY DISTRICT       P.O. BOX 1412 DOWNERS GROVE IL 60515
DOWNEY & LENKOV LLC                   11055 BROADWAY STE B CROWN POINT IN 46307
DOWNEY & LENKOV LLC                   ATTN:RICH LENKOV BRYCE DOWNEY & LENKOV LLC 30 NORTH LASALLE STREET SUITE 3600
                                      CHICAGO IL 60602
DOWNEY & LENKOV LLC                   30 NORTH LASALLE STREET SUITE 3600 CHICAGO IL 60602
DOWNS, JUANITA                        ADDRESS ON FILE
DOWNTOWN ORLANDO INC                  DBA DOWNTOWN ORLANDO PARTNERSHIP 189 S ORANGE AVENUE SUITE 1700 ORLANDO FL
                                      32801
DOWOG, DIANA                          ADDRESS ON FILE
DOYLE, TONY                           ADDRESS ON FILE
DP INDUSTRIES LLC                     DBA GRANT SIGNS 2810 SYENE ROAD MADISON WI 53713
DP SERVICES LLC                       59 HONEYSUCKLE DRIVE MECHANICSBURG PA 17050
DR DRAIN CLEANING LLC                 PO BOX 21 EAST LEROY MI 49015-0021
DR FISH THE FISH DOCTOR INC           PO BOX 9901 OAKLAND PARK FL 33310
DR LANDSCAPE INC                      DBA LAND GRAPHICS 5752 KEARNY VILLA RD SAN DIEGO CA 92123-1112
DR LOCKSMITH                          DBA ABC LOCKSMITH & SECURITY 25 S WASHINGTON ST STE LL600 NAPERVILLE IL
                                      60540-5189
DR OF MIDDLE TENNESSEE LLC            DBA DR VINYL 453 MYATT DRIVE MADISON TN 37115
DR POWER WASHERS INC                  819 W MASON ST MABANK TX 75147-8179
DR SIGNS                              2335 LASALLE BLVD SUDBURY ON P3A 2A9 CANADA
DR VINYL OF GREEN COUNTRY LLC         PO BOX 1145 GLENPOOL OK 74033-1145


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DRAFT BEER ENGINEER LLC                1117 BAY RIDGE RD MADISON WI 53716-1512
DRAFT BEER INTELLIGENCE LLC            255 S GLENDORA AVE 1210 GLENDORA CA 91740-7162
DRAFT BEER SERVICES OF ATLANTA INC     PO BOX 848 FAYETTEVILE GA 30214
DRAFT DOCTOR LLC                       PO BOX 31024 PORTLAND OR 97231
DRAFT SERVICES INC                     DBA DEBOLT AND BAKER PO BOX 44 DEER CREEK IL 61733
DRAFT SOLUTIONS LLC                    6823 HAZELNUT SPICE DR RUSKIN FL 33573-0151
DRAFT SOUTH LLC                        PO BOX 20692 ATLANTA GA 30320-0692
DRAFT TECHNOLOGIES INC                 300 CRESTVIEW DR HASTINGS MN 55033-1585
DRAFTMAN INC                           13265 ALLS DRIVE LINDEN VA 22642
DRAFTTEX DRAUGHT SERVICES INC          1364 TRACTOR PASS SCHERTZ TX 78154-1846
DRAIN CLEANING LLC                     DBA DANIEL CURIEL GALAVIZ 2079 PARSONS DR FAIRFIELD CA 94533-7247
DRAIN DOCTORS LLC                      PO BOX 336355 GREELEY CO 80633-0606
DRAIN MASTERS INC                      PO BOX 6336 FORT SMITH AR 72906-6336
DRAIN PROS LLC                         2623 STUMP BLIND TRL MYRTLE BEACH SC 29588-8447
DRAIN SAVER CENTRAL SEWER LLC          57 LAKE STREET WHITE PLAINS NY 10604
DRAIN SENSE PLUMBING AND DRAIN SERVICES 64 CARTWRIGHT BOULEVARD WOODBRIDGE ON L4L 8J8 CANADA
DRAIN SPECIALISTS INC                  PO BOX 4682 SIOUX CITY IA 51104-0682
DRAINS ETC                             PO BOX 2386 VALRICO FL 33595
DRAINS PLUS LLC                        701 N SANTA FE AVENUE SALINA KS 67401
DRAINS R US INC                        PO BOX 4793 LYNCHBURG VA 24502-0793
DRAINTECH INC                          719 DEMUNDS ROAD DALLAS PA 18612-6208
DRAKES LANDSCAPING AND EXCAVATION      PO BOX 147 MILLS WY 82644-0147
DRAUGHT CLEANING SERVICE OF CNY LLC    5860 TULLER ROAD CICERO NY 13039
DRAUGHT SOLUTIONS INC                  PO BOX M108 1554 CARLING AVE OTTAWA ON K1Z 7M4 CANADA
DRD ASSOCIATES LLC                     DBA DRD REPAIR 1147 FLOYD DR LEXINGTON KY 40505-2715
DREAM GROWERS LLC                      C/O DREAM GROWER PLANTS 1253 E SAINT LOUIS ST SPRINGFIELD MO 65802-3407
DREAM LAWN TURF & LANDSCAPE INC        DBA US LAWNS OF JACKSONVILLE PO BOX 24068 JACKSONVILLE FL 32241
DREITZ, CAROL                          ADDRESS ON FILE
DREKI ENTERPRISES INC                  DBA BLUEFROG PLUMBING PLUS DRAIN OF NE DALLAS 3611 INTERSTATE 30 W BLDG E
                                       CADDO MILLS TX 75135-7659
DREW & NAPIER LLC                      LIM SIAU WEN / LIM JIA YING 10 COLLYER QUAY 10-01 OCEAN FINANCIAL CENTRE
                                       049315 SINGAPORE
DREW C PARKER                          ADDRESS ON FILE
DREW WINDOW CLEANING INC               DBA FISH WINDOW CLEANING PO BOX 784 BOYSTOWN NE 68010-0784
DRIES PLUMBING INC                     DRIES BROS PLUMBING INC 1519 W ALTORFER DR PEORIA IL 61615-1905
DRIESSEN WATER INC                     DBA CULLIGAN OF INDIANAPOLIS 110 W FREMONT STREET OWATONNA MN 55060-2328
DRIFTLESS DRAFT LLC                    DBA MATTHEW CULLMANN 1232 MADISON ST LA CROSSE WI 54601-4857
DRILECK ENTERPRISES INC                DBA FASTSIGNS SAN ANTONIO NW 8714 FREDERICKSBURG RD STE 103 SAN ANTONIO TX
                                       78240-1224
DRINX FINE WINE & SPIRITS LLC          3821-I PROMENADE PARKWAY DLBERVILLE MS 39540
DRIVEN ACQUISITION INC                 DRIVEN TECHNOLOGIES 3120 MEDLOCK BRIDGE RD STE B PEACHTREE CORNERS GA
                                       30071-1469
DRIVERS LICENSE GUIDE CO               1492 ODDSTAD DR REDWOOD CITY CA 94063
DRURY DEVELOPMENT CORPORATION          ATTN MELINDA STEAMER LEASE ADMINISTRATOR 13075 MANCHESTER RD STE 200 SAINT
                                       LOUIS MO 63131-1836
DS&F PLUMBING LLC                      DBA ANYTIME MAINTENANCE CO 1280 E STATE HWY 76 SUITE A BRANSON MO 65616-8643
DSL NORTHWEST INC                      3500 W VALLEY HWY N B101 AUBURN WA 98001-2436
DSSS                                   PO BOX 1259 AKRON OH 44309-1259
DTA INC                                DBA ARNOLDS LANDSCAPING 3180 PARK AVENUE WEST MANSFIELD OH 44906
DTC DEVELOPMENT MSP LLC                PO BOX 809342 CHICAGO IL 60680-9342


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DTE ENERGY                               PO BOX 630795 CINCINNATI OH 45263-0795
DTI GROUP INC                            10913 NW 30TH ST STE 107 DORAL FL 33172-5029
DTOM ENTERPRISES INC                     DBA FISH WINDOW CLEANING PO BOX 285 MORRISVILLE PA 19067-0285
DUAL ELECTRIC & REFRIGERATION            3280 ODESSA DR TECUMSEH ON N8N 2M1 CANADA
DUANE A. EVANS                           US ATTORNEYS OFFICE 650 POYDRAS ST, STE 1600 NEW ORLEANS LA 70130
DUANE MORRIS LLP                         30 S 17TH ST FL 5 PHILADELPHIA PA 19103-4196
DUANE MORRIS LLP                         (COUNSEL TO ZURICH) ATTN: WENDY SIMKULAK & ELISA HYDER 30 SOUTH 17TH STREET
                                         PHILADELPHIA PA 19103-4196
DUANE MORRIS LLP                         ATTN:GERALD MAATMAN 190 SOUTH LASALLE STREET, SUITE 3700 CHICAGO IL 60603-3433
DUBLIN CITY TREASURER                    PO BOX 690 DUBLIN GA 31040-0690
DUBOIS GLASS & CHINA                     DBA DUBOIS RESTAURANT SUPPLY 309 WEST LONG AVENUE DUBOIS PA 15801
DUCKHORN WINE COMPANY                    DEPT LA 24662 PASADENA CA 91185-4662
DUCLOS THORNE MOLLET VIEVILLE &          DBA DTMV AVOCATS 164 RUE DU FAUBOURG SAINT HONORE PARIS 75008 FRANCE
ASSOCIES
DUCTCHECK                                PO BOX 2671 STN A GREATER SUDBURY ON P3A 5J2 CANADA
DUDA TRUMIC                              ADDRESS ON FILE
DUFF & PHELPS HOLDING CORPORATION        ATTN: N/A - NOT A CURRENT CONTRACT. 420 S ORANGE AVE STE 900 ORLANDO FL 32801
DUFF & PHELPS HOLDINGS CORPORATION       DBA KROLL LLC 12595 COLLECTION CENTER DRIVE CHICAGO IL 60693
DUFFYS AIS LLC                           3138 ONEIDA ST SAUQUOIT NY 13456-2813
DUKE ENERGY                              PO BOX 1094 CHARLOTTE NC 28201-1094
DUKE ENERGY CAROLINAS, LLC               550 S. TRYON STREET CHARLOTTE NC 28202
DUKE ENERGY FLORIDA, INC. DBA DUKE       ENERGY 5225 TECH DATA DRIVE ACCOUNTS RECEIVABLE DEPT BAY 71 CLEARWATER FL
                                         33766
DUKE ENERGY OHIO, INC.                   139 E. FOURTH ST. P.O. BOX 960 ROOM 467A CINCINNATI OH 45201
DUKE ENERGY PROGRESS, INC.               P. O. BOX 1771 CSC-WW1 ATTN: COLL TM 1 RALEIGH NC 27602
DUKE-TURNER LLC                          DBA DUKES HOT SHOT DELIVERY SERVICES C/O SUNBELT FINANCE LLC DEPT 144 4114
                                         SERVICE RD JONESBORO AR 72401-9302
DUMANS LOCK & SAFE INC                   6779 ENGLE ROAD SUITE L MIDDLEBURG HTS OH 44130-7926
DUMOR WATER SPECIALISTS INC              4405 WYLAND DRIVE ELKHART IN 46516
DUN AND BRADSTREET INC                   PO BOX 931197 ATLANTA GA 31193-1197
DUNBAR DISTRIBUTING CO INC               PO BOX 224 CONNELLSVILLE PA 15425
DUNCAN ELECTRICAL CONTRACTORS INC        4204 MOULTON STREET PO BOX 1039 GREENVILLE TX 75403-1039
DUNCANVILLE FALSE ALARM REDUCTION        PROGRAM PO BOX 207357 DALLAS TX 75320-7357
DUNCANVILLE FALSE ALARM REDUCTION PRGM   13 S THIRTEENTH STREET DALLAS TX 75320-7357
DUNEDIN ELECTRIC CO INC                  DBA PALM HARBOR ELECTRIC CO 2300 CONGRESS AVENUE CLEARWATER FL 33763
DUNNWELL LLC                             4601 CREEKSTONE DRIVE SUITE 200 DURHAM NC 27703
DUNSTAN & SON PLUMBING CO INC            1127 WEST MAIN STREET LEESBURG FL 34748
DUPAGE COUNTY COLLECTOR                  PO BOX 4203 CAROL STREAM IL 60197-4203
DUPAGE COUNTY HEALTH DEPARTMENT          111 NORTH COUNTY FARM ROAD WHEATON IL 60187
DUPAGE COUNTY HEALTH DEPARTMENT          PO BOX 207357 WHEATON IL 60187
DUPEE PLUMBING INC                       49 PENDLETON RD FREDERICKSBURG VA 22405-3037
DUQUAINE INCORPORATED                    1744 PRESQUE ISLE AVE MARQUETTE MI 49855
DUQUESNE LIGHT COMPANY                   PO BOX 371324 PITTSBURGH PA 15250-7324
DURDACH BROTHERS INC                     MAIN STREET PAXINOS PA 17860
DURGAN, CAILA                            ADDRESS ON FILE
DURHAM COUNTY ABC BOARD                  ABC STORE 09 3620 CHAPEL HILL BLVD DURHAM NC 27707
DURHAM COUNTY TAX ADMINISTRATION         PO BOX 3397 DURHAM NC 27702-3397
DURHAM COUNTY TAX COLLECTOR              111 NORTH COUNTY FARM ROAD DURHAM NC 27701
DURHAM COUNTY TAX COLLECTOR              201 EAST MAIN STREET DURHAM NC 27701
DURHAM PUBLICATION INC                   DBA THE APB PO BOX 924109 HOUSTON TX 77292-4109


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DURHAM REGIONAL LOCKSMITH                497 SIMCOE STREET SOUTH OSHAWA ON L1H 4J9 CANADA
DURHAM, NANCY                            ADDRESS ON FILE
DURO-LAST INC                            PO BOX 772616 CHICAGO IL 60677-2616
DUSTIN BAYS                              ADDRESS ON FILE
DUSTIN HOSKINS                           ADDRESS ON FILE
DUTCH ENTERPRISES INC                    PO BOX 438 JACKSON MO 63755-0438
DUTCH MILL FLORIST INC                   1731 N 13TH STREET BISMARCK ND 58501
DUTCHESS COUNTY DEPARTMENT OF HEALTH     ENVIRONMENTAL HEALTH SERVICES 387 MAIN STREET POUGHKEEPSIE NY 12601-3316
DUTCHESS COUNTY DEPARTMENT OF HEALTH     201 EAST MAIN STREET POUGHKEEPSIE NY 12601-3316
DUTTON BROCK LLP                         ATTN:CHRISTOPHER MARTYR 438 UNIVERSITY AVENUE SUITE 1700 TORONTO ON M5G 2L9
                                         CANADA
DUTYS LOCK SAFE & SECURITY INC           3101 GETTYSBURG ROAD CAMP HILL PA 17011
DUVAL COUNTY TAX COLLECTOR               PO BOX 44009 JACKSONVILLE FL 32231-4009
DUVALL & FALL, P.C.                      4911 E. 56TH STREET ATTN: LESA C. DUVALL INDIANAPOLIS IN 46220
DW ANDERSON PLUMBING LLC                 DBA ANDERSON PLUMBING 733 NAVCO DR LAFAYETTE IN 47905-4718
DWAYNE BOWMAN                            ADDRESS ON FILE
DYNAMIC CARPET CARE LLC                  ADDISON BROWN PO BOX 4442 SPRINGFIELD MO 65808-4442
DYNASTY ROOFING AND PLOWING              366 INDIAN TRAIL ON K0L 1Y0 CANADA
DYNEGY ENERGY SERVICES                   27679 NETWORK PLACE CHICAGO IL 60673
DYSON PLUMBING INC                       119 ABRAMS ST MOBILE AL 36607-2497
E & C S INC                              DBA E & C S ELECTRIC PO BOX 1813 ROSWELL NM 88202-1813
E & R BEVERAGE INC                       DBA DIDIS BEVERAGE 5614 YOUNGSTOWN WARREN ROAD NILES OH 44446
E & R SIGN SERVICE INC                   PO BOX 91 ARMADA MI 48005
E & S PLUMBING & ROOTER SVC LLC          PO BOX 30996 FLAGSTAFF AZ 86003-0996
E AND J CEILING CLEANING EXPERTS LLC     113 MAIN ST S VELVA ND 58790-7327
E HAROLD WILSON INC                      DBA WILSON ELECTRIC CO PO BOX 1685 LAKELAND FL 33802-1685
E I ELETRICAL INC                        4348 WAIALAE AVE 428 HONOLULU HI 96816-5767
E J DEL MONTE CORPORATION                909 LINDEN AVENUE ROCHESTER NY 14625
E L WALTERS AIR CONDITIONING & HEATING   12420 N GREEN RIVER ROAD EVANSVILLE IN 47725
E M C O REFRIGERATION SERVICE COMPANY    10200 PAGE INDUSTRIAL BLVD ST LOUIS MO 63132-1314
E M GASKENBACH INC                       DBA DRAFT CLEANING SERVICES 1825 W BROAD ST STE B-08 BETHLEHEM PA 18018-3355
E T SIMONDS CONSTRUCTION COMPANY         PO BOX 2107 CARBONDALE IL 62902-2107
E V JACOBSON TRUCKING & ESCAV            1191 LANSING AVENUE SUDBURY ON P3A 4C4 CANADA
E-COLLECT                                2250 OLD PHILADELPHIA PIKE CONSHOHOCKEN PA 19428
E-COLLECT                                804 FAYETTE STREET CONSHOHOCKEN PA 19428
E-TEL                                    1515 BROADWAY PADUCAH KY 42001-2701
E. MARTIN ESTRADA                        US ATTORNEYS OFFICE 312 N SPRING ST, STE 1200 LOS ANGELES CA 90012
E2 EDUCATIONAL CONSULTING LLC            1305 HARDEMAN AVE STE 200 OFC 110 MACON GA 31201-4412
E2F INC                                  3655 NOBEL DR STE 520 SAN DIEGO CA 92122-1051
EAGERTON PLUMBING CO INC                 1093 NORTH MCDUFF AVE JACKSONVILLE FL 32254
EAGLE CLEAR VIEW INC                     DBA FISH WINDOW CLEANING 83 POTOMAC CREEK DR STE 105 FREDERICKSBURG VA
                                         22405-4520
EAGLE DISPOSAL OF PA INC                 PO BOX 535233 A WASTE CONNECTIONS COMPANY PITTSBURGH PA 15253-5233
EAGLE DISPOSAL, INC.                     21107 OMEGA CIRCLE FRANKSVILLE WI 53126
EAGLE PROTECTIVE GROUP INC               PO BOX 814392 DALLAS TX 75381-4392
EAGLE STRIPING SERVICES INC              PO BOX 2047 FAIRVIEW OR 97024-1812
EAMES & ASSOCIATES LLC                   5236 WEST LAKES DRIVE DEERFIELD BEACH FL 33442
EARL PAGE LI                             ADDRESS ON FILE
EARL SMITH DISTRIBUTING COMPANY          1730 DOVE STREET PORT HURON MI 48060



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EARNEST CHAPMAN                          ADDRESS ON FILE
EARNEST HANLEY                           ADDRESS ON FILE
EARNHARDT PROPERTIES INC                 DBA CSI COMMERCIAL SERVICES INC AND FALCON EQUIPMENT SERVICE 18330 EDISON
                                         AVENUE CHESTERFIELD MO 63005-3618
EARTH ENGINEERING INCORPORATED           115 W GERMANTOWN PIKE STE 200 EAST NORRITON PA 19401-1361
EARTH SHAPERS/LOTS CLEANER LLC           6411 E COPPER HILL DR PRESCOTT VALLEY AZ 86314-2908
EARTH TOUCH LANDSCAPING                  13031 S 143RD EAST AVE BROKEN ARROW OK 74011
EARTH WORKS GREENCARE INC                PO BOX 66 PARKERSBURG WV 26102-0066
EARTHSCAPES INC                          5481 AIRLINE RD FRUITPORT MI 49415
EARTHTONES LANDSCAPING                   PO BOX 620237 OVIEDO FL 32762-0237
EAST ATLANTA ELECTRIC LLC                DBA MR ELECTRIC OF COVINGTON 30 ASHLYN CT COVINGTON GA 30016-2311
EAST BATON ROUGE PARISH SHERIFF          PO BOX 70 BATON ROUGE LA 70821
EAST BRAINERD PLUMBING & HEATING CO INC 8133 E BRAINERD RD CHATTANOOGA TN 37421
EAST BRUNSWICK FIRE DISTRICT 1           680 OLD BRIDGE TURNPIKE EAST BRUNSWICK NJ 08816
EAST BRUNSWICK SEWERAGE AUTH             25 HARTS LANE EAST BRUNSWICK NJ 08816
EAST BRUNSWICK TOWNSHIP TAX COLLECTOR    PO BOX 1081 EAST BRUNSWICK NJ 08816-1081
EAST COAST BEVERAGE SYSTEMS              PO BOX 1055 FORKED RIVER NJ 08731-0995
EAST COAST OVEN REPAIR LLC               5406 DURANT DR PORT ORANGE FL 32127-5309
EAST COAST PAPER STOCK                   5035 NOVA RD ROCKLEDGE FL 32955
EAST COAST REFRIGERATION INC             1220 BISCAYNE BLVD UNIT C DELAND FL 32724
EAST COAST SOLUTIONS LLC                 PO BOX 869 LONGS SC 29568-0869
EAST END PLUMBING ACQUISITION LLC        DBA EAST END PLUMBING 2631 EATON RAPIDS RD LANSING MI 48911-6310
EAST HIGHLANDS GROUP LLC                 DBA STEPHANIE BURICE MEDLEY 2144 ALTA AVE LOUISVILLE KY 40205-1157
EAST LAMPETER ASSOCIATES LP              1000 GERMANTOWN PIKE SUITE A2 PLYMOUTH MEETING PA 19462
EAST LAMPETER TOWNSHIP                   2250 OLD PHILADELPHIA PIKE LANCASTER PA 17602
EAST LAMPETER TOWNSHIP                   ENVIRONMENTAL HEALTH SERVICES 387 MAIN STREET LANCASTER PA 17602
EAST LAMPETER TOWNSHIP, PA               2250 OLD PHILADELPHIA PIKE LANCASTER PA 17602-3417
EAST MISSISSIPPI BUSINESS DEV CORP       PO BOX 790 MERIDIAN MS 39302-0790
EAST MOLINE GLASS                        1033 7TH ST STE 100 EAST MOLINE IL 61244-1462
EAST POINT CITY TAX COLLECTOR            2757 E POINT ST STE F EAST POINT GA 30344
EAST SIDE JERSEY DAIRY INC               DBA PRAIRIE FARMS DAIRY 1301 E MAIN AVE BISMARCK ND 58501-4670
EAST TEXAS LRL ENTERPRISES INC           DBA LOGGINS PLUMBING PO BOX 150937 LUFKIN TX 75915
EAST WEST CROSSINGS LLC                  PO BOX 96347 CHARLOTTE NC 28296-0347
EASTERN EQUIPMENT SERVICE                1935 HEALY DR WINSTON SALEM NC 27103-3007
EASTERN SHORE DIST                       811 SNOW HILL ROAD SALISBURY MD 21804
EASTERS LOCK & SECURITY SOLUTIONS INC    1713 E JOPPA ROAD BALTIMORE MD 21234-3601
EASTOWN DISTRIBUTORS CO                  14400 OAKLAND AVE HIGHLAND PARK MI 48203
EASTPORT LIQUOR STORE                    50-150 52 ST NE CALGARY ON T2A 1X1 CANADA
EASTSIDE LANDSCAPING LLC                 50 ASHLEY DR OXFORD GA 30054-4705
EASY ICE LLC                             DBA ICE MASTERS PO BOX 650769 DALLAS TX 75265-0769
EAU CLAIRE COUNTY TREASURER              721 OXFORD AVE ST 1250 EAU CLAIRE WI 54703-5478
EAVES DANIELLE                           ADDRESS ON FILE
EB PROPERTY INVESTMENT LLC               5034 SUFFOLK DRIVE BOCA RATON FL 33496
EBELTOFT, SICKLER LAWYERS PLLC           ATTN:COURTNEY PRESTHUS 2272 8TH STREET WEST DICKINSON ND 58601
EBER CONNECTICUT LLC                     DBA SLOCUM & SONS PO BOX 845843 BOSTON MA 02284-5843
EBERHARDT LANDSCAPING & LAWN SERVICE     5205 NEW HAVEN CIRCLE BARBERTON OH 44203-4674
INC
EBF HOLDINGS, LLC D/B/A EVERST BUSINESS FUNDING 1545 U.S. 2020 SUITE 101 POMONA NY 10970
EBOA AMERICAN RESTAURANT SOLUTIONS INC   6942 FM 1960 E SUITE 204 HUMBLE TX 77346



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EBRAHIM, MAYSA                        ADDRESS ON FILE
ECE PROS LC                           101 LAKEFOREST BLVD STE 404 GAITHERSBURG MD 20877-2630
ECK SERVCES LLC                       2799 S MERIDIAN AVE WICHITA KS 67217-1461
ECO RESTORATION & CLEANING SERVICES   2951 MARINA BAY DR STE 130.367 LEAGUE CITY TX 77573-2735
ECO SUPREME WATER                     DBA AXIS WATER TECHNOLOGIES 3462 W LOOP 289 LUBBOCK TX 79407-3745
ECO VALLEY CHEM DRY                   148 WILLOWMERE WAY CHESTERMERE AB T1X 0E2 CANADA
ECO WASTE SERVICES                    PO BOX 580231 CHARLOTTE NC 28258
ECO-TECH, LLC                         P.O. BOX 36557 LOUISVILLE KY 40233-6557
ECOLAB FOOD SAFETY SPECIALTIES INC    1801 RIVERBEND WEST DRIVE FORT WORTH TX 76118
ECOLAB INC                            ECOSURE 26397 NETWORK PLACE CHICAGO IL 60673-1263
ECOLAB INC                            PO BOX 100512 PASADENA CA 91189-0512
ECOLAB PEST ELIMINATION               26252 NETWORK PLACE CHICAGO IL 60673-1262
ECONOMY APPLIANCE HEAT AND AIR INC    4610 SAUFLEY FIELD RD PENSACOLA FL 32526-1720
ECONOMY PLUMBING & DRAIN INC          DBA GARDNER PLUMBING PO BOX 6273 KOKOMO IN 46904-6273
ECOSOUTH SERVICES                     PO BOX 91568 MOBILE AL 36691
ECTOR COUNTY                          804 FAYETTE STREET ODESSA TX 79761
ECTOR COUNTY                          1010 EAST 8TH STREET ODESSA TX 79761
ECTOR COUNTY APPRAISAL DISTRICT       1301 E 8TH ST ODESSA TX 79761-4722
ED FISH LLC                           PO BOX 6576 CONCORD NC 28027-1527
ED HINES LANDSCAPE INC                PO BOX 5491 SPARTANBURG SC 29304-5491
EDC FACILITIES MAINTENANCE LLC        150 DOG TRACK RD LONGWOOD FL 32750-6404
EDCO DISPOSAL CORPORATION             PO BOX 6208 BUENA PARK CA 90622-6208
EDCO DISPOSAL CORPORATION             P.O. BOX 6887 BUENA PARK CA 90622-6887
EDCO WASTE SERVICES                   PO BOX 6538 BUENA PARK CA 90622-6538
EDDIE ELIZABETH LIDDELL               ADDRESS ON FILE
EDDIE G DIXON                         ADDRESS ON FILE
EDDIE OLENBERGER                      ADDRESS ON FILE
EDENS LIMITED PARTNERSHIP             BROOKSIDE (E&A) LLC T24098 PO BOX 536856 ATLANTA GA 30353-6856
EDER BROTHERS INC                     PO BOX 26012 WEST HAVEN CT 06516
EDGAR ELECTRIC COMPANY                535 CHICORA RD BUTLER PA 16001-2336
EDGAR TOVAR DELACERDA                 ADDRESS ON FILE
EDGEWOOD PARTNERS INSURANCE CENTER    PO BOX 734005 CHICAGO IL 60673-4005
EDGEWOOD PARTNERS INSURANCE CENTER    ATTN: DAVIN MILLHOLLAND 2405 SATELLITE BLVD 200 DULUTH GA 33096
EDINBORO BEVERAGE DIST                300 MILL ST EDINBORO PA 16412-2110
EDISON ELECTRIC LLC                   627 CRAFTS RUN RD MAIDSVILLE WV 26541-8144
EDITH EASTON                          ADDRESS ON FILE
EDMAR COMMERCIAL SERVICES             DEFENDANT ADDRESS: 23576 MT CHANCE CT CLEMENTS MD 20624
EDMARK I LLC                          161 OTTAWA AVE NW STE 104 GRAND RAPIDS MI 49503-2713
EDMONSON ENTERPRISES INC              DBA BRANDON ELECTRIC 1034 SKIPPER RD TAMPA FL 33613-2333
EDMONTON CITY                         PO BOX 1982 EDMONTON AB T5J3X5 CANADA
EDMONTON CITY                         1010 EAST 8TH STREET EDMONTON AB T5J3X5 CANADA
EDP LLC                               DBA ENVIRONMENTAL DRAIN & PLUMBING PO BOX 3604 JOHNSON CITY TN 37602-3604
EDUARDO TREJO                         ADDRESS ON FILE
EDWARD A ZITO JR                      ADDRESS ON FILE
EDWARD CAYWOOD                        ADDRESS ON FILE
EDWARD COX                            ADDRESS ON FILE
EDWARD D SMITH                        ADDRESS ON FILE
EDWARD DON & COMPANY                  2562 PAYSPHERE CIR CHICAGO IL 60674
EDWARD E TAYLOR                       ADDRESS ON FILE



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EDWARD F SELBY                        ADDRESS ON FILE
EDWARD GARCIA                         ADDRESS ON FILE
EDWARD HAMMERSLA                      ADDRESS ON FILE
EDWARD MENDOZA                        ADDRESS ON FILE
EDWARD R FANN                         ADDRESS ON FILE
EDWARD THOMPSON                       ADDRESS ON FILE
EDWARDS ELECTRICAL & MECHANICAL INC   2350 N SHADELAND AVENUE INDIANAPOLIS IN 46219
EDWARDS, YOLANDA                      ADDRESS ON FILE
EDWIN B COOL III                      ADDRESS ON FILE
EDWIN C GAROT CO INC                  1276 VELP AVENUE GREEN BAY WI 54303
EDWIN H KLECKNER INC                  PO BOX 20 MONTANDON PA 17850
EDWIN TANJUTCO                        ADDRESS ON FILE
EEC ACQUISITION LLC                   DBA SMART CARE EQUIPMENT SOLUTIONS PO BOX 74008980 CHICAGO IL 60674-8980
EF RECOVERY LLC                       PO BOX 590 GIG HARBOR WA 98335-0590
EFAX CORPORATE                        C/O J2 CLOUD SERVICES INC PO BOX 51873 LOS ANGELES CA 90051-6173
EFFECIENT LIGHTING MAINTENANCE        41-5A DEL MAR DRIVE BROOKFIELD CT 06804
EFFICIENT PLUMBING LLC                DBA NXTGEN PLUMBING SOUTHSIDE PLUMBING AKSARBEN SEWER 2230 S 27TH ST OMAHA NE
                                      68105-3200
EGE5 LLC                              2011 BREWSTER DR FRANKLIN TN 37067-8597
EGE5, LLC                             ATTN: ROBERT SCULLIN 2011 BREWSTER DRIVE FRANKLIN TN 37067
EHLERS CONSTRUCTION INC               1085 MADERA STREET EUGENE OR 97402
EILEEN BOSCH                          ADDRESS ON FILE
EINSTEIN SOLUTIONS INC                IFIX APPLIANCE REPAIR 3021 JOSEPH AVE SACRAMENTO CA 95864-7733
EIRREK RLF LLC                        C/O HOLM & OHARA, LLP ATTN: MICHAEL L. LANDSMAN, ESQ. 3 WEST 35TH STREET 9TH
                                      FLOOR NEW YORK NY 10001
EIRREK RLF LLC                        12672 CARA CARA LOOP BRADENTON FL 34212
EIRREK RLF LLC                        12672 CARA CARA LOOP BRADENTON FL 34212-2948
EK, BARBARA                           ADDRESS ON FILE
EKTOS LLC                             DBA ROBINSON SOLUTIONS WASHINGTON 17802 134TH AVENUE NE SUITE 12 WOODINVILLE
                                      WA 98072
EL CAMINO SERVICES INC                5N026 STONEBRIDGE LN ST CHARLES IL 60175-4902
EL PASCO COUNTY TAX COLLECTOR         4230 ELKHART RD ORLANDO FL 32809
EL PASCO COUNTY TAX COLLECTOR         DO NOT MAIL ORLANDO FL 32809
EL PASO COUNTY TREASURER              PO BOX 2018 COLORADO SPRINGS CO 80901-2018
EL PASO DISPOSAL                      PO BOX 679859 DALLAS TX 75267-9859
EL PASO ELECTRIC                      PO BOX 650801 DALLAS TX 75265-0801
EL PASO HEALTH DEPARTMENT             301 SOUTH UNION BLVD COLORADO SPRINGS CO 80910
EL PASO KEY FITTING CO INC            719 MYRTLE AVENUE EL PASO TX 79901
EL PASO TAX ASSESSOR COLLECTOR        PO BOX 2992 EL PASO TX 79999-2992
EL PASO WATER INDUSTRIAL SVCS INC     DBA INDUSTRIAL WATER SERVICES 4500 TURF ROAD EL PASO TX 79938
EL PASO WATER UTILITIES               PO BOX 511 EL PASO TX 79961-0001
EL PASO WATER UTILITIES               P.O. BOX 511 EL PASO TX 79961-0511
EL-JAY MECHANICAL INC                 520 APOLLO AVENUE NE ST CLOUD MN 56304
ELAINE DEPKO                          ADDRESS ON FILE
ELAINE HUDSON                         ADDRESS ON FILE
ELASTICSEARCH INC                     PO BOX 894466 LOS ANGELES CA 90189-4466
ELDON COMBS PRODUCTIONS LLC           2965 W OAKHAVEN LN SPRINGFIELD MO 65810-1916
ELDRON A LOYD                         ADDRESS ON FILE
ELECTRI-CITY INC                      12912 BEVERLY PARK RD MUKILTEO WA 98275-5845
ELECTRI-TECH INC                      2386 S GREENWICH RD WICHITA KS 67207-6116


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ELECTRIC CITY UTILITIES                 PO BOX 100146 COLUMBIA SC 29202-3146
ELECTRIC LIGHTING REPAIR INC            DBA FRANKLIN NEON PO BOX 140421 HOWARD BEACH NY 11414-0421
ELECTRIC MOTOR REPAIR CO INC            9100 YELLOW BRICK ROAD SUITE H ROSEDALE MD 21237
ELECTRIC POWER BOARD OF CHATTANOOGA     PO BOX 182255 CHATTANOOGA TN 37488-7255
ELECTRIC POWER BOARD OF THE METRO       GOVT OF NASHVILLE & DAVIDSON CO. 1214 CHURCH STREET NASHVILLE TN 37246
ELECTRIC POWER BOARD, CHATTANOOGA, TN   REMITTANCE PROCESSING PO BOX 182254 CHATTANOOGA TN 37422-7253
ELECTRIC SMITH INC                      5150 N FREYA ST SPOKANE WA 99217-6621
ELECTRIC SYSTEMS INC                    PO BOX 1158 BISMARCK ND 58502-1158
ELECTRICAL APPL REPAIR SVC INC          5805 VALLEY BELT RD CLEVELAND OH 44131
ELECTRICAL SERVICE CO                   PO BOX 976 DECATUR IL 62525
ELECTRICAL WORKS LLC                    8010 US HIGHWAY 441 LEESBURG FL 34788-8243
ELECTRO WATCHMAN INC                    1 WEST WATER ST SUITE 110 ST PAUL MN 55107-2097
ELEMENT MECHANICAL SERVICES INC         PO BOX 310 LEHI UT 84043
ELENA COLLINS                           ADDRESS ON FILE
ELHIO II LLC                            C/O ATTN MICHAEL SCHMIDT 222 GRAND AVENUE ENGLEWOOD NJ 07631-4352
ELHIO LLC                               C/O ATTN MICHAEL SCHMIDT 222 GRAND AVENUE ENGLEWOOD NJ 07631-4352
ELIS LOCK AND KEY GROUP                 1316 JENNIFER DR LITTLE ROCK AR 72212-3822
ELISEO TERAN CHABES                     ADDRESS ON FILE
ELITE AQUARIUM SERVICES OF HIGH POINT   DBA ELITE AQUARIUM SERVICES 750 N MAIN ST HIGH POINT NC 27262
ELITE ELECTRIC AND AIR INC              C/O ELITE ELECTRIC PLUMBING AIR INC 1691 SW SOUTH MACEDO BLVD PORT SAINT LUCIE
                                        FL 34984-3435
ELITE FAMILY OF COMPANIES LLC           DBA ELITE PARKING SERVICES LLC 900 FORT STREET MALL STE 1240 HONOLULU HI
                                        96813-3713
ELITE IRRIGATION SERVICES LLC           ELITE OUTDOOR INNOVATIONS 2733 E BATTLEFIELD ST 152 SPRINGFIELD MO 65804-3981
ELITE LANDSCAPE GROUP INC               PO BOX 3936 NAPERVILLE IL 60567-3936
ELITE PLUMBING & DRAIN SOLUTIONS INC    308 MORPHEW RD HOT SPRINGS NATIONAL PARK AR 71913-8815
ELITE SOFTWASH LLC                      2674 RUSSUM DR SOUTHAVEN MS 38672-6507
ELITE UPHOLSTERY INC                    4013 W LINEBAUGH AVE STE 114 TAMPA FL 33624
ELITE VALLEY SERVICES LLC               DBA PRISTINE LANDSCAPES 522 N 3650 W WEST POINT UT 84015-7235
ELIZABETH BRAGG                         ADDRESS ON FILE
ELIZABETH MAYO                          ADDRESS ON FILE
ELIZABETHTOWN FLORIST & GREENHOUSES INC DBA ELIZABETHTOWN FLORIST 624 WESTPORT ROAD ELIZABETHTOWN KY 42701
ELIZABETHTOWN GAS                       296 STATE STREET PERTH AMBOY NJ 08861
ELIZABETHTOWN GAS                       PO BOX 6031 BELLMAWR NJ 08099
ELIZABETHTOWN UTILITIES, KY             P.O. BOX 550 CITY HALL ELIZABETHTOWN KY 42701
ELIZONDO, ANGELA                        ADDRESS ON FILE
ELK RIVER PUBLIC UTILITY DISTRICT       217 SOUTH JACKSON STREET TULLAHOMA TN 37388
ELK RIVER PUBLIC UTILITY DISTRICT       P.O. BOX 970 TULLAHOMA TN 37388-0970
ELKHART COUNTY HEALTH DEPARTMENT        4230 ELKHART RD GOSHEN IN 46526
ELKHART COUNTY HEALTH DEPARTMENT        PO BOX 1982 GOSHEN IN 46526
ELKHART COUNTY TREASURER                PO BOX 116 GOSHEN IN 46527-0116
ELKHART PUBLIC UTILITIES                PO BOX 7027 SOUTH BEND IN 46634
ELLENDALE ELECTRIC COMPANY INC          7722 US HWY 70 BARTLETT TN 38133-2047
ELLET NEON SALES & SERVICE INC          3041 E WATERLOO RD AKRON OH 44312-4058
ELLI JABLONOWSKI                        ADDRESS ON FILE
ELLIOTT ROOFING LLC                     3900 N HARVARD AVE OKLAHOMA CITY OK 73122-2511
ELLIS COFFEE COMPANY                    2835 BRIDGE ST PHILADELPHIA PA 19137-1895
ELLIS DOOR & WINDOW INC                 536 W NORTH ST LIMA OH 45801-4215
ELLIS ELITE PLUMBING LLC                DBA ROTO ROOTER PO BOX 7580 JACKSONVILLE NC 28540-2580



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ELLIS PLUMBING & MECHANICAL INC         PO BOX 2275 PINE BLUFF AR 71613
ELLIS, JOANN                            ADDRESS ON FILE
ELLSWORTH ELECTRIC INCORPORATED         88 WEST LEE STREET HAGERSTOWN MD 21740
ELME LEHMAN                             ADDRESS ON FILE
ELMER GOMEZ                             ADDRESS ON FILE
ELMER SCHULTZ SERVICES INC              540 N THIRD STREET PHILADELPHIA PA 19123
ELOY RAY VALVERDE JR                    ADDRESS ON FILE
ELYRIA CITY HEALTH DEPARTMENT           202 CHESTNUT STREET ELYRIA OH 44035-5325
ELZY, DEVON                             ADDRESS ON FILE
EMANUEL HERNANDEZ                       ADDRESS ON FILE
EMBARK LANDSCAPE AND DESIGN             11230 228 STREET NORTHWEST EDMONTON ON T5S 2B7 CANADA
EMERALD ACQUISITION INC                 DBA EMERALD PAVING COMPANY 6381 INDUSTRY WAY WESTMINSTER CA 92683-3693
EMERALD COAST CUTLERY INC               PO BOX 751 LOXLEY AL 36551-0751
EMERALD COAST FLOOR CARE OF NORTHWEST   FLORIDA LLC DBA TAMMYS PRO CLEAN 107 MOSLEY DR STE C LYNN HAVEN FL 32444-5601
EMERALD COAST UTILITIES AUTHORITY       61111 ENTERPRISE DRIVE PENSACOLA FL 32502
EMERALD COAST UTILITIES AUTHORITY       PO BOX 18870 PENSACOLA FL 32523-8870
EMERALD COMPANIES INC                   PO BOX 621 WAITE PARK MN 56387-0621
EMERALD DIAMOND FIRM LLC                RODREQUEZ ENGLISH 5962 ZEBULON RD PMB 175 MACON GA 31210-2099
EMERALD LAWN CARE                       ADDRESS ON FILE
EMERALD PLANT SERVICES INC              4838 BUTTERFIELD ROAD HILLSIDE IL 60162
EMERALD SERVICES AND RESTORATION LLC    1012 NEWSOME RANCH WAY AZLE TX 76020-1059
EMERGENCY CONSTRUCTION SERVICES INC     2349 N WATNEY WAY FAIRFIELD CA 94533-6749
EMERGENCY ICE INC                       8300 SOVEREIGN ROW DALLAS TX 75247-4716
EMERGENCY ICE LLC                       2131 NW 128TH AVE PEMBROKE PINES FL 33028-2577
EMIL ARGUELLO                           ADDRESS ON FILE
EMILION CAPITAL LLC                     2999 NE 191 ST 808 AVENTURA FL 33180
EMILY KAY XIVIR QUIEJ                   ADDRESS ON FILE
EMILY KO LEE                            ADDRESS ON FILE
EMILY KO LEE                            ADDRESS ON FILE
EMILY SABANDO ESQ                       ADDRESS ON FILE
EMMA HILL                               ADDRESS ON FILE
EMMANUEL FLOORING LLC                   245 SAGE RD BURBANK WA 99323-9525
EMMANUEL LEON                           ADDRESS ON FILE
EMMETTRIUS Q RUSH                       ADDRESS ON FILE
EMORY DRY ICE INC                       1423 E RICHEY RD HOUSTON TX 77073-3508
EMPIRE DISTRIBUTORS                     454 TERMINAL AVE MACON GA 31201
EMPIRE DISTRIBUTORS INC                 703 MCKNIGHT IND BLVD AUGUSTA GA 30907
EMPIRE DISTRIBUTORS OF NC INC           13833 CAROWINDS BLVD CHARLOTTE NC 28273
EMPIRE DISTRIBUTORS OF NORTH CAROLINA   EMPIRE DISTRIBUTORS OF NC-CHA 12115 DOWNS RD PINEVILLE NC 28134-8433
EMPIRE MERCHANTS LLC                    16 BRIDGEWATER STREET BROOKLYN NY 11222-9964
EMPLIFI INC                             DBA EMPLIFI 4200 REGENT ST STE 200 SUITE 150 COLUMBUS OH 43219-6229
EMPLOYMENTGROUP INC                     DBA EG WORKFORCE SOLUTIONS 4651 W DICKMAN RD BATTLE CREEK MI 49037-7343
EMTERRA ENVIRONMENTAL USA CORP          1606 E WEBSTER RD FLINT MI 48505
ENABLE GAS TRANSMISSION, LLC            8020 PARK LANE DALLLAS TX 75231
ENAYAT ABRISHAMI                        ADDRESS ON FILE
ENBRIDGE GAS INC                        PO BOX 644 ATTN: PAYMENT PROCESSING SCARBOROUGH ON M1K 5H1 CANADA
ENCORE ONE LLC                          DBA AMERICAN SECURITY LLC MI 93 PO BOX 1150 MINNEAPOLIS MN 55480-1150
ENDURANCE ASSURANCE CORPORATION         US COMMERCIAL MANAGEMENT LIABILITY 1221 AVENUE OF THE AMERICAS NEW YORK NY
                                        10020



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ENERCO ELECTRIC CO INC                   10228 RAHNING ROAD STE B SAINT LOUIS MO 63127-1765
ENERGO                                   PO BOX 51024 NEWARK NJ 07101-5124
ENERGY HARBOR                            PO BOX 3600 AKRON OH 44309-3600
ENERGY MAINTENANCE AND MANAGEMENT INC    PO BOX 1363 DALLAS GA 30132-0024
ENGBLOM, SHERRY                          ADDRESS ON FILE
ENGELS COMMERCIAL APPLIANCE INC          120 PACKERLAND DRIVE GREEN BAY WI 54303
ENGIE INSIGHT SERVICES INC               1313 NORTH ATLANTIC STE 5000 SPOKANE WA 99201-2330
ENGLEDOW INC                             1100 E 116TH STREET CARMEL IN 46032-3418
ENGLES, KETCHAM, OLSON & KEITH           ATTN:ROBERT KEITH PO BOX 8131 EDMOND OK 73083
ENGLEWOOD CONSTRUCTION INC               80 MAIN STREET LEMONT IL 60439-3622
ENGLISH MEADOWS LLC                      ATTN ROBERT FELKER 19275 W CAPITOL DR STE 102 BROOKFIELD WI 53045-2742
ENGLISH, ROD                             ADDRESS ON FILE
ENJOY LLC                                DBA AQUA CLEAR WATER SYSTEMS LLC 1767A KEVIN LANE LENOIR CITY TN 37772
ENMAX                                    PO BOX 2900 STATION M CALGARY AB T2P 3A7 CANADA
ENOVA                                    P.O. BOX 9010 KITCHENER ON N2G 4L2 CANADA
ENRIQUE ORTIZ.                           ADDRESS ON FILE
ENTERGY ARKANSAS, INC.                   PO BOX 8101 BATON ROUGE LA 70891-8101
ENTERGY GULF STATES LA, LLC              PO BOX 8103 BATON ROUGE LA 70891-8103
ENTERGY LOUISIANA, INC.                  PO BOX 8108 BATON ROUGE LA 70891-8108
ENTERGY MISSISSIPPI, INC.                PO BOX 8105 BATON ROUGE LA 70891-8105
ENTERGY TEXAS, INC.                      PO BOX 8104 BATON ROUGE LA 70891-8104
ENTERPRISE FLEET MANAGEMENT CANADA INC   709 MILNER AVE SCARBOROUGH ON M1B 6B6 CANADA
ENTERPRISE FLEET MANAGEMENT CANADA INC   PO BOX 9473 STN A TORONTO ON M5W 4E1 CANADA
ENTERPRISE FM TRUST                      PO BOX 800089 KANSAS CITY MO 64180-0089
ENTERPRISE HOLDINGS INC                  DBA DAMAGE RECOVERY UNIT PO BOX 801770 KANSAS CITY MO 64180-1770
ENTERPRISE LEASING COMPANY OF ORLANDO    DBA ENTERPRISE RENT-A-CAR PO BOX 402383 ATLANTA GA 30384-2383
ENTERPRISE PLUMBING INC                  PO BOX 998 MUNCIE IN 47308
ENTERPRISE RENT A CAR                    CANADA DAMAGE RECOVERY PO BOX 1943 STATION A TORONTO ON M5W 1W9 CANADA
ENTRUST SERVICES LLC                     DBA ROTO ROOTER PO BOX 35228 GREENSBORO NC 27425
ENVIRO MASTER INTERNATIONAL FRANCHISE    DBA EMS OF VAN NUYS PO BOX 12350 CHARLOTTE NC 28220-2350
ENVIRO MASTER SERVICES LLC               PO BOX 12350 CHARLOTTE NC 28220
ENVIRO SERVICE PLUS INC                  DBA AIRE MASTER OF THE PLAINS 615 S LYONS AVE STE 300 SIOUX FALLS SD
                                         57106-3996
ENVIRO-FLOW COMPANIES LTD                4830 NORTH POINTE DR ZANESVILLE OH 43701
ENVIRONMENT DEPART FOOD PROGRAM          NEW MEXICO ENVIRONMENT DEPARTMENT PSB 3400 MESSINA DRIVE SUITE 5000 FARMINGTON
                                         NM 87402
ENVIRONMENTAL CONTROL BOARD              PO BOX 2307 PECK SLIP STATION NEW YORK NY 10272
ENVIRONMENTAL HEALTH DEPARTMENT          COURTHOUSE ANNEX BLDG DALTON GA 30720
ENVIRONMENTAL HEALTH OFFICE              MID-OHIO VALLEY HEALTH DEPARTMENT 211 SIXTH ST PARKERSBURG WV 26101
ENVIRONMENTAL RESOURCES                  DBA EASY ROOTER PO BOX 4246 SPARKS NV 89432
ENWIN UTILITIES LTD                      PO BOX 1625 STATION A WINDSOR ON N8W 5T1 CANADA
EPA - REGION 1                           5 POST OFFICE SQUARE SUITE 100 BOSTON MA 02109-3912
EPA - REGION 10                          1200 SIXTH AVE SUITE 155 SEATTLE WA 98101
EPA - REGION 2                           290 BROADWAY NEW YORK NY 10007-1866
EPA - REGION 3                           FOUR PENN CENTER 1600 JFK BLVD. PHILADELPHIA PA 19103-2029
EPA - REGION 4                           ATLANTA FEDERAL CENTER 61 FORSYTH ST SW ATLANTA GA 30303-3104
EPA - REGION 5                           77 W JACKSON BLVD CHICAGO IL 60604-3507
EPA - REGION 6                           1201 ELM ST. SUITE 500 DALLAS TX 75270
EPA - REGION 7                           11201 RENNER BLVD LENEXA KS 66219



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EPA - REGION 8                          1595 WYNKOOP ST DENVER CO 80202-1129
EPA - REGION 9                          75 HAWTHORNE ST SAN FRANCISCO CA 94105
EPAX SYSTEMS, INC.                      14641 ARMINTA ST PANORAMA CITY CA 91402-5901
EPB                                     PO BOX 182254 ATTN: REMITTANCE PROCESSING CHATTANOOGA TN 37422-7253
EPCOR                                   PO BOX 500 EDMONTON AB T5J 3Y3 CANADA
EPCOR WATER                             PO BOX 37782 BOONE IA 50037-0782
EPCOR WATER                             PO BOX 37783 BOONE IA 50037-0783
EPIC LAWNS LLC                          115 EAGLE FORK DR MOSCOW MILLS MO 63362-1918
EPLUMBING INC                           DBA BENJAMIN FRANKLIN PLUMBING 534 AIRPORT ROAD HOT SPRINGS AR 71913
EPLUS TECHNOLOGY INC                    PO BOX 404398 ATLANTA GA 30384-4398
EQUAL EMPLOYMENT OPPORTUNITY BUREAU     POST OFFICE BOX 1628 SANTA FE NM 87504
EQUAL EMPLOYMENT OPPORTUNITY OFFICE     171BOW LANE (AA OFFICE - COTTAGE 20) P.O. BOX 351 MIDDLETOWN CT 06457
EQUAL OPPORTUNITY DEPARTMENT            MISSISSIPPI DEPT OF EMPLOYMENT SECURITY ATTN: ANN-CLARK MCDONALD PO BOX 1699
                                        JACKSON MS 39215-1699
EQUAL RIGHTS COMMISSION LAS VEGAS       1820 EAST SAHARA AVENUE, SUITE 314 LAS VEGAS NV 89104
EQUINIX INC SUM                         PO BOX 736031 DALLAS TX 75373-6031
EQUIPMENT RESOURCES CORPORATION         P.O. BOX 438 EXTON PA 19341
ERACLIDES GELMAN HALL INDEK             GOODMAN & WATERS LLP ATTN:NICOLE FLORENTINO 1661 SANDSPUR RD MAITLAND FL 32751
ERACLIDES GELMAN HALL INDEK GOODMAN &   WATERS LLP 1661 SANDSPUR ROAD MAITLAND FL 32751
ERASMO DIAZ                             ADDRESS ON FILE
ERASMO I VARGAS                         ADDRESS ON FILE
ERASTO GARCIA                           ADDRESS ON FILE
EREK L. BARRON                          UNITED STATES ATTORNEYS OFFICE 36 S CHARLES ST, 4TH FL BALTIMORE MD 21201
EREK L. BARRON                          UNITED STATES ATTORNEYS OFFICE 6406 IVY LANE STE 800 GREENBELT MD 20770
ERGENIX INC                             DBA MR ELECTRIC OF SNOHOMISH COUNTY 19015 36TH AVE W STE H LYNNWOOD WA
                                        98036-5762
ERIC DANIEL OSBURN                      ADDRESS ON FILE
ERIC GIBBS                              ADDRESS ON FILE
ERIC GNANN                              ADDRESS ON FILE
ERIC GRIGSBY                            ADDRESS ON FILE
ERIC HUBER LLC                          DBA DIGISTITCH EMBROIDERY 7540 TOWNSHIP LINE RD WAYNESVILLE OH 45068-9528
ERIC JOSEPH AMEEL                       ADDRESS ON FILE
ERIC K LAND                             ADDRESS ON FILE
ERIC M HAYES                            ADDRESS ON FILE
ERIC MARIWAKI DE SOUZA                  ADDRESS ON FILE
ERIC OLAF MORGENSEN                     ADDRESS ON FILE
ERIC PITCOCK                            ADDRESS ON FILE
ERIC SMEDSRUD                           ADDRESS ON FILE
ERIC SMOTHERS                           DBA HOVEY ROTER SERVICE PO BOX 204 NORCO CA 92860-0204
ERIC THOMPSON                           ADDRESS ON FILE
ERIC TRITES                             ADDRESS ON FILE
ERIC W WALKER                           ADDRESS ON FILE
ERIC WALKER                             ADDRESS ON FILE
ERICH R BENESH                          ADDRESS ON FILE
ERICK LOPEZ                             ADDRESS ON FILE
ERICKA GREGWARE                         ADDRESS ON FILE
ERICKA GREGWARE                         ADDRESS ON FILE
ERICKSON ELECTRIC CO INC                3308 SOUTHWAY DRIVE SAINT CLOUD MN 56301-9513
ERICKSON, ROSANNE                       ADDRESS ON FILE



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ERIE BEER COMPANY                        PO BOX 1205 ERIE PA 16512
ERIE CARBONIC LLC                        827 E 9TH ST ERIE PA 16503-1498
ERIE COUNTY DEPARTMENT OF HEALTH         95 FRANKLIN STREET BUFFALO NY 14202
ERIE COUNTY DEPT OF HEALTH               606 W 2ND ST ERIE PA 16507
ERIE COUNTY HEALTH DEPARTMENT            PO BOX 375 SANDUSKY OH 44870
ERIE COUNTY HEALTH DEPARTMENT            COURTHOUSE ANNEX BLDG SANDUSKY OH 44870
ERIE COUNTY SEWER & WATER                P.O. BOX 549 SANDUSKY OH 44871-0549
ERIE COUNTY TREASURER                    247 COLUMBUS AVE STE 115 SANDUSKY SANDUSKY OH 44870-2633
ERIE COUNTY WATER AUTHORITY              PO BOX 5148 BUFFALO NY 14240-5148
ERIE WATER WORKS                         PO BOX 4170 ERIEBANK WOBURN MA 01888-4170
ERIN SAYLOR                              ADDRESS ON FILE
ERMCO INC                                PO BOX 1507 INDIANAPOLIS IN 46206
ERNEST E STRINGFELLOW                    ADDRESS ON FILE
ERNEST J SPORY                           ADDRESS ON FILE
ERNEST VASQUEZ                           ADDRESS ON FILE
ERNST & YOUNG LLP                        ERNST & YOUNG US LLP WELLS FARGO BANK NA PO BOX 933514 ATLANTA GA 31193-3514
ERNST & YOUNG LLP                        ATTN: JENNIFER WILLIAMS 200 S ORANGE AVE 2800 ORLANDO FL 32801
ES&A SIGN CORP                           DBA ES&A SIGN AND AWNING 89975 PRAIRIE ROAD EUGENE OR 97402-9609
ESAR, DHANCOOMARIE                       ADDRESS ON FILE
ESBER BEVERAGE COMPANY                   2217 BOLIVAR ROAD SW CANTON OH 44706
ESCAMBIA COUNTY TAX COLLECTOR            PO BOX 1312 PENSACOLA FL 32591-1312
ESCOBAR, MARWIN                          ADDRESS ON FILE
ESEQUIEL PAZ                             ADDRESS ON FILE
ESKIMO CANDY OAHU                        ADDRESS ON FILE
ESPINOZA, JAIME                          ADDRESS ON FILE
ESSENCE LLC                              DBA AIRE MASTER OF LEHIGH VALLEY PO BOX 22792 LEHIGH VALLEY PA 18002
ESSEX LINEN SUPPLY LTD                   959 DROUILLARD ROAD WINDSOR ON N8Y 2P6 CANADA
ESSIG, JUSTIN                            ADDRESS ON FILE
ESTEBAN J ARANDA                         ADDRESS ON FILE
ESTES EXPRESS LINES                      ADDRESS ON FILE
ESTEVAN VEGA                             ADDRESS ON FILE
ETOWAH COUNTY HEALTH DEPARTMENT          PO BOX 555 GADSDEN AL 35902-0555
ETOWAH COUNTY HEALTH DEPARTMENT          PO BOX 375 GADSDEN AL 35902-0555
ETOWAH COUNTY REVENUE COMMISSIONER       800 FORREST AVE RM 5 GADSDEN AL 35901-3641
EUGENE BRUNNER                           ADDRESS ON FILE
EUGENE WATER & ELECTRIC BOARD            PO BOX 35192 SEATTLE WA 98124-5192
EUROFINS FOOD CHEMISTRY TESTING DES      MOINES PO BOX 1440 CAROL STREAM IL 60132-1440
EUROFINS MICROBIOLOGY LABORATORIES INC   PO BOX 1445 CAROL STREAM IL 60132-1445
EVA DIEK                                 DBA DVBE SUPPLY 41083 SANDALWOOD CIR STE C MURRIETA CA 92562-7029
EVA LOPEZ                                ADDRESS ON FILE
EVA M RODRIGUEZ                          ADDRESS ON FILE
EVANSVILLE WATER AND SEWER UTILITY       P.O. BOX 19 EVANSVILLE IN 47740-0019
EVAP 1 COOLING HEATING AND               9524 W CAMELBACK RD C130-156 GLENDALE AZ 85305-3104
REFRIGERATION
EVELYN ANKERS, TAX COLLECTOR             PO BOX 62405 KING OF PRUSSIA PA 19406-2405
EVELYN CATES                             ADDRESS ON FILE
EVELYN CUEVAS                            ADDRESS ON FILE
EVELYN MARTINELLI                        ADDRESS ON FILE
EVEN TEMP OF WICHITA INC                 DBA THE FORGOTTEN CRAFTSMAN 216 S COMMERCE WICHITA KS 67202



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EVENCIO MANCILLA                       ADDRESS ON FILE
EVENING AIRS LLC                       DBA ELEVATION CELLARS 19495 144TH AVE NE STE A130 WOODINVILLE WA 98072-4400
EVENTURES UNLIMITED INC                2813 S HIAWASSEE ROAD SUITE 101 ORLANDO FL 32835
EVENTZ MARCELLUS                       ADDRESS ON FILE
EVERAG CORPORATION                     DBA EVER.AG INSIGHTS PO BOX 208640 DALLAS TX 75320-8640
EVERARDO LINO RODRIGUEZ                ADDRESS ON FILE
EVERBRITE WEST LLC                     DBA FLUORESCO SERVICES LLC PO BOX 88500 MILWAUKEE WI 53288-8500
EVEREST INDEMNITY INSURANCE COMPANY    28 STATE STREET 36TH FLOOR BOSTON MA 02109
EVEREST NATIONAL INSURANCE COMPANY     461 FIFTH AVENUE 4TH FLOOR NEW YORK NY 10017-6234
EVERETT BROTHERS PLUMBING CO           2160 HWY 441 SOUTH DUBLIN GA 31021
EVERGREEN IRRIGATION INC               828 21ST ST ROCKFORD IL 61108-3524
EVERGREEN LANDSCAPING SVCS & SNOW      REMOVAL LLC DBA KEYSTONE STATE LAWN CARE PO BOX 5573 JOHNSTOWN PA 15904-5573
EVERGREEN SYSTEMS INC                  DBA POP-A-LOCK OF NORTHERN NJ 227 UNION AVE BLOOMINGDALE NJ 07403
EVERGY KANSAS CENTRAL                  PO BOX 219915 KANSAS CITY MO 64121-9915
EVERGY KS MO METRO MO WEST             P.O. BOX 219330 KANSAS CITY MO 64121-9330
EVERIDGE LLC                           DBA INTERNATIONAL COLD STORAGE ICS 15600 37TH AVENUE NORTH SUITE 100 PLYMOUTH
                                       MN 55446
EVERLY, KELLY                          ADDRESS ON FILE
EVERSOFT PRODUCTS INC                  PO BOX 92769 LONG BEACH CA 90809
EVERSOURCE ENERGY                      PO BOX 56002 BOSTON MA 02205-6002
EVERSOURCE ENERGY                      PO BOX 56004 BOSTON MA 02205-6004
EVERTEMP INC                           4933 HOLMES RD INVERARY ON K0H 1X0 CANADA
EVERYDAY ELECTRIC LLC                  2607 WOLFLIN AVE 199 AMARILLO TX 79109-1825
EXACT PROWASH INC                      304 RODEO CIR LOUISVILLE OH 44641-7913
EXAMWORKS INC                          3280 PEACHTREE ROAD NE SUITE 2625 ATLANTA GA 30305-2457
EXCEL GROUP, LLC                       ONE COMMERCE PLAZA 99 WASHINGTON AVE ALBANY NY 11231
EXCEL HOLDINGS 4 LLC                   C/O CORPORATION SERVICE COMPANY 80 STATE STREET ALBANY NY 12207
EXCEL HOLDINGS 5 LLC                   222 LAKEVIEW AVE STE 200 WEST PALM BEACH FL 33401-6147
EXCEL LIGHTING LLC                     1100 MCALPINE AVE KANSAS CITY KS 66105-1204
EXCELLENT WINDOW CLEANING INC          2171 EAST FRANCISCO BOULEVARD SUITE E SAN RAFAEL CA 94901
EXCENTUS CORPORATION                   14241 DALLAS PKWY STE 400 DALLAS TX 75254-2937
EXECUTIVE OFFICE OF HEALTH & HUMAN SERV 1 ASHBURTON PLACE, 11TH FLOOR BOSTON MA 02108
EXECUTIVE SAFE AND SECURITY CORP       DBA AMPHION C/O ACCOUNTING DEPT PO BOX 225 SANTA CLARA CA 95052-0225
EXFUGO DESIGNS                         13783 LITTLE LAKE RD COLBORNE ON K0K 1S0 CANADA
EXPERT AIR INC                         PO BOX 4386 WAYNE NJ 07474-4386
EXPERT LOCK & SAFE INC                 829 RED BARN LN ELGIN IL 60124-6552
EXPERT PLUMBING INC                    3253 N FLANWILL BLVD TUCSON AZ 85716-1353
EXPERT REPAIR LLC                      4700 N HIATUS RD SUITE 154 SUNRISE FL 33351-7904
EXPERT SERVICE TECHNOLOGY CORP         DBA EXPERT SERVICE PLUMBING 956 W 79TH ST HIALEAH FL 33014-3538
EXPRESS PLUMBING INC                   PO BOX 1993 LAKE CITY FL 32056-1993
EXTERIOR CARE SERVICES LLC             1706 MOUNTAIN PINE BLVD NORTH CHESTERFIELD VA 23235-5458
EXTERIOR VIEW INC                      5798 E 50 S LAFAYETTE IN 47905
EXTREME BLADZ LAWN MAINTENANCE         11004 HARDING DR PORT RICHEY FL 34668-2219
EXTREME BLAST HOT & COLD PRESSURE      WASHING 8617 BERRY AVENUE JACKSONVILLE FL 32211
EXTREME PETZ                           17094 LOVERS LANE THREE RIVERS MI 49093
EXTREME STEAM CLEANING LLC             11434 SILK CARNATION WAY ROYAL PALM BEACH FL 33411
EYMAN PLUMBING INC                     8506 SOUTH 117TH ST LAVISTA NE 68128
EZ CLEAN POWER WASHING LLC             10124 W CHIPMAN RD TOLLESON AZ 85353-4440
F & L CONSTRUCTION INC                 PO BOX 31010 WASHINGTON DC 20030-1010



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F AND F LANDSCAPING AND HOME SERVICES    PO BOX 2152 MANASSAS VA 20108-0823
F AND R LANDSCAPING AND IRR INC          55 WILSHIRE COURT NORTH BABYLON NY 11703-2708
F E B DISTRIBUTING COMPANY               12155 INTRAPLEX PARKWAY GULFPORT MS 39503
FAB-RITE LLC                             24 SENDERO RANCHO SANTA MARGARITA CA 92688
FAB-RITE LLC                             24 SENDERO RANCHO SANTA MARGARITA CA 92688-3007
FABIANO BROTHERS INC                     PO BOX 1507 SAGINAW MI 48605
FACELIFT LLC                             PO BOX 5945 KENNEWICK WA 99336-0799
FACILITIES MAINTENANCE LLC               681 S BLUFORD AVENUE OCOEE FL 34761
FACILITIES RESOURCE GROUP LLC            PO BOX 7460 CAROL STREAM IL 60197-7460
FACILITY PLUS                            5155 SPECTRUM WAY BUILDING NO 21 MISSISSAUGA ON L4W 5A1 CANADA
FAGERBURG, CAROL                         ADDRESS ON FILE
FAHR BEVERAGE INC                        PO BOX 358 WATERLOO IA 50704-0358
FAIR DINKUM INC                          DBA MR HANDYMAN OF SOUTH AUSTIN LAKEWAY 2901 RANCH ROAD 620 NORTH 13 AUSTIN TX
                                         78734-2208
FAIR OAKS COMMUNITY DEVELOPMENT CORP     6440 WESTFIELD BOULEVARD INDIANAPOLIS IN 46220-1109
FAIRFAX CITY TREASURER                   PO BOX 5521 BINGHAMTON NY 13902-5521
FAIRFAX COUNTY HEALTH DEPARTMENT         10777 MAIN ST SUITE 102 FAIRFAX VA 22030
FAIRFAX WATER - VA                       PO BOX 5008 MERRIFIELD VA 22116-5008
FAIRFIELD COUNTY PLUMBING SERVICE &      REPAIR LLC 354 WAVERLY ROAD HUNTINGTON CT 06484
FAIRFIELD COUNTY TREASURER               210 E MAIN ST RM 105 LANCASTER OH 43130
FAIRFIELD DEPARTMENT OF HEALTH           PO BOX 555 LANCASTER OH 43130
FAIRFIELD DEPARTMENT OF HEALTH           1550 SHERIDAN DRIVE SUITE 100 LANCASTER OH 43130
FAIRFIELD FIRE DEPARTMENT                1550 SHERIDAN DRIVE SUITE 100 FAIRFIELD CA 94533-4808
FAIRFIELD FIRE DEPARTMENT                1200 KENTUCKY ST FAIRFIELD CA 94533-4808
FAIRFIELD MUNICIPAL UTILITIES, CA        1000 WEBSTER STREET FAIRFIELD CA 94533-4836
FAITHFUL TECH INC                        10 BEACHAM CRESCENT TORONTO ON M1T 1N1 CANADA
FALCONER, MICHELLE                       ADDRESS ON FILE
FALKOWSKI EXCAVATING LLC                 DBA FALKOWSKI EXCAVATING & SEWER SERVICE LLC 93 VETERAN HILL RD HORSEHEADS NY
                                         14845-7279
FALL LINE GASKETS INC                    PO BOX 26965 MACON GA 31221
FALSE ALARM REDUCTION UNIT               1200 KENTUCKY ST PHILADELPHIA PA 19171-5888
FALSE ALARM REDUCTION UNIT               OF PRINCE GEORGES COUNTY PO BOX 715888 PHILADELPHIA PA 19171-5888
FALSE ALARM REDUCTION UNIT               10425 AUDIE LANE LA PLATA MD 20646-3236
FALSE ALARM REDUCTION UNIT (FARU)        OF PRINCE GEORGES COUNTY PO BOX 715888 LA PLATA MD 20646-3236
FAMILY LAWN CARE LLC                     112 FOREST PARK DR HERRIN IL 62948-3745
FAMILY RESPONSIBILITY OFFICE             PO BOX 2204 STATION P TORONTO ON M5S 3E9 CANADA
FANCHER, CARLA                           ADDRESS ON FILE
FANCHON, REGINA                          ADDRESS ON FILE
FANCY SPRINKLES                          12701 VAN NUYS BLVD STE M PACOIMA CA 91331-7294
FANSHAWE INC                             DBA ROCKLAND ELECTRIC 143 MAIN STREET 1ST FLOOR NANUET NY 10954-2800
FANTASY UPHOLSTERY                       299 S 24 STREET 5 SAN JOSE CA 95116
FAR HORIZONS TRAILER VILLAGE LLC         15161 DE LA CRUZ DR RANCHO MURIETA CA 95683-9004
FAR HORIZONS TRAILER VILLAGE LLC         7682 CALLAWAY DR RANCHO MURIETA CA 95683-9268
FARLEY REFRIGERATION SERVICES            88 N LONDON ST MOUNT STERLING OH 43143-1129
FARMINGTON HEATING & METAL COMPANY INC   703 WEST BROADWAY FARMINGTON NM 87401
FARREN, MIRANDA                          ADDRESS ON FILE
FARRENS, BRIAN G                         ADDRESS ON FILE
FAST AZ SERVICES LLC                     861 S FOSTER ST DOTHAN AL 36301-3669
FASTRANS LOGISTICS INC                   7069 NORTH HANLEY ROAD HAZELWOOD MO 63042-2903



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FASTSIGNS                              15B 4610 DUFFERIN ST TORONTO ON M3H 5S4 CANADA
FAVOROSO, JOSEPH                       ADDRESS ON FILE
FAXON, JOSHUA                          ADDRESS ON FILE
FAYE PORTER                            ADDRESS ON FILE
FAYETTE COUNTY BOARD OF EDUCTATION     PO BOX 55570 LEXINGTON KY 40555-5570
FAYETTE COUNTY SHERIFF OFFICE          PO BOX 11518 LEXINGTON KY 40576-1518
FAYETTE HEATING AND AIR CONDITIONING   DBA H2O MAESTRO 817 NANDINO BLVD LEXINGTON KY 40511-1202
INC
FAYETTE WASTE LLC - MORGANTOWN         PO BOX 698 MORGANTOWN WV 26507-0698
FAYETTEVILLE FALSE ALARM REDUCTION PROG PO BOX 1568 LOWELL AR 72745-1568
FAYETTEVILLE POLICE DEPARTMENT         DBA CITY OF FAYETTEVILLE COLLECTIONS DIVISION PO DRAWER D FAYETTEVILLE NC
                                       28302
FAYETTEVILLE PUBLIC WORKS COMMISSION   PO BOX 71113 CHARLOTTE NC 28272-1113
FBMWW OPCO LLC                         DBA MWW GROUP LLC 1 MEADOWLANDS PLAZA EAST RUTHERFORD NJ 07073
FCC ENVIRONMENTAL SERVICES             PO BOX 654383 DALLAS TX 75265-4383
FCC JANITORIAL SERVICES INC            PO BOX 711551 SAN DIEGO CA 92171-1551
FCPT HOLDINGS, LLC                     1521 CONCORD PIKE SUITE 201 WIILMINGTON DE 19803
FCPT HOLDINGS, LLC                     1521 CONCORD PIKE SUITE 201 WILMINGTON DE 19803
FCPT HOLDINGS, LLC                     C/O CORPORATE CREATIONS NETWORK INC. 101 NORTH SEVENTH STREET LOUISVILLE KY
                                       40202
FCS INC                                3813 126TH AVENUE NORTH SUITE 13 CLEARWATER FL 33762
FD & D CLEANING SERVICES INC           17270 70TH ST N LOXAHATCHEE FL 33470-3384
FEDERAL EXPRESS CANADA CORPORATION     PO BOX 4626 TORONTO STN A TORONTO ON M5W 5B4 CANADA
FEDERAL EXPRESS CORP                   PO BOX 94515 PALATINE IL 60094-4515
FEDERAL EXPRESS CORPORATION            PO BOX 660481 DALLAS TX 75266-0481
FEDERAL HEATH SIGN COMPANY LLC         PO BOX 670222 DALLAS TX 75267-0222
FEDERAL INSURANCE COMPANY              MARSH USA INC QUALIFIED SOLUTIONS GROUP 1166 AVENUE OF THE AMERICAS NEW YORK
                                       NY 10036-2708
FEDERAL REALTY OP LP                   C/O FR WHITE MARSH LLC - PROPERTY 2270 PO BOX 8500 LOCKBOX 9320 PHILADELPHIA
                                       PA 19178-9320
FEDERAL SECURITY SYSTEMS INC           8580 CINDER BED RD STE 2200 LORTON VA 22079-1488
FEDERICO PEREZ                         ADDRESS ON FILE
FEDERMAN STEIFMAN LLP                  ATTN: MICHAEL K. FEDERMAN 220 EAST FORTY SECOND STREET, 29TH FLOOR NEW YORK NY
                                       10017
FEDERMAN STEIFMAN LLP                  ATTN: PETER MANNARINO THE NEWS BUILDING 220 EAST 42ND STREET, 29TH FLOOR NEW
                                       YORK NY 10017
FEDERMAN STEIFMAN LLP                  ATTN: PETER J. MANNARINO, ESQ. THE NEWS BUILDING 220 EAST 42ND STREET, 29TH
                                       FLOOR NEW YORK NY 10017
FEDEX FREIGHT INC.                     DEPT CH PO BOX 10306 PALATINE IL 60055-0306
FEDEX OFFICE AND PRINT SVCS INC        CUSTOMER ADMINISTRATIVE SERVICES PO BOX 672085 DALLAS TX 75267-2085
FELIPE FLORES COETO                    ADDRESS ON FILE
FELIPE SANCHEZ SARMIENTO               ADDRESS ON FILE
FELIX, KIMBERLY                        ADDRESS ON FILE
FELLERS FOOD SERVICE EQUIPMENT LLC     DBA RESTAURANT MARKETPLACE 2140 W GRAND SPRINGFIELD MO 65802
FELTS LOCK & ALARM CO INC              PO BOX 5707 EVANSVILLE IN 47716-5707
FENSKE, NICHOLAS                       ADDRESS ON FILE
FERGUSON DISTRIBUTING CO INC           DBA DR VINYL OF SW INDIANA 8200 SHARON ROAD NEWBURGH IN 47630-1595
FERGUSON FLORIST INC                   331 W 5TH AVE ATTALLA AL 35954
FERGUSON, DANIELLE                     ADDRESS ON FILE
FERGUSON, LADESHIA                     ADDRESS ON FILE



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FERGUSON-VERESH INC                     703 E SCOTT AVE WICHITA FALLS TX 76301-5912
FERNANDO FRANCO                         ADDRESS ON FILE
FERNANDO TARRAGONA                      ADDRESS ON FILE
FERRARO, DIANE                          ADDRESS ON FILE
FERREE & ASSOCIATES LLC                 DBA MR ROOTER PLUMBING PO BOX 789 GLADSTONE OR 97027
FERRIS EMERY                            ADDRESS ON FILE
FESER, MICHELLE                         ADDRESS ON FILE
FEWELL, TYLER                           ADDRESS ON FILE
FIBER CLEAN LLC                         PO BOX 9914 BOISE ID 83707-5914
FIDELITY COMMUNICATIONS                 PO BOX 2050 OMAHA NE 68103-2050
FIDENCIO GUERRERO CASTRO                ADDRESS ON FILE
FIEDLER SERVICE INC                     DBA METRO TV AUDIO TECH 1107 NORTH COTNER BLVD LINCOLN NE 68505-1835
FIELD ELECTRIC INC                      109 SOUTH MAIN STILLWATER OK 74074-3519
FIELDS, VALERIE                         ADDRESS ON FILE
FIFTH THIRD BANK                        PO BOX 636045 CINCINNATI OH 45263-6045
FIFTH THIRD BANK                        ATTN: JOHN MARIAN 201 E KENNEDY BLVD SUITE 2000 TAMPA FL 33602
FIGUCCIO, MICHAEL                       ADDRESS ON FILE
FILTER XCHANGE LLC                      32718 RIVERWOOD DR MAGNOLIA TX 77354-2246
FILTERSHINE INDIANA LLC                 PO BOX 391 CONNERSVILLE IN 47331-7715
FILTERSHINE MIDWEST LLC                 1005 S MAIN ST WEST MILTON OH 45383-1374
FIMA DEVELOPMENT                        313 HORNER AVENUE TORONTO ON M8W 1Z5 CANADA
FINANCE AND ADMINISTRATION CABINET      200 MERO STREET, 5TH FLOOR FRANKFORT KY 40622
FINANCE COMMISSIONER CITY OF NEW YORK   PO BOX 4199 CHURCH STREET STATION NEW YORK NY 10261-4199
FINANCE DIRECTOR/CITY OF CASPER         10425 AUDIE LANE CASPER WY 82601
FINANCE DIRECTOR/CITY OF CASPER         200 NORTH DAVID CASPER WY 82601
FINCHER LANDSCAPE LLC                   800 ELMWOOD LN PITTSBURG KS 66762-5525
FINDLAY BREWING COMPANY LLC             213 E CRAWFORD ST FINDLAY OH 45840-4804
FINEST AUTO TRIM INC                    2201 DEMERS AVE GRAND FORKS ND 58201-4165
FINISHING TOUCH CARPET CLEANING LLC     302 E 14TH ST DOVER OH 44622-1134
FINLAYSON ENTERPRISES INC               DBA CF SIGN AND STAMP CO 1802 BECK AVENUE PANAMA CITY FL 32405
FINNEY, DAVID                           ADDRESS ON FILE
FIR-SURE TROPICAL FOLIAGE COMPANY INC   PO BOX 441 COBDEN IL 62920
FIRE DEPARTMENT OF NEW YORK             9 METROTECH CENTER BROOKLYN NY 11201-3857
FIRE DEPARTMENT-CITY OF NEW YORK        PO BOX 840 CHURCH ST STATION NEW YORK NY 10008-0840
FIRE DEPARTMENT-CITY OF NEW YORK        200 NORTH DAVID NEW YORK NY 10008-0840
FIRE RECOVERY USA LLC                   ASHEVILLE FIRE DEPARTMENT PO BOX 935667 ATLANTA GA 31193-5667
FIRE SAFETY PRODUCTS INC                203 DEPOT STREET CHRISTIANSBURG VA 24073
FIRE SYSTEMS INCORPORATED               4700 HIGHLANDS PARKWAY SMYRNA GA 30082
FIRELANDS ELECTRIC CO INC               2721 COLUMBUS AVENUE SANDUSKY OH 44870
FIREMNANS FUND INSURANCE COMPANY        MARSH USA INC 3560 LENOX RD NE STE 2400 ALLIANCE CENTER TWO ATLANTA GA
                                        30326-4266
FIREPROOFING CORP OF AMERICA            347 WEST 36TH STREET NEW YORK NY 10018-6406
FIRST & MAIN BUSINESS IMPROV DIST NO. 2 C/O CLIFTONLARSONALLEN 111 S. TEJON STREET SUITE 705 COLORADO SPRINGS CO 80903
FIRST & MAIN LLC                        C/O NORWOOD LIMITED INC 111 SOUTH TEJON ST SUITE 222 COLORADO SPRINGS CO 80903
FIRST AMERICAN EXCHANGE COMPANY LLC     DBA ARCP RL/OG LANGHORNE PA LLC 215 SOUTH STATE STREET SUITE 380 SALT LAKE
                                        CITY UT 84111
FIRST ARIZONA RL ASSOCIATES LLC         80 NASHUA RD STE A4 LONDONDERRY NH 03053-3419
FIRST ARIZONA RL ASSOCIATES, LLC        80 NASHUA ROAD, SUITE A4 LONDONDERRY NH 03053
FIRST CHOICE TREE SERVICE INC           PO BOX 98295 LAS VEGAS NV 89193-8295



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FIRST CLASS CLEANING SERVICES LLC       2500 PAPERBARK DR MONROE NC 28110-1320
FIRST CLASS GRASS LLC                   37201 CLINTON AVE DADE CITY FL 33525-5910
FIRST CLASS PLUMBING LLC                17032 SILVER CHARM PLACE LEESBURG VA 20176
FIRST CLASS VENDING INC                 DBA VEGAS VALLEY BEVERAGE 3990 W NAPLES DR LAS VEGAS NV 89103-5529
FIRST DATA CORPORATION                  DBA FDS HOLDINGS INC PO BOX 2025 ENGLEWOOD CO 80150-2025
FIRST INSURANCE FUNDING OF CANADA INC   20 TORONTO STREET 7TH FLOOR TORONTO ON M5C 2B8 CANADA
FIRST INTERNET BANK OF INDIANA          ATTN: MIKE LEWIS 8888 KEYSTONE CROSSING, SUITE 1700 INDIANAPOLIS IN 46240
FIRST PIEDMONT CORP                     P.O. DRAWER 1069 CHATHAM VA 24531
FIRST RESPONSE PLUMBING                 DBA ROTO-ROOTER PO BOX 910478 LEXINGTON KY 40591-0478
FISCHER, JOE                            ADDRESS ON FILE
FISH & RICHARDSON PC                    PO BOX 3295 BOSTON MA 02241-3295
FISH ARE FRIENDS LLC                    DBA AQUATIC SUPPLY 1925 WILDWOOD ST BOISE ID 83713-5148
FISH FARM PROPERTIES LLC                C/O MINIO HOLDINGS LLC 999 VANDERBILT BEACH RD STE 200 NAPLES FL 34108-3512
FISH GUYS INC                           23509 EAST MAXWELL COURT LIBERTY LAKE WA 99019
FISHBACK KIMBERLY.                      ADDRESS ON FILE
FISHER, ELAINE                          ADDRESS ON FILE
FISHER, KELLI                           ADDRESS ON FILE
FISHERS FOODS                           5215 FULTON ROAD CANTON OH 44710
FIT FOR COMMERCE                        40 HIGHLAND AVE SHORT HILLS NJ 07078-2812
FITZGERALD BROTHERS BEVERAGES INC       PO BOX 2151 GLENS FALLS NY 12801-2151
FITZGERALD, JILL                        ADDRESS ON FILE
FITZPATRICK ELECTRICAL CONTRACTOR INC   41 MAPLE STREET UXBRIDGE ON L9P 1C8 CANADA
FIVE BS                                 DBA LOCAL ACE 1017 CENTRAL AVE NW EAST GRAND FORKS MN 56721-1610
FIVE STAR DOOR SERICES INC              14-470 N RIVERMEDE DD VAUGHAN ON L4K 3R8 CANADA
FIVE STAR PLUMBING COMPANY              PO BOX 2582 LOVES PARK IL 61111
FIVE STAR PLUMBING LLC                  3624 E SPRINGFIELD AVE SPOKANE WA 99202-4642
FIVE STAR REFRIGERATION LLC             DBA ALDO POLANCO 5303 EL CAMINO REAL LAS CRUCES NM 88007-7333
FIVE STAR RESTAURANT REPAIR AND SALES   1823 W VERMIJO AVE COLORADO SPRINGS CO 80904-3817
FIX ST LOUIS                            ADDRESS ON FILE
FIX-IT RIGHT                            960 SLATER ROAD WEST ST PAUL MB R4A 4A1 CANADA
FIX99 HANDYMAN LTD                      1306 ACADIA DRIVE SASKATOON SK S7H 4X3 CANADA
FIZZ, ARLENE                            ADDRESS ON FILE
FK PROPERTIES LLC                       ATTN: GLENN M. ROCCA 20 HARRISON AVENUE WALDWICK NJ 07463
FK PROPERTIES LLC                       ATTN GLENN M ROCCA 20 HARRISON AVENUE WALDWICK NJ 07463-1757
FL COMMERCIAL APPLIANCE PARTS & SERVICE INC 4440 PGA BLVD SUITE 600 PALM BEACH GARDENS FL 33410
FL DEPT OF FINANCIAL SERVICES           REVENUE PROCESSING SECTION BOILERS TALLAHASSEE FL 32314-6100
FL FISH & WILDLIFE CONSERVATION COMMN   OFFICE OF LICENSING & PERMITTING PO BOX 6150 TALLAHASSEE FL 32314
FLAG AND FLAGPOLE EXPRESS               5404 W ORLANDO CIR BROKEN ARROW OK 74011-1136
FLAG CORPS INC                          DBA FLAG SYSTEMS 13830 N STEMMONS FWY STE B DALLAS TX 75234-3465
FLAGMAN OF AMERICA                      PO BOX 440 AVON CT 06001-0440
FLAGS A FLYING LLC                      3635 S LAWRENCE ST STE J TACOMA WA 98409-5704
FLAGSOURCE SOUTHEAST INC                201 CREEKSTONE RDG WOODSTOCK GA 30188-3744
FLAHERTY & OHARA PC                     610 SMITHFIELD STREET STE 300 PITTSBURGH PA 15222-2512
FLAHERTY & OHARA, P.C.                  ATTN: R.OHARA, M. FLAHERTY, S. WOLOWSKI 610 SMITHFIELD STREET, STE 300
                                        PITTSBURGH, PA 15222 PITTSBURGH PA 15222
FLAHIVE, OGDEN AND LAWSON               P.O. BOX 201329 AUSTIN TX 78720
FLAMINGO EASTERN LLC                    C/O BRIGHTON MANAGEMENT 10700 SANTA MONICA BLVD SUITE 203 LOS ANGELES CA 90025
FLANNERY, LISA, FLANNERY, LISA          ADDRESS ON FILE
FLASHIONS LTD                           1002 N BECHTLE AVENUE SPRINGFIELD OH 45504-2008



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FLC INC                                  DBA ACCURATE BACKFLOW TESTING & VALVE REPAIR 7840 BURNET AVENUE VAN NUYS CA
                                         91405
FLEET BANK                               ADDRESS ON FILE
FLEMING ELECTRIC INC                     PO BOX 856 BRYANT AR 72089-0856
FLEMING TRIMMING AND LAWN CARE           835 BAYOU PAUL LN SAINT GABRIEL LA 70776-5412
FLERCHINGER ELECTRIC INC                 PO BOX 17 CLARKSTON WA 99403-0017
FLETCHER, TERRY                          ADDRESS ON FILE
FLGREEN LLC                              9741 SW 124TH COURT MIAMI FL 33186
FLI WORLDWIDE LLC                        DBA LADERRICK JOHNSON 645C ENGLAND CHAPEL RD JENKINSBURG CA 30234-2305
FLINT HILLS LAWN CARE INC                1608 E US 54 HWY ANDOVER KS 67002-8014
FLIPSIDE COMMERCIAL SERVICES LLC         130 GRISWOLD ST DELAWARE OH 43015-1743
FLO-RITE PLUMBING LLC                    41112 JUDSON BOTTOM RD NORTH MANKATO MN 56003-4050
FLOIED FIRE EXTINGUISHER & STEAM         CLEANING CO INC 3050 LAMAR AVENUE MEMPHIS TN 38114
FLORA JANE DUNAIANS                      ADDRESS ON FILE
FLORAFINOS FLOWERS AND GIFTS LLC         1416 MAPLE AVE ZANESVILLE OH 43701-2548
FLORAL CITY BEVERAGE INC                 PO BOX 1436 MONROE MI 48161
FLORENCE CITY TAX COLLECTOR              PO BOX 791703 BALTIMORE MD 21279-1703
FLORENCE COUNTY TREASURER                PO BOX 100501 FLORENCE SC 29502-0501
FLORENCE TODEREAN                        DBA PACIFIC COAST SERVICES PO BOX 2127 CARMICHAEL CA 95609
FLORENCE UTILITIES, AL                   P.O. BOX 877 FLORENCE AL 35631-0877
FLORENCE UTILITIES, CITY OF FLORENCE,    ALABAMA 110 W. COLLEGE ST. FLORENCE AL 35631
FLORENCE WATER & SEWER                   PO BOX 791702 BALTIMORE MD 21279-1702
FLORIANO MALDONADO RODRIGUEZ             ADDRESS ON FILE
FLORIDA AIR SPECIALISTS INC              PO BOX 1177 CRAWFORDVILLE FL 32326-1177
FLORIDA BLUE                             4800 DEERWOOD CAMPUS PARKWAY JACKSONVILLE FL 32246 UNITED KINGDOM
FLORIDA CERTIFIED SIGN ERECTORS LLC      2824 HORACE SHEPARD DRIVE DOTHAN AL 36303
FLORIDA CITY GAS                         PO BOX 22614 MIAMI FL 33102-2614
FLORIDA COMMISSION ON HUMAN RELATIONS    4075 ESPLANADE WAY, UNIT 110 TALLAHASSEE FL 32399
FLORIDA DEPARTMENT OF                    FINANCIAL SERVICES REVENUE PROCESSING SECTION BOILERS PO BOX 6100 TALLAHASSEE
                                         FL 32314-6100
FLORIDA DEPARTMENT OF INSURANCE          PO BOX 6100 TALLAHASSEE FL 32314-6100
FLORIDA DEPARTMENT OF INSURANCE          FINANCIAL SERVICES REVENUE PROCESSING SECTION BOILERS TALLAHASSEE FL
                                         32314-6100
FLORIDA DEPT OF ENVIRONMENTAL            PROTECTION 3900 COMMONWEALTH BLVD TALLAHASSEE FL 32399
FLORIDA DEPT OF HEALTH                   4052 BALD CYPRESS WAY BIN A00 TALLAHASSEE FL 32399-1701
FLORIDA DEPT OF LABOR                    DEPT OF ECONOMIC OPPORTUNITY 107 EAST MADISON ST CALDWELL BUILDING TALLAHASSEE
                                         FL 32399-4120
FLORIDA DEPT OF REVENUE                  5050 W TENNESSEE ST TALLAHASSEE FL 32399-0100
FLORIDA DEPT OF REVENUE                  5050 W TENNESSEE ST TALLAHASSEE FL 32399-0110
FLORIDA DEPT OF REVENUE                  5050 W TENNESSEE ST TALLAHASSEE FL 32399-0120
FLORIDA DISTRIBUTING SOURCE INC          5325 115TH AVE N CLEARWATER FL 33760-4840
FLORIDA FISH & WILDLIFE                  CONSERVATION COMMISSION PO BOX 6100 TALLAHASSEE FL 32314
FLORIDA LANDSCAPING & PROPERTY MGMT      PO BOX 384 ONECO FL 34264-0384
FLORIDA LIGHTING MAINTENANCE LLC         886 S PACKINGHOUSE RD SARASOTA FL 34232-2894
FLORIDA OFFICE OF THE ATTORNEY GENERAL   CONSUMER PROTECTION DIVISION THE CAPITOL PL-01 TALLAHASSEE FL 32399-1050
FLORIDA PLAZA OWNERS ASSOCIATION INC     C/O ROBERT KAZAROS 12238 PARK AVE WINDERMERE FL 34786-7710
FLORIDA POWER & LIGHT COMPANY            P.O. BOX 025209 MIAMI FL 33102
FLORIDA PUBLIC UTILITIES                 PO BOX 825925 PHILADELPHIA PA 19182-5925
FLORIDA PUBLIC UTILITIES                 780 AMELIA ISLAND PKWY FERNANDINA BEACH FL 32034
FLORIDA SEATING INC                      PO BOX 17660 CLEARWATER FL 33762


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FLORIDA STATE TREASURY                  UNCLAIMED PROPERTY DIVISION 200 E GAINES ST TALLAHASSEE FL 32399-0358
FLOW RIGHT PLUMBING HEATING &           2406 W 11TH ST PUEBLO CO 81003
IRRIGATION
FLOW SERVICE PARTNERS HOLDCO LLC        DBA PERFECTION HVAC 525 S BARKER AVE EVANSVILLE IN 47712-4998
FLOW SERVICE PARTNERS UNION-CO LLC      DBA ALTSTADT HOFFMAN PLUMBING 1401 BUCHANAN RD EVANSVILLE IN 47720-5407
FLOWPRO PLUMBING                        6616 W HOME AVE WORTH IL 60482-2306
FLOYD ALLEN HARTLEY JR                  ADDRESS ON FILE
FLOYD COUNTY TAX COMMISSIONER           4 GOVT PLAZA FLOYD COUNTY HISTORIC COURT HOUSE ROME GA 30161
FLOYD COUNTY TAX OFFICE                 PO BOX 26 ROME GA 30162
FLOYD CTY HEALTH DEPARTMENT             OFFICE OF LICENSING & PERMITTING PO BOX 6150 ROME GA 30162-1029
FLOYD CTY HEALTH DEPT                   PO BOX 1029 ROME GA 30162-1029
FLOYD VENTURES INC                      DBA A LOCK DOC/GATOR LOCK 5200 NW 43RD STREET SUITE 102-331 GAINESVILLE FL
                                        32606
FLUORESCENT SIGNS INC                   PO BOX 1315 LAS CRUCES NM 88004-1315
FMG PRINT SOLUTIONS LLC                 DBA PREMIER SPORTS PRMOTIONS PO BOX 136926 FORT WORTH TX 76136
FMS LAWN & LANDSCAPING LLC              DBA TOLEDO LAWNS 1951 TREMAINSVILLE ROAD TOLEDO OH 43613
FNW REALTY CORP                         FNWRL LLC 1251 58TH ST BROOKLYN NY 11219-5174
FNWRL LLC                               1251 58TH STREET BROOKLYN NY 11219
FOCAL POINTE OF OKLAHOMA LLC            1921 RAVINIA DR CASEYVILLE IL 62232-2160
FOCO INC                                DBA DEPENDABLE SEWER CLEANERS PO BOX 1400 BAY CITY MI 48706
FOLIAGE DESIGN SYSTEMS OF CENTRAL       FLORIDA DBA FOLIAGE DESIGN SYSTEMS 7048 NARCOOSSEE ROAD ORLANDO FL 32822
FOLIARIS INC                            DBA GREEN THUMB 5883 LOCKHEED AVE LOVELAND CO 80538-7027
FOLK, TYLER                             ADDRESS ON FILE
FOLLETT LLC                             PO BOX 782806 PHILADELPHIA PA 19178-2806
FOOD & DRUG AMINISTRATION (FDA)         10903 NEW HAMPSHIRE AVENUE SILVER SPRING MD 20993
FOOD DONATION CONNECTION                ATTN: JIM LARSON PO BOX 22787 KNOXVILLE TN 37933
FOOD DONATION CONNECTION LLC            PO BOX 22787 KNOXVILLE TN 37933-0787
FOOD EQUIP PARTS AND SVC CO INC         300 PUUHALE ROAD HONOLULU HI 96819
FOOD EQUIPMENT REPAIR SERVICE INC       465 KENWOOD COURT SUITE C SANTA ROSA CA 95407
FOOD EQUIPMENT SERVICE INC              3316A OLD CAPITOL TRAIL WILMINGTON DE 19808
FOOD EQUIPMENT SERVICES CO LLC          DBA FESCO OR BROMLEY PARTS AND SERVICE 2315 SYCAMORE DR KNOXVILLE TN
                                        37921-1750
FOOD EQUIPMENT SOLUTIONS INC            DBA HOBART SALES AND SERVICE 5775 E CORK ST KALAMAZOO MI 49048-9668
FOOD SERVICE EQUIPMENT INC              2629 REINHARDT LN NE STE T LACEY WA 98516-3157
FOODLOGIQ                               2655 MARIDIAN PARKWAY DURHAM NC 27713
FOODSERVICE EQUIPMENT BROKERS INC       345 SOUTH 40TH STREET SPRINGDALE AR 72762-4839
FOODSTYLING.COM INC                     1888 CHECKERBERRY CT OVIEDO FL 32766
FOODTRACK INC                           3234 NE 15TH AVE PORTLAND OR 97212-2303
FOOTHILL LAWN SERVICE INC               DBA FOOTHILL IRRIGATION & FOOTHILL ELECTRIC PO BOX 752 NELLYSFORD VA
                                        22958-0752
FORD FOODSERVICE EQUIPMENT INC          DBA FORD HOTEL SUPPLY COMPANY 2204 NORTH BROADWAY ST LOUIS MO 63102
FOREMAN, ROSA                           ADDRESS ON FILE
FOREST CITY COMMERCIAL MANAGEMENT INC   STAPLETON NORTH TOWN PO BOX 72014 CLEVELAND OH 44192-0014
FOREST DESIGN LANDSCAPING INC           PO BOX 493655 REDDING CA 96049
FOREST HILLS MUNICIPAL AUTHORITY        PO BOX 337 ST MICHAEL PA 15951
FOREST OF FLOWERS WELLINGTON            555 WELLINGTON ROAD AT WATERMAN AVE LONDON ON N6C 4R3 CANADA
FORESTWOOD FARM INC                     PO BOX 310728 BIRMINGHAM AL 35231-0728
FORMA-KOOL MFG INC                      46880 CONTINENTAL DR CHESTERFIELD MI 48047
FORMOSA DEVELOPERS INC                  7836 WEST IRLO BRONSON HWY KISSIMMEE FL 34747
FORREST LANDSCAPE & IRRIGATION INC      929 MYATT INDUSTRIAL DRIVE MADISON TN 37115-2429


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FORSGEN, SERENA                          ADDRESS ON FILE
FORSYTH COUNTY TAX ADMINISTRATION        P.O. BOX 757 WINSTON-SALEM NC 27102
FORSYTH COUNTY TAX COLLECTOR             PO BOX 82 WINSTON-SALEM NC 27102
FORSYTH COUNTY TAX COLLECTOR             PO BOX 82 WINSTON SALEM NC 27102-0082
FORT BEND COUNTY                         PO BOX 1029 RICHMOND TX 77469
FORT BEND COUNTY                         TAX ASSESSOR COLLECTOR 1317 EUGENE HEIMANN CIRCLE RICHMOND TX 77469
FORT BEND COUNTY TAX ASSESSOR-COLLECTOR PO BOX 4277 HOUSTON TX 77210-4277
FORT COLLINS UTILITIES                   PO BOX 1580 FORT COLLINS CO 80522-1580
FORT GRATIOT CHARTER TOWNSHIP - MI       3720 KEEWAHDIN ROAD FORT GRATIOT MI 48059-3309
FORT GRATIOT CHARTER TOWNSHIP TREASURER 3720 KEEWAHDIN RD FORT GRATIOT MI 48059-3309
FORT PIERCE FARP                         TAX ASSESSOR COLLECTOR 1317 EUGENE HEIMANN CIRCLE ATLANTA GA 30394-7482
FORT PIERCE FARP                         PO BOX 947482 ATLANTA GA 30394-7482
FORT PIERCE UTILITIES AUTHORITY          206 SOUTH 6TH STREET FOT PIERCE FL 34948
FORT PIERCE UTILITIES AUTHORITY          206 SOUTH 6TH STREET FORT PIERCE FL 34950
FORT WAYNE ALLEN CO DEPARTMENT OF        PO BOX 947482 FORT WAYNE IN 46802
HEALTH
FORT WAYNE ALLEN COUNTY DEPT OF HEALTH   200 E BERRY STREET SUITE 360 FORT WAYNE IN 46802
FORT WORTH FALSE ALARM MANAGEMENT        200 E BERRY STREET SUITE 360 DALLAS TX 75320-8767
SYSTEM
FORT WORTH FALSE ALARM MANAGEMENT        PO BOX 208767 DALLAS TX 75320-8767
SYSTEM
FORT WORTH WATER DEPARTMENT              PO BOX 961003 FORT WORTH TX 76161-0003
FORTIFIED BELTWAY LANHAM LLC             C/O RAPPAPORT MANAGEMENT COMPANY PO BOX 25097 TAMPA FL 33622
FORTRA LLC                               PO BOX 735324 CHICAGO IL 60673-5324
FORTRESS CREDIT CORP                     AS COLLATERAL AGENT 1345 AVENUE OF THE AMERICAS 45TH FL NEW YORK NY 10105
FORTRESS CREDIT CORP.                    C/O PROSKAUER ROSE LLP ATTN: MICHAEL MEZZACAPPA ELEVEN TIMES SQUARE NEW YORK
                                         NY 10036
FORTRESS DIGITAL LLC                     DBA SITECOMPLI LLC PO BOX 844593 BOSTON MA 02284-4593
FOSTER & SCHELL INC                      DBA BROWN PLUMBING & HEATING PO BOX 81327 BILLINGS MT 59108-1327
FOSTER GRAHAM MILLSTEIN & CALISHER, LLP ATTN: BRIAN C. PROFFITT 360 SO. GARFIELD STREET, 6TH FLOOR DENVER CO 80209
FOSTER PLUMBING & HEATING COMPANY INC    DBA ROTO ROOTER PLUMBERS 1813 SCHOFIELD LANE FARMINGTON NM 87401
FOTHERINGHAM, CINDY                      ADDRESS ON FILE
FOUNTAIN MIQUELLE                        ADDRESS ON FILE
FOUNTAIN, MIQUELLE                       ADDRESS ON FILE
FOUR CORNERS OPERATING PARTNERSHIP LP    FCPT HOLDINGS LLC PO BOX 936705 ATLANTA GA 31193-6705
FOUR CORNERS SERVICE CO INC              6605 E MAIN ST FARMINGTON NM 87402-5123
FOUR HAND REALTY LLC                     C/O ELMADANI SADEK 830 6TH AVE FL 4 NEW YORK NY 10001-6394
FOUR PAINTING LLC                        4215 HALL ST SE ACWORTH GA 30102-6250
FOUR SEASONS LANDSCAPING INC             PO BOX 19226 SPOKANE WA 99219
FOUR SEASONS MAINTENANCE LLC             27 MILL ST WILKES BARRE PA 18705-3013
FOUR SEASONS WINDOW CLEANING CORP        199 WINDERMERE AVE TORONTO ON M6S 3J8 CANADA
FOUR SONS PRESSURE WASHING LLC           16303 NE 44TH ST VANCOUVER WA 98682
FOURTH ENTERPRISES LLC                   DBA HOTSCHEDULES RED BOOK SOLUTIONS RED BOOK CONNECT LLC PO BOX 18364 PALATINE
                                         IL 60055-8364
FOWN, BROOKE                             ADDRESS ON FILE
FOX CARPET CLEANING LLC                  1833 N LAKEMAN DR BELLBROOK OH 45305
FOX GLASS CO INC                         1035 TIFFORD LANE OSTEEN FL 32764
FOX GLASS ORLANDO INC                    3038 JOHN YOUNG PARKWAY SUITE 7 ORLANDO FL 32804
FOX LOCK & SAFE INC                      1865 LANCASTER DRIVE NE SALEM OR 97305
FOX LOCKS INC                            PMB115 5250 GRAND AVE SUITE 14 GURNEE IL 60031


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FOX METRO                               PO BOX 160 WATER RECLAMATION DISTRICT AURORA IL 60507-0160
FOX RIVER SHOPPING CTR LLP              C/O FOX RIVER SHOPPING CENTER PARTNERS SDS-12-1360 - PO BOX 86 MINNEAPOLIS MN
                                        55486-1360
FPL - FLORIDA POWER & LIGHT COMPANY     GENERAL MAIL FACILITY FPL GROUP, INC MIAMI FL 33188-0001
FPL NORTHWEST FL                        PO BOX 29090 MIAMI FL 33102-9090
FRAMES LAWN CARE LLC                    2381 TEST RD RICHMOND IN 47374-4972
FRANCES WOLTMAN                         ADDRESS ON FILE
FRANCIS M. (TREY) HAMILTON III          US ATTORNEYS OFFICE 220 W DEPOT ST, STE 423 GREENEVILLE TN 37743
FRANCIS M. (TREY) HAMILTON III          US ATTORNEYS OFFICE 800 MARKET ST, STE 211 KNOXVILLE TN 37902
FRANCIS M. (TREY) HAMILTON III          US ATTORNEYS OFFICE 1110 MARKET ST, STE 515 CHATTANOOGA TN 37402
FRANCIS REST INDUSTRY EQ SVCS INC       DBA F R I E S 14 AUTOMATIC ROAD UNIT 33 BRAMPTON ON L6S 5N5 CANADA
FRANCIS X NEUNER JR                     ADDRESS ON FILE
FRANCISCO JAVIER SANCHEZ VERDUZCO       ADDRESS ON FILE
FRANCISCO PEREZ III                     ADDRESS ON FILE
FRANCISCO RODRIGUEZ..                   ADDRESS ON FILE
FRANCISCO RUIZ AMEZCUA                  ADDRESS ON FILE
FRANK A SMITH BEVERAGES INC             180 SHOEMAKER ROAD POTTSTOWN PA 19464
FRANK AND RICE PA                       ADDRESS ON FILE
FRANK DAMIANO                           ADDRESS ON FILE
FRANK GAY SERVICES LLC                  3763 MERCY STAR CT ORLANDO FL 32808-4654
FRANK J STRAHL AND SONS INC             401 N WASHINGTON AVE DANVILLE IL 61832-4627
FRANK JOHNSTON                          ADDRESS ON FILE
FRANK M LIGORI                          ADDRESS ON FILE
FRANK MAYER AND ASSOCIATES INC          PO BOX 88266 MILWAUKEE WI 53288-0226
FRANK MINEO                             ADDRESS ON FILE
FRANK ROONEY                            ADDRESS ON FILE
FRANK, ALICIA                           ADDRESS ON FILE
FRANKIE FESKO                           ADDRESS ON FILE
FRANKLIN COUNTY TAX COLLECTOR           BRENDA HILL 401 LINCOLN WAY EAST CHAMBERSBURG PA 17201
FRANKLIN COUNTY TREASURER               373 S HIGH ST FL 17A COLUMBUS OH 43215-6306
FRANKLIN ENTERPRISES INC                PO BOX 1517 VAN BUREN AR 72957-1517
FRANKLIN MACHINE PRODUCTS INC           PO BOX 74007311 CHICAGO IL 60674-7311
FRANKLIN POLICE DEPARTMENT              BURGLAR ALARM SECTION 900 COLUMBIA AVENUE FRANKLIN TN 37064-2832
FRANKLIN SANITATION LLC                 1611 RYE BEACH ROAD HURON OH 44839
FRANKLIN-WILLIAMSON                     PO BOX 208767 MARION IL 62959-5817
FRANKLIN-WILLIAMSON                     BI-COUNTY HEALTH DEPARTMENT 8160 EXPRESS DR MARION IL 62959-5817
FRANKLYN DANIEL                         ADDRESS ON FILE
FRANKS PACKAGE STORE LLC                DBA HARRY TS WHOLESALE WINE & LIQUOR 758 HIGHWAY 43 SOUTH CANTON MS 39046
FRANKS SCAPES INC                       746 FAULKNER LANE BALL GROUND GA 30107
FRANSSENS ELECTRIC LLC                  12012 N EMERALD DR HAYDEN ID 83835-9486
FRASCO INC                              DBA FRASCO INVESTIGATIVE SERVICES PO BOX 31001 PASADENA CA 91110-1738
FRASER ELECTRIC INC                     PO BOX 15098 TALLAHASSEE FL 32317
FRASER LOCK & SAFE                      83 DICKSON ST CAMBRIDGE ON N1R 7A5 CANADA
FRASER PLUMBING INC                     C/O PIC PLUMBING SERVICES INC 5482 COMPLEX ST STE 108 SAN DIEGO CA 92123-1125
FRASSICA INC                            580 MALLOY CT CORONA CA 92878-4045
FRAZIER, TAWANA KIM                     ADDRESS ON FILE
FRED BATEMONS LAWN LEAF & LANDSCAPING   1833 S LAUREL ST PINE BLUFF AR 71601-6230
FRED DAVID BRANNON                      ADDRESS ON FILE
FRED E NUNES JR                         ADDRESS ON FILE



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FRED HAMM, INC.                        P.O. BOX 5096 JERSEY SHORE PA 17740
FREDERICK COUNTY HEALTH DEPARTMENT     ENVIRONMENTAL HEALTH SVCS 350 MONTEVUE LANE FREDERICK MD 21702
FREDERICK COUNTY HEALTH DEPARTMENT     BI-COUNTY HEALTH DEPARTMENT 8160 EXPRESS DR FREDERICK MD 21702
FREDERICK COUNTY LIQUOR BOARD          WINCHESTER HALL 12 EAST CHURCH STREET FREDERICK MD 21701
FREDERICK D DOWE                       ADDRESS ON FILE
FREDERICK J DALTON                     ADDRESS ON FILE
FREDERICK L WHITTAKER JR               ADDRESS ON FILE
FREDERICK P WINNER LTD                 DBA CHESAPEAKE BEVERAGE 10000 FRANKLIN SQUARE DR NOTTINGHAM MD 21236-4980
FREDERICK, KATHY                       ADDRESS ON FILE
FREDERICKS LOCK & KEY INC              1022 6TH AVE ALTOONA PA 16602
FREDERICKSBURG HEALTH DEPARTMENT       PO BOX 126 SPOTSYLVANIA VA 22401
FREDERICKSBURG HEALTH DEPARTMENT       ENVIRONMENTAL HEALTH SVCS 350 MONTEVUE LANE SPOTSYLVANIA VA 22401
FREEDOM LAWN CARE AND LANDSCAPING      231 CEDAR LN KILLEN AL 35645-6719
FREEMAN DECORATING SERVICES INC.       DBA FREEMAN PO BOX 650036 DALLAS TX 75265-0036
FREEMAN, BRENDA                        ADDRESS ON FILE
FREEPORT TREE SERVICES INC             C/O FREEPORT TREE MASONRY & FENCING SVCS 77 GRAND AVE FREEPORT NY 11520-2329
FREEWAY COMPANY LLC/AEG 17 LLC/        GRACIELOU LLC C/O LARCO MANAGEMENT LLC 455 CENTRAL PARK AVENUE SUITE 204
                                       SCARSDALE NY 10583
FRENCHTOWN CHARTER TOWNSHIP BUSINESS   PARK ASSOC INC C/O THE MANNIK & SMITH GROUP INC 1771 N DIXIE HIGHWAY MONROE MI
                                       48162
FRENCHTOWN TOWNSHIP TREASURER          2744 VIVIAN RD MONROE MI 48162
FRENCHTOWN WATER                       2744 VIVIAN MONROE MI 48162
FRESH AQUATIS                          CHRISTOPHER WIERMAN 648 OLD DOUGLAS DAM RD SEVIERVILLE TN 37876-1606
FRESH-CENTS LLC                        DBA QUALITY DRAFT SERVICE 169 PULLMAN AVENUE ROCHESTER NY 14615-3417
FRESHPACK PRODUCE INC                  DENVER 5151 N BANNOCK STREET SUITE 12 DENVER CO 80216
FRESHPOINT INC                         DBA REDS MARKET 8801 EXCHANGE DRIVE ORLANDO FL 32809
FRESHPOINT NORTH CAROLINA              FRESHPOINT RALEIGH 203 TRANSAIR DRIVE MORRISVILLE NC 27560
FRESNO COUNTY DEPARTMENT OF HEALTH     ENVIRONMENTAL HEALTH SYSTEM PO BOX 11800 FRESNO CA 93775-1800
FRESNO COUNTY DEPARTMENT OF HEALTH     PO BOX 126 FRESNO CA 93775-1800
FRESNO COUNTY PRIVATE SECURITY         1195 W SHAW AVE STE B FRESNO CA 93711-3704
FRESNO COUNTY TAX COLLECTOR            PO BOX 1192 FRESNO CA 93715-1192
FRICKE, ABIGAIL                        ADDRESS ON FILE
FRIEDMAN RECYCLING CO                  3640 WEST LINCOLN ST PHOENIX AZ 85009
FRIEDMANS SAN FRANCISCO MICROWAVE      2526 CLEMENT ST SAN FRANCISCO CA 94121-1882
FRINKS SEWER SERVICE INC               PO BOX 1004 ROCKFORD IL 61105-1004
FRISBEE                                4101 SOUTH MINNESOTA AVENUE SIOUX FALLS SD 57105
FRISCO 3056 PRESTON LLC                C/O SARITHA KATIKANENI 12 SUGAR SHACK DR WEST LAKE HILLS TX 78746-4630
FRISCO 3056 PRESTON, LLC               12 SUGAR SHACK DRIVE W. LAKE HILLS TX 78746
FRISCO HEALTH DEPARTMENT               6101 FRISCO SQUARE BLVD FRISCO TX 75034
FRISCO HEALTH DEPARTMENT               ENVIRONMENTAL HEALTH SYSTEM PO BOX 11800 FRISCO TX 75034
FRISCO POLICE DEPT                     7200 STONEBROOK PKWY FRISCO TX 75034-5713
FRITZ ELECTRIC INC                     50 DURWARD PL WATERLOO ON N2L 4E4 CANADA
FRKELLY                                27 CLYDE ROAD, BALLSBRIDGE DUBLIN 4 D04 F838 IRELAND
FROH, BARBARA                          ADDRESS ON FILE
FROM THE WINDOWS TO THE WALLS LLC      661 E MAIN ST CHILLICOTHE OH 45601-3503
FRONTIER COMMUNICATIONS                PO BOX 740407 CINCINNATI OH 45274-0407
FRONTIER PLUMBING                      13341 STABLE RD EL PASO TX 79938-8901
FRONTIER PRODUCE INC                   10060 E 52ND STREET TULSA OK 74146
FRONTIER SUPPLY CHAIN SOLUTIONS INC    310-555 HERVO STREET WINNIPEG MB R3T 3L6 CANADA



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FRONTIER WASTE - DAYTON                 PO BOX 260310 CORPUS CHRISTI TX 78426
FROST, BRENDA                           ADDRESS ON FILE
FRSA-PAYMENTS                           3501 KISHWAUKEE ST ROCKFORD IL 61109-2053
FRUITPORT CHARTER TOWNSHIP, MI          5865 AIRLINE ROAD WATER & SEWER DEPARTMENT FRUITPORT MI 49415
FRUITPORT TOWNSHIP TREASURER            5865 AIRLINE RD FRUITPORT MI 49415
FRYE ELECTRIC                           141 CASCO DR STE A AVON IN 46123-5428
FRYE, MIKKI                             ADDRESS ON FILE
FS CREIT FINANCE MM-1 LLC               C/O THE CORPORATION TRUST COMPANY 1209 ORANGE ST WILMINGTON DE 19801
FS VIRGINIA LLC                         DBA 1800 GOT JUNK 9851 WIDMER RD LENEXA KS 66215-1239
FSF MANUFACTURING INC                   575 ECON RIVER PLACE OVIEDO FL 32765-7343
FSI MECHANICAL INC                      5485 RAYNOR RD GARNER NC 27529-9452
FSLRO 10700 PARALLEL KANSAS CITY LLC    2000 MCKINNEY AVE STE 1000 DALLAS TX 75201-2027
FSLRO 10700 PARALLEL KANSAS CITY, LLC   ATTN: CHRIS THOMAS 2000 MCKINNEY AVE, SUITE 1000 DALLAS TX 75201
FT BEND COUNTY CLERK                    301 JACKSON STREET RICHMOND TX 77469
FT SHERI REALTY LLC A NEW YORK LLC      C/O NEXBANK SSB ATTN LOAN DEPT 2515 MCKINNEY AVE STE 1100 DALLAS TX 75201-1945
FT SMITH RESTAURANT SUPPLY              DBA AMERICAN RESTAURANT EQUIPMENT COMPANY 337 S SCHOOL AVE FAYETTEVILLE AR
                                        72701-5970
FT WORTH DEPARTMENT OF PUBLIC HEALTH    CONSUMER HEALTH DIVISION 1800 UNIVERSITY DRIVE ROOM 219 FORT WORTH TX 76107
FUCHUR LLC                              C/O THE GREENSHAPE 560 VILLAGE BLVD STE 280 WEST PALM BEACH FL 33409-1963
FUCILE, MARIANNE, MICHALOPOULOS,        ADDRESS ON FILE
FUENTES ENTERPRISE LLC                  DBA BREAKTIME COFFEE SERVICES 2520 CORAL WAY STE 2024 MIAMI FL 33145-3438
FULCHER, TRESSIE                        ADDRESS ON FILE
FULFILLMENT PARTNERS INC                DBA MILLENNIUM MARKETING GROUP 1978 STANHOME WAY ORLANDO FL 32804-5114
FULL HYDRO PRESSURE SERVICE LLC         DBA MARLON DAMION WILLIAMS 3266 NW 68TH AVE MARGATE FL 33063-8020
FULL SAIL COACHING LLC                  FULL SAIL COACHING & COMMUNICATIONS 10647 OLD INDIAN TRAIL DR KINGSTON OK
                                        73439-7419
FULLBRIGHT, BLAKE                       ADDRESS ON FILE
FULLERS ALAMO SAFE AND LOCK INC         3723 WEST AVENUE SAN ANTONIO TX 78213-3641
FULLFORD, SHANNON                       ADDRESS ON FILE
FULLMAN PLUMBING                        PO BOX 96 SOUTHWEST PA 15685
FULTON COUNTY FINANCE DEPARTMENT, GA    PO BOX 105300 ATLANTA GA 30348-5300
FULTON COUNTY HEALTH DEPARTMENT         HEALTH AND WELLNESS DEPARTMENT 99 JESSE HILL JR DR SE ROOM 402 ATLANTA GA
                                        30303
FULTON COUNTY TAX COMMISSIONER          PO BOX 105052 ATLANTA GA 30348-5052
FULTON COUNTY WATER RESOURCES           ATTN: ADMINISTRATION 1030 MARIETTA HIGHWAY ROSWELL GA 30075
FURRER BEVERAGE CO INC                  132 STROEHMANN ROAD ALTOONA PA 16602
FUSION LOGISTICS NETWORK INC            PO BOX 2226 RICHMOND HILL ON L4E 1A4 CANADA
FUSION PRO SERVICES                     137-1140 BURNHAMTHORPE ROAD UNIT 176 MISSISSAUGA ON L5C 0A3 CANADA
FUTURE WORLD LIGHTING LLC               1345 GRAFTON DR LEXINGTON KY 40515-5429
G & O LANDSCAPING INC                   PO BOX 1171 ROCKFORD IL 61105
G & S APPLIANCE SERVICES INC            860 CAPITOLIO WAY SUITE B SAN LUIS OBISPO CA 93401
G AND S KEYS LLC                        DBA MR. KEYES-A-AABCO-JACKS 392 SOUTH MOUNTAIN AVE UPLAND CA 91786
G COOPERS INC                           DBA COOPERS INC 401 SW 32ND TER TOPEKA KS 66611-2205
G FORCE ENTERPRISES LLC                 DBA CLEAN MACHINE PRESSURE WASHING PO BOX 13633 OGDEN UT 84412-3633
G FORCE LOCK AND SAFE                   1534 MILEGROUND MORGANTOWN WV 26505
G J HOLSWORTH & SON INC                 6555 S HWY 79 RAPID CITY SD 57701
G LINDSAY ENTERPRISES LLC               PO BOX 1886 2416 JONESBORO ROAD WEST MONROE LA 71294-1886
G W ALLEN INC                           23131 THOMAS ALLEN ROAD HOWEY IN THE HILLS FL 34737
G&A LOCK SERVICE LTD                    2090 SHIRLEY DRIVE KITCHENER ON N2B 0A3 CANADA
G&F APPLIANCE SERVICE INC               1440 BEAUMONT AVENUE SUITE A2-331 BEAUMONT CA 92223-6820


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G&I IX CAMP CREEK LLC                    DBA G&I IX CAMP CREEK PROPERTY LLC PO BOX 825590 PHILADELPHIA PA 19182-0001
G&I X CROSSROADS MZL LLC                 PO BOX 411350 BOSTON MA 02241-1350
G&I X CROSSROADS MZL LLC                 G&I X NE & MA GROCERY POOL 1-A LLC PO BOX 411350 BOSTON MA 02241-1350
G&T PLUMBING & MECHANICAL INC            PO BOX 21613 BILLINGS MT 59104-1613
G2 REVOLUTION LLC                        800 CHURCH ST LAKE ZURICH IL 60047-1573
GABES PECULIAR CUT                       618 SANDRA DR UNIVERSITY PARK IL 60484-2963
GABINO ESTORGA                           ADDRESS ON FILE
GABRIELLE ALYSSA ALVARADO                ADDRESS ON FILE
GAFENEY, ROBERT, GAFENEY, TINA           ADDRESS ON FILE
GAIL DINET                               ADDRESS ON FILE
GAINESVILLE CITY TAX COLLECTOR           PO BOX 2496 GAINESVILLE GA 30503
GAINESVILLE REGIONAL UTILITIES           P.O. BOX 147051 GAINESVILLE FL 32614-7051
GAITHERSBURG SEAFOOD LLC                 15942 SHADY GROVE ROAD GAITHERSBURG MD 20877
GALAXY BUILDERS LLC                      4460 E MAIN STREET STE 113 MESA AZ 85205
GALKIN AND ZHANG LLC                     DBA FISH WINDOW CLEANING 1066 W TIOGA ST ALLENTOWN PA 18103-3938
GALLEGOS SANITATION INC.                 P.O. BOX 1986 FORT COLLINS CO 80522
GALLERIA AT WOLFCHASE LLC                98938 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
GALLEY SOLUTIONS INC                     PO BOX 1051 VENICE CA 90294-1051
GALLIVAN CORPORATION                     215 OAKWOOD AVENUE TROY NY 12182
GALLO WINE SALES OF NEW JERSEY           PO BOX 36446 NEWARK NJ 07188-6446
GALLOWAY, CURTIS                         ADDRESS ON FILE
GALO PROPERTIES INC                      C/O GP TEXARKANA LLC PO BOX 4505 WAYNE NJ 07474-4505
GALVIN DESIGN GROUP INC                  13422 SUNSET LAKES CIRCLE WINTER GARDEN FL 34787
GAMMAGES LAWN SERVICE LLC                4830 PEBBLE BEACH DR SEBRING FL 33872-1736
GANGANI, VIVEKBHAI                       ADDRESS ON FILE
GANN ASPHALT & CONCRETE INC              4124 NW RIVERSIDE ST RIVERSIDE MO 64150-9668
GANN SERVICE SOLUTIONS LLC               8328 GAP ROAD HACKETT AR 72937
GAR PRODUCTS                             170 LEHIGH AVE LAKEWOOD NJ 08701
GARAN LUCOW MILLER PC                    ADDRESS ON FILE
GARAN LUCOW MILLER, PC                   ADDRESS ON FILE
GARCIA, EMILY                            ADDRESS ON FILE
GARCIA, JOE                              ADDRESS ON FILE
GARCIA, JOE                              ADDRESS ON FILE
GARCIA, SUSAN                            ADDRESS ON FILE
GARCIA-KAUFMAN, GERMAINE                 ADDRESS ON FILE
GARCIAS LAWN SERVICE & LANDSCAPING INC   1214 ORMOND AVE FORT PIERCE FL 34950-6560
GARDEN & LAWN LANDSCAPING INC            DBA COLONIAL LANDSCAPING 19 CHERRYWOOD ROAD YONKERS NY 10710
GARDEN MART INC                          DBA SONNY PANZICOS GARDEN MART 7540 HIGHWAY 165 N MONROE LA 71203-8713
GARDEN OF EDEN FLORIST INC               5248 OVERLOOK RD COPLAY PA 18037-2563
GARDEN STATE SIGN INSTALLATION & SER     2 CONTINENTAL RD MORRIS PLAINS NJ 07950-3401
GARDEX CHEMICALS INC                     3549 AIRPORT ROAD SUITE 108 WATERFORD MI 48329-1395
GARDNER ENTERPRISE LLC                   DBA GATEWAY GASKET PO BOX 496 WENTZVILLE MO 63385-0496
GARDNERS REFRIGERATION SERVICES          PO BOX 1806 HUNTINGTON WV 25719-1806
GARFIELD CHARTER TWP TREASURER           3848 VETERANS DR TRAVERSE CITY MI 49684
GARIPPA LOTZ AND GIANNUARIO PC           PO BOX 1584 MONTCLAIR NJ 07042-1584
GARLAND COUNTY TAX COLLECTOR             200 WOODBINE RM 108 HOT SPRINGS AR 71901
GARMER SERVICES INC                      PO BOX 33 WALKERSVILLE MD 21793-0033
GARNER, TAMICKA                          ADDRESS ON FILE
GARNICA CORPORATION                      DBA TEXAS ILLUMINATION SIGNS & LIGHTING PO BOX 290655 EL PASO TX 79929-0655



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GARR ELECTRIC INC                     33755 RIVIERA FRASER MI 48026
GARRETT, DENIRO                       ADDRESS ON FILE
GARRETT, ELTON                        ADDRESS ON FILE
GARRETT, MCKENZEE                     ADDRESS ON FILE
GARRY BRENT MOWERY                    ADDRESS ON FILE
GARRY M SHAW                          ADDRESS ON FILE
GARTNER INC                           PO BOX 911319 DALLAS TX 75391-1319
GARTNER REFRIGERATION COMPANY         2331 W SUPERIOR ST DULUTH MN 55806
GARY BRINK INC                        DBA GARY BRINK INC 216 MOORE LANE BILLINGS MT 59101-3417
GARY G HOLCOMBE                       ADDRESS ON FILE
GARY H SIPES                          ADDRESS ON FILE
GARY HOBBS                            ADDRESS ON FILE
GARY HUNK                             ADDRESS ON FILE
GARY KLATKA                           ADDRESS ON FILE
GARY L HUMPHREY                       ADDRESS ON FILE
GARY L MORGAN JR                      ADDRESS ON FILE
GARY L NELSON SR                      ADDRESS ON FILE
GARY LOVEN                            ADDRESS ON FILE
GARY M. RESTAINO                      UNITED STATES ATTORNEYS OFFICE TWO RENAISSANCE SQ 40 N CENTRAL AVE, STE 1800
                                      PHOENIX AZ 85004-4408
GARY M. RESTAINO                      UNITED STATES ATTORNEYS OFFICE 7102 E 30TH ST, STE 101 YUMA AZ 85365
GARY M. RESTAINO                      UNITED STATES ATTORNEYS OFFICE 405 W CONGRESS ST, STE 4800 TUCSON AZ
                                      85701-5040
GARY M. RESTAINO                      UNITED STATES ATTORNEYS OFFICE 123 N SAN FRANCISCO ST, STE 410 FLAGSTAFF AZ
                                      86001
GARY MCMILLEN                         ADDRESS ON FILE
GARY R MILLIGAN                       ADDRESS ON FILE
GARY R MYERS                          ADDRESS ON FILE
GARY SISK                             ADDRESS ON FILE
GARY T NUNES                          ADDRESS ON FILE
GARY T WOOD                           ADDRESS ON FILE
GARYS EAST COAST SERVICE INC          91 WILLENBROCK RD STE B1 BOX 5 OXFORD CT 06478-1036
GARZAS GREEN GRASS LLC                PO BOX 721511 NORMAN OK 73070-8168
GAS SOUTH                             P.O. BOX 530552 ATLANTA GA 30353-0552
GASADIL CORPORATION                   DBA SO KLEAN PRESSURE WASHING PO BOX 470501 CHARLOTTE NC 28247-0501
GASKET AND HARDWARE SOLUTION INC      111 SUNNYDALE COURT LAWRENCEVILLE GA 30044
GASKET AQUISITIONS LLC                DBA TENNESSEE VALLEY GASKET GUY PO BOX 21542 CHATTANOOGA TN 37424-0542
GASKET CENTRAL LLC                    32114 ELIZABETH AVE TAVARES FL 32778-4622
GASKET GUY & GAL NW INC               PO BOX 1213 MUKILTEO WA 98275-1213
GASKET GUY INC.                       21 PORCHLIGHT ROAD BRAMPTON ON L6X 4S2 CANADA
GASKET GUY METRO DETROIT              ADDRESS ON FILE
GASKET GUY NORTHWEST LLC              DBA GASKET GUY WASHINGTON 7345 164TH AVE NE STE 145 452 REDMOND WA 98052-7846
GASKET GUY OF ATLANTA INC             PO BOX 20802 ATLANTA GA 30320
GASKET GUY OF CHICAGO LLC             DBA GASKET GUY OF NORTHWEST CHICAGO 200 REGENCY CT UNIT C WAUCONDA IL
                                      60084-2243
GASKET GUY OF DURHAM                  PO BOX 65 HAMPTON ON L0B 1J0 CANADA
GASKET GUY OF HAMPTON ROADS LLC       C/O WILLIAM R BURGIS II PO BOX 61243 VIRGINIA BEACH VA 23466-1243
GASKET GUY OF JACKSONVILLE LLC        DBA GASKET GUY OF SAVANNAH 4809 ROSSELLE ST JACKSONVILLE FL 32254-3745
GASKET GUY OF NORTHERN VIRGINIA INC   DBA GASKET GUY OF GREATER WASHINGTON 310 N 33RD ST APT 16 RICHMOND VA
                                      23223-7560


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GASKET GUY OF OTTAWA                    2775 MOODIE DR NEPEAN ON K2J 4S6 CANADA
GASKET GUY OF SOUTHEAST WISCONSIN LLC   18890 MADELINE LANE UNIT B BROOKFIELD WI 53045
GASKET GUY OF SOUTHWEST FLORIDA LLC     DBA GASKET GUY 2890 TERN RD VENICE FL 34293-3636
GASKET GUY OF THE FOOTHILLS LLC         PO BOX 724 HICKORY NC 28603-0724
GASKET GUY OF THE OZARKS LLC            DBA JOHN FORKER 2844 FOX RD REEDS SPRING MO 65737-7103
GASKET GUY OF TORONTO                   828 JOMAR AVE PICKERING ON L1X 2R4 CANADA
GASKET GUY SA LLC                       7700 BROADWAY 104-164 SAN ANTONIO TX 78209-3232
GASKET MASTERS OF SW FL INC             PO BOX 381045 MURDOCK FL 33938
GASKET SEALS LLC                        12475 W LEXUS COURT BOISE ID 83713
GASKET SERVICES LLC                     201 SUSSEX ROAD SWEDESBORO NJ 08085
GASKETGUY OF DFW LLC                    2201 MIDWAY RD STE 324 CARROLLTON TX 75006-4928
GASKETGUY OF GREATER KANSAS CITY LLC    DBA GASKETGUY KC 10645 WIDMER RD LENEXA KS 66215-2071
GASKETS PLUS CALGARY INC                440 WILLOW PARK VILLAGE BOX 195 10816 MACLEOD TRAIL S CALGARY ON T2J 5N8
                                        CANADA
GASKETS PLUS LLC                        3434 KILDAIRE FARM RD STE 135-165 CARY NC 27518
GASKETS R US LLC                        7825 GULF BLVD ST PETE BEACH FL 33706-1741
GASKETS ROCK INTERNATIONAL INC          409 PARKWAY VIEW DRIVE PITTSBURGH PA 15205
GASKETS ROCK MID-ATLANTIC LLC           DBA THE SEALS 301 MCCULLOUGH DR STE 400 CHARLOTTE NC 28262-1336
GASKETS ROCK OF CENTRAL OHIO LLC        5083 LAMBERT RD GROVE CITY OH 43123-8959
GASKETS USA LLC                         10741 SHERMAN WAY SUITE 3 SUN VALLEY CA 91352
GASPEDAL LLC                            DBA SOCIALMEDIA.ORG 3616 FAR WEST BLVD SUITE 500 AUSTIN TX 78731
GASTON COUNTY TAX COLLECTOR             PO BOX 1578 GASTONIA NC 28053-1578
GAT CONSTRUCTION LLC                    DBA JASON GATISON PO BOX 9111 NEW HAVEN CT 06532-0111
GATES, HEATHER                          ADDRESS ON FILE
GATEWAY REFRIGERATION & AIR             417 SHILOH DR LAREDO TX 78045-6709
CONDITIONING
GATEWAY SCHOOL DISTRICT TAX COLLECTOR   PATRICK J FULKERSON 2700 MONROEVILLE BLVD MONROEVILLE PA 15146-2388
GATLING, TYREE                          ADDRESS ON FILE
GATOR JANITORIAL SERVICES INC           DBA GATOR CLEANING SOLUTIONS 11503 PROSPEROUS DR ODESSA FL 33556-3453
GATOR LANDSCAPING CREW INC              675 COCHRANE DRIVE MARKHAM ON L3R 0B8 CANADA
GATOR POWERWASHING AND SERVICES LLC     DBA CHASE SHANKLE 513 PERFECT PL BOSSIER CITY LA 71111-6423
GATOR PRESSURE CLEANING & CUSTOM        PAINTING PO BOX 7468 WINTER HAVEN FL 33883-7468
GBSD PLUMBING INC                       5073 CENTRAL AVE UNIT 1735 BONITA CA 91908-3069
GC REFRIGERATION & AC INC               201 N MEADOW AVE STE D LAREDO TX 78040-8936
GCFP LIMITED PARTNERSHIP                C/O MATTHEW GORDER 2623 SOVEREIGN WAY RIVERSIDE CA 92506-5121
GCSED                                   667 DAYTON-XENIA ROAD XENIA OH 45385-2605
GCWW - GREATER CINCINNATI WW            PO BOX 740689 CINCINNATI OH 45274
GDK SERVICES LLC                        7911 BRIGHT COURT SW OLYMPIA WA 98512
GDT REPAIR LLC                          115 MCDANIEL AVE JAMESTOWN NY 14701-4654
GE MECHANICAL LLC                       2316 S MAIN ROAD VINELAND NJ 08360
GEE TEE HOLDINGS INC                    BOX 400 OAKBANK MB R0E 1J0 CANADA
GEIER, DANIEL                           ADDRESS ON FILE
GELLY LLC                               17206 DOCTOR BIRD RD SANDY SPRING MD 20860-1205
GELLY, LLC                              ATTN: GERSON LOPEZ 17206 DOCTOR BIRD ROAD SANDY SPRING MD 20860
GEM PRODUCTIONS                         BRANSON GUEST CARD 106 DELLA ST BRANSON MO 65616-2204
GEN4WATER LLC                           DBA CULLIGAN OF SOUTH GEORGIA 414 N JACKSON ST AMERICUS GA 31709-3016
GENBOW INC                              DBA KINETICO OF SOUTHERN UTAH 1812 W SUNSET BLVD STE 25 ST GEORGE UT
                                        84770-6693
GENE COX MECHANICAL CONTRACTORS INC     PO BOX 2224 JOHNSON CITY TN 37605
GENE RAY ELECTRIC CO INC                304 VALLEY CREEK ROAD ELIZABETHTOWN KY 42701-9097


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GENECO TECHNOLOGIES LLC                  236 AIR BASE RD TYE TX 79563-2322
GENERAL FILTRATION                       441-A APPLEWOOD CRESCENT CONCORD ON L4K 4J3 CANADA
GENERAL GROWTH PROPERTIES INC            BOISE TOWNE PLAZA LLC PO BOX 776113 CHICAGO IL 60677-6113
GENERAL MAINTENANCE & CONST INC          4980 DARLENE RD GURNEE IL 60031
GENERAL PARTS INC                        W223 N735 SARATOGA DR WAUKESHA WI 53186
GENERAL TOP & TRIM COMPANY               319 S HAMILTON SAGINAW MI 48602
GENERATION PLUMBING                      DBA BENJAMIN BEAUTIFUL BALD EAGLE 5980 DERRINGER RD RAPID CITY SD 57703-6836
GENEROSA GONZALEZ                        ADDRESS ON FILE
GENESEE COUNTY HEALTH DEPARTMENT         310 WEST OAKLEY FLINT MI 48503
GENESEE COUNTY HEALTH DEPARTMENT         6101 FRISCO SQUARE BLVD FLINT MI 48503
GENEVA RL VENTURE LLC                    C/O LEON NOVAK 6400 POWERS FERRY RD NW STE 100 ATLANTA GA 30339-2907
GENOVESE KNIFE COMPANY INC               PO BOX 5548 PEORIA IL 61601-5548
GENTRY INC                               DBA DR VINYL OF SOUTHEAST MO & SOUTHERN IL 1801 MULBERRY ST JACKSON MO
                                         63755-3243
GENZIES COMPLETE DRAFT SERVICE           1101 SAINT ANDREW ST LA CROSSE WI 54603-2927
GEOFFREY M KUNZ                          ADDRESS ON FILE
GEOFFREY S HECKE                         ADDRESS ON FILE
GEORGE A KINT INC                        DBA KINT BEVERAGE CONCEPTS PO BOX 60490 HARRISBURG PA 17106-0490
GEORGE ALAN HENRY                        ADDRESS ON FILE
GEORGE AND FLORA DUNAIANS REVOCABLE TR   ADDRESS ON FILE
GEORGE DUNAIANS & FLORA DUNAIANS REV TR ADDRESS ON FILE
GEORGE DUNAIANS AND FLORA DUNAIANS       ADDRESS ON FILE
GEORGE E LORTON                          ADDRESS ON FILE
GEORGE H BURGESS                         ADDRESS ON FILE
GEORGE JARRETT                           ADDRESS ON FILE
GEORGE JUSTIN HOWARD                     ADDRESS ON FILE
GEORGE L WEIST                           ADDRESS ON FILE
GEORGE N. SHERMAN; WILLIAM C.            ADDRESS ON FILE
GEORGE RANDALL WARD                      ADDRESS ON FILE
GEORGE TEE                               ADDRESS ON FILE
GEORGE THEOHARIS                         ADDRESS ON FILE
GEORGE, KYMMYA                           ADDRESS ON FILE
GEORGE, NANCY                            ADDRESS ON FILE
GEORGE, NORLEEN                          ADDRESS ON FILE
GEORGE, TERRY                            ADDRESS ON FILE
GEORGES LOCK AND KEY SERVICE             1728 MAIN STREET LEWISTON ID 83501
GEORGES SUPPLY CENTER INC                3101 BROWNSVILLE RD SOUTH PARK PA 15129-8537
GEORGIA AIR & REFRIGERATION INC          50 GRAYSON INDUSTRIAL PKWY GRAYSON GA 30017-1811
GEORGIA COMMISSION ON EQUAL OPPORTUNITY 205 JESSE HILL JR. DR. SE 14TH FLOOR-1470B EAST TOWER ATLANTA GA 30334
GEORGIA DEPARTMENT OF LABOR              SAFETY ENGINEERING DIVISION 1700 CENTURY CIRCLE NE ATLANTA GA 30345-3020
GEORGIA DEPARTMENT OF REVENUE            UNCLAIMED PROPERTY PROGRAM 4125 WELCOME ALL RD STE 701 ATLANTA GA 30349-1824
GEORGIA DEPT OF LABOR                    148 ANDREW YOUNG INTERNATIONAL BLVD NE ATLANTA GA 30303
GEORGIA DEPT OF LABOR                    148 ANDREW YOUNG INTL BLVD, NE ATLANTA GA 30303-1751
GEORGIA DEPT OF REVENUE                  314 EAST MAIN ST STE 150 CARTERSVILLE GA 30120
GEORGIA DEPT OF REVENUE                  1800 CENTURY CENTER BLVD., N.E. STE 12000 ATLANTA GA 30345-3205
GEORGIA DEPT OF REVENUE                  PO BOX 740398 ATLANTA GA 30374-0398
GEORGIA DEPT OF REVENUE                  528 BORAD ST SE GAINESVILLE GA 30501-3728
GEORGIA DEPT OF REVENUE                  610 RONALD REAGAN DRIVE BUILDING G-1 EVANS GA 30809
GEORGIA DEPT OF REVENUE                  1000 TOWNE CENTER BLVD BLDG 900, STE A POOLER GA 31322



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GEORGIA ENVIRONMENTAL LANDSCAPE &       MAINTENANCE INC PO BOX 3395 MCDONOUGH GA 30253
GEORGIA ENVIRONMENTAL PROTECTION DIV    2 MARTIN LUTHER KING JR DRIVE STE 1456 ATLANTA GA 30334-9000
GEORGIA GASKET LLC                      135 STANLEY COURT SUITE 112 LAWRENCEVILLE GA 30046
GEORGIA GOVERNORS OFFICE OF             CONSUMER PROTECTION DIVISION 2 MARTIN LUTHER KING JR DR SESTE 356 ATLANTA GA
                                        30334-9077
GEORGIA POWER                           96 ANNEX SOUTHERN COMPANY ATLANTA GA 30396
GEORGIA POWER COMPANY                   2500 PATRICK HENRY PARKWAY MCDONOUGH GA 30253
GEORGIAN TRIANGLE RENOVATIONS LTD       2042 FLOS RD 8 W ELMVALE ON L0L 1P0 CANADA
GERALD AND RITA MESSURI                 ADDRESS ON FILE
GERALD AND RITA MESSURI                 ADDRESS ON FILE
GERALD B EVANS                          ADDRESS ON FILE
GERALD COOKE                            ADDRESS ON FILE
GERALD L KENDLE JR                      ADDRESS ON FILE
GERALD L SPANDE                         ADDRESS ON FILE
GERALD MESSURI                          ADDRESS ON FILE
GERALD, THOMAS                          ADDRESS ON FILE
GERALDINE APRAHAMIAN                    ADDRESS ON FILE
GERARD M. KARAM                         US ATTORNEYS OFFICE HERMAN T SCHNEEBELI FEDERAL BLDG 240 W THIRD ST
                                        WILLIAMSPORT PA 17701-6465
GERARD M. KARAM                         US ATTORNEYS OFFICE WILLIAM J NEALON FED. BLDG & COURTHOUSE 235 N WASHINGTON
                                        AVE, STE 311 SCRANTON PA 18503
GERARD M. KARAM, US ATTORNEY            HARRISBURG FEDERAL BLDG & COURTHOUSE 228 WALNUT ST, STE 220 PO BOX 11754
                                        HARRISBURG PA 17108-1754
GERARDO JAVARIZ                         ADDRESS ON FILE
GERARDO TREJO                           ADDRESS ON FILE
GERIANNE LIGHT-LUTZ                     ADDRESS ON FILE
GERLACHS GARDEN & POWER EQUIPMENT INC   3161 WEST 32ND ST ERIE PA 16506-2815
GERMAIN GILBERTH NUNEZ SANTIAGO         ADDRESS ON FILE
GERMAN OSPINA ALVARADO                  ADDRESS ON FILE
GERRIE ELECTRIC                         4104 SOUTH SERVICE RD BURLINGTON ON L7L 4X5 CANADA
GERRYS UPHOLSTERY                       271 HEMLOCK STREET SUDBURY ON P3C 1H8 CANADA
GERSHENSON REALTY & INVESTMENT, LLC     31500 NORTHWESTERN HWY, SUITE 100 FARMINGTON HILLS MI 48334
GET FRESH PRODUCE INC                   1441 BREWSTER CREEK BLVD BARTLETT IL 60103
GET STITCHED UPHOLSTERY LLC             DBA DREW A MILLER 1514 HIGHWAY 43 ENTERPRISE KS 67441-9048
GFH ENTERPRISES INC                     DBA CARPET DOCTOR 6490 PILLMORE CIRCLE ROME NY 13440-7337
GFL ENVIRONMENTAL                       PO BOX 555193 DETROIT MI 48255-5193
GFL ENVIRONMENTAL                       PO BOX 4524 HOUSTON TX 77210-4524
GFL ENVIRONMENTAL INC                   PO BOX 150 CONCORD ON L4K 1B2 CANADA
GFL ENVIRONMENTAL INC                   PO BOX 791519 BALTIMORE MD 21279-1519
GFL ENVIRONMENTAL SERVICES INC          PO BOX 150 CONCORD ON L4K 1B2 CANADA
GFS CANADA LTD                          2999 JAMES SNOW PARKWAY MILTON ON L9T 5G4 CANADA
GGP LIMITED PARTNERSHIP                 DBA GREENWOOD MALL LLC SDS-12-1361 PO BOX 86 MINNEAPOLIS MN 55486
GGP MALL OF LOUISIANA LLC               PO BOX 86 SDS-12-2440 MINNEAPOLIS MN 55486-2440
GIANNETTI, DIANE                        ADDRESS ON FILE
GIANT EAGLE 217                         ADDRESS ON FILE
GIANT EAGLE INC                         STORE 6523 556 HEBRON ROAD HEATH OH 43056
GIANT EAGLE INCORPORATED                58 UNIVERSITY CTR 4500 UNIVERSITY TOWN CENTRE DR MORGANTOWN WV 26501
GIBSON, AHMAD                           ADDRESS ON FILE
GIGLIO PLUMBING CO INC                  PO BOX 4219 SHREVEPORT LA 71134-0219
GILBERT GONZALES                        ADDRESS ON FILE


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GILBERT RAMIREZ JR                    ADDRESS ON FILE
GILCHRIST, JOAN                       ADDRESS ON FILE
GILES ELECTRIC COMPANY INC            PO BOX 214176 SOUTH DAYTONA FL 32121-4176
GILES LOCK & SECURITY SYSTEMS INC     1211 HARTNELL AVENUE REDDING CA 96002
GILL BROTHERS PLUMBING AND HEATING    6623 - 4 AVENUE SE CALGARY ON T2A 3V1 CANADA
GILL HAULING INC                      PO BOX 679859 A WASTE CONNECTIONS COMPANY DALLAS TX 75267-9859
GILL, MERRI                           ADDRESS ON FILE
GILL, SANDRA                          ADDRESS ON FILE
GILLETTE PEPSI COMPANIES INC          1900 WEST AVE S LA CROSSE WI 54601-6260
GILLIAN WEBB                          ADDRESS ON FILE
GILLICK ENTERPRISES INC               DBA QUALITY BRANDS OF LINCOLN 5840 NORTH 70TH STREET LINCOLN NE 68507
GILTON SOLID WASTE MANAGEMENT, INC.   755 S YOSEMITE OAKDALE CA 95361
GINA BOGGESS                          ADDRESS ON FILE
GINA EL SINEITTI ESTATE               ADDRESS ON FILE
GINA EL SINEITTI ESTATE               ADDRESS ON FILE
GINA OAKES                            ADDRESS ON FILE
GINOS DRIVE THRU                      GINOS DRIVE THRU 988 EAST MIDLOTHIAN BLVD YOUNGSTOWN OH 44502
GIOS LANDSCAPING LLC                  3618 MAIN ST BRIDGEPORT CT 06606-3605
GIRARDEAU P2 LLC                      2712 LOON LN OKEMOS MI 48864-3352
GIRON, NANCY                          ADDRESS ON FILE
GIVENS, TAMMI                         ADDRESS ON FILE
GIZA, ANNE                            ADDRESS ON FILE
GJK ENTERPRISES INC                   DBA FISH WINDOW CLEANING 4405 NW 4TH ST STE 122 OKLAHOMA CITY OK 73107-6541
GLACIER REFRIGERATION & AIR INC       1200 VALLEY VIEW SELMA CA 93662
GLADDING MARKUNAS                     ADDRESS ON FILE
GLADHILL PLUMBING & HEATING INC       PO BOX 39 WOODSBORO MD 21798
GLADWELL, ROBERT                      ADDRESS ON FILE
GLAENZER ELECTRIC INC                 10 EMPIRE DR BELLEVILLE IL 62220-3415
GLANZ ELECTRICAL CONTRACTING INC      1713 E LINCOLN AVE SUITE A1 FORT COLLINS CO 80524-4727
GLASS ACT OF AUGUSTA LLC              DBA FISH WINDOW CLEANING PO BOX 212488 AUGUSTA GA 30917-2488
GLASS FORCE INC                       C/O GLASS FORCE SOUTH 1822 W PUEBLO BLVD PUEBLO CO 81004-3856
GLASS ON TIME                         601 E 5TH ST PUEBLO CO 81001-3720
GLASSBUSTERS INC                      518 E BROADWAY MESA AZ 85204
GLASTENDER INC                        7969 SOLUTIONS CENTER CHICAGO IL 60677-7009
GLAZERS                               930 CLARK STREET SIOUX CITY IA 51101
GLAZERS DISTRIBUTORS OF IOWA          4377 NW 112TH STREET URBANDALE IA 50322
GLEN GALEN BATEMAN JR                 ADDRESS ON FILE
GLENDA COSBY                          ADDRESS ON FILE
GLENDEN EMMETT TEEMS III              ADDRESS ON FILE
GLENN JOHNEEL MOORE                   ADDRESS ON FILE
GLENN PLUMBING COMPANY INC            481 EAST WHITNER STREET ANDERSON SC 29624
GLENN SALYER PLUMBING INC             DBA ROTO ROOTER AND PATTYS POTTIES 2990 MINNESOTA AVENUE LYNN HAVEN FL 32444
GLENN, TERICA                         ADDRESS ON FILE
GLESSNER, ALISHA                      ADDRESS ON FILE
GLOBAL SEAFOOD ALLIANCE               85 NEW HAMPSHIRE AVE STE 200 PORTSMOUTH NH 03801-2864
GLOBAL SYSTEMS UNITED LLC             4150 W NORTHERN AVE STE 150 PHOENIX AZ 85051-5785
GLOBE EQUIPMENT CO INC                300 DEWEY STREET BRIDGEPORT CT 06605
GLOBE FOOD EQUIPMENT CO               PO BOX 7410902 CHICAGO IL 60674-0902
GLORIA TORRES                         ADDRESS ON FILE



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GLORYA JOHNSON                          ADDRESS ON FILE
GLORYMAR BONILLA                        ADDRESS ON FILE
GLORYMAR TORRES                         ADDRESS ON FILE
GLOVER, LAURA                           ADDRESS ON FILE
GLR MECHANICAL LLC                      77 FOOTE AVE DURYEA PA 18642-1164
GLR PROPERTY MANAGEMENT LLC             ATTN: CEM GULER 22 ELLSWORTH DRIVE WARREN NJ 07059
GLR PROPERTY MANAGEMENT LLC             ATTN CEM GULER 22 ELLSWORTH DR WARREN NJ 07059-7135
GMRI, INC.                              C/O CORPORATE CREATIONS NETWORK, INC. 2985 GORDY PKWY 1ST FLOOR MARIETTA GA
                                        30066
GNC CONSULTING INC                      21195 S LAGRANGE RD FRANKFORT IL 60423-2044
GO FISH AQUARIUMS INC                   15774 S LAGRANGE ROAD 193 ORLAND PARK IL 60462
GO GREEN TAMPA LLC                      DBA 1-800 GOT JUNK 8006 BENJAMIN RD TAMPA FL 33634-2306
GOANIMATE INC                           PO BOX 25615 PASADENA CA 91185-5615
GODWIN PLUMBING INC                     3703 DIVISION AVE S GRAND RAPIDS MI 49548-3249
GOEBEL RETAIL LIQUOR                    352 S WEST SUITE 400 WICHITA KS 67213
GOETTLER DISTRIBUTING INC               153 HINDMAN ROAD BUTLER PA 16001
GOFF, WILLIAM                           ADDRESS ON FILE
GOGO ROOTER                             ADDRESS ON FILE
GOLD STAR EQUIPMENT INC                 DBA GOLD STAR PRODUCTS 21680 COOLIDGE HWY OAK PARK MI 48237-3109
GOLDBERG KOHN LTD.                      ATTENTION: RANDALL KLEIN, ESQ. ATTENTION: RANDALL KLEIN, ESQ. SUITE 3300
                                        CHICAGO IL 60603
GOLDBERG KOHN LTD.                      ATTENTION: WILLIAM STARSHAK ATTENTION: WILLIAM STARSHAK SUITE 3300 CHICAGO IL
                                        60603
GOLDEN CLIPPERS LAWN CARE & LANDSCAPING 2723 JEFFERSON PIKE JEFFERSON MD 21755
GOLDEN F MOORE III                      ADDRESS ON FILE
GOLDEN GATE CAPITAL, INC.               2 EMBARCADERO CENTER SUITE 3900 SAN FRANCISCO CA 94111
GOLDEN HORSESHOE HOTEL &                RESTAURANT SUPPLY AND SERVICE INC 1264 TYANDAGA PARK DRIVE BURLINGTON ON L7P
                                        1M8 CANADA
GOLDEN RULE COMPUTERIZED PUBLISHING     CORPORATION DBA THE KENTUCKY LEGIONNAIRE 9462 BROWNSBORO RD PMB 499 LOUISVILLE
                                        KY 40241-1118
GOLDEN STATE EQUIPMENT REPAIR           PO BOX 728 ROSEVILLE CA 95661-0728
GOLDEN-GLO CARPET CLEANERS INC          PO BOX 740 HUNTINGDON VALLEY PA 19006-0740
GOLDEN-TECH INTERNATIONAL INC           11120 NE 2ND ST STE 200 BELLEVUE WA 98004-8337
GOLDNER ASSOCIATES INC                  231 VENTURE CIRCLE NASHVILLE TN 37228
GOMEZ, JOSE MORA (ALBERTA HRC)          ADDRESS ON FILE
GONZALEZ, OSWALDO                       ADDRESS ON FILE
GONZALEZ, VICTORIA                      ADDRESS ON FILE
GONZALEZ, VIVIANA                       ADDRESS ON FILE
GOOD CHOICE PLUMBING                    3039 W BLUEBERRY CIR HAYDEN ID 83835-8493
GOOD NEWS WINDOW CLEANING LLC           DBA ELVINS CONLEY JR 4507 CASTOR DRIVE PUEBLO CO 81001
GOOD THINGS LLC                         509 E TIMBERLAKE DR MARY ESTHER FL 32569-2273
GOODE COMPANIES, FL                     PO BOX 10841 RIVIERA BEACH FL 33419
GOODMAN BEVERAGE CO INC                 DBA HEIDELBERG OF LORAIN 5901 BAUMHART ROAD LORAIN OH 44053
GOODSON, STUNBY                         ADDRESS ON FILE
GOODWILL INDUSTRIES OF ORANGE COUNTY    ATTN: ACCOUNTS RECEIVABLE DEPARTMENT 410 NORTH FAIRVIEW SANTA ANA CA 92703
GOODWIN & ASSOCIATES HOSPITALITY SERV   DBA GOODWIN RECRUITING 46 CENTER ST EXETER NH 03833
GOOLDY & SONS INC                       926 W 17TH ST BLOOMINGTON IN 47404
GOOSE CREEK CISD TAX SERVICES           PO BOX 2805 BAYTOWN TX 77522
GORDON BROTHERS INC                     DBA GORDON BROS WATER 776 N ELLSWORTH AVE SALEM OH 44460-1653
GORDON FOOD SERVICE CANADA LTD          DBA GORDON FOOD SERVICE 290212 TOWNSHIP ROAD 261 ROCKY VIEW COUNTY AB T4A 0V6


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GORDON FOOD SERVICE CANADA LTD         CANADA
GOTHAM ORGANIZATION, INC.              1010 AVENUE OF THE AMERICAS NEW YORK NY 10018
GOUGAR, KEN                            ADDRESS ON FILE
GOULDEY WELDING & FABRICATIONS INC     84 ALLENTOWN ROAD SOUDERTON PA 18964-2201
GOULDS LAWN & LANDSCAPING INC          1987 UPPER TURNPIKE ROAD WHITEHALL NY 12887
GOVDOCS INC                            VB BOX 167 PO BOX 9202 MINNEAPOLIS MN 55480-9202
GOVERNMENT OF ALBERTA                  310 WEST OAKLEY CALGARY AB T2P 5P7 CANADA
GOVERNMENT OF ALBERTA                  ATTN Q B ACCOUNTING CALGARY COURTS CENTRE SUITE 603N 601-5 ST SW CALGARY AB
                                       T2P 5P7 CANADA
GOVERNOR'S OFFICE OF EQUAL             OPPORTUNITY, 100 NORTH FIFTEENTH AVE SUITE 301 PHOENIX AZ 85007
GOWATER INC                            PO BOX 1604 SANTA YNEZ CA 93460-1604
GOYETTE MECHANICAL                     PO BOX 33 FLINT MI 48501
GP ELECTRIC LLC                        30866 KENWOOD COURT LIVONIA MI 48152
GP TEXARKANA LLC                       P.O. BOX 4505 WAYNE NJ 07474
GPG CLOVIS HOLDINGS LLC                ATTN MAXWELL ULLMAN 8340 DE LONGPRE AVE APT C WEST HOLLYWOOD CA 90069-2610
GRACIOUS BIAS                          ADDRESS ON FILE
GRAE LA SIERRA LLC                     C/O GRAE VENTURES LLC 11693 SAN VICENTE BLVD PMB 383 LOS ANGELES CA 90049-5105
GRAHAM, MARLENE                        ADDRESS ON FILE
GRAMPIAN STRIPING INC                  PO BOX 154 OXFORD MI 48371
GRAND & TOY LIMITED                    BOX CP 5500 DON MILLS ON M3C 3L5 CANADA
GRAND CHUTE TOWN ASSESSOR              TYLER TECHNOLOLGIES INC 1900 W GRAND CHUTE BLVD APPLETON WI 54913
GRAND CHUTE TOWN TREASURER             1900 W GRAND CHUTE BLVD GRAND CHUTE WI 54913-9613
GRAND CHUTE UTILITIES                  1900 GRAND CHUTE BLVD UTILITIES GRAND CHUTE WI 54913-9613
GRAND FORKS FIRE DEPARTMENT            ATTN Q B ACCOUNTING CALGARY COURTS CENTRE SUITE 603N 601-5 ST SW GRAND FORKS
                                       ND 58201
GRAND FORKS FIRE DEPARTMENT            CITY HALL GRAND FORKS ND 58201
GRAND FORKS UTILITY BILLING            P.O. BOX 5518 GRAND FORKS ND 58206
GRAND ISLAND FIRE DEPARTMENT           CITY HALL GRAND ISLAND NE 68802-1968
GRAND ISLAND FIRE DEPARTMENT           PO BOX 1968 GRAND ISLAND NE 68802-1968
GRAND LANDSCAPE DESIGN                 O/A 2641801 ONTARIO INC 134 PLEASANT RIDGE RD BRANTFORD ON N3R 0B8 CANADA
GRAND ROBSTER LLC                      15915 VENTURA BOULEVARD PH2 ENCINO CA 91436-4439
GRAND ROBSTER LLC; LOMPOC JACK LLC;    HANDY HARDEES LLC 15915 VENTURA BLVD., PH2 ENCINO CA 91436
GRAND TRAVERSE COUNTY                  PO BOX 1968 TRAVERSE CITY MI 49686
GRAND TRAVERSE COUNTY                  2650 LA FRANIER RD TRAVERSE CITY MI 49686
GRAND TRAVERSE COUNTY DEPT OF PUB WORKS 2650 LAFRANIER ROAD TRAVERSE CITY MI 49686-8972
GRAND VALLEY SECURITY LLC              3165 B 1/2 ROAD GRAND JUNCTION CO 81503
GRAND VIEW LANDSCAPE INC               PO BOX 871510 VANCOUVER WA 98687
GRANDBRIDGE ENERGY                     PO BOX 308 BRANTFORD ON N3T5N8 CANADA
GRANDE COMMUNICATIONS NETWORK          PO BOX 679367 DALLAS TX 75267-9367
GRANDVILLE CITY TREASURER              3195 WILSON AVE SW GRANDVILLE MI 49418
GRANGER                                P.O. BOX 22213 LANSING MI 48909-2213
GRANGER LANDSCAPE LAWN & SNOW          PO BOX 139 WILLIAMSTOWN NY 13493-0139
GRANITE TELECOM                        DEPT 400238 P.O. BOX 4375 STN A TORONTO ON M5W 0J3 CANADA
GRANITE TELECOMMUNICATIONS - EFT       PO BOX 830103 PHILADELPHIA PA 19182-0103
GRANMAR PRODUCTS INC                   PO BOX 228014 MIAMI FL 33222-8014
GRANT IMPORTING & DISTRIBUTING         2701 WEST 23RD STREET BROADVIEW IL 60155-4537
GRANT N GALLAWAY                       ADDRESS ON FILE
GRANT WATER AND SANITATION DISTRICT    PO BOX 1239 EVERGREEN CO 80437
GRANT, SYLVESTER                       ADDRESS ON FILE



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GRANTED LLC                              DBA ELDON BLAIR 944 TYRONE RD TYRONE GA 30290-2137
GRAPECITY INC                            211 N WHITFIELD ST FLOOR 7 PITTSBURGH PA 15206-3030
GRAPHIC RELIEF INC                       9738 POLISHED STONE COLUMBIA MD 21046-2802
GRAPHICS GURU LLC                        1413 RUBUSH AVE MERIDIAN MS 39301-6616
GRASER, WILLIAM                          ADDRESS ON FILE
GRASMICK PRODUCE CO INC                  PO BOX 45120 BOISE ID 83711-5120
GRASS CO LLC                             C/O JACOB AARON WISEMAN 160 CHESTNUT AVE CRAIGSVILLE VA 24430-2345
GRASS ROOTS LANDSCAPING INC              PO BOX 1324 HARRISONBURG VA 22803
GRASS ROOTS LAWN & LANDSCAPE             PO BOX 8813 SAINT JOSEPH MO 64508-8813
GRASSCOR LAWN & LANDSCAPES LLC           PO BOX 43547 CINCINNATI OH 45243-0547
GRATIA, HILDA                            ADDRESS ON FILE
GRAYLAND MECHANICAL LLC                  1315 GRAYLAND HILLS TRL LAWRENCEVILLE GA 30046-8399
GRAYS CONTRACTING LLC                    PO BOX 2622 MUSKOGEE OK 74402-2622
GRAYSON COUNTY HEALTH DEPARTMENT         205 N HOUSTON AVE DENISON TX 75021-3014
GRAYSON COUNTY HEALTH DEPARTMENT         2650 LA FRANIER RD DENISON TX 75021-3014
GRAYSON COUNTY TAX COLLECTOR             PO BOX 2107 SHERMAN TX 75091
GREASE JUNKIE CLEANING SERVICES INC      2461 EARL GREY AV PICKERING ON L1X 0B9 CANADA
GREAT AMERICA FINANCIAL SERVICE          PO BOX 660831 DALLAS TX 75266
GREAT BAY DISTRIBUTING INC               2750 EAGLE AVE N ST. PETERSBURG FL 33716
GREAT ESCAPES INC                        1721 PICKET STREET CHARLESTON SC 29412
GREAT FALLS AQUASCAPING LLC              17418 SAINT THERESA DR OLNEY MD 20832-2547
GREAT LAKES BAR CONTROL INC              2711 AVONDALE AVENUE TOLEDO OH 43607
GREAT LAKES CLEANING GROUP INC           DBA GREAT LAKES WINDOW CLEANING 501 W MOUNT HOPE AVENUE LANSING MI 48910
GREAT LAKES COOLER COMPANY LLC           DBA GREAT LAKES COOLER CO 34 ELM COURT GROSSE POINTE FARMS MI 48236
GREAT LAKES ELECTRICAL CONTRACTING INC   440 ARCO DR TOLEDO OH 43607-2909
GREAT LAKES MECHANICAL SYSTEMS INC       DBA D & W MECHANICAL 1266 INDUSTRY DRIVE STE A TRAVERSE CITY MI 49696
GREAT LAKES SERVICES INC                 27766 NETWORK PLACE LOCKBOX 27766 CHICAGO IL 60673-1277
GREAT LAKES WINE & SPIRITS LLC           373 VICTOR AVE HIGHLAND PARK MI 48203
GREAT PLAINS INTERIOR LANDSCAPES INC     DBA PLANTMASTERS 7445 N WOODLAWN BLVD VALLEY CENTER KS 67147-8516
GREAT WASTE & RECYCLING                  6710 MAIN ST STE 237 MIAMI LAKES FL 33014
GREAT WATER COMPANY INC                  1605 SUDDERTH DRIVE RUIDOSO NM 88345
GREAT WHITE AQUATICS LLC                 2408 CHANDLER CT FORT COLLINS CO 80528-7090
GREATAMERICA FINANCIAL SVCS              PO BOX 660831 DALLAS TX 75266-0831
GREATAMERICAN FINANCIAL SERVICES CORP    625 FIRST ST CEDAR RAPIDS IA 52401
GREATER BINGHAMTON CHAMBER OF COMMERCE   5 S COLLEGE DR STE 101 BINGHAMTON NY 13905-1351
GREATER CHARLOTTE REFRIGERATION INC      6120-J BROOKSHIRE BLVD CHARLOTTE NC 28216
GREATER DUBOIS CHAMBER OF COMMERCE       103 BEAVER DRIVE DUBOIS PA 15801
GREATER FORT WALTON BEACH CHAMBER OF     COMMERCE 34 MIRACLE STRIP PKWY SE FORT WALTON BEACH FL 32548-5888
GREATER JOHNSTOWN CAMBRIA COUNTY         OF COMMERCE DBA CAMBRIA REGIONAL CHAMBER 416 MAIN ST STE 201 JOHNSTOWN PA
CHAMBER                                  15901-1828
GREATER NEW YORK CHAMBER OF COMMERCE     20 WEST 44TH STREET 4TH FLOOR NEW YORK NY 10036-6603
GREATER PEORIA SANITARY DISTRICT         2322 SOUTH DARST STREET PEORIA IL 61607-2093
GREATER REDDING CHAMBER OF COMM          DBA REDDING CHAMBER OF COMMERCE 1321 BUTTE ST STE 100 REDDING CA 96001-1065
GREATER SANDUSKY PARTNERSHIP             DBA ERIE COUNTY CHAMBER OF COMMERCE 604 W WASHINGTON ST STE 2 SANDUSKY OH
                                         44870-2419
GREATER SUDBURY POLICE SERVICE           FINANCE DEPARTMENT 190 BRADY STREET SUDBURY ON P3E 1C7 CANADA
GREATSCAPES & MORE INC                   DBA GREATSCAPES 7701 POCOSHOCK WAY RICHMOND VA 23235
GREATSCAPES PROPERTY MANAGEMENT GROUP    191 GARDNERS ROAD CROSS JUNCTION VA 22625
GRECO, JOSEPH                            ADDRESS ON FILE



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GRECO, SANDRA                           ADDRESS ON FILE
GREECE CENTRAL SCHOOL DIST TAX          ANDREW CONLON REC. OF TAXES ONE VINCE TOFANY BLVD ROCHESTER NY 14612
COLLECTOR
GREECE TOWN TAX RECEIVER                ONE VINCE TOFANY BLVD ROCHESTER NY 14612
GREEN & GROW LLC                        PO BOX 1343 RICHMOND KY 40476-1343
GREEN ACRES MALL, L.L.C.                C/O VORNADO REALTY L.P. 210 ROUTE 4 EAST PARAMUS NJ 07652
GREEN AND SPIEGEL LLP                   150 YORK STREET 5TH FLOOR TORONTO ON M5H 3S5 CANADA
GREEN BIZ NURSERY AND LANDSCAPING INC   PO BOX 65059 FAYETTEVILLE NC 28306-1059
GREEN CABBAGE MARKETING LLC             DBA GREEN CABBAGE LLC 125 EMERYVILLE DR STE 330 CRANBERRY TOWNSHIP PA
                                        16066-5020
GREEN EARTH, LLC                        P.O. BOX 1347 HARRISONBURG VA 22803-1347
GREEN FARMS INC                         DBA WORLDWIDE PRODUCE PO BOX 54399 LOS ANGELES CA 90054
GREEN FARMS OF NEVADA INC               DBA WORLDWIDE PRODUCE LAS VEGAS PO BOX 30468 LOS ANGELES CA 90030
GREEN GRACE INC                         1140 BEAVER DAM ROAD HOSCHTON GA 30548
GREEN GUARD SERVICES INC                611 ROCK SPRINGS RD ESCONDIDO CA 92025-1622
GREEN HORIZON SERVICE LLC               PO BOX 725 GAITHERSBURG MD 20884-0725
GREEN HORIZONS LAWN CARE                ADDRESS ON FILE
GREEN LEAF LAWN SERVICE SWFL            111 5TH ST UNIT A9 FORT MYERS FL 33907-2448
GREEN LIGHT LANDSCAPING INC             15105 SHORT RD DANVILLE IL 61834-5714
GREEN MAINTENANCE SOLUTIONS NETWORK LLC DBA GREEN MAINTENANCE 401 LANCASTER AVE HAVERFORD PA 19041-1514
GREEN PLACES INC                        PO BOX 5302 ORACLE AZ 85623
GREEN PLANTSCAPES                       1208 NE ADAMS ST PEORIA IL 61603
GREEN RIVER DISTRICT                    360 WILSON DRIVE PO BOX 250 OWENSBORO KY 42302
GREEN RIVER DISTRICT                    PO BOX 2199 OWENSBORO KY 42302
GREEN SCENE LANDSCAPING INC             954 E REMUS ROAD MT PLEASANT MI 48858
GREEN STAR MANAGEMENT LLC               PO BOX 2352 LAKE CITY FL 32056
GREEN UP TURF CARE LLC                  PO BOX 1534 LEVITTOWN PA 19058-1534
GREEN YARD SERVICES LLC                 1 HIGH FARM RD GREENVILLE SC 29607-4882
GREEN, CYNTHIA                          ADDRESS ON FILE
GREEN, PATRICIA, GREEN, PATRICIA        ADDRESS ON FILE
GREENBERG TRAURIG, LLP                  ATTN: MICHAEL BAUM, ESQ. 77 WEST WACKER DRIVE SUITE 3100 CHICAGO IL 60601
GREENBERG, TERENCE                      ADDRESS ON FILE
GREENBURG, MICHAEL                      ADDRESS ON FILE
GREENE COUNTY CLERK                     205 N HOUSTON AVE SPRINGFIELD MO 65803
GREENE COUNTY CLERK                     940 BOONVILLE SPRINGFIELD MO 65803
GREENE COUNTY COLLECTOR OF REVENUE      940 N BOONVILLE AVE SPRINGFIELD MO 65802
GREENE COUNTY HEALTH DISTRICT           940 BOONVILLE XENIA OH 45385
GREENE COUNTY HEALTH DISTRICT           360 WILSON DRIVE PO BOX 250 XENIA OH 45385
GREENE COUNTY TREASURER                 15 GREENE ST XENIA OH 45385
GREENER GRASS SYSTEMS                   1403 122ND STREET CHIPPEWA FALLS WI 54729
GREENFIELD CITY TREASURER               7325 W FORST HOME AVE RM 103 GREENFIELD WI 53220-3356
GREENHEAD LOBSTER LLC                   PO BOX 670 STONINGTON ME 04681-0670
GREENLEAF-RECYCLING                     PO BOX 39 HORSEHEADS NY 14845
GREENS SEWER & DRAIN SERVICE            PO BOX 254 MILLS WY 82644-0254
GREENSBORO ABC BOARD                    115-B N CEDAR STREET GREENSBORO NC 27858
GREENSBORO REFRIG SERVICES INC          PO BOX 16366 GREENSBORO NC 27416-0366
GREENSCHEMES INC                        9954 LAKEWOOD DR ZIONSVILLE IN 46077-9561
GREENTREE APARTMENTS LLC                C/O MERLE S MAYER 8655 SW CITIZENS DRIVE WILSONVILLE OR 97070-7695
GREENTREE APARTMENTS LLC                C/O MERLE S MAYER 8655 SW CITIZENS DRIVE SUITE 201 WILSONVILLE OR 97070-7695



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GREENTREE APARTMENTS, LLC             8655 CITIZENS DRIVE, SUITE 201 WILSONVILLE OR 97070
GREENVILLE COUNTY TAX COLLECTOR       DEPT 390 PO BOX 100221 COLUMBIA SC 29202-3221
GREENVILLE FIRE DEPARTMENT            1702 WESLEY ST - PO BOX 1049 GREENVILLE TX 75403-1049
GREENVILLE UTILITIES COMMISSION, NC   PO BOX 7287 GREENVILLE NC 27835-7287
GREENVILLE WATER, SC                  P.O. BOX 687 GREENVILLE SC 29602-0687
GREENWAY PROPERTY LLC                 DBA GREENWAY PROPERTY LLC PO BOX 14504 SCOTTSDALE AZ 85267-4504
GREENWELL ACQUISITION CORPORATION     DBA GREENWELL PLUMBING 1840 SCOTT RD NEW ALBANY IN 47150-2687
GREENWICH INC                         DBA COMMERCIAL KITCHEN PARTS & SERVICE PO BOX 831128 SAN ANTONIO TX 78283
GREENWOOD COUNTY                      PO BOX 40 GREENWOOD SC 29648
GREENWOOD COUNTY TAX COLLECTOR        528 MONUMENT ST R-101 GREENWOOD SC 29646-2643
GREENWOOD MALL REALTY HOLDING LLC     1010 NORTHERN BLVD STE 212 GREAT NECK NY 11021-5320
GREER, KYLE                           ADDRESS ON FILE
GREG STALEY                           ADDRESS ON FILE
GREGG A BUCK                          ADDRESS ON FILE
GREGG COUNTY TAX ASSESSOR             PO BOX 2199 LONGVIEW TX 75606-1431
GREGG COUNTY TAX ASSESSOR             COLLECTOR PO BOX 1431 LONGVIEW TX 75606-1431
GREGG WHITE                           ADDRESS ON FILE
GREGORY D RAYBURN                     ADDRESS ON FILE
GREGORY J HAANSTAD                    US ATTORNEYS OFFICE 517 E WISCONSIN AVE, STE 530 MILWAUKEE WI 53202
GREGORY J HAANSTAD                    US ATTORNEYS OFFICE 205 DOTY ST, STE 301 GREEN BAY WI 54301
GREGORY J KAISER                      ADDRESS ON FILE
GREGORY K. HARRIS                     UNITED STATES ATTORNEYS OFFICE STARCRES BLDG 1830 SECOND AVE, STE 250 ROCK
                                      ISLAND IL 61201
GREGORY K. HARRIS                     UNITED STATES ATTORNEYS OFFICE ONE TECHNOLOGY PLAZA 211 FULTON ST, STE 400
                                      PEORIA IL 61602
GREGORY K. HARRIS                     UNITED STATES ATTORNEYS OFFICE 201 S VINE ST, STE 226 URBANA IL 61802
GREGORY K. HARRIS                     UNITED STATES ATTORNEYS OFFICE 318 S SIXTH ST SPRINGFIELD IL 62701
GREGORY M BLOMBERG                    ADDRESS ON FILE
GREGORY M SMITH                       ADDRESS ON FILE
GREGORY R CARTER                      ADDRESS ON FILE
GREGORY S DYNIA                       ADDRESS ON FILE
GREGORY THOMPSON                      ADDRESS ON FILE
GREGORY WOLF RIFENBURG                ADDRESS ON FILE
GREGS COMMERCIAL SERVICES LLC         1847 RIVERWALK PKWY COLORADO SPRINGS CO 80951-9752
GREGS LOCK & KEY SERVICE INC          112 SOUTH MEMORIAL DRIVE INDEPENDENCE MO 64050-3995
GREIF, NATE                           ADDRESS ON FILE
GRESHAM LIQUOR STORE                  AGENT 1025 2414 SE BURNSIDE STREET GRESHAM OR 97080
GRESHAM SANITARY SERVICE, INC.        P.O. BOX 1560 GRESHAM OR 97030-0515
GREYSTONE POWER CORPORATION           P.O. BOX 897 DOUGLASVILLE GA 30133
GREYSTONE POWER CORPORATION           PO BOX 6071 DOUGLASVILLE GA 30154-6071
GRI EQY SPARKLEBERRY SQUARE LLC       PNC/BANK C/O SPARKLEBERRY SQUARE PO BOX 664001 DALLAS TX 75266-4001
GRIER, REGINALD                       ADDRESS ON FILE
GRIFFIN BEVERAGE COMPANY              1901 N OAM ROAD WEST BRANCH MI 48661
GRIFFIN ELECTRIC INC                  PO BOX 418442 SACRAMENTO CA 95841
GRIFFIN SURVEYING SERVICES PA         PO BOX 98 MONROE NC 28111-0098
GRIFFIS, RICHARD E.O.                 ADDRESS ON FILE
GRIFFITH FOODS LIMITED                LOCKBOX/DEPT 638689 CINCINNATI LOCKBOX MAILING CINCINNATI OH 45263-8689
GRIFFITH, JADE                        ADDRESS ON FILE
GRIMES PLUMBING COMPANY INC           6615 LANSING AVENUE JACKSON MI 49201



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GRISS, JULIE                             ADDRESS ON FILE
GRIZZLY BEAR LAWN CARE                   ADDRESS ON FILE
GROGAN BEVERAGE DISTRIBUTING INC         840 842 4TH AVENUE CORAOPOLIS PA 15108
GROOT INC                                PO BOX 535233 A WASTE CONNECTIONS COMPANY PITTSBURGH PA 15253-5233
GROSSMAN LAW PA                          ADDRESS ON FILE
GROSSO, ANDREW                           ADDRESS ON FILE
GROSZ, BRIAN                             ADDRESS ON FILE
GROTT LOCKSMITH CENTER INC               1112 WINCHESTER RD LEXINGTON KY 40505-4029
GROUND EFFECTS LAWN CARE LLC             PO BOX 90525 SIOUX FALLS SD 57109-0525
GROUND FX LINE PAINTING & PLAYGROUND     DESIGN 31 SLATER STREET BRANTFORD ON N3T 4N8 CANADA
GROW PRO LLC                             5513 WEST 11000 N STE 232 HIGHLAND UT 84003-8012
GRUBHUB HOLDINGS INC                     DBA GRUBHUB PO BOX 71649 CHICAGO IL 60694-1649
GRUMBLES, PETER                          ADDRESS ON FILE
GRUPO TFJ PROPERTIES                     A FLORIDA LIMITED LIABILITY 13100 BISCAYNE BOULEVARD NORTH MIAMI FL 33181
GRUVER SUBWAY LLC                        DBA AIRE MASTER OF SEPA PO BOX 177 MOHNTON PA 19540-0177
GSMS 2011 GC5 EAST BROADWAY BOULEVARD    C/O PACIFIC PARK PLACE MGMT LOCKBOX DEP 880676 PO BOX 29650 PHOENIX AZ
                                         85038-9650
GSU - GREATER SUDBURY UTILITIES          PO BOX/CP BOX 250 SUDBURY ON P3E 4P1 CANADA
GTA SMART BUILDINGS INC                  GLASS & ALUMINIUM 115 MCMAHON DRIVE UINT509 NORTH YORK ON M2K 0E4 CANADA
GTK REFRIGERATION INC                    802 E MAHALA DRIVE CAMP VERDE AZ 86322
GTL PROPERTIES                           3271 S HIGHLAND DR STE 704 LAS VEGAS NV 89109-1051
GTL PROPERTIES, LLLP                     ATTN: KATHERINE GURULE 3271 S HIGHLAND DR STE 704 LAS VEGAS NV 89109
GTU LLC                                  DBA GREEN THUMB UNLIMITED 6700 INDUSTRIAL AVE PORT RICHEY FL 34668-6882
GUADALUPE REYNA                          ADDRESS ON FILE
GUAM DEPT OF LABOR                       414 WEST SOLEDAD AVE SUITE 808 (8TH FLOOR) GCIC BUILDING HAGATNA GU 96910
GUAM ENVIRONMENTAL PROTECTION AGENCY     BLDG 17-3304, MARINER AVE TIYAN, BARRIGADA GU 96913
GUARDIAN ALARM COMPANY OF MICHIGAN       PO BOX 713263 CHICAGO IL 60677-1263
GUARDIAN PEST SERVICES INC               DBA KNOX PEST CONTROL PO BOX 870 FORTSON GA 31808-0870
GUCCINI, LINDA                           ADDRESS ON FILE
GUGGENHEIM SECURITIES LLC                330 MADISON AVE NEW YORK NY 10017-5001
GUIDEPOINT SECURITY LLC                  PO BOX 844716 BOSTON MA 02284-4716
GUILFORD COUNTY TAX DEPARTMENT           PO BOX 71072 CHARLOTTE NC 28272-1072
GUIMA BRAZIL USA LLC                     3363 NE 163RD ST STE 506 NORTH MIAMI BEACH FL 33160-4423
GUIMA BRAZIL USA, LLC                    C/O ALGEBRA INVESTMENTS & REALTY CORP. 3363 NE 163RD STREET, SUITE 506 NORTH
                                         MIAMI BEACH FL 33160
GUIRGUIS, AMANY                          ADDRESS ON FILE
GULF COAST PRODUCE DISTRIBUTORS INC      194 BOHN STREET BILOXI MS 39530
GULF COAST SEALING & PRESSURE CLEANING   DBA MICHAEL C CHARLAND 27333 DORTCH AVE BONITA SPRINGS FL 34135-5582
GULF POWER COMPANY                       500 BAYFRONT PENSACOLA FL 35200
GUMANS WELDING INC                       109 RIVER ST OLYPHANT PA 18447-1435
GUNSALLUS, CONNIE                        ADDRESS ON FILE
GUNTER, BERNEDETTE                       ADDRESS ON FILE
GURNEE MILLS OPERATING COMPANY           LOCK BOX ACCOUNT C/O BANK OF AMERICA PO BOX 100305 ATLANTA GA 30384-0305
GUSTAVE, KRISTI.                         ADDRESS ON FILE
GUSTAVO D FEBRERO                        ADDRESS ON FILE
GUTIERREZ, MARTHA                        ADDRESS ON FILE
GUTRIDGE ELECTRIC INC                    7491 POPLAR FORKS ROAD SE NEWARK OH 43056-9452
GUY WINGO SIGNS INC                      DBA CAPITAL SIGNS 2682 PEMBERTON DR APOPKA FL 32703-9402
GUYS WHO CLEAN LLC                       4002 ABERDEEN DR CHAMPAIGN IL 61822-8543



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GUZMAN, ERIC                             ADDRESS ON FILE
GUZMAN-PIZZARO, DAMARYS                  ADDRESS ON FILE
GW INTERNATIONAL INC                     1426 HARVEST AVE SE OLYMPIA WA 98501-8620
GW PROPERTY GROUP LLC - SERIES 16        2211 N ELSTON AVENUE SUITE 304 CHICAGO IL 60614
GWD ACQUISITION INC                      DBA ALLEGHENY BEVERAGE CO 2177 W GRANDVIEW BLVD ERIE PA 16509-1030
GWINNETT CO FALSE ALARM REDUCTION PRGM   240 OAK STREET SUITE 101 ATLANTA GA 30374-5856
GWINNETT CO WATER RESOURCES              PO BOX 105023 ATLANTA GA 30348-5023
GWINNETT COUNTY                          DEPARTMENT OF PLANNING & DEVELOPMENT 446 WEST CROGAN ST SUITE 150
                                         LAWRENCEVILLE GA 30046
GWINNETT COUNTY BUSINESS LIC             ALCOHOLIC BEVERAGE DIVISION PO BOX 1045 LAWRENCEVILLE GA 30046
GWINNETT COUNTY ENVIRON HLTH             COLLECTOR PO BOX 1431 LAWRENCEVILLE GA 30045
GWINNETT COUNTY ENVIRON HLTH             240 OAK STREET SUITE 101 LAWRENCEVILLE GA 30045
GWINNETT COUNTY FALSE ALARM REDUCTION    PROGRAM PO BOX 745856 ATLANTA GA 30374-5856
GWINNETT COUNTY TAX COMMISSIONER         PO BOX 372 LAWRENCEVILLE GA 30046
GWINNETT CTY BUSINESS LICENSE            76 MAIN ST NW LILBURN GA 30047
GWINNETT CTY BUSINESS LICENSE            PO BOX 745856 ORLANDO FL 32809
H & C REFRIGERATION LLC                  PO BOX 21954 CHEYENNE WY 82003-1900
H & H MECHANICAL SERVICES CORP           PO BOX 332015 MURFREESBORO TN 37133
H & H SANITATION SERVICES CO             DBA H AND H RESTAURANT SERVICES 473 RIVER VIEW DRIVE SAN JOSE CA 95111
H & M ENTERPRISES OF VA                  DBA KINETICO QUALITY WATER SYSTEMS 1171 CHEATHAM PARK DRIVE BEDFORD VA 24523
H A THOMPSON & SON INC                   PO BOX 1195 BISMARCK ND 58502-1195
H COX & SONS INC                         1402 SAWYER ROAD TRAVERSE CITY MI 49684
H EQ 309 LLC DBA YYRL S PADRE IS DR      LLC IND PR 348 LLC DBA YYRL S PAD IS DR OWNR 2 LLC DBA YYRL S PAD IS DR OWNR
OWNR                                     LLC CO FEDERMAN STEIFMAN 220 E 42ND ST FL 29 NEW YORK NY 10017
H J ALLISON INC                          DBA ALLISONS PROF CARPET & UPHOLSTERY CLEANING PO BOX 2703 ROSWELL NM
                                         88202-2703
H P B CORPORATION                        DBA CHARLOTTESVILLE DISTRIB 920 HARRIS ST CHARLOTTESVILLE VA 22903
H&J LANDSCAPING LLC                      4100 STONE ST BILLINGS MT 59101-5438
H&M RILEY ENTERPRISES LLC                DBA BENJAMIN FRANKLIN PLUMBING 5528 HOLIDAY AVE BILLINGS MT 59101-6354
H20LEK PLUMBING INC                      DBA ROTO ROOTER PLUMBING & DRAIN SERVICE PO BOX 24770 ROCHESTER NY 14624
H2O PROS PLUMBING LLC                    DBA KEITH LAYTON 1620 VILLENA DR MYRTLE BEACH SC 29579-8052
HAAKMAN, MATTHEW                         ADDRESS ON FILE
HAASIS MCGRATH JOINT VENTURE             ATTN DOWNTOWN BRANCH MANAGER, PNC BANK 7901 N UNIVERSITY ST PEORIA IL
                                         61615-1838
HAB-BPT                                  325 A NORTH POTTSTOWN PIKE EXTON PA 19341-2290
HABITS BEER AND TOBACCO                  960 FRANKLIN STREET JOHNSTOWN PA 15905
HACIK URUN                               ADDRESS ON FILE
HAFSCO INC                               47 RAILROAD AVE WEST HAVEN CT 06516-4143
HAGAR RESTAURANT EQUIP SVC INC           DBA HAGAR RESTUARANT SERVICE INC 6200 NW 2ND STREET OKLAHOMA CITY OK
                                         73127-6520
HAGEN ENTERPRISES INC                    DBA ROTO-ROOTERS PO BOX 3133 TALLAHASSEE FL 32315
HAGENS ELECTRIC INC                      2030 CARLISLE ROAD YORK PA 17408-4033
HAGERMAN PLUMBING AND HEATING CORP       PO BOX 368 OWENSBORO KY 42302-0368
HAGERSTOWN CITY TREASURER                PO BOX 8708 LANCASTER PA 17604
HAHN, ALLEN                              ADDRESS ON FILE
HAHNS LIGHTING SERVICE INC               PO BOX 967 MORGAN HILL CA 95038
HAI YUE TX LLC                           79 GLEN COVE AVE STE B GLEN COVE NY 11542-2852
HAL R DODD                               ADDRESS ON FILE
HALIBURTON INTERNATIONAL FOODS INC       3855 JURUPA STREET ONTARIO CA 91761-1404
HALL COUNTY HEALTH DEPARTMENT            PO BOX 1295 GAINESVILLE GA 30503


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HALL COUNTY TAX COMMISSIONER            PO BOX 1579 GAINESVILLE GA 30503
HALL COUNTY TREASURER                   121 S PINE STE 2 GRAND ISLAND NE 68801
HALL ELECTRIC COMPANY INC               7001 NORTH NAVARRO ST VICTORIA TX 77904-1509
HALL, ALVITA (MOM OF CHILD)             ADDRESS ON FILE
HALL, TIFFANY NMI                       ADDRESS ON FILE
HALME & CLARK                           650 ALAMO PINTADO ROAD SUITE 301 SOLVANG CA 93463
HAMBERGER, MARK                         ADDRESS ON FILE
HAMBURG TOWN CLERK                      6100 SOUTH PARK AVE HAMBURG NY 14075
HAMBURG, KARIC, EDWARDS & MARTIN LLP    ATTN: BARRY G. EDWARDS, ESQ. 1900 AVENUE OF THE STARS, SUITE 1800 LOS ANGELES
                                        CA 90067
HAMILTON COUNTY HEALTH DEPARTMENT       CHESTER TOWERS STE 1500 11499 CHESTER ROAD CINCINNATI OH 45246
HAMILTON COUNTY TREASURER               138 E COURT ST ROOM 402 CINCINNATI OH 45202
HAMILTON COUNTY TRUSTEE                 PO BOX 11047 CHATTANOOGA TN 37401
HAMILTON FC ASSOCIATES LP               C/O CEDAR REALTY TRUST HEADQUARTERS 928 CARMANS RD MASSAPEQUA NY 11758-3505
HAMILTON MALL REALTY LLC                C/O NAMDAR REALTY GROUP PO BOX 25078 TAMPA FL 33622-5078
HAMILTON TOWNSHIP MUA                   6101 THIRTEENTH ST, SUITE 211 MUNICIPAL UTILITIES AUTHORITY MAYS LANDING NJ
                                        08330
HAMILTON TWP TAX COLLECTOR (ATLANTIC)   6101 THIRTEENTH ST STE 202 MAYS LANDING MAYS LANDING NJ 00833
HAMILTON, JACKSON                       ADDRESS ON FILE
HAMILTON, KAYSHAWN                      ADDRESS ON FILE
HAMILTON, MARCIO                        ADDRESS ON FILE
HAMMER HEAD PROTECTION INC              4551 S B ST STE A STOCKTON CA 95206-3956
HAMMERSLA, EDWARD                       ADDRESS ON FILE
HAMMONDS, CEQUCORIA                     ADDRESS ON FILE
HAMPDEN TOWNSHIP                        209 S SPORTING HILL RD MECHANICSBURG PA 17050
HAMPDEN TOWNSHIP TAX COLLECTOR          ALEXANDREA HUBER 209 SPORTING HILL RD MERCHANICSBURG PA 17050
HAMPTON CITY TREASURER                  PO BOX 3800 HAMPTON VA 23663-3800
HAMPTON CITY TREASURERS OFFICE          PO BOX 638 HAMPTON VA 23669
HAMPTON HEALTH DISTRICT                 PO BOX 1295 HAMPTON VA 23669
HAMPTON HEALTH DISTRICT                 1320 LA SALLE AVENUE HAMPTON VA 23669
HANABI A CALIFORNIA GENERAL PARTNERSHIP DBA HANABI PARTNERSHIP 1006 TENNESSEE ST SAN FRANCISCO CA 94107-3016
HANCOCK COUNTY TREASURER                300 S MAIN ST FINDLAY OH 45840
HANCOCK PUBLIC HEALTH                   1320 LA SALLE AVENUE FINDLAY OH 45840-4461
HANCOCK PUBLIC HEALTH                   2225 KEITH PKWY FINDLAY OH 45840-4461
HANCOCK-WOOD ELECTRIC COOPERATIVE, INC. PO BOX 190 NORTH BALTIMORE OH 45872-0190
HANDY HARDEES LLC                       15915 VENTURA BOULEVARD PH2 ENCINO CA 91436-4439
HANDYMAN SOLUTIONS OF WEST MICHIGAN LLC 5528 SHERINGER ROAD FRUITPORT MI 49415
HANDYMAN SPECIALIST LLC                 DBA BERGMAN LOCK AND SECURITY 80 E LINCOLN AVE MUSKEGON HEIGHTS MI 49444-3071
HANDYMAN TO GO LLC                      4720 SALISBURY ROAD JACKSONVILLE FL 32256
HANDYMANIA LLC                          311 TIFFANY LOOP DAVENPORT FL 33837-3589
HANENKAMP ELECTRIC COMPANY INC          21A INTERNATIONAL PLAZA CT SAINT ANN MO 63074-1833
HANKINS COMMERCIAL CLEANING             1633 TOLEDO RD ELKHART IN 46516-5607
HANNA RITZ                              ADDRESS ON FILE
HANNA23 LLC                             DBA KATIE KNIGHT 3920 W BARCELONA ST TAMPA FL 33629-6803
HANNAGAN, FRANCIS, HANNAGAN, PAULA      ADDRESS ON FILE
HANNIGAN, PAULA                         ADDRESS ON FILE
HANOVER BOROUGH COLLECTOR-YORK          HOLLY LISKA 279 FREDERICK ST HANOVER PA 17331
HANSE, DAPHNE                           ADDRESS ON FILE
HANSEN AIR PROS LLC                     DBA HANSEN SUPER TECHS HANSEN ELECTRIC 3833 ABIGAIL DR THEODORE AL 36582-5248



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HANSENS LANDSCAPE SERVICES INC           PO BOX 911420 ST GEORGE UT 84791
HANSON DIST CO                           ADDRESS ON FILE
HANSON SIGN CO INC                       PO BOX 928 6338 NW WAREHOUSE WAY SILVERDALE WA 98383-0928
HANSON, JACOB                            ADDRESS ON FILE
HAPPY CANS INC                           1732 KEN DR FUQUAY VARINA NC 27526-7309
HAQ CORPORATION                          C/O RIAZ HAQ 3068 CHAPEL HILL ROAD DOUGLASVILLE GA 30135
HARBOR PLAZA LLC                         C/O ATHENA PROPERTY MANAGEMENT 730 EL CAMINO WAY STE 200 TUSTIN CA 92780-7733
HARBOUR TEXTILE RENTAL SVC INC           259 QUIGLEY BLVD STE 8 NEW CASTLE DE 19720
HARCO CAPITAL LLC                        HARWELL CAPITAL LLC 4600 ROSWELL RD BLDG H686 ATLANTA GA 30342-3034
HARDIN COUNTY CHAMBER OF COMMERCE        111 WEST DIXIE AVE ELIZABETHTOWN KY 42701-1410
HARDIN COUNTY CLERK                      2225 KEITH PKWY ELIZABETHTOWN KY 42702-1030
HARDIN COUNTY CLERK                      PO BOX 1030 ELIZABETHTOWN KY 42702-1030
HARDIN COUNTY SHERIFF                    150 NORTH PROVIDENT WAY SUITE 101 ELIZABETHTOWN KY 42701
HARDIN COUNTY WATER DISTRICT 2           PO BOX 970 ELIZABETHTOWN KY 42702-0970
HARFORD CO DEPARTMENT OF THE TREASURER   PO BOX 1030 BALTIMORE MD 21264-4069
HARFORD COUNTY DEPT OF THE TREASURER     PO BOX 64069 BALTIMORE MD 21264-4069
HARFORD COUNTY HEALTH DEPARTMENT         PO BOX 191 BEL AIR MD 21014
HARFORD COUNTY HEALTH DEPARTMENT         PO BOX 64069 BEL AIR MD 21014
HARFORD, DELBERT                         ADDRESS ON FILE
HARKEY ELECTRIC INC                      PO BOX 6058 STATESVILLE NC 28687
HARLAND CLARKE CORPORATION               DBA TRANSOURCE PO BOX 931898 ATLANTA GA 31193-1898
HARMON MEADOW OWNER LLC                  C/O RIPCO MANAGEMENT LLC PO BOX 67212 NEWARK NJ 07101-4002
HARMON, STEPHANIE, HARMON, STEPHANIE     ADDRESS ON FILE
HARNEY, KATHARINE                        ADDRESS ON FILE
HARO SERVICES INC                        DBA HARO CARPET CLEANING 13406 S HIGHWAY 99 MANTECA CA 95336-8304
HAROLD LEMAY ENTERPRISES INC             2904 HOGUM BAY RD NE A WASTE CONNECTIONS COMPANY OLYMPIA WA 98516-3133
HAROLDS UPHOLSTERY INC                   2808 GRAND AVENUE BILLINGS MT 59102
HARRIGAN REFRIGERATION & A/C INC         11298 SEBRING DRIVE CINCINNATI OH 45240-4601
HARRINGTON ENTERPRISES INC               DBA HOUCHS 1020 E MAIN ST CHILLICOTHE OH 45601
HARRINGTON, DOUGLAS                      ADDRESS ON FILE
HARRINGTON, JAMES                        ADDRESS ON FILE
HARRIS CO PUBLIC HEALTH AND              ENVIRONMENTAL SERVICE PO BOX 191 HOUSTON TX 77027
HARRIS COUNTY                            HARRIS COUNTY ALARM DETAIL 9418 JENSEN DR STE A HOUSTON TX 77093-6840
HARRIS COUNTY                            PO BOX 3547 HOUSTON TX 77253-3547
HARRIS COUNTY PUBLIC HEALTH &            ENVIRONMENTAL SERVICE 2223 W LOOP S SUITE 529 HOUSTON TX 77027
HARRIS COUNTY TAX ASSESSOR               2223 W LOOP S SUITE 529 HOUSTON TX 77002
HARRIS COUNTY TAX ASSESSOR               301 SAN JACINTO HOUSTON TX 77002
HARRIS COUNTY TAX ASSESSOR COLLECTOR     PO BOX 4622 HOUSTON TX 77210-4622
HARRIS INC OF DURHAM                     3505 HILLSBOROUGH ROAD DURHAM NC 27705
HARRIS, CASSANDRA                        ADDRESS ON FILE
HARRIS, CRYSTAL                          ADDRESS ON FILE
HARRIS, SUSAN                            ADDRESS ON FILE
HARRISON BEVERAGE CO                     PO BOX 1011 PLEASANTVILLE NJ 08232
HARRISON CO WASTEWATER AND SOLID WASTE   301 SAN JACINTO GULFPORT MS 39505
HARRISON COUNTY TAX COLLECTOR            PO BOX 1270 GULFPORT MS 39502
HARRISON COUNTY WASTEWATER & SOLID       MANAGEMENT DISTRICT PO BOX 2409 GULFPORT MS 39505
WASTE
HARRISON, KRISTEN                        ADDRESS ON FILE
HARRISONBURG CITY TREASURER              PO BOX 1007 HARRISONBURG VA 22803-1007



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HARRISONBURG ELECTRIC COMMISSION        89 WEST BRUCE STREET HARRISONBURG VA 22801
HARRY & SARAH KRANC                     ADDRESS ON FILE
HARRY C LOBALZO & SONS INC              DBA HMR/INNOTECH 61 N CLEVELAND MASSILLON ROAD AKRON OH 44333
HARRY DAVIDSON INC                      128 FRANKLIN AVE EGG HARBOR TOWNSHIP NJ 08234-9734
HARRY F ROTOLO & SON INC                390 EAST MAIN STREET MIDDLETOWN NY 10940
HARRY O HAHN SEAFOOD INC                DBA ADELPHIA SEAFOOD COMPANY 3024 PENN AVE WEST LAWN PA 19609-1444
HARTFORD FINANCIAL SERVICES GROUP       ONE HARTFORD PLAZA HARTFORD CT 06155
HARTMAN, SIMONS, SPIELMAN & WOOD, LLP   ATTN: KEITH N. WILSON, ESQ. 6400 POWERS FERRY ROAD, N.W. ATLANTA GA 30339
HARTSUFF ENTERPRISES LLC                DBA MR ROOTER PLUMBING OF GREATER LANSING PO BOX 188 SAINT JOHNS MI 48879-0188
HARVARD MAINTENANCE INC                 PO BOX 748458 ATLANTA GA 30374-8458
HARVEY, GEORGETTE                       ADDRESS ON FILE
HARVEYS LOCK SHOP INC                   DBA HARVEYS LOCK AND SECURITY 414 3RD STREET RAPID CITY SD 57701-2867
HARWELL CAPITAL, LLC                    ATTN: COREY & CALEB HARWELL 4600 ROSWELL ROAD, BLDG. H868 ALTANTA GA 30342
HARWIN LLC                              DBA THE DRAIN SPECIALISTS 12439 QUAIL RUN WAY NINE MILE FALLS WA 99026-5025
HASELTON, SARAH                         ADDRESS ON FILE
HASSELL, ZENYATTE                       ADDRESS ON FILE
HATCHER, ANGELA                         ADDRESS ON FILE
HATCO CORPORATION                       PO BOX 68-4035 CHICAGO IL 60695-4035
HATHAWAY, JAMES                         ADDRESS ON FILE
HATTEN, QUADRIKA                        ADDRESS ON FILE
HAUL AWAY SERVICE, LLC                  8000 MOUNT JOY RD MOUNT PLEASANT TN 38474
HAUSERS WATER SYSTEMS INC               PO BOX 28 MANCHESTER IA 52057-0028
HAWAII DEPARTMENT OF COMMERCE AND       CONSUMER AFFAIRS-HILO OFFICE OF CONSUMER PROTECTION 120 PAUAHI ST, STE 212
                                        HILO HI 96720
HAWAII DEPARTMENT OF COMMERCE AND       CONSUMER AFFAIRS OFFICE OF CONSUMER PROTECTION 335 MERCHANT ST HONOLULU HI
                                        96813
HAWAII DEPARTMENT OF COMMERCE AND       CONSUMER AFFAIRS-HONOLULU (MAIN LOC.) OFFICE OF CONSUMER PROTECTION 235 S
                                        BERETANIA ST STE 801 HONOLULU HI 96813
HAWAII DEPT OF BUDGET & FINANCE         P. O. BOX 150 HONOLULU HI 96810
HAWAII DEPT OF LABOR & INDUSTRIAL       RELATIONS 830 PUNCHBOWL ST 321 HONOLULU HI 96813
HAWAII DEPT OF LAND & NATURAL RESOURCES KALANIMOKU BLDG 1151 PUNCHBOWL ST HONOLULU HI 96813
HAWAII DEPT OF TAXATION                 75 AUPUNI STREET 101 HILO HI 96720-4245
HAWAII DEPT OF TAXATION                 PO BOX 275 KAUNAKAKAI HI 96748
HAWAII DEPT OF TAXATION                 3060 EIWA STREET 105 LIHUE HI 96766-1889
HAWAII DEPT OF TAXATION                 54 S. HIGH STREET 208 WAILUKU HI 96793-2198
HAWAII DEPT OF TAXATION                 PO BOX 259 HONOLULU HI 96809-0259
HAWAII DEPT OF TAXATION                 DIRECTOR OF TAXATION ROOM 221 830 PUNCHBOWL STREET HONOLULU HI 96813-5094
HAWAII GAS                              P.O. BOX 29850 HONOLULU HI 96820-2250
HAWAII STATE TAX COLLECTOR              HAWAII DEPARTMENT OF TAXATION PO BOX 1425 HONOLULU HI 96806-1425
HAWAIIAN HOUSEWARES LTD                 DBA HANSEN SALES PO BOX 820 PEARL CITY HI 96782
HAWAIIAN PROPERTIES, LTD.               PO BOX 38078 HONOLULU HI 96837-1078
HAWAIIAN TELCOM                         PO BOX 30770 HONOLULU HI 96820
HAWC OF KANSAS                          DBA ROTO ROOTER PO BOX 19243 TOPEKA KS 66619-0243
HAWK LANDSCAPING INC                    1626 SAINT FRANCIS LANE ALTOONA PA 16602
HAWK, LAURA                             ADDRESS ON FILE
HAWKINS ELECTRICAL SERVICE CO           DBA HAWKINS COMMERCIAL APPLIANCE SERVICE INC 3000 SOUTH WYANDOT ENGLEWOOD CO
                                        80110
HAWKINSON, ASHLEY                       ADDRESS ON FILE
HAWKS LLC                               DBA BOBS LOCK & KEY 900 WEST 41ST STREET SIOUX FALLS SD 57105
HAWLEY TROXELL ENNIS & HAWLEY LLP       PO BOX 1617 BOISE ID 83701-1617


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HAWTHORN INNOVATIONS LLC               1001 LOGAN ST LOUISVILLE KY 40204-2636
HAWTHORNE, RONALD                      ADDRESS ON FILE
HAYDEN BEVERAGE COMPANY                PO BOX 15619 BOISE ID 83715
HAYDEN LEE STANFIELD                   ADDRESS ON FILE
HAYDO LLC                              DBA FISH WINDOW CLEANING 2228 E ENTERPRISE PARKWAY TWINSBURG OH 44087-2393
HAYES, JENNIFER                        ADDRESS ON FILE
HAYES, JESSICA                         ADDRESS ON FILE
HAYS COUNTY                            TAX OFFICE LUANNE CARAWAY TAX ASSESSOR/COLLECTOR SAN MARCOS TX 78666-6073
HAYS COUNTY TAX OFFICE                 712 S. STAGECOACH TRAIL STE 1120 SAN MARCOS SAN MARCOS TX 78666-6073
HAZEL, AKIMA                           ADDRESS ON FILE
HAZMAT CLEANUP                         6109 GALLEON WAY TAMPA FL 33615-3635
HB PROPERTIES MONROE LLC               DBA WASH-PRO EXTERIORS LLC 2506 OAK ALY BOULEVARD MONROE LA 71201-3658
HBP CONTRACTORS & CONSULTANTS INC      PO BOX 99 FOREST PARK GA 30298-0099
HC LAKESHORE LLC                       C/O LAKESHORE MANAGEMENT OFFICE 901 US HIGHWAY 27 N STE 68 SEBRING FL
                                       33870-2130
HCL GOODYEAR CENTERPOINTE LLC          12302 EXPOSITION BOULEVARD LOS ANGELES CA 90064
HCL INGLEWOOD VILLAGE LLC              C/O HAAGEN COMPANY LLC 12302 EXPOSITION BOULEVARD LOS ANGELES CA 90064
HD LANDSCAPE LLC                       PO BOX 211428 DENVER CO 80221
HD PAINTING & RESTORATION CONTRACTOR   PO BOX 678293 ORLANDO FL 32867
INC
HEALEY, STEPHANIE                      ADDRESS ON FILE
HEALY WHOLESALE COMPANY INC            PO BOX 36157 FAYETTEVILLE NC 28303
HEARNE, ELIDIA                         ADDRESS ON FILE
HEART OF AMERICA LOCKSMITH LLC         DBA HEART OF AMERICA LOCKSMITH 8417 NIEMAN RD LENEXA KS 66214-1528
HEART OF FLORIDA UNITED WAY            1940 TRAYLOR BLVD ORLANDO FL 32804-4714
HEARTH MICROWAVE OVEN SEV CORP         DBA HEARTH PARTS AND SERVICES 4900 W SIDE AVE NORTH BERGEN NJ 07047-6411
HEATH GREGORY                          ADDRESS ON FILE
HEATH HUNTER                           ADDRESS ON FILE
HEATH LOCKSMITH INC                    DBA KITTLES LOCKSMITH 1863 S RIDGEWOOD AVENUE SOUTH DAYTONA FL 32119-2236
HEATH N CARTER                         ADDRESS ON FILE
HEATHER HODGMAN                        ADDRESS ON FILE
HEATHER MCGANNON                       ADDRESS ON FILE
HEATHER SMITH                          ADDRESS ON FILE
HEBERT, DORIS                          ADDRESS ON FILE
HECK, SHANIA                           ADDRESS ON FILE
HECTOR HERNANDEZ                       ADDRESS ON FILE
HECTOR KUCHLE                          ADDRESS ON FILE
HECTOR RENE PELICO LOPEZ               ADDRESS ON FILE
HEDGE TO EDGE INC                      1213 RAYMOND ROAD MONTICELLO IL 61856-8227
HEEG, SHELLEY                          ADDRESS ON FILE
HEIDELBERG CLEVELAND                   ADDRESS ON FILE
HEIDELBERG DIST CO                     DBA WINE TRENDS 1265 CRESCENT ST YOUNGSTOWN OH 44502-1303
HEIDELBERG DISTRIBUTING                3801 PARKWEST DRIVE COLUMBUS OH 43228
HEIDELBERG DISTRIBUTING CO             912 3RD ST PERRYSBURG OH 43551-4367
HEIDEN PLUMBING CO INC                 1100 WEST BRUCE STREET MILWAUKEE WI 53204
HEIM, SOTORRA                          ADDRESS ON FILE
HEIMARK DISTRIBUTING CO                PO BOX 3985 SANTE FE SPRINGS CA 90670
HELEN CARR                             ADDRESS ON FILE
HELEN HALL                             ADDRESS ON FILE



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HELGET GAS PRODUCTS                     PO BOX 24246 OMAHA NE 68124
HELIX WATER DISTRICT                    PO BOX 513597 LOS ANGELES CA 90051-3597
HELLOWORLD INC                          A MERKLE INC COMPANY 3000 TOWN CENTER STE 2100 SOUTHFIELD MI 48075-1313
HELMS CARPET COMPANY                    1801 QUEEN AVENUE SEBRING FL 33875
HEMPFIELD TWP COLLECTOR-WESTMORELAND    FAYE ROSATTI PO BOX 8 GREENSBURG PA 15601
HENDERSON, BRANDON                      ADDRESS ON FILE
HENDERSON, TASHA                        ADDRESS ON FILE
HENDRICKS COUNTY                        MANAGEMENT DISTRICT PO BOX 2409 DANVILLE IN 46122
HENDRICKS COUNTY                        GOVT CENTER 355 SOUTH WASHINGTON ST DANVILLE IN 46122
HENDRICKS COUNTY TREASURER              355 S WASHINGTON ST 240 DANVILLE IN 46122
HENDRICKX, LAIRA                        ADDRESS ON FILE
HENDRIE FAMILY PROPERTIES LLC           C/O NET LEASED MANAGEMENT INC 10951 SORRENTO VALLEY RD STE 2A SAN DIEGO CA
                                        92121-1613
HENDRIE FAMILY PROPERTIES, LLC          ATTN: JOHN D. HENDRIE, MANAGER 100 S.E. 2ND STREET, SUITE 3400 MIAMI FL 33131
HENLEYS KEY SERVICE INC                 117 E BOULDER COLORADO SPRINGS CO 80903
HENNEPIN COUNTY TREASURER               DEPARTMENT PUBLIC HEALTH PROTECTION 1011 SOUTH FIRST STREET STE 215 HOPKINS MN
                                        55343
HENNEPIN COUNTY TREASURER               A-600 GOVERNMENT CENTER 300 S SIXTH STREET MINNEAPOLIS MN 55487-0060
HENNESSY & ROACH PC                     ATTN:JASON D. KOLECKE HENNESSY & ROACH PC 70 W MADISON ST., STE. 1100 CHICAGO
                                        IL 60602
HENNESSY & ROACH PC                     70 W MADISON ST. SUITE 1100 CHICAGO IL 60602
HENRI MELEQI                            ADDRESS ON FILE
HENRICO COUNTY                          GOVT CENTER 355 SOUTH WASHINGTON ST RICHMOND VA 23273
HENRICO COUNTY                          HEALTH DEPARTMENT 8600 DIXON POWERS DRIVE RICHMOND VA 23273
HENRICO COUNTY DEPARTMENT OF FINANCE    PO BOX 105155 ATLANTA GA 30348-5155
HENRIETTA TOWN TAX RECEIVER             P.O. BOX 579 HENRIETTA NY 14467
HENRY A FOX SALES CO                    ADDRESS ON FILE
HENRY ALLEN SEIB                        ADDRESS ON FILE
HENRY C. LEVENTIS                       UNITED STATES ATTORNEYS OFFICE 719 CHURCH ST, STE 3300 NASHVILLE TN 37203
HENRY CO ENVIRONMENTAL HEALTH           HEALTH DEPARTMENT 8600 DIXON POWERS DRIVE MCDONOUGH GA 30252
HENRY CO ENVIRONMENTAL HEALTH           137 HENRY PKWY MCDONOUGH GA 30252
HENRY COUNTY                            137 HENRY PKWY MCDONOUGH GA 30253
HENRY COUNTY                            PO BOX 488 MCDONOUGH GA 30253
HENRY COUNTY TAX COMMISSIONER           140 HENRY PARKWAY MCDONOUGH GA 30253
HENRY COUNTY WATER AUTHORITY            1695 HIGHWAY 20 W MCDONOUGH GA 30253-7311
HENRY GOMEZ GONZALEZ                    ADDRESS ON FILE
HENRYS PLUMBING INC                     4080 VINCENT STATION DR OWENSBORO KY 42303-9325
HEPBURN, MOSES, MCCALL, PATRICIA,       ADDRESS ON FILE
HERBERT & ISABEL WOLFE TRUST            ADDRESS ON FILE
HERBERT SCOTT                           ADDRESS ON FILE
HERITAGE FOOD SERVICE GROUP OF CANADA   DBA CHOQUETTE CKS PO BOX 57447 STN A TORONTO ON M5W 5M5 CANADA
HERITAGE PEAK LLC                       780 WEST COLUMBIA LANE PROVO UT 84604
HERITAGE PROFESSIONAL LANDSCAPING INC   PO BOX 7225 KENNEWICK WA 99336
HERITAGE RESTORATION NETWORK LLC        C/O HRN CONSTRUCTION AND RESTORATION 608 S TUSCARAWAS AVE DOVER OH 44622-2346
HERITAGE SIGN & LIGHTING SERVICE LLC    DBA YESCO SIGN & LIGHTING SERVICE 38348 APOLLO PKWY UNIT 1 WILLOUGHBY OH
                                        44094-7771
HERITAGE WINE CELLARS LLC               6600 W HOWARD ST NILES IL 60714
HERMAN PITTS                            ADDRESS ON FILE
HERMAN PLUMBING CO INC                  904 NORTH BROADWELL AVE GRAND ISLAND NE 68803-4441
HERMAN T BROWN                          ADDRESS ON FILE


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HERMITAGE CITY TREASURER                800 N HERMITAGE RD HERMITAGE PA 16148
HERMITAGE SEWER                         PO BOX 6078 HERMITAGE PA 16148-1078
HERNANDEZ, ANGELINA                     ADDRESS ON FILE
HERNANDEZ, DORA                         ADDRESS ON FILE
HERNANDEZ, ERMELINDA                    ADDRESS ON FILE
HERNANDEZ, JUANITA                      ADDRESS ON FILE
HERNANDEZ, MERANDA                      ADDRESS ON FILE
HERNANDEZ, VICKI                        ADDRESS ON FILE
HERNANDO COUNTY TAX COLLECTOR           20 N MAIN ST RM 112 BROOKSVILLE FL 34601-2892
HERNANDO COUNTY UTILITIES, FL           P.O. BOX 30384 TAMPA FL 33630-3384
HEROMAN SERVICES PLANT COMPANY LLC      3601 N DAVIS HIGHWAY PENSACOLA FL 32503-3021
HERRERA, ADAM                           ADDRESS ON FILE
HERRERA, JORGE 'JEAN' GUERRA            ADDRESS ON FILE
HERRERA, JOSHUA                         ADDRESS ON FILE
HERRERA, LINDA                          ADDRESS ON FILE
HERRERA, MARIA                          ADDRESS ON FILE
HERRERO & ASOCIADOS                     JOSE ANTONIO CABANILLAS C/ CEDACEROS 1 (CORNER OF ALCALA, 26) MADRID 28014
                                        SPAIN
HERRERO & ASOCIADOS S L                 C/ CEDACEROS NO 1 MADRID SPAIN
HERZMAN NIECES EXEMPT TR                ADDRESS ON FILE
HERZMAN NIECES EXEMPT TRUST             DBA U/D/T DECEMBER 15,1972 HERZMAN TRUST C/O CHRISTINE B CUNNING TRUSTEE SAN
                                        DIEGO CA 92163-1129
HERZMAN NIECES EXEMPT TRUST             DBA U/D/T DEC. 15,1972 HERZMAN TRUST C/O CHRISTINE B CUNNING TRUSTEE PO BOX
                                        3129 SAN DIEGO CA 92163-1129
HES SIGN SERVICES INC                   DBA YESCO MID ATLANTIC 200 HADCO RD WILMINGTON DE 19804-1074
HESS-MOORE ENTERPRISES INC              DBA SERVICEMASTER PLUMBING SERVICES 3500 ALOMA AVE SUITE D24 WINTER PARK FL
                                        32792-4018
HESSLER, KATHRYN                        ADDRESS ON FILE
HEWITT, VENASIA                         ADDRESS ON FILE
HEY GUY MEDIA LLC                       2140 E SOUTHLAKE BLVD STE L822 SOUTHLAKE TX 76092-6516
HGB LLC                                 DBA ALL PRO PLUMBING 1716 OLIVE ST LAKELAND FL 33815-4048
HH BEER BOX LLC                         3350 GRANT AVENUE PHILADELPHIA PA 19114
HH CONYERS CROSSROADS LLC               C/O HENDON PROPERTIES LLC 3445 PEACHTREE RD NE SUITE 465 ATLANTA GA 30326-1234
HI-TONE EXPRESS                         PO BOX 8073 STN T OTTAWA ON K1G 3H6 CANADA
HIBBS, AMANDA                           ADDRESS ON FILE
HICKORY GROVE COMMUNITY LLC             DBA NORTHGATE PARK I 2158 NORTHGATE PARK LN STE 199 CHATTANOOGA TN 37415-6911
HICKORY HOLLOW DEVELOPMENT INC          4030 ARMORY OAKS DR NASHVILLE TN 37204-4527
HICKS ELECTRIC INC                      1910 3RD AVE SE ROCHESTER MN 55904-7923
HICKS MORLEY                            ATTN:KIMBERLY PEPPER 77 KING STREET WEST, 39TH FLOOR BOX 371, TD CENTRE
                                        TORONTO ON M5K 1K8 CANADA
HICKS MORLEY HAMILTON STEWART STORIE    77 KING STREET W 39TH FLOOR TORONTO ON M5K 1K8 CANADA
LLP
HICKS SAFES & LOCKS INC                 2316 N 32ND ST PHOENIX AZ 85008-2149
HICKSVILLE WATER DISTRICT               PO BOX 9064 HICKSVILLE NY 11802-9064
HIDALGO COUNTY TAX ASSESSOR COLLECTOR   PO BOX 178 EDINBURG TX 78540
HIDALGO TAX ASSESSOR/COLLECTOR          PO BOX 488 EDINBURGH TX 78540-0178
HIDALGO TAX ASSESSOR/COLLECTOR          PO BOX 178 EDINBURGH TX 78540-0178
HIGH DESERT LOCK & SAFE INC             9208 G AVENUE HESPERIA CA 92345-6166
HIGH DESERT LOCK AND SAFE LLC           1201 W IRON SPRINGS RD STE 4 PRESCOTT AZ 86305-1443
HIGH GRADE BEVERAGE                     PO BOX 7092 NO BRUNSWICK NJ 08902-7092


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HIGH PRIORITY PLUMBING AND SERVICES INC 1070 CULPEPPER DR SW STE 300 CONYERS GA 30094-5996
HIGH SHINE WINDOW CLEANING LLC           7915 S EMERSON AVE STE B171 INDIANAPOLIS IN 46237-8556
HIGH TIDE PLUMBING LLC                   14188 BIG CREEK RD GULFPORT MS 39503-7893
HIGHER POWER ELECTRICAL CONTRACTOR       147 PINE AVE EGG HARBOR TOWNSHIP NJ 08234-5336
HIGHLAND HILL CAPITAL LLC                AS POA FOR SAFE SPACE JANITORIAL LLC 1820 SWARTHMORE AVE. 714 LAKEWOOD NJ
                                         08701
HIGHLAND LAKES PROPERTY LLC              ATTN: JAKE GIBSON, OPERATIONS MANAGER C/O REALTY CAPITAL ADVISORS 2400
                                         MAITLAND CENTER PARKWAY, SUITE 315 MAITLAND FL 32751
HIGHLAND LAKES PROPERTY LLC              C/O REALTY CAPITAL ADVISORS LLC 2400 MAITLAND CENTER PKWY STE 107 MAITLAND FL
                                         32751-7440
HIGHLAND SANITATION & RECYCLING          PO BOX 10 VERMILLION MN 55085-0010
HIGHLAND SEWER & WATER AUTHORITY         120 TANK DRIVE JOHNSTOWN PA 15904
HIGHLANDS COUNTY TAX COLLECTOR           540 S COMMERCE AVE SEBRING FL 33870
HIGHLANDS LOCKSMITH                      2422 CHASE ST EDGEWATER CO 80214-1229
HIGHLIGHTS SERVICES INC                  PO BOX 7814 FREDERICKSBURG VA 22404
HIGHLIGHTS SERVICES INC.                 PO BOX 8 FEDERICKSBURG VA 22404
HIGHPOINT POWERWASHING LLC               PO BOX 3210 AUBURN AL 36831-3210
HILDA DAISHA GRATIA                      ADDRESS ON FILE
HILL & HILL PARTNERSHIP                  DBA ACME SEPTIC TANK SERVICE 602 LOWER AHTANUM RD UNION GAP WA 98903-1537
HILL ELECTRIC INC                        1513 EMIL STREET MADISON WI 53713
HILL ENTERPRISES                         DBA ROTO-ROOTER PO BOX 669 MARION MS 39342
HILL PLUMBING & ELECTRIC CO INC          438 NORTH MAIN STREET SUMTER SC 29150
HILL, ROGENTA                            ADDRESS ON FILE
HILLER LLC                               DBA HILLER PLUMBING, HEATING, COOLING & ELECTRICAL 915 MURFREESBORO PIKE
                                         NASHVILLE TN 37217
HILLIARD & MATHIS LAWN SERVICE INC       PO BOX 152335 LUFKIN TX 75915
HILLIARD OFFICE SOLUTIONS LTD            PO BOX 52510 MIDLAND TX 79710-2510
HILLIARD, MARCI                          ADDRESS ON FILE
HILLS SERVICES INC                       HSP & H LLC DBA HILL SERVICES PLUMBING & HVAC PO BOX 1000 DEPT 369 MEMPHIS TN
                                         38148-0369
HILLS, THOMAS                            ADDRESS ON FILE
HILLSBOROUGH CO TAX COLLECTOR            601 E KENNEDY BLVD 14TH FLOOR TAMPA FL 33602-4931
HILLSBOROUGH COUNTY                      PO BOX 178 TAMPA FL 33602-4932
HILLSBOROUGH COUNTY                      BOARD OF COUNTY COMMISSIONERS CONSUMER & VETERANS SERVICES 601 E KENNEDY BLVD
                                         18TH FLOOR TAMPA FL 33602-4932
HILLSBOROUGH COUNTY PUBLIC UTILITIES     DEPT WATER DIVISION 925 EAST TWIGGS STREET TAMPA FL 33624
HILLSBOROUGH COUNTY TAX COLLECTOR        PO BOX 30012 TAMPA FL 33630-3012
HILLSBOROUGH COUNTY WATER RESOURCE       PO BOX 89637 TAMPA FL 33689
-BOCC
HILLTOPPER REFUSE & RECYCLING SVC. INC. W 6833 INDUSTRIAL BLVD ONALASKA WI 54650
HINDS COUNTY HEALTH DEPARTMENT           DIVISION OF SANITATION PO BOX 20 JACKSON MS 39205
HINDS COUNTY TAX COLLECTOR               PO BOX 1727 JACKSON MS 39215-1727
HINES ELECTRICAL AND COMMUNICATION INC   PO BOX 87 NEWBERRY FL 32669-0087
HINES, BRIAN                             ADDRESS ON FILE
HINES, CAROL                             ADDRESS ON FILE
HINKLE ROOFING PRODUCTS INC              639 1ST COURT NORTH BIRMINGHAM AL 35203-3012
HIRE PERFORMANCE INC                     3075 14TH AVENUE SUITE 213 MARKHAM ON L3R 0G9 CANADA
HIS HANDS LAWN CARE & SERVICES INC       PO BOX 3750 SILVERDALE WA 98383
HIT PROMOTIONAL PRODUCTS INC             8285 BRYAN DAIRY RD STE 100 SEMINOLE FL 33777-1350
HITE CLEANING AND CONCRETE COATINGS LLC PO BOX 91 MOWEAQUA IL 62550-0091



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HITES RUN INC                          DBA YESCO TRIANGLE 330 OLIVE BRANCH RD DURHAM NC 27703-9207
HITT PLUMBING CO INC                   PO BOX 638 APPLE VALLEY CA 92307-0011
HIXSON UTILITY DISTRICT, TN            P.O. BOX 1598 HIXSON TN 37343-5598
HJW EXECUTIVE SEARCH LLC               4 RESEARCH DR STE 402 SHELTON CT 06484-6242
HKH JVC LLC                            DBA NORPAC FISHERIES EXPORT CENTRAL & WESTERN PACIFIC 1535 COLBURN STREET
                                       HONOLULU HI 96817
HKT ENTERPRISES LLC                    PO BOX 444 RARITAN NJ 08869
HM ELECTRONICS INC                     DBA JTECH AN HME COMPANY PO BOX 208725 DALLAS TX 75320-8725
HMD GROUP PA                           10556 NW 26TH STREET SUITE D101 DORAL FL 33172
HOAGLAND ELECTRIC INC                  3622 GOSHEN ROAD FORT WAYNE IN 46818-1519
HOBART CORP                            DBA HOBART FOOD EQUIPMENT PO BOX 3563 CAROL STREAM IL 60132-3563
HOBART FOOD EQUIPMENT GROUP CANADA     105 GORDON BAKER ROAD STE 801 TORONTO ON M2H 3P8 CANADA
HOBB, JIMMIE D.                        ADDRESS ON FILE
HOBBS LOCK & KEY INC                   318-20 TIFFIN AVENUE SANDUSKY OH 44870-2271
HOBBY, CHARLES                         ADDRESS ON FILE
HODGES, JESSICA                        ADDRESS ON FILE
HOFACRE, CYNTHIA                       ADDRESS ON FILE
HOFFMAN 4101 VETERANS MEMORIAL LLC     727 CRAIG ROAD SUITE 100 ST LOUIS MO 63141
HOFFMAN BEVERAGE COMPANY               5464 GREENWICH RD VIRGINIA BEACH VA 23462
HOFFMAN BROTHERS UPHOLSTERERS          732 SOUTH TELEGRAPH RD MONROE MI 48161-1616
HOGAN APPLIANCE SERVICE LLC            1710 W VICKSBURG PLACE BROKEN ARROW OK 74011
HOGAN HOMESTEAD OWNERS ASSOCIATION     2101 BROADWATER AVE BILLINGS MT 59102-4711
HOLADAY CLEANING LLC                   C/O DADS PROFESSIONAL CLEANING 7489 E 26TH PL YUMA AZ 85365-7863
HOLDEN, DEBRA                          ADDRESS ON FILE
HOLDREGE SOFT WATER                    314 WEST AVE HOLDREGE NE 68949-2721
HOLIDAY ICE INC                        201 W 8TH ST ROANOKE RAPIDS NC 27870-2644
HOLLAND CLEANING SOLUTIONS LTD         4590 RHODES DRIVE WINDSOR ON N8W 5C2 CANADA
HOLLAND ROOFING INC                    7450 INDUSTRIAL RD FLORENCE KY 41042-2916
HOLLOW METAL DOOR COMPANY INC          3100 N PENSTEMON ST WICHITA KS 67226-3901
HOLLWEG ASSESSMENT PARTNERS LLC        1341 W MOCKINGBIRD LANE SUITE 700W DALLAS TX 75247-6905
HOLLY ELECTRIC INC                     PO BOX 2266 LAKE CITY FL 32056-2266
HOLLY HOLTON                           ADDRESS ON FILE
HOLLY KRUSE                            ADDRESS ON FILE
HOLLY SALES OF NORTHERN OHIO           4720 WARNER ROAD GARFIELD HEIGHTS OH 44125-1117
HOLLY SCHMIDT                          ADDRESS ON FILE
HOLMSTORM WEALTH MANAGEMENT LLC        DBA FISH WINDOW CLEANING PO BOX 8662 SPRINGDALE AR 72766-8662
HOLT PLUMBING CO LLC                   1000 INDUSTRIAL DR OLD HICKORY TN 37138-3695
HOME ADVANTAGE PLUMBING SERVICES LLC   DBA VICTOR JAMES MINNICK 109 COUNTRY LN LANSDALE PA 19446-1656
HOME DEPOT USA INC                     PO BOX 641596 PITTSBURGH PA 15264-1596
HOMER SANITARY SERVICE LLC             89 SUNSET RD HERMITAGE PA 16148-4913
HOMESCAPES LANDSCAPING COMPANY INC     PO BOX 130 SILVER CREEK GA 30173-0130
HOMETOWN DISPOSAL INC                  300 S 9TH STE 102 SALINA KS 67401
HOMETOWN FLORAL INC                    DBA WYOMING STUYVESANT FLORAL 2315 LEE ST SW WYOMING MI 49519-1620
HOMETOWN FULL SERVICE ELECTRIC LLC     PO BOX 95131 OKLAHOMA CITY OK 73143-5131
HOMETOWN LAWN LLC                      DBA HOMETOWN 15720 S KEELER ST STE 100 OLATHE KS 66062-3628
HOMEYER LAWN SPRINKLER LLC             PO BOX 22911 LITTLE ROCK AR 72221-2911
HONEST AND INTEGRAL SERVICES LLC       3246 S 92ND ST MILWAUKEE WI 53227-4414
HONOLULU CITY & COUNTY TAX COLLECTOR   PO BOX 4200 HONOLULU HI 96812-4200
HONOLULU COMMERCIAL CARPET CLEANING LLC DBA THE COMMERCIAL CLEANING SERVICES 1136 UNION MALL STE 600 HONOLULU HI



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HONOLULU COMMERCIAL CARPET CLEANING LLC 96813-2711
HOODS CLEANED INC                       5379 LYONS ROAD 149 COCONUT CREEK FL 33073
HOOSIER LAWN SERVICES LLC               PO BOX 96 LEO IN 46765-0096
HOP AND WINE BEVERAGE LLC               22714 GLENN DRIVE SUITE 130 STERLING VA 20164
HOPE BUILDERS INC                       7611 G RICKENBACKER DRIVE GAITHERSBURG MD 20879-4784
HOPE GAS INC                            PO BOX 646049 PITTSBURGH PA 15264-6049
HORIZON CHILLICOTHE TELEPHONE           PO BOX 480 CHILLICOTHE OH 45601-0480
HORIZON SIGNS LLC                       1520 ALLENTOWN RD QUAKERTOWN PA 18951-3790
HORLBECK LLC AG THOMPSON, RA CURRY TTEE R A CURRY TR 1 10-12-94, MG ASSOC LLC CO THOMPSON CO, MG ASSOC LLC CO THOMPSON
                                        CO PO BOX 50909 COLUMBIA SC 29250
HORN AYLWARD & BANDY, LLC               ATTN:ROBERT PITKIN 2600 GRAND BLVD    SUITE 1100 KANSAS CITY MO 64108
HORN, ALTONETTE                         ADDRESS ON FILE
HORNBACK, TABITHA                       ADDRESS ON FILE
HORRY COUNTY HOSPITALITY FEE DEPARTMENT P.O. BOX 1275 CONWAY SC 29528
HORRY COUNTY TREASURER                  PO BOX 260107 CONWAY SC 29528-6107
HORRY COUNTY TREASURERS OFFICE          BOARD OF COUNTY COMMISSIONERS CONSUMER & VETERANS SERVICES CONWAY SC 29528
HORRY COUNTY TREASURERS OFFICE          PO BOX 1275 CONWAY SC 29528
HORSEHEADS CENTRAL SCHOOL DISTRICT      TAX COLLECTOR PO BOX 1077 ELMIRA NY 14902
HORTON AUTOMATICS OF ONTARIO            1150 BLAIR ROAD UNIT 1 BURLINGTON ON L7M 3T4 CANADA
HOSHIZAKI AMERICA INC                   DEPT 2547 PO BOX 122547 DALLAS TX 75312-2547
HOSPITALITY CAREERS ONLINE INC          BANK OF AMERICA,NATIONAL ASSOCIATION CANADA BRANCH, LBX 917100 PO BOX 4090 STN
                                        A TORONTO ON M5W 0E9 CANADA
HOSPITALITY RESOURCE SUPPLY INC         499 N STATE ROAD 434 SUITE 1005 ALTAMONTE SPRINGS FL 32714
HOT SPRINGS ADVERTISING & PROMOTION     TAX COLLECTION DEPARTMENT P.O. BOX 6000 HOT SPRINGS AR 71902
COMM
HOT TECH PRESSURE WASHING LLC           DBA HOT TECH PRESSURE WASHING 15076 E SHADOW CREEK DR BILOXI MS 39532-8567
HOTEL & RESTAURANT SUPPLY               PO BOX 6 MERIDIAN MS 39302-0006
HOTEL APPRAISALS LLC                    DBA HVS EXECUTIVE SEARCH 13727 SW 152ND ST PMB 1040 MIAMI FL 33177-1106
HOUDEK, MATTHEW                         ADDRESS ON FILE
HOUSE MEDIC INC                         PO BOX 685 MONROVIA CA 91017-0685
HOUSE OF LAROSE INC                     6745 SOUTHPOINTE PKWY BRECKSVILLE OH 44141
HOUSE OF SCHWAN                         3636 NORTH COMOTARA WICHITA KS 67226
HOUSEHOLD CENTRALIZED SERVICE INC       2052 SYLVANIA AVE TOLEDO OH 43613
HOUSTON CO ENVIRONMENTAL HEALTH DEPT    98 COHEN WALKER DRIVE WARNER ROBINS GA 31088
HOUSTON COUNTY HEALTH DEPARTMENT        PO DRAWER 2087 DOTHAN AL 36302-2087
HOUSTON COUNTY HEALTH DEPARTMENT        PO BOX 1275 DOTHAN AL 36302-2087
HOUSTON COUNTY REVENUE COMMISSIONER     PO BOX 6406 DOTHAN AL 36302
HOUSTON COUNTY TAX COMMISSIONER         200 CARL VINSON PKWY WARNER ROBINS GA 31088
HOUSTON HEALTH & HUMAN RES DEPARTMENT   8000 N STADIUM DR CASHIER HOUSTON TX 77054
HOUSTON LOCKSMITH INC                   10210 WESTHEIMER HOUSTON TX 77042-3116
HOUSTON WASTE SERVICES LLC              460 WILDWOOD FOREST DR SUITE 100 SPRING TX 77380
HOWARD & HOLMES INC                     DBA CARETECH MECHANICAL SERVICES 3208 45TH STREET LUBBOCK TX 79413-3514
HOWARD & HOWARD ATTORNEYS PLLC          ATTN: PATRICK HOWE 450 W. FOURTH STREET ROYAL OAK, MICHIGAN 48067 ROYAL OAK MI
                                        48067
HOWARD ABRAHAM C R L                    ADDRESS ON FILE
HOWARD COUNTY BOARD OF HEALTH           PO DRAWER 2087 KOKOMO IN 46901
HOWARD COUNTY BOARD OF HEALTH           120 E MULBERRY ST RM 206 KOKOMO IN 46901
HOWARD COUNTY CLERK OF CIR CRT          120 E MULBERRY ST RM 206 ELLICOTT CITY MD 21043
HOWARD COUNTY CLERK OF CIR CRT          8360 COURT AVE ELLICOTT CITY MD 21043
HOWARD COUNTY DEPARTMENT OF FINANCE     DIRECTOR OF FINANCE PO BOX 2748 ELLICOTT CITY MD 21041-2748


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HOWARD COUNTY DEPARTMENT OF FINANCE   8360 COURT AVE ELLICOTT CITY MD 21041-2748
HOWARD COUNTY DIRECTOR OF FINANCE     PO BOX 37237 BALTIMORE MD 21297-3237
HOWARD COUNTY POLICE DEPT             AUTOMATED ENFORCEMENT DIRECTOR OF FINANCE PO BOX 17414 BALTIMORE MD 21297-1414
HOWARD COUNTY TREASURER               220 N MAIN ST RM 226 KOKOMO IN 46901
HOWARD EQUIPMENT SERVICES INC         DBA LEES FOODSERVICE PARTS & REPAIR 230 W LAURA DRIVE ADDISON IL 60101
HOWARD GARRETT                        ADDRESS ON FILE
HOWARD J LEBLANC                      ADDRESS ON FILE
HOWARD VOLZ                           ADDRESS ON FILE
HOWARTH, GLENN S.                     ADDRESS ON FILE
HOWE INC                              C/O HOWE HEATING & PLUMBING INC 712 EAST 3RD STREET SIOUX FALLS SD 57103-0801
HQ LOCK LLC                           C/O MR LOCKSMITH 3321 TIDEWATER CT OLNEY MD 20832-1423
HQLC INDUSTRIES                       O/A 1008445 ALBERTA LTD 103-315 SLATE AVE STONY PLAIN AB T7Z 0J2 CANADA
HRJ WINDOW CLEANING INCORPORATED      DBA FISH WINDOW CLEANING 351 NW 12TH ST BLUE SPRINGS MO 64015-3644
HRSD/HRUBS                            PO BOX 37097 BOONE IA 50037-0097
HS POSTERS INC                        PO BOX 24348 DENVER CO 80224
HSBC                                  ATTN: PATRICK J. GARCIA 1441 BRICKELL AVE, 16TH FLOOR SUITE 1600 MIAMI FL
                                      33131
HSL ACQUISITIONS LLC                  DBA HOOGERHYDE SAFE & LOCK 1033 LEONARD ST NW GRAND RAPIDS MI 49504-4135
HUANG, CHUNG                          ADDRESS ON FILE
HUB GROUP INC                         DBA CHOPTANK TRANSPORT LLC 3601 CHOPTANK RD PRESTON MD 21655-1220
HUBBARD PLUMBING & DRAIN CLEAN        DBA ROTO-ROOTER PLUMBERS 7275 TOWER RD BATTLECREEK MI 49014
HUBER DECOR INC                       CUSTOM PERMANENT PLANTS 2216 PLANTSIDE DRIVE LOUISVILLE KY 40299
HUDSON ENERGY CANADA CORP             C/O CX2516C PO BOX 2591 STN M CALGARY AB T2P0A3 CANADA
HUERTA VENTURES LLC                   DBA A AND S LAWNCARE PO BOX 21196 AMARILLO TX 79114-3196
HUERTAS LANDSCAPE SERVICES            PO BOX 3896 VISALIA CA 93278-3896
HUGHES TRASH REMOVAL INC              PO BOX 259 HAMPSTEAD MD 21074-0283
HUGHES, JOHN                          ADDRESS ON FILE
HUGHES, THOMAS                        ADDRESS ON FILE
HUGO M MENDEL                         ADDRESS ON FILE
HUMAN RIGHTS BUREAU                   33 S. LAST CHANCE GULCH, SUITE 2 P.O. BOX1728 HELENA MT 59624-1728
HUMBERTO HERRANDEZ                    ADDRESS ON FILE
HUMBERTO RAMIREZ MARIN                ADDRESS ON FILE
HUMBLE ISD TAX COLLECTOR              PO BOX 4020 HOUSTON TX 77210
HUMITECH OF IOWA INC                  DBA GASKET GUY OF CENTRAL LOWA PO BOX 1027 WAUKEE IA 50263-1027
HUMITECH OF NORTHERN UTAH LC          11382 S RED CARDINAL WAY SOUTH JORDAN UT 84009-1257
HUMPHREY, LINDSEY                     ADDRESS ON FILE
HUNT COUNTY TAX ASSESSOR/COLLECTOR    PO BOX 1042 GREENVILLE TX 75403-1042
HUNT COUNTY TAX OFFICE                DIRECTOR OF FINANCE PO BOX 2748 GREENVILLE TX 75403-1042
HUNT COUNTY TAX OFFICE                TAX COLLECTOR PO BOX 1042 GREENVILLE TX 75403-1042
HUNT ELECTRIC CORPORATION             CM 9488 ST PAUL MN 55170-9488
HUNT, ROBERT                          ADDRESS ON FILE
HUNTER EQUITIES 309 LLC               DBA YYRL S PADRE ISLAND DRIVE OWNER LLC C/O FEDERMAN STEIFMAN LLP 220 EAST
                                      42ND STREET 29TH FLOOR NEW YORK NY 10017
HUNTER EQUITIES 326 LLC               TEXAS BANK F/B/O 100 IH 35 NORTH OWNER LLC 998 WOLFE NURSERY RD STEPHENVILLE
                                      TX 76401-1902
HUNTER, SMITH & DAVIS LLP             ATTN:MARCY WALKER 100 MED TECH PARKWAY SUITE 110 JOHNSON CITY TN 37604
HUNTER-PRELL COMPANY                  149 RICHMOND AVE BATTLE CREEK MI 49014
HUNTINGTON SANITARY BOARD             ADDRESS ON FILE
HUNTINGTON SANITARY BOARD             ADDRESS ON FILE
HUNTINGTON SANITARY BOARD             ADDRESS ON FILE


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HUNTSVILLE UTILITIES, AL                HUNTSVILLE UTILITIES HUNTSVILLE AL 35895
HURLEY, NICHOLAS                        ADDRESS ON FILE
HURLSTON, ANNA                          ADDRESS ON FILE
HURRICANE GLASS INC                     PO BOX 61 SO HOUSTON TX 77587
HURRICANE ICE LLC                       9570 NW 32ND MNR SUNRISE FL 33351-7113
HURST SAVAGE & VANDERBURG, L.L.P.       ATTN: SUSAN J. SAVAGE 814 W. 10TH STREET AUSTIN TX 78701-2005
HURST, SHAWN                            ADDRESS ON FILE
HUSSAIN, ROMAANA                        ADDRESS ON FILE
HUSTON ELECTRIC INC                     PO BOX 904 KOKOMO IN 46903
HUTCHERSON PLUMBING & AIR INC           6901 JENNY LIND ROAD A FORT SMITH AR 72908
HUTCHESON, ZULEMA                       ADDRESS ON FILE
HUTCHINSON ELECTRIC LLC                 374 COOLSPRING JUMONVILLE RD HOPWOOD PA 15445-2407
HUTCHINSON, THANIYYAH                   ADDRESS ON FILE
HVC PLUMBING SERVICE INC                DBA EX-STINK PLUMBING & SEWER 19 HILLCREST AVE FOX LAKE IL 60020-1814
HY-VEE FOODS INC                        4500 SERGEANT RD SIOUX CITY IA 51106
HYATT AIR CONDITIONING AND              5401 N. HAVERHILL ROAD STE 115 WEST PALM BEACH FL 33407
REFRIGERATION
HYDE-STONE MECHANICAL CONTR INC         22962 MURROCK CIRCLE WATERTOWN NY 13601
HYDRO ONE NETWORKS, INC.                PO BOX 4102 STATION A TORONTO ON M5W3L3 CANADA
HYDRO OTTAWA                            PO BOX 8700 OTTAWA ON K1G 3S4 CANADA
HYDROMAX PLUMBING INC                   DBA ROTO ROOTER 2501 S KENTUCKY AVE EVANSVILLE IN 47714-4510
HYGIENE CONSULTING SOLUTIONS INC        4111 MONTROSE CRESCENT BURLINGTON ON L7M 4J4 CANADA
HYGIENE MASTERS INC                     DBA ENVIRO MASTER SVCS OF INDIANAPOLIS 13869 BERENGER LN CARMEL IN 46032-9415
HYGINIX LLC                             3830 VALLEY CTR DR 705 PMB 745 SAN DIEGO CA 92130-3307
HYMAS LLC                               DBA WHITE RIVER CHEM DRY 809 N CHERRY WOOD LN MUNCIE IN 47304-9343
HYMES, RONJANICA                        ADDRESS ON FILE
I D ASSOCIATES INC                      1771 INDUSTRIAL RD DOTHAN AL 36303-5737
I H CAFFEY DISTRIBUTING CO INC          8749 WEST MARKET STREET GREENSBORO NC 27409-9699
I H S DISTRIBUTING CO INC               1800 DOUGLAS AVENUE KALAMAZOO MI 49007
I R T MOBILE PRESSURE WASHING SERVICE   2345 JAMES ST STE 1 CORALVILLE IA 52241-1892
I-57 JUNK REMOVAL LLC                   DBA LUKE BECERRA 555 S SCHUYLER AVE STE 275 KANKAKEE IL 60901-5165
I-80 LIQUOR                             2411 SOUTH 24TH STREET SUITE 1 COUNCIL BLUFFS IA 51501
IBN INC                                 23679 CALABASAS ROAD 276 CALABASAS CA 91302
ICEMAN                                  782 ADELAIDE STREET WEST TORONTO ON M6J 1B4 CANADA
ICEWORKS L P                            9224 B RESEARCH BLVD AUSTON TX 78758
ICIMS INC                               29348 NETWORK PL CHICAGO IL 60673-1293
ICONTROL SYSTEMS USA LLC                9710 TRAVILLE GATEWAY DR 306 ROCKVILLE MD 20850-7408
ICU INDUSTRIES                          DBA COPPERSTATE GLASS AND MIRROR 4300 S 38TH ST D130 PHOENIX AZ 85040-3032
ICU SECURITY & PRIVATE INVESTIGATIONS   22101 FABCO RD STE 5 WATERTOWN NY 13601-1737
ICU SERVICE COMPANY                     DBA ICU MECHANICAL COMPANY PO BOX 6866 LAFAYETTE IN 47903-6866
ID SEAFOOD LLC                          ATTN: MATT WATERMAN 15915 VENTURA BOULEVARD, PH2 ENCINO CA 91436
ID SEAFOOD LLC                          ATTN MATT WATERMAN 15915 VENTURA BLVD PH 2 ENCINO CA 91436-4439
IDA STEVENSON                           ADDRESS ON FILE
IDAHO ATTORNEY GENERALS OFFICE          CONSUMER PROTECTION DIVISION 954 W JEFFERSON 2ND FL BOISE ID 83720
IDAHO COMMISSION ON HUMAN RIGHTS        317 WEST MAIN STREET BOISE ID 83702
IDAHO DEPT OF ENVIRONMENTAL QUALITY     1410 N HILTON ST BOISE ID 83706
IDAHO DEPT OF LABOR                     317 W. MAIN ST BOISE ID 83735
IDAHO DEPT OF LABOR                     UNEMPLOYMENT INSURANCE 317 W MAIN ST BOISE ID 83735
IDAHO DEPT OF WATER RESOURCES           IDAHO WATER CENTER 322 E FRONT ST STE 648 BOISE ID 83702-7371



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IDAHO DEPT OF WATER RESOURCES          PO BOX 83720 BOISE ID 83720-0098
IDAHO POWER                            PO BOX 5381 PROCESSING CENTER CAROL STREAM IL 60197-5381
IDAHO STATE LIQUOR DIVISION            PO BOX 59 BOISE ID 83707
IDAHO STATE TAX COMMISSION             440 FALLS AVE TWIN FALLS ID 83301-3320
IDAHO STATE TAX COMMISSION             150 SHOUP AVE STE 16 IDAHO FALLS ID 83402
IDAHO STATE TAX COMMISSION             1118 F ST LEWISTON ID 83501
IDAHO STATE TAX COMMISSION             PO BOX 76 BOISE ID 83707
IDAHO STATE TAX COMMISSION             11321 W CHINDEN BLVD BOISE ID 83714-1021
IDAHO STATE TAX COMMISSION             1910 NORTHWEST BLVD STE 100 COEUR DALENE ID 83814-2371
IDAHO STATE TREASURER                  UNCLAIMED PROPERTY DIVISION 304 N 8TH ST STE 208 BOISE ID 83702
IDAHO STATE TREASURER                  UNCLAIMED PROPERTY DIVISION PO BOX 83720 BOISE ID 83720-9101
IDENTITEK SYSTEMS INC                  ADAMS SIGNS PO BOX 347 MASSILLON OH 44648
IDENTITY REHAB CORPORATION             DBA ID WATCHDOG PO BOX 71221 CHARLOTTE NC 28272-1221
IDRIS CALDWELL                         ADDRESS ON FILE
IF&P HOLDING COMPANY LLC               DBA PIAZZA PRODUCE & SPECIALTY FOODS PO BOX 639476 CINCINNATI OH 45263-9476
IG IGLOO HOLDINGS INC                  DBA INSIGHT GLOBAL LLC PO BOX 198226 ATLANTA GA 30384-8226
IG TRUE GRIT PARENT HOLDINGS INC       DBA INSIGHT GLOBAL LLC 1224 HAMMOND DR NE STE 1500 ATLANTA GA 30346-1537
IGOR V OSAULA                          DBA TAPMAN IVO PO BOX 77402 SEATTLE WA 98177
IGS ENERGY                             PO BOX 936613 ATLANTA GA 31193-6613
IGS ENERGY                             PO BOX 936626 ATLANTA GA 31193-6626
IGS ENERGY/CHICAGO                     2560 MOMENTUM PLACE CHICAGO IL 60689-5325
ILE COMMERCIAL UPHOLSTERY LLC          DBA FLORIN ILE 10645 N TATUM BLVD STE 200-639 PHOENIX AZ 85028-3068
ILENE FLAUM                            ADDRESS ON FILE
ILHARDT, MARY                          ADDRESS ON FILE
ILLIANA REALTY                         DBA JERRY GIBBS PO BOX 4609 LAFAYETTE IN 47903-4609
ILLINOIS AMERICAN WATER                PO BOX 6029 CAROL STREAM IL 60197-6029
ILLINOIS CHARITY BUREAU FUND           100 WEST RANDOLPH ST 11TH FLOOR CHICAGO IL 60601
ILLINOIS DEPARTMENT OF REVENUE         RETAILERS OCCUPATION TAX SPRINGFIELD IL 62796-0001
ILLINOIS DEPT OF EMPLOYMENT SECURITY   7650 MAGNA DR, STE 120 BELLEVILLE IL 62223
ILLINOIS DEPT OF LABOR                 160 N. LA SALLE STREET C-1300 CHICAGO IL 60601
ILLINOIS DEPT OF LABOR                 524 S. 2ND STREET STE 400 SPRINGFIELD IL 62701
ILLINOIS DEPT OF NATURAL RESOURCES     ONE NATURAL RESEOURCES WAY SPRINGFIELD IL 62702-1271
ILLINOIS DEPT OF REVENUE               SUBURBAN N REGIONAL BLDG 9511 HARRISON ST DES PLAINES IL 60016-1563
ILLINOIS DEPT OF REVENUE               555 W MONROE, STE 1100 CHICAGO IL 60661
ILLINOIS DEPT OF REVENUE               200 S WYMAN ST ROCKFORD IL 61101
ILLINOIS DEPT OF REVENUE               15 EXECUTIVE DR STE 2 FAIRVIEW HEIGHTS IL 62208-1331
ILLINOIS DEPT OF REVENUE               2309 W MAIN ST STE 114 MARION IL 62959-1196
ILLINOIS ENVIRONMENTAL PROTECTION      1021 N GRAND AVE E PO BOX 19276 SPRINGFIELD IL 62794-9276
AGENCY
ILLINOIS GAMBINO LANDSCAPING INC       ROSARIO GAMBINO & SON LANDSCAPING INC 441 PODLIN DR FRANKLIN PARK IL
                                       60131-1009
ILLINOIS LIQUOR CONTROL COMM           PO BOX 7098 CHICAGO IL 60601
ILLINOIS LIQUOR CONTROL COMM           100 W RANDOLPH STREET SUITE 7-801 CHICAGO IL 60601
ILLINOIS OFFICE OF THE ATTORNEY GENERAL CHICAGO CONSUMER FRAUD BUREAU 100 W RANDOLPH ST CHICAGO IL 60601
ILLINOIS OFFICE OF THE ATTORNEY GENERAL SPRINGFIELD CONSUMER FRAUD BUREAU 500 S 2ND ST SPRINGFIELD IL 62701
ILLINOIS OFFICE OF THE ATTORNEY GENERAL CARBONDALE CONSUMER FRAUD BUREAU 601 S UNIVERSITY AVE CARBONDALE IL 62901
ILLINOIS SECRETARY OF STATE            DEPARTMENT OF BUSINESS SVCS LIMITED LIABILITY DIVISION 501 S SECOND ST RM 351
                                       SPRINGFIELD IL 62756
ILLINOIS VALLEY EXCAVATING INC         4301 PLANK ROAD PERU IL 61354
ILLINOIS WHOLESALE CASH REGISTER INC   DBA IW TECHNOLOGIES 2790 PINNACLE DRIVE ELGIN IL 60124


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ILLINOIS WINDOW CLEANING SERVICE INC     403 N SENECA TOWER HILL IL 62571
IMAGE SIGNS INC                          1720 B MARGARET AVENUE ALTOONA PA 16602
IMAGEPRO SIGNS & LIGHTING                PO BOX 2810 DALLAS GA 30132-0048
IMMACULATE LAWN CARE LLC                 2865 LAUREL PARK SAGINAW MI 48603
IMPERIAL BEVERAGE COMPANY                3825 EMERALD DR KALAMAZOO MI 49001-7919
IMPRINTLOGO LLC                          DBA CRAIG M STEPHENS 4125 E KIRK RD UNIT 8 PORT CLINTON OH 43452-4511
IN LIKE FLYNN HVAC LLC                   DBA ERROL BRAKER 1303 11TH AVE LEWISTON ID 83501-3003
INC., ECOLAB                             150 SOUTH FIFTH STREET SUITE 1200 MINNEAPOLIS MN 55402
INC., MERKLE                             7001 COLUMBIA GATEWAY DRIVE COLUMBIA MD 21046
INCEPT BEVERAGE INC                      350 NORTHLAND BLVD SPRINGDALE OH 45246-3606
INCO BEVERAGE INC                        147 ALLISON DRIVE JOHNSTOWN PA 15904
INCONTACT INC                            DBA NICE NICE INCONTACT THE NICE GROUP LOCKBOX 0268 PO BOX 7247 PHILADELPHIA
                                         PA 19170-0268
INDEED INC                               MAIL CODE 5160 PO BOX 660367 DALLAS TX 75266-0367
INDEED IRELAND OPERATIONS LTD            C/O T11189 PO BOX 11000 STATION A TORONTO ON M5W 2G5 CANADA
INDEPENDENCE PROPERTIES 348 LLC          DBA YYRL S PADRE ISLAND DR OWNER 2 LLC C/O FEDERMAN STEIFMAN LLP 220 EAST 42ND
                                         STREET 29TH FLOOR NEW YORK NY 10017
INDEPENDENT LOCK AND PARTS LLC           PO BOX 21308 BILLINGS MT 59104-1308
INDEPENDENT VENTURES LLC                 DBA GASKET GUY OF NORTHWESTERN VIRGINIA 4621 SLATE MILLS RD BOSTON VA
                                         22713-4426
INDEX RESTAURANT SUPPLY                  521 MAIN ST KANSAS CITY MO 64105
INDIANA ALCOHOL AND TOBACCO COMMISSION   DEPARTMENT OF BUSINESS SVCS LIMITED LIABILITY DIVISION INDIANAPOLIS IN 46204
INDIANA ALCOHOL AND TOBACCO COMMISSION   302 W WASHINGTON ROOM E114 INDIANAPOLIS IN 46204
INDIANA AMERICAN WATER                   PO BOX 6029 CAROL STREAM IL 60197-6029
INDIANA DEPARTMENT OF LABOR              402 W. WASHINGTON ST ROOM W195 INDIANAPOLIS IN 46204
INDIANA DEPARTMENT OF REVENUE            7230 ENGLE RD., STE. 314 FT WAYNE IN 46804
INDIANA DEPARTMENT OF REVENUE            3640 N BRIARWOOD LN STE 5 MUNCIE IN 47304
INDIANA DEPARTMENT OF REVENUE            208 STATE OFFICE BLDG INDIANAPOLIS IN 46204
INDIANA DEPARTMENT OF REVENUE            PO BOX 7229 INDIANAPOLIS IN 46207-7229
INDIANA DEPARTMENT OF REVENUE            1411 E 85TH AVE MERRILLVILLE IN 46410
INDIANA DEPARTMENT OF REVENUE            105 E JEFFERSON BLVD STE 350 SOUTH BEND IN 46601
INDIANA DEPARTMENT OF REVENUE            124 W SUPERIOR ST KOKOMO IN 46901
INDIANA DEPARTMENT OF REVENUE            1200 MADISON ST STE E CLARKSVILLE IN 47129
INDIANA DEPARTMENT OF REVENUE            4475 RAY BOLL BLVD COLUMBUS IN 47203
INDIANA DEPARTMENT OF REVENUE            1531 S CURREY PIKE STE 400 BLOOMINGTON IN 47403
INDIANA DEPARTMENT OF REVENUE            500 S GREEN RIVER RD STE 202, GOODWILL BLDG EVANSVILLE IN 47715
INDIANA DEPARTMENT OF REVENUE            30 N 8TH ST 3RD FL TERRE HAUTE IN 47807
INDIANA DEPARTMENT OF REVENUE            100 EXECUTIVE DR STE B LAFAYETTE IN 47905
INDIANA DEPT OF ENVIRONMENTAL MGMT       INDIANA GOVERNMENT CENTER NORTH 100 N SENATE AVE INDIANAPOLIS IN 46204-2251
INDIANA DEPT OF NATURAL RESOURCES        402 W WASHINGTON ST INDIANAPOLIS IN 46204
INDIANA DEPT OF WORKFORCE DEVELOPMENT    INDIANA GOVERNMENT CTR SOUTH 10 N SENATE AVE INDIANAPOLIS IN 46204
INDIANA DEPT OF WORKFORCE DEVELOPMENT    10 N. SENATE AVENUE INDIANAPOLIS IN 46204
INDIANA MICHIGAN POWER                   PO BOX 371496 PITTSBURGH PA 15250-7496
INDIANA OFFICE OF THE ATTORNEY GENERAL   CONSUMER PROTECTION DIVISION 302 W WASHINGTON ST, 5TH FL INDIANAPOLIS IN 46204
INDIANA STATE BUILDING COMMISSIONER      DEPARTMENT OF FIRE & BLDG SERVICES 402 W WASHINGTON ST RM E245 INDIANAPOLIS IN
                                         46204
INDIGO SIGNWORKS INC                     PO BOX 1476 FARGO ND 58107-1476
INDOOR COMFORT INC                       3820 SOUTH CENTRAL AVENUE PHOENIX AZ 85040-1016
INDUSTRIAL & COMMERCIAL CLEANING INC     1460 BROADWAY NEW YORK NY 10036-7329
INDUSTRIAL COMMISSION OF ARIZONA         LABOR DEPARTMENT 800 W. WASHINGTON ST PHOENIX AZ 85007


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INDUSTRIAL GROUNDS MAINTENANCE          102 NEVERSINK ST READING PA 19602
INDUSTRIAL PLUMBING & HTG INC           2801 NORTHWEST 10TH STREET OKLAHOMA CITY OK 73107
INDUSTRIAL STEAM CLEANING INC           DBA ISC HOOD & DUCT CLEANING 290 UNIVERSITY DR PONTIAC MI 48342-2367
INDUSTRY SUPPLY & SERVICES              DBA GARROWS DRAFT SERVICE PO BOX 182 GREENSBURG PA 15601-0182
INDY MOBILE WASH INC                    13608 NORTH WESTERN ROAD CAMBY IN 46113
INFINITE PLUMBING SERVICES LLC          2205 GENERAL ANDERSON RD VANCOUVER WA 98661-6113 WA 98661-6113
INFINITE TALENT INC                     FKA PIONEER HOLDBULL INC 2600 TOWER OAKS BLVD STE 700 ROCKVILLE MD 20852-4240
INFINITY CLEANING SYSTEMS LLC           8917 E SUNLAND AVE MESA AZ 85208-2948
INFINITY ELECTRIC AND SERVICE COMPANY   3600 MORGANTOWN INDUSTRIAL PARK STE 102 MORGANTOWN WV 26501-2490
INFINITY MECHANICAL INC                 PO BOX 498 CARROLL OH 43112
INFLIGHT CORPORATION                    DBA INFLIGHT CORP, A SUB OF SKUID INC 605 CHESTNUT ST STE 800 CHATTANOOGA TN
                                        37450-5507
INFORMA MEDIA INC                       PO BOX 2100 SKOKIE IL 60076-7800
INFORMATICA LLC                         PO BOX 741089 LOS ANGELES CA 90074-1089
INFOSEA CO                              DBA CHANG INTERNATIONAL INC 3010 77TH AVE SE STE 204 MERCER ISLAND WA
                                        98040-2842
INFOSYS BPM LIMITED                     ATTN: JOEL VARGHESE PLOTS NOS. 26/3, 26/4, 26,6 ELECTRONICS CITY BANGALORE KA
                                        560 100 INDIA
INFOSYS BPM LIMITED                     BOA LOCKBOX SERVICES 13539 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
INGENICO INC                            3025 WINDWARD PLAZA SUITE 600 ALPHARETTA GA 30005
INGHAM COUNTY HEALTH DEPARTMENT         PO BOX 30161 LANSING MI 48909-7661
INGHAM COUNTY HEALTH DEPARTMENT         302 W WASHINGTON ROOM E114 LANSING MI 48909-7661
INGRID E HALL                           ADDRESS ON FILE
INGRID HERNANDEZ                        ADDRESS ON FILE
INGWERSEN ENTERPRISES INC               DBA BEVERAGE BARN 1901 TIFFIN AVE FINDLAY OH 45840-6752
INHOUSE CREATIVE GROUP LLC              16202 APALACHEE CIR CLERMONT FL 34711-6205
INKD OUT ELECTRICAL SERVICE LLC         C/O YESCO 719 INDUSTRIAL PARK DR STE C NEWPORT NEWS VA 23608-1358
INLAND COMMERCIAL APPLIANCE SERVICE     25474 FRAN LOU DRIVE MORENO VALLEY CA 92557-5213
INLAND WASTE SOLUTIONS                  PO BOX 1700 LOWELL AR 72745
INNERGREEN INC                          90 E ESCALON SUITE 113 FRESNO CA 93710-5199
INNISS, NATASHA                         ADDRESS ON FILE
INNOVATIVE HOOD PRO                     ADDRESS ON FILE
INNOVATIVE ORIGINAL SOLUTIONS LLC       DBA SUPERIOR SIGNS AND GRAPHICS 4312 S MINGO RD TULSA OK 74146-4734
INS BROKERS INC                         DBA VIATEK SOLUTIONS 11399 47TH ST N CLEARWATER FL 33762-4963
INSIGHT MECHANICAL CONTRACTORS LLC      9204 EAST 350 HIGHWAY RAYTOWN MO 64133-5753
INTEGRATED COMMUNICATION SERVICES LLC   DBA MATTHEW CALDWELL PO BOX 240 BALLENTINE SC 29002-0240
INTEGRATIVE ELECTRIC                    3153 MADDIE CT GRAND JUNCTION CO 81503-8601
INTEGRITY ACQUISITION CO LLC            DBA INTEGRITY HEAT AND AIR 2024 RUHL DR STE A GUTHRIE OK 73044-6054
INTEGRITY PLUMBING INC                  14504 GROVER ST OMAHA NE 68144-3242
INTEGRITY WATER SOLUTIONS LLC           DBA KINETICO OF DAYTON 3870 INDIAN RIPPLE ROAD DAYTON OH 45440
INTER VAC SECURITY SYSTEMS LLC          PO BOX 1366 SMYRNA TN 37167-1366
INTERACTIONS INC                        DBA PEPSI COLA BOTTLING CO HOOSIER REFRESHMENT CO PO BOX 449 LOGANSPORT IN
                                        46947-0449
INTERACTIVE COMMUNICATIONS              DBA INCOMM PO BOX 935359 ATLANTA GA 31193-5359
INTERNATIONAL
INTERCEPTOR MANAGEMENT SYSTEMS INC      PO BOX 294 HAWTHORNE NJ 07507
INTERCONN RESOURCES LLC                 HOU 1029 PO BOX 650998 DALLAS TX 75265-0998
INTERFACE SECURITY SYSTEMS LLC          8339 SOLUTIONS CENTER CHICAGO IL 60677-8003
INTERIOR GARDENS LLC                    1629 E 18TH AVE SPOKANE WA 99203-3705
INTERIOR GREEN INC                      1812B OLDE HOMESTEAD LANE LANCASTER PA 17601


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INTERIOR GREENSCAPES INC                 PO BOX 140758 GARDEN CITY ID 83714-0758
INTERIORSCAPES INC                       PO BOX 215 HAINESPORT NJ 08036
INTERMETRO INDUSTRIES CORP               PO BOX 857124 MINNEAPOLIS MN 55485-7124
INTERMOUNTAIN DIST CO                    PO BOX 1772 BILLINGS MT 59103
INTERMOUNTAIN GAS COMPANY                PO BOX 5600 BISMARCK ND 58506-5600
INTERNAL REVENUE SERVICE                 CENTRALIZED INSOLVENCY PO BOX 7346 PHILADELPHIA PA 19101-7346
INTERNAL REVENUE SERVICE LOCAL OFFICE    600 ARCH STREET PHILADELPHIA PA 19106
INTERNAL REVENUE SERVICE LOCAL OFFICE    844 KING ST WILMINGTON DE 19801
INTERNAL REVENUE SERVICE LOCAL OFFICE    611 S. DUPONT HWY DOVER DE 19904
INTERNAL REVENUE SERVICE LOCAL OFFICE    21309 BERLIN RD UNIT 13 GEORGETOWN DE 19947
INTERNATIONAL CIO LEADERSHIP             DBA INSPIRE LEADERSHIP NETWORK 1 CONCOURSE PKWY STE 100 ATLANTA GA 30328-5384
ASSOCIATION
INTERNATIONAL COVERS INC                 PO BOX 935 UNION KY 41091
INTERSTATE MANAGEMENT LLC                PO BOX 3142 BRISTOL TN 37625-3142
INTERSTATE WASTE SERVICES                PO BOX 554744 DETROIT MI 48255-4744
IOWA AMERICAN WATER COMPANY              PO BOX 6029 CAROL STREAM IL 60197-6029
IOWA BEVERAGE SYSTEMS INC                11125 HIGH LIFE CT SW CEDAR RAPIDS IA 52404-7602
IOWA DEPT OF ADMINISTRATIVE SVCS         1305 E. WALNUT DES MOINES IA 50319
IOWA DEPT OF INSPECTIONS & APPEALS       FOOD & CONSUMER SAFETY BUREAU 321 E 12TH STREET LUCAS BLDG DES MOINES IA 50319
IOWA DEPT OF NATURAL RESOURCES           WALLACE STATE OFFICE BLDG 502 E 9TH ST, 4TH FL DES MOINES IA 50319-0034
IOWA DEPT OF REVENUE                     SALES/USE TAX PROCESSING PO BOX 10412 DES MOINES IA 50306-0412
IOWA DIVISION OF LABOR                   150 DES MOINES STREET DES MOINES IA 50309-1836
IOWA OFFICE OF THE ATTORNEY GENERAL      CONSUMER PROTECTION DIVISION HOOVER STATE OFFICE BUILDING 1305 E WALNUT ST DES
                                         MOINES IA 50319
IOWA PEACE OFFICERS ASSOCIATION          8565 HARBACH BLVD STE 305 CLIVE IA 50325-1038
IOWA WORKFORCE DEVELOPMENT               1000 EAST GRAND AVENUE DES MOINES IA 50309
IOWA WORKFORCE DEVELOPMENT               UNEMPLOYMENT INSURANCE SERVICES 1000 E GRAND AVE DES MOINES IA 50319-0209
IPFS CORPORATION OF CALIFORNIA           3 HUTTON CENTRE DR STE 630 SANTA ANA CA 92707-8747
IPSOS INSIGHT LLC                        PO BOX 36076 NEWARK NJ 07188-6076
IPSOS-INSIGHT, LLC                       THE HELMSLEY BUILDING 18TH FLOOR NEW YORK NY 10169
IREDELL COUNTY TAX COLLECTOR             FIRST CITIZENS BANK PO BOX 63030 CHARLOTTE NC 28263-3030
IREDELL COUNTY TAX COLLECTOR             PO BOX 788 STATESVILLE NC 28677
IRENE MELTON                             ADDRESS ON FILE
IRISH CARBONIC/WELDING SUPPLY            DBA IRISH WELDING & CARBONIC CORP PO BOX 409 BUFFALO NY 14212-0409
IRMA R FLOYD                             ADDRESS ON FILE
IRMO LOCK COMPANY INC                    7418 WOODROW STREET IRMO SC 29063
IRON CITY EXPRESS                        1306 MAIN ST CRESCENT TOWNSHIP PA 15046
IRON MOUNTAIN CANADA OPERATIONS ULC      DBA IRON MOUNTAIN CANADA PO BOX 3527 STATION A TORONTO ON M5W 3G4 CANADA
IRON MOUNTAIN INFORMATION MGMT INC       PO BOX 27128 NEW YORK NY 10087-7128
IRON RIDGE LLC                           125 IRON RIDGE ROAD HANOVER PA 17331-7997
IRONWOOD 1 LLC                           C/O KALB CONSTRUCTION CO 5670 WYNN ROAD LAS VEGAS NV 89118
IRVIN, TRENNA                            ADDRESS ON FILE
IRVING ISD TAX OFFICE                    PO BOX 152021 IRVING TX 75015-2021
IS RESTAURANT EQUIPMENT SERVICES LLC     1421 B AVE SIOUX FALLS SD 57104-0315
ISAAC HEATING AND AIR CONDITIONING INC   50 HOLLEDER PKWY ROCHESTER NY 14615-3804
ISAAC L LOWE JR                          ADDRESS ON FILE
ISAACS ROOFING AND SHEET METAL CO        1129 COMMERCIAL DR LEXINGTON KY 40505-3815
ISABELLA GUTIERREZ                       ADDRESS ON FILE
ISAIAH D CAMACHO                         ADDRESS ON FILE



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ISAVEL TAVERA JR                      ADDRESS ON FILE
ISHINE PRESSURE WASHING               2730 WAYSIDE DR EVANSVILLE IN 47711-4020
ISLAND SIGNAL & SOUND INC             335 HOOKELA PLACE HONOLULU HI 96819
ISLES LANDSCAPING LLC                 1608 ATARES DRIVE 111 PUNTA GORDA FL 33950
ISMAIL J. RAMSEY                      US ATTORNEYS OFFICE FEDERAL COURTHOUSE 450 GOLDEN GATE AVE SAN FRANCISCO CA
                                      94102
ISMAIL J. RAMSEY                      US ATTORNEYS OFFICE FEDERAL COURTHOUSE 1301 CLAY ST OAKLAND CA 94612
ISMAIL J. RAMSEY                      US ATTORNEYS OFFICE HERITAGE BANK BLDG 150 ALMADEN BLVD STE 900 SAN JOSE CA
                                      95113
ISOM ELECTRIC, LLC                    3300 N MAIN STREET SUITE D PMB325 ANDERSON SC 29621
ISPOT TV INC                          DBA ACE METRIX 15831 NE 8TH ST STE 100 BELLEVUE WA 98008-3916
ISRAEL AIZENBACH                      ADDRESS ON FILE
ISRAEL GARRETT                        ADDRESS ON FILE
ITOUCH BIOMETRICS LLC                 2300 BARRINGTON RD STE 325A HOFFMAN ESTATES IL 60169-2035
ITS YOUR ASPHALT COMPANY LLC          35 KNIGHT CIR NEWTON AL 36352-3951
ITW FOOD EQUIPMENT GROUP LLC          DBA BERKEL COMPANY 4406 TECHNOLOGY DRIVE SOUTH BEND IN 46628
IVAN SAAVEDRA                         ADDRESS ON FILE
IVISION HOLDINGS LLC                  C/O FEDERMAN STEIFMAN LLP THE NEWS BUILDING 220 E 42ND ST 29TH FLOOR NEW YORK
                                      NY 10017-5817
IVL SERVICES LLC                      636 CLOSTER DOCK RD CLOSTER NJ 07624-3223
IVY CREEK LANDSCAPING                 220 OLYMPIC ST CHARLOTTE NC 28273-6207
IZQUIERDO, AMIRA                      ADDRESS ON FILE
J & A HANDYMAN SERVICES INC           1629 ARTHUR ST HOLLYWOOD FL 33020-3679
J & E RIEP ENTERPRISES LLC            DBA ACE TA LOCK AND SAFE CO 515 CEMETERY ST WILLIAMSPORT PA 17701-4503
J & H MICROWAVE CO INC                DBA J & H APPLIANCE 367 MERIDIAN AVE SAN JOSE CA 95126-3416
J & H PARHAM LLC                      DBA FISH WINDOW CLEANING 3246 PO BOX 81133 ATHENS GA 30608-1133
J & J CARPET CLEANING LLC             DBA J & J CARPET SERVICE 913 SIR WINSTON STREET HENDERSON NV 89052
J & J SEAT COVER COMPANY INC          320 HOWELL ST BRISTOL PA 19007-3526
J & K OF LA CROSSE INC                DBA SERVICEMASTER COMMERCIAL CLEANING PO BOX 427 ONALASKA WI 54650-0427
J & M AQUATICS INC                    DBA J & M AQUATICS AND PET CENTERS 2851 NORTH AVENUE GRAND JUNCTION CO 81501
J & R MAHER INC                       DBA ROTO-ROOTER 852 44TH STREET SE CEDAR RAPIDS IA 52403
J & R UPHOLSTERY AND BLINDS INC       453 DAVIDSON ROAD PITTSBURGH PA 15239
J & S PLUMBING SERVICES INC           370 BOND STREET ELK GROVE VILLAGE IL 60007
J A ELECTRIC INC                      DBA MIDWAY ELECTRIC 1453 NEPPERHAN AVENUE YONKERS NY 10703
J ADAMS HOLDINGS LLC                  DBA THE INSIDE COUP PO BOX 2711 NAPLES FL 34106-2711
J AND C HOFFMAN ENTERPRISES INC       DBA EXECUTIVE PRO-DRY 6230 LAKE SHORE CT COLORADO SPRINGS CO 80915-1610
J AND P SCHEDULING INC                DBA J AND P SECURITY SERVICES 1650 CHAUSER LN WOODRIDGE IL 60517-7598
J AND S DRYWALL LLC                   1310 W HAWAII AVE NAMPA ID 83686-8177
J BRANDT RECOGNITION LTD              2816 WEST LANCASTER AVENUE FORT WORTH TX 76107
J C PUBLIC SAFETY LLC                 6361 S 27TH ST LOT 68 FRANKLIN WI 53132-9409
J D DIXON CARPET CLEANING             4308 UTZ RD HAMPSTEAD MD 21074-1429
J D OGDEN PLUMBING & HEAT INC         PO BOX 689 NEENAH WI 54957
J E S PM AND REPAIR SERVICE           PO BOX 902 ABBEVILLE SC 29620
J F AHERN CO                          PO BOX 1316 FOND DU LAC WI 54936-1316
J F DENNEY PLUMBING & HEATING INC     76 ASH ST LEAVENWORTH KS 66048-5106
J G BAILEY MEDIA INC                  DBA SIGN PRO OF SOUTHERN MINNESOTA PO BOX 3306 MANKATO MN 56002-3306
J JESUS CRUZ                          ADDRESS ON FILE
J L ADLER ROOFING & SHEET METAL INC   779 JOYCE RD JOLIET IL 60436-1815
J M CARTON INC                        DBA H2ONLY WATER PURIFICATION SYSTEMS DEPT 12409 PO BOX 2153 BIRMINGHAM AL
                                      35287-9212


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J M IRRIGATION INC                       25850 WEST HIGHWAY 60 VOLO IL 60030
J MULVANEY PLUMBING & HTG INC            PO BOX 639 RIDGEFIELD CT 06877-0639
J P COLLIER INC                          DBA FASTSIGNS 3150 S BRENTWOOD BLVD SAINT LOUIS MO 63119-1743
J PLUMBING LTD                           148 JOHN ST BARRIE ON L4N 2L2 CANADA
J PS PLUMBING & HEATING INC              235 NORTH CENTER STREET STATESVILLE NC 28677
J S B WINDOW CLEANER                     19 RICHELIEU UNIT 3 GATINEAU QC J8Y 4X3 CANADA
J SPLASH POWER WASH LLC                  2213 W LONGVIEW DR WOODBRIDGE VA 22191-2616
J T JACKSON COMPANY                      ACCOUNTING & BOOKKEEPING DEPT PO BOX 488 COLMAR PA 18915-0488
J&DS CREATIVE COLORS OF NORTHERN         3930 N HOME ST MISHAWAKA IN 46545-4310
INDIANA
J&E CLEANING SERVICES INC                3130 SKYWAY DR STE 302 SANTA MARIA CA 93455-1801
J&E LANDSCAPING AND REMODELING LLC       DBA ERNNIE JOHNSON 720 MONTROSE TRL DESOTO TX 75115-1745
J&H MECHANICAL ASSOCIATES OF WISCONSIN   1421 13TH STREET RACINE WI 53403
J&J ADVANCED THERMAL SOLUTIONS INC       DBA ADVANCED THERMAL SOLUTIONS INC PO BOX 4420 CASPER WY 82604
J&K SECURITY SOLUTIONS INC               1605 SOUTH PARK STREET MADISON WI 53715-2143
J.P. MASCARO & SONS-BERKS                PO BOX 7250 BERKS COUNTY DIVISION AUDUBON PA 19407-7250
J.P. MASCARO & SONS-SOUDERTON            PO BOX 7250 AUDUBON PA 19407-7250
JA-PAT INCORPORATED                      DBA THE GLASS SHOP 630 FAIRWAY DRIVE GALT CA 95632
JAARR CORP                               DBA CERTAPRO PAINTERS 8466 LOCKWOOD RIDGE RD 232 SARASOTA FL 34243-2951
JACE, JALYN                              ADDRESS ON FILE
JACINTA BASKIN                           ADDRESS ON FILE
JACK FROST DRAIN SERVICE LLC             C/O JACK AND LINDA FROST 343 ROXBURY LN BATTLE CREEK MI 49017
JACK GERARD CALDERONE                    ADDRESS ON FILE
JACK HALL PLUMBING & HEATING INC         165 BAY STREET GLENS FALLS NY 12801
JACK R EVALDSON                          ADDRESS ON FILE
JACK R STEWART JR.                       ADDRESS ON FILE
JACK SCHOFFSTALL                         ADDRESS ON FILE
JACKS CUSTOM LANDSCAPE                   644 ANGILINE DR YOUNGSTOWN OH 44512-6567
JACKS LAWN CARE INC                      32 BENSON AVENUE WEST NYACK NY 10994
JACKS LOCK SHOP INC                      601 LOUISVILLE AVE MONROE LA 71201-5925
JACKS PLUMBING INC                       DBA JACKS ALL AMERICAN PLUMBING 2011 PREISKER LANE SUITE A SANTA MARIA CA
                                         93454-1143
JACKS SECURITY SPECIALISTS               DBA JACKS LOCK & KEY 18883 E COLIMA ROAD ROWLAND HEIGHTS CA 91748-2940
JACKSO CLEAN POWER WASH LLC              139 N PRICE ST POTTSTOWN PA 19464-4432
JACKSON CITY TAX COLLECTOR               PO BOX 2508 JACKSON TN 38302-2508
JACKSON CO DEPT OF HEALTH & HUMAN SVCS   ENVIRONMENTAL HEALTH DEPARTMENT 34900 E OLD US 40 HWY MEDFORD OR 97504
JACKSON COMPACTION CO.                   6420 2ND ST NW ALBUQUERQUE NM 87107
JACKSON COMPACTION LLC                   6420 2ND ST NW ALBUQUERQUE NM 87107-6001
JACKSON COUNTY                           PO BOX 30161 GRAIN VALLEY MO 64029
JACKSON COUNTY                           ENVIRONMENTAL HEALTH DEPT 34900 E OLD US 40 HWY PO BOX 160 GRAIN VALLEY MO
                                         64029
JACKSON COUNTY COLLECTOR                 308 WEST KANSAS 1ST FLOOR STE 108 INDEPENDENCE MO 64050
JACKSON COUNTY DEPT OF HEALTH & HUMAN    SVCS ENVIRONMENTAL HEALTH DIVISION 1005 EAST MAIN STREET MEDFORD OR 97504
JACKSON COUNTY HEALTH DEPARTMENT         40 ERIE STREET JACKSON MI 49201
JACKSON COUNTY HEALTH DEPARTMENT         ENVIRONMENTAL HEALTH DIVISION 1005 EAST MAIN STREET JACKSON MI 49201
JACKSON COUNTY TAX COLLECTOR             415 E 12TH ST 100 KANSAS CITY MO 64106
JACKSON COUNTY TAXATION                  PO BOX 1569 MEDFORD OR 97501-0242
JACKSON ELECTRIC MEMBERSHIP CORP, GA     PO BOX 166023 ALTAMONTE SPRINGS FL 32716-6023
JACKSON ELECTRIC MEMBERSHIP CORPORATION PO BOX 38 JEFFERSON GA 30549-0038
JACKSON ENERGY AUTHORITY                 PO BOX 2082 MEMPHIS TN 38101-2082


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JACKSON ENERGY AUTHORITY             P. O. BOX 68 JACKSON TN 38302-0068
JACKSON MADISON COUNTY               40 ERIE STREET JACKSON TN 38305
JACKSON MADISON COUNTY               REGIONAL HEALTH DEPARTMENT 804 NORTH PARKWAY JACKSON TN 38305
JACKSON PAPER CO                     ADDRESS ON FILE
JACKSON SUPPLY INC                   DBA JACKSON PRODUCE 3226 MCKELVEY RD BRIDGETON MO 63044-2521
JACKSON, DONNA                       ADDRESS ON FILE
JACKSON, EBONEE                      ADDRESS ON FILE
JACKSONS LAWN & LANDSCAPING INC      PO BOX 7147 JACKSONVILLE NC 28540-2147
JACKSONVILLE SHERIFFS OFFICE         REGIONAL HEALTH DEPARTMENT 804 NORTH PARKWAY IRVING TX 75014-1925
JACKSONVILLE SHERIFFS OFFICE         FALSE ALARM REDUCTION PROGRAM PO BOX 141925 IRVING TX 75014-1925
JACOB J DORFMAN                      ADDRESS ON FILE
JACOBS INTERNATIONAL LLC             DBA JI BASES 4848 PARK 370 BLVD STE D HAZELWOOD MO 63042-4435
JACQUELINE C. ROMERO                 US ATTORNEYS OFFICE 504 W HAMILTON ST, 3701 ALLENTOWN PA 18101
JACQUELINE C. ROMERO                 US ATTORNEYS OFFICE 615 CHESTNUT ST, STE 1250 PHILADELPHIA PA 19106
JACQUELYN STEPHENS                   ADDRESS ON FILE
JACS LIQUOR WORLD LC                 5200 SOUTHWEST 21ST STREET TOPEKA KS 66604
JAD CORP OF AMERICA                  20-48 119TH STREET COLLEGE POINT NY 11356-2123
JADE SECURITY INC                    697 3RD AVE STE 120 NEW YORK NY 10017-4003
JAFFE RAITT HEUER & WEISS PC         27777 FRANKLIN ROAD, SUITE 2500 SOUTHFIELD MI 48034
JAGS MECHANICAL INC                  4772 RIVER RD CINCINNATI OH 45233-1633
JAIME DAVID CHAVEZ                   ADDRESS ON FILE
JAIME ESPARZA                        US ATTORNEYS OFFICE 800 FRANKLIN, STE 280 WACO TX 76701
JAIME ESPARZA                        US ATTORNEYS OFFICE 601 NW LOOP 410, STE 600 SAN ANTONIO TX 78216
JAIME ESPARZA                        US ATTORNEYS OFFICE 903 SAN JACINTO BLVD, STE 334 AUSTIN TX 78701
JAIME ESPARZA                        US ATTORNEYS OFFICE 111 E BROADWAY, ROOM A306 DEL RIO TX 78840
JAIME ESPARZA                        US ATTORNEYS OFFICE 400 W ILLINOIS ST, STE 1200 MIDLAND TX 79701
JAIME ESPARZA                        US ATTORNEYS OFFICE 2500 N HIGHWAY 118, STE 200 ALPINE TX 79830
JAIME ESPARZA                        US ATTORNEYS OFFICE 700 E SAN ANTONIO AVE, STE 200 EL PASO TX 79901
JAIME SANCHEZ                        ADDRESS ON FILE
JAIMES, ERIKA                        ADDRESS ON FILE
JAKS LLC                             C/O HAN MOK KIM 16607 HARBOUR TOWN DRIVE ASHTON MD 20861-4082
JAL ENTERPRISES INC                  ATTN JULIAN LEONG RL1 0354 4571 ANGUS DRIVE VANCOUVER BC V6J 4J4 CANADA
JAMAICA ASH & RUBBISH REMOVAL CO.    P.O. BOX 833 WESTBURY NY 11590
JAMES A ANDERSON JR                  ADDRESS ON FILE
JAMES A MORIARTY                     ADDRESS ON FILE
JAMES A ROSS JR                      ADDRESS ON FILE
JAMES ALLEN JONES III                ADDRESS ON FILE
JAMES AMEETI                         DBA PERFECT POUR SERVICES PO BOX 90684 PORTLAND OR 97290-0684
JAMES ANTHONY DEFLIPPO               ADDRESS ON FILE
JAMES B HOPPER                       ADDRESS ON FILE
JAMES B. PITTMAN, JR., P.C.          ATTN: JAMES B. PITTMAN, JR 2102 U.S. HIGHWAY 98 DAPHNE AL 36525
JAMES BARRETT                        ADDRESS ON FILE
JAMES C MCKEE                        ADDRESS ON FILE
JAMES C SCHWARTZ                     ADDRESS ON FILE
JAMES CAMPBELL COMPANY LLC           DBA JCC CALIFORNIA PROPERTIES LLC FILE 50349 LOS ANGELES CA 90074-0349
JAMES CARL COONER                    ADDRESS ON FILE
JAMES CARPETS OF HUNTSVILLE INC      2722 N PARK DR NW HUNTSVILLE AL 35811-1620
JAMES CASPER SMITH                   ADDRESS ON FILE
JAMES CICARELLI                      ADDRESS ON FILE



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JAMES D ARTIS IV                     ADDRESS ON FILE
JAMES D FRISBIE                      ADDRESS ON FILE
JAMES D TURNER JR                    ADDRESS ON FILE
JAMES E SCOBY                        ADDRESS ON FILE
JAMES F MARTIN                       ADDRESS ON FILE
JAMES F WITMYER                      ADDRESS ON FILE
JAMES G DECRISTO JR                  ADDRESS ON FILE
JAMES G SCELFO MD PA                 ADDRESS ON FILE
JAMES H NOEL                         ADDRESS ON FILE
JAMES HEWETT                         DBA AMERICAN LOCK AND KEY PO BOX 4026 VALDOSTA GA 31604-4026
JAMES J CHARTRAND                    ADDRESS ON FILE
JAMES J MCCUTCHEON                   ADDRESS ON FILE
JAMES J SULLIVAN                     ADDRESS ON FILE
JAMES KHEZRIE                        ADDRESS ON FILE
JAMES L SHERMEYER                    ADDRESS ON FILE
JAMES L SPOSATO                      ADDRESS ON FILE
JAMES LAFEMINA                       ADDRESS ON FILE
JAMES LANE AIR CONDITIONING CO       ADDRESS ON FILE
JAMES LOONEY                         ADDRESS ON FILE
JAMES LOPEZ                          ADDRESS ON FILE
JAMES M BAKER                        ADDRESS ON FILE
JAMES M CLOSE JR                     ADDRESS ON FILE
JAMES M GAFFNEY                      ADDRESS ON FILE
JAMES M SAUS                         ADDRESS ON FILE
JAMES M WRIGHT                       ADDRESS ON FILE
JAMES MICHAEL WEST                   ADDRESS ON FILE
JAMES MITCHELL BARRETT               ADDRESS ON FILE
JAMES MORRIS HOWARD                  ADDRESS ON FILE
JAMES MURPHY                         ADDRESS ON FILE
JAMES N BARNOSKY                     ADDRESS ON FILE
JAMES PITCHER SR                     ADDRESS ON FILE
JAMES PRUITT                         ADDRESS ON FILE
JAMES R GONZALES SR                  ADDRESS ON FILE
JAMES RUDD                           ADDRESS ON FILE
JAMES SAATHOFF                       ADDRESS ON FILE
JAMES SMITH ENT INC                  DBA LANDSCAPE ASSOCIATES PO BOX 788 TIFTON GA 31793-0788
JAMES STEVENSON                      ADDRESS ON FILE
JAMES STREETS                        ADDRESS ON FILE
JAMES SUHAN JR                       ADDRESS ON FILE
JAMES SUNDINE                        ADDRESS ON FILE
JAMES TALLEY                         ADDRESS ON FILE
JAMES TERRY SCOTT                    ADDRESS ON FILE
JAMES W WISEMAN                      ADDRESS ON FILE
JAMES WHITE.                         ADDRESS ON FILE
JAMES, YENSHONDRA                    ADDRESS ON FILE
JAMIE ANN LANIER                     ADDRESS ON FILE
JAMIE BROWN                          ADDRESS ON FILE
JAMIE MANGUAL                        ADDRESS ON FILE
JAMILLAH NICHOLS                     ADDRESS ON FILE



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JAN FERGUSON INC                     40 HUDSON ST SUITE 105 ANNAPOLIS MD 21401
JAN KEISTER                          ADDRESS ON FILE
JANAE HENGST                         ADDRESS ON FILE
JANDRE SHEPHERD                      ADDRESS ON FILE
JANE BRANDON                         ADDRESS ON FILE
JANE E. YOUNG                        UNITED STATES ATTORNEYS OFFICE 53 PLEASANT ST, 4TH FL CONCORD NH 03301
JANESSA M MONCHERY                   ADDRESS ON FILE
JANET BARBERIO                       ADDRESS ON FILE
JANET M ROBINSON                     ADDRESS ON FILE
JANET M ROBINSON                     ADDRESS ON FILE
JANI-KING OF MANITOBA                164 MARION STREET WINNIPEG MB R2H 0T4 CANADA
JANI-KING OF PHILADELPHIA INC        PO BOX 417114 BOSTON MA 02241-7114
JANICE DYE                           ADDRESS ON FILE
JANICE MENENDEZ                      DBA UPHOLSTERY PROFESSIONALS PO BOX 291973 TAMPA FL 33687
JANICE O CONNER                      ADDRESS ON FILE
JANINE MCCLENDON                     ADDRESS ON FILE
JANIS, RANDOLPH                      ADDRESS ON FILE
JANSSEN GLASS & DOOR LLC             4949 HADLEY ST OVERLAND PARK KS 66203-1329
JANSSEN, KELLYE                      ADDRESS ON FILE
JAQUE CARTER                         ADDRESS ON FILE
JARED RIGGINS                        ADDRESS ON FILE
JARON BLACK                          ADDRESS ON FILE
JARROD BESCO                         ADDRESS ON FILE
JARROD D HALL                        ADDRESS ON FILE
JARROD D STANGER                     ADDRESS ON FILE
JARROD WINKLER                       ADDRESS ON FILE
JAS ENTERPRISES INC                  DBA EQUIPMENT SERVICE PROFESSIONALS INC 320 CANAL STREET RAPID CITY SD 57701
JASMIN SOFTIC                        ADDRESS ON FILE
JASMINE BOWLES                       ADDRESS ON FILE
JASON A THOMPSON                     ADDRESS ON FILE
JASON D SMITH                        ADDRESS ON FILE
JASON GOUDREAU                       ADDRESS ON FILE
JASON JOHNSON                        ADDRESS ON FILE
JASON M. FRIERSON                    US ATTORNEYS OFFICE 501LAS VEGAS BLVD S, STE 1100 LAS VEGAS NV 89101
JASON M. FRIERSON                    US ATTORNEYS OFFICE 400 S VIRGINIA ST, STE 900 RENO NV 89501
JASON MICHAEL BENSON                 ADDRESS ON FILE
JASON MICHAEL KUHN                   ADDRESS ON FILE
JASON R. COODY                       US ATTORNEYS OFFICE TALLAHASSEE HQ, 111 N ADAMS ST 4TH FL US COURTHOUSE
                                     TALLAHASSEE FL 32301
JASON R. COODY                       US ATTORNEYS OFFICE GAINESVILLE DIVISION 300 E UNIVERSITY AVE, STE 310
                                     GAINESVILLE FL 32601
JASON R. COODY                       US ATTORNEYS OFFICE PENSACOLA DIVISION 21 E GARDEN ST, STE 400 PENSACOLA FL
                                     32502
JASON ROBERT DYER                    ADDRESS ON FILE
JASON S HUTCHISON                    ADDRESS ON FILE
JASON SAAVEDRA                       ADDRESS ON FILE
JASON SCOTT.                         ADDRESS ON FILE
JASON W MARTIN                       ADDRESS ON FILE
JASP INC                             DBA SERVICE MASTER LAKESHORE PO BOX 298 FERRYSBURG MI 49409
JASPER COUNTY COLLECTOR              P O BOX 421 CARTHAGE MO 64836


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JASPER COUNTY COLLECTOR                PO BOX 421 CARTHAGE MO 64836-0421
JAURIGUE, JODEE                        ADDRESS ON FILE
JAY KEY SERVICE INC                    1106 ST LOUIS SPRINGFIELD MO 65806
JAY P GETTEMY                          ADDRESS ON FILE
JAY S SPRINGER                         ADDRESS ON FILE
JAY SUN                                ADDRESS ON FILE
JAY-HILL CORP                          DBA JAY-HILL REPAIRS 90 CLINTON ROAD FAIRFIELD NJ 07004
JAYME DOLL                             ADDRESS ON FILE
JAYS LAWN & LANDSCAPE SERVICES LLC     PO BOX 137 OXFORD MI 48371-0137
JAZMYNN SHADE                          ADDRESS ON FILE
JB PRESSURE CLEAN                      14815 REEDER RD CROWN POINT IN 46307-9778
JBL SERVICES LLC                       DBA ROCKS AND BLOCKS LANDSCAPING 5220 E MAIN AVE BISMARCK ND 58501-9343
JBO SERVICES LLC                       401 SE DOUGLAS ST LEES SUMMIT MO 64063-4246
JBUS PIPE PLUMBING HEATING & AIR       1801 OLD ST MARYS PIKE PARKERSBURG WV 26104
JC ADAMES SERVICES CORP                10640 CLEAR LAKE LOOP APT 218 FORT MYERS FL 33908-5489
JC BEERTECH LTD                        4125 LORAIN AVENUE CLEVELAND OH 44113
JC ROYAL REPAIRS INC                   473 DOANE AVENUE STATEN ISLAND NY 10308
JCM INC                                DBA RAPID GRAPHICS & SIGNS 4442 SOUTH 84TH ST OMAHA NE 68127
JCO ENTERPRISES LLC                    DBA CLEAN IMAGE POWER WASHING 102 LAFREE STREET JOHNSTOWN PA 15904-2111
JCP REALTY, INC MAIL STOP 2102-BLDG B-1 ATTN: MANAGING ATTORNEY 6501 LEGACY DRIVE PLANO TX 75024
JD CONSTRUCTION LLC                    7055 BRIDLEWOOD CIR PENSACOLA FL 32526-9132
JD ESCO INC                            3106 GREENSBORO AVE TUSCALOOSA AL 35401-7020
JD EXPRESS PLUMBING INC                9905 PINEAPPLE TREE DR UNIT 203 BOYNTON BEACH FL 33436-3597
JD FIRM INC                            DBA MR ROOTER OF SHASTA COUNTY 4989 MOUNTAIN LAKES BLVD SUITE B REDDING CA
                                       96003-1435
JDCOR LLC                              DBA GASKET GUY OF EASTERN LOWA PO BOX 432 MARION IA 52302-0432
JDJP LLC                               DBA ALPHAGRAPHICS 379 2555 N HILL FIELD RD LAYTON UT 84041-4755
JDS & WMK INC                          DBA OVERHEAD DOOR CO OF THE NORTHLAND 3195 TERMINAL DRIVE EAGAN MN 55121
JEA                                    PO BOX 45047 PAYMENT PROCESSING JACKSONVILLE FL 32232-5047
JEA, A BODY POLITIC                    21 WEST CHURCH STREET JACKSONVILLE FL 32202-3139
JEAN FLOWERS                           ADDRESS ON FILE
JEAN-PAUL, CHRIS                       ADDRESS ON FILE
JEANETTE VILLALOBOS                    ADDRESS ON FILE
JEANINE MARIE OTT                      ADDRESS ON FILE
JEANNE JACKSON AS ADMINISTRATRIX       ADDRESS ON FILE
JEANNE M DAVIS                         ADDRESS ON FILE
JEANNETTE ALEJANDRO                    ADDRESS ON FILE
JEANNETTE D GERMANN                    ADDRESS ON FILE
JEET INC                               320 W IRVING PARK RD STE C ITASCA IL 60143-2020
JEFF & LISA PARSON                     ADDRESS ON FILE
JEFF A KROSNICKI                       ADDRESS ON FILE
JEFF C HOGE LLC                        DBA AQUARIUS PLUMBING PO BOX 116 CHRISTIANSBURG VA 24068
JEFF DOOLEY INC                        DBA DOOLEY SERVICE PRO PO BOX 238 SPRINGFIELD OH 45501-0238
JEFF M CONNOR                          ADDRESS ON FILE
JEFF SCRUDGS                           ADDRESS ON FILE
JEFFERSON CITY UTILITIES, MO           PO BOX 1278 JEFFERSON CITY MO 65102
JEFFERSON CO TAX OFFICE                ENVIRONMENTAL HEALTH 260 S KIPLING BEAUMONT TX 77704-2112
JEFFERSON CO-DEPARTMENT OF             ENVIRONMENTAL HEALTH 260 S KIPLING DENVER CO 80226
JEFFERSON CO-DEPARTMENT OF             FALSE ALARM REDUCTION PROGRAM PO BOX 141925 DENVER CO 80226



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JEFFERSON COUNTY AL, SEWER SERVICE FUND 716 RICH ARRINGTON BLVD N SUITE 800 BIRMINGHAM AL 35203-0123
JEFFERSON COUNTY COMMISSION              PO BOX 2112 HOMEWOOD AL 35209
JEFFERSON COUNTY COMMISSION              GREASE CONTROL PROGRAM 1366 OAK GROVE ROAD HOMEWOOD AL 35209
JEFFERSON COUNTY DEPARTMENT OF REVENUE   716 RICHARD ARRINGTON JUNIOR BLVD NORTH BIRMINGHAM AL 35203-0110
JEFFERSON COUNTY DEPARTMENT OF REVENUE   GREASE CONTROL PROGRAM 1366 OAK GROVE ROAD BIRMINGHAM AL 35203-0110
JEFFERSON COUNTY DEPT OF REVENUE         SUITE A-100 COURTHOUSE ANNEX 7166 RICHARD ARRINGTON JR, BLVD N BIRMINGTON AL
                                         35203
JEFFERSON COUNTY HEALTH DEPARTMENT       PO BOX 2648 BIRMINGHAM AL 35202
JEFFERSON COUNTY HEALTH DEPARTMENT       716 RICHARD ARRINGTON JUNIOR BLVD NORTH BIRMINGHAM AL 35202
JEFFERSON COUNTY LIQUOR LICENSE          PO BOX 2648 GOLDEN CO 80419-1590
JEFFERSON COUNTY LIQUOR LICENSE          100 JEFFERSON COUNTY PARKWAY GOLDEN CO 80419-1590
JEFFERSON COUNTY REVENUE DEPARTMENT.     100 JEFFERSON COUNTY PARKWAY BIRMINGHAM AL 35203
JEFFERSON COUNTY REVENUE DEPT.           716 RICHARD ARRINGTON JUNIOR BLVD NORTH STE A100 BIRMINGHAM AL 35203
JEFFERSON COUNTY SHERIFFS OFFICE         PO BOX 34570 LOUISVILLE KY 40232-4570
JEFFERSON COUNTY TAX ASSESOR             PO BOX 2112 BEAUMONT TX 77704-2112
JEFFERSON COUNTY TAX ASSESOR             716 RICHARD ARRINGTON JUNIOR BLVD NORTH STE A100 BEAUMONT TX 77704-2112
JEFFERSON COUNTY TAX ASSESSOR COLLECTOR PO BOX 2112 BEAUMONT TX 77704
JEFFERSON COUNTY TAX COLLECTOR           P O BOX 6269 PINE BLUFF AR 71611-6269
JEFFERSON COUNTY TREASURER               100 JEFFERSON COUNTY PKWY STE 2520 GOLDEN GOLDEN CO 80419-2520
JEFFERSON PARISH                         ADDRESS ON FILE
JEFFERSON PARISH                         ADDRESS ON FILE
JEFFERSON T MILLER                       ADDRESS ON FILE
JEFFERSON, OLYVIA                        ADDRESS ON FILE
JEFFERSON, TRACEY                        ADDRESS ON FILE
JEFFERY A CARR                           ADDRESS ON FILE
JEFFERY A TATMAN                         ADDRESS ON FILE
JEFFERY DALE, DEVENS                     ADDRESS ON FILE
JEFFERY FORBES                           ADDRESS ON FILE
JEFFERY POMERVILLE                       ADDRESS ON FILE
JEFFREY ALLEN OSTLER                     ADDRESS ON FILE
JEFFREY BURKE PLUMBING & HEATING LLC     PO BOX 190 BOUND BROOK NJ 08805
JEFFREY COLLINSON                        ADDRESS ON FILE
JEFFREY JACINTO                          ADDRESS ON FILE
JEFFREY JACKSON STOCKTON                 ADDRESS ON FILE
JEFFREY KORN                             ADDRESS ON FILE
JEFFREY MICHAEL ELLISON                  ADDRESS ON FILE
JEFFREY S LONGSWORTH                     ADDRESS ON FILE
JEFFREY S PAVELSKI                       ADDRESS ON FILE
JEFFREY THOMAS MERLENE                   ADDRESS ON FILE
JEFFRY NEWTON LAMBERSON                  ADDRESS ON FILE
JEFFS B&B LAWN AND LANDSCAPING LLC       241 HILLTOP BLVD CANFIELD OH 44406-1224
JEFFS PLUMBING & DRAIN CLEANING INC      750 34TH ST N UNIT J FARGO ND 58102
JEHAN, DIAMOND                           ADDRESS ON FILE
JEL ENTERPRISES LLC                      DBA PLANT SERVICES OF NLR 807 SHAMROCK DR NORTH LITTLE ROCK AR 72118-2947
JEM AIR CONDITIONING LTD                 375 BOND STREET SUDBURY ON P3B 2K1 CANADA
JENKINS INCORPORATED                     DBA WINDOW GANG PO BOX 483 HUNTSVILLE AL 35804
JENKINS PLUMBING INC                     PO BOX 8406 PADUCAH KY 42002-8406
JENNA ELIZABETH FOLK                     ADDRESS ON FILE
JENNIFER MASON                           ADDRESS ON FILE



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JENNIFER MATTHEWS                        ADDRESS ON FILE
JENNIFER STEVENS                         ADDRESS ON FILE
JENNIFER VILLALBA                        ADDRESS ON FILE
JEREL SCOTT FULLER                       ADDRESS ON FILE
JEREMIAH COOPER                          ADDRESS ON FILE
JEREMIAH EUBANKS                         ADDRESS ON FILE
JEREMY BEALS                             ADDRESS ON FILE
JEREMY COLVIN                            ADDRESS ON FILE
JEREMY LEWIS                             ADDRESS ON FILE
JERIEL INC                               DBA THE FLYING LOCKSMITHS WEST MICHIGAN 2215 OAK INDUSTRIAL DR NE STE 116
                                         GRAND RAPIDS MI 49505-6037
JERIMIAH BROCKHOUSE                      DBA BROCK CONTRACTING PO BOX 88601 SIOUX FALLS SD 57109-8601
JEROD FAVRE                              ADDRESS ON FILE
JEROME E WILLIAMS                        ADDRESS ON FILE
JEROME MACKEY                            ADDRESS ON FILE
JERROD FINCH                             ADDRESS ON FILE
JERRY ALANIZ                             ADDRESS ON FILE
JERRY CAVENDER                           DBA JERRY CAVENDERS ICE SERVICE PO BOX 264 MADISON TN 37116
JERRY LEE GLENN                          ADDRESS ON FILE
JERRY MERKORD                            ADDRESS ON FILE
JERRY PYBUS ELECTRIC INC                 1327 N TYNDALL PARKWAY PANAMA CITY FL 32404
JERRY TERRY                              ADDRESS ON FILE
JERRY W WHITE                            ADDRESS ON FILE
JERSEY CENTRAL POWER & LIGHT             PO BOX 3687 REMITTANCE PROCESSING CENTER AKRON OH 44309-3687
JERSEY DEVIL POWER WASHING LLC           105 SYCAMORE AVE EGG HARBOR TOWNSHIP NJ 08234-5216
JES FOOD EQUIPMENT SALES & SERVICE INC   DBA HOBART SALES AND SERVICE 3186 MERCER UNIVERSITY DR MACON GA 31204-5199
JESSE LASLOVICH                          US ATTORNEYS OFFICE 2601 SECOND AVE N, STE 3200 BILLINGS MT 59101
JESSE LASLOVICH                          US ATTORNEYS OFFICE 119 1ST AVE N 300 GREAT FALLS MT 59401
JESSE LASLOVICH                          US ATTORNEYS OFFICE 901 FRONT ST, STE 1100 HELENA MT 59626
JESSE LASLOVICH                          US ATTORNEYS OFFICE PO BOX 8329 MISSOULA MT 59807
JESSICA A DANIELS                        ADDRESS ON FILE
JESSICA D. ABER                          US ATTORNEYS OFFICE JUSTIN W WILLIAMS US ATTORNEYS BUILDING 2100 JAMIESON AVE
                                         ALEXANDRIA VA 22314
JESSICA D. ABER                          US ATTORNEYS OFFICE 919 E MAIN ST, STE 1900 RICHMOND VA 23219
JESSICA D. ABER                          US ATTORNEYS OFFICE 101 W MAIN ST, STE 8000 NORFOLK VA 23510-1671
JESSICA D. ABER                          US ATTORNEYS OFFICE FOUNTAIN PLAZA THREE, STE 300 721 LAKEFRONT COMMONS
                                         NEWPORT NEWS VA 23606
JESSICA GOMEZ                            ADDRESS ON FILE
JESUS A ROJAS                            ADDRESS ON FILE
JESUS CARLOS GALINDO                     ADDRESS ON FILE
JESUS GARCIA                             ADDRESS ON FILE
JESUS GONSALEZ                           DBA GONZALEZ GARDENING PO BOX 9893 CANOGA PARK CA 91309-0893
JET SANITATION SERVICE CORP              390 N BROADWAY STE 220 JERICHO NY 11753
JET-O-ROOTER LLC                         14741 COUNTY ROUTE 145 SACKETS HARBOR NY 13685-3121
JETT, BRENDA                             ADDRESS ON FILE
JETTER CLEAN INC                         2490 9TH AVE MANKATO MN 56001-2741
JETTS SPECIALTY CONTRACTING LLC          PO BOX 3374 PADUCAH KY 42002-3374
JEWELL, LOIS                             ADDRESS ON FILE
JFCF INVEST-3 LLC                        ATTN: GLENN M. ROCCA 20 HARRISON AVE WALDWICK NJ 07463
JFCF INVEST-3 LLC                        20 HARRISON AVE WALDWICK NJ 07463-1757


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JFCF INVEST-3 LLC                       ATTN GLENN M ROCCA 20 HARRISON AVENUE WALDWICK NJ 07463-1757
JFS AND ASSOCIATES INC                  1615 EDGEWATER DR STE 190 ORLANDO FL 32804-5851
JG LAWN ENFORCEMENT LLC                 8 FARMER ST NEWNAN GA 30263-1417
JG PRESSURE WASHING SERVICES LLC        503 CARLTON POINTE DR PALMETTO GA 30268-2351
JGA ROOFING SYSTEMS LLC                 4949 FRANKLIN AVE WACO TX 76710-6900
JH DREYFUS LLC                          PO BOX 481149 DELRAY BEACH FL 33448-1149
JH LOCK AND KEY INC                     DBA JERRYS LOCK AND KEY 50 GAINES SCHOOL RD STE 10 ATHENS GA 30605-7401
JIFFY JUNK                              615 SUNRISE HWY W BABYLON NY 11704
JIKS INDUSTRIAL KITCHEN SVC LTD         42 GROFF PLACE KITCHENER ON N2E 2L6 CANADA
JILL E. STEINBERG                       UNITED STATES ATTORNEYS OFFICE 600 JAMES BROWN BLVD, STE 200 AUGUSTA GA 30901
JILL E. STEINBERG                       UNITED STATES ATTORNEYS OFFICE 22 BARNARD ST, STE 300 SAVANNAH GA 31401
JIM DUKE SERVICE COMPANY INC            8360 CLAIREMONT MESA BLVD SUITE 109 SAN DIEGO CA 92111
JIM POSAVAD                             ADDRESS ON FILE
JIM WILLIAMS SIGN COMPANY               DBA WILLIAMS SIGN COMPANY 821 VANCE AVE MEMPHIS TN 38126-2908
JIMENEZ, CARLOS                         ADDRESS ON FILE
JIMMIE LOCK AND KEY                     ADDRESS ON FILE
JIMMY J MCCOULLAUGH                     ADDRESS ON FILE
JIMS LOCK & SAFE SERVICE INC            2005 NORTH 77TH STREET KANSAS CITY KS 66109
JINA FARZINPOUR                         ADDRESS ON FILE
JJ JOHNSON INC                          DBA SYRACUSE AQUARIUM & POND SUPPLY 4360 GATES RD JAMESVILLE NY 13078
JJ&L ELECTRICAL CONSTRUCTION LLC        417 RANKIN AIRSHAFT RD UNIONTOWN PA 15401-2131
JKL SOLUTIONS LLC                       801 W PARK AVE LINDENWOLD NJ 08021-3666
JLGC CORP                               DBA MAXELL ELECTRIC 646 MIDDLE COUNTRY RD STE 10 SAINT JAMES NY 11780-3226
JLR PLUMBING AND MECHANICAL INC         48-25 PEBBLEBYWAY NORTH YORK ON M2H 3J6 CANADA
JLS BUILDING SERVICES LLC               930 E WATER ST CHILLICOTHE OH 45601-2793
JMC SERVICES INC                        PO BOX 770279 WINTER GARDEN FL 34777
JMH GRAPHICS LLC                        DBA JASON SPIERS 223 S 40TH AVE HATTIESBURG MS 39402-1604
JMJ PLUMBING LIMITED                    9751 MOOSE ROAD SUITE 3 MURRELLS INLET SC 29576
JMS ELECTRIC INC                        871 E STATE PARKWAY SCHAUMBURG IL 60173
JNK GASKET GUYS LLC                     DBA J&K GASKET GUYS 18051 PROMISE ROAD NOBLESVILLE IN 46060
JO ANN BRASHEARS                        ADDRESS ON FILE
JO ANN DASHIELL                         ADDRESS ON FILE
JO-LYN MANAGEMENT CORP                  C/O LYN-JO WASHINGTON LLC C/O NEXBANK SSB DALLAS TX 75201-1945
JO-LYN MANAGEMENT CORP                  C/O LYN-JO WASHINGTON LLC C/O NEXBANK SSB, ATTN LOAN DEPT 2515 MCKINNEY AVENUE
                                        SUITE 1100 DALLAS TX 75201-1945
JOAN EDITH YASINOWSKI                   ADDRESS ON FILE
JOAN WILK                               ADDRESS ON FILE
JOANNE ALLISON                          ADDRESS ON FILE
JOB PAINTING SERVICES LLC               DBA CARLOS ROBERTO MEDINA 12107 HOOKER LN NOKESVILLE VA 20181-2249
JOB SERVICE NORTH DAKOTA                UNEMPLOYMENT INSURANCE PO BOX 5507 BISMARCK ND 58506-5507
JODI L SEES                             ADDRESS ON FILE
JODIS HOUSE OF FLOWERS LLC              2425 N KICKAPOO AVE SHAWNEE OK 74804-2501
JOE AMATO EAST END CENTRE LP            272 E END CTR WILKES BARRE PA 18702-6970
JOE B SULLIVAN & SONS PLUMBING CO INC   292 HERMITAGE AVENUE NASHVILLE TN 37210-2163
JOE CUSTOM CLOSETS                      10660 SILICON AVE STE G MONTCLAIR CA 91763-4602
JOE DICKEY ELECTRIC INC                 BOX 158 NORTH LIMA OH 44452-0158
JOE DOSS                                ADDRESS ON FILE
JOE EAST ENTERPRISES, INC.              DBA A-1 LOCKSMITHS SECURITY & SAFES 3414 MIDCOURT RD STE 108 CARROLLTON TX
                                        75006-5092



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JOE FISCHER                           ADDRESS ON FILE
JOE HILLMAN PLUMBERS INC              2280 SW 70TH AVENUE SUITE 1-2 DAVIE FL 33317
JOE LUPIA                             ADDRESS ON FILE
JOEL AACH                             ADDRESS ON FILE
JOEL BAKER                            ADDRESS ON FILE
JOEL JOHNSON                          ADDRESS ON FILE
JOEL TUCKER                           ADDRESS ON FILE
JOES LANDSCAPING OF BEAVERCREEK INC   2500 NATIONAL ROAD FAIRBORN OH 45324
JOES QUALITY WINDOW CLEANING INC      PO BOX 5453 CORALVILLE IA 52241
JOES UPHOLSTERY & REPAIR              318 AVE J SOUTH SASKATOON SK S7M 2A5 CANADA
JOEY MARTINEZ                         ADDRESS ON FILE
JOEY R TACKETT                        ADDRESS ON FILE
JOHANNSEN, JAIME                      ADDRESS ON FILE
JOHN A BANNON                         ADDRESS ON FILE
JOHN BARNES ELECTRIC LLC              PO BOX 7125 ROCKY MOUNT NC 27804
JOHN BARRY JOHNSON                    ADDRESS ON FILE
JOHN BETHEA                           ADDRESS ON FILE
JOHN BOCCARDO                         ADDRESS ON FILE
JOHN CARL TAYLOR JR                   ADDRESS ON FILE
JOHN CHAMBERS                         ADDRESS ON FILE
JOHN COLLINS - RICHLAND               ADDRESS ON FILE
JOHN D CARSON                         ADDRESS ON FILE
JOHN DANIEL BOBIK                     ADDRESS ON FILE
JOHN DAVID WINFORD WILSON             ADDRESS ON FILE
JOHN DEAN                             ADDRESS ON FILE
JOHN DIMAGGIO                         ADDRESS ON FILE
JOHN DIPPREY                          ADDRESS ON FILE
JOHN E GREEN COMPANY                  PO BOX 638438 CINCINNATI OH 45263-8438
JOHN ESTES                            ADDRESS ON FILE
JOHN F DORN                           ADDRESS ON FILE
JOHN FIANDACA                         DBA J & L CARPET CLEANING PO BOX 25862 PRESCOTT VALLEY AZ 86312-5862
JOHN G BOER                           ADDRESS ON FILE
JOHN GLAZEBROOK                       ADDRESS ON FILE
JOHN GREGOR                           ADDRESS ON FILE
JOHN GRIER                            ADDRESS ON FILE
JOHN GROYA PLB & HTG INC              DBA JOHN GROYA PLUMBING HEATING AND AIR CONDITIONING 1211 S WENONA STREET BAY
                                      CITY MI 48706-5175
JOHN H BURROWS INC                    DBA BONANZA PRODUCE CO PO BOX 604 SPARKS NV 89432
JOHN H HYATT II                       ADDRESS ON FILE
JOHN HARRIS.                          ADDRESS ON FILE
JOHN HOPKINS MAINTENANCE              1944 LA CHAPELLE ST ORLEANS ON K1C 6A1 CANADA
JOHN J BALDASSARI                     ADDRESS ON FILE
JOHN JAY                              ADDRESS ON FILE
JOHN M JONES                          ADDRESS ON FILE
JOHN M ST PIERRE                      DBA PRESTO PRINT LLC 5168 COMMERCIAL DRIVE SUITE 1 YORKVILLE NY 13495
JOHN M WEATHERS                       ADDRESS ON FILE
JOHN MENETTO                          ADDRESS ON FILE
JOHN MICHAEL DAVIS                    ADDRESS ON FILE
JOHN MICHAEL SIELOFF                  ADDRESS ON FILE



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JOHN MILLS ELECTRIC INC                  PO BOX 2068 ELMIRA HEIGHTS NY 14903-0068
JOHN P NUTT                              ADDRESS ON FILE
JOHN P O SULLIVAN DISTRIBUTING INC       4047 MARKET PLACE FLINT MI 48507
JOHN PALMER                              ADDRESS ON FILE
JOHN R JETT                              ADDRESS ON FILE
JOHN R RODRIGUEZ                         ADDRESS ON FILE
JOHN R WINBLAD                           ADDRESS ON FILE
JOHN REHA                                ADDRESS ON FILE
JOHN RINN                                ADDRESS ON FILE
JOHN SIRVENT IV                          ADDRESS ON FILE
JOHN STARZ ELECTRIC INC                  PO BOX 1671 JACKSONVILLE NC 28541
JOHN T HARRISON                          ADDRESS ON FILE
JOHN T KALIVODA                          ADDRESS ON FILE
JOHN T WALKUP                            ADDRESS ON FILE
JOHN V CARR LLC                          DBA ROTO ROOTER SEWER & DRAIN SERVICE PO BOX 3173 HUNTINGTON WV 25702-0173
JOHN V MARTINO JR                        ADDRESS ON FILE
JOHN W HOGAN                             ADDRESS ON FILE
JOHNATHAN EIGNER                         ADDRESS ON FILE
JOHNATHAN LERCHE LLC                     DBA LERCHE & SONS ELECTRIC PO BOX 6551 KOKOMO IN 46904-6551
JOHNATHAN PANTER                         DBA PANTERS LAWN & TREE LLC PO BOX 23054 WACO TX 76702-3054
JOHNNIES REST & HOTEL SER INC            2406 MOLLY PITCHER HWY SOUTH CHAMBERSBURG PA 17201
JOHNNY COWART                            ADDRESS ON FILE
JOHNNY JAY MIDDLETON                     ADDRESS ON FILE
JOHNNY PIPEWRENCH LLC                    1236 POWELL TAYLOR RD LAWRENCEBURG KY 40342-9342
JOHNS DELIVERY                           ADDRESS ON FILE
JOHNS PLUMBING INC                       5851 SERVICE ROAD BIRMINGHAM AL 35235
JOHNS PLUMBING REPAIR CO INC             PO BOX 8496 GREENSBORO NC 27419
JOHNS SERVICE AND SALES LLC              119 W WALNUT STREET OGLESBY IL 61348
JOHNS UPHOLSTERY & FURNITURE SERVICES    265 TURNERS RD ALMONTE ON K0A 1A0 CANADA
JOHNS, KATHERINE                         ADDRESS ON FILE
JOHNSON & JOHNSON LOCKSMITH & DOOR       COMPANY INC PO BOX 2594 LAWTON OK 73502-2594
JOHNSON BROS INDIANA                     5337 W 78TH ST INDIANAPOLIS IN 46268-4148
JOHNSON BROTHERS OF IOWA                 6600 MERLE HAY ROAD JOHNSTON IA 50131-2808
JOHNSON BROTHERS OF NORTH CAROLINA INC   DBA MUTUAL DISTRIBUTING 2730 QUEEN CITY DR CHARLOTTE NC 28208-2720
JOHNSON BROTHERS OF WISCONSIN INC        301 E VIENNA AVENUE MILWAUKEE WI 53212
JOHNSON BROTHERS SERVICE DISTRIBUTING    8397 PARIS ST LORTON VA 22079-1419
JOHNSON BROTHERS WINE CO                 2515 DEAN AVE DES MOINES IA 50317
JOHNSON CITY POWER BOARD                 2600 BOONES CREEK ROAD JOHNSON CITY TN 37615
JOHNSON CITY RECORDER                    PO BOX 2227 JOHNSON CITY TN 37605-2227
JOHNSON CITY UTILITY SYSTEM              P.O. BOX 2386 JOHNSON CITY TN 37605
JOHNSON CONTROLS US HOLDINGS LLC         DBA JOHNSON CTRLS SECURITY SOLUTIONS LLC DEPT CH 14324 PALATINE IL 60055-4324
JOHNSON COUNTY                           ENVIRONMENTAL DEPARTMENT 11180 THOMPSON AVENUE LENEXA KS 66219
JOHNSON COUNTY TAX ASSESSOR-COLLECTOR    PO BOX 75 CLEBURNE TX 76033-0075
JOHNSON COUNTY TREASURER                 PO BOX 2420 IOWA CITY IA 52244-2420
JOHNSON COUNTY WASTEWATER                PO BOX 219948 KANSAS CITY MO 64121-9948
JOHNSON CTY DEPARTMENT OF PUBLIC HLTH    1105 GILBERT COURT IOWA CITY IA 52240
JOHNSON LANDSCAPE INC                    3990 COAL CHUTE RD KEARNEY NE 68847-9409
JOHNSON MECHANICAL SERVICE INC           DBA JOHNSON HVACR & FOODSERVICE EQUIPMENT 1820 RIVERWAY DR PEKIN IL 61554-9307
JOHNSON TRAN                             ADDRESS ON FILE



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JOHNSON, ARMO                       ADDRESS ON FILE
JOHNSON, CASIE                      ADDRESS ON FILE
JOHNSON, DESTINEE                   ADDRESS ON FILE
JOHNSON, JAMES N                    ADDRESS ON FILE
JOHNSON, LASHONDRA                  ADDRESS ON FILE
JOHNSON, LATOSKA                    ADDRESS ON FILE
JOHNSON, LEROY                      ADDRESS ON FILE
JOHNSON, MAGGIE                     ADDRESS ON FILE
JOHNSON, MJ                         ADDRESS ON FILE
JOHNSON, PANDREA                    ADDRESS ON FILE
JOHNSON, SAMUEL                     ADDRESS ON FILE
JOHNSON, SHIANNE                    ADDRESS ON FILE
JOHNSON, TOSHA, JOHNSON, JAMES      ADDRESS ON FILE
JOHNSONS TRAILER PARKS LLC          16 TWIN ACRES KALISPELL MT 59901
JOHNSONS TRAILER PARKS LLC          16 TWIN ACRES DR KALISPELL MT 59901-7536
JOHNSTONE PLUMBING LIMITED          677 PINEGROVE AVENUE INNISFIL ON L9S 2K4 CANADA
JOHNSTONS QUALITY FLOWERS           1111 GARRISON AVE FORT SMITH AR 72901
JOLANO INC                          DBA GLASS DOCTOR PO BOX 12185 KNOXVILLE TN 37912
JOLLIFF, JILL                       ADDRESS ON FILE
JON B RICHARDSON                    ADDRESS ON FILE
JON MARK DAVIS                      ADDRESS ON FILE
JON RUSSELL SERVICES LLC            DBA RUSSELLS SERVICE COMPANY 1275 US HWY 82 WEST LEESBURG GA 31763
JONAH STEPHENS                      ADDRESS ON FILE
JONAS M KIRBY                       ADDRESS ON FILE
JONAS, TRAVIS                       ADDRESS ON FILE
JONATHAN D CARDINALE                ADDRESS ON FILE
JONATHAN D. ROSS                    UNITED STATES ATTORNEYS OFFICE 425 W CAPITOL AVE, STE 500 LITTLE ROCK AR 72201
JONATHAN D. ROSS                    UNITED STATES ATTORNEYS OFFICE PO BOX 1229 LITTLE ROCK AR 72203-1229
JONATHAN F SMITH                    ADDRESS ON FILE
JONATHAN FINCHER                    ADDRESS ON FILE
JONATHAN KELLEY TRUEHEART           ADDRESS ON FILE
JONATHAN NOBLE                      ADDRESS ON FILE
JONATHAN PARTIDA                    ADDRESS ON FILE
JONATHAN SETH WALDEN                ADDRESS ON FILE
JONES & COMPANY WINE MERCHANTS      1616 ST MARYS ROAD WINNIPEG MB R2M 3W7 CANADA
JONES & EBERT INC                   DBA ROTO-ROOTER SEWER PO BOX 1403 VALDOSTA GA 31603
JONES LANG LASALLE AMERICAS INC     PO BOX 95028 CHICAGO IL 60690-7217
JONES LANG LASALLE BROKERAGE INC    XEROX C/O BMO HARRIS 141 W JACKSON BLVD STE 1000 CHICAGO IL 60604-2992
JONES LOCKSMITHS                    221 N MADISON STREET MUNCIE IN 47305
JONES NEON DISPLAYS LIMITED         1140 BLAIR ROAD BURLINGTON ON L7M 1K9 CANADA
JONES, CONNIE                       ADDRESS ON FILE
JONES, ERIN                         ADDRESS ON FILE
JONES, JERRY                        ADDRESS ON FILE
JONES, JOHNNEY                      ADDRESS ON FILE
JONES, LAPORTIA                     ADDRESS ON FILE
JONES, LASONYA                      ADDRESS ON FILE
JONES, LINDA                        ADDRESS ON FILE
JONES, SIKIA                        ADDRESS ON FILE
JONES, WILLIAM, JONES, WILLIAM      ADDRESS ON FILE



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JONES-MCLEOD INC                     PO BOX 101329 BIRMINGHAM AL 35210
JONES-ONSLOW ELECTRIC                PO BOX 63022 CHARLOTTE NC 28263-3022
JONHSON, MARY J                      ADDRESS ON FILE
JORANDA MARKETING INC                DBA JAN PRO CENTRAL COAST 1660 S BROADWAY STE 101 SANTA MARIA CA 93454-7676
JORDAN ELECTRIC COMPANY INC          PO BOX 6218 COLUMBUS GA 31917
JORDAN JOHNSON                       ADDRESS ON FILE
JORDAN MANUFACTURING INC             DBA JORDAN UPHOLSTERY PO BOX 44 PHILOMATH OR 97370
JORDAN MEADOR                        ADDRESS ON FILE
JORDANS GREENERY                     ADDRESS ON FILE
JORDASH CO LTD                       1220 OLD INNES ROAD UNIT 306 OTTAWA ON K1B 3V3 CANADA
JORGE A ALFARO                       ADDRESS ON FILE
JORGE ALBERTO CHACON                 ADDRESS ON FILE
JORGE ARMONDO RAMOS FLORES           ADDRESS ON FILE
JORGE CABALLERO                      ADDRESS ON FILE
JORGE LUIS CARBAJAL                  ADDRESS ON FILE
JORGE MACHAEN                        ADDRESS ON FILE
JORGE SANCHEZ                        ADDRESS ON FILE
JORGE VELOZ                          ADDRESS ON FILE
JOS GLOBE                            ADDRESS ON FILE
JOSE ANTONIO TALAMANTES JR           ADDRESS ON FILE
JOSE DAVID MARTINEZ                  ADDRESS ON FILE
JOSE GARCIA                          ADDRESS ON FILE
JOSE HUMBERTO ROSALES JR             ADDRESS ON FILE
JOSE INACIO LEAL FERREIRA            ADDRESS ON FILE
JOSE LUIS TOLEDO GONZALEZ            ADDRESS ON FILE
JOSE MALDONADO, ROSA ROMERO          ADDRESS ON FILE
JOSE MARIA XIVIR POZ                 ADDRESS ON FILE
JOSE PEREZ                           ADDRESS ON FILE
JOSE QUINTEROS                       ADDRESS ON FILE
JOSEPH A CARR                        ADDRESS ON FILE
JOSEPH A HAYDEN                      ADDRESS ON FILE
JOSEPH A SISKA JR                    ADDRESS ON FILE
JOSEPH ALEXIS                        ADDRESS ON FILE
JOSEPH C JONES                       ADDRESS ON FILE
JOSEPH C WATKINS                     ADDRESS ON FILE
JOSEPH D LAMONICA                    ADDRESS ON FILE
JOSEPH DUCKWORTH                     DBA JOE DUCKWORTH DRAFT SERVICE PO BOX 1254 LANSDALE PA 19446-0723
JOSEPH EL SINEITTI                   ADDRESS ON FILE
JOSEPH F MIER JR                     ADDRESS ON FILE
JOSEPH FISHBACK                      ADDRESS ON FILE
JOSEPH FOSTER                        ADDRESS ON FILE
JOSEPH G KNOWLES                     ADDRESS ON FILE
JOSEPH GAROFALO                      ADDRESS ON FILE
JOSEPH GAROFALO 2017 TRUST           ADDRESS ON FILE
JOSEPH KEITH                         ADDRESS ON FILE
JOSEPH KUCERA                        DBA KUCERAS GRASS CUTTING PO BOX 259 MUSE PA 15350-0259
JOSEPH L EDWARDS                     ADDRESS ON FILE
JOSEPH M SWEENEY                     ADDRESS ON FILE
JOSEPH M TADDONIO                    ADDRESS ON FILE



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JOSEPH MULLARKEY DISTRIBUTING          2200 RIDGE DRIVE GLENVIEW IL 60025
JOSEPH NATHAN SINGLETARY               ADDRESS ON FILE
JOSEPH P RUSPANTINI                    ADDRESS ON FILE
JOSEPH P. KLAPHOLZ, PA                 7951 SW 6TH ST., SUITE 210 PLANTATION FL 33324
JOSEPH PAUL FEGAN                      ADDRESS ON FILE
JOSEPH RICHARD SMITH                   ADDRESS ON FILE
JOSEPH RYAN BENSON                     ADDRESS ON FILE
JOSEPH T BERRENA MECHANICALS INC       279 STANDING STONE AVENUE HUNTINGDON PA 16652
JOSEPH V POSKIN IV                     ADDRESS ON FILE
JOSEPH VERDI                           ADDRESS ON FILE
JOSHS ACCURATE POWER WASHING LLC       DBA ACCURATE POWER WASHING 563 S SANDUSKY AVE TULSA OK 74112-4127
JOSHUA BRYSON                          ADDRESS ON FILE
JOSHUA C WENNER                        ADDRESS ON FILE
JOSHUA D. HURWIT                       UNITED STATES ATTORNEYS OFFICE 801 E SHERMAN, STE 192 POCATELLO ID 83201
JOSHUA D. HURWIT                       UNITED STATES ATTORNEYS OFFICE 1290 W MYRTLE ST, STE 500 BOISE ID 83702
JOSHUA D. HURWIT                       UNITED STATES ATTORNEYS OFFICE 6450 MINERAL DRIVE, STE 210 COEUR DALENE ID
                                       83815
JOSHUA MOOREHEAD                       ADDRESS ON FILE
JOSHUA NADEAU                          ADDRESS ON FILE
JOSHUA P SCHULZE                       ADDRESS ON FILE
JOSHUA PAUL MCCREARY                   ADDRESS ON FILE
JOSHUA T CHAPMAN                       ADDRESS ON FILE
JOSIAH RAYMOND                         ADDRESS ON FILE
JOSSART INC                            DBA FERTILAWN PO BOX 386 BISMARCK ND 58502-0386
JOTTIS LLC                             DBA AQUA PRO WATER SYSTEMS 3801 BURTON CT ALBANY GA 31721
JOY ALLEN                              ADDRESS ON FILE
JOYCE BEER GAS INC                     36 MOUNTAINVIEW AVE ARDSLEY NY 10502
JOYNER ELECTRIC AND SECURITY INC       PO BOX 23528 SAVANNAH GA 31403
JP MORGAN CHASE BANK NA                3415 VISION DR COLUMBUS OH 43219-6009
JPA LANDSCAPE AND CONSTRUCTION INC     DBA SEQUOIA LANDSCAPE SPECIALTIES PO BOX 1292 PLEASANTON CA 94566
JPC ELECTRIC LLC                       DBA JUAN PUJOLS CASTILLO 13137 LOS ANGELES WOODS LN ORLANDO FL 32824-9363
JPDC INC                               DBA VALLEY PLUMBING CO 137 MESA DRIVE ST ALBANS WV 25177
JPG PLUMBING AND MECHANICAL SERVICES   8280 STAYTON DR STE M JESSUP MD 20794-9609
INC
JPMBB COMMERCIAL MORTGAGE SECURITIES   TRUST 2014-C21 LOWER-TIER DBA CHARLOTTESVILLE JP 2014-C21 LLC PO BOX 640359
                                       PITTSBURGH PA 15264-0359
JPS REALTY MANAGEMENT LLC              C/O JOHN SHEEHAN 2130 WILLIAMSBRIDGE ROAD 1-G BRONX NY 10461-1620
JPS VENTURES LTD                       DBA SERVPRO OF NORTH KANAWHA AND SERVPRO OF TEAYS VALLEY 7 POVERTY LN NITRO WV
                                       25143-2537
JR ELECTRIC LLC                        1125 HALLERTAU DRIVE SPARKS NV 89441-5861
JR PRESSURE WASH SERVICE LLC           8062 28TH AVE N SAINT PETERSBURG FL 33710-2863
JR TREE SERVICE INC                    DBA JR TREE SERVICE LANDSCAPING & LAWN CARE 312 ISABEL ST GREENSBORO NC
                                       27401-1524
JRS COASTAL MAINTENANCE SERVICES LLC   8390 39TH AVENUE NORTH ST PETERSBURG FL 33709-4028
JRS PLUMBING AND DRAIN                 101 W AMERICAN CANYON RD STE 508-119 AMERICAN CANYON CA 94503-1162
JRS STEAM PRO CARPET CLEANING          75 MADRID AVE BROOKVILLE OH 45309-1225
JS ENGLISH ENTERPRISES LLC             DBA FISH WINDOW CLEANING PO BOX 1033 O FALLON MO 63366-8733
JSF LLC                                DBA HAPPY TAPPY DRAFT BEER SERVICES 500 GARFIELD AVE BAY CITY MI 48708-7140
JSSA VENTURES INC                      FKA KFC OF JACKSON HOLE INC 4020 E 6TH AVENUE PKWY DENVER CO 80220-4905
JT PLUM INC                            DBA FRECKLE FARM 20 SINGLETREE ROAD FLETCHER NC 28732


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JTN-RL LLC                               9984 SCRIPPS RANCH BLVD 284 SAN DIEGO CA 92131
JUAN CARLOS FLORES                       ADDRESS ON FILE
JUAN EDUARDO GARCIA                      ADDRESS ON FILE
JUAN PEREZ                               ADDRESS ON FILE
JUAN SMYNRA OWNER LLC                    ATTN: RUBY PEREZ 118 KNICKERBOCKER AVE BROOKLYN NY 11237
JUAN TAPIA                               ADDRESS ON FILE
JUANITA DELUNA MACIAS                    ADDRESS ON FILE
JUDGE OF PROBATE                         ETOWAH COUNTY PO BOX 187 GADSDEN AL 35902
JUDGE OF PROBATE                         1702 NOBLE STREET STE 102 ANNISTON AL 36201
JUDGE SERVICES LLC                       800 E. WALNUT STE A CARBONDALE IL 62901-3142
JUDITH REYES                             ADDRESS ON FILE
JUDSONS INC                              PO BOX 12669 SALEM OR 97309-0669
JUGE NAPOLITANO GUILBEAU RULI & FRIEMAN ATTN:JEFF NAPOLITANO 3320 W. ESPLANADE AVE., NORTH METAIRIE LA 70002
JUGE, NAPOLITANO, GUILBEAU,              RULI & FRIEMAN 3320 W. ESPLANADE AVE. NORTH METAIRIE LA 70002
JULIA A SHELLHAMMER                      ADDRESS ON FILE
JULIAN, MATTIE                           ADDRESS ON FILE
JULIE CRISOFULLI                         ADDRESS ON FILE
JULIE WHIDDEN                            ADDRESS ON FILE
JULIO MARTINS                            ADDRESS ON FILE
JULIOS CARPET CLEANING                   450 S ORANGE AVE SUITE 800 ORLANDO FL 32801-3383
JUNE COE                                 ADDRESS ON FILE
JUNE LAMBERTSON                          ADDRESS ON FILE
JUNIPER LANDSCAPING OF FLORIDA LLC       7032 OLD CHENEY HWY ORLANDO FL 32807-6218
JUNK IT ORLANDO LLC                      5401 S KIRKMAN RD STE 310 ORLANDO FL 32819-7937
JUNKLUGGERS FRANCHISING LLC - CT         25 PROGRESS AVE SEYMOUR CT 06483
JUPITER SAFE AND LOCK SECURITY           DBA SIXBERRYS SUPERIOR SECURITY SOLUTIONS INC 1431 CYPRESS DRIVE, SUITE D
SOLUTIONS                                JUPITER FL 33469
JUST LET ME DO IT COMMERCIAL SERVICES    803 HILLCREST ST KANNAPOLIS NC 28083-3832
JUST ONE CALL                            ADDRESS ON FILE
JUSTICE, MATTHEW                         ADDRESS ON FILE
JUSTIN & KENNADY LLC                     DBA SHACK SHINE 1115 CARLTON ST CLEARWATER FL 33755-3208
JUSTIN ALALMO                            ADDRESS ON FILE
JUSTIN BLANTON                           ADDRESS ON FILE
JUSTIN G TSAI                            ADDRESS ON FILE
JUSTIN STOLTZFUS                         ADDRESS ON FILE
JUSTIN T MORT                            ADDRESS ON FILE
JUSTIN WADE BLEDSOE                      ADDRESS ON FILE
JUTLEY, KULVINDER                        ADDRESS ON FILE
JUTO LLC                                 DBA YESCO TRIAD 213 HILLSTONE PL JAMESTOWN NC 27282-2000
JXN WATER                                PO BOX 22667 JACKSON MS 39225-2667
JYE SMITH                                ADDRESS ON FILE
K & B ASPHALT SEALCOATING INC            120 N MAIN ST UNIT A ADRIAN MI 49221-2745
K & D FACTORY SERVICE INC                1833 - 41 N CAMERON ST HARRISBURG PA 17103
K & D MAINTENANCE COMPANY LLC            670 MERIDIAN WAY STE 294 WESTERVILLE OH 43082-2307
K & R ELECTRIC INC                       PO BOX 6727 BRANSON MO 65615
K & W ELECTRIC INC                       PO BOX 967 CEDAR FALLS IA 50613
K A B SERVICES                           2603 S 6TH ST TERRE HAUTE IN 47802-3533
K AND K CARPET CARE OF CHILLICOTHE LLC   PO BOX 1027 CHILLICOTHE OH 45601
K BOLLINGER INC                          DBA THE VINYL GUY 1305 HEARRELL ST NEOSHO MO 64850-3041



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Claim Name                             Address Information
K E SEIFERT INC                        155 NORTH GREEN ST LANGHORNE PA 19047
K KELLY INC                            DBA EMERALD RESTAURANT SERVICE 914 GENEVA STREET SHOREWOOD IL 60404-9403
K L TYNDALE INC                        7604 ALLENTOWN BLVD HARRISBURG PA 17112-4231
K TOWN DELIVERY INC                    5101 ORBITOR DRIVE MISSISSAUGA ON L4W 5R8 CANADA
K&K HOSPITALITY MAINTENANCE LLC        DBA GASKET GUY OF HUDSON VALLEY 15 OLYMPIC WAY POUGHKEEPSIE NY 12603-1923
K&R ELECTRIC LLC                       4505 DEER PARK DR TEMPLE HILLS MD 20748-4518
K&S WINDOW CLEANING                    139 E SOUTH ST CARLISLE PA 17013-3429
K-9 FINANCIAL LLC                      14641 ARMINTA ST PANORAMA CITY CA 91402
K-TEAM HOLDINGS INC.                   1. 1131 STEELES AVE. WEST UNIT 105 TORONTO ON M2R 3W8 CANADA
K. BELLAMY BROWN MURPHY & POSNER       3200 E CAMELBACK RD, STE 300 PHOENIX AZ 85018
K.I.R. COPIAGUE L.P.                   C\O KIMCO REALTY CORPORATION 3333 NEW HYDE PARK ROAD SUITE 100 P.O. BOX 5020
                                       NEW HYDE PARK NY 11042-0020
K/W CROSS CONNECTION CONTROL           UPO BOX 3205 KINGSTON NY 12402
K2 ROOFING & SHEET METAL FLORIDA INC   1673 SW 1ST WAY STE A5 DEERFIELD BEACH FL 33441-6790
KA RELOCATION SERVICES                 DBA KA TRANSPORTATION SERVICES 2501 MAYES RD CARROLLTON TX 75006-1377
KABILTAN REX CHRISTY                   ADDRESS ON FILE
KACHE IRESH                            ADDRESS ON FILE
KACI L CAUDLE                          ADDRESS ON FILE
KACI STEGELMAN                         ADDRESS ON FILE
KAEMMERLEN PARTS AND SERVICE INC       DBA KAEMMERLEN FACILITY SOLUTIONS 1539 S KINGSHIGHWAY SAINT LOUIS MO 63110
KAHL, JESSICA                          ADDRESS ON FILE
KAHSAY, HAMELMAT                       ADDRESS ON FILE
KAISER, ADAM                           ADDRESS ON FILE
KAISER, JEFFERY                        ADDRESS ON FILE
KAITLYN PINKERTON                      ADDRESS ON FILE
KAIZEN COMPANIES INC                   DBA ALDBOI LLC C/O AMERICAN LEAK DETECTION OF BOISE PO BOX 44679 BOISE ID
                                       83711-0679
KAIZEN CONSULTING INC                  DBA DATANAUTIX INC 7335 WINDING LAKE CIRCLE OVIEDO FL 32765-5665
KAJESA INC                             1653 - 246 STEWART GREEN SW CALGARY ON T3H 3C8 CANADA
KALAMAZOO COUNTY HEALTH DEPARTMENT     418 WEST KALAMAZOO AVENUE KALAMAZOO MI 49006
KALAMAZOO COUNTY HEALTH DEPARTMENT     SHERIFFS OFFICE BUREAU OF REVENUE & TAX KALAMAZOO MI 49006
KALGREN, ALAINNA                       ADDRESS ON FILE
KALINS INDOOR COMFORT                  PO BOX 3407 SIOUX CITY IA 51102-3407
KAMPING LLC                            PO BOX 338 JERICHO NY 11753-0338
KAMREX INC                             DBA THE KENTUCKY COLONEL PUBLICATION OFFICE 3044 BARDSTOWN RD 197 LOUISVILLE
                                       KY 40205-3020
KANAWHA COUNTY SHERIFF                 409 VIRGINIA ST E RM 120 CHARLESTON WV 25301-2530
KANAWHA-CHARLESTON HEALTH DEPARTMENT   PO BOX 927/108 LEE STREET E CHARLESTON WV 25323
KANAWHA-CHARLESTON HEALTH DEPARTMENT   418 WEST KALAMAZOO AVENUE CHARLESTON WV 25323
KANDIES, PEGGY                         ADDRESS ON FILE
KANE COUNTY HEALTH DEPARTMENT          719 BATAVIA AVE GENEVA IL 60134
KANE COUNTY TREASURER                  PO BOX 4025 GENEVA IL 60134-4025
KANEL, DINESH                          ADDRESS ON FILE
KANES DRAFT SERVICE INC                PO BOX 1179 KEYSTONE HEIGHTS FL 32656
KANKAKEE COUNTY HEALTH DEPARTMENT      2390 WEST STATION STREET KANKAKEE IL 60901
KANKAKEE COUNTY HEALTH DEPARTMENT      PO BOX 927/108 LEE STREET E KANKAKEE IL 60901
KANKAKEE COUNTY TREASURER              189 E CT ST KANKAKEE IL 60901
KANNAN NATARAJAN CO-TRUSTEE            ADDRESS ON FILE
KANSAS ATTORNEY GENERAL                CONSUMER PROTECTION DIVISION 120 SW 10TH AVE 2ND FLOOR TOPEKA KS 66612-1597
KANSAS CITY                            414 EAST 12TH STREET 2ND FLOOR KANSAS CITY MO 64106-2786


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KANSAS CITY BOARD OF PUBLIC UTILITIES   P.O. BOX 219661 KANSAS CITY MO 64121-9661
KANSAS CITY POWER AND LIGHT             P.O. BOX 418679 KANSAS CITY MO 64141
KANSAS DEPARMENT OF REVENUE             915 SW HARRSON ST. TOPEKA KS 66625-5000
KANSAS DEPARTMENT OF AGRICULTURE        RECORDS CENTER - FOOD SAFETY 1320 RESEARCH PARK DRIVE MANHATTAN KS 66502
KANSAS DEPARTMENT OF REVENUE            915 SW HARRISON STREET TOPEKA KS 66612-1588
KANSAS DEPT OF COMMERCE - REGULATORY    COMPLIANCE 1000 SW JACKSON STREET, SUITE 100 TOPEKA KS 66612
KANSAS DEPT OF HEALTH & ENVIRONMENT     1000 SW JACKSON ST TOPEKA KS 66612
KANSAS DEPT OF LABOR                    EMPLOYMENT SECURITY UNEMPLOYMENT INSURANCE 4601 STATE AVE KANSAS CITY KS 66102
KANSAS DEPT OF LABOR                    401 SW TOPEKA BLVD TOPEKA KS 66603
KANSAS GAS SERVICE                      PO BOX 219046 KANSAS CITY MO 64121-9046
KANSAS GAS SERVICE                      P.O. BOX 3535 TOPEKA KS 66601
KANSAS STATE FIRE MARSHALL              800 SW JACKSON TOPEKA KS 66612-1216
KANSAS STATE TREASURER                  UNCLAIMED PROPERTY DIVISION 900 SW JACKSON, STE 201 TOPEKA KS 66612
KANTOR & SMITH LLC                      DBA ON-IT CONSTRUCTION 3909 W DE LEON ST TAMPA FL 33609-4414
KAPPUS CO                               4755 W 150TH STREET CLEVELAND OH 44135
KARAVAS, THOMAS, KARAVAS, GLORIA        ADDRESS ON FILE
KAREN FUJIOKA                           ADDRESS ON FILE
KAREN K SCHNEEBERGER                    ADDRESS ON FILE
KAREN KELLY                             ADDRESS ON FILE
KAREN SANSONE                           ADDRESS ON FILE
KAREN STEMPLES                          ADDRESS ON FILE
KARGER VENTURES LIMITED                 DBA CULLIGAN QUALITY WATER OF NORTH CENTRAL OHIO PO BOX 1431 MANSFIELD OH
                                        44901-1431
KARL BROKMANN                           ADDRESS ON FILE
KARL ERNEST GEHERT JR                   ADDRESS ON FILE
KARL G JORGENSEN                        ADDRESS ON FILE
KARL MARTIN                             ADDRESS ON FILE
KARRULI LLC                             C/O LEO KARRULI 500 GALLERIA DR STE 300 JOHNSTOWN PA 15904-8916
KARSARE WATER SYSTEMS LLC               PO BOX 828 VERISAILLES KY 40383-0828
KASKIE, GINA                            ADDRESS ON FILE
KASON INDUSTRIES INC                    DBA KASON SOUTHERN PO BOX 933425 ATLANTA GA 31193-3428
KASSELMAN ELECTRIC CO INC               279 BROADWAY STE 1 MENANDS NY 12204-2755
KATCEF BROTHERS INC                     2404 A & EAGLE BLVD ANNAPOLIS MD 21401
KATE E. BRUBACHER                       UNITED STATES ATTORNEYS OFFICE 500 STATE AVE, STE 360 KANSAS CITY KS 66101
KATE E. BRUBACHER                       UNITED STATES ATTORNEYS OFFICE 444 SE QUINCY, STE 290 TOPEKA KS 66683
KATE E. BRUBACHER                       UNITED STATES ATTORNEYS OFFICE 1200 EPIC CENTER 301 N MAIN WICHITA KS 67202
KATE PHANTHAVONG                        ADDRESS ON FILE
KATHERINE OBREBSKI                      ADDRESS ON FILE
KATHLEEN P CRABTREE                     ADDRESS ON FILE
KATHY GODIN                             ADDRESS ON FILE
KATRINA HART                            ADDRESS ON FILE
KATY MANAGEMENT DISTRICT 1              PO BOX 4545 HOUSTON TX 77210-4545
KATY MILLS MALL LP                      C/O BANK OF AMERICA PO BOX 100554 ATLANTA GA 30384-0554
KATZS LOCK AND KEYS INC                 DBA KATZ LOCKSMITH 1336 MONTE VISTA AVE STE 5 UPLAND CA 91786-8233
KAUTZ CONSTRUCTION COMPANY              1262 LOOP ROAD LANCASTER PA 17601-3114
KAWARTHA AQUARIUMS                      524 PARNELL ST APT REAR PETERBOROUGH ON K9J 4J4 CANADA
KAYTES REALTY LLC                       ATTN: ALLAN KAYTES PO BOX 4627 WAYNE NJ 07470
KB RIVERDALE LLC                        2743 PERIMETER PARKWAY BUILDING 100 SUITE 370 AUGUSTA GA 30909
KC WATER SERVICES                       PO BOX 807045 KANSAS CITY MO 64180-7045



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KCMO WATER SERVICES DEPARTMENT        414 E. 12TH STREET KANSAS CITY MO 64106
KDL LOCKSMITH                         202 BRIGHTON AVE TORONTO ON M3H 4E6 CANADA
KE GUTRIDGE LLC                       DBA GUTRIDGE 88 S 2ND ST NEWARK OH 43055-5417
KEAHOLE POINT FISH LLC                DBA BLUE OCEAN MARICULTURE PO BOX 888622 LOS ANGELES CA 90088-8622
KEALOCK LLC                           C/O KEATON SECURITY PLUS LOCKSMITH 327 N MARION AVE LAKE CITY FL 32055-2866
KEARNEY PLUMBING INC                  DBA CITY PLUMBING 2101 AVENUE C KEARNEY NE 68847
KEATHLEY SERVICE CO INC               196 MAJESTIC CIRCLE MAUMELLE AR 72113
KEEN RESTAURANT SERVICES INC          59 WESTMINSTER DRIVE OAKVILLE ON L6L 4H3 CANADA
KEENAH CUAYCONG                       ADDRESS ON FILE
KEFAYAT NAVID                         ADDRESS ON FILE
KEG KLEAN LLC                         7092 STATE ROUTE 97 MANSFIELD OH 44903-8506
KEG TECHS LLC                         PO BOX 312 MARQUETTE MI 49855-0312
KEGELS PRODUCE INC                    PO BOX 4682 LANCASTER PA 17604
KEI ELECTRICAL CONSTRUCTION &         MAINTENANCE 6185 WEST KL AVENUE KALAMAZOO MI 49009
KEITH D STABI                         DBA FISH WINDOW CLEANING PO BOX 14091 POLAND OH 44514-4514
KEITH G JENNE                         ADDRESS ON FILE
KEITH PAGE PARRISH SR                 ADDRESS ON FILE
KEITH SCHMIDT                         DBA SCHMIDT SYSTEMS PO BOX 191713 DALLAS TX 75219-8505
KEITHS DRAIN AND SEPTIC SERVICE INC   DBA BROWN DRAIN AND SEWER SERVICE PO BOX 5287 MANSFIELD OH 44901-5287
KELBRO COMPANY.                       DBA SHAMROCK GROUP INC 2900 FIFTH AVENUE SOUTH MINNEAPOLIS MN 55408-2484
KELLER ENTERPRISES LLC                DBA FISH WINDOW CLEANING 4075 LINGLESTOWN ROAD 377 HARRISBURG PA 17112-1020
KELLER, DIANA                         ADDRESS ON FILE
KELLEY JOHN GROFF                     ADDRESS ON FILE
KELLEYS SERVICES INC                  3281 HALF MOON VALLEY ROAD WARRIORS MARK PA 16877
KELLIE CANNON                         ADDRESS ON FILE
KELLY CARIS                           ADDRESS ON FILE
KELLY CONSTRUCTION                    PO BOX 815 BOLTON ON L7E 5T5 CANADA
KELLY ELECTRICAL SERVICES INC         11437 WEST I-70 FRONTAGE ROAD NORTH WHEATRIDGE CO 80033
KELLY J MALEY                         ADDRESS ON FILE
KELLY K HICKMAN                       ADDRESS ON FILE
KELLY LEDFORD                         ADDRESS ON FILE
KELLY M BIGGIE                        ADDRESS ON FILE
KELLY MILES                           ADDRESS ON FILE
KELLY MYERS                           ADDRESS ON FILE
KELLY PALMER                          ADDRESS ON FILE
KELLY TREVINO                         ADDRESS ON FILE
KELLY, JOSHUA                         ADDRESS ON FILE
KELLY, ORLITA                         ADDRESS ON FILE
KELLY, ZEBADEE                        ADDRESS ON FILE
KELLYS LAWN CARE LLC                  DBA MATTHEW JACOB LEONARD 13904 MEADOWBROOK LN KLAMATH FALLS OR 97601-9253
KELSIES ULTRASONIC BLIND CL INC       DBA KELSIES BLINDS 2464 WEST SR 426 SUITE 1028 OVIEDO FL 32765
KELSO RL PROPERTY LLC                 C/O FRANCIS C KASTER MEMBER 412 NORTH ST YREKA CA 96097-2313
KEMCO FACILITIES SERVICES LLC         5750 BELL CIR MONTGOMERY AL 36116-4132
KEMCO OF BURLINGTON INC               428 AUTO PARK DR GRAHAM NC 27253-2965
KEMPER SONS PLUMBING & HEATING INC    1683 PARK AVE E MANSFIELD OH 44905-2992
KEN STOLLAR                           ADDRESS ON FILE
KEN TYSON PLUMBING INC                228 INDUSTRY PKWY NICHOLASVILLE KY 40356-9128
KEN WAGNER                            ADDRESS ON FILE
KENDALL HARPER                        ADDRESS ON FILE



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KENDALL RECE INC                       DBA BLINDS FOR LESS 4419 E WILDWOOD CT VISALIA CA 93292-4408
KENDRICK, BRITTNEY                     ADDRESS ON FILE
KENNEDY MALL LTD                       PO BOX 7535 CAROL STREAM IL 60197-7535
KENNEDY PLUMBING & HEATING             30284 WEST SEVEN MILE RD LIVONIA MI 48152
KENNETH E LACEY                        ADDRESS ON FILE
KENNETH GURLL                          DBA WAKE SEWER AND DRAIN CLEANING SERVICE PO BOX 30352 RALEIGH NC 27622
KENNETH J ELLENWOOD                    ADDRESS ON FILE
KENNETH J HUDSON JR                    ADDRESS ON FILE
KENNETH L. PARKER                      US ATTORNEYS OFFICE 303 MARCONI BLVD, STE 200 COLUMBUS OH 43215
KENNETH L. PARKER                      US ATTORNEYS OFFICE 221 E FOURTH ST, STE 400 CINCINNATI OH 45202
KENNETH L. PARKER                      US ATTORNEYS OFFICE WALTER H RICE FED BLDG & U.S. COURTHOUSE 200 W SECOND ST,
                                       STE 600 DAYTON OH 45402
KENNETH MILLER.                        ADDRESS ON FILE
KENNETH O LESTER COMPANY INC           DBA PFG CUSTOMIZED DISTRIBUTION PO BOX 933457 ATLANTA GA 31193-3457
KENNETH PERRY                          ADDRESS ON FILE
KENNETH PIFER                          ADDRESS ON FILE
KENNETH SIEVERS                        ADDRESS ON FILE
KENNETH W GRIFFIN                      ADDRESS ON FILE
KENNETH W HASKELL                      ADDRESS ON FILE
KENNETH WOOD                           ADDRESS ON FILE
KENNINGTON ELECTRIC CORPORATION        11993 RAVENNA RD STE 7R CHARDON OH 44024-9018
KENNY ADAMS INC                        DBA THE WORKS SERVICE COMPANY 515 N INTERURBAN ST 105 RICHARDSON TX 75081
KENS APPLIANCE INC                     2208 N WEBB RD UNIT 1 GRAND ISLAND NE 68803-1739
KENS SANITATION & RECYCLING, INC.      PO BOX 2127 FARGO ND 58107-2127
KENT CLEAN LLC                         1238 SERON COURT ELDERSBURG MD 21784
KENT COUNTY HEALTH DEPARTMENT          700 FULLER AVE NE GRAND RAPIDS MI 49503
KENT COUNTY RECEIVER OF TAXES          PO BOX 802 DOVER DE 19903
KENTUCKY AMERICAN WATER COMPANY        PO BOX 6029 CAROL STREAM IL 60197-6029
KENTUCKY DEPARTMENT OF REVENUE         501 HIGH ST, STATION 38 FRANKFORT KY 40601-2103
KENTUCKY DEPARTMENT OF REVENUE         PO BOX 181 FRANKFORT KY 40620-0003
KENTUCKY DEPARTMENT OF REVENUE         15100 N US 26 E, STE 2 CORBIN KY 40701
KENTUCKY DEPARTMENT OF REVENUE         TURFWAY RIDGE OFFICE PARK 7310 TURFWAY RD, STE 190 FLORENCE KY 41042
KENTUCKY DEPARTMENT OF REVENUE         1539 GREENUP AVE ASHLAND KY 41101
KENTUCKY DEPARTMENT OF REVENUE         UNIPLEX CENTER 126 TRIVETTE DR, STE 203 PIKEVILLE KY 41501
KENTUCKY DEPARTMENT OF REVENUE         600 W CEDAR ST, 2ND FL WEST LOUISVILLE KY 40202
KENTUCKY DEPARTMENT OF REVENUE         CLARK BUSINESS COMPLEX, STE G 2928 PARK AVE PADUCAH KY 42001
KENTUCKY DEPARTMENT OF REVENUE         201 W PROFESSIONAL PARK CT BOWLING GREEN KY 42104
KENTUCKY DEPARTMENT OF REVENUE         181 HAMMOND DR HOPKINSVILLE KY 42240
KENTUCKY DEPARTMENT OF REVENUE         CORPORATE CENTER 401 FREDERICA ST BDLG C, STE 201 OWENSBORO KY 42301
KENTUCKY DEPT OF                       ENVIRONMENTAL PROTECTION 300 SOWER BLVD FRANKFORT KY 40601
KENTUCKY LABOR CABINET                 500 METRO ST, 3RD FL FRANKFORT KY 40601
KENTUCKY OAKS MALL COMPANY             PO BOX 7561 CAROL STREAM IL 60197-7561
KENTUCKY OFFICE OF THE ATTORNEY GENERAL CONSUMER PROTECTION DIVISION 1024 CAPITAL CTR DRSTE 200 FRANKFORT KY 40601
KENTUCKY OFFICE OF THE ATTORNEY GENERAL PRESTONSBURG 361 N LAKE DR PRESTONSBURG KY 41653
KENTUCKY OFFICE OF THE ATTORNEY GENERAL LOUISVILLE CONSUMER PROTECTION DIVISION 310 WHITTINGTON PKWY STE 101
                                        LOUISVILLE KY 40222
KENTUCKY PERSONNEL CABINET             501 HIGH ST FRANKFORT KY 40601
KENTUCKY STATE TREASURER               UNCLAIMED PROPERTY DIVISION 1050 US HIGHWAY 127 SOUTH, STE 100 FRANKFORT KY
                                       40601
KENTUCKY STATE TREASURER               KENTUCKY DEPARTMENT OF REVENUE FRANKFORT KY 40620-0021


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KENTUCKY UTILITIES COMPANY             ONE QUALITY STREET LEXINGTON KY 40507
KENTWOOD CITY TREASURER                P.O. BOX 8848 KENTWOOD MI 49518-8848
KEPLER GROUP LLC                       6 E 32ND ST 9TH FLOOR NEW YORK NY 10016-5415
KEPLINGERS EXCAVATING INC              18423 BREATHEDSVILLE RD BOONSBORO MD 21713-1912
KERN COUNTY TREASURER                  PO BOX 541004 LOS ANGELES CA 90054-1004
KERPASH, KENNETH                       ADDRESS ON FILE
KERPASH, ROBERT                        ADDRESS ON FILE
KERRY KELESHIAN                        ADDRESS ON FILE
KERSHNER, BERNARD                      ADDRESS ON FILE
KESCO KITCHEN EQUIPMENT & SUPPLY CO    1600 WEST MAIN STREET PENSACOLA FL 32502
KESSCO WATER LLC                       5048 N LAFAYETTE ST TERRE HAUTE IN 47805-1831
KESSENICHS LTD                         3226 PROGRESS RD MADISON WI 53716-3345
KESSIMAKIS PRODUCE CO INC              PO BOX 2310 SALT LAKE CITY UT 84110-2310
KESSLER SIGN COMPANY                   PO BOX 785 ZANESVILLE OH 43702-0785
KESSNER UMEBAYASHI BAIN & MATSUNAGA ALC ATTN:ROBERT C. KESSNER 220 SOUTH KING STREET, SUITE 1900 HONOLULU HI 96813
KETER ENVIRONMENTAL SERVICES LLC       PO BOX 417468 BOSTON MA 02241-7468
KEVIN ARAUJO                           ADDRESS ON FILE
KEVIN D FOX                            ADDRESS ON FILE
KEVIN D JONES                          ADDRESS ON FILE
KEVIN D WINCHESTER                     DBA REEF GEEK MARINE 971 LAURA STREET MYRTLE CREEK OR 97457
KEVIN EUGENE OVERBY                    ADDRESS ON FILE
KEVIN G. RITZ                          US ATTORNEYS OFFICE 167 N MAIN ST, STE 800 MEMPHIS TN 38103
KEVIN G. RITZ                          US ATTORNEYS OFFICE 109 S HIGHLAND, STE 300 JACKSON TN 38301
KEVIN J CLARK                          ADDRESS ON FILE
KEVIN K BROWN                          ADDRESS ON FILE
KEVIN LAWLER                           DBA THE KING PROFESSIONAL CARPET CLEANING SERVICE PO BOX 280054 MEMPHIS TN
                                       38168-0054
KEVIN MINNS                            ADDRESS ON FILE
KEVIN PETERSON CONSTRUCTION LLC        1999 SHEFFIELD RD ASHTABULA OH 44004-8701
KEVIN QUIGGLE                          ADDRESS ON FILE
KEVIN S DONAHOE                        ADDRESS ON FILE
KEVIN SCHRODT                          ADDRESS ON FILE
KEVIN SCOTT VERBERNE                   ADDRESS ON FILE
KEVIN SHONFIELD                        ADDRESS ON FILE
KEVIN TAYLOR                           ADDRESS ON FILE
KEVIN W DAVIDSON                       ADDRESS ON FILE
KEVISE WILLIAMS                        ADDRESS ON FILE
KEY EXPRESS INC                        DBA LOCK DOC OF TEXAS LLC 3506 W LOOP 281 LONGVIEW TX 75604-2668
KEY, JUDY                              ADDRESS ON FILE
KEYLAN MCDARIS                         ADDRESS ON FILE
KEYONE INC                             PO BOX 13295 TUCSON AZ 85732-3295
KEYS TO LANDSCAPING LLC                DBA KEYS 2 LANDSCAPING 1241 N HOWARD ST AKRON OH 44310-1066
KEYSER FLOORING 1 LP                   OXI FRESH CARPET CLEANING PO BOX 440100 SAINT LOUIS MO 63144-4100
KEYSIGHT TECHNOLOGIES INC              1900 GARDEN OF THE GODS RD COLORADO SPRINGS CO 80907-3423
KEYSPAN GAS EAST CORPORATION           DBA NATIONAL GRID CREDIT & COLLECTION 300 ERIE BLVD WEST BLDG. D-1 SYRACUSE NY
                                       01322
KEYSPAN GAS EAST CORPORATION D/B/A     NATIONAL GRID CREDIT & COLLECTION DEPT. 300 ERIE BLVD. WEST D-1 SYRACUSE NY
                                       13202
KEYSTONE CONSTRUCTION INDUSTRIES LLC   3052 CASARE DR VIERA FL 32940-8314
KEYSTONE FIESTA PLAZA LLC              3776 N 1ST AVE STE 200 TUCSON AZ 85719-1610


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KEYSTONE FIESTA PLAZA, LLC             ATTN: KARENMICHELLE LOVE C/O GRIMM COMMERCIAL, LLC 3776 N. 1ST AVENUE, SUITE
                                       200 TUCSON AZ 85719
KEYSTONE MUNICIPAL COLLECTIONS         2390 WEST STATION STREET WHITE OAK PA 15131
KEYSTONE MUNICIPAL COLLECTIONS         1532 LINCOLN WAY WHITE OAK PA 15131
KEYZ HANDYMAN SERVICES LLC             DBA KARIME HODGE 7901 4TH ST N STE 300 ST PETERSBURG FL 33702-4399
KFORCE INC                             PO BOX 277997 ATLANTA GA 30384-7997
KHALSA MAINTENANCE & WINDOW CLNG SVC XI 2322 NORTH 9TH STREET PHOENIX AZ 85006-1614
KHAN, MOHAMMED                         ADDRESS ON FILE
KIANA HENDRICKS                        ADDRESS ON FILE
KIBLER, PATSY                          ADDRESS ON FILE
KIEFFER SANITATION                     PO BOX 2754 A WASTE CONNECTIONS COMPANY RAPID CITY SD 57709-2754
KIERNAN TREBACH                        ATTN:FELICITY MCGRATH 1233 20TH ST. NW WASHINGTON DC 20036
KILL A WATT ELECTRICAL INC             2851 W AVENUE L 314 LANCASTER CA 93536-4022
KIM PORTER                             ADDRESS ON FILE
KIM SMITH                              ADDRESS ON FILE
KIMBALL & THOMPSON PRODUCE CO INC      305 S LINCOLN LOWELL AR 72745
KIMBER-HICKSON, ALEXANDRIA             ADDRESS ON FILE
KIMBERLING CITY PLUMBING INC           216 STATE HIGHWAY DD BRANSON WEST MO 65737-8887
KIMBERLY ROWE                          ADDRESS ON FILE
KIMBERLY S EVANS                       ADDRESS ON FILE
KIMBERLY SEARCY                        ADDRESS ON FILE
KIMBLE RECYCLING & DISPOSAL            P.O. BOX 448 DOVER OH 44622
KIMCO REALTY CORPORATION               C/O C T CORPORATION SYSTEM 28 LIBERTY ST. NEW YORK NY 10005
KIMCO REALTY CORPORATION               DBA LARGO PLAZA PO BOX 30344 TAMPA FL 33630-3344
KIMCO REALTY CORPORATION               DBA NORTH VALLEY PLAZA LLC PO BOX 30344 TAMPA FL 33630-3344
KIMCO REALTY CORPORATION               PO BOX 30344 TAMPA FL 33630-3344
KIMCO REALTY CORPORATION               ATTN: LEGAL DEPARTMENT 2600 CITADEL PLAZA DR., SUITE 125 HOUSTON TX 77008
KIMCO REALTY OP LLC                    DBA RAMCO JACKSONVILLE LLC PO BOX 30344 TAMPA FL 33630-3344
KIMS APPLIANCE SERVICE INC             204 RIVERWOOD AVENUE MANDAN ND 58554
KIN PROPERTIES INC                     185 NW SPANISH RIVER BLVD BOCA RATON FL 33431-4227
KINETICO INCORPORATED                  DBA KINETICO QUALITY WATER SYSTEMS 9765 BASIL WESTERN ROAD CANAL WINCHESTER OH
                                       43110
KINETICO WATER SYSTEMS - JULENE EDWARDS 401 S MINNESOTA AVE SIOUX FALLS SD 57104-6803
KINETICO WATER SYSTEMS OF SIOUXLAND    1122 MORNINGSIDE AVE SIOUX CITY IA 51106-1660
KING APPLIANCE LLC                     15 SUNRISE CIR CONNELLSVILLE PA 15425-9704
KING COUNTY TREASURY                   201 S JACKSON ST RM 710 SEATTLE WA 98104
KING CUT RATE TOBACCOS INC             DBA KING SPIRITS 5636 ROUTE 60 EAST SUITE 3 HUNTINGTON WV 25705
KING OF PRUSSIA BEER OUTLET            175 N HENDERSON ROAD KING OF PRUSSIA PA 19406
KING OF PRUSSIA BID                    BUSINESS IMPROVEMENT DISTRICT 234 MALL BOULEVARD STE 150 KING OF PRUSSIA PA
                                       19406
KING OF PRUSSIA PA RETAIL LLC          C/O GERSHENSON REALTY AND INVESTMENT LLC 31500 NORTHWESTERN HWY STE 100
                                       FARMINGTON HILLS MI 48334-2568
KING OF PRUSSIA, PA RETAIL LLC         ATTN: ANDREW GREENE, VICE PRESIDENT C/O TLM REALTY 295 MADISON AVE., 37TH
                                       FLOOR NEW YORK NY 10017
KING WHOLESALE LOCK & DOOR             DBA SUBURBAN LOCK & KEY SERVICE 3122 DELAWARE AVENUE KENMORE NY 14217
KING, HELEN                            ADDRESS ON FILE
KING, LISA                             ADDRESS ON FILE
KING, TYRA                             ADDRESS ON FILE
KINGDOM LAWN & LANDSCAPE LLC           5300 NORTH RD CLYDE MI 48049-2108
KINGS POWER WASH                       DBA SARMAD MIKAEEL 1321 GREENFIELD DR UNIT 11 EL CAJON CA 92021-3409


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KINGSTON, ELIZABETH                     ADDRESS ON FILE
KINGTON SEWER & SEPTIC DRAIN CLEANING   SVC INC PO BOX 50633 KNOXVILLE TN 37950-0633
KINOIAN, RONALD                         ADDRESS ON FILE
KINSER, PATRICIA                        ADDRESS ON FILE
KINZER AIR LLC                          3139 5TH STREET LEWISTON ID 83501-4303
KINZUA WATER TREATMENT                  DBA CULLIGAN WATER 16039 CONNEAUT LAKE ROAD MEADVILLE PA 16335
KIR COPIAGUE LP                         500 NORTH BROADWAY, SUITE 201 P.O. BOX 9010 JERICHO NY 11753
KIR COPIAGUE LP                         PO BOX 30344 TAMPA FL 33630
KIR COPIAGUE LP                         PO BOX 30344 TAMPA FL 33630-3344
KIR COPIAGUE, L.P.C/O C T CORPORATION   28 LIBERTY ST. NEW YORK NY 10005
KIRKER & CIE SA, CONSEILS EN MARQUES    RUE DE GENEVE 122 1226 THONEX CASE POSTALE 15312ENX GENEVA SWITZERLAND
KIRKER & CIE SA, CONSEILS EN MARQUES    RUE DE GENEVE 122 1266 THONEX GENEVE CASE POSTALE 153 GENEVA SWITZERLAND
KIRKPATRICK, JOSEPH                     ADDRESS ON FILE
KIRKSTADT, KEVIN                        ADDRESS ON FILE
KISAN B CHAVAN                          ADDRESS ON FILE
KISH & SONS ELECTRIC INC                PO BOX 543 LA CROSSE WI 54602-0543
KISS ELECTRICAL CONTRACTORS INC         2333 MORRIS AVE STE C117 UNION NJ 07083-5747
KISSIMMEE UTILITY AUTHORITY             P. O. BOX 423219 KISSIMMEE FL 34742-3219
KISSIMMEE UTILITY AUTHORITY             PO BOX 2252 DEPT 96 BIRMINGHAM AL 35246-0096
KITCHEN, PAULA                          ADDRESS ON FILE
KITCHENER CITY                          FINANCE DEPT REVENUE DIVISION CITY HALL 20O0 KING ST W KITCHENER ON N2G 4R6
                                        CANADA
KITE REALTY GROUP LP                    DBA KRG BEL AIR SQUARE LLC 13068 COLLECTION CENTER DRIVE CHICAGO IL 60693-0130
KITSAP COUNTY PUBLIC WORKS              614 DIVISION ST STOP 27 PORT ORCHARD WA 98366-4686
KITSAP COUNTY TREASURER                 PO BOX 169 PORT ORCHARD WA 98366
KIU ND HOLDINGS LLC                     ATTN: DAVID KIU 32 MAMMOLA WAY MEDFORD MA 02155
KIU ND HOLDINGS LLC                     C/O DAVID KIU 32 MAMMOLA WAY MEDFORD MA 02155-2051
KJ SIGNS LLC                            DBA SIGNARAMA ANKENY & YESCO DES MOINES C/O KATHY J EVERT 1450 NE 69TH PL STE
                                        55 ANKENY IA 50021-8958
KK CONSTRUCTION LLC                     DBA BACKFLOW TESTERS R/USS 852 TURQUOISE DR PUEBLO CO 81006-1961
KKB PROPERTY MANAGEMENT LLC             DBA SUPERIOR ASPHALT MAINTENANCE 12475 US HIGHWAY 231 UTICA KY 42376-9107
KLAUER, ROBYN                           ADDRESS ON FILE
KLEAN RAGZ LLC                          311 BAY ST WALTERBORO SC 29488-4036
KLEARVIEW WINDOW CLEANING LTD           1-188 TURNBULL CT CAMBRIDGE ON N1T 1J2 CANADA
KLECKA, NANNIE                          ADDRESS ON FILE
KLEENCO PRO SERVICES LLC                PO BOX 6592 WARNER ROBINS GA 31095-6592
KLEENIT JANITORIAL SERV INC             501 LEY ROAD FORT WAYNE IN 46825
KLENZINGS LANDSCAPING LLC               2922 MOLLY PITCHER HIGHWAY CHAMBERSBURG PA 17202
KLINES SERVICES INC                     5 HOLLAND ST SALUNGA PA 17538
KLM COMMERCIAL SWEEPING INC             ATTN MR KEITH KANNEWURF 320 SAINT SABRE DR SWANSEA IL 62226-1046
KLOXIN, PAULA                           ADDRESS ON FILE
KLUG SERVICES INC                       DBA 1-800-GOT-JUNK 4209 E CHASE ST BALTIMORE MD 21205-3020
KLUGH, ALEXIS                           ADDRESS ON FILE
KLUXEN, CHARLES                         ADDRESS ON FILE
KLYR RUM LLC                            DBA KLYR RUM 506 INDUSTRIAL DR LEWISBERRY PA 17339-9595
KMB MARKETING INC                       DBA FISH WINDOW CLEANING PO BOX 475 WALLINGFORD CT 06492-0475
KMG HAULING, INC.                       P.O. BOX 650821 POTOMAC FALLS VA 20165
KMG HEALTH PARTNERS LIMITED             75 WAVERLEY ROAD TORONTO ON M4L 3T2 CANADA
KNEREM, MELINDA                         ADDRESS ON FILE



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KNIGHT ELECTRIC INC                     PO BOX 426 RUSSELLVILLE KY 42276-0426
KNIGHT PLUMBING & DRAIN LLC             PO BOX 910 GRANVILLE WV 26534-0910
KNIGHT SIGN INDUSTRIES INC              5959 KNIGHT AVE TUSCALOOSA AL 35405-5503
KNOPP, ROBERT                           ADDRESS ON FILE
KNOX & AMERICAN I LLC                   C/O STUARTCO 1000 WEST 80TH STREET BLOOMINGTON MN 55420
KNOX & AMERICAN I, LLC                  1000 W 80TH STREET BLOOMINGTON MN 55420
KNOX COUNTY HEALTH DEPARTMENT           ATTN: EH/FOOD 140 DAMERON AVENUE KNOXVILLE TN 37917
KNOX COUNTY HEALTH DEPARTMENT           1532 LINCOLN WAY KNOXVILLE TN 37917
KNOX COUNTY TRUSTEE                     PO BOX 70 KNOXVILLE TN 37901
KNOXVILLE CITY PROPERTY TAX OFFICE      PO BOX 15001 KNOXVILLE TN 37901-5001
KNOXVILLE UTILITIES BOARD               4505 MIDDLEBROOK PIKE KNOXVILLE TN 37921
KNOXVILLE UTILITIES BOARD               PO BOX 59017 KNOXVILLE TN 37950-9017
KNULL ENTERPRISES INC                   DBA THERMAX CLEAN CARE CENTER 1930 GOOD HOPE ROAD ENOLA PA 17025
KOASTAL PRESSURE CLEANING LLC           6236 TEMPLE RD JACKSONVILLE FL 32217-2469
KOCH, KURT                              ADDRESS ON FILE
KOCHMANN, CHAD                          ADDRESS ON FILE
KOFI, DZEGEDE FELIX                     ADDRESS ON FILE
KOLB ELECTRIC INCORPORATED              8530 CINDER BED RD STE 1400 LORTON VA 22079-1491
KOLEE 59 TRUST                          ADDRESS ON FILE
KOLESAR & LEATHAM                       ATTN: MATTHEW D. SALTZMAN, ESQ. 400 SOUTH RAMPART BOULEVARD, STE 400 LAS
                                        VEGAS, NEVADA 89145 LAS VEGAS NV 89145
KOLLER LAW PC                           ADDRESS ON FILE
KOLO JANITORIAL SERVICES & SUPPLIES LLC 5672 ROCK ISLAND RD APT 249 TAMARAC FL 33319-2868
KONA COLD LOBSTERS LTD                  73-4460 QUEEN KAAHUMANU HWY 103 KAILUA KONA HI 96740
KONATE, KOBA                            ADDRESS ON FILE
KONICA MINOLTA BUSINESS SOLUTIONS USA   DBA KONICA MINOLTA PREMIER FINANCE PO BOX 911608 DENVER CO 80291-1608
KONRAD BEER DISTRIBUTOR INC             BOX 5396 DEPTFORD NJ 08096
KONSTANTINE P. GEORGE                   ADDRESS ON FILE
KOOL IT MECHANICAL                      6708 112TH AVE E PUYALLUP WA 98372-2851
KOOL KLEEN INC                          DBA FILTER KLEEN PO BOX 87 MURRYSVILLE PA 15668
KOONCE, NICHOLAS                        ADDRESS ON FILE
KOONSE FOOD EQUIPMENT SERVICE INC       5510 BROWNSVILLE ROAD PITTSBURGH PA 15236-2910
KOORSEN FIRE & SECURITY INC             2719 N ARLINGTON AVENUE INDIANAPOLIS IN 46218-3322
KOOTENAI COUNTY RECORDERS OFF           ATTN: EH/FOOD 140 DAMERON AVENUE COEUR D ID 83816-9000
KOOTENAI COUNTY RECORDERS OFF           C-9000 COEUR D ID 83816-9000
KOOTENAI COUNTY TREASURER               PO BOX 9000 COEUR DALENE ID 83816-9000
KORE REFRIGERATION LLC                  PO BOX 701398 W VALLEY CITY UT 84170-1398
KORE WIRELESS INC                       DBA KORE 29396 NETWORK PL CHICAGO IL 60673-1293
KORE WIRELESS INC. SUM                  29396 NETWORK PLACE CHICAGO IL 60673
KORK N KAP                              135 E MAIN ST CRESTLINE OH 44827
KORRECT PLUMBING HEATING & AIR          CONDITIONING INC 7967 WEST THIRD STREET DAYTON OH 45417-7545
KORTH, SEAN                             ADDRESS ON FILE
KOSEL AC & HEATING INC                  PO BOX 2892 CEDAR PARK TX 78630-2892
KOSITCH ENTERPRISES INC                 DBA MISSION ELECTRIC COMPANY 5700 BOSCELL COMMON FREMONT CA 94538-5111
KOURTNEY MEYER                          ADDRESS ON FILE
KOUVARAKIS, JASON                       ADDRESS ON FILE
KOWBOY FENCE CO LLC                     PO BOX 4045 BRENTWOOD TN 37027
KPLP II LLC                             5680 E CUTTING HORSE LANE KUNA ID 83634-1449
KPLP-II, LLC                            ATTN: V. LOREN KLOCK P.O. BOX 626 KUNA ID 83634



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KPMG LLP                               ATTN: JOHN FIORE 200 E RANDOLPH DRIVE 5500 CHICAGO IL 60602
KPMG LLP                               DEPT 0608 PO BOX 120608 DALLAS TX 75312-0608
KRAFTWORK ELECTRIC                     8961 MIRAGE COURT REDDING CA 96001
KRAMER BEVERAGE CO INC                 PO BOX 470 HAMMONTON NJ 08037-0470
KRATER SERVICES LLC                    445 HOBBIT HOLLOW ROAD ALTOONA PA 16601
KRAUN ELECTRIC INC                     45 WRIGHT STREET ST CATHARINES ON L2P 3J5 CANADA
KREATURES & KOI INC                    DBA EXOTIC UNDERWORLDS 1 DIAMOND CAUSEWAY STE 21-284 SAVANNAH GA 31406-7417
KREBS BROTHERS RESTAURANT              SUPPLY CO INC 4217 EAST 43RD STREET NORTH LITTLE ROCK AR 72117
KRIS WALTER ENTERPRISE INC             DBA MOORE SERVICE COMPANY 155 SHILOH RIDGE RD VIDOR TX 77662-9702
KRISHNAMOORTI FAMILY LIMITED           ATTN DURGA K SINGA 45415 ANTELOPE DR FREMONT CA 94539-6041
PARTNERSHIP
KRISTA SOFTWARE, INC.                  2633 MCKINNEY AVE STE 130-364 DALLAS TX 75204
KRISTEN HANLEY                         ADDRESS ON FILE
KRISTEN ROBERTS                        ADDRESS ON FILE
KRISTIAN ACEVES TORRES                 ADDRESS ON FILE
KRISTINA HILL                          ADDRESS ON FILE
KRISTOFER CONRAD OWEN                  ADDRESS ON FILE
KRISTOPHER KAMMERER                    ADDRESS ON FILE
KROGER COMPANY                         819 50789 VALLEY PLAZA ST CLAIRSVILLE OH 43950
KROLL, MCNAMARA, EVANS & DELEHANTY, LLP 65 MEMORIAL ROAD SUITE 300 WEST HARTFORD CT 06107
KRS GLASSWORKS INC                     DBA GLASS DOCTOR OF CENTRAL NEBRASKA 2304 A AVE KEARNEY NE 68847-5441
KRS KITCHEN REPAIR SERVICES INC        DBA KITCHEN REPAIR SERVICE 27058 SW 140TH PSGE NARANJA FL 33032
KRUSE, JAMES                           ADDRESS ON FILE
KRYPTEIA GROUP INTERNATIONAL CANADA INC 87 FISETTE PLACE WINNIPGE MB R3X 0L2 CANADA
KRYSTAL CAMPBELL                       ADDRESS ON FILE
KRYSTAL JAMES                          ADDRESS ON FILE
KRYSTAL KLEAN CARPET CLEANING &        RESTORATION CO LLC PO BOX 4308 ANNISTON AL 36204-4308
KRYSTAL KLEEN INC                      PO BOX 908 WARREN MI 48090
KRYSTAL REEF INC                       24654 N LAKE PLEASANT PKWY SUITE 103-205 PEORIA AZ 85383-1359
KS AOB TORONTO INC                     C/O TRIOVEST REALTY ADVISORS INC 595 BAY STREET SUITE 1001 TORONTO ON M5G 2C2
                                       CANADA
KS SEAFOOD LLC                         ATTN: MATT WATERMAN 15915 VENTURA BOULEVARD, PH2 ENCINO CA 91436
KS SEAFOOD LLC                         ATTN MATT WATERMAN 15915 VENTURA BLVD PH 2 ENCINO CA 91436-4439
KSQUARED LLC                           DBA LARRY KENT TAYLOR 2870 S 3925 W TAYLOR UT 84401-9767
KTZ MECHANICALS LLC                    DBA ROTO-ROOTER PLUMBING 2149 E BLACKSTOCK RD ROEBUCK SC 29376-2905
KU-KENTUCKY UTILITIES COMPANY          PO BOX 25212 LEHIGH VALLEY PA 18002-5212
KUB-KNOXVILLE UTILITIES BOARD          PO BOX 59029 KNOXVILLE TN 37950-9029
KUEHL, ALYIA                           ADDRESS ON FILE
KUELAP LAND HOLDINGS LLC               6183 ELDORA ST GOLDEN CO 80403-2205
KUHNEN & WACKER                        RENEWALS DEPARTMENT PRINZ-LUDWIG-STRABE 40 A FREISING 85354 GERMANY
KUHNEN & WACKER                        PATENT - UND RECHTSANWALTSBURO PARTG MBB PRINZ-LUDWIG-STRASSE 40 A FREISING
                                       85354 GERMANY
KUNCO LANDSCAPE INC                    3603 EDISON AVE ERIE PA 16510-1913
KUNES, DIANE                           ADDRESS ON FILE
KUNKEL, SARAH                          ADDRESS ON FILE
KURDIAN PLUMBING INC                   DBA PICASSO PLUMBING INC 3135 VERDUGO ROAD LOS ANGELES CA 90065-2033
KUTUDIS, CINDY                         ADDRESS ON FILE
KUYKENDALL, ADAM                       ADDRESS ON FILE
KW BEVERAGES                           825 BLUFF ROAD COLUMBIA SC 29201
KW COMMERCIAL APPLIANCE REPAIR LLC     4914 THONOTOSASSA RD PLANT CITY FL 33565-5930


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KW GLASS SYSTEMS INC                    445 DUTTON DRIVE WATERLOO ON N2L 4C7 CANADA
KWIK DRY LLC                            C/O AMERIFACTORS PO BOX 628328 ORLANDO FL 32862-8328
KY PLUMBING                             DBA KYPD LLC 101 VIRGINIA LN NICHOLASVILLE KY 40356-1154
KYLE BAKER                              ADDRESS ON FILE
KYOKO MAMITSUKA                         ADDRESS ON FILE
KYRA CONYERS                            ADDRESS ON FILE
L & L DISTRIBUTING CO INC               514 CLARK ST SIOUX CITY IA 51101
L & M APPLIANCE SERVICE & REPAIR INC    PO BOX 42507 PORTLAND OR 97242-0507
L & M COVENANT CONSTRUCTION             5500 W 62ND ST KEARNEY NE 68845-2034
L A COUNTY TREASURER TAX COLL           PO BOX 54978 TERMINAL ANNEX LOS ANGELES CA 90054-0978
L A RUST INC                            6642 NW 97TH LANE PARKLAND FL 33076
L B BILLINGSLEY INVESTMENT CO           5336 ALPHA ROAD SUITE 6 DALLAS TX 75240
L E HUNT JR ENTERPRISES INC             DBA ROTO-ROOTER PLUMBERS SEWER DRAIN SERVICE 4005 SE GRIMES BOULEVARD GRIMES
                                        IA 50111
L E PHILLIPS CAREER DEV CTR INC         PO BOX 600 EAU CLAIRE WI 54703
L F RAICHE CO INC                       DBA A-1 RAICHE LOCKSMITHS 366 S EAST AVENUE KANKAKEE IL 60901
L I LOCKSMITH & ALARM CO INC            26 W OLD COUNTRY ROAD HICKSVILLE NY 11801
L M WANDER AND SONS INC                 DBA L M WANDER AND SONS LANDSCAPING INC 8711 PEACH ST ERIE PA 16509-4736
L S DAVAR & CO                          GLOBSYN CRYSTALS TOWER 1 2ND FLOOR BLOCK EP PLOT NO 11 & 12 SALT LAKE SECTOR-V
                                        KOLKATA WB 700091 INDIA
L T VERRASTRO INC                       700 MOOSIC ROAD OLD FORGE PA 18518
L W RIVERDALE LLC                       W NORTH LAS VEGAS LLC 315 CENTRAL AVE LAWRENCE NY 11559-1605
L&D MAINTENANCE CO                      13877 17TH ST N STILLWATER MN 55082-1746
L&E BOTTLING CO INC                     PO BOX 11159 OLYMPIA WA 98508-1159
L&G JUNK & HAULING                      DBA L&G JUNK REMOVAL 1921 SHERBOURNE ST WINTER GARDEN FL 34787-4604
L&S TOLUCA PROPERTIES                   ATTN: LAURIE FARLESS 1393 PALISADES DRIVE PACIFIC PALISADES CA 90272
L&S TOLUCA PROPERTIES                   1393 PALISADES DR PACIFIC PALISADES CA 90272-2153
L.S. DAVAR & CO.                        GLOBSYN CRYSTALS,TOWER 1, 2ND FLOOR BLOCK EP,PLOT NO.11 & 12 SALT LAKE SECTOR
                                        KOLKATA WB 700091 INDIA
LA BOUTIQUE DEL VINO                    1360 TAYLOR AVE WINNIPEG MB R3M 3Z1 CANADA
LA COUNTY                               FIRE DEPARTMENT PO BOX 513148 LOS ANGELES CA 90051-1148
LA COUNTY                               C-9000 LOS ANGELES CA 90051-1148
LA COUNTY DEPARTMENT OF PUBLIC WORKS    WASTE MANAGEMENT DIVISION 16600 CIVIC CENTER DR STE 200 BELLFLOWER CA 90706
LA COUNTY DEPARTMENT OF PUBLIC WORKS    FIRE DEPARTMENT PO BOX 513148 BELLFLOWER CA 90706
LA COUNTY WATERWORKS                    PO BOX 512150 LOS ANGELES CA 90051-0150
LA CROSSE CITY TREASURER                400 LA CROSSE ST LA CROSSE WI 54601
LA CROSSE CITY TREASURER                PO BOX 2408 LA CROSSE WI 54602-2408
LA CROSSE COUNTY HEALTH DEPARTMENT      300 N 4TH ST LA CROSSE WI 54601
LA CROSSE COUNTY HEALTH DEPARTMENT      WASTE MANAGEMENT DIVISION 16600 CIVIC CENTER DR STE 200 LA CROSSE WI 54601
LA CROSSE SIGN CO INC                   PO BOX 187 ONALASKA WI 54650
LA CROSSE WATER UTILITY                 400 LA CROSSE STREET CITY HALL LA CROSSE WI 54601
LA DEPARTMENT OF WILDLIFE & FISHERIES   PO BOX 98000 2000 QUAIL DRIVE BATON ROUGE LA 70898
LA FRONTERA LANDLORD LLC                PO BOX 843412 DALLAS TX 75284-3412
LA GRASSO BROS INC                      PO BOX 2638 DETROIT MI 48202-2638
LA JOLLA GROUP B LLC                    765 W HIGH ST MANHEIM PA 17545-1907
LA JOLLA LOCKSMITH CORPORATION          8677 VILLA LA JOLLA DRIVE UNIT 1140 LA JOLLA CA 92037
LA MAR ORLANDO LLC                      DBA SIR SPEEDY PRINTING AND MARKETING 621 COMMONWEALTH AVE ORLANDO FL
                                        32803-5223
LA PORTE COUNTY TREASURER               555 MICHIGAN AVE STE 102 LAPORTE IN 46350
LA. OFFICE OF THE ATTORNEY GENERAL      CONSUMER PROTECTION SECTION 1885 N 3RD ST BATON ROUGE LA 70802


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LA. OFFICE OF THE ATTORNEY GENERAL      CONSUMER PROTECTION SECTION PO BOX 94005 BATON ROUGE LA 70804
LABER LAURA                             ADDRESS ON FILE
LABOR LAW POSTER SERVICE LLC            DBA LABOR LAW POSTER SERVICE 1116 20TH ST SOUTH 421 BIRMINGHAM AL 35205-2612
LACEY, DAN, LACEY, DALENE               ADDRESS ON FILE
LACHANDRIA SHY                          ADDRESS ON FILE
LACKAWANNA COUNTY COLLECTOR OF TAXES    PO BOX 709 SCRANTON PA 18501-0709
LACKAWANNA RIVER BASIN-LRBSA            PO BOX 280 OLYPHANT PA 18447-0280
LACKEY ELECTRIC & REFRIGERATION LLC     PO BOX B LAKE JACKSON TX 77566-0759
LAD OF VIRGINIA INC                     DBA ROTO ROOTER PLUMBING PO BOX 534 RUCKERSVILLE VA 22968-0534
LADAS DOMAINS LLC                       6060 N CENTRAL EXPY STE 344 DALLAS TX 75206-5209
LAFAYETTE AYERS AND WHITLOCK PLC        CROSSRIDGE PROFESSIONAL PARK 10160 STAPLES MILL RD STE 105 GLEN ALLEN VA
                                        23060-3447
LAFFERTY, MICHELLE                      ADDRESS ON FILE
LAFLEUR, LEANNE                         ADDRESS ON FILE
LAGRANDIER, EDNA                        ADDRESS ON FILE
LAHLUM, ARNE                            ADDRESS ON FILE
LAIDIGS GLASS INC                       1606 COMMERCIAL STREET WATERLOO IA 50702
LAIM INC                                DBA LEN AND TONYS 1511 EAST 63RD ST NORTH SIOUX FALLS SD 57104
LAKE APOPKA NATURAL GAS DISTRICT        P.O. BOX 783007 WINTER GARDEN FL 34778
LAKE APOPKA NATURAL GAS DISTRICT, FL    PO BOX 2224 DEPT 23 BIRMINGHAM AL 35246-0023
LAKE COUNTY                             C/O WEIGHTS & MEASURES DEPARTMENT 2900 W 93RD AVE CROWN POINT IN 46307-1866
LAKE COUNTY COLLECTOR                   PO BOX 1030 BEDFORD PARK IL 60499-1030
LAKE COUNTY DEPT OF UTILITIES           P.O. BOX 8005 PAINESVILLE OH 44077-8005
LAKE COUNTY GENERAL HEALTH DEPARTMENT   33 MILL STREET PAINESVILLE OH 44077
LAKE COUNTY GENERAL HEALTH DEPARTMENT   C/O WEIGHTS & MEASURES DEPARTMENT 2900 W 93RD AVE PAINESVILLE OH 44077
LAKE COUNTY HEALTH DEPARTMENT           2293 N MAIN STREET CROWN POINT IN 46307
LAKE COUNTY HEALTH DEPARTMENT           33 MILL STREET CROWN POINT IN 46307
LAKE COUNTY HEALTH DISTRICT             3010 GRAND AVE WAUKEGAN IL 60085
LAKE COUNTY TAX COLLECTOR               P O BOX 327 TAVARES FL 32778
LAKE COUNTY TREASURER                   PO BOX 490 PAINESVILLE OH 44077-0490
LAKE FOREST BANK AND TRUST COMPANY NA   DBA FIRST INSURANCE FUNDING 450 SKOKIE BLVD STE 1000 NORTHBROOK IL 60062-7917
LAKE PARK INVESTORS LLC                 3265 MERIDIAN PKWY STE 130 WESTON FL 33331-3506
LAKEHAVEN WATER & SEWER DISTRICT        PO BOX 34882 SEATTLE WA 98124-1882
LAKELAND ELECTRIC/CITY OF LAKELAND,FL   P.O. BOX 32006 LAKELAND FL 33802-2006
LAKELAND LANDSCAPING SUPPLY CORP        1990 LAKELAND AVENUE RONKONKOMA NY 11779
LAKES AREA CHAMBER OF COMMERCE          305 N PONTIAC TRL STE A WALLED LAKE MI 48390-3479
LAKES MALL REALTY LLC                   C/O NAMDAR REALTY GROUP LLC 150 GREAT NECK ROAD SUITE 304 GREAT NECK NY
                                        11021-3309
LAKES OF MUSKOKA COTTAGE BREWERY        DBA MUSKOKA BREWERY 1964 MUSKOKA BEACH RD GRAVENHURST ON P1P 1R2 CANADA
LAKESHORE WINDOW CLEANING               762 GREENWOOD PLACE BURLINGTON ON L7T 4J4 CANADA
LAKESIDE LOCKSMITH INC                  14224 LAKESIDE BLVD N SHELBY TOWNSHIP MI 48315-6073
LAKESIDE OOTB VENTURES LLC              C/O LAKESIDE MALL ATTN MALL OFFICE 14000 LAKESIDE CIR STERLING HEIGHTS MI
                                        48313-1320
LAKEWOOD VILLAGETAX COLLECTOR           PO BOX 1475 BUFFALO NY 14240-1475
LAKNERS LANDSCAPING LLC                 PO BOX 530924 LIVONIA MI 48153-0924
LAMANNA LANDSCAPE & FERTILIZING COMPANY 3430 LAKE RIDGE DRIVE MURRYSVILLE PA 15668
LAMAR COUNTY HEALTH DEPARTMENT          PO BOX 846 PURVIS MS 39475
LAMAR COUNTY HEALTH DEPARTMENT          2293 N MAIN STREET PURVIS MS 39475
LAMAR COUNTY TAX COLLECTOR              PO BOX 309 PURVIS MS 39475
LAMB LANDSCAPING LLC                    DBA GRASSHOPPER LANDSCAPING PO BOX 210 KELSO WA 98626


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LAMESA                                  750 B STREET SUITE 2100 SAN DIEGO CA 92101-8177
LAMING GROUP INC                        DBA STANLEY STEEMER 6520 OLEY SPEAKS WAY STE (RANGE A - F) CANAL WINCHESTER OH
                                        43110-7863
LAMONICAS REST EQ SER CO INC            6211 SOUTH 380 WEST MURRAY UT 84107
LAMONT ENTERPRISES INC                  DBA TRI-CITY LOCK SERVICE 4216 LOUISE STREET SAGINAW MI 48603
LANCASTER CITY INCOME TAX DEPARTMENT    104 E MAIN STREET 2ND FLOOR LANCASTER OH 43130
LANCASTER SCHERT EQUIPMENT LLC          DBA JOHNSON LANCASTER INDIANA PO BOX 273 DANVILLE IN 46122-0273
LANCASTER UTILITIES COLLECTION-OFFICE   P.O. BOX 1099 LANCASTER OH 43130-0819
LANCES LOCKSMITH COMPANY                3458 GODSPEED ROAD DAVIDSONVILLE MD 21035
LAND HOE MAINTENANCE LLC                15 THORPE ST DANBURY CT 06810-4714
LAND O LAKES RECYCLING                  20 E DR ML KING JR BLVD BROOKSVILLE FL 34601
LAND SOLUTIONS LLC                      PO BOX 680282 FRANKLIN TN 37068-0282
LANDAN B WILLIAMS                       ADDRESS ON FILE
LANDCHAMPS LLC                          ELEVATE OUTDOOR LLC 1112 BRYAN RD O FALLON MO 63366-3456
LANDIS MECHANICAL GROUP INC             2526A CENTRE AVE READING PA 19605-2850
LANDIS SEWERAGE AUTHORITY               1776 SOUTH MILL RD VINELAND NJ 08360
LANDIS TECHNOLOGIES LLC                 1120 DIVISION HWY EPHRATA PA 17522-8820
LANDMARK CENTER PROPERTY OWNERS         ASSOCIATION INC C/O DEEP RIVER COMMERCIAL PROPERTY MGMT PO BOX 49579
                                        GREENSBORO NC 27419-1579
LANDMARK PAINTING & DECORATING INC      75 E BETHPAGE RD PLAINVIEW NY 11803-4218
LANDMARK PRIVATE MANAGEMENT LIABILITY   540 WEST MADISON ST 9TH FLOOR CHICAGO IL 60661
LANDPRO CONSTRUCTION                    DBA ROBERT MILLER PO BOX 663 PADUCAH KY 42002-0663
LANDSCAPE SOLUTIONS INC                 3060 12TH STREET NORTHPORT AL 35476
LANDSCAPING FOR HOPE LLC                32990 MESA DR LAKE ELSINORE CA 92530-4645
LANE CONTRACTORS LLC                    PO BOX 4281 WAYNE NJ 07470-4281
LANE COUNTY ENVIRON HEALTH              PO BOX 846 EUGENE OR 97401
LANE COUNTY ENVIRON HEALTH              125 E 8TH AVENUE EUGENE OR 97401
LANE COUNTY TAX COLLECTOR               125 E. 8TH AVENUE EUGENE OR 97401-2968
LANG SIGNS INC                          7108 CASTLEBERRY ROAD CUMMING GA 30040-8058
LANGSTON SEAWRIGHT                      ADDRESS ON FILE
LANSDALE LOCK SHOP LLC                  120 WENTWORTH DRIVE LANSDALE PA 19446-1670
LANSING BOARD OF WATER & LIGHT          1232 HACO DRIVE LANSING MI 48901
LANSING BOARD OF WATER & LIGHT          PO BOX 30824 LANSING MI 48909-8311
LANSING CITY TREASURER                  DEPT 3201 PO BOX 30516 LANSING MI 48909-8016
LANSING RETAIL CENTER LLC               PO BOX 789117 PHILADELPHIA PA 19178-9117
LANTERN ELECTRIC                        4393 RIDEAU RIVER RD KEMPTVILLE ON K0G 1J0 CANADA
LANZA LANDSCAPING CONTRACTORS LLC       340 W 5TH ST LANSDALE PA 19446-2208
LAPATRA, DIANE                          ADDRESS ON FILE
LAPINE ASSOCIATES INC                   15 COMMERCE RD STAMFORD CT 06902-4549
LAPORTE COUNTY HEALTH DEPARTMENT        302 W 8TH STREET SUITE 4 MICHIGAN CITY IN 46360
LAPORTE COUNTY HEALTH DEPARTMENT        125 E 8TH AVENUE MICHIGAN CITY IN 46360
LARA, CARLOS                            ADDRESS ON FILE
LARA, STEPHEN                           ADDRESS ON FILE
LARAMIE COUNTY TREASURER                PO BOX 125 CHEYENNE WY 82003
LARCO MANAGEMENT LLC                    455 CENTRAL PARK AVENUE SUITE 204 SCARSDALE NY 10583
LAREDO CITY TAX DEPARTMENT              PO BOX 6548 LAREDO TX 78042-6548
LARGO PLAZA C/O KIMCO REALTY            500 NORTH BROADWAY, SUITE 201 PO BOX 9010 JERICHO NY 11753
CORPORATION
LARGO POLICE DEPARTMENT                 ATTN: FISCAL SERVICES 201 HIGHLAND AVENUE BLDG 2 LARGO FL 33770
LARIDAEL M BAXTER                       ADDRESS ON FILE


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LARIMER CO DEPT OF HEALTH & ENVRIONMENT 302 W 8TH STREET SUITE 4 FT COLLINS CO 80524
LARIMER COUNTY DEPT OF HEALTH &          ENVRIONMENT 1525 BLUE SPRUCE FT COLLINS CO 80524
LARIMER COUNTY TREASURER                 PO BOX 2336 FORT COLLINS CO 80522-2336
LARNELL SAMUEL ROBERTS                   ADDRESS ON FILE
LARRABEE ALBI COKER LLP                  9920 PACIFIC HEIGHTS BLVD STE 300 SAN DIEGO CA 92121-4333
LARRY DON MILES                          ADDRESS ON FILE
LARRY J LIGGETT                          ADDRESS ON FILE
LARRY M DOWNS SR                         ADDRESS ON FILE
LARRY O RODGERS                          ADDRESS ON FILE
LARRY ROSENGARTEN                        ADDRESS ON FILE
LARRY S PETERSON                         ADDRESS ON FILE
LARRY THE GASKET GUY LLC                 PO BOX 237203 COCOA FL 32923-7203
LARRY TODD HEATON                        ADDRESS ON FILE
LARRYS LIQUOR STORE                      3232 HARDING HIGHWAY LIMA OH 45804
LARRYS LOCKS & KEYS INC                  6112 CREEKHEAD DR KNOXVILLE TN 37909
LARSEN BEVERAGE                          DBA PEPSI COLA OF OGDEN LOGAN PO BOX 12130 OGDEN UT 84412-2130
LARSEN, SHELLEY                          ADDRESS ON FILE
LARSSON, ANNE                            ADDRESS ON FILE
LAS VEGAS QUALITY WATER WORKS INC        4345 WAGON TRAIL AVE LAS VEGAS NV 89118-4431
LAS VEGAS VALLEY WATER DISTRICT          1001 SOUTH VALLEY VIEW BOULEVARD LAS VEGAS NV 89153
LASALLE COUNTY HEALTH DEPARTMENT         717 ETNA ROAD OTTAWA IL 61350
LASALLE COUNTY HEALTH DEPARTMENT         1525 BLUE SPRUCE OTTAWA IL 61350
LASALLE COUNTY TREASURER                 PO BOX 1560 OTTAWA IL 61350
LASCKO PLUMBING AND MECHANICAL LLC       375 BAYOU AVE MUSKEGON MI 49442-1101
LASHELL, LEE, HAYES, DESIREE             ADDRESS ON FILE
LASHUK LLC                               DBA STANLEY STEEMER OF MADISON WI 2834 AGRICULTURE DR MADISON WI 53718-6790
LASTAND INC                              DBA FISH WINDOW CLEANING PO BOX 1713 VICTORVILLE CA 92393-1713
LASTING IMPRESSIONS LANDSCAPING INC      214 FOGLIO LANE STROUDSBURG PA 18360
LATAH SANITATION INC                     DBA KINGS THRONES & PLUMBING SERVICE LLC 3949 INDUSTRIAL WAY LEWISTON ID
                                         83501-5892
LATHAM & WATKINS LLP                     ATTENTION: DAVID HAMMERMAN 1271 AVENUE OF THE AMERICAS NEW YORK NY 10020
LATHAM WATER DISTRICT                    534 NEW LOUDEN RD C MICHELE ZILGME RECEIVER OF TAXES LATHAM NY 12110-5316
LATHROP & GAGE, LLP                      ATTN: B. MARSCHEL, D. WATERS, H. WIGNER 10851 MASTIN BLVD, STE 1000 OVERLAND
                                         PARK, KANSAS 66210 OVERLAND PARK KS 66210
LATINA BOULEVARD FOODS LLC               DBA BOULEVARD PRODUCE 1 SCRIVNER DRIVE SUITE 1 CHEEKTOWAGA NY 14227
LATINOSI LLC                             DBA 1-800-GOT-JUNK HOUSTON WEST 9337B KATY FWY STE 213 HOUSTON TX 77024-1515
LAUDERDALE CO HEALTH DEPARTMENT          PO BOX 4419 MERIDIAN MS 39304-4419
LAUDERDALE COUNTY HEALTH DEPARTMENT      STATE OF ALABAMA PO BOX 929 TUSCUMBIA AL 35674-0929
LAUDERDALE COUNTY HEALTH DEPARTMENT      717 ETNA ROAD TUSCUMBIA AL 35674-0929
LAUDERDALE COUNTY REVENUE COMMISSIONER   PO BOX 794 FLORENCE AL 35631
LAUDERDALE COUNTY TAX COLLECTOR          PO BOX 5205 MERIDIAN MS 39302-5205
LAURA SERRA                              ADDRESS ON FILE
LAURCO INC                               DBA CELEBRATION MARKETING TWIN CITIES SW 25720 SUNNYVALE LN SHOREWOOD MN
                                         55331-8410
LAUREL CITY TAX COLLECTOR                8103 SANDY SPRING RD LAUREL MD 20707
LAUREL LAKES LLC                         C/O MARYLAND FINANCIAL INVESTOR INC 2800 QUARRY LAKE DRIVE BALTIMORE MD 21209
LAUREL LAKES LLC                         C/O MARYLAND FINANCIAL INVESTOR INC 2800 QUARRY LAKE DRIVE SUITE 340 BALTIMORE
                                         MD 21209
LAUREL LAKES, LLC                        C/O MARYLAND FINANCIAL INVESTORS, INC. 2800 QUARRY LAKE DRIVE SUITE 340
                                         BALTIMORE MD 21209


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LAUREN E RUPERTUS                        ADDRESS ON FILE
LAURENS COUNTY BOARD OF EDUCATION        STATE OF ALABAMA PO BOX 929 DUBLIN GA 31021-2682
LAURENS COUNTY BOARD OF EDUCATION        467 FIRETOWER RD DUBLIN GA 31021-2682
LAURENS COUNTY HEALTH DEPARTMENT         2121 BELLEVUE ROAD DUBLIN GA 31040
LAURENS COUNTY HEALTH DEPARTMENT         467 FIRETOWER RD DUBLIN GA 31040
LAURENS COUNTY TAX COMMISSIONER          PO BOX 2099 DUBLIN GA 31040
LAURIE WARD                              ADDRESS ON FILE
LAW FIRM AMR PARTNERSHIP                 ATTN GANDARIA 8 OFF BLDG, 3RD FL UNIT D JL. SULTAN ISKANDAR MUDA ARTERI PONDOK
                                         INDAH JAKARTA 12240 INDONESIA
LAW OFFICE OF ANDREW J COHEN PC          77 W WASHINGTON ST STE 1520 CHICAGO IL 60602-3223
LAW OFFICE OF SARA HOWELLER              185 LONGWOOD DR OSTEEN FL 32764-9569
LAW OFFICES OF ERIC A SHORE              2 PENN CTR STE 1240 PHILADELPHIA PA 19102-1712
LAW OFFICES OF WANG & WANG LLP           95 3RD ST FL 2 SAN FRANCISCO CA 94103-3103
LAWANDA DUCKWORTH                        ADDRESS ON FILE
LAWHEAD, CAROL                           ADDRESS ON FILE
LAWLER FIXTURE CO INC                    123 WEST 14TH STREET SIOUX CITY IA 51103
LAWMAN ELECTRIC LLC                      DBA LAWSON BLOOM 3098 CENTER CHURCH RD ELLWOOD CITY PA 16117-7822
LAWN & ORDER LLC                         PO BOX 155 MT ARLINGTON NJ 07856-0155
LAWN AND ORDER OF FLORIDA LLC            39873 HIGHWAY 27 PMB 420 DAVENPORT FL 33837-7802
LAWN AND PROPERTY MANAGEMENT PROF        141 WILLOW BROOK DR HATTIESBURG MS 39402-1488
LAWN BOYS LTD                            2 MITCHELL BAY ST ANDREWS NB R1A 3A3 CANADA
LAWN BRIGADE INC                         PO BOX 8791 TOPEKA KS 66608-0791
LAWN TROPICS LLC                         1717 WEST OSTERHOUT AVENUE PORTAGE MI 49024
LAWNS LTD INC                            1824 AUSTIN AVE WACO TX 76701
LAWNSCAPES INC                           PO BOX 1726 PANAMA CITY FL 32402
LAWNSPLUS INC                            PO BOX 19094 BIRMINGHAM AL 35219-9094
LAWRENCE BADE                            ADDRESS ON FILE
LAWRENCE CARBONE                         ADDRESS ON FILE
LAWRENCE DISTRIBUTING INC                PO BOX 2369 DANVILLE VA 24541
LAWRENCE H UTTERBACK                     ADDRESS ON FILE
LAWRENCE TOWNSHIP                        HEALTH DEPARTMENT 2207 LAWRENCE RD LAWRENCE TOWNSHIP NJ 08648
LAWRENCE TOWNSHIP                        2121 BELLEVUE ROAD LAWRENCE TOWNSHIP NJ 08648
LAWRENCE TOWNSHIP COLLECTOR-CUMBERLAND   PO BOX 697 CEDARVILLE NJ 08311
LAWRENCE TOWNSHIP TAX COLLECTOR-MERCER   PO BOX 6006 LAWRENCE TWP NJ 08648
LAWRENCE TOWNSHIP TAX OFFICE             P.O. BOX 6006 LAWRENCEVILLE NJ 08648
LAWRENCE, JENNIFER                       ADDRESS ON FILE
LAWSON ELECTRIC CO INC                   DEPT 888629 KNOXVILLE TN 37995-0001
LAWSON, KEITH                            ADDRESS ON FILE
LAWTON COMMERCIAL SERVICES               PO BOX 1179 MCKINNEY TX 75070-8148
LAWTON FORT SILL CHAMBER OF COMMERCE     302 W GORE BLVD LAWTON OK 73501-3709
LAWYERS FOR EMPLOYEE & CONSUMER RIGHTS   APC 4100 WEST ALAMEDA AVENUE THIRD FLOOR BURBANK CA 91505-4191
LAYER REPAIR SOLUTION                    5099 SPRINGBORO PIKE DAYTON OH 45439
LAYNE, SUSAN                             ADDRESS ON FILE
LAYTON CITY CORP                         437 N WASATCH DRIVE LAYTON UT 84041
LAYTON CITY CORPORATION                  437 NORTH WASATCH DRIVE LAYTON UT 84041-3254
LAZOR BROTHERS INC                       DBA STANLEY STEEMER 30030 LAKELAND BLVD WICKLIFFE OH 44092-1745
LBM LAWN SERVICE LLC                     8732 SATALITE TER WEST PALM BEACH FL 33403-1679
LBX DEPTFORD TH LLC                      C/O LBX MANAGEMENT LLC PO BOX 67334 NEWARK NJ 07101-4007
LBX DEPTFORD TH LLC                      3162 JOHNSON FERRY RD STE 260-225 MARIETTA GA 30062



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LCD ELECTRICAL CONTRACTING LLC        DBA D&H ELECTRIC 2333 E PALO VERDE ST YUMA AZ 85365-3620
LDF SALES & DISTRIBUTING INC          10610 E 26TH CIRCLE N WICHITA KS 67226
LE ELECTRIC INC                       4558 GERALD DRIVE LAS CRUCES NM 88007
LE GRAND ELECTRONICS INC              6187 NW 167TH STREET H-37 MIAMI FL 33015
LEACH, BRYCE                          ADDRESS ON FILE
LEACH, KEONA                          ADDRESS ON FILE
LEADERS BEVERAGE CONSULTING INC       DBA QUALITY DRAFT SYSTEMS 3876 EAST PARIS AVE SE STE 16 GRAND RAPIDS MI
                                      49512-3974
LEAH CARTER                           ADDRESS ON FILE
LEANNA LOY                            ADDRESS ON FILE
LEBCON ASSOCIATES LTD                 DBA HAMILTON PLACE CMBS LLC PO BOX 5559 CAROL STREAM IL 60197-5559
LECIA HINSON, SALIMA SINGH            ADDRESS ON FILE
LEDGEWOOD OUTPARCEL INVESTORS LLC     ATTN: KURT. R. PADAVANO, COO C/O ADVANCE REALTY DEVELOPMENT 1430 US HIGHWAY
                                      206N, SUITE 100 BEDMINSTER NJ 07921
LEDGEWOOD OUTPARCEL INVESTORS LLC     C/O ADVANCE REALTY MANAGEMENT 1430 US HIGHWAY 206 STE 100 BRIDGEWATER NJ
                                      07921-4602
LEE COUNTY HEALTH DEPARTMENT          HEALTH DEPARTMENT 2207 LAWRENCE RD TUPELO MS 38802
LEE COUNTY HEALTH DEPARTMENT          532 S CHURCH ST TUPELO MS 38802
LEE COUNTY PLUMBING ACQUISITION INC   DBA LEE COUNTY SERVICES INC 1603 BENCHMARK AVE FORT MYERS FL 33905-4998
LEE COUNTY REVENUE COMMISSIONER       DEPT PP PO BOX 2413 OPELIKA AL 36803-2413
LEE COUNTY TAX COLLECTOR              PO BOX 2368 FORT MYERS FL 33902
LEE COUNTY TAX COLLECTOR              PO BOX 1609 FORT MYERS FL 33902-1609
LEE H BENJAMIN                        ADDRESS ON FILE
LEE HIGHWAY NURSERY LLC               7185 BURKE LN WARRENTON VA 20186-7803
LEE HOWERTON                          ADDRESS ON FILE
LEE INTERNATIONAL IP & LAW GROUP      POONGSAN BLDG., 23 CHUNGJEONG-RO SEODAEMUN-GU SEOUL 120013 REPUBLIC OF KOREA
LEE, DAVID                            ADDRESS ON FILE
LEELDRED PALM SR                      ADDRESS ON FILE
LEES PLUMBING & EXCAVATING INC        PO BOX 510 NEW SALEM PA 15468-0510
LEES SUMMIT WATER UTILITY             PO BOX 219306 KANSAS CITY MO 64121-9306
LEGACY ELECTRIC LLC                   80 TALAMINE COURT COLORADO SPRINGS CO 80907
LEGAL TAX SERVICE                     532 S CHURCH ST PITTSBURGH PA 15236-6020
LEGAL TAX SERVICE                     PO BOX 10020 PITTSBURGH PA 15236-6020
LEGAL TAX SERVICE INC                 PO BOX 10020 PITTSBURGH PA 15236-6020
LEGARD, LISA                          ADDRESS ON FILE
LEGEND MECHANICAL INC                 DBA LEGEND COMPANIES 8440 EAGLE CREEK PKWY SAVAGE MN 55378-1288
LEGENDARY LAWNCARE LLC                402 SOUTHFORK RD CHEYENNE WY 82007-9301
LEGENDS LTD                           6301 SEAFORTH ST BALTIMORE MD 21224-6519
LEGGE INDUSTRIES LTD                  5270 TRAFALGAR STREET DORCHESTER ON N0L 1G4 CANADA
LEHIGH LAWNS AND LANDSCAPING INC      10 SPROUT CREEK COURT WAPPINGERS FALLS NY 12590
LEHIGH VALLEY ASSOCIATES              DBA LEHIGH VALLEY MALL LLC PO BOX 829446 PHILADELPHIA PA 19182-9446
LEHMAN, WENDY                         ADDRESS ON FILE
LEIBCO REALTY LIMITED                 C/O RUTH GOODMAN 7398 YONGE STREET PH 8 THORNHILL ON L4J 8J2 CANADA
LEIGHA SIMONTON                       US ATTORNEYS OFFICE 1100 COMMERCE ST, THIRD FL DALLAS TX 75242-1699
LEIGHA SIMONTON                       US ATTORNEYS OFFICE BURNETT PLAZA, STE 1700 801 CHERRY ST, UNIT 4 FT. WORTH TX
                                      76102-6882
LEIGHA SIMONTON                       US ATTORNEYS OFFICE AMARILLO NATIONAL PLAZA TWO 500 S TAYLOR ST, STE 300
                                      AMARILLO TX 79101-2446
LEIGHA SIMONTON                       US ATTORNEYS OFFICE 1205 TEXAS AVE, STE 700 LUBBOCK TX 79401
LELAND W POLLARD                      ADDRESS ON FILE


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LEMBERG ELECTRIC COMPANY INC            4085 NORTH 128TH STREET BROOKFIELD WI 53005
LENAWEE COUNTY HEALTH DEPARTMENT        1040 S WINTER ST SUITE 2328 ADRIAN MI 49221-3871
LENAWEE COUNTY HEALTH DEPARTMENT        PO BOX 10020 ADRIAN MI 49221-3871
LENIGAN, LAURIE                         ADDRESS ON FILE
LENOW, ANTONIO                          ADDRESS ON FILE
LENS CARPET CARE & CONSULTANTS          3436 FRANETTE ROAD LANSING MI 48906
LENYEAR, AMANDA                         ADDRESS ON FILE
LEO AQUINO ENTERPRISES                  DBA ONE STOP CLEANING LLC 231 PARKWAY DR STE K WILLIAMSBURG VA 23185-4545
LEON COUNTY TAX COLLECTOR               PO BOX 1835 TALLAHASSEE FL 32302-1835
LEONARD H RIFE INC                      DBA RIFE CARBONIC COMPANY 2259 AURORA RD MELBOURNE FL 32935-3361
LEONARD J GALASSO                       ADDRESS ON FILE
LEONARDO FONSECA                        ADDRESS ON FILE
LEOS PRODUCE COMPANY                    4161 RIVERMONT DRIVE EVANS GA 30809
LEOS SEWER AND DRAIN SERVICE INC        315 DELAWARE DR COLORADO SPRINGS CO 80909-6614
LEROY C BRAUN                           ADDRESS ON FILE
LESHADY STREETER                        ADDRESS ON FILE
LESLIE E KITCHINGS                      ADDRESS ON FILE
LESLIE GRIFFIN                          ADDRESS ON FILE
LESLIE LAFOND                           ADDRESS ON FILE
LESTER CAREW                            ADDRESS ON FILE
LESTER, JARROD                          ADDRESS ON FILE
LETA SULLIVAN                           ADDRESS ON FILE
LETURGEZ, LARRY                         ADDRESS ON FILE
LEVEL 3 COMMUNICATIONS LLC SUM          PO BOX 910182 DENVER CO 80291-0182
LEVI DANIEL ADCOCK                      ADDRESS ON FILE
LEVINE FAMILY TRUST                     ADDRESS ON FILE
LEVINE FAMILY TRUST                     ADDRESS ON FILE
LEVY FAMILY LIMITED PARTNERSHIP         C/O HOLLAND & KNIGHT LLP 800 17TH STREET NW SUITE 1100 WASHINGTON DC 20006
LEWIS AND ROBERTS                       ATTN:MALLORY LIDAKA 3700 GLENWOOD AVE, SUITE 410 RALEIGH NC 27612
LEWIS AND ROBERTS                       3700 GLENWOOD AVE SUITE 410 RALEIGH NC 27612
LEWIS BRISBOIS BISGAARD & SMITH LLP     ATTN:JOHN RINE 401 E JACKSON STREET SUITE 3400 TAMPA FL 33602
LEWIS BRISBOIS BISGAARD & SMITH LLP     633 W FIFTH STREET SUITE 4000 LOS ANGELES CA 90071
LEWIS CARPET AND OFFICE CLEANING INC    8 BIRDSEYE CIR STONY BROOK NY 11790-2548
LEWIS L BARBER                          ADDRESS ON FILE
LEWIS PLUMBING AND DRAIN SERVICES LLC   1113 SCHOFIELD LN FARMINGTON NM 87401-7451
LEWKOWITZ LAW OFFICE, PLC               ATTN: ANDREA LEWKOWITZ; JERRY LEWKOWITZ; AMY SCHROFF 2600 N. CENTRAL AVENUE,
                                        STE 1775 PHOENIX AZ 85004
LEX-A-LOCK INC                          DBA POP-A-LOCK OF LEXINGTON & LOUISVILLE KY 739 MILLPOND ROAD LEXINGTON KY
                                        40514-1561
LEX-FAY COUNTY HEALTH DEPARTMENT        650 NEWTOWN PIKE LEXINGTON KY 40508
LEXINGTON COUNTY TREASURERS OFFICE      PO BOX 3000 LEXINGTON SC 29071-3000
LEXINGTON DIVISION OF POLICE            FALSE ALARM REDUCTION UNIT 150 EAST MAIN STREET LEXINGTON KY 40507
LEXINGTON-FAYETTE URBAN COUNTY          1040 S WINTER ST SUITE 2328 ORLANDO FL 32809
LEXINGTON-FAYETTE URBAN COUNTY          DO NOT MAIL ORLANDO FL 32809
LEXINGTON-FAYETTE URBAN COUNTY GOVT     PO BOX 34090 LEXINGTON KY 40588-4090
LEXINGTON-FAYETTE URBAN CTY GVT         LICENSE SECTION 750 PIEDMONT SOUTH ENTRANCE LEXINGTON KY 40512
LEXINGTON-FAYETTE URBAN CTY GVT         DIV OF REVENUE PO BOX 14058 LEXINGTON KY 40512
LG&E - LOUISVILLE GAS & ELECTRIC        PO BOX 7231 ST LOUIS MO 63177
LIANA HENAULT                           ADDRESS ON FILE



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LIBERTY                               P.O. BOX 371332 PITTSBURGH PA 15250-7332
LIBERTY FRUIT CO INC                  1247 ARGENTINE BLVD KANSAS CITY KS 66105
LIBERTY MUTUAL GROUP                  175 BERKELEY ST BOSTON MA 02116
LIBERTY MUTUAL INSURANCE CO           PO BOX 1449 NEW YORK NY 10116-1449
LIBERTY SERVICES INC                  1005 S MAIN STREET WEST MILTON OH 45383
LIBERTY UTILITIES                     PO BOX 650689 DALLAS TX 75265-0689
LIBERTY UTILITIES ARKANSAS            PO BOX 75652 CHICAGO IL 60675-5652
LIBERTY UTILITIES GEORGIA             2300 VICTORY DRIVE COLUMBUS GA 31901
LIBERTY UTILITIES GEORGIA             75 REMITTANCE DR SUITE 1918 CHICAGO IL 60675-1918
LIBERTY UTILITIES NEW YORK            PO BOX 75463 CHICAGO IL 60675-5463
LICCARDO IRRIGATION LLC               PO BOX 4448 WAYNE NJ 07474-4448
LICENSE COMMISSIONER                  PO DRAWER 1867 MOBILE AL 36633
LICKING COUNTY                        PO DRAWER 1867 NEWARK OH 43055
LICKING COUNTY                        HEALTH DEPARTMENT 675 PRICE RD NEWARK OH 43055
LIECHTY VON HOVEN VENTURES INC        DBA YESCO INDIANAPOLIS SOUTH 5312 N KEYSTONE AVE INDIANAPOLIS IN 46220-3604
LIFEWORKS US LTD                      LBX 1663 PO BOX 95000 PHILADELPHIA PA 19195-0001
LIGHT BRIGHT SIGNS LLC                7639 DIVISION AVE S GRAND RAPIDS MI 49548-7223
LIGHTNING SIGNS & DECALS LLC          205 S BROADWAY ST NEW PHILADELPHIA OH 44663-3830
LILLIAM RIVERA                        ADDRESS ON FILE
LILLIAN H TRAUTMAN COLLECTOR          ADDRESS ON FILE
LILSUMSYL INC                         DBA THE HONEY DO SERVICE INC 1321 S DANVILLE DR ABILENE TX 79605-3642
LIMA SHEET METAL MACHINE & MFG INC    1001 BOWMAN RD LIMA OH 45804
LIMESTONE REDCAN ULC                  200 S BISCAYNE BLVD FL 7 MIAMI FL 33131-2310
LIMESTONE REDLOB LLC                  C/O OIMC 200 SOUTH BISCAYNE BLVD MIAMI FL 33131
LIMESTONE REDLOB LLC                  C/O OIMC 200 SOUTH BISCAYNE BLVD SIXTH FLOOR MIAMI FL 33131
LIMESTONE REDLOB, LLC                 C/O ORION INVESTMENT AND MANAGEMENT LTD. CORP. 200 S. BISAYNE BLVD, SIXTH
                                      FLOOR MIAMI FL 33131
LIMITLESS TECHNOLOGY LLC              1540 INTERNATIONAL PKWY STE 2000 LAKE MARY FL 32746-5096
LINCOLN CENTER LLC                    3211 PAYSPHERE CIRCLE CHICAGO IL 60674
LINCOLN HOLDINGS LLC                  2760 W 110TH COURT WESTMINSTER CO 80234
LINCOLN ROAD PACKAGE STORE            2800 LINCOLN RD HATTIESBURG MS 39402-3135
LINCOLN SEWER CLEANING INC            1605 LIBERTY DR MISHAWAKA IN 46545
LINCOLN TRAIL DISTRICT                HEALTH DEPARTMENT 675 PRICE RD ELIZABETHTOWN KY 42701
LINCOLN TRAIL DISTRICT                HEALTH DEPARTMENT 580 C WESTPORT ROAD ELIZABETHTOWN KY 42701
LINCOLN-LANCASTER COUNTY DEPARTMENT   DIV OF ENVIRONMENTAL HEALTH 2200 ST MARYS AVENUE LINCOLN NE 68502
LINDA AIKIN                           ADDRESS ON FILE
LINDA ANCIL                           ADDRESS ON FILE
LINDA BROWN                           ADDRESS ON FILE
LINDA BURTON                          ADDRESS ON FILE
LINDA BUSS                            ADDRESS ON FILE
LINDA DILLON                          ADDRESS ON FILE
LINDA LEA SELBY                       ADDRESS ON FILE
LINDA MASON                           ADDRESS ON FILE
LINDA ROTH, P.A.                      2333 BRICKELL AVENUE, SUITE A-1 MIAMI FL 33129
LINDA SCHMITZ                         ADDRESS ON FILE
LINDA SUTTON                          ADDRESS ON FILE
LINDE GAS & EQUIPMENT INC             PO BOX 120812 DEPT 0812 DALLAS TX 75312-0812
LINDEN BUSINESS CENTER ASSN           C/O REDWOOD COMMERCIAL MANAGEMENT 5900 FORT DRIVE SUITE 400 CENTREVILLE VA
                                      20121-2413



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LINDER AND ASSOCIATES INC               DBA LINDER GLOBAL EVENTS 2150 WISCONSIN AVE NW WASHINGTON DC 20007-2203
LINDER AND ASSOCIATES INC               840 N MAIN ST WICHITA KS 67203-3605
LINE 1 1 LLC                            PO BOX 1175 SECAUCUS NJ 07096-1175
LINE TEC INC                            241 NW 18TH AVE DELRAY BEACH FL 33444-1683
LINHART, COURTNEY                       ADDRESS ON FILE
LINK, RHONDA                            ADDRESS ON FILE
LINKEDIN CORPORATION                    62228 COLLECTIONS CENTER DRIVE CHICAGO IL 60693-0622
LINN COUNTY HEALTH DEPARTMENT           751 CENTER POINT ROAD NE CEDAR RAPIDS IA 52402
LINN COUNTY TREASURER                   935 2N ST SW FIRST FL CEEDAR RAPIDS IA 52404
LINN, LESLIE                            ADDRESS ON FILE
LINPEPCO PARTNERSHIP                    DBA PEPSI COLA BOTTLING CO OF LINCOLN 1901 WINDHOEK DR LINCOLN NE 68512-1269
LINROKI SERVICES INC                    DBA VALLEY FORGE SECURITY CENTER 169 TOWN CENTER RD KING OF PRUSSIA PA
                                        19406-2330
LINWELD INC                             1311 E ST JOSEPH RAPID CITY SD 57701
LIPPINCOTT PLUMBING HEATING & A/C INC   872 ST JOHNS AVENUE LIMA OH 45804-1536
LIQUI GREEN INC                         570 S COMMERCIAL DR GRAND JUNCTION CO 81505
LIQUID LOGISTICS HOLDINGS INC           DBA LIQUID LOGISTICS 4110 FELTER LN AUSTIN TX 78744-3210
LIQUOR CONTROL BOARD                    HEALTH DEPARTMENT 580 C WESTPORT ROAD BEL AIR MD 21014
LIQUOR CONTROL BOARD                    29 W COURTLAND ST BEL AIR MD 21014
LIQUOR CONTROL BOARD OF ONTARIO         879 LANSDOWNE STREET WEST PETERBOROUGH ON K9J 1Z5 CANADA
LIQUOR DRINK TAX                        KANSAS MISC. TAX, DEPARTMENT. OF REVENUE 915 HARRISON STREET TOPEKA KS
                                        66625-7000
LIQUOR LEASING & SERVICE LC             9283 S JEAN DRIVE SANDY UT 84070-6254
LIQUOR XPRESS                           532 MONTREAL ROAD SUITE 231 OTTAWA ON K1K 4R4 CANADA
LIRA, TYLER                             ADDRESS ON FILE
LISA A BICKEL                           ADDRESS ON FILE
LISA J HOUSE                            ADDRESS ON FILE
LISA ROSESANG                           ADDRESS ON FILE
LITTLE COTTAGE COMPANY INC              DBA WILDRIDGE FURNITURE PO BOX 455 BERLIN OH 44610-0455
LITTLE ROCK ADVERTISING &               PROMOTION COMMISSION P.O. BOX 1763 LITTLE ROCK AR 72203
LITTLE ROCK JUNK REMOVAL LLC            DBA 1800 GOT JUNK 5320 S SHACKLEFORD RD LITTLE ROCK AR 72204-8051
LITTLER MENDELSON PC                    PO BOX 45547 SAN FRANCISCO CA 94145-0547
LITTLETON CONCIERGE MEDICINE PLLC       3212 PLAYERS VIEW CIR LONGWOOD FL 32779-3154
LIVING CREATIONS INC                    2163 E LAMBOURNE AVENUE SALT LAKE CITY UT 84109
LIVINGSTON INTERNATIONAL INC            P.O. BOX 7510358 CHICAGO IL 60674-0358
LIVINGSTON INTERNATIONAL INC            P.O. BOX 7410358 CHICAGO IL 60674-0358
LIVONIA CITY TREASURER                  33000 CIVIC CENTER DRIVE LIVONIA MI 48154-3060
LIVONIA LOCK & KEY INC                  33861 FIVE MILE RD LIVONIA MI 48154-2601
LIZZI & LIZZI INC                       DBA BEAVER VALLEY CARPET CLEANERS 122 LIPINWOOD DRIVE BEAVER FALLS PA 15010
LJP WASTE & RECYCLING, L.L.C            2160 RINGHOFER DR NORTH MANKATO MN 56003
LL&D INC                                DBA RESPOND NEW MEXICO PO BOX 35963 ALBUQUERQUE NM 87176-5963
LLOYD INDUSTRIES LLC                    DBA LLOYDPANS LLOYD METAL FABRICATION 3808 N SULLIVAN RD BLDG 25J SPOKANE
                                        VALLEY WA 99216-1616
LLOYDS INC                              8625 E WILSON RD INDEPENDENCE MO 64053
LLOYDS OF LONDON                        MARSH LIMITED WILLOW HOUSE PEACHMAN WAY BROADLAND BUSINESS PARK NORWICH NR7
                                        0WF UNITED KINGDOM
LLOYDS UNDERWRITER SYNDICATE 1 - KLN    MARSH LIMITED 1 TOWER PLACE WEST TOWER PLACE LONDON EC3R 5BU UNITED KINGDOM
510
LLR & ASSOCIATES INC                    DBA AIR SOLUTIONS OF OHIO 175 ILLINOIS AVENUE S MANSFIELD OH 44905
LMG SYSTEMS INNOVATION LLC              2350 INVESTORS ROW ORLANDO FL 32837-8331


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LMI SYSTEMS INC                         4680 N ROYAL ATLANTA ROAD TUCKER GA 30084
LO BROTHERS INVESTMENT CO LTD           5 GLEN CAMERON ROAD UNIT 21 THORNHILL ON L3T 5W2 CANADA
LO BROTHERS INVESTMENT CO. LTD.         5 GLEN CAMERON RD. THORNHILL ON L3T 5W2 CANADA
LOBSTER BUILDING                        15528 SE ANDEREGG PARKWAY DAMASCUS OR 97089
LOBSTER LIFE SYSTEMS INC                PO BOX 839 SADDLE BROOK NJ 07663-0839
LOBZONA LLC                             222 GRAND AVENUE ENGLEWOOD NJ 07631
LOCAL LAWN LANDSCAPING AND SNOW REMOVAL PO BOX 233 FAIRCHANCE PA 15436-0233
LOCAL WASTE SERVICES, LLC               PO BOX 554747 DETROIT MI 48255-4747
LOCK & DOOR SPECIALIST INC              DBA AMERICAN LOCKSMITH CENTER 670 CHERRY ST WINTER PARK FL 32789-4619
LOCK DOCTOR INC                         95 PEACHTREE INDUSTRIAL BLVD SUGAR HILL GA 30518
LOCK HUT LTD                            12 GLACEPORT AVE DUNDAS ON L9H 7E3 CANADA
LOCK SHOP                               144 FALL ST FOSTORIA OH 44830-3208
LOCKS N THINGS LLC                      CHRISTIAN GUTIERREZ 101 S LOWRY ST APT 1219 SMYRNA TN 37167-2865
LOCKSMITH PLUS INC                      600 SE POWELL BLVD PORTLAND OR 97202-2623
LOCKSMITH SERVICES                      2700 ROLIDO DR APT 260 HOUSTON TX 77063-4309
LOCKSMITHS INC                          635 MARTIN LUTHER KING JR DR MERIDIAN MS 39301-5664
LOCKSPERTS INC                          P O BOX 2067 WATERLOO IA 50704
LOCKTON COMPANIES                       DBA LOCKTON INSURANCE BROKERS LLC DEPT LA 23878 PASADENA CA 91185-3878
LOCKTON INVESTMENT ADVISORS LLC         DEPT 999224 PO BOX 219153 KANSAS CITY MO 64121-9153
LOCKX LLC                               C/O LOCKFLEX 3725 W FLAGLER ST 221 CORAL GABLES FL 33134-1601
LOD JACKSONVILLE LLC                    450 SEVILLA AVE CORAL GABLES FL 33134
LOD JACKSONVILLE, LLC                   ATTN: LUIS O. DOMINGUEZ 450 SEVILLA AVENUE CORAL GABLES FL 33134
LODESTRO INC                            DBA AMERICA CARPET CLEANING 1918 ALTON DR CLEARWATER FL 33763-2206
LODOVICO AND SONS WINDOW CLEANING LLC   PO BOX 651 MURRYSVILLE PA 15668-0651
LODOVICO WINDOW CLEANING INC            PO BOX 341 MURRYSVILLE PA 15668-0341
LOFFREDO, ROSANNE                       ADDRESS ON FILE
LOGAN BEVERAGE INC                      150 W 14TH STREET TYRONE PA 16686
LOGAN CLARK III                         ADDRESS ON FILE
LOGAN THORNSLEY                         DBA THORNSLEY TREE & LANDSCAPE LLC PO BOX 339 GRANVILLE WV 26534-0339
LOGAN TOWNSHIP, PA                      100 CHIEF LOGAN CIRCLE ALTOONA PA 16602
LOGAN, MARIA                            ADDRESS ON FILE
LOGOXPRES LLC                           DBA TERRI L HARMON 715 WOODSIDE ROAD YORK PA 17406
LOHMAN, ERVIN                           ADDRESS ON FILE
LOIS MOSS                               ADDRESS ON FILE
LOJE IP ADVOKATFIRMA                    HANNE MALLING TM ASSISTANT OSTER ALLE 42, 6.SAL, P.O. BOX 812 COPENHAGEN 2100
                                        DENMARK
LOJE IP ADVOKATFIRMA                    PAUL FOAT, TM RENEWAL PARALEGAL OSTER ALLE 42, 6.SAL, P.O. BOX 812 COPENHAGEN
                                        2100 DENMARK
LOKENS PARKING LOT PAINTING AND         106 ICHABOD LANE MANKATO MN 56001
SWEEPING
LOMPOCK JACK LLC                        15915 VENTURA BOULEVARD PH2 ENCINO CA 91436-4439
LONDON CITY                             PO BOX 5035 LONDON ON N6A 4L9 CANADA
LONDON CITY                             29 W COURTLAND ST LONDON ON N6A 4L9 CANADA
LONDON HYDRO                            P.O. BOX 3060 LONDON ON N6A 4J8 CANADA
LONE WOLFPACK LLC                       DBA GASKET GUY OF AUSTIN PO BOX 126042 BENBROOK TX 76126-0042
LONG BAY GROUP INC                      DBA FISH WINDOW CLEANING PO BOX 51463 MYRTLE BEACH SC 29579-0025
LONG BEVERAGE INC                       10500 WORLD TRADE BLVD RALEIGH NC 27617
LONG ELECTRIC SERVICES LLC              8375 JERRY CITY ROAD WAYNE OH 43466
LONG ISLAND LIGHTING COMPANY DBA LIPA   15 PARK DRIVE MELVILLE NY 11747
LONGFISH IMPROVEMENTS LLC               C/O DLC MANAGEMENT CORPORATION PO BOX 165 BRATTLEBORO VT 05302-0165


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LONGFISH IMPROVEMENTS, LLC               PO BOX 165 C/O DLC MANAGEMENT CORP. BRATTLEBORO VT 05302-0165
LONGO LANDSCAPE & LAWN SERVICE INC       8324 STATE HWY 79 S WICHITA FALLS TX 76310
LONGSMITH, ADAM                          ADDRESS ON FILE
LONIDIER, LONNIE                         ADDRESS ON FILE
LONNIE WALKER                            ADDRESS ON FILE
LOOK COOL LLC                            4710 CASPIAN FARMINGTON NM 87402
LOOMIS                                   2500 CITYWEST BLVD SUITE 900 HOUSTON TX 77042
LOPEZ, ALEXANDRO NMI                     ADDRESS ON FILE
LOPEZ, NATHANYEL                         ADDRESS ON FILE
LORA TALBERT                             ADDRESS ON FILE
LORAAS DISPOSAL - REGINA                 620 MCLEOD ST REGINA SK S4N 4Y1 CANADA
LORAAS DISPOSAL - SASKATOON              805 47TH ST EAST SASKATOON SK S7K 8G7 CANADA
LORAIN COUNTY GENERAL HEALTH DISTRICT    PO BOX 5035 ELYRIA OH 44035
LORAIN COUNTY GENERAL HEALTH DISTRICT    9880 S MURRAY RIDGE RD ELYRIA OH 44035
LORAIN COUNTY TREASURER                  PO BOX 94622 CLEVELAND OH 44101-4622
LORD FAIRFAX HEALTH DISTRICT             9880 S MURRAY RIDGE RD WINCHESTER VA 22601
LORD FAIRFAX HEALTH DISTRICT             107 N KENT ST STE 201 WINCHESTER VA 22601
LORENZ MECHANICAL LLC                    DBA LORENZ PLUMBING HEATING & AIR CONDITIONING 1429 N CEDARBOOK SPRINGFIELD MO
                                         65802
LORENZO LOPEZ                            ADDRESS ON FILE
LORENZO TERRY                            ADDRESS ON FILE
LORGION, RICHARD                         ADDRESS ON FILE
LORNES UPHOLSTERY                        ADDRESS ON FILE
LORRI F LANPHER                          ADDRESS ON FILE
LOS ANGELES COUNTY TAX COLLECTOR         PO BOX 54018 LOS ANGELES CA 90054-0018
LOS ANGELES DEPT OF WATER & POWER        P.O. BOX 30808 LOS ANGELES CA 90030-0808
LOS ANGELES EXECUTIVE SECURITY GROUP     3756 SANTA ROSALIA DR STE 524 LOS ANGELES CA 90008-3656
INC
LOS ANGELES FIRE DEPARTMENT              200 NORTH MAIN STREET LOS ANGELES CA 90012
LOS ANGELES PLUMBING & BACKFLOW TESTING 12698 SCHABARUM AVENUE IRWINDALE CA 91706
LOT NETWORK INC                          2055 E WARNER RD STE 101 TEMPE AZ 85284-3487
LOTT SIGN SERVICE INC                    4141 MOWREY ROAD WESLEY CHAPEL FL 33543
LOUDON COUNTY TRUSTEE                    107 N KENT ST STE 201 LOUDON TN 37774-0351
LOUDON COUNTY TRUSTEE                    LOUDON COUNTY TRUSTEES OFFICE 775 MONTICELLO DR PO BOX 351 LOUDON TN
                                         37774-0351
LOUDOUN COUNTY TAX COLLECTOR             PO BOX 1000 LEESBURG VA 20177-1000
LOUDOUN WATER                            PO BOX 4000 ASHBURN VA 20146-2591
LOUIS R. OLIVEIRA AND GAREN A. OLIVEIRA ADDRESS ON FILE
LOUIS RICHARD OLIVEIRA                   ADDRESS ON FILE
LOUIS WINTERMEYER                        ADDRESS ON FILE
LOUIS, PATRICK                           ADDRESS ON FILE
LOUISIANA DEPARTMENT OF PUBLIC SAFETY    PO BOX 66614 BATON ROUGE LA 70896-6614
LOUISIANA DEPARTMENT OF REVENUE          617 N THIRD ST BATON ROUGE LA 70802
LOUISIANA DEPARTMENT OF REVENUE          PO BOX 201 BATON ROUGE LA 70821
LOUISIANA DEPARTMENT OF REVENUE          PO BOX 3138 BATON ROUGE LA 70821-3138
LOUISIANA DEPARTMENT OF THE TREASURY     UNCLAIMED PROPERTY DIVISION LOUISIANA STATE CAPITOL BLDG 900 N THIRD ST, 3RD
                                         FL BATON ROUGE LA 70802
LOUISIANA DEPARTMENT OF THE TREASURY     UNCLAIMED PROPERTY DIVISION PO BOX 44154 BATON ROUGE LA 70804
LOUISIANA DEPT OF                        602 N FIFTH ST BATON ROUGE LA 70802
LOUISIANA DEPT OF WILDLIFE & FISHERIES   PO BOX 98000 2000 QUAIL DRIVE BATON ROUGE LA 70898


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LOUISIANA WORKFORCE COMMISSION        1001 N 23RD ST BATON ROUGE LA 70802
LOUISIANA WORKFORCE COMMISSION        PO BOX 94094 BATON ROUGE LA 70804-9094
LOUISVILLE GAS AND ELECTRIC           220 WEST MAIN STREET LOUISVILLE KY 40232
LOUISVILLE METRO HEALTH DEPARTMENT    400 E GRAY ST LOUISVILE KY 40201
LOUISVILLE METRO POLICE DEPARTMENT    LOUISVILLE METRO GOVERNMENT AR 611 W JEFFERSON ST FL 1 LOUISVILLE KY
                                      40202-2743
LOUISVILLE WATER COMPANY              PO BOX 32460 LOUISVILLE KY 40202-2460
LOUISVILLE-JEFFERSON COUNTY           REVENUE COMMISSION 617 W. JEFFERSON STREET LOUISVILLE KY 40202
LOUISVILLE/JEFFERSON COUNTY           METRO GOVERNMENT DEPARTMENT OF INSPECTIONS PERMITS AND LICENSES 444 S 5TH ST
                                      STE 202 LOUISVILLE KY 40202-2343
LOVE SIGNS OF GRAND ISLAND LLC        PO BOX 5791 GRAND ISLAND NE 68802-5791
LOVE YOUR PLANTS INC                  DBA CONNELL AND COMPANY LANDSCAPES PO BOX 50137 AUSTIN TX 78763-0137
LOVE, SALLY                           ADDRESS ON FILE
LOWELL E CULP JR                      DBA CULP TREE SERVICE 13394 MCBETH RD WAPAKONETA OH 45895-8629
LOWELL FOUNTAIN                       ADDRESS ON FILE
LOWELL RON RUNYAN                     ADDRESS ON FILE
LOWER BUCKS JOINT MUNICIPAL AUT       7811 NEW FALLS ROAD LEVITTOWN PA 19058
LOWER FORTY FARM INC                  DBA AQUARIUM SERVICES PROFESSIONALS 100 STYER LANE MOHNTON PA 19540
LOWER PAXTON TOWNSHIP                 425 PRINCE STREET SUITE 320 HARRISBURG PA 17109-3053
LOWER PAXTON TOWNSHIP AUTHORITY       425 PRINCE ST RM 139 HARRISBURG PA 17109-3020
LOWER PAXTON TOWNSHIP TAX COLLECTOR   ANNMARIE LABAN 4919-C(REAR) JONESTOWN HARRISBURG PA 17109
LOWES HOME CENTERS INC                250 CARTERET ST STATEN ISLAND NY 10307-1631
LOWES HOME CENTERS INC                ATTN PROPERTY MANAGEMENT 1000 LOWES BLVD MOORESVILLE NC 28117-8520
LOWNDES COUNTY HEALTH DEPARTMENT      PO BOX 5619 VALDOSTA GA 31603-5619
LOWNDES COUNTY HEALTH DEPARTMENT      LOUDON COUNTY TRUSTEES OFFICE 775 MONTICELLO DR VALDOSTA GA 31603-5619
LOWNDES COUNTY TAX COMMISSIONER       PO BOX 1409 VALDOSTA GA 31603
LOYAL HOLDINGS DE LLC                 DBA FBO PFP HOLDING COMPANY VI LLC PO BOX 716317 PHILADELPHIA PA 19171-6317
LOYAL PLAZA SC REALTY FUND LLC        DBA LOYAL PLAZA SC LLC C/O FIRST NATL PROPERTY MANAGEMENT LLC 151 BODMAN PL
                                      STE 201 RED BANK NJ 07701-1064
LOYALSOCK TAX OFFICE                  PO BOX 5619 WILLIAMSPORT PA 17701
LOYALSOCK TAX OFFICE                  2132 NORTHWAY ROAD WILLIAMSPORT PA 17701
LOYALSOCK TOWNSHIP TAX COLLECTOR      DOROTHY WHITE MERTZ 2132 NORTHWAY ROAD WILLIAMSPORT PA 17701
LOZANO, HUGO                          ADDRESS ON FILE
LOZANO, JESSICA                       ADDRESS ON FILE
LOZANO, VICTOR                        ADDRESS ON FILE
LPK HOLDINGS, LLC AND BPW, INC.       ATTN: DEBORAH FLAHERTY 61 SPRING VALLEY LANE PITTSBURGH PA 15238
LPL LLC                               DBA LYNDALE PLANT SERVICES PO BOX 46406 EDEN PRAIRIE MN 55344-6406
LPRE HOLDINGS LLC                     ATTN: DANIEL PARK 1411 W. 190TH ST., SUITE 465 GARDENA CA 90248
LPRE HOLDINGS LLC                     1411 W 190TH ST STE 465 GARDENA CA 90248-4373
LPS OF AMERICA INC                    DBA LANIER PARKING SOLUTIONS 460 BOONE AVENUE ORLANDO FL 32801
LRF1 CROSSROADS SQUARE LLC            PO BOX 30546 TAMPA FL 33630-3546
LRHIRSH LLC                           DBA LAWRENCE R HIRSH 4694 CARLTON DUNES DR UNIT 10 FERNANDINA BEACH FL
                                      32034-5585
LRM-COM, INC                          DBA MALLCOM 6140 K-6 S GUN CLUB RD 238 AURORA CO 80016
LRS                                   PO BOX 1700 LOWELL AR 72745
LRS LLC                               PO BOX 4700 CAROL STREAM IL 60197-4700
LRS OF MINNESOTA                      PO BOX 9273 ROCHESTER MN 55903
LSC ACQUISITION LLC                   DBA LANDMARK SIGN COMPANY 175 CHESTERFIELD INDUSTRIAL BLVD CHESTERFIELD MO
                                      63005-1219
LSG1 CROSSROADS SQUARE LLC            PO BOX 31232 TAMPA FL 33631-3232


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LSSA                                    PO BOX 2230 THE VILLAGES FL 32158-2230
LT ELECTRIC                             3200 MARQUIS DR FORT WASHINGTON MD 20744-2073
LTH INVESTMENTS LLC                     4422 DURHAM CHAPEL HILL BLVD DURHAM NC 27707-2509
LTH INVESTMENTS, LLC                    ATTN: MICHAEL HANNA 4422 DURHAM CHAPEL HILL BOULEVARD DURHAM NC 27707
LTM WATER TREATMENT INC                 WALCOTT PO BOX 2295 LOVES PARK IL 61131
LUBBOCK CENTRAL APPRAISAL DISTRICT      PO BOX 10568 LUBBOCK TX 79408-3568
LUBBOCK CITY-COUNTY HEALTH DEPARTMENT   PO BOX 2000 LUBBOCK TX 79457
LUBBOCK CITY-COUNTY HEALTH DEPARTMENT   2132 NORTHWAY ROAD LUBBOCK TX 79457
LUBBOCK COUNTY TAX ASSESOR              PO BOX 2000 LUBBOCK TX 79408
LUBBOCK COUNTY TAX ASSESOR              PO BOX 10536 LUBBOCK TX 79408
LUBBOCK POLICE DEPARTMENT               PO BOX 2000 LUBBOCK TX 79457
LUCAS COUNTY HEALTH DEPARTMENT          ONE GOVERNMENT CTR SUITE 470 TOLEDO OH 43604
LUCAS COUNTY TREASURER                  ONE GOVERNMENT CENTER 500 TOLEDO OH 43604-2253
LUCAS DRAPERY LLC                       132 E ALCOVE DR GRAND JUNCTION CO 81507-1447
LUCAS STEPHENS                          ADDRESS ON FILE
LUCERO, BRANDON                         ADDRESS ON FILE
LUCKY PUP ADVENTURES LLC                DBA THE AQUARIUM KEEPERS PO BOX 733 SIOUX FALLS SD 57101-0733
LUCY MATHERLY                           ADDRESS ON FILE
LUEVANO, ALICIA                         ADDRESS ON FILE
LUEVANO, CARMEN                         ADDRESS ON FILE
LUEVANO, JESUS                          ADDRESS ON FILE
LUEVANO, SERGIO                         ADDRESS ON FILE
LUEVANO, VERONICA                       ADDRESS ON FILE
LUFKIN INVESTMENT PARTNERS LLC          PO BOX 4356 DEPT 1584 HOUSTON TX 77210-4356
LUFKIN MALL REALTY HOLDING LLC          1010 NORTHERN BLVD STE 212 GREAT NECK NY 11021-5320
LUIS A VELIZ PALENCIA                   ADDRESS ON FILE
LUIS C MARTINEZ                         ADDRESS ON FILE
LUIS CARRETE                            ADDRESS ON FILE
LUIS LANDAUERDE                         ADDRESS ON FILE
LUIS MARQUEZ                            ADDRESS ON FILE
LUIS TORRES                             ADDRESS ON FILE
LUISA PEREZ                             ADDRESS ON FILE
LUKAS LIQUORS                           12100 BLUE VALLEY PKWY OVERLAND PARK KS 66213-2606
LUKE ALLEN SMALLWOOD                    ADDRESS ON FILE
LUKES LANDSCAPING INC                   DBA ALL FLORIDA PEST CONTROL & FERTILIZATION 2950 N 28 TERRACE HOLLYWOOD FL
                                        33020
LUKES LOBSTER ME LLC                    DBA LUKES LOBSTER 84 INDUSTRIAL PARK RD SACO ME 04072-1840
LULUBEL INC                             DBA ROTO ROOTER PLUMBING & DRAIN SERVICE PO BOX 80715 LANSING MI 48908-0715
LUNA, KATHERIN                          ADDRESS ON FILE
LUNAS                                   4830 E CARTIER AVE LAS VEGAS NV 89115
LUNNIE PATRICK                          ADDRESS ON FILE
LUNSETH PLUMBING AND HEATING COMPANY    1710 N WASHINGTON STREET GRAND FORKS ND 58203-1426
LUTHER H SHIPLEY                        ADDRESS ON FILE
LUTRON SERVICES CO INC                  PO BOX 644396 PITTSBURGH PA 15264-4396
LUTZ, JOSEPH                            ADDRESS ON FILE
LUXONE LLC                              572 CHIMALUS DR PALO ALTO CA 94306-2707
LUXONE, LLC                             3733 PARK EAST DR. STE. 200 CLEVELAND OH 44122
LUXONE, LLC                             572 CHIMALUS DRIVE PALO ALTO CA 94306
LUXONE, LLC                             ATTN: MIRCEA VOSKERICIAN 572 CHIMALUS DR., PALO ALTO CA 94306



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LWPS IPC LLC                         DBA RELIABLE LAWN SERVICE 1599 MARIETTA ROAD LANCASTER OH 43130
LWR PAXTON TOWNSHIP TAX COLLECTOR    ANNMARIE LABAN 4919C REAR JONESTOWN ROAD HARRISBURG PA 17109
LYLE DIECKMANN                       ADDRESS ON FILE
LYLES, JAMES                         ADDRESS ON FILE
LYN-JO WASHINGTON LLC                ATTN: MICHAEL FEDERMAN C/O FEDERMAN STEIFMAN LLP 220 EAST 42ND STREET, 29TH
                                     FLOOR NEW YORK NY 10017
LYN-JO WASHINGTON LLC                313 EAST 74TH STREET, SUITE 1 NEW YORK NY 10021
LYNCHBURG CITY BILLINGS &            COLLECTIONS DEPT PO BOX 9000 LYNCHBURG VA 24505-9000
LYNCHBURG CITY BILLINGS AND          COLLECTIONS DEPARTMENT PO BOX 10536 LYNCHBURG VA 24505-9000
LYNCHBURG CITY HEALTH DEPARTMENT     PO BOX 6056 LYNCHBURG VA 24505
LYNCHBURG CITY HEALTH DEPARTMENT     PO BOX 9000 LYNCHBURG VA 24505
LYNETTE BRICE                        ADDRESS ON FILE
LYNN AND ASSOCIATE                   PO BOX 36416 ALBUQUERQUE NM 87176
LYNN AND ASSOCIATES                  ATTN:PHYLLIS LYNN P.O. BOX 36416 ALBUQUERQUE NM 87176
LYNN SPENCER                         ADDRESS ON FILE
LYNNS SEWER & DRAIN LTD              BOX 55 STN L WINNIPEG MB R3H 0Z4 CANADA
LYNNWOOD ROOFING                     4073 OGDEN ROAD SE CALGARY ON T2G 4P6 CANADA
LYONS, BLAKE                         ADDRESS ON FILE
LYONS, JACKIE                        ADDRESS ON FILE
LYSINGER, MICHAEL                    ADDRESS ON FILE
LYTTON SANITATION SERVICE, INC.      P.O. BOX 29 BRIDGEPORT OH 43912
M & G GROUP ENTERPRISE INC           DBA GASKET GUY/ GASKETS N MORE 3680 W RENO AVENUE LAS VEGAS NV 89118
M & Q PACKAGING LLC                  PO BOX 714509 CINCINNATI OH 45271-4509
M & R SERVICE INC                    DBA M & R PLUMBING SERVICE 1215 MISSION AVE FARMINGTON NM 87401-6446
M & T DEMAR INC                      DBA AMERICAN BEVERAGE SYSTEMS PO BOX 63008 PHOENIX AZ 85082
M AND M PEST AND WILDLIFE LLC        3948 LEGACY DR STE 106 PLANO TX 75023-8300
M AND R WELDING INC                  119 S 28TH ST COUNCIL BLUFFS IA 51501-3508
M AND T TIPPIT INC                   200 LOBLOLLY PL MOUNTAIN PINE AR 71956-9143
M BRANDON WORMER                     ADDRESS ON FILE
M C TECHNICAL SERVICES LTD           6068 NETHERHART RD 20 MISSISSAUGA ON L5T 1N3 CANADA
M CAMPBELL & COMPANY INC             2828 W IRVING STREET PASCO WA 99301
M ESCOBAR LANDSCAPING LLC            3619 EDWARDS ST UPPER MARLBORO MD 20774-2628
M K S PLUMBING CORP                  19 RANSIER DRIVE WEST SENECA NY 14224
M M T N INC                          DBA NUTTER APPLIANCE 5805 MARKET ST SAN DIEGO CA 92114
M P SCHULTZ PLUMBING                 DBA MATTHEW PATRICK SCHULTZ 3633 S 157TH ST NEW BERLIN WI 53151-5103
M PRICE DISTRIBUTING COMPANY         ONE BUDWEISER STREET HAMPTON VA 23661-1905
M SQUARED ONSTAGE INC                DBA M2 ONSTAGE 1780 CORPORATE DR STE 440 NORCROSS GA 30093-2958
M W ROBINSON CO                      5980 ASHLAND ROAD WOOSTER OH 44691
M&M PLUMBING AND HVAC LLC            630 LOWTHER RD STE B LEWISBERRY PA 17339-9651
M&T MITIGATION AND RESTORATION LLC   DBA SERVPRO OF TEXARKANA 830 REDWATER RD WAKE VILLAGE TX 75501-6030
M. HAMEL-SMITH & CO                  FANTA PUNCH P.O. BOX 219, ELEVEN ALBION COR. DERE & ALBION STREETS PORT OF
                                     SPAIN TRINIDAD & TOBAGO
M10 INC                              DBA MICHELS CORPORATION PO BOX 95 BROWNSVILLE WI 53006-0095
MA. OFFICE OF ATTORNEY GENERAL       CONSUMER PROTECTION DIVISION 1441 MAIN ST 12TH FL SPRINGFIELD MA 01103-1629
MA. OFFICE OF ATTORNEY GENERAL       CONSUMER PROTECTION DIVISION 10 MECHANIC ST STE 301 WORCESTER MA 01608-2417
MA. OFFICE OF ATTORNEY GENERAL       CONSUMER ADVOCACY AND RESPONSE DIVISION ONE ASHBURTON PL BOSTON MA 02108-1518
MA. OFFICE OF ATTORNEY GENERAL       CONSUMER PROTECTION DIVISION 700 PLEASANT ST, STE 310 NEW BEDFORD MA
                                     02740-6257
MA. OFFICE OF CONSUMER AFFAIRS       AND BUSINESS REGULATION 501 BOYLSTON ST, STE 5100 BOSTON MA 02116
MA3-1 INVESTMENTS LLC                DBA FISH WINDOW CLEAING PO BOX 1818 WINDERMERE FL 34786-1818


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MAC SCHNEIDER                          US ATTORNEYS OFFICE QUENTIN N BURDICK U.S. COURTHOUSE 655 FIRST AVE N, STE 250
                                       FARGO ND 58102-4932
MAC SCHNEIDER                          US ATTORNEYS OFFICE WILLIAM L GUY FEDERAL BLDG 220 E ROSSER AVE, ROOM 32
                                       BISMARCK ND 58502
MACCEUS, NICOLE                        ADDRESS ON FILE
MACDONELL, KATHRYN                     ADDRESS ON FILE
MACERICH LAKEWOOD LLC                  DEPT 2596-5635 LOS ANGELES CA 90084-2596
MACIAS, KATRINA                        ADDRESS ON FILE
MACIEL, JOSE                           ADDRESS ON FILE
MACINTOSH LINEN & UNIFORM RENTAL INC   PO BOX 91290 ALLENTOWN PA 18109
MACINTOSH LINEN SERVICE                2255 CITY LINE RD BETHLEHEM PA 18017
MACK AND TRISH LLC                     STANLEY STEEMER OF PA 1350 N RIVER ST PLAINS PA 18702-1826
MACK, DOROTHY                          ADDRESS ON FILE
MACKEN SEWER AND DRAIN LLC             6479 BROADWAY ST LANCASTER NY 14086-9544
MACKEY CONSULTING                      325 BURLINGTON CRESCENT LONDON ON N5Z 3G6 CANADA
MACKINNON BROTHERS BREWING CO          1915 COUNTY RD 22 BATH ON K0H 1G0 CANADA
MACKMER, ANGEL                         ADDRESS ON FILE
MACLE INC                              DBA FREIJE ENGINEERED SOLUTIONS CO C/O FIRST MERCHNATS BANK PO BOX 7048
                                       GROUP15 INDIANAPOLIS IN 46207-7048
MACOMB COUNTY HEALTH DEPARTMENT        43525 ELIAZBETH ROAD MOUNT CLEMENS MI 48043
MACOMB COUNTY HEALTH DEPARTMENT        PO BOX 6056 MOUNT CLEMENS MI 48043
MACON BIBB COUNTY                      171 EMERY HWY MACON GA 31217
MACON COUNTY HEALTH DEPARTMENT         770 HEMLOCK ST DECATUR IL 62521-1405
MACON COUNTY HEALTH DEPARTMENT         ENVIRONMENTAL HEALTH 1221 E CONDIT STREET DECATUR IL 62521-1405
MACON COUNTY TAX COLLECTOR             141 S MAIN ST RM 302 DECATUR IL 62523
MACON WATER AUTHORITY, GA              PO BOX 100037 ATLANTA GA 30348-0037
MACON-BIBB COUNTY HEALTH DEPARTMENT    770 HEMLOCK ST MACON GA 31201-2184
MACON-BIBB COUNTY HEALTH DEPARTMENT    43525 ELIAZBETH ROAD MACON GA 31201-2184
MACON-BIBB COUNTY TAX COMMISSIONER     PO BOX 4724 MACON GA 31208-4724
MACWH LP                               DBA VALLEY STREAM GREEN ACRES LLC PO BOX 29650 LOCKBOX 880508 PHOENIX AZ
                                       85038-9650
MACYS INC                              DBA MACYS RETAIL HOLDINGS LLC 145 PROGRESS PL SPRINGDALE OH 45246-1717
MAD LLC                                DBA ALLTECH SERVICE CO 211 MOULTRIE ROAD ALBANY GA 31705
MADALYNNE F MOORE                      ADDRESS ON FILE
MADAR INC                              DBA SUPERIOR SALES COMPANY PO BOX 867 JOHNSTOWN PA 15907-0867
MADDEN FAMILY LLC NO 3                 HAMBURG PLACE PO BOX 12128 LEXINGTON KY 40580
MADDOX ENTERPRISES INC                 DBA MADDOX AIR CONDITIONING LLC 125 S BONNER AVE TYLER TX 75702-7196
MADELINE VAZQUEZ                       ADDRESS ON FILE
MADINA, DAVID                          ADDRESS ON FILE
MADISON CITY TREASURER                 PO BOX 2999 MADISON WI 53701-2999
MADISON CITY TREASURER                 210 MARTIN LUTHER KING JR BLVD MADISON WI 53703-3340
MADISON COUNTY                         ATTN: SALES TAX DEPARTMENT 100 NORTH SIDE SQUARE HUNTSVILLE AL 35801-4820
MADISON COUNTY HEALTH DEPARTMENT       206 E 9TH ST ANDERSON IN 46016-1680
MADISON COUNTY HEALTH DEPARTMENT       ENVIRONMENTAL HEALTH 1221 E CONDIT STREET ANDERSON IN 46016-1680
MADISON COUNTY LICENSE DEPARTMENT      COURTHOUSE ROOM 108 HUNTSVILLE AL 35801
MADISON COUNTY LICENSE DEPARTMENT      206 E 9TH ST HUNTSVILLE AL 35801
MADISON COUNTY SALES TAX DEPARTMENT    MADISON COUNTY SALES TAX DEPARTMENT 100 NORTH SIDE SQUARE HUNTSVILLE AL
                                       35801-4820
MADISON COUNTY SHERIFF                 135 W IRVINE ST STE B01 RICHMOND KY 40475
MADISON COUNTY TAX COLLECTOR           1918 N MEMORIAL PKWY HUNTSVILLE AL 35801


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MADISON COUNTY TREASURER               16 EAST 9TH STREET STE 109 ANDERSON ANDERSON IN 46016-1538
MADISON COUNTY TRUSTEE                 100 E MAIN ST ROOM 107 JACKSON TN 38301-6239
MADISON EAST TOWNE LLC                 EAST TOWN MALL CBL 0600 PO BOX 8661 CAROL STREAM IL 60197-8661
MADISON GAS AND ELECTRIC, WI           PO BOX 1231 MADISON WI 53788-0001
MADISON HEIGHTS CITY TREASURER         300 W 13 MILE ROAD MADISON HEIGHTS MI 48071
MADISON INTERNATIONAL REALTY, LLC      410 PARK AVE 10TH FLOOR NEW YORK NY 10022
MADISON SUBURBAN UTILITY DIST          PO BOX 306140 NASHVILLE TN 37230-6140
MADISON WILLIAMS                       ADDRESS ON FILE
MAERK CUSTOMS SERVICES USA INC         180 PARK AVENUE FLORHAM PARK NJ 07932
MAERK CUSTOMS SERVICES USA INC         COURTHOUSE ROOM 108 FLORHAM PARK NJ 07932
MAGANA, GIOVANNA                       ADDRESS ON FILE
MAGDA DVIR                             ADDRESS ON FILE
MAGDALENA, ISABELLA GUTIERREZ          ADDRESS ON FILE
MAGIC CITY PROPERTIES LC               C/O MAGIC CITY PROPERTIES OF WALTON LLC 3132 CENTER ST MIAMI FL 33133-4671
MAGIC GLOVE CLEANING SERVICES          611 7TH ST N WILTON ND 58579-7430
MAGIC TAP LLC                          532 N MARY ST APPLETON WI 54911-5321
MAGIC VALLEY ELECTRIC CO-OP            PO BOX 267 ATTN: SANDRA MARTINEZ MERCEDES TX 78570
MAGISTERIAL DISTRICT COURT 06-3-03     180 PARK AVENUE ERIE PA 16509-6055
MAGISTERIAL DISTRICT COURT 06-3-03     9333 TATE ROAD SUITE 109 ERIE PA 16509-6055
MAGISTERIAL DISTRICT COURT 19 2 01     118 PLEASANT ACRES RD YORK PA 17402
MAGISTERIAL DISTRICT NO 38-1-25        128 WEST 4TH STREET BRIDGEPORT PA 19405
MAGISTERIAL DISTRICT NO MDJ-29-3-02    LYSOCK VIEW COMPLEX 542 COUNTY FARM ROAD MONTOURSVILLE PA 17754-9209
MAGISTERIAL DISTRICT NO MDJ-31-1-07    3678 CRESCENT CT E STE A WHITEHALL PA 18052-3400
MAGNOLIA BEVERAGE CO INC               2668 SAINT ANDREW STREET MERIDIAN MS 39301
MAGNUM POWER WASH LLC                  PO BOX 26 PERKIOMENVILLE PA 18074
MAGNUSON INDUSTRIES INC                P O BOX 5444 ROCKFORD IL 61125
MAGRINI & SONS LLC                     1163 US HIGHWAY 136 PENFIELD IL 61862
MAHAN, KEITH                           ADDRESS ON FILE
MAHER AND SPENNER INC                  DBA ROTO ROOTER 5801 WALTONIAN RD COGGON IA 52218-9619
MAHONING COUNTY SANITARY               PO BOX 70279 PHILADELPHIA PA 19176-0279
MAHONING COUNTY TREASURER              120 MARKET ST 1ST FLR YOUNGSTOWN YOUNGSTOWN OH 44503
MAI, TIEN                              ADDRESS ON FILE
MAID FOR GJ BIZ                        399 EVERGREEN RD GRAND JUNCTION CO 81501-7307
MAIN & MAIN DEL PASO LLC               2404 ALMA AVE MANHATTAN BEACH CA 90266-4340
MAIN COMPANIES LLC                     DBA MAIN RESTAURANT SERVICES PO BOX 50157 MESA AZ 85208-0008
MAINE ATTORNEY GENERALS OFFICE         CONSUMER INFO. & MEDIATION SERVICE 6 STATE HOUSE STATION AUGUSTA ME 04333
MAINE BUREAU CONSUMER CREDIT PROTECTION 35 STATE HOUSE STATION AUGUSTA ME 04333
MAINE DEPT OF                          ENVIRONMENTAL PROTECTION 17 STATE HOUSE STATION AUGUSTA ME 04333-0017
MAINE DEPT OF LABOR                    54 STATE HOUSE STATION AUGUSTA ME 04333-0054
MAINE HUMAN RIGHTS COMMISSION          51 STATE HOUSE STATION AUGUSTA ME 04330
MAINE STATE TREASURER                  UNCLAIMED PROPERTY DIVISION 39 STATE HOUSE STATION B. M. CROSS BLDG, 3RD FL,
                                       111 SEWALL ST AUGUSTA ME 04333-0039
MAINSAIL HOUSING PARTNERS LLC          DBA MAINSAIL CORPORATE HOUSING 4602 EISENHOWER BLVD TAMPA FL 33634-6359
MAINTENANCE ARM                        2569 IRIS DR SE CONYERS GA 30013-1939
MAINTENX INTERNATIONAL                 PO BOX 21288 TAMPA FL 33622-1288
MAJESTIC CARPET CARE                   PO BOX 56 SALEM AL 36874-0056
MAJESTIC CLEANING INC                  PO BOX 520 NORTH BELLMORE NY 11710
MAJESTIC FACILITY EXPERTS INC          2099 E TIPTON ST SEYMOUR IN 47274-3567
MAJESTIC LOCKSMITH CORP                1980 W 60TH STREET HIALEAH FL 33012-7598



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MAJOR DRAIN LLC                        7914 DODGE STREET SUITE 345 OMAHA NE 68114
MAJOR RENOVATIONS LLC                  DBA MAJOR FACILITY SOLUTIONS 1519 BOETTLER RD STE C UNIONTOWN OH 44685-8391
MAKAYLA JOHNSON                        ADDRESS ON FILE
MAKE A WISH FOUNDATION OF CANADA       4211 YONGE STREET, SUITE 520 TORONTO ON M2P 2A9 CANADA
MAKE-A-WISH FOUNDATION OF AMERICA      1702 E HIGHLAND AVE STE 400 PHOENIX AZ 85016-4630
MAKING THE CUT ASPHALT SERVICES LLC    PO BOX 343 MUSKEGO WI 53150-0343
MAKUSHIN BAY RESOURCES LLC             DBA JEFFREY A BRAMMER PO BOX 963 LITTLETON NH 03561-0963
MALACHYX LLC                           DBA SERVICE MASTERS PO BOX 427 BAYONNE NJ 07002-0427
MALANGONE HEATING & COOLING INC        PO BOX 16771 WEST HAVEN CT 06516
MALCOLM, TAWNI                         ADDRESS ON FILE
MALCOM, DAVID                          ADDRESS ON FILE
MALDONADO, LETICIA                     ADDRESS ON FILE
MALDONADO-CARMONA, DAVID               ADDRESS ON FILE
MALL OF SOUTH CAROLINA OUTPARCEL LP    PO BOX 746204 ATLANTA GA 30374-6204
MALLARY PRESSURE WASHING               & PARKING LOT MAINTENANCE INC 955 GENERALS HIGHWAY CROWNSVILLE MD 21032
MALLORY VALLEY UTILITY DISTRICT        PO BOX 306056 NASHVILLE TN 37230-6056
MALLORY, JENNIFER                      ADDRESS ON FILE
MALONE SPECIALTY CONTRACTORS LLC       DBA ALL PRO DISPOSAL PO BOX 17563 HATTIESBURG MS 39404-7563
MALTMAN, DONNA                         ADDRESS ON FILE
MAMMOTH CAVE PLUMBING LLC              519 LITTLE MOUNTAIN RD SWEEDEN KY 42285-7006
MANATEE COUNTY                         9333 TATE ROAD SUITE 109 BRADENTON FL 34205
MANATEE COUNTY                         C/O FALSE ALARM UNIT 600 US HIGHWAY 301 BOULEVARD WEST SUITE 202 BRADENTON FL
                                       34205
MANATEE COUNTY PUBLIC WORKS            4410 66TH ST. WEST BRADENTON FL 34210
MANATEE COUNTY TAX COLLECTOR           PO BOX 25300 BRADENTON FL 34206-5300
MANCILL INC                            3201 MR JOE WHITE AVENUE MYRTLE BEACH SC 29577-6709
MANESS MANAGEMENT SERVICES INC         DBA MANESS LOCK & KEY PO BOX 13 GREENVILLE NC 27835
MANHATTAN 338 CORP                     C/O RL1AK LLC PO BOX 124 MAMARONECK NY 10543-0124
MANIER & HEROD                         1201 DEMONBREUN STREET SUITE 900 NASHVILLE TN 37203
MANIER AND HEROD                       ATTN:JOHN W BARRINGER 1201 DEMONBREUN STREET, SUITE 900 NASHVILLE TN 37203
MANIER, SHARON                         ADDRESS ON FILE
MANITOBA HYDRO                         PO BOX 7900 STN MAIN WINNIPEG MB R3C5R1 CANADA
MANITOBA LIQUOR & LOTTERIES            DBA LIQUOR MART 1600 NESS AVENUE UNIT P WINNIPEG MB R3J 3W7 CANADA
MANITOBA RESTAURANT & FOODSERVICES     450-112 MARKET AVE WINNIPEG MB R3B 0P4 CANADA
ASSOC
MANITOULIN BREWING COMPANY             43 MANITOWANING ROAD PO BOX 189 LITTLE CURRENT ON P0P 1K0 CANADA
MANN PLUMBING AND HEATING LLC          6210 LINCOLN WAY EAST FAYETTEVILLE PA 17222-1173
MANNING & KASS ELLROD RAMIREZ          TRESTER LLP 801 S FIGUEROA ST FL 15 LOS ANGELES CA 90017-5504
MANNING KASS                           ATTN:DAVID ROTH 1 CALIFORNIA ST STE 900 SAN FRANCISCO CA 94111
MANNINGTON MILLS INC                   PO BOX 96261 FILE96261 CHICAGO IL 60693-6261
MANNION, CHRISTOPHER                   ADDRESS ON FILE
MANOR WINE CELLAR LLC                  5526 AIRWAY ROAD DAYTON OH 45431
MANSFIELD - RICHLAND CO HEALTH DEPT    555 LEXINGTON AVENUE AT STERKEL BLV MANSFIELD OH 44907
MANSFIELD - RICHLAND CO HEALTH DEPT    C/O FALSE ALARM UNIT 600 US HIGHWAY 301 BOULEVARD WEST MANSFIELD OH 44907
MANSFIELD - RICHLAND COUNTY HEALTH DEPT 555 LEXINGTON AVENUE AT STERKEL BLV MANSFIELD OH 44907
MANSFIELD DIST COMPANY                 1245 W LONGVIEW AVE MANSFIELD OH 44906
MANSFIELD POWER AND GAS                PO BOX 733714 DALLAS TX 75373-3714
MANSON PRODUCTS CO INC                 1618 KALANI STREET HONOLULU HI 96817
MANUEL PENA                            ADDRESS ON FILE



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MANUELA QUINTERO.BELTRAN               ADDRESS ON FILE
MANZ ACRES LLC                         DBA AQUARIUM SERVICES PROFESSIONALS 266 OAK LN BERNVILLE PA 19506-9449
MAPLE CITY ICE COMPANY                 371 CLEVELAND RD NORWALK OH 44857
MAPLE LEAF LOCKSMITH                   798 WILSON AVENUE TORONTO ON M3K 1E2 CANADA
MAPLEWOOD PARTNERS LLC                 PO BOX 688 WHITE BLUFF TN 37187-0688
MAPPS, RODDY                           ADDRESS ON FILE
MARA RUIZ                              ADDRESS ON FILE
MARATHON ELECTRICAL CONTRACTORS LLC    2830 COMMERCE BLVD IRONDALE AL 35210-1216
MARC TESKE                             ADDRESS ON FILE
MARC WEINSTEIN                         ADDRESS ON FILE
MARCELINO GOMEZ                        ADDRESS ON FILE
MARCEY BROWN SOLOMON                   ADDRESS ON FILE
MARCI SHAPIRO LLC                      C/O MARCI SHAPIRO 106 VAIL LN WATCHUNG NJ 07069-6116
MARCIAL URIBES                         ADDRESS ON FILE
MARCK RECYCLING & WASTE SERVICES       6734 HWY 141 NORTH JONESBORO AR 72401
MARCO A CONTRERAS                      ADDRESS ON FILE
MARCO TECHNOLOGIES LLC                 PO BOX 1450 MINNEAPOLIS MN 55485-1450
MARCO, TOMMY                           ADDRESS ON FILE
MARCOS MARQUEZ                         ADDRESS ON FILE
MARCOTTE DISPOSAL INC.                 PO BOX 611068 PORT HURON MI 48061
MARCUS ANDREW CHAPMAN                  ADDRESS ON FILE
MARGARET EVANS                         ADDRESS ON FILE
MARGARIE HAMILTON                      ADDRESS ON FILE
MARGOT ESCOBEDO                        ADDRESS ON FILE
MARIA C SANCHEZ                        ADDRESS ON FILE
MARIA CUSTOM SHEET METAL INC           2905 S WYANDOT STREET ENGLEWOOD CO 80110
MARIA JONES                            ADDRESS ON FILE
MARIA LOURDES FLORES                   ADDRESS ON FILE
MARIA PEREZ GUERRERO                   ADDRESS ON FILE
MARIA PHILLIPS                         ADDRESS ON FILE
MARIANI, ATHENA                        ADDRESS ON FILE
MARICOPA CO ENVIRONMENTAL SERVICES DEPT 1001 N CENTRAL SUITE 350 PHOENIX AZ 85004
MARICOPA COUNTY TREASURER              PO BOX 52133 PHOENIX AZ 85072-2133
MARICOPA COUNTY TREASURER              DIV OF REVENUE PO BOX 14058 PHOENIX AZ 85072-2133
MARICOPA COUNTY--HEALTH SERV           PO BOX 2111 PHOENIX AZ 85001
MARIES LOCK & SAFE INC                 9608 ROGERS AVENUE FORT SMITH AR 72903
MARIETTA BOARD OF LIGHTS AND WATER     675 NORTH MARIETTA PARKWAY MARIETTA GA 30060
MARIETTA POWER                         P.O. BOX 609 MARIETTA GA 30061
MARILYN M GRAHAM                       ADDRESS ON FILE
MARILYN OKEEFE                         ADDRESS ON FILE
MARINE IRON & SHIP BLDG CO INC         C/O ENCOMPASS REAL ESTATE INVESTMENT SVCS 306 W MICHIGAN ST STE 300 DULUTH MN
                                       55802-1648
MARINER NEPTUNE FISH & SEAFOOD         472 DUFFERIN AVENUE WINNIPEG MB R2W 2Y6 CANADA
MARIO A LOPEZ                          ADDRESS ON FILE
MARIO ANDRES ALICIA                    ADDRESS ON FILE
MARION AREA CHAMBER OF COMMERCE        267 W CENTER STREET SUITE 200 MARION OH 43302-3600
MARION CASZATT                         ADDRESS ON FILE
MARION COUNTY CLERKS OFFICE            555 LEXINGTON AVENUE AT STERKEL BLV SALEM OR 97301
MARION COUNTY CLERKS OFFICE            555 COURT ST NE SUITE 2130 SALEM OR 97301



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MARION COUNTY HEALTH DEPARTMENT     98 MCKINLEY PARK BLVD MARION OH 43302
MARION COUNTY HEALTH DEPARTMENT     555 COURT ST NE SUITE 2130 MARION OH 43302
MARION COUNTY RECORDER              C/O AMERI TITLE 320 CHURCH ST SALEM OR 97301
MARION COUNTY SHERIFFS OFFICE       98 MCKINLEY PARK BLVD SALEM OR 97309-5036
MARION COUNTY SHERIFFS OFFICE       PO BOX 14500 SALEM OR 97309-5036
MARION COUNTY TAX COLLECTOR         PO BOX 970 OCALA FL 34478
MARION COUNTY TREASURER             PO BOX 6145 INDIANAPOLIS IN 46206-6145
MARION COUNTY TREASURER             MARION COUNTY TREASURY DEPARTMENT PO BOX 14500 SALEM OR 97309
MARION PLAZA ASSOCIATES LP          DBA MADISON ACQUISITIONS LLC 4041 LIBERTY AVE STE 201 PITTSBURGH PA 15224-1459
MARIOUD KOKO                        ADDRESS ON FILE
MARISOL MENDEZ                      ADDRESS ON FILE
MARJORIE ATKINSON                   ADDRESS ON FILE
MARK A LANDIN                       ADDRESS ON FILE
MARK A. TOTTEN                      UNITED STATES ATTORNEYS OFFICE PO BOX 208 GRAND RAPIDS MI 48501-0208
MARK A. TOTTEN                      UNITED STATES ATTORNEYS OFFICE FEDERAL COURTHOUSE, RM 209 315 W. ALLEGAN
                                    LANSING MI 48933
MARK A. TOTTEN                      UNITED STATES ATTORNEYS OFFICE HUNTINGTON BANK BLDG, 2ND FL 1930 US 41 W
                                    MARQUETTE MI 49855
MARK ALLAN CONTRACTING INC          1201 W PEACHTREE ST NW STE 2625 ATLANTA GA 30309-3499
MARK ALLEN PETERSEN CORP            DBA AMERICAN PLUMBING 414 G STREET ANTIOCH CA 94509
MARK CARPENTER PLUMBING INC         421 SYCAMORE CLOVIS NM 88101
MARK DANIEL COOK                    ADDRESS ON FILE
MARK DAVID HERRING                  ADDRESS ON FILE
MARK DEBOER                         ADDRESS ON FILE
MARK DUNNING INDUSTRIES, INC        P.O. BOX 2046 DOTHAN AL 36302
MARK E BELTER                       ADDRESS ON FILE
MARK EARL PRESSEY                   ADDRESS ON FILE
MARK EARNEST STEPHENS               ADDRESS ON FILE
MARK EDDY                           ADDRESS ON FILE
MARK EDWARD TITTLE                  ADDRESS ON FILE
MARK EIDEM                          ADDRESS ON FILE
MARK F ROBINSON                     ADDRESS ON FILE
MARK GENTRY                         ADDRESS ON FILE
MARK J DANIELS                      ADDRESS ON FILE
MARK J FREITAG TRUST OF 1988        ADDRESS ON FILE
MARK J. FREITAG, TREE OF THE        ADDRESS ON FILE
MARK KANTNER                        ADDRESS ON FILE
MARK KELLY                          ADDRESS ON FILE
MARK L PETERSON                     ADDRESS ON FILE
MARK LYNDE ENTERPRISES INC          DBA LYNDE ENTERPRISES 201 COUNTY ROAD 81 OSSEO MN 55369-1544
MARK PETTORINI                      ADDRESS ON FILE
MARK POLLAUF                        ADDRESS ON FILE
MARK RAYBIN                         ADDRESS ON FILE
MARK SAYDAH                         ADDRESS ON FILE
MARK STERN                          ADDRESS ON FILE
MARK STEVEN TURNER                  ADDRESS ON FILE
MARK T BOLTON                       ADDRESS ON FILE
MARK T SULLIVAN COMPANY INC         PO BOX 1112 DUBOIS PA 15801
MARK W MANNEY                       ADDRESS ON FILE



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MARKEL BERMUDA LIMITED                   MARKEL HOUSE 2 FRONT STREET HAMILTON HM KX BERMUDA
MARKENZY LAPOINTE                        US ATTORNEYS OFFICE 301 SIMONTON ST KEY WEST FL 33040
MARKENZY LAPOINTE                        US ATTORNEYS OFFICE 99 NE 4TH ST MIAMI FL 33132
MARKENZY LAPOINTE                        US ATTORNEYS OFFICE 500 E BROWARD BLVD FT. LAUDERDALE FL 33394
MARKENZY LAPOINTE                        US ATTORNEYS OFFICE 500 S AUSTRALIAN AVE STE 400 W. PALM BEACH FL 33401
MARKENZY LAPOINTE                        US ATTORNEYS OFFICE 101 S US 1, STE 3100 FT. PIERCE FL 34950
MARKETING REFRIGERATION                  450 S ORANGE AVE STE 800 ORLANDO FL 32801-3344
MARKETLAB INC                            8208 BOXMERE CT BRENTWOOD TN 37027-7154
MARKO STEPANOV                           ADDRESS ON FILE
MARKS OFF ENTERPRISES INC                DBA MARKS OFF WINDOW KLEANING 6725 EAST POLELINE POST FALLS ID 83854
MARKS SECURITY                           516 15TH ST LEWISTON ID 83501-2555
MARLAND LIMITED PARTNERSHIP              450 CLEM RD GREENWOOD SC 29649-8546
MARLENE ABATE                            ADDRESS ON FILE
MARLIN CONTROLS INC                      PO BOX 550457 DALLAS TX 75355-0457
MARLON BROWN                             ADDRESS ON FILE
MARLOW JOHNSTON                          ADDRESS ON FILE
MAROTTA & SONS PLUMBING & HEATING        CONTRACTORS CORP 133-12 CROSS BAY BLVD OZONE PARK NY 11417
MARPAN SUPPLY CO., INC.                  P.O. BOX 2068 TALLAHASSEE FL 32316-2068
MARQUETTE BOARD OF LIGHT & POWER MI      2200 WRIGHT ST MARQUETTE MI 49855
MARQUETTE COUNTY HEALTH DEPARTMENT       184 U S 41 HIGHWAY NEGAUNEE MI 49866
MARQUETTE COUNTY HEALTH DEPARTMENT       PO BOX 14500 NEGAUNEE MI 49866
MARQUETTE TOWNSHIP TREASURER             1000 COMMERCE DR MARQUETTE MI 49855
MARRIOTT HOTEL SERVICES INC              DBA GAYLORD TEXAN RESORT & CONVENTION CENTER 1501 GAYLORD TRL GRAPEVINE TX
                                         76051-1945
MARRIOTT INTERNATIONAL INC               DBA GAYLORD PALMS RESORT & CONV CENTER ATTN ACCTING DEPARTMENT 6000 WEST
                                         OSCEOLA PARKWAY KISSIMMEE FL 34746
MARRS ELECTRIC INC                       OF ARKANSAS PO BOX 1370 SPRINGDALE AR 72765-1370
MARS SALES INC                           14716 S BROADWAY GARDENA CA 90248-1814
MARSH CANADA LIMITED                     PO BOX 9741 POSTAL STATION A TORONTO ON M5W 1R6 CANADA
MARSH USA INC                            PO BOX 846015 DALLAS TX 75284-6015
MARSHAL T NITTI                          ADDRESS ON FILE
MARSHALL AIR SYSTEMS                     419 PEACHTREE DRIVE SOUTH CHARLOTTE NC 28217
MARSHALL BISHOP                          ADDRESS ON FILE
MARSHALL JAMES BRADSHAW                  ADDRESS ON FILE
MARSHALL, DENNEHEY, WARNER, COLEMAN      & GOGGIN, PC ATTN:HOWARD DWOSKIN 2000 MARKET STREET, SUITE 2300 PHILADELPHIA
                                         PA 19103
MARSHALL, DEZZIE RAY                     ADDRESS ON FILE
MARSHELL BUTLER                          ADDRESS ON FILE
MARTAN PROPERTIES LLC                    C/O 3906 TOWNE CROSSING LLC C/O NEXBANK SSB, ATTN LOAN DEPT 2515 MCKINNEY AVE
                                         STE 1100 DALLAS TX 75201-1945
MARTHA BARSS                             ADDRESS ON FILE
MARTHA JANKA                             ADDRESS ON FILE
MARTHA SKALECKI                          DBA MIKE SKALECKIS SONS PO BOX 376 CONNELLSVILLE PA 15425
MARTIN ADVERTISING INC                   DBA MARTIN SIGNS 1999 N WILLOW AVENUE COOKEVILLE TN 38501
MARTIN BAKER                             ADDRESS ON FILE
MARTIN BASARA                            DBA ADVANCED IRRIGATION & LAWN PO BOX 132 PALMYRA NJ 08065
MARTIN CO BOARD OF CO COMMISSIONERS      TAX COLLECTOR 3485 SE WILLOUGHBY BOULEVARD STUART FL 34994-4507
MARTIN COUNTY                            184 U S 41 HIGHWAY STUART FL 34994
MARTIN COUNTY BOARD OF COUNTY COMMNERS   MARTIN COUNTY FIRE RESCUE FIRE PREVENTION 800 SE MONTEREY RD STUART FL
                                         34994-4507


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MARTIN COUNTY TAX COLLECTOR            3485 SE WILLOUGHBY BLVD STUART FL 34994
MARTIN COUNTY UTILITIES                P.O. BOX 9000 STUART FL 34995-9000
MARTIN S SEMON                         ADDRESS ON FILE
MARTIN, CHEYENNE                       ADDRESS ON FILE
MARTIN, FROST & HILL, PC               ATTN: KYLE V. HILLKIMBERLY FROST 3345 BEE CAVE ROAD, STE 105 AUSTIN TX 78746
MARTINEZ, FERNANDO                     ADDRESS ON FILE
MARTINEZ, GABRIEL                      ADDRESS ON FILE
MARTINEZ, LINDA                        ADDRESS ON FILE
MARTINEZ, ZELINA                       ADDRESS ON FILE
MARVEL CONSTRUCTION LLC                27911 N 93RD LANE PEORIA AZ 85383-5477
MARVIN H GEISTLINGER                   ADDRESS ON FILE
MARVIN H GEISTLINGER                   ADDRESS ON FILE
MARVIN MAURICE WILLIAMS                ADDRESS ON FILE
MARVIN N RHODA                         ADDRESS ON FILE
MARVS PLUMBING & HEATING INC           1515 LOGAN AVE CHEYENNE WY 82001-5137
MARX REALTY & IMPROVEMENT CO. INC.     10 GRAND CENTRAL 155 E, 44TH ST, 7TH FLR NEW YORK NY 10017
MARY ELLEN BARGER                      ADDRESS ON FILE
MARY ELLISON                           ADDRESS ON FILE
MARY FIORINO                           ADDRESS ON FILE
MARY HOLMES                            ADDRESS ON FILE
MARY JANE DAVIS                        ADDRESS ON FILE
MARY LEE BROWN                         ADDRESS ON FILE
MARY MUDIRAJ                           ADDRESS ON FILE
MARY RUCKMAN                           ADDRESS ON FILE
MARYLAND ALCOHOL TOBACCO               & CANNABIS COMMISSION C/O REGULATORY & RESEARCH SECTION 1215 E PORT AVE STE
                                       300 BALTIMORE MD 21230-5281
MARYLAND ALCOHOL TOBACCO & CANNABIS    COMMN C/O REGULATORY AND RESEARCH SECTION 1215 E FORT AVE STE 300 BALTIMORE MD
                                       21230-5281
MARYLAND AMERICAN WATER COMPANY        PO BOX 371880 PITTSBURGH PA 15250-7800
MARYLAND DEPARTMENT OF ASSESSMENT & TAX 301 WEST PRESTON ST. ROOM 801 BALTIMORE MD 21201-2395
MARYLAND DEPARTMENT OF ASSESSMENT & TAX 209 WEST TUSCARAWAS STREET BALTIMORE MD 21201-2395
MARYLAND DEPARTMENT OF LABOR           LICENSING & REGULATION DIV OF LABOR & INDUSTRY - SAFETY 1100 N EUTAW STREET RM
                                       300 BALTIMORE MD 21201-2206
MARYLAND DEPARTMENT OF LABOR           DIVISION OF LABOR & INDUSTRY PO BOX 37302 BALTIMORE MD 21297-3302
MARYLAND DEPT OF ASSESSMENT AND TAX    BUSINESS PERSONAL PROPERTY DIVISION PO BOX 17052 BALTIMORE MD 21297-1052
MARYLAND DEPT OF LABOR                 DIVISION OF LABOR AND INDUSTRY 10946 GOLDEN W DR, STE 160 HUNT VALLEY MD 21031
MARYLAND DEPT OF LABOR                 1100 NORTH EUTAW ST BALTIMORE MD 21201
MARYLAND DEPT OF LABOR                 DIVISION OF UNEMPLOYMENT INSURANCE 1100 N EUTAW ST BALTIMORE MD 21201
MARYLAND DEPT OF NATURAL RESOURCES     580 TAYLOR AVE ANNAPOLIS MD 21401
MARYLAND DEPT OF THE ENVIRONMENT       1800 WASHINGTON BLVD BALTIMORE MD 21230
MARYLAND LOCKSMITH INC                 6 AQUAHART RD GLEN BURNIE MD 21061-3902
MARYLAND OFFICE OF THE ATTORNEY GENERAL CONSUMER PROTECTION DIVISION BALTIMORE METRO AREA 200 SAINT PAUL PL BALTIMORE
                                        MD 21202
MARYLAND OFFICE OF THE ATTORNEY GENERAL CONSUMER PROTECTION DIVISION SOUTHERN MARYLAND PO BOX 745 HUGHESVILLE MD 20637
MARYLAND OFFICE OF THE ATTORNEY GENERAL CONSUMER PROTECTION DIVISION PRINCE GEORGES 9200 BASIL CT STE 301 LARGO MD
                                        20774
MARYLAND OFFICE OF THE ATTORNEY GENERAL CONSUMER PROTECTION DIVISION WESTER MARYLAND 44 N POTOMAC ST STE 104
                                        HAGERSTOWN MD 21740
MARYLAND OFFICE OF THE ATTORNEY GENERAL CONSUMER PROTECTION DIVISION EASTERN SHORE DISTRICT CT, 201 BAPTIST ST STE 30
                                        SALISBURY MD 21801



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MARYLAND OFFICE OF THE COMPTROLLER       REVENUE ADMINISTRATION CENTER TAXPAYER SERVICES DIVISION 110 CARROL ST
                                         ANNAPOLIS MD 21411-0001
MARZELLA ROGERS                          ADDRESS ON FILE
MAS AQUATICS                             ADDRESS ON FILE
MASH ACQUISITION LLC                     DBA GLACIER DESIGN SYSTEMS 240 GREAT CIRCLE RD STE 344 NASHVILLE TN 37228-1721
MASON & SON PLBG & HTG CO INC            13646 WARWICK BLVD NEWPORT NEWS VA 23602
MASON, MIKE                              ADDRESS ON FILE
MASSACHUSETTS DEPT OF LABOR AND          WORKFORCE DEVELOPMENT ONE ASHBURTON PLC, STE 2112 BOSTON MA 02108
MASSACHUSETTS DEPT OF REVENUE            DIVISION OF LOCAL SERVICES PO BOX 9569 BOSTON MA 02114-9569
MASSACHUSETTS EXECUTIVE OFFICE OF        ENERGY AND ENVIRONMENTAL AFFAIRS 100 CAMBRIDGE ST 9TH FL BOSTON MA 02114
MASSACHUSETTS LABOR AND WORKFORCE DEVT   ONE ASHBURN PLACE, STE 212 BOSTON MA 02108
MASSIE, JACOB                            ADDRESS ON FILE
MASTER CARWASH LLC                       2600 ISLAND BLVD APT 705 AVENTURA FL 33160
MASTER DRY CLEANING & RESTORATION INC    17541 LONG RIDGE DRIVE MONTVERDE FL 34756
MASTER LOCKSMITHS AND SAFE SERVICE INC   1580 ORR RD CHILLICOTHE OH 45601-8928
MASTERS LOCKSMITH INC                    3171 SW 44TH ST FT LAUDERDALE FL 33312-6928
MASTERSCAPES INC                         330 BACACITA FARMS ROAD ABILENE TX 79602
MASTERTECH INC                           DBA MASTERTECH PLUMBING HEATING & COOLING 5150 I-70 DRIVE SW COLUMBIA MO 65203
MATA, LUCY                               ADDRESS ON FILE
MATAGRANO INC                            PO BOX 2588 SO SAN FRANCISCO CA 94083
MATCHETTE LIQUOR LLC                     DBA JUSTINS DISCOUNT SPIRITS AND WINE EMPORIUM 13831 W 63RD STREET SHAWNEE KS
                                         66216
MATCO ELECTRIC CORP                      3913 GATES ROAD VESTAL NY 13850
MATESICH DISTRIBUTING CO                 1190 E MAIN STREET NEWARK OH 43055
MATHESON TRI-GAS INC                     DEPT 3028 PO BOX 123028 DALLAS TX 75312
MATHIAS SWEET                            ADDRESS ON FILE
MATHIS PLUMBING & HEATING CO INC         PO BOX 716 GREENWOOD SC 29648
MATR/TOWNSHIP OF ROBINSON,PA             PO BOX 534088 PITTSBURGH PA 15253-4088
MATT DEROSSITT                           ADDRESS ON FILE
MATTA, JANE                              ADDRESS ON FILE
MATTHEW A COOPER                         ADDRESS ON FILE
MATTHEW A TABER                          ADDRESS ON FILE
MATTHEW B HENTHORN                       ADDRESS ON FILE
MATTHEW E LARGER                         ADDRESS ON FILE
MATTHEW ERIC JACKSON                     ADDRESS ON FILE
MATTHEW J GEVERS                         ADDRESS ON FILE
MATTHEW J GRAFF                          ADDRESS ON FILE
MATTHEW JUSTICE                          ADDRESS ON FILE
MATTHEW KANDEFER INC                     PO BOX 1046 TONAWANDA NY 14151-1046
MATTHEW M. GRAVES                        UNITED STATES ATTORNEYS OFFICE 601 D ST, NW WASHINGTON DC 20001
MATTHEW MCCALL                           ADDRESS ON FILE
MATTHEW PETTY                            ADDRESS ON FILE
MATTHEW R PERRY                          ADDRESS ON FILE
MATTHEW SALYERS                          ADDRESS ON FILE
MATTHEW SCHRECK                          ADDRESS ON FILE
MATTHEW SCOTT TETER                      ADDRESS ON FILE
MATTHEW STRACKBEIN                       ADDRESS ON FILE
MATTHEW STUFFLEBEAM                      ADDRESS ON FILE
MATTHEW VICARS                           ADDRESS ON FILE



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MATTHEWS, KAILYN                       ADDRESS ON FILE
MATTHIESEN, WICKERT & LEHRER, S.C.     1111 E. SUMNER STREET P.O. BOX 270670 HARTFORD WI 53027
MATTHIESEN, WICKERT & LEHRER, S.C.     ATTN:ASHTON T. KIRSCH 1111 E. SUMNER STREET P.O. BOX 270670 HARTFORD CT
                                       53027-0670
MATTHYS INC                            DBA PLAZA BUILDING MAINTENANCE COMPANY 4606 CARMEL CIRCLE PASADENA TX
                                       77505-5517
MAUMEE CHAMBER OF COMMERCE             605 CONANT STREET MAUMEE OH 43537-3363
MAURICIO PEREZ                         ADDRESS ON FILE
MAWC-MUNICIPAL AUTH OF WESTMORELAND CTY P.O. BOX 800 MAWC GREENSBURG PA 15601-0800
MAX B MULLINS LANDSCAPING INC          120 S HIBBARD STREET STAUNTON IL 62088
MAX FILE                               DBA CHILL FACTOR MECHANICAL PMB 136 4300 ROGERS AVENUE SUITE 20 FORT SMITH AR
                                       72903
MAXWELL HOTEL SUPPLY CO                1212 SOUTH CLIFF AVENUE SIOUX FALLS SD 57105
MAY ELECTRIC CO INC                    1750 W 2ND ST OWENSBORO KY 42301-0501
MAYDA AND SONS LLC                     DBA MAYDA AND SONS MECHANICAL 10890 OLD FRONTIER RD NW STE B SILVERDALE WA
                                       98383-8891
MAYER LLP                              ATTN:ZACH MAYER 750 N. SAINT PAUL STREET SUITE 700 DALLAS TX 75201
MAYER LLP                              750 N SAINT PAUL ST STE 700 DALLAS TX 75201-3207
MAYER PLUMBING LLC                     2812 LAKE HOLLOW RD BERTHOUD CO 80513-8413
MAYFAIR PAINT N PAPER LTD              44 CHARING CROSS ST BRANTFORD ON N3R 2H2 CANADA
MAYFIELD, LONNIE W                     ADDRESS ON FILE
MAYLAND APPLIANCE REPAIR SERVICES      723 MACLEAY RD NE CALGARY ON T2E 5Z9 CANADA
MAYOR & CITY COUNCIL OF LAUREL         C/O REGULATORY AND RESEARCH SECTION 1215 E FORT AVE STE 300 LAUREL MD 20707
MAYOR & CITY COUNCIL OF LAUREL         DEPT OF FINANCE 350 MUNICIPAL SQUARE LAUREL MD 20707
MAYS FLORAL & GREENHOUSE               3424 JEFFERS RD EAU CLAIRE WI 54703
MAYSOON AHMAD                          ADDRESS ON FILE
MAYTON, NEWKIRK & JONES                100 RIVER BLUFF DRIVE SUITE 100 LITTLE ROCK AR 72202
MAZAMA SERVICES LLC                    DBA ROTO ROOTER PLUMBERS 3125 HIGHWAY 31 S DECATUR AL 35603-1405
MB HAYNES CORPORATION                  DBA HAYNES PLUMBING SYSTEMS PO BOX 16589 ASHEVILLE NC 28816-0589
MB NURSERY                             C/O MB NURSERY AND LANDSCAPING PO BOX 583 WHITEHOUSE TX 75791-0583
MBA ELECTRIC                           1176 E IRA HODGES SCENIC PKWY EAGLE MOUNTAIN UT 84005-4246
MBI RED LOB LLC                        ATTN: DENNIS LAPIDUS 11340 LONG WATER CHASE COURT FORT MYERS FL 33908
MC BUILDERS LLC                        1229 LATTA ST CHATTANOOGA TN 37406-3746
MC INCHOK SANITATION, LLC              104 JACKSON LANE LIGONIER PA 15658
MC INVESTMENTS INC                     DBA NATURES CHOICE PO BOX 1126 BROWNSBURG IN 46112-5126
MC POWER WASHING LLC                   PO BOX 76282 COLORADO SPRINGS CO 80970
MCALLEN CITY TAX COLLECTOR             311 N 15TH STREET MCALLEN TX 78501
MCALLEN POLICE DEPARTMENT              PO BOX 220 MCALLEN TX 78505
MCALLEN PUBLIC UTILITY -TX             P.O. BOX 280 MCALLEN TX 78505-0280
MCANANY VAN CLEAVE & PHILLIPS PA       505 N. 7TH STREET STE 2100 ST LOUIS MO 63101
MCANANY VAN CLEAVE & PHILLIPS PA       ATTN:BYRON A BOWLES JR 10 EAST CAMBRIDGE CIRCLE DRIVE SUITE 300 KANSAS CITY KS
                                       66103
MCANGUS GOUDELOCK & COURIE             ATTN:JAY ATKINS 119 NORTH 9TH STREET OXFORD MS 38655
MCANGUS GOUDELOCK & COURIE LLC         PO BOX 12519 COLUMBIA SC 29211-2519
MCANGUS GOUDELOCK & COURIE LLC         735 JOHNNIE DODDS BLVD. SUITE 200 MT. PLEASANT SC 29464
MCBRIDE FLORIST INC                    805 SIXTH AVE SE DECATUR AL 35601-3066
MCCAIN SALES OF FLORIDA INC            DBA UNIVERSAL SIGNS & ACCESSORIES 3001 ORANGE AVENUE FT PIERCE FL 34947
MCCARTHY, JANET                        ADDRESS ON FILE
MCCARTNEY PRODUCE                      ADDRESS ON FILE
MCCARTY, MICHAEL                       ADDRESS ON FILE


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MCCI LLC                             PO BOX 790379 SAINT LOUIS MO 63179-0379
MCCLERKLINS ELECTRICAL SERVICE LLC   PO BOX 1003 ELGIN SC 29045-1003
MCCLURE& KORNHEISER, LLC             6400 POWERS FERRY ROAD, SUITE 150 ATLANTA GA 30339
MCCOLLUM WATER CONDITIONING INC      DBA CULLIGAN INDUSTRIAL OF TRI CITIES TENNESSEE PO BOX 570 BLOUNTVILLE TN
                                     37617-0570
MCCORMIC, MARCK                      ADDRESS ON FILE
MCCORMICK & WAGNER LLC               ATTN M & W NUMBER 140597 10660 WEST 143RD STREET SUITE E ORLAND PARK IL 60462
MCCORMICK DIST & SERVICE             DBA MCCORMICK FOOD & BEVERAGE PO BOX 847 URBANA IL 61803
MCCORMICK SERVICE                    PO BOX 847 URBANA IL 61803-0847
MCCRACKEN COUNTY SHERIFF             300 CLARENECE GAINES ST PADUCAH KY 42003
MCCRACKEN COUNTY TAX ADMINISTRATOR   300 CLARENCE GAINES STREET PADUCAH KY 42003
MCCRAITH BEVERAGES                   20 BURRSTONE RD NEW YORK NY 13417
MCCRARY AND SONS LLC                 275 COUNTY ROAD 48 BERTHOUD CO 80513-9134
MCCREA, GWENDOLYN                    ADDRESS ON FILE
MCCULLY ENTERPRISES LLC              DBA SPORTSMAN LAWN AND LANDSCAPE PO BOX 2127 TUPELO MS 38803-2127
MCCUMBERS, KIMBERLY                  ADDRESS ON FILE
MCCUTCHEON ENTERPRISES INC           PO BOX 74807 CLEVELAND OH 44194-4807
MCD 6 LLC                            C/O METROPOLITAN COMMERCIAL DEVELOPMENT ATTN TRIPP MCCULLOCH 2001 STATE HILL
                                     RD STE 205 WYOMISSING PA 19610-1607
MCDANIEL, BERNARD                    ADDRESS ON FILE
MCDERMOTT & SON ROOFING CO LLC       PO BOX 126 ATLANTIC IA 50022-0126
MCDOUGAL, SUE                        ADDRESS ON FILE
MCDOUGALL, JOVARNIE                  ADDRESS ON FILE
MCDOWALL COMPANY                     DBA MCDOWALL COMFORT MANAGEMENT PO BOX 606 WAITE PARK MN 56387-0606
MCDOWELL, JUHERISSE                  ADDRESS ON FILE
MCFATHER ENTERPRISES INC             265 WILLIAMSON DR MACON GA 31210-5150
MCGILL, WALTINA LYNETTE              ADDRESS ON FILE
MCGUIRE LOCK & SAFE LLC              4800 NE VIVION ROAD KANSAS CITY MO 64119-2933
MCHENRY ELECTRIC CO INC              PO BOX 246 PARKERSBURG WV 26101
MCINTIRE ELECTRIC                    DBA MCINTIRE ELECTRIC INC 19 N DIVISION ST DU QUOIN IL 62832-1405
MCINTYRES ELECTRICAL SERVICE INC     PO BOX 280 FRUITLAND MD 21826-0280
MCK LAW                              500 OFFICE PARK DR SUITE 210 BIRMINGHAM AL 35223
MCKEAN LAW FIRM, P.C.                ATTN: JEFF MCKEAN; JENNY DREWRY 9105 E. 56TH STREET, STE 317 INDIANAPOLIS,
                                     INDIANA 46216 INDIANAPOLIS IN 46216
MCKEE SIGN SERVICE LLC               PO BOX 9245 ST PAUL MN 55109
MCKINLEY MALL, LLC                   C/O THE WOODMONT COMPANY 2100 W. 7TH STREET FORT WORTH TX 76107
MCKINLEY WATER CONDITIONING INC      300 SOUTH MAIN PO BOX 137 FARMER CITY IL 61842
MCKINNEY CAPITAL LLC                 DBA LANDSCAPE WORKSHOP LLC 550 MONTGOMERY HWY STE 200 VESTAVIA HILLS AL
                                     35216-1841
MCKINNONS FAMILY LLC                 DBA MCKINNONS LANDSCAPE & IRRIGATION 4644 MIDDLE URBANA ROAD SPRINGFIELD OH
                                     45503
MCLEAN COUNTY HEALTH DEPARTMENT      200 W FRONT ST ROOM 304 BLOOMINGTON IL 61701
MCLEAN COUNTY HEALTH DEPARTMENT      DEPARTMENT OF FINANCE 350 MUNICIPAL SQUARE BLOOMINGTON IL 61701
MCLEAN COUNTY TREASURER COLLECTOR    PO BOX 843637 KANSAS CITY MO 64184-3637
MCLENNAN COUNTY TAX ASSESOR          200 W FRONT ST ROOM 304 WACO TX 76703
MCLENNAN COUNTY TAX ASSESOR          PO BOX 406 WACO TX 76703
MCLENNAN COUNTY TAX OFFICE           PO BOX 406 WACO TX 76703
MCLENNAN ROSS LLP                    1900 EAU CLAIRE TOWER 600-3RD AVENUE SW CALGARY ON T2P 0G5 CANADA
MCLEOD, KAMAE TAJANAE                ADDRESS ON FILE
MCLNTURFF, KYLE                      ADDRESS ON FILE


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MCMARTIN, HUGH                           ADDRESS ON FILE
MCNEER ELECTRICAL CONTRACTING INC        1505 HAMILTON ROAD BOSSIER CITY LA 71111-3811
MCNEILL PLUMBING INC                     5061 SIZEMORE CIRCLE AIKEN SC 29803-8991
MCPEAK PLUMBING LLC                      PO BOX 1742 BOWLING GREEN KY 42102-1742
MCSHANE PLUMBING & COMMERCIAL SERVICES   152 BIGHORN ROAD PITTSBURGH PA 15239
MCUD-MANATEE COUNTY UTILITIES            PO BOX 25350 BRADENTON FL 34206-5350
DEPARTMENT
MCWILLIAMS AND SON INC                   7642 S US HIGHWAY 59 BURKE TX 75941-4404
MD PLUMBING & MECHANICAL LLC             111 CUPPED OAK DR STE G MATTHEWS NC 28104-8823
MDR DOVER LP                             C/O DRG PROPERTY MANAGERS LLC 1313 DOLLEY MADISON BLVD STE 401 MCLEAN VA
                                         22101-3926
MDVIP INC                                4950 COMMUNICATION AVENUE SUITE 100 BOCA RATON FL 33431
MEADOWBROOK LANDSCAPE CONTRACTING INC    PO BOX 1465 WATERDOWN ON L0R 2H0 CANADA
MEADOWLAND CONTRACTING INC               PO BOX 1026 WEST BABYLON NY 11704-0026
MECHANICAD INC                           DBA AIRE-MASTER OF WEST TEXAS 1025 DESIERTO SECO DR EL PASO TX 79912-1132
MECHANICAL ELECTRICAL & PLUMBING         PARTNERS LLC DBA MEP HOME SERVICES 7221 NATHAN CT MANASSAS VA 20109-2436
MECHANICAL HEATING INC                   DBA M H I SERVICES PO BOX 483 MIAMISBURG OH 45343-0483
MECHANICAL PLUMBING AND HEATING INC      23950 S NORTHERN ILLINOIS DR CHANNAHON IL 60410-5184
MECHANICAL SOURCE SOLUTIONS LLC          1244 EXECUTIVE BLVD BLDG B STE 101 CHESAPEAKE VA 23320-2881
MECKLENBURG CITY-COUNTY TAX COLLECTOR    TAX COLLECTOR P.O. BOX 32728 CHARLOTTE NC 28232-2728
MECKLENBURG COUNTY                       3205 FREEDOM DR STE 3500 CHARLOTTE NC 28208-3487
MECKLENBURG COUNTY ABC BOARD             400 EAST SECOND ST PINEVILLE NC 28134
MECKLENBURG COUNTY TAX COLLECTOR         PO BOX 71063 CHARLOTTE NC 28272-1063
MECKO, CATHERINE                         ADDRESS ON FILE
MEDCOR INC                               PO BOX 75570 CLEVELAND OH 44101-4755
MEDFORD WATER COMMISSION, OR             200 SOUTH IVY STREET RM 177 MEDFORD OR 97501-3189
MEDIAFAST LLC                            767 S AUTO MALL DR STE 8 AMERICAN FORK UT 84003-2689
MEEKHOF ELECTRIC INC                     5194 37TH AVENUE SUITE C HUDSONVILLE MI 49426
MEHTA, GERALDINE                         ADDRESS ON FILE
MEILE INVESTMENT LLC                     DBA DOUBLETREE BY HILTON MONROVIA-PASADENA MONROVIA CA 91016
MEILE INVESTMENT, LLC D/B/A DOUBLETREE   BY HILTON MONROVIA-PASADENA 924 W. HUNTINGTON DRIVE MONROVIA CA 91016
MEINERS ELECTRICAL SERVICES LLC          PO BOX 32333 LOUISVILLE KY 40232
MEL RAMSTEAD                             ADDRESS ON FILE
MELANIE ANDERSON                         ADDRESS ON FILE
MELARAS PATIOS & LANDSCAPING LLC         1212 CARRIBEAN XING CROWNSVILLE MD 21032-2067
MELISSA KOBE                             ADDRESS ON FILE
MELODIC PRODUCTIONS INC                  DBA LIGHT BOX 535 HAWKINS AVENUE RONKONKOMA NY 11779
MELS MECHANICAL                          1831 WELLS BRANCH PKWY APT 626 AUSTIN TX 78728-6936
MELVIN LUCHA                             ADDRESS ON FILE
MELVIN MITCHELL                          ADDRESS ON FILE
MELVIN PATTERSON                         ADDRESS ON FILE
MELVIN, SCOTT                            ADDRESS ON FILE
MEMORIES BY CANDLELIGHT LLC              805 COLUMBUS AVE BAY CITY MI 48708-6601
MEMPHIS AIR CONDITIONING & HEATING CO    2125 HILLSHIRE CIRCLE MEMPHIS TN 38133
MEMPHIS CITY TAX COLLECTOR               PO BOX 185 MEMPHIS TN 38101-0185
MEMPHIS LIGHT, GAS & WATER DIVISION      P.O. BOX 388 MEMPHIS TN 38145-0388
MENDEZ, MARTIN LUEVANO                   ADDRESS ON FILE
MENKE INC                                1497 PEACH ST STE D ABILENE TX 79602-4750
MERCADO, SOCORRO                         ADDRESS ON FILE



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MERCER (CANADA) LIMITED                 PO BOX 57483 STATION A TORONTO ON M5W 5M5 CANADA
MERCER (CANADA) LIMITED                 ATTN: MATT CONLIFFE 255 QUEENS AVE STE 2400 LONDON ON N6A 5R8 CANADA
MERCHANT ADVISORY GROUP                 4248 PARK GLEN ROAD MINNEAPOLIS MN 55416
MERCHANT LINK LLC                       C/O MERCHANT LINK LOCKBOX 26125 NETWORK PL CHICAGO IL 60673-1261
MERIDA SALAZAR                          ADDRESS ON FILE
MERIDIAN WASTE                          PO BOX 580205 CHARLOTTE NC 28258-0205
MERIDIAN WASTE                          PO BOX 580210 CHARLOTTE NC 28258-0210
MERIT ELECTRIC INC                      2590 MIDPOINT DR FORT COLLINS CO 80525-4416
MERKEL, JENNIFUR                        ADDRESS ON FILE
MERKLE INC                              29432 NETWORK PL CHICAGO IL 60673-1294
MERKLE LAWN CARE COMPANY INC            210 VINE STREET WILDER KY 41076
MERRIFIELD, LAUREN                      ADDRESS ON FILE
MERRILL INDUSTRIAL ELECTRIC CO LLC      3011 M 291 FRONTAGE RD INDEPENDENCE MO 64057-2334
MERRILLVILLE CONSERVANCY DIST           PO BOX 406 MERRILLVILLE IN 46410
MERRILLVILLE CONSERVANCY DIST           6250 BROADWAY MERRILLVILLE IN 46410
MERRILLVILLE CONSERVANCY DISTRICT       6251 BROADWAY MERRILLVILLE IN 46410
MESA COUNTY HEALTH DEPARTMENT           515 PATTERSON ROAD GRAND JUNCTION CO 81506
MESA COUNTY TREASURER                   PO BOX 1909 GRAND JCT CO 81502-1909
MESA VALLEY HOUSE ASSOCIATES LIMITED    PARTNERSHIP II 2525 EAST CAMELBACK ROAD PHOENIX AZ 85016
MESA VALLEY HOUSING ASSOCIATES II       LIMITED PARTNERSHIP 3 CHARTER OAK PL HARTFORD CT 06106-1915
MESA VALLEY HOUSING ASSOCIATES II LP    3 CHARTER OAK PLACE HARTFORD CT 06106
MESA VALLEY HOUSING ASSOCIATES II LP    3 CHARTER OAK PLACE HARTFORD CT 06106-1915
MESQUITE MOBILE POWER WASH CORP         PO BOX 850647 MESQUITE TX 75185-0647
MESS, KATIE                             ADDRESS ON FILE
MESSER CANADA INC                       PO BOX 15687 STATION A TORONTO ON M5W 1C1 CANADA
MESSERSMITH ELECTRIC LLC                3724 W OLD HIGHWAY 30 GRAND ISLAND NE 68803-5046
MESSRS GAN PARTNERSHIP                  BAHARI YEOW TIEN HONG D-32-02, MENARA SUEZCAP 1, KL GATEWAY, 2 JALAN KERINCHI,
                                        GERBANG KERINCHI LESTARI KUALA LUMPUR 59200 MALAYSIA
MESTON BROTHERS IRRIGATION LLC          PO BOX 860 JOHNSTON IA 50131-0860
MET-ED                                  P.O. BOX 3687 FIRSTENERGY CORP. AKRON OH 44309-3687
METLIFE LEGAL PLANS INC                 DEPT 781523 PO BOX 78000 DETROIT MI 48278-1523
METRO APPLIANCE SERVICE                 1640 SOUTH BROADWAY DENVER CO 80210-2697
METRO ELECTRIC COMPANY OF OMAHA INC     4449 S 134TH ST OMAHA NE 68137-1107
METRO EQUIPMENT & SUPPLY CO             1846 E BROADWAY ALTON IL 62002
METRO FINANCE                           6250 BROADWAY ORLANDO FL 32809
METRO FINANCE                           DO NOT MAIL ORLANDO FL 32809
METRO LOCK & SECURITY INC               6000 OLD COLLINSVILLE ROAD FAIRVIEW HEIGHTS IL 62208
METRO LOCK SERVICE INC                  10209 N 35TH AVE STE 127 PHOENIX AZ 85051-9619
METRO MAINTENANCE INC                   PO BOX 1398 ROCKY MOUNT NC 27802-1398
METRO NORTH CROSSING LLC                470 NW LEGACY DR KANSAS CITY MO 64155-2894
METRO PLUMBING AND HEATING              5836 DUNN STREET NIAGARA FALLS ON L2G 2N7 CANADA
METRO PUBLIC HEALTH DEPARTMENT          PO BOX 196321 NASHVILLE TN 37209-4129
METRO PUBLIC HEALTH DEPARTMENT          ATTN: EH FOOD PROTECTION 2500 CHARLOTTE AVENUE NASHVILLE TN 37209-4129
METRO TECH ELECTRICAL CONTRACTORS INC   3344 S ANN ARBOR AVE OKLAHOMA CITY OK 73179-7618
METRO WATER SERVICES TN                 P.O. BOX 305225 NASHVILLE TN 37230-5225
METROPOLITAN BEER PERMIT BOARD          150 2ND AVENUE NORTH NASHVILLE TN 37201
METROPOLITAN DISTRICT                   PO BOX 800 HARTFORD CT 06142-0800
METROPOLITAN GOVERNMENT OF              NASHVILLE & DAVIDSON CO PO BOX 800 NASHVILLE TN 37219
METROPOLITAN GOVERNMENT OF              NASHVILLE & DAVIDSON COUNTY PO BOX 196321 NASHVILLE TN 37219



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METROPOLITAN LIFE INSURANCE COMPANY      PO BOX 8500-3895 PHILADELPHIA PA 19178-3895
METROPOLITAN ST. LOUIS SEWER DIST        P.O. BOX 437 ST. LOUIS MO 63166
METROPOLITAN UTILITIES DISTRICT          PO BOX 3600 OMAHA NE 68103-0600
METROPOWER INC                           PO BOX 5228 ALBANY GA 31706-5228
METTEL SUMMARY                           PO BOX 9660 MANCHESTER NH 03108-9660
METTLEN LAURA                            ADDRESS ON FILE
METZGER SERVICES LLC                     DBA METZGER WINDOW & PRESSURE WASHING 305 ROBERT LEE GADSDEN AL 35903-1373
MEYER ELECTRIC INC                       3513 NORTH TEN MILE DRIVE JEFFERSON CITY MO 65109
MEYERS, RANDY                            ADDRESS ON FILE
MEYERS, ROMAN, FRIEDBERG & LEWIS         ATTN: JOSEPH M. SOPANARO, ESQ. 28601 CHAGRIN BLVD., SUITE 600 CLEVELAND OH
                                         44122
MEYERS, ROMAN, FRIEDBERG & LEWIS         ATTN: KOHAN LEGAL NOTICES 28601 CHAGRIN BLVD., SUITE 600 CLEVELAND OH 44122
MF&B RESTAURANT SYSTEMS INC              119 ICMI RD STE 300 DUNBAR PA 15431-2323
MGA VENTURES INC                         DBA MGA MCDONOUGH LLC C/O J RON STEPHENS 146 HIGHWAY 138 376 MONROE GA 30655
MGC LANDSCAPING INC                      3338 MORRELL AVENUE PHILADELPHIA PA 19114
MI CLAW LLC                              C/O 125 E 39TH ST REALTY LLC 234 E 58TH ST UNIT NO 1 NEW YORK NY 10022-2015
MIAMI COUNTY PUBLIC HEALTH               ATTN: EH FOOD PROTECTION 2500 CHARLOTTE AVENUE TROY OH 45373-2982
MIAMI COUNTY PUBLIC HEALTH               510 W WATER ST STE 130 TROY OH 45373-2982
MIAMI COUNTY TREASURER                   201 W MAIN ST TROY OH 45373
MIAMI DADE COUNTY                        DEPT OF ENVIRONMENTAL RESOURCES MGMT 701 NORTHWEST 1ST CT SUITE 200 MIAMI FL
                                         33136
MIAMI DADE FIRE RESCUE DEPARTMENT        510 W WATER ST STE 130 MIAMI FL 33178-2414
MIAMI DADE FIRE RESCUE DEPT              FINANCE BUREAU 9300 NW 41ST STREET MIAMI FL 33178-2414
MIAMI DADE POLICE DEPARTMENT             FALSE ALARM ENFORCEMENT UNIT 9105 NW 25TH ST RM 1119 DORAL FL 33172-1500
MIAMI VALLEY INTERPRETERS LLC            2390 S DIXIE DR KETTERING OH 45409-1857
MIAMI-DADE                               BUILDING & ZONING DEPARTMENT 111 NW 1ST STREET MIAMI FL 33128
MIAMI-DADE COUNTY TAX COLLECTOR          200 NW 2ND AVE MIAMI FL 33128
MIAMI-DADE WATER AND SEWER DEPT          P.O. BOX 026055 MIAMI FL 33102-6055
MICHAEL A & BARRY A PRISAZNIK PARTNERS   DBA CLEAR FLOW PLUMBING AND HEATING 330 WEST BROOKDALE STREET ALLENTOWN PA
                                         18103-5007
MICHAEL A CHIARELLA                      ADDRESS ON FILE
MICHAEL A GREENBERG                      ADDRESS ON FILE
MICHAEL A. BENNETT                       UNITED STATES ATTORNEYS OFFICE 717 W BROADWAY LOUISVILLE KY 40202
MICHAEL A. BENNETT                       UNITED STATES ATTORNEYS OFFICE 501 BROADWAY, ROOM 29 PADUCAH KY 42001
MICHAEL A. BENNETT                       UNITED STATES ATTORNEYS OFFICE 241 E MAIN ST BOWLING GREEN KY 42101
MICHAEL ABBOTT & SHARON ABBOTT           ADDRESS ON FILE
MICHAEL B FORCE                          ADDRESS ON FILE
MICHAEL BRAND JR                         ADDRESS ON FILE
MICHAEL BURKARD                          ADDRESS ON FILE
MICHAEL COMPTON                          ADDRESS ON FILE
MICHAEL CORMICAN                         ADDRESS ON FILE
MICHAEL D GAYTAN                         ADDRESS ON FILE
MICHAEL D WALL                           ADDRESS ON FILE
MICHAEL DESSON                           ADDRESS ON FILE
MICHAEL DEWAYNE LAY                      ADDRESS ON FILE
MICHAEL DURHAM LANDSCAPING INC           2252 BOUNDARY RD BLACKSTOCK ON L0B 1B0 CANADA
MICHAEL E CINTRON                        ADDRESS ON FILE
MICHAEL F. EASLEY, JR                    OFFICE OF THE UNITED STATES ATTORNEY 150 FAYETTEVILLE ST, STE 2100 RALEIGH NC
                                         27601
MICHAEL FERRINO                          DBA BRAHMA LAWN AND IRRIGATION INC PO BOX 273948 TAMPA FL 33688-3948


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MICHAEL FREDERIC WISHNOW             ADDRESS ON FILE
MICHAEL G MAIXNER                    ADDRESS ON FILE
MICHAEL G STRITZINGER SR             ADDRESS ON FILE
MICHAEL GALE PRITCHETT               ADDRESS ON FILE
MICHAEL HALL                         ADDRESS ON FILE
MICHAEL HARRISON                     ADDRESS ON FILE
MICHAEL HUGHES                       ADDRESS ON FILE
MICHAEL J HEINZ                      ADDRESS ON FILE
MICHAEL J SNIDER                     ADDRESS ON FILE
MICHAEL J THOMPSON                   ADDRESS ON FILE
MICHAEL JAMES SCHMITZ                ADDRESS ON FILE
MICHAEL JAMES VANDERPAS              ADDRESS ON FILE
MICHAEL JOHN BORGMAN                 ADDRESS ON FILE
MICHAEL L BRAUN                      ADDRESS ON FILE
MICHAEL L COCHRAN                    ADDRESS ON FILE
MICHAEL LEE MAHONEY                  ADDRESS ON FILE
MICHAEL M GRINSHTAT                  DBA THE TAPMAN MMG PO BOX 502 BELLEVUE WA 98009-0502
MICHAEL MCCORMICK                    ADDRESS ON FILE
MICHAEL MIRRA                        ADDRESS ON FILE
MICHAEL NIGRO                        DBA SURFLOW BEVERAGE PO BOX 6401 SEFFNER FL 33583-6401
MICHAEL OOLEY                        ADDRESS ON FILE
MICHAEL OWEN MINOR                   ADDRESS ON FILE
MICHAEL PAUL LOSEY                   ADDRESS ON FILE
MICHAEL PETER CAROTHERS              ADDRESS ON FILE
MICHAEL R CARSON                     ADDRESS ON FILE
MICHAEL R HAHN                       ADDRESS ON FILE
MICHAEL R NEWBOLD                    ADDRESS ON FILE
MICHAEL R POWERS                     ADDRESS ON FILE
MICHAEL RYAN SHELBURNE               ADDRESS ON FILE
MICHAEL S KNOWLES                    ADDRESS ON FILE
MICHAEL S SMITH                      ADDRESS ON FILE
MICHAEL SCHOLLER                     ADDRESS ON FILE
MICHAEL SCOTT KIKER                  ADDRESS ON FILE
MICHAEL SHANE SMITH                  ADDRESS ON FILE
MICHAEL STUART                       ADDRESS ON FILE
MICHAEL T CHRISTOPHER                ADDRESS ON FILE
MICHAEL TERRAZAS                     ADDRESS ON FILE
MICHAEL THORGERSEN                   ADDRESS ON FILE
MICHAEL TROY SALMON                  ADDRESS ON FILE
MICHAEL VALVATNE                     ADDRESS ON FILE
MICHAEL VELKOFF                      ADDRESS ON FILE
MICHAELLA ARCHULETTA                 ADDRESS ON FILE
MICHAELS KEYS INC                    1313 KARLA DR HURST TX 76053-3935
MICHAELS PLUMBING & HEATING INC      2740 S MAIN ST HARRISONBURG VA 22801-2615
MICHEAL VILLONES                     ADDRESS ON FILE
MICHELLE C MURPHY QUALLS             ADDRESS ON FILE
MICHELLE COLLISON                    ADDRESS ON FILE
MICHELLE DAWN ATKINS                 ADDRESS ON FILE
MICHELLE GASSMANN                    ADDRESS ON FILE



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MICHELLE M JOHNSTON                      ADDRESS ON FILE
MICHELLE M. BAEPPLER                     US ATTORNEYS OFFICE FOUR SEAGATE, THIRD FL TOLEDO OH 43604
MICHELLE M. BAEPPLER                     US ATTORNEYS OFFICE UNITED STATES COURTHOUSE 801 W SUPERIOR AVE, STE 400
                                         CLEVELAND OH 44113-1852
MICHELLE M. BAEPPLER                     US ATTORNEYS OFFICE 2 MAIN ST AKRON OH 44308
MICHELLE M. BAEPPLER                     US ATTORNEYS OFFICE 100 FEDERAL PLAZA EAST YOUNGSTOWN OH 44503
MICHELLE MARSHALL                        ADDRESS ON FILE
MICHELLE PARKER                          ADDRESS ON FILE
MICHIANA RECYCLING & DISPOSAL            P.O. BOX 1148 NILES MI 49120
MICHIGAN AUTOMATIC SPRINKLER INC         4350 PINEVIEW DR STE A COMMERCE TOWNSHIP MI 48390-4113
MICHIGAN CITY CIVIL CITY                 DBA MICHIGAN CITY FIRE DEPARTMENT 2510 E MICHIGAN BOULEVARD MICHIGAN CITY IN
                                         46360
MICHIGAN DEPARTMENT OF COMMERCE          LIQUOR CONTROL COMMISSION 17550 ALLEN RD BROWNSTOWN MI 48193-8488
MICHIGAN DEPARTMENT OF TREASURY          UNCLAIMED PROPERTY DIVISION 7285 PARSONS DR DIMONDALE MI 48821
MICHIGAN DEPARTMENT OF TREASURY          UNCLAIMED PROPERTY DIVISION PO BOX 30756 LANSING MI 48909
MICHIGAN DEPARTMENT OF TREASURY          PO BOX 30324 LANSING MI 48909-7824
MICHIGAN DEPT OF                         ENVIRONMENTAL QUALITY 525 W ALLEGAN ST PO BOX 30473 LANSING MI 48909-7973
MICHIGAN DEPT OF ENERGY LABOR &          GROWTH PO BOX 30254 SAGINAW MI 48909
ECONOMIC
MICHIGAN DEPT OF LABOR & ECONOMIC        373 VICTOR ST HIGHLAND PARK MI 48203-3117
GROWTH
MICHIGAN DEPT OF LICENSING & REG         BOILER SECTION 611 W. OTTAWA PO BOX 30004 LANSING MI 48909
AFFAIRS
MICHIGAN DEPT. OF CORRECTIONS            EQUAL EMPLOYMENT OPPORTUNITY UNIT 206 E. MICHIGAN AVE LANSING MI 48909
MICHIGAN GAS UTILITIES                   PO BOX 6040 CAROL STREAM IL 60197-6040
MICHIGAN LIQUOR CONTROL                  OTTAWA BUILDING 611 W. OTTAWA PO BOX 30004 LANSING MI 48909
MICHIGAN LIQUOR CONTROL                  OTTAWA BUILDING 611 W OTTAWA PO BOX 3004 LANSING MI 48909
MICHIGAN OFFICE OF THE ATTORNEY GENERAL CONSUMER PROTECTION DIVISION G MENNEN WILLIAMS BLDG LANSING MI 48909
MICHIGAN OFFICE OF THE ATTORNEY GENERAL CONSUMER PROTECTION DIVISION PO BOX 30213 LANSING MI 48909
MICHIGAN UNEMPLOYMENT INSURANCE AGENCY   PO BOX 169 GRAND RAPIDS MI 49501-0169
MICHIGAN WORKFORCE DEVELOPMENT AGENCY    PO BOX 30805 LANSING MI 48909
MICKEY SCIMECA                           ADDRESS ON FILE
MICRO MASTERS OF FLORIDA                 DBA BAR SOLUTIONS 2717 N W ST UNIT E PENSACOLA FL 32505-4969
MICRO MATIC USA INC                      2386 SIMON COURT BROOKSVILLE FL 34604-0751
MICRO OVENS OF DELAWARE LLC              309 MAIN STREET WILMINGTON DE 19804
MICRO SHIELD INC                         PO BOX 729 GRAPEVINE TX 76099-0729
MICRO STRATEGIES INC                     1140 PARSIPPANY BOULEVARD PARSIPPANY NJ 07054
MICROSOFT CORPORATION                    TECH ED NORTH AMERICA 2010 1950 N STEMMONS FWY STE 5010 LOCKBOX 847715 DALLAS
                                         TX 75207
MICROSTRATEGY SERVICES CORPORATION       PO BOX 409671 ATLANTA GA 30384
MICROWAVE & APPLIANCE REPAIR CO          DBA MICROWAVE & APPL REPAIR CO 5741 AUBURN BLVD SACRAMENTO CA 95841
MICROWAVE ATLANTA INC                    PO BOX 87 MABLETON GA 30126
MICROWAVE SERVICES LLC                   PO BOX 4433 CROFTON MD 21114-4433
MICROWAVERS                              21680 SHOREWOOD RD GRAYSLAKE IL 60030
MID IOWA REFRIGERATION INC               DBA GOODWIN TUCKER GROUP PO BOX 3285 DES MOINES IA 50316-0285
MID MICHIGAN UPHOLSTERY AND AWNING       PO BOX 143 ALMA MI 48801
MID MO PUMPING                           4282 JADE RD KINGDOM CITY MO 65262-1941
MID-ATLANTIC PROPERTY JT LLC             C/O AKHTER MEHMOOD 415 NATTULL DRIVE BEAR DE 19701
MID-NEBRASKA DISPOSAL, INC               PO BOX 1089 GRAND ISLAND NE 68802-1089
MID-OHIO PLUMBING & GAS LLC              617 WEST CENTER ST SUITE 100 MARION OH 43302


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MID-SOUTH SIGNS & ELECTRIC INC          8643 HIGHWAY 182 EAST COLUMBUS MS 39702-8340
MID-STATE BEVERAGE CO                   1805 EAST THIRD ST WILLIAMSPORT PA 17701-3994
MID-STATE ELECTRIC OF OCALA INC         1612 N E 6TH AVENUE OCALA FL 34470
MID-STATE PLUMBING INC                  1125 S ATLANTA AVENUE ORLANDO FL 32806
MID-STATE SOFTWASH & PRESSURE WASHING   790 SWEET MAGNOLIA CIR DUBLIN GA 31021-1580
MID-WISCONSIN SECURITY INC              5157 ANTON DRIVE FITCHBURG WI 53719
MIDAMERICA HOTELS CORPORATION           105 S MT AUBURN ROAD CAPE GIRARDEAU MO 63703
MIDAMERICAN ENERGY COMPANY              PO BOX 8020 MIDAMERICAN ENERGY HOLDINGS COMPANY DAVENPORT IA 52808-8020
MIDCONTINENT COMMUNICATIONS             P.O. BOX 5010 SIOUX FALLS SD 57117-5010
MIDDLE TENNESSEE ELECTRIC               PO BOX 330008 MURFREESBORO TN 37133-0008
MIDDLE TENNESSEE ELECTRIC MEMBERSHIP    CORPORATION 2156 CURD LANE FRANKLIN TN 37604
MIDDLEBROOKS ELECTRIC SERVICE INC       718 S EAST ST BENTON AR 72015-4322
MIDDLEBY MARSHALL INC                   DBA MIDDLEBY COOKING SYSTEMS GROUP PO BOX 96031 CHICAGO IL 60693
MIDDLESEX WATER COMPANY                 PO BOX 826538 PHILADELPHIA PA 19182-6538
MIDDLETON TOWNSHIP                      FIRE SAFETY INSPECTION 3 MUNICIPAL WAY LANGHORNE PA 19047
MIDDLETOWN I RESOURCES L P              C/O NATIONAL REALTY & DEVELOPMENT CORP 225 LIBERTY ST 31ST FLOOR NEW YORK NY
                                        10281-1089
MIDDLETOWN TOWNSHIP                     3 MUNICIPAL WAY LANGHORNE PA 19047
MIDKIFF MUNCIE & ROSS PC                300 ARBORETUM PL 420 RICHMOND VA 23236
MIDLANDS HANDYMAN SERVICE               DBA INFINITY ELECTRICAL SERVICES 148 TOUCAN WAY LEXINGTON SC 29073-9377
MIDSTATE RESTAURANT SERVICE INC         DBA MIDSTATE SERVICES INC 10100 S RICHLAND RD MUSTANG OK 73064-9458
MIDTOWN BUSINESS IMPROVEMENT DISTRICT   C/O REVEAL BUSINESSS SOLLUTIONS LLC 180 STATE ST SUITE 225 SOUTHLAKE TX 76092
MIDTOWN BUSINESS IMPROVEMENT DISTRICT   C/O REALCOUNT LLC 9450 SW GEMINI DR PMB 69570 BEAVERTON OR 97008-7105
MIDTOWN PLUMBING INC                    8234 S GARFIELD AVENUE BELL GARDENS CA 90201-6212
MIDWAY SC URSTADT BIDDLE PROPERTIES INC 321 RAILROAD AVE GREENWICH CT 06830
MIDWAY SHOPPING CENTER, L.P.            ATTN: LEASE ADMINISTRATION C/O REGENCY CENTERS CORPORATION ONE INDEPENDENT
                                        DRIVE, SUITE 114 JACKSONVILLE FL 32202-5019
MIDWAY SHOPPING CENTER, L.P.            ATTN: LEGAL DEPARTMENT C/O REGENCY CENTERS CORPORATION ONE INDEPENDENT DRIVE,
                                        SUITE 114 JACKSONVILLE FL 32202-5019
MIDWEST ALARM SERVICES                  PO BOX 4511 DAVENPORT IA 52808
MIDWEST DISTRIBUTORS CO                 6501 KANSAS AVE KANSAS CITY KS 66111
MIDWEST EQUIPMENT COMPANY INC           2511 CASSENS DRIVE FENTON MO 63026
MIDWEST FOOD EQUIPMENT SEV INC          3055 DIXIE GRANDVILLE MI 49418
MIDWEST PAPER RETRIEVER                 2401 S LAFLIN STREET CHICAGO IL 60608
MIDWEST PRESSURE PROS                   DBA MICHAEL S BABCOCK 11466 SE STATE ROUTE A SAINT JOSEPH MO 64507-8438
MIERWA, ANDY                            ADDRESS ON FILE
MIGUEL A GUTIERREZ                      ADDRESS ON FILE
MIGUEL MOLINA                           ADDRESS ON FILE
MIGWANS, SARA                           ADDRESS ON FILE
MIKE D DIMICH SONS                      ADDRESS ON FILE
MIKE FASANO TAX COLLECTOR               ADDRESS ON FILE
MIKE FASANO TAX COLLECTOR               ADDRESS ON FILE
MIKE GLUCKMAN                           ADDRESS ON FILE
MIKE HENSLEY PLUMBING INC               3194 SPRING GROVE AVENUE CINCINNATI OH 45225-1828
MIKE KELLY LLC                          13895 CENTER RD BATH MI 48808-9448
MIKE OLDHAM                             ADDRESS ON FILE
MIKE STAAS SERVICES INC                 4914 FORT AVE WACO TX 76710-5959
MIKE WOLFE                              ADDRESS ON FILE
MIKEL LTD                               DBA WINERAK MARKET 2336 MAPLE AVENUE ZANESVILLE OH 43701-2029
MIKKONEN, SHRYLLE                       ADDRESS ON FILE


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MILES GILMORE                           ADDRESS ON FILE
MILL ST BREWERY                         125 BERMONDSEY ROAD UNIT 2 TORONTO ON M4A 1X3 CANADA
MILLCREEK PLAZA COMPANY LIMITED         PARTNERSHIP PO BOX 7535 CAROL STREAM IL 60197-7535
MILLCREEK PLAZA COMPANY LIMITED PSHIP   5577 YOUNGSTOWN-WARREN ROAD NILES OH 44446
MILLCREEK PLAZA COMPANY LIMITED PSHIP   PO BOX 7535 CAROL STREAM IL 60197-7535
MILLCREEK TAX COLLECTOR                 LYNN CASE CRAKER 3608 W 26TH ST ERIE PA 16506
MILLENNIUM ENTERPRISES UNIT INC         DBA MILLENNIUM ELECTRIC 4340 EDGEWATER DRIVE ORLANDO FL 32804
MILLENNIUM WASTE, INC                   PO BOX 535233 A WASTE CONNECTIONS CO PITTSBURGH PA 15253-5233
MILLER AND SONS PLUMBING INC            7365 SW 38TH ST STE 205 OCALA FL 34474-6495
MILLER BROTHERS PLUMBING HEATING        & SHEET METAL INCORPORATED DBA MILLER BROS PLBG INC 1116 17TH STREET LEWISTON
                                        ID 83501-3060
MILLER BUILDING & REPAIR SERVICES INC   PO BOX 827 LUTZ FL 33548-0827
MILLER ELECTRIC COMPANY INC             PO BOX 30187 OMAHA NE 68103-1287
MILLER MOTIVATIONS LLC                  1688 16TH ST NE GRAND FORKS ND 58201-9620
MILLER OF DENTON LTD                    2421 I 35 WEST NORTH DENTON TX 76207
MILLER, ALLISON                         ADDRESS ON FILE
MILLER, CHRISTIE & KINNEY, PC           ATTN:STEPHEN CHRISTIE 500 OFFICE PARK DRIVE SUITE 210 BIRMINGHAM AL 35223
MILLER, DONNA                           ADDRESS ON FILE
MILLER, JETAIME                         ADDRESS ON FILE
MILLERS TEXTILE SERVICES INC            PO BOX 239 WAPAKONETA OH 45895
MILLIE LIGON                            ADDRESS ON FILE
MILLS LAW GROUP PA                      2509 W GARDNER CT TAMPA FL 33611-4774
MILLS TINT SOLUTIONS                    1307 E SOUTHERN AVE STE 102 MESA AZ 85204-5151
MILPITAS CHAMBER OF COMMERCE            828 N HILLVIEW DRIVE MILPITAS CA 95035
MILPITAS SANITATION INC                 PO BOX 7428 A WASTE CONNECTIONS COMPANY PASADENA CA 91109-7428
MILPITAS TOWN CENTER 2008 L.P.          ATTN: CORPORATE COUNSEL C/O SHAPELL INDUSTRIES, INC. 1990 S. BUNDY DRIVE,
                                        SUITE 500 LOS ANGELES CA 90025
MILPITAS TOWN CENTER 2008 L.P.          ATTN: NORTHERN CA REGIONAL DIRECTOR C/O SHAPELL PROPERTIES, INC. 11030
                                        BOLLINGER CANYON ROAD, SUITE 150 SAN RAMON CA 94582
MILPITAS TOWN CENTER 2008 L.P.          ATTN: MICHELLE PIAZZA, SENIOR PROP MGR C/O CUSHMAN & WAKEFIELD 300 SANTANA
                                        ROW, 5TH FLOOR SAN JOSE CA 95128
MILPITAS TOWN CENTER 2008 LP            C/O SHAPELL PROPERTIES INC 1990 S BUNDY DRIVE STE 500 LOS ANGELES CA
                                        90025-5245
MILTON POOLE                            ADDRESS ON FILE
MILWAUKEE DRAFT WORKS LLC               2912 NORTH 84TH ST MILWAUKEE WI 53222-4706
MILWAUKEE WATER WORKS                   P.O. BOX 3268 MILWAUKEE WI 53201-3268
MILWAUKEE WORLD FESTIVAL INC            DBA SUMMERFEST BIN 88485 MILWAUKEE WI 53288-0485
MINDA PRICE                             ADDRESS ON FILE
MINGES BOTTLING GROUP INC               128 PEPSI WAY AYDEN NC 28513-7599
MINH DANG                               ADDRESS ON FILE
MINHAS MOBILE WELDING INC               9 RATHMORE STREET BRAMPTON ON L6P 2A8 CANADA
MINI-GIANTS INC                         DBA NORTH END MARKET PO BOX 4309 PARKERSBURG WV 26104-4309
MINNEHAHA BLDG MAINT INC                1200 CENTRE POINTE CURVE 350 MENDOTA HEIGHTS MN 55120
MINNEHAHA COUNTY TREASURER              415 N DAKOTA AVE SIOUX FALLS SD 57104-2465
MINNESOTA DEPARTMENT OF COMMERCE        UNCLAIMED PROPERTY DIVISION MAIN OFFICE, GOLDEN RULE BLDG 85 7TH PLACE E, STE
                                        280 ST. PAUL MN 55101
MINNESOTA DEPARTMENT OF HEALTH          ENVIRONMENTAL HEALTH DIVISION 625 NORTH ROBERT STREET PO BOX 64975 SAINT PAUL
                                        MN 55146-0975
MINNESOTA DEPARTMENT OF HEALTH          PO BOX 276 ST PAUL MN 55155
MINNESOTA DEPARTMENT OF LABOR &         MINNESOTA OSHA 443 LAFAYETTE ROAD NORTH ST PAUL MN 55155-4307



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INDUSTRY                                 MINNESOTA OSHA 443 LAFAYETTE ROAD NORTH ST PAUL MN 55155-4307
MINNESOTA DEPARTMENT OF PUBLIC SAFETY    445 MINNESOTA STREET SUITE 222 ST PAUL MN 55101
MINNESOTA DEPARTMENT OF REVENUE          600 N ROBERT ST. N SAINT PAUL MN 55101
MINNESOTA DEPARTMENT OF REVENUE          PO BOX 64622 MAIN STATION 1110 ST PAUL MN 55146-0622
MINNESOTA DEPT OF                        NATURAL RESOURCES 500 LAFAYETTE ROAD ST. PAUL MN 55155-4194
MINNESOTA DEPT OF HEALTH                 ENVIRONMENT HEALTH SERVICES SECTION 625 NORTH ROBERT STREET ST PAUL MN 55155
MINNESOTA DEPT OF LABOR AND INDUSTRY     443 LAFAYETTE RD N ST PAUL MN 55155
MINNESOTA ENERGY RESOURCES               PO BOX 6040 CAROL STREAM IL 60197-6040
MINNESOTA POLLUTION CONTROL AGENCY       500 LAFAYETTE ROAD ST. PAUL MN 55155-4194
MINNESOTA POWER                          PO BOX 77065 MINNEAPOLIS MN 55480-7765
MINNESOTA REVENUE                        MAIL STATION 1765 ST PAUL MN 55145-1765
MINNESOTA UNEMPLOYMENT INSURANCE         PO BOX 4629 ST PAUL MN 55101-4629
MINSTER, JEREMY                          ADDRESS ON FILE
MINT CLEANING SOLUTIONS LLC              2821 NE 163RD ST APT 2T NORTH MIAMI BEACH FL 33160-4430
MINTEL GROUP LTD                         DEPT CH 19696 PALATINE IL 60055-9696
MINTZER SAROWITZ ZERIS LEDV              & MEYERS LLP ATTN CENTER SQUARE WEST TOWER 1500 MARKET STREET, SUITE 4100
                                         PHILADELPHIA PA 19102
MINTZER SAROWITZ ZERIS LEDVA             & MEYERS LLP ATTN:LARRY SAROWITZ 1500 WALNUT STREET, SUITE 1400 PHILADELPHIA
                                         PA 19102
MINTZER SAROWITZ ZERIS LEDVA & MEYERS    ATTN CENTER SQUARE WEST TOWER 1500 MARKET STREET SUITE 4100 PHILADELPHIA PA
                                         19102
MINUTEMAN INDUSTRIES INC                 DBA MINUTEMAN PLMBG & DRAIN SVCS PO BOX 4983 GARDEN GROVE CA 92842
MIR QUEENS PLACE ASSOCIATES LLC          PO BOX 789062 PHILADELPHIA PA 19178-9062
MIR QUEENS PLACE LLC                     DBA MIR QUEENS PLACE ASSOCIATES LLC PO BOX 789062 PHILADELPHIA PA 19178-9062
MIRACLE REFINED WATER INC                DBA SHELTONS WATER REFINING 2708 E RANDOL MILL RD ARLINGTON TX 76011-6722
MIRAMONTES, PATRY                        ADDRESS ON FILE
MIRANDA M FARREN                         ADDRESS ON FILE
MIRANDA, REINA                           ADDRESS ON FILE
MIRARCHI ELECTRIC INC                    1249 SCHWAB RD HATFIELD PA 19440-3236
MIRELES PARTY ICE INC                    1635 S ZARZAMORA SAN ANTONIO TX 78207
MIRELES, CHASTA                          ADDRESS ON FILE
MISHAWAKA UTILITIES                      126 NORTH CHURCH STREET P.O. BOX 363 MISHAWAKA IN 46544
MISHAWAKA UTILITIES, IN                  PO BOX 363 MISHAWAKA IN 46546-0363
MISSION SAN JOSE LLC                     C/O CREEKSIDE DEVELOPMENT 222 OAK MEADOW DRIVE SUITE A LOS GATOS CA 95032
MISSISSIPPI DEPARTMENT OF AGRICULTURE & COMMERCE BUREAU OF REGULATORY SERVICES PO BOX 1609 JACKSON MS 39215
MISSISSIPPI DEPARTMENT OF REVENUE        500 CLINTON CENTER DR CLINTON MS 39056
MISSISSIPPI DEPARTMENT OF REVENUE        PO BOX 22808 JACKSON MS 39225-2808
MISSISSIPPI DEPT OF                      ENVIRONMENTAL QUALITY LEGAL DIVISION PO BOX 2261 JACKSON MS 39225
MISSISSIPPI DEPT OF EMPLOYMENT SECURITY OFFICE OF THE GOVERNOR 1235 ECHELON PKWY PO BOX 1699 JACKSON MS 39215-1699
MISSISSIPPI DEPT OF EMPLOYMENT SECURITY OFFICE OF THE GOVERNOR 1235 ECHELON PKWY JACKSON MS 39215-1699
MISSISSIPPI DEPT OF LABOR                MCCOY FEDERAL BUILDING 100 W CAPITAL ST, STE 608 JACKSON MS 39269
MISSISSIPPI OFFICE OF ATTORNEY GENERAL   CONSUMER PROTECTION DIVISION PO BOX 1609 JACKSON MS 39225-2947
MISSISSIPPI POWER                        P.O. BOX 245 SOUTHERN COMPANY BIRMINGHAM AL 35201
MISSISSIPPI POWER COMPANY                420 W. PINE ST. HATTIESBURGM MS 39401
MISSISSIPPI STATE TAX COMM               DBA LA VINO 1204 NORTH GLOSTER STREET TUPELO MS 38804
MISSISSIPPI STATE TAX COMMISSION         SALES & USE TAX DIV PO BOX 960 JACKSON MS 39205
MISSISSIPPI STATE TAX COMMISSION         PO BOX 960 JACKSON MS 39205-0960
MISSISSIPPI STATE TAX COMMISSION         PO BOX 22808 JACKSON MS 39225-2808
MISSOURI AMERICAN WATER                  PO BOX 6029 CAROL STREAM IL 60197-6029
MISSOURI ATTORNEY GENERALS OFFICE        CONSUMER PROTECTION UNIT 207 W HIGH ST PO BOX 899 JEFFERSON CITY MO 65102


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MISSOURI COMMISSION ON HUMAN RIGHTS      421 E. DUNKLIN PO BOX 1129 JEFFERSON CITY MO 65102-1129
MISSOURI DEPARTMENT OF HEALTH            PO BOX 570 JEFFERSON CITY MO 65102-0570
MISSOURI DEPARTMENT OF PUBLIC SAFETY     DIVISION OF FIRE SAFETY PO BOX 1421 JEFFERSON CITY MO 65102
MISSOURI DEPARTMENT OF PUBLIC SAFETY     MAIL STATION 1765 JEFFERSON CITY MO 65102
MISSOURI DEPARTMENT OF REVENUE           301 W HIGH ST, RM 102 JEFFERSON CITY MO 65101
MISSOURI DEPARTMENT OF REVENUE           PO BOX 1350 JEFFERSON CITY MO 65102
MISSOURI DEPARTMENT OF REVENUE           PO BOX 155 JEFFERSON CITY MO 65105-0155
MISSOURI DEPT OF LABOR AND               INDUSTRIAL RELATIONS 421 E DUNKLIN ST PO BOX 504 JEFFERSON CITY MO 65102-0504
MISSOURI DEPT OF LABOR AND INDUSTRIAL    RELATIONS, EMPLOYMENT SECURITY 421 E DUNKLIN PO BOX 59 JEFFERSON CITY MO
                                         65102-0059
MISSOURI DEPT OF NATURAL RESOURCES       DIVISION OF ENVIRONMENTAL QUALITY 1101 RIVERSIDE DR PO BOX 176 JEFFERSON CITY
                                         MO 65102-0176
MISSOURI DEPT OF NATURAL RESOURCES       DIVISION OF ENVIRONMENTAL QUALITY PO BOX 176 JEFFERSON CITY MO 65102-0176
MISSOURI STATE TREASURER                 UNCLAIMED PROPERTY DIVISION PO BOX 210 JEFFERSON CITY MO 65102
MIST-O-MATIC LAWN SPRINKLERS             5887 MONROE BLVD TAYLOR MI 48180-1321
MISTER EXPERT PLUMBING                   4426 SO CENTURY DRIVE SUITE F MURRAY UT 84123
MITCH ALLEN COTTRELL                     ADDRESS ON FILE
MITCHELL BIEGAY                          ADDRESS ON FILE
MITCHELL DISTRIBUTING CO                 DBA BUDWEISER 100 49TH AVENUE MERIDIAN MS 39307
MITCHELL F MYERS                         ADDRESS ON FILE
MITCHELL REX DISTRIBUTING LLC            DBA MITCHELL DISTRIBUTING GULFPORT 12100 INTRAPLEX PARKWAY GULFPORT MS 39503
MITCHELL, ARTEZ                          ADDRESS ON FILE
MITCHELL, CHRISTIAN                      ADDRESS ON FILE
MITCHELL, JACQUELINE                     ADDRESS ON FILE
MITTLER, TALIA                           ADDRESS ON FILE
MIXSON, GEORGE                           ADDRESS ON FILE
MIZRAHI LAW APC                          201 S LAKE AVE STE 305 PASADENA CA 91101-3025
MJS SOUTHFIELD LLC                       505 PARK AVENUE SUITE 302 NEW YORK NY 10022
MKN PROPERTY INC                         2800 SKYMARK AVENUE UNIT 5 MISSISSAUGA ON L4W 5A6 CANADA
MN. OFFICE OF THE ATTORNEY GENERAL       CONSUMER SERVICES DIVISION 445 MINNESOTA STSTE 1400 ST PAUL MN 55101-2131
MOANA NURSERY                            ADDRESS ON FILE
MOBECK LAWN & LANDSCAPE LLC              437 N CUMMINGS LN WASHINGTON IL 61571-2149
MOBI WIRELESS MANAGEMENT LLC             6100 W 96TH STREET SUITE 200 INDIANAPOLIS IN 46278-6020
MOBILE AREA WATER & SEWER SYSTEM-MAWSS   PO BOX 2153 DEPT 3065 BIRMINGHAM AL 35287-3065
MOBILE COLD SPOT LLC                     2901 CHAPMAN AVE SPRINGDALE AR 72762-6005
MOBILE CONVENTION AND VISITORS CORP      VISIT MOBILE PO BOX 204 MOBILE AL 36601-0204
MOBILE COUNTY HEALTH DEPARTMENT          PO BOX 2867 MOBILE AL 36652
MOBILE COUNTY HEALTH DEPARTMENT          DIVISION OF FIRE SAFETY PO BOX 1421 MOBILE AL 36652
MOBILE COUNTY LICENSE COMMISSION         ATTN: SALES TAX DEPT PO DRAWER 161009 MOBILE AL 36616
MOBILE COUNTY REVENUE COMMISSIONER       PO BOX 1169 MOBILE AL 36633
MOBILE ELECTRONIC SERVICE LLC            9 ST FRANCIS DRIVE VALLEJO CA 94590-4328
MOBILE GAS SERVICE CORPORATION           2828 DAUPHIN ST. MOBILE AL 36606
MOBILE MINI INC                          PO BOX 650882 DALLAS TX 75265-0882
MOBILE MIXTURE & EQUIPMENT CO            1155 MONTLIMAR DRIVE MOBILE AL 36609
MOBILE POLICE DEPARTMENT                 ATTN: ALARM OFFICER 2460 GOVERNMENT BLVD MOBILE AL 36606-1618
MOBILE VINYL REPAIR & RECOVERING LLC     PO BOX 12251 RENO NV 89510
MOBLEY ELECTRICAL SERVICES INC           1593 US HIGHWAY 19 N SMITHVILLE GA 31787-2638
MOBO SYSTEMS INC                         DBA OLO 99 HUDSON ST FL 10 NEW YORK NY 10013-2815
MOCAL LLC                                5700 MONTROSE DR KILLEEN TX 76542-7572



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MODERN DISPOSAL SERVICES INC             P.O. BOX 209 MODEL CITY NY 14107-0209
MODERN ELECTRIC CO                       246 WEST 1ST ST CASPER WY 82601-2404
MODERN GRAPHICS INC                      DBA MODERN STRATEGIC BRANDING & COMMUNICATIONS 118 DICKERSON RD STE B NORTH
                                         WALES PA 19454-2538
MODERN LANDFILL INC                      2025 FRUITBELT PARKWAY NIAGARA FALLS ON L2J 0A5 CANADA
MODERN NEON SIGNS                        968 ELISABELLA SUDBURY ON P3A 5K2 CANADA
MODERN PIPING INC                        DBA MODERN 500 WALFORD RD CEDAR RAPIDS IA 52404-8921
MODERN RECYCLING, INC.                   P.O. BOX 209 MODEL CITY NY 14107-0209
MODERN RESTAURANT EQUIPMENT LLC          2876 NW 99TH TERRACE SUNRISE FL 33322
MODERN SUPPLY CO INC                     PO BOX 1450 OWENSBORO KY 42302-1450
MODERN WASTE PRODUCTS INC                36 CORNELL LN UNIT 1 BRANTFORD ON N3V 0A3 CANADA
MODERN WASTE SYSTEM, MI                  P.O. BOX 275 NAPOLEON MI 49261
MODERNISTIC LANSING LLC                  821 WAKEFIELD PLAINWELL MI 49080-1457
MODESTO INDUSTRIAL ELECTRICAL CO INC     DBA INDUSTRIAL ELECTRICAL CO PO BOX 840314 LOS ANGELES CA 90084-0509
MODESTO IRRIGATION DISTRICT              PO BOX 5355 MODESTO CA 95352-5355
MOHAMMED, ALLADIN                        ADDRESS ON FILE
MOHAWK FACTORINGLL INC                   DBA MOHAWK FACTORING LLC PO BOX 935550 ATLANTA GA 31193-5550
MOHAWK VALLEY WATER AUTHORITY            PO BOX 6081 C/O BANK OF UTICA UTICA NY 13502
MOJOES PRESSURE CLEANING LLC             916 N 9TH ST ROGERS AR 72756-2704
MOLL, SHERYL                             ADDRESS ON FILE
MOLLMANS CULLIGAN WTR COND INC           PO BOX 95247 OKLAHOMA CITY OK 73143-5247
MOMENTFEED INC                           1540 2ND STREET SUITE 302 SANTA MONICA CA 90401-3513
MONA SUPPLY INC                          PO BOX 70 DELLSLOW WV 26531
MONACO ENTERPRISES OF WNY INC            7040 SOUTH ABBOTT HAMBURG NY 14075
MONARCH FIRE PROTECTION DISTRICT         ATTN FIRE MARSHALL 13725 OLIVE BLVD CHESTERFIELD MO 63017
MONARCH INVESTMENT COMPANY LLC           75 SOUTH 100 EAST STE 2C ST GEORGE UT 84770-3469
MONARREZ, IVAN                           ADDRESS ON FILE
MONGIOVI AND SON PLUMBING CONTRACTOR L   190 BILMAR DR STE 100 PITTSBURGH PA 15205-4611
P
MONICA GAMBOA ESTRELLA                   ADDRESS ON FILE
MONICA INC                               1012 WESLEY DR MECHANICSBURG PA 17055-5466
MONICO CASTANEDA                         ADDRESS ON FILE
MONIKA CHRUSCIAK                         ADDRESS ON FILE
MONONGALIA COUNTY HEALTH DEPARTMENT      453 VAN VOORHIS ROAD MORGANTOWN WV 26505
MONONGALIA COUNTY SHERIFF                243 HIGH ST RM 300 TAX OFFICE MORGANTOWN WV 26505-5492
MONPOWER/MONONGAHELA POWER               PO BOX 3615 AKRON OH 44309-3615
MONROE COUNTY                            CHAMBER OF COMMERCE PO BOX 626 MONROE MI 48161
MONROE COUNTY DEPARTMENT OF HEALTH       111 WESTFALL RD CALLER 632 ROCHESTER NY 14692
MONROE COUNTY DEPARTMENT OF HEALTH       PO BOX 2867 ROCHESTER NY 14692
MONROE COUNTY HEALTH DEPARTMENT          PO BOX 52133 MONROE MI 48161
MONROE COUNTY HEALTH DEPARTMENT          29 WASHINGTON STREET MONROE MI 48161
MONROE COUNTY HEALTH DEPARTMENT          29 WASHINGTON STREET BLOOMINGTON IN 47404-3989
MONROE COUNTY HEALTH DEPT                119 W 7TH STREET BLOOMINGTON IN 47404-3989
MONROE COUNTY TREASURER                  PO BOX 2028 BLOOMINGTON IN 47402
MONROE COUNTY WATER AUTHORITY            PO BOX 10999 ROCHESTER NY 14610-0999
MONROE, ANGELA                           ADDRESS ON FILE
MONROEVILLE MUNICIPAL AUTHORITY          PO BOX 6163 HERMITAGE PA 16148-0922
MONTALVAN, AUGUSTO.                      ADDRESS ON FILE
MONTANA DEPARTMENT OF HEALTH             & ENVIRONMENTAL SCIENCES SUPPORT SERVICES BUREAU HELENA MT 59620



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MONTANA DEPARTMENT OF REVENUE            PO BOX 5805 HELENA MT 59604-5805
MONTANA DEPARTMENT OF REVENUE            UNCLAIMED PROPERTY PO BOX 5805 HELENA MT 59604-5805
MONTANA DEPT OF ENVIRONMENTAL QUALITY    1520 E 6TH AVE HELENA MT 59601
MONTANA DEPT OF LABOR AND INDUSTRY       UNEMPLOYMENT INSURANCE DIV. PO BOX 8020 HELENA MT 59604-8020
MONTANA DEPT OF LABOR AND INDUSTRY       PO BOX 1728 HELENA MT 59624-1728
MONTANA OFFICE OF CONSUMER PROTECTION    OFFICE OF CONSUMER PROTECTION 555 FULLER AVE HELENA MT 59601-3394
MONTANA OFFICE OF CONSUMER PROTECTION    OFFICE OF CONSUMER PROTECTION PO BOX 200151 HELENA MT 59620-0151
MONTANA-DAKOTA UTILITIES CO              PO BOX 5600 BISMARCK ND 58506-5600
MONTANO, SERGIO                          ADDRESS ON FILE
MONTANTA DEPARTMENT OF REVENUE           PO BOX 802 HELENA MT 59604-8021
MONTANTA DEPARTMENT OF REVENUE           111 WESTFALL RD CALLER 632 HELENA MT 59604-8021
MONTE VISTA WATER DISTRICT               10575 CENTRAL AVE MONTCLAIR CA 91763-4810
MONTEO CLEANING SERVICES LTD             12 1615 7TH ST EAST SASKATOON SK S7H 2R8 CANADA
MONTEREY COUNTY HEALTH DEPARTMENT        1270 NATIVIDAD RD SALINAS CA 93906
MONTEREY COUNTY TAX COLLECTOR            PO BOX 891 SALINAS CA 93902-0891
MONTEREY ONE WATER                       PO BOX 980970 WEST SACRAMENTO CA 95798-0970
MONTGOMEREY, ALANTE                      ADDRESS ON FILE
MONTGOMERY COUNTY                        PO BOX 802 HOUSTON TX 77210-4798
MONTGOMERY COUNTY                        JR MOORE, JR ASSESSOR AND COLLECTOR OF TAXES PO BOX 4798 HOUSTON TX 77210-4798
MONTGOMERY COUNTY COMMISSION             PO BOX 4779 MONTGOMERY AL 36103-4779
MONTGOMERY COUNTY COMMISSION             TAX AND AUDIT DEPT PO BOX 4779 MONTGOMERY AL 36103-4779
MONTGOMERY COUNTY COURT HOUSE            JR MOORE, JR ASSESSOR AND COLLECTOR OF TAXES DAYTON OH 45422
MONTGOMERY COUNTY COURT HOUSE            DBA PUBLIC HEALTH-DAYTON & MONTGOMERY CO ATTN: FOOD PROGRAM 117 S MAIN STREET
                                         DAYTON OH 45422
MONTGOMERY COUNTY ENVIRONMENTAL SVS, OH PO BOX 645728 WATER SERVICES CINCINNATI OH 45264-5728
MONTGOMERY COUNTY HEALTH DIST            DBA PUBLIC HEALTH-DAYTON & MONTGOMERY CO ATTN: FOOD PROGRAM CONROE TX 77301
MONTGOMERY COUNTY HEALTH DIST            313 EAST AVE G CONROE TX 77301
MONTGOMERY COUNTY MARYLAND               313 EAST AVE G GAITHERSBURG MD 20883-3399
MONTGOMERY COUNTY MARYLAND               FALSE ALARM REDUCTION UNIT DEPT OF POLICE PO BOX 83399 GAITHERSBURG MD
                                         20883-3399
MONTGOMERY COUNTY MD                     DEPARTMENT OF PERMITTING SERVICES 255 ROCKVILLE PIKE 2ND FLOOR ROCKVILLE MD
                                         20850
MONTGOMERY COUNTY REVENUE COMMISSIONER   PO BOX 4720 MONTGOMERY AL 36103-4720
MONTGOMERY COUNTY TAX COLLECTOR          400 N SAN JACINTO CONROE TX 77301-2823
MONTGOMERY COUNTY TREASURER              PO BOX 824860 PHILADELPHIA PA 19182-4860
MONTGOMERY COUNTY TRUSTEE                350 PAGEANT LN STE 101-B CLARKSVILLE TN 37040-3813
MONTGOMERY CROSS RETAIL GROUP LLC        60 CUTTERMILL RD GREAT NECK NY 11021-3131
MONTGOMERY CTY HEALTH DEPARTMENT         DIV OF ENVIRONMENTAL HEALTH 515 WEST JEFF DAVIS AVE MONTGOMERY AL 36104
MONTGOMERY CTY MD-DLC                    CONTROL-LIQUOR ACCT SECTION 201 EDISON PARK DRIVE GAITHERSBURG MD 20878
MONTGOMERY LOCK & KEY INC                131 EASTDALE ROAD SOUTH MONTGOMERY AL 36117
MONTGOMERY TOWNSHIP                      FALSE ALARM REDUCTION UNIT DEPARTMENT OF POLICE MONTGOMERYVILLE PA 18936-9605
MONTGOMERY TOWNSHIP                      1001 STUMP ROAD MONTGOMERYVILLE PA 18936-9605
MONTGOMERY WATER WORKS                   PO BOX 830692 BIRMINGHAM AL 35283-0692
MONTGOMERY WATER WORKS                   PO BOX 1631 MONTGOMERY AL 36102-1631
MONTGOMERY, BRIAN                        ADDRESS ON FILE
MONTVISTA LLC                            1002 SOUTH FIRST STREET ATTN: HAI LUONG ALHAMBRA CA 91801
MONTVISTA LLC                            1002 SOUTH FIRST STREET ALHAMBRA CA 91801-4701
MOOD MEDIA NORTH AMERICA HOLDINGS CORP   DBA MOOD MEDIA PO BOX 602777 CHARLOTTE NC 28260-2777
MOONEY, JACQUELINE                       ADDRESS ON FILE
MOONLIGHT ELECTRIC OF JAMESTOWN LLC      1080 E 2ND ST UNIT 3 JAMESTOWN NY 14701-2242


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MOONLIGHT MECHANICAL LLC                 54 NW COPPERFIELD DR CACHE OK 73527-4001
MOORE COAL COMPANY, INC.                 PO BOX 1285 BESSEMER AL 35021
MOORE NATIONAL FS INCORPORATED           115 S CORONA AVE FL 2 VALLEY STREAM NY 11580-6217
MOORE PROPERTY SERVICES INC              DBA GRASSPERSON LAWNCARE & LANDSCAPE 1565 W MAIN ST STE 208 PMB 255 LEWISVILLE
                                         TX 75067-3397
MOORE, ARCADIA                           ADDRESS ON FILE
MOORE, ROY                               ADDRESS ON FILE
MOORE-WARREN EQUIPMENT CO INC            PO BOX 1001 DOTHAN AL 36302
MOORES CARPET CARE                       PO BOX 365 RIDGELAND MS 39158-0365
MOORES RESIDENTIAL & COMMERCIAL LAWN     DBA FOUR SEASONSLAWN & LANDSCAPE 102 WINDSOR LANE RAINBOW CITY AL 35906
SER
MOORING INC                              DBA SIGNS NOW 106 ZEBULON CT ROCKY MOUNT NC 27804-2420
MOORLAND MEDICINE LLC                    ATTN: DR. NIRJAL K. NIKHAR 8804 POTOMAC STATION LANE POTOMAC MD 20854
MOORLAND MEDICINE LLC                    8804 POTOMAC STATION LN POTOMAC MD 20854-3983
MORALES, ANGEL                           ADDRESS ON FILE
MORALES, ANTHONY.                        ADDRESS ON FILE
MORAN, MATTHEW                           ADDRESS ON FILE
MORGAN & MORGAN PA                       PO BOX 622289 ORLANDO FL 32802
MORGAN COUNTY                            PO BOX 1848 DECATUR AL 35602
MORGAN COUNTY                            HEALTH DEPARTMENT C/O ENVIRONMENTAL HEALTH PO BOX 1866 DECATUR AL 35602-1866
MORGAN COUNTY REVENUE COMMISSIONER       PO BOX 696 DECATUR AL 35602-0696
MORGAN FIRE & SAFETY INC                 DBA UNIFOUR FIRE & SAFETY PO BOX 9489 HICKORY NC 28603-9489
MORGANTOWN UTILITY BOARD                 P.O. BOX 852 MORGANTOWN WV 26507
MORGUARD BOYNTON TOWN CENTER INC         PO BOX 919141 DALLAS TX 75391-9141
MORNING DEW LANDSCAPING INC              14 S LEROUX FLAGSTAFF AZ 86001
MORNINGSTAR LANDSCAPING LLC              4119 YORK ROAD NUMBER 1 MANCHESTER MD 21102-2143
MORRIS DRAIN SERVICE LLC                 4200 SIMON RD YOUNGSTOWN OH 44512-1337
MORRIS PASQUAL, ACTING                   UNITED STATES ATTORNEYS OFFICE N. DISTRICT OF ILLINOIS, EASTERN DIV. 219 S
                                         DEARBORN ST, 5TH FL CHICAGO IL 60604
MORRIS PASQUAL, ACTING                   UNITED STATES ATTORNEYS OFFICE N. DISTRICT OF ILLINOIS, WESTERN DIV. 327 S
                                         CHURCH ST, ROOM 3300 ROCKFORD IL 61101
MORRIS, AMY                              ADDRESS ON FILE
MORRIS, CATHY                            ADDRESS ON FILE
MORRISON, BRET                           ADDRESS ON FILE
MORROW, HORCELIA                         ADDRESS ON FILE
MORSE MECHANICAL INC                     816 N COUNTRY FAIR DR STE 5 CHAMPAIGN IL 61821-2474
MORSE MEHRBAN                            ADDRESS ON FILE
MOS MECHANICAL LLC                       634 S CARTER SCHOOL RD STRAWBERRY PLAINS TN 37871-1461
MOSES ELECTRIC SERVICE INC               PO BOX 16727 JACKSON MS 39236-6727
MOSLEY, DONNIE                           ADDRESS ON FILE
MOSTACCIO, GINO                          ADDRESS ON FILE
MOUGIANIS ENTERPRISE INC                 DBA APOLLO PRO CLEANING & RESTORATION PO BOX 2100 WINTERSVILLE OH 43953
MOUNT HUNGER HOLDINGS LLC                DBA RL DECATUR LLC 1217 HIGH ST BOULDER CO 80304-4112
MOUNT MORRIS TOWNSHIP                    1001 STUMP ROAD MOUNT MORRIS MI 48458
MOUNT MORRIS TOWNSHIP                    5447 BICENTENNIAL PARK MOUNT MORRIS MI 48458
MOUNT MORRIS TOWNSHIP                    BUSINESS LICENSING G-5447 BICENTENNIAL DRIVE MOUNT MORRIS MI 48458
MOUNT PLEASANT SEWER UTILITY DIST NO 1   PO BOX 88105 MILWAUKEE WI 53288-0105
MOUNT PLEASANT VILLAGE TREASURER         555 MAIN ST STE 915 RACINE WI 53403
MOUNTAIN LANDSCAPE CONTRACTORS           PO BOX 438 MOUNT FREEDOM NJ 07970
MOUNTAIN SALES & SERVICE INC             6759 EAST 50TH AVENUE COMMERCE CITY CO 80022-4618


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MOUNTAIN STATE BEVERAGE                300 GREENBRIER ROAD SUMMERSVILLE WV 26651
MOUNTAIN STATE RESTORATION LLC         806 SAINT ANDREWS DR MORGANTOWN WV 26508-9278
MOUNTAIN STATE WASTE                   PO BOX 3706 NEW YORK NY 10008
MOUNTAIN VIEW SUPPLY INC               DBA MOUNTAIN VIEW WINDOW AND DOOR 4778 CRATER LAKE AVE MEDFORD OR 97504-9753
MOUNTAIN WEST BEVERAGE SERVICE LLC     11525 W FAIRVIEW AVE BOISE ID 83713-7835
MOUNTAINEER DRAFT SERVICE LLC          776 SPRINGBRANCH RD MORGANTOWN WV 26505-3579
MOUNTAINEER GAS                        PO BOX 580211 CHARLOTTE NC 28258-0211
MOUNTS LOCK & KEY INC                  415 W 1ST KENNEWICK WA 99336
MOURISKI, LINDA                        ADDRESS ON FILE
MOVABLE INC                            DBA MOVABLE INK PO BOX 200338 PITTSBURGH PA 15251-0338
MOVES LIKE JAGGERS LC                  ADDRESS ON FILE
MOW-TIVATED ENTERPRISES INC            DBA MOW-TIVATED LAWN MAINTENANCE PO BOX 120146 WEST MELBOURNE FL 32912-0146
MOYE ELECTRIC CO INC                   100 LAURENS INDUSTRIAL BLVD DUBLIN GA 31021-9344
MOYER, SAMATHA                         ADDRESS ON FILE
MP2 ENERGY NE LLC                      D/B/A SHELL ENERGY SOLUTIONS C/O AREN HANSEN 21 WATERWAY AVE., SUITE 450
                                       WOODLANDS TX 77380
MPNT MICHIGAN LLC                      C/O MPNT REALTY INC 18 ROLLING HILLS LN HARRISON NY 10528-1706
MPRINTS PROMOTIONAL PRODUCTS           3200 HIGHWAY 45 N MERIDIAN MS 39301-1505
MPV CONSULTING LLC                     MAGDA PABLA VAZQUEZ 806 SPRUCEWOOD LANE KISSIMMEE FL 34743-9618
MR GOODGASKET LLC                      PO BOX 8490 JACKSONVILLE AR 72078-8490
MR GREEN LANDSCAPE INC                 1645 LUCILE AVE WICHITA FALLS TX 76301-5731
MR HENSLEY LLC                         7409 S 76TH AVE LA VISTA NE 68128-2585
MR HVAC LLC                            415 COMMERCE LN STE 1 WEST BERLIN NJ 08091-9271
MR KEYS INC                            353 HERBERTSVILLE RD BRICK NJ 08724
MR LOCK LOCKSMITHS INC                 2061 BEECHMONT AVE CINCINNATI OH 45230
MR SPRINKLER REPAIR LLC                DBA WILLIAM R DITTMAN 25014 HARDIN STORE RD MAGNOLIA TX 77354-3914
MR SQUEEGEE WINDOW CLEANING INC        PO BOX 49 BISMARCK ND 58502
MR TIMS COMMERCIAL CLEANING SERVICE LLC 1507 7TH AVE ROCKFORD IL 61104-3253
MROD LLC                               DBA JAMARK SECURITY 201 SE LEE BLVD LAWTON OK 73501-2474
MRR HOLDINGS LLC                       DBA MARKS REDDI ROOTER & PLUMBING 501 TASMAN ST MADISON WI 53714-3155
MS STATE DEPARTMENT OF HEALTH          DBA FREDDIES FINE SPIRIT 1806 HIGHWAY 39 NORTH MERIDIAN MS 39301
MSE LANDSCAPE PROFESSIONALS INC        PO BOX 461982 ESCONDIDO CA 92046-1982
MSIMANGA, DEE                          ADDRESS ON FILE
MSJ PROJECTS LLC                       11534 HORTON AVE DOWNEY CA 90241-4430
MSM SERVICES INC                       DBA GREEN VALLEY LANDSCAPING 57 CORNELL ST KINGSTON NY 12401-3625
MT DIABLO RES REC PITT                 555 CALIFORNIA AVE PITTSBURG CA 94565
MT JULIET CITY TAX COLLECTOR           PO BOX 618 MT JULIET TN 37121-0618
MT JULIET POLICE DEPARTMENT            PO BOX 322 MOUNT JULIET TN 37121-0322
MT LEBANON AWNING & TENT COMPANY       PO BOX 27 PRESTO PA 15142-0027
MT PLEASANT FENCE SASH & DOOR INC      1315 S MISSION RD MT PLEASANT MI 48858-5613
MT. MORRIS CHARTER TWP TREASURER       5447 BICENTENNIAL DRIVE MT MORRIS MI 48458
MTE LLC                                43 BELLEAIR DR MEMPHIS TN 38104-2726
MTL ASSOCIATES INC                     DBA FISH WINDOW CLEANING PO BOX 32067 PALM BEACH GARDENS FL 33420-2067
MTMSA - MONTGOMERY TOWNSHIP            PO BOX 618 SOUDERTON PA 18964-0618
MUELLER LOCKSMITH LLC                  445 W 8TH ST ERIE PA 16502-1336
MUELLER, JERIMIE                       ADDRESS ON FILE
MUELLERMIST SERVICE CORPORATION        PO BOX 6400 BROADVIEW IL 60155
MULLIN PLUMBING INC                    118 S ELM PL BROKEN ARROW OK 74012-4031
MULTI-FLOW DISPENSERS OF OHIO INC      4705 VAN EPPS ROAD BROOKLYN HTS OH 44131



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MULTI-FRESH INC                          DBA CROOK BROTHERS 250 GREY FLATS ROAD BECKLEY WV 25801
MULTIMEDIA SALES & MARKETING INC         PO BOX 5065 BUFFALO GROVE IL 60089
MULTNOMAH COUNTY ENVIRON HEALTH          BUSINESS LICENSING G-5447 BICENTENNIAL DRIVE PORTLAND OR 97204
MULTNOMAH COUNTY ENVIRON HEALTH          426 SW STARK 2ND FLOOR PORTLAND OR 97204
MULTNOMAH COUNTY SHERIFFS OFC ALARM      ORDINANCE UNIT PO BOX 92153 PORTLAND OR 97292-2153
MULTNOMAH COUNTY TAX COLLECTOR           PO BOX 2716 PORTLAND OR 97208-2716
MULVANEY MECHANICAL INC                  4 CHRISTOPHER COLUMBUS AVE DANBURY CT 06810-7352
MULVANEY, JUSTIN                         ADDRESS ON FILE
MUN OF MONROEVILLE TAX COLLECTOR         PATRICK FULKERSON 2700 MONROEVILLE MONROEVILLE PA 15146-2388
MUNCIE SANITARY DISTRICT                 300 N HIGH ST MUNCIE IN 47305
MUNICIPAL BACKFLOW LLC                   DBA MUNICIPAL BACKFLOW 121 HICKORY TERRACE ISLAND LAKE IL 60042-9466
MUNICIPALITY OF MONROEVILLE              MOSS SIDE ELEMENTARY BLDG MONROEVILLE PA 15146
MUNICIPALITY OF MONROEVILLE              TAX COLLECTOR 2700 MONROEVILLE BLVD MONROEVILLE PA 15146-2388
MUNNS UPHOLSTERY INC                     5694 SHELBY OAKS DR STE 4 MEMPHIS TN 38134-7325
MUNOZ MARIA E                            ADDRESS ON FILE
MUNSON ELECTRIC INC                      1704 COMMERCE BLVD HIAWATHA IA 52233-1366
MURFREESBORO CITY TAX COLLECTOR          111 W VINE ST MURFREESBORO TN 37130-3573
MURFREESBORO WATER RESOURCES DEPARTMENT PO BOX 897 300 NW BROAD ST MURFREESBORO TN 37133-0897
MURPHY SANCHEZ PLLC                      309 FELLOWSHIP RD STE 200 MOUNT LAUREL NJ 08054-1234
MURPHY SANCHEZ, PLLC                     ATTN:BRAD LEVIEN 100 DUFFY AVENUE SUITE 510 HICKSVILLE NY 11801
MURPHY, LAURA                            ADDRESS ON FILE
MURRAY CITY CORP                         PO BOX 57520 MURRAY UT 84157-0520
MURRAY CITY CORPORATION, UT              PO BOX 57919 UTILITY BILLING MURRAY UT 84157-0919
MURREL, JOHN                             ADDRESS ON FILE
MURRY, STEPHEN                           ADDRESS ON FILE
MUSCOGEE COUNTY                          426 SW STARK 2ND FLOOR COLUMBUS GA 31902
MUSCOGEE COUNTY                          ENVIRONMENTAL HEALTH PO BOX 2299 COLUMBUS GA 31902
MUSCOGEE COUNTY TAX COMMISSIONER         PO BOX 1441 COLUMBUS GA 31902-1441
MUSKEGON AREA                            CHAMBER OF COMMERCE 380 WEST WESTERN AVENUE SUITE 202 MUSKEGON MI 49440
MUSKEGON COUNTY HEALTH DEPARTMENT        209 EAST APPLE AVE STE C173 MUSKEGON MI 49442
MUSKEGON COUNTY HEALTH DEPARTMENT        ENVIRONMENTAL HEALTH PO BOX 2299 MUSKEGON MI 49442
MUSKINGUM COUNTY HEALTH DEPARTMENT       205 N 7TH ST ZANESVILLE OH 43701
MUSKINGUM COUNTY HEALTH DEPARTMENT       209 EAST APPLE AVE STE C173 ZANESVILLE OH 43701
MUSKINGUM COUNTY TREASURER               401 MAIN ST ZANESVILLE OH 43701-3565
MUSKOGEE COUNTY CLERK                    PO BOX 2307 MUSKOGEE OK 74402-2307
MUSKOGEE COUNTY TREASURER                PO BOX 1587 MUSKOGEE OK 74402-1587
MUSSERS CLEANING & RESTORATION SVC LLC   3605 S 40TH TERRACE ST JOSEPH MO 64503
MUTH ELECTRIC INC                        PO BOX 1400 MITCHELL SD 57301
MUTUAL DISTRIBUTING CO 7                 149 SOUTH WALNUT CIRCLE GREENSBORO NC 27409-2692
MUTUAL DISTRIBUTING COMPANY              1133 UPPER ASBURY AVENUE CHARLOTTE NC 28206
MUXIE DISTRIBUTING CO                    5120 GUERNSEY STREET BELLAIRE OH 43906
MVP LAW                                  ATTN:CHRISTOPHER PATT 1546 E BRADFORD PARKWAY, SUITE 100 SPRINGFIELD MO 65804
MVP LAW                                  1546 E BRADFORD PARKWAY SUITE 100 SPRINGFIELD MO 65804
MVP TRIAL LAWYERS CORP                   92 CORPORATE PARK 211 IRVINE CA 92606-5146
MY BEER GUY INC                          PO BOX 2636 ORLAND PARK IL 60462
MY GUYS MECHANICAL INC                   357 SUMMERWOOD DRIVE STOCKBRIDGE GA 30281-1151
MY TECH TEXAS LLC                        2201 LONG PRAIRIE ROAD SUITE 107-153 FLOWER MOUND TX 75022-4832
MY THREE SONS INC                        DBA MTS EQUIPMENT 580 AIRPORT ROAD WINCHESTER VA 22602
MYER, WILLIAM                            ADDRESS ON FILE



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MYERS, FLETCHER & GORDON                MERCEDES MCKOY 21 EAST STREET KINGSTON JAMAICA
MYERS, GAIL                             ADDRESS ON FILE
MYERS, GEORGE                           ADDRESS ON FILE
MYKOLYSHYN, ANGELA                      ADDRESS ON FILE
MYRA JEAN FIELDS ROUSE                  ADDRESS ON FILE
MYRIC ELECTRONICS LTD                   A-13 416 MERIDIAN ROAD SE CALGARY ON T2A 1X2 CANADA
MYSTIQUE IRVING, ET AL.                 ADDRESS ON FILE
N C FLAG AND POLE INC                   DBA CAROLINA FLAG AND POLE 820 US HIGHWAY 70 SW HICKORY NC 28602-5032
N J SHAUM & SON INC                     ELECTRICAL CONTRACTORS 300 S BABBITT DR STE 1 FLAGSTAFF AZ 86001-8901
N Y SIGN ART INC                        4301A NEW BRUNSWICK AVE SOUTH PLAINFIELD NJ 07080-1226
N.C. DEPT OF ENVIRONMENTAL QUALITY      217 W JONES ST RALEIGH NC 27603
N.C. DEPT OF ENVIRONMENTAL QUALITY      1601 MAIL SERVICE CTR RALEIGH NC 27699-1601
N.D. OFFICE OF STATE TAX COMMISSIONER   600 E BLVD AVE DEPT 127 BISMARCK ND 58505-0553
N.D. UNCLAIMED PROPERTY DIVISION        1707 NORTH 9TH STREET BISMARCK ND 58501-1853
N.H. OFFICE OF ATTORNEY GENERAL         CONSUMER PROTECTION & ANTITRUST BUREAU 33 CAPITOL ST CONCORD NH 03301
NA, JUDY                                ADDRESS ON FILE
NACHITOS COMPANY                        116 PINECREST LN KING OF PRUSSIA PA 19406-2366
NACKARD BOTTLING COMPANY                DBA PEPSI-COLA BOTTLING CO OF FLAGSTAFF 4980 E RAILHEAD AVE FLAGSTAFF AZ
                                        86004-2420
NADETTE RUSSO                           ADDRESS ON FILE
NADG NNN RLOB (MAY-NJ) LP               ATTN: GILBERT J. WEISS C/O NORTH AMERICAN DEVELOPMENT GROUP 2851 JOHN STREET,
                                        SUITE 1 MARKHAM ON L3R 5R7 CANADA
NADG NNN RLOB (MAY-NJ) LP               ATTN: TIFFANY DEANDA C/O NADG NNN PROPERTY FUND LP 3131 MCKINNEY AVE., SUITE
                                        L10 DALLAS TX 75204
NADG NNN RLOB MAY NJ LP                 C/O NADG NNN PROPERTY FUND LP 3131 MCKINNEY AVE STE L10 DALLAS TX 75204-2430
NADINA HUJIC, N.B. (NADIA HUJICS        ADDRESS ON FILE
NAGLE SIGNS INC                         PO BOX 2098 WATERLOO IA 50704-2098
NAHAKU, LEIMONI                         ADDRESS ON FILE
NAKAMURA & PARTNERS                     DAISAKU FUJIKURASHOJI MATSUMOTO HIN-TOKYO BUILDING, ROOM NO. 616, 3-1
                                        MARUNOUCHI 3-CHOME, CHIYODA-KU, TOKYO 1008355 JAPAN
NAKYIA FLEMING, MOLLY FRIEDBERG         ADDRESS ON FILE
NANCY B GERGELY                         ADDRESS ON FILE
NANCY MAE WITTEK                        ADDRESS ON FILE
NANCY PARAMO                            ADDRESS ON FILE
NANCYS FLORAL INC                       620 NE BURNSIDE ROAD GRESHAM OR 97030-3921
NANDOS EXTERIOR CLEANING                806 MARQUETTE DR MARTINSBURG WV 25401-7399
NANOIA RECYCLING EQUIPMENT INC          200 FRANK RD UNIT B HICKSVILLE NY 11801-3652
NANZ & KRAFT FLORISTS INC               141 BRECKENRIDGE LANE LOUISVILLE KY 40207
NAPIER, DONNELL                         ADDRESS ON FILE
NAPLES LEASING 416 LLC                  DBA 1846 JONESBORO ROAD OWNER LLC C/O FEDERMAN STEIFMAN LLP 220 E 42ND ST FL
                                        29 NEW YORK NY 10017
NAPPS INDUSTRIES LLC                    DBA NAPPS COOLING HEATING & PLUMBING PO BOX 2546 LONGVIEW TX 75606-2546
NAS PROPERTY MANAGEMENT LLC             414 BOULDER CREST TRL VILLA RICA GA 30180-1552
NAS RECRUITMENT INNOVATIONS INC         PO BOX 781315 PHILADELPHIA PA 19178-1315
NASH COUNTY                             205 N 7TH ST ROCKY MOUNT NC 27802
NASH COUNTY                             PO BOX 2022 ROCKY MOUNT NC 27802
NASH COUNTY ABC BOARD                   1123 JEFFREYS ROAD ROCKY MOUNT NC 27804
NASH COUNTY TAX COLLECTOR               120 W WASHINGTON ST STE 2058 NASHVILLE NC 27856-1376
NASH PRESSURE WASHING                   4654 OSO PKWY CORPUS CHRISTI TX 78413-5269
NASHVILLE ELECTRIC SERVICE              PO BOX 305099 NASHVILLE TN 37230-5099


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NASHVILLE PROPERTY SERVICES INC         DBA US LAWNS MURFREESBORO 128 HIDDEN COVE CT MURFREESBORO TN 37128-6018
NASHVILLE WINDOW CLEANING LLC           DBA RIGHT HAND RHINO WINDOW CLEANING PO BOX 316 THOMPSONS STATION TN
                                        37179-0316
NASIF TAYE                              ADDRESS ON FILE
NASSAU CO POLICE HEADQUARTERS           ALARM PERMITS 1490 FRANKLIN AVE MINEOLA NY 11501
NASSAU COUNTY DEPARTMENT OF HEALTH      106 CHARLES LINDBERGH BLVD UNIONDALE NY 11553
NASSAU COUNTY DEPARTMENT OF HEALTH      PO BOX 2022 UNIONDALE NY 11553
NASSAU COUNTY DISTRICT COURT            99 MAIN STREET HEMPSTEAD NY 11550
NASSAU COUNTY POLICE DEPT               1194 PROSPECT AVENUE WESTBURY NY 11590
NATA DVIR                               ADDRESS ON FILE
NATALIE CHADHORN                        ADDRESS ON FILE
NATALIE K. WIGHT                        UNITED STATES ATTORNEYS OFFICE 1000 SW THIRD AVE STE 600 PORTLAND OR 97204
NATALIE K. WIGHT                        UNITED STATES ATTORNEYS OFFICE 405 E 8TH AVE, STE 2400 EUGENE OR 97401
NATALIE K. WIGHT                        UNITED STATES ATTORNEYS OFFICE 310 W SIXTH MEDFORD OR 97501
NATANAEL SOTO                           ADDRESS ON FILE
NATARAJAN LIVING TRUST                  ADDRESS ON FILE
NATE INC                                DBA I SPINELLO LOCKSMITHS 225 B SOUTH 6TH STREET ROCKFORD IL 61104
NATHAN D NEWMAN                         ADDRESS ON FILE
NATHAN EDWARD BEAN                      ADDRESS ON FILE
NATHAN M PENROD                         ADDRESS ON FILE
NATHANIEL MELENDEZ                      ADDRESS ON FILE
NATHANIEL VAUGHN JN                     ADDRESS ON FILE
NATHON FROST                            ADDRESS ON FILE
NATIONAL CASTASTROPHE RESTORATION INC   8447 EAST 35TH STREET NORTH WICHITA KS 67226
NATIONAL CIGAR STORE INC                617 SYCAMORE WATERLOO IA 50703
NATIONAL DISTRIBUTING CO INC            PO BOX 27227 ALBUQUERQUE NM 87125
NATIONAL EQUIPMENT CO INC               1 FOURTEENTH STREET WHEELING WV 26003
NATIONAL FISHERIES INSTITUTE            1544 SPRING HILL RD 10763 MCLEAN VA 22102-0139
NATIONAL FUEL                           PO BOX 371835 PITTSBURGH PA 15250-7835
NATIONAL GIFT CARD CORP                 300 MILLENNIUM DRIVE CRYSTAL LAKE IL 60012
NATIONAL GRID                           PO BOX 371376 PITTSBURGH PA 15250-7376
NATIONAL GRID                           PO BOX 371382 PITTSBURGH PA 15250-7382
NATIONAL GRID                           PO BOX 371416 PITTSBURGH PA 15250-7416
NATIONAL HEAD HUNTERS                   DBA 10750425 CANADA LTD 20 TANGLEWOOD CRES STANTY BAY ON L0L 2L0 CANADA
NATIONAL KIDNEY FOUNDATION OF FL        5756 S SEMORAN BLVD ORLANDO FL 32822-4818
NATIONAL LABOR RELATIONS BOARD (NLRB)   1015 HALF STREET SE WASHINGTON DC 20570-0001
NATIONAL ORDERS INC                     DBA BUSINESS MOBILITY SOLUTIONS 3926 W SOUTH AVENUE B TAMPA FL 33614-6552
NATIONAL PLANT LEASE CORP               DBA NATIONAL PLANTS & PRODUCTS PO BOX 560238 ORLANDO FL 32856
NATIONAL REFRIGERATION HEATING LTD      DBA AINSWORTH INC 131 BERMONDSEY ROAD TORONTO ON M4A 1X4 CANADA
NATIONAL RESTAURANT ASSOCIATION         PO BOX 824032 PHILADELPHIA PA 19182-4032
NATIONAL RUG CLEANERS                   5433 OLDE PLANTATION DRIVE DOUGLASVILLE GA 30135
NATIONAL WASTE LP                       NWPNW LLC DBA GK INDUSTRIAL REFUSE PO BOX 7048 GROUP 24 INDIANAPOLIS IN
                                        46207-7048
NATIONAL WASTE SERVICES LLC             1 JEM CT BAY SHORE NY 11706
NATRONA COUNTY TREASURER                PO BOX 2290 CASPER WY 82602
NATURAL DRY CARPET CLEANING             8917 PECOR ST PORTLAND NY 14769-9626
NATURAL STATE LANDSCAPING & DESIGN      6401 SULPHUR SPRINGS RD PINE BLUFF AR 71603-9634
NATURES ACCENTS INC                     PO BOX 487 POWELL TN 37849
NATURES PERSPECTIVE LANDSCAPING INC     2000 GREENLEAF STREET EVANSTON IL 60202-1083



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NATURES WAY INC                          PO BOX 6896 BLOOMINGTON IN 47407
NATURESCAPE INC                          2129 BATTLEFIELD PARKWAY MURFREESBORO TN 37129
NAUTICAL FURNISHINGS LLC                 60 NORTHWEST 60TH STREET FT LAUDERDALE FL 33309-2332
NAVAGE, CHRIS                            ADDRESS ON FILE
NAVID BYPASS TRUST 07262020              ADDRESS ON FILE
NAVID QTIP TRUST 07262020                ADDRESS ON FILE
NBLY CO OPS AZ SPV LLC                   DBA MR ROOTER PLUMBING OF TUCSON 4030 E MICHIGAN ST TUCSON AZ 85714-2147
NC DEPT OF HEALTH AND HUMAN SERVICES     FEES PROGRAM 1632 MAIL SERVICE CENTER RALEIGH NC 27699-1632
NC HUMAN RELATIONS COMMISSION            MSC 1331 RALEIGH NC 27603
NEBRASKA DEPT OF AGRICULTURE             PO BOX 95064 LINCOLN NE 68509
NEBRASKA DEPT OF ENVIRONMENTAL QUALITY   PO BOX 98922 LINCOLN NE 68509-8922
NEBRASKA DEPT OF LABOR                   AMERICAN JOB CENTER , LINCOLN 1330 N ST, STE A LINCOLN NE 68508
NEBRASKA DEPT OF LABOR                   OFFICE OF UNEMPLOYMENT INSURANCE 550 S 16TH ST LINCOLN NE 68509
NEBRASKA DEPT OF LABOR                   SAFETY DIVISION DBA BOILER INSPECTION PROGRAM PO BOX 95024 LINCOLN NE
                                         68509-5024
NEBRASKA DEPT OF REVENUE                 NEBRASKA STATE OFFICE BLDG 1313 FARNAM ST STE 100 OMAHA NE 68102-1836
NEBRASKA DEPT OF REVENUE                 PO BOX 94818 LINCOLN NE 68509-4818
NEBRASKA DEPT OF REVENUE                 PO BOX 98923 LINCOLN NE 68509-8923
NEBRASKA DEPT OF REVENUE                 304 N 5TH ST, STE D NORFOLK NE 68701-4091
NEBRASKA DEPT OF REVENUE                 200 S SILBER ST NORTH PLATTE NE 69101-4200
NEBRASKA DEPT OF REVENUE                 505A BROADWAY STE 800 SCOTTSBLUFF NE 69361
NEBRASKA DISTRIBUTING CO                 DBA PREMIER-MIDWEST BEVERAGE CO 10637 S 134 ST OMAHA NE 68138
NEBRASKA LICENSED BEVERAGE ASSOC         106 CHARLES LINDBERGH BLVD OMAHA NE 68124-3189
NEBRASKA LICENSED BEVERAGE ASSOCIATION   8424 WEST CENTER ROAD OMAHA NE 68124-3189
NEBRASKA LIQUOR CONTROL COMM             PO BOX 95046 LINCOLN NE 68509-5046
NEBRASKA OFFICE OF THE ATTORNEY GENERAL CONSUMER PROTECTION DIVISION 2115 STATE CAPITOL LINCOLN NE 68509
NEBRASKA PUBLIC POWER DISTRICT           PO BOX 2860 OMAHA NE 68103-2860
NEBRASKA PUBLIC POWER DISTRICT           1414 15TH STREET COLUMBUS NE 68601-5226
NEBRASKA SECRETARY OF STATE              ADDRESS ON FILE
NEBRASKA STATE PATROL                    CRIMINAL IDENTIFICATION DIV BOX 94907 STATE HOUSE STATION LINCOLN NE 68509
NEBRASKA STATE TREASURER                 UNCLAIMED PROPERTY DIVISION 809 P ST LINCOLN NE 68508-1390
NECHELLE WELCH                           ADDRESS ON FILE
NED STEVENS GUTTER CLEANING &            GENERAL CONTRACTING OF NEW JERSEY LLC 11 DANIEL ROAD EAST FAIRFIELD NJ
                                         07004-2506
NEFTALI BORRERO                          ADDRESS ON FILE
NEHEMIAH VENTURES CORPORATION            DBA ALCO PRODUCTS 2480 SOUTHGATE BOULEVARD MURFREESBORO TN 37128-5551
NEI GLOBAL RELOCATION                    PO BOX 241886 OMAHA NE 68124-5886
NELLA CUTLERY (BC) INC                   4B 416 MERIDIAN RD SE CALGARY ON T2A 1X2 CANADA
NELLA CUTLERY (TORONTO) INC              148 NORFINCH DR TORONTO ON M3N 1X8 CANADA
NELSON C MARTINEZ                        ADDRESS ON FILE
NELSON SLOSBERGAS, P.A                   ATTN: MARIBEL RODRIGUEZ, PARALEGAL 1110 BRICKELL AVENUE, SUITE 310 MIAMI FL
                                         33131
NELSON, CHRISTOPHER                      ADDRESS ON FILE
NELSON-GORDON, CALLISTA                  ADDRESS ON FILE
NEON BRIGHT SOLUTIONS                    ADDRESS ON FILE
NEPA OUTDOOR SERVICES INC                587 CORTEZ RD JEFFERSON TOWNSHIP PA 18436-3816
NERK ENTERPRISES INC                     DBA TARRANT LIGHTING 2113 FRANKLIN DR FORT WORTH TX 76106-2206
NESPER SIGN ADVERTISING INC              4620 J STREET SW CEDAR RAPIDS IA 52404-4928
NESSIE C WRAGG                           ADDRESS ON FILE
NETCOM ELECTRICAL LLC                    3443 SOUTH NAPOLEON ROAD HARROD OH 45850


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NETIMA CHAREONVOOTITAM                   ADDRESS ON FILE
NETWORK IMAGING                          16478 BEACH BLVD 200 WESTMINSTER CA 92683
NEUBAUER, CASSANDRA                      ADDRESS ON FILE
NEUCO INC                                DBA NEUCO SEATING INC 4177 VILLAGE PARK DR STE C TRAVERSE CITY MI 49685-7237
NEVADA CONSUMER AFFAIRS                  DEPARTMENT OF BUSINESS & INDUSTRY 3300 W SAHARA AVE STE 425 LAS VEGAS NV 89102
NEVADA CONSUMER AFFAIRS                  DEPARTMENT OF BUSINESS & INDUSTRY 1830 E COLLEGE PKWY STE 100 CARSON CITY NV
                                         89706
NEVADA DEPARTMENT OF TAXATION            BUSINESS LICENSE RENEWAL PO BOX 52614 PHOENIX AZ 85072-2614
NEVADA DEPT OF EMPLOYMENT,               TRAINING & REHABILITATION 2800 E ST LOUIS AVE LAS VEGAS NV 89104
NEVADA DEPT OF EMPLOYMENT,               TRAINING & REHABILITATION 6330 W CHARLESTON BLVD LAS VEGAS NV 89146
NEVADA DEPT OF TAXATION                  700 E WARM SPRINGS RD, 2ND FL LAS VEGAS NV 89119
NEVADA DEPT OF TAXATION                  4600 KIETZKE LANE BLDG L, STE 235 RENO NV 89502
NEVADA DEPT OF TAXATION                  3850 ARROWHEAD DRIVE 2ND FLOOR CARSON CITY NV 89706
NEVADA DEPT OF TAXATION                  STATE OF NEVADA - SALES/USE PO BOX 51107 LOS ANGELES CA 90051-5407
NEVADA DIVISION OF                       ENVIRONMENTAL PROTECTION 901 S STEWART ST STE 4001 CARSON CITY NV 89701-5249
NEVADA OFFICE OF ATTORNEY GENERAL        CONSUMER PROTECTION DIVISION GRANT SAWYER BLDG 555 E WASHINGTON AVE STE 3900
                                         LAS VEGAS NV 89101
NEVADA OFFICE OF ATTORNEY GENERAL        CONSUMER PROTECTION DIVISION 5420 KIETKE LANE STE 202 RENO NV 89511
NEVADA OFFICE OF ATTORNEY GENERAL        CONSUMER PROTECTION DIVISION 100 N CARSON ST CARSON CITY NV 89701
NEVADA OFFICE OF THE LABOR COMMISSIONER 3340 W SAHARA AVE LAS VEGAS NV 89102
NEVADA OFFICE OF THE LABOR COMMISSIONER 1818 COLLEGE PKWY, STE 102 CARSON CITY NV 89706
NEVADA STATE TREASURER                   UNCLAIMED PROPERTY DIVISION GRANT SAWYER BUILDING LAS VEGAS NV 89101
NEVRON ELECTRICAL CONTRACTORS LLC        1114 OVERLOOK DRIVE TOMS RIVER NJ 08753
NEW BENEFITS LTD                         14240 PROTON ROAD DALLAS TX 75244
NEW CASTLE COUNTY                        PO BOX 782888 PHILADELPHIA PA 19178-2888
NEW CASTLE COUNTY                        C/O DEPARTMENT OF SPECIAL SERVICES 187 A OLD CHURCHMANS ROAD NEW CASTLE DE
                                         19720
NEW CASTLE COUNTY DELAWARE               PO BOX 781177 PHILADELPHIA PA 19178-1177
NEW CASTLE LAWN & LANDSCAPE INC          3 EAST POINTE DRIVE BIRDSBORO PA 19508-8151
NEW CHEF FASHION INC                     3223 EAST 46TH STREET VERNON CA 90058-2407
NEW DAY RECRUITING LLC                   12 HUMMINGBIRD DR MANALAPAN NJ 07726-4189
NEW DAY SERVICES INC                     DBA FISH WINDOW CLEANING 151 COLLEGE DRIVE SUITE 7 ORANGE PARK FL 32065
NEW ELECTRONICS COMMUNICATION            721 N NANTES AVE LA PUENTE CA 91744-2775
NEW GENERATION HOME SERVICES INC         O/A STEAM DRY CANADA NIAGARA 45 COLE CRESCENT NIAGARA ON THE LAKE ON L0S 1J0
                                         CANADA
NEW HAMPSHIRE COMMN FOR HUMAN RIGHTS     57 REGIONAL DRIVE, SUITE 8 CONCORD NH 03301
NEW HAMPSHIRE DEPT OF                    ENVIRONMENTAL SERVICES 29 HAZEN DR CONCORD NH 03002-0095
NEW HAMPSHIRE DEPT OF LABOR              95 PLEASANT ST CONCORD NH 03301
NEW HAMPSHIRE DEPT OF REVENUE ADMIN      TAXPAYER SERVICES DIVISION PO BOX 637 CONCORD NH 03302-0457
NEW HAMPSHIRE EMPLOYMENT SECURITY        ADMINISTRATIVE OFFICE 45 S FRUIT ST CONCORD NH 03301
NEW JERSEY AMERICAN WATER COMPANY        P.O. BOX 371331 PITTSBURGH PA 15250-7331
NEW JERSEY DEPT OF ENVIRON. PROTECTION   PO BOX 420 TRENTON NJ 08625
NEW JERSEY DEPT OF LABOR                 AND WORKFORCE DEVELOPMENT 1 JOHN FITCH PLAZA TRENTON NJ 08611
NEW JERSEY DEPT OF LABOR                 DIV OF WAGE AND HOUR COMPLIANCE 1 JOHN FITCH PLAZA TRENTON NJ 08611
NEW JERSEY DEPT OF LABOR AND             WORKFORCE DEVELOPMENT 1 JOHN FITCH PLAZA TRENTON NJ 08625
NEW JERSEY DEPT OF THE TREASURY          PO BOX 1023 4310 QUEEN ST TRENTON NJ 08625-0392
NEW JERSEY DEPT OF THE TREASURY          DIVISION OF TAXATION PO BOX 642 TRENTON NJ 08646-0642
NEW JERSEY DIVISION OF A B C             140 E FRONT STREET TRENTON NJ 08625-0087
NEW JERSEY DIVISION OF TAXATION          PO BOX 245 TRENTON NJ 08611
NEW JERSEY DIVISION OF TAXATION          3 JOHN FITCH WAY, 5TH FLOOR TRENTON NJ 08695-0245


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NEW JERSEY DIVISION OF TAXATION          PO BOX 999 TRENTON NJ 86460
NEW JERSEY DIVISON OF CONSUMER AFFAIRS   OFFICE OF CONSUMER PROTECTION 124 HALSEY ST NEWARK NJ 07102
NEW MEXICO ALCOHOL & GAMING DIV          DO NOT MAIL ORLANDO FL 32809
NEW MEXICO ALCOHOL & GAMING DIV          2550 CERRILLOS ROAD 2 SANTA FE NM 87505
NEW MEXICO DEPT OF WORKFORCE SOLUTIONS   401 BROADWAY NE ALBUQUERQUE NM 87102
NEW MEXICO DEPT OF WORKFORCE SOLUTIONS   UNEMPLOYMENT INSURANCE 401 BROADWAY NE ALBUQUERQUE NM 87102
NEW MEXICO DEPT OF WORKFORCE SOLUTIONS   PO BOX 1928 ALBUQUERQUE NM 87103
NEW MEXICO DEPT OF WORKFORCE SOLUTIONS   UNEMPLOYMENT INSURANCE PO BOX 1928 ALBUQUERQUE NM 87103
NEW MEXICO ENVIRONMENT DEPT              PO BOX 5469 SANTA FE NM 87502-5469
NEW MEXICO ENVIRONMENT DEPT              HAROLD RUNNELS BLDG 1190 ST FRANCIS DR STE N4050 SANTA FE NM 87505
NEW MEXICO OFFICE OF ATTORNEY GENERRAL   CONSUMER PROTECTION DIVISION 201 3RD ST NE STE 300 ALBUQUERQUE NM 87102
NEW MEXICO OFFICE OF ATTORNEY GENERRAL   CONSUMER PROTECTION DIVISION 408 GALISTEO ST VILLAGRA BUILDING SANTA FE NM
                                         87501
NEW MEXICO OFFICE OF ATTORNEY GENERRAL   CONSUMER PROTECTION DIVISION 1175 COMMERCE DR, STE A LAS CRUCES NM 88001
NEW MEXICO SECRETARY OF STATE            BUSINESS SERVICES DIVISION 325 DON GASPAR SUITE 300 SANTA FE NM 87501
NEW MEXICO TAXATION & REVENUE DEPT       PO BOX 25128 SANTA FE NM 87504-5128
NEW MEXICO TAXATION & REVENUE DEPT.      UNCLAIMED PROPERTY DIVISION 1200 S ST FRANCIS DR SANTA FE NM 87504
NEW MILLENNIUM CONSTRUCTION SVCS CORP    34430 ELEVATOR ROAD WILMINGTON IL 60481
NEW PHILADELPHIA HEALTH DEPARTMENT       166 E HIGH AVE NEW PHILADELPHIA OH 44663
NEW PHILADELPHIA HEALTH DEPARTMENT       BUSINESS SERVICES DIVISION 325 DON GASPAR NEW PHILADELPHIA OH 44663
NEW PHILADELPHIA WATER OFFICE            150 E HIGH AVE STE 015 NEW PHILADELPHIA OH 44663-2540
NEW PLAN HAMPTON VILLAGE LLC             C/O BRIXMOR PROPERTY GROUP PO BOX 645321 CINCINNATI OH 45264-5321
NEW PLAN HAMPTON VILLAGE, LLC            PO BOX 645321 C/O BRIXMOR PROPERTY GROUP CINCINNATI OH 45264-5321
NEW ROOTS HOME SERVICES LLC              209 9TH AVE NE OSSEO MN 55369-1423
NEW SIGNS OHIO LLC                       5560 BELLEFONTAINE RD LIMA OH 45804-4393
NEW TOWNE MALL REALTY HOLDING LLC        ATTN: MIKE KOHAN, CEO 1010 NORTHERN BLVD. SUITE 212 GREAT NECK NY 11021
NEW TOWNE MALL REALTY HOLDING LLC        1010 NORTHERN BLVD STE 212 GREAT NECK NY 11021-5320
NEW YORK CITY DEPARTMENT OF              CONSUMER AND WORKER PROTECTION 166 E HIGH AVE NEW YORK NY 10004-1617
NEW YORK CITY DEPARTMENT OF FINANCE      CORRESPONDENCE UNIT ONE CENTRE ST, 22ND FL NEW YORK NY 10007
NEW YORK CITY DEPARTMENT OF HEALTH       42 BROADWAY FL 8 NEW YORK NY 10013
NEW YORK CITY DEPT OF FINANCE            BOX 3900 - CHURCH STREET STN NEW YORK NY 10008
NEW YORK CITY DEPT OF HEALTH             65 WORTH ST NEW YORK NY 10013
NEW YORK CITY OF HEALTH & MENTAL         65 WORTH ST NEW YORK NY 10038
HYGIENE
NEW YORK CITY OF HEALTH & MENTAL         66 JOHN STREET 11TH FLOOR NEW YORK NY 10038
HYGIENE
NEW YORK DEPT OF LABOR                   BLDG 12 W.A. HARRIMAN CAMPUS ALBANY NY 12226
NEW YORK DEPT. OF TAXATION AND FINANCE   BANKRUPTCY SECTION PO BOX 5300 ALBANY NY 12205-0300
NEW YORK DEPT. OF TAXATION AND FINANCE   NYS SALES TAX PROCESSING PO 15172 ALBANY NY 12212-5172
NEW YORK DEPT. OF TAXATION AND FINANCE   STATE PROCESSING CENTER PO BOX 15310 ALBANY NY 12212-5310
NEW YORK DEPT. OF TAXATION AND FINANCE   OFFICE OF COUNSEL BUILDING 9 WA HARRIMAN CAMPUS ALBANY NY 12227
NEW YORK FIRE SERVICE INC                1230 PORT WASHINGTON BLVD PORT WASHINGTON NY 11050
NEW YORK LIFE INSURANCE COMPANY          DBA REEP-RTL DTC VA LLC PO BOX 22622 NEW YORK NY 10087-2622
NEW YORK OFFICE OF THE ATTORNEY GENERAL NEW YORK CITY OFFICE BUREAU OF CONSUMER FRAUDS & PROTECTION 28 LIBERTY ST NEW
                                        YORK NY 10005
NEW YORK OFFICE OF THE ATTORNEY GENERAL ALBANY OFFICE BUREAU OF CONSUMER FRAUDS & PROTECTION THE CAPITAL ALBANY NY
                                        12224-0341
NEW YORK STATE DEPARTMENT OF LABOR       HARRIMAN STATE OFFICE CAMPUS BUILDING 12 ALBANY NY 12240
NEW YORK STATE DEPT OF                   ENVIRONMENTAL CONSERVATION 625 BRAODWAY ALBANY NY 12233-1011
NEW YORK STATE DEPT OF LABOR             BLDG 12 W.A. HARRIMAN CAMPUS ALBANY NY 12226


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NEW YORK STATE ELECTRIC AND GAS      4125 ROUTE 22 PLATTSBURGH NY 12901
NEW YORK STATE HEALTH DEPARTMENT     77 MOHICAN STREET GLEN FALLS NY 12801
NEW YORK STATE HEALTH DEPARTMENT     66 JOHN STREET 11TH FLOOR GLEN FALLS NY 12801
NEW YORK STATE LIQUOR AUTHORITY      163 W 125TH ST 733 NEW YORK NY 10027
NEWBORN, ALEX                        ADDRESS ON FILE
NEWCOTT CONSULTING LLC               1171 SUGAR BELT DR SAINT CLOUD FL 34771-7273
NEWELL PROPERTIES LLC                DBA NEWELL LAWN CARE 11480 PALM BEACH BLVD FORT MYERS FL 33905-5915
NEWHAM, CINDY                        ADDRESS ON FILE
NEWKIRK, ANGELA                      ADDRESS ON FILE
NEWLY WEDS FOODS INC                 29565 NETWORK PLACE CHICAGO IL 60673-1295
NEWNAN UTILITIES, GA                 PO BOX 105590 ATLANTA GA 30348-5590
NEWPORT NEWS CITY TREASURER          PO BOX 975 NEWPORT NEWS VA 23607-0975
NEWPORT NEWS WATERWORKS              PO BOX 979 NEWPORT NEWS VA 23607-0979
NEWS & VIEWS USA INC                 PO BOX 2163 VILLA RICA GA 30180
NEWTON, DALE                         ADDRESS ON FILE
NEXBANK SSB                          2515 MCKINNEY AVENUE, SUITE 1100 DALLAS TX 75201
NEXEN PRUET                          ATTN: ANDREA P. EASLER 400 MAIN STREET OFFICE CAMPUS, STE 100A HILTON HEAD
                                     ISLAND, SC 29926 HILTON HEAD ISLAND SC 29926
NEXSEN PRUET                         ATTN: DAVID R. CANNON 227 WEST TRADE STREET, STE 1550 CHARLOTTE NC 28202
NEXT GENERATION PLUMBING LLC         DBA GAYLEN PLUMBING 2030 S MAIN STREET JOPLIN MO 64804
NEXT HOLDINGS OF SWFL INC            DBA NEXT PLUMBING INC 3108 SANTA BARBARA BLVD SUITE 105 20 CAPE CORAL FL 33914
NEXT TECH DEVELOPMENT LLC            C/O LUPE DEVELOPMENT PARTNERS 1801 COUNTY ROAD B W STE 201 ROSEVILLE MN
                                     55113-2832
NEXT WAVE ELECTRICAL SERVICE         RALPH GAROFANO 108 EAGLE POINTE DR CHAPIN SC 29036-9248
NEXTGEN WOODSIDE REALTY LLC          DBA WOODSIDE PARMA LLC 7845 COLONY RD STE C4-242 CHARLOTTE NC 28226-7681
NEXUS DISPOSAL LLC                   PO BOX 734438 DALLAS TX 75373-4438
NEXUS HOLDNG LLC                     DBA VORTEX DOORS LLC C/O VORTEX INDUSTRIES LLC LOCKBOX SERVICES 846952 3440
                                     FLAIR DR EL MONTE CA 91731-2823
NEXXUS COATINGS INC                  10950 PIERSON DR STE 400 FREDERICKSBURG VA 22408-8083
NEZ PERCE COUNTY RECORDERS OFF       77 MOHICAN STREET LEWISTON ID 83501
NEZ PERCE COUNTY RECORDERS OFF       PO BOX 896 LEWISTON ID 83501
NEZ PERCE COUNTY TREASURER           PO BOX 896 LEWISTON ID 83501
NHST GLOBAL PUBLICATIONS AS          1010 WASHINGTON BLVD 2ND FLOOR STAMFORD CT 06901-2208
NIA NICOLE CHATMAN                   ADDRESS ON FILE
NIAGARA FALLS CITY                   PO BOX 1023 4310 QUEEN ST NIAGRA FALLS ON L2E 6X5 CANADA
NIAGARA FALLS CITY                   PO BOX 896 NIAGRA FALLS ON L2E 6X5 CANADA
NIAGARA PENINSULA ENERGY             P.O. BOX 120 7447 PIN OAK DRIVE NIAGARA FALLS ON L2E6S9 CANADA
NICHOLAS ANTHONY CASSANO             ADDRESS ON FILE
NICHOLAS B CAPUTO                    ADDRESS ON FILE
NICHOLAS BRIAN YOUNG                 ADDRESS ON FILE
NICHOLAS CAMPI                       ADDRESS ON FILE
NICHOLAS DE GRAAF                    ADDRESS ON FILE
NICHOLAS E POWELL                    ADDRESS ON FILE
NICHOLAS L KNIGHTS                   ADDRESS ON FILE
NICHOLAS L SMITH                     ADDRESS ON FILE
NICHOLAS S MACCHIA                   ADDRESS ON FILE
NICHOLAS VASSALLO                    UNITED STATES ATTORNEYS OFFICE JC OMAHONEY FEDERAL COURTHOUSE 2120 CAPITOL
                                     AVE, STE 4000 CHEYENNE WY 82001
NICHOLAS VASSALLO                    UNITED STATES ATTORNEYS OFFICE PO BOX 668 CHEYENNE WY 82003-0668
NICHOLAS VASSALLO                    UNITED STATES ATTORNEYS OFFICE YELLOWSTONE JUSTICE CENTER BLDG MA-1015, RM 214


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NICHOLAS VASSALLO                       MAMMOTH HOT SPRINGS WY 82190
NICHOLAS VASSALLO                       UNITED STATES ATTORNEYS OFFICE 331 MAIN ST, STE A LANDER WY 82520
NICHOLAS VASSALLO                       UNITED STATES ATTORNEYS OFFICE PO BOX 449 LANDER WY 82520-0449
NICHOLAS VASSALLO                       UNITED STATES ATTORNEYS OFFICE DICK CHENEY FEDERAL BLDG 100 EAST B ST, STE
                                        2211 CASPER WY 82601
NICHOLAS VASSALLO                       UNITED STATES ATTORNEYS OFFICE PO BOX 22211 CASPER WY 82602-5010
NICHOLAS W. BROWN                       UNITED STATES ATTORNEYS OFFICE 700 STEWART ST, STE 5220 SEATTLE WA 98101-1271
NICHOLAS W. BROWN                       UNITED STATES ATTORNEYS OFFICE 1201 PACIFIC AVE, STE 700 TACOMA WA 98402
NICHOLAS WILLIAM SMITH                  ADDRESS ON FILE
NICHOLS C SCALICE                       ADDRESS ON FILE
NICHOLS LOCK AND SAFE LLC               1107 S 5TH AVE YUMA AZ 85364
NICHOLS, PATRICIA                       ADDRESS ON FILE
NICKELS LAWN AND LANDSCAPING INC        PO BOX 632 VANDALIA OH 45377
NICKLE ELECTRICAL COMPANIES             125 RUTHAR DR NEWARK DE 19711-8025
NICKS & CO PRO LANDSCAPING              6790 APPLETREE STREET HANOVER PARK IL 60133
NICOLAI, FRANK                          ADDRESS ON FILE
NICOR GAS                               PO BOX 5407 CAROL STREAM IL 60197-5407
NIE CONTRACTING LLC                     SABRINA MARIE GIBSON 1009 ARROW CT BOWLING GREEN KY 42104-4664
NIELSEN, NICHOLAS                       ADDRESS ON FILE
NIGHT HAWK PLUMBING & HEATING INC       1858 ALBANY AVENUE BROOKLYN NY 11210-4428
NIGHTLIGHT ELECTRIC COMPANY             PO BOX 1241 FARMINGTON NM 87499
NIKAL VENTURES US INC                   DBA 1-800-GOT-JUNK 13003 TUKWILA INTERNATIONAL BLVD TUKWILA WA 98168-3139
NIKKEL & ASSOCIATES INC                 DBA NAI ELECTRICAL CONTRACTORS 2730 FORD ST STE 101 AMES IA 50010-6442
NIKOLAS KEREST, US ATTORNEY             US COURTHOUSE & FEDERAL BLDG PO BOX 570 11 ELMWOOD AVE, 3RD FL BURLINGTON VT
                                        05402-0570
NIKOLAS KEREST, US ATTORNEY             US COURTHOUSE & FEDERAL BLDG PO BOX 10 151 W ST, 3RD FL RUTLAND VT 05702-0010
NILES CITY HEALTH DEPARTMENTARTMENT     34 W STATE ST NILES OH 44446
NIMA MALEKI                             ADDRESS ON FILE
NIMBUS IRRIGATION LLC                   PO BOX 756 GWINN MI 49841-0756
NINGYI DANNY MAO                        ADDRESS ON FILE
NIPSCO - NORTHERN INDIANA PUBLIC SERV   P.O. BOX 13007 NISOURCE, INC MERRILLVILLE IN 46411-3007
CO
NIR ALGAZI                              ADDRESS ON FILE
NITIN V WAGH                            ADDRESS ON FILE
NITRO CONSTRUCTION SERVICES INC         C/O ENERGY SERVICES OF AMERICA PO BOX 5247 CHARLESTON WV 25361-0247
NITTANY BEVERAGE                        139 NORTH PATTERSON STREET ST COLLEGE PA 16801
NIX SIGN COMPANY LLC                    5025 WEST YELLOWSTONE HWY CASPER WY 82604
NIXON, WILLIAM                          ADDRESS ON FILE
NJ DIVISION OF FIRE SAFETY              PO BOX 809 TRENTON NJ 08625-0809
NJ STATE TREASURY                       BUREAU OF BOILER & PRESSURE VESSEL COMPLIANCE PO BOX 392 TRENTON NJ 08625-0392
NJNG                                    PO BOX 11743 NEWARK NJ 07101-4743
NK ENTERPRISE INC                       DBA ABC LOCKSMITHS 3850 LOSEE RD N LAS VEGAS NV 89030-3307
NLR A&P COMMISSION                      ATTN: ACCOUNTING DEPARTMENT PO BOX 5511 NORTH LITTLE ROCK AR 72119
NMEZI, MURPHY                           ADDRESS ON FILE
NMP SOLUTIONS LLC                       DBA PURELY CLEAN CHEM DRY 1985 W HILLTOP RD OZARK MO 65721-6639
NO SWEAT PROS LLC                       DBA NO SWEAT EXPERTS 4310 SPRING VALLEY RD FARMERS BRANCH TX 75244-3701
NO TIE INC                              DBA ALLENS KENTUCKY MECHANICAL 1466 LAMBERT RD BEREA KY 40403-8796
NOBLE ENVIRONMENTAL                     PO BOX 22796 NEW YORK NY 10087-2796
NOBLE LOCKSMITH SERVICE INC             2670 GRACE ROAD FORT GRATIOT MI 48059
NOBLE PLUMBING & HEATING INC            485 EASTERN AVENUE CHILLICOTHE OH 45601


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NOBLE SERVICES CO                        DBA ROTO-ROOTER SERVICES PO BOX 7150 PUEBLO WEST CO 81007-0150
NOFTLE & NOFTLE INC                      DBA ALLPRO RESTORATION & JANITORIAL 1352 SARATOGA RD GANSEVOORT NY 12831-1561
NOLAND, KLESHA                           ADDRESS ON FILE
NOLCO PLUMBING LLC                       1077 SILAS DEANE HWY 112 WETHERSFIELD CT 06109-4229
NOMAD GROUP LLC                          PO BOX 327 RYE CO 81069
NONES, JOED                              ADDRESS ON FILE
NOPHAKAO SENGPRASEUT                     ADDRESS ON FILE
NOR-CAL BEVERAGE CO INC                  2286 STONE BLVD WEST SACRAMENTO CA 95691-4050
NORA LOPEZ                               ADDRESS ON FILE
NORALS, SHARON                           ADDRESS ON FILE
NORCO INC                                PO BOX 35144 SEATTLE WA 98124-5144
NORENE BRINK                             ADDRESS ON FILE
NORRIS, KADEE & MINOR                    ADDRESS ON FILE
NORTH AMERICAN SIGNS INC                 DBA SITE ENHANCEMENT SERVICES PO BOX 30 SOUTH BEND IN 46624
NORTH CAROLINA DEPARTMENT OF LABOR       BUDGET AND PURCHASING DIV 4 WEST EDENTON STREET RALEIGH NC 27601
NORTH CAROLINA DEPARTMENT OF LABOR       BOILER SAFETY BUREAU 1101 MAIL SERVICE CENTER RALEIGH NC 27699-1101
NORTH CAROLINA DEPT OF COMMERCE          301 N WILMINGTON ST RALEIGH NC 27601-1058
NORTH CAROLINA DEPT OF LABOR             4 W EDENTON ST RALEIGH NC 27603
NORTH CAROLINA DEPT OF LABOR             1101 MAIL SERVICE CTR RALEIGH NC 27699-1101
NORTH CAROLINA DEPT OF REVENUE           501 N WILMINGTON ST RALEIGH NC 27604
NORTH CAROLINA DEPT OF REVENUE           C/O 1 AMERICAN FACILITY SOLUTIONS PO BOX 27431 RALEIGH NC 27611-7431
NORTH CAROLINA DEPT OF REVENUE           PO BOX 25000 RALEIGH NC 27640-0100
NORTH CAROLINA DEPT OF REVENUE           PO BOX 25000 RALEIGH NC 27640-0640
NORTH CAROLINA DEPT OF REVENUE           ATTN: M A DAUGHTRIDGE PO BOX 1818 WINTERVILLE NC 28590
NORTH CAROLINA OFFICE OF THE ATTORNEY    GENERAL CONSUMER PROTECTION DIVISION 114 WEST EDENTON ST RALEIGH NC 27603
NORTH CAROLINA STATE TREASURER           UNCLAIMED PROPERTY DIVISION PO BOX 20431 RALEIGH NC 27619-0431
NORTH CENTRAL DISTRIBUTORS INC           PO BOX 2328 CLARKSBURG WV 26302-2328
NORTH CENTRAL DISTRICT HEALTH            BUREAU OF BOILER & PRESSURE VESSEL COMPLIANCE LEWISTON ID 83501
NORTH CENTRAL DISTRICT HEALTH            ATTN - ENVIRONMENTAL HEALTH 215 TENTH STREET LEWISTON ID 83501
NORTH CHARLESTON SEWER DISTRICT          P.O. BOX 63009 NORTH CHARLESTON SC 29419
NORTH COLONIE CSD RECEIVER OF TAXES      534 NEW LOUDON RD MEMORIAL TOWN HALL LATHAM NY 12110
NORTH COUNTRY DISPOSAL INC               83 EAGLE MILLS RD NEGAUNEE MI 49866
NORTH COUNTRY PROPERTY MAINTENANCE INC   PO BOX 7129 INNISFIL ON L9S 1A9 CANADA
NORTH DAKOTA DEPT OF HEALTH              600 E BLVD AVE, DEPT 325 BISMARCK ND 58505-0250
NORTH DAKOTA DEPT OF LABOR               600 E BLVD AVE DEPT 406 BISMARCK ND 58505-0340
NORTH DAKOTA DEPT OF LABOR & HUMAN       RIGHTS 600 EAST BOULEVARD AVE, DEPT 406 BISMARCK ND 58503
NORTH DAKOTA OFFICE OF ATTORNEY GENERAL CONSUMER COMPLAINTS GATEWAY PROFESSIONAL CTR 600 E BOULEVARD AVE DEPT 125
                                        BISMARCK ND 58505
NORTH EAST ARKANSAS SUPER GAS LLC        DBA NEA CLIENT SERVICES LLC PO BOX 16297 JONESBORO AR 72403
NORTH EAST HEATING & AC                  25 MAGGIES WAY STE 6 DOVER DE 19901-4896
NORTH FLORIDA LEATHER RESTORATION INC    3580 MERGANSER WAY S JACKSONVILLE FL 32223-1938
NORTH HAVEN TOWN TAX COLLECTOR           18 CHURCH ST NORTH HAVEN CT 06473
NORTH HILLS SCHOOL DISTRICT              200 MCINTYRE RD PITTSBURGH PA 15237
NORTH HILLS SCHOOL DISTRICT              JORDAN TAX SERVICE INC 102 RATHWAY RD MCMURRAY PA 15317
NORTH JERSEY BAR AND RESTAURANT SERVICE 15C N SALEM ST DOVER NJ 07801-4271
NORTH LAKES ELECTRIC INC                 DBA WD ROBINSON ELECTRIC SERVICE CORP 1295 REMOUNT ROAD N CHARLESTON SC 29406
NORTH LITTLE ROCK ELECTRIC               120 MAIN STREET NORTH LITTLE ROCK AR 72114
NORTH LITTLE ROCK ELECTRIC               P.O. BOX 936 NORTH LITTLE ROCK AR 72115
NORTH PLAINS MALL REALTY HOLDING LLC     1010 NORTHERN BLVD STE 212 GREAT NECK NY 11021-5320



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NORTH RICHLAND HILLS POLICE DEPARTMENT   PO BOX 820609 NORTH RICHLAND HILLS TX 76182
NORTH RICHLAND HILLS WATER DEPT          PO BOX 820609 NORTH RICHLAND HILLS TX 76182-0609
NORTH SHORE GAS                          PO BOX 6050 CAROL STREAM IL 60197-6050
NORTH STATE SECURITY INC                 PO BOX 991348 REDDING CA 96099-1348
NORTH VALLEY PL LLC CO KIMCO RLTY CORP   ATTN: DAVID MARTIN 500 NORTH BROADWAY, STE. 201 P.O. BOX 9010 JERICHO NY 11753
NORTH VALLEY PLAZA, LLC                  500 NORTH BROADWAY, SUITE 201 P.O. BOX 9010 JERICHO NY 11753
NORTH VALLEY PLAZA, LLC                  C/O KIMCO REALTY CORPORATION 2429 PARK AVENUE TUSTIN CA 92606
NORTH WALES WATER AUTHORITY              PO BOX 95000-1138 PHILADELPHIA PA 19195-1138
NORTH, TAMMY                             ADDRESS ON FILE
NORTH/WESTERN ELECTRICAL CORP            10825 IRMA DRIVE NORTHGLENN CO 80233
NORTHAMPTON BOROUGH MUNICIPAL AUTHORITY P.O. BOX 156 NORTHAMPTON PA 18067-0156
NORTHEAST BEVERAGE CORP                  ONE COORS DRIVE NORTH EAST MD 21901
NORTHEAST EAGLE DISTRIBUTORS             PO BOX 940 PITTSTON PA 18640
NORTHEAST FLORIDA SERVICES CORP          DBA U S LAWNS OF JACKSONVILLE WEST 184 INDUSTRIAL LOOP S ORANGE PARK FL
                                         32073-2858
NORTHEAST OHIO REGIONAL SEWER DISTRICT   PO BOX 94550 CLEVELAND OH 44101-4550
NORTHEAST TEXAS PUBLIC HEALTH DISTRICT   ATTN - ENVIRONMENTAL HEALTH 215 TENTH STREET TYLER TX 75710
NORTHEAST TEXAS PUBLIC HEALTH DISTRICT   ENVIRONMENTAL HEALTH DEPARTMENT PO BOX 2039 TYLER TX 75710
NORTHERN BEER TRADERS                    190 ROCHESTER ROAD PITTSBURGH PA 15229
NORTHERN DRAFT BAR SERVICES INC          307 1338 MCCORMACK ROAD SASKATOON SK S7M 5H7 CANADA
NORTHERN KENTUCKY INDEPENDENT            ENVIRONMENTAL HEALTH DEPARTMENT PO BOX 2039 EDGEWOOD KY 41017
NORTHERN KENTUCKY INDEPENDENT            DISTRICT HEALTH DEPARTMENT 610 MEDICAL VILLAGE DRIVE EDGEWOOD KY 41017
NORTHERN LAWN SPRINKLERS                 43 CHERRYWOOD SUDBURY ON P3B 4A2 CANADA
NORTHERN PLAINS PLUMBING AND HEATING     DBA NORTHERN PLAINS PLUMBING HEATING & AIR 2510 VERMONT AVENUE BISMARCK ND
INC                                      58504
NORTHERN SECURITY                        41 LORNE STREET SUDBURY ON P3C 4P1 CANADA
NORTHERN, DERRICK                        ADDRESS ON FILE
NORTHFIELD BANK                          ATTN: JOAN RISKO 581 MAIN STREET, SUITE 810 WOODBRIDGE NJ 07095
NORTHFIELD STAPLETON ASSOCIATES LLC      ATTN: ASSOCIATE GENERAL COUNSEL, LEASING 600 SUPERIOR AVENUE EAST, SUITE 1500
                                         CLEVELAND OH 44114
NORTHLAND FIRE & SAFETY INC              PO BOX 16779 DULUTH MN 55816
NORTHSTAR HOLDINGS INC                   DBA AFFORDABLE ROOTER AND PLUMBING 976 E GONDOLA DR VENICE FL 34293-1944
NORTHSTAR LEGAL INC                      PO BOX 16253 GREENVILLE SC 29606-7253
NORTHSTAR PRINT LLC                      7872 SOLUTION CENTER CHICAGO IL 60677-7008
NORTHTOWN BEVERAGE LLC                   PO BOX 2141 POST FALLS ID 83877-2141
NORTHTOWN SQUARE LLC                     C/O JAMESON COMMERCIAL PROPERTY PO BOX 2158 SPOKANE WA 99210-2158
NORTHWEST ELECTRICAL CONTRACTING INC     300 GRAND BLVD STE A600 VANCOUVER WA 98661-4943
NORTHWEST ENFORCEMENT INC                PO BOX 30625 PORTLAND OR 97294-3625
NORTHWEST NM VENTURES LLC                DBA SERVICEMASTER RESTORE BY RESTORATION SPECIALISTS PO BOX 6241 FARMINGTON NM
                                         87499-6241
NORTHWEST PROMENADE LLC                  PO BOX 82515 BAKERSFIELD CA 93380-2515
NORTHWEST SWEEPING LLC                   PO BOX 1093 HAYDEN ID 83835-1093
NORTHWESTERN ENERGY, MT                  11 E PARK ST BUTTE MT 59701-1711
NORTON & BROZINA, P.C.                   ATTN:RACHEL BROZINA 4201 N. 24TH STREET, SUITE 150 PHOENIX AZ 85016
NORTON, EVAN                             ADDRESS ON FILE
NOVA AQUARIUM INC                        13904 BEECHWOOD POINT RD MIDLOTHIAN VA 23112-2533
NOVAGRAAF NEDERLAND BV                   OLGA VAN LEEUWEN P.O. BOX 22722 AMSTERDAM 1100 NETHERLANDS
NOVAGRAAF NEDERLAND BV                   OLGA VAN LEEUWEN HOOGOORDDREEF 5 AMSTERDAM 1101 NETHERLANDS
NOVAK SANITARY SERVICE                   PO BOX 679859 DALLAS TX 75267-9859
NOVEC                                    PO BOX 34734 ALEXANDRIA VA 22334-0734


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NOVI CITY TAX COLLECTOR                PO BOX 33321 DRAWER 67 DETROIT MI 48232-5321
NRG BUSINESS MARKETING                 PO BOX 32179 NEW YORK NY 10087-2179
NTELLIGENT NETWORKS INC                5303 S FLORIDA AVE LAKELAND FL 33813-4913
NTFC INC                               DBA ACADEMIC PRODUCTIONS PO BOX 200383 ARLINGTON TX 76006-0383
NTS CORPORATION - SPOA                 NTS/SPRINGS RETAIL MAINT ASSOC 3153 SOLUTIONS CENTER CHICAGO IL 60677-3001
NU GENERATION CONTRACTING LLC          7584 S EVENING WIND DR TUCSON AZ 85757-8584
NUCO2 INC                              PO BOX 9011 STUART FL 34995
NUCO2 INC AND SUBSIDIARIES             DBA NUCO2 LLC 2800 SE MARKET PLACE STUART FL 34997-4965
NUECES COUNTY                          DISTRICT HEALTH DEPARTMENT 610 MEDICAL VILLAGE DRIVE CORPUS CHRISTI TX 78401
NUECES COUNTY                          TAX OFFICE 901 LEOPARD 301 CORPUS CHRISTI TX 78401
NUECES COUNTY TAX ASSESSOR-COLLECTOR   P.O. BOX 2810 CORPUS CHRISTI TX 78403-2810
NUNEZ, NORA                            ADDRESS ON FILE
NUNEZ, OSVALDO                         ADDRESS ON FILE
NUTRI LAWN OTTAWA                      1038 BELFAST ROAD OTTAWA ON K1B 3S3 CANADA
NUTRI-LAWN                             1988 KINGSWAY UNIT 8 SUDBURY ON P3B 4J8 CANADA
NUTRI-LAWN KINGSTON                    ADDRESS ON FILE
NUTRICLINICAL SOLUTIONS LLC            PO BOX 1742 ALACHUA FL 32616-1742
NUWAVE COMMUNICATIONS                  8275 S EASTERN AVE STE 200 LAS VEGAS NV 89123
NUWAY DISPOSAL                         PO BOX 9 MOKENA IL 60448
NV ENERGY/30073 NORTH NEVADA           PO BOX 30073 RENO NV 89520-3073
NV ENERGY/30150 SOUTH NEVADA           PO BOX 30150 RENO NV 89520-3150
NVS LANDSCAPE SERVICES                 23A WALKER WAY COLONIE NY 12205-4945
NW CENTRAL PLUMBING CO                 DBA LOCAL PLUMBING CO 20833 SW OLDS PL SHERWOOD OR 97140-8122
NW NATURAL                             PO BOX 6017 NORTHWEST NATURAL PORTLAND OR 97228-6017
NWCC CENTER PLAZA LLC                  C/O PUGET SOUND RETAIL, LLC 1402 E. PIKE ST. SEATTLE WA 98122
NWCC INVESTMENTS II LLC                DBA NWCC CENTER PLAZA 1402 E PIKE ST SEATTLE WA 98122-4148
NWO BEVERAGE INC                       6700 WALES ROAD NORTHWOOD OH 43619
NWT HOME SERVICES LLC                  DBA NEALE W TOWNSEND 12320 BARKER CYPRESS RD STE 600 CYPRESS TX 77429-8329
NYC DEPARTMENT OF FINANCE              PO BOX 32 NEW YORK NY 10008
NYC DEPARTMENT OF FINANCE              TAX OFFICE 901 LEOPARD 301 NEW YORK NY 10008
NYC DEPT OF CONSUMER & WORKER          42 BROADWAY FL 8 NEW YORK NY 10004-1617
PROTECTION
NYC WATER BOARD                        PO BOX 11863 NEWARK NJ 07101-8163
NYLAND SECURED CONTRACTING LLC         DBA NSC PLUMBING 7241 SHADY DR PANAMA CITY FL 32404-5226
NYMARK MEDICAL CENTRE                  4839 LESLIE STREET NORTH YORK ON M2J 2K8 CANADA
NYSEG-NEW YORK STATE ELECTRIC & GAS    PO BOX 847812 BOSTON MA 02284-7812
NYSTROM ELECTRIC COMPANY INC           1504 WEST 3RD STREET SIOUX CITY IA 51103
O & W INC                              3003 WILLIAM STREET YPSILANTI MI 48198
O HEALY PROFESSIONAL SERVICES LLC      1202 S ROAN ST JOHNSON CITY TN 37601-6840
OAK RIDGE CITY TREASURER               PO BOX 1 OAK RIDGE TN 37831
OAK RIDGE HAULING LLC                  PO BOX 1937 DANBURY CT 06813-1937
OAK RIDGE UTILITY DIST TN              PO BOX 4189 OAK RIDGE TN 37831-4189
OAK RIDGE UTILITY DISTRICT             120 S. JEFFERSON CIRCLE OAK RIDGE TN 37830
OAKDALE VILLAGE LLC                    C/O WELLINGTON MANAGEMENT INC 1625 ENERGY PARK DR STE 100 SAINT PAUL MN
                                       55108-2735
OAKLAND COUNTY HEALTH DEPARTMENT       1200 TELEGRAPH RD PONTIAC MI 48341-1032
OAKLAND COUNTY HEALTH DIV              PO BOX 32 SOUTHFIELD MI 48076-3625
OAKLAND COUNTY HEALTH DIV              27725 GREENFIELD RD SOUTHFIELD MI 48076-3625
OAKTREE INVESTMENTS 4 LLC              C/O JOHN DAVID WILSON & BARBARA ANN WILSON 6355 PRINCEVILLE CIR HUNTINGTON
                                       BEACH CA 92648-5524


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OAKTREE INVESTMENTS 4, LLC               6355 PRINCEVILLE CIRCLE HUNTINGTON BEACH CA 92648
OAKWOOD PLAZA LP                         PO BOX 30344 TAMPA FL 33630-3344
OATES, EVERETT, OATES, EVERETT           ADDRESS ON FILE
OBEACH LLC                               289 CAMINO DEL POSTIGO ESCONDIDO CA 92029-7442
OBERMARK, CHARLES                        ADDRESS ON FILE
OBRIEN LANDSCAPING                       5582 BEVERLY COURT BETHEL PARK PA 15102
OC PREMIUM SERVICES LLC                  C/O ACE HANDYMAN SERVICES 12121 SILVERLAKE PARK DR WINDERMERE FL 34786-9481
OCCUPATIONAL SAFETY AND HEALTH ADMIN     U.S. DEPARTMENT OF LABOR OCCUPATIONAL SAFETY & HEALTH ADMIN 200 CONSTITUTION
                                         AVE, NW RM NO N3626 WASHINGTON DC 20210
OCEAN BANK                               ATTN: COMMERCIAL REAL ESTATE 7890 N.W. 42ND AVENUE MIAMI FL 33126
OCEAN BEAUTY SEAFOODS                    4800 IRVING STREET BOISE ID 83706-2215
OCEAN CONSERVANCY INC                    1300 19TH ST NW STE 800 WASHINGTON DC 20036-1653
OCEAN FOAM                               1256 LOCUST RD POTTSBORO TX 75076-6163
OCEAN PRO INC                            P O BOX 1284 TUCKER GA 30084
OCEAN SEAFOOD DEPOT INC                  331 ADAMS ST NEWARK NJ 07105-1929
OCEAN TOWNSHIP TAX COLLECTOR-OCEAN       50 RAILROAD AVE WARETOWN NJ 08758
OCH SERVICES LLC                         17640 SPARKLING RIVER RD BOCA RATON FL 33496-5639
OCH-KING AVENUE LLC                      PO BOX 18425 GOLDEN CO 80402-6040
OCHOA, MARIA                             ADDRESS ON FILE
OCRE INVESTMENTS LLC                     ATTN: OSCAR COUSILLAS 1395 BRICKELL AVENUE SUITE 730 MIAMI FL 33131
OCTO PRO WASH INC                        238 MARTHA PL FULLERTON CA 92833-2669
ODESSA-ECTOR COUNTY HEALTH DEPARTMENT    221 NORTH TEXAS ODESSA TX 79761
ODESSA-ECTOR COUNTY HEALTH DEPARTMENT    27725 GREENFIELD RD ODESSA TX 79761
ODOM SERVICES LLC                        6398 TUGGLE DR BUFORD GA 30518-1414
ODOM STEIN LLC                           DBA ODOM EAST LLC 11400 SE 8TH ST STE 300 BELLEVUE WA 98004-6409
ODONNELL ROBERTSON                       ATTN:STEVEN CANTO 180 DUNDAS STREET WEST SUITE 1500 TORONTO ON M5G 1Z8 CANADA
ODORITE OF ROCHESTER INC                 819 WESTWOOD TRAIL WEBSTER NY 14580
ODP BUSINESS SOLUTIONS LLC               DBA OFFICE DEPOT BUSINESS SOLUTIONS LLC PO BOX 633211 CINCINNATI OH 45263-3211
OF METAL AND WOOD                        613 WEST CEDAR STREET FARMINGTON NM 87401
OFDC COMMUNICATIONS                      12025 MEADOWVILLE CT HERNDON VA 20170-2608
OFF OF THE ILLINOIS SECRETARY OF STATE   100 W RANDOLPH STREET SUITE 7-801 SPRINGFIELD IL 62756
OFF OF THE ILLINOIS SECRETARY OF STATE   213 STATE CAPITOL SPRINGFIELD IL 62756
OFF OF THE ILLINOIS STATE FIRE MARSHAL   CASHIER BOILERS 1035 STEVENSON DRIVE SPRINGFIELD IL 62703
OFF OF THE ILLINOIS STATE FIRE MARSHAL   PO BOX 3331 SPRINGFIELD IL 62708-3331
OFF THE TOP LLC                          C/O OFF THE TOP LMC LLC 1500 SPRINGHILL TER DOTHAN AL 36303-2259
OFFDUTYCOPS.COM INC                      8082 BOWLINE DR INDIANAPOLIS IN 46236-8853
OFFICE COMPLEX ENTERPRISES INC           952 LAKEWOOD ROAD TOMS RIVER NJ 08753
OFFICE OF ALCOHOLIC BEV CONTROL          9048 AIRLINE HIGHWAY BATON ROUGE LA 70815
OFFICE OF ATTORNEY GENERAL               SUNTRUST BANK OF CENTRAL PARK DO NOT MAIL ORLANDO FL 32809
OFFICE OF CITY CLERK                     SUNTRUST BANK OF CENTRAL PARK DO NOT MAIL MUSKOGEE OK 74402
OFFICE OF CITY CLERK                     PO BOX 1927 MUSKOGEE OK 74402
OFFICE OF COMMISSIONER OF INSURANCE      PO BOX 1927 ATLANTA GA 31193-5467
OFFICE OF COMMISSIONER OF INSURANCE      DBA OFFICE OF INSURANCE AND SAFETY FIRE PO BOX 935467 ATLANTA GA 31193-5467
OFFICE OF DIVERSITY & EQUAL OPPORTUNITY 180 E 5TH ST SUITE 1200 ST. PAUL MN 55101
OFFICE OF FINANCE/ T & P ALARM UNIT      CITY OF LOS ANGELES PO BOX 30879 LOS ANGELES CA 90030-0879
OFFICE OF KANSAS ATTORNEY                CONSUMER PROTECTION DIVISION 120 SW 10TH AVE 2ND FL TOPEKA KS 66612-1597
OFFICE OF SEC. OF STATE OF IDAHO         HON. PHIL MCGRANE PO BOX 83720 BOISE ID 83720-0080
OFFICE OF STATE FIRE MARSHALL            LOUISIANA DEPARTMENT OF PUBLIC SAFETY 7919 INDEPENDENCE BLVD BATON ROUGE LA
                                         70806



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OFFICE OF THE BOROUGH OF WYOMISSING      DBA BOROUGH OF WYOMISSING 22 READING BLVD WYOMISSING PA 19610
OFFICE OF THE COUNTY CLERK               PO BOX 551601 LAS VEGAS NV 89155-1601
OFFICE OF THE DIRECTOR, STATE OF         235 SOUTH BERETANIA STREET HONOLULU HI 96813
HAWAI'I
OFFICE OF THE GOVERNOR                   LOUISIANA COMMISSION ON HUMAN RIGHTS P.O. BOX 94094 BATON ROUGE LA 70804
OFFICE OF THE ILLINOIS STATE TREASURER   UNCLAIMED PROPERTY DIVISION MARINE BANK BUILDING 1 EAST OLD STATE C APITOL
                                         PLAZA SPRINGFIELD IL 62701
OFFICE OF THE INDIANA ATTORNEY GENERAL   UNCLAIMED PROPERTY DIVISION PO BOX 2504 GREENWOOD IN 46142
OFFICE OF THE MS STATE TREASURER         UNCLAIMED PROPERTY DIVISION PO BOX 138 JACKSON MS 39205-0138
OFFICE OF THE N.Y. STATE COMPTROLLER     OFFICE OF UNCLAIMED FUNDS 110 STATE ST ALBANY NY 12236
OFFICE OF THE STATEWIDE EEO COORDINATOR 301 W. PRESTON STREET SUITE 607 BALTIMORE MD 21202
OFFIT KURMAN, P.A.                       ATTN: MARC DAHAN 10 BANK STREET, SUITE 880 WHITE PLAINS NY 10606
OFS                                      16 LENNOX DR BARRIE ON L4N 9V8 CANADA
OG&E -OKLAHOMA GAS & ELECTRIC SERVICE    P.O. BOX 24990 OGE ENERGY CORP OKLAHOMA CITY OK 73124-0990
OHIO ATTORNEY GENERALS OFFICE            CONSUMER PROTECTION 30 E BROAD ST 14TH FL COLUMBUS OH 43215-3400
OHIO BUREAU OF WORKERS COMPENSATION      PO BOX 89492 CLEVELAND OH 44101-6492
OHIO CIVIL RIGHTS COMMISSION             30 EAST BROAD STREET COLUMBUS OH 43215
OHIO COMMERCIAL DOOR CO INC              962 FREEWAY DRIVE NORTH COLUMBUS OH 43229
OHIO DEPARTMENT OF COMMERCE              DIV OF INDUSTRIAL COMPL - BOILER SECTION 6606 TUSSING ROAD PO BOX 4009
                                         REYNOLDSBURG OH 43068-9009
OHIO DEPARTMENT OF COMMERCE              DIV OF INDUSTRIAL COMPLIANCE PO BOX 4009 REYNOLDSBURG OH 43068-9009
OHIO DEPARTMENT OF COMMERCE              DIVISION OF UNCLAIMED FUNDS 77 SOUTH HIGH ST, 23RD FL COLUMBUS OH 43215-6133
OHIO DEPARTMENT OF TAXATION              PO BOX 2678 COLUMBUS OH 43216-2678
OHIO DEPARTMENT OF TAXATION              PO BOX 182131 COLUMBUS OH 43218-2131
OHIO DEPARTMENT OF TAXATION              PO BOX 16561 4485 NORTHLAND RIDGE BLVD. COLUMBUS OH 43229
OHIO DEPT OF JOB & FAMILY SERVICES       4020 EAST 5TH AVENUE COLUMBUS OH 43219
OHIO DEPT OF JOB AND FAMILY SERVICES     OFFICE OF UNEMPLOYMENT COMPENSATION 30 E BROAD ST, 32ND FL COLUMBUS OH 43215
OHIO DEPT OF JOB AND FAMILY SERVICES     OFFICE OF UNEMPLOYMENT INSURANCE PO BOX 182212 COLUMBUS OH 43218-2212
OHIO DEPT OF NATURAL RESOURCES           2045 MORSE ROAD COLUMBUS OH 43229-6693
OHIO DRAIN DOCTORS LLC                   309 W CENTER ST MARION OH 43302-3613
OHIO EAGLE DISTRIBUTING LLC              9300 ALLEN RD WEST CHESTER OH 45069-3847
OHIO EDISON                              P.O. BOX 3637 FIRSTENERGY CORPORATION AKRON OH 44309-3637
OHIO ENVIRONMENTAL PROTECTION AGENCY     LAZARUS GOVT CTR 50 W TOWN ST, STE 700 PO BOX 1049 COLUMBUS OH 43216-1049
OHIO VALLEY BEER & WINE CO               10975 MEDALLION DRIVE EVENDALE OH 45241
OHIO VALLEY WASTE SERVICE                PO BOX 432 MARS PA 16046
OHIO WINDOW CLEANING INC                 DBA INDIANA WINDOW CLEANING PO BOX 24039 DAYTON OH 45424
OHIO WINE IMPORTS CO INC                 1265 CRESCENT STREET YOUNGSTOWN OH 44502
OHRN, DANIEL, OHRN, DANIEL               ADDRESS ON FILE
OKALOOSA COUNTY GAS DISTRICT             364 VALPARAISO PARKWAY VALPARAISO FL 32580
OKALOOSA COUNTY TAX COLLECTOR            PO BOX 1390 NICEVILLE FL 32588-1390
OKALOOSA GAS DISTRICT, FL                P.O. BOX 548 VALPARAISO FL 32580-0548
OKI WATER CONDITIONING INC               DBA OXLEY SOFTWATER CO A DIVISION OF WATER TREATMENT PROCESSES 1605 E ROBIN
                                         LANE MUNCIE IN 47303-6102
OKLAHOMA ABLE COMMISSION                 4545 N LINCOLN BLVD SUITE 270 OKLAHOMA CITY OK 73105
OKLAHOMA ATTORNEY GENERAL                CONSUMER PROTECTION UNIT 313 NE 21ST ST OKLAHOMA CITY OK 73105
OKLAHOMA CITY                            COUNTY HEALTH DEPARTMENT 4900 RICHMOND SQUARE SUITE 200 OKLAHOMA CITY OK
                                         73118-2044
OKLAHOMA CITY                            4545 N LINCOLN BLVD SUITE 270 OKLAHOMA CITY OK 73118-2044
OKLAHOMA COUNTY TREASURER                PO BOX 268875 OKLAHOMA CITY OK 73126-8875
OKLAHOMA DEPARTMENT OF CONSUMER CREDIT   629 NE 28TH ST OKLAHOMA CITY OK 73105


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OKLAHOMA DEPT OF ENVIRONMENTAL QUALITY   PO BOX 1677 OKLAHOMA CITY OK 73101-1677
OKLAHOMA DEPT OF ENVIRONMENTAL QUALITY   707 N ROBINSON OKLAHOMA CITY OK 73102
OKLAHOMA DEPT OF LABOR                   409 NE 28TH ST, 3RD FL OKLAHOMA CITY OK 73105
OKLAHOMA EMPLOYMENT SECURITY COMMISSION 2401 N. LINCOLN BLVD. OKLAHOMA CITY OK 73105
OKLAHOMA EMPLOYMENT SECURITY COMMISSION UNEMPLOYMENT INSURANCE PO BOX 52003 OKLAHOMA CITY OK 73152-2003
OKLAHOMA NATURAL GAS CO: KANSAS CITY     PO BOX 219296 KANSAS CITY MO 64121-9296
OKLAHOMA RESTAURANT SUPPLY CO            2701 WEST CALIFORNIA OKLAHOMA CITY OK 73107
OKLAHOMA STATE DEPARTMENT OF HEALTH      1000 NE 10TH STREET OKLAHOMA CITY OK 73117-1299
OKLAHOMA STATE TREASURER                 UNCLAIMED PROPERTY DIVISION 9520 N MAY AVE, LOWER LEVEL OKLAHOMA CITY OK 73120
OKLAHOMA TAX COMMISION                   MIXED BEVERAGE PO BOX 26920 OKLAHOMA CITY OK 73126-0920
OKLAHOMA TAX COMMISSION                  PO BOX 26850 OKLAHOMA CITY OK 73126-0850
OKLAHOMA TAX COMMISSION                  TAX PAYER ASSISTANCE DIVISION P.O. BOX 269057 OKLAHOMA CITY OK 73126-9057
OKLAHOMA TAX COMMISSION                  OKLAHOMA TAX COMMISSION OKLAHOMA CITY OK 73914
OKTA INC                                 PO BOX 743620 LOS ANGELES CA 90074-3620
OLATHE KANSAS                            ADDRESS ON FILE
OLD MILLS LIGHTING LLC                   DBA YESCO MYRTLE BEACH 6511 DICK POND RD MYRTLE BEACH SC 29588-8200
OLESEN AL LLC                            PO BOX 274 BUELLTON CA 93427
OLIVARES Y COMPANIA, S.C.                ALONSO CAMARGO - PARTNERMARIA FENTON PEDRO LUIS OGAZON 17, SAN ANGEL ALVARO
                                         OBREGON MEXICO CITY 01000 MEXICO
OLIVER MANORS APARTMENTS LLC             C/O OLIVIA CHEVANNES 2520 CANDLER ROAD DECATUR GA 30032
OLIVER VERNARD NICHOLS                   ADDRESS ON FILE
OLIVER, STEPHANIE                        ADDRESS ON FILE
OLIVIERI CONTRACTING INC                 2511 LOCUST ST S CANAL FULTON OH 44614-7400
OLMSTEAD COUNTY                          COUNTY HEALTH DEPARTMENT 4900 RICHMOND SQUARE SUITE 200 ROCHESTER MN 55904
OLMSTEAD COUNTY                          PUBLIC HEALTH SERVICES 2100 CAMPUS DRIVE SE ROCHESTER MN 55904
OLYMPIA LANDSCAPE IRRIGATION INC         PO BOX 450347 LAREDO TX 78045-0008
OLYMPUS LAWNCARE MAINTENANCE & SERVICES 574 E 23RD ST APT 84 LOVELAND CO 80538-3282
OMAHA CAVE PARTNERSHIP LP                727 CRAIG ROAD 100 ST LOUIS MO 63141-7114
OMAHA EXPERT APPLIANCE REPAIR            DBA SHANE RICKARD 8626 I ST OMAHA NE 68127-1618
OMAHA PUBLIC POWER DISTRICT              PO BOX 3995 OMAHA NE 68103-0995
OMARS MULTI SERVICES LLC                 785 DALLAS HWY SE CARTERSVILLE GA 30120-6724
OMAYRA SARDINA                           ADDRESS ON FILE
OMCAN                                    DBA CAPITAL CUTLERY SHARPENING SERVICE LTD EAST 72 NORMAN STREET OTTAWA ON K1S
                                         3K4 CANADA
ON TAP BAR SERVICE                       1039 MIDDLETON CRES REGINA SK S4N 7B6 CANADA
ON THE SIDE CARPET CLEANING LLC          1218 CACTUS CUT RD MIDDLEBURG FL 32068-3206
ON TIME PLUMBING & HEATING               611 S EMPORIA AVE WICHITA KS 67202-4510
ON TIME SPORTS                           214 S COLE RD BOISE ID 83709-0934
ON-SITE VINYL                            5509 BARRE AVE STOCKTON CA 95212-2310
ONE BOUNCE GOLF LLC                      DBA ROTO ROOTER 5291 28TH AVE ROCKFORD IL 61109-1772
ONE CALL PLUMBING INC.                   336 EXCHANGE ST SPARTANBURG SC 29306-3002
ONE CHOICE APPLIANCE REPAIR LLC          3784 US HIGHWAY 80 W UNIT B PHENIX CITY AL 36870-6461
ONE DAY MASTERPIECES                     2101 PREMIER ROW ORLANDO FL 32809
ONE SOURCE SERVICE LLC                   HVAC/R & FOOD SERVICE EQUIPMENT PO BOX 46 FLORA VISTA NM 87415
ONE STOP GENERAL CONTRACTING LLC         DBA THEODORE CAMPBELL JR 9701 APOLLO DR STE 100 LARGO MD 20774-4785
ONECO CONCRETE & ASPHALT INC             PO BOX 367 ONECO FL 34264-0367
ONEDINE LLC                              DBA ONEDINE 5055 W PARK BLVD STE 601 PLANO TX 75093-2010
ONEIL TAP CLEANING SERVICE INC           5500 3RD AVE ALTOONA PA 16602
ONONDAGA CO DEPARTMENT OF                HEALTH COMM SANITION SVCS ALARM ENFORCEMENT UNIT 407 S STATE ST SYRACUSE NY
                                         13215


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Claim Name                              Address Information
ONONDAGA COUNTY                         PUBLIC HEALTH SERVICES 2100 CAMPUS DRIVE SE SYRACUSE NY 13202-2005
ONONDAGA COUNTY                         ALARM ENFORCEMENT UNIT 407 S STATE ST SYRACUSE NY 13202-2005
ONONDAGA COUNTY                         DEPARTMENT OF HEALTH COMM SANITION SVCS PO BOX 190 SYRACUSE NY 13215
ONONDAGA COUNTY COMMISSIONER OF FINANCE PO BOX 5271 BINGHAMTON NY 13902
ONONDAGA COUNTY WATER AUTHORITY         PO BOX 4949 SYRACUSE NY 13221-4949
ONSITE PRIVATE SECURITY INC             1936 N 1600 NORTH ACCESS RD CEDAR CITY UT 84721-8607
ONSLOW COUNTY ABC BOARD                 409 CENTER STREET JACKSONVILLE NC 28546
ONSLOW COUNTY TAX COLLECTOR             39 TALLMAN ST JACKSONVILLE NC 28540-4846
ONSLOW COUNTY TAX COLLECTOR             234 NW CORRIDOR BLVD JACKSONVILLE NC 28540-5309
ONTARIO MILLS LTD PARTNERHIP            DBA ONTARIO MILLS PO BOX 198844 ATLANTA GA 30384-8844
ONTARIO MUNICIPAL UTILITIES COMPANY     PO BOX 8000 ONTARIO CA 91761-1076
OP OAKHURST REALTY LLC                  ATTN: PRIYANK AGARWAL 46 FLEMMING DRIVE HILLSBOROUGH NJ 08844
OP OAKHURST REALTY LLC                  46 FLEMMING DR HILLSBOROUGH NJ 08844-5281
OP OAKHURST REALTY, LLC AS SUCCESSOR TO GGC REAL ESTATE INVESTMENTS I, L.P. 2 UNIVERSITY PLAZA, SUITE 101 HACKENSACK
                                        NJ 76001
OPENDOOR SERVICES                       4045 CORONADO AVE STOCKTON CA 95204-2311
OPENTABLE INC                           29109 NETWORK PL CHICAGO IL 60673-1291
OPERATION SUPPORT INC                   17526 COLIMA RD UNIT E ROWLAND HEIGHTS CA 91748-1750
OPTIMUM                                 PO BOX 70340 PHILADELPHIA PA 19176
OPTIMUM                                 PO BOX 4019 CAROL STREAM IL 60197-4019
OPTIMUM MANAGEMENT SOLUTIONS LLC        PO BOX 96413 CHARLOTTE NC 28296-0413
OQUINN, MONICA                          ADDRESS ON FILE
ORA ANN ENTERPRISES LLC                 DBA ELITE ASSET PROTECTION & CONSULTING FIRM 8001 SOMERSET BLVD 170 PARAMOUNT
                                        CA 90723-4334
ORACLE AMERICA INC                      500 ORACLE PARKWAY REDWOOD SHORES CA 94065
ORACLE APPLICATIONS USERS GROUP         C/O MEETING EXPECTATIONS ONE GLENLAKE PARKWAY NE SUITE 1200 ATLANTA GA
                                        30328-7267
ORANGE AND ROCKLAND UTILITIES           PO BOX 1005 SPRING VALLEY NY 10977-0800
ORANGE CO BOARD OF CO COMMISSIONERS     PO BOX 1393 ORLANDO FL 32802-1393
ORANGE CONE COMPANY LLC                 DBA EXECUTIVE AIR COOLING, HEATING & REFRIGERATION 106 PERRY AVE SE FORT
                                        WALTON BEACH FL 32548-5512
ORANGE COUNTY COMPTROLLERS OFFICE       PO BOX 190 ORLANDO FL 32802
ORANGE COUNTY COMPTROLLERS OFFICE       FINANCE & ACCOUNTING 4TH FLR PO BOX 38 ORLANDO FL 32802
ORANGE COUNTY DEPARTMENT OF HEALTH      124 MAIN ST GOSHEN NY 10924-2199
ORANGE COUNTY DEPARTMENT OF HEALTH      FINANCE & ACCOUNTING 4TH FLR PO BOX 38 GOSHEN NY 10924-2199
ORANGE COUNTY FIRE RESCUE DEPT          ATTN FISCAL & OPERATIONAL SUPPORT DIV PO BOX 5879 WINTER PARK FL 32793-5879
ORANGE COUNTY HEALTH CARE AGENCY        2009 EAST EDINGER AVENUE SANTA ANA CA 92705
ORANGE COUNTY SHERIFFS OFFICE           LAW ENFORCE OFF-DUTY SVCS SCT PO BOX 1440 ORLANDO FL 32802
ORANGE COUNTY TAX COLLECTOR             PO BOX 545100 ORLANDO FL 32854
ORANGE COUNTY UTILITIES                 PO BOX 105573 ATLANTA GA 30348-5573
ORANGE COUNTY UTILITIES SERVICE         9150 CURRY FORD RD ORLANDO FL 32825
ORANGE VILLAGE                          4600 LANDER ROAD CHAGRIN FALLS OH 44022-1704
ORANGE VILLAGE                          124 MAIN ST CHAGRIN FALLS OH 44022-1704
ORDMER, RANDOLPH                        ADDRESS ON FILE
OREGON BUREAU OF LABOR AND INDUSTRIES   800 NE OREGON ST SUTIE 1045 PORTLAND OR 97232
OREGON DEPARTMENT OF JUSTICE            FINANCIAL FRAUD CONSUMER PROTECTION SECTION 1162 COURT ST NE SALEM OR
                                        97301-4096
OREGON DEPARTMENT OF REVENUE            955 CENTER ST NE SALEM OR 97301
OREGON DEPARTMENT OF REVENUE            PO BOX 14790 SALEM OR 97309-0470
OREGON DEPARTMENT OF REVENUE            PO BOX 14260 SALEM OR 97309-5060


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OREGON DEPARTMENT OF STATE LANDS       UNCLAIMED PROPERTY DIVISION 900 COURT ST NE SALEM OR 97301-1279
OREGON DEPT OF ENVIRONMENTAL QUALITY   700 NE MULTNOMAH ST, STE 600 PORTLAND OR 97232-4100
OREGON DEPT OF FISH AND WILDLIFE       4034 FAIRVIEW INDUSTRIAL DRIVE, SE SALEM OR 97302
OREGON EMPLOYMENT DEPT                 DIV. OF UNEMPLOYMENT INSURANCE 875 UNION ST NE SALEM OR 97311
OREGON LIQUOR CONTROL COMM             PO BOX 22297 PORTLAND OR 97222
OREGON OILS INC                        2515 NW 28TH AVE PORTLAND OR 97210-2003
OREGON SECRETARY OF STATE              CORPORATIONS DIVISION 255 CAPITOL STREET NE, SUITE 151 SALEM OR 97310-1327
ORIENTAL TRADING COMPANY INC           DBA FUN EXPRESS LLC PO BOX 77120 MINNEAPOLIS MN 55480-7702
ORIGLIO BEVERAGE INC                   3000 MEETING HOUSE ROAD PHILADELPHIA PA 19154
ORLANDO FEDERAL CREDIT UNION           945 SOUTH ORANGE AVENUE ORLANDO FL 32806
ORLANDO MAGIC LTD                      DBA ORLANDO EVENTS CENTER ENTERPRISE LLC 400 W CHURCH ST STE 250 ORLANDO FL
                                       32801-2515
ORLANDO MORENO                         ADDRESS ON FILE
ORLANDO UTILITIES COMMISSION           PO BOX 3193 ORLANDO FL 32802
ORLANDO UTILITIES COMMISSION           PO BOX 31329 TAMPA FL 33631-3329
ORLANDO WASTE PAPER CO INC             P.O. BOX 547874 ORLANDO FL 32854-7874
ORLANDO WATER INC                      3840 COMMERCE LOOP ORLANDO FL 32808-3818
ORMOND HARDWARE CO INC                 DBA BILL PARTINGTONS AHC SAFE AND LOCK 54 W GRANADA BLVD ORMOND BEACH FL
                                       32174-6326
ORO VALLEY WATER UTILITY               PO BOX 847327 LOS ANGELES CA 90084-7327
ORTH, VICTORIA                         ADDRESS ON FILE
ORTIZ, ELEXUS                          ADDRESS ON FILE
ORTIZ, ERICA                           ADDRESS ON FILE
ORTIZ, MIGUEL                          ADDRESS ON FILE
ORTIZ, MODESTA                         ADDRESS ON FILE
ORTIZ, XAVIER                          ADDRESS ON FILE
ORWAK NORTH AMERICA INC                9200 GLOBE CENTER DRIVE SUITE 130 MORRISVILLE NC 27560
OSA JANITORIAL SERVICE INC             DBA OSA SPECIALIZED CLEANING PO BOX 30051 MESA AZ 85275-0051
OSBORN BROTHERS INC                    PO BOX 649 GADSDEN AL 35901
OSBORN, MICHELLE                       ADDRESS ON FILE
OSBORNE, KEVIN                         ADDRESS ON FILE
OSBORNE, RUBY                          ADDRESS ON FILE
OSBURN MECHANICAL PLUMBING & HEATING   830 WALNUT ST ELMIRA NY 14901-1938
INC
OSCARS FINE WINES AND SPIRITS          1203D NORTH GLOSTER TUPELO MS 38801
OSCEOLA COUNTY TAX COLLECTOR           PO BOX 422105 KISSIMMEE FL 34742-2105
OSHA - ALABAMA                         MEDICAL FORUM BUILDING 950 22ND STREET NORTH ROOM 1050 BIRMINGHAM AL 35203
OSHA - ALABAMA                         1141 MONTLIMAR DRIVE SUITE 1006 MOBILE AL 36609
OSHA - ALASKA                          222 W. 8TH AVENUE ROOM A14 ANCHORAGE AK 99513
OSHA - ALBANY AREA OFFICE              LEO OBRIEN FEDERAL BUILDING 11A CLINTON AVENUE ROOM 617 ALBANY NY 12207-2355
OSHA - ALLENTOWN AREA OFFICE           SAUCON VALLEY PLAZA 3477 CORPORATE PARKWAY SUITE 120 CENTER VALLEY PA 18034
OSHA - APPLETON AREA OFFICE            1648 TRI PARK WAY APPLETON WI 54914
OSHA - ARKANSAS                        10810 EXECUTIVE CENTER DR DANVILLE BLDG 2 SUITE 206 LITTLE ROCK AR 72211
OSHA - ATLANTA EAST AREA OFFICE        2296 HENDERSON MILL ROAD NE SUITE 200 ATLANTA GA 30345
OSHA - ATLANTA WEST AREA OFFICE        1995 NORTH PARK PLACE S.E. SUITE 525 ATLANTA GA 30339
OSHA - AUGUSTA AREA OFFICE             E.S. MUSKIE FEDERAL BLDG 40 WESTERN AVE ROOM G-26 AUGUSTA ME 04330
OSHA - AUSTIN AREA OFFICE              LA COSTA GREEN BLDG 1033 LA POSADA DR, SUITE 375 AUSTIN TX 78752-3832
OSHA - AVENEL AREA OFFICE              1030 ST. GEORGES AVENUE PLAZA 35 SUITE 205 AVENEL NJ 07001
OSHA - BALTIMORE-WASHINGTON DC AREA    OFFICE U.S. DEPARTMENT OF LABOR-OSHA 1099 WINTERSON RD, STE 140 LINTHICUM MD
                                       21090


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OSHA - BANGOR DISTRICT OFFICE            MARGARET CHASE SMITH FEDERAL BUILDING 202 HARLOW ST ROOM 20900 BANGOR ME 04401
OSHA - BATON ROUGE AREA OFFICE           9100 BLUEBONNEY CENTRE BLVD SUITE 201 BATON ROGUE LA 70809
OSHA - BILLINGS AREA OFFICE              2900 4TH AVENUE SUITE 303 BILLINGS MT 59101
OSHA - BISMARCK AREA OFFICE              US DEPARTMENT OF LABOR - OSHA 807 E. MAIN AVE SUITE B BISMARCK ND 58501
OSHA - BOISE AREA OFFICE                 1387 S. VINNELL WAY SUITE 218 BOISE ID 83709
OSHA - BOSTON NORTH AREA OFFICE -        ANDOVER SHATTUCK OFFICE CENTER 138 RIVER ROAD, STE 102 ANDOVER MA 01810
OSHA - BOSTON SOUTH AREA OFFICE -        BRAINTREE 639 GRANITE STREET FLOOR 1 BRAINTREE MA 02184
OSHA - BRIDGEPORT AREA OFFICE            915 LAFAYETTE BOULEVARD ROOM 309 BRIDGEPORT CT 06604
OSHA - BUFFALO AREA OFFICE               130 S. ELMWOOD AVENUE STE 500 BUFFALO NY 14202
OSHA - CHARLESTON AREA OFFICE            US DEPARTMENT OF LABOR - OSHA 405 CAPITOL STREET SUITE 407 CHARLESTON WV
                                         25301-1727
OSHA - CHEYENNE STATE PLAN OFFICE        5221 YELLOWSTONE ROAD CHEYENNE WY 82002
OSHA - CHICAGO NORTH AREA OFFICE         2020 S. ARLINGTON HEIGHTS ROAD SUITE 102 ARLINGTON HEIGHTS IL 60005
OSHA - CHICAGO SOUTH AREA OFFICE         8505 W. 183RD STREET SUITE C-1300 TINLEY PARK IL 60487
OSHA - CHICAGO STATE PLAN OFFICE         160 N. LASALLE ST SUITE C-1300 CHICAGO IL 60601
OSHA - CINCINNATI AREA OFFICE            100 TRI COUNTY PKWY 3RD FLOOR NORTH CINCINNATI OH 45246
OSHA - CLEVELAND AREA OFFICE             ESSEX PLACE 6393 OAK TREE BLVD SUITE 203 INDEPENDENCE OH 44131
OSHA - COLUMBIA STATE PLAN OFFICE        LICENSING & REGULATION KOGER OFFICE PARK KINGSTREE BUILDING 110 CENTERVIEW
                                         DRIVE PO BOX 11329 COLUMBIA SC 29210-1329
OSHA - COLUMBUS AREA OFFICE              200 NORTH HIGH STREET ROOM 620 COLUMBUS OH 43215
OSHA - CONCORD AREA OFFICE               J.C. CLEVELAND FEDERAL BLDG 53 PLEASANT STREET ROOM 3901 CONCORD NH 03301
OSHA - CORPUS CHRISTI AREA OFFICE        400 MANN STREET SUITE 100 CORPUS CHRISTI TX 78401
OSHA - CT OCCUPATIONAL SFTY & HLTH DIV   38 WOLCOTT HILL ROAD WETHERSFIELD CT 06109
OSHA - DALLAS AREA OFFICE                1100 EAST CAMPBELL ROAD SUITE 250 RICHARDSON TX 75081
OSHA - DENVER AREA OFFICE                1391 SPEER BOULEVARD SUITE 210 DENVER CO 80204
OSHA - DES MOINES AREA OFFICE            OSHA OMAHA AREA OFFICE 210 WALNUT STREET RM 643 DES MOINE IA 50309-2407
OSHA - EAU CLAIRE AREA OFFICE            1310 W. CLAIREMONT AVENUE EAU CLAIRE WI 54701
OSHA - EL PASO AREA OFFICE               U.S. DEPARTMENT OF LABOR - OSHA 4849 N. MESA SUITE 200 EL PASO TX 79912-5936
OSHA - ENGLEWOOD AREA OFFICE             7935 EAST PRENTICE AVENUE SUITE 209 ENGLEWOOD CO 80111-2714
OSHA - ERIE AREA OFFICE                  US DEPARTMENT OF LABOR - OSHA 240 WEST 11TH STREET SUITE 102 ERIE PA 16501
OSHA - FAIRVEIW HEIGHTS AREA OFFICE      11 EXECUTIVE DRIVE SUITE 1140 FAIRVIEW HEIGHTS IL 62208
OSHA - FORT LAUDERDALE AREA OFFICE       1000 SOUTH PINE ISLAND ROAD SUITE 100 FORT LAUDERDALE FL 33324
OSHA - FORT WORTH AREA OFFICE            NORTH STARR II, SUITE 302 9713 AIRPORT FREEWAY FORT WORTH TX 76180-7610
OSHA - HARRISBURG AREA OFFICE            4050 CRUMS MILL ROAD SUITE 102 HARRISBURG PA 17112-2827
OSHA - HARTFORD AREA OFFICE              WILLIAM R. COTTER FEDERAL BUILDING 135 HIGH STREET SUITE 361 HARTFORD CT 06103
OSHA - HASBROUCK HEIGHTS AREA OFFICE     500 ROUTE 17 SOUTH 2ND FLOOR HASBROUCK HEIGHTS NJ 07604
OSHA - HEADQUARTERS STATE PLAN OFFICE - VA MAIN STREET CENTRE 600 EAST MAIN STREET, SUITE 207 RICHMOND VA 23219
OSHA - HEADQUARTERS STATE PLAN OFFICE - WA L&I HEADQUARTERS TUMWATER 7273 LINDERSON WAY SW TUMWATER WA 98501-5414
OSHA - HONOLULU AREA OFFICE              PRINCE JONAH KUHIO KALANIANAOLE FEDERAL BUILDING 300 ALA MOANA BLVD, ROOM
                                         5-146 HONOLULU HI 96850
OSHA - HONOLULU STATE PLAN OFFICE        830 PUNCHBOWL STREET SUITE 423 HONOLULU HI 96813
OSHA - HOUSTON NORTH AREA OFFICE         690 S. LOOP 336 W. SUITE 400 CONROE TX 77304
OSHA - HOUSTON SOUTH AREA OFFICE         17625 EL CAMINO REAL SUITE 400 HOUSTON TX 77058
OSHA - INDIANAPOLIS STATE PLAN OFFICE    402 WEST WASHINGTON STREET ROOM W95 INDIANAPOLIS IN 46204
OSHA - IOWA STATE PLAN OFFICE            OSHA ENFORCEMENT OFFICE 6200 PARK AVENUE DES MOINE IA 50321
OSHA - JACKSON AREA OFFICE               DR. A.H. MCCOY FEDERAL BUILDING U.S. DEPARTMENT OF LABOR/OSHA 100 WEST CAPITOL
                                         STREET, SUITE 749 JACKSON MS 39269-1620
OSHA - JACKSONVILLE AREA OFFICE          RIBAULT BUILDING SUITE 227 1851 EXECUTIVE CENTER DRIVE JACKSONVILLE FL 32207
OSHA - JUNEAU STATE PLAN OFFICE          1111 W. 8TH STREET ROOM 304 JUNEAU AK 99801-1149
OSHA - KANSAS CITY AREA OFFICE           2300 MAIN STREET SUITE 10071 KANSAS CITY MO 64108


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OSHA - KENTUCKY STATE PLAN OFFICE        MAYO-UNDERWOOD BUILDING 500 MERO STREET 3RD FLOOR FRANKFORT KY 40601
OSHA - LANSING STATE PLAN OFFICE         530 W. ALLEGAN STREET PO BOX 30643 LANSING MI 48909-8143
OSHA - LAS VEGAS AREA OFFICE             US DEPARTMENT OF LABOR - OSHA 333 LAS VEGAS BLVD. SOUTH SUITE 5520 LAS VEGAS
                                         NV 89101
OSHA - LAS VEGAS STATE PLAN OFFICE       3360 WEST SAHARA AVENUE SUITE 200 LAS VEGAS NV 89102
OSHA - LONG ISLAND AREA OFFICE           1400 OLD COUNTRY ROAD SUITE 410 WESTBURY NY 11590
OSHA - LUBBOCK AREA OFFICE               1205 TEXAS AVENUE ROOM 806 LUBBOCK TX 79401
OSHA - MADISON AREA OFFICE               1402 PANKRATZ STREET MADISON WI 53704
OSHA - MAINE STATE PLAN OFFICE           MAINE DEPARTMENT OF LABOR WORKPLACE SAFETY AND HEALTH DIVISION 45 STATE HOUSE
                                         STATION AUGUSTA ME 04333-0045
OSHA - MANHATTAN AREA OFFICE             201 VARICK STREET RM 908 NEW YORK NY 10014
OSHA - MARION STATE PLAN OFFICE          2309 WEST MAIN MARION IL 62959
OSHA - MARLTON AREA OFFICE               MARLTON EXECUTIVE PARK 2 EXECUTIVE DRIVE SUITE 120 MARLTON NJ 08053
OSHA - MARYLAND STATE PLAN OFFICE        10946 GOLDEN WEST DRIVE SUITE 160 HUNT VALLEY MD 21031
OSHA - MASSACHUSETTS STATE PLAN OFFICE   MASSACHUSETTS DEPT OF LABOR STANDARDS WORKPLACE SAFETY AND HEALTH PROGRAM
                                         TAUNTON CAREER CENTER, 72 SCHOOL STREET TAUNTON MA 02780
OSHA - MILWAUKEE AREA OFFICE             310 WEST WISCONSIN AVENUE MILWAUKEE WI 53203
OSHA - MOBILE AREA OFFICE                1141 MONTLIMAR DRIVE SUITE 1006 MOBILE FL 36609
OSHA - NAPERVILLE AREA OFFICE            1771 WEST DIEHL ROAD SUITE 210 NAPERVILLE IL 60563
OSHA - NASHVILLE AREA OFFICE             51 CENTURY BOULEVARD SUITE 250 NASHVILLE TN 37214
OSHA - NASHVILLE STATE PLAN OFFICE       TENNESSEE DEPARTMENT OF LABOR AND WORKFORCE DEVELOPMENT 220 FRENCH LANDING
                                         DRIVE NASHVILLE TN 37243
OSHA - NEW YORK PUBLIC EMPLOYEE          SAFETY AND HEALTH BUREAU W. AVERELL HARRIMAN STATE OFFICE BLDG 12 ROOM 158
                                         ALBANY NY 12240
OSHA - NORFOLK AREA OFFICE               FEDERAL OFFICE BUILDING ROOM 614 200 GRANBY STREET NORFOLK VA 23510-1811
OSHA - OAKLAND AREA OFFICE               1301 CLAY STREET SUITE 1080N OAKLAND CA 94612
OSHA - OAKLAND DISTRICT OFFICE           1515 CLAY STREET SUITE 1901 OAKLAND CA 94612
OSHA - OKLAHOMA CITY AREA OFFICE         5104 N. FRANCIS AVE SUITE 200 OKLAHOMA CITY OK 73118
OSHA - OMAHA AREA OFFICE                 LAKE REGENCY OFFICE BUILDING 444 REGENCY PARKWAY DRIVE SUITE 303 OMAHA NE
                                         68114
OSHA - ORLANDO AREA OFFICE               6101 CHANCELLOR DRIVE SUITE 1140 ORLANDO FL 32809
OSHA - PARSIPPANY AREA OFFICE            6 UPPER PONG RD SECOND FLOOR PARSIPPANY NJ 07054
OSHA - PEORIA AREA OFFICE                5003 WEST AMERICAN PRAIRIE DRIVE PEORIA IL 61615
OSHA - PHILADELPHIA AREA OFFICE          US DEPARTMENT OF LABOR - OSHA 1835 MARKET STREET MAILSTOP OSHA-AO/21
                                         PHILADELPHIA PA 19103
OSHA - PHOENIX AREA OFFICE               U.S. DEPARTMENT OF LABOR OSHA PHOENIX FEDERAL BUILDING 230 N. 1ST AVENUE SUITE
                                         202 PHOENIX AZ 85003
OSHA - PITTSBURGH AREA OFFICE            US DEPARTMENT OF LABOR - OSHA WILLIAM MOORHEAD FED BUILDING ROOM 905 1000
                                         LIBERTY AVENUE PITTSBURGH PA 15222
OSHA - POHENIX STATE PLAN OFFICE         800 W. WASHINGTON STREET 2ND FLOOR PHOENIX AZ 85007
OSHA - PORTLAND AREA OFFICE              911 NE 11TH AVE SUITE 649 PORTLAND OR 97232
OSHA - PROVIDENCE AREA OFFICE            380 WESTMINSTER MALL ROOM 543 PROVIDENCE RI 02903
OSHA - QUEENS DISTRICT OFFICE            OF THE MANHATTAN AREA OFFICE 45-17 MARATHON PARKWAY LITTLE NECK NY 11362
OSHA - RALEIGH AREA OFFICE               4407 BLAND ROAD SOMERSET PARK SUITE 210 RALEIGH NC 27609
OSHA - RALEIGH STATE PLAN OFFICE         111 HILLSBOROUGH STREET RALEIGH NC 27604-1092
OSHA - REGION 1                          BOSTON REGIONAL OFFICE JFK FEDERAL BUILDING 25 NEW SUDBURY STREET, ROOM E340
                                         BOSTON MA 02203
OSHA - REGION 10                         SEATTLE REGIONAL OFFICE 909 1ST AVE, SUITE 201A SEATTLE WA 98104
OSHA - REGION 2                          NEW YORK REGIONAL OFFICE FEDERAL BUILDING 201 VARICK STREET, ROOM 670 NEW YORK
                                         NY 10014
OSHA - REGION 3                          PHILADELPHIA REGIONAL OFFICE U.S. DEPARTMENT OF LABOR 1835 MARKET STREET


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OSHA - REGION 3                        MAILSTOP OSHA-RO/19 PHILADELPHIA PA 19103
OSHA - REGION 4                        ATLANTA REGIONAL OFFICE SAM NUNN ATLANTA FEDERAL CENTER 61 FORSYTH STREET, SW
                                       ROOM 6T50 ATLANTA GA 30303
OSHA - REGION 5                        CHICAGO REGIONAL OFFICE JOHN C. KLUCZYNSKI FEDERAL BUILDING 230 SOUTH DEARBORN
                                       STREET, ROOM 3244 CHICAGO IL 60604
OSHA - REGION 6                        DALLAS REGIONAL OFFICE A. MACEO SMITH FEDERAL BUILDING 525 GRIFFIN STREET,
                                       SUITE 602 DALLAS TX 75202
OSHA - REGION 7                        KANSAS CITY REGIONAL OFFICE 2300 MAIN STREET, SUITE 10030 KANSAS CITY MO 64108
OSHA - REGION 8                        DENVER REGIONAL OFFICE CESAR CHAVEZ MEMORIAL BUILDING 1244 SPEER BLVD., SUITE
                                       551 DENVER CO 80204
OSHA - REGION 9                        SAN FRANSISCO REGIONAL OFFICE SAN FRANCISCO FEDERAL BUILDING 90 7TH STREET,
                                       SUITE 2650 SAN FRANCISCO CA 94103
OSHA - RENO STATE PLAN OFFICE          4600 KEITZKE LANE SUITE F-153 RENO NV 89502
OSHA - SALEM STATE PLAN OFFICE         350 WINTER STREET NE ROOM 430 SALEM OR 97301-3882
OSHA - SALT LAKE CITY STATE PLAN OFFICE 160 EAST 300 SOUTH 3RD FLOOR PO BOX 146600 SALT LAKE CITY UT 84114-6600
OSHA - SAN ANTONIO AREA OFFICE         FOUNTAINHEAD TOWER, SUITE 605 8200 W INTERSTATE 10 SAN ANTONIO TX 78230
OSHA - SAN DIEGO AREA OFFICE           550 WEST C STREET SUITE 970 SAN DIEGO CA 92101
OSHA - SANTA FE STATE PLAN OFFICE      525 CAMINO DE LOS MARQUEZ SUITE 303 SANTE FE NM 87502
OSHA - SIOUX FALLS AREA OFFICE         US DEPARTMENT OF LABOR - OSHA 4404 SOUTH TECHNOLOGY DRIVE SIOUX FALLS SD 57106
OSHA - SPRINGFIELD AREA OFFICE         1441 MAIN STREET ROOM 550 SPRINGFIELD MA 01103-1493
OSHA - SPRINGFIELD STATE PLAN OFFICE   LINCOLN TOWER PLAZA 524 SOUTH 2ND STREET SUITE 400 SPRINGFIELD IL 62701
OSHA - ST. LOUIS AREA OFFICE           ROBERT A. YOUNG FEDERAL BUILDING 1222 SPRUCE STREET ROOM 9.104 ST. LOUIS MO
                                       63103
OSHA - SYRACUSE AREA OFFICE            3300 VICKERY ROAD NORTH SYRACUSE NY 13212
OSHA - TAMPA AREA OFFICE               5807 BRECKENRIDGE PARKWAY SUITE A TAMPA FL 33610-4249
OSHA - TARRYTOWN AREA OFFICE           660 WHITE PLAINS ROAD 4TH FLOOR TARRYTOWN NY 10591-5107
OSHA - TOLEDO AREA OFFICE              100 N. SUMMIT STREET SUITE 100 TOLEDO OH 43604
OSHA - WASHINGTON AREA OFFICE          20425 72ND AVE SOUTH SUITE 150 A KENT WA 98032-2388
OSHA - WICHITA AREA OFFICE             100 N BROADWAY SUITE 470 WICHITA KS 67202
OSHA - WILKES-BARRE AREA OFFICE        US DEPARTMENT OF LABOR - OSHA THE STEGMAIER BUILDING STE 410 7 NORTH
                                       WILKES-BARRE BOULEVARD WILKES-BARRE PA 18702-5241
OSHA - WILMINGTON AREA OFFICE          U.S. DEPARTMENT OF LABOR 800 KING STREET SUITE 302 WILMINGTON DE 19801-3319
OSHA -NJ - PUBLIC EMPLOYEES            SAFETY AND HEALTH STATE PLAN OFFICE PO BOX 386 - SAFETY TRENTON NJ 08625
OCCUPATIONAL
OSHA -NJ - PUBLIC EMPLOYEES            SAFETY AND HEALTH STATE PLAN OFFICE PO BOX 369 - HEALTH TRENTON NJ 08625
OCCUPATIONAL
OSHA- SAVANNAH AREA OFFICE             450 MALL BOULEVARD SUITE J SAVANNAH GA 31406
OSHAUGHNESSY, ANDREW                   ADDRESS ON FILE
OSHAWA CITY                            50 CENTRE STREET SOUTH OSHAWA ON L1H 3Z7 CANADA
OSHAWA CITY                            4600 LANDER ROAD OSHAWA ON L1H 3Z7 CANADA
OSHAWA PUC NETWORKS INC                100 SIMCOE STREET SOUTH OSHAWA ON L1H 7M7 CANADA
OSIST INC                              DBA FISH WINDOW CLEANING 1521 N ARGONNE RD STE C252 SPOKANE VALLEY WA
                                       99212-2545
OSLER, HOSKIN & HARCOURT LLP           ATTN:JOANNA FINE 100 KING STREET WEST 1 FIRST CANADIAN PLACE SUITE 6200
                                       TORONTO ON M5X 1B8 CANADA
OSTLUND A SERVICE COMPANY LLC          3637 S OLD US 23 STE 100 BRIGHTON MI 48114-7668
OSVALDO REPAIR                         139 HARVARD DR DALTON GA 30720-4097
OT SOFLA LLC                           DBA OUR TOWN SOUTH FLORIDA 3030 S OCEAN BLVD APT 107 PALM BEACH FL 33480-6604
OTIS ELEVATOR COMPANY                  DEPT LA 21684 PASADENA CA 91185-1684
OTTAWA CITY                            REVENUE BRANCH PO BOX 4647 STATION A TORONTO ON M5W 0E7 CANADA
OTTAWA CITY                            50 CENTRE STREET SOUTH TORONTO ON M5W 0E7 CANADA


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OTTAWA POLICE SERVICE                   PO CP 9634 STATION T OTTAWA ON K1G 6H5 CANADA
OTTO M PEREZ                            ADDRESS ON FILE
OTTO, CARLIE                            ADDRESS ON FILE
OUACHITA PARISH TAX COLLECTOR           300 ST JOHN ST RM 102 MONROE LA 71201
OUTAGAMIE COUNTY HEALTH DEPARTMENT      410 S WALNUT ST APPLETON WI 54911
OUTAGAMIE COUNTY HEALTH DEPARTMENT      REVENUE BRANCH PO BOX 4647 STATION A APPLETON WI 54911
OUTDOOR DYNAMICS LLC                    1945 CUMBERLAND DRIVE TRAVERSE CITY MI 49685
OUTDOOR HOME SERVICES HOLDINGS LLC      DBA TRUGREEN AND ACTION PEST CONTROL TRUGREEN PROCESSING CENTER PO BOX 78031
                                        PHOENIX AZ 85062-8031
OUTER BANKS LIMITED PARTNERSHIP         ATTN: ROBERT BORDEN, GENERAL PARTNER 4212 31ST ST. N ARLINGTON VA 22207
OUTER BANKS LIMITED PARTNERSHIP         4212 31ST ST N ARLINGTON VA 22207-4114
OUTTENIP                                RODGER OUTTEN 201 WEST BAY STREET, SUITE 5 NASSAU BAHAMAS
OVENTEK SERVICES LLC                    2221 NW 20TH OKLAHOMA CITY OK 73107
OVERLAND CORP CENTER PROPERTY           OWNERS ASSOCIATION INC C/O WESTMAR PROPERTY MANAGEMENT 41623 MARGARITA ROAD
                                        100 TEMECULA CA 92591
OVERTURN MCGATH & HULL                  ATTN:SCOTT MCGATH 325 EAST 16TH AVENUE DENVER CO 80203
OVM DE LLC C BLACKLIDGE PL DE LLC 1ST   WETMORE OFF PL DE LLC & TWOVM INV LLC ATTN D. HORVATH, C/O TOWN W RLTY INC 555
AV                                      E. RIVER ROAD, SUITE 201 TUCSON AZ 85704
OWEN, ARIANE                            ADDRESS ON FILE
OWENS, ANNISA                           ADDRESS ON FILE
OWENSBORO CITY TAX COLLECTOR            PO BOX 10003 OWENSBORO KY 42302-9003
OWENSBORO MUNICIPAL UTILITIES           P.O. BOX 806 OWENSBORO KY 42302
OWENSBORO-DAVIESS COUNTY                DBA GREATER OWENSBORO CHAMBER OF COMMERCE PO BOX 825 OWENSBORO KY 42302-0825
OXARC INC                               PO BOX 2605 SPOKANE WA 99220-2605
OXFORD DEVELOPMENT COMPANY - MORAINE    2545 RAILROAD ST STE 300 PITTSBURGH PA 15222-7605
OXFORD DEVELOPMENT COMPANY/2545         2545 RAILROAD STREET SUITE 300 PITTSBURGH PA 15222
RAILROAD
OXFORD WATER WORKS, AL                  P.O. BOX 3663 OXFORD AL 36203
OXXFORD RELOCATION CENTER INC           4780 ASHFORD DUNWOODY RD STE 540-20 ATLANTA GA 30338-5564
P & D GEN ROSS INC                      DBA FISH WINDOW CLEANING 423A NEW KARNER RD ALBANY NY 12205-5801
P & D SIGN INC                          1708 4TH STREET PERU IL 61354
P A SHORT DISTRIBUTING CO               440 INDUSTRIAL DRIVE HOLLINS VA 24019
P AND C RESTORATION CLEANING CORP       DBA SERVPRO OF PALMDALE NORTH 654 E RANCHO VISTA BLVD STE H PALMDALE CA
                                        93550-3008
P C R RESTORATIONS INC                  DBA LEHR AWNING CO 933 W LONGVIEW AVENUE MANSFIELD OH 44906
P&M ELECTRIC LLC                        PO BOX 337 MARLBOROUGH CT 06447-0337
PA DEPARTMENT OF LABOR & INDUSTRY       410 S WALNUT ST HARRISBURG PA 17106-8572
PA DEPT OF LABOR & INDUSTRY-B           COMMONWEALTH OF PENNSYLVANIA BUREAU OF OCCUP AND INDUST SAFY PO BOX 68572
                                        HARRISBURG PA 17106-8572
PA. OFFICE OF ATTORNEY GENERAL          BUREAU OF CONSUMER PROTECTION STRAWBERRY SQUARE 16TH FLOOR HARRISBURG PA 17120
PACE ANALYTICAL SERVICES LLC            PO BOX 684056 CHICAGO IL 60695-4056
PACE SERVICES LLC                       DBA PACE ELECTRICAL & GENERATOR SERVICES 105 CARSON DR BEAR DE 19701-1319
PACHECO, MARCUS                         ADDRESS ON FILE
PACIFIC BIODIESEL TECHNOLOGIES LLC      40 HOBRON AVE KAHULUI HI 96732-2106
PACIFIC DRAFTWORKS LLC                  7849 GLEN FIELD CT CITRUS HEIGHTS CA 95610-2409
PACIFIC FRESH FISH LTD                  679 HENDERSON DRIVE REGINA SK S4N 6A8 CANADA
PACIFIC GAS & ELECTRIC                  P.O. BOX 997300 PG&E CORPORATION SACRAMENTO CA 95899-7300
PACIFIC GAS AND ELECTRIC COMPANY        P.O. BOX 8329 STOCKTON CA 95208
PACIFIC GROUP                           DBA PACIFIC SEAFOOD PO BOX 830240 PHILADELPHIA PA 19182-0350
PACIFIC POWER-ROCKY MOUNTAIN POWER      PO BOX 26000 PORTLAND OR 97256-0001


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PACIFIC PREMIER RETAIL TRUST LLC         DBA MACERICH LAKEWOOD LP PO BOX 29650 DEPT 880527 PHOENIX AZ 85038-9650
PACIFIC REFRIGERATION OPERATING LLC      DBA PACIFIC MECHANICAL & ELECTRIC PO BOX 1953 TACOMA WA 98401-1953
PACIFIC WATER INC                        200 WEST HAVEN AVENUE SALT LAKE CITY UT 84115-2526
PACIFICLEAN CARPET CLEANING              1515 S SATICOY AVE APT 137 VENTURA CA 93004-1872
PACLAND HOLDING CORP INC                 DBA PACIFIC LANDSCAPE MANAGEMENT LLC PO BOX 3767 SEATTLE WA 98124-3767
PADGETT, GWENDOLYN, PADGETT, EUGENE      ADDRESS ON FILE
PADUCAH CITY TAX COLLECTOR               PO BOX 9001241 LOUISVILLE KY 40290-1241
PADUCAH POWER SYSTEM                     P.O. BOX 180 PADUCAH KY 42002
PADUCAH WATER WORKS                      P.O. BOX 2477 PADUCAH KY 42002
PAINES RECYCLING & RUBBISH REMOVAL INC, P.O. BOX 307 SIMSBURY CT 06070
PAINT FOLKS                              105 MAIN STREET HACKENSACK NJ 07601-8102
PAK-RITE RENTALS INC                     44 W MAIN STREET NEW PALESTINE IN 46163-8755
PALERO GREENSCAPER                       2505 2ND AVE N REGINA SK S4R 6P4 CANADA
PALM BEACH COUNTY SHERIFFS OFF           COMMONWEALTH OF PENNSYLVANIA BUREAU OF OCCUP AND INDUST SAFY WEST PALM FL
                                         33416-4681
PALM BEACH COUNTY SHERIFFS OFF           PO BOX 24681 ALARM UNIT WEST PALM FL 33416-4681
PALM BEACH COUNTY TAX COLLECTOR          PO BOX 3715 WEST PALM FL 33402
PALM BEACH COUNTY TAX COLLECTOR          PO BOX 3353 WEST WEST PALM BEACH FL 33402-3353
PALM BEACH COUNTY WATER UTILITIES DEPT   P.O. BOX 24740 WEST PALM BEACH FL 33416-4740
PALM, LEELDRED                           ADDRESS ON FILE
PALMER ELECTRIC INC                      PO BOX 243 N SYRACUSE NY 13212-0243
PALMERICA ENTERPRISES INC                DBA FISH WINDOW CLEANING 696 PO BOX 3581 ANNAPOLIS MD 21403
PALMETTO LAWNSCAPE                       C/O JAMES M JORDAN 1905 RILEY CT NORTH AUGUSTA SC 29841-2064
PALMETTO SERVICES INC                    DBA MR ROOTER PLUMBING OF GREENVILLE 1341 RUTHERFORD ROAD GREENVILLE SC 29609
PALMETTO UTILITIES                       PO BOX 361850 HOOVER AL 35236-1850
PALMIERI TYLER WEINER WILHEM & WALDRON   ATTN ACCOUNTS RECIVABLE 1900 MAIN ST STE 700 IRVINE CA 92614-7328
PALMIERI TYLER WIENER WILHELM            & WALDRON LLP ATTN: MICHAEL CHO 1900 MAIN ST., 700 IRVINE CA 92614
PALMS INSURANCE COMPANY, LIMITED         AMWINS INSURANCE BROKERAGE LLC 105 FIELDCREST AVENUE SUITE 200 EDISON NJ 08837
PAMELA A CARPENTER                       ADDRESS ON FILE
PAMELA HERRINGTON                        ADDRESS ON FILE
PAMELA J WHITING                         ADDRESS ON FILE
PAMELA THOMAS                            ADDRESS ON FILE
PANDERA SYSTEMS PLLC                     PO BOX 742873 ATLANTA GA 30374
PANHANDLE HEALTH DISTRICT                ATTN - FOOD PROGRAM 2195 IRONWOOD COURT COEUR D ID 83814
PANHANDLE KEY & SAFE                     1451 JENKS AVENUE PANAMA CITY FL 32401
PANOBSTER LLC                            C/O MICHAEL SCHMIDT MANAGING MEMBER 222 GRAND AVENUE ENGLEWOOD NJ 07631
PANTOJA RUIZ, JORGE                      ADDRESS ON FILE
PAPER RETRIEVER OF TEXAS                 2401 S LAFLIN ST CHICAGO IL 60608
PARADIGM TAX GROUP HOLDING COMPANY       DBA PARADIGM DKD GROUP LLC PO BOX 734265 DALLAS TX 75373-4265
PARADISE ALL CLEANING SOLUTIONS          DBA ONE STOP ALL CLEANING SOLUTIONS PO BOX 403 WILLIAMSBURG VA 23187
PARADISE BEVERAGES INC                   PO BOX 29160 HONOLULU HI 96820-1560
PARADISE LANDSCAPE                       PO BOX 5385 SANTA CRUZ CA 95063-5385
PARADISE PLANT MAINTENANCE INC           6817 STARLINE STREET LA VERNE CA 91750
PARADISE PLANTSCAPES INC                 164 CAREY DR STE B NOBLESVILLE IN 46060-1301
PARAGON PLUMBING AND SERVICE INC         90F GLENDA TRCE 257 NEWNAN GA 30265-3858
PARED MOTEL ASSOCIATES LLC               COMFORT INN AND SUITES PARAMUS 211 ROUTE 17 SOUTH PARAMUS NJ 07652
PARED MOTEL ASSOCIATES LLC               DBA COMFORT INN & SUITES 211 ROUTE 17 SOUTH PARAMUS NJ 07652
PARED MOTEL ASSOCIATES LLC               PO BOX 1078 SOMERSET PA 15501-0139
PARISH OF EAST BATON ROUGE               POST OFFICE BOX 2590 BATON ROUGE LA 70821-2590



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PARISH OF JEFFERSON                     1221 ELMWOOD PARK BOULEVARD JEFFERSON LA 70123
PARK EAST LLC                           220 WESTBURY AVENUE PO BOX 348 CARLE PLACE NY 11514-0348
PARK FDB LLC                            DBA PARK IT MANAGEMENT C/O CHAYA 2280 FREDERICK DOUGLASS BLVD NEW YORK NY
                                        10027-5329
PARK LANDSCAPE LLC                      DBA YELLOWSTONE LANDSCAPE PO BOX 208144 DALLAS TX 75320-8144
PARK MALL LLC                           C/O ROBBINS PROPERTIES I LLC 3100 WEST END AVE STE 1070 NASHVILLE TN
                                        37203-1384
PARKER WATTS LLC                        DBA POP A LOCK OF POLK COUNTY 4798 S FLORIDA AVE 343 LAKELAND FL 33813-2181
PARKER, BRADLEY                         ADDRESS ON FILE
PARKER, JANICE                          ADDRESS ON FILE
PARKER, RALPH                           ADDRESS ON FILE
PARKERS PLUMBING LLC                    PO BOX 4281 WICHITA FALLS TX 76308-0281
PARKERS PRESSURE WASHING LLC            710 SCOTTWOOD DR THOMASVILLE NC 27360-5846
PARKERSBURG UTILITY BOARD               P.O. BOX 1629 PARKERSBURG WV 26102-1629
PARKINDY LLC                            PO BOX 2251 INDIANAPOLIS IN 46206-2251
PARKS GARBAGE SERVICE                   PO BOX 7117 CHARLESTON WV 25356
PARKS SERVICES INC                      DBA PARKS SEWER SERVICE INC 1850 W ROCK SPRINGS RD DECATUR IL 62521-3930
PARKS TALLEY SERVICES INC               DBA MR HANDYMAN OF MIDWEST COLLIN COUNTY 703 N CHESTNUT ST STE B MCKINNEY TX
                                        75069-3946
PARMA CITY SCHOOL DISTRICT              BOARD OF EDUCATION C/O R. A. BRINDZA BRINDZA MCINTYRE & LLP 1111 SUPERIOR
                                        AVENUE SUITE 1025 CLEVELAND OH 44114
PARSIFAL CORP                           1067 S HOVER STREET SUITE E-141 LONGMONT CO 80501
PARTNERS IN LEADERSHIP LLC              DBA CULTURE PARTNERS PO BOX 776246 CHICAGO IL 60677-6246
PARTS TOWN LLC                          27787 NETWORK PLACE CHICAGO IL 60673-1277
PASADENA ISD TAX COLLECTOR              PO BOX 1318 PASADENA TX 77501-1318
PASCO COUNTY CLERK AND COMPTROLLER      PO BOX 24681 ALARM UNIT NEW PORT RICHEY FL 34654-5598
PASCO COUNTY CLERK AND COMPTROLLER      7530 LITTLE RD NEW PORT RICHEY FL 34654-5598
PASCO COUNTY TAX COLLECTOR              PO BOX 276 DADE CITY FL 33526-0276
PASCO COUNTY UTILITIES                  P.O. DRAWER 2139 NEW PORT RICHEY FL 34656-2139
PAT IKO                                 92 BRUNSWICK AVE SPOTSWOOD NJ 08884-1001
PAT LORING                              ADDRESS ON FILE
PATEL, PRASHANT                         ADDRESS ON FILE
PATENAUDE REFRIGERATION INC             O/A RONS REFRIGERATION & A/C PO BOX 158 SCOTLAND ON N0E 1R0 CANADA
PATHWAYS NATIONAL PAVING ASSOCIATES INC PNPA TRADEWERKS 120 1ST AVE W KALISPELL MT 59901-4442
PATIENCE GYAMFU KWARTENG                ADDRESS ON FILE
PATRICE FRANCHISING LLC                 PO BOX 26941 SCOTTSDALE AZ 85255-0132
PATRICIA A WEATHERBY                    ADDRESS ON FILE
PATRICIA BRETZFELDER                    ADDRESS ON FILE
PATRICIA DAWN KING                      ADDRESS ON FILE
PATRICIA FOX                            ADDRESS ON FILE
PATRICIA GASSNER                        ADDRESS ON FILE
PATRICIA PETERS                         ADDRESS ON FILE
PATRICIA TRUCH                          ADDRESS ON FILE
PATRICIA WEATHERBY AND MARY K. DARIN    ADDRESS ON FILE
PATRICK DIMINICO                        ADDRESS ON FILE
PATRICK HENRY CREATIVE PROMOTIONS INC   1177 WEST LOOP S STE 800 HOUSTON TX 77027-9073
PATRICK JAMES                           ADDRESS ON FILE
PATRICK JOSEPH ENTERPRISES LLC          DBA PRO-MOW PO BOX 1896 FARMINGTON AR 72730-1896
PATRICK JUDE RUSCHKE                    ADDRESS ON FILE
PATRICK OCALLAHAN                       ADDRESS ON FILE


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PATRIOT DISPOSAL                         PO BOX 3219 MANASSAS VA 20108
PATRIOT SAFETY AND RESCUE LLC            2169 N HILLCREST RD VINCENNES IN 47591-6162
PATSY HEFFNER                            ADDRESS ON FILE
PATTERSON, LAKEISHA                      ADDRESS ON FILE
PATTERSON, LENORRIS                      ADDRESS ON FILE
PATTERSONS ALL-IN-ONE PLUMBING LLC       887 LITTLE SHANNON RUN ROAD MT MORRIS PA 15349
PATTI SCHAEFER                           ADDRESS ON FILE
PATTISON OUTDOOR ADVERTISING LP          2700 MATHESON BLVD SUITE 500 WEST TOWER MISSISSAUGA ON L4W 4V9 CANADA
PATTON TOWNSHIP TAX COLLECTOR            100 PATTON PLAZA STATE COLLEGE PA 16803
PATTON, REBECCA                          ADDRESS ON FILE
PATTY BENNETT                            ADDRESS ON FILE
PAUL A BUTERA                            ADDRESS ON FILE
PAUL ALBERT ROBLES                       ADDRESS ON FILE
PAUL C HEFNER                            ADDRESS ON FILE
PAUL CASE                                ADDRESS ON FILE
PAUL DESROSIERS                          PO BOX 7 DOUGLAS MA 01516-0007
PAUL E MARKS                             ADDRESS ON FILE
PAUL EDWARD PEEK                         ADDRESS ON FILE
PAUL FOSTER                              ADDRESS ON FILE
PAUL FOX & SONS EXCAVATING LTD           3501 HAYES AVE SANDUSKY OH 44870-7213
PAUL KENNY                               ADDRESS ON FILE
PAUL LAPINNE                             ADDRESS ON FILE
PAUL LELII                               ADDRESS ON FILE
PAUL LEROY HAMPTON                       ADDRESS ON FILE
PAUL STOCKWELL                           ADDRESS ON FILE
PAUL TIMOTHY VADNAIS                     ADDRESS ON FILE
PAULA WYANT                              ADDRESS ON FILE
PAULETTE HORNE                           ADDRESS ON FILE
PAVEL, SUSAN                             ADDRESS ON FILE
PAVEMENT MAINTENANCE INC                 10100 NE MARX ST PORTLAND OR 97220
PAYLESS PLUMBING AND ROOTER SPECIALIST   2550 E BELLE TERRACE STE 300 BAKERSFIELD CA 93307-6967
PAYNE COUNTY COURT CLERK                 606 SOUTH HUSBAND ST STILLWATER OK 74074
PAYNE COUNTY TREASURER                   315 W 6TH STE 101 STILLWATER OK 74074
PAYNE ELECTRIC CO INC                    5802 FERN VALLEY ROAD LOUISVILLE KY 40228
PAYNE, ALEXIS                            ADDRESS ON FILE
PAYTONS CLEANING SERVICES                511 W COLUMBIA ST STE A FLORA IN 46929-1227
PAZ, MARIA                               ADDRESS ON FILE
PC MAINTENANCE IDAHO LLC                 7280 W USTICK RD BOISE ID 83704-5014
PCO SERVICES INC                         DBA ORKIN 5840 FALBOURNE STREET MISSISSAUGA ON L5R 4B5 CANADA
PDN SSL LLC                              DBA SUPERIOR SIGN AND LIGHTING 11445 CEDAR OAK DR EL PASO TX 79936-6009
PEACH STATE PUBLICATIONS GROUP LLC       DBA PSP GROUP PO BOX 1084 MONROE GA 30655-1084
PEACH TREE DREAM TEAM LLC                DBA 1800 GOT JUNK 9851 WIDMER RD LENEXA KS 66215-1239
PEACHES N CLEAN OF AMERICA INC           PO BOX 211057 MONTGOMERY AL 36121-1057
PEACHTREE ELECTRIC LLC                   DBA PEACHTREE ELECTRICAL 196 STONEBRIDGE DR UNIT A MYRTLE BEACH SC 29588-6187
PEACOCK WATER                            430 S MAIN ST KENTON OH 43326-1947
PEAK POWER ELECTRICAL CONTRACTORS INC    PO BOX 1213 MANSFIELD OH 44901-1213
PEAK PULMONARY CONSULTING INC            C/O FOOTHILLS MEDICAL CLINIC 200-5440 45 STREET RED DEER AB T4N 1L1 CANADA
PEARSON PLUMBING & HEATING CO            2415 20TH STREET ROCKFORD IL 61104
PEASE & DORIO, PC                        ATTN: MICHEAL A. PEASE 316 MAIN STREET FARMINGTON CT 06032



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PEC SOLUTIONS OF THE DAKOTAS LLC       DBA PARSONS ELECTRIC PO BOX 860622 MINNEAPOLIS MN 55486-0621
PECK BROTHERS ROOFING LLC              DBA PB ROOFING 475 MARKET ST STE 301 ELMWOOD PARK NJ 07407-3126
PECO AN EXELON COMPANY                 2301 MARKET STREET N3-1 P.O. BOX 8699 PHILADELPHIA PA 19101
PECO/37629                             PO BOX 37629 PAYMENT PROCESSING PHILADELPHIA PA 19101
PECONIC LLC                            740 ST NICHOLSON DRIVE NEW YORK NY 10031
PEDRO ARREDONDO                        ADDRESS ON FILE
PEDRO LIMA                             ADDRESS ON FILE
PEELER, SARAH                          ADDRESS ON FILE
PEEVEY INC                             DBA ROTO ROOTER COLUMBIAZ PO BOX 5719 COLUMBIA SC 29250-5719
PEGNATO ROOF INTELLIGENCE NETWORK      4307 ROMA CT MARINA DEL REY CA 90292-5998
PEGRAM, SERENITY                       ADDRESS ON FILE
PELTAN LAW PLLC                        128 CHURCH STREET EAST AURORA NY 14052-1836
PELTAN LAW, PLLC                       ATTN:DAVID PELTAN 128 CHURCH ST EAST AURORA NY 14052
PENA, CARLOS                           ADDRESS ON FILE
PENELEC/3687                           P.O. BOX 3687 FIRSTENERGY CORP. AKRON OH 44309-3687
PENGUIN GLASS AND GLAZING              DBA SOUTH CENTRAL GLASS 1261 3RD AVE MANKATO MN 56001-2947
PENINSULA HEALTH CENTER                7530 LITTLE RD NEWPORT NEWS VA 23601
PENINSULA HEALTH CENTER                ENVIRONMENTAL HEALTH 416 J CLYDE MORRIS BLVD NEWPORT NEWS VA 23601
PENN BEER COMPANY INC                  1825 EAST 12TH STREET ERIE PA 16511
PENN BEER DISTRIBUTORS INC             DBA PENN BEER SALES & SERVICE 2801 TOWNSHIP LINE RD HATFIELD PA 19440-1755
PENN POWER                             P.O. BOX 3687 FIRSTENERGY CORPORATION AKRON OH 44309-3687
PENN WASTE, INC.                       PO BOX 69035 BALTIMORE MD 21264-9035
PENNINGTON COUNTY TREASURER            PO BOX 6160 RAPID CITY SD 57709-6160
PENNSYLVANIA AMERICAN WATER            P.O. BOX 371412 AMERICAN WATER WORKS COMPANY, INC PITTSBURGH PA 15250-7412
PENNSYLVANIA DEPARTMENT OF REVENUE     HARRISBURG DISTRICT OFFICE 1131 STRAWBERRY SQ HARRISBURG PA 17128-0101
PENNSYLVANIA DEPARTMENT OF REVENUE     PO BOX 280427 HARRISBURG PA 17128-0407
PENNSYLVANIA DEPARTMENT OF REVENUE     PO BOX 280427 HARRISBURG PA 17128-0427
PENNSYLVANIA DEPARTMENT OF REVENUE     PO BOX 280905 HARRISBURG PA 17128-0905
PENNSYLVANIA DEPARTMENT OF REVENUE     PHILADELPHIA - CENTER CITY DIST OFFICE STE 204A 110 N 8TH ST PHILADELPHIA PA
                                       19107-2412
PENNSYLVANIA DEPT OF                   ENVIRONMENTAL PROTECTION RACHEL CARSON STATE OFFICE BLDG 400 MARKET ST
                                       HARRISBURG PA 17101
PENNSYLVANIA DEPT OF LABOR AND INDUSTRY 1700 LABOR & INDUSTRY BLDG HARRISBURG PA 17120
PENNSYLVANIA DEPT OF LABOR AND INDUSTRY PENNSYLVANIAS UNEMPLOYMENT COMPENSATION 1700 LABOR AND INSTUSTRY BLDG
                                        HARRISBURG PA 17120
PENNSYLVANIA MUNICIPAL CODE ALLIANCE   DBA PMCA 405 WAYNE AVENUE CHAMBERSBURG PA 17201
INC
PENNSYLVANIA STATE TREASURY            UNCLAIMED PROPERTY DIVISION 4TH FL, RIVERFRONT OFFICE CTR 1101 SOUTH FRONT ST
                                       HARRISBURG PA 17104-2516
PENSACOLA PLUMBING SERVICE LLC         DBA ROTO ROOTER SEWER AND DRAIN 2410 W NINE MILE RD PENSACOLA FL 32534-9419
PENSION BENEFIT GUARANTY CORP          GENERAL COUNSEL 445 12TH ST SW WASHINGTON DC 20024
PENSION BENEFIT GUARANTY CORP          DIR. CORP. FINANCE & NEGOTIATION DEPT. 445 12TH ST SW WASHINGTON DC 20024
PENSKE TRUCK LEASING CO LP             ATTN: LIZ MASCIOTTI PO BOX 391 READING PA 19603-0391
PENTAGON LANDSCAPING                   10831 214 STREET NW EDMONTON ON T5S 2A4 CANADA
PENTAIR COMMERCIAL SERVICES LLC        DBA KBI PO BOX 7410471 CHICAGO IL 60674-0471
PEOPLEREADY FLORIDA INC                FKA LABOR READY SOUTHEAST INC PO BOX 740435 ATLANTA GA 30374-0435
PEOPLES                                PO BOX 747105 PITTSBURGH PA 15274-7105
PEOPLES GAS                            PO BOX 6050 CAROL STREAM IL 60197-6050
PEOPLES STORE FIXTURE CO               DBA PEOPLES RESTAURANT EQUIP CO 2209 GRATIOT AVE DETROIT MI 48207
PEOPLES/644760                         PO BOX 644760 PITTSBURGH PA 15264-4760


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PEORIA CITY/COUNTY HEALTH DEPARTMENT     2116 N SHERIDAN RD PEORIA IL 61604
PEORIA CITY/COUNTY HEALTH DEPARTMENT     ENVIRONMENTAL HEALTH 416 J CLYDE MORRIS BLVD PEORIA IL 61604
PEORIA COUNTY COLLECTOR                  PO BOX 1925 PEORIA IL 61656
PEORIA LANDSCAPING CO                    DBA GREEN VIEW LANDSCAPING PO BOX 280 DUNLAP IL 61525-0280
PEPSI BOTTLING VENTURES LLC              PO BOX 75990 CHARLOTTE NC 28275-0990
PEPSI COLA & NATIONAL BRAND BEVERAGES    PO BOX 403684 ATLANTA GA 30384-3684
PEPSI COLA BOTTLING CO OF DAVENPORT      PO BOX 2770 DAVENPORT IA 52809-2770
PEPSI COLA BOTTLING CO OF HICKORY NC     DBA FRANS FINEST DISTRIBUTING PO BOX 550 HICKORY NC 28603-0550
INC
PEPSI COLA BOTTLING CO OF SALINA INC     DBA MAHASKA PO BOX 50 OSKALOOSA IA 52577-0050
PEPSI COLA BOTTLING COMPANY OF CENTRAL   VIRGINIA PO BOX 9035 CHARLOTTESVILLE VA 22906-9035
PEPSI COLA BOTTLING COMPANY OF NY        PO BOX 741076 ATLANTA GA 30374-1076
PEPSI COLA BOTTLING COMPANY OF           MN PO BOX 848 LA CROSSE WI 54602-0848
ROCHESTER
PEPSI COLA NEWBURGH BOTTLING CO INC      DBA PEPSI COLA OF THE HUDSON VALLEY PO BOX 36249 NEWARK NJ 07188-6249
PEPSI MIDAMERICA                         PO BOX 50-18241 ST LOUIS MO 63150-8241
PEPSICO SALES INC                        75 REMITTANCE DR STE 1884 CHICAGO IL 60675-1884
PER MAR SECURITY AND RESCH CORP          PO BOX 1101 DAVENPORT IA 52805-1101
PERF-A-LAWN INC                          5118 ENTERPRISE BLVD TOLEDO OH 43612
PERFECT LANDSCAPE TREE AND SERVICES INC 241 CARRIAGE LN BURNSVILLE MN 55306-6444
PERFECT POUR DRAUGHT SERVICES INC        81 PONDFIELD ROAD 171 BRONXVILLE NY 10708
PERFECT POWER WASH LLC                   3443 SUMMIT RD NORTON OH 44203-5342
PERFECTION BEVERAGE CO INC               910 ASH STREET JOHNSTOWN PA 15902
PERFECTION GLASS INC                     1238 COLUMBIA PARK TRL RICHLAND WA 99352-4760
PERFICUT COMPANIES INC                   DBA QUALITY CARE LAWN PO BOX 200477 DALLAS TX 75320-0477
PERFORMANCE AIR MECHANICAL INC           PO BOX 310 NEW HYDE PARK NY 11040-0310
PERFORMANCE CAN CLEANERS INC             314 BOB FRIDAY RD DALLAS NC 28034-8597
PERFORMANCE DRAFT COMPANY LLC            60809 225TH AVE MANTORVILLE MN 55955-7064
PERFORMANCE DRIVE PROPERTIES LLC         7850 FISHER ROAD MOUNT PLEASANT NC 28124-7678
PERFORMANCE FOOD GROUP INC               DBA REINHART FOODSERVICE LLC 100 HARBORVIEW PLZ STE 200 LA CROSSE WI
                                         54601-4291
PERFORMANCE SYSTEMS INTEGRATION LLC      PO BOX 8528 PASADENA CA 91109-8601
PERFORMANCE WATER SYSTEMS                855 WESTNEY ROAD S UNIT 2 AJAX ON L1S 3M4 CANADA
PERKINS, KARAY                           ADDRESS ON FILE
PERLICK COMPANY INC                      PO BOX 88802 MILWAUKEE WI 53288-8802
PERMAKILL EXTERMINATING CO LLC           5 LAUREL DR UNIT 8 FLANDERS NJ 07836-4701
PERRIER, BRITTNEY                        ADDRESS ON FILE
PERRY AREA CHAMBER OF COMMERCE           900 CARROLL ST PERRY GA 31069-3314
PERRY CITY TAX DEPARTMENT                PO BOX 2030 PERRY GA 31069-6030
PERRY HEATH HICKMAN                      ADDRESS ON FILE
PERRY, ARMINDA.                          ADDRESS ON FILE
PERRY, LAVON                             ADDRESS ON FILE
PERRY, MALCOLM                           ADDRESS ON FILE
PERSAM WETHERSFIELD LLC                  118 KNICKERBOCKER AVENUE BROOKLYN NY 11237
PESTINGER DISTRIBUTING CO INC            1825 BAILEY RD SALINA KS 67401-1719
PET PARADISE OF SPRINGHILL INC           8701 BRADLEY CIRCLE CLERMONT FL 34711-7320
PETE & PETE CONTAINER SERVICE, INC.      4830 WARNER ROAD GARFIELD HEIGHTS OH 44125
PETE Z WINDOW WASHING INC                207 LUDWIG AVE CHEEKTOWAGA NY 14227-1307
PETER D. LEARY                           UNITED STATES ATTORNEYS OFFICE PO BOX 1702 MACON GA 31202-1702
PETER D. LEARY                           UNITED STATES ATTORNEYS OFFICE CB KING UNITED STATES COURTHOUSE 201 W BROAD


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PETER D. LEARY                       AVE, 2ND FL ALBANY GA 31701
PETER D. LEARY                       UNITED STATES ATTORNEYS OFFICE PO BOX 2568 COLUMBUS GA 31902-2568
PETER GRUESEN                        ADDRESS ON FILE
PETER GUNS                           ADDRESS ON FILE
PETER LASLO                          DBA LUMBER RIDGE MAINTENANCE & CEILING CLEANING 1672 RODGERS AVE CRESSON PA
                                     16630-1061
PETER MOON HONG                      ADDRESS ON FILE
PETER PAUL ALLCORN                   913 CHURCH RD AURORA IL 60505-1901
PETER PORTNOFF                       ADDRESS ON FILE
PETERBOROUGH RERIGERATION HEATING    & AIR CONDITIONING LTD 655 THE QUEENSWAY UNITS 3 & 4 PETERBOROUGH ON K9J 7M1
                                     CANADA
PETERBOROUGH UTILITIES - WATER       PO BOX 4125 STN MAIN PETERBOROUGH ON K9J 6Z5 CANADA
PETERBROUGH CITY                     500 GEORGE ST N PETERBOROUGH ON K9H 3R9 CANADA
PETERBROUGH CITY                     2116 N SHERIDAN RD PETERBOROUGH ON K9H 3R9 CANADA
PETERMAN PLUMBING & HEATING INC      PO BOX 278 DOVER OH 44622-0278
PETERSON PLUMBING & HEATING INC      203 LUTHER AVENUE LIVERPOOL NY 13088-6704
PETERSON, AARON                      ADDRESS ON FILE
PETERSON, JUDITH                     ADDRESS ON FILE
PETERSON, PETER                      ADDRESS ON FILE
PETES PLUMBING LLC                   PO BOX 252 DOVER DE 19903
PETES WELDING                        ADDRESS ON FILE
PETITPREN INC                        44500 GROESBECK CLINTON TWP MI 48036
PETOSEVIC S.A R.L.                   TATYANA A KULIKOVA PETOSEVIC D.O.O. KNEZA MIHAILA 1-3, 11000 BELGRADE SERBIA
PETRO PLUMBING INC                   160 VENETIAN WAY STE 102 MERRITT ISLAND FL 32953-4036
PETTY, ANDREA                        ADDRESS ON FILE
PETZOLDT, SAMANTHA                   ADDRESS ON FILE
PFA-C SILVER SPRING LC               12500 FAIR LAKES CIRCLE SUITE 400 FAIRFAX VA 22033
PFA-C SILVER SPRING LC               PFA SILVER SPRING LOCKBOX 075383 PO BOX 75383 CHARLOTTE NC 28275
PFA-C SILVER SPRING LC               P.O. BOX 75383 CHARLOTTE NC 28275
PFLEGER ENTERPRISES INC              DBA ROTO-ROOTER PO BOX 3154 BISMARCK ND 58502-3154
PFS GROUP LLC                        328 S.E. ALEXANDER ST. STE. 10 MARIETTA GA 30060
PG FIRM                              ATTN:ROY PARK PG FIRM 1455 RESPONSE RD SUITE 200 SACRAMENTO CA 09571
PG LAW FIRM                          1455 RESPONSE ROAD SUITE 220 SACRAMENTO CA 95815
PGS RESTAURANT SERVICES LLC          1526 CONSTRUCTION WAY VAN BUREN AR 72956-7061
PHARR, KATHLEEN                      ADDRESS ON FILE
PHASE 1 ELECTRIC LIMITED             3456 ACCOMMODATION ROAD RR 1 JOYCEVILLE ON K0H 1Y0 CANADA
PHD LLC                              4275 E 30TH PLACE YUMA AZ 85365-7570
PHEASANT REALTY LLC                  DBA 9069 VANTAGE POINT DRIVE OWNER LLC 1776 61ST ST BROOKLYN NY 11204-2232
PHIC LIM                             1553 LUCRETIA AVE LOS ANGELES CA 90026-2641
PHIL & SON INC                       871 N MADISON STREET CROWN POINT IN 46307-8212
PHILADELPHIA DEPARTMENT OF REVENUE   MINICIPAL SERVICES BUILDING 1401 JOHN F. KENNEDY BLVD. PHILADELPHIA PA 19102
PHILADELPHIA DEPARTMENT OF REVENUE   PO BOX 1660 PHILADELPHIA PA 19105-1660
PHILADELPHIA EXTRACT COMPANY INC     4124 BLANCHE ROAD BENSALEM PA 19020
PHILADELPHIA GAS WORKS               PO BOX 11700 NEWARK NJ 07101-4700
PHILIP J HICKEY JR                   ADDRESS ON FILE
PHILIP L. KREITLEIN, ESQ.            KREITLEIN LEEDER MOSS LTD. 1575 DELUCCHI LANE, STE. 105 RENO NV 89502
PHILIP R NIXON                       ADDRESS ON FILE
PHILIP R. SELLINGER                  US ATTORNEYS OFFICE 970 BROAD ST, 7TH FL NEWARK NJ 07102
PHILIP R. SELLINGER                  US ATTORNEYS OFFICE 402 E STATE ST, ROOM 430 TRENTON NJ 08608



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PHILIP R. SELLINGER                      US ATTORNEYS OFFICE CAMDEN FEDERAL BLDG & US COURTHOUSE PO BOX 2098, 401
                                         MARKET ST, 4TH FL CAMDEN NJ 08101
PHILIP VELKA                             ADDRESS ON FILE
PHILLIP A. TALBERT                       US ATTORNEYS OFFICE 501 I ST, STE 10-100 SACRAMENTO CA 95814
PHILLIP G SMITH                          ADDRESS ON FILE
PHILLIP HUNTER OWENS                     ADDRESS ON FILE
PHILLIP RAMOS UPHOLSTERY INC             3835 ELM STREET UNIT E DENVER CO 80207-1041
PHILLIP WHITE                            ADDRESS ON FILE
PHILLIPS EDISON ARC SHOPPING CENTER      OPERATING PARTNERSHIP LP DBA FLAG CITY STATION LLC ATTN: KIMBERLY KINMAN
                                         CINCINNATI OH 45249
PHILLIPS EDISON ARC SHOPPING CENTER      OPERATING PARTNERSHIP LP DBA FLAG CITY STATION LLC KIMBERLY KINMAN, 11501
                                         NORTHLAKE DR CINCINNATI OH 45249
PHILLIPS SERVICES INC                    DBA FISH WINDOW CLEANING PO BOX 24189 DENVER CO 80224-0189
PHILLIPS, MICHELLE                       ADDRESS ON FILE
PHILS PLUMBING SERVICES AND REPAIR LLC   1513 CALIFORNIA AVE COLLINSVILLE IL 62234-4208
PHISITH SAYPRASITH                       ADDRESS ON FILE
PHOENIX IG LLC                           C/O CONCORD WILSHIRE COMPANIES 2160 KINGSTON CT SE STE B MARIETTA GA
                                         30067-8951
PHOENIX PARTNERS LLC                     C/O JOSEPH E THOMPSON 133 KIRK AVE SW ROANOKE VA 24011-1601
PHOENIX PLUMBING & DRAIN SERV            29455 N. CAVE CREEK ROAD STE 118-433 CAVE CREEK AZ 85331-2395
PHOENIX POLICE DEPARTMENT                ALARM UNIT ROOM 130 620 W WASHINGTON ST PHOENIX AZ 85003-2187
PHOENIX SERVICES SOLUTIONS               241 CONSORTIUM CT LONDON ON N6E 2S8 CANADA
PHYLLIS ESTEP                            PO BOX 515 GORDONSVILLE VA 22942-0515
PHYLLIS HENDLEY                          ADDRESS ON FILE
PHYLLIS HENNING                          ADDRESS ON FILE
PIC RIVER INVESTMENTS INC                DBA CHEMDRY OF THE NORTH 582 FALCONBRIDGE RD UNIT 3 SUDBURY ON P3A 4S4 CANADA
PIDANICK ENTERPRISE INC                  5688 BEATTIE AVENUE LOCKPORT NY 14094-6117
PIECE MANAGEMENT INC                     117 SOUTH SECOND STREET NEW HYDE PARK NY 11040-4832
PIEDMONT CNL TOWERS ORLAND LLC           PO BOX 743938 ATLANTA GA 30374-3938
PIEDMONT NATURAL GAS                     PO BOX 1246 PIEDMONT NATURAL GAS COMPANY CHARLOTTE NC 28201-1246
PIERCE COUNTY FINANCE                    PO BOX 11621 TACOMA WA 98411-6621
PIERRE BOSSIER MALL REALTY HOLDING LLC   1010 NORTHERN BLVD SUITE 212 GREAT NECK NY 11021-5320
PIERRE BOSSIER MALL REALTY HOLDING LLC   ATTN: JOSEPH M. SAPONARO, ESQ. C/O MEYERS, ROMAN, FRIEDBERG, & LEWIS 28601
                                         CHAGRIN BLVD., SUITE 600 CLEVELAND OH 44122
PIERSON REFRIGERATION SERVICES INC       DBA PIERSON TECHNICAL SERVICES 1234 OHIO AVENUE DUNBAR WV 25064
PIGEONPROS INC                           8119 E MAIN ST MESA AZ 85207-8505
PIGG, LINDA                              ADDRESS ON FILE
PIKE DISTRIBUTORS INC                    PO BOX 807 MARQUETTE MI 49855
PILE AND COMPANY INC                     179 LINCOLN STREET SUITE 400 BOSTON MA 02111
PILOT WASTE SOLUTIONS                    PO BOX 112 FAIRBURN GA 30213
PIMA COUNTY HEALTH DEPARTMENT            150 WEST CONGRESS ST ROOM 321 TUCSON AZ 85701
PIMA COUNTY HEALTH DEPARTMENT            500 GEORGE ST N TUCSON AZ 85701
PIMA COUNTY TREASURER                    PO BOX 29011 PHOENIX AZ 85038
PINA, MARIAH                             ADDRESS ON FILE
PINDERS SECURITY PRODUCTS                25 NIHAN DR ST CATHARINES ON L2N 1L2 CANADA
PINE BLUFF INCOME PROPERTIES LLC         C/O THE PINES MALL OFFICE 2504 ELMWOOD NORTH CIRCLE WICHITA FALLS TX
                                         76308-3916
PINE VIEW ENTERPRISES LLC                ATTN: RON HELTEN 10231 PRESTWICK TRAIL LONE TREE CO 80124
PINE VIEW ENTERPRISES LLC                10231 PRESTWICK TRAIL LONE TREE CO 80124
PINE VIEW ENTERPRISES LLC                10231 PRESTWICK TRL LONE TREE CO 80124-9747


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PINE VIEW VILLAGE, LLC                 C/O PINE VIEW ENTERPRISES LLC 10231 PRESTWICK TRAIL LONE TREE CO 80124
PINELLAS COUNTY TAX COLLECTOR          PO BOX 31149 TAMPA FL 33631-3149
PINELLAS COUNTY UTILITIES              150 WEST CONGRESS ST ROOM 321 CLEARWATER FL 33757
PINELLAS COUNTY UTILITIES              14 SOUTH FORT HARRISON CLEARWATER FL 33757
PINELLAS COUNTY UTILITIES, FL          PO BOX 31208 TAMPA FL 33631-3208
PINEVILLE ELECTRIC AND TELEPHONE       P.O. BOX 249 PINEVILLE NC 28134
PINEVILLE POLICE DEPARTMENT            PO BOX 249 PINEVILLE NC 28134
PINKERTONS ELECTRICAL SERVICE INC      DBA MR ELECTRIC HS-HUNTSVILLE SERVICE 1500 PERIMETER PKWY NW HUNTSVILLE AL
                                       35806-3562
PINKETT, BETTY                         ADDRESS ON FILE
PINKIES INC                            DBA PINKIES LIQUOR STORE 28 808 MAPLE ODESSA TX 79762
PINKSTON, LILLIE                       ADDRESS ON FILE
PINKSTON, LILLIE                       ADDRESS ON FILE
PINLEN LUBBOCK LLC                     C/O THE DAVIDMAN GROUP INC 1095 WOLVERTON E BOCA RATON FL 33434-4530
PINLEN LUBBOCK, LLC                    ATTN: PINCHAS DAVIDMAN 1095 WOLVERTON E BOCA RATON FL 33434
PINNACLE LAND MAINTENANCE INC          850 WEST BERESFORD ROAD DELAND FL 32720
PINNACLE LANDSCAPE SOLUTIONS LLC       5458 CARAVEL DR SW WYOMING MI 49418-9127
PINNACLE POWER WASH INC                2819 VALLEY RD CUYAHOGA FALLS OH 44223-1262
PINPOINT PRESSURE WASH LLC             2525 104TH ST TOLEDO OH 43611-2037
PINTO BROS DISPOSAL LLC                PO BOX 528 SOUTH PLAINFIELD NJ 07080
PIONEER SIGNS INC                      DBA GARY SIGN COMPANY 3289 E 83RD PLACE MERRILLVILLE IN 46410
PIPE DREAM PLUMBING INC                42 MCDAIRMID ROAD SCARBOROUGH ON M1S 1Z6 CANADA
PIPE PRO INC                           6633 8TH STREET SOUTH WEST CEDAR RAPIDS IA 52404
PIPE SURGEONS INC                      750 NW ENTERPRISE DR UNIT 115 PORT SAINT LUCIE FL 34986-2297
PIPE WRENCH INC                        DBA PATRIOT PLUMBING 5233 W AVENUE M2 QUARTZ HILL CA 93536-3024
PIPE WRENCH PLUMBING INC               PO BOX 31669 KNOXVILLE TN 37930-1669
PIPER FIRE PROTECTION INC              13075 US HIGHWAY 19 N CLEARWATER FL 33764-7224
PIPER MECHANICAL INC                   120 FONDA PLACE SE CALGARY ON T2A 4Z9 CANADA
PIPPIN BROTHERS INC                    PO BOX 2707 LAWTON OK 73502-2707
PIQRED LLC                             ATTN MICHAEL SCHMIDT 222 GRAND AVE ENGLEWOOD NJ 07631-4352
PITCHERS SEWER & DRAIN CLEANING SERVICE 18961 STAR SCHOOL HOUSE RD DEXTER NY 13634-3190
PITCO FRIALATOR INC                    DBA PITCO/MAGIKITCHEN 2485 PAYSPHERE CIRCLE CHICAGO IL 60674
PITHER PLUMBING & CONST CO INC         310 WEST METHVIN LONGVIEW TX 75601
PITT COUNTY ABC BOARD                  3501 S MEMORIAL DRIVE GREENVILLE NC 27833
PITT COUNTY TAX COLLECTOR              PO BOX 875 COUNTY COURTHOUSE GREENVILLE NC 27835
PITT COUNTY TAX COLLECTOR              PO BOX 875 GREENVILLE NC 27835-0875
PITTARELLI GROUP LLC                   DBA GREENSKEEPER LANDSCAPING & LAWN CARE 1635 UNION CTR-MAINE HWY ENDICOTT NY
                                       13760
PITTSFIELD CHARTER TOWNSHIP, MI        6201 WEST MICHIGAN AVENUE WATER & SEWER DEPARTMENT ANN ARBOR MI 48108
PITTSFIELD TOWNSHIP TAX COLLECTOR      6201 W. MICHIGAN AVE ANN ARBOR MI 48108
PIXELME STUDIO PEPE GOMEZ LLC          1901 FORT MYER DR STE 504 ARLINGTON VA 22209-1620
PIZARRO, JULIA                         ADDRESS ON FILE
PK CHEF INC                            DBA VITAL FLAIR 6765 NARCOOSSEE RD STE 107 ORLANDO FL 32822-5510
PK II EL CAMINO NORTH LP               PO BOX 30344 TAMPA FL 33630-3344
PK PRESSURE KLEEN INC                  PO BOX 415 ROSS OH 45061
PK SERVICE                             1369 BRICHMOUNT RD SCARBOROUGH ON M1P 2E2 CANADA
PLAINFIELD FRUIT AND PRODUCE CO INC    82 EXECUTIVE AVENUE EDISON NJ 08817
PLANS EXAMINERS INC                    1000 CHURCH HILL ROAD STE 210 PITTSBURGH PA 15205
PLANT LADY LLC                         221A INDEPENDENCE CAPE GIRARDEAU MO 63703



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PLANT PEDDLER LLC                      37 PINE DRIVE-ESTERBROOK DOUGLAS WY 82633
PLANT PROS OF OMAHA INC                6501 PARKER ST OMAHA NE 68104-4755
PLANT SPACE LLC                        3589 N SHILOH DR STE 3 PMB 51 FAYETTEVILLE AR 72703-5315
PLANTASIA, INC                         4602 E BASFORD ROAD FREDERICK MD 21703-7874
PLANTERIORS LLC                        1102 ANCHOR AVE BILLINGS MT 59105-1830
PLANTSCAPING INC                       1865 E 40TH STREET CLEVELAND OH 44103
PLATINUM ROOFING SOLUTIONS INC         1515 N ASHLEY ST STE C VALDOSTA GA 31602-3371
PLATINUM ROOFING SOLUTIONS INC.        WELLS FARGO BUILDING SUITE 3130 1 INDEPENDENT DR JACKSONVILLE FL 32202
PLATINUM SECURITY SOURCE INC           DBA GUARDIAN LOCK AND SECURITY 2017 E MAIN AVE BISMARCK ND 58501-4935
PLAZA SPEEDWAY LLC                     C/O BLOCK & CO INC REALTORS 605 W 47TH STREET SUITE 200 KANSAS CITY MO 64112
PLAZA WINDOW CLEANING LLC              4706 16TH ST BACLIFF TX 77518-2603
PLEXI LITE PRODUCTS INC                DBA PLASTI LITE SIGNS 9915 GRAVOIS RD SAINT LOUIS MO 63123-4207
PLEXUS COMPANY                         DBA CULINEX PO BOX 2925 FARGO ND 58108-2925
PLK INC                                DBA PROFESSIONAL LOCK & KEY PO BOX 7968 FREDERICKSBURG VA 22404-7968
PLUM BEST INC                          610 MIDARO RD GRAND ISLAND NE 68801-7687
PLUMB CARE PLUMBING INC                31 BEECHWOOD DRIVE LYNCHBURG VA 24502
PLUMB SOLDIERS LLC                     PO BOX 632 JASPER GA 30143-0632
PLUMBARAMA CO INC                      3431 BRISTOL PIKE BENSALEM PA 19020
PLUMBER INC                            1280 NORTH INDIANA AVE CROWN POINT IN 46307
PLUMBER PRO SERVICE & DRAIN LLC        PO BOX 1583 WATKINSVILLE GA 30677-0032
PLUMBERS DRAIN CLEANING INC            13441 AYLA RD EL PASO TX 79938-6334
PLUMBING & DRAIN PROFESSIONALS LLC     372 MORRISON RD STE G COLUMBUS OH 43213-1412
PLUMBING DESIGN AND INSTALLATION INC   2740 HAINES AVE RAPID CITY SD 57701-9563
PLUMBING HABIT LLC                     1910 KILLARNEY CT GILROY CA 95020-3054
PLUMBING LOGICS INC                    46310 BLACK SPRUCE LANE PARKER CO 80138
PLUMBING MASTERS INC                   DBA ALLSTAR PLUMBING 4901 E GRIMES HARLINGEN TX 78550
PLUMBWIZE INC                          5058 FAIRVIEW ST BURLINGTON ON L7L 0B4 CANADA
PLUMLEE, BRANDY                        ADDRESS ON FILE
PLUMMERS SEPTIC TANK INC               DBA PLUMMERS WASTE GROUP 4750 CLYDE PARK AVE SW WYOMING MI 49509
PLURALSIGHT LLC                        DEPT CH 19719 PALATINE IL 60055-9719
PMAM CORPORATION                       DBA CITY OF BAYTOWN FALSE ALARM REDUCTION PROGRAM PO BOX 142225 IRVING TX
                                       75014-2225
PNM                                    PO BOX 27900 ALBUQUERQUE NM 87125-7900
POFFENBARGER, JEFFREY                  ADDRESS ON FILE
POINT BROADBAND                        PO BOX 748185 ATLANTA GA 30374-8185
POINT LOBSTER CO INC                   1 SAINT LOUIS AVE POINT PLEASANT BEACH NJ 08742-2651
POINTE TAMPA PALMS ASSOCIATION INC     C/O RPM REALTY MANAGEMENT LLC 14502 N DALE MABRY HWY TAMPA FL 33618
POINTE TAMPA PALMS ASSOCIATION INC     C/O RPM REALTY MANAGEMENT LLC 14502 N DALE MABRY HWY STE 333 TAMPA FL 33618
POITRAS, CHRISTIAN                     ADDRESS ON FILE
POLAR COOLING LLC                      2734 E 14TH STREET YUMA AZ 85365-1908
POLARIS OWNERS ASSOCIATION INC         2 MIRANOVA PL STE 900 COLUMBUS OH 43215-7054
POLK COUNTY TAX COLLECTOR              PO BOX 1189 BARTOW FL 33831-1189
POLK COUNTY TREASURER                  111 COURT AVE RM 154 DES MOINES IA 50309-2229
POLK POWER SOLUTIONS INC               PO BOX 1595 AUBURNDALE FL 33823-1595
POLLACK KOP LLC                        C/O POLLACK MANAGEMENT LLC 239 BARTON AVENUE MELVILLE NY 11747
POLLOCK MILLER, STEPHANIE              2300 E 18TH ST APT 125 CASPER WY 82609-2958
POLLYWOG TRANSPORT INC                 1908 28TH AVE E PALMETTO FL 34221-9290
POLY-WOOD INC                          1000 POLYWOOD WAY SYRACUSE IN 46567-1493
POMONA VALLEY PLUMBING HEATING & AIR   CONDITIONING 675 BREA CANYON RD STE 12 WALNUT CA 91789-3064



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PONCE, TEOFILO                           ADDRESS ON FILE
PONZANI LENDON FLORIST & GARDEN CENTER   DBA LENDON FLORAL & GARDEN 46540 NATIONAL ROAD ST CLAIRSVILLE OH 43950
POOLE, MICHAEL                           ADDRESS ON FILE
POOR BOY ELECTRIC INC                    DBA TEXAS ELECTRIC 109 GETTYSBURG ODESSA TX 79766-9225
POPEYE SIGN COMPANY INC                  2292 DANFORTH DRIVE LEXINGTON KY 40511
PORT MCDONALD INC;                       JH DREYFUS LLC AND BERTHA AIKEN LLC PO BOX 481149 DELRAY BEACH FL 33448-1149
PORT MCDONALD, INC.                      P.O. BOX 481149 DELRAY BEACH FL 33448-1149
PORT ORANGE PLUMBING INC                 PO BOX 290874 PORT ORANGE FL 32129-0874
PORT ST LUCIE PLUMBING INC               900 ELYSE CR PORT ST LUCIE FL 34952
PORTAGE CITY TREASURER                   7900 S WESTNEDGE AVE PORTAGE MI 49002-5117
PORTAGE UTILITY SERVICE BOARD            6071 CENTRAL AVENUE PORTAGE IN 46368-3587
PORTER, NICOLE                           ADDRESS ON FILE
PORTER, TINA                             ADDRESS ON FILE
PORTLAND GENERAL ELECTRIC                PO BOX 4438 PORTLAND OR 97208-4438
PORTLAND GENERAL ELECTRIC COMPANY        7895 SW MOHAWK STREET TUALATIN OR 97062
PORTLAND LIGHTING INC                    10120 SW NIMBUS C-6 PORTLAND OR 97223
POSADAS, WILMER                          ADDRESS ON FILE
POST POLAK GOODSELL MACNEILL             & STRAUCHLER, PA ATTN: DOUG SHERMAN, SUSAN LEE COBB 425 EAGLE ROCK AVENUE, STE
                                         200 ROSELAND NJ 07068
POST POLAK P A                           425 EAGLE ROCK AVENUE SUITE 200 ROSELAND NJ 07068-1717
POSTAL CENTER INTERNATIONAL INC          PO BOX 31792 DEPT 13340 TAMPA FL 33631-3792
POTATO SPECIALTY CO INC                  PO BOX 3925 LUBBOCK TX 79452
POTHOLE REPAIR METRO DC LLC              8220 GREY EAGLE DR UPPER MARLBORO MD 20772-2602
POTOMAC EDISON                           PO BOX 3615 AKRON OH 44309-3615
POTOMAC ELECTRIC POWER COMPANY           PO BOX 13608 PHILADELPHIA PA 19101-3608
POTOMAC ELECTRIC POWER COMPANY           701 9TH STREET ROOM 7223 WASHINGTON DC 20068
POTOMAC LAWN AND HOME CARE LLC           5733 BRADLEY BLVD BETHESDA MD 20814-1033
POTTAWATOMIE COUNTY TREASURER            PO BOX 3069 SHAWNEE OK 74802-3069
POTTAWATTAMIE COUNTY TREASURER           227 S SIXTH ST COUNCIL BLUFFS IA 51501
POTTER COUNTY TAX ASSESSOR               14 SOUTH FORT HARRISON ORLANDO FL 32809
POTTER COUNTY TAX ASSESSOR               900 S POLK ST 106A AMARILLO TX 79101
POTTER COUNTY TAX COLLECTOR              PO BOX 2289 AMARILLO TX 79105-2289
POTTSTOWN CENTER LP                      309 LANCASTER AVE STE C3 C/O LONGVIEW MANAGEMENT MALVERN PA 19355
POTTSTOWN CENTER LP                      C/O LONGVIEW MANAGEMENT LP 309 LANCASTER AVE STE C-3 MALVERN PA 19355-1889
POUGHKEEPSIE TOWN RECEIVER OF TAXES      1 OVEROCKER RD POUGHKEEPSIE NY 12603
POWER PRO WASHING LLC                    9673 CAPRI CT UNION KY 41091-7617
POWER TECH LLC                           2614 RAILROAD HWY COUNCIL BLUFFS IA 51503-1030
POWER WASH KC LLC                        DBA DAMIEN HICKS 14015 W 130TH TER OLATHE KS 66062-6232
POWERS DISTRIBUTING COMPANY INC          3700 GIDDINGS ORION MI 48359
POWERTRON ELECTRICAL MAINTENANCE         PO BOX 2240 VINELAND NJ 08362-2240
COMPANY
POWERWASH PRO LLC                        DBA JAMES FEERY 3513 S SENATE PL CHANDLER AZ 85286-2623
PPINC LLC                                PREMIER PRODUCE 2672 SW 36TH STREET DANIA BEACH FL 33312
PPL ELECTRIC UTILITIES                   2 NORTH 9TH ST CPC-GENN1 ALLENTOWN PA 18101-1175
PPPA ENTERPRISES INC                     DBA MR.HANDYMAN OF ATASCOCITA, KINGWOOD & HUMBLE 12140 FM 1960 HUFFMAN TX
                                         77336-4520
PR NEWSWIRE ASSOCIATION LLC              GPO BOX 5897 NEW YORK NY 10087-5897
PRAIRIE AQUATICS AND EXOTICS             942 PARK STREET REGINA SK S4N 3Y3 CANADA
PRAN MCCAIN LLC                          ATTN NUTAN BHASKAR 12570 PINDELL CIR ALPHARETTA GA 30004-1034
PRATE, MACKENZIE                         ADDRESS ON FILE


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PRATT GOLDSMITH INC                    AGENT FOR HARDEN RANCH PLAZA PO BOX 718 RODEO CA 94572-0718
PRATT RECYCLING INC                    PO BOX 933949 ATLANTA GA 31193-3949
PRATT, DAVID                           ADDRESS ON FILE
PREACELY, CARLIS                       ADDRESS ON FILE
PRECISION APPLIANCE OF FLORIDA INC     2414 MERCHANT AVENUE ODESSA FL 33556
PRECISION ELECTRIC CONTRACTORS LLC     DBA PRECISION ELECTRIC 425 N FRONT STREET MEDFORD OR 97501
PRECISION ELECTRICAL CONTRACTORS LLC   PO BOX 1153 SALINA KS 67402-1153
PRECISION ELECTRICAL SYSTEMS INC       17612 E SPRAGUE AVE SPOKANE VALLEY WA 99016-5350
PRECISION FOOD EQUIPMENT LLC           15615 E APPLEBY RD GILBERT AZ 85298-9350
PRECISION LAWN IRRIGATION INC          2600 CROOKS RD ROCHESTER HILLS MI 48309-3605
PRECISION LAWN MAINTENANCE LLC         1890 OLD WILKESBORO ROAD STATESVILLE NC 28625
PRECISION LOCKSMITH CO LLC             2061 EVELYN BYRD AVENUE SUITE D HARRISONBURG VA 22801
PRECISION PRO WASH LLC                 JOSEPH CHESHIRE 3621 HIGHVIEW WAY COLUMBUS IN 47203-2577
PRECISION PROS POWER WASHING           113 E PHEASANT DR LARKSVILLE PA 18704-1635
PRECISION REPAIR SERVICE INC           2089 E 24TH ROAD GRAND RIDGE IL 61325
PRECISION SCAPES LANDSCAPING LLC       9700 PAXTON RD UNIT D SHREVEPORT LA 71106-7021
PRECISION SERVICES INC                 PO BOX 489 BISMARCK ND 58502-0489
PREECHA NARKSUWAN                      ADDRESS ON FILE
PREFERRED                              1064 BARTRAM LN QUAKERTOWN PA 18951-5014
PREFERRED ASSOCIATES LLC               3092 HULL AVE STE 4 BRONX NY 10467-4637
PREFERRED CARPET CARE INC              4350 WARM SPRINGS RD STE 100 COLUMBUS GA 31909-5465
PREFERRED PLUMBING INC                 PO BOX 2842 TUPELO MS 38803
PREFERRED PLUMBING SERVICES INC        PO BOX 380266 MURDOCK FL 33938-0266
PREFERRED PRECISION SPECIALTY LLC      3201 SW 11TH ST CIR BLUE SPRINGS MO 64015
PREFERRED ROOF SERVICES INC            14606 PACIFIC AVE S STE A TACOMA WA 98444-4602
PREIT ASSOCIATES LP                    DBA CUMBERLAND MALL ASSOCIATES CUMBERLAND MALL PO BOX 933149 CLEVELAND OH
                                       44193-0036
PREMIER CEILING RESTORATION LIMITED    1000 TUNNELHILL STREET GALLITZIN PA 16641
PREMIER GLAZERS BEER & BEVERAGE        2505 MURRAY ST SIOUX CITY IA 51111-1141
PREMIER HEATING & AIR                  1225 WHITE SPRINGS RD GLENWOOD GA 30428-2216
PREMIER PLUMBING & HEATING INC         DBA PHOENIX PLUMBING INC PO BOX 1049 HINTON IA 51024-1049
PREMIER PRODUCE CENTRAL FLORIDA INC    PREMIER PRODUCE CENTRAL FLORIDA INC PO BOX 7829 CAROL STREAM IL 60197-7829
PREMIER RESTAURANTS HOLDINGS LIMITED   CORNER SPRINGFIELD AND POUI AVENUE VALSAYN TRINIDAD AND TOBAGO
PREMIER SERVICES OF PA INC             CARPET CLEANING DIVISION PO BOX 527 CLAYSBURG PA 16625-0527
PREMIER WINDOW CLEANING PLUS LLC       19 GEORGE STREET EAST HARTFORD CT 06108
PREMIUM BEVERAGE CO INC                928 N RAILROAD AVE OPELIKA AL 36801
PREMIUM BEVERAGE SUPPLY LTD            3701 LACON ROAD HILLIARD OH 43026
PREMIUM DIST OF MARYLAND LLC           4660 NEW DESIGN RD STE A FREDERICK MD 21703-7555
PREMIUM DIST OF MICHIGAN               3700 GIDDINGS RD LAKE ORION MI 48359-1306
PREMIUM DISTRIBUTORS OF VA INC         5901 BOLSA AVE HUNTINGTON BEACH CA 92647-2053
PREMIUM STATIONERS INC                 13841 ROSWELL AVE STE J CHINO CA 91710-5467
PREMIUM SUPPLIES LLC                   65 MAIN ST METUCHEN NJ 08840-2741
PRENVIRO LLC                           4418 E FM 1518 N SELMA TX 78154-1575
PRESIDIO HOLDINGS INC                  DBA PRESIDIO NETWORKED SOLUTION LLC PO BOX 822169 PHILADELPHIA PA 19182-2169
PRESIDIO NETWORKED SOLUTIONS LLC       PO BOX 822169 PHILADELPHIA PA 19182-2169
PRESSURE KLEEN SERVICES COMPANY INC    71 KELFIELD STREET ETOBICOKE ON M9W 5A3 CANADA
PRESSURE POINT CLEANERS LLC            1902 E LINCOLN WAY AMES IA 50010-6546
PRESSURE WORKS                         3582 N 800 E KOKOMO IN 46901-8839
PRESSURIZED INC                        PO BOX 4015 HOT SPRINGS AR 71914



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PRESTIGE LOCK AND DOOR LLC             1703 BANYAN DR FORT COLLINS CO 80526-1010
PRESTINE POWER WASHING                 39879 N GENERAL KEARNY RD TEMECULA CA 92591-7301
PRESTO AUTOMATION INC                  DBA E LA CARTE LLC 985 INDUSTRIAL RD STE 205 SAN CARLOS CA 94070-4157
PRESTON LINK ELECTRIC INC              4000 SW 35TH TER GAINESVILLE FL 32608-2521
PREVENTION MAGAZINE LLC                PO BOX 44422 BOISE ID 83711-0422
PRICE ELECTRIC INCORPORATED            724 E THORNTON DRIVE BLOOMINGTON IN 47401
PRICE, SCOTT                           ADDRESS ON FILE
PRICEWATERHOUSE COOPERS LLP            PO BOX 932011 ATLANTA GA 31193-2011
PRICEWATERHOUSE COOPERS LLP            ATTN: TRACY JUNGER 4040 W BOY SCOUT BLVD TAMPA FL 33607
PRIDE NEON INC                         3010 WEST 10TH STREET SIOUX FALLS SD 57104
PRIESTER, ELAINE COOPER                ADDRESS ON FILE
PRIM F ESCALONA                        UNITED STATES ATTORNEYS OFFICE 1801 4TH AVE NORTH BIRMINGHAM AL 35203
PRIME ELECTRICAL SERVICES INC.         550 HOLTS LAKE CT STE 101 APOPKA FL 32703-3360
PRIME LAWN CARE INC                    DBA PRIME LANDSCAPE SERVICES PO BOX 171626 ARLINGTON TX 76003-1626
PRIME LINES INC                        3820 LADERA DR NW ALBUQUERQUE NM 87120-3725
PRIME SERVICE CANADA                   65 CEDAR POINT DRIVE SUITE 233 BARRIE ON L4N 9R3 CANADA
PRIME SPECIALTY CONTRACTING LLC        DBA PRIME MECHANICAL CONTRACTING 902 W BARAGA AVE MARQUETTE MI 49855-4029
PRINCE GEORGES COUNTY                  1301 MCCORMICK DRIVE LARGO MD 20774
PRINCE GEORGES COUNTY GOVERNMENT       FALSE ALARM REDUCTION UNIT PO BOX 161 RIVERDALE MD 20738-0161
PRINCE GEORGES COUNTY TREASURER        PO BOX 70526 PHILADELPHIA PA 19176-0526
PRINCE GEORGES COUNTY TREASURY DIVISION 1301 MCCORMICK DRV STE 1100 LARGO MD 20774
PRINCE GEORGES CTY HEALTH DEPARTMENT   9201 BASIL COURT SUITE 318 LARGO MD 20774
PRINCE WILLIAM CHAMBER OF COMMERCE     9720 CAPITAL COURT 203 MANASSAS VA 20110
PRINCE WILLIAM COUNTY                  HEALTH DISTRICT 8470 KAO CIRCLE MANASSAS VA 20110-1702
PRINCE WILLIAM COUNTY                  TAX ADMINISTRATION PO BOX 2467 WOODBRIDGE VA 22195-2467
PRINCE WILLIAM COUNTY TREASURER        TAX ADMINISTRATION DIVISION PO BOX 2467 WOODBRIDGE VA 22195-2467
PRINCIPAL FINANCIAL GROUP              PO BOX 9394 DES MOINES IA 50306-9394
PRINCIPAL LIFE INSURANCE COMPANY       PO BOX 603516 CHARLOTTE NC 28260-3516
PRINTED BY ERIK INC                    DBA ALPHAGRAPHICS 22158 ELKHART EAST BLVD ELKHART IN 46514-8176
PRIORITY U INC                         11551 KAW DR KANSAS CITY KS 66111-1111
PRIORITY WASTE LLC                     45000 RIVER RIDGE DR STE 200 CLINTON TOWNSHIP MI 48038
PRIZEOUT CORP                          33 W 17TH ST FL 8 NEW YORK NY 10011-5511
PRO 1 ELECTRIC INC                     205 HICKORY ST PARKERSBURG WV 26101-6339
PRO AIR MECHANICAL INC                 285 N US HIGHWAY 17-92 LONGWOOD FL 32750-4424
PRO CLEAN EXHAUST SERVICES LLC         DBA CALUMET CLEANING SERVICES PO BOX 2096 CALUMET CITY IL 60409-8096
PRO CLEANERS LLC                       DBA TARRELL THOMAS 101 25TH ST UNIT 717 NEWPORT NEWS VA 23607-4577
PRO CONSTRUCTION SERVICES INC          DBA DBA DYNAMIC DOOR SERVICE 1611 S UTICA AVE 193 TULSA OK 74104-4909
PRO DEGREASER LLC                      113 STERLING CT ALPHARETTA GA 30004-3848
PRO DISPOSAL INC, PA                   713 MOUNTAIN AVE PORTAGE PA 15946
PRO DOOR AND GLASS                     1677 LITTLE ORCHARD ST SAN JOSE CA 95125-1002
PRO FINISH MOBILE CAR CARE             DBA PRO FINISH EXTERIOR SERVICES 4063 OLD MOULTON RD DECATUR AL 35603-3825
PRO GASKET GUY LLC                     22820 INTERSTATE 45 NORTH STE 4J SPRING TX 77373-8241
PRO PLUMBING SERVICE AND REPAIR INC    13210 SW 132ND AVE STE 7 MIAMI FL 33186-6136
PRO SERV FOOD EQUIPMENT LLC            1822 S GLENBURNIE RD STE 6 PMB 382 NEW BERN NC 28562-5221
PRO TECH BEVERAGE SERVICE CORP         8253 INDY LANE INDIANAPOLIS IN 46214
PRO TOUCH LANDSCAPE SVC LLC            DBA JERARD BANANZIO LANDSCAPING LLC 73 BAUER TER HILLSIDE NJ 07205-3002
PRO WASTE SERVICES INC.                813 E 18TH ST ERIE PA 16503-2147
PRO-HYGIENE                            DBA XTREME HYGIENE 40 CYPRESS CREEK PKWY PMB 220 HOUSTON TX 77090-3530
PRO-LOCK LOCKSMITH SERVICE LLC         6508 WASHINGTON AVENUE OCEAN SPRINGS MS 39564-2125



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PRO-MAR ELECTRICAL SERVICES             PO BOX 830 ST GEORGE ON N0E 1N0 CANADA
PRO-MOTION TECHNOLOGY GROUP LLC         29755 BECK ROAD WIXOM MI 48393-2834
PRO-PLUMBING SERVICES CORP              5205 N NEBRASKA AVENUE TAMPA FL 33603
PRO-TECH COOLING & HEATING              155 PRAIRIE LAKE RD STE C EAST DUNDEE IL 60118-9123
PRO-TECH SERVICES                       DBA PRO-TECH SERVICES LLC 4101 N WOOD RD EAGLE MOUNTAIN UT 84005-6507
PRO-TECH VINYL REPAIR LLC               PO BOX 681014 INDIANAPOLIS IN 46268-7014
PROBATE JUDGE                           FALSE ALARM REDUCTION UNIT PO BOX 161 ANNISTON AL 36201
PROBATE JUDGE                           1701 NOBLE STREET ANNISTON AL 36201
PROBATE JUDGE LEE COUNTY COURTHOUSE     1701 NOBLE STREET OPELIKA AL 36803-2266
PROBATE JUDGE LEE COUNTY COURTHOUSE     PO DRAWER 2266 OPELIKA AL 36803-2266
PROCUTTERS LAWNS & LANDSCAPING LLC      3938 LONG AVENUE EXTENSION CONWAY SC 29526-6427
PRODUCERS GAS SALES, INC., OH           PO BOX 4970 NEWARK OH 43058-4970
PRODUCTION AUTOMATION CORP              121 CHESHIRE LANE SUITE 400 MINNETONKA MN 55305-1059
PROFESSIONAL CARPET & UPHOLSTERY        CLEANING 1822 N ST LOUIS JOPLIN MO 64801
PROFESSIONAL HYGIENE INC                DBA ENVIRO MASTER OF ST LOUIS 777 MERUS CT FENTON MO 63026-2028
PROFESSIONAL PLUMBING AND HEATING INC   107 BALDWIN DR ALBANY GA 31707-4364
PROFESSIONAL SERVICE INDUSTRIES INC     PO BOX 74008418 CHICAGO IL 60674-8418
PROFESSIONAL TOUCH LANDSCAPES LLC       1850 THOMPSON BRIDGE ROAD GAINESVILLE GA 30501-1999
PROFESSIONAL TURF & LANDSCAPE LLC       2611 ABBOT ROAD EAST LANSING MI 48823
PROFESSIONAL WINDOW CLEANING LLC        PO BOX 326 TIFFIN IA 52340-0326
PROFICIENT POOL AND LAWN SERVICE INC    C/O OUT DOOR LIVING 1420 GORNTO RD VALDOSTA GA 31602-2261
PROFLOW PLUMBING AND DRAIN SOLUTIONS    2412 JOHN HALL RD FAYETTEVILLE NC 28312-7318
LLC
PROGRESS SOFTWARE CORPORATION           PO BOX 845828 BOSTON MA 02284-5828
PROGRESSIVE FLOORING SERVICES INC       100 HERITAGE DRIVE ETNA OH 43062-8042
PROLOGIS LP                             PO BOX 846255 DALLAS TX 75284-6255
PROMARC CARPET CARE                     3006 DIVOKY RD PINE BLUFF AR 71603-9520
PROMENADE RED CLIFFS LLC                C/O WOODBURY CORPORATION ATTN PROPERTY MANAGEMENT 2733 EAST PARLEYS WAY SUITE
                                        300 SALT LAKE CITY UT 84109-1661
PRONTOCK BEER DISTRIBUTOR INC           323 SANDY STREET DUBOIS PA 15801
PROPARK INC                             771 AMANA STREET 3RD FLOOR HONOLULU HI 96814
PROPER POUR LLC                         5131 E 65TH ST INDIANAPOLIS IN 46220-4816
PROPERTY MAINTENANCE SOLUTIONS LLC      2150 FIRST COMMERCIAL DR S SOUTHAVEN MS 38671-2011
PROPERTY MAINTENANCE SVCS INC           54440 NATIONAL ROAD BRIDGEPORT OH 43912
PROPERTY SOLUTIONS LLC                  DBA 1 TOM PLUMBER-SAN ANTONIO C/O 1-866-PLUMBER 4418 E FM 1518 N SELMA TX
                                        78154-1575
PROPERTY WORX LLC                       PO BOX 1312 DELAWARE OH 43015-8312
PRORESULTS LLC                          DBA SIGNARAMA YORK 2150 WHITE ST STE 2 YORK PA 17404-4956
PROTECHS RCS LLC                        15987 COUNTY ROAD 355 TERRELL TX 75161-6233
PROTEX SERVICE INC                      1915 N HASKELL AVE DALLAS TX 75204-4283
PROVENCHER, JULIE                       ADDRESS ON FILE
PROVENCIO, MONICA                       ADDRESS ON FILE
PROVENDER HALL I LLC                    ATTN: JOANNE FOX 301 MISSION STREET, SAN FRANCISO CA 94105
PROVENDER HALL I LLC                    ATTN JOANNE FOX 301 MISSION ST APT 29C SAN FRANCISCO CA 94105-6652
PROVENDER HALL IV LLC                   400 ANDOVER DR. POWELL OH 43065
PROVENDER HALL IV LLC                   C/O ATTN JOANNE FOX MANAGER 301 MISSION ST APT 29C SAN FRANCISCO CA 94105-6652
PROVENDER HALL IV, LLC                  301 MISSION STREET, SUITE 29-C SAN FRANCISCO CA 94105
PROVINCIAL FILTER EXCHANGE              B1570 REGION ROAD 15 BOX 588 BEAVERTON ON L0K 1A0 CANADA
PRSS LLC                                ATTN: POORNACHANDER UPPALA 2407 RAINFLOWER MEADOW LN KATY TX 77494
PRSS LLC                                C/O POORNACHANDER UPPALA 2407 RAINFLOWER MEADOW LN KATY TX 77494-7809


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PRUITT, KASHAN                           ADDRESS ON FILE
PSCO KIEFFER INC                         PO BOX 72617 CLEVELAND OH 44192-0001
PSE&G-PUBLIC SERVICE ELEC & GAS CO       P.O. BOX 14444 NEW BRUNSWICK NJ 08906-4444
PSEGLI                                   P.O. BOX 9039 HICKSVILLE NY 11802-9039
PSI WASTE EQUIPMENT SERVICES INC         31130 INDUSTRY DR TAVARES FL 32778-9509
PT HOLDINGS LLC                          DBA RESTAURANT EQUIPMENT SVC GROUP LLC TOTAL MECHANICAL SERVICE 27766 NETWORK
                                         PLACE LOCKBOX 27766 CHICAGO IL 60673-1277
PT INTERMEDIATE HOLDINGS IV LLC          DBA GENERAL PARTS LLC MI 10 PO BOX 9201 MINNEAPOLIS MN 55480-9201
PUBLIC IMAGERY LLC                       5415 W CRENSHAW ST TAMPA FL 33634-3008
PUBLIC SERVICE COMPANY OF OKLAHOMA       PO BOX 371496 PITTSBURGH PA 15250-7496
PUBLIC WORKS & UTILITIES, KS             PO BOX 2922 WICHITA KS 67201-2922
PUBLICAN HOUSE BREWERY                   300 CHARLOTTE STREET PETERBOROUGH ON K9J 2V5 CANADA
PUBLICIS CANADA INC                      PO BOX 11758 STATION CENTRE VILLE MONTREAL QC H3C 6V6 CANADA
PUEBLO CITY-COUNTY HEALTH DEPARTMENT     151 CENTRAL MAIN PUEBLO CO 81003
PUEBLO COUNTY TREASURER                  215 W 10TH ST RM 110 PUEBLO CO 81003-2935
PUERTO RICO DEPT OF ENVIRONMENT          & NATURAL RESOURCES 1250 H ST NW, STE 850 WASHINGTON DC 20005
PUERTO RICO DEPT OF LABOR AND            HUMAN RESOURCES 505 MUNIZ RIVERA AVENUE GPO BOX 3088 HATO REY PR 00918
PUGET SOUND ENERGY                       P O B 91269 BELLEVUE WA 98009
PUGET SOUND ENERGY                       BOT-01H P.O. BOX 91269 BELLEVUE WA 98009-9269
PUGH, DAVID                              ADDRESS ON FILE
PULASKI COUNTY TREASURER                 PO BOX 8101 LITTLE ROCK AR 72203
PULEO INVESTMENTS INC                    46 CONNOR DRIVE ROYERSFORD PA 19468
PULLMAN PLUMBING INC                     124 WATKIN AVE STE 30 UNIT 6 CHADDS FORD PA 19317-9046
PUMA INDUSTRIES 307 LLC                  DBA 828 EASTERN BYPASS OWNER LLC 701 N FORT LAUDERDALE BEACH BLVD UNIT 1604
                                         FORT LAUDERDALE FL 33304-4148
PURCHASE DISTRICT HEALTH DEPARTMENT      PO BOX 2357 PADUCAH KY 42002-2357
PURCHASE DISTRICT HEALTH DEPARTMENT      PO DRAWER 2266 PADUCAH KY 42002-2357
PURE FLOW TESTING LLC                    220 SPRINGMONT DR READING PA 19610-4013
PURE GAS LLC                             14173 NORTHWEST FWY 101 HOUSTON TX 77040-5013
PURE LINE PLUMBING LLC                   4611 HILLSBOROUGH RD BLDG 200 DURHAM NC 27705-1228
PURE TAP INC                             6053 HUDSON RD STE 120 WOODBURY MN 55125-1023
PURE WATER INC                           DBA CULLIGAN OF EVANSVILLE 377 FUQUAY RD CHANDLER IN 47610-9299
PUREDRAUGHT LLC                          DBA BRANDYWINE DRAUGHT SERVICE PO BOX 85 EXTON PA 19341-0085
PUROLATOR INC                            PO BOX 4800 STN MAIN CONCORD ON L4K 0K1 CANADA
PURPLE MOUNTAIN SOLUTIONS INC            DBA GOLD CROSS COURIER SERVICE PO BOX 1167 EAU CLAIRE WI 54702-1167
PUTNAM COUNTY TRUSTEE                    300 E SPRING ST RM 2 COOKEVILLE TN 38501
PUTNAM, JOHN                             ADDRESS ON FILE
PVSC COMPANY                             PO BOX 331 ALTOONA PA 16603-0331
PW WATERTOWN LLC                         C/O PERI WOLFMAN PO BOX 911 BRIDGEHAMPTON NY 11932-0911
PWC PRODUCT SALES LLC                    PO BOX 932011 ATLANTA GA 31193-2011
PWCSA - PRINCE WILLIAM COUNTY SERVICES   PO BOX 71062 CHARLOTTE NC 28272-1062
PWL-MAUMEE LLC                           DBA PAUKEN WINE SHOP MAUMEE LIQUOR AGENCY 221 GOLDEN GATE PLAZA MAUMEE OH
                                         43537-2881
PWSD 1 OF COLE COUNTY, MO                P.O. BOX 664 JEFFERSON CITY MO 65109
QBE                                      PO BOX 5438 NEW YORK NY 10087-5438
QR RUSHMORE LLC                          ATTN MALL MANAGEMENT OFFICE 2200 N MAPLE AVE RAPID CITY SD 57701-7854
QSR AUTOMATIONS INC                      2700 BUDDEKE DR LOUISVILLE KY 40206-1051
QUAIL LAKES EXECUTIVE PLAZA ASSOCIATION ACCT NO 074746743 C/O PACIFIC WESTERN BANK SAN FRANCISCO CA 94145-0480
QUAIL LAKES EXECUTIVE PLAZA ASSOCIATION ACCT NO 074746743 C/O PACIFIC WESTERN BANK PO BOX 45480 SAN FRANCISCO CA
                                        94145-0480


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QUAIL LAKES OWNERS ASSOCIATION         ACCT NO 066349665 C/O COMMON INTEREST MGMT SAN FRANCISCO CA 94145-0480
QUAIL LAKES OWNERS ASSOCIATION         ACCT NO 066349665 C/O COMMON INTEREST MGMT PO BOX 45480 SAN FRANCISCO CA
                                       94145-0480
QUAILEE M COOPER                       ADDRESS ON FILE
QUAKER SECURITY LLC                    PO BOX 514 ELDORA IA 50627-0514
QUAL ECON                              ADDRESS ON FILE
QUALICARE LANDSCAPE SERVICES INC       414 HOLFORDS PRAIRIE RD 1-C LEWISVILLE TX 75056
QUALITY BRANDS DISTRIBUTION LLC        DBA QUALITY BRANDS OF CHEYENNE 1111 DUNN AVE CHEYENNE WY 82001-4834
QUALITY CARE PROPERTY MAINTENANCE &    LANDSCAPING 45 4TH LINE ROAD S DUMMER DOURO-DUMMER ON K0L 3A0 CANADA
QUALITY DRAFT SERVICES LLC             41 RIVERDALE AVE OAKDALE NY 11769-1546
QUALITY ELECTRIC INC                   PO BOX 406 WORTHINGTON OH 43085-0406
QUALITY F & V LLC                      DBA QUALITY FRUIT & VEG CO 10 ZANE GREY EL PASO TX 79906-5266
QUALITY LAWN MAINTENANCE LLC           QUALITY LAWNS PO BOX 3308 VALDOSTA GA 31604-3308
QUALITY LLC                            5524 DUTTON AVENUE UNIT B-8 NORTH CHARLESTON SC 29406-3279
QUALITY LOCKSMITH INC                  1621 PONDEROSA DR OAKLEY CA 94561-2239
QUALITY MECHANICAL                     PO BOX 3249 AMARILLO TX 79116
QUALITY MECHANICAL SERVICES LTD        106 D SCURFIELD BLVD WINNIPEG MB R3Y 1G4 CANADA
QUALITY PAINTING                       3206 14 ST NW CALGARY ON T2K 1H8 CANADA
QUALITY PLUMBING & MECHANICAL LLC      DBA QUALITY PLUMBING HEATING & COOLING LLC 405 DONOVANS LANE KODAK TN 37764
QUALITY PLUMBING OF GAINESVILLE        6318 NORTHWEST 18TH DRIVE GAINESVILLE FL 32653
QUALITY PLUS CLEANING SYSTEMS INC      PO BOX 2526 FT LAUDERDALE FL 33303
QUALITY PRESSURE WASHING & CLEANING    PO BOX 7823 ROCKY MOUNT NC 27804-0823
SVCS
QUALITY PRESSURE WASHING CORP          PO BOX 288 OAK LAWN IL 60454-0288
QUALITY REFRIGERATION CONCEPTS INC     DBA QRC INC 215 CASSELL ST WINSTON SALEM NC 27127-4810
QUALITY REFRIGERATION INC              6237 PENN AVE SO SUITE 100 RICHFIELD MN 55423
QUALITY RESTAURANT REP SVC INC         134 N MONTGOMERY ST WALDEN NY 12586
QUALITY UPHOLSTERING INC               607 W MAIN ST VISALIA CA 93291-6147
QUALITY VENTILATION LLC                904 HAYNES DR KILLEEN TX 76543-4948
QUEENSBURY PLAZA 1, LLC                400 ANDREW ST STE 500 ROCHESTER NY 14604
QUEENSBURY PLAZA I, LLC                C/O FLAUM MANAGEMENT COMPANY, INC. 400 ANDREWS STREET, SUITE 500 ROCHESTER NY
                                       14604
QUERCUS RUBRA INVESTMENT LLC           DBA THE GASKET GUY 1165 ROYAL DRIVE AMHERST OH 44001
QUEST SOFTWARE INC.                    PO BOX 731381 DALLAS TX 75373-1381
QUESTEC-COLUMBIA LLC                   1390 E BOONE INDUSTRIAL BLVD COLUMBIA MO 65202-3381
QUICK AS A WINK PRINTING CO INC        321 - 325 W HIGH STREET LIMA OH 45801
QUICK CONSTRUCTION INC                 PO BOX 8 CANDOR NY 13743-0008
QUICK SERVANT COMPANY INC              12011 GUILFORD ROAD UNIT 101 ANNAPOLIS JUNCTION MD 20701
QUINN A. JOHNSON, ADMINISTRATRIX OF THE ADDRESS ON FILE
QUINN ROOFING SOLUTIONS INC            620 NORTH SERVICE RD WINDSOR ON N8X 3J3 CANADA
QUINNIPIACK VALLEY                     HEALTH DISTRICT 1151 HARTFORD TURNPIKE NORTH HAVEN CT 06473
QUINNIPIACK VALLEY                     PO BOX 2357 NORTH HAVEN CT 06473
QUINTEX SERVICES LTD                   332 NASSAU STREET NORTH WINNIPEG MB R3L 0R8 CANADA
QUINTIN MCKEAN                         ADDRESS ON FILE
QWEST MECHANICAL CORP                  33940 E ROYALTON RD COLUMBIA STATION OH 44028-9164
R & B COMMERCIAL SERVICE INC           PO BOX 36378 ALBUQUERQUE NM 87176-6378
R & C COMMERCIAL MAINTENANCE CORP      14907 PLUMMER STREET NORTH HILLS CA 91343-3432
R & D CONTRACTORS LLC                  2227 ALA MAHAMOE STREET HONOLULU HI 96819
R & J ERTEL INC                        301 CHARLES STREET S WILLIAMSPORT PA 17702-7428
R & L CARRIERS INC                     PO BOX 10020 PORT WILLIAM OH 45164-2000


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R & M ELECTRIC COMPANY                13335 WOODBRIDGE STREET WOODBIRDGE VA 22191-1653
R & P RESTAURANT SERVICE INC          324 N 325 E VALPARAISO IN 46383
R & S RESTAURANT SERVICE              4436 WESTWARD WICHITA FALLS TX 76308
R A BORG INC                          DBA MIDWAY SEWER SERVICE PO BOX 1094 PROCTOR MN 55810-1094
R AND R AQUARIUM SERVICES             3209 N COCHITI AVE FARMINGTON NM 87401-2053
R BUILDERS INC                        PO BOX 3434 TEQUESTA FL 33469-1006
R D B P INC                           DBA MICKY FINNS 194 SOUTH CASHUA FLORENCE SC 29501
R DEEP TRANSPORTATION INC             2429 SANDERS LN FAIRFIELD CA 94533-1568
R E ROBERTSON PLUMBING & HTG          1829 GEORGE AVENUE ANNAPOLIS MD 21401
R ESSAY PLUMBING & HEATING INC        PO BOX 2309 SOUTHAMPTON NY 11969-2309
R H BARRINGER DIST CO INC             1015 ZIGLAR ROAD WINSTON-SALEM NC 27105
R L LIPTON DIST CO OF ASHTABULA       516 WEST 30TH STREET ASHTABULA OH 44004
R L LIPTON DISTRIBUTING               5900 PENNSYLVANIA AVE MAPLE HEIGHTS OH 44137-4302
R L LIPTON DISTRIBUTING COMPANY OF    YOUNGSTOWN 425 VICTORIA ROAD STE B YOUNGSTOWN OH 44515-2029
R M NIZZARDI INC                      DBA GREAT PLUMBERS 101 HARMON DRIVE BLACKWOOD NJ 08012
R POWER INDUSTRIES                    DBA NATIONAL HIGH SCHOOL PRINTING ASSN 7704 TRINITY BOULEVARD FORT WORTH TX
                                      76118-6901
R STEVEN EDWARDS                      ADDRESS ON FILE
R&F KING OF PRUSSIA LP                ATTN ACCOUNTING DEPARTMENT PO BOX 220 LIVERPOOL NY 13088-0220
R&H PROPERTIES LP                     ATTN: BILLIE BERNARD 2243 E. DEL RAE FLAGSTAFF AZ 86005
R&H PROPERTIES LP                     2243 E DEL RAE DR FLAGSTAFF AZ 86005-2763
R-T REFRIGERATION HEATING & COOLING   4429 ORCHARD DALE DR NW CANTON OH 44709-2063
R.B. SANDRINI FARMS, L.P.             ATTN: RICHARD SANDRINI 10889 CASEY AVENUE DELANO CA 93215
R.Y.G. REALTY, INC                    ATTN: YURY GNESIN 17070 COLLINS AVENUE, SUITE 255 SUNNY ISLES FL 33160
RA FLYNN & SON INC                    2300 CENTRAL POINT PKWY LIMA OH 45804-3806
RAAB SERVICE INC                      2015 B S WEST AVE WAUKESHA WI 53189
RABB WATER SYSTEMS INC                303 ARGONNE ROAD BOX 835 WARSAW IN 46581
RACEK & ASSOCIATES LLC                6200 SOM CENTER ROAD SUITE D25 SOLON OH 44139-2946
RACHAEL S. ROLLINS                    UNITED STATES ATTORNEYS OFFICE FEDERAL BLDG AND COURTHOUSE 300 STATE ST, STE
                                      230 SPRINGFIELD MA 01105
RACHAEL S. ROLLINS                    UNITED STATES ATTORNEYS OFFICE DONOHUE FEDERAL BLDG 595 MAIN ST, ROOM 206
                                      WORCESTER MA 01608
RACHAEL S. ROLLINS                    UNITED STATES ATTORNEYS OFFICE JOHN JOSEPH MOAKLEY, US FED COURTHOUSE 1
                                      COURTHOUSE WAY, STE 9200 BOSTON MA 02210
RACHELLE AUD CROWE                    UNITED STATES ATTORNEYS OFFICE 750 MISSOURI AVE, 3RD FL EAST ST. LOUIS IL
                                      62201
RACHELLE AUD CROWE                    UNITED STATES ATTORNEYS OFFICE 9 EXECUTIVE DR FAIRVIEW HEIGHTS IL 62208
RACHELLE AUD CROWE                    UNITED STATES ATTORNEYS OFFICE 402 W MAIN ST, STE 2A BENTON IL 62812
RACINE WATER UTILITY - WI             P.O. BOX 080948 WATER & WASTEWATER UTILITIES RACINE WI 53408-0948
RACK DRAFT SERVICES INC               11109 GUARD LANE NORTH BEND OH 45052
RACKSPACE US INC                      1 FANATICAL PL WINDCREST TX 78218-2179
RACM LLC                              DBA SERVPRO OF SAGINAW 470 N ADAMS ST SAGINAW MI 48604-1267
RADER AWNING & UPHOLSTERING INC       4100 S PASEO DEL NORTE NE ALBUQUERQUE NM 87113-1525
RADIANT SUNSET BUILDING LLC           C/O RADIANT PARTNERS LLC PO BOX 2311 HICKSVILLE NY 11802-2311
RADIANT WINDOW CLEANING INC           PO BOX 16357 DULUTH MN 55816-0357
RADICO INC                            1501 CLARA AVE COLUMBUS OH 43211
RAFAEL MACIAS PANTOJA                 ADDRESS ON FILE
RAFALLO, JANET                        ADDRESS ON FILE
RAGS POWER WASHING LLC                DBA RICHARD GARRETT 21827 COUNTY ROAD 2160 TROUP TX 75789-6003
RAGSDALE LIGGETT PLLC                 ATTN:ELIZABETH OVERMANN 2840 PLAZA PLACE SUITE 400 RALEIGH NC 27612


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RAI SAWAK LLC                          C/O MARK RAI 8932 S SHADOW BAY DR ORLANDO FL 32825-3707
RAI UNION REALTY LLC                   C/O SHAMWATIE SAWAK 8932 S SHADOW BAY DR ORLANDO FL 32825-3707
RAI UNION REALTY, LLC AND RAI SAWAK,   C/O HOLM & OHARA LLP 3 WEST 35TH STREET, 9TH FLOOR NEW YORK NY 10001
LLC
RAILS N TRAILS LLC                     DBA ROCKYS LOCK AND KEY 239 E CHURCH ST MARION OH 43302-3807
RAINBOW INVESTMENT CO                  10620 TREENA ST STE 110 SAN DIEGO CA 92131
RAINBOW INVESTMENT CO LP               C/O ATTN TENANT RELATIONS 10620 TREENA ST STE 110 SAN DIEGO CA 92131-1140
RAINBOW INVESTMENT CO., LP             750 B STREET SUITE 2100 SAN DIEGO CA 92101
RAINEY, ARMAND                         ADDRESS ON FILE
RAINFOREST SPRINKLERS AND LIGHTING     138 CLARKE ROAD LONDON ON N5W 5E1 CANADA
RAINMAKER THINKING INC                 PO BOX 6082 WALLINGFORD CT 06492-0089
RAINNER, SHERIECE                      ADDRESS ON FILE
RAISE RIGHT LLC                        DBA SHOPWITHSCRIP ATTN ACCOUNTING 2111 44TH ST SE GRAND RAPIDS MI 49508-5011
RALPH J PISTORE                        ADDRESS ON FILE
RALPH P HOERNER                        ADDRESS ON FILE
RALPH R GRAHAM                         ADDRESS ON FILE
RALPH RANEY YOUNG III                  DBA YOUNG RENOVATIONS 10524 SHILOH RD DALLAS TX 75228-2760
RALPHS BEER DISTRIBUTOR INC            P O BOX 1047 MORGANTOWN WV 26507-1047
RAMALHO, JOHN                          ADDRESS ON FILE
RAMBARAN, DHANWANTIE                   ADDRESS ON FILE
RAMCO JACKSONVILLE LLC                 ATTN: CHRIS BUNGER, TENANT ACCT ANALYST 500 NORTH BROADWAY, SUITE 201 P.O.BOX
                                       9010 JERICHO NY 11753
RAMCO PLUMBING                         DBA RAMCO PLUMBING HEATING AND AIR 10970 ARROW RTE STE 105 RANCHO CUCAMONGA CA
                                       91730-4830
RAMIREZ, KAESHA                        ADDRESS ON FILE
RAMON EDUARDO GUZMAN                   ADDRESS ON FILE
RAMONA HUNT                            ADDRESS ON FILE
RAMOS RESTAURANT SERVICES LLC          148 VINTAGE DR SAN MARCOS TX 78666-4586
RAMOS, ABEL                            ADDRESS ON FILE
RAMSEY COUNTY                          1910 W COUNTY RD ROSEVILLE MN 55113
RAMSEY COUNTY TREASURER                PO BOX 64097 DEPT OF PROP RECORDS & REVENUE ST PAUL MN 55164-0097
RAMSEY, JOYCELYN                       ADDRESS ON FILE
RANCHO CALIFORNIA WATER DISTRICT       PO BOX 512687 LOS ANGELES CA 90051-0687
RANCHO NORTHWEST CROSSINGS LLC         C/O PACIFIC COMMERCIAL MANAGEMENT INC 2725 CONGRESS ST STE 1E SAN DIEGO CA
                                       92110-2766
RANDALL D BUSH                         ADDRESS ON FILE
RANDALL K SCOTT                        ADDRESS ON FILE
RANDALS EQUIPMENT REPAIR INC           PO BOX 4610 SALEM OR 97302
RANDAZZO, MELISSA                      ADDRESS ON FILE
RANDOLPH A BEHLE SR                    DBA BEHLE INC DBA ROTO-ROOTER PO BOX 1103 AMES IA 50014-1103
RANDY BOSWELL                          ADDRESS ON FILE
RANDY BOTTOS                           ADDRESS ON FILE
RANDY HATTON                           ADDRESS ON FILE
RANDY L KRUP                           ADDRESS ON FILE
RANDY LEWIS HATCHER                    ADDRESS ON FILE
RANDY S. GROSSMAN                      US ATTORNEYS OFFICE 880 FRONT ST, ROOM 6293 SAN DIEGO CA 92101-8893
RANDY S. GROSSMAN                      US ATTORNEYS OFFICE IMPERIAL COUNTY OFFICE 516 INDUSTRY WAY, STE C IMPERIAL CA
                                       92251-7501
RANDY SINGLETON                        ADDRESS ON FILE
RANDY TAYLOR JR                        ADDRESS ON FILE


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RANDY YOUNG JR                       ADDRESS ON FILE
RANDYS SPRINKLER SYSTEMS INC         3306 ISLAND CIR GRAND ISLAND NE 68803-5274
RANGER INC                           DBA THE GASKET GUY OF HARTFORD 108 KIMBERLY RD EAST GRANBY CT 06026-9544
RAPID CITY FINANCE DEPARTMENT        300 6TH STREET CITY FINANCE OFFICE, UTILITY BILL DEPT RAPID CITY SD 57701-2728
RAPID CITY FINANCE OFFICE            HEALTH DISTRICT 1151 HARTFORD TURNPIKE RAPID CITY SD 57701
RAPID CITY FINANCE OFFICE            300 SIXTH STREET RAPID CITY SD 57701
RAPID FLOW PLUMBING INC              401 OLD MILL ROAD STE C CARTERSVILLE GA 30120-4037
RAPID PLUMBERS LLC                   2087 OAK ST MORGANTOWN WV 26505-2917
RASCOR MECHANICAL SERVICES LLC       DBA ADAM ANDREW RASNER 304 E BEATRYCE ST TEMPE AZ 85288-1002
RATA CAPITAL LLC                     DBA NORTHWEST LANDSCAPE AND MAINTENANCE 5060 E CARTIER AVE LAS VEGAS NV
                                     89115-4525
RATHBURN FOOD EQUIPMENT INC          56 MOUNT CLARE AVE ASHEVILLE NC 28801-1813
RAUL FLORES                          ADDRESS ON FILE
RAVE ASSOCIATES IMPORTERS &          260 METTY DRIVE SUITE H ANN ARBOR MI 48103
DISTRIBUTORS
RAW STAR LLC                         2875 NE 191ST STREET SUITE 801 AVENTURA FL 33180
RAWHIDE ELECTRIC SERVICES LLC        225 HUDSON STREET LONGVIEW WA 98632-3208
RAWLE & HENDERSON LLP                ATTN:JENNIFER SEME 1500 MARKET ST, 19TH FLOOR PHILADELPHIA PA 19102
RAWSON PLUMBING LLC                  11795 CALLE CORVO COLORADO SPRINGS CO 80926-9657
RAY VALDES - TAX COLLECTOR           PO BOX 630/SEMINOLE COUNTY SANFORD FL 32772-0630
RAY WALTERS                          ADDRESS ON FILE
RAY, ELIZABETH                       ADDRESS ON FILE
RAYGEN SERVICES LLC                  14734 S HARRELLS FERRY ROAD SUITE A BATON ROUGE LA 70816
RAYKEION HYLTON                      ADDRESS ON FILE
RAYMARC R.E. LLC                     1145 E. 80TH STREET, APT. 9GH NEW YORK NY 10075
RAYMARK MECHANICAL INC               DBA RAYFORD MECHANICAL 3520 ALDINE BENDER RD SUITE B HOUSTON TX 77032-3723
RAYMOND A BLANCHETTE III             ADDRESS ON FILE
RAYMOND A MEISTER JR                 ADDRESS ON FILE
RAYMOND B CORTEZ                     ADDRESS ON FILE
RAYMOND VERBRAAK                     ADDRESS ON FILE
RAYMOND, ANGELIA                     ADDRESS ON FILE
RAYMUNDO PEREZ CARRILLO              ADDRESS ON FILE
RAYMUNDO RODRIGUEZ                   ADDRESS ON FILE
RAYNARD M COOPER                     ADDRESS ON FILE
RAYS TRASH SERVICE INC               DRAWER I CLAYTON IN 46118
RAZIEL ACOSTA JURADO                 ADDRESS ON FILE
RB SANDRINI FARMS LP                 C/O RICHARD SANDRINI 10889 CASEY AVENUE DELANO CA 93215-9316
RCA PLUMBING INC                     DBA ALVAREZ PLUMBING 365 VICTOR ST STE D SALINAS CA 93907-2043
RCD INC                              400 BROWNING COURT PURCELLVILLE VA 20132
RCF SERVICE LLC                      913 N ORCHARD AVE FARMINGTON NM 87401-6099
RCG-MICHIGAN CITY LLC                RCG VENTURES FUND III LP PO BOX 53483 ATLANTA GA 30355-1483
RCG-OAKDALE MN LLC                   C/O RCG VENTURES I LLC PO BOX 53483 ATLANTA GA 30355-1483
RCG-PSC CAMP CREEK OWNER LLC         PO BOX 53483 ATLANTA GA 30355-1483
RCJCREH CORPORATION                  DBA BENJAMIN FRANKLIN OF GRAND RAPIDS 4410 PLAINFIELD AVE NE GRAND RAPIDS MI
                                     49525-1616
RDHW MANAGEMENT LLC                  DBA ROD DE LLANO FAMILY PARTNERSHIP LP HERBERT AND ISABEL WOLFE, TRUSTEES OF
                                     THE WOLFE TRUST HOUSTON TX 77002-1056
RDHW MANAGEMENT LLC                  DBA ROD DE LLANO FAMILY PARTNERSHIP LP HERBERT AND ISABEL WOLFE TTEES, WOLFE
                                     TR 440 LOUISIANA ST STE 1212 HOUSTON TX 77002-1056
RDK SERVICES LP                      DBA COMMERCIAL SERVICES OF S A 10038 IOTA DR SAN ANTONIO TX 78217


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RDP ENTERPRISES INC                      DBA SONITROL OF ANDERSON 120 W 6TH STREET ANDERSON IN 46016-1199
REAL CARPET SERVICES LLC                 191 WOOLERY LN DAYTON OH 45415-1732
REAL ESTATE SERVICES INC                 PO BOX 600653 SAN DIEGO CA 92160
REALTY INCOME CORPORATION                DBA SPIRIT MASTER FUNDING IX LLC PO BOX 103128 PASADENA CA 91189-0153
REAPER MECHANICALS LLC                   DBA DAVID MICHAEL MCCLOSKEY 116 SHAWNS LN TYRONE PA 16686-7252
REAVES-DAVIS, TAKISHA                    ADDRESS ON FILE
REBECCA BORN                             ADDRESS ON FILE
REBECCA F YEBOAH                         ADDRESS ON FILE
REBECCA J COLLINS                        ADDRESS ON FILE
REBECCA L SCOTT                          ADDRESS ON FILE
REBECCA WANDTKE                          ADDRESS ON FILE
REBEL ELECTRIC INC                       PO BOX 2394 TUPELO MS 38803
RECEIVER OF TAXES - TOWN OF              ONE OVEROCKER ROAD TOWN OF POUGHKEEPSIE POUGHKEEPSIE NY 12603
POUGHKEEPSIE
RECOLOGY BUTTE COLUSA COUNTIES           PO BOX 848870 LOS ANGELES CA 90084-8870
RECOLOGY SAN BRUNO                       101 TANFORAN AVE SAN BRUNO CA 94066-1534
RECOLOGY SONOMA MARIN                    PO BOX 841889 LOS ANGELES CA 90084-1889
RECOLOGY VALLEJO                         PO BOX 848870 LOS ANGELES CA 90084-8870
RECON BUILDALL                           1630 NORTH FIELD AVENUE OSHAWA ON L1K 0K8 CANADA
RECYCLING CENTER, INC.                   PO BOX 640749 CINCINNATI OH 45264-0749
RED CARPET SERVICE INC                   350 SOUTH GEOSPACE DRIVE INDEPENDENCE MO 64056
RED CHAMBER CO                           1912 EAST VERNON AVE VERNON CA 90058-1611
RED DAWN SEI BUYER INC                   DBA SERVICE EXPRESS LLC DEPT 6306 PO BOX 30516 LANSING MI 48909-8016
RED ELECTRIC LLC                         1009 W BLUFF ST MARQUETTE MI 49855-4032
RED GARDEN LLC                           222 GRAND AVE ENGLEWOOD NJ 07631
RED HOG REFRIGERATION HEAT AND AIR INC   PO BOX 23163 HOT SPRINGS AR 71903
RED LOBSTER MASTER HOLDINGS LP           DBA RED LOBSTER MANAGEMENT LLC 450 S ORANGE AVENUE SUITE 800 ORLANDO FL 32801
RED LOBSTER OF LAKELAND LLC              5194 SEAHORSE AVENUE NAPLES FL 34103
RED LOBSTER OF LAKELAND LLC              5194 SEAHORSE AVE NAPLES FL 34103-2465
RED LOBSTER ST CLOUD MN LLC              20161 OCEAN KEY DR BOCA RATON FL 33498-4530
RED MOUNTAIN ELECTRIC INC                134 WEST 200 SOUTH IVINS UT 84738
RED OAK BREWERY                          6901 KONICA DRIVE WHITSETT NC 27377
RED OLIVE PROPERTIES LLC                 C/O CBRE INC PROPERTY ACCOUNTING SVCS 3820 W HAPPY VALLEY RD 141-445 GLENDALE
                                         AZ 85310
RED RIVER GASKET LLC                     DBA GASKET GUY OF OKLAHOMA PO BOX 721648 OKLAHOMA CITY OK 73172
RED RIVER REFRIGERATION                  160 8TH AVENUE NW WEST FARGO ND 58078
RED SUMMIT FAIR LLC                      DBA RED PROPERTY MANAGEMENT LLC AS AGENT FOR RED SUMMIT FAIR LLC PO BOX 92282
                                         LAS VEGAS NV 89193-2282
RED TAP DRAUGHT SOLUTIONS                25524 JOHN R RD MADISON HEIGHTS MI 48071-4014
RED WOLF TECHNICAL INC                   PO BOX 29 BENTONVILLE AR 72712-0029
RED-K LLC                                DBA MR ELECTRIC WEST FORT WORTH 13450 OAK GROVE RD S BURLESON TX 76028-6646
REDAN ADVISORS LLC                       C/O PATRICK J BARTELS JR 5330 CARMEL CREST LN CHARLOTTE NC 28226-2300
REDDY ELECTRIC CO                        1145 BELLBROOK AVENUE XENIA OH 45385
REDDY RENTALS INC                        34194 AURORA RD STE 226 SOLON OH 44139
REDI REFRIGERATION INC                   505 SW VAN BUREN ST TOPEKA KS 66603-3334
REDLANDS MATTRESS & UPHOLSTERY INC       DBA REDLANDS UPHOLSTERY 360 GRAND MESA AVENUE GRAND JUNCTION CO 81503
REDLINE IGUANA REMOVAL LLC               2840 STIRLING RD STE D HOLLYWOOD FL 33020-1188
REDLINE MOTORS INC                       DBA MOSHER LANDSCAPING PO BOX 1311 SIOUX CITY IA 51102-1311
REDLINE PLUMBING HEATING AND AIR LLC     DBA REDLINE PLUMBING 2716 34TH ST NW MANDAN ND 58554-1305
REDLOB SHEPPARD AVENUE LP                C/O ORION INVESTMENT AND MANAGEMENT LTD 200 S BISCAYNE BLVD FL 7 MIAMI FL


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REDLOB SHEPPARD AVENUE LP                33131-2310
REDNECK BREWING CO                       2285 ST LAURENT BLVD UNIT D3 OTTAWA ON K1G 4G8 CANADA
REED GROUP LTD                           10355 WESTMOOR DRIVE WESTMINSTER CO 80021
REED PAINTING LLC                        DBA GASKET GUY OF RENO 1001 S MEADOWS PKWY APT 1833 RENO NV 89521-5989
REED, LUIDA                              ADDRESS ON FILE
REED, ROSALYN                            ADDRESS ON FILE
REEF TECTONICS INC                       14310 C CIR STE 3 OMAHA NE 68144-3348
REEFOLOGY RVA LLC                        1561 N PARHAM RD HENRICO VA 23229-4604
REENTS, TROY                             ADDRESS ON FILE
REEP-RTL DTC VA LLC                      PO BOX 22622 NEW YORK NY 10087-2622
REESE MCKINNEY JR                        ADDRESS ON FILE
REEVES PROPERTY MANAGEMENT LLC           DBA KENT LANDSCAPING PO BOX 300 CAMDEN DE 19934-0300
REFF, CLARENCE                           ADDRESS ON FILE
REFINITIV US LLC                         PO BOX 415983 BOSTON MA 02241-5983
REFRESHMENT SERVICES INC                 PEPSI 3875 4TH PARKWAY TERRE HAUTE IN 47804-4256
REFRIGERATED SPECIALIST INC              3040 EAST MEADOWS MESQUITE TX 75150
REFRIGERATED SPECIALIST INC.             3100 EAST MEADOWS BLVD MESQUITE TX 75150
REFRIGERATION SERVICE CO INC             225 VALLEY STREET S WILLIAMSPORT PA 17702
REFRIGERATION SERVICES INC               PO BOX 2883 MERIDIAN MS 39302
REFRIGERATION SPECIALISTS INC            DBA AC & R SPECIALISTS PO BOX 837 SIOUX CITY IA 51102
REGAL WINE COMPANY                       PO BOX 2160 WINDSOR CA 95492-2160
REGENCY CENTERS CORPORATION              ATTN: PROPERTY MANAGEMENT WESTPORT OFFICE 28 CHURCH LANE WESTPORT CT 06880
REGENCY COMMERCE CENTER OWNERS ASSOC     1 SLEIMAN PARKWAY SUITE 250 JACKSONVILLE FL 32216
INC
REGINA BAXTER                            ADDRESS ON FILE
REGINA CITY                              PO BOX 5042 REGINA SK S4P 3M3 CANADA
REGINA CITY                              300 SIXTH STREET REGINA SK S4P 3M3 CANADA
REGINA S CHANEY                          ADDRESS ON FILE
REGINAL BELLAMY                          ADDRESS ON FILE
REGINALD L WITHEY                        ADDRESS ON FILE
REGION OF PEEL                           PO BOX 4512, STATION A ACCOUNTS RECEIVABLE TORONTO ON M5W 4L4 CANADA
REGIONAL INCOME TAX AGENY                ATTN: CITY OF PIQUA 10107 BRECKSVILLE ROAD BRECKSVILLE OH 44141
REGIONAL MUNICIPALITY OF DURHAM          PO BOX 720 605 ROSSLAND RD E WHITBY ON L1N 0B1 CANADA
REGIONAL WATER AUTHORITY                 PO BOX 981102 BOSTON MA 02298-1102
REID & REID INC                          DBA REID ELECTRIC PO BOX 31071 GREENVILLE SC 29608-1071
REID STURZENBECKER                       ADDRESS ON FILE
REID, SERENITY                           ADDRESS ON FILE
REIMER SHAUNA                            ADDRESS ON FILE
REIMER, BRADY                            ADDRESS ON FILE
REIMER, MELISSA                          ADDRESS ON FILE
RELATED RETAIL MANAGEMENT CORPORATION    ATTN: TREASURY DEPT 410 10TH AVE FL 7 NEW YORK NY 10001-1799
RELIABLE CARBONIC CO INC                 334 HANDY STREET NEW BRUNSWICK NJ 08901
RELIABLE CONTRACTORS INC                 DBA RELIABLE ELECTRIC 94 COMPARK RD DAYTON OH 45459-5609
RELIABLE GASKETS LLC                     18543 YORBA LINDA BLVD 163 YORBA LINDA CA 92886-4135
RELIABLE IRRIGATION SYSTEM INC           1250 RURAL STREET AURORA IL 60505-2514
RELIABLE PLUMBING & DRAIN CLEANING INC   PO BOX 6561 CHULA VISTA CA 91909-6561
RELIABLE PLUMBING INC                    15016 FLORIDA BOULEVARD BATON ROUGE LA 70819
RELIABLE RECYCLING SERVICES, INC.        P.O. BOX 238 LAKE CITY FL 32056-0238
RELIABLE SERVICE CO INC                  385 W CARROLL STREET DOTHAN AL 36301



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RELIABLE SERVICES GROUP LLC              2651 N DESIGN COURT SANFORD FL 32773
RELIABLE WINDOW CLEANING CORP            PO BOX 182 MASSAPEQUA PARK NY 11762-0182
RELIAKOR SERVICES INC                    NW 5561 PO BOX 1450 MINNEAPOLIS MN 55485-5561
RELIANT COMMERCIAL APPLIANCE REPAIR LLC 5719 RIVERLAND DR ANDERSON CA 96007-8377
RELIANT ELECTRICAL SERVICE INC           650 N ROSE DRIVE 405 PLACENTIA CA 92870
REM FIRE SYSTEMS INC                     206 S GEORGE ST PO BOX 968 ROME NY 13440-6541
REMER PLUMBING HEATING & AC INC          5565 STATE STREET SAGINAW MI 48603-3689
REMINGER CO. LPA                         ATTN:KATIE HAIRE COLLEGE PARK PLAZA 8909 PURDUE ROAD, SUITE 200 INDIANAPOLIS
                                         IN 46268
RENAISSANCE HOLDINGS LLC                 DBA GLENNS COMMERCIAL SERVICE LLC 4012 BISHOP LANE LOUISVILLE KY 40218-4539
RENDON, NOREEN                           ADDRESS ON FILE
RENE HEIDWEILLER                         ADDRESS ON FILE
RENEE L FERRERO                          ADDRESS ON FILE
RENEW CEILING & RAFTER CLEANING LLC      8635 NOLAN DR FISHERS IN 46038-5259
RENTOKIL CANADA CORPORATION              1-99 LOCKE ST CONCORD ON L4K 0J2 CANADA
RENTOKIL NORTH AMERICA INC               DBA JC EHRLICH PO BOX 740608 CINCINNATI OH 45274-0608
RENTSCHLER, NATASHA                      ADDRESS ON FILE
REPAIR 24                                8532 VIRGINIA MEADOWS DR MANASSAS VA 20109-4861
REPUBLIC NATIONAL DISTRIBUTING COMPANY   DBA REPUBLIC NATIONAL DISTRIBUTING CO PO BOX 5708 DENVER CO 80217
REPUBLIC NATL DISTRIBUTING CO OF IN LLC 700 W MORRIS ST INDIANAPOLIS IN 46225-1447
REPUBLIC SERVICES                        P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES                        PO BOX 78829 PHOENIX AZ 85062
REPUBLIC SERVICES                        PO BOX 78829 PHOENIX AZ 85062-8829
RES TECH SERVICE LTD                     11 CASLON PLACE WINNIPEG MB R2P 0X2 CANADA
RESNICK & LOUIS P.C.                     8111 E INDIAN BEND RD SCOTTSDALE AZ 85250-4813
RESNICK & LOUIS, P.C.                    ATTN:MITCH RESNICK 8111 E INDIAN BEND RD SCOTTSDALE AZ 85250
RESORT BEVERAGE CO INC                   ROUTE 611 PO BOX 143 TANNERSVILLE PA 18372
RESTAURANT EQUIPMENT DIAGNOSTICS LLC     DBA G MATTHEW BRUNTY 213 GLEN ORCHARD WAY DANIELS WV 25832-9027
RESTAURANT EQUIPMENT MAINTENANCE CO LLC DBA REMCO PO BOX 7410423 CHICAGO IL 60674-0423
RESTAURANT INTERIOR SERVICES INC         DBA VINYL MASTER UPHOLSTERY CO PO BOX 4065 CENTERLINE MI 48015-4065
RESTAURANT PROFIT SYSTEMS INC            DBA TAYLOR UPSTATE 4291 SLATE HILL ROAD MARCELLUS NY 13108
RESTAURANT SERVICES INC                  2629 REDWING RD STE 370 FORT COLLINS CO 80526-6316
RESTAURANT SPECIALIST CSTR INC           DBA RS CONSTRUCTION PO BOX 3389 LA HABRA CA 90632-3389
RESTAURANT UPHOLSTERY LLC                PO BOX 851727 MESQUITE TX 75185-1727
RESTAURANTINSIGHTS COM INC               1049 KEY RD SUITE 58 COLUMBIA SC 29201-5408
RESTAURANTS CANADA                       1155 QUEEN STREET WEST TORONTO ON M6J 1J4 CANADA
RESTAURANTS OPERATORS INC                PO BOX 366308 SAN JUAN PR 00936-6308
RESTORATION DOCTOR LLC                   2300 PIMMIT DR FALLS CHURCH VA 22043-2833
RETAIL CONSULTING SERVICES INC           DBA RCS REAL ESTATE ADVISORS 470 SEVENTH AVENUE NEW YORK NY 10018-7600
RETAIL CYBER INTELLIGENCE SHARING        C/O R-CISC MEMBERSHIP SERVICES PO BOX 743565 ATLANTA GA 30374-3565
CENTER
RETAIL GIFT CARD ASSOCIATION             4248 PARK GLEN RD MINNEAPOLIS MN 55416-4758
RETAIL MAINTENANCE SPECIALISTS &         CONSTRUCTION LLC 1451 ROUTE 37 W SECOND FLOOR TOMS RIVER NJ 08755-4969
RETAIL OPPORTUNITY INVESTMENTS PARTN     DBA ROIC CALIFORNIA LLC MS 631099 PO BOX 3953 SEATTLE WA 98124-3953
RETAIL PROPERTIES BUSINESS TRUST         C/O FEDERAL REALTY INV TRUST WHITE MARSH GROUND LEASES PO BOX 846073 LOS
                                         ANGELES CA 90084-6073
RETAIL PROPERTIES OF AMERICA INC         DBA RPAI US MANAGEMENT LLC 13068 COLLECTION CENTER DRIVE CHICAGO IL 60693
RETAIL SECURITY SERVICES                 3249 RT 112 BLDG 4 SUITE 2 MEDFORD NY 11763
RETAIL SOS LLC                           1 CHILDRESS PLACE SOUTH CHARLESTON WV 25309-8821
RETAIL TECHNOLOGY GROUP INCORPORATED     1663 FENTON BUSINESS PARK COURT FENTON MO 63026-2990


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RETAIL VALUATION SERVICES LLC            PO BOX 888873 ATLANTA GA 30356
RETARUS INC                              300 LIGHTING WAY STE 315 SECAUCUS NJ 07094-3646
REVENUE COLLECTION DIVISION              PO BOX 5042 COLUMBUS GA 31993
REVENUE COLLECTION DIVISION              P O BOX 1340 COLUMBUS GA 31993
REVENUE COLLECTIONS - MD                 PO BOX 17535 BALTIMORE MD 21297-1535
REVENUE DIVISON                          PO BOX 9250 PORTLAND OR 97207-9250
REVERIANO ORTEGA                         ADDRESS ON FILE
REXFORD LEE CALDWELL JR                  ADDRESS ON FILE
REYCO ELECTRICAL SERVICES INC            7 JAY GOULD COURT SUITE 6 WALDORF MD 20602
REYES NURSERY AND LAWN SERVICE INC       DBA RIGOBERTOS LAWNCARE AND TREE SERVICE 904 WOODLAND DR SEFFNER FL 33584-6154
REYES-GAVILAN CONSULTING ENGINEERS INC   16252 NW 79TH AVE MIAMI LAKES FL 33016-6132
REYFF ELECTRIC COMPANY INC               636 MARTIN AVENUE ROHNERT PARK CA 94928
REYNAS UPHOLSTERY INC                    0N415 LAKE DR WEST CHICAGO IL 60185-3014
REYNOLDS CONSTRUCTION COMPANY INC        PO BOX 20580 WHITE HALL AR 71612-0580
REYNOLDS H2O PLUS INC                    DBA CULLIGAN WATER CONDITIONING 119 FRANKLIN ST WEST READING PA 19611-1239
REYNOLDS PLUMBING INC                    1134 NW T ST RICHMOND IN 47374-1454
REYNOLDS SNOWPLOWING                     & LANDSCAPING 116 MCDONOUGH LANE UNIONTOWN PA 15401
REYNOLDS, KEVIN                          ADDRESS ON FILE
REYNOLDS, MARQUITA                       ADDRESS ON FILE
REYNOLDS, PATRICIA                       ADDRESS ON FILE
RFH1 LLC                                 ATTN: DONALD J. ROSEWATER 372 W. KILBRIGE DRIVE HIGHLAND HEIGHTS OH 44143
RFH1 LLC                                 DBA ROSEWATER FAMILY HOLDING LLC C/O DONALD J. ROSEWATER 372 W. KILBRIDGE DR.
                                         HIGHLAND HEIGHTS OH 44143-3647
RG&E - ROCHESTER GAS & ELECTRIC          P.O. BOX 847813 BOSTON MA 02284-7813
RGB HVAC SERVICES LLC                    PO BOX 566 DENISON TX 75021-0566
RGL CHARLOTTE LLC                        DBA 1-800-GOT-JUNK 2848 QUEEN CITY DR STE E CHARLOTTE NC 28208-2739
RGLI LLC                                 ATTN: GORDON LI 25 WOODHILL DRIVE REDWOOD CITY CA 94061
RGLI LLC                                 C/O GORDON LI 25 WOODHILL DR REDWOOD CITY CA 94061-1826
RGM SUPPLIES CORP                        324 S DIAMOND BAR BLVD PMB 621 DIAMOND BAR CA 91765-1607
RGV STERLING SERVICES LLC                3611 E ADAMS AVE ALTON TX 78573-0728
RH POSITIVE ENTERPRISES INC              825 NORMAN STREET DANVILLE IL 61832
RH TACOMA PLACE ASSOCIATES LLC           C/O ROSEN PROPERTIES PO BOX 5003 BELLEVUE WA 98009
RHEINECKER, BETTY                        ADDRESS ON FILE
RHH ENTERPRISES INC                      DBA 1-800-GOT-JUNK 5325 SHERIDAN DR UNIT 142 WILLIAMSVILLE NY 14221-3503
RHINEGEIST LLC                           1910 ELM STREET CINCINNATI OH 45202-7751
RHINOS PLUMBING & DRAIN CLEANING LLC     1609 E 49TH ST ODESSA TX 79762-4402
RHOADS CO                                107 E 6TH ST ROSWELL NM 88202-6301
RHODE ISLAND DEPARTMENT OF THE           ATTORNEY GENERAL CONSUMER PROTECTION UNIT 150 S MAIN ST PROVIDENCE RI 02903
RHODE ISLAND DEPT OF                     ENVIRONMENTAL MANAGEMENT 235 PROMENADE ST PROVIDENCE RI 02908-5767
RHODE ISLAND DEPT OF LABOR AND TRAINING 1511 PONTIAC AVENUE CRANSTON RI 02920
RHODES & SALMON PC                       1053 RED OAKS LOOP NE ALBUQUERQUE NM 87122-1346
RHODES, CAROL                            ADDRESS ON FILE
RHODES, MICHAEL                          ADDRESS ON FILE
RHONDA G ADAMS                           ADDRESS ON FILE
RHONDA KENNEDY                           ADDRESS ON FILE
RHONDA MADRIGAL                          ADDRESS ON FILE
RHONDA SANDERSON                         ADDRESS ON FILE
RHYL REALTY INC                          3200 DUFFERIN STREET SUITE 424 TORONTO ON M6A 3B2 CANADA
RI DEPT OF LABOR AND TRAINING            1511 PONTIAC AVE CRANSTON RI 02920



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RIALS, JAMES                         ADDRESS ON FILE
RIBEIRO HUI                          ADDRESS ON FILE
RIBEIRO HUI                          ADDRESS ON FILE
RICARDO ESTRADA                      ADDRESS ON FILE
RICARDO G COLAZO                     ADDRESS ON FILE
RICCIS LANDSCAPE MANAGEMENT INC      DBA RLM INC 502 NORBEH DRIVE HEBRON IN 46341-8502
RICE, COREY                          ADDRESS ON FILE
RICES NURSERY & LANDSCAPING INC      DBA RICES LANDSCAPES REDEFINED 1651 55TH ST NE CANTON OH 44721-3236
RICHARD A SOUTHCOMB                  DBA WHERE THE GREEN GRASS GROWS C/O SOUTHCOMB LANDSCAPING 4990 LOOSAHATCHIE DR
                                     BARTLETT TN 38002-5771
RICHARD D. WESTPHAL                  UNITED STATES ATTORNEYS OFFICE US COURTHOUSE ANNEX 110 E COURT AVE, STE 286
                                     DES MOINES IA 50309-2053
RICHARD D. WESTPHAL                  UNITED STATES ATTORNEYS OFFICE US COURTHOUSE 131 E 4TH ST, STE 310 DAVENPORT
                                     IA 52801
RICHARD D. WESTPHAL                  UNITED STATES ATTORNEYS OFFICE US COURTHOUSE 2146 27TH AVE, STE 400 COUNCIL
                                     BLUFFS IA 51501
RICHARD DUPUIS                       ADDRESS ON FILE
RICHARD HARDER                       DBA RICHARDS PLUMBING & DRAIN PO BOX 973 SUMNER WA 98390-0180
RICHARD HAYES                        ADDRESS ON FILE
RICHARD J DONOVAN                    ADDRESS ON FILE
RICHARD J WEBER                      ADDRESS ON FILE
RICHARD JAMES HAMM                   ADDRESS ON FILE
RICHARD L BRANDENBURG                ADDRESS ON FILE
RICHARD L GROSTEFFON                 ADDRESS ON FILE
RICHARD M RODRIGUEZ                  ADDRESS ON FILE
RICHARD MORRIS                       ADDRESS ON FILE
RICHARD PICKERING                    ADDRESS ON FILE
RICHARD PRENTICE                     ADDRESS ON FILE
RICHARD RUBINO                       ADDRESS ON FILE
RICHARD SHAFFER                      ADDRESS ON FILE
RICHARD STABIN                       ADDRESS ON FILE
RICHARD T MIGLIORE                   ADDRESS ON FILE
RICHARD TERRELL                      ADDRESS ON FILE
RICHARDS, CHERYL                     ADDRESS ON FILE
RICHARDS-DEROSIER, SANCHA            ADDRESS ON FILE
RICHARDSON ISD TAX OFFICE            420 S GREENVILLE AVE RICHARDSON TX 75081
RICHARDSON, KIM                      ADDRESS ON FILE
RICHARDSON, TARA                     ADDRESS ON FILE
RICHELLE PERERA                      ADDRESS ON FILE
RICHLAND COUNTY                      DEVELOPMENT SERVICES DIVISION 2020 HAMPTON STREET COLUMBIA SC 29202
RICHLAND COUNTY GOVERNEMENT          TREAURY/HOSPITALITY TAX P.O. BOX 11947 COLUMBIA SC 29211
RICHLAND COUNTY TREASURER            PO BOX 8028 COLUMBIA SC 29202-8028
RICHLAND TOWNSHIP COLLECTOR          KATHY TERCEK 1031 RACHEL ST JOHNSTOWN PA 15904
RICHMOND AQUARIUM LLC                10003 HULL STREET RD NORTH CHESTERFIELD VA 23236-1408
RICHMOND COUNTY HEALTH DEPARTMENT    P O BOX 1340 AUGUSTA GA 30909-4437
RICHMOND COUNTY HEALTH DEPARTMENT    1916 NORTH LEG ROAD BUILDING K AUGUSTA GA 30909-4437
RICHMOND COUNTY TAX COMM             1916 NORTH LEG ROAD BUILDING K AUGUSTA GA 30901
RICHMOND COUNTY TAX COMM             MUNICIPAL BLDG (11) 530 GREENE STREET ROOM 117 AUGUSTA GA 30901
RICHMOND COUNTY TAX COMMISSIONER     535 TELFAIR ST - ROOM 100 AUGUSTA GA 30901
RICHMOND JOE CAUDILL                 ADDRESS ON FILE


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RICHMOND POWER & LIGHT                   P.O. BOX 908 RICHMOND IN 47375
RICHMOND SANITARY DISTRICT, IN           PO BOX 308 RICHMOND IN 47375
RICHMOND UTILITIES                       PO BOX 700 PO BOX 700 KY 40476-0700
RICHTER HEAD SHINALL WHITE & SLOTKIN     ATTN:BRET SLOTKIN 6000 LAKE FORREST DRIVE, SUITE 500 ATLANTA GA 30328
LLP
RICK HAMILTON.                           ADDRESS ON FILE
RICK PASSIG                              DBA COMMUNITY CALENDAR PO BOX 455 MARCELINE MO 64658-0455
RICK RAY & SONS PLUMBING INC             1514 W JEFFERSON ST SPRINGFIELD IL 62702-4735
RICKS DETAILING                          ADDRESS ON FILE
RICKS LOCK & KEY INC                     PO BOX 21631 CHATTANOOGA TN 37424
RICKS SEPTIC SERVICE LLC                 1977 H E JOHNSON RD BOWLING GREEN KY 42103-9077
RICKS, TIMOTHY                           ADDRESS ON FILE
RICKY D BOWERS                           ADDRESS ON FILE
RICKY PRUITT                             ADDRESS ON FILE
RIDGE LINE INC                           400 SECOND AVENUE S CHARLESTON WV 25303
RIDGERUNNER CONTAINER SERVICE            PO BOX 3183 WINCHESTER VA 22604
RIETHCO INC                              DBA ROTO-ROOTER SEWER DRAIN SERVICE 1800 GET ROTO 27991 CR 10 SUITE 102
                                         ELKHART IN 46514
RIGHT ELECTRIC INC                       317 MERIDIAN ROAD BUTLER PA 16001
RIGHTWAY PROFESSIONAL PRESSURE WASHING   STRIPPING C/O RANDY TUCKER 112 N HAMPTON RD STE C DESOTO TX 75115-4968
RIMKUS                                   RIMKUS CONSULTING GROUP INC PO BOX 676741 DALLAS TX 75267-6741
RINEHARTS LAWN CARE LANDSCAPING          & SNOW REMOVAL 5905 STATE ROAD 121 RICHMOND IN 47374
RING CENTRAL INC                         DEPT CH 19585 PALATINE IL 60055-0001
RING CENTRAL INC                         20 DAVIS DRIVE BELMONT CA 94002
RINKER MECHANICAL SERVICES               10556 COMBIE RD 6308 AUBURN CA 95602-8908
RIO WATER SYSTEMS INC                    DBA NIMBUS WATER SHOPS 1075 MCDONALD STREET REGINA SK S4N 2X9 CANADA
RIOCAN (REIT) WEST                       257 495-36 ST NE CALGARY ON T2A 6K3 CANADA
RIOS, ALEJANDR AND RIOS, SHYANNE         ADDRESS ON FILE
RIOS, ALEJANDRO                          ADDRESS ON FILE
RIOS, NELSON                             ADDRESS ON FILE
RIOS, SHYANNE                            ADDRESS ON FILE
RISE AND SHINE OFFICE SERVICES           GUADALUPE VEGA 142 HALSEY WAY PITTSBURG CA 94565-1912
RISK STRATEGIES CONSULTING INC           PO BOX 83121 WOBURN MA 01813-3121
RISK STRATEGIES CONSULTING INC           ATTN: DUSTIN GARY 7450 W 130TH STREET STE 180 OVERLAND PARK KS 66213
RITA BATCHELOR                           ADDRESS ON FILE
RITCHIE & PAGE DISTRIBUTING COMPANY INC 175 NEW CANTON WAY ROBBINSVILLE NJ 08691
RITCHIE STEWART                          ADDRESS ON FILE
RITCHIE, SHELBY                          ADDRESS ON FILE
RITE LITE SIGNS INC.                     1000 BISCAYNE DR CONCORD NC 28027-8402
RITTER, SYLVIA                           ADDRESS ON FILE
RIVAS-LOBO, JARIA                        ADDRESS ON FILE
RIVER CITY CLEANING ENTERPRISES LLC      2128 WILLIAMS STREET 188 CAPE GIRARDEAU MO 63703
RIVER CITY ELECTRIC                      PO BOX 5474 DECATUR AL 35601-0474
RIVER OAKS PROPERTIES LTD                C/O RIVER OAKS EL PASEO LLC 5678 N MESA ST EL PASO TX 79912
RIVER PRAIRIE LLC                        1525 COULEE RD HUDSON WI 54016-2165
RIVERA ARIAS, KARIA                      ADDRESS ON FILE
RIVERA, KATHRYN                          ADDRESS ON FILE
RIVERBEND ELECTRIC INC                   59311 MYRTLE RD SOUTH BEND IN 46614-4412
RIVERS, KEVIN                            ADDRESS ON FILE



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RIVERSIDE CO TREASURER-TAX COLLECTOR     PO BOX 12005 RIVERSIDE CA 92502-2205
RIVERSIDE ELECTRIC EEL & PLUMBING SERV   7980 MENARD STREET PO 32023 WINDSOR ON N8S 1V9 CANADA
RIVERSIDE INCOME FUND I LP               C/O RIVERSIDE RESOURCES 1221 S MOPAC EXPY STE 200 AUSTIN TX 78746-7625
RIVERSIDE INCOME FUND I LP               DBA 109 WEST ANDERSON LP C/O RIVERSIDE RESOURCES AUSTIN TX 78746-7625
RIVERSIDE PUBLIC UTILITIES, CA           3900 MAIN STREET FINANCE DEPT RIVERSIDE CA 92522-0144
RIVERSIDE WATER TECHNOLOGY INC           DBA CULLIGAN OF GREATER ST LOUIS DEPARTMENT 8515 PO BOX 77043 MINNEAPOLIS MN
                                         55480-7743
RIVERTOWN ELECTRIC INC                   2535 PILOT KNOB RD STE 137 MENDOTA HEIGHTS MN 55120-1170
RIVERVIEW PUBLISHING INC                 DBA PROFILE KINGSTON PO BOX 91 KINGSTON ON K7L 4V6 CANADA
RJ SECURITY GROUP LLC                    DBA AFFORDABLE LOCKSMITH HAWAII 1259 S BERETANIA ST STE 3 HONOLULU HI
                                         96814-1823
RJP RL I DRIVE LLC                       C/O ROBERT S GUERRERIO JR 132 E PROSPECT AVE MAMARONECK NY 10543-3709
RJP RL I DRIVE, LLC                      ATTN: ROBERT S. GUERRERIO JR. 132 E. PROSPECT AVENUE MAMARONECK NY 10543
RKH ENTERPRISES LLC                      DBA STEAMWAY CRAFTSMEN CLEANING SERVICES 1602 E LINCOLN WAY AMES IA 50010
RL 4010 LLC                              ATTN: LOUIS WINTERMEYER 893 ROUTE 9W NYACK NY 10960
RL 4010, LLCC/O LOUIS WINTERMEYER        893 ROUTE 9W NYACK NY 10960
RL ARIZONA LLC                           124 MCCLEAN AVE STATEN ISLAND NY 10305-4614
RL CHARLESTON OWNER LLC                  220 E 42ND STREET 29TH FLOOR NEW YORK NY 10017
RL CO-INVESTOR BLOCKER LLC               1209 N ORANGE ST WILMINGTON DE 19801-1120
RL DECATUR LLC                           ATTN: WILLIAM GENSBURG 74 EAST BROOKSIDE DRIVE LARCHMONT NY 10538
RL ELIZABETHTOWN LLC                     1105 PELICAN LN HOLLYWOOD FL 33019-5040
RL ENTERPRISES LLC                       ATTN: GARY SCHWEIGER 2615 DIAMONDWOOD DR., SE CEDAR RAPIDS IA 52403
RL ENTERPRISES LLC                       2615 DIAMONDWOOD DR CEDAR RAPIDS IA 52403-1519
RL JENSEN BEACH LLC                      1950 BRIGHTON-HENRIETTA TOWNLINE ROAD ROCHESTER NY 14623
RL JENSEN BEACH LLC                      1950 BRIGHTON HENRIETTA TOWN LINE RD ROCHESTER NY 14623-2543
RL KAF LLC                               DBA JM MANAGEMENT GROUP LLC ATTN JOHN MESITI 2300 BUFFALO RD BLDG 100D
                                         ROCHESTER NY 14624-1371
RL KAF LLC; RL SDN LLC; RL MPN LLC; RL   KBN LLC; RL LCG LLC; & 10TH FAIRWAY LLC DBA JM MANAGEMENT GROUP LLC ATTN JOHN
                                         MESITI ROCHESTER NY 14624-1371
RL KBN LLC                               DBA JM MANAGEMENT GROUP LLC ATTN JOHN MESITI 2300 BUFFALO RD BLDG 100D
                                         ROCHESTER NY 14624-1371
RL KOKOMO LLC                            ATTN: MATVEY GORZHEVSKY 1105 PELICAN LN HOLLYWOOD FL 33019
RL KOKOMO LLC                            1105 PELICAN LN HOLLYWOOD FL 33019-5040
RL LCG LLC                               ATTN: JOHN MESITI C/O JM MANAGEMENT GROUP, LLC 2300 BUFFALO ROAD 100-D
                                         ROCHESTER NY 14624
RL LCG LLC                               DBA JM MANAGEMENT GROUP LLC ATTN JOHN MESITI 2300 BUFFALO RD BLDG 100D
                                         ROCHESTER NY 14624-1371
RL MADISON HEIGHTS LLC                   DBA R AID LAURENS LLC 1105 PELICAN LN HOLLYWOOD FL 33019-5040
RL MARYLAND, INC.                        C/O CORPORATE CREATIONS NETWORK, INC. 2 WISCONSIN CIRCLE 700 CHEVY CHASE MD
                                         20816
RL MPN LLC                               DBA JM MANAGEMENT GROUP LLC ATTN JOHN MESITI 2300 BUFFALO RD BLDG 100D
                                         ROCHESTER NY 14624-1371
RL N2016RT LLC                           DBA JM MANAGEMENT GROUP LLC ATTN JOHN MESITI 2300 BUFFALO RD BLDG 100D
                                         ROCHESTER NY 14624-1371
RL NEW BRUNSWICK OWNER LLC               ATTN: RYAN MORGAN C/O THE MORGAN GROUP 1 SOUND SHORE DRIVE , SUITE 203
                                         GREENWICH CT 06830
RL NEW BRUNSWICK OWNER LLC               451 PUTNAM AVE. GREENWICH CT 06830
RL SCHAUMBURG LLC                        PRASHANTH REDDY 700 E OGDEN AVE STE 305 WESTMONT IL 60559-5554
RL SDN LLC                               DBA JM MANAGEMENT GROUP LLC ATTN JOHN MESITI 2300 BUFFALO RD BLDG 100D
                                         ROCHESTER NY 14624-1371
RL&L INC                                 DBA RELIABLE LAWNCARE AND LANDSCAPING 2203 HWY 70 EAST JACKSON TN 38305-5955


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RL12580 LLC                            14706 STURTEVANT RD SILVER SPRING MD 20905-4457
RL12580, LLC                           ATTN: KEVIN MALONEY 14706 STURTEVANT ROAD SILVER SPRING MD 20905
RL1AK LLC                              P.O. BOX 124 MAMARONECK NY 10543
RLCA PROPERTIES INC                    1028 85TH STREET BROOKLYN NY 11228
RLFL, LLC                              C/O LAW OFFICES OF JONATHAN R MOORE PLLC 1050 17TH STREET, N.W. WASHINGTON DC
                                       20036-5556
RM BEVERAGE DELAWARE LLC               DBA MALETIS BEVERAGE 7000 N CUTTER CIR PORTLAND OR 97217-3953
RMC MAINTENANCE LLC                    45 E CITY AVE BALA CYNWYD PA 19004-2421
RMW INC                                DBA BOBS LOCK SHOP 1080 NORTH 300 WEST LAYTON UT 84041-2172
RNDC MICHIGAN                          17550 ALLEN ROAD BROWNSTOWN MI 48193
ROAD RUNNER WASTE SERVICE              PO BOX 679859 A WASTE CONNECTIONS COMPANY DALLAS TX 75267-9859
ROANOKE CITY HEALTH DEPARTMENT         515 EIGHTH STREET SW PO BOX 12926 ROANOKE VA 24029
ROARK SERVICES LLC                     DBA EVERLINE COATINGS AND SERVICES TULSA 19650 S WAYNE RD CLAREMORE OK
                                       74017-4505
ROB GELINAS                            ADDRESS ON FILE
ROBB ENTERPRISES INC                   DBA L C ROTO ROOTER PO BOX 1710 FAIRACRES NM 88033-1710
ROBBIES INC                            C/O CHARLES ROBERTSON 514 ROUTE 46 EAST WAYNE NJ 07470
ROBBINS, ANTOINETTE                    ADDRESS ON FILE
ROBBINS, NATHANIEL                     ADDRESS ON FILE
ROBBLEES TOTAL SECURITY INC            DBA GUARDIAN GATE CONTROLS AND GUARDIAN SECURITY GROUP 751 TACOMA AVENUE SOUTH
                                       TACOMA WA 98402-2206
ROBBY E KARSCHNER                      ADDRESS ON FILE
ROBERT & SUSAN WOODALL-MASCALL,        ADDRESS ON FILE
ROBERT A REDWINE                       ADDRESS ON FILE
ROBERT A UEOKA ATTORNEY AT LAW A LAW   CORPORATION 1000 BISHOP STREET SUITE 503 HONOLULU HI 96813
ROBERT ALAN WEBB                       ADDRESS ON FILE
ROBERT B MURPHY                        ADDRESS ON FILE
ROBERT B TOUCHSTONE                    ADDRESS ON FILE
ROBERT BARCUS                          ADDRESS ON FILE
ROBERT BRANHAM                         ADDRESS ON FILE
ROBERT BROOKS BARNETT                  ADDRESS ON FILE
ROBERT BUTTERFIELD                     ADDRESS ON FILE
ROBERT C BOILLAT INC                   DBA SNYDER UPHOLSTERY 630 WEST RIDGE RD ROCHESTER NY 14615-2833
ROBERT C FRIEDSAM                      ADDRESS ON FILE
ROBERT C GIERMAN                       ADDRESS ON FILE
ROBERT CHRIS CALLAHAN                  ADDRESS ON FILE
ROBERT D PARHAM                        ADDRESS ON FILE
ROBERT E FITZPATRICK                   ADDRESS ON FILE
ROBERT E SANCHEZ                       ADDRESS ON FILE
ROBERT E SKELTON                       ADDRESS ON FILE
ROBERT ELDEN WILLIAMS                  ADDRESS ON FILE
ROBERT EUGENE BODIN II                 ADDRESS ON FILE
ROBERT F DECK                          ADDRESS ON FILE
ROBERT H SANDERS JR.                   ADDRESS ON FILE
ROBERT HALF                            12400 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
ROBERT HOWARD                          ADDRESS ON FILE
ROBERT J AKIN JR                       ADDRESS ON FILE
ROBERT J CHODZINSKI                    ADDRESS ON FILE
ROBERT J HRIN                          ADDRESS ON FILE
ROBERT J PIEKUTOWSKI JR                ADDRESS ON FILE


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ROBERT J SCULLIN                      ADDRESS ON FILE
ROBERT J SCULLIN                      ADDRESS ON FILE
ROBERT J STERN                        ADDRESS ON FILE
ROBERT J THARP                        ADDRESS ON FILE
ROBERT J. 'BOB' TROESTER              UNITED STATES ATTORNEYS OFFICE 210 W PARK AVE, STE 400 OKLAHOMA CITY OK 73102
ROBERT JOHNSON                        ADDRESS ON FILE
ROBERT KERRIGAN ASSOCIATES INC        PO BOX 782 BALA CYNWYD PA 19004-0782
ROBERT L SHARP                        ADDRESS ON FILE
ROBERT L URIOSTE JR                   ADDRESS ON FILE
ROBERT LEE WOLFE                      ADDRESS ON FILE
ROBERT MASCALL AND SUSAN WOODELL      ADDRESS ON FILE
MASCALL
ROBERT MAURER                         DBA EVANSVILLE LAWN & LANDSCAPE PO BOX 74 CHANDLER IN 47610-0074
ROBERT NICHOLS ENTERPRISES INC        DBA BOBS MASTER SAFE AND LOCK SERVICE 11650 OLIO ROAD 1000-279 FISHERS IN
                                      46037
ROBERT P DUCKWORTH CLERK              ADDRESS ON FILE
ROBERT P DUCKWORTH CLERK              ADDRESS ON FILE
ROBERT P HASENOEHRL                   ADDRESS ON FILE
ROBERT P SMITH                        ADDRESS ON FILE
ROBERT PADILLA.                       ADDRESS ON FILE
ROBERT R DIRIENZI III                 DBA CHOICE CONTRACTING PO BOX 1188 WILLIAMSTOWN NJ 08094-5188
ROBERT RAY                            ADDRESS ON FILE
ROBERT ROSS                           ADDRESS ON FILE
ROBERT STEIN                          ADDRESS ON FILE
ROBERT ZACHER INC                     DBA ZACHER ELECTRIC 30 LEO PLACE BUFFALO NY 14225
ROBERTO DOMINGUEZ                     ADDRESS ON FILE
ROBERTO LARA                          ADDRESS ON FILE
ROBERTO MARTINEZ ZAVALA               ADDRESS ON FILE
ROBERTS APPLIANCE SERVICE INC         3369 LOS PRADOS ST SAN MATEO CA 94403-3043
ROBERTS OXYGEN COMPANY INC            PO BOX 5507 ROCKVILLE MD 20855
ROBERTS REFRIGERATION SERVICE INC     PO BOX 1202 KAILUA HI 96734-1202
ROBERTS, BETTY                        ADDRESS ON FILE
ROBERTSON LAWN SPRINKLER CO INC       DBA ROBERTSON LANDSCAPING 1050 E CHEYENNE RD COLORADO SPRINGS CO 80905-2361
ROBERTSON PRODUCE OF SHREVEPORT LLC   101 HORSESHOE LAKE RD MONROE LA 71203-2001
ROBERTSON, CARRIE                     ADDRESS ON FILE
ROBIN REED                            ADDRESS ON FILE
ROBINS, CONNIE                        ADDRESS ON FILE
ROBINSON WASTE SERVICE, INC.          2719 N FAIRFIELD RD LAYTON UT 84041
ROBINSON, BEN                         ADDRESS ON FILE
ROBINSONS CEILING CLEANING INC        8960 W EL CAMPO GRANDE AVE LAS VEGAS NV 89149-3347
ROBISON PLUMBING SERVICE INC          PO BOX 4009 BREMERTON WA 98312
ROBLES, CHRISTINE                     ADDRESS ON FILE
ROBOYO USA INC                        9838 OLD BAYMEADOWS RD 240 JACKSONVILLE FL 32256-8101
ROBYS PLUMBING & HEATING CO INC       DBA ROBYS PLUMBING & APPLIANCE 9249 CASTLEGATE DRIVE INDIANAPOLIS IN 46256
ROC BROTHERS LLC                      86 FOX HILL DR ROCKY HILL CT 06067-2811
ROCAMORA ACQUISITIONS LLC             86 FOX HILL DRIVE ROCKY HILL CT 06067
ROCHA, ANAITA ALMEIDA                 ADDRESS ON FILE
ROCHESTER ARMORED CAR INC             PO BOX 8 DOWNTOWN STA OMAHA NE 68101
ROCHESTER HILLS CITY TAX COLLECTOR    PO BOX 94591 CLEVELAND OH 44101-4591



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ROCHESTER PLUMBING & HEATING             2840 WILDER ROAD NW ROCHESTER MN 55901-5400
ROCHESTER PUBLIC UTILITIES               PO BOX 77074 MINNEAPOLIS MN 55480-7774
ROCHESTER REGIONAL CHAMBER OF COMMERCE   71 WALNUT BLVD STE 110 ROCHESTER MI 48307-2073
ROCK N ROLL CLEAN LLC                    85 HAERTLEIN LANE BATESVILLE AR 72501
ROCK RIVER WATER RECLAMATION DISTRICT    ENVIRONMENTAL HEALTH 50 SANATORIUM ROAD ROCKFORD IL 61126-7480
ROCK RIVER WATER RECLAMATION DISTRICT    PO BOX 7480 ROCKFORD IL 61126-7480
ROCKCRETE CONCRETE INC                   19 SUNRISE DRIVE NEUANLAGE SK S0K 1X1 CANADA
ROCKDALE COUNTY HEALTH DEPARTMENT        1329 PORTLAND DR STE B CONYERS GA 30094
ROCKDALE COUNTY HEALTH DEPARTMENT        CIRCUIT COURT ANNE ARUNDEL CTY PO BOX 71 COURTHOUSE CONYERS GA 30094
ROCKDALE COUNTY TAX COMMISSIONER         PO BOX 1497 CONYERS GA 30012-7597
ROCKET ENTERPRISE INC                    30660 RYAN RD WARREN MI 48092-4953
ROCKETT CREATIONS LLC                    DBA PENSACOLA LOCK AND SAFE 2403 LANGLEY AVE PENSACOLA FL 32504-8922
ROCKLAND COUNTY DEPARTMENT OF HEALTH     ENVIRONMENTAL HEALTH 50 SANATORIUM ROAD POMONA NY 10970
ROCKLAND COUNTY DEPARTMENT OF HEALTH     1329 PORTLAND DR STE B POMONA NY 10970
ROCKLAND COUNTY DEPT OF HEALTH           ENVIRONMENTAL HEALTH 50 SANATORIUM ROAD BLDG D POMONA NY 10970
ROCKNSNOW REMOVAL LLC                    16060 COUNTY ROAD 25 BLAIR NE 68008-3646
ROCKSTEP CHRISTIANSBURG LLC              C/O NEW RIVER VALLEY MALL OFFICE 782 NEW RIVER RD CHRISTIANSBURG VA 24073-6503
ROCKY MOUNT CITY TAX COLLECTOR           PO BOX 1180 ROCKY MOUNT NC 27802-1180
ROCKY MOUNT POLICE DEPARTMENT            FALSE ALARM REDUCTION PROGRAM PO BOX 1180 ROCKY MOUNT NC 27802
ROCKY MOUNTAIN DOORS INC                 131 MOORE LN STE A BILLINGS MT 59101-3435
ROCKY MOUNTAIN HOME ENHANCEMENT LLC      3180 BOOTHILL DR COLORADO SPRINGS CO 80922-3010
ROCKY MOUNTAIN ROOTERS                   C/O DEREK JOHNSON 4687 N CONNERY LOOP POST FALLS ID 83854-0198
ROCKY MOUNTAIN SWEEPING INC              695 CLOVERDALE DRIVE GRAND JUNCTION CO 81506
ROD DE LLANO FAMILY PARTNERSHIP LP       C/O RDHW MANAGEMENT LLC 4400 LOUISIANA ST., 1212 HOUSTON TX 77002
RODARTES CUTLERY                         1512 SIERRA DE ORO EL PASO TX 79936
RODEO ELECTRICAL SERVICES INC            DBA ELECTRICAL SERVICES PO BOX 4098 SANTA FE NM 87502-4098
RODERICK ADVERTISING CO                  DBA RODERICK SIGN CO INC 1621 FREDERICK AVENUE ST JOSEPH MO 64501-2009
RODERICK MCKENZIE                        ADDRESS ON FILE
RODGERS WILLIAMS, ANTHONY                ADDRESS ON FILE
RODITHA CAMACHO                          ADDRESS ON FILE
RODNEY BURNHAM                           ADDRESS ON FILE
RODNEY E DAVIDSON                        ADDRESS ON FILE
RODNEY FENSKE                            ADDRESS ON FILE
RODNEY JOE BUTCHER                       ADDRESS ON FILE
RODNEY MILLER COUNTY CLERK               PO BOX 7480 JACKSON MO 63755
RODNEY MILLER COUNTY CLERK               1 BARTON SQUARE JACKSON MO 63755
RODNEY P SMITH                           ADDRESS ON FILE
RODNEY WADE MCCRORY                      ADDRESS ON FILE
RODRIGUEZ, ASSAET                        ADDRESS ON FILE
RODRIGUEZ, AURORA                        ADDRESS ON FILE
RODRIGUEZ, CECYMAR                       ADDRESS ON FILE
RODRIGUEZ, ROY                           ADDRESS ON FILE
RODS PLUMBING SERVICE INC                3327 W SUSSEX WAY FRESNO CA 93722-4932
ROGELIO A JUAREZ                         ADDRESS ON FILE
ROGELIO DAMIAN                           ADDRESS ON FILE
ROGER J JANOW                            ADDRESS ON FILE
ROGER J. JANOW BANK TR C/O ROGER J       ADDRESS ON FILE
JANOW
ROGER L SCOTT                            ADDRESS ON FILE



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Claim Name                             Address Information
ROGER NORIEGA                          DBA VISTASCAPES LLC PO BOX 3593 ROSWELL NM 88202-3593
ROGER TOUVELL HEATING & A/C INC        PO BOX 884 ZANESVILLE OH 43702-0884
ROGERS PAYMENT CENTRE                  PO BOX 4100 DON MILLS ON M3C 3N9 CANADA
ROGERS SUMMARY                         PO BOX 9100 DON MILLS ON M3C 3P9 CANADA
ROGERS WATER UTILITIES                 P.O. BOX 338 ROGERS AR 72757-0338
ROGERS WIRELESS                        PO BOX 9100 DON MILLS ON M3C 3P9 CANADA
ROGERS, JUDITH                         ADDRESS ON FILE
ROGERS, MARY                           ADDRESS ON FILE
ROGERS, TIFFANY                        ADDRESS ON FILE
ROGUE DISPOSAL & RECYCLING, INC.       P.O. BOX 3187 CENTRAL POINT OR 97502-0007
ROHNERT PARK CHAMBER OF COMMERCE       101 GOLF COURSE DRIVE SUITE C-7 ROHNERT PARK CA 94928
ROHRBACH BREWING COMPANY               97 RAILROAD STREET ROCHESTER NY 14609
ROJAS, MILA                            ADDRESS ON FILE
ROLAND, FOGEL, KOBLENZ & CARR          ONE COLUMBIA PLACE ALBANY NY 12207
ROLANDO REYES                          ADDRESS ON FILE
ROLANDRANDAL ELECTRIC LLC              DBA RANDAL H SAKATA 3454 PINAO ST HONOLULU HI 96822-1360
ROLL-A-SHADE INC                       12101 MADERA WAY RIVERSIDE CA 92503
ROLLAND SAYLER                         ADDRESS ON FILE
ROLLINS INC                            DBA ORKIN LLC 4205 VIRGINIA BEACH BLVD VIRGINIA BEACH VA 23452-1232
ROMAN ELECTRIC CO INC                  PO BOX 14396 MILWAUKEE WI 53214-0396
ROMAN, OSVALDO                         ADDRESS ON FILE
ROMANOFF ELECTRIC INC                  1288 RESEARCH ROAD GAHANNA OH 43230
ROMANOS CARPET CARE INC                5686 SORRENTO WAY WEST JORDAN UT 84081
ROMEL H LAKERAJ                        ADDRESS ON FILE
ROMERO, KRISTINA                       ADDRESS ON FILE
RON NESBITT                            ADDRESS ON FILE
RON SPECK SNOW REMOVAL LLC             1511 STEVENS RD GALION OH 44833-9519
RONALD A GILLIAM                       ADDRESS ON FILE
RONALD C LISTER INC                    5330 CANOTEK ROAD UNITS 41 & 42 OTTAWA ON K1J 9C1 CANADA
RONALD C. GATHE, JR                    US ATTORNEYS OFFICE RUSSEL B LONG FEDERAL COURTHOUSE 777 FLORIDA ST, STE 208
                                       BATON ROUGE LA 70801
RONALD C. NEUMEYER JR                  ADDRESS ON FILE
RONALD D MARTIN                        ADDRESS ON FILE
RONALD L VAIL PLUMBING INC             8540 COUNTY ROAD 561 CLERMONT FL 34711
RONALD M MODER                         ADDRESS ON FILE
RONALD S ROGERS                        ADDRESS ON FILE
RONALD STEPHENSON                      ADDRESS ON FILE
RONDELL N FISHER                       ADDRESS ON FILE
ROOF MAINTENANCE MANAGEMENT USA, LLC   RMM CHICAGO LLC PO BOX 425 FLORENCE KY 41022-0425
ROOF TECH INC                          1775 INDUSTRIAL BLVD S PO BOX 708 STILLWATER MN 55082-5027
ROOFING PLUS INC                       1525 UNIVERSITY DR AUBURN GA 30011-3385
ROOM ROLLERS INSTALLS LLC              10821 RED RUN BLVD UNIT 1811 OWINGS MILLS MD 21117-8582
ROOTER-MAN                             PO BOX 636 SASKATOON SK S7K 3L7 CANADA
ROPER, JADA-LOVE                       ADDRESS ON FILE
RORY BRUCE                             ADDRESS ON FILE
ROSALINDA GUZMAN                       ADDRESS ON FILE
ROSANNE OSTROWSKI                      ADDRESS ON FILE
ROSARIO CARBAJAL                       ADDRESS ON FILE
ROSE GREENE                            ADDRESS ON FILE



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ROSE IMPORT EQUIPMENTS INC             1057 E IMPERIAL HWY PMB 228 PLACENTIA CA 92870-1717
ROSE JOYNER                            ADDRESS ON FILE
ROSENBAUM, KAM                         ADDRESS ON FILE
ROSEVILLE                              1 BARTON SQUARE ROSEVILLE MN 55113
ROSS COUNTY BOARD OF HEALTH            2660 CIVIC CENTER DRIVE CHILLICOTHE OH 45601
ROSS COUNTY BOARD OF HEALTH            425 CHESTNUT SUITE 2077 CHILLICOTHE OH 45601
ROSS TOWNSHIP TAX COLLECTOR            JORDAN TAX SERVICE INC 102 RAHWAY RD MCMURRAY PA 15317
ROSS TOWNSHIP, PA                      PO BOX 645124 C/O JORDAN TAX SERVICE INC PITTSBURGH PA 15264-5124
ROSS, STEPHANIE                        ADDRESS ON FILE
ROSWELL CITY PROPERTY TAXES            PO BOX 732685 DALLAS TX 75373-2685
ROTHMAN, LISA                          ADDRESS ON FILE
ROTHSCHILD, BARRY                      ADDRESS ON FILE
ROTO ROOTER SERVICES COMPANY           5708 S 118TH CIR OMAHA NE 68137-3556
ROTO ROOTER SEWER & DRAIN SER          5189 KING HIGHWAY KALAMAZOO MI 49001
ROTO-ROOTER INC                        PO BOX 669 FAYETTEVILLE NC 28302-0669
ROTO-ROOTER SERVICES COMPANY           5672 COLLECTION CENTER DR CHICAGO IL 60693-0056
ROTO-ROOTER SEWER CLEANERS INC         PO BOX 7065 COLUMBIA MO 65205-7065
ROTO-ROOTER SEWER SERVICE              5672 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
ROTO-ROOTER SEWER-DRAIN SERVICE        DBA ROTO ROOTER PO BOX 623 SIOUX FALLS SD 57101
ROTOLO CONSULTANTS INC                 38001 BROWNSVILLAGE RD SLIDELL LA 70460-4875
ROTTLER PEST & LAWN SOLUTIONS          2690 MASTERSON AVE STE 400 SAINT LOUIS MO 63114-5139
ROUND ROCK RL LLC                      29 BENEDICT AVENUE STATEN ISLAND NY 10314
ROURK PLUMBING LLC                     PO BOX 232 SUMTER SC 29151-0232
ROUSE PROPERTIES LLC                   PO BOX 643391 CINCINNATI OH 45264-3391
ROUSE PROPERTIES LP                    C/O THE WOODMONT COMPANY ATTN AR 2100 W 7TH ST FORT WORTH TX 76107-2306
ROUSE PROPERTIES REIT INC              DBA CHULA VISTA CENTER LP SDS-12-2851 PO BOX 86 MINNEAPOLIS MN 55486-2851
ROWAN, KENNETH                         ADDRESS ON FILE
ROWDEN, RUSTY                          ADDRESS ON FILE
ROWE, KIMBERLY                         ADDRESS ON FILE
ROWLAND WATER DISTRICT                 PO BOX 513225 LOS ANGELES CA 90051-3325
ROWORTH ENTERPRISES LLC                99-129 HOLO PL AIEA HI 96701-3026
ROWORTH ENTERPRISES, LLC               420 THROCKMORTON ST. SUITE 1210 WORTH TX 76102
ROWORTH ENTERPRISES, LLC               ATTN: MELINDA ROWORTH 99-129 HOLO PLACE AIEA HI 96701
ROXANNE MASON                          ADDRESS ON FILE
ROY ANDREW KELSO                       ADDRESS ON FILE
ROY E GIBSON III                       ADDRESS ON FILE
ROY N WESLEY SR                        ADDRESS ON FILE
ROY PARK A PROFESSIONAL LAW CORPORATION DBA PARK GUENTHART 3350 E BIRCH ST STE 205 BREA CA 92821-6267
ROY PRITCHETT                          ADDRESS ON FILE
ROY TIMOTHY YOUNG                      ADDRESS ON FILE
ROYAL BANK OF CANADA                   ATTN: FATIMA DOMINGUES 200 BAY STREET 19TH FL SOUTH TOWER TORONTO ON M5J 2J5
                                       CANADA
ROYAL CARTING SERVICE CO.              P.O. BOX 1209 HOPEWELL JUNCTION NY 12533
ROYAL CUP INC                          PO BOX 841000 DALLAS TX 75284-1000
ROYAL ELECTRICAL SERVICES INC          820 WEST 2ND STREET PUEBLO CO 81003
ROYAL FLUSH INC                        DBA ROYAL FLUSH PLUMBING 5839 DR M L K JR BLVD ANDERSON IN 46013
ROYAL FOODSERVICE INC                  PO BOX 162389 ATLANTA GA 30321
ROYAL LANDSCAPE CO INC                 PO BOX 21 NEW HARTFORD NY 13413-0021
ROYAL PUBLISHING INC                   7620 N HARKER DRIVE PEORIA IL 61615-1849



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ROYAL UPHOLSTERY DISTRIBUTING          226 E SPRAGUE SPOKANE WA 99202
ROYSTON MUELLER MCLEAN & REID LLP      ROYSTON BUILDING 102 W PENNSYLVANIA AVE 600 TOWSON MD 21204-4575
ROYSTON, MUELLER, MCLEAN & REID, LLP   ATTN:LEANNE M. SCHRECENGOST 102 W. PENNSYLVANIA AVENUE, STE 600 TOWSON MD
                                       21204
ROYSTON, MUELLER, MCLEAN & REID, LLP   ATTN: LEANNE M. SCHRECENGOST 102 W. PENNSYLVANIA AVENUE, STE 600 TOWSON,
                                       MARYLAND 21204 TOWSON MD 21204
RP KUHL CONTRACTING LLC                DBA KUHLS ELECTRIC AND SERVICE 2602 W LONE CACTUS DR STE I PHOENIX AZ
                                       85027-2416
RPI SALISBURY MALL LLC                 ATTN: LEGAL DEPARTMENT C/O BROOKFIELD PROPERTIES (R) LLC 200 VESEY STREET,
                                       25TH FLOOR NEW YORK NY 10281
RPI SALISBURY MALL LLC                 ATTN: TENANT ALLOWANCE ADMINISTRATION C/O BROOKFIELD PROPERTIES (R) LLC 200
                                       VESEY STREET, 25TH FLOOR NEW YORK NY 10281
RPI SALISBURY MALL LLC                 ATTN: GENERAL MANAGER 2300 NORTH SALISBURY BLVD SALISBURY MD 21801
RPRL MOBILE LLC                        C/O FEDERMAN STEIFMAN LLP 220 EAST 42ND STREET NEW YORK NY 10017
RPRL MOBILE LLC                        C/O FEDERMAN STEIFMAN LLP 220 EAST 42ND STREET 29TH FLOOR NEW YORK NY 10017
RPRL STONY BROOK LLC                   11 SOUTH PASCACK ROAD SPRING VALLEY NY 10977
RPRL STONY BROOK LLC                   C/O CORPORATION SERVICE COMPANY 251 LITTLE FALLS DR. WILMINGTON DE 19808
RPRL UNION 22 LLC                      11 S PASCACK ROAD SPRING VALLEY NY 10977
RPT REALTY LP                          DBA RAMCO JACKSONVILLE LLC PO BOX 350018 BOSTON MA 02241-0518
RPV ENTERPRISES LLC                    DBA CEILING CLEANING COMPANY 621 BELLENDEN DRIVE PEACHTREE CITY GA 30269
RR DONNELLEY                           ADDRESS ON FILE
RRV OT INC                             DBA 1-800GOT JUNK 1310 55TH ST N FARGO ND 58102-4623
RS ELECTRIC SERVICES INC               710 ADCOCK ST STE B RIDGELAND MS 39157-4406
RS EQUITY HOLDCO LLC                   DBA ALPHA OMEGA DISASTER RESTORATION LLC 7069 NIEHENKE AVE BILLINGS MT
                                       59101-6255
RS GASKETS LLC                         DBA GASKET GUY OF WICHITA 115 S PARKDALE ST WICHITA KS 67209-3426
RS JOB SQUAD LLC                       DBA JOB SQUAD PO BOX 222 WINONA MN 55987
RS LANDSCAPING AND SERVICE LLC         8138 MOUNT PLEASANT CHURCH RD WILLOW SPRING NC 27592-7967
RSC ASSOCIATES LLC                     136 DEVON RD ESSEX FELLS NJ 07021-1707
RSC ASSOCIATES, LLC                    ATTN: LARA MANOUKIAN 136 DEVON ROAD ESSEX FELLS NJ 07021
RSC INSURANCE BROKERAGE INC            DBA RISK STRATEGIES COMPANY 160 FEDERAL ST FL 4 BOSTON MA 02110-1700
RSJS TRAVIS BLVD LLC                   7820 ROBBEN RD DIXON CA 95620-9632
RSS UBSBB2012-C2 - IL SW LLC           PO BOX 7410573 CHICAGO IL 60674-0573
RTECH SOLUTIONS                        200 JENNINGS AVE KNOXVILLE TN 37917-7127
RTECH SOLUTIONS SUM                    200 JENNINGS AVE KNOXVILLE TN 37917
RTN ROOFING SYSTEMS LLC                1450-B TALLEVAST RD SARASOTA FL 34243-5058
RUBEN CORTEZ CORPORATION               DBA RCS MECHANICAL SERVICES 4161 INGOT STREET FREMONT CA 94538
RUBEN VIVEROS SR                       ADDRESS ON FILE
RUBICON GLOBAL LLC                     ATTN ACCOUNTS RECEIVABLE ATTN RUBICON PO BOX 936684 ATLANTA GA 31193-6684
RUBIN POSTAER AND ASSOCIATES           DBA RPA PO BOX 2779 LOS ANGELES CA 90051-0779
RUCKER ELECTRIC                        5209 N COUNCIL RD OKLAHOMA CITY OK 73132-9735
RUCKER MECHANICAL INC                  5217 N COUNCIL OKLAHOMA CITY OK 73132
RUE DANIELS                            ADDRESS ON FILE
RUETHER, TERRISA                       ADDRESS ON FILE
RUFF WATERS INCORPORATED               BOX 241563 OMAHA NE 68124
RUIZ ALCANTARA, MARCELA                ADDRESS ON FILE
RUMPKE                                 PO BOX 538710 CINCINNATI OH 45253
RUNYON LOCK SERVICE LLC                1129 19TH STREET PARKERSBURG WV 26101
RUPPLE, RENEE                          ADDRESS ON FILE
RUSH HENRIETTA CSD TAX COLLECTOR       PO BOX 579 HENRIETTA NY 14467


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RUSHING ELECTRIC COMPANY INC            411 US HIGHWAY 80 W GARDEN CITY GA 31408-3120
RUSSELL C WHIPPLE                       ADDRESS ON FILE
RUSSELL ELECTRIC SERVICE INC            PO BOX 2940 HOT SPRINGS AR 71914
RUSSELL HARGRAVE                        ADDRESS ON FILE
RUSSELL HENDRIX FOODSERVICE EQUIPMENT   PO BOX 130 BROCKVILLE ON K6V 5V2 CANADA
RUSSELL L EVANS                         ADDRESS ON FILE
RUSSELL MORGAN HAYES                    ADDRESS ON FILE
RUSTON CHARLES REYNOLDS                 ADDRESS ON FILE
RUTH MARIA MILLA-LEON                   ADDRESS ON FILE
RUTH YARBOROUGH RAUCH                   ADDRESS ON FILE
RUTHERFORD COUNTY TRUSTEE               PO BOX 1316 MURFREESBORO TN 37133
RUTLEDGE MARK                           ADDRESS ON FILE
RUTLEDGE WOOD PRODUCTS INC              1915 VIRGINIA CIRCLE DENTON TX 76209
RUTLING, FRANCES                        ADDRESS ON FILE
RUZICK, JASON                           ADDRESS ON FILE
RUZZO, JOSEPH BI                        ADDRESS ON FILE
RV TREES LLC                            5494 WILSON RD FRUITPORT MI 49415-8703
RXR 5 TS OWNER LLC                      PO BOX 784085 PHILADELPHIA PA 19178-4085
RXR 5TS HOLDINGS JV LLC                 DBA RXR 5TS OWNER LLC PO BOX 784085 PHILADELPHIA PA 19178-4085
RXR 5TS OWNER LLC                       C/O RXR REALTY LLC 625 RXR PLAZA UNIONDALE NY 11556
RXR REALTY                              ATTN: WILLIAM ELDER 75 ROCKEFELLER PLAZA 14TH FLOOR NEW YORK NY 10019
RXR REALTY                              ATTN: JASON BARNETT, ESQ., OFFICE OF GENERAL COUNSEL 625 RXR PLAZA UNIONDALE
                                        NY 11556
RYAN & ASSOCIATES INC                   10955 160TH ST DAVENPORT IA 52804-9166
RYAN ANTHONY GIFFORD                    ADDRESS ON FILE
RYAN BAUER                              ADDRESS ON FILE
RYAN ELECTRICAL SERVICES INC            9218 CORSAIR RD UNIT 2 FRANKFORT IL 60423-2566
RYAN FRANCE                             ADDRESS ON FILE
RYAN HAMMOND                            ADDRESS ON FILE
RYAN JAMES ARGENTO                      ADDRESS ON FILE
RYAN K. BUCHANAN                        UNITED STATES ATTORNEYS OFFICE RICHARD B RUSSELL FEDERAL BLDG 75 TED TURNER
                                        DR, SW, STE 600 ATLANTA GA 30303-3309
RYAN LAW FIRM LLP                       PO BOX 802882 DALLAS TX 75380-2882
RYAN LLC                                ATTN: ALLEA NEWBOLD 1800 COUNTRY CLUB ROAD CARBONDALE IL 62903
RYAN LLC                                13155 NOEL ROAD SUITE 100 DALLAS TX 75240-5050
RYAN M MCFALL                           ADDRESS ON FILE
RYAN P STEELE                           ADDRESS ON FILE
RYAN PATRICK GIBBONS                    ADDRESS ON FILE
RYAN ROOTER INC                         DBA ROTO ROOTER 3994 N 20TH ST OZARK MO 65721-7433
RYAN SCOTT DAWSON                       ADDRESS ON FILE
RYAN SHAWN ONEILL                       ADDRESS ON FILE
RYAN TIERNEY                            ADDRESS ON FILE
RYAN ULC                                6775 FINANCIAL DRIVE SUITE 102 MISSISSAUGA ON L5N 0A4 CANADA
RYDER TRUCK RENTAL INC                  DBA RYDER TRANSPORTATION SERVICES PO BOX 96723 CHICAGO IL 60693
RYG REALTY INC                          ATTN YURY GNESIN 17070 COLLINS AVE STE 255 SUNNY ISLES BEACH FL 33160-3635
RYG REALTY INC                          ATTN: YURY GNESIN ATTN YURY GNESIN 17070 COLLINS AVE STE 255 SUNNY ISLES BEACH
                                        FL 33160-3635
RYKRO ENTERPRISES LLC                   DBA PEBBLE CREEK LANDSCAPING 2248 WILLIAM FEW PKWY EVANS GA 30809-7212
RYLAN G ERNST                           ADDRESS ON FILE
RYLAND ENVIRONMENTAL                    PO BOX 250 DUBLIN GA 31040


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RYNAKO LP                               3801 LYNN REGIS CT FAIRFAX VA 22031-3815
RZB INC                                 DBA GLOBAL ELECTRIC 4705 TOWERWOOD DR BROWNSVILLE TX 78521-6193
S & H SEWER & DRAIN LLC                 55 WILDWAY BRONXVILLE NY 10708-5917
S & J PLUMBING INC                      DBA ROTO ROOTER PLUMBERS PO BOX 1151 SOUTH BEND IN 46624-1151
S & P ALLIANCE OF NW OHIO INC           PO BOX 417 UPPER SANDUSKY OH 43351
S & R FLOORING CONCEPTS INC             25 BRODIE DRIVE UNIT 7 RICHMOND HILL ON L4B 3K7 CANADA
S & S GRINDING SERVICES INC             PO BOX 824 FORT LEE NJ 07024
S A R GAS SERVICES INC                  2499 DUFFERIN ST TORONTO ON M6B 3R3 CANADA
S O S PLUMBING & DRAIN SERVICE INC      206 SOUTH PACIFIC HWY TALENT OR 97540
S T ELECTRIC INC                        829 BEECHWOOD AVENUE CHERRY HILL NJ 08002
S T O P RESTAURANT SUPPLY               206 CENTENNIAL COURT KITCHENER ON N2B 3X2 CANADA
S&A CLEANTECH LLC                       2824 FISHER RD STE C COLUMBUS OH 43204-3553
S&J FIRE PROTECTION & CONSTRUCTION      PO BOX 154005 LUFKIN TX 75915-4005
GROUP
S&K BUILDING SERVICES INC               4801 INDUSTRIAL PKWY INDIANAPOLIS IN 46226-2965
S&P GLOBAL INC                          DBA S&P GLOBAL RATINGS 2542 COLLECTION CENTER DR CHICAGO IL 60693-0025
S. LANE TUCKER                          UNITED STATES ATTORNEYS OFFICE 222 W 7TH AVE, ROOM 253, 9, ANCHORAGE AK 99513
S. LANE TUCKER                          UNITED STATES ATTORNEYS OFFICE 101 12TH AVE, ROOM 310 FAIRBANKS AK 99701
S. LANE TUCKER                          UNITED STATES ATTORNEYS OFFICE 709 W 9TH ST, ROOM 937 JUNEAU AK 99802
S.C. DEPT OF NATURAL RESOURCES          1000 ASSEMBLY ST COLUMBIA SC 29201
S.C. DEPT OF NATURAL RESOURCES          PO BOX 11710 COLUMBIA SC 29211-1710
S.C. EMPLOYMENT SECURITY COMMISSION     UNEMPLOYMENT INSURANCE 1550 GADSDEN ST PO BOX 995 COLUMBIA SC 29202
S6 VENTURES INC                         DBA FISH WINDOW CLEANING 4651 WOODSTOCK RD 208-152 ROSWELL GA 30075-1698
SAAMAAN, MARSAIL                        ADDRESS ON FILE
SABASTIAN MCNURLIN                      ADDRESS ON FILE
SABBL-NAMPA LLC                         C/O FORZA MANAGEMENT LLC PO BOX 526412 SALT LAKE CITY UT 84152-6412
SABRINA HICKS                           ADDRESS ON FILE
SABRINA LEWIS                           ADDRESS ON FILE
SACRAMENTO COUNTY SHERIFFS DEPARTMENT   ALARM ORDINANCE BUREAU 4500 ORANGE GROVE AVE SACRAMENTO CA 95841-4205
SACRAMENTO COUNTY SHERIFFS DEPARTMENT   425 CHESTNUT SUITE 2077 SACRAMENTO CA 95841-4205
SACRAMENTO COUNTY TAX COLLECTOR         PO BOX 508 SACRAMENTO CA 95812-0508
SACRAMENTO COUNTY TAX COLLECTOR         UNSECURED TAX UNIT P O BOX 508 SACRAMENTO CA 95812-0508
SACRAMENTO COUNTY UTILITIES             P.O. BOX 1804 UTILITIES SACRAMENTO CA 95812
SACRAMENTO METRO FIRE DEPARTMENT        10545 ARMSTRONG AVE SUITE 310 MATHER CA 95655-4104
SADA SYSTEMS INC                        5250 LANKERSHIM BOULEVARD 620 NORTH HOLLYWOOD CA 91601
SAFE AND SOUND ARMED COURIER SERVICES   PO BOX 1463 BAYVILLE NY 11709-0463
SAFE AND SOUND INC                      PO BOX 8719 NAPLES FL 34101-8719
SAFE AND SOUND SECURITY LLC             10011 BRIDGEPORT WAY SW 176 LAKEWOOD WA 98499-2332
SAFETECH PEST CONTROL                   5153 CANUCK CR REGINA SK S4W 0H1 CANADA
SAFETY FIRST ONTARIO INC                340 INDUSTRIAL PKWY SOUTH AURORA ON L4G 3V7 CANADA
SAFEWATER BACKFLOW AND IRRIGATION LLC   PO BOX 4002 AUSTIN TX 78765-4002
SAGA LLC                                ATTN: NILESH ('NEIL') NAYAK 155 POTOMAC PASSAGE, UNIT 626 OXON HILL MD 20745
SAGA LLC                                ATTN MR NILESH NAYAK 155 POTOMAC PSGE UNIT 626 OXON HILL MD 20745-1574
SAGINAW CHARTER TOWNSHIP                ALARM ORDINANCE BUREAU 4500 ORANGE GROVE AVE SAGINAW MI 48603
SAGINAW CHARTER TOWNSHIP                4980 SHATTUCK ROAD SAGINAW MI 48603
SAGINAW CHARTER TOWNSHIP TREASURER      PO BOX 6400 SAGINAW MI 48608-6400
SAGINAW CHARTER TOWNSHIP, MI            P.O. BOX 6400 WATER DEPARTMENT SAGINAW MI 48608
SAGINAW COUNTY                          4980 SHATTUCK ROAD SAGINAW MI 48602
SAGINAW COUNTY                          DEPT OF PUBLIC HEALTH 1600 NORTH MICHIGAN AVE SAGINAW MI 48602



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SAGOLA CONTRACTING INC                   DBA SCI CLEANING AND MAINTENANCE PO BOX 339 MARQUETTE MI 49855
SAINT ANTHONY REAL ESTATE LLC            1255 BUCKINGHAM WAY HILLSBOROUGH CA 94010
SAINT CLAIR COUNTY COLLECTOR             PO BOX 23980 BELLEVILLE IL 62223-0980
SAINT LOUIS COUNTY DEPARTMENT OF HEALTH DEPARTMENT OF PUBLIC HEALTH 1600 NORTH MICHIGAN AVE BERKELEY MO 63134
SAINT LOUIS COUNTY DEPARTMENT OF HEALTH 6121 N HANLEY ROAD BERKELEY MO 63134
SALAMATIN, CHRISINE                      ADDRESS ON FILE
SALAZAR, CATALINA                        ADDRESS ON FILE
SALBEJAC INC                             DBA VISALIA WINDOW CO 8525 W ROOSEVELT AVE VISALIA CA 93291-9458
SALCEDO, MARIA                           ADDRESS ON FILE
SALCEDO, SOPHIA                          ADDRESS ON FILE
SALE, DOROTHY                            ADDRESS ON FILE
SALEM SIGN CO INC                        1825 FRONT ST N E SALEM OR 97301-0748
SALESFORCE.COM INC                       PO BOX 203141 DALLAS TX 75320-3141
SALINA AREA CHAMBER OF COMMERCE          PO BOX 586 SALINA KS 67402-0586
SALINAS SHOPPING CTR ASSOC LP & HARDEN   RANCH PL ASSOC LLC, ATTN: PROP MGR C/O CROSSPOINT REALTY SERVICES INC. 1526
                                         NORTH MAIN STREET SALINAS CA 93906
SALINAS VALLEY CHAMBER OF COMMERCE       119 E ALISAL ST SALINAS CA 93901-3501
SALINAS, DANIELLE                        ADDRESS ON FILE
SALINE COUNTY TREASURER                  PO BOX 5040 ROOM 214 SALINA KS 67402-5040
SALISBURY CITY TAX COLLECTOR             125 N DIVISION ST. RM 103 SALISBURY MD 21801
SALISBURY MALL REALTY HOLDING LLC        ATTN: PAUL TOMASZEWSKI, GENERAL MANAGER C/O 4TH DIMENSION PROPERTIES LLC 2300
                                         N. SALISBURY BLVD. SALISBURY MD 21801
SALISBURY MALL REALTY HOLDING LLC        C/O 4TH DIMENSION PROPERTIES LLC 1909 TYLER ST STE 403 HOLLYWOOD FL 33020-4533
SALLISS PLUMBING & HEATING INC           443 SOUTH STREET LONDON ON N6B 1C1 CANADA
SALT LAKE CITY CORPORATION               ADMINISTRATIVE ENFORCEMENT OFFI CITY AND COUNTY BLDG SALT UT 84111
SALT LAKE CITY PUBLIC UTILITIES          1530 SOUTH WEST TEMPLE SALT LAKE CITY UT 84115
SALT LAKE CITY-CTY HEALTH DEPARTMENT     BUREAU OF FOOD PROTECTION 610 SOUTH 200 EAST SALT LAKE CITY UT 84111
SALT LAKE COUNTY ASSESSOR                PO BOX 410470 SALT SALT LAKE CITY UT 84141-0470
SALT LAKE COUNTY TREASURER               PO BOX 26947 SALT SALT LAKE CITY UT 84126-0947
SALT RIVER PROJECT AG IMPROV POWER DIST COMMERCIAL CREDIT DEPARTMENT 2727 EAST WASHINGTON STREET MAILSTOP PAB21T
                                        PHOENIX AZ 85034-1403
SALVATORE C EMILIO                       ADDRESS ON FILE
SALVATORE CARRANO III                    ADDRESS ON FILE
SAM SERVICE INC                          1021 WORTH ST ALBANY GA 31705-3233
SAM TS PLUMBING AND SEWER LLC            83 GENEVA DR UNIT 621681 OVIEDO FL 32762-7569
SAMAAN, MARYAM                           ADDRESS ON FILE
SAMACICIO, DAREL                         ADDRESS ON FILE
SAMANTHA DESHARNAIS                      ADDRESS ON FILE
SAMANTHA OCONNER                         ADDRESS ON FILE
SAMCO SALES & SERVICE INC                DBA SAMCO FACILITIES MAINTENACE 11878 BROOKFIELD ST LIVONIA MI 48150-1701
SAMEDAY BACKFLOW SERVICE INC             10220 JEANE RD MANTECA CA 95336-9520
SAMFIRU TUMARKIN LLP                     350 BAY STREET 10TH FLOOR TORONTO ON M5H 2S6 CANADA
SAMS FLORIST                             ADDRESS ON FILE
SAMUEL A BORGIA                          ADDRESS ON FILE
SAMUEL HAWKINS                           ADDRESS ON FILE
SAMUEL HILL                              ADDRESS ON FILE
SAMUEL PAGE                              ADDRESS ON FILE
SAMUEL R RIPPEY                          ADDRESS ON FILE
SAN ANTONIO WATER SYSTEM, TX             PO BOX 650989 DALLAS TX 75265-0989
SAN BERNARDINO CITY FIRE DEPARTMENT      200 E THIRD STREET SAN BERNARDINO CA 92410-4889


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SAN BERNARDINO CO FIRE PROTECTION DIST   157 W FIFTH STREET SECOND FLOOR SAN BERNARDINO CA 92415
SAN BERNARDINO COUNTY CLERK              385 ARROWHEAD AVE 4TH FLOOR SAN BERNARDINO CA 92415
SAN BERNARDINO COUNTY TAX COLLECTOR      268 W HOSPITALITY LANE FIRST FLOOR SAN BERNARDINO CA 92415-0360
SAN BERNARDINO CTY DEPARTMENT OF         385 N ARROWHEAD AVE SAN BERNARDINO CA 92415-0160
SAN BERNARDINO MUNICIPAL WATER DEPT      PO BOX 710 SAN BERNARDINO CA 92402-0710
SAN BERNARDINO RESTAURANT ASSO           C/O THE GRAYMONT GROUP 233 WILSHIRE BLVD. SUITE 295 SANTA MONICA CA 90401
SAN BRUNO TOWNE CENTER PARTNERSHIP       DEPT LA 24131 PASADENA CA 91185-4131
SAN DIEGO CO TREASURER - TAX COLLECTOR   PO BOX 129009 SAN DIEGO CA 92112
SAN DIEGO GAS & ELECTRIC                 P.O. BOX 25111 SDG&E SANTA ANA CA 92799-5111
SAN JOAQUIN COUNTY                       ENVIRONMENTAL HEALTH DEPARTMENT 1868 E HAZELTON AVENUE STOCKTON CA 95205
SAN JOAQUIN COUNTY                       DEPARTMENT OF PUBLIC HEALTH 2501 N DIKSEN PARKWAY STOCKTON CA 95205
SAN JOAQUIN COUNTY TREASURER             PO BOX 2169 STOCKTON CA 95201-2169
SAN JOAQUIN VALLEY UNIFIED               AIR POLLUTION CONTROL DISTRICT 4800 ENTERPRISE WAY MODESTO CA 95356-8718
SAN JOAQUIN VALLEY UNIFIED AIR           CONTROL DISTRICT ENVIRONMENTAL HEALTH DEPARTMENT 1868 E HAZELTON AVENUE
POLLUTION                                MODESTO CA 95356-8718
SAN JUAN COUNTY TREASURER                DEPT 31087 PO BOX 27839 ALBUQUERQUE NM 87125-7839
SAN MATEO COUNTY ENVIRON HEALTH          590 HAMILTON STREET REDWOOD CITY CA 94063
SAN MATEO COUNTY TAX COLLECTOR           555 COUNTY CENTER REDWOOD CITY CA 94063
SANCHEZ, CYNTHIA                         ADDRESS ON FILE
SANCHEZ, ENEPAMUCENO                     ADDRESS ON FILE
SANCHEZ, HECTOR                          ADDRESS ON FILE
SANCHEZ, JOSHUA                          ADDRESS ON FILE
SANDERS CONSULTING GROUP INC             ATTN: DWIGHT R. SANDERS 1800 COUNTRY CLUB ROAD CARBONDALE IL 62903
SANDERS CONSULTING GROUP INC             1800 COUNTRY CLUB ROAD CARBONDALE IL 62903
SANDERS ENTERPRISES INC.                 DBA FISH WINDOW CLEANING 678 PO BOX 758 SOUTH LYON MI 48178-0758
SANDERS PLUMBING INC                     DBA SANDERS SERVICES OF CENTRAL AR 4721 HILLARD RD NORTH LITTLE ROCK AR
                                         72118-2463
SANDERS, PRINCESS                        ADDRESS ON FILE
SANDRA J DAY                             ADDRESS ON FILE
SANDRA J STEWART                         UNITED STATES ATTORNEYS OFFICE 131 CLAYTON ST MONTGOMERY AL 36104
SANDRA J. HAIRSTON                       OFFICE OF THE UNITED STATES ATTORNEY 251 N MAIN ST, STE 726 WINSTON-SALEM NC
                                         27101
SANDRA J. HAIRSTON                       OFFICE OF THE UNITED STATES ATTORNEY 101 S EDGEWORTH ST, 4TH FL GREENSBORO NC
                                         27401
SANDRA MEADOR                            ADDRESS ON FILE
SANDRA STANLEY                           ADDRESS ON FILE
SANDY ALEXANDER INC                      DBA DINETEC PO BOX 824263 PHILADELPHIA PA 19182-4263
SANDY TOWNSHIP MUNICIPAL AUTHORITY       861 BEAVER DR DUBOIS PA 15801
SANDY TOWNSHIP TAX COLLECTOR             ELIZABETH A ROUDYBUSH 9 OVERDROF AVE DUBOIS PA 15801
SANFORD LAW FIRM PLLC                    10800 FINANCIAL CENTRE PKWY STE 510 LITTLE ROCK AR 72211-3518
SANGAMON COUNTY                          6121 N HANLEY ROAD SPRINGFIELD IL 62702
SANGAMON COUNTY                          DEPARTMENT OF PUBLIC HEALTH 2501 N DIKSEN PARKWAY SPRINGFIELD IL 62702
SANGAMON COUNTY TAX COLLECTOR            200 S 9TH ST RM 102 SPRINGFIELD IL 62701
SANICO INC                               PO BOX 2037 BINGHAMTON NY 13902
SANMARCO COMPANY                         DBA SANDUSKY PAVILION PO BOX 7535 CAROL STREAM IL 60197-7535
SANTA BARBARA CO TREASURER-TAX           PO BOX 579 SANTA BARBARA CA 93102-0579
COLLECTOR
SANTA CLARA COUNTY                       DEPARTMENT OF TAX AND COLLECTIONS 70 W HEDDING ST SAM JOSE CA 95110-1767
SANTA CLARA COUNTY HEALTH DEPARTMENT     1555 BERGER DRIVE SUITE 300 SAN JOSE CA 95112-2716
SANTA CLARA COUNTY TAX COLLECTOR         DEPARTMENT OF TAX AND COLLECTIONS 70 W HEDDING ST. E WING 6TH FL SAN JOSE CA


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SANTA CLARA COUNTY TAX COLLECTOR         95110-1767
SANTA FE COUNTY TREASURER                PO BOX T SANTA FE NM 87504
SANTA FE MALL PROPERTY OWNER LLC         PO BOX 29298 SANTA FE NM 87592
SANTA FE MALL REALTY HOLDING LLC         1010 NORTHERN BLVD STE 212 GREAT NECK NY 11021-5320
SANTA MARIA ELECTRIC INC                 408 N BROADWAY SANTA MARIA CA 93454
SANTA MARIA POLICE DEPARTMENT            RECORDS BUREAU 222 E COOK STREET SANTA MARIA CA 93454
SANTA MARIA PRODUCE INC                  232 ISLAND ST SHREVEPORT LA 71107-6814
SANTEE COOPER                            PO BOX 188 MONCKS CORNER SC 29461-0188
SANTEE LOCK AND MORE LLC                 37144 VINE ST WILLOUGHBY OH 44094-6345
SANTOS R CRUZ                            ADDRESS ON FILE
SANTOYO, JOSE                            ADDRESS ON FILE
SAPONKA, VICKY                           ADDRESS ON FILE
SARAH E DION WATSON                      ADDRESS ON FILE
SARAH PEELER                             ADDRESS ON FILE
SARASOTA COUNTY-TAX COLLECTOR            101 S WASHINGTON BLVD SARASOTA FL 34236-6993
SARATOGA EAGLE SALES & SERVICE INC       45 DUPLAINVILLE ROAD SARATOGA SPRINGS NY 12866
SARD & LEFF LLC                          3789 ROSWELL ROAD ATLANTA GA 30342
SARD & LEFF, LLC                         ATTN:MICHAEL SARD;KEVIN D. LEFF 3789 ROSWELL ROAD ATLANTA GA 30342
SARGENT & KRAHN                          JOSEFINA MORA AVDA. ANDRES BELLO 2711, PISO 19 SANTIAGO CHILE
SARGENTS LANDSCAPE NURSERY               7955 18TH AVENUE NW ROCHESTER MN 55901
SARL JV                                  ATTN: MELISSA OSHEA C/O DZMI 1250 WOOD BRANCH PARK DRIVE, 100 HOUSTON TX 77079
SARL JV                                  C/O DZMI 1250 WOOD BRANCH PARK DRIVE SUITE 100 HOUSTON TX 77079-1207
SAROSINSKI, CATHY                        ADDRESS ON FILE
SARTOR, DELORES                          ADDRESS ON FILE
SASK POWER                               PO BOX 6300 STN MAIN REGINA SK S4P 4J5 CANADA
SASKATCHEWAN LIQUOR BOARD                BOX 5054- 1660 PARK STREET REGINA SK S4P 3M3 CANADA
SASKATCHEWAN WORKERS COMP BOARD          ACCOUNT NO 8098478 200 1881 SCARTH STREET REGINA SK S4P 4L1 CANADA
SASKATOON CARPET CLEANING                PO BOX 25169 SASKATOON SK S7K 8B7 CANADA
SASKATOON CITY                           TREASURERS OFFC UTILITIES SEC PO BOX 7030 SASKATOON SK S7K 8E3 CANADA
SASKATOON CITY                           4800 ENTERPRISE WAY SASKATOON SK S7K 8E3 CANADA
SASKENERGY                               PO BOX 6300 REGINA SK S4P 4J5 CANADA
SASKTEL                                  PO BOX 2121 STATION MAIN REGINA SK S4P 4C5 CANADA
SATALAG CORPORATION                      DBA ALL MICROWAVE CENTER INC PO BOX 5544 KINGWOOD TX 77325
SAUNDERS, ROMALATA                       ADDRESS ON FILE
SAUNDRIA STUBBS                          ADDRESS ON FILE
SAVANNAH CITY REVENUE DEPARTMENT         TREASURERS OFFC UTILITIES SEC PO BOX 7030 SAVANNAH GA 31402-1228
SAVANNAH CITY REVENUE DEPT               PO BOX 1228 SAVANNAH GA 31402-1228
SAVANNAH RIVER ENTERPRISES INC           DBA JANI-KING OF AUGUSTA 3665 WHEELER ROAD SUITE 1A AUGUSTA GA 30909
SAVANNAH RIVER PRESSURE WASHING & SVCS   LLC SAVANNAH RIVER PRESSURE WASHING 2012 HIGHGRASS CT EVANS GA 30809-7085
SAVARD, CAJSA                            ADDRESS ON FILE
SAVE ON MECHANICAL SERVICES LTD          10664-214 STREET EDMONTON ON T5S 2A5 CANADA
SAVERINO SAFE & LOCK CO                  2402 MESSANIE STREET ST JOSEPH MO 64501
SAVERY, GLENDA                           ADDRESS ON FILE
SAX, KAYDENCE                            ADDRESS ON FILE
SAYAGE VALDOSTA LLC                      24 MELTON DRIVE EAST ROCKVILLE CENTRE NY 11570
SAYLER L. FLEMING                        UNITED STATES ATTORNEYS OFFICE THOMAS EAGLETON US COURTHOUSE 111 S 10TH ST,
                                         20TH FL ST. LOUIS MO 63102
SAYLER L. FLEMING                        UNITED STATES ATTORNEYS OFFICE RUSH H LIMBAUGH, SR US COURTHOUSE 555
                                         INDEPENDENCE ST CAPE GIRARDEAU MO 63703



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SB LOCK & KEY LLC                     DBA LOCKSMITHS PLUS 1310 S KILLIAN DR STE 108 LAKE PARK FL 33403-1928
SC BEVERAGE INC                       2300 PECK ROAD WHITTIER CA 90601
SC HEIGHTS LLC                        ATTN GREG MALOOF 13 MAINSAIL XING SAVANNAH GA 31411-2723
SC HUMAN AFFAIRS COMMISSION           1026 SUMTER STREET, SUITE 101 COLUMBIA SC 29201
SCA OF IN LLC                         DBA SWEEPING CORP OF AMERICA PO BOX 74324 CLEVELAND OH 44194-0424
SCA OF MI LLC                         PO BOX 74541 CLEVELAND OH 44194-0002
SCA OF OH LLC                         PO BOX 74029 CLEVELAND OH 44194-4029
SCAPES INC                            PO BOX 982 GAINESVILLE VA 20156-0982
SCARPINO, PATRICIA                    ADDRESS ON FILE
SCBWA - STATE COLLEGE BOROUGH WATER   1201 WEST BRANCH ROAD STATE COLLEGE PA 16801-7697
AUTH
SCF RC FUNDING I, LLC                 ATTN: ASSET MANAGER ESSENTIAL PROPERTIES REALTY TRUST LLC 902 CARNEGIE CENTER
                                      BLVD., SUITE 520 PRINCETON NJ 08540
SCF RC FUNDING III LLC                ATTN: ASSET MANAGER ESSENTIAL PROPERTIES REALTY TRUST LLC 902 CARNEGIE CENTER
                                      BOULEVARD, SUITE 520 PRINCETON NJ 08540
SCF RC FUNDING IV LLC                 ATTN: ASSET MANAGER ESSENTIAL PROPERTIES REALTY TRUST LLC 902 CARNEGIE CENTER
                                      BOULEVARD, SUITE 520 PRINCETON NJ 08540
SCF RC FUNDING IV LLC                 ATTN SERVICING 902 CARNEGIE CTR STE 520 PRINCETON NJ 08540-6531
SCHAMEL, JANNICE                      ADDRESS ON FILE
SCHARNWEBER INC                       701 SOUTH COUNTY ROAD TOLEDO IA 52342
SCHAUMBURG FALSE ALARM REDUCTION      PO BOX 1228 CAROL STREAM IL 60197-6767
PROGRAM
SCHAUMBURG FALSE ALARM REDUCTION      PO BOX 6767 CAROL STREAM IL 60197-6767
PROGRAM
SCHEBEN, KENNETH                      ADDRESS ON FILE
SCHELLER, EMMA                        ADDRESS ON FILE
SCHERIBEL, JENNIFER                   ADDRESS ON FILE
SCHICK SPRINKLING SYSTEMS INC         18044 THIRTEEN MILE RD ROSEVILLE MI 48066
SCHILL LANDSCAPING &                  DBA LAWN CARE SERVICES INC DBA SCHILL GROUNDS MANAGEMENT 5000 MILLS INDUSTRIAL
                                      PARKWAY NORTH RIDGEVILLE OH 44039-1971
SCHINDLER INVESTMENTS INCORPORATED    DBA SCHINDLER REFRIGERATION COMPANY PO BOX 967 PILOT POINT TX 76258-0967
SCHINLER, SCOTT                       ADDRESS ON FILE
SCHLATHER STRUMBAR PARKS SALK LLP     PO BOX 353 ITHACA NY 14851-0353
SCHLEE, DINA                          ADDRESS ON FILE
SCHLOEMER LAW FIRM S C                DBA SCHLOEMER LAW FIRM TRUST ACCOUNT 143 S MAIN ST FL 3 WEST BEND WI
                                      53095-3367
SCHMADEL, DAVID.                      ADDRESS ON FILE
SCHMITZ, LINDA                        ADDRESS ON FILE
SCHNEIDER, STUART                     ADDRESS ON FILE
SCHOENMANN PRODUCE COMPANY INC        PO BOX 51705 LAFAYETTE LA 70505
SCHOLARSHIP AMERICA INC               C/O FIRST NATIONAL BANK MINNESOTA PO BOX 772514 DETROIT MI 48277-2514
SCHOONOVER SEWER SERVICE INC          PO BOX 6027 CHAMPAIGN IL 61826-6027
SCHOOX INC                            C/O VCFO 6836 AUSTIN CENTER BLVD BLDG 1 SUITE 280 AUSTIN TX 78731
SCHRADERS FLORIST & GRNHSE INC        2078 BEDFORD STREET JOHNSTOWN PA 15904
SCHROEDERS FLOWERS INC                PO BOX 1642 GREEN BAY WI 54305-1642
SCHUERMAN, ZACHARY                    ADDRESS ON FILE
SCHULTZ, PAT                          ADDRESS ON FILE
SCHWARZ, ARTHUR G                     ADDRESS ON FILE
SCHWARZ, DEBORAH S                    ADDRESS ON FILE
SCHWICKERTS TECTA AMERICA LLC         330 POPLAR ST MANKATO MN 56001-2312



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SCHWINGLER ENTERPRISES INC              DBA ROTO-ROOTER SEWER DRAIN CLN PO BOX 12762 GRAND FORKS ND 58208-2762
SCI-TECH CARPET CLEANING INC            PO BOX 6062 CHRISTIANSBURG VA 24068-6062
SCISSORTAIL POWERWASHING AND STRIPING   DBA COLT MILLER 123 S LOWRY ST STILLWATER OK 74074-3616
SCIULLI, ELLA                           ADDRESS ON FILE
SCOGIN AIRE MECHANICAL INC              3091 COLLEGE PARK DR STE 240 PMB 2 THE WOODLANDS TX 77384-8029
SCONZO LAW OFFICE PA                    3825 PGA BLVD STE 207 PALM BEACH GARDENS FL 33410-2987
SCOTLYNN COMMODITIES INC                DBA SCOTLYNN USA DIVISION INC 1150 VITTORIA RD VITTORIA ON N0E 1W0 CANADA
SCOTT COUNTY TREASURER                  600 W 4TH ST DAVENPORT IA 52801
SCOTT COUNTY TREASURER                  PO BOX 8011 DAVENPORT IA 52808-8011
SCOTT DOUGLAS WALKER                    ADDRESS ON FILE
SCOTT DRAGE                             ADDRESS ON FILE
SCOTT ELECTRIC COMPANY                  DBA SCOTT AC & HEATING SCOTT TELECOM AND COASTAL KITCHENS PO BOX 1819 CORPUS
                                        CHRISTI TX 78403-1819
SCOTT GRAVEDONI                         ADDRESS ON FILE
SCOTT GRIDER                            ADDRESS ON FILE
SCOTT LEHNING                           ADDRESS ON FILE
SCOTT MCNAMEE                           DBA INVOMAN SERVICES C/O GF HANDYMAN SERVICES 2534 W FALLCREEK CT GRAND FORKS
                                        ND 58201-5257
SCOTT MOORE DIRECTOR                    ADDRESS ON FILE
SCOTT PEATROSS                          ADDRESS ON FILE
SCOTT R BURKE                           ADDRESS ON FILE
SCOTT RANDOLPH                          ORANGE COUNTY TAX COLLECTOR PO BOX 545100 ORLANDO FL 32854-5100
SCOTT S GOODMAN                         ADDRESS ON FILE
SCOTT SCHILEY                           ADDRESS ON FILE
SCOTT SCRIVEN LLP                       DBA SCOTT SCRIVEN & WAHOFF LLP 250 EAST BROAD STREET SUITE 900 COLUMBUS OH
                                        43215
SCOTT THAYNE                            ADDRESS ON FILE
SCOTT WASTE SERVICES, LLC               1212 EASTLAND ST BOWLING GREEN KY 42104
SCOTT, ERIC                             ADDRESS ON FILE
SCOTT, JASON                            ADDRESS ON FILE
SCOTT, SCRIVEN LLP                      ATTN: KARLA SOARDS 250 EAST BROAD ST SUITE 900 COLUMBUS OH 43215
SCOTT, TACARA                           ADDRESS ON FILE
SCOTT, TARA                             ADDRESS ON FILE
SCOTTS PROPERTY RESCUE LLC              1404 E 33RD DR KEARNEY NE 68847-3870
SCOTTYS WASH INC                        3 FROST AVENUE WINNIPEG MB R3K 0E1 CANADA
SCOUT EXCHANGE LLC                      ATTN SCOTT FINANCE 105 CENTRAL ST STE 1100 STONEHAM MA 02180-1285
SCP REO FUND NORTHFIELD SPLITTER LP     SCP NORTHFIELD LLC STOCKDALE CAPITAL PARTNERS LLC LOS ANGELES CA 90024-4326
SCP REO FUND NORTHFIELD SPLITTER LP     SCP NORTHFIELD LLC STOCKDALE CAP PTRS LLC, ATTN ASSET MGR 10850 WILSHIRE BLVD
                                        STE 1050 LOS ANGELES CA 90024-4326
SCULLIN REAL ESTATE VII LLC             4651 VIA FIRENZE BONITA SPRINGS FL 34134-6906
SCV WATER - VALENCIA DIVISION           PO BOX 515106 LOS ANGELES CA 90051-5106
SD1                                     PO BOX 791705 BALTIMORE MD 21279-1705
SDF CONSTRUCTION LLC                    DBA SEAN DAVID FOX C/O ST AUGUSTINE SURFACE CLEANING 227 AVENTURINE AVE ST
                                        AUGUSTINE FL 32086-0369
SDMK LLC                                DBA FASTSIGNS 7340 MARKET ST BOARDMAN OH 44512-5610
SEA BAY AQUATICS LLC                    DBA JOHN K WEAVER 1238 W HIGHLAND AVE WOOSTER OH 44691-9086
SEA OF GLASS INC                        DBA FISH WINDOW CLEANING PO BOX 178 MISHAWAKA IN 46546-0178
SEAFOOD NUTRITION PARTNERSHIP           PO BOX 37038 BALTIMORE MD 21297-3038
SEAGLASS SOFTWASH LLC                   400 CAPITAL CIR SE STE 18143 TALLAHASSEE FL 32301-3802
SEAL TECH LLC                           PO BOX 19775 INDIANAPOLIS IN 46219


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SEALCOAT SPECIALTIES LLC                 7306 NE 37TH AVE VANCOUVER WA 98665-0642
SEALER KING LLC                          PO BOX 160 WETMORE MI 49895-0160
SEALIFE AQUARIUM SERVICE                 PO BOX 127 APOPKA FL 32704
SEALS GUY LLC                            PO BOX 14097 PARKVILLE MO 64152-0597
SEAN B SNOW                              ADDRESS ON FILE
SEAN CROMIE                              ADDRESS ON FILE
SEAN KILLION                             ADDRESS ON FILE
SEAN P COSTELLO                          UNITED STATES ATTORNEYS OFFICE 63 S ROYAL ST, STE 600 MOBILE AL 36602
SEAN P HYDINGER                          ADDRESS ON FILE
SEAN WALKER                              ADDRESS ON FILE
SEARS, LINDA                             ADDRESS ON FILE
SEASCAPE DESIGNS INC                     109 CAMBRIDGE DRIVE WILMINGTON DE 19803
SEASIDE ROOFING INC                      11646 SW MEADOWLARK CIRCLE STUART FL 34997
SEASIDE WASTE SERVICES                   PO BOX 1224 HAMMONTON NJ 08037
SEASONAL CONCEPTS LAWN LANDSCAPING       PO BOX 7965 COLUMBUS GA 31908-7965
SEASONED 2 0 INC                         548 MARKET ST PMB 92142 SAN FRANCISCO CA 94104-5401
SEASTONE INTERNATIONAL LLC               20062 BEAUMONT CIR HUNTINGTON BEACH CA 92646-4912
SEAT COVER JIMS INC                      1557 HUSBANDS ROAD PADUCAH KY 42003
SEATING CONSULTANTS INC                  323 PIERCE ST NE MINNEAPOLIS MN 55413-2511
SEATING SOLUTIONS                        OF SUFFOLK COUNTY 1 222 EAST 93RD STREET STE 9K NEW YORK NY 10128-3754
SEATON, TYLER                            ADDRESS ON FILE
SEATTLE SHRIMP AND SEAFOOD COMPANY INC   14205 SE 36TH ST STE 214 BELLEVUE WA 98006-1574
SEATTLE-KING COUNTY HEALTH DEPARTMENT    401 FIFTH AVENUE SUITE 1100E SEATTLE WA 98104
SEBASTIAN COUNTY TAX COLLECTOR           PO BOX 1358 FORT SMITH AR 72902-1358
SEBOLD, DAVID                            ADDRESS ON FILE
SEBRING GAS SYSTEM INC.                  3515 US HWY 27 SOUTH SEBRING FL 33870-5452
SEBRING GAS SYSTEM, INC. FL              3515 US HIGHWAY 27S SEBRING FL 33870
SECAUCUS BOARD OF HEALTH                 PO BOX 6767 SECAUCUS NJ 07094
SECAUCUS BOARD OF HEALTH                 1203 PATTERSON PLANK ROAD SECAUCUS NJ 07094
SECAUCUS OFFICE OF INSPECTIONS           1203 PATTERSON PLANK ROAD SECAUCUS NJ 07094
SECAUCUS OFFICE OF INSPECTIONS           ALARM DIVISION 1203 PATERSON PLANK RD SECAUCUS NJ 07094
SECO ENERGY                              PO BOX 11407 DEPT 3035 BIRMINGHAM AL 35202-1407
SECRETARY OF STATE OF OK                 2300 N LINCOLN BOULEVARD ROOM 101 OKLAHOMA CITY OK 73105
SECTOR ROOFING LLC                       2231 SLATERVILLE RD ITHACA NY 14850-9634
SECURE SAFE AND LOCK INC                 241 N COURTENAY PKWY MERRITT ISLAND FL 32953-3407
SECURED LOCK INC                         214 HENDERSON DRIVE JACKSONVILLE NC 28540
SECURITAS SECURITY SERVICES USA INC      DBA PINKERTON CONSULTING & INVESTIGATIONS PO BOX 406394 ATLANTA GA 30384-6394
SECURITAS TECHNOLOGY CORPORATION         DEPARTMENT CH 10651 PALATINE IL 60055
SECURITIES AND EXCHANGE COMMISSION       ATLANTA REGIONAL OFFICE ATTN: WALTER E. JOSPIN, REGIONAL DIR 950 E PACES
                                         FERRY, NE, STE 900 ATLANTA GA 30326-1382
SECURITIES AND EXCHANGE COMMISSION       MIAMI REGIONAL OFFICE ATTN: ERIC I. BUSTILLO, REGIONAL DIR 801 BRICKELL AVE,
                                         STE 1950 MIAMI FL 33131
SECURITY CENTERS INC                     DBA BILLS LOCKSMITHING 2418 STATE ROUTE 352 ELMIRA NY 14903-9396
SECURITY CONTRACTOR SERVICES INC         170 N 28TH STREET SAN JOSE CA 95116-1122
SECURITY KEY & LOCK SERVICE              2512 DEWDNEY AVE REGINA SK S4R 1H7 CANADA
SECURITY LOCK & KEY INC                  PO BOX 63343 CHARLOTTE NC 28263-3343
SECURITY SERVICES NORHTWEST INC          250 CENTER PARK WAY SEQUIM WA 98382-3463
SECURITY SERVICES OF TAMPA INC           DBA AFFORDABLE LOCK & SECURITY SOLUTIONS PO BOX 31261 TAMPA FL 33631-3261
SECURITY WORLD INC.                      DBA KEITHS SECURITY WORLD 2111 DEMERS AVE GRAND FORKS ND 58201-4164



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SECURITYMETRICS INC                    1275 WEST 1600 NORTH OREM UT 84057
SEDGWICK CLAIMS MANAGEMENT SERVICES INC PO BOX 89456 CLEVELAND OH 44101-6456
SEDGWICK COUNTY TREASURER              PO BOX 2961 WICHITA KS 67201-2961
SEDLAR VENTURES                        DBA JOHNS CUTLERY 47506 JEFFERSON AVE CHESTERFIELD MI 48047-2238
SEELBACH DESIGN INC                    2087 OTTER WAY PALM HARBOR FL 34685-2351
SEESE, ABBY                            ADDRESS ON FILE
SEGOVIAS DISTRIBUTING INC              PO BOX 972146 EL PASO TX 79997-2146
SELECT RESTAURANT SERVICES INC         DBA SRS MECHANICAL CONTRACTORS 3737 PARKWAY LN HILLIARD OH 43026-1265
SELENA HODGE                           ADDRESS ON FILE
SELF OPPORTUNITY INC                   PO BOX 292788 LEWISVILLE TX 75029
SELINA F ALLY                          ADDRESS ON FILE
SEMCO ENERGY GAS COMPANY               PO BOX 740812 CINCINNATI OH 45274-0812
SEMINO TILE & MARBLE LLC               DBA SEMINO PROPERTY MAINTENANCE & REPAIRS 14265 SW 75TH TER MIAMI FL
                                       33183-2969
SEMINOLE COUNTY TAX COLLECTOR          PO BOX 630 SANFORD FL 32772-0630
SEMINOLE MALL REALTY HOLDING LLC       1010 NORTHERN BLVD STE 212 GREAT NECK NY 11021-5320
SENG PHETSADA                          ADDRESS ON FILE
SENN BROS DISTRIBUTORS                 DBA SENN BROS PRODUCE 327 WHOLESALE LANE WEST COLUMBIA SC 29172
SENSITECH INC                          PO BOX 742000 LOS ANGELES CA 90074-2000
SENSORY SPECTRUM INC                   554 CENTRAL AVE NEW PROVIDENCE NJ 07974-1555
SENTMAN DISTRIBUTORS INC               400 MALONEY ROAD ELKTON MD 21921
SERAFIN, ELIAS                         ADDRESS ON FILE
SERAFIN, MALAYAH                       ADDRESS ON FILE
SERAFIN, REBEE                         ADDRESS ON FILE
SERENA A KIRCHNER INC                  2740 CHARLESTOWN ROAD LANCASTER PA 17603
SERG 13 LLC                            1937 EAST 24TH STREET BROOKLYN NY 11229
SERITAGE GROWTH PROPERTIES LP          DBA SERITAGE SRC FINANCE LLC PO BOX 776148 CHICAGO IL 60677-6148
SEROTA ISLIP GA LLC                    70 E SUNRISE HWY STE 610 VALLEY STREAM NY 11581-1233
SERVER PRODUCTS INC                    P O BOX 98 RICHFIELD WI 53076
SERVICE DISTRIBUTING INC               8397 PARIS STREET LORTON VA 22079
SERVICE MASTERS INC                    586 AVENUE A BAYONNE NJ 07002-1704
SERVICE ON THE DOUBLE LLC              DBA MR ROOTER PLUMBING 5045 MILGEN COURT SUITE 11 COLUMBUS GA 31907
SERVICE ONE EQUIPMENT LLC              4500 OLD UNION RD LUFKIN TX 75904-4289
SERVICE PLUS CARPET CLEANING           RESTORATION AND JANITORIAL INC PO BOX 8191 MADISON WI 53708-8191
SERVICE PLUS LAWN & TREE CARE INC      DBA YELLOW VAN CLEANING SERVICES 206 E 6TH STREET KEARNEY NE 68847-7405
SERVICE RECYCLING LLC                  3178 N KENTUCKY AVE JOPLIN MO 64801
SERVICE SOLUTIONS OF TEXAS LLC         3022 COWLING RD SANGER TX 76266-7477
SERVICE SPECIALIST LLC                 DBA EMERGENCY PLUMBING SERVICE C/O CRESTMARK BANK DRAWER 2176 PO BOX 5935 TROY
                                       MI 48007-5935
SERVICE TECH BROS INC                  644 GREENVILLE AVE PMB 295 STAUNTON VA 24401-4997
SERVICEMASTER OF KITCHENER WATERLOO    BOX 25087 SDM POST OUTLET 1221 WEBER ST E KITCHENER ON N2A 4A5 CANADA
SERVICEMASTER OF YORK                  122 GALAXY BOULEVARD ETOBICOKE ON M9W 4Y6 CANADA
SERVICEMASTER RESTORE OF CALGARY       920 26 STREET NE CALGARY AB T2A 2M4 CANADA
SERVICENOW INC                         PO BOX 731647 DALLAS TX 75373-1647
SERVICES, SUNCREST                     ADDRESS ON FILE
SERVITOR CLEANING SERVICE              172 WEST 2ND STREET ON L9C 3G1 CANADA
SESSIONS PLUMBING & HEATING INC        945 VANDERCOOK WAY LONGVIEW WA 98632
SETH COURTNEY                          ADDRESS ON FILE
SETH MILLER LAWNCARE                   ADDRESS ON FILE



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SETH RAMBO                              ADDRESS ON FILE
SETH SEYMOUR                            ADDRESS ON FILE
SEVEN BROTHERS CONSTRUCTION & LANDSCAPE SVC CORP PO BOX 2672 MERRIFIELD VA 22116
SEVEN HILLS GLOBAL LLC                  955 NW 17TH AVE STE B DELRAY BEACH FL 33445-2516
SEVEN SEAS INC                          DBA HOOKED ON FISH 154 26TH ST NW CEDAR RAPIDS IA 52405
SEVIER COUNTY ELECTRIC SYSTEM           P.O. BOX 4870 SEVIERVILLE TN 37864
SEVIER COUNTY TRUSTEE                   125 CT AVE STE SEVIERVILLE TN 37862
SEVIER COUNTY UTILITY DISTRICT          420 HENDERSON ROAD SEVIERVILLE TN 37862
SEVIER COUNTY UTILITY DISTRICT          PO BOX 6519 SEVIERVILLE TN 37864-6519
SEVIERVILLE CITY TREASURER              PO BOX 5500 SEVIERVILLE TN 37864-5500
SEWELL ENTERPRISES INC                  2224 SE 5TH COURT CAPE CORAL FL 33990
SEWELL MECHANICAL INC                   4813 SOUTH 101ST EAST AVENUE TULSA OK 74146
SEWER SERVICES INC                      25648 200TH ST BELLE PLAINE MN 56011-5033
SEYFARTH SHAW LLP                       ATTN:HOWIE WEXLER 620 EIGHTH AVENUE 32ND FLOOR NEW YORK NY 10018-1405
SEYFARTH SHAW LLP                       3807 COLLECTIONS CENTER DRIVE CHICAGO IL 60693-0001
SFB INC                                 27569 US HWY 71 DODDRIDGE AR 71834
SFP HOLDING INC                         DBA A-1 NATIONAL FIRE CO LLC PO BOX 6783 CAROL STREAM IL 60197-6783
SGK HOLDING                             DBA ATLAS PARTY RENTALS BEST CHAIR RENTALS 554 S COLUMBUS AVE MOUNT VERNON NY
                                        10550-4712
SGS-CSTC STANDARDS TECHNICAL SERVICES   7201-7202 OFFICE TOWER CITIC PLAZA 233 TIAN HE NORTH RD GUANGZHOU 510613 CHINA
CO
SHABRISKI JOHNSON                       ADDRESS ON FILE
SHADE, JAZMYNN                          ADDRESS ON FILE
SHADES CREEK R&I CORP TUTWILE           PO BOX 12045 BIRMINGHAM AL 35202
PROPERTIES
SHAH NUMAIR MOSTOFA                     ADDRESS ON FILE
SHAI SNIR                               ADDRESS ON FILE
SHAINEKA ABRAM                          ADDRESS ON FILE
SHAMROCK PLUMBING LLC                   340 WEST 500 NORTH NSL UT 84054
SHANAN OUTLAND                          ADDRESS ON FILE
SHANE BARFIELD                          ADDRESS ON FILE
SHANE GLASSER                           DBA SKG LAWN & LANDSCAPING LLC PO BOX 191 MAYS LANDING NJ 08330-0191
SHANE HERMAN                            ADDRESS ON FILE
SHANE M FISHER                          ADDRESS ON FILE
SHANE M WASHAM                          ADDRESS ON FILE
SHANE, ALEXANDER                        ADDRESS ON FILE
SHANNON HESTER                          ADDRESS ON FILE
SHANTHALL GILARRANZ                     ADDRESS ON FILE
SHANTINATH CS LLC                       12570 JEFFERSON AVE NEWPORT NEWS VA 23602-4314
SHARBONO, KATHERINE                     ADDRESS ON FILE
SHARI L HUMPHREY                        ADDRESS ON FILE
SHARIK S SAGAR                          ADDRESS ON FILE
SHARK WINDOW CLEANING LLC               PO BOX 7916 COLUMBIA MO 65205-7916
SHARON BURNS                            ADDRESS ON FILE
SHARON D JOHNSON                        ADDRESS ON FILE
SHARON DAWSON                           ADDRESS ON FILE
SHARON MADDER                           ADDRESS ON FILE
SHARP PLUMBING LLC                      20154 US HIGHWAY 75 HOLTON KS 66436-8117
SHARP-PINELLAS COUNTY                   ALARM DIVISION 1203 PATERSON PLANK RD LARGO FL 33779-2500
SHARP-PINELLAS COUNTY                   SHERIFFS OFFICE PO DRAWER 2500 LARGO FL 33779-2500


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SHASHIKANT PATIL                         ADDRESS ON FILE
SHASTA COUNTY                            COUNTY CLERK/REGISTRAR OF VOTERS PO BOX 990880 REDDING CA 96099-0880
SHASTA COUNTY DEPARTMENT ENVIR HEALTH    1855 PLACER ST REDDING CA 96001
SHASTA COUNTY DEPARTMENT ENVIR HEALTH    SHERIFFS OFFICE PO DRAWER 2500 REDDING CA 96001
SHASTA COUNTY TREASURER                  PO BOX 991830 REDDING CA 96099-1830
SHATIN COMMERCIAL INTERIORS LLC          10701 WHITE HALL ROAD HAGERSTOWN MD 21740
SHAUN P PRATT                            ADDRESS ON FILE
SHAVELE PATTERSON                        ADDRESS ON FILE
SHAW CABLE                               P.O. BOX 2468 STN MAIN CALGARY AB T2P 4Y2 CANADA
SHAW DIRECT                              PO BOX 2530 STN M CALGARY AB T2P 0C2 CANADA
SHAWN A MORRIS                           ADDRESS ON FILE
SHAWN DAVIS OWEN                         ADDRESS ON FILE
SHAWN DOLLAR                             ADDRESS ON FILE
SHAWN HIGGS                              ADDRESS ON FILE
SHAWN J SLAPPY                           ADDRESS ON FILE
SHAWN STEPHEN PEREZ                      ADDRESS ON FILE
SHAWNEE COUNTY REFUSE DEPARTMENT         1515 NW SALINE ST STE 225 TOPEKA KS 66618
SHAWNEE COUNTY TREASURER                 200 SE 7TH ST RM 101 TOPEKA KS 66603
SHAWNEE ELECTRICAL CONTRACTORS INC       779 ENTERPRISE ST CAPE GIRARDEAU MO 63703-7513
SHAWNEE MALL OWNER LLC                   C/O STREETMAC LLC PO BOX 83305 CHICAGO IL 60691-3305
SHAWNEE MUNICIPAL AUTHORITY              16 W 9TH STREET SHAWNEE OK 74502
SHAWNELL REED                            ADDRESS ON FILE
SHAWS LOCK SERVICE INC                   DBA SHAWS COMPLETE SECURITY 74 S WASHINGTON AVE BERGENFIELD NJ 07621-2326
SHB ANALYTICS LLC                        150 HILLTOP AVE BARRINGTON IL 60010-3402
SHEARER HEATING & A/C INC                125 OLD PLANK ROAD WASHINGTON PA 15301
SHEER ENTERPRISES INC                    6250 N MILITARY TRAIL STE 204 WEST PALM BEACH FL 33407-1407
SHEESLEYS SEWER SERVICE INC              PO BOX 2085 ELMIRA HEIGHTS NY 14903-2085
SHEILA GRAY                              ADDRESS ON FILE
SHEILA M BREECH                          ADDRESS ON FILE
SHELBY COUNTY HEALTH DEPARTMENT          HEALTH DEPARTMENT 814 JEFFERSON AVENUE FIFTH FLOOR MEMPHIS TN 38105
SHELBY COUNTY HEALTH DEPARTMENT          1855 PLACER ST MEMPHIS TN 38105
SHELBY COUNTY TRUSTEE                    PO BOX 2751 MEMPHIS TN 38101-2751
SHELL ENERGY SOLUTIONS - CA              PO BOX 7247-6353 PHILADELPHIA PA 19170-6353
SHELL ENERGY SOLUTIONS NE                PO BOX 21240 NEW YORK NY 10087-1240
SHELLBACK PLUMBING AND DRAIN INC         25030 AVENUE STANFORD STE 130 VALENCIA CA 91355-4524
SHELLY WASSEL                            ADDRESS ON FILE
SHELMON MOORE                            ADDRESS ON FILE
SHELTON LANDSCAPING                      2383 EAST 6550 SOUTH UINTAH UT 84405
SHELTON, MELISSA                         ADDRESS ON FILE
SHELTONS UNLIMITED MECHANICAL SERVICES   PO BOX 488 NORTH HIGHLANDS CA 95660
SHENANDOAH REFRIGERATION INC             362 WELLTOWN ROAD WINCHESTER VA 22603
SHENANDOAH VALLEY ELECTRIC CO-OP         PO BOX 70517 PHILADELPHIA PA 19176-0517
SHENANGO BEVERAGE                        ADDRESS ON FILE
SHENCORP INC                             PO BOX 2218 HARRISONBURG VA 22801-7624
SHENKER RUSSO AND CLARK LLP              121 STATE STREET 4TH FLOOR ALBANY NY 12207-1633
SHENKER, RUSSO & CLARK LLP               ATTN:THERESA M.RUSSO, ESQ;ERIN BRUCE 677 BROADWAY, 9TH FLOOR ALBANY NY 12207
SHENKER, RUSSO & CLARK LLP               ATTN: THERESA M.RUSSO, ESQ;ERIN BRUCE 677 BROADWAY, 9TH FLOOR ALBANY, NEW YORK
                                         12207 ALBANY NY 12207
SHENOUDA HANNA INC                       13923 PROSPECT ROAD STRONGSVILLE OH 44149



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SHEPHERD MECHANICAL LLC                6100 AMERICAN RD TOLEDO OH 43612-3902
SHEPHERD STAINLESS INC                 PO BOX 1358 BILLINGS MT 59103-1358
SHERALYN CALICOAT                      ADDRESS ON FILE
SHEREN PLUMBING & HEATING INC          3801 RENNIE SCHOOL ROAD TRAVERSE CITY MI 49685-8245
SHERI KUBLY                            ADDRESS ON FILE
SHERLEY FABRE                          ADDRESS ON FILE
SHERMAN, LANEIA                        ADDRESS ON FILE
SHERRI EVANS                           ADDRESS ON FILE
SHERRI MCNAUGHTON                      ADDRESS ON FILE
SHERRY DISTRIBUTORS INC                812 WATER STREET MEADVILLE PA 16335
SHERRY ELLIOTT                         ADDRESS ON FILE
SHERYLE SEMANCO SEIFERT                ADDRESS ON FILE
SHEYLA RODRIGUEZ                       ADDRESS ON FILE
SHIPLEY RENOVATION CO                  29 VIRGILWOOD CRES BARRIE ON L4M 4X6 CANADA
SHIPPS ENTERPRISES INC                 5304 BURKETT CT LOUISVILLE KY 40291
SHIRTS, JOHNNIE                        ADDRESS ON FILE
SHL US LLC                             PO BOX 358152 PITTSBURGH PA 15251-5152
SHOALS MPE SERVICES LLC                DBA MPE SERVICES 3311 COUNTY ROAD 47 FLORENCE AL 35630-8933
SHOALS PRESSURE WASHING INC            PO BOX 321 FLORENCE AL 35631-0321
SHOALS SECURITY ASSOCIATES INC         DBA SECURITY LOCK AND KEY 1709 N WOOD AVENUE FLORENCE AL 35630
SHOCK A DOO ELECTRIC INC               3270 E WILLOW ST SIGNAL HILL CA 90755-2309
SHOCKLEY, NADIA                        ADDRESS ON FILE
SHODA, CLAUDIA                         ADDRESS ON FILE
SHOOPS ENTERPRISES INC                 DBA SHOOPS TEXAS TERMITE & PEST CONTROL 2703 AVENUE U WICHITA FALLS TX
                                       76308-1733
SHOP TOWNE CENTER INC                  DEPT LA 24131 PASADENA CA 91185-4131
SHOPPES AT SOLANA LLC                  ATTN ENOCH KIMMELMAN PO BOX 1022 EL PASO TX 79946-1022
SHORE CLEAN SOLUTIONS                  PO BOX 216 QUANTICO MD 21856-0216
SHORE POINT DISTRIBUTING CO INC        BOX 275 ADELPHIA NJ 07710
SHORELINE PLUMBING CO                  1954 SARATOGA BOULEVARD CORPUS CHRISTI TX 78417
SHOREWAY BEVERAGE                      4169 LAKE ROAD SHEFFIELD LAKE OH 44054
SHORTY WALLIN & SON LOCK SHOP          345 WOODLAND ROAD HAMPTON VA 23669
SHOUEY, COURTNEY                       ADDRESS ON FILE
SHOWCASE APPLIANCE REPAIR INC          157 1/2 E 3900 S SALT LAKE CITY UT 84107
SHREEJI REALTY INC                     32 OAK HILL TER FELTON DE 19943-5531
SHUTTS & BOWED LLP                     ATTN: BRENDAN ALOYSIUS BARRY, ESQ. 200 EAST BROWARD BLVD., SUITE 2100 FORT
                                       LAUDERDALE FL 33301
SHWADERS LAWN CARE AND LANDSCAPE LLC   PO BOX 23613 RICHFIELD MN 55423-0613
SIABB INC                              DBA ENVIRO MASTER OF TULSA 3168 S 108TH EAST AVE STE 380 TULSA OK 74146-1622
SIBERT, MARY                           ADDRESS ON FILE
SICILIAN GROUND SERVICES INC           2806 W TOUHY AVENUE CHICAGO IL 60645
SICILIANO LANDSCAPE COMPANY LLC        247 BRIDGE ROAD SUITE 6 RED BANK NJ 07701-1474
SIDEROPOULOS, EFTHALIA                 ADDRESS ON FILE
SIDNEY SCOTT ELLINGTON                 ADDRESS ON FILE
SIEB PLUMBING & HEATING INC            303 EAST FRONT STREET MONROE MI 48161
SIEGEL AND MOSES PC                    ATTN: ZUBIN KAMMULA PRESIDENT'S PLAZA 8700 W. BRYN MAWR, SUITE 720N CHICAGO IL
                                       60631
SIEGEL AND MOSES PC                    8700 W. BRYN MAWR SUITE 720N CHICAGO IL 60631
SIERRA CEDAR LLC                       DBA SIERRA CEDAR PO BOX 402521 ATLANTA GA 30384-2521
SIERRA SALTWATER SYSTEMS INC           PO BOX 1692 CARNELIAN BAY CA 96140-1692


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SIERRA WELDING SUPPLIES INC              DBA AIRMIX WELDING SUPPLY PO BOX 962077 EL PASO TX 79996-2077
SIFT SCIENCE INC                         525 MARKET STREET 6TH FLOOR SAN FRANCISCO CA 94105-2714
SIGN & LIGHTING SERVICE LLC              DBA YESCO SIGN & LIGHTING N5528 MIRANDA WAY FOND DU LAC WI 54937-9105
SIGN A RAMA BRAMPTON                     1625 STEELES AVE EAST 9-11 BRAMPTON ON L6T 4T7 CANADA
SIGN CENTER INC                          1806 CENTRAL AVENUE KEARNEY NE 68847
SIGN GURU                                ADDRESS ON FILE
SIGNATURE LANDSCAPE LLC                  PO BOX 14578 OKLAHOMA CITY OK 73113-0578
SIGNATURE LANDSCAPES LLC                 1084 BAKER LANE NICHOLASVILLE KY 40356
SIGNATURE SIGNS INC                      1736 US 31W BYPASS BOWLING GREEN KY 42101-3031
SIGNCO INCORPORATED                      3101 NORTHWEST PARK DRIVE KNOXVILLE TN 37921-1033
SIGNCORP INVESTMENTS LTD                 DBA NEON SALES & SERVICE UNIT 105, 3425 29TH STREET NORTHEAST CALGARY ON T1Y
                                         5W4 CANADA
SIGNMAKERS OF HARDIN COUNTY INC          326 EAST DIXIE AVENUE ELIZABETHTOWN KY 42701
SIGNS AND WONDERS LLC                    DBA YESCO SIGN SERVICE LLC PO BOX 338 PADEN OK 74860-0338
SIGNS N AT LLC                           1617B S BRADDOCK AVE PITTSBURGH PA 15218-1663
SIGNS OF SUCCESS INC.                    2350 SKYWAY DR STE 10 SANTA MARIA CA 93455-1532
SIGNS UNLIMITED II                       1401 S FRONT ST MARQUETTE MI 49855-5142
SIGNSMITH INC                            PO BOX 2065 GREENVILLE NC 27836-0065
SIGURJONSSON & THOR EHF                  LAGMULA 7 REYKJAVIK ISLANDI 108 ICELAND
SILLIKER INC                             3155 PAYSPHERE CIRCLE CHICAGO IL 60674
SILVA, VANESSA                           ADDRESS ON FILE
SILVER SPIRITS                           1482 N PORTAGE PATH AKRON OH 44313
SILVER SPRING SERIES A SERIES OF         OWLS NEST PROPERTIES LLC 4204 PYLES FORD RD GREENVILLE DE 19807-1734
SILVER SPRING SERIES,                    A SERIES OF OWLS NEST PROPERTIES, LLC ATTN: ARCHITE E. SIMMONS, JR. 4204 PYLES
                                         FORD ROAD GREENVILLE DE 19807
SILVER SPRING WINE & LIQUOR              8715 COLESVILLE ROAD SILVER SPRING MD 20910
SILVER STATE PLUMBING                    4535 COPPER SAGE ST LAS VEGAS NV 89115
SILVER STATE REFRIGERATION & HVAC LLC    4535 COPPER SAGE ST LAS VEGAS NV 89115-1878
SILVERBEL LANDSCAPING SNOW PLOWING LTD   9A GARDEN AVE BRAMPTON ON L6X 1M4 CANADA
SILVERDALE WATER DISTRICT                PO BOX 3751 SEATTLE WA 98124-3751
SIMMONS GRAPHICS LLC                     DBA SIMMONS SIGN & GRAPHICS 1517 W GRAND AVE GADSDEN AL 35904-8233
SIMMONS JANNACE DELUCA, LLP              ATTN:SAL DELUCA 43 CORPORATE DRIVE HAUPPAUGE NY 11788
SIMON PROP GRP TX LP                     867728 RELIABLE PARKWAY CHICAGO IL 60686-0079
SIMON PROPERTY GROUP LP                  DBA EMPIRE MALL LLC PO BOX 775906 CHICAGO IL 60677-5906
SIMON ROOFING AND SHEET METAL CORP       PO BOX 951109 CLEVELAND OH 44193
SIMON TAVAREG                            ADDRESS ON FILE
SIMONE BYRD                              ADDRESS ON FILE
SIMONIAN FAMILY 2008 TRUST               ADDRESS ON FILE
SIMPLELEGAL INC                          1360 POST OAK BLVD STE 2200 HOUSTON TX 77056-3030
SIMPSON MECHANICAL & CONTRACTING SVCS    1344 GLENHILL LN LEWISVILLE TX 75077-2830
SIMS, SHALYNN                            ADDRESS ON FILE
SIMS, SHARON                             ADDRESS ON FILE
SIMSERV INC                              DBA SOLUTIONS WINDOW CLEANING PO BOX 86 QUEENSTOWN MD 21658-0086
SINGULAR LABS INC                        C/O ESCALON SERVICES 2345 YALE STREET 1ST FLOOR PALO ALTO CA 94306-1449
SINOCO INC                               DBA SIGN WORKS 105 E BRAZOS VICTORIA TX 77901
SIONELAVA LEOTA                          ADDRESS ON FILE
SIOUX CITY POLICE DEPT                   601 DOUGLAS ST SIOUX CITY IA 51101
SIOUX CITY SPRINKLER INC                 PO BOX 641 SERGEANT BLUFF IA 51054
SIOUX FALLS HEALTH DEPARTMENT            HEALTH DEPARTMENT 814 JEFFERSON AVENUE FIFTH FLOOR SIOUX FALLS SD 57104-6419



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SIOUX FALLS HEALTH DEPT                132 NORTH DAKOTA AVENUE SIOUX FALLS SD 57104-6419
SIOUX FALLS UTILITIES                  224 W 9TH ST PO BOX 7401 SIOUX FALLS SD 57117-7401
SIOUXLAND CARPET CLEANING              PO BOX 3072 SIOUX CITY IA 51102
SIOUXLAND DISTRICT HEALTH DEPARTMENT   205 FIFTH ST SIOUX CITY IA 51101
SIRNA & SONS INC                       MAINLINE PRODUCE 7176 STATE ROUTE 88 RAVENNA OH 44266
SJ FARMS                               DBA SJ UPHOLSTERY 17035 CLOVERLAND RD ASOTIN WA 99402-9726
SJPJ LLC                               DBA FISH WINDOW CLEANING 3214 STRONG AVE KANSAS CITY KS 66106-2116
SKIDMORE SERVICES LLC                  DBA MR HANDYMAN OF THE WICHITA METRO AREA 535 N TYLER RD WICHITA KS 67212-3632
SKY ENTERPRISES INC                    DBA CHANGING TIDE AQUATICS 311 E FOULKE AVE STE 1 FINDLAY OH 45840-4619
SKY VALLEY EQUIPMENT LLC               C/O RICHARD D SIMS 10112 SOUTH MONSOON AVE YUMA AZ 85365-8108
SKYHY PROPERTY LLC                     1553 LUCRETIA AVE. LOS ANGELES CA 90026
SKYHY PROPERTY LLC                     2330 ROUTH DR ROWLAND HEIGHTS CA 91748-4859
SKYLAND DISTRIBUTING CO INC            PO BOX 17008 ASHEVILLE NC 28806
SKYLINE FIRE SOLUTIONS                 3018 SHAWNEE DR STE 1 WINCHESTER VA 22601-4320
SKYLINE ROOFING                        153 CROWN OAKS DR STOCKBRIDGE GA 30281-7111
SKYWAY CREATIONS UNLIMITED INC         DBA SKYWAY GREENERY PO BOX 38055 COLORADO SPRINGS CO 80937-8055
SLADE GORTON & CO INC                  PO BOX 0261 BRATTLEBORO VT 05302-0261
SLATERS INC                            1141 N MEMORIAL DR LANCASTER OH 43130-1749
SLAVEY, MARISSA                        ADDRESS ON FILE
SLEGGS DANZINGER AND GILL CO LPA       820 WEST SUPERIOR AVENUE 7TH FLOOR CLEVELAND OH 44113
SLM WASTE & RECYCLING SERVICES INC     PO BOX 782678 PHILADELPHIA PA 19178-2678
SMALL CLAIMS COURT                     47 SHEPPARD AVE EAST 3RD FLOOR TORONTO ON M2N 5N1 CANADA
SMART & BIGGAR                         PO BOX 2999 STATION D OTTAWA ON K1P 5Y6 CANADA
SMART & BIGGAR LLP                     PHILIP LAPIN 55 METCALFE ST., SUITE 900, OTTAWA ON K1P 6L5 CANADA
SMART CITY TELECOM                     PO BOX 733082 DALLAS TX 75373-3082
SMART SHAKK ELECTRICAL LLC             DBA ORLANDO EDWARDS 10423 169TH ST JAMAICA NY 11433-1731
SMARTBEAR SOFTWARE INC                 C/O DEPT 3247 PO BOX 123247 DALLAS TX 75312-3247
SMARTESTENERGY US LLC                  333 W WASHINGTON ST STE 140 ATTN: FINANCE DEPT SYRACUSE NY 13202
SMARTMARKETING CO                      TOWN SHOPPER 4406 BURKEY RD AUSTINTOWN OH 44515-3766
SMARTWAY ENTERPRISES LLC               DBA AQUATICARE PO BOX C HUNTSVILLE AR 72740-0070
SMBSIRIS LLC                           58 WAVERLY STREET BROOKLINE MA 02445
SMELSCER PLUMBING INC                  PO BOX 20551 WACO TX 76702-0551
SMIRAC FACILITY SOLUTIONS              2414 DEWDNEY AVENUE EAST SK S4N 4V5 CANADA
SMITH & SON LAWNCARE INC               PO BOX 6151 SPRINGHILL FL 34611
SMITH CONSTRUCTION INC                 DBA SMITH EXCAVATING & PAVING 4090 US HIGHWAY 41 WEST MARQUETTE MI 49855
SMITH COUNTY TAX COLLECTOR             PO BOX 2011 TYLER TX 75710
SMITH COUNTY TAX OFFICE                132 NORTH DAKOTA AVENUE TYLER TX 75710
SMITH COUNTY TAX OFFICE                PO BOX 2011 TYLER TX 75710
SMITH FAMILY TRUST DATED 1-7-1982      ADDRESS ON FILE
SMITH GRAPHICS INC                     DBA SIGN A RAMA DUBLIN 620 E JACKSON STREET DUBLIN GA 31021
SMITH LEGACY LLC                       C/O SHARON M FONG VP COMERICA BANK & TRUST NA CO-TRUSTEE 2321 ROSECRANS AVE
                                       5TH FLOOR EL SEGUNDO CA 90245-7902
SMITH RANCHES                          100 EAGLE NEST DR CHICO CA 95928-8344
SMITH, BENITA                          ADDRESS ON FILE
SMITH, BENNITA                         ADDRESS ON FILE
SMITH, DAWN                            ADDRESS ON FILE
SMITH, DERREON                         ADDRESS ON FILE
SMITH, DERRICK                         ADDRESS ON FILE
SMITH, ERICA, BARKSDALE, KHORI         ADDRESS ON FILE



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SMITH, GAYLE                             ADDRESS ON FILE
SMITH, KEANA                             ADDRESS ON FILE
SMITH, KENNETH                           ADDRESS ON FILE
SMITH, SANDRA                            ADDRESS ON FILE
SMITH, SARA                              ADDRESS ON FILE
SMITH, WILLIE                            ADDRESS ON FILE
SMITHCO WEST PALM BEACH INC              4420 GEORGIA AVENUE WEST PALM BEACH FL 33405
SMITHS SEWER SERVICE INC                 PO BOX 351 JOHNSTON IA 50131-0351
SML RELOCATION LLC                       DBA SML RELOCATION SML 750 N SAINT PAUL ST STE 250 DALLAS TX 75201-3206
SMOCK, PHIL                              ADDRESS ON FILE
SMS AMBASSADORS CORP                     3601 W ALEXIS RD STE 105 TOLEDO OH 43623-1347
SMUD                                     BOX 15555 SMUD SACRAMENTO CA 95852-1555
SMYRNA CITY TAX COLLECTOR                PO BOX 1226 SMYRNA GA 30081-1226
SNAGAJOB.COM INC                         32978 COLLECTIONS CENTER DRIVE CHICAGO IL 60693-0329
SNAVELY, DAVID                           ADDRESS ON FILE
SNEAD, QUEANA                            ADDRESS ON FILE
SNEHA KUMAR                              ADDRESS ON FILE
SNEL, MONIQUE                            ADDRESS ON FILE
SNIPES, CHERYL                           ADDRESS ON FILE
SNOHOMISH COUNTY PUD                     P.O. BOX 1100 EVERETT WA 98206
SNOHOMISH COUNTY TREASURER               PO BOX 34171 SEATTLE WA 98124-1171
SNOHOMISH HEALTH DISTRICT                FOOD SECTION 3020 RUCKER AVENUE SUITE 104 EVERETT WA 98201-3900
SNOWDEN SQUARE PHASE II                  RETAIL CENTER ASSOC INC C/O FEDDER MANAGEMENT CORPORATION 10096 RED RUN BLVD
                                         STE 300 OWINGS MILLS MD 21117-4632
SNOWDEN SQUARE PHASE II RETAIL           CENTER ASSOCIATION INC C/O FEDDER MANAGEMENT CORPORATION 10096 RED RUN BLVD
                                         STE 300 OWINGS MILLS MD 21117-4632
SNYDER BROTHERS INC. GAS MARKETING DIV   P.O. BOX 1022 KITTANNING PA 16201-1022
SNYDER ELECTRIC INC                      10555 GUILFORD RD UNIT 118 JESSUP MD 20794-9110
SNYDER SIGNS INC                         PO BOX 3647 JOHNSON CITY TN 37602-3647
SO-CAL ELECTRIC                          PO BOX 10688 PALM DESERT CA 92255
SOAK AND SHINE LLC                       DBA CHRISTOPHER MICHAEL ROWLAND 120 RIVERSIDE DR TALLASSEE AL 36078-1940
SOAKED LLC                               109 OLIVE ST LONE OAK TX 75453-9664
SOCAL ELECTRICAL AND LIGHTING INC        73700 DINAH SHORE DR STE 407 PALM DESERT CA 92211-0816
SOCAL GASKET GUY LLC                     DBA GASKET GUY 3460 MARRON RD STE 103-345 OCEANSIDE CA 92056-4675
SOCAL MICRO INC                          5140 E LA PALMA AVENUE 102 ANAHEIM HILLS CA 92807
SOCHACKI, MARGARET                       ADDRESS ON FILE
SOCIAL VOCATIONAL SERVICES INC           DBA EMPLOY AMERICA ATTN CCB ACCOUNTS RECEIVABLE 3555 TORRANCE BOULEVARD
                                         TORRANCE CA 90503
SOCIE, RANDY, SOCIE, DEBBIE              ADDRESS ON FILE
SOCRATES INVESTMENTS INC                 C/O KAUFMAN ROSSIN AND CO ATTN S DEMAR MIAMI FL 33133-5344
SOCRATES INVESTMENTS INC                 C/O KAUFMAN ROSSIN AND CO ATTN S DEMAR 3310 MARY ST STE 501 MIAMI FL
                                         33133-5344
SOCRATES INVESTMENTS INC.                ATTN: S. DEMAR C/O KAUFMAN, ROSSIN & CO. 3310 MARY STREET, SUITE 501 MIAMI FL
                                         33133
SOCRATIC TECHNOLOGIES INC                18 SHORELINE DR STRATFORD CT 06615-7704
SOFIANE B ZAREB                          ADDRESS ON FILE
SOLANO COUNTY                            PO BOX 2011 FARIFIELD CA 94533-6341
SOLANO COUNTY                            C/O DEPARTMENT OF RESOURCE MANAGEMENT 675 TEXAS STREET SUITE 5500 FARIFIELD CA
                                         94533-6341
SOLANO COUNTY TAX COLLECTOR              675 TEXAS ST STE 1900 FAIRFIELD CA 94533-6337


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SOLANO COUNTY TREASURY                 PO BOX 51094 LOS ANGELES CA 90051-5394
SOLANO GLASS COMPANY INCORPORATED      1230 WESTERN STREET SUITE D FAIRFIELD CA 94533-2479
SOLESKY, TANDY                         ADDRESS ON FILE
SOLID WASTE AUTHORITY                  PO BOX 1664 CONWAY SC 29528-1664
SOLID WASTE SYSTEMS INC                C/O SWS EQUIPMENT PO BOX 13040 SPOKANE WA 99213-3040
SOLITUDE LANDSCAPING LLC               PO BOX 100 DAYTON OR 97114
SOLOMON CONTAINER SERVICE              495 STANTON ST WILKES-BARRE PA 18702
SOLOMON RIVERS                         ADDRESS ON FILE
SOLOMON WRIGHT (MINOR), LYDIA WRIGHT   ADDRESS ON FILE
SOME BEACH LTD                         DBA DENVER SNOW AND COMMERCIAL PROPERTY SERVICES 10940 S PARKER RD 408 PARKER
                                       CO 80134
SOMERSET COUNTY EQEF                   DBA COUNTY OF SOMERSET DEPARTMENT OF PUBLIC HEALTH & SAFETY PO BOX 3000
                                       SOMERVILLE NJ 08876-1262
SOMETHING FISHY INC                    1185 JEFFERSON BLVD WARWICK RI 02886-2253
SOMGIAT & BOONMA LAW OFFICE LTD. (DS&B) NATHAPONG TONGKAEW 719 SI PHRAYA ROAD, BANGRAK BANGKOK 10500 THAILAND
SOMO VERTICALS INC                     DBA JAN PRO OF THE OZARKS 1985 W HILLTOP RD OZARK MO 65721-6639
SON, HAI                               ADDRESS ON FILE
SONAR BONAR LLC                        4712 W LEILA AVE TAMPA FL 33616-1010
SONIA MEDINA                           ADDRESS ON FILE
SONITROL OF STOCKTON                   PO BOX 9189 FRESNO CA 93791-9189
SONOMA COUNTY PUBLIC HEALTH DPT        C/O DEPARTMENT OF RESOURCE MANAGEMENT 675 TEXAS STREET SANTA ROSA CA CA
                                       95403-2067
SONOMA COUNTY PUBLIC HEALTH DPT        1030 CENTER DR SUITE A SANTA ROSA CA CA 95403-2067
SONOMA COUNTY TAX COLLECTOR            585 FISCAL DRIVE STE 100 SANTA ROSA CA 95403
SOOKRAJ, MARLO                         ADDRESS ON FILE
SOON CHUN NANCI PAK                    ADDRESS ON FILE
SOS HEATING AND COOLING                2384 ST CLAIR AVE W TORONTO ON M6N 1L1 CANADA
SOS MAINTENANCE INC                    PO BOX 601 BROOKLYN NY 11237
SOTELO JANITORIAL SERVICE              JUAN M SOTELO 5665 BETH VIEW DR EL PASO TX 79932-1422
SOTHERN PLUMBING LLC                   1841-A N NEWTON AVE SPRINGFIELD MO 65803-1825
SOUTH BROWARD DRAINAGE DISTRICT        6591 SW 160TH AVENUE SOUTHWEST RANCHES FL 33331
SOUTH CAROLINA DEPARTMENT OF           CONSUMER AFFAIRS 293 GREYSTONE BLVD STE 400 COLUMBIA SC 29210
SOUTH CAROLINA DEPARTMENT OF HEALTH    & ENVIRONMENTAL CONTROL BUREAU OF FINANCE 301 GERVAIS STREET COLUMBIA SC
                                       29201-3073
SOUTH CAROLINA DEPARTMENT OF HEALTH    & ENVIRONMENTAL CONTROL BUREAU OF FINANCE 1011 COOPER ST COLUMBIA SC
                                       29201-3073
SOUTH CAROLINA DEPT OF LABOR,          LICENSING AND REGULATION 110 CENTERVIEW DR COLUMBIA SC 29210
SOUTH CAROLINA DEPT OF REVENUE         300A OUTLET POINTE BOULEVARD COLUMBIA SC 29210
SOUTH CAROLINA DEPT OF REVENUE         ATTN: MISCELLANEOUS TAX SECTION PO BOX 125 COLUMBIA SC 29214
SOUTH CAROLINA DEPT OF REVENUE         ALCOHOLIC BEVERAGE LICENSING PO BOX 125 COLUMBIA SC 29214
SOUTH CAROLINA ELECTRIC & GAS          1400 LADY STREET COLUMBIA SC 29201
SOUTH CAROLINA LAW ENFORCEMENT         PO BOX 21398 COLUMBIA SC 29221
SOUTH CAROLINA PUBLIC SERVICE AUTHORITY SANTEE COOPER 1703 OAK STREET MYRTLE BEACH SC 29577
SOUTH CAROLINA STATE TREASURY          UNCLAIMED PROPERTY PROGRAM 1200 SENATE ST, ROOM 214 COLUMBIA SC 29201
SOUTH CENTRAL JUNK REMOVAL LLC         NATHANIEL S GUSTAMANTE 133 BLUE EARTH ST MANKATO MN 56001-2116
SOUTH CENTRAL POWER CO, OH             PO BOX 182058 COLUMBUS OH 43218-2058
SOUTH COAST AQMD                       PO BOX 4943 DIAMOND BAR CA 91765-0943
SOUTH DAKOTA DEPT OF ENVIRONMENT       & NATURAL RESOURCES 523 E CAPITOL AVE PIERRE SD 57501
SOUTH DAKOTA DEPT OF HEALTH            523 EAST CAPITAL PIERRE SD 57501
SOUTH DAKOTA DEPT OF LABOR             AND REGULATION PO BOX 4730 ABERDEEN SD 57402-4730


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SOUTH DAKOTA DEPT OF LABOR & REGULATION 123 W MISSOURI AVE PIERRE SD 57501-0405
SOUTH DAKOTA DEPT OF REVENUE             BUSINESS TAX DIVISION 445 E CAPITOL AVE PIERRE SD 57501-3100
SOUTH DAKOTA OFFICE OF ATTORNEY GENERAL CONSUMER PROTECTION 1302 E HWY 14 STE 3 PIERRE SD 57501
SOUTH DAKOTA STATE TREASURY              UNCLAIMED PROPERTY DIVISION SD STATE TREASURER 500 E CAPITOL AVE, STE 212
                                         PIERRE SD 57501-5070
SOUTH EAST TN - HAULING LLC              DBA APRIL RENE LYALL 5401 BRISTOL HWY PINEY FLATS TN 37686-5224
SOUTH FLORIDA WATER AND MOLD             DBA DAVIE CARPET CLEANING 1221 STIRLING ROAD 113 DANIA BEACH FL 33004
RESTORATION
SOUTH FORKS ASSOCIATES                   C/O TKG MANAGEMENT INC 211 N STADIUM BLVD STE 201 COLUMBIA MO 65203
SOUTH JERSEY GAS COMPANY                 PO BOX 6091 BELLMAWR NJ 08099-6091
SOUTH JERSEY WATER CONDITIONING SVC INC & RAINBOW SPRINKLERS INC 760 SHILOH PIKE BRIDGETON NJ 08302
SOUTH KING FIRE & RESCUE                 1030 CENTER DR SUITE A ROSEVILLE CA 95678-0548
SOUTH KING FIRE & RESCUE                 C/O FIRE RECOVERY USA, LLC PO BOX 548 ROSEVILLE CA 95678-0548
SOUTH LAKE CHAMBER OF COMMERCE           620 W MONTROSE STREET CLERMONT FL 34711
SOUTH MIDTOWN PROPERTIES LLC             C/O WEIYE LIN 1155 SWEETWATER DR RENO NV 89509-5250
SOUTH MIDTOWN PROPERTIES LLC             ATTN: WEIYE LIN 1155 SWEETWATER DRIVE RENO NV 89509-5250
SOUTH PLAINFIELD HEALTH DEPARTMENT       C/O FIRE RECOVERY USA, LLC PO BOX 548 PLAINFIELD NJ 07080
SOUTH PLAINFIELD HEALTH DEPT             2480 PLAINFIELD AVE PLAINFIELD NJ 07080
SOUTH SOUND ELECTRIC INC                 PO BOX 937 PORT ORCHARD WA 98366
SOUTH STRABANE TOWNSHIP                  2480 PLAINFIELD AVE WASHINGTON PA 15301
SOUTH STRABANE TOWNSHIP                  POLICE DEPT 9 SMITH DRIVE WASHINGTON PA 15301
SOUTH STRABANE TOWNSHIP TAX COLLECTOR    LAURA KEISLING 550 WASHINGTON WASHINGTON PA 15301
SOUTH TEXAS RESTAURANT EQUIPMENT INC     433 MC CAMPBELL ROAD CORPUS CHRISTI TX 78408-2407
SOUTH UNION TOWNSHIP TAX COLLECTOR       VERNON THOMAS 65 LEBANON AVE UNIONTOWN PA 15401
SOUTH UNION TOWNSHIP, PA                 PO BOX 2047 SEWAGE AUTHORITY UNIONTOWN PA 15401
SOUTHAM, AARON                           ADDRESS ON FILE
SOUTHEAST ALABAMA GAS DISTRICT           102 LESTER DRIVE ENTERPRISE AL 36330
SOUTHEAST COMMERCIAL SERVICES OF GA LLC PO BOX 8747 ATLANTA GA 31106-0747
SOUTHEAST GAS - DOTHAN                   PO BOX 1298 ANDALUSIA AL 36420-1223
SOUTHEAST MECHANICAL INC                 25 SW 3RD STREET CHATFIELD MN 55923
SOUTHEASTERN COOLING INC                 3935 REEVES ST STE 4 DOTHAN AL 36303-2334
SOUTHEASTERN DIST HEALTH DEPARTMENT      465 MEMORIAL DRIVE POCATELLO ID 83201
SOUTHERN AIR INC                         PO BOX 4205 LYNCHBURG VA 24502
SOUTHERN BEVERAGE COMPANY INC            1939 DAVIS JOHNSON DRIVE RICHLAND MS 39218
SOUTHERN CALIFORNIA EDISON               545 N. RIMSDALE AVENUE SUITE 6109 COVINA CA 91722
SOUTHERN CALIFORNIA EDISON               P.O. BOX 600 ROSEMEAD CA 91771-0001
SOUTHERN CALIFORNIA GAS                  THE GAS COMPANY PO BOX C MONTEREY PARK CA 91756
SOUTHERN CONNECTICUT GAS                 PO BOX 847819 BOSTON MA 02284-7819
SOUTHERN EC ELECTRICAL CONTRACTORS INC   68 OAKLEY HOLLOW PATH DALLAS GA 30132-9128
SOUTHERN GASKETS LLC                     5510 E DIVISION ST SUITE 110 MT JULIET TN 37122-3163
SOUTHERN GLAZERS WINE AND SPIRITS LLC    DBA SOUTHERN GLAZERS OF WA 1025 VALLEY AVE NW PUYALLUP WA 98371
SOUTHERN GROUNDWORKS INC                 PO BOX 1924 ASHEBORO NC 27204
SOUTHERN HISTORICAL NEWS INC             PO BOX 1068 HIRAM GA 30141
SOUTHERN HOSPITALITY INC                 4239 SUNBEAM RD STE 5 JACKSONVILLE FL 32257-8822
SOUTHERN LIGHTING SERVICES INCORPORATED PO BOX 7599 OCEAN ISLE BEACH NC 28469
SOUTHERN LOCK AND SUPPLY CO              PO BOX 1980 PINELLAS PARK FL 33780-1980
SOUTHERN MARYLAND ELECTRIC COOP          PO BOX 62261 BALTIMORE MD 21264-2261
SOUTHERN NEVADA HEALTH DISTRICT          PO BOX 845688 LOS ANGELES CA 90084-5688
SOUTHERN OREGON WINDOW CLEANING INC      817 N CENTRAL AVE SUITE E MEDFORD OR 97501



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SOUTHERN PLUMBING & PIPING INC           DBA SOUTHERN PLUMBING & HEATING INC 435 EAST BURNETT AVENUE LOUISVILLE KY
                                         40217-1053
SOUTHERN PRIDE LANDSCAPING &             200 N 13TH ST OPELIKA AL 36801-4818
MAINTENANCE
SOUTHERN ROOFING LLC                     2843 W TVA RD WEST POINT MS 39773-9099
SOUTHERN WINE & SPIRITS PACIFIC          NORTHWEST HOLDINGS LLC DBA SOUTHERN WINE DISTRIBUTORS OF IDAHO PO BOX 24663
                                         SEATTLE WA 98124-0663
SOUTHGATE CITY TREASURER                 14400 DIX-TOLEDO RD SOUTHGATE MI 48195
SOUTHGATE WATER DEPARTMENT, MI           14400 DIX-TOLEDO ROAD SOUTHGATE MI 48195
SOUTHLANDS COLORADO LLC                  DBA SOUTHLANDS METRO DISTRICT 1 C/O RAMONA PADILLA 8390 E CRESCENT PKWY STE
                                         300 GREENWOOD VILLAGE CO 80111-2813
SOUTHSIDE MECHANICAL SERVICES INC        PO BOX 11210 DANVILLE VA 24543
SOUTHSIDE PLUMBING INC                   2230 SOUTH 27TH ST OMAHA NE 68105
SOUTHWASTE DISPOSAL LLC                  PO BOX 53988 LAFAYETTE LA 70505-3988
SOUTHWEST GAS                            PO BOX 24531 OAKLAND CA 94623-1531
SOUTHWEST LOCK & SAFE LLC                3225 S WADSWORTH BLVD UNIT D LAKEWOOD CO 80227-5009
SOUTHWEST MECHANICAL HVAC &              REFRIGERATION LLC 21532 STATE HIGHWAY 86 CASSVILLE MO 65625-4114
SOUTHWEST POWER WASHING LLC              PO BOX 2822 FARMINGTON NM 87499-2822
SOUTHWEST REGIONAL TAX BUREAU            POLICE DEPARTMENT 9 SMITH DRIVE SCOTTDALE PA 15683
SOUTHWEST REGIONAL TAX BUREAU            ONE CENTENNIAL WAY SCOTTDALE PA 15683
SOUTHWEST UTAH PUBLIC HEALTH             88 E FIDDLERS CANYON RD STE H CEDAR CITY UT 84720
SOUTHWEST WATER TREATMENT LLC            DBA KINETICO WATER SYSTEMS 643 E 18TH PLACE YUMA AZ 85365
SOUTHWESTERN CTRL SCHOOL TAX COLLECTOR   DEPT 1640 PO BOX 986500 BOSTON MA 02298-6500
SOUTHWESTERN ELECTRIC POWER              PO BOX 371496 PITTSBURGH PA 15250-7496
SOUTHWESTERN ELECTRIC POWER COMPANY      AMERICAN ELECTRIC POWER CO. 1 AEP WAY HURRICANE WV 25526
SOWERS & WOLF LLC                        DBA SILVERSTEIN WOLF LLC 530 MARYVILLE CENTRE DR STE 460 SAINT LOUIS MO
                                         63141-5800
SPADA PROPERTIES INC                     DBA UNITED SALAD CO 8448 NE 33RD DR STE 100 PORTLAND OR 97211-2105
SPADEA INC                               C/O NURAN STEHMERS EXECUTOR OF THE ESTATE OF JOHN D LAGRECO FAIRFIELD CT
                                         06824-1755
SPADEA INC                               C/O NURAN STEHMERS EXECUTOR OF THE ESTATE OF JOHN D LAGRECO 2177 CROSS HWY
                                         FAIRFIELD CT 06824-1755
SPADEA, INC.                             ATTN: NURAN STEHMER EXECUTOR OF THE ESTATE OF JOHN LAGRECO 2177 CROSS HIGHWAY
                                         FAIRFIELD CT 06824
SPANKYS DRAIN & SEWER SERVICE INC        PO BOX 71475 TUSCALOOSA AL 35407-1475
SPARE HUSBAND INC                        1708 CENTRAL AVENUE NE EAST GRAND FORKS MN 56721
SPARKIES ELECTRIC                        1637 COLLEGE PARK DRIVE PETERBOROUGH ON K9K 2G7 CANADA
SPARKLE PRO-CLEAN INC                    1904 S NIAGARA STREET SAGINAW MI 48602
SPARKLE WINDOW CLEANING INC              PO BOX 976 CORAM NY 11727
SPARKLED CLEANING SERVICES LLC           9127 CHANDLER DR GROVELAND FL 34736-7901
SPARKLIGHT                               PO BOX 78000 PHOENIX AZ 85062-8000
SPARKS, SMOKEY                           ADDRESS ON FILE
SPARTANBURG COUNTY TREASURER             PO BOX 100260 COLUMBIA SC 29202-3260
SPARTANBURG PUBLIC SAFETY DEPARTMENT     P O BOX 1746 SPARTANBURG SC 29304
SPARTANBURG WATER SYSTEM                 P.O. BOX 251 SPARTANBURG SC 29304-0251
SPD ENTERPRISES LLC                      DBA AIRE MASTER OF CENTRAL MISSOURI PO BOX 562 SULLIVAN MO 63080-0562
SPEAR MANAGEMENT LLC                     114 STEPHENS FARM DR CANTON GA 30115-1104
SPEARS LAWN CARE LLC                     3900 ELIDA RD ELIDA OH 45807-1545
SPECIAL 'T' WATER SYSTEMS INC            PO BOX 165 WHITTIER CA 90608-0165
SPECIAL TAX COLLECTOR                    220 HIGHFIELD AVE JOHNSTOWN PA 15904



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SPECIALIZED COMMERCIAL SERVICES INC     DBA SPECIALIZED COMMERCIAL EQUIP SVC 303 E GURLEY STREET 460 PRESCOTT AZ 86301
SPECIALIZED INVENTORY SERVICE INC       DBA PROELITE WINDOW CLEANING 9711 VALPARAISO DR STE C MUNSTER IN 46321-2910
SPECS LIQUOR                            1111 JACKSBORO HWY FORT WORTH TX 76107
SPECTACULAR CARPET CLEANING &           SVCS DBA LENROY WHITTAKER 4630 S KIRKMAN RD 405 ORLANDO FL 32811-2833
SANITATION
SPECTRUM                                PO BOX 6030 CAROL STREAM IL 60197-6030
SPECTRUM BRANDS PET LLC                 32854 COLLECTION CENTER DRIVE CHICAGO IL 60693-0328
SPECTRUM MECHANICAL                     8912 47 1/2 AVE N MINNEAPOLIS MN 55428-4444
SPECTRUM ON BROADWAY - ELECTRICAL       MAINTENANCE INC 61-06 34TH AVENUE WOODSIDE NY 11377
SPEED LOCKSMITH                         1582 EDGEWOOD AVE ROCHESTER NY 14618-5411
SPEEDWAY95 LLC                          ATTN WILLIAM EDMISTON PO BOX 130 LAKE FOREST IL 60045
SPEEDY ROOTER INC.                      PO BOX 6337 CHARLOTTESVILLE VA 22906-6337
SPEEDY VINYL                            765 TOWNSEND AVENUE WINNIPEG MB R3T 2V5 CANADA
SPENCER DEVELOPMENT LLC                 ATTN BASS SPENCER ACCOUNT C/O MILLER BALES & CUNNINGHAM 1603 CHAPEL HILL RD
                                        STE 203 COLUMBIA MO 65203-5511
SPENCER M MOELLER                       ADDRESS ON FILE
SPENCER REAL ESTATE LLC                 DBA BASS SPENCER ACCOUNT C/O MILLER BALES & CUNNINGHAM 1603 CHAPEL HILL RD STE
                                        203 COLUMBIA MO 65203-5511
SPENCER T HARRIS                        ADDRESS ON FILE
SPENCERS CONTRACTING LLC                6736 LANGLEY DR BATON ROUGE LA 70809-5178
SPENUZZA INC                            DBA IMPERIAL MANUFACTURING 1128 SHERBORN STREET CORONA CA 92879-2089
SPG INTERNATIONAL LLC                   DEPT CH 19355 PALATINE IL 60055-9355
SPIDER DUCT & CARPET CLEANING           221 CLIPPER COURT KINGSTON ON K7K 0E8 CANADA
SPIELBERGER LAW GROUP LLC               4890 W. KENNEDY BLVD SUITE 950 TAMPA FL 33609
SPIRE/ATLANTA                           PO BOX 932299 ATLANTA GA 31193-2299
SPIRE/BIRMINGHAM                        PO BOX 2224 BIRMINGHAM AL 35246-0022
SPIRE/ST LOUIS                          DRAWER 2 ST LOUIS MO 63171
SPIRIT ENTERPRISES OF OREGON INC        DBA STAN THE HOTWATER MAN PO BOX 33157 PORTLAND OR 97292-3157
SPIRIT REALTY LP                        C/O SPIRIT MASTER FUNDING IX LLC PO BOX 206453 DALLAS TX 75320-6453
SPM ACQUISITION LLC                     ATTN: CHRIS SAFAYA 40 FULTON STREET, 17TH FLOOR NEW YORK NY 10038
SPM ACQUISITION LLC                     ATTN: SPINOSA REAL ESTATE GROUP 112 NORTHERN CONCOURSE NORTH SYRACUSE NY 13212
SPM ACQUISITION LLC                     ATTN: GENERAL MANAGER 500 SOUTHPARK CENTER STRONGVILLE OH 44136
SPM ACQUISITION LLC                     C/O ATTN OFFICE COORDINATOR 500 SOUTHPARK CTR STRONGSVILLE OH 44136-9320
SPOKANE COUNTY HEALTH DISTRICT          ONE CENTENNIAL WAY SPOKANE WA 99201-2095
SPOKANE COUNTY HEALTH DISTRICT          1101 WEST COLLEGE AVENUE SUITE 402 SPOKANE WA 99201-2095
SPOKANE COUNTY TREASURER                PO BOX 199 SPOKANE WA 99210
SPOKANE FIRE & WATER RESTORATION        1101 WEST COLLEGE AVENUE SUITE 402 SPOKANE VALLEY WA 99206-5284
SPOKANE FIRE & WATER RESTORATION        10723 E 39TH LN SPOKANE VALLEY WA 99206-5284
SPOOR FISHER                            JULI HOPFPIETER DELPORT POST PO BOX 454 PRETORIA 0001 SOUTH AFRICA
SPOOR FISHER                            JULI HOPFPIETER DELPORT 11 BYLS BRIDGE BLVD, BLDG NO. 14 HIGHVELD EXT 73,
                                        CENTURION PRETORIA 0157 SOUTH AFRICA
SPOORNA HOLDINGS LLC                    ATTN: SHASHIKANT PATIL 125 JENNINGS MILL PKWY., APT 7108 ATHENS GA 30606
SPORTS ARENA VILLAGE LTD                C/O THE WHEATCROFT COMPANY 3760 SPORTS ARENA BLVD STE 14 SAN DIEGO CA
                                        92110-5134
SPORTS PROMOTION NETWORK                PO BOX 156387 FORT WORTH TX 76155-1387
SPOTLESS WINDOWS LLC                    DBA FISH WINDOW CLEANING PO BOX 71312 HENRICO VA 23255-1312
SPOTSYLVANIA COUNTY HEALTH DEPARTMENT   10723 E 39TH LN SPOTSYLVANIA VA 22553
SPOTSYLVANIA COUNTY HEALTH DEPARTMENT   PO BOX 126 SPOTSYLVANIA VA 22553
SPOTSYLVANIA COUNTY TREASURER           PO BOX 9000 SPOTSYLVANIA VA 22553
SPOTSYLVANIA TOWNE CENTER               C/O CAFCO LOCKBOX BOND FUND LP PO BOX 7535 CAROL STREAM IL 60197-7535


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SPRIGGS DISTRIBUTING CO INC-WEST DIV   140 THIRD AVE WEST HUNTINGTON WV 25701
SPRIGGS DISTRIBUTING CO LLC-CENTRAL DIV 1 CHILDRESS PLACE SOUTH CHARLESTON WV 25309
SPRING ISD TAX OFFICE                  PO BOX 676511 DALLAS TX 75267
SPRING VALLEY RESOURCES INC            DBA COLUMBIA LOCK AND SAFE 2101 W BROADWAY STE 103-201 COLUMBIA MO 65203-7632
SPRINGETTSBURY TOWNSHIP                PO BOX 126 YORK PA 17402
SPRINGETTSBURY TOWNSHIP                1501 MT ZION RD YORK PA 17402
SPRINGFIELD PEPSI-COLA BOTTLING CO     2900 SINGER AVE SPRINGFIELD IL 62703-2135
SPRINGFIELD SIGN & GRAPHICS INC        4825 E KEARNEY STREET SPRINGFIELD MO 65803
SPRINGFIELD TAX COLLECTOR              50 POWELL RD TAX COLLECTOR SPRINGFIELD PA 19064
SPRINGFIELD TOWNSHIP COLLECTOR         50 POWELL RD. SPRINGFIELD PA 19064
SPRINGFIELD TOWNSHIP FIRE DEPARTMENT   HEALTH DEPARTMENT 320 EAST CENTRAL ONTARIO OH 44862
SPRINGFIELD TOWNSHIP FIRE DEPARTMENT   PO BOX 133 ONTARIO OH 44862
SPRINGFIELD-GREENE COUNTY              1501 MT ZION RD SPRINGFIELD MO 65802
SPRINGFIELD-GREENE COUNTY              HEALTH DEPARTMENT 320 EAST CENTRAL SPRINGFIELD MO 65802
SPRINKLR INC                           29 WEST 35TH STREET 8TH FLOOR NEW YORK NY 10001
SPRWS-SAINT PAUL REGIONAL WATER        1900 RICE STREET SAINT PAUL MN 55113-6810
SERVICES
SQUEEGEE PROS INC                      PO BOX 5384 MOORESVILLE NC 28117-0384
SQUIRES, ANDREW                        ADDRESS ON FILE
SRAN, SUNDEEP                          ADDRESS ON FILE
SRH SERVICES LLC                       PO BOX 386 AMANDA OH 43102-0386
SRP - SALT RIVER PROJECT               PO BOX 2951 PHOENIX AZ 85062-2951
SRS PROPERTY MGMT CORPORATION          5615 NORSEMAN CRESCENT REGINA SK S4W 0J6 CANADA
SRSA INC                               DBA SNOW RESPONSE SPECIALISTS 2559 DARLINGTON ROAD BEAVER FALLS PA 15010
SS SMALL MOUTH PARKERSBURG LLC         ATTN: HOWARD HABER C/O SUPERIOR BUILDING PRODUCTS 2960 WOODBRIDGE AVE. EDISON
                                       NJ 08837
SSC INC                                DBA SUNNYVALE SEAFOOD 2910 FABER ST UNION CITY CA 94587-1214
SSS FENCE                              3407 N ROCKWELL AVE BETHANY OK 73008-3959
SSS NORTHWEST CROSSING LLC             ATTN HELEN WU WU C/O WU PROPERTIES INC 3657 BRIARPARK DR STE 188 HOUSTON TX
                                       77042-5267
ST CHARLES COUNTY COLLECTOR            201 N SECOND ST STE 134 ST CHARLES MO 63301
ST CHARLES COUNTY TREASURER            COUNTY ADMINISTRATION BLDG 118 N SECOND ST ST CHARLES MO 63301
ST CLAIR COUNTY HEALTH DEPARTMENT      3415 26TH STREET PORT HURON MI 48060
ST CLAIR COUNTY HEALTH DEPARTMENT      DEPARTMENT OF TAXATION 1550 COLLEGE PKWY STE 115 PORT HURON MI 48060
ST CLOUD HEALTH DEPARTMENT             400 2ND STREET SOUTH ST CLOUD MN 56301
ST JOHN COUNCIL FOR ALBERTA            C/O ST JOHN AMBULANCE 12304 118 AVENUE EDMONTON ON T5L 5G8 CANADA
ST JOHNS COUNTY TAX COLLECTOR          P.O. BOX 9001 ST. AUGUSTINE FL 32085-9001
ST JOSEPH AREA CHAMBER OF COMMERCE     DBA ST JOSEPH CHAMBER OF COMMERCE 3003 FREDERICK AVE ST JOSEPH MO 64506
ST JOSEPH COUNTY TREASURER             119 W 7TH STREET SOUTH BEND IN 46634-4758
ST LOUIS COUNTY COLLECTOR OF REVENUE   41 S ENTRAL AVENUE 2N FL ST LOUIS MO 63105
ST LOUIS COUNTY REVENUE DEPARTMENT     LICENSE DIV/7900 FORSYTH BLVD CLAYTON MO 63105
ST LOUIS COUNTY REVENUE DEPARTMENT     3415 26TH STREET CLAYTON MO 63105
ST LOUIS COUNTY TREAS                  41 S CENTRAL 8TH FLOOR CLAYTON MO 63105
ST LOUIS COUNTY TREASURER              41 S CENTRAL 8TH FLOOR CLAYTON MO 63105-1756
ST LOUIS COUNTY TREASURER              DEPARTMENT OF PUBLIC WORKS 41 S CENTRAL AVE FL 6 CLAYTON MO 63105-1756
ST LOUIS SELECT LANDSCAPING & LAWN CARE 2701 WILLIAMS CREEK HIGH RIDGE MO 63049
ST LUCIE COUNTY FIRE DISTRICT FARP     MAIL CODE 2014 PO BOX 628226 ORLANDO FL 32862-8226
ST LUCIE COUNTY TAX COLLECTOR          PO BOX 308 FT PIERCE FL 34954-0308
ST LUCIE LANDCARE INC                  DBA SUNCREST LANDSCAPE SERVICES 4433 SW XAVIER ST PORT ST LUCIE FL 34953-7572
ST MATTHEWS CITY TAX COLLECTOR         PO BOX 7097 LOUISVILLE KY 40257-0097


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ST. JOHN AMBULANCE                      ONTARIO COUNCIL 800-15 TORONTO STREET TORONTO ON M5C 2E3 CANADA
ST. JOSEPH COUNTY TREASURER             PO BOX 4758 SOUTH BEND IN 46634-4758
STAATS PLUMBING LLC                     PO BOX 479 SUNBURY OH 43074
STACY, JR TERRY                         ADDRESS ON FILE
STAFFORDS UPHOLSTERY                    2025 BOX RD COLUMBUS GA 31907-3223
STAGNARO DISTRIBUTING LLC               351 WILMER AVENUE CINCINNATI OH 45226
STALEY INCORPORATED                     DBA STALEY ELECTRIC LLC 3400 JE DAVIS DR LITTLE ROCK AR 72209-5569
STAN BYERLY SOUND SYSTEMS INC.          1707 W CHANUTE RD STE 2 PEORIA IL 61615-1671
STANDARD BEVERAGE                       2416 E 37TH ST N WICHITA KS 67219-3538
STANDARD DISTRIB INC                    1801 SPENCER MOUNTAIN ROAD GASTONIA NC 28054
STANDARD FIRE PROTECTION INC            PO BOX 523 SHELBY NC 28151-0523
STANDARD PARKING PLUS CORPORATION       PO BOX 74007568 CHICAGO IL 60674-7568
STANDARD SALES COMPANY LP               DBA A & B DISTRIBUTING 10777 HIGHPOINT ROAD OLIVE BRANCH MS 38654
STANDARD WASTE SERVICE                  21 EDGEBORO RD EAST BRUNSWICK NJ 08816
STANGER INDUSTRIES INC                  4911 ELMWOOD AVENUE KANSAS CITY MO 64130
STANISLAUS COUNTY                       PO BOX 133 MODESTO CA 95351
STANISLAUS COUNTY                       1716 MORGAN ROAD MODESTO CA 95351
STANISLAUS COUNTY TAX COLLECTOR         P O BOX 859 MODESTO CA 95353
STANLEY J CARVER                        ADDRESS ON FILE
STANLEY STEEMER INTERNATIONAL INC       PO BOX 205819 DALLAS TX 75320-5819
STANLEY STEEMER OF ETOWN INC            DBA STANLEY STEEMER ELIZABETHTOWN 4584 BARDSTOWN ROAD ELIZABETHTOWN KY
                                        42701-6723
STANLEY, SANDRA                         ADDRESS ON FILE
STAPLES INC                             DBA DEX IMAGING LLC PO BOX 17299 CLEARWATER FL 33762-0299
STAR DISPOSAL                           30 SOUTH ST PARK FOREST IL 60466-1291
STAR ENTERPRISES                        DBA STAR FOOD SERVICE EQUIPMENT & REPAIR 6201 S GATEWAY DR MARION IA
                                        52302-9430
STAR FACILITIES LLC                     2715 RICHMOND ROAD MARION CENTER PA 15759
STAR GLITTER CLEANING LLC               DBA RYAN SAWYER 10265 ROCKINGHAM DR STE 100 SACRAMENTO CA 95827-2566
STAR INTERNATIONAL HOLDINGS INC         PO BOX 60151 ST LOUIS MO 63160-0151
STAR LOBSTER SEAFOOD MARKET             3280 MIDLAND AVENUE UNIT 16 SCARBOROUGH ON M1V 4W8 CANADA
STAR TRIBUNE                            PO BOX 4619 CAROL STREAM IL 60197-4619
STAR-WEST GREAT NORTHERN MALL LLC       PO BOX 856553 MINNEAPOLIS MN 55485-6553
STAR-WEST SOLANO LLC                    LOCKBOX 005836 PO BOX 645836 CINCINNATI OH 45264-5836
STARFLITE CUSTOM MANUFACTURING CO INC   PO BOX 16063 WICHITA KS 67216-0063
STARK COUNTY HEALTH DEPARTMENT          209 WEST TUSCARAWAS STREET CANTON OH 44702
STARK COUNTY HEALTH DEPARTMENT          1716 MORGAN ROAD CANTON OH 44702
STARK COUNTY METROPOLITAN SEWER         PO BOX 9972 CANTON OH 44711-0972
DISTRICT
STARK COUNTY TREASURER                  PO BOX 24815 CANTON OH 44701-4815
STARK DRAFT LLC                         PO BOX 365 WEST CHESTER OH 45071-0365
STARK LANDSCAPE INC                     7455 W SAGEBRUSH WAY BOISE ID 83709-6426
STARK PLUMBING LLC                      PO BOX 7478 NORTH AUGUSTA SC 29861-7478
STARKEY SOFT WATER INC                  2610 DUDLEY AVENUE PARKERSBURG WV 26101-2651
STARKS PRO MECHANICAL LLC               213 S MAIN ST STILLWATER OK 74074-3521
STARNES CONTRACTING LLC                 DBA STARNES CONTRACTING LLC 111 PARKWOOD CIR CARROLLTON GA 30117-8756
STARSTONE SPECIALTY INSURANCE COMPANY   AMWINS INSURANCE BROKERAGE LLC 105 FIELDCREST AVENUE SUITE 200 EDISON NJ 08837
STARTON SUPPLY                          111 GRANTON DR UNIT 301 RICHMOND HILL ON L4B 1L5 CANADA
STATE CHEMICAL MFG CO                   PO BOX 844284 BOSTON MA 02284-4284
STATE INDUSTRIES INC                    12610 COLLECTIONS CENTER DR CHICAGO IL 60693


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STATE LIQUOR AUTHORITY                  301 WEST PRESTON ST. ROOM 801 ORLANDO FL 32809
STATE LIQUOR AUTHORITY                  DO NOT MAIL ORLANDO FL 32809
STATE LIQUOR STORE 3                    1420 GRAND AVENUE BILLINGS MT 59102
STATE OF ALABAMA                        DEPARTMENT OF LABOR ATTN: CENTRAL CASHIER 649 MONROE STREET MONTGOMERY AL
                                        36131
STATE OF ALABAMA ATTORNEY GENERAL       ATTN: STEVE MARSHALL PO BOX 300152 MONTGOMERY AL 36130-0152
STATE OF ALASKA DEPARTMENT OF ADMIN     DIVISION OF PERSONNEL & LABOR RELATIONS PO BOX 110201 JUNEAU AK 99811
STATE OF CALIFORNIA LABOR AND           WORKFORCE DEVELOPMENT AGENCY 800 CAPITOL MALL STE 5000 (MIC 55) SACRAMENTO CA
                                        95814
STATE OF COLORADO                       DEPARTMENT OF LABOR ATTN: CENTRAL CASHIER 633 17TH STREET, SUITE 201 DENVER CO
                                        80261
STATE OF COLORADO                       1375 SHERMAN DENVER CO 80261
STATE OF CONNECTICUT                    DEPT OF CONSTRUCTION SERVICES BUREAU OF BOILERS 450 COLUMBUS BOULEVARD, SUITE
                                        1303 HARTFORD CT 06103
STATE OF DELAWARE                       OFFICE OF THE STATE FIRE MARSHAL 2307 MACARTHUR ROAD NEW CASTLE DE 19720
STATE OF DELAWARE                       ALCOHOLIC BEV CONTROL COMMISSION 1375 SHERMAN WILMINGTON DE 19801
STATE OF DELAWARE ALCOHOLIC BEV CONTROL COMMN 820 FRENCH STREET WILMINGTON DE 19801
STATE OF FL DEPARTMENT OF BUSINESS      1940 N MONROE ST STE 60 TALLAHASSEE FL 32399-1002
STATE OF FL DEPARTMENT OF BUSINESS      820 FRENCH STREET TALLAHASSEE FL 32399-1002
STATE OF FLORIDA                        DEPARTMENT OF ECONOMIC OPPORTUNITY 107 E MADISON ST CALDWELL BLDG TALLAHASSEE
                                        FL 32399-4120
STATE OF HAWAII                         DEPT OF COMMERCE & CONSUMER AFFAIRS PO BOX 40 HONOLULU HI 96810
STATE OF HAWAII                         UNCLAIMED PROPERTY PROGRAM PO BOX 150 HONOLULU HI 96810
STATE OF HAWAII SANITATION BRNH         1940 N MONROE ST STE 60 HONOLULU HI 96813
STATE OF HAWAII SANITATION BRNH         591 ALA MOANA BLVD HONOLULU HI 96813
STATE OF HAWAII UNEMPLOYMENT            INSURANCE 830 PUNCHBOWL ST ROOM 110 HONOLULU HI 96813
STATE OF IDAHO                          PO BOX 700 MERIDIAN ID 83680
STATE OF IOWA                           UNCLAIMED PROPERTY DIVISION/TREASURER 800 WALNUT STREET DES MOINES IA
                                        50309-3950
STATE OF LOUISIANA ATTORNEY GENERAL     ATTN: JEFF LANDRY PO BOX 94005 BATON ROUGE LA 70804
STATE OF MICHIGAN                       DEPT OF LICENSING AND REGULATORY AFFAIRS BUREAU OF CONSTRUCTION CODES, BOILER
                                        DIV PO BOX 30255 LANSING MI 48909
STATE OF MISSISSIPPI                    ALCOHOLIC BEVERAGE CONTROL DIVISION PO BOX 540 MADISON MS 39130
STATE OF NEVADA                         DEPARTMENT OF TAXATION 1550 COLLEGE PARKWAY STE 115 CARSON CITY NV 89706
STATE OF NEVADA                         P O BOX 700 CARSON CITY NV 89706-7937
STATE OF NEVADA                         DEPARTMENT OF TAXATION 1550 COLLEGE PKWY STE 115 CARSON CITY NV 89706-7937
STATE OF NEW HAMPSHIRE TREASURY         UNCLAIMED PROPERTY DIVISION 25 CAPITOL ST, ROOM 121 CONCORD NH 03301
STATE OF NEW JERSEY                     DEPT OF LABOR & WORKFORCE DEVELOPMENT PO BOX 389 TRENTON NJ 08625-0389
STATE OF NEW JERSEY                     UNCLAIMED PROPERTY ADMINISTRATION PO BOX 214 TRENTON NJ 08635-0214
STATE OF NEW YORK                       LIQUOR AUTHORITY 333 E. WASHINGTON ST. ROOM 205 SYRACUSE NY 13202
STATE OF NORTH CAROLINA ATTORNEY        ATTN: JOSH STEIN PO BOX 629 RALEIGH NC 27602-0629
GENERAL
STATE OF NORTH DAKOTA                   DBA ND DEPT OF ENVIRONMENTAL QUALITY 4201 NORMANDY ST DEPT 303 BISMARCK ND
                                        58503-1324
STATE OF OKLAHOMA CITY TAX COMMISSION   PO BOX 269056 OKLAHOMA CITY OK 26905
STATE OF OREGON EMPLOYMENT DEPARTMENT   875 UNION ST. NE SALEM OR 97311
STATE OF RHODE ISLAND                   OFFICE OF THE GENERAL TREASURER 50 SERVICE AVE WARWICK RI 02886
STATE OF RHODE ISLAND                   DIVISION OF EQUITY DIVERSITY & INCLUSION ONE CAPITOL HILL PROVIDENCE RI 02908
STATE OF SOUTH CAROLINA ATTORNEY        ATTN: ALAN WILSON PO BOX 11549 COLUMBIA SC 29211-1549
GENERAL
STATE OF TENNESSEE                      UNCLAIMED PROPERTY DIVISION PO BOX 190693 NASHVILLE TN 32719-0693


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STATE OF TENNESSEE                     PO BOX 23090 NASHVILLE TN 37202
STATE OF TEXAS ATTORNEY GENERAL        ATTN: KEN PAXTON PO BOX 12548 AUSTIN TX 78711-2548
STATE OF UTAH - LABOR COMMISSION       SAFETY DIVISION PO BOX 146620 SALT LAKE UT 84114-6620
STATE OF UTAH ATTORNEY GENERAL         ATTN: SEAN D. REYES PO BOX 142320 SALT LAKE CITY UT 84114-2320
STATE OF VERMONT                       OFFICE OF THE STATE TREASURER 109 STATE ST, 4TH FL MONTPELIER VT 05609-6200
STATE OF WASHINGTON ATTORNEY GENERAL   ATTN: BOB FERGUSON PO BOX 40100 OLYMPIA WA 98504-0100
STATE TREASURER OF IOWA                UNCLAIMED PROPERTY COMPLIANCE GREATER IOWA TREASURE HUNT LUCAS ST OFF BLDG,
                                       321 E 12TH ST, 1ST FL DES MOINES IA 50319
STATE WATER RESOURCES CONTROL BOARD    FEES PO BOX 1888 SACRAMENTO CA 95812-1888
STATE WIDE PLUMBING INC                DBA STATE WIDE PLUMBING CO 98-820 MOANALUA RD UNIT I5-247 AIEA HI 96701-5200
STATEWIDE HEATING & AC SVC INC         DBA STATEWIDE SERVICE 417 1ST AVE SOUTH NITRO WV 25143-2313
STATISTA INC                           55 BROAD ST 30TH FLOOR NEW YORK NY 10004-2590
STAUNTON EM 2 LLC                      PO BOX 202 MANAKIN SABOT VA 23103-0202
STEADY CLEAN SERVICES LLC              52 TOWER RD HATTIESBURG MS 39401-9135
STEAM DOCTOR                           ADDRESS ON FILE
STEAM PRO OF TALLAHASSEE LLC           8225 BRIDGE WATER TRL TALLAHASSEE FL 32312-5080
STEAM PRO VA LLC                       DBA STEAM PRO 2713 SONIC DR VIRGINIA BEACH VA 23453-3136
STEAM SOURCE INC                       3069 SALEM INDUSTRIAL DRIVE WINSTON SALEM NC 27127-8854
STEAM-WAY CARPET CLEANERS INC          & FLOORING SUPPLIES 4035 HIGHWAY 31 SOUTH DECATUR AL 35603
STEAM365 LLC                           5757 FLEWELLEN OAKS LN STE 402 FULSHEAR TX 77441-1801
STEAMERS CARPET CLEANERS               5147 E MAYWOOD RD FAYETTEVILLE AR 72703-9241
STEAMPOWER INC                         PO BOX 4096 CHEYENNE WY 82003
STEARNS COUNTY TREASURER               PO BOX 728 ST CLOUD MN 56302-0728
STEEHLER, PATRICK                      ADDRESS ON FILE
STEEL CITY BEER WHOLESALERS            4845 HARRISON ST PITTSBURGH PA 15201-2720
STEELE, JENNIFER                       ADDRESS ON FILE
STEELMAN PLUMBING LLC                  10903 W COLUMBIA RD BOISE ID 83709-6913
STEGEMOLLER, JOYE                      ADDRESS ON FILE
STEIGER CONSTRUCTION INC               2812 28TH ST S LA CROSSE WI 54601-7649
STEIN DISTRIBUTING COMPANY INC         PO BOX 9367 BOISE ID 83707
STEIN, BRETT                           ADDRESS ON FILE
STELL ENTERPRISES INC                  16 E ANN STREET PLAINS PA 18705-1002
STEM TO STERN LAWN CARE LLC            19738 SAVANNAH ST BILOXI MS 39532-6209
STEMMLE PLUMBING AND REPAIR            PO BOX 35680 RICHMOND VA 23235
STEMMONS CROSSROADS ASSOC              C/O CASTLEBROOK MANAGEMENT INC 10711 PRESTON ROAD STE 200 DALLAS TX 75230-3861
STEP IN THYME INC                      DBA STEP IN THYME FLORALS INC 3230 STONE PARK BLVD SIOUX CITY IA 51104
STEP UP FOR STUDENTS INC               ATTN CONTRIBUTION PROCESSING 4655 SALISBURY RD STE 400 JACKSONVILLE FL
                                       32256-0958
STEPHANIE RICHARDSON                   ADDRESS ON FILE
STEPHANIE WILLIAMS.                    ADDRESS ON FILE
STEPHEN BATES                          ADDRESS ON FILE
STEPHEN D CRAIGEN LOCKSMITHTXK LLC     C/O LOCKSMITHTXK 2223 SUMMERHILL RD TEXARKANA TX 75501-3574
STEPHEN E BANDOR                       ADDRESS ON FILE
STEPHEN G HUDSON II                    ADDRESS ON FILE
STEPHEN L SHAW                         ADDRESS ON FILE
STEPHEN M MOORE                        ADDRESS ON FILE
STEPHEN NOVICK                         ADDRESS ON FILE
STEPHENS, WILLIAM                      ADDRESS ON FILE
STEPHENSON ELECTRIC COMPANY            PO BOX 610841 PORT HURON MI 48061-0841



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STEPHENSON, TIMOTHY                      ADDRESS ON FILE
STEPP, CHARLES O                         ADDRESS ON FILE
STERLING HEIGHTS CITY TREASURER          DEPARTMENT 296201 PO BOX 55000 DETROIT MI 48255-2962
STERLING HEIGHTS TREASURY                PO BOX 8009 STERLING HEIGHTS MI 48311-8009
STERLING, LEONARD                        ADDRESS ON FILE
STEVE DOVE                               ADDRESS ON FILE
STEVE GONZALES                           ADDRESS ON FILE
STEVE KORONEOS                           ADDRESS ON FILE
STEVE LIN                                ADDRESS ON FILE
STEVE LIN                                ADDRESS ON FILE
STEVE VITALE                             ADDRESS ON FILE
STEVE WALDMAN ELECTRIC INC               345 E SOUTHERN AVE STE 1 SOUTH WILLIAMSPORT PA 17702-7480
STEVE WILLIAMS                           ADDRESS ON FILE
STEVECO LLC                              10300 ERICKSON AVE HASTINGS FL 32145-8812
STEVEN A. RUSSELL                        US ATTORNEYS OFFICE 1620 DODGE ST, STE 1400 OMAHA NE 68102
STEVEN A. RUSSELL                        US ATTORNEYS OFFICE 487 FEDERAL BLDG 100 CENENNIAL MALL NORTH LINCOLN NE 68508
STEVEN ADOLPHUS                          ADDRESS ON FILE
STEVEN C LUND                            ADDRESS ON FILE
STEVEN E BREITMAN                        ADDRESS ON FILE
STEVEN E HENRY                           ADDRESS ON FILE
STEVEN J ENTERPRISES LLC                 DBA EAST TEXAS COOLING SYSTEMS PO BOX 9628 LONGVIEW TX 75608-9628
STEVEN J WILLIAMS & CONNIE R WILLIAMS    ADDRESS ON FILE
STEVEN R BRETSCH                         ADDRESS ON FILE
STEVEN R HARRELL                         ADDRESS ON FILE
STEVEN R JAMERSON                        ADDRESS ON FILE
STEVEN SCOTT MASTERS                     ADDRESS ON FILE
STEVEN SHEPHERD                          ADDRESS ON FILE
STEVENS DISPOSAL & RECYCLING SERVICE     P.O. BOX 500 TEMPERANCE MI 48182
STEVENS ENTERPRISES INC                  DBA POP A LOCK PO BOX 18102 SHREVEPORT LA 71138-0102
STEVENS, QUILLENS                        ADDRESS ON FILE
STEVES ELECTRIC OF SOUTH FLORIDA INC     3810 CROSSROADS PARKWAY FT PIERCE FL 34945
STEVES PROFESSIONAL GLASS TINTING &      SECURITY INC 1639 WEST FOOTHILL BOULEVARD UPLAND CA 91786-3533
AUTO
STEWART A SHONFIELD                      ADDRESS ON FILE
STEWART CRUZ                             ADDRESS ON FILE
STEWART RICHEY CONSTRUCTION INC          DBA STEWART RICHEY SERVICE GROUP 2137 GLEN LILY ROAD BOWLING GREEN KY 42101
STILL, JANAE                             ADDRESS ON FILE
STO INVESTMENTS LLC                      5905 NW 54TH CIR CORAL SPRINGS FL 33067-3525
STOBER WINDOW CLEANING INC               PO BOX 263 AMELIA OH 45102-0263
STOECKEL, BRENDA                         ADDRESS ON FILE
STOKES DISTRIBUTING COMPANY INC          PO BOX 1431 HATTIESBURG MS 39403
STOKES PROFESSIONAL PRESSURE WASHING     3689 APOPKA RIDGE CIRCLE APOPKA FL 32703-0005
STONE 400 LLC                            1000 SOUTH OCEAN BLVD UNIT 704 BOCA RATON FL 33432-7616
STONE HEATING AND AIR CONDITIONING LLC   DBA GOFF HEATING AIR CONDITIONING & PLUMBING 5940 W 7TH ST TEXARKANA TX
                                         75501-5944
STONER QUALITY WATER INC                 273 CULLIGAN ROAD FRIEDENS PA 15541-7531
STORMGEO INC                             DEPT 3728 PO BOX 123728 DALLAS TX 75312-3728
STORY COUNTY TREASURER                   PO BOX 498 NEVADA IA 50201
STOTTS, RICHARD                          ADDRESS ON FILE



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STOY, CASSIDY                         ADDRESS ON FILE
STR MECHANICAL LLC                    PO BOX 205 SANDY SPRINGS SC 29677-0205
STRATEGIC SERVICE LLC                 1607 COMMERCE AVENUE SAINT JOSEPH MO 64505-3933
STRATEGIC SOLUTIONS INC               122 W 22ND ST OAK BROOK IL 60523-1562
STRATHMAN SALES COMPANY INC           4235 SW BURLINGAME ROAD TOPEKA KS 66609
STRAUBTEK LLC                         PO BOX 162113 ALTAMONTE SPRINGS FL 32716-2113
STREAMLINE PLUMBING LLC               1067 S HOVER ST UNIT E183 LONGMONT CO 80501-7904
STRICKLAND PLUMBING & HVAC INC        1510 ATKINSON DRIVE LUFKIN TX 75901-3166
STRIPE IT UP LLC                      11675 JOLLYVILLE RD STE 150 AUSTIN TX 78759-4108
STRONER AND MITCHELL SOLUTIONS LLC    DBA THE SEALS 111 BICKLEIGH RD IRMO SC 29063-2411
STRONGS ELECTRICAL SERVICE INC        1012 RAIN COURT LEXINGTON KY 40515
STRUTHERS SEWAGE DEPARTMENT           6 ELM STREET STRUTHERS OH 44471
STUART CLEANING OF TEXAS LLC          DBA MERRY MAIDS 1307 4701 SOUTHWEST PKWY STE 9 WICHITA FALLS TX 76310-3268
STUART TREE SERVICE INC               PO BOX 72 PERU IL 61354-0072
STUCK SOLID LLC                       DBA MAGNETSIGNS BISMARCK STUCKSOLID GRAPHICS 6537 EDGERLY LN LINCOLN ND
                                      58504-9233
STUTZMAN LAWN & LANDSCAPING           1138 COMMERCIAL AVE SE NEW PHILADELPHIA OH 44663-2355
STYX ACQUISITION LLC                  DBA BUEHLERS FRESH FOODS 4190 BURBANK RD WOOSTER OH 44691-9077
STYX, MARY                            ADDRESS ON FILE
SUBURBAN EAST SALEM WATER DISTRICT    3805 LABRANCH STREET SE SALEM OR 97301
SUBURBAN NATURAL GAS COMPANY          PO BOX 183035 COLUMBUS OH 43218-3035
SUCCESSORIES INC                      DBA FINE AWARDS 6421 CONGRESS AVE STE 206 BOCA RATON FL 33487-2859
SUDBURY CITY                          PO BOX 5000 STN A SUDBURY ON P3A 5P3 CANADA
SUDBURY CITY                          DEPARTMENT OF PUBLIC WORKS 41 S CENTRAL AVE FL 6 SUDBURY ON P3A 5P3 CANADA
SUE E WORKMAN                         ADDRESS ON FILE
SUEZ WATER NEW YORK                   PO BOX 371804 PITTSBURGH PA 15250-7804
SUFFOLK COUNTY POLICE DEPT            ALARM MANAGEMENT PROGRAM 30 YAPHANK AVENUE YAPHANK NY 11980-9641
SUFFOLK COUNTY SEWER DIST-NY          335 YAPHANK AVENUE YAPHANK NY 11980-9000
SUFFOLK COUNTY WATER AUTHORITY - NY   PO BOX 9044 HICKSVILLE NY 11802-9044
SUGAR FOODS CORPORATION               24799 NETWORK PLACE CHICAGO IL 60673-1247
SUHR, DAVID                           ADDRESS ON FILE
SULAIMAN LAW GROUP LTD                DBA ATLAS CONSUMER LAW 2500 S HIGHLAND AVE STE 200 LOMBARD IL 60148-7103
SUMMERS IRRIGATION INC                870 LOCHAVEN ROAD WATERFORD MI 48327-3912
SUMMERS LAWN CARE INC                 1849 LIBERTY DRIVE WILLIAMSPORT PA 17701
SUMMERS, FELICIA                      ADDRESS ON FILE
SUMMERVILLE PARK LLC                  DBA SQUEEGEE SQUAD PO BOX 1355 SPRINGFIELD MO 65801
SUMMIT COUNTY HEALTH DEPARTMENT       1100 GRAHAM CIRCLE STOW OH 44224
SUMMIT COUNTY HEALTH DEPARTMENT       PO BOX 5000 STN A STOW OH 44224
SUMMIT COUNTY TREASURER               175 S MAIN ST STE 320 AKRON OH 44308-1341
SUMMIT FIRE AND SECURITY LLC          PO BOX 855227 MINNEAPOLIS MN 55485-5227
SUMMIT FIRE PROTECTION COMPANY        PO BOX 6205 CAROL STREAM IL 60197-6205
SUMMIT NATURAL GAS OF MISSOURI INC    PO BOX 77207 MINNEAPOLIS MN 55480-7200
SUMMIT NORTH INVESTMENTS, LLC         5657 W MAPLE RD C/O DAVID M TISDALE & COMPANY WEST BLOOMFIELD MI 48322
SUMMIT OFF DUTY SERVICES LLC          600 LAS COLINAS BLVD E STE 900 IRVING TX 75039-5633
SUMMIT UTILITIES ARKANSAS INC         PO BOX 676344 DALLAS TX 75267-6344
SUMMIT UTILITIES OKLAHOMA INC         PO BOX 676357 DALLAS TX 75267-6357
SUMTER COUNTY TAX COLLECTOR           220 E MCCOLLUM AVE BUSHNELL FL 33513
SUMTER COUNTY TREASURER               PO BOX 100140 COLUMBIA SC 29202-3140
SUMTER ELECTRIC COOPERATIVE, INC.     P.O. BOX 301 SUMTERVILLE FL 33585



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SUN LIFE ASSURANCE COMPANY OF CANADA    BILLING & COLLECTION 1155 METCALFE STREET MONTREAL QC H3B 2V9 CANADA
SUN STATE PLUMBING INC                  PO BOX 2169 AUBURNDALE FL 33823-6169
SUN TECH SERVICES INC                   750 W LAS CRUCES AVENUE LAS CRUCES NM 88005
SUNBEAM DEVELOPMENT CORPORATION         PO BOX 610727 NORTH MIAMI FL 33261
SUNCOAST ELECTRIC INC                   6100 HAINES RD N ST PETERSBURG FL 33714-1372
SUNGSHIN INC                            DBA AQUA-CRYLIC 6653 GRAFTON ROAD VALLEY CITY OH 44280
SUNLAND ASPHALT & CONSTRUCTION INC      DBA SUNLAND ASPHALT 1625 E NORTHERN AVE PHOENIX AZ 85020-3921
SUNLAND PARK MALL LLC                   867935 RELIABLE PARKWAY CHICAGO IL 60686-0079
SUNNY DAYS LANDSCAPING                  DBA MATTHEW SZURA 311 CURTIS AVE POINT PLEASANT BEACH NJ 08742-2513
SUNRISE DELIVERY INC                    PO BOX 639 MINOT ND 58702-0639
SUNRISE HILLS                           C/O PATTERSON PROPERTIES INC 2270 DOUGLAS BOULEVARD ROSEVILLE CA 95661
SUNRISE HILLS                           C/O PATTERSON PROPERTIES INC 2270 DOUGLAS BOULEVARD SUITE 111 ROSEVILLE CA
                                        95661
SUNRISE WINDOW CLEANING CO INC          6521 BENT MOUNTAIN ROAD ROANOKE VA 24018
SUNSET HILLS FOLIAGE INC                PO BOX 1239 LAUREL MD 20725-1239
SUNSHINE SVCS WINDOW CLEANING INC       PMB 257 2844 E MAIN ST SUITE 106 FARMINGTON NM 87401
SUNSHINE WINDOW CLEANING                202 W FRANKLIN RD MERIDIAN ID 83642-2917
SUNSHINE WORKGROUP LLC                  DBA 1-800-GOT JUNK 9851 WIDMER RD LENEXA KS 66215-1239
SUPER QUALITY CLEANING SERVICES LLC     PO BOX 3572 LACEY WA 98509-3572
SUPERCLEAN INC                          3860 INDUSTRIAL AVENUE ROLLING MEADOWS IL 60008
SUPERIOR ALARM INC                      260 COLORADO AVENUE GRAND JUNCTION CO 81501
SUPERIOR ASPHALT INC                    669 CENTURY SW GRAND RAPIDS MI 49503
SUPERIOR BEVERAGE GROUP                 31031 DIAMOND PARKWAY GLENWILLOW OH 44139
SUPERIOR CHOICE LAWN CARE LLC           9925 VALLEY HOME RD RUSSELLVILLE MO 65074-2805
SUPERIOR DRAFT BEER SERVICE             C/O WILLIAM M ROTH II 1915 CARLYLE DR PIQUA OH 45356-4455
SUPERIOR DRAFT LLC                      8128 W NORWOOD DR FRANKFORT IL 60423-8148
SUPERIOR FIRE PROTECTION SYSTEMS INC    1345 S ELWOOD ST FORSYTH IL 62535-9728
SUPERIOR KNIFE LLC                      6235 W HOWARD ST NILES IL 60714-3403
SUPERIOR MECHANICAL SYSTEMS INC         1244 60TH AVE NW STE C ROCHESTER MN 55901
SUPERIOR NEON SIGNS INC                 2515 N OAKLAHOMA ST OKLAHOMA CITY OK 73105
SUPERIOR PARKING LOT SERV INC           DBA SUPERIOR LAWN MAINTANCE 8210 COLLIER BEAUMONT TX 77706
SUPERIOR PLUMBING & GAS INC             PO BOX 50643 COLUMBIA SC 29250-0643
SUPERIOR RESTORATION INC                DBA SHIRLEYS CHEM DRY 742 ASH ST TIPTON IN 46072-9697
SUPERIOR SERVICES WINDOW CLEANING LLC   PO BOX 2424 SEQUIM WA 98382-4343
SUPERIOR SIGN SERVICE LTD               202 NEEDHAM CRES SASKATOON SK S7M 4X4 CANADA
SUPERIOR STEEL STUDS INC                C/O SS SMALL MOUTH PARKERSBURG LLC 2960 WOODBRIDGE AVE EDISON NJ 08837-3406
SUPERIOR UPHOLSTERY LLC                 PO BOX 1804 RAYMORE MO 64083-1804
SUPERIOR WATER CONDITIONING INC         16402 NORTH FLORIDA AVE LUTZ FL 33549
SUPERIOR WATER WORKS INC                4072 US HIGHWAY 441 N OKEECHOBEE FL 34972-8614
SUPERTECH HVAC LLC                      DBA DANIEL TINOCO VELAZQUEZ 144 CALGARY LN SAN MARCOS TX 78666-2208
SUPERVISOR TOWN OF CLAY                 4401 STATE ROUTE 31 CLAY NY 13041-8707
SUPREME ENTERPRISES LLC                 DBA THE GROUNDS GUYS 1214 US HIGHWAY 68 W BENTON KY 42025-7476
SUPREME LOBSTER AND SEAFOOD CO          220 EAST NORTH AVENUE VILLA PARK IL 60181-1221
SURE DRAIN LLC                          4329 GATE CITY HIGHWAY BRISTOL VA 24202
SURE FIRE GROUP LLC                     3315 NORTH RIDGE EAST SUITE 700 ASHTABULA OH 44004
SURE-FIX SERVICE GROUP INC              7334 GARNER ROAD NIAGARA FALLS ON L2H 0X8 CANADA
SUREFIRE VENTURES LLC.                  DBA 1 800 GOT JUNK OF SE FLORIDA 5565 NW 72ND AVE MIAMI FL 33166-4250
SURELOCK HOMES BARRIE LOCK              109 BAYFIELD ST BARRIE ON L4M 3A9 CANADA
SURFSIDE SQUARE CONDO ASSOC INC         C/O PREMIER ACCOUNTING & MANAGEMENT 3162 S ATLANTIC AVE STE C DAYTONA BEACH



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SURFSIDE SQUARE CONDO ASSOC INC          SHORES FL 32118-6259
SURFSIDE SQUARE CONDOMINIUM ASSOCIATION C/O PREMIER ACCOUNTING & MANAGEMENT 3162 S ATLANTIC AVE STE C DAYTONA BEACH
                                        SHORES FL 32118-6259
SURGE ELECTRIC CORP                      10705 CAHILL ROAD RALEIGH NC 27614-9050
SURGE ELECTRIC LLC                       DBA JOSHUA MATTHEW MINADEO 5970 LIGHTNER PL YOUNGSTOWN OH 44514-1448
SUSAN LA FOND                            ADDRESS ON FILE
SUSAN NAPIER                             ADDRESS ON FILE
SUSQUEHANNA VALLEY IRRIGATION PROS LLC   990 EMERALD LN MILLERSBURG PA 17061-1211
SUSSMAN AND KATZ INC                     DBA SERVPRO OF SAN DIEGO CITY SW 550 W B ST FL 4 SAN DIEGO CA 92101-3537
SUTHERLAND, ROBERT                       ADDRESS ON FILE
SUTTON, BERNICE                          ADDRESS ON FILE
SUZANNE GRANT                            ADDRESS ON FILE
SUZANNE K CLEMENTS                       ADDRESS ON FILE
SWAN FLORAL & GIFT SHOP                  ADDRESS ON FILE
SWANSON, ERIC                            ADDRESS ON FILE
SWANSONS ELECTRIC INC                    2316 PINE RIDGE ROAD 307 NAPLES FL 34109
SWANSONS REFRIGERATION & RESTAURANT      REPAIR 1710 EAST TRENT 4 SPOKANE WA 99202
SWARTZ SWIDLER LLC                       9 TANNER ST STE 101 HADDONFIELD NJ 08033-2432
SWB-LYNN HOLDINGS LLC                    PO BOX 401 GLENWOOD LANDING NY 11547
SWB-LYNN HOLDINGS LLC                    ATTN: STEVE BIRBACH 136 GLENWOOD ROAD P.O. BOX 401 GLENWOOD LANDING NY 11547
SWC INC                                  DBA SQUEAKY CLEAN PO BOX 226 EL DORADO CA 95623
SWEEP LLC                                PO BOX 2018 HAYDEN ID 83835
SWEETWATER AUTHORITY                     PO BOX 6003 WHITTIER CA 90607-6003
SWIFT AIR                                2101 LEOPARD ST CORPUS CHRISTI TX 78408-3900
SWIFT BROTHERS PLUMBING HEATING AND AIR PO BOX 91297 RALEIGH NC 27675-1297
SWIFT CONSTRUCTION INC                   DBA CEI ELECTRICAL & MECHANICAL 2900 E 13TH STREET KANSAS CITY MO 64127
SWIFT CREEK ASSOCIATES LP                C/O BET INVESTMENTS INC 200 DRYDEN RD E STE 2000 DRESHER PA 19025-1048
SWIFT, CURRIE, MCGHEE & HIERS, LLP       ATTN:MARC BARRE 1420 PEACHTREE ST, NE, SUITE 800 ATLANTA GA 30309
SWIFT, CURRIE, MCGHEE & HIERS, LLP       ATTN:RUSTY WATTS 1420 PEACHTREE ST, NE, SUITE 800 ATLANTA GA 30309
SWIFT, CURRIE, MCGHEE & HIERS, LLP       1420 PEACHTREE STREET N.E. SUITE 800 ATLANTA GA 30309
SWINDELL, JADA                           ADDRESS ON FILE
SWINTON, ALI, SWINTON, ALI               ADDRESS ON FILE
SWISH MAINTENANCE LTD                    PO BOX 3000 PETERBOROUGH ON K9J 8N4 CANADA
SWISS RE CORPORATE SOLUTIONS ELITE INS   1200 MAIN STREET SUITE 800 KANSAS CITY MO 64105
SWORDS INC                               DBA ROTO ROOTER 101 N CANNON AVE HAGERSTOWN MD 21740
SWR-LV LLC                               3949 HOLCOMB BRIDGE RD SUITE 202 PEACHTREE CORNERS GA 30092
SWR-LV LLC                               C/O REDD REALTY SERVICES 3949 HOLCOMB BRIDGE RD STE 202 PEACHTREE CORNERS GA
                                         30092-2208
SYCAMORE ENGINEERING INC                 PO BOX 1056 TERRE HAUTE IN 47808
SYDNEY BROWNING                          ADDRESS ON FILE
SYMETRA LIFE INSURANCE COMPANY           POST OFFICE BOX 84066 SEATTLE WA 98124-8466
SYMMETRY ENERGY SOLUTION LLC             PO BOX 301149 DALLAS TX 75303-1149
SYNDIGO LLC                              PO BOX 74861 CHICAGO IL 60694-4861
SYNERGY AQUATICS INC                     631 SW CHANNEL AVE STUART FL 34994-2926
SYNQ3 RESTAURANT SOLUTIONS LLC           5061 N 30TH ST STE 103 COLORADO SPRINGS CO 80919-3248
SYRACUSE BANANA CO INC                   900 WOLF STREET SYRACUSE NY 13208
SYRACUSE CITY CENTRAL SCHOOL DISTRICT    TAX COLLECTOR COMMISSIONER FINANCE PO BOX 5271 BINGHAMTON NY 13902
SYRACUSE UPHOLSTERY INC                  215 WOODLAND RD SYRACUSE NY 13219-2251
SYSCO HAWAII INC                         PO BOX 855 HONOLULU HI 96808-0855



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SYSTEM ONE HOLDINGS LLC                  PO BOX 644722 PITTSBURGH PA 15264-4722
SYSTEMS ELECTRIC LLC                     DBA GERARD REILLY 457 LUMMISTOWN RD CEDARVILLE NJ 08311-2219
SZYMANSKI ENTERPRISES                    DBA GEM STATE SECURITY & INVESTIGATIONS 15619 MOOSEHORN WAY CALDWELL ID
                                         83607-5413
T & B TANK SERVICE                       2023 SARAHS COVE DRIVE HAYES VA 23072
T & D SERVICES INC                       DBA NORTHEAST SEPTIC TANK SERVICE PO BOX 747 GENEVA OH 44041
T A D CONSTRUCTION LLC                   2555 FLAGSTONE DR SE ATLANTA GA 30316-4001
T AND R RECYCLING LLC                    13744 COUNTY HIGHWAY OO CHIPPEWA FALLS WI 54729-7382
T D ANDERSON INC                         786 MEADOW LARK LANE HANOVER MN 55341
T EASTGATE MLR NV LLC                    16600 DALLAS PARKWAY STE 300 DALLAS TX 75248-2610
T EASTGATE PLAZA NR NV LLC               PO BOX 209277 AUSTIN TX 78720-9271
T F I ENTERPRISES INC                    DBA THRIFTY FLORIST 24001 TELEGRAPH RD SOUTHFIELD MI 48033-3031
T FAB LLC                                2301 ANNETTA CENTERPOINT RD ALEDO TX 76008-2538
T J NOWAK SUPPLY CO INC                  302 W SUPERIOR STREET FT WAYNE IN 46802
T J S ENTERPRISES INC                    5139 STARKEY LN ROANOKE VA 24018-8515
T L CARROLL CONTRACTING INC              2751 TEABERRY LN HERMITAGE PA 16148-6299
T R JOHNSON & SON INC                    640 8TH AVENUE HUNTINGTON WV 25701
T&L OF THE SOUTHTOWNS                    DBA SERVPRO OF THE SOUTHTOWNS 97 EVANS ST HAMBURG NY 14075-6133
T&S MIDWEST BEVERAGE LLC                 5508 ELMWOOD AVE STE 411 INDIANAPOLIS IN 46203-6039
T&T PRESSURE WASHING                     DBA ALEX TYROME FOULKS 3615 BRIDLEWOOD DR MONTGOMERY AL 36111-1915
T-MOBILE SUMMARY                         PO BOX 742596 CINCINNATI OH 45274-2596
TAAG VENTURES LLC                        ATTN TYLER DANIELS 4727 OSBORNE DR EL PASO TX 79922-1049
TAAG VENTURES, LLC                       ATTN: TYLER DANIELS 4727 OSBORNE DRIVE EL PASO TX 79922
TACOMA-PIERCE COUNTY HEALTH DPT          3629 SOUTH D STREET-MS 414 TACOMA WA 98418-6813
TADGRICK PEART                           ADDRESS ON FILE
TAITZ RL MOBILE LLC                      C/O FEDERMAN STEIFMAN LLP 220 EAST 42ND STREET NEW YORK NY 10017
TAITZ RL MOBILE LLC                      C/O FEDERMAN STEIFMAN LLP 220 EAST 42ND STREET 29TH FLOOR NEW YORK NY 10017
TAITZRLMOB LLC RPRLMOB LLC WHRLMOB LLC   C/O FEDERMAN STEIFMAN LLP ATTN: MICHAEL K. FEDERMAN, ESQ. 220 EAST 42ND
                                         STREET, 29TH FLOOR NEW YORK NY 10017
TALENTREEF INC                           PO BOX 8027 CAROL STREAM IL 60197-8027
TALON MAINTENANCE CONTRACTING INC        7024 BIRCHWOOD DR SLATINGTON PA 18080
TALON WINERY LLC                         3701 G ROAD PALISADE CO 81526
TALX CORPORATION                         DBA EQUIFAX WORKFORCE SOLUTIONS 4076 PAYSPHERE CIRCLE CHICAGO IL 60674-4076
TAMBE ELECTRIC INC                       614 FISHERS RUN VICTOR NY 14564-9732
TAMESIA WHITTY, ET AL.                   ADDRESS ON FILE
TAMMY BROWN                              ADDRESS ON FILE
TAMMY RADFORD                            ADDRESS ON FILE
TAMPA BAY NEWSPAPERS INC                 DBA SUNCOAST NEWS 9911 SEMINOLE BLVD SEMINOLE FL 33772-2536
TAMPA ELECTRIC COMPANY                   P. O. BOX 111 TAMPA FL 33601-0111
TAMPA PALMS NORTH OWNERS ASSOCIATION     RE: RED LOBSTER 6249 3001 EXECUTIVE DRIVE STE 260 CLEARWATER FL 33762
TANEY COUNTY                             1100 GRAHAM CIRCLE FORSYTH MO 65653-0369
TANEY COUNTY                             HEALTH DEPARTMENT PO BOX 369 FORSYTH MO 65653-0369
TANEY COUNTY TAX COLLECTOR               PO BOX 278 FORSYTH MO 65653
TANGER PROPERTIES LIMITED PARTNERSHIP    COROC/HILTON HEAD I LLC PO BOX 414225 BOSTON MA 02241-4225
TANN ELECTRIC INC                        13216 W 99TH STREET LENEXA KS 66215
TANNER, CHRISTINE                        ADDRESS ON FILE
TANYER PLUMBING LLC                      DBA ROTO ROOTER PO BOX 193 PALMYRA PA 17078-0193
TAO HER                                  ADDRESS ON FILE
TAPMAN LA SEATTLE COMPANY                PO BOX 26006 FEDERAL WAY WA 98093-3006



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TAPMANS REFRIGERATION INC                2231 NORTHWOOD DRIVE SALISBURY MD 21801
TARAE MERRITT                            ADDRESS ON FILE
TARGET STORES                            PROPERTY MANAGEMENT ACCOUNTING PO BOX 86 SDS 10-0075 MINNEAPOLIS MN 55486-0075
TARRANT COUNTY PUBLIC HEALTH DEPARTMENT 1101 S MAIN ST FORT WORTH TX 76104
TARRANT COUNTY TAX ASSESSOR              HEALTH DEPARTMENT PO BOX 369 FT WORTH TX 76161-0018
TARRANT COUNTY TAX ASSESSOR              TARRANT COUNTY COURTHOUSE PO BOX 961018 FT WORTH TX 76161-0018
TARRANT COUNTY TAX ASSESSOR-COLLECTOR    PO BOX 961018 FORT WORTH TX 76161-0018
TARRANT ELECTRIC LLC                     PO BOX 7712 FORT WORTH TX 76111-0712
TAS SERVICE SOLUTIONS INC                DBA MR ROOTER PLUMBING OF THE ILLINOIS VALLEY 910 3RD STREET LA SALLE IL 61301
TASHA RHODES                             ADDRESS ON FILE
TASK FORCE LAWN CARE                     1990 BLACK BARK LANE TRAVERSE CITY MI 49686
TATA INC                                 DBA THE LOCK SHOP OF CHEYENNE 413 RANDALL AVENUE CHEYENNE WY 82001-3036
TATIANA GOODS                            ADDRESS ON FILE
TATYANA B CUTLER                         ADDRESS ON FILE
TAX ASSESSOR COLLECTOR GRAYSON COUNTY    600 SCOTT AVE STE 103 SHERMAN TX 75091-2107
TAX ASSESSOR COLLECTOR GRAYSON COUNTY    PO BOX 2107 SHERMAN TX 75091-2107
TAX ASSESSOR-COLLECTOR                   TARRANT COUNTY COURTHOUSE PO BOX 961018 WICHITA FALLS TX 76301-2531
TAX ASSESSOR-COLLECTOR                   600 SCOTT AVE STE 103 WICHITA FALLS TX 76301-2531
TAX COLLECTOR                            2132 NORTHWAY RD WILLIAMSPORT PA 17701
TAX COLLECTOR                            PO BOX 142530 GAINESVILLE FL 32614-2530
TAX COLLECTOR CITY OF LK JACKS           25 OAK DRIVE LAKE JACKSON TX 77566
TAX COLLECTOR CITY OF LK JACKS           PO BOX 2107 LAKE JACKSON TX 77566
TAX COLLECTOR ST JOHNS COUNTY            PO BOX 9001 ST AUGUSTINE FL 32085-9001
TAX COLLECTOR, CITY OF DANBURY, CT       PO BOX 237 DANBURY CT 06813
TAX TRUST ACCOUNT                        SALES TAX DIVISION PO BOX 830725 BIRMINGHAM AL 35283-0725
TAX TRUST ACCT                           CITY OF VESTAVIA HILLS C/O ALATAX INC BIRMINGHAM AL 35233
TAYLOR & MONROE LLC                      19370 COLLINS AVENUE CU1 SUNNY ISLES BEACH FL 33160
TAYLOR CORPORATION                       DBA TRAVEL TAGS INC CARD FULFILLMENT SERVICES PO BOX 1450 MINNEAPOLIS MN
                                         55485-1450
TAYLOR COUNTY CAD TAX COLLECTOR          PO BOX 1800 ABILENE TX 79604-1800
TAYLOR COUNTY TAX ASSESSOR-COLLECTOR     PO BOX 3762 ABILENE TX 79604
TAYLOR DEETZ                             ADDRESS ON FILE
TAYLOR EQUIPMENT SALES INC               DBA TAYLOR RESTAURANT EQUIPMENT & CONSTRUCTION PO BOX 6 CRESWELL OR 97426-0006
TAYLOR FREEZER OF CONNECTICUT INC        150 WELTON STREET HAMDEN CT 06517
TAYLOR GARBAGE SERVICE, INC.             P.O. BOX 362 VESTAL NY 13851
TAYLOR LANE COMMERCIAL LANDSCAPING INC   551 EMERALD AVENUE KODAK TN 37764
TAYLOR PORTER                            ATTN: R. B. EASTERLING;K. C. GOODSON 451 FLORIDA STREET BATON ROUGE LA 70801
TAYLOR PRODUCTS INC                      255 RARITAN CENTER PKWY EDISON NJ 08837
TAYLOR SITE DEVELOPMENT INC              DBA TAYLOR PUMP STATIONS PO BOX 537 MEDFORD OR 97501-0036
TAYLOR, CHARLES                          ADDRESS ON FILE
TAYLOR, NALEEN                           ADDRESS ON FILE
TAYLOR, TOWANA                           ADDRESS ON FILE
TBC CANADA SERVICES INC                  405-123 EGLINTON AVE E TORONTO ON M4P 1J2 CANADA
TC LYONS ELECTRIC LLC                    DBA LYONS ELECTRIC 75 ENTERPRISE ROAD DELAFIELD WI 53018-1704
TCFIV CASCADE LLC                        DBA EXTREME AIR & ELECTRIC LLC 7654 PROGRESS CIR MELBOURNE FL 32904-1655
TCI ACQUISITION CORPORATION              DBA TAX COMPLIANCE INC 13500 EVENING CREEK DR N STE 500 SAN DIEGO CA
                                         92128-8125
TCI COMPANIES INC                        405 STATE ROUTE 117 GOODFIELD IL 61742-7520
TCS CUSTOM PAINTING LLC                  2014 24TH AVENUE S GRAND FORKS ND 58201



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TCW                                   ATTN: BEN MCARTHUR, VP PRIVATE CREDIT GROUP 1251 AVE OF THE AMERICAS, STE 4700
                                      NEW YORK NY 10020
TCW ASSET MANAGEMENT COMPANY, LLC     515 SOUTH FLOWER STREET LOS ANGELES CA 90017
TCW SKYLINE LENDING LP                865 S FIGUEROA STREET LOS ANGELES CA 90017
TD REFRIGERATION INC                  1907 CLAIBORNE AVENUE SHREVEPORT LA 71103
TDINDUSTRIES INC                      PO BOX 300008 DALLAS TX 75303-0008
TDN2K LLC                             ATTN: AMY VALENTINE 1501 NORTH PLANO ROAD STE 100 RICHARDSON TX 75081
TDN2K LLC                             DBA PEOPLE REPORT 17304 PRESTON ROAD SUITE 430 DALLAS TX 75252
TDS TELECOM                           PO BOX 94510 PALATINE IL 60094-4510
TEAM CLEAN INC                        1441 KAPIOLANI BLVD STE 202 HONOLULU HI 96814-4400
TEASDALE FENTON CARPET CLEANING &     RESTORATION LLC 12145 CENTRON PL CINCINNATI OH 45246-1704
TEBBE-BUTLER INC                      DBA PROFESSIONAL FOOD EQUIPMENT SERVICE PO BOX 80337 FORT WAYNE IN 46898-0337
TECH ONE ASSOCIATES                   200 MARSHALL DRIVE CORAOPOLIS PA 15108
TECH SERVICES MECHANICAL LLC          360 MAIN ST STE 1 MATAWAN NJ 07747-3255
TECH24 LTD                            80 FLANNERY LANE THOROLD ON L2V 4V8 CANADA
TECHMASTERS INC                       2024 SW 6TH ST LINCOLN NE 68522
TECHNICAL AIR SUPPLY & ELEC INC       3216 NW PARK DRIVE KNOXVILLE TN 37921
TECHNICAL ROOFING OF ST HENRY LLC     742 COOPER AVE PO BOX 308 SAINT HENRY OH 45883-0308
TECHNOMIC INC                         DBA TECHNOMIC INFORMATION SVCS 300 SOUTH RIVERSIDE PLAZA SUITE 1200 CHICAGO IL
                                      60606
TECO PEOPLES GAS                      702 NORTH FRANKLIN STREET TAMPA FL 33601
TECO TAMPA ELECTRIC COMPANY           P.O. BOX 31318 TAMPA FL 33631-3318
TECO: PEOPLES GAS                     PO BOX 31318 TAMPA FL 33631-3318
TECUMSEH AREA CHAMBER OF COMMERCE     DBA GREATER LENAWEE CHAMBER OF COMMERCE 132 W CHICAGO BLVD TECUMSEH MI
                                      49286-6504
TED AND MARIAS PLAZA LLC              518 S LAURELTREE DR ANAHEIM CA 92808-1626
TED AND MARIAS PLAZA, LLC             ATTN: FRANCES CHASE 518 LAURELTREE DRIVE ANAHEIM CA 92808
TED BATEY TRUSTEE                     ADDRESS ON FILE
TED G MOTTER                          ADDRESS ON FILE
TED TRACY                             ADDRESS ON FILE
TEDS TRASH SERVICE, INC               P.O. BOX 520230 INDEPENDENCE MO 64052
TEFFS LAWN AND SNOW SERVICES INC      6370 QUINCY STREET NE FRIDLEY MN 55432
TEG HOLDINGS INC                      DBA THE ENCOMPASS GROUP 405 STATE HIGHWAY 121 BYP STE D120 LEWISVILLE TX
                                      75067-4048
TEHANS REALTY COMPANY                 PO BOX 796 NEW HARTFORD NY 13413
TEKSYSTEMS INC                        PO BOX 198568 ATLANTA GA 30384-8568
TELUS                                 PO BOX 7575 VANCOUVER BC V6B 8N9 CANADA
TELUS MOBILITY SUMMARY                PO BOX 8950 STN TERMINAL VANCOUVER BC V6B 3C3 CANADA
TELUS SERVICES                        P.O. BOX 2210 STATION TERMINAL ATT: PAYMENT PROCESSING VANCOUVER BC V6B 8P3
                                      CANADA
TEMCO OF GULF COAST INC               DBA TOTAL MECHANICAL REPAIR SERVICES LLC 164 TIMBERLANE DR MONTICELLO MS
                                      39654-3539
TEMECULA VALLEY BACKFLOW INC          PO BOX 890068 TEMECULA CA 92589-0068
TEMECULA VALLEY SECURITY CENTER INC   DBA SAFE AND SECURE LOCKSMITH SERVICE 26019 JEFFERSON AVENUE SUITE F MURRIETA
                                      CA 92562
TEMEKA JENKINS                        ADDRESS ON FILE
TEMP CON LLC                          15670 S KEELER ST OLATHE KS 66062-3516
TEMP RITE REFRIGERATION & AIR         CONDITIONING 18422 - 105 AVE EDMONTON ON T5S 0N7 CANADA
TEMPO HOLDING COMPANY LLC             DBA ALIGHT SOLUTIONS LLC PO BOX 95135 CHICAGO IL 60694-5135
TEMTRON APPLIANCE SERVICE INC         130 MILLWOOD AVE MUNROE FALLS OH 44262



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TENFOLD LLC                            797 N WALL ST STE 200 COLUMBUS OH 43215-2963
TENNESSEE AMERICAN WATER COMPANY       PO BOX 6029 CAROL STREAM IL 60197-6029
TENNESSEE ATTORNEY GENERAL AND REPORTER DIVISION OF CONSUMER AFFAIRS PO BOX 20207 NASHVILLE TN 37202
TENNESSEE DEPARTMENT OF REVENUE        ANDREW JACKSON STATE OFFICE BLDG. 500 DEADERICK STREET NASHVILLE TN 37242
TENNESSEE DEPARTMENT OF REVENUE        ANDREW JACKSON STATE OFFICE BLDG. 500 DEADERICK STREET NASHVILLE TN 37242-0700
TENNESSEE DEPT OF                      ENVIRONMENT & CONSERVATION 312 ROSA L PARK AVE NASHVILLE TN 37243
TENNESSEE DEPT OF LABOR                BOILER & ELEVATOR INSPECTION 220 FRENCH LANDING DRIVE NASHVILLE TN 37243
TENNESSEE DEPT OF LABOR                DOLE CONTROLLERS OFFICE PO BOX 628 NASHVILLE TN 37243
TENNESSEE DEPT OF LABOR AND            WORKFORCE DEVELOPMENT 220 FRENCH LANDING DRIVE NASHVILLE TN 37243
TENNESSEE DOOR INC                     DBA AMERICAN 24 HOUR DOOR SERVICE 4116 BENT ROAD SUITE 2A KODAK TN 37764
TENNESSEE HUMAN RIGHTS COMMISSION      WILLIAM R. SNODGRASS TENNESSEE TOWER 312 ROSA L. PARKS AVE 23RD FLOOR
                                       NASHVILLE TN 37243
TENNESSEE SHEET METAL INC              40 FANT INDUSTRIAL DR MADISON TN 37115
TENO CARDOSO                           ADDRESS ON FILE
TERCEK ELECTRIC INC                    966 MOUNT AIRY DR JOHNSTOWN PA 15904-6808
TERESA A. MOORE                        US ATTORNEYS OFFICE 80 LAFAYETTE ST, STE 2100 JEFFERSON CITY MO 65101
TERESA A. MOORE                        US ATTORNEYS OFFICE C E WHITTAKER COURTHOUSE, ROOM 5510 400 E 9TH ST KANSAS
                                       CITY MO 64106
TERESA A. MOORE                        US ATTORNEYS OFFICE HAMMONS TOWER, STE 500 901 ST LOUIS SPRINGFIELD MO
                                       65806-2511
TERMINIX INTERNATIONAL LP - MEMPHIS    PO BOX 1000 DEPARTMENT 916 MEMPHIS TN 38148-0001
TERRACARE ASSOCIATES                   DBA ARROWHEAD LANDSCAPING PO BOX 102180 PASADENA CA 91189-0089
TERRASCAPES LLC                        C/O TOTAL LANDSCAPE SERVICES 2832 SE 9TH ST OKLAHOMA CITY OK 73129-8430
TERRICO KENDALL HOLLAND                ADDRESS ON FILE
TERRY & KENNETH MCCUTCHEON             ADDRESS ON FILE
TERRY A LEONARD                        ADDRESS ON FILE
TERRY D COLE                           ADDRESS ON FILE
TERRY E LOVE                           ADDRESS ON FILE
TERRY G TROUT                          ADDRESS ON FILE
TERRY L KNUTSON                        ADDRESS ON FILE
TERRY LYNN POOL                        ADDRESS ON FILE
TERRY W APPLING                        ADDRESS ON FILE
TERRYS WINDOW CLEANING INC             PO BOX 4316 BARTONVILLE IL 61607-0316
TESTRITE INSTRUMENT CO INC             DBA TESTRITE VISUAL PRODUCTS 216 SOUTH NEWMAN STREET HACKENSACK NJ 07601
TETON DISTRIBUTORS INC                 PO BOX 46 CHEYENNE WY 82001
TEWS CONSULTING INC                    DBA TEWS COMPANY 1000 LEGION PLACE SUITE 730 ORLANDO FL 32801-5201
TEXARKANA BOWIE CO HEALTH FAMILY CENTER 902 WEST 12TH ST PO BOX 749 TEXARKANA TX 75504
TEXARKANA WATER UTILITIES              P.O. BOX 2008 TEXARKANA TX 75504
TEXAS AIR CONDITIONING & ELECTRIC      PO BOX 630208 8200 W STATE HWY 7 NACOGDOCHES TX 75963-0208
TEXAS ALCOHOLIC BEVERAGE COMM          PO BOX 13127 AUSTIN TX 78711
TEXAS COMMISSION ON                    ENVIRONMENTAL QUALITY MAIL CODE TCEQ PO BOX 13087 AUSTIN TX 78711-3087
TEXAS COMMISSION ON                    ENVIRONMENTAL QUALITY BUILDING LETTER TCEQ 12100 PARK 35 CIRCLE AUSTIN TX
                                       78753
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS   CHICAGO AUDIT OFFICE 1411 OPUS PLACE, STE 165 DOWNERS GROVE IL 60515-1488
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS   UNCLAIMED PROPERTY CLAIMS SECTION LBJ BLDG 111 E 17TH ST AUSTIN TX 78711
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS   UNCLAIMED PROPERTY CLAIMS SECTION PO BOX 12046 AUSTIN TX 78711-2046
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS   UNCLAIMED PROP DIVISION PO BOX 12247 AUSTIN TX 78711-2247
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS   PO BOX 13528 CAPITOL STATION AUSTIN TX 78711-3528
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS   PO BOX 149348 AUSTIN TX 78714-9348
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS   COMPTROLLER OF PUBLIC ACCOUNTS PO BOX 149356 AUSTIN TX 78714-9356


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TEXAS COMPTROLLER OF PUBLIC ACCOUNTS    LYNDON B JOHNSON STATE OFFICE BLDG 111 E 17TH ST AUSTIN TX 78774
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS    111 EAST 17TH ST AUSTIN TX 78774
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS    111 E. 17TH STREET AUSTIN TX 78774-0100
TEXAS DEPT OF LICENSING & REGULATION    PO BOX 12157 AUSTIN TX 78711
TEXAS DISPOSAL SYSTEMS, INC.            PO BOX 674090 DALLAS TX 75267-4090
TEXAS GAS SERVICE                       PO BOX 219913 KANSAS CITY MO 64121-9913
TEXAS GAS SERVICE, TX                   P.O. BOX 219913 KANSAS CITY MO 64121
TEXAS OFFICE OF THE ATTORNEY GENERAL    CONSUMER PROTECTION DIVISION PO BOX 12548 AUSTIN TX 78711
TEXAS WORKFORCE COMMISSION              PO BOX 149137 AUSTIN TX 78714-9137
TEXAS WORKFORCE COMMISSION              101 E 15TH ST, RM 556 AUSTIN TX 78778
TEXAS WORKFORCE COMMISSION              101 E 15TH ST AUSTIN TX 78778-0001
TEXKAN                                  PO BOX 645 BRYAN TX 77806-0645
TFORCE FREIGHT INC                      DBA TFORCE FREIGHT PO BOX 7410804 CHICAGO IL 60674-0804
THACKERSON ENTERPRISES CORPORATION      DBA BUDGET BLINDS OF THE SHOALS & SOUTHERN MIDDLE TENNESSEE 421 GERRARD DR
                                        FLORENCE AL 35630-6325
THAI UNION GROUP PUBLIC COMPANY LIMITED LUDOVIC GARNIER 72/1 MOO 7 SETHAKIT 1 RD TARSRAI SUBDIST MUEANG SAMUT SAKHON;
                                        SAMUT SAKHON 74000 THAILAND
THAI UNION GROUP PUBLIC COMPANY LTD     72/1 MOO 7 SETHAKIT 1 RD TAMBON TARSRAI AMPHUR MUANGSAMUTSAKORN SAMUT SAKORN
                                        74000 THAILAND
THAI UNION NORTH AMERICA, INC           2150 E. GRAND AVENUE EL SEGUNDO CA 90245
THAI UNION SEAFOOD COMPANY LIMITED      77 MOO 5 SONGKHLA RANOD ROAD WATKHANOON SINGHANAKHON SONGKHLA 90330 THAILAND
THAL DIXON ENTERPRISES INC              DBA DIXON SECURITY CAMERAS 3767 S SECORD ST SALT LAKE CITY UT 84115-4771
THATCHER, MCKENNA                       ADDRESS ON FILE
THATS SHARP LLC                         DBA KNIFE GUYS INC 27408 N RIVER ESTATES DR CHATTAROY WA 99003-9606
THE ATHANASSIOUS LAW OFFICE APC         4231 BALBOA AVE 1261 SAN DIEGO CA 92117-5504
THE ATKINS GROUP                        2001 KANKAKEE DRIVE ATTN: MARK DIXON CHAMPAIGN IL 61820
THE BACKFLOW GUY INC                    39252 WINCHESTER RD STE 107-446 MURRIETA CA 92563-3509
THE BENNETT COMPANIES                   515 S. CAMDEN AVE. FRUITLAND MD 21826
THE BENSE GROUP LLC                     DBA OLD GLORY FLAGPOLE AND RESCUE 4845 CRAZY HORSE LN WESTERVILLE OH
                                        43081-4801
THE BEVERAGE ZONE INC                   198 LINCOLN HWY FAIRLESS HILLS PA 19030-1019
THE BOARD OF WATER, LIGHT &SINKING FUND COMMISSIONERS OF THE CITY OF DALTON DBA DALTON UTILITIES P O BOX 869 DALTON GA
                                        30722-0869
THE BOSWORTH COMPANY LTD                PO BOX 3449 MIDLAND TX 79702-3449
THE BROOKLYN UNION GAS COMPANY D/B/A    NATIONAL GRID NY 300 ERIE BLVD. WEST SYRACUSE NY 13202
THE BURDICK PLUMBING & HEATING CO INC   PO BOX 496 DECATUR IL 62525-0496
THE CARETAKERS INC                      DBA RUG & CARPET CARETAKERS INC 101 COUNTRY CLUB DR MANKATO MN 56001
THE CHAMBER OF COMMERCE OF WEST ALABAMA PO BOX 20410 TUSCALOOSA AL 35402-0410
THE CHORE BUDDIES LLC                   239 CUSHMAN AVE WEST BERLIN NJ 08091-9155
THE CITY OF BARRIE, ON                  BOX 400 SERVICE BARRIE BARRIE ON L4M 4T5 CANADA
THE CITY OF CALGARY                     CITY CASHIER 8042 PO BOX 2100 STATION M CALGARY ON T2P 2M5 CANADA
THE CITY OF CALGARY                     BOX 2405 POSTAL STATION M 3RD FLOOR 800 MACLEOD TR SE CALGARY ON T2P 3L9
                                        CANADA
THE CITY OF EDMONTON                    PO BOX 778 EDMONTON AB T5H 0H7 CANADA
THE CITY OF EDMONTON                    EDMONTON POLICE SVC ALARM 9620-103A AVENUE NW EDMONTON AB T5H 0H7 CANADA
THE CITY OF FORT MYERS FALSE ALARM      REDUCTION PROGRAM EDMONTON POLICE SVC ALARM 9620-103A AVENUE NW IRVING TX
                                        75014-1628
THE CITY OF FORT MYERS FALSE ALARM      REDUCTION PROGRAM PO BOX 141628 IRVING TX 75014-1628
THE CITY OF FREDERICK                   DEPARTMENT OF FINANCE 101 N COURT ST FREDERICK MD 21701
THE CITY OF FREDERICK                   FREDERICK POLICE DEPARTMENT FARU 100 W PATRICK STREET FREDERICK MD 21701-5578



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THE CITY OF NORTH LITTLE ROCK            CITY SERVICES BUILDING - FINANCE DEPT 700 WEST 29TH STREET, NORTH LITTLE ROCK
                                         AR 72114
THE CITY OF PLANTATION                   UTILITY DEPARTMENT PO BOX 189044 PLANTATION FL 33318-9044
THE CITY OF TYLER TEXAS                  C/O FIRE RECOVERY USA LLC PO BOX 935667 ATLANTA GA 31193-5667
THE CITY OF TYLER TEXAS                  PO BOX 141628 ATLANTA GA 31193-5667
THE COMFORT HEROES LLC                   900 E BENSON RD SIOUX FALLS SD 57104-0767
THE COMPACTOR REPAIR COMPANY INC         DBA THE COMPACTOR COMPANY PO BOX 430 WESTBURY NY 11590-0059
THE COUNTRY VINTNER LLC                  PO BOX 1540 ASHLAND VA 23005
THE CULINARY EDGE INC                    75 OAK GROVE ST SAN FRANCISCO CA 94107-1018
THE DAVEY TREE EXPERT COMPANY            DBA DAVEY TREE PO BOX 94532 CLEVELAND OH 44101-4532
THE DAVID WILSON FAMILY TRUST            ADDRESS ON FILE
THE DEEP                                 C/O LANEE JONES & MICHAEL HEINS 2956 CHURN CREEK ROAD REDDING CA 96002-1130
THE DIAMOND AGENCY INC                   160 INTERNATIONAL PARKWAY SUITE 150 HEATHROW FL 32746
THE DIGITAL ACCESSIBILITY CENTRE LTD     SUITE 18 LLAN COED HOUSE DARCY BUSINESS PARK LLANDARCY SA10 6FG UNITED KINGDOM
THE DOOR GUYS INC                        793 NORTH MAIN STREET MARION OH 43302
THE DUMPSTER DEPOT LLC                   262 EASTGATE DR STE 336 AIKEN SC 29803
THE EMPIRE DISTRICT COMPANY              P.O. BOX 127 JOPLIN MO 64802
THE EVELYN D BENEDETTO FAMILY            PARTNERSHIP 225 FOX HUNT CRESCENT SYOSSET NY 11791
THE EVELYN D BENEDETTO FAMILY PSHIP LLP ADDRESS ON FILE
THE EVELYN DIBENEDETTO FAMILY PSHIP LP   ADDRESS ON FILE
THE FISH GUYS LLC                        1254 GRASS FERN LN SANFORD FL 32771-9337
THE FLOWER HOUSE                         3525 PORTAGE ROAD NIAGARA FALLS ON L2J 2K5 CANADA
THE FLYING LOCKSMITHS OF ALABAMA LLC     DBA THE FLYING LOCKSMITHS 811 5TH AVE N BIRMINGHAM AL 35203-2510
THE GASKET GUY LLC                       11810 SUGAR CREEK RD HARROD OH 45850-8419
THE GASKET GUY NORTH ALABAMA             PO BOX 12937 HUNTSVILLE AL 35815-2937
THE GEORGE FAMILY TRUST                  ADDRESS ON FILE
THE GEORGE FAMILY TRUST                  ADDRESS ON FILE
THE GEORGE FAMILY TRUST                  ADDRESS ON FILE
THE GERRARD FAMILY LIMITED PARTNERSHIP   C/O NATHAN M GERRARD 27154 COUNTY ROAD 13 JOHNSTOWN CO 80534-8205
THE GREEN GUYS LIMITED LIABILITY         3213 BOYCE FAIRVIEW RD ALVATON KY 42122-9616
COMPANY
THE GREEN SMART SOLUTIONS                DBA GD PROJECT 1164 E RUBEN M TORRES BLVD BROWNSVILLE TX 78521
THE GREEN THUMBERS                       3030 BRADY ST DAVENPORT IA 52803
THE HARRY & JEANETTE WEINBERG            DBA 300 LLC MSC 61414 PO BOX 1300 HONOLULU HI 96807-1300
FOUNDATION
THE HARTFORD STEAM BOILER INSPECTION     AND INSURANCE COMPANY 21045 NETWORK PLACE CHICAGO IL 60673
THE HARTZ GROUP INC                      DBA HARMON MEADOW OWNER LLC 2100 W 7TH ST ATTN 775 AR FORT WORTH TX 76107-2306
THE HERRING IMPACT GROUP LLC             DBA IMPACT GROUP LLC 12977 NORTH OUTER 40 DRIVE SUITE 300 ST LOUIS MO
                                         63141-8656
THE HOME DEPOT                           2691 MARKHAM RD UNIT 21 TORONTO ON M1X 1L4 CANADA
THE HOWARD GROUP                         1735 CENTRAL AVENUE ALBANY NY 12205
THE ICEE COMPANY                         PO BOX 515723 LOS ANGELES CA 90051-5203
THE IDES EQUAL OPPORTUNITY OFFICER       OFFICE OF EQUAL EMPLOYMENT OPPORTUNITY/AFFIRMATIVE ACTION 33 S. STATE STREET,
                                         10TH FLOOR CHICAGO IL 60603
THE ILLUMINATING COMPANY                 PO BOX 3687 AKRON OH 44309-3687
THE JANITORS SUPPLY CO INC               5005 SPEEDWAY DRIVE FT WAYNE IN 46825
THE JEAN ANN BECKER REVOCABLE TRUST      ADDRESS ON FILE
THE JUNKLUGGERS OF BALTIMORE             46 ALCO PLACE HALETHORPE MD 21227
THE KELLER GROUP LIMITED                 3909 GROVES RD COLUMBUS OH 43232-4138
THE LAW OFFICES OF LEVY & LEVY PA        1000 SAWGRASS CORPORATE PKWY STE 588 SUNRISE FL 33323-2871


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THE LAW OFFICES OF STANLEY P KUPFER, PC ATTN: STANLEY P. KUPFER 5422 16TH AVENUE FIRST FLOOR BROOKLYN NY 11204
THE LAW OFFICES OF WANG & WANG           LAURA WEN YU YOUNG 155 MOTGOMERY ST, SUITE 410, SAN FRANCISCO CA 94104
THE LAWNSMITH INC                        4506 SHADOWGLEN DR COLORADO SPRINGS CO 80918-4237
THE LIONS CLEANING SERVICES LLC          1327 SCHOLAR ST LOUISVILLE KY 40213-2115
THE LIQUOR AND GAMING AUTHORITY OF       MANITOBA (LGA) PO BOX 1023 WINNIPEG MB R3C 2X1 CANADA
THE LOBSTER GUYS SW LLC                  6336 ENCHANTED CREEK PL LAS VEGAS NV 89122-3643
THE LOCK DOCTOR                          DBA JOHN DAVID WOODRUFF 726 LAKE RIDGE RD HOPE HULL AL 36043-6153
THE LOCKSMITH SHOP                       146 E BOWMAN ST WOOSTER OH 44691-3534
THE LONDON STEAM                         3179 JINNIES WAY LONDON ON N6L 0B5 CANADA
THE MACERICH PARTNERSHIP LP              ATTN THE OAKS MALL MACERICH OAKS LP 401 WILSHIRE BLVD STE 700 SANTA MONICA CA
                                         90401-1452
THE MEDIA WORKS                          1432-C COUNTY ROAD 45 NORWOOD ON K0L 2V0 CANADA
THE METROPOLITAN DISTRICT                P.O. BOX 990092 HARTFORD CT 06199-0092
THE NORTH CONTRACTING GROUP              1455-1704 UNIT LAWRENCE AVE. WEST NORTH YORK ON M6L 1B1 CANADA
THE NPD GROUP LP                         24619 NETWORK PLACE CHICAGO IL 60673-1246
THE ODOM CORPORATION                     DBA ODOM NORTHWEST BEVERAGES 517 SNAKE RIVER AVENUE LEWISTON ID 83501
THE OHIO CASUALTY INSURANCE COMPANY      175 BERKELEY STREET BOSTON MA 02116
THE OSBY CO INC                          DBA OSBY WATER CONDITIONING 618 N FRONT STREET HEBRON IN 46341
THE P SMITH REALTY LLC                   PO BOX 237090 NEW YORK NY 10023
THE PAUL FAMILY TR DATED JUNE 19, 1997   ADDRESS ON FILE
THE PAVING COMPANY                       6A-170 THE DONWAY W UNIT 1910 TORONTO ON M3C 2E8 CANADA
THE PENNOHIO CORPORATION                 4813 WOODMAN AVE ASHTABULA OH 44004
THE PERRY COMPANY INC                    PO BOX 914 DECATUR AL 35602
THE PLANT CONNECTION INC                 PO BOX 3503 BELLEVUE WA 98009-3503
THE PLUMBER MAN LLC                      5239 OLD HANOVER RD WESTMINSTER MD 21158-1200
THE PLUMBERS EDGE INC                    PO BOX 96509 OSHAWA ON L1G 8E6 CANADA
THE PLUMBING AND ROOTER COMPANY LLC      DBA BENJAMIN FRANKLIN PLUMBING 3155 WILLIAMS ROAD COLUMBUS GA 31909-5613
THE PRINTING HOUSE LTD                   1403 BATHURST STREET TORONTO ON M5R 3H8 CANADA
THE PROMENADE DIBERVILLE LLC             PO BOX 531761 ATLANTA GA 30353-1761
THE PROMENADE DIBERVILLE, LLC            ATTN GENERAL COUNSEL/CHIEF LEGAL OFFICER 2030 HAMILTON PLACE BOULEVARD CBL
                                         CENTER, SUITE 500 CHATTANOOGA TN 37421-6000
THE R&T WEATHERBY FAMILY TRUST           ADDRESS ON FILE
THE RAPHAEL FAMILY WOOSTER STREET        COMPANY C/O GARBRIEL RAPHAEL 201 OCEAN AVE UNIT 1504P SANTA MONICA CA
                                         90402-1453
THE RAPHAEL FAMILY WOOSTER STREET CO     ADDRESS ON FILE
LLC
THE RAPHAEL FAMILY WOOSTER STREET CO     ADDRESS ON FILE
LLC
THE RECOVERY ROOM                        1428 A ST JOHN STREET REGINA SK S4R 1S4 CANADA
THE REFRIGERATED BEAR LLC                10024 S CLEGERN ST OKLAHOMA CITY OK 73139-2918
THE REGIONAL MUNICIPALITY OF DURHAM      605 ROSSLAND ROAD EAST P.O. BOX 623 WHITBY ON L1N 0B7 CANADA
THE ROOTER KING INC                      DBA PETERSON PLUMBING 457 S 5TH ST GRAND JUNCTION CO 81501-7702
THE ROSE BUD FLOWERS & GIFTS LLC         470 N CRAFT HWY CHICKASAW AL 36611
THE SEALS OF CHATTANOOGA                 DBA DMB MANAGMENT CORP 8758 KNOLLING LOOP OOLTEWAH TN 37363-2007
THE SIGN DOCTOR LLC.                     1323 W WALNUT AVE STE 2-143 DALTON GA 30720-3984
THE SIGN GURU INC                        12640 126 STREET EDMONTON ON T5L 0X7 CANADA
THE SPITZ LAW FIRM                       25825 SCIENCE PARK DR STE 200 BEACHWOOD OH 44122-7315
THE STATE GROUP INDUSTRIAL (USA)         BELTLINE ELECTRIC CO LLC PO BOX 546 PADUCAH KY 42002-0546
LIMITED
THE STEVE HONGDUR LIN AND CAROL YAO LIN ADDRESS ON FILE


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THE STORAGE BIN INC                     2945 RICHMOND TERRACE STATEN ISLAND NY 10303-2310
THE STORAGE BIN INC.                    ATTN: PETER CASTELLANO 2945 RICHMOND TERRACE STATEN ISLAND NY 10303
THE SUDDATH COMPANIES                   SUDDATH RELOCATION SYSTEM OF ORLANDO INC 815 S MAIN ST STE 444 JACKSONVILLE FL
                                        32207-9050
THE TAMARKIN COMPANY                    DBA GIANT EAGLE 4086 15919 PEARL RD STRONGSVILLE OH 44136-6031
THE TOWNSHIP OF BRIDGEWATER             C/O FIRE RECOVERY USA LLC PO BOX 935667 BRIDGEWATER NJ 08807-2801
THE TOWNSHIP OF BRIDGEWATER             100 COMMONS WAY BRIDGEWATER NJ 08807-2801
THE UNITED ILLUMINATING COMPANY         PO BOX 847818 BOSTON MA 02284-7818
THE VILLAGES COMMERCIAL PROPERTY MGMT   VILLAGE/ACORN INVESTMENTS, LTD C/O OFFICE OF GENERAL COUNSEL 1020 LAKE SUMTER
                                        LANDING THE VILLAGES FL 32162
THE WALDINGER CORPORATION               1800 LEVEE RD NORTH KANSAS CITY MO 64116-4405
THE WASSERSTROM COMPANY                 PO BOX 182056 COLUMBUS OH 43218-2056
THE WATERWORKS LLC                      DBA THE WATERWORKS 550 SCHROCK RD COLUMBUS OH 43229-1062
THE WAY COMMERCIAL CLEANING SERVICES    DBA PETER BRANSCOMB 12030 US HIGHWAY 231 UNION GROVE AL 35175-8164
LLC
THE WEED HUNTER INC                     DBA 1-800-LAWNCARE 5960 SUMMER AVENUE MEMPHIS TN 38134-6730
THE WENDEROFF LAW GROUP                 ATTN:LORI WENDEROFF WENDEROFF LAW GROUP APC 21820 BURBANK BLVD., STE 305
                                        WOODLAND HILLS CA 91367
THE WICHMAN COMPANY                     7 NORTH WESTWOOD AVENUE TOLEDO OH 43607
THE WINDOW DOCTOR                       2590 LASALLE BLVD SUDBURY ON P3A 4R7 CANADA
THE WINDOW SPARKLERS LLC                1601 ASSEMBLY ST UNIT (RANGE 951 - 975) COLUMBIA SC 29202-4537
THE WOODS OF EAST BRUNSWICK             PROPERTY OWNERS ASSOCIATION INC C/O MR BERNARDO GIULIANA 760 ROUTE 18, SUITE
                                        108 EAST BRUNSWICK NJ 08816
THE WOODS OF EAST BRUNSWICK PROPERTY    OWNERS ASSOC INC C/O MR BERNARDO GIULIANA 760 ROUTE 18 EAST BRUNSWICK NJ 08816
THE YORK WATER COMPANY                  PO BOX 3009 LANCASTER PA 17604-3009
THEARN JOHNSON                          ADDRESS ON FILE
THELAB LLC                              637 W 27TH ST FL 8 NEW YORK NY 10001-1019
THEODORE E EVERS                        ADDRESS ON FILE
THEODORE K WALTER                       ADDRESS ON FILE
THERESA K THOMAS                        ADDRESS ON FILE
THERESE CUNNINGHAM                      ADDRESS ON FILE
THERIOT, HANK                           ADDRESS ON FILE
THERMAL REFRIGERATION INC               90 WALSH CT ST CHARLES MO 63301
THERMODYN INC                           PO BOX 2231 KOKOMO IN 46904-2231
THERON SCHMECKPEPER                     ADDRESS ON FILE
THF CHESTERFIELD DEV LLC                211 N STADIUM BLVD STE 201 COLUMBIA MO 65203-1161
THF MAPLEWOOD OUTPARCEL DEVELOPMENT LLC C/O TKG MANAGEMENT INC 211 NORTH STADIUM BLVD COLUMBIA MO 65203
THF MAPLEWOOD OUTPARCEL DEVELOPMENT LLC C/O TKG MANAGEMENT INC 211 NORTH STADIUM BLVD SUITE 201 COLUMBIA MO 65203
THF MAPLEWOOD OUTPARCEL DEVELOPMENT,    211 NORTH STADIUM BLVD., SUITE 201 COLUMBIA MO 65203
LLC
THF REALTY, INC.                        2127 INNERBELT BUSINESS CENTER DR. SUITE 200 ST. LOUIS MO 63114
THF ST CLAIRSVILLE DEVELOP LP           C/O THF MANAGEMENT INC 211 N STADIUM BLVD SUITE 201 COLUMBIA MO 65203
THINK BIG NEW YORK INC                  DBA 1 800 GOT JUNK 3110 HUNTERS POINT AVE FL 2 LONG ISLAND CITY NY 11101-3131
THIYAGARAJAH, NILANI                    ADDRESS ON FILE
THOM ELLINGSON PLLP                     825 NICOLLET MALL STE 950 MINNEAPOLIS MN 55402-2605
THOMAS A CONRAD                         ADDRESS ON FILE
THOMAS A POOL                           ADDRESS ON FILE
THOMAS A WEINGATES                      ADDRESS ON FILE
THOMAS C DEVENER                        DBA AN OCTOPUS GARDEN PO BOX 81101 BILLINGS MT 59108-1101
THOMAS CUFF                             ADDRESS ON FILE


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THOMAS E TEMPLIN                         ADDRESS ON FILE
THOMAS G ANDREWS                         ADDRESS ON FILE
THOMAS G WRIGHT                          ADDRESS ON FILE
THOMAS J EGGLETON                        ADDRESS ON FILE
THOMAS J KOLE                            ADDRESS ON FILE
THOMAS J SCHWARZ                         ADDRESS ON FILE
THOMAS J. BARGER, ESQ.                   411 BOREL AVENUE, SUITE 600 SAN MATEO CA 94402
THOMAS KIRBY                             ADDRESS ON FILE
THOMAS L CHAVEZ                          ADDRESS ON FILE
THOMAS LEMMON & SONS (1973)              PO BOX 412 - 79 NORTH STREET KINGSTON ON K7L 4W2 CANADA
THOMAS LEMMON & SONS LTD                 765 MONTREAL STREET KINGSTON ON K7K 3J6 CANADA
THOMAS LEON FIEMA                        ADDRESS ON FILE
THOMAS R BIALK                           ADDRESS ON FILE
THOMAS SCOTT                             ADDRESS ON FILE
THOMAS SCOTT CONRAD                      ADDRESS ON FILE
THOMAS TRASH SERVICE                     PO BOX 96 ADAMS NY 13605
THOMAS W NORRIS                          ADDRESS ON FILE
THOMAS, ANESHIA                          ADDRESS ON FILE
THOMAS, CARLEE                           ADDRESS ON FILE
THOMAS, INITA                            ADDRESS ON FILE
THOMAS, WILLIE                           ADDRESS ON FILE
THOMASON, KAYLA                          ADDRESS ON FILE
THOMPSON & COMPANY INC                   PO BOX 50909 COLUMBIA SC 29250
THOMPSON DEREK                           ADDRESS ON FILE
THOMPSON ELECTRIC INC                    49 N MORELAND AVENUE MUNROE FALLS OH 44262
THOMPSON MCMULLAN P C                    100 SHOCKOE SLIP RICHMOND VA 23219-4164
THOMPSON MCMULLAN PC                     ATTN:BILLY TUNNER 100 SHOCKOE SLIP, THIRD FLOOR RICHMOND VA 23219
THOMPSON, AMIRA                          ADDRESS ON FILE
THOMPSON, CHRISTINA                      ADDRESS ON FILE
THOMPSON, JESSICA                        ADDRESS ON FILE
THOMPSON, TERRY                          ADDRESS ON FILE
THOMPSON, WELCH, SOROKO & GILBERT LLP    3950 CIVIC CENTER DRIVE SUITE 300 SAN RAFAEL CA 94903
THOMPSONS JANITORIAL SERVICES            30 BURN HILL RD UNIT 110 SCARBOROUGH ON M1L 4R8 CANADA
THOMSON LAWN CARE LLC                    143 SOUTHGATE DRIVE GEORGETOWN KY 40324
THOMSON REUTERS (TAX & ACCOUNTING) INC   CHECKPOINT PO BOX 71687 CHICAGO IL 60694-1687
THORNTON DOOR LLC                        PO BOX 410260 ST LOUIS MO 63141-0260
THORNTON, TALITA, THORNTON, TALITA       ADDRESS ON FILE
THRASHER, EVAN                           ADDRESS ON FILE
THREE CHIHUAHUAS LLC                     DBA AC BEVERAGE SOUTHWEST PO BOX 471835 FORT WORTH TX 76147-1835
THREE G SERVICES INC                     585 HIBBS ROAD LOCKBOURNE OH 43137
THREE RIVER AQUATICS LLC                 208 SHOREHAM DR ALLISON PARK PA 15101-4245
THREE RIVERS VILLAGE LLC                 ATTN MALL MANAGEMENT 351 THREE RIVERS DR STE 116 KELSO WA 98626-3120
THRU WAY PLUMBING & HEATING INC          717 UNION VALLEY ROAD MAHOPAC NY 10541
THUMAN, KATHLEEN                         ADDRESS ON FILE
THUNE, ERIC                              ADDRESS ON FILE
THURO CARPET & TILE CARE                 36581 GLOUCESTER DR CLINTON TWP MI 48035-1142
THURSTON COUNTY PUBLIC HEALTH            100 COMMONS WAY OLYMPIA WA 98502
THURSTON COUNTY PUBLIC HEALTH            ENVIRONMENTAL HEALTH DIV 2000 LAKERIDGE DR SW OLYMPIA WA 98502
THURSTON COUNTY TREASURER                3000 PACIFIC AVE SE OLYMPIA WA 98501-2043



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THURSTON, LARRY                          ADDRESS ON FILE
TICE ELECTRIC COMPANY                    5405 N LAGOON AVE PORTLAND OR 97217-7637
TIDAL SOFTWARE LLC                       3201 DALLAS PKWY STE 810 FRISCO TX 75034-9596
TIDWELL LAWNCARE & LANDSCAPING LLC       PO BOX 4000 CARTERSVILLE GA 30120-1717
TIERCE INDUSTRIAL SERVICE INC            DBA ROTO ROOTER PO BOX 680780 PRATTVILLE AL 36068
TIFFANY FRISBY                           ADDRESS ON FILE
TIFFANY VEGA                             ADDRESS ON FILE
TIFFANY WALKER                           ADDRESS ON FILE
TIFT COUNTY HEALTH DEPARTMENT            ENVIRONMENTAL SERVICES SECTION PO BOX 715 TIFTON GA 31793
TIFT COUNTY HEALTH DEPARTMENT            ENVIRONMENTAL HEALTH DIV 2000 LAKERIDGE DR SW TIFTON GA 31793
TIFT COUNTY TAX COMMISSIONER             PO BOX 930 TIFTON GA 31793
TIFTON-TIFT COUNTY CHAMBER OF COMMERCE   PO BOX 165 TIFTON GA 31793-0165
TIGER INC.                               DEPARTMENT 2192 TULSA OK 74182
TIGER SANITATION                         PO BOX 200143 SAN ANTONIO TX 78220-0143
TIGERWAWK HANDYMAN INC                   DBA MR HANDYMAN OF NW HOUSTON & JERSEY VILLAGE 10500 NORTHWEST FWY STE 112
                                         HOUSTON TX 77092-8253
TILDE MARIANI GIACCHE                    ADDRESS ON FILE
TILE N GRASS LLC                         DBA RITO CAZARES 307 KOPPLOW SAN ANTONIO TX 78221-2920
TIM A WHIPPLE                            ADDRESS ON FILE
TIM JOHNSON LANDSCAPING INC              761 SAINT CLOUD DR STATESVILLE NC 28625-4645
TIM STULTS                               DBA STULTS DISTRUBUTING PO BOX 30997 SPOKANE WA 99223-3016
TIMLIN PLUMBING & HEATING INC            7 E FRONT ST YOUNGSTOWN OH 44503
TIMMY C EFFERSON                         ADDRESS ON FILE
TIMOTHY A BLOWER                         ADDRESS ON FILE
TIMOTHY D KELLER                         ADDRESS ON FILE
TIMOTHY D. DUAX                          UNITED STATES ATTORNEYS OFFICE 111 7TH AVE, SE, BOX 1 CEDAR RAPIDS IA 52401
TIMOTHY D. DUAX                          UNITED STATES ATTORNEYS OFFICE HO-CHUNKBLDG, STE 670 600 4TH ST SIOUX CITY IA
                                         51101
TIMOTHY E STONE                          ADDRESS ON FILE
TIMOTHY G MOUNTS                         ADDRESS ON FILE
TIMOTHY GREENE                           ADDRESS ON FILE
TIMOTHY J SILVA                          ADDRESS ON FILE
TIMOTHY JONES                            ADDRESS ON FILE
TIMOTHY KAY                              ADDRESS ON FILE
TIMOTHY LLOYD                            ADDRESS ON FILE
TIMOTHY M BALMERT                        ADDRESS ON FILE
TIMOTHY M. OSHEA                         US ATTORNEYS OFFICE 222 W WASHINGTON AVE, STE 700 MADISON WI 53703
TIMOTHY MARK CORNELL                     ADDRESS ON FILE
TIMOTHY NELSON                           ADDRESS ON FILE
TIMOTHY NICKLES                          ADDRESS ON FILE
TIMOTHY P POWELL                         ADDRESS ON FILE
TIMOTHY R JOHNSON                        ADDRESS ON FILE
TIN MAN FLEET SERVICES LLC               5210 BENTONVILLE RD BENTONVILLE VA 22610
TIN MAN FLEET SERVICES LLC               5210 BENTONVILLE RD BENTONVILLE VA 22610-2614
TINA GIOFFRE                             ADDRESS ON FILE
TINA KAM                                 ADDRESS ON FILE
TIOGA PUBLISHING COMPANY                 DBA COURIER EXPRESS PO BOX 370 WEST FRANKFORT IL 62896-0370
TIPPECANOE COUNTY HEALTH DEPARTMENT      20 N THIRD ST LAFAYETTE IN 47901
TIPPECANOE COUNTY HEALTH DEPARTMENT      ENVIRONMENTAL SERVICES SECTION PO BOX 715 LAFAYETTE IN 47901



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TIPPECANOE COUNTY TREASURER              20 NORTH 3RD ST LAFAYETTE IN 47901
TIPTON TEXTILE RENTAL INC                DBA TIPTON LINEN SERVICE 1415 INDEPENDENCE CAPE GIRARDEAU MO 63703
TITAN ELECTRIC COMPANY                   2817 EAST JACKSON STREET MUNCIE IN 47303
TJ ELECTRIC INC                          1049 STARR AVE EAU CLAIRE WI 54703-1820
TJ SHEEHAN DISTRIBUTING                  225 COMMERCE BLVD LIVERPOOL NY 13088
TJB SUNSHINE ENTERPRISES INC             6 REDWOOD DR BALLSTON LAKE NY 12019-2631
TJS EXTERIORS                            DBA TJS ROOFING LLC 9428 BUCKS RD HEYWORTH IL 61745-9545
TJS PLUMBING & HEATING INC               1005 ALLEN ST JAMESTOWN NY 14701-2301
TK ELEVATOR CORPORATION                  PO BOX 3796 CAROL STREAM IL 60132-3796
TKR DESIGN LLC                           DBA FASTSIGNS 12245 PEARL RD STRONGSVILLE OH 44136-3410
TLC COMPANY INC                          DBA TLC PLUMBING & UTILITY 5000 EDITH BLVD NE ALBUQUERQUE NM 87107-4125
TLC PLUMBING INC                         PO BOX 429 GRIFFITH IN 46319-0429
TLC SANTA FE                             2532 CAMINO ENTRADA SANTA FE NM 87507-4851
TMC PROPERTIES                           DBA TMC SERVICE 63 DUQUESNE BLVD DUQUESNE PA 15110-1015
TMP SRE 1 LLC                            2070 SAM RITTENBERG BLVD 200 CHARLESTON SC 29407-4605
TMP SRE I, LLC                           2070 SAM RITTENBERG BLVD., SUITE 200 CHARLESTON SC 29407
TN DEPARTMENT OF LABOR WRC DIVISION LS   WRD DIVISION LABOR STANDARDS UNIT ATTN HALEY ANN PATEL CHILD LOBOR 220 FRENCH
                                         LANDING SUITE 2B NASHVILLE TN 37243-1002
TN OAK RIDGE RUTGERS LLC                 ATTN BRAD GUNN 201 RIVERPLACE STE 400 GREENVILLE SC 29601-2591
TNT PRESSURE WASHING LLC                 PO BOX 43677 PHOENIX AZ 85080-3677
TOAN C NGUYEN                            ADDRESS ON FILE
TOBY J STRICKLAND                        ADDRESS ON FILE
TOBY SPANGLER                            ADDRESS ON FILE
TODD A BANWELL                           ADDRESS ON FILE
TODD DEVINE                              ADDRESS ON FILE
TODD E DEROSA                            ADDRESS ON FILE
TODD M MARQUISS                          ADDRESS ON FILE
TODD NUSSBAUMER                          ADDRESS ON FILE
TODD POLLY                               ADDRESS ON FILE
TODD SABIN                               ADDRESS ON FILE
TODD VAUGHAN                             ADDRESS ON FILE
TODISCO-STROBEL, HOLLY                   ADDRESS ON FILE
TOHO WATER AUTHORITY                     PO BOX 30527 TAMPA FL 33630-3527
TOKENEX INC                              DBA TOKENEX PO BOX 268947 OKLAHOMA CITY OK 73126-8947
TOLEDO EDISON                            PO BOX 3687 FIRSTENERGY CORPORATION AKRON OH 44309-3687
TOLEDO FIRE PREVENTION BUREAU            ONE GOVERNMENT CTR SUITE 2000 TOLEDO OH 43604
TOLEDO REGIONAL CHAMBER OF COMMERCE      300 MADISON AVENUE SUITE 200 TOLEDO OH 43604-1575
TOLEDO SIGN COMPANY INC                  2021 ADAMS STREET TOLEDO OH 43604-5431
TOLEDO-LUCAS COUNTY HEALTH DEPARTMENT    TOLEDO-LUCAS COUNTY HEALTH DEPARTME 635 N ERIE STREET ROOM 350 TOLEDO OH
                                         43604-5317
TOLLESON CONRATT REPLOGLE LLP            ATTN:SOMMER TOLLESON 7190 SW FIR LOOP, STE 200 TIGARD OR 97223
TOLLESON CONRATT REPLOGLE LLP            7190 SW FIR LOOP STE 200 TIGARD OR 97223
TOLSON, BETTY                            ADDRESS ON FILE
TOM & LEE HOLDING CO LLC                 1524 DORCAS ST SAN DIEGO CA 92110-1515
TOM BASS                                 ADDRESS ON FILE
TOM BYRD PLUMBING AND HEATING INC        500 LITTLE HILLS INDUSTRIAL BLVD ST CHARLES MO 63301-3710
TOM ELLIS REFRIGERATION AC & HEATING     9 COMMERCIAL DRIVE JOHNSON CITY NY 13790-4111
INC
TOM G JENKINS                            ADDRESS ON FILE
TOM GREEN COUNTY APPRAISAL DISTRICT      2302 PULLIAM ST SAN ANGELO TX 76905


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TOM GREEN COUNTY TAX ASSESSOR COLLECTOR 113 W BEAUREGARD SAN ANGELO TX 76903-5851
TOM V SMITH JR                          ADDRESS ON FILE
TOMAS JOHN SCHAER                       ADDRESS ON FILE
TOMASTIK/CHILLICOTHE FLORAL CO INC      PO BOX 895A CHILLICOTHE OH 45601
TOMBIGBEE ELECTRIC POWER ASSOC-FULTON   P.O. BOX 369 FULTON MS 38843
TOMLINSON BOMBERGER LAWN CARE &         LANDSCAPE 3055 YELLOW GOOSE RD LANCASTER PA 17601
TOMLINSON, KRISTINE                     ADDRESS ON FILE
TOMMY A KEITH                           ADDRESS ON FILE
TOMMY HENDRIX                           ADDRESS ON FILE
TOMMY L JOHNSON                         ADDRESS ON FILE
TOMS MAGNUM PAINTING LLC                738 ABBY MIST DR SAINT JOHNS FL 32259-6900
TOMS PLUMBING SOLUTIONS INC             DBA TOMS PLUMBING SOLUTIONS INC PO BOX 198 SHERMAN IL 62684-0198
TOMS RIVER MUNICIPAL UTILITIES          340 WEST WATER STREET ATTN: IRENE TOMS RIVER NJ 08753-6533
AUTHORITY
TOMS RIVER TOWNSHIP                     20 N THIRD ST TOMS RIVER NJ 08753-3192
TOMS RIVER TOWNSHIP                     DEPARTMENT OF RECREATION 1810 WARREN POINT RD TOMS RIVER NJ 08753-3192
TONEY, PATRICIA A                       ADDRESS ON FILE
TONY BAHRI                              ADDRESS ON FILE
TONY YZAGUIRRE JR TAX ASSESSOR          PO BOX 952 BROWNSVILLE TX 78522-0952
COLLECTOR
TONY YZAGUIRRE JR TAX ASSESSOR          DEPARTMENT OF RECREATION 1810 WARREN POINT RD BROWNSVILLE TX 78522-0952
COLLECTOR
TONYA M KONIGSMARK ESQ                  ADDRESS ON FILE
TONYS IRRIGATION SERVICES INC           PO BOX 357 PLAINFIELD IL 60586
TONYS REFRIGERATION INC                 930 WALL STREET REDDING CA 96002
TOOMBS, MICHAEL                         ADDRESS ON FILE
TOP ELECTRICAL SERVICE LLC              38600 N SHAGBARK LN WADSWORTH IL 60083-9722
TOP ELITE HOTSHOT LLC                   JESUS MURO 171 1ST WAHNETA ST W WINTER HAVEN FL 33880-5809
TOP FLIGHT ELECTRIC INC                 PO BOX 747 EAGLE LAKE FL 33839-0747
TOP GUN PRESSURE CLEANING LLC           4420 SHEPHERD RD MULBERRY FL 33860-9524
TOP GUN PRESSURE WASHING                PO BOX 6175 BEAVERTON OR 97007-6175
TOP GUN PRESSURE WASHING INC            500 WEST 67TH STREET LOVELAND CO 80538
TOP HAT UPHOLSTERY                      420 13TH AVENUE NORTH BIRMINGHAM AL 35204
TOP SHELF INC                           4240 REGENCY COURT DAVENPORT IA 52806
TOP SHOT C K R INC                      DBA TOP SHOT COMMERCIAL KITCHEN REPAIR 5075 26TH AVE ROCKFORD IL 61109-1703
TOPEKA HANDYMAN LLC                     1007 NE MADISON ST TOPEKA KS 66608-1131
TOPTAL LLC                              TASO DU VAL 2810 N CHURCH ST 36879 WILMINGTON DE 19802-4447
TORBIK SAFE & LOCK INC                  575 S MAIN ST WILKES-BARRE PA 18701-2101
TORCH SERVICE COMPANY LLC               PO BOX 2218 OWASSO OK 74055-9618
TORGERSON, E.O. LOGAN                   ADDRESS ON FILE
TORKILDSON, KATZ, MOORE, HETHERINGTON   & HARRIS ATTN: NEWTON J. CHU 120 PAUAHI STREET, STE 312 HILO HI 96270
TORNIG GA LLC                           720 E PALISADE AVE STE 103 ENGLEWOOD CLIFFS NJ 07632-3054
TORONTO CITY                            PO BOX 5000 TORONTO ON M2N 5V1 CANADA
TORONTO CITY                            PO BOX 952 TORONTO ON M2N 5V1 CANADA
TORONTO HYDRO ELECTRIC SYSTEM           PO BOX 4490 STN A TORONTO ON M5W 4H3 CANADA
TORONTO LICENSING COMMISSION            939 EGLINTON AVE EAST STE 200 TORONTO ON M4G 2L6 CANADA
TORONTO PROPERTY SOLUTIONS LTD          276 FLOYD AVE TORONTO ON M4J 2J3 CANADA
TORONTO WATER & SOLID WASTE MGMT SVCS   BOX 6000 REVENUE SERVICES TORONTO ON M2N 5V3 CANADA
TORRANCE LOCK & KEY INC                 2421 TORRANCE BOULEVARD TORRANCE CA 90501-2402
TORRES, SERGIO                          ADDRESS ON FILE


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TORRES, YVONNE                        ADDRESS ON FILE
TORREZ, SERGIO                        ADDRESS ON FILE
TOSORE, JOY                           ADDRESS ON FILE
TOTAL AIR EXPERTS LLC                 436 MERRITT RD BENTON LA 71006-4321
TOTAL ARMORED CAR                     2950 ROSA PARKS BLVD DETROIT MI 48216
TOTAL BLIND CARE                      134 WILLIAMSBURG ROAD KITCHENER ON N2E 1K7 CANADA
TOTAL CARE PLUMBING INC               2950 HEARTLAND DR GRAND FORKS ND 58201-3309
TOTAL CONTROL PRESSURE WASHING        DBA YANCEY BURMAN 2151 OAK HAMMOCK PRESERVE BLVD KISSIMMEE FL 34746-2234
TOTAL DISPOSAL                        100 BLAINE STREET GARY IN 46406
TOTAL FIRE & SAFETY INC               6808 HOBSON VALLEY DR STE 105 WOODRIDGE IL 60517-1449
TOTAL LANDSCAPING SERVICES LLC        847 S RANDALL RD PMB 179 ELGIN IL 60123-3002
TOTAL LOCK & SECURITY INC             11772 WESTLINE INDUSTRIAL DRIVE ST LOUIS MO 63146
TOTAL MECHANICAL SYSTEMS CORP         194 MORRIS AVENUE STE 5 HOLTSVILLE NY 11742-1452
TOTAL QUALITY LOGISTICS LLC           PO BOX 634558 CINCINNATI OH 45263-4558
TOTAL SECURITY CORPORATION            DBA LOCKSMITH SERVICES OF TYLER PO BOX 7397 TYLER TX 75711
TOTAL SPECIALTY CLEANING LLC          PO BOX 505 LEXINGTON SC 29071-0505
TOTAL SYSTEMS CONTROL INC             1002 OAK STREET LARGE PA 15025
TOUCH OF GREEN INC                    PO BOX 4707 GRAND JCT CO 81502-4707
TOUCHPOINT INC                        PO BOX 935792 ATLANTA GA 31193-5792
TOUCHSTONE II                         ADDRESS ON FILE
TOUCHSTONE MERCHANDISE GROUP          ATTN: ACCOUNTS RECEIVABLE 110 MERCANTILE DR STE 2 FAIRFIELD OH 45014-3699
TOUTES SAISONS                        ADDRESS ON FILE
TOWN CENTER FACILITY MAINTENANCE II   EAST DIVISION PO BOX 2273 BRIGHTON MI 48116
TOWN CENTER REFRIGERATION INC         DBA TOWN CENTER INC PO BOX 2273 BRIGHTON MI 48116-6073
TOWN OF AMHERST                       PO BOX 5000 WILLIAMSVILLE NY 14221-5499
TOWN OF AMHERST                       TOWN CLERK 5583 MAIN STREET WILLIAMSVILLE NY 14221-5499
TOWN OF AVON                          TOWN CLERK 5583 MAIN STREET AVON IN 46123
TOWN OF AVON                          210 WESTRIDGE OFFICE PARK 6781 EAST RT 36 AVON IN 46123
TOWN OF BABYLON                       210 WESTRIDGE OFFICE PARK 6781 EAST RT 36 LINDENHURST NY 11757
TOWN OF BABYLON                       200 E SUNRISE HWY LINDENHURST NY 11757
TOWN OF BABYLON, NY                   281 PHELPS LN RM 19 NORTH BABYLON NY 11703-4006
TOWN OF BEL AIR                       200 E SUNRISE HWY BEL AIR MD 21014-3256
TOWN OF BEL AIR                       39 N HICKORY AVE BEL AIR MD 21014-3256
TOWN OF BEL AIR, MD                   39 HICKORY AVENUE BEL AIR MD 21014
TOWN OF BIG FLATS                     39 N HICKORY AVE BIG FLATS NY 14814
TOWN OF BIG FLATS                     476 MAPLE STREET BIG FLATS NY 14814
TOWN OF BROOKHAVEN                    476 MAPLE STREET MEDFORD NY 11763
TOWN OF BROOKHAVEN                    3233 ROUTE 112 MEDFORD NY 11763
TOWN OF CARY                          INSPECTIONS AND PERMITS DEPARTMENT PO BOX 8005 CARY NC 27512-8005
TOWN OF CARY, NC                      PO BOX 71090 CHARLOTTE NC 28272-1090
TOWN OF CHRISTIANSBURG                3233 ROUTE 112 CHRISTIANSBURG VA 24073
TOWN OF CHRISTIANSBURG                C/O SERGEANT P R TOWNLEY 100 EAST MAIN STREET CHRISTIANSBURG VA 24073
TOWN OF CHRISTIANSBURG, VA            100 EAST MAIN STREET CHRISTIANSBURG VA 24073-3029
TOWN OF CLARKSTOWN                    C/O SERGEANT P R TOWNLEY 100 EAST MAIN STREET NEW CITY NY 10956-5011
TOWN OF CLARKSTOWN                    ATTN: FALSE ALARM ENFORCEMENT UNIT 20 MAPLE AVE NEW CITY NY 10956-5011
TOWN OF COLONIE                       ATTN: FALSE ALARM ENFORCEMENT UNIT 20 MAPLE AVE LATHAM NY 12110
TOWN OF COLONIE                       DEPARTMENT OF FIRE SERVICE 347 OLD NISKAYUNA RD LATHAM NY 12110
TOWN OF GILBERT                       90 E CIVIC CENTER DRIVE GILBERT AZ 85296
TOWN OF GILBERT                       50 E CIVIC CENTER DR GILBERT AZ 85296



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TOWN OF GILBERT, AZ                  PO BOX 52653 ATTN: UTILITY DEPARTMENT PHOENIX AZ 85072-2653
TOWN OF GRAND CHUTE                  502 W NORTHLAND AVE APPLETON WI 54911
TOWN OF GRAND CHUTE                  1900 GRAND CHUTE BOULEVARD GRAND CHUTE WI 54913-9613
TOWN OF GRANVILLE                    DEPARTMENT OF FIRE SERVICE 347 OLD NISKAYUNA RD GRANVILLE WV 26534
TOWN OF GRANVILLE                    P O BOX 119 GRANVILLE WV 26534
TOWN OF GREECE                       P O BOX 119 GREECE NY 14612
TOWN OF GREECE                       1 VINCE TOFANY BLVD GREECE NY 14612
TOWN OF GREENBURGH                   1 VINCE TOFANY BLVD WHITE PLAINS NY 10607-1624
TOWN OF GREENBURGH                   POLICE DEPARTMENT 188 TARRYTOWN RD WHITE PLAINS NY 10607-1624
TOWN OF HAMBURG                      C/O ALARM ORDINANCE ENFORCEMENT 6100 SOUTH PARK AVENUE HAMBURG NY 14075
TOWN OF HENRIETTA                    PO BOX 999 HENRIETTA NY 14467-0999
TOWN OF HENRIETTA                    POLICE DEPARTMENT 188 TARRYTOWN RD HENRIETTA NY 14467-0999
TOWN OF HENRIETTA, NY                PO BOX 999 HENRIETTA NY 14467-0999
TOWN OF MATTHEWS                     PO BOX 999 MATTHEWS NC 28105
TOWN OF MATTHEWS                     232 MATTHEWS STATION STREET MATTHEWS NC 28105
TOWN OF MERRILLVILLE                 232 MATTHEWS STATION STREET MERRILLVILLE IN 46410
TOWN OF MERRILLVILLE                 7820 BROADWAY MERRILLVILLE IN 46410
TOWN OF MUNSTER                      7820 BROADWAY MUNSTER IN 46321
TOWN OF MUNSTER                      1005 RIDGE ROAD MUNSTER IN 46321
TOWN OF MUNSTER, IN                  1005 RIDGE ROAD MUNSTER IN 46321-1895
TOWN OF NEW HARTFORD                 OFFICE OF CODE ENFORCEMENT 111 NEW HARTFORD ST NEW HARTFORD NY 13413
TOWN OF NEW HARTFORD                 FIRE SAFETY & PROPERTY MAINTENANCE INSPECTION NEW HARTFORD NY 13413-3408
TOWN OF NORTH HEMPSTEAD              DEPARTMENT OF BUILDING INSPECTIONS 220 PLANDOM RD MANHASSETT NY 11030
TOWN OF ORO VALLEY                   ATTN BUILDING DEPARTMENT 11000 NORTH CANADA DRIVE ORO VALLEY AZ 85737
TOWN OF OYSTER BAY                   DEPARTMENT OF PLANNING & DEVELOPMENT DIVISION OF BUILDING OYSTER BAY NY
                                     11771-1504
TOWN OF OYSTER BAY                   DEPT OF PLANNING & DEVELOPMENT DIVISION OF BUILDING 74 AUDREY AVE OYSTER BAY
                                     NY 11771-1504
TOWN OF PINEVILLE                    1005 RIDGE ROAD PINEVILLE NC 28134
TOWN OF PINEVILLE                    PO BOX 249 PINEVILLE NC 28134
TOWN OF POUGHKEEPSIE                 PO BOX 249 POUGHKEEPSIE NY 12603
TOWN OF POUGHKEEPSIE                 1 OVEROCKER ROAD POUGHKEEPSIE NY 12603
TOWN OF SECAUCUS                     1 OVEROCKER ROAD SECAUCUS NJ 07094
TOWN OF SECAUCUS                     1203 PATTERSON PLANK RD SECAUCUS NJ 07094
TOWN OF ULSTER                       ATTN: FIRE INSPECTIOR 1 TOWN HALL DRIVE LAKE KATRINE NY 12449
TOWN OF ULSTER, NY                   1 TOWN HALL DRIVE WATER AND SEWER DISTRICTS LAKE KATRINE NY 12449
TOWN OF VESTAL                       BUILDING DEPARTMENT 133 FRONT STREET VESTAL NY 13850
TOWN OF VESTAL                       1203 PATTERSON PLANK RD VESTAL NY 13850
TOWN OF VESTAL, NY - UTILITY FUND    701 VESTAL PKWY WEST VESTAL NY 13850-1363
TOWN OF WALLKILL                     BUILDING DEPARTMENT 133 FRONT STREET MIDDLETOWN NY 10941
TOWN OF WALLKILL                     BUILDING DEPARTMENT 99 TOWER DRIVE BLDG A MIDDLETOWN NY 10941
TOWN OF WALLKILL, NY                 PO BOX 6705 SOUTHEASTERN PA 19398
TOWN OF WATERTOWN, NY                22867 CO RTE 67 WATERTOWN NY 13601
TOWN OF WETHERSFIELD                 BUILDING DEPARTMENT 99 TOWER DRIVE BLDG A WETHERSFIELD CT 06109
TOWN OF WETHERSFIELD                 CENTRAL CT HEALTH DISTRICT 505 SILAS DEANE HIGHWAY WETHERSFIELD CT 06109
TOWN SQUARE PUBLICATIONS LLC         PO BOX 6754 CAROL STREAM IL 60197-6754
TOWNSEND, JAMES                      ADDRESS ON FILE
TOWNSHIP OF CHERRY HILL              820 MERCER STREET CHERRY HILL NJ 08002
TOWNSHIP OF DELRAN                   CENTRAL CT HEALTH DISTRICT 505 SILAS DEANE HIGHWAY DELRAN NJ 08075



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TOWNSHIP OF DELRAN SEWER DEPARTMENT     900 CHESTER AVENUE DELRAN NJ 08075
TOWNSHIP OF DEPARTMENTFORD              MUNICIPAL BUILDING 1011 COOPER STREET DEPARTMENTFORD NJ 08096
TOWNSHIP OF EAST BRUNSWICK              DEPARTMENT OF PUBLIC SAFETY PO BOX 1081 EAST BRUNSWICK NJ 08816-1081
TOWNSHIP OF HAMILTON                    900 CHESTER AVENUE MAYS LANDING NJ 08330
TOWNSHIP OF HAMILTON                    21 CANTILLON BLVD ROOM 104 MAYS LANDING NJ 08330
TOWNSHIP OF LAWRENCE                    21 CANTILLON BLVD ROOM 104 LAWRENCEVILLE NJ 08648
TOWNSHIP OF LAWRENCE                    PO BOX 6006 LAWRENCEVILLE NJ 08648
TOWNSHIP OF MARQUETTE                   PO BOX 6006 MARQUETTE MI 49855
TOWNSHIP OF MARQUETTE                   1000 COMMERCE DRIVE MARQUETTE MI 49855
TOWNSHIP OF OCEAN                       1000 COMMERCE DRIVE OAKHURST NJ 07755-1589
TOWNSHIP OF OCEAN                       399 MONMOUTH ROAD OAKHURST NJ 07755-1589
TOWNSHIP OF OCEAN SEWERAGE AUTHORITY    399 MONMOUTH RD C/O TOWNSHIP OF OCEAN TAX COLLECTOR OAKHURST NJ 07755-1589
TOWNSHIP OF ROBINSON                    1000 CHURCH HILL ROAD PITTSBURGH PA 15205-9006
TOWNSHIP OF ROXBURY                     399 MONMOUTH ROAD ROXBURY NJ 07876
TOWNSHIP OF ROXBURY                     72 EYLAND AVE ROXBURY NJ 07876
TOWNSHIP OF ROXBURY SEWER DEPARTMENT,   PO BOX 4248 LANCASTER PA 17604-4248
PA
TOWNSHIP OF SPRINGFIELD                 72 EYLAND AVE SPRINGFIELD PA 19064
TOWNSHIP OF SPRINGFIELD                 50 POWELL ROAD OFFICE KI4-1300 SPRINGFIELD PA 19064
TOWNSHIP OF TOMS RIVER                  50 POWELL ROAD OFFICE KI4-1300 IRVING TX 75014-2976
TOWNSHIP OF TOMS RIVER                  FALSE ALARM REDUCTION PROGRAM PO BOX 142976 IRVING TX 75014-2976
TOWNSHIP OF UNION                       UNION PUBLIC SAFETY DEPT ALARM ENFORCEMENT UNIT UNION NJ 07083
TOWNSHIP OF UNION                       MUNICIPAL BLDG 1976 MORRIS AVE UNION NJ 07083
TOWNSHIP OF UNION SEWER UTILITY         1976 MORRIS AVE ATTN: TAX COLLECTORS OFFICE UNION NJ 07083-1894
TOWNSHIP OF WAYNE                       FALSE ALARM REDUCTION PROGRAM PO BOX 142976 WAYNE NJ 07470
TOWNSHIP OF WAYNE, NJ                   475 VALLEY ROAD WAYNE NJ 07470
TOWNSHIP OF WHITEHALL                   475 VALLEY ROAD WHITEHALL PA 18052-0310
TOWNSHIP OF WHITEHALL                   PO BOX 810 WHITEHALL PA 18052-0310
TOWNSHIP OF WOODBRIDGE                  PO BOX 810 WOODBRIDGE NJ 07095
TOWNSHIP OF WOODBRIDGE                  1 MAIN ST WOODBRIDGE NJ 07095
TOWNSHIP OF WOODBRIDGE POLICE DEPT      RECORDS/FALSE ALARM TRACKING 1 MAIN STREET WOODBRIDGE NJ 07095-3352
TOWSLEY, AGNES                          ADDRESS ON FILE
TPI 1960 RETAIL LLC                     C/O TARANTINO PROPERTIES INC 7887 SAN FELIPE ST STE 237 HOUSTON TX 77063-1621
TPI CYPRESS POINTE LLC                  C/O TARANTINO PROPERTIES, INC. 7887 SAN FELIPE, SUITE 237 HOUSTON TX 77063
TR UWO FRED ZIESS                       DBA 3255 BRUNSWICK PIKE OWNER LLC 841 GILBERT HIGHWAY FAIRFIELD CT 06824
TR UWO FRED ZIESS                       DBA 32 BLANDING BOULEVARD OWNER LLC 841 GILBERT HIGHWAY FAIRFIELD CT 06824
TRACE ILLUMINATION ENTERPRISES INC      DBA J & S ELECTRIC AND SIGN INC 88 N DUGAN RD STE F SUGAR GROVE IL 60554-5122
TRACEY BROWN                            ADDRESS ON FILE
TRACK SHACK FITNESS CLUB INC            1013 MONTANA ST ORLANDO FL 32803-2521
TRACY TROTTER                           ADDRESS ON FILE
TRADE SERVICES NORTHWEST INC            DBA MR ROOTER PLUMBING PO BOX 826 RICHLAND WA 99354
TRADESMAN INC                           DBA RAINMASTER LAWN SYSTEMS 3445 LONDON ROAD EAU CLAIRE WI 54701
TRADIUM MECHANICAL INC                  6-295 QUEEN STREET E SUITE 362 BRAMPTON ON L6W 4S6 CANADA
TRAMONTE DISTRIBUTING CO                1267 SOUTH MAIN ST AKRON OH 44301
TRAN, VO                                35203 SCHOOL ST WESTLAND MI 48185-3637
TRAN, YEN NHI                           ADDRESS ON FILE
TRANE US INC                            PO BOX 406469 ATLANTA GA 30384-6469
TRANS-PLANTS INC                        1260 S SENATE AVE INDIANAPOLIS IN 46225-1564
TRANTANELLA, BRIANNA                    ADDRESS ON FILE



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TRAP-ZAP ENVIRONMENTAL SYSTEMS INC       255 BRAEN AVENUE WYCKOFF NJ 07481-2948
TRASHCO-LAREDO, TX                       P.O. BOX 450635 LAREDO TX 78045
TRAVELERS                                ONE TOWER SQUARE HARTFORD CT 06183
TRAVELERS PROPERTY CASUALTY CO AMERICA   MARSH USA INC QUALIFIED SOLUTIONS GROUP 1166 AVENUE OF THE AMERICAS NEW YORK
                                         NY 10036-2708
TRAVIS CONSTRUCTION & HOME IMPROVEMENT   353 PRESTON AVE LEXINGTON KY 40502-1531
TRAVIS COUNTY TAX ASSESSOR-COLLECTOR     5501 AIRPORT BLVD AUSTIN TX 78751-1410
TRAVIS COUNTY TAX COLLECTOR              1 MAIN ST AUSTIN TX 78714-9328
TRAVIS COUNTY TAX COLLECTOR              C/O NELDA WELLS SPEARS PO BOX 149328 AUSTIN TX 78714-9328
TRAVIS COUNTY TAX OFFICE                 PO BOX 149328 AUSTIN TX 78714-9328
TRAVIS D BECKET                          ADDRESS ON FILE
TREAS OF ALLEGHENY COUNTY                3333 FORBES AVENUE PITTSBURGH PA 15213
TREASURE COAST LAWN & LANDSCAPE INC      1803 NW 22ND ST STUART FL 34994-9269
TREASURER                                C/O NELDA WELLS SPEARS PO BOX 149328 NORRISTOWN PA 19401
TREASURER                                COUNTY OF MONTGOMERY DIV OF ENVIROMENTAL SERVICE 1 LAFAYETTE PLACE STE 325
                                         NORRISTOWN PA 19401
TREASURER - SPOTSYLVANIA COUNTY          P.O. BOX 9000 SPOTSYLVANIA VA 22553-9000
TREASURER CHESTERFIELD COUNTY            C/O RICHARD A CORDLE - TREASURER PO BOX 26585 RICHMOND VA 23285-0088
TREASURER CITY OF HAMPTON                PO BOX 636 HAMPTON VA 23669-0636
TREASURER CITY OF HAMPTON                PO BOX 4758 HAMPTON VA 23669-0636
TREASURER CITY OF TORONTO                ROOM 251-MUNICIPAL BLDG TORONTO ON M2N 5V1 CANADA
TREASURER CITY OF TORONTO                PO BOX 5000 TORONTO ON M2N 5V1 CANADA
TREASURER COUNTY OF NASSAU               PO BOX 5000 WESTBURY NY 11590-2723
TREASURER COUNTY OF NASSAU               NASSAU COUNTY FIRE COMMISSION OFFICE TO FIRE MARSHALL 1194 PROSPECT AVENUE
                                         WESTBURY NY 11590-2723
TREASURER OF FREDERICK COUNTY            NASSAU COUNTY FIRE COMMISSION OFFICE TO FIRE MARSHALL FREDERICK MD 21701-5420
TREASURER OF FREDERICK COUNTY            30 NORTH MARKET STREET FREDERICK MD 21701-5420
TREASURER OF MONTGOMERY COUNTY           30 NORTH MARKET STREET NORRISTOWN PA 19404-0311
TREASURER OF MONTGOMERY COUNTY           OFFICE OF PUBLIC HEALTH ENVIRONMENTAL FIELD SERVICES PO BOX 311 NORRISTOWN PA
                                         19404-0311
TREASURER OF VIRGINIA                    DEPT OF AGRICULTURE & CONSUMER SVCS PO BOX 526 RICHMOND VA 23218-0526
TREASURER SPOTSYLVANIA COUNTY            PO BOX 636 SPOTSYLVANIA VA 22553
TREASURER SPOTSYLVANIA COUNTY            PO BOX 175 SPOTSYLVANIA VA 22553
TREASURER TOWN OF NORTH HAVEN            DEPT OF AGRICULTURE & CONSUMER SERVICES PO BOX 526 NORTH HAVEN CT 06473-2517
TREASURER TOWN OF NORTH HAVEN            C/O NORTH HAVEN POLICE DEPARTMENT 8 LINSLEY ST NORTH HAVEN CT 06473-2517
TREASURER VIRGINIA BEACH                 CITY HALL BUILDING 1 2401 COURTHOUSE DR VIRGINIA BEACH VA 23456-9002
TREASURER, CHESTERFIELD COUNTY           PO BOX 71143 CHARLOTTE NC 28272-1143
TREASURER, CITY OF HAMPTON               ATTN: COMMISSIONER OF REVENUE P.O. BOX 636 HAMPTON VA 23669
TREASURER, CITY OF HARRISONBURG          COMMISSIONER OF THE REVENUE 409 S. MAIN STREET HARRISONBURG VA 22801
TREASURER, SPOTSYLVANIA COUNTY           ATTN: COMMISSIONER OF THE REVENUE P.O. BOX 175 9104 COURTHOUSE ROAD
                                         SPOTSYLVANIA VA 22553-0175
TREASURER, VIRGINIA BEACH                PO BOX 175 VIRGINIA BEACH VA 23456-9002
TREASURER, VIRGINIA BEACH                MUNICIPAL CTR-BLG 1 2401 COURTHOUSE DR. VIRGINIA BEACH VA 23456-9018
TREASURER-CITY OF ROANOKE                COUNTY OF MONTGOMERY DIV OF ENVIROMENTAL SERVICE ROANOKE VA 24011
TREASURER-CITY OF ROANOKE                ROOM 251-MUNICIPAL BLDG ROANOKE VA 24011
TREJO, ALDO L                            ADDRESS ON FILE
TRENT LORFELD INC                        DBA 1-800-GOT-JUNK 2902 E KIMBERLY RD DAVENPORT IA 52807-2365
TRENT SERVICES INC                       DBA ROTO-ROOTER SEWER AND DRAIN PO BOX 470 OPELIKA AL 36803
TREU HOUSE OF MUNCH INC                  8000 ARBOR DRIVE NORTHWOOD OH 43619
TREVOR BAGGETT                           ADDRESS ON FILE


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TREVOR BROWN UPHOLSTERY                 ADDRESS ON FILE
TRI CITIES WATER STORE INC              6510 W OKANOGAN AVE KENNEWICK WA 99336-7628
TRI CITY REGIONAL CHAMBER OF COMMERCE   7130 WEST GRANDRIDGE BLVD SUITE C KENNEWICK WA 99336
TRI COUNTY MECHANICAL LLC               209 MADISON ST PASSAIC NJ 07055
TRI COUNTY PLUMBING CO LLC              2870 NE HOGAN ROAD SUITE E 449 GRESHAM OR 97030
TRI COUNTY WHOLESALE DISTRIBUTORS INC   425 VICTORIA RD STE A YOUNGSTOWN OH 44515-2007
TRI SERVICE COMPANY LLC                 1016 THOMAS DR 303 PANAMA CITY BEACH FL 32408-7444
TRI STATE PAVEMENT SEALING & STRIPING   PO BOX 8221 EVANSVILLE IN 47716-8221
TRI TOWN ELECTRIC INC                   4153 PROGRESS BLVD PERU IL 61354
TRI WORKS INC                           DBA HVAC & R ELECT PLUMBING 6246 CARDINAL DRIVE EAST STROUDSBURG PA 18301
TRI-CITIES BEVERAGE                     612 INDUSTRIAL PARK DR NEWPORT NEWS VA 23608
TRI-COUNTY BEVERAGE CO                  2651 E TEN MILE RD WARREN MI 48091
TRI-COUNTY ELECTRIC LLC                 10696 WENGERLAWN RD BROOKVILLE OH 45309-9626
TRI-COUNTY HEALTH DEPARTMENT            7000 E BELLEVIEW SUITE 301 ENGLEWOOD CO 80111-1628
TRI-COUNTY INDUSTRIES, INC              PO BOX 858 MARS PA 16046
TRI-STAR GRAPHICS LLC                   DBA FASTSIGNS OF COOKEVILLE 220 ROTARY CENTENNIAL DR STE B COOKEVILLE TN
                                        38501-5986
TRI-STAR INDUSTRIAL LIGHTING            PO BOX 275 BROOKFIELD IL 60513
TRI-STATE CARTING                       P.O. BOX 5298 TOMS RIVER NJ 08754-5289
TRI-STATE LOCK & SAFE INC               419 WEST 3RD STREET TIFTON GA 31794
TRIAD MUNICIPAL ABC BOARD               3127 STARLIGHT DRIVE WINSTON SALEM NC 27107-4141
TRIAD SERVICE CENTER INC                PO BOX 1803 GRAND RAPIDS MI 49501-1803
TRIANGLE KNIFE LLC                      DBA PRO EDGE KNIFE 7431 MISSION GORGE ROAD SAN DIEGO CA 92120
TRIANGLE SAFE & LOCK INC                1400 SUNSET BOULEVARD WEST COLUMBIA SC 29169
TRIBELLA PROPERTIES LLC                 PO BOX 210 HUDSON WI 54016-0210
TRIBLES LAWN CARE LLC                   28468 ELEYS FORD RD RICHARDSVILLE VA 22736-1818
TRICIA DURHAM                           ADDRESS ON FILE
TRICOM CARD TECHNOLOGIES INC            23905 CLINTON KEITH RD 114-508 WILDOMAR CA 92595-7897
TRIDENT FRANCHISE SYSTEM LLC            DBA JAN PRO OF THE TRIAD 11 OAK BRANCH DR STE B GREENSBORO NC 27407-2454
TRINA A. HIGGINS                        US ATTORNEYS OFFICE US DISTRICT COURTHOUSE 351 S WESTTEMPLE, ROOM 3.200 SALT
                                        LAKE CITY UT 84101
TRINA A. HIGGINS                        US ATTORNEYS OFFICE 111 SOUTH MAIN ST, SUITE 1800 SALT LAKE CITY UT 84111-2176
TRINA A. HIGGINS                        US ATTORNEYS OFFICE 20 N MAIN ST, STE 208 ST. GEORGE UT 84770
TRINI E. ROSS                           OFFICE OF THE UNITED STATES ATTORNEY 138 DELAWARE AVE BUFFALO NY 14202
TRINI E. ROSS                           OFFICE OF THE UNITED STATES ATTORNEY 100 STATE ST, STE 500 ROCHESTER NY 14614
TRINITY AIR CONDITIONING INC            PO BOX 2461 WICHITA FALLS TX 76307-2461
TRINITY INVESTIGATIONS AND SECURITY INC PO BOX 621436 OVIEDO FL 32762-1436
TRINITY PROPERTY SERVICES - ITF - ADMNS C/O TRINITY PROPERTY SERVICES INC 77 BLOOR STREET WEST SUITE 1601 TORONTO ON
                                        M5S 1M2 CANADA
TRINITY SCHOOL DISTRICT TAX COLLECTOR   550 WASHINGTON ROAD WASHINGTON PA 15301
TRINITY SECURITY SERVICES ATL LLC       1744 CAMBRIDGE AVE APT 7 ATLANTA GA 30337-2006
TRINITY TILE GROUP                      DBA TRINITY SURFACES 115 SW 49TH AVE STE 105 OCALA FL 34474-1807
TRINTECH INC                            PO BOX 734950 DALLAS TX 75373-4950
TRIPADVISOR HOLDINGS LLC                DBA TRIPADVISOR LLC PO BOX 844325 DALLAS TX 75284-4325
TRIPIUM LLC                             269 STATE HWY 248 STE 5 BRANSON MO 65616-3728
TRIPLE BAR YORK MARKETPLACE LLC         C/O JC BAR PROPERTIES INC 224 SAINT CHARLES WAY STE 290 YORK PA 17402-4667
TRIPLE F DISTRIBUTING INC               PO BOX 29960 HONOLULU HI 96820-2360
TRIPLE J CONTRACTING SERVICES INC       636 OLIVE AVE OSHAWA ON L1H 2R7 CANADA
TRIPLE S - MICHELADA LLC                DBA TRIPLE S 808 MORELOS AVE RANCHO VIEJO TX 78575-9549
TRIPLE TTT ELECTRIC INC                 623 WORCHESTER WESTLAND MI 48186


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TRISTAN DONOVAN MCBRIDE                  ADDRESS ON FILE
TRITZ BEVERAGE SYSTEMS INC               888 E BELVIDERE ROAD 220 GRAYSLAKE IL 60030
TRIUMPH GROUP INC                        DBA DETAILED SERVICES PO BOX 819 ANOKA MN 55303-0819
TRIVAN ROOFING SYSTEMS OF OKLAHOMA LLC   DBA TRIVAN ROOFING 1084 TEXAN TRL GRAPEVINE TX 76051-3703
TROPICAL DESIGN INC                      PO BOX 13412 MAUMELLE AR 72113-0412
TROPICAL PLANT DESIGN INC                2702 W SKELLY DRIVE TULSA OK 74107
TROPICAL REEF MAINTENANCE                PO BOX 843 HOLLAND OH 43528
TROPITONE FURNITURE CO INC               32992 COLLECTION CENTER DRIVE CHICAGO IL 60693-0329
TROTTER ELECTRIC INC                     7800 COLLIER STREET FORT SMITH AR 72916
TROUBLE SHOOTERS OF MID-MICHIGAN INC     1565 AIRWAY DRIVE MT PLEASANT MI 48858
TROY RIVETTI, ACTING                     US ATTORNEYS OFFICE STE 200 - PENN TRAFFIC BLDG 319 WASHINGTON ST JOHNSTOWN PA
                                         15901
TROY RIVETTI, ACTING                     US ATTORNEYS OFFICE JOSEPH F WEIS, JR, US COURTHOUSE 700 GRANT ST, STE 4000
                                         PITTSBURGH PA 15219
TROY RIVETTI, ACTING                     US ATTORNEYS OFFICE FEDERAL COURTHOUSE, ROOM A330 17 S PARK ROW ERIE PA 16501
TRS JANITORIAL SUPPLIES                  DBA CAPITAL SUPPLY COMPANY 115 CASTLE RD SECAUCUS NJ 07094-1647
TRU GREEN LP                             TRUGREEN PROCESSING CENTER PO BOX 9001033 LOUISVILLE KY 40290-1033
TRU VUE WINDOW CLEANING INC              390 EDGELEY BOULEVARD UNIT 30 CONCORD ON L4K 3Z6 CANADA
TRU-COMFORT INC                          155 PRAIRIE LAKE RD STE (RANGE A - E) EAST DUNDEE IL 60118-9123
TRU-LOCK AND SECURITY INC                2080 TRUAX BOULEVARD EAU CLAIRE WI 54703
TRUCKEE MEADOWS WATER AUTHORITY          PO BOX 12000 RENO NV 89520
TRUE FINISH LANDSCAPING LLC              PO BOX 631 ASHTABULA OH 44005-0631
TRUE FOOD SERVICE EQUIPMENT INC          PO BOX 790100 DEPT 456139 ST LOUIS MO 63179-0100
TRUE MANUFACTURING CO INC                DEPARTMENT 547214 PO BOX 790100 SAINT LOUIS MO 63179-0100
TRUE PLUMBERS INC                        4000 N FRONTAGE RD PLANT CITY FL 33565-2543
TRUE VIEW WINDOWS AND GLASS LLC          2222 E JONES AVE PHOENIX AZ 85040-1467
TRUGREEN                                 2385 MATHESON BLVD E MISSISSAUGA ON L4W 5B3 CANADA
TRUGREEN LIMITED PARTNERSHIP             TRUGREEN PROCESSING CENTER PO BOX 78611 PHOENIX AZ 85062-8611
TRULY NOLEN OF AMERICA INC               2525 WHITFIELD INDUSTRIAL WAY SARASOTA FL 34243-4066
TRUMBULL COUNTY COMBINED HEALTH          C/O NORTH HAVEN POLICE DEPARTMENT 8 LINSLEY ST WARREN OH 44483
DISTRICT
TRUMBULL COUNTY COMBINED HEALTH          176 CHESTNUT AVE NE WARREN OH 44483
DISTRICT
TRUNG TRAN                               ADDRESS ON FILE
TRUSSVILLE GAS AND WATER                 P.O. BOX 836 TRUSSVILLE AL 35173
TRY-IT DISTRIBUTING                      4155 WALDEN AVENUE LANCASTER NY 14086
TRYON DISTRIBUTING LLC                   2030 PARK TRYON CT DURHAM NC 27703-6482
TSW CORP                                 DBA ROTO ROOTER 10291 ROUTE 414 CANTON PA 17724-7240
TTCL SERVICES LLC                        DBA FISH WINDOW CLEANING PO BOX 22268 BILLINGS MT 59104-2268
TUCKER ACOUSTICAL PRODUCTS INC           2014 STEEL DRIVE TUCKER GA 30084-5832
TUCKER, DIANE                            ADDRESS ON FILE
TUCKER, STEVEN                           ADDRESS ON FILE
TUCSON ELECTRIC POWER COMPANY            PO BOX 5171 HARLAN IA 51593-0671
TUCSON ELECTRIC POWER COMPANY            3950 E IRVINGTON RD TUCSON AZ 85714
TUCSON JUNK HAULING LLC                  DBA 1800 GOT JUNK 630 HOOVER ST NE MINNEAPOLIS MN 55413-3209
TUCSON POLICE DEPARTMENT                 1310 W MIRACLE MILE TUCSON AZ 85705
TUKAIZ LLC                               PO BOX 14470 SAINT LOUIS MO 63178-4470
TULARE CO ENVIRONMENTAL HEALTH           5957 S MOONEY BLVD VISALIA CA 93277
TULARE COUNTY TAX COLLECTOR              PO BOX 102495 PASADENA CA 91189-0118
TULARE COUNTY TREASURER-TAX COLLECTOR    221 S MOONEY BLVD RM 104-E VISALIA CA 93291


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TULLAHOMA CITY RECORDER                  PO BOX 807 TULLAHOMA TN 37388
TULLAHOMA UTILITIES AUTHORITY            PO BOX 788 TULLAHOMA TN 37388
TULLAHOMA UTILITIES BOARD                901 SOUTH JACKSON STREET TULLAHOMA TN 37388
TULSA COUNTY TREASURER                   PO BOX 21017 TULSA OK 74121-1017
TUMEX CORPORATION SPECIALTY ELECTRIC     PO BOX 6290 YUMA AZ 85366
TUNDRA RESTAURANT SUPPLY INC             PO BOX 74007307 CHICAGO IL 60674-7307
TUPELO WATER & LIGHT DEPARTMENT          320 COURT STREET TUPELO MS 38802
TUPELO WATER & LIGHT DEPT                P.O. BOX 588 TUPELO MS 38802-0588
TURBO CLEAN LLC                          1246 MEADOWBROOK DR CAPE GIRARDEAU MO 63703-8023
TURBO KEY LLC                            35454 COLLINGWOOD DR STERLING HEIGHTS MI 48312-4233
TURBO TECHNICIANS LLC                    16506 WESTGROVE DRIVE ADDISON TX 75001
TURF 360 LLC                             DBA MR MOW IT ALL 725 SE WACO PLACE WAUKEE IA 50263-8397
TURF PARADISE INC                        PO BOX 1533 LONGMONT CO 80502
TURFS UP LAWN SERVICE LLC                725 MENGES MILLS RD SPRING GROVE PA 17362-9182
TURFTENDERS INC                          PO BOX 539 FREDONIA NY 14063
TURMAN, ERIC                             ADDRESS ON FILE
TURNBOW, CYRUS JAMES, TURNBOW, JAMILLA   ADDRESS ON FILE
TURNER, APRIL MILLER                     ADDRESS ON FILE
TURTLE CREEK VALLEY COUNCIL OF GOVTS     PO BOX 778 MONROEVILLE PA 15146-0778
TURTLE CREEK VALLEY COUNCIL OF GOVTS     25 OAK DRIVE MONROEVILLE PA 15146-0778
TUSCALOOSA COUNTY                        HEALTH DEPARTMENT 1101 JACKSON AVE TUSCALOOSA AL 35401
TUSCALOOSA COUNTY                        PO BOX 20738 TUSCALOOSA AL 35402-0738
TUSCALOOSA COUNTY TAX COLLECTOR          714 GREENSBORO AVE RM 124 TUSCALOOSA AL 35401-1891
TUSCANY ENTERPRISES INC                  DBA EVERCLEAR HYDRO-JETTING 8610 WILD HORSE ROAD SALINAS CA 93907
TUSCARAWAS COUNTY TREASURER              125 E HIGH AVE PHILADELPHIA OH 44663
TUSCON ELECTRIC POWER COMPANY            SERVICE DEPOSITS RC-120 3950 EAST IRVINGTON ROAD TUSCON AZ 85714
TUX WINDOW CLEANING LTD                  9400 MENAUL BLVD NE ALBUQUERQUE NM 87112-2239
TWC SERVICES INC                         12590 METRO PARKWAY FORT MYERS FL 33966
TWD PLUMBING INC                         DBA MR ROOTER PLUMBING PO BOX 494 MANSFIELD OH 44901
TWELVE OAKS MALL LTD PARTNRSHP           DEPT 52701 - PO BOX 67000 DETROIT MI 48267-0523
TWIN CITY ELECTRIC CO INC                PO BOX 4513 LAFAYETTE IN 47903-4513
TWIN CITY SECURITY                       8131 LYNDON B JOHNSON FWY STE 110 DALLAS TX 75251-1327
TWIN CITY SERVICE CO INC                 1710 S PACIFIC AVE KELSO WA 98626-1511
TWIN OAKS LANDSCAPING LLC                4 WHITE OAK TER CAMPBELL HALL NY 10916-2114
TWO BROTHERS UPHOLSTERY 1                1750 N WAYNE RD WESTLAND MI 48185-3538
TWO D HOLDINGS LLC                       C/O DAVID SUH PO BOX 1097 ENGLEWOOD CLIFFS NJ 07632-0097
TWO MIKES PLUMBING & HEATING LLC         PO BOX 649 GOODRICH MI 48438
TWO-FOLD WATER ENGINEERING INC           PO BOX 767 MELROSE FL 32666
TWP OF TOMS RIVER DEPARTMENT OF HEALTH   FOOD ESTABLISHMENTS PO BOX 728 TOMS RIVER NJ 08754
TWS ENTERPRISES INC                      DBA SULLIVAN PLUMBING PO BOX 188 AMHERST VA 24521
TXQWS LLC                                DBA KINETICO QUALITY WATER SYSTEMS 15678 TRADESMAN SAN ANTONIO TX 78249
TY JAMES VISCONTI                        ADDRESS ON FILE
TYCO INTEGRATED SECURITY CANADA INC      CONSOLIDATED BILLING DEPT 40 SHEPPARD AVENUE WEST TORONTO ON M2N 6K9 CANADA
TYLER CARROLL                            ADDRESS ON FILE
TYLER SALES CO INC                       2100 PARK STREET MUSKEGON HEIGHTS MI 49444
TYLER, JAMEKA                            ADDRESS ON FILE
TYLERS LOCK & KEY SERVICE INC            821 JEFFERSON STREET JEFFERSON CITY MO 65101
TYRELL EDWARDS                           ADDRESS ON FILE
TYRELL JOHNSON                           ADDRESS ON FILE



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U S FLAGPOLE SERVICE LLC                 U S FLAGPOLE INC 5480 58TH ST N 28001 KENNETH CITY FL 33709-2036
U S LAWN AND LANDSCAPE LLC               2549 PETTY DR BOWLING GREEN KY 42103-7162
U S TOY COMPANY INC                      DBA CONSTRUCTIVE PLAYTHINGS 13201 ARRINGTON ROAD GRANDVIEW MO 64030
U S WATER BOYS INC                       PO BOX 462 260 W NORTH STREET MANHATTAN IL 60442-0462
U STREET CLEANING SERVICE LLC            900 22ND ST NE APT 202 WASHINGTON DC 20002-3251
U.S. CUSTOMS AND BORDER PROTECTION       1300 PENNSYLVANIA AVENUE, NW WASHINGTON DC 20229
U.S. CUSTOMS AND BORDER PROTECTION       6650 TELECOM DRIVE INDIANAPOLIS IN 46728
U.S. DEPARTMENT OF JUSTICE               950 PENNSYLVANIA AVENUE, NW WASHINGTON DC 20530-0001
U.S. DEPARTMENT OF LABOR - OSHA          REGION 10 REGIONAL OFFICE 20425 72ND AVE SOUTH, SUITE 150 A KENT WA 98032-2388
U.S. DEPT HEALTH & HUMAN SERVICES        200 INDEPENDENCE AVE, SW WASHINGTON DC 20201
U.S. DEPT OF STATE                       DIRECTORATE OF DEFENCE TRADE CONTROLS COMPLIANCE & REGISTRATION DIV 2401 E
                                         STREET NW, SA-1, RM H1200 WASHINGTON DC 20522-0112
U.S. ENVIRONMENTAL PROTECTION AGENCY     OFFICE OF GENERAL COUNSEL 2310A 1200 PENNSYLVANIA AVENUE, NW WASHINGTON DC
                                         20460
U.S. EQUAL EMPLOYMENT OPPORTUNITY COMM. NEW YORK DISTRICT OFFICE 33 WHITEHALL STREET, 5TH FLOOR NEW YORK NY 10004
U.S. EQUAL EMPLOYMENT OPPORTUNITY COMM. PHILADELPHIA DISTRICT OFFICE 801 MARKET STREET, SUITE 1000 PHILADELPHIA PA
                                        19107-3126
U.S. EQUAL EMPLOYMENT OPPORTUNITY COMM. HEADQUARTERS 131 M STREET, NE FOURTH FLOOR, SUITE 4NWO2F WASHINGTON DC 20507
U.S. EQUAL EMPLOYMENT OPPORTUNITY COMM. CHARLOTTE DISTRICT OFFICE 129 WEST TRADE STREET SUITE 400 CHARLOTTE NC 28202
U.S. EQUAL EMPLOYMENT OPPORTUNITY COMM. ATLANTA DISTRICT OFFICE SAM NUNN ATLANTA FEDERAL CENTER 100 ALABAMA STREET,
                                        SW, SUITE 4R30 ATLANTA GA 30303
U.S. EQUAL EMPLOYMENT OPPORTUNITY COMM. BIRMINGHAM DISTRICT OFFICE RIDGE PARK PLACE 1130 22ND STREET SOUTH, STE 2000
                                        BIRMINGHAM AL 35205
U.S. EQUAL EMPLOYMENT OPPORTUNITY COMM. MEMPHIS DISTRICT OFFICE 1407 UNION AVENUE, 9TH FLOOR MEMPHIS TN 38104
U.S. EQUAL EMPLOYMENT OPPORTUNITY COMM. INDIANAPOLIS DISTRICT OFFICE 101 WEST OHIO ST, STE 1900 INDIANAPOLIS IN 46204
U.S. EQUAL EMPLOYMENT OPPORTUNITY COMM. CHICAGO DISTRICT OFFICE JCK FEDERAL BUILDING 230 S DEARBORN ST, STE 1866
                                        CHICAGO IL 60604
U.S. EQUAL EMPLOYMENT OPPORTUNITY COMM. ST. LOUIS DISTRICT OFFICE ROBERT A. YOUNG FEDERAL BUILDING 1222 SPRUCE ST., RM
                                        8.100 ST. LOUIS MO 63103
U.S. EQUAL EMPLOYMENT OPPORTUNITY COMM. MIAMI DISTRICT OFFICE MIAMI TOWER 100 SE 2ND STREET, SUITE 1500 MIAMI FL 33131
U.S. EQUAL EMPLOYMENT OPPORTUNITY COMM. HOUSTON DISTRICT OFFICE MICKEY LELAND BUILDING 1919 SMITH STREET, 6TH FLOOR
                                        HOUSTON TX 77002
U.S. EQUAL EMPLOYMENT OPPORTUNITY COMM. PHOENIX DISTRICT OFFICE 3300 NORTH CENTRAL AVENUE SUITE 690 PHOENIX AZ
                                        85012-2504
U.S. EQUAL EMPLOYMENT OPPORTUNITY COMM. LOS ANGELES DISTRICT OFFICE ROYBAL FEDERAL BUILDING 255 EAST TEMPLE ST., 4TH
                                        FLOOR LOS ANGELES CA 90012
U.S. EQUAL EMPLOYMENT OPPORTUNITY COMM. SAN FRANCISCO DISTRICT OFFICE 450 GOLDEN GATE AVENUE 5 WEST, P.O BOX 36025 SAN
                                        FRANCISCO CA 94102-3661
UAJA - UNIVERSITY AREA JOINT AUTHORITY   1576 SPRING VALLEY ROAD STATE COLLEGE PA 16801-8499
UB DISTRIBUTORS LLC                      DBA CRAFT BEER GUILD DISTRIBUTING OF NEW YORK LLC 12 SOUTH PUTT CORNERS ROAD
                                         NEW PALTZ NY 12561
UB MIDWAY LLC                            C/O MIDWAY SHOPPING CENTER 321 RAILROAD AVENUE GREENWICH CT 06830
UBER POETIER CANADA INC                  5300-66 WELLINGTON STREET WEST TD BANK TOWER TORONTO ON M5K 1E6 CANADA
UBS-UTILITY BILLING SERVICES             P.O. BOX 8100 LITTLE ROCK AR 72203-8100
UE 675 ROUTE 1 LLC                       PO BOX 95000 LB 1272 PHILADELPHIA PA 19195-0001
UFCW CERTIFICATION APPLICATION           70 CREDITVIEW ROAD WOODBRIDGE ON L4L 9N4 CANADA
UGI ENERGY SERVICES LLC                  P.O. BOX 827032 PHILADELPHIA PA 19182
UGI UTILITIES INC                        PO BOX 15503 WILMINGTON DE 19886-5503
UGI UTILITIES, INC.                      2525 NORTH 12 ST. SUITE 360 READING PA 19605
UIPATH INC                               1 VANDERBILT AVE FL 60 NEW YORK NY 10017-3807
ULINE CANADA CORPORATION                 BOX 3500 RPO STREETSVILLE MISSISSAUGA ON L5M 0S8 CANADA


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ULINE INC                                ATTN: ACCOUNTS RECEIVABLE PO BOX 88741 CHICAGO IL 60680-1741
ULP - EDMONTON NEGOTIATIONS 2023         101 10426 81 AVENUE EDMONTON AB T6E 1X5 CANADA
ULRICH, SUSAN                            ADDRESS ON FILE
ULSCE BEATHA LLC                         DBA WATER DOCTORS 901 N GRANDVIEW BLVD WAUKESHA WI 53188-2845
ULSTER COUNTY HEALTH DEPARTMENT          176 CHESTNUT AVE NE KINGSTON NY 12401-0800
ULSTER COUNTY HEALTH DEPARTMENT          PO BOX 1800 KINGSTON NY 12401-0800
ULTIMATE DRAIN SERVICES INC              PO BOX 28877 OAKDALE MN 55128
ULTIMATE POWER WASHING LLC               1281 YATES AVE AUSTELL GA 30106-1440
ULTRA-CHEM INC                           PO BOX 14608 LENEXA KS 66285
ULTRACLEAN OF ARKANSAS INC               7627 HARDIN DR NORTH LITTLE ROCK AR 72117-1602
UMPHREY, AMANDA                          ADDRESS ON FILE
UNCLE SAMS GLASS & DOOR INC              DBA COMMERCIAL SOLUTIONS INC 21 INDUSTRIAL DRIVE SMITHFIELD RI 02917
UNDER PRESSURE PLUMBING                  12901 HWY 27 NOBLETON ON L0G 1N0 CANADA
UNDER WATER ESCAPES AQUARIUMS LLC        DBA NEPTUNES REEF 3885 MILLER RD STE C COLUMBUS GA 31909-4758
UNDERWOOD, MEGAN                         ADDRESS ON FILE
UNGER, PAMELA                            ADDRESS ON FILE
UNICITY TAXI LTD                         340 HARGRAVE PLACE WINNIPEG MB R3C 0X5 CANADA
UNIFIED GOVERNMENT OF                    WYANDOTTE COUNTY KANSAS CITY KS DBA KANSAS CITY POLICE DEPARTMENT 700
                                         MINNESOTA AVENUE KANSAS CITY KS 66101-3064
UNIFIED GOVERNMENT OF WYANDOTTE COUNTY   PO BOX 1800 KANSAS CITY KS 66102
UNIFIED GOVERNMENT OF WYANDOTTE COUNTY   4953 STATE AVENUE KANSAS CITY KS 66102
UNIFIED GOVT TREASURY FOR WYANDOTTE CO   710 N 7TH ST STE 240 KANSAS CITY KS 66101
UNIFORM SALES INC                        1499 SW 30TH AVE UNIT 26 BOYNTON BEACH FL 33426-9040
UNION BANK                               120 NORTH STONE AVENUE TUCSON AZ 85701
UNION BANK & TRUST                       ATTN: MR. CHARLES A. MARTORANA SENIOR VICE PRESIDENT 1920 MEDICAL AVENUE,
                                         SUITE E HARRISONBURG VA 22801
UNION CHARTER TOWNSHIP TREASURER         2010 S LINCOLN RD MT PLEASANT MI 48858
UNION TOWNSHIP TAX COLLECTOR-UNION       1976 MORRIS AVE UNION NJ 07083
UNIONCREEK STRIPING LLC                  2555 UNION AVE SE GRAND RAPIDS MI 49507-3526
UNIQUE CORALS INC                        7028 VALJEAN AVE LAKE BALBOA CA 91406-3914
UNIRISC INC                              PO BOX 79578 BALTIMORE MD 21279-0578
UNIT MECHANICAL SERVICES LTD             1584 CHURCH AVENUE WINNIPEG MB R2X 1G8 CANADA
UNITED BEVERAGE                          2604 WEST AIRLINE HIGHWAY WATERLOO IA 50703-9606
UNITED BEVERAGES OF NC LLC               105 9TH STREET NW HICKORY NC 28603
UNITED ENERGY TRADING LLC                PO BOX 789657 PHILADELPHIA PA 19178-9657
UNITED ENERGY TRADING LLC                PO BOX 837 BISMARCK ND 58502-0837
UNITED FOOD & COMMERCIAL WORKERS CANADA LOCAL 1006A, DBA UFCW LOCAL 1006A, C/O ATTN KEVIN BENN SEC/TREASURER, 70
                                        CREDITVIEW RD WOODBRIDGE ON L4L 9N4 CANADA
UNITED FOOD & COMMERCIAL WORKERS CANADA LOCAL 401, DBA UFCW LOCAL 401 ATTN RICHELLE STEWART, SEC/TREAS 14040 128 AVE
                                        NW EDMONTON ON T5L 4M8 CANADA
UNITED ISD TAX OFFICE                    3501 E SAUNDERS LAREDO TX 78041
UNITED KITCHEN EXHAUST INC               901 BITTEN LANE PETERBOROUGH ON K9H 0H8 CANADA
UNITED MECHANICAL INC                    5598 POPLAR LEVEL RD LOUISVILLE KY 40228-1070
UNITED PARCEL SERVICE INC                PO BOX 650116 DALLAS TX 75265-0116
UNITED RESTAURANT EQUIP CO               PO BOX 1186 RALEIGH NC 27602
UNITED RESTAURANT SUPPLY INC             725 CLARK PLACE COLORADO SPRINGS CO 80915
UNITED SALAD OF WASHINGTON INC           8448 NE 33RD DRIVE PORTLAND OR 97211
UNITED STATES DEPT OF LABOR              200 CONSTITUTION AVE NW WASHINGTON DC 20210
UNITED STATES POSTAL SERVICE             POSTMASTER PO BOX FEE 695011 ORLANDO FL 32869
UNITED STATES TREASURY                   INTERNAL REVENUE SERVICE PO BOX 192 COVINGTON KY 41012-0192


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UNITED STATES TREASURY                 4953 STATE AVENUE OGDEN UT 84201-0009
UNITED TECHNOLOGIES CORP               DBA OTIS ELEVATOR COMPANY PO BOX 13716 NEWARK NJ 07188-0716
UNIVERSAL KITCHEN SERVICES LLC         31 PINEDALE AVE FARMINGVILLE NY 11738-2625
UNIVERSAL PROJECTS INC                 DBA ACE DISTRIBUTING 80 INDUSTRIAL DRIVE CHAMBERSBURG PA 17201
UNIVERSAL TECHNICIANS LLC              6213 GRISSOM RD STE 606 SAN ANTONIO TX 78238-2256
UNIVERSITY OF MAINE                    FOUNDATION TWO ALUMNI PLACE ORONO ME 04469-5792
UNIVERSITY VENTURE CORP                C/O KENCO REALTY MANAGEMENT 605 WEST 142ND STREET APT B2 NEW YORK NY
                                       10031-6610
UNLIMITED BUILDING SOLUTIONS INC       817 BROKE RD UNIT 8 PICKERING ON L1W 3L9 CANADA
UNLIMITED SPRINKLER FIRE PROTECTION INC 130 KRISTEN LN WYLIE TX 75098-4032
UNLOCK IT FOR ME LLC                   3412 COUNTY ROAD 69 TUSKEGEE AL 36083-4512
UNS GAS INC                            PO BOX 5176 HARLAN IA 51593-0676
UP LOCK AND KEY                        PO BOX 327 MARQUETTE MI 49855-0327
UP NORTH WINDOW CLEANING               323 DEMERS AVE APT 305 GRAND FORKS ND 58201-4760
UP REEF LLC                            421 ROCK ST UNIT A MARQUETTE MI 49855-4527
UP THE CREEK HEATING & AIR LLC         521 THAIN RD LEWISTON ID 83501-5530
UPBEAT INC                             PO BOX 790379 ST LOUIS MO 63179-0379
UPGRADE SERVICES LLC                   65 W 36TH ST 4TH FLOOR NEW YORK NY 10018-7925
UPLAND SERVICING LLC                   1142 JAGUAR RD JOPLIN MO 64804-7877
UPPAL, ABHIJEET SINGH                  ADDRESS ON FILE
UPPER MERION SEWER REVENUE             175 WEST VALLEY FORGE ROAD KING OF PRUSSIA PA 19406-1802
UPPER MERION TOWNSHIP                  INTERNAL REVENUE SERVICE KING OF PRUSSIA PA 19406
UPPER MERION TOWNSHIP                  175 WEST VALLEY FORGE ROAD KING OF PRUSSIA PA 19406
UPPER MERION TOWNSHIP TAX COLLECTOR    PO BOX 62405 KING OF PRUSSIA PA 19406-2405
UPS CANADA                             PO BOX 4900 STATION A TORONTO ON M5W 0A7 CANADA
UPS SUPPLY CHAIN SOLUTIONS INC         DBA UPS/UPS SCS CHARLOTTE PO BOX 650690 DALLAS TX 75265-0690
UPTIME MECHANICAL LLC                  6829 EMERALD BAY LN INDIANAPOLIS IN 46237-5064
UPTOWN LAWN & SNOW INC                 5225 E TWIN LAKE BLVD BROOKLYN CENTER MN 55429-3352
URBAN AIRSHIP INC                      DBA AIRSHIP 1225 W BURNSIDE ST STE 401 PORTLAND OR 97209-4122
URBAN EDGE PROPERTIES LLC              210 RTE 4 E 3RD FL PARAMUS NJ 07652
URBAN EDGE PROPERTIES LP               DBA UE 675 ROUTE 1 LLC PO BOX 95000 LB 1272 PHILADELPHIA PA 19195-0001
URBAN EDGE PROPERTIES/PITTSBURGH       PO BOX 645308 PITTSBURGH PA 15264-5308
URBAN, MARY                            ADDRESS ON FILE
URBANA & CHAMPAIGN SANITARY DISTRICT   P.O. BOX 669 CODE DEPARTMENT URBANA IL 61803
URIEL A SALAZAR                        ADDRESS ON FILE
URNER BARRY PUBLICATIONS INC           PO BOX 389 TOMS RIVER NJ 08754-0389
URQUHART PLUMBING CO INC               PO BOX 12063 FLORENCE SC 29504
US BANK                                ATTN: L. SHAWN BRESKOW 333 COMMERCE STREET SUITE 900 NASHVILLE TN 37201
US BANK NATIONAL ASSOCIATION           SDS 12-1716 PO BOX 86 MINNEAPOLIS MN 55486-1716
US BANK/FIRSTAR                        TREASURY MANAGEMENT SERVICES CM/9581 ST PAUL MN 55170-9581
US CENTENNIAL MALLS JV LLC             DBA US CENTENNIAL VANCOUVER MALL LLC 8020 EAGLE WAY CHICAGO IL 60678-1080
US CLOUD LC                            ADDRESS ON FILE
US DEPARTMENT OF HOMELAND SECURITY     C/O BOILER & PRESSURE VESSEL SAFETY DIV 302 W WASHINGTON STREET INDIANAPOLIS
                                       IN 46204-2739
US DEPARTMENT OF LABOR                 S-2521 200 CONSITUTION AVE, NW WASHINGTON DC 20210
US FOODSERVICE INC                     NW 6007 PO BOX 1450 MINNEAPOLIS MN 55485-6007
US LEGAL SUPPORT INC                   PO BOX 4772 HOUSTON TX 77210-4772
US PATENT & TRADEMARK OFFICE (USPTO)   600 DULANY ST ALEXANDRIA VA 22314
US WATER HEATING SOLUTIONS LLC         DBA US FACILITIES SOLUTIONS LLC 810 S ARTHUR AVE ARLINGTON HEIGHTS IL
                                       60005-2828


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USA CARPET & UPHOLSTERY CLEANING        6405 W DEL RIO ST CHANDLER AZ 85226-1765
USA CONSTRUCTION & PROJECT MGMT         DBA PAVEMENT EXCHANGE GROUP 3111 MONROE RD SUITE 200 CHARLOTTE NC 28205-7541
EXCHANGE
USA LAWN INC                            2223 LONGHORN DR PUEBLO CO 81008-1899
USA PLUMBING & SEWER SERVICE INC        DBA OAKLAND PLUMBING 11731 29 MILE RD WASHINGTON MI 48095-2602
USEINOSKI, SAZIVER                      ADDRESS ON FILE
USP APOLLO LLC                          C/O GRID URBAN VENTURES II LLC ATTN: DREW GREENWALD NEW YORK NY 10027
USP APOLLO LLC                          2309 FREDERICK DOUGLAS BLVD C/O GRID PROPERTIES INC NEW YORK NY 10027
USP APOLLO LLC                          C/O GRID URBAN VENTURES II LLC ATTN: DREW GREENWALD 2309 FREDERICK DOUGLASS
                                        BLVD NEW YORK NY 10027
USP APOLLO, LLC                         C/O GRID PROPERTIES INC. 2309 FREDERICK DOUGLASS BOULEVARD NEW YORK NY 10027
USP APOLLO, LLC C/O GRID PROPERTIES     2309 FREDERICK DOUGLASS BLVD. NEW YORK NY 10027
USW HOLDING COMPANY LLC                 DBA CULLIGAN WATER PO BOX 3213 WINCHESTER VA 22604-2413
UT HEIGHTS LLC                          ATTN GREG MALOOF 13 MAINSAIL XING SAVANNAH GA 31411-2723
UTAH COMMERCIAL SERVICE LLC             169 N MAIN ST STE 2 TOOELE UT 84074-2141
UTAH COUNTY TREASURER                   PERSONAL PROPERTY DIVISION 100 E CENTER STE 1200 PROVO UT 84909
UTAH COUNTY TREAUSRER                   PO BOX 30107 SALT SALT LAKE CITY UT 84130-0107
UTAH DEPARTMENT OF COMMERCE             DIVISION OF CONSUMER PROTECTION 160 E 300 S 2ND FL PO BOX 146704 SALT LAKE
                                        CITY UT 84114-6704
UTAH DEPT OF ALCOHOLIC BEV CTRL         PO BOX 30408 SALT LAKE CITY UT 84130-0408
UTAH DEPT OF ALCOHOLIC BEVERAGE CONTROL 1625 SOUTH 00 WEST SALT LAKE CITY UT 84104
UTAH DEPT OF ENVIRONMENTAL QUALITY      PO BOX 144810 SALT LAKE CITY UT 84114-4810
UTAH DEPT OF ENVIRONMENTAL QUALITY      195 NORTH 1950 WEST SALT LAKE CITY UT 84116
UTAH DEPT OF WORKFORCE SERVICES         UNEMPLOYMENT INSURANCE PO BOX 45288 140 E 300 SOUTH SALT LAKE CITY UT
                                        84145-0288
UTAH LABOR COMMISSION                   160 EAST 300 SOUTH 3RD FLOOR SALT LAKE CITY UT 84111
UTAH LABOR COMMISSION                   160 EAST 300 SOUTH, 3RD FLOOR SALT LAKE CITY UT 84114
UTAH STATE TAX COMMISSION               210 N 1950 W SALT LAKE CITY UT 84116
UTAH STATE TAX COMMISSION               TOURISM AND CAR RENTAL TAX RETURN 210 N 1950 WEST SALT LAKE CITY UT 84134
UTAH STATE TREASURY                     UNCLAIMED PROPERTY DIVISION PO BOX 140530 SALT LAKE CITY UT 84114-0530
UTE WATER CONSERVANCY DISTRICT          P.O. BOX 460 GRAND JUNCTION CO 81502
UTILITIES KINGSTON, ON                  P.O. BOX 790 KINGSTON ON K7L4X7 CANADA
UTILITY BILLING SERVICES                PO BOX 3830 HOT SPRINGS AR 71914-3830
UTILITY PAYMENT PROCESSING/BR WATER     PO BOX 96025 BATON ROUGE LA 70896-9025
UU/INC                                  DBA VALLEY SWEEPING PO BOX 9127 RAPID CITY SD 57709-9127
UYINMWEN ORONSAYE, MICHAEL AGHEDO,      ADDRESS ON FILE
UZMA SHAHZADI                           ADDRESS ON FILE
V W GERNHART DRAUGHT BEER SYSTEMS       INSTALLATION AND SERVICES 47 HUDSON ROAD PLAINS PA 18705-2019
V2 ASSOCIATES LLC                       PO BOX 411273 ST LOUIS MO 63141
VA DEPARTMENT OF PUBLIC HEALTH          ENVIRONMENTAL FIELD SERVICES PO BOX 311 RICHMOND VA 23218-0526
VA DEPT OF ALCOHOLIC BEVERAGE CONTROL   BOARD PO BOX 27491 RICHMOND VA 23261
VACO ORLANDO LLC                        PO BOX 667 BRENTWOOD TN 37024-0667
VACUUMVILLE                             917 JANETTE STREET NEWMARKET ON L3Y 5K3 CANADA
VAL JAN SERVICES                        DBA ROTO ROOTER 602 ASHFORD CT CHAMPAIGN IL 61822-6601
VALDIS CULVER                           ADDRESS ON FILE
VALENCIA LAWN NURSERY AND HANDYMAN SERV 141 DESOTO BLVD NORTH NAPLES FL 34120
VALENTA PLUMBING & HEATING INC          1100 H AVE NE CEDAR RAPIDS IA 52402-4624
VALERIE DEVAUGHAN                       ADDRESS ON FILE
VALERIE NORMAN                          ADDRESS ON FILE
VALLEJO GLASS CO INC                    205 COUCH ST VALLEJO CA 94590-2948


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VALLES, JESSICA                          ADDRESS ON FILE
VALLEY CITY COAT & APRON                 DBA VALLEY CITY LINEN INC 10 DIAMOND AVENUE SOUTHEAST GRAND RAPIDS MI
                                         49506-1456
VALLEY DISTRIBUTING CORP                 4488 ELMWOOD LANE SALEM VA 24153
VALLEY ELECTRIC INC                      613 BRYDEN AVE STE C PMB 211 LEWISTON ID 83501-5192
VALLEY GARDENS INC                       PO BOX 5569 CHARLESTON WV 25361
VALLEY LANDSCAPING & MAINTENANCE INC     12900 N LOWER SACRAMENTO ROAD LODI CA 95242
VALLEY LANDSCAPING INC                   750 DEN HILL RD CHRISTIANSBURG VA 24073-7720
VALLEY PLUMBING AND DRAIN CLEANING INC   DBA TOWERS MURRAY PLUMBING 5698 DANNON WAY STE 11 WEST JORDAN UT 84081-5676
VALLEY STREAM GREEN ACRES LLC            C/O THE CORPORATION TRUST COMPANY 1209 ORANGE ST. WILMINGTON DE 19801
VALLEY VISTA SERVICES, INC               17445 EAST RAILROAD ST CITY OF INDUSTRY CA 91748-1088
VALLEY WIDE BEVERAGE COMPANY             3525 S EAST AVE FRESNO CA 93725-9000
VALLIER PROPERTY MAINTENANCE             20883 REBECCA RD THORNDALE ON N0M 2P0 CANADA
VALU PLUMBING                            PO BOX 7810 VISALIA CA 93290-7810
VALUE SERVICE & REPAIR CORP              86 BROADWAY FREEPORT NY 11520
VAN HERWEG ELECTRIC INC                  2885 ENTERPRISE CT SAGINAW MI 48603
VAN HOOK SERVICE CO INC                  76 SENECA AVENUE ROCHESTER NY 14621
VAN HOOK SERVICES                        76 SENECA AVE. ROCHESTER NY 14621
VAN VLIET ACQUISITION IV LLC             DBA VAN VLIET ACQUISITION IV LLC 23801 CALABASAS ROAD SUITE 1024 CALABASAS CA
                                         91302
VAN VLIET, FREDERIK                      ADDRESS ON FILE
VANCE HEITH GRANT                        ADDRESS ON FILE
VANCO COMMERCIAL SERVICE LLC             DBA VANCO 8025 CASTLEWAY DRIVE INDIANAPOLIS IN 46250
VANDERBOSCH, NANCY                       ADDRESS ON FILE
VANDERBURGH CO HEALTH DEPARTMENT         ROOM 127 - CIVIC CENTER COMPLEX ONE NW SEVENTH ST EVANSVILLE IN 47708
VANDERBURGH COUNTY TREASURER             PO BOX 77 EVANSVILLE IN 47701-0077
VANDERMEULEN PLUMBING LTD                333 LANSDOWNE ST E PETERBOROUGH ON K9L 2A3 CANADA
VANESSA R. WALDREF                       US ATTORNEYS OFFICE 402 E YAKIMA AVE, STE 210 YAKIMA WA 98901
VANESSA R. WALDREF                       US ATTORNEYS OFFICE PO BOX 1494 SPOKANE WA 99210-1494
VANESSA ROBERTS AVERY                    US ATTORNEYS OFFICE 450 MAIN ST, ROOM 328 HARTFORD CT 06103
VANESSA ROBERTS AVERY                    US ATTORNEYS OFFICE CONNECTICUT FINANCIAL CENTER 157 CHURCH ST, FL 25 NEW
                                         HAVEN CT 06510
VANESSA ROBERTS AVERY                    US ATTORNEYS OFFICE 1000 LAFAYETTE BLVD, 10TH FL BRIDGEPORT CT 06604
VANLEAR, CHELSEA                         ADDRESS ON FILE
VARCHO, JOHN                             ADDRESS ON FILE
VARGAS VELAZQUEZ, WENDY                  2823 N CYPRESS AVE FRESNO CA 93727-8977
VARGAS, WANDA                            ADDRESS ON FILE
VARICLEAN LLC                            7305 S 100 W LEBANON IN 46052-9729
VARIO, PATRICIA                          ADDRESS ON FILE
VARNER BROS., INC.                       P.O. BOX 80427 BAKERSFIELD CA 93380-0427
VARNIER, ROY, VARNIER, ROY               ADDRESS ON FILE
VASILE ILE                               DBA VASILES CUSTOM UPHOLSTERY 10645 N TATUM BLVD SUITE 200-639 PHOENIX AZ
                                         85028
VASILIKI LLC                             8 HILLCREST DR OLYPHANT PA 18447-1304
VASQUEZ, ERNESTO                         ADDRESS ON FILE
VAUGHN, TIFFANY                          ADDRESS ON FILE
VAUGNN C RAMAGE                          ADDRESS ON FILE
VEC CENTRAL OFFICE                       P.O. BOX 26441 RICHMOND VA 23261
VECCHIO CARRIER FELDMAN & JOHANNESSEN    ATTN:KRISTEN JOHANNESSEN 3308 CLEVELAND HEIGHTS BLVD LAKELAND FL 33803
PA


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VECCHIO CARRIER FELDMAN & JOHANNESSEN    3308 CLEVELAND HEIGHTS BLVD LAKELAND FL 33803
PA
VECCHIO, PATRICIA                        ADDRESS ON FILE
VECTOR INTELLIGENT SOLUTION SUM          PO BOX 645096 PITTSBURGH PA 15264-5096
VECTOR SERVICE INC                       6569 N RIVERSIDE DR STE 102-338 FRESNO CA 93722-9318
VEGA ROOFING INC                         9100 N WARE RD MCALLEN TX 78504
VEILLEUX, WANDA                          ADDRESS ON FILE
VEITH ENTERPRISES INC                    130 SALT POINT TURNPIKE STE 2 POUGHKEEPSIE NY 12603-1016
VENABLE LLP                              575 7TH STREET, NW WASHINGTON DC 20004
VENABLE, JUSTIN                          ADDRESS ON FILE
VENTURA COUNTY RECORDER                  800 S VICTORIA AVE VENTURA CA 93009
VENTURA COUNTY TREASURER-TAX COLLECTOR   PO BOX 845642 LOS ANGELES CA 90084-5642
VENTURE SOUTH DISTRIBUTORS INC           DBA WATKINS DISTRIBUTING SALES & SERVICE 1095 IONA ROAD IDAHO FALLS ID 83401
VEOLIA WATER DELAWARE                    PO BOX 371804 PAYMENT CENTER PITTSURGH PA 15250-7804
VEOLIA WATER IDAHO                       PO BOX 371804 PAYMENT CENTER PITTSBURGH PA 15250-7804
VEOLIA WATER NEW JERSEY                  PO BOX 371804 PAYMENT CENTER PITTSBURGH PA 15250
VEOLIA WATER PENNSYLVANIA                PO BOX 371804 PAYMENT CENTER PITTSBURGH PA 15250-7804
VEOLIA WATER TOMS RIVER                  PO BOX 371804 PITTSBURGH PA 15250-7804
VERA CRUZ PROPERTIES LP                  PO BOX 10326 PORTLAND OR 97296-0326
VERA LLC                                 7704 MAPLERIDGE DRIVE PLANO TX 75024
VERA LLC                                 13151 BOLD FORBES ST FRISCO TX 75035
VERDE POWER CLEANING LLC                 11052 E FLOWER AVE MESA AZ 85208-7512
VERDE PROPERTY MAINTENANCE LTD           25 VIRGINIA DR BRAMPTON ON L7A 2E6 CANADA
VEREIT                                   ATTN: LEGAL DEPARTMENT C/O REALTY INCOME CORPORATION 11995 EL CAMINO REAL SAN
                                         DIEGO CA 92130
VEREIT OPERATING PARTNERSHIP LP          DBA VEREIT REAL ESTATE LP PO BOX 103127 PASADENA CA 91189-0153
VEREIT OPERATING PARTNERSHIP LP          DBA ARCP RL OG SALISBURY MD LLC PO BOX 103127 PASADENA CA 91189-0153
VEREIT OPERATING PARTNERSHIP LP          PO BOX 103127 PASADENA CA 91189-0153
VERITIV OPERATING COMPANY                PO BOX 409884 ATLANTA GA 30384-9884
VERIZON                                  PO BOX 15124 ALBANY NY 12212-5124
VERIZON SUMMARY                          PO BOX 15043 ALBANY NY 12212-5043
VERIZON WIRELESS SUM - EFT               PO BOX 660108 DALLAS TX 75266-0108
VERMILION COUNTY HEALTH DEPARTMENT       175 WEST VALLEY FORGE ROAD DANVILLE IL 61832
VERMILION COUNTY HEALTH DEPARTMENT       200 SOUTH COLLEGE SUITE A DANVILLE IL 61832
VERMILION COUNTY TREASURER               PO BOX 730 DANVILLE IL 61834
VERMILION VALLEY PRODUCE INC             DBA CENTRAL ILLINOIS PRODUCE 2055 NELSON MILLER PKWY LOUISVILLE KY 40223-2185
VERMONT AGENCY OF AGRICULTURE, FOOD      AND MARKETS FOOD SAFETY AND CONSUMER PROTECTION 116 STATE ST MONTPELIER VT
                                         05620
VERMONT AGENCY OF NATURAL RESOURCES      1 NATIONAL LIFE DR DAVIS 2 MONTPELIER VT 05620-3901
VERMONT DEPARTMENT OF HUMAN RESOURCES    120 STATE STREET MONTPELIER VT 05620
VERMONT DEPT OF LABOR                    5 GREEN MOUNTAIN DRIVE PO BOX 488 MONTPELIER VT 05601-0488
VERMONT OFFICE OF THE ATTORNEY GENERAL   CONSUMER PROTECTION SECTION 109 STATE ST MONTPELIER VT 05609
VERNETTA JONES                           ADDRESS ON FILE
VERNON TOWNSHIP SANITARY AUTHORITY       16678 MCMATH AVENUE MEADVILLE PA 16335
VERNON TOWNSHIP TAX COLLECTOR            DOROTHY LONGSTRETH 9511 KRIDER MEADVILLE PA 16335
VERNON TOWNSHIP WATER AUTHORITY          16678 MCMATH AVE MEADVILLE PA 16335
VERNS CONCRETE LLC                       912 E 53RD ST STE BST ANDERSON IN 46013-1732
VERONICA DIDELOT                         ADDRESS ON FILE
VERONICA G RODRIGUEZ                     ADDRESS ON FILE
VERTEX INC                               25528 NETWORK PLACE CHICAGO IL 60673-1255


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VERTEX PAVING LLC                        301 MAIN ST STE 2200 BATON ROUGE LA 70801-0014
VESTAL & WILER CPAS PA                   ADDRESS ON FILE
VESTAL CENTRAL SCHOOL DIST TAX           605 VESTAL PARKWAY WEST VESTAL NY 13850
COLLECTOR
VESTAL TOWN TAX COLLECTOR                DEBRA WALLACE 605 VESTAL PARKWAY W VESTAL NY 13850
VESTAR BOWLES CROSSING LLC               PO BOX 30412 TAMPA FL 33630-3412
VESTAR CROSSROADS GILBERT LLC            C/O VESTAR PROPERTY MANAGEMENT PO BOX 30412 TAMPA FL 33630-3412
VESTAVIA HILLS CHAMBER OF COMMERCE       1975 MERRYVALE ROAD VESTAVIA HILLS AL 35216
VETERANS PLUMBING SERVICE AND SUPPLIES   DBA VETERANS WORLDWIDE MAINTENANCE 105 MAIN ST STE 3 HACKENSACK NJ 07601-8103
VETTER ELECTRIC INC                      PO BOX 41645 NASHVILLE TN 37204-1645
VIANSA ENTERPRISES INC                   DBA 1 800 GOT JUNK 8573 ATLAS DR GAITHERSBURG MD 20877-4135
VICKI MORRISON                           ADDRESS ON FILE
VICKIE BUSH                              ADDRESS ON FILE
VICKS WINE & SPIRITS                     6351 I 55 FRONTAGE RD N SUITE 105 JACKSON MS 39213
VICTOR CADENA TORRES                     ADDRESS ON FILE
VICTOR LEE                               ADDRESS ON FILE
VICTOR VALLEY WASTEWATER                 RECLAMATION AUTHORITY 15776 MAIN STREET SUITE 3 HESPERIA CA 92345
VICTORIA COUNTY TAX ASSESSOR-COLLECTOR   PO BOX 2569 VICTORIA TX 77902
VICTORS LANDSCAPING INC                  7563 W VOGEL AVENUE PEORIA AZ 85345-6615
VIESTA BROWN-ONUNKWO                     ADDRESS ON FILE
VIGO COUNTY HEALTH DEPARTMENT            200 SOUTH COLLEGE SUITE A TERRE HAUTE IN 47807
VIGO COUNTY HEALTH DEPARTMENT            COURT HOUSE ANNEX/120 S 7TH ST TERRE HAUTE IN 47807
VIGO COUNTY TREASURER                    191 OAK ST TERRE HAUTE IN 47807
VIKING REFRIGERATION LLC                 326 JACKSON STREET REYNOLDSVILLE PA 15851
VILANDRE FUEL & HEATING INC              DBA VILANDRE HEATING AIR COND & PLUMBING PO BOX 5673 701 NORTH 7TH STREET
                                         GRAND FORKS ND 58206-5673
VILLAGE AND COUNTRY WATER TREATMENT INC DBA CGC WATER TREATMENT PO BOX 448 HARTLAND MI 48353-0448
VILLAGE AT BURLINGTON OWNERS             C/O RLET MANAGEMENT LLC PO BOX 490 NIWOT CO 80544
ASSOCIATION
VILLAGE GREEN LANDSCAPING LLC            6100 BARDSTOWN RD ELIZABETHTOWN KY 42701-9765
VILLAGE OF ASHWAUBENON                   COURT HOUSE ANNEX/120 S 7TH ST WAUTOMA WI 54982-5267
VILLAGE OF ASHWAUBENON                   DBA ASHWAUBENON PUBLIC SAFETY C/O BILLING OFFICE N2930 STATE ROAD 22 WAUTOMA
                                         WI 54982-5267
VILLAGE OF BLOOMINGDALE                  DBA ASHWAUBENON PUBLIC SAFETY C/O BILLING OFFICE BLOOMINGDALE IL 60108-1403
VILLAGE OF BLOOMINGDALE                  LICENSE 201 S BLOOMINGDALE RD BLOOMINGDALE IL 60108-1403
VILLAGE OF BLOOMINGDALE, IL              201 SOUTH BLOOMINGDALE ROAD BLOOMINGDALE IL 60108
VILLAGE OF BOLINGBROOK                   ATTN: LIQUOR TAX REMITTANCE DIRECTOR OF FINANCE 375 WEST BRIARCLIFF ROAD
                                         BOLINGBROOK IL 60440
VILLAGE OF BOLINGBROOK                   375 WEST BRIARCLIFF ROAD BOILINGBOOK IL 60440
VILLAGE OF BOLINGBROOK                   DIRECTOR OF FINANCE LIQUOR TAX OF FINANCE 375 W BRIARCLIFF RD BOLINGBROOK IL
                                         60440
VILLAGE OF BRADLEY                       LICENSE 201 S BLOOMINGDALE RD BRADLEY IL 60915
VILLAGE OF BRADLEY                       147 S MICHIGAN BRADLEY IL 60915
VILLAGE OF BRADLEY, IL                   147 SOUTH MICHIGAN SEWER DEPARTMENT BRADLEY IL 60915
VILLAGE OF DOWNERS GROVE                 ATTN: FINANCE DEPT, FOOD & BEVERAGE TAX 801 BURLINGTON AVENUE DOWNERS GROVE IL
                                         60515
VILLAGE OF DOWNERS GROVE                 ACCOUNTS RECEIVABLE 801 BURLINGTON AVE DOWNERS GROVE IL 60515-4782
VILLAGE OF DOWNERS GROVE, IL             801 BURLINGTON AVENUE ATTN: PHYLLIS/BILLING CLERK DOWNERS GROVE IL 60515
VILLAGE OF FORSYTH                       147 S MICHIGAN FORSYTH IL 62535
VILLAGE OF FORSYTH                       301 STATE ROUTE 51 PO BOX 80 FORSYTH IL 62535



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VILLAGE OF FORSYTH                     PO BOX 80 FORSYTH IL 62535
VILLAGE OF FORSYTH, IL                 301 S RTE 51 WATER & SEWER DEPARTMENT FORSYTH IL 62535
VILLAGE OF GURNEE                      ATTN: REVENUE COLLECTION 325 N. OPLAINE ROAD GURNEE IL 60031
VILLAGE OF GURNEE                      ATTN ACCOUNTS PAYABLE 325 N OPLAINE ROAD GURNEE IL 60031
VILLAGE OF GURNEE, IL                  PO BOX 7076 CAROL STREAM IL 60499-2804
VILLAGE OF LAKEWOOD                    20 W SUMMIT STREET LAKEWOOD NY 14750
VILLAGE OF LINCOLNWOOD                 ATTN: FINANCE DEPARTMENT 6900 N. LINCOLN AVE LINCOLNWOOD IL 60712
VILLAGE OF LINCOLNWOOD                 6900 NORTH LINCOLN LINCOLNWOOD IL 60712
VILLAGE OF LINCOLNWOOD, IL             PO BOX 1161 INDIANAPOLIS IN 46206-1161
VILLAGE OF MATTESON                    PO BOX 80 MATTESON IL 60443
VILLAGE OF MATTESON, IL                4900 VILLAGE COMMONS MATTESON IL 60443
VILLAGE OF MOUNT PLEASANT              4900 VILLAGE COMMONS MOUNT PLEASANT WI 53406
VILLAGE OF MOUNT PLEASANT              8811 CAMPUS DRIVE MOUNT PLEASANT WI 53406
VILLAGE OF NORRIDGE                    8811 CAMPUS DRIVE NORRIDGE IL 60706-1199
VILLAGE OF NORRIDGE                    4000 NORTH OLCOTT AVENUE NORRIDGE IL 60706-1199
VILLAGE OF NORRIDGE, IL                4000 NORTH OLCOTT AVENUE ATTN: WATER DEPT NORRIDGE IL 60706-1199
VILLAGE OF OAK LAWN                    4000 NORTH OLCOTT AVENUE OAK LAWN IL 60453
VILLAGE OF OAK LAWN, IL                9446 RAYMOND AVENUE OAK LAWN IL 60453
VILLAGE OF ORLAND PARK                 9446 RAYMOND AVENUE ORLAND PARK IL 60462
VILLAGE OF ORLAND PARK                 14700 RAVINIA AVENUE ORLAND PARK IL 60462
VILLAGE OF ORLAND PARK, IL             PO BOX 74713 CHICAGO IL 60694-4713
VILLAGE OF SCHAUMBURG                  PO BOX 68981 SCHAUMBURG IL 60168-0981
VILLAGE OF SCHAUMBURG                  ATTN: FINANCE DEPARTMENT FINANCE DEPT.- FOOD AND BEVERAGE TAX 101 SCHAUMBURG
                                       COURT SCHAUMBURG IL 60193
VILLAGE OF SCHAUMBURG                  ACCOUNTS REC DEPT ATTN: PATTY FISHER SCHAUMBURG IL 60193-1899
VILLAGE OF SCHAUMBURG, IL              101 SCHAUMBURG CT SCHAUMBURG IL 60193-1881
VILLAGE OF VALLEY STREAM INC           123 S CENTRAL AVENUE VALLEY STREAM NY 11580-5413
VILLAGE OF WEST DUNDEE                 ATTN: FOOD AND BEVERAGE TAX 102 S. SECOND STREET WEST DUNDEE IL 60118
VILLAGE OF WEST DUNDEE                 102 SOUTH SECOND STREET WEST DUNDEE IL 60118
VILLAGE/ACORN INVESTMENTS, LTD         C/O OFFICE OF THE GENERAL COUNSEL 1020 LAKE SUMTER LANDING THE VILLAGES FL
                                       32162
VILLAGES / ACORN INVESTMENTS LTD       C/O THE VILLAGES COMMERCIAL PROPERTY MANAGEMENT THE VILLAGES FL 32163
VILLAGES / ACORN INVESTMENTS LTD       C/O THE VILLAGES COMMERCIAL PROPERTY MANAGEMENT 3597 KIESSEL RD THE VILLAGES
                                       FL 32163
VILLAGES ACORN INVESTMENTS, LTD.       ATTN: AMANDA MERCHENT, PROPERTY MANAGER C/O THE VILLAGES COMMERCIAL PROP MGMT
                                       3597 KIESSEL ROAD THE VILLAGES FL 32163
VILLAGES/ACORN INVESTMENTS, LTD        940 LAKE SHORE DRIVE, SUITE 200 THE VILLAGES FL 32162
VILLALOBOS GLASS CO INC                909 S CUCAMONGA AVE STE 110 ONTARIO CA 91761-1977
VILLARREAL, ARMANDO                    ADDRESS ON FILE
VILLAS AT DECATUR II LLC               C/O ZEVCAP MANAGER LLC 750 HAMMOND DRIVE BUILDING 16-350 ATLANTA GA 30328
VILLAS AT DECATUR III LLC              C/O ZEVCAP MANAGER LLC 750 HAMMOND DRIVE BUILDING 16-350 ATLANTA GA 30328
VILLAS AT DECATUR IV LLCC              C/O ZEVCAP MANAGER LLC 750 HAMMOND DRIVE BUILDING 16-350 ATLANTA GA 30328
VILLAS AT DECATUR LLCC/O ZEVCAP MANAGER 750 HAMMOND DRIVE BUILDING 16-350 ATLANTA GA 30328
VILLAS ICE DELIVERY SERVICE            PO BOX 27422 TUCSON AZ 85726
VIMY BREWING COMPANY                   11-830 INDUSTRIAL AVENUE OTTAWA ON K1G 4B8 CANADA
VINCE LAMITIE                          ADDRESS ON FILE
VINCENT A OKORLEY                      PO BOX 7952 WARNER ROBINS GA 31095-7952
VINCENT WERTH                          ADDRESS ON FILE
VINCENT, SUMPTER                       ADDRESS ON FILE
VINELAND MUNICIPAL UTILITIES           P.O. BOX 1508 VINELAND NJ 08362-1508


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VINSUE CORP                              5 GLENMARE MEWS NYACK NY 10960
VINTAGE WINE AND LIQUOR                  3680 B SANGANI BLVD DIBERVILLE MS 39540
VINTAGE WINE COMPANY                     15420 EAST 12 MILE ROAD ROSEVILLE MI 48066
VINTAGE WINE DISTRIBUTOR INC             6555 DAVIS INDUSTRIAL PKWY SOLON OH 44139
VINTILA, KIM                             ADDRESS ON FILE
VINYL DOCTOR INC                         DBA VINYL DOCTOR SYSTEMS PO BOX 32086 PALM BEACH GARDENS FL 33420-2086
VINYL DOCTOR OF SPRINGFIELD INC          1617 W VERNON AVENUE SPRINGFIELD IL 62704
VINYL MEDIC LLC                          87 GRASSO PLZ PMB 328 SAINT LOUIS MO 63123-3107
VINYL PRO LLC                            1171 N SLOCUM RD RAVENNA MI 49451-9323
VIP SERVICES INC                         1206 CORDOVA ST BILLINGS MT 59101-6345
VIRGIL SCHERR                            ADDRESS ON FILE
VIRGILIO PANO                            ADDRESS ON FILE
VIRGIN ISLANDS DEPT OF LABOR             2353 KRONPRINDSENS GADE ST THOMAS VI 00802
VIRGIN ISLANDS DEPT OF LABOR             4401 SION FARM STE 1 ST CROIX VI 00820-4245
VIRGINIA ABC                             9512 MAIN CT FAIRFAX VA 22031
VIRGINIA ALCOHOLIC BEV CONTROL           C/O COBBLESTONE CELLARS INC 2810 EAST PARHAM ROAD RICHMOND VA 23228
VIRGINIA AMERICAN WATER COMPANY          PO BOX 371880 PITTSBURGH PA 15250-7800
VIRGINIA BEACH CITY TREASURER            2401 COURTHOUSE DR VIRGINIA BEACH VA 23456-9018
VIRGINIA BEACH DEPT OF PUBLIC HEALTH     14700 RAVINIA AVENUE VIRGINIA BEACH VA 23462
VIRGINIA BEACH DEPT OF PUBLIC HEALTH     PEMBROKE CORPORATE CENTER III 4452 CORPORATION LANE VIRGINIA BEACH VA 23462
VIRGINIA BEVERAGE COMPANY LLC            435 WALLING RD BRISTOL VA 24201-1853
VIRGINIA DEPARTMENT OF HEALTH            PEMBROKE CORPORATE CENTER III 4452 CORPORATION LANE FREDERICKBURG VA
                                         22401-5719
VIRGINIA DEPARTMENT OF HEALTH            608 JACKSON STREET FREDERICKBURG VA 22401-5719
VIRGINIA DEPARTMENT OF THE TREASURY      UNCLAIMED PROPERTY DIVISION 101 NORTH 14TH ST RICHMOND VA 23219
VIRGINIA DEPT OF ENVIRONMENTAL QUALITY   PO BOX 1105 RICHMOND VA 23218
VIRGINIA DEPT OF ENVIRONMENTAL QUALITY   1111 E MAIN ST STE 1400 RICHMOND VA 23219
VIRGINIA DEPT OF TAXATION                OFFICE OF CUSTOMER SERVICES PO BOX 1115 RICHMOND VA 23218-1115
VIRGINIA DEPT OF TAXATION                PO BOX 1115 RICHMOND VA 23218-1115
VIRGINIA DEPT OF TAXATION                PO BOX 26627 RICHMOND VA 23261-6627
VIRGINIA DIVISION OF LABOR AND INDUSTRY MAIN STREET CENTRE 600 E MAIN ST STE 207 RICHMOND VA 23219
VIRGINIA EAGLE DISTRIBUTING COMPANY LLC PO BOX 496 VERONA VA 24482
VIRGINIA ELECTRIC AND POWER COMPANY      120 TREDEGAR STREET RICHMOND VA 23219
VIRGINIA EMPLOYMENT COMMISSION           PO BOX 26441 RICHMOND VA 23261-6441
VIRGINIA IMPORTS LTD                     7550 ACCOTINK PARK ROAD SPRINGFIELD VA 22150
VIRGINIA NATURAL GAS                     PO BOX 5409 CAROL STREAM IL 60197-5409
VIRGINIA OFFICE OF THE ATTORNEY GENERAL CONSUMER PROTECTION SECTION 900 E MAIN ST RICHMOND VA 23219
VISTAGRAPHICS INC                        1264 PERIMETER PARKWAY VIRGINIA BEACH VA 23454
VITAL LAWNCARE AND LANDSCAPE INC         6501 N 5000E RD MANTENO IL 60950-3052
VITO ARCABASCIO                          ADDRESS ON FILE
VMC FACILITIES LLC                       3119 NORTHWEST PARK DRIVE KNOXVILLE TN 37921
VOGAN, NATASHA                           ADDRESS ON FILE
VOGEL DISPOSAL SERVICE, INC.             P.O. BOX 847 MARS PA 16046
VOITURE NATIONALE                        DBA THE FORTY AND EIGHTER PMB 351 1811 N DIXIE AVE STE 104 ELIZABETHTOWN KY
                                         42701-5564
VOLCOR GROUP INC                         DBA KAGE COMMERCIAL APPLIANCE REPAIR 12755 THREE MAN TRAIL FLAGSTAFF AZ 86004
VOLLMER INC                              3822 SANDWICH STREET WINDSOR ON N9C 1C1 CANADA
VOLUSIA COUNTY TAX COLLECTOR             123 W INDIANA AVE RM 103 DELAND FL 32720-4602
VON SIGN CO INC                          116 ATLAS CROSSING RD UNIONTOWN PA 15401



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VONDOHLEN ENTERPRISES INC                DBA FISH WINDOW CLEANING 5710 W GATE CITY BLVD STE K GREENSBORO NC 27407-7047
VONS UNITED BEVERAGE                     675 GALLERIA DRIVE EXT JOHNSTOWN PA 15904
VOODOO DRAIN CLEANER LLC                 PO BOX 634 HIGLEY AZ 85236-0634
VOORHEES, ARCHIE, VOORHEES, SHEILA       ADDRESS ON FILE
VOORHEES, SHEILA                         ADDRESS ON FILE
VORTEX COLORADO INC                      1801 W OLYMPIC BLVD FILE 1525 PASADENA CA 91199-1525
VORTEX INDUSTRIES INC                    FILE 1095 1801 WEST OLYMPIC BOULEVARD PASADENA CA 91199-1095
VP ELECTRIC LLC                          1775 BLOUNT RD STE 404 POMPANO BEACH FL 33069-5126
VT OCCUPATIONAL SAFETY & HEALTH ADMIN    VERMONT DEPARTMENT OF LABOR 5 GREEN MOUNTAIN DRIVE PO BOX 488 MONTPELIER VT
                                         05601-0488
VT. DEPT OF ENVIRONMENTAL CONSERVATION   ENVIRONMENTAL ASSITANCE OFFICE 1 NATIONAL LIFE DR DAVIS 3 MONTPELIER VT 05620
VU, ANTHONY                              ADDRESS ON FILE
VU, LALENA                               ADDRESS ON FILE
VYNAWOOD INC                             1695 KINGSTON ROAD LONGWOOD FL 32750
W C ZABEL COMPANY                        DBA ZABELS RESTAURANT EQUIPMENT & SUPPLIES 645 MARKET STREET YOUNGSTOWN OH
                                         44502-1914
W L EZELL & ASSOCIATES LTD               DBA UNIVERSAL PUBLICATIONS 2175 NW 86TH STREET 1-D DES MOINES IA 50325
W R HICKEY BEER DIST INC                 1321 E COLLEGE AVENUE STATE COLLEGE PA 16801
W VENTURES I LLC                         DBA FISH WINDOW CLEANING 3340 E PLEASANT VALLEY BLVD ALTOONA PA 16601-8939
W.V. OFFICE OF ATTORNEY GENERAL          CONSUMER PROTECTION DIVISION BLDG 1, RM E-26 1900 KANAWHA BLVD E CHARLESTON WV
                                         25305
WA STATE DEPT OF LABOR & INDUSTRIES      4101 WASHTENAW AVE PO BOX 8645 OLYMPIA WA 98504-4510
WA STATE DEPT OF LABOR & INDUSTRIES      EMPLOYMENT STANDARDS PROGRAM PO BOX 44510 OLYMPIA WA 98504-4510
WA STATE DEPT OF NATURAL RESOURCES       MS 47000 OLYMPIA WA 98504
WACO HOTEL SUPPLY CO INC                 DBA WACO RESTAURANT SUPPLY 308 LAKE AIR DR WACO TX 76710-5836
WADDINGTONS LAWN CARE SERVICE            5 CAMERON LANE BRANTFORD ON N3R 7T1 CANADA
WADE ELECTRIC                            1821 ATCHISON DR NORMAN OK 73069-8299
WADE RAYMOND COOK                        ADDRESS ON FILE
WAGEWORKS INC                            DBA CONEXIS A DIVISION OF WAGEWORKS INC PO BOX 8363 PASADENA CA 91109-8363
WAGHORNS PLUMBING                        1738 SUMMERLANDS CRESCENT ORLEANS ON K1E 2Y2 CANADA
WAGNER ELECTRIC CO INC                   PO BOX 991517 LOUISVILLE KY 40269-1517
WAGNER FOOD EQUIPMENT INC                DBA HOBART SALES AND SERVICE PO BOX 7047 ROANOKE VA 24019-0047
WAGONER & DESAI PLLC                     265 HIGH ST FL 3 MORGANTOWN WV 26505-5468
WAKE COUNTY REVENUE DEPARTMENT           PREPARED FOOD & BEVERAGE TAX COLLECTIONS PO BOX 2719 RALEIGH NC 27602-2719
WAKE COUNTY TAX ADMINISTRATION           PREPARED FOOD & BEVERAGE TAX COLLECTIONS GROSS RECEIPTS TAX DIVISION PO BOX
                                         2719 RALEIGH NC 27602-2719
WAKE COUNTY TAX ADMINISTRATION           PO BOX 580084 CHARLOTTE NC 28258-0084
WAKE COUNTY TAX COLLECTOR                608 JACKSON STREET CHARLOTTE NC 28296-0084
WAKE COUNTY TAX COLLECTOR                PO BOX 96084 CHARLOTTE NC 28296-0084
WAKE CTY BOARD OF ALCOHOL CTRL           1212 WICKER DRIVE RALEIGH NC 27604
WAKEFIELD, SCOTT                         ADDRESS ON FILE
WAKY SIGNS                               DBA WAKY SIGNS CO INC 1530 MUDD AVENUE BOWLING GREEN KY 42102
WALDEN PLUMBING AND ELECTRIC             1261 COUNTY ROAD 22 HEADLAND AL 36345-8417
WALDSTEIN HVAC LLC                       DBA AIRESERV OF COUNCIL BLUFFS 1321 S MAIN ST COUNCIL BLUFFS IA 51503-6567
WALFAB INC                               1956 NE 151ST STREET NORTH MIAMI BEACH FL 33162-6012
WALGREENS CORPORATION                    17408 1015 BRIDGE RD CHARLESTON WV 25314-1305
WALK IN GRACE                            ADDRESS ON FILE
WALKER & WALKER                          ADDRESS ON FILE
WALKER, BRITTANY                         ADDRESS ON FILE
WALKER, BRYANT                           ADDRESS ON FILE


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WALKER, ROBERT                          ADDRESS ON FILE
WALKER, TRACY                           ADDRESS ON FILE
WALKER, YOLANDA                         ADDRESS ON FILE
WALLACE BROS. DISPOSAL, INC.            PO BOX 309 SEELYVILLE IN 47878-0309
WALLACE ELECTRIC COMPANY                PO BOX 888 JACKSON GA 30233-0019
WALLACES GARDEN CENTER AND GREENHOUSE   2605 DEVILS GLEN ROAD BETTENDORF IA 52722-3443
WALLER, MICHAEL.                        ADDRESS ON FILE
WALLNER PLUMBING CO                     1651 HARTNELL AVE REDDING CA 96002-2231
WALLWIN ELECTRIC SERVICES LTD           50 INNISFIL STREET BARRIE ON L4N 4K5 CANADA
WALSTER LLC                             222 GRAND AVE ENGLEWOOD NJ 07631
WALTER PLUMBING & HEATING INC           PO BOX 2722 CHEYENNE WY 82003-2722
WALTON EMC / WALTON GAS                 PO BOX 1347 MONROE GA 30655-1347
WALTON EMC AND WALTON EMC NATURAL GAS   842 HWY. 78, P. O. BOX 260 MONROE GA 30655
WANDA ROBBINS                           ADDRESS ON FILE
WANTZ DISTRIBUTING                      11743 HOPEWELL RD HAGERSTOWN MD 21740-2184
WARDEN PROTECTION SERVICES LLC          11170 TUSCANNY AVE SPRING HILL FL 34608-3254
WARE DISPOSAL                           PO BOX 1318 SANTA ANA CA 92702
WARE ENTERPRISE INC                     DBA FIVE STAR MECHANICAL INC 7509 GRANGE ST W LAKEWOOD WA 98499-8181
WARE, MALIK                             ADDRESS ON FILE
WARE, SHIRLEY                           ADDRESS ON FILE
WARFIELD, ANGELA                        ADDRESS ON FILE
WARREN CITY TREASURER                   1 CITY SQUARE STE 200 WARREN MI 48093-2395
WARREN COUNTY CLERK                     PO BOX 96084 BOWLING GREEN KY 42102-0478
WARREN COUNTY CLERK                     PO BOX 478 BOWLING GREEN KY 42102-0478
WARREN COUNTY SCHOOLS                   OCCUPATIONAL TAX OFFICE PO BOX 51530 BOWLING GREEN KY 42102-5830
WARREN COUNTY SHERIFF                   PO BOX 807 BOWLING GREEN KY 42102
WARREN STROMME                          DBA SERVICE PLUS LLC PO BOX 297 BRIDGER MT 59014
WARREN, SHIRLEY                         ADDRESS ON FILE
WARWICK, KALI                           ADDRESS ON FILE
WASH 360 INC                            109 RIDGE LN OXFORD PA 19363-4303
WASH RITE INC                           8815 CONROY WINDERMERE ROAD SUITE 240 ORLANDO FL 32835
WASHED NEW LLC                          361 SOUTHWEST DR 312 JONESBORO AR 72401-5854
WASHED UP WINDOWS LLC                   PO BOX 52 SAINT GEORGE UT 84771-0052
WASHINGTON COUNTY                       DEPT OF PUBLIC HEALTH & ENVIRONMENT 14949 62ND STREET STILLWATER MN 55082
WASHINGTON COUNTY ASSESSOR              87 NORTH 200 EAST GEORGE UT 84770
WASHINGTON COUNTY COLLECTOR             280 N COLLEGE SUITE 202 FAYETTEVILLE AR 72701
WASHINGTON COUNTY HEALTH DEPARTMENT     PO BOX 478 HAGERSTOWN MD 21742
WASHINGTON COUNTY HEALTH DEPT           1302 PENNSYLVAINA AVE HAGERSTOWN MD 21742
WASHINGTON COUNTY OREGON                ENVIROMENTAL HEALTH PROGRAM 155 NORTH FIRST STREET SUITE 160 HILLSBORO OR
                                        97124
WASHINGTON COUNTY TREASURER             35 W WASHINGTON ST STE 102 HAGERSTOWN MD 21740-4868
WASHINGTON COUNTY TRUSTEE               PO BOX 215 JONESBOROUGH TN 37659
WASHINGTON DEPT OF LABOR AND INDUSTRIES 7273 LINDERSON WAY SW TUMWATER WA 98501-5414
WASHINGTON DEPT OF LABOR AND INDUSTRIES PO BOX 44000 OLYMPIA WA 98504-4000
WASHINGTON DEPT OF TRANSPORTATION       310 MAPLE PARK AVE SE PO BOX 47300 OLYMPIA WA 98504-7300
WASHINGTON DISTRIBUTING COMPANY INC     DBA CAPPELLIS 610 JEFFERSON AVENUE WASHINGTON PA 15301
WASHINGTON EMPLOYMENT SECURITY DEPT     212 MAPLE PARK AVE SE OLYMPIA WA 98501-2347
WASHINGTON EMPLOYMENT SECURITY DEPT     PO BOX 9046 OLYMPIA WA 98507
WASHINGTON GAS                          PO BOX 37747 PHILADELPHIA PA 19101-5047



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WASHINGTON MALL- JCP ASSOC LTD          C/O MOSITES DEVELOPMENT COMPANY 400 MOSITES WAY SUITE 100 PITTSBURGH PA 15205
WASHINGTON OFFICE OF ATTORNEY GENERAL   CONSUMER PROTECTION DIVISION 1125 WASHINGTON ST SE PO BOX 40100 OLYMPIA WA
                                        98504
WASHINGTON PRIME PROPERTY LP            DBA GEORGESVILLE SQUARE 180 E BROAD ST COLUMBUS OH 43215-3707
WASHINGTON STATE DEPT OF NATURAL        RESOURCES NATURAL RESOURCES BUILDING 1111 WASHINGTON ST, SE OLYMPIA WA 98504
WASHINGTON STATE DEPT OF REVENUE        EXECUTIVE OFFICE PO BOX 47450 OLYMPIA WA 98504-7450
WASHINGTON STATE DEPT OF REVENUE        PO BOX 47464 OLYMPIA WA 98504-7464
WASHINGTON STATE DEPT OF REVENUE        UNCLAIMED PROPERTY SECTION PO BOX 47477 OLYMPIA WA 98504-7477
WASHINGTON STATE DEPT OF REVENUE        PO BOX 47478 OLYMPIA WA 98504-7478
WASHINGTON STATE DEPT OF REVENUE        BUSINESS LICENSING SERVICE PO BOX 9030 OLYMPIA WA 98507-9030
WASHINGTON STATE DEPT OF REVENUE        BUSINESS LICENSING SERVICE PO BOX 9034 OLYMPIA WA 98507-9034
WASHINGTON STATE HUMAN RIGHTS           711 S. CAPITOL WAY, SUITE 402 OLYMPIA WA 98504
COMMISSION
WASHINGTON STATE TREASURER              DEPT OF LICENSING BUSINESS LICENSE SERVICES OLYMPIA WA 98504
WASHINGTON SUBURBAN SANITARY COMMISSION 14501 SWEITZER LANE LAUREL MD 20707-5901
WASHINGTON, JAMES                       ADDRESS ON FILE
WASHINGTON, KEMAHNI                     ADDRESS ON FILE
WASHINGTON, SHAN-TA                     ADDRESS ON FILE
WASHMASTER LLC                          PO BOX 891043 OKLAHOMA CITY OK 73189-1043
WASHOE COUNTY CLERK                     PO BOX 30083 RENO NV 89520-3083
WASHOE COUNTY DIST HEALTH DEPARTMENT    1302 PENNSYLVAINA AVE RENO NV 89520-0027
WASHOE COUNTY DIST HEALTH DEPT          PO BOX 11130 RENO NV 89520-0027
WASHOE COUNTY TREASURER                 PO BOX 30039 RENO NV 89520-3039
WASHOUT POWER WASHING LLC               DBA ADALEEN MARTINEZ 305 FISH HAWK DR WINTER HAVEN FL 33884-4175
WASHTENAW COUNTY HEALTH DEPARTMENT      PO BOX 11130 ANN ARBOR MI 48107-8645
WASHTENAW COUNTY HEALTH DEPT            4101 WASHTENAW AVE PO BOX 8645 ANN ARBOR MI 48107-8645
WASTE ALTERNATIVES                      PO BOX 35393 DUNDALK MD 21222
WASTE AWAY DUMPSTER SERVICE LLC         PO BOX 12184 HUNTSVILLE AL 35815
WASTE AWAY EXPRESS                      PO BOX 98 CORNELIA GA 30531
WASTE CONNECTIONS BAYOU                 PO BOX 679859 SHREVEPORT HAULING DIVISION DALLAS TX 75267-9859
WASTE CONNECTIONS LONE STAR             PO BOX 679859 LONE STAR DALLAS TX 75267-9859
WASTE CONNECTIONS LONE STAR             PO BOX 17608 AUSTIN TX 78760-7608
WASTE CONNECTIONS LS                    PO BOX 679859 DALLAS TX 75267
WASTE CONNECTIONS LS                    PO BOX 162479 FORT WORTH TX 76161-2479
WASTE CONNECTIONS OF AZ                 PO BOX 7428 PASADENA CA 91109-7428
WASTE CONNECTIONS OF CANADA - VAUGHAN   6220 HWY 7 STE 600 WOODBRIDGE ON L4H 4G3 CANADA
WASTE CONNECTIONS OF CO INC             PO BOX 7428 PASADENA CA 91109
WASTE CONNECTIONS OF FLORIDA            PO BOX 535233 PITTSBURGH PA 15253-5233
WASTE CONNECTIONS OF FLORIDA            6800 OSTEEN RD PASCO HAULING NEW PORT RICHEY FL 34653-3667
WASTE CONNECTIONS OF FLORIDA            3840 NW 37TH CT MIAMI HAULING MIAMI FL 33142-4208
WASTE CONNECTIONS OF KS INC             PO BOX 679859 DALLAS TX 75267-9859
WASTE CONNECTIONS OF LA INC             PO BOX 679859 MONROE HAULING DIVISION DALLAS TX 75267-9859
WASTE CONNECTIONS OF LAWTON             PO BOX 679859 DALLAS TX 75267-9859
WASTE CONNECTIONS OF MD                 PO BOX 535233 MID-ATLANTIC DISTRICT PITTSBURGH PA 15253-5233
WASTE CONNECTIONS OF MO                 196 NW INDUSTRIAL CT BRIDGETON MO 63044-1276
WASTE CONNECTIONS OF MS INC             PO BOX 96 A WASTE CONNECTIONS COMPANY WALNUT MS 38683-0096
WASTE CONNECTIONS OF NC                 PO BOX 535233 CHARLOTTE DISTRICT 6111 PITTSBURGH PA 15253-5233
WASTE CONNECTIONS OF OK                 PO BOX 679859 DALLAS TX 75267
WASTE CONNECTIONS OF PA                 PO BOX 535233 CHAMBERSBURG HAULING PITTSBURGH PA 15253



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WASTE CONNECTIONS OF SC INC              PO BOX 535233 GREENVILLE DISTRICT 6120 PITTSBURGH PA 15253-5233
WASTE CONNECTIONS OF TEXAS               PO BOX 679859 DALLAS TX 75267-9859
WASTE CONNECTIONS OF TN INC              PO BOX 535233 PITTSBURGH PA 15253
WASTE CONNECTIONS OF TN INC              PO BOX 535233 DIST 6010 PITTSBURGH PA 15253-5233
WASTE CONNECTIONS OF TN INC              PO BOX 535233 KNOXVILLE DISTRICT PITTSBURGH PA 15253-5233
WASTE CONNECTIONS OF TX                  PO BOX 679859 DALLAS TX 75267-9859
WASTE CONNECTIONS OF TX                  PO BOX 1598 HUMBLE TX 77347-1598
WASTE CONNECTIONS OF WA INC              PO BOX 7428 VANCOUVER DISTRICT 2010 PASADENA CA 91109-7428
WASTE CONTROL INC                        PO BOX 7428 A WASTE CONNECTIONS COMPANY PASADENA CA 91109-7428
WASTE MANAGEMENT                         PO BOX 55558 BOSTON MA 02205-5558
WASTE MANAGEMENT                         PO BOX 4648 CAROL STREAM IL 60197-4648
WASTE MANAGEMENT                         PO BOX 541065 LOS ANGELES CA 90054-1065
WASTE MANAGEMENT NATIONAL SERVICES INC   PO BOX 740023 ATLANTA GA 30374-0023
WASTE PRO                                PO BOX 946208 ATLANTA GA 30394-6208
WASTE PRO                                PO BOX 946215 ATLANTA GA 30394-6215
WASTE PRO                                PO BOX 946228 ATLANTA GA 30394-6228
WASTE PRO                                PO BOX 946242 ATLANTA GA 30394-6242
WASTE PRO                                PO BOX 947185 ATLANTA GA 30394-7185
WASTE PRO                                PO BOX 947189 ATLANTA GA 30394-7189
WASTE PRO                                PO BOX 947197 ATLANTA GA 30394-7197
WASTE PRO                                PO BOX 947200 ATLANTA GA 30394-7200
WASTE PRO                                PO BOX 947223 ATLANTA GA 30394-7223
WASTE PRO                                PO BOX 947265 ATLANTA GA 30394-7265
WASTE PRO                                PO BOX 947289 ATLANTA GA 30394-7289
WASTE PRO                                PO BOX 947506 ATLANTA GA 30394-7506
WASTE PRO                                PO BOX 947871 ATLANTA GA 30394-7871
WASTE PRO                                91 POLK AVE NASHVILLE TN 37210-4313
WASTE PRO                                200 BRAXTON AVE MERIDIAN MS 39301
WASTE PRO                                PO BOX 12189 JACKSON MS 39236
WASTE PRO - SANFORD - DO NOT USE         PO BOX 865181 ORLANDO FL 32886-5181
WASTE SYSTEMS INC.                       PO BOX 407 FRANKLIN SQUARE NY 11010
WASTECO WELLINGTON/WATERLOO REGION       235 CURTIS DR GUELPH ON N1K1Y3 CANADA
WATER CONDITIONING OF MS LLC             DBA CULLIGAN OF MS 1205 NELLE ST TUPELO MS 38801-3415
WATER CONNECTION INC                     DBA KINETICO WATER SYSTEMS OF SWFL 11170 BONITA BEACH RD SE BONITA SPRINGS FL
                                         34135-5703
WATER DISTRICT - LVVWD                   PO BOX 2921 LVVWD PHOENIX AZ 85062-2921
WATER DOCTOR OF WASHINGTON INC           DBA KINETICO WATER SYSTEM 2556 JACKSON HWY CHEHALIS WA 98532-8648
WATER HEATER MAN INC                     1361 N HUNDLEY ST ANAHEIM CA 92806-1301
WATER PRO INC                            DBA CULLIGAN WATER CONDITIONING PO BOX 404 MARION IA 52302-0404
WATER SOURCE PLUMBING SVC INC            12 TOWER PLACE NEWNAN GA 30263
WATER WERKS APPLIED PLUMBING SVCS LTD    DBA H2O WERKS 3 GOLF CENTER SUITE 294 HOFFMAN ESTATES IL 60169-4910
WATER WORKS & SEWER BOARD                P.O. BOX 800 GADSDEN AL 35902
WATER WORKS GROUP INC                    81 WEST HILLS RD UNIT A HUNTINGTON STATION NY 11746-2363
WATERCO OF THE HUDSON VALLEY INC         DBA CULLIGAN NEWBURGH NY 131 LITTLE BRITAIN ROAD NEWBURGH NY 12550-5114
WATERFORD CHARTER TOWNSHIP TREASURER     5200 CIVIC CENTER DR WATERFORD MI 48329
WATERFORD LAKES TOWN CENTER LLC          ATTN: GENERAL COUNSEL C/O WPG 180 EAST BROAD STREET, 21ST FLOOR COLUMBUS OH
                                         43215
WATERFORD LAKES TOWN CENTER LLC          MSC 7557 PO BOX 415000 DEPT CC002197 NASHVILLE TN 37241-7557
WATERFORD POLICE DEPARTMENT              RECORDS DIVISION 5150 CIVIC CENTER DRIVE WATERFORD MI 48329



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WATERFORD WATER & SEWER DEPT            5240 CIVIC CENTER DR WATERFORD TWP MI 48329
WATERLINE ADVERTISING LLC               DBA SIGNPROS 1201 HALL ST OWENSBORO KY 42303-1036
WATERLOO WATER WORKS                    P.O. BOX 27 WATERLOO IA 50704-0027
WATERONE                                WATER DIST NO 1 OF JOHNSON CO PO BOX 219432 KANSAS CITY MO 64121-9432
WATERS ELECTRICAL CONTRACTING INC       582 HAZELCREST DR RANTOUL IL 61866-1105
WATERTOWN CITY SCHOOL DIST TAX          PO BOX 586 WATERTOWN NY 13601
COLLECTOR
WATERTOWN TOWN TAX COLLECTOR            PAMELA DESORMO 22867 COUNTY ROUTE 67 WATERTOWN NY 13601
WATKINS, RIVERZ                         ADDRESS ON FILE
WATKINS, VALETHIA ANNE                  ADDRESS ON FILE
WATSON BARN RENTALS LLC                 2214 N JACKSON ST TULLAHOMA TN 37388-2210
WATSON BROS SERVICE COMPANY INC         3433 ELECTRIC AVE PORT HURON MI 48060
WATSON ELECTRICAL                       54 NIGHTHAWK CRESCENT KANATA ON K2M 2X6 CANADA
WATSON ELECTRICAL CONSTRUCTION CO LLC   1500 CHARLESTON ST SE WILSON NC 27893-9035
WATSON, DALKEITH                        ADDRESS ON FILE
WATSON, DELORES.                        ADDRESS ON FILE
WATSON. LINDSEY                         ADDRESS ON FILE
WATTS PLUMBING LLC                      509 SPORTS ST FAIRBORN OH 45324-5138
WAUWATOSA CITY TAX COLLECTOR            PO BOX 88360 MILWAUKEE WI 53288-8360
WAUWATOSA CITY TREASURER                7725 W NORTH AVE WAUWATOSA WI 53213
WAVE CONSULTING CORPORATION             DBA WAVE CORPORATION 225 E CANTON AVE WINTER PARK FL 32789-3844
WAXIES ENTERPRISES INC                  DBA WAXIE SANITARY SUPPLY PO BOX 748802 LOS ANGELES CA 90074-8802
WAYMAN AND COMPANY LLC                  DBA CITY WIDE FACILITY SOLUTIONS WICHITA 239 N OHIO AVE WICHITA KS 67214-3933
WAYMAN FIRE PROTECTION INC              3540 OLD CAPITOL TRL WILMINGTON DE 19808-6126
WAYNE A BELLEAU                         ADDRESS ON FILE
WAYNE A THOMPSON                        ADDRESS ON FILE
WAYNE AMABILE                           ADDRESS ON FILE
WAYNE ASCIOLLA WINDOW CLNG & JANITORIAL SVCS INC PO BOX 523 LANGHORNE PA 19047
WAYNE COUNTY HEALTH DEPARTMENT          CITY HALL BUILDING 1 2401 COURTHOUSE DR WAYNE MI 48184
WAYNE COUNTY HEALTH DEPARTMENT          5454 S VENOY RD WAYNE MI 48184
WAYNE COUNTY HEALTH DEPT                203 S WALNUT ST WOOSTER OH 44691
WAYNE COUNTY TREASURER                  428 W LIBERTY ST WOOSTER OH 44691
WAYNE E RINGLABEN                       PO BOX 341 TREICHLERS PA 18086-0341
WAYNE KAURANEN                          ADDRESS ON FILE
WAYNE LEON ZWEIFEL                      ADDRESS ON FILE
WAYNE OXYGEN & WELDING SUPPLY CO INC    PO BOX 1244 WAYNESBORO VA 22980
WAYNE TOWNSHIP SEWER DEPARTMENT         PRETREATMENT PROGRAM 201 DEY ROAD WAYNE NJ 07470
WAYNE W MARTINETTI                      ADDRESS ON FILE
WAYNE WILKINS LOCK & SAFE SERVICE LLC   PO BOX 2141 FARMINGTON NM 87499-2141
WAYNES QUALITY AUTO GLASS INC           DBA GLASS DOCTOR OF AMARILLO 2515 BRITAIN DRIVE AMARILLO TX 79109-1714
WB WASTE - GOODE COMPANIES INC          1701 OLIVE ST CAPITOL HEIGHTS MD 20743-6705
WCA WASTE SYSTEMS INC                   PO BOX 4524 HOUSTON TX 77210-4524
WDH SOLUTIONS INC                       PO BOX 1734 TROY MI 48099-1734
WE DO WINDOWS                           359 PARKWOOD CLOSE S E CALGARY ON T2J 3V9 CANADA
WE ENERGIES/WISCONSIN ELECTRIC/GAS      PO BOX 6042 CAROL STREAM IL 60197-6042
WEATHERBY ENTERPRISES                   39629 N 106TH ST SCOTTSDALE AZ 85262-3384
WEATHERITE CORPORATION                  21211 COMMERCE POINT DRIVE WALNUT CA 91789-3056
WEBB COUNTY                             EMPLOYMENT STANDARDS PROGRAM PO BOX 44510 LAREDO TX 78042-8128
WEBB COUNTY TAX ASSESSOR/COLLECTOR      PO BOX 420128 LAREDO TX 78042-8128



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WEBSTER LOCK & HARDWARE CO INC           2471 WEBSTER AVENUE BRONX NY 10458
WEBSTER POLICE DEPARTMENT                C/O ALARM PERMITS 217 PENNSYLVANIA ST WEBSTER TX 77598-5228
WEBSTER POWELL, PC                       ATTN: J. WEBSTER, H. POWELL, T. WESTHAUS 320 W. OHIO, STE 501 CHICAGO IL 60654
WEEKS, DAVID                             ADDRESS ON FILE
WEEKS, SHERRY                            ADDRESS ON FILE
WEEWASH POWER WASHING LLC                148 FOREST EDGE DR CHILLICOTHE OH 45601-9551
WEGNER & WEGNER                          DBA OLD SCHOOL CLEANING CO 118 S WASHINGTON ST STE B209 GREEN BAY WI
                                         54301-4273
WEIL GOTSHAL & MANGES LLP                767 FIFTH AVENUE NEW YORK NY 10153-0119
WEINAND, SHARON, OLSSON, FRANK           ADDRESS ON FILE
WEINGARTEN I-4 CLERMONT LANDING LLC      500 NORTH BROADWAY, SUITE 201 P.O. BOX 9010 JERICHO NY 11753
WEINGARTEN I-4 CLERMONT LANDING LLC      PO BOX 30344 TAMPA FL 33630-3344
WEINGARTEN I-4 CLERMONT LANDING, LLC     ATTN: LEGAL DEPARTMENT 2600 CITADEL PLAZA DR., SUITE 125 HOUSTON TX 77008
WEINGARTEN REALTY INVESTORS              PO BOX 301074 DALLAS TX 75303-1074
WEISER HEATING-AIR CONDITIONING          385 STONY HILL RD WEST MIDDLESEX PA 16159-2439
WEISINGER, TIFFANY                       ADDRESS ON FILE
WEISMAN ELECTRIC CO                      42 HUDSON STREET 102 ANNAPOLIS MD 21401
WEISS, JOYCE                             ADDRESS ON FILE
WELD COUNTY HEALTH DEPARTMENT            1555 N 17TH AVENUE GREELEY CO 80631
WELD COUNTY HEALTH DEPARTMENT            TAX ASSESSOR COLLECTOR PO BOX 420128 GREELEY CO 80631
WELD COUNTY TREASURER                    PO BOX 458 GREELEY CO 80632-0458
WELDING & COMMERCIAL COOKING EQUIPMENT   REPAIR LLC DBA WCCE REPAIR LLC 3057 PIN OAK DR CLEARWATER FL 33759-1324
WELDSTAR COMPANY                         DBA DEPKE GASES AND WELDING SUPPLIES PO BOX 1150 AURORA IL 60507-1150
WELLINGTON SUPPLY CHAIN                  7419 MCLEAN ROAD WEST PUSLINCH ON N0B 2J0 CANADA
WELLS FARGO                              ATTN: PETER (PETE) SCHUEBLER 125 HIGH STREET 11TH FLOOR BOSTON MA 02110
WELLS FARGO BANK NA                      ACCOUNT ANALYSIS NW 7091 PO BOX 1450 MINNEAPOLIS MN 55485
WELLS FARGO BANK, NA                     AS AGENT 1800 CENTURY PARK E, STE 1100 LOS ANGELES CA 90067
WELLS FARGO BANK, NA                     AS ADMINISTRATIVE AGENT 1800 CENTURY PARK E, STE 1100 LOS ANGELES CA 90067
WELLS FARGO BANK, NATIONAL ASSOCIATION   ATTENTION BRYAN WEI ATTENTION BRYAN WEI SUITE 1100 LOS ANGELES CA 90067
WELLS FARGO BANK, NATIONAL ASSOCIATION   ATTENTION: PETER SCHUEBLER ATTENTION: PETER SCHUEBLER SUITE 1100 LOS ANGELES
                                         CA 90067
WELLS FARGO BANK, NATIONAL ASSOCIATION   ATTENTION BRYAN WEI ATTENTION BRYAN WEI SAN FRANCISCO CA 94104
WENDEROFF LAW GROUP APC                  21820 BURBANK BLVD. STE 305 WOODLAND HILLS CA 91367
WENDT, BRANDON                           ADDRESS ON FILE
WENDY L JAMESON                          ADDRESS ON FILE
WENZEL FENTON CABASSA PA                 ADDRESS ON FILE
WERNER JOSEF SCHOENAUER                  ADDRESS ON FILE
WESAM YOUSEF                             ADDRESS ON FILE
WESLEY B BRISTOL                         ADDRESS ON FILE
WESLEY D SUGDEN.                         DBA SEAHORSE SAFE & LOCKOUT SERVICE LLC PO BOX 2123 LONGMONT CO 80502-2123
WESLEY G MARKUM                          ADDRESS ON FILE
WESSELS DRAFT DESIGN & SERVICE           9462 BROWNSBORO RD 151 LOUISVILLE KY 40241-1118
WEST BOISE SEWER DISTRICT                7608 USTICK BOISE ID 83704
WEST CENTRAL TREE SERVICES LLC           201 OAKRIDGE DR PANORA IA 50216-1086
WEST DES MOINES MUNICIPAL SERVICES       PO BOX 402002 DES MOINES IA 50940-2002
WEST HAVEN STREET SWEEPING LLC           81 ALLING STREET EXT WEST HAVEN CT 06516
WEST MIFFLIN SANITARY SEWER              BUREAU OF PUBLIC HEALTH PROTECTION MT KISCO CENTRAL OFFICE WEST MIFFLIN PA
                                         15122-2902
WEST MIFFLIN SANITARY SEWER              1302 LOWER BULL RUN ROAD WEST MIFFLIN PA 15122-2902
WEST PENN POWER                          PO BOX 3687 AKRON OH 44309-3687


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WEST PUBLISHING CORPORATION              DBA SERENGETI PO BOX 6292 CAROL STREAM IL 60197-6292
WEST SIDE BEER DISTRIBUTING              1480 S 11TH STREET KALAMAZOO MI 49009
WEST VIEW WATER AUTHORITY                PO BOX 6295 HERMITAGE PA 16148-0923
WEST VIRGINIA ALCOHOL BEVERAGE CONTROL   ADMINISTRATION 900 PENNSYLVANIA AVE. 4TH FLOOR CHARLESTON WV 25302
WEST VIRGINIA AMERICAN WATER COMPANY     PO BOX 371880 PITTSBURGH PA 15250-7800
WEST VIRGINIA DIV. OF LABOR              WORKFORCE WV 1900 KANAWHA BLVD STATE CAPITOL COMPLEX, BLDG 3, STE 300
                                         CHARLESTON WV 25305
WEST VIRGINIA DIVISION OF                ENVIRONMENTAL PROTECTION 601 57TH ST SE CHARLESTON WV 25304
WEST VIRGINIA STATE TAX DEPT             THE REVENUE CENTER 1001 LEE ST EAST CHARLESTON WV 25301
WEST VIRGINIA STATE TAX DEPT             RD-EFT PO BOX 11895 CHARLESTON WV 25339-1895
WEST VIRGINIA STATE TREASURERS OFFICE    UNCLAIMED PROPERTY DIVISION WV TREASURY BUILDING 2 322 70TH ST SE CHARLESTON
                                         WV 25304
WEST WILSON UTILITY DISTRICT             P.O. BOX 97 MOUNT JULIET TN 37121
WEST, SHERI                              ADDRESS ON FILE
WESTBROOKE, JAY W                        ADDRESS ON FILE
WESTBROOKE, VERA L                       ADDRESS ON FILE
WESTCHASE WINDOW CLEANING LP             1270 CRABB RIVER RD PMB 110 RICHMOND TX 77469-5636
WESTCHESTER CNTY HEALTH DEPARTMENT       1555 N 17TH AVENUE MT KISCO NY 10549
WESTCHESTER CNTY HEALTH DEPT             BUREAU OF PUBLIC HEALTH PROTECTION MT KISCO CENTRAL OFFICE 25 MOORE AVENUE MT
                                         KISCO NY 10549
WESTCHESTER FIRE INSURANCE COMPANY       5505 N. CUMBERLAND AVENUE SUITE 301 CHICAGO IL 60656
WESTERFIELD ELECTRIC LLC                 2960 FAIRVIEW DRIVE OWENSBORO KY 42303
WESTERMAN BALL EDERER MILLER ZUCKER      & SHARFSTEIN, LLP ATTN: PHILIP L. SHARFSTEIN, ESQ. 1201 RXR PLAZA UNIONDALE NY
                                         11556
WESTERN BEVERAGE COMPANY-SALEM           PO BOX 12185 SALEM OR 97309
WESTERN BEVERAGE LLC                     1075 OWEN LOOP SOUTH EUGENE OR 97402
WESTERN DISPOSAL SERVICES                PO BOX 9100 BOULDER CO 80301-9100
WESTERN DISTRIBUTING CO                  PO BOX 1969 CASPER WY 82601
WESTERN ELITE                            2745 NORTH NELLIS BOULEVARD LAS VEGAS NV 89115
WESTERN RECYCLERS                        0334 2ND ST LEWISTON ID 83501
WESTERN RESERVE WINDOW CLEANING LLC      1064 TALLMADGE ROAD SUITE C KENT OH 44240
WESTERN ROOFING INC                      4896 VAN GORDON STREET WHEAT RIDGE CO 80033
WESTERN SHORE SERVICES INC               DBA MR HANDYMAN OF ANNE ARUNDEL & NORTH PG 8229 CLOVERLEAF DR STE 435
                                         MILLERSVILLE MD 21108-1593
WESTERN SIGNS AND LINE PAINTING LTD      5779 RUSSELL ROAD CARLSBAD SPRINGS ON K0A 1K0 CANADA
WESTERN WATER INC                        DBA KINETICO OF OMAHA 3619 S 149TH ST OMAHA NE 68144-5554
WESTERN WYOMING LOCK AND SAFE            1849 CY AVENUE CASPER WY 82604-3475
WESTERNS BIG CITY WASTE LLC              925 S BENDING RIVER RD SALT LAKE CITY UT 84104
WESTFAIR WATER SYSTEMS INC               DBA WATER TREATMENT SERVICES 333 ADAMS STREET BEDFORD HILLS NY 10507-2001
WESTLAND CITY TREASURER                  PO BOX 554887 DETROIT MI 48255-4887
WESTLAND LOCK & KEY INC                  35665 FORD ROAD WESTLAND MI 48185-3197
WESTMORELAND LANDSCAPES LLC              DBA MICHAEL JOHNSTON PO BOX 58 LOYALHANNA PA 15661-0058
WESTRIDGE PARK INVESTORS L P             ATTN: MR TOM TAIT 3131 E CAMELBACK ROAD SUITE 310 PHOENIX AZ 85016
WESTSIDE GLASS INC.                      912 36TH PL SE RIO RANCHO NM 87124-2090
WETHERSFIELD TOWN TAX COLLECTOR          505 SILAS DEANE HIGHWAY WETHERSFIELD CT 06109
WETMORE SPECIALIZED PLUMBING SERVICES    DBA ROTO ROOTER PO BOX 38 WAMPUM PA 16157-0038
WEWJA-WASHINGTON-E WASHINGTON JOINT      PO BOX 510 WASHINGTON PA 15301-0510
AUTH
WEX BANK                                 PO BOX 6293 CAROL STREAM IL 60197-6293
WEYAND SIGN COMPANY                      4277 LINCOLN HIGHWAY STOYSTOWN PA 15563


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WFX FIRE LOCK AND SECURITY INC          150 AIRPORT DR UNIT 10 WESTMINSTER MD 21157-3002
WGL ENERGY SERVICES/PHILADELPHIA        PO BOX 37747 REMITTANCE PROCESSING CENTER PHILADELPHIA PA 19101-5047
WH WINES & SPIRITS LTD                  4715 GORDON ROAD REGINA SK S4W 0B7 CANADA
WHALE HOUSE DESIGN                      DBA COOK SIGN SERVICES 105 GARFIELD AVE MARQUETTE MI 49855-4013
WHALEY FOODSERVICE REPAIRS INC          DBA WHALEY PARTS & SUPPLY PO BOX 615 LEXINGTON SC 29071-0615
WHEAT RIDGE SANITATION DISTRICT         P.O. BOX 288 WHEAT RIDGE CO 80034-0288
WHEAT RIDGE WATER DISTRICT              P.O. BOX 637 WHEAT RIDGE CO 80034
WHITCHER PLUMBING & HEATING INC         1500 W MAUMEE ADRIAN MI 49221
WHITE HAWK SECURITY INCORPORATED        DBA WARRENS LOCKS AND KEYS 920 E FRONT AVE STE C BISMARCK ND 58504-5607
WHITE IRON MARKETING                    4501 BALFANZ RD EDINA MN 55435-1612
WHITE SERVICE COMPANY INC               DBA WSC PO BOX 1309 WOLFFORTH TX 79382
WHITE, NICOLE                           ADDRESS ON FILE
WHITE, TAMARA.                          ADDRESS ON FILE
WHITEFORD, ERICH                        ADDRESS ON FILE
WHITEHALL TOWNSHIP                      1302 LOWER BULL RUN ROAD WHITEHALL PA 18052-2921
WHITEHALL TOWNSHIP                      ATTN FINANCE OFFICER - AR 3219 MACARTHUR ROAD WHITEHALL PA 18052-2921
WHITEHORSE 3 LLC                        5123 SW 29TH ST STE A TOPEKA KS 66614-2304
WHITEHORSE 3 LLC                        4350 MW GREENHILLES PL TOPEKA KS 66618
WHITES GLASS AND MIRROR INC             358 STATE LN ORLANDO FL 32801-1613
WHITES PLUMBING INC                     PO BOX 180909 TALLAHASSEE FL 32318
WHITETAIL PLUMBING INC                  1421 HURST RD SEBRING FL 33870-9377
WHITFIELD & EDDY, P.L.C.                ATTN: NICHOLAS COOPER 317 6TH AVENUE, STE 1200 DES MOINES, IOWA 50309 DES
                                        MOINES IA 50309
WHITFIELD COUNTY TAX COMMISSIONER       1013 RIVERBURCH PARKWAY DALTON GA 30721-8676
WHITNEY, DARI                           ADDRESS ON FILE
WHITTINGHILL DISPOSAL SERVICES, INC.    6000 SOUTH CHEROKEE MUSKOGEE OK 74403
WHITTY, JACQUELINE                      ADDRESS ON FILE
WHRL RL MOBILE LLC                      C/O GRANITO & EPSTEIN LLP 100 MERRICK RD STE 202E ROCKVILLE CENTRE NY
                                        11570-4807
WHRL STONY BROOK LLC                    AND RPRL STONY BROOK LLC 11 SOUTH PASCACK ROAD SPRING VALLEY NY 10977
WHRL STONY BROOK LLC                    C/O GRANITO & EPSTEIN LLP 100 MERRICK RD STE 202E ROCKVILLE CENTRE NY
                                        11570-4807
WHRL STONY BROOK LLC                    C/O CORPORATION SERVICE COMPANY 251 LITTLE FALLS DR. WILMINGTON DE 19808
WICHITA COUNTY TAX ASSESSOR COLLECTOR   600 SCOTT AVE STE 103 WICHITA FALLS TX 76301
WICHITA FALLS/WICHITA COUNTY            ATTN FINANCE OFFICER - AR 3219 MACARTHUR ROAD WICHITA FALLS TX 76301-2199
WICHITA FALLS/WICHITA COUNTY            PUBLIC HEALTH DISTRICT LABORATORY 1700 THIRD STREET WICHITA FALLS TX
                                        76301-2199
WICHITA FALSE ALARM REDUCTION PROGRAM   PUBLIC HEALTH DISTRICT LABORATORY 1700 THIRD STREET WICHITA KS 67201
WICHITA FALSE ALARM REDUCTION PROGRAM   PO BOX 1162 WICHITA KS 67201
WICHITA LOCK AND KEY INC                1916 10TH ST WICHITA FALLS TX 76301-4933
WICHITA WATER CONDITIONING INC          DBA CULLIGAN OF WICHITA 10821 E 26TH ST N WICHITA KS 67226-4524
WICKER INSTALLATION LLC                 6280 STATE HIGHWAY 276 ROYSE CITY TX 75189-5727
WICKER SMITH OHARA MCCOY & FORD PA      ADDRESS ON FILE
WICKER SMITH OHARA MCCOY & FORD, P.A.   ADDRESS ON FILE
WICOMICO CO BOARD OF LICENSE COMMRS     212 WEST MAIN ST SUITE 04 SALISBURY MD 21801
WICOMICO COUNTY                         PO BOX 4036 SALISBURY MD 21803-4036
WICOMICO COUNTY BOARD OF LICENSE        COMMNERS DO NOT MAIL ORLANDO FL 32809
WICOMICO COUNTY HEALTH DEPARTMENT       PO BOX 1162 SALISBURY MD 21801
WICOMICO COUNTY HEALTH DEPT             108 EAST MAIN STREET SALISBURY MD 21801
WICOMICO COUNTY TREASURER               PO BOX 4036 SALISBURY MD 21803-4036


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WIDEWATERS GROUP INC                     ATTN LEASE ADMINISTRATION 5845 WIDEWATERS PARKWAY STE 100 EAST SYRACUSE NY
                                         13057-3078
WIDEWATERS LAKEWOOD VILLAGE CTR CO, LLC ATTN: LEASE ADMINISTRATION C/O THE WIDEWATERS GROUP, INC. 5845 WIDEWATERS
                                        PARKWAY, SUITE 100 EAST SYRACUSE NY 13057
WIDEWATERS LAKEWOOD VILLAGE CTR CO, LLC 5786 WIDEWATERS PARKWAY P.O. BOX 3 DE WITT NY 13214-0003
WIECHART ENTERPRISES INC                 DBA ALL SERVICE GLASS COMPANY 4511 ELIDA ROAD LIMA OH 45807
WIERSGALLA CO INC                        DBA ALL DRAIN SERVICE PO BOX 902 EAU CLAIRE WI 54702
WIGGINS, WINIFRED                        ADDRESS ON FILE
WIL FISCHER DISTRIBUTING OF KANSAS LLC   17501 W 98TH STREET 18-49 LENEXA KS 66219
WIL SERVICE INC                          220 N MAIN STREET WILMINGTON IL 60481
WILBUR LEE LANIER JR                     ADDRESS ON FILE
WILCOM ELECTRICAL SYSTEMS LLC            550 HOLTS LAKE CT STE 101 APOPKA FL 32703-3360
WILCOX ELECTRIC AND SERVICE INC          1833 HOVEY AVE NORMAL IL 61761-4315
WILCOXEN & WILCOXEN INC                  DBA MICRO OVENS OF ST LOUIS 7835 MANCHESTER ST LOUIS MO 63143
WILD REALTY 1 LLC                        C/O WILDENSTEIN & CO INC 689 5TH AVE FL 4 NEW YORK NY 10022-3155
WILD REALTY 3, LLC                       ATTN: KARI HOROWITZ, CFO C/O WILDENSTEIN & CO., INC. 689 FIFTH AVE., 4TH FLOOR
                                         NEW YORK NY 10022-3155
WILD THING LLC                           DBA LIVING WATERS AQUARIUMS & PONDS 1508 W 2ND ST N WICHITA KS 67203-6035
WILDCAT CARPET CLEANING                  DBA WILDCAT PRESSURE WASHING 220 BIG RUN RD STE 1 LEXINGTON KY 40503-2933
WILDMAN BUSINESS GROUP LLC               DBA WILDMAN FACILITY SERVICES 800 S BUFFALO ST WARSAW IN 46580-4710
WILDWOOD MARKETING INC                   PO BOX 80 LAVONIA GA 30553-0080
WILEY, AMAYA                             ADDRESS ON FILE
WILEY, TAMARA                            ADDRESS ON FILE
WILFORD JOHNSON ELECTRIC SERVICE INC     DBA JOHNSONS ELECTRIC SERVICE PO BOX 192 LAWTON OK 73502
WILGRO CLEANING SERVICES LLC             4655 SOUTHPORT CROSSING NORCROSS GA 30092-1122
WILHITE, KENT                            ADDRESS ON FILE
WILK AUSLANDER LLP                       1515 BROADWAY, 43RD FLOOR NEW YORK NY 10036
WILKERSON, JOHN                          ADDRESS ON FILE
WILKES AND COMPANY INC                   C/O WILKES PLUMBING & HEATING 205 SPROWL RD HURON OH 44839-2635
WILKES BARRE TOWNSHIP MUNICIPALITY       108 EAST MAIN STREET WILKES BARRE PA 18702
WILKES BARRE TOWNSHIP MUNICIPALITY       150 WATSON STREET WILKES BARRE PA 18702
WILKIE LIQUORS                           724 1ST STREET SOUTH MOUNT VERNON IA 52314
WILKINS, JEREMY                          ADDRESS ON FILE
WILKINS, KYLE                            ADDRESS ON FILE
WILKINSON & GRIST                        ANDREA FONG 6TH FLOOR, PRINCES BUILDING 10 CHATER ROAD, CENTRAL HONG KONG HONG
                                         KONG
WILKINSON DEKALB LAND COMPANY LLC        C/O WILKINSON DEVELOPMENT CORP 106 COMMERCE STREET SUITE 110 LAKE MARY FL
                                         32746
WILKINSON, DAYLE                         ADDRESS ON FILE
WILL COUNTY HEALTH DEPARTMENT            323 QUADRANGLE DRIVE BOLINGBROOK IL 60440
WILL COUNTY TREASURER                    302 N CHICAGO ST JOLIET IL 60432
WILLAMETTE VALLEY TAP CLEANING           LARRY LEE TRIMBLE JR PO BOX 1406 SPRINGFIELD OR 97477
WILLIAM A BALLARD                        ADDRESS ON FILE
WILLIAM A CANNING                        ADDRESS ON FILE
WILLIAM A RAGAN                          ADDRESS ON FILE
WILLIAM C FISHER JR AND JANET FISHER     ADDRESS ON FILE
WILLIAM C MCWILLIAMS                     ADDRESS ON FILE
WILLIAM CASEY MCELHENNEY                 ADDRESS ON FILE
WILLIAM CHARLTON BAKER III               ADDRESS ON FILE
WILLIAM DEREK HUFF                       ADDRESS ON FILE


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WILLIAM DONTE SISTRUNK               ADDRESS ON FILE
WILLIAM FIGUEROA                     ADDRESS ON FILE
WILLIAM GANT INC                     PO BOX 773 LADY LAKE FL 32158-0773
WILLIAM GARCIA                       ADDRESS ON FILE
WILLIAM H SCHMIDT.                   ADDRESS ON FILE
WILLIAM J CIRIELLO PLUMBING CO INC   PO BOX 468 BEECH GROVE IN 46107-0468
WILLIAM J LUPO                       ADDRESS ON FILE
WILLIAM J MAY                        ADDRESS ON FILE
WILLIAM J. IHLENFELD, II             UNITED STATES ATTORNEYS OFFICE US COURTHOUSE & POST OFFICE BLDG STE 400, 217 W
                                     KING ST MARTINSBURG WV 25401
WILLIAM J. IHLENFELD, II             UNITED STATES ATTORNEYS OFFICE F P STAMP, JR, FED BLDG & US COURTHOUSE STE
                                     3000, 1125 CHAPLINE ST WHEELING WV 26003
WILLIAM J. IHLENFELD, II             UNITED STATES ATTORNEYS OFFICE FEDERAL BLDG 300 THIRD ST, STE 300 ELKINS WV
                                     26241
WILLIAM J. IHLENFELD, II             UNITED STATES ATTORNEYS OFFICE CLARKSBURG FEDERAL BLDG 320 W PIKE ST, STE 300
                                     CLARKSBURG WV 26301
WILLIAM K HOFFMAN                    ADDRESS ON FILE
WILLIAM KNIGHT                       ADDRESS ON FILE
WILLIAM KUNZ                         ADDRESS ON FILE
WILLIAM L CONNORS                    ADDRESS ON FILE
WILLIAM LAUDERDALE                   ADDRESS ON FILE
WILLIAM MICHAEL CONE                 ADDRESS ON FILE
WILLIAM MORGAN LEWIS LLL             ADDRESS ON FILE
WILLIAM NORMAN                       ADDRESS ON FILE
WILLIAM PORTER                       ADDRESS ON FILE
WILLIAM R FORTHMAN                   ADDRESS ON FILE
WILLIAM R KRIER                      ADDRESS ON FILE
WILLIAM R SMITH                      ADDRESS ON FILE
WILLIAM S. THOMPSON                  UNITED STATES ATTORNEYS OFFICE 601 FEDERAL ST BLUEFIELD WV 24701
WILLIAM S. THOMPSON                  UNITED STATES ATTORNEYS OFFICE ROBERT C BYRD US COURTHOUSE, STE 4000 300
                                     VIRGINIA ST CHARLESTON WV 25301
WILLIAM S. THOMPSON                  UNITED STATES ATTORNEYS OFFICE SYDNEY L CHRISTIE BLDG 845 FIFTH AVE, ROOM 209
                                     HUNTINGTON WV 25701
WILLIAM S. THOMPSON                  UNITED STATES ATTORNEYS OFFICE U.S. COURTHOUSE AND IRS COMPLEX 110 N HEBER ST,
                                     ROOM 257 BECKLEY WV 25801
WILLIAM SMITH                        ADDRESS ON FILE
WILLIAM STEIN                        ADDRESS ON FILE
WILLIAM T SPAEDER CO INC             PO BOX 10066 ERIE PA 16514
WILLIAM T STOVALL                    ADDRESS ON FILE
WILLIAM VAN DYKE                     ADDRESS ON FILE
WILLIAM WETZ                         ADDRESS ON FILE
WILLIAM X WALLACE                    ADDRESS ON FILE
WILLIAMS FOOD EQUIPMENT              2150 AMBASSADOR DR WINDSOR ON N9C 3R4 CANADA
WILLIAMS RESTORATION INC             DBA EXPRESS SEATING 9001 MIDDLETON ROAD DARIEN IL 60561
WILLIAMS, JAWANA                     ADDRESS ON FILE
WILLIAMS, JESSE                      ADDRESS ON FILE
WILLIAMS, LANIKA                     ADDRESS ON FILE
WILLIAMS, LATOYA                     ADDRESS ON FILE
WILLIAMS, MISSY                      ADDRESS ON FILE
WILLIAMS, PORTIA                     ADDRESS ON FILE



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WILLIAMS-WRIGHT, CHARLES                ADDRESS ON FILE
WILLIAMSBURG CITY DEPARTMENT OF FINANCE 401 LAFAYETTE ST WILLIAMSBURG VA 23185
WILLIAMSON COUNTY                       TAX ASSESSOR/COLLECTOR 904 SOUTH MAIN STREET GEORGETOWN TX 78626-5701
WILLIAMSON COUNTY & CITIES              HEALTH DISTRICT 303 MAIN ST GEORGETOWN TX 78626
WILLIAMSON COUNTY & CITIES              150 WATSON STREET GEORGETOWN TX 78626
WILLIAMSON COUNTY TAX ASSESSOR          904 S MAIN GEORGETOWN TX 78626
COLLECTOR
WILLIAMSON COUNTY TREASURER             407 N MONROE STE 104 MARION IL 62959
WILLIAMSON COUNTY TRUSTEE               PO BOX 1365 FRANKLIN TN 37065-1365
WILLIAMSON, JULIE                       ADDRESS ON FILE
WILLIAMSPORT MIRROR & GLASS CO          317 RAILWAY ST WILLIAMSPORT PA 17701
WILLIAMSPORT/LYCOMING CHAMBER OF        COMMERCE 102 WEST FOURTH STREET WILLIAMSPORT PA 17701
WILLIAMSVILLE CSD                       5583 MAIN ST WILLIAMSVILLE NY 14221
WILLIE ITULE                            ADDRESS ON FILE
WILLIE L JACKSON                        ADDRESS ON FILE
WILLIE RAY LUCKETT JR                   ADDRESS ON FILE
WILLIS TOWERS WATSON US LLC             28025 NETWORK PL CHICAGO IL 60673-1280
WILLOUGHBY, JOLENE                      ADDRESS ON FILE
WILLOW PARK WINE & SPIRITS              DBA BRANCH OF THE WILLOW 2002 LTD 16612 114 AVE NW EDMONTON ON T5M 3R8 CANADA
WILLSON INTERNATIONAL LIMITED           2345 ARGENTIA ROAD SUITE 201 MISSISSAUGA ON L5N 8K4 CANADA
WILLY DALE HUGHES                       ADDRESS ON FILE
WILMINGTON TRUST, NA                    AS COLLATERAL TRUSTEE 50 SOUTH SIXTH ST, STE 1290 MINNEAPOLIS MN 55402
WILSBACH DISTRIBUTORS INC               905 KATIE COURT HARRISBURG PA 17109
WILSON COUNTY TRUSTEE                   PO BOX 865 LEBANON TN 37088
WILSON ELECTRIC HEAT & AIR INC          105916 S 3440 RD MEEKER OK 74855-5797
WILSON ENTERPRISES COMMERCIAL REPAIRS   120 W 39TH ST VANCOUVER WA 98660-1956
WILSON SCHOOL DISTRICT                  HEALTH DISTRICT 303 MAIN ST WEST LAWN PA 19609-1324
WILSON SCHOOL DISTRICT                  ATTN BUSINESS GROSS RECEIPTS 2601 GRANDVIEW BLVD WEST LAWN PA 19609-1324
WILSON UCHEGBU                          ADDRESS ON FILE
WILSON-GOMEZ, JUDY MARIA                ADDRESS ON FILE
WILVIS CT INC                           DBA ALL ABOUT SIGNS PO BOX 62544 SAN ANGELO TX 76906-2544
WINCH PLUMBING HEATING & MECHANICAL INC PO BOX 4678 TOMS RIVER NJ 08754-4678
WINCHESTER CITY TAX COLLECTOR           PO BOX 263 WINCHESTER VA 22604-0263
WINCHESTER CITY TREASURER               21 S. KENT STREET STE 101 WINCHESTER VA 22601
WINCHESTER CITY TREASURER               TREASURER 15 NORTH CAMERON STREET WINCHESTER VA 22604
WINCHESTER PUBLIC UTILITIES             301 E CORK ST WINCHESTER VA 22601
WINCHESTER SEAFOOD LLC                  15942 SHADY GROVE RD GAITHERSBURG MD 20877-1315
WIND RIVER ENVIRONMENTAL LLC            PO BOX 22074 NEW YORK NY 10087-2074
WIND RIVER SERVICES INC                 7172 REGIONAL STREET 283 DUBLIN CA 94568-2324
WINDHAM DISTRIBUTING COMPANY            PO BOX 1489 WILMINGTON NC 28402
WINDLEY ELY                             ADDRESS ON FILE
WINDOW KING INC                         6510 STATE ROAD PARMA OH 44134
WINDOW MAN INC                          332 SOUTH FILLMORE AVENUE KIRKWOOD MO 63122
WINDSOR CITY                            TAX COLLECTOR CITY HALL SQ W BOX 100 WINDSOR ON N9A 6S1 CANADA
WINDSOR CITY                            ATTN BUSINESS GROSS RECEIPTS 2601 GRANDVIEW BLVD WINDSOR ON N9A 6S1 CANADA
WINDSOR ELECTRIC EEL                    PO BOX 29015 WINDSOR ON N8W 5L6 CANADA
WINDSOR POLICE SERVICE ALRM DIV         PO BOX 60 ON N9A 6J5 CANADA
WINDSOR REALTY LTD PARTNERSHIP          DBA NAVESINK FAMILY PARTNERS LLC 2 WARRENTON LANE COLTS NECK NJ 07722-1065
WINDSTREAM                              PO BOX 9001908 LOUISVILLE KY 40290-1908



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Claim Name                              Address Information
WINE & BEVERAGE MERCHANTS OF WV INC     PO BOX 2188 WEIRTON WV 26062
WINE COUNTRY WINDOW COMPANY             DBA FISH WINDOW CLEANING 55 EXECUTIVE AVENUE SUITE A ROHNERT PARK CA 94928
WINE WAREHOUSE                          PO BOX 45616 SAN FRANCISCO CA 94145-0616
WINE WORKS                              1105 BECHTLE AVENUE SPRINGFIELD OH 45504
WINEBOW INC                             62709 COLLECTION CENTER DRIVE CHICAGO IL 60693-0627
WINGFIELDS CLEANING SERVICE             PO BOX 454 BRENTWOOD TN 37024-0454
WINIFRED MILLS                          ADDRESS ON FILE
WINLANDS COMPLETE LANDSCAPE SERVICE     DBA WINLANDS COMPLETE LANDSCAPE SVC LLC 1020 SHIPLETT RD ZANESVILLE OH
                                        43701-9129
WINNEBAGO COUNTY HEALTH DEPARTMENT      401 DIVISION STREET ROCKFORD IL 61104
WINNEBAGO COUNTY TREASURER              PO BOX 1216 ROCKFORD IL 61105-1216
WINNIPEG WINDOW CLEANING INC            571 POLSON AVE WINNIPEG MB R2W 0P1 CANADA
WINONA HEATING & VENTILATING CO INC     DBA WHV PO BOX 77 WINONA MN 55987-0077
WINSLOW HUGHLEY                         ADDRESS ON FILE
WINTER HAVEN WATER                      PO BOX 2317 WINTER HAVEN FL 33883-2277
WINTER, MICHAEL                         ADDRESS ON FILE
WINTERS BROS HAULING OF LONG ISLAND LLC PO BOX 5279 NEW YORK NY 10008-5279
WINTON H LOVELACE                       ADDRESS ON FILE
WISCON POWER WASHING                    ADDRESS ON FILE
WISCONSIN DEPARTMENT OF AGRICULTURE     TRADE AND CONSUMER PROTECTION 2811 AGRICULTURE DR PO BOX 8911 MADISON WI
                                        53708-8911
WISCONSIN DEPARTMENT OF REVENUE         C/O MOBI WIRELESS MANAGEMENT LLC PO BOX 3028 MILWAUKEE WI 53201-3028
WISCONSIN DEPARTMENT OF WORKFORCE DEV   201 E. WASHINGTON AVE P.O. BOX 7946 MADISON WI 53707
WISCONSIN DEPT OF NATURAL RESOURCES     101 S WEBSTER ST PO BOX 7921 MADISON WI 53707-7921
WISCONSIN DEPT OF REVENUE               PO BOX 8902 MADISON WI 53708
WISCONSIN DEPT OF REVENUE               PO BOX 8946 MADISON WI 53708-8946
WISCONSIN DEPT OF WORKFORCE DEVELOPMENT 201 E WASHINGTON AVE PO BOX 7946 MADISON WI 53707
WISCONSIN OFFICE OF THE STATE TREASURER PO BOX 8982 MADISON WI 53708-8982
WISCONSIN PUBLIC SERVICE                PO BOX 6040 CAROL STREAM IL 60197-6040
WISE CUT LANDSCAPING LLC                PO BOX 1151 KANNAPOLIS NC 28082-1151
WISEMEN SEEKING INC                     DBA FISH WINDOW CLEANING 190 W RAFFERTY GARDENS AVE UNIT 10 LITTLETON CO
                                        80120-1760
WITHLACOOCHEE RIVER ELECTRIC            14651 21ST ST DADE CITY FL 33523
COOPERATIVE
WITHLACOOCHEE RIVER ELECTRIC            PO BOX 278 DADE CITY FL 33526-0278
COOPERATIVE
WITHROW ELECTRIC INC                    500 BIG BEAR BLVD COLUMBIA MO 65202-3707
WIZARD LOCK SHOP INC                    DBA WIZARD LOCK & SAFE CO 218 N PRINCE STREET LANCASTER PA 17603
WLB BUSINESSES LLC                      DBA FISH WINDOW CLEANING PO BOX 12572 WILMINGTON DE 19850-2572
WM T SPAEDER CO INC                     1602 EAST 18TH STREET ERIE PA 16510
WMWA - WILLIAMSPORT MUNICIPAL WATER     P.O. BOX 185 WILLIAMSPORT PA 17703-0185
AUTH
WOLF CYNTHIA                            ADDRESS ON FILE
WOLF INVESTMENT PROPERTIES LLC          DBA 5950 NORTH FEDERAL INVESTMENTS LLC 125 N HALSTED ST STE 203 CHICAGO IL
                                        60661-2159
WOLFE, DESERAE                          ADDRESS ON FILE
WOLPIN COMPANY                          DBA TRI-CTY BEV OAKLAND/MACOMB 2651 E TEN MILE ROAD WARREN MI 48091
WOMACK, GREGORY                         ADDRESS ON FILE
WOMENS FOODSERVICE FORUM                5310 HARVEST HILL RD STE 299 DALLAS TX 75230-5804
WOOD AMY                                ADDRESS ON FILE



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Claim Name                               Address Information
WOOD COUNTY FIRE SERVICE BOARD           WOOD COUNTY FIRE BOARD PO BOX 2005 PARKERSBURG WV 26102-2005
WOOD COUNTY SHERIFF                      319 MARKET ST PARKERSBURG WV 26101
WOOD CREATIONS INC                       3918 WEST SHAKESPEARE AVENUE CHICAGO IL 60647
WOOD ELECTRIC INC                        210 11TH ST NW NEW PHILADELPHIA OH 44663-1510
WOOD, DANIEL                             ADDRESS ON FILE
WOODALL ELECTRIC INC                     PO BOX 3038 MERIDIAN MS 39303
WOODARD-CM LLC                           3401 W TRINITY BOULEVARD GRAND PRAIRIE TX 75050
WOODBRAN REALTY CORPORATION              3439 W BRAINARD RD, STE 260 WOODMERE OH 44122
WOODBRIDGE DIVISION OF HEALTH            TAX COLLECTOR CITY HALL SQ W BOX 100 WOODBRIDGE NJ 07095
WOODBRIDGE DIVISION OF HEALTH            PO BOX 518 WOODBRIDGE NJ 07095
WOODBRIDGE HEIGHTS ASSOCIATES LLC        C/O TONY HUANG 369 E 62ND ST NEW YORK NY 10065-7705
WOODBRIDGE PLUMBING INC                  2705 CODE WAY WOODBRIDGE VA 22192
WOODBURY CORP                            575 EAST UNIVERSITY PARKWAY SUITE N260 OREM UT 84097
WOODBURY COUNTY TREASURER                822 DOUGLAS ST RM 102 SIOUX CITY IA 51101
WOODBURY, MARILYN                        ADDRESS ON FILE
WOODLAND ENTERPRISES LLC                 DBA BLOOMINGTON ROTO-ROOTER PO BOX 328 ELLETTSVILLE IN 47429-0328
WOODRING DETECTIVE AGENCY & SECURITY     SERVICE LLC 7589 E WAYNE RD GUYS MILLS PA 16327-4741
WOODS, DAVID                             ADDRESS ON FILE
WOODSIDE PARMA LLC                       ATTN: ERIC MARKEL 7845 COLONY ROAD SUITE C4-242 CHARLOTTE NC 28226
WOODSONIA HWY 281 LLC                    ATTN SARAH SVEHLA SR PROPERTY MGR 20010 MANDERSON ST STE 101 ELKHORN NE
                                         68022-1264
WOODWARD, DANIEL                         ADDRESS ON FILE
WOODY TUCKER PLUMBING & AIR              INC 2438 MERCHANT AVE STE 101 ODESSA FL 33556-3489
CONDITIONING
WOOSTER CITY SERVICES                    PO BOX 78000 DEPT 781300 DETROIT MI 48278-1300
WORGULL INC                              DBA RW SERVICES 1100 US HIGHWAY 80 E ABILENE TX 79601-6206
WORKERS COMPENSATION                     ADMINISTRATION TRUST FUND PO BOX 6100 TALLAHASSEE FL 32399-4216
WORKERS COMPENSATION BOARD               PO BOX 2323 EDMONTON ON T5J 3V3 CANADA
WORKERS COMPENSATION BOARD OF MANITOBA   333 BROADWAY WINNIPEG MB R3C 4W3 CANADA
WORKERS COMPENSATION BOARD ONT           200 FRONT STREET W TORONTO ON M5V 3J1 CANADA
WORKFORCE SAFETY & INSURANCE             PO BOX 5585 BISMARCK ND 58506
WORKPLACE SAFETY & PREVENTION SERVICES   5110 CREEKBANK ROAD MISSISSAUGA ON L4W 0A1 CANADA
WORKSTREAM TECHNOLOGIES INC              PO BOX 207732 DALLAS TX 75320-7732
WORLD AQUATIC BIOMES                     7898 C TALL PINES CT GLEN BURNIE MD 21061-5817
WORLD AT WORK                            PO BOX 51508 LOS ANGELES CA 90051-5808
WORLD BEVERAGE SYSTEMS INC               25340 JOHN R ROAD MADISON HEIGHTS MI 48071
WORLD CLASS INVESTMENTS LLC              9241 SW 140 STREET MIAMI FL 33176
WORLD WIDE PLUMBING & MECHANICAL INC     43 BOYTON ROAD TORONTO ON M4S 2T1 CANADA
WORLD WILDLIFE FUND INC                  1250 24TH ST NW WASHINGTON DC 20037-1193
WORLEYS PLUMBING AND DRAIN CLEANING LLC PO BOX 665 SLOCOMB AL 36375-0665
WP BEVERAGES LLC                         DBA PEPSI COLA CO PO BOX 7425 MADISON WI 53707-7425
WP CENTERS REIT 2 LLC                    DBA WATERFORD LAKES TOWN CENTER LLC PO BOX 779275 CHICAGO IL 60677-9275
WPCA - CITY OF BRIDGEPORT, CT            P.O. BOX 621 BRIDGEPORT CT 06601-0621
WPE INVESTMENT 10 LLC                    ATTN: HOWARD J. POWERS C/O HOWARD J. POWERS II 2900 W. BAY TO BAY BLVD., UNIT
                                         1003 TAMPA FL 33629-8130
WRAY LEGAL                               181 UNIVERSITY AVENUE STE 2200 TORONTO ON M5H 3M7 CANADA
WRIGHT AIR SYSTEMS LTD                   330 ANTWERP ST SUDBURY ON P3C 4M7 CANADA
WRIGHT BROTHERS INC                      1930 LOSANTIVILLE ROAD CINCINNATI OH 45237
WRIGHT GARDNER LLC                       DBA THE WRIGHT GARDNER 128 STARLITE ST SOUTH SAN FRANCISCO CA 94080-6310
WRIGHT-HENNEPIN COOP ELECTRIC            PO BOX 77027 MINNEAPOLIS MN 55480-7727


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Claim Name                               Address Information
WRL ENTERPRISES LLC                      DBA AMERICAN CLEAN CARE AND AMERICAN 1915 CAMP JACKSON ROAD EAST SAINT LOUIS
                                         IL 62206-2543
WRS SOUTHFIELD LLC                       505 PARK AVENUE SUITE 302 NEW YORK NY 10022
WSD SOLUTIONS LLC                        DBA AQUARIUM PROS VA 2726 TINSLEY DR NORTH CHESTERFIELD VA 23235-2448
WUG, EDGAR                               ADDRESS ON FILE
WUNDER ELECTRIC                          ELECTRICAL CONTRACTING 152 LAKE AVENUE COLONIA NJ 07067
WV ABC ADMINISTRATION                    DO NOT MAIL ORLANDO FL 32809
WV DIVISION OF PERSONNEL                 1900 KANAWHA BLVD E BLDG 3, SUITE 500 CHARLESTON WV 25305
WV LONESTAR OWNER LLC                    & RL CHARLESTON OWNER LLC C/O FEDERMAN STEIFMAN LLP 220 EAST 42ND STREET 29TH
                                         FLOOR NEW YORK NY 10017
WYATT, TARRANT & COMBS, LLP              ATTN: LEO F. CAMP 500 W. JEFFERSON STREET, STE 2800 LOUISVILLE, KENTUCKY 40202
                                         LOUISVILLE KY 40202
WYLLIE, NANCY                            ADDRESS ON FILE
WYOMING BEVERAGES INC                    DBA PEPSI COLA OF CASPER PO BOX 2230 CASPER WY 82602-2230
WYOMING DEPARTMENT OF AGRICULTURE        CHS LICENSING DIVISION 2219 CAREY AVE CHEYENNE WY 82002
WYOMING DEPARTMENT OF REVENUE            122 WEST 25TH ST, STE E301 HERSCHLER BUILDING EAST CHEYENNE WY 82002-0110
WYOMING DEPARTMENT OF WORKFORCE          5221 YELLOWSTONE ROAD CHEYENNE WY 82009
SERVICES
WYOMING DEPARTMENT OF WORKFORCE          UNEMPLOYMENT INSURANCE PO BOX 2760 CASPER WY 82602-2760
SERVICES
WYOMING DEPT OF ENVIRONMENTAL QUALITY    200 W 17TH ST CHEYENNE WY 82002
WYOMING DEPT OF WORKFORCE SERVICES       5221 YELLOWSTONE RD CHEYENNE WY 82002
WYOMING LIQUOR DIVISION                  6601 CAMPSTOOL ROAD CHEYENNE WY 82002-0110
WYOMING OFFICE OF THE ATTORNEY GENERAL   CONSUMER PROTECTION AND ANTITRUST UNIT 109 STATE CAPITAL CHEYENNE WY 82002
WYOMING STATE TREASURER                  UNCLAIMED PROPERTY DIVISION HERSCHLER BUILDING EAST 122 W 25TH ST, STE E300
                                         CHEYENNE WY 82002
WYOMING VALLEY SANITARY AUTHORITY        PO BOX 33A WILKES-BARRE PA 18703-1333
WYSE KADISH LLP                          ATTN: DUKE TUFTY 621 SW MORRISON STREET, STE 1300 PORTLAND, OREGON 97205
                                         PORTLAND OR 97205
WYSINGER, TAVIANNA                       ADDRESS ON FILE
XAYVION BRIDGES                          ADDRESS ON FILE
XCEL ENERGY                              P.O. BOX 9477 (2200) XCEL ENERGY REMIT PROCESSING MINNEAPOLIS MN 55484-9477
XENIA PRYOR, SIMONA DENNISON             ADDRESS ON FILE
XL PLUMBING INC                          DBA ROTO ROOTER PO BOX 2876 YOUNGSTOWN OH 44511
XMATTERS INC                             155 N LAKE AVE STE 900 PASADENA CA 91101-1849
XPO LOGISTICS FREIGHT INC                29559 NETWORK PL CHICAGO IL 60673-1295
XTRAMILE CARPET N MORE LLC               3019 WADDELL DR COLUMBUS GA 31907-3027
XTREME CARPET CLEANING INC               PO BOX 252 ROYAL AR 71968-0252
XTREME CLEAN INC                         3750 HACKS CROSS RD STE 102-335 MEMPHIS TN 38125-2367
XTREME CLEAN LLC                         DBA DANNIS JAMES LIMBERHAND 1144 HORN ST BILLINGS MT 59101-6995
XTREME INSTALLATIONS LLC                 PO BOX 522109 LONGWOOD FL 32752-2109
YAKIMA CITY                              FINANCE DEPT/ ACCTS RECEIVABLE 129 N 2ND ST YAKIMA WA 98901-2611
YAKIMA COUNTY TREASURER                  PO BOX 22530 YAKIMA WA 98907-2530
YAKIMA HEALTH DISTRICT                   PO BOX 518 YAKIMA WA 98901
YAKIMA HEALTH DISTRICT                   104 NORTH 1ST STREET SUITE 204 YAKIMA WA 98901
YAKIMA WASTE SYSTEMS, INC                PO BOX 7428 A WASTE CONNECTIONS COMPANY PASADENA CA 91109-7428
YAKIMA WATER SOLUTIONS LLC               DBA ROTO-ROOTER PO BOX 819 YAKIMA WA 98907-0819
YAN ZHENG                                ADDRESS ON FILE
YARBROUGH JR., ANDRE (SON)               ADDRESS ON FILE
YARBROUGH, JOEY                          ADDRESS ON FILE



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Claim Name                           Address Information
YARD BIRDS INC                       22225 ADAMS ST PORTER TX 77365-5910
YARNELLE ENTERPRISES INC             DBA STANLEY STEEMER OF FT WAYNE 2020 RESEARCH DRIVE FORT WAYNE IN 46808
YASH TECHNOLOGIES INC                841 AVENUE OF THE CITIES EAST MOLINE IL 61244-4134
YASMON 19 GROUP LLC                  ATTN KHOSROW YAZHARI 1316 BYRON NELSON PKWY SOUTHLAKE TX 76092-9557
YAVAPAI COUNTY TREASURER             1015 FAIR ST PRESCOTT AZ 86305-1807
YAVAPAI PRESCOTT INDIAN TRIBE        ADDRESS ON FILE
YAYAKK INC                           DBA A COMMERCIAL SERVICES 2526 QUME DR STE 25 SAN JOSE CA 95131-1870
YAZZIE, CAROLYN                      ADDRESS ON FILE
YE OLE LOCKSMITH SHOPPE INC          1770 CENTRAL AVENUE ALBANY NY 12205-4755
YEL-HELP INC                         346 CLINTON STREET BINGHAMPTON NY 13905
YELLOWFIN INC                        DBA FISH WINDOW CLEANING PO BOX 413631 KANSAS CITY MO 64141
YELLOWSTONE COUNTY TREASURER         PO BOX 35010 BILLINGS MT 59107-5010
YES WE DO COFFEE                     2577 LASALLE BLVD SUDBURY ON P3A 4R7 CANADA
YODER INC                            DBA COFFEY REFRIGERATION PO BOX 6257 KENNEWICK WA 99336
YOKO GAMBRILL                        ADDRESS ON FILE
YOLANDA AZUCAR                       ADDRESS ON FILE
YORK ADAMS TAX BUREAU                104 NORTH 1ST STREET SUITE 204 YORK PA 17405
YORK ADAMS TAX BUREAU                PO BOX 15627 YORK PA 17405
YORK, LINDA                          ADDRESS ON FILE
YOSELYN TIRADO                       ADDRESS ON FILE
YOUNG & CO LLC                       4464 BROOKHAVEN TER CLARKSVILLE TN 37043-7976
YOUNG DEVELOPMENT LLC                DBA YOUNG SNOW REMOVAL 2643 DUCK LAKE ROAD WHITEHALL MI 49461
YOUNG ELECTRIC SIGN CO               DBA YESCO SIGNS LLC PO BOX 11676 TACOMA WA 98411-6676
YOUNG MANN INC                       DBA FISH WINDOW CLEANING PO BOX 496 EAGLEVILLE PA 19408
YOUNG PLUMBING & HEATING CO          PO BOX 1077 WATERLOO IA 50704
YOUNG, CLIFFORD                      ADDRESS ON FILE
YOUNG, DONNA                         ADDRESS ON FILE
YOUNG, GARY                          ADDRESS ON FILE
YOUNG, JONATHAN                      ADDRESS ON FILE
YOUNGERS & SONS LLC                  DBA HYDRO WASH 3321 W 45TH CT WICHITA KS 67217-3993
YOUNGERS COMMERCIAL SERVICES LLC     2275 WAYNOKA ROAD SUITE K COLORADO SPRINGS CO 80915
YOUNGS MARKET CO                     DBA YOUNGS MARKET COMPANY OF OREGON LLC 16913 NE CAMERON BLVD STE 2 PORTLAND
                                     OR 97230
YOUNGS MARKET COMPANY                PO BOX 30145 LOS ANGELES CA 90030-0145
YOUNGS WATER SYSTEMS INC             PO BOX 569 2541 HWY 20 FONTHILL ON L0S 1E0 CANADA
YOUR BEST HANDYMAN LLC               DANIEL O MERKLE 121 E CROGAN ST PO BOX 64 LAWRENCEVILLE GA 30046
YOUR ENVIRONMENTS SOLUTION INC       428 5TH STREET ORLANDO FL 32824
YOUR MAINTENANCE DEPT INC            9656 VISTA LANE COMMERCE TWP MI 48382
YOUR SCREEN PRINTING & SIGN CO       2478 INDUSTRIAL BLVD GRAND JUNCTION CO 81505
YRC INC                              YRC FREIGHT PO BOX 93151 CHICAGO IL 60673-3151
YU SONG                              ADDRESS ON FILE
YULCHON LLC                          PARNAS TOWER 38F 521 TEHERAN-RO GANGNAM-GU SEOUL REPUBLIC OF KOREA
YUMA COUNTY                          PO BOX 15627 YUMA AZ 85364
YUMA COUNTY                          HEALTH DEPT 2200 W 28TH STREET YUMA AZ 85364
YUMA COUNTY TREASURER                2550 S. 4TH AVE STE A YUMA AZ 85364
YUMA PALMS DST                       PO BOX 845709 LOS ANGELES CA 90084-5709
YVETTE WRAY                          ADDRESS ON FILE
YVONNE CARLETTI                      ADDRESS ON FILE
ZACCO SWEDEN AB                      JOHAN LOJE BOX 5581 STOCKHOLM 114 85 SWEDEN



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Claim Name                           Address Information
ZACH CAUDILLO                        ADDRESS ON FILE
ZACH HARWELL                         ADDRESS ON FILE
ZACHARY A HUBBARD                    ADDRESS ON FILE
ZACHARY A. CUNHA                     US ATTORNEYS OFFICE ONE FINANCIAL PLAZA, 17TH FL PROVIDENCE RI 02903
ZACHARY A. MYERS                     UNITED STATES ATTORNEYS OFFICE 10 W MARKET ST, STE 2100 INDIANAPOLIS IN 46204
ZACHARY A. MYERS                     UNITED STATES ATTORNEYS OFFICE 101 NW MLK BLVD, STE 250 EVANSVILLE IN 47708
ZACHARY CADENA                       ADDRESS ON FILE
ZACHARY CAMPBELL                     ADDRESS ON FILE
ZACHARY S SFAKIS                     DBA METRO CHEMICALS PO BOX 121452 ARLINGTON TX 76012-1452
ZACHARY STEPHENS BRICK CLEANING      PO BOX 90853 SIOUX FALLS SD 57109-0853
ZACK DAWDY                           ADDRESS ON FILE
ZACKS ENTERPRISES INC                DBA ZAGWEAR INC PO BOX 623 ORANGEBURG NY 10962-0623
ZAFAR PRODUCE INC                    115 CORPORATE DRIVE NEW WINDSOR NY 12553
ZAMCO INVESTMENT GROUP LLC           1945 S OCEAN DR APT 2612 HALLANDALE BEACH FL 33009-6092
ZANE GAGNE                           ADDRESS ON FILE
ZANESCAPES LLC                       219 NOTCH LN BRANSON WEST MO 65737
ZAYO CANADA INC.                     PO BOX 4622, STN A C/O T4622 TORONTO ON M5W 0J9 CANADA
ZCHARTER COMMUNICATIONS/SPECTRUM     PO BOX 4617 CAROL STREAM IL 60197
ZCOMCAST BUSINESS SERVICES           PO BOX 70284 ATTN: CONSTRUCTION PHILADELPHIA PA 19176-0284
ZELLER ELECTRIC INC                  7 LEGACY DRIVE GOODFIELD IL 61742-9678
ZELMS ERLICH LENKOV & MACK           ATTN:JEFFREY LENKOV 20920 WARNER CENTER LANE SUITE B WOODLAND HILLS CA 91367
ZEMBA BROS INC                       PO BOX 1270 ZANESVILLE OH 43702-1270
ZEN AQUATICS DESIGN LTD              44843 SAN PABLO AVENUE PALM DESERT CA 92260
ZI QI TAN                            ADDRESS ON FILE
ZIEGLER ENTERPRISES LLC              DBA C-AIRE 2607 ALLEN DEW ROAD CONWAY SC 29527
ZIMMERMAN PLUMBING & HTG             110 E ALLEN ST MECHANICSBURG PA 17055
ZIMMERMAN, ANISSA                    ADDRESS ON FILE
ZIMMERMAN, RANDY                     ADDRESS ON FILE
ZION SERVICES LLC                    PO BOX 721325 NORMAN OK 73070-8019
ZIPLY FIBER                          PO BOX 740416 CINCINNATI OH 45274
ZIPRECRUITER INC                     PO BOX 102827 PASADENA CA 91189-0132
ZJS COMMERCIAL KITCHEN REPAIR        PO BOX 175 EAST SYRACUSE NY 13057
ZMP TRANSLATIONS                     1312 BARBARA AVE UNION NJ 07083-3813
ZOEPAZ INCORPORATD                   DBA ZOEPAZ ALARM CO 860 STOVER DR UNIT A ELBURN IL 60119-8425
ZOOM K CORP                          DBA ZOOM DRAIN NORTHERN SUBURBS CHICAGO 1979 N LAKE TER GLENVIEW IL 60026-1334
ZOOM VIDEO COMMUNICATIONS INC        PO BOX 398843 SAN FRANCISCO CA 94139-8843
ZRANCHEV SECURITIES INC              DBA ADVANCED COUNTY LOCKSMITHS 412 CHESTNUT STREET UNION NJ 07083
ZULEIKA RAMOS                        ADDRESS ON FILE
ZULFIKAR WALJI                       ADDRESS ON FILE
ZUNIGA, DOYLA                        ADDRESS ON FILE
ZURICH AMERICAN INSURANCE COMPANY    MARSH RISK & INSURANCE SERVICES 3560 LENOX ROAD SUITE 2400 ATLANTA GA 30326
ZURICH AMERICAN INSURANCE COMPANY    ZURICH NORTH AMERICA 3059 PAYSPHERE CIRCLE CHICAGO IL 60674-0001
ZURICH CANADA                        MARSH CANADA LIMITED TORONTO 120 BREMNER BOULEVARD SUITE 800 TORONTO ON M5J0A8
                                     CANADA
ZURICH NORTH AMERICA                 1001 SUMMIT BOULEVARD SUITE 1200 ATLANTA GA 30319
ZURICHA CAPITAL LTD                  C/O JSM CORPORATION (ONTARIO) LTD 819 GERRARD ST E SUITE 2 TORONTO ON M4M 1Y8
                                     CANADA
ZURN HOLDINGS INC                    DBA ZURN INDUSTRIES LLC 511 W FRESHWATER WAY MILWAUKEE WI 53204-4113
ZURN WATER SOLUTIONS                 ZURN WATER LLC PO BOX 95447 CHICAGO IL 60694-5447



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Claim Name                         Address Information
ZWC OF TEXAS - AUSTIN              PO BOX 679859 DALLAS TX 75267-9859




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               RED LOBSTER MANAGEMENT LLC - Case No. 6:24-bk-02486-GER
                              Email Service List - Core
                 Creditor Name                              Email Address
A O SMITH WATER PRODUCTS                    stephenshafer@aosmith.com
ARKANSAS DEPT OF FINANCE & ADMIN            mandy.endsley@dfa.arkansas.gov
AULD, DANA M                                EMAIL ADDRESS ON FILE
BAKER & HOSTETLER LLP                       kshaughnessy@bakerlaw.com
                                            heilmanl@ballardspahr.com;
                                            roglenl@ballardspahr.com;
                                            vesperm@ballardspahr.com;
                                            branchd@ballardspahr.com;
                                            zarnighiann@ballardspahr.com;
                                            shahbazis@ballardspahr.com;
                                            ganzc@ballardspahr.com;
BALLARD SPAHR LLP                           myersm@ballardspahr.com
BERGER SINGERMAN LLP                        singerman@bergersingerman.com
BDG SUFKA LLC                               eblumenfeld@bdg.net
BEEM, MARK G                                EMAIL ADDRESS ON FILE
BROWARD COUNTY                              sandron@broward.org
BRYAN EDGAR BUENAVENTURA                    bryan.buenaventura@usdoj.gov
BUCHALTER, A PROFESSIONAL CORPORATION       schristianson@buchalter.com
                                            kburgess@burr.com; mlucca-cruz@burr.com;
BURR & FORMAN LLP                           egolden@burr.com; crthompson@burr.com
COLORADO DEPT OF REVENUE                    dor_taxpayerservice@state.co.us
CONNECTICUT DEPT OF REVENUE SERVICES        drs@ct.gov
CREDERA ENTERPRISES COMPANY LLC             jbell@credera.com
DEAN, MEAD, EGERTON, BLOODWORTH, CAPOUANO & jtimko@deanmead.com;
BOZARTH, P.A.                               mgodek@deanmead.com
DINOVA INC                                  vicmacchio@dinova.com
DISTRICT OF COLUMBIA ATTORNEY GENERAL       oag@dc.gov
DOORDASH INC                                prabir.adarkar@doordash.com
ENVIRO MASTER SERVICES LLC                  tbierling@enviro-master.com
FLORIDA DEPT OF REVENUE                     emaildor@floridarevenue.com
FORTRESS CREDIT CORP.                       dean@fortress.com
FORTRESS CREDIT CORP.                       mmcclure@fortress.com
FORTRESS CREDIT CORP.                       gc.credit@fortress.com
FORTRESS CREDIT CORP.                       cdale@proskauer.com
FORTRESS CREDIT CORP.                       dmarker@proskauer.com
FRANKGECKER LLP                             jfrank@fgllp.com; jkleinman@fgllp.com
                                            rgold@fbtlaw.com; eseverini@fbtlaw.com;
FROST BROWN TODD LLP                        sodonnell@fbtlaw.com
                                            sbrotman@fasken.com;
                                            mstephenson@fasken.com;
FTI CONSULTING CA, INFORMATION OFFICER      mlicari@fasken.com
GORDON FOOD SERVICE CANADA LTD              dean.noble@gfs.com
GRAYROBINSON, P.A.                          steven.solomon@gray-robinson.com
                                            jhyatt@hahnlaw.com;
                                            dademarco@hahnlaw.com;
HAHN LOESER & PARKS LLP                     cbaxter@hahnlaw.com
HARRIS COUNTY                               taxbankruptcy.cao@harriscountytx.com
HESSLER, KATHRYN                            EMAIL ADDRESS ON FILE


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              RED LOBSTER MANAGEMENT LLC - Case No. 6:24-bk-02486-GER
                             Email Service List - Core
                 Creditor Name                                     Email Address
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